                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


In re                                        No. 13-53846

CITY OF DETROIT, MICHIGAN,                   Chapter 9

        Debtor.                              HON. STEVEN W. RHODES



                             EXHIBIT 19 – PART 1

      APPELLEE STATE OF MICHIGAN’S DESIGNATION OF
     ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL
      In connection with Notice of Appeal filed by Johnathan Brown
                              [Dkt. #8469]

Item       Date     Docket                Description
          Filed    Number
19      10/22/2014 8045    Eighth Amended Chapter 9 Plan for the
                           Adjustment of Debts of the City of
                           Detroit Filed by Debtor In Possession
                           City of Detroit, Michigan (Attachments:
                           # 1 Exhibit I.A.9 through I.A.354 # 2
                           Exhibit I.A.360-Part 1 # 3 Exhibit
                           I.A.360-Part 2 # 4 Exhibit I.A.360-Part 3
                           # 5 Exhibit I.A.360-Part 4 # 6 Exhibit
                           I.A.360-Part 5 # 7 Exhibit I.A.360-Part 6
                           # 8 Exhibit I.A.360-Part 7 # 9 Exhibit
                           I.A.360-Part 8 # 10 Exhibit II.B.3.q.ii.A
                           through III.D.2)




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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN

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In re                                                        :        Chapter 9
                                                             :
CITY OF DETROIT, MICHIGAN,                                   :        Case No. 13-53846
                                                             :
                  Debtor.                                    :        Hon. Steven W. Rhodes
                                                             :
                                                             :
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     EIGHTH AMENDED PLAN FOR THE ADJUSTMENT OF DEBTS OF THE CITY OF DETROIT
                                 (October 22, 2014)




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                                                 INTRODUCTION

        The City of Detroit proposes the following plan for the adjustment of its debts pursuant to and in
accordance with chapter 9 of the Bankruptcy Code.

         A discussion of the City's organizational structure, operations, capital structure and events leading to the
commencement of the City's Chapter 9 Case, as well as a summary and description of the Plan, risk factors and other
related matters, is included in the Disclosure Statement. Retirees of the City will receive a supplement summarizing
important information relevant to their entitlement to benefits (the "Retiree Supplement"). Other agreements and
documents, which have been or will be Filed with the Bankruptcy Court, are referenced in the Plan or the Disclosure
Statement and are available for review.

          The City encourages all of its creditors to read the Plan, the Disclosure Statement and the other material
that has been approved for use in soliciting votes on the Plan and encourages holders of claims for pensions and
other post-employment benefits to read the Retiree Supplement and to consider the information included on the
Ballot before casting a vote to accept or reject the Plan and before choosing among available treatment options.

                                       ARTICLE I
           DEFINED TERMS, RULES OF INTERPRETATION AND COMPUTATION OF TIME

A.       Defined Terms.

         Capitalized terms used in the Plan have the meanings set forth in this Section I.A. Any term that is not
otherwise defined herein, but that is used in the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning
given to that term in the Bankruptcy Code or the Bankruptcy Rules.

          1.      "2005 COPs" means, collectively, the Detroit Retirement Systems Funding Trust 2005 Certificates
of Participation Series 2005-A, issued by the Detroit Retirement Systems Funding Trust 2005 pursuant to the
2005 COPs Agreement, in an initial principal amount of $640 million, bearing interest at 4.0% to 4.948%.

        2.       "2005 COPs Agreement" means the Trust Agreement by and between the COP Service
Corporations and U.S. Bank National Association, as trustee, dated June 2, 2005, as the same may have been
subsequently amended, restated, supplemented or otherwise modified, together with all ancillary and related
instruments.

         3.       "2006 COPs" means, collectively, the (a) Detroit Retirement Systems Funding Trust
2006 Certificates of Participation Series 2006-A, issued by the Detroit Retirement Systems Funding Trust 2006
pursuant to the 2006 COPs Agreement, in an initial principal amount of $148.5 million, bearing interest at 5.989%;
and (b) Detroit Retirement Systems Funding Trust 2006 Certificates of Participation Series 2006-B, issued by the
Detroit Retirement Systems Funding Trust 2006 pursuant to the 2006 COPs Agreement, in an initial principal
amount of $800 million, bearing interest at a floating rate.

        4.       "2006 COPs Agreement" means the Trust Agreement by and between the COP Service
Corporations and U.S. Bank National Association, as trustee, dated June 12, 2006, as the same may have been
subsequently amended, restated, supplemented or otherwise modified, together with all ancillary and related
instruments.

         5.       "2014 DWSD Refinancing Obligations" means, collectively, the (i) City of Detroit, Michigan,
Detroit Water and Sewerage Department Sewage Disposal System Revenue Refunding Senior Lien Bonds, Series
2014D, (ii) City of Detroit, Michigan, Detroit Water and Sewerage Department Sewage Disposal System Revenue
Refunding Senior Lien Bonds, Series 2014E, (iii) City of Detroit, Michigan, Detroit Water and Sewerage
Department Sewage Disposal System Revenue Refunding Second Lien Bonds, Series 2014F, (iv) City of Detroit,
Michigan, Detroit Water and Sewerage Department Sewage Disposal System Revenue Refunding Second Lien
Bonds, Series 2014G, (v) City of Detroit, Michigan, Detroit Water and Sewerage Department Water Supply System
Revenue Refunding Senior Lien Bonds, Series 2014A, (vi) City of Detroit, Michigan, Detroit Water and Sewerage




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Department Water Supply System Revenue Refunding Senior Lien Bonds, Series 2014B, (vii) City of Detroit,
Michigan, Detroit Water and Sewerage Department Water Supply System Revenue Refunding Second Lien Bonds,
Series 2014C, and (viii) City of Detroit, Michigan, Detroit Water and Sewerage Department Water Supply System
Revenue Refunding Second Lien Bonds, Series 2014D.

       6.       "2014 Revenue and Revenue Refinancing Bonds" means, collectively, one or more series of
Sewage Disposal System Revenue and Revenue Refunding Bonds and Water Supply System Revenue Refunding
Bonds.

         7.       "2014 Revenue Refinancing Bonds" means, collectively, the Michigan Finance Authority's (i)
Local Government Loan Program Revenue Bonds, Series 2014C-4 (Insured) (Detroit Water and Sewerage
Department Sewage Disposal System Revenue Refunding Senior Lien Local Project Bonds), issued as the Type:
Detroit Water and Sewerage Department Local Project Bonds, (ii) Local Government Loan Program Revenue
Bonds, Series 2014C-5 (Detroit Water and Sewerage Department Sewage Disposal System Revenue Refunding
Senior Lien Local Project Bonds), issued as the Type: Detroit Water and Sewerage Department Local Project
Bonds, (iii) Local Government Loan Program Revenue Bonds, Series 2014C-6 (Insured) (Detroit Water and
Sewerage Department Sewage Disposal System Revenue Refunding Second Lien Local Project Bonds), issued as
the Type: Detroit Water and Sewerage Department Local Project Bonds, (iv) Local Government Loan Program
Revenue Bonds, Series 2014C-7 (Detroit Water and Sewerage Department Sewage Disposal System Revenue
Refunding Second Lien Local Project Bonds), issued as the Type: Detroit Water and Sewerage Department Local
Project Bonds, (v) Local Government Loan Program Revenue Bonds, Series 2014D-1 (Insured) (Detroit Water and
Sewerage Department Water Supply System Revenue Refunding Senior Lien Local Project Bonds), issued as the
Type: Detroit Water and Sewerage Department Local Project Bonds, (vi) Local Government Loan Program Revenue
Bonds, Series 2014D-2 (Detroit Water and Sewerage Department Water Supply System Revenue Refunding Senior
Lien Local Project Bonds), issued as the Type: Detroit Water and Sewerage Department Local Project Bonds,
(vii) Local Government Loan Program Revenue Bonds, Series 2014D-3 (Insured) (Detroit Water and Sewerage
Department Water Supply System Revenue Refunding Second Lien Local Project Bonds), issued as the Type:
Detroit Water and Sewerage Department Local Project Bonds, and (viii) Local Government Loan Program Revenue
Bonds, Series 2014D-4 (Detroit Water and Sewerage Department Water Supply System Revenue Refunding Second
Lien Local Project Bonds), issued as the Type: Detroit Water and Sewerage Department Local Project Bonds.

         8.       "36th District Court" means the district court for the thirty-sixth judicial district of the State.

          9.      "36th District Court Settlement" means the settlement between the City and the Settling 36th
District Court Claimants, substantially on the terms set forth on Exhibit I.A.9.

         10.      "Active Employee" means an active employee of the City on and after the Confirmation Date.

         11.       "Actual Return" means, for each Fiscal Year during the period beginning July 1, 2003 and ending
June 30, 2013, the actual net return percentage on invested GRS assets for that Fiscal Year; provided that, if the
actual net return percentage on invested GRS assets for any given Fiscal Year is greater than 7.9%, the Actual
Return for that Fiscal Year shall be 7.9%, and if the actual net return percentage on invested GRS assets for any
given Fiscal Year is less than 0.0%, the Actual Return for that Fiscal Year shall be 0.0%.

       12.      "Ad Hoc Committee of DWSD Bondholders" means, collectively, Blackrock Financial
Management, Inc., Eaton Vance Management, Fidelity Management & Research Company, Franklin Advisers, Inc.
and Nuveen Asset Management.

        13.     "Adjusted Pension Amount" means the GRS Adjusted Pension Amount or the PFRS Adjusted
Pension Amount, as applicable.

          14.      "Administrative Claim" means a Claim against the City arising on or after the Petition Date and
prior to the Effective Date for a cost or expense of administration related to the Chapter 9 Case that is entitled to
priority or superpriority under sections 364(c)(1), 503(b) or 507(b)(2) of the Bankruptcy Code, including (a) Claims,
pursuant to section 503(b)(9) of the Bankruptcy Code, for the value of goods received by the City in the 20 days


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immediately prior to the Petition Date and sold to the City in the ordinary course of the City's operations and (b) any
Allowed Claims for reclamation under section 546(c)(1) of the Bankruptcy Code or section 2-702 of the Uniform
Commercial Code; provided that no claim for professional fees or any other costs or expenses incurred by any
official or unofficial creditors' committee or any member thereof shall be considered an Administrative Claim,
except that the Retiree Committee's members and the Retiree Committee Professionals shall be entitled to payment
in accordance with the Fee Review Order.

         15.      "ADR Injunction" means the injunction set forth at Section I.B of the ADR Procedures.

        16.      "ADR Procedures" means the alternative dispute resolution procedures approved by the ADR
Procedures Order, as such procedures may be modified by further order of the Bankruptcy Court.

        17.     "ADR Procedures Order" means the Order, Pursuant to Sections 105 and 502 of the Bankruptcy
Code, Approving Alternative Dispute Resolution Procedures to Promote the Liquidation of Certain Prepetition
Claims (Docket No. 2302), entered by the Bankruptcy Court on the docket of the Chapter 9 Case on
December 24, 2013, as it may be subsequently amended, supplemented or otherwise modified.

         18.      "Affiliate" shall have the meaning set forth in section 101(2) of the Bankruptcy Code.

           19.       "Allowed Claim(s)" means: (a) a Claim, proof of which has been timely Filed by the applicable
Bar Date (or for which Claim under express terms of the Plan, the Bankruptcy Code or a Final Order of the
Bankruptcy Court, a proof of Claim is not required to be Filed); (b) a Claim (i) that is listed in the List of Creditors,
(ii) that is not identified on the List of Creditors as contingent, unliquidated or disputed and (iii) for which no proof
of Claim has been timely Filed; (c) a Claim allowed pursuant to the Plan or a Final Order of the Bankruptcy Court;
(d) a Claim designated as allowed in a stipulation or agreement between the City and the Holder of the Claim that is
Filed; or (e) a Claim designated as allowed in a pleading entitled "Designation of Allowed Claims" (or a similar title
of the same import) that is Filed; provided that with respect to any Claim described in clauses (a) or (b) above, such
Claim shall be considered allowed only if and to the extent that (x) no objection to the allowance thereof has been
interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules or the
Bankruptcy Court, or (y) if an objection is so interposed, the Claim shall have been allowed by a Final Order.
Notwithstanding anything to the contrary herein, no Claim of any Entity subject to section 502(d) of the Bankruptcy
Code shall be deemed to be an Allowed Claim unless and until such Entity pays in full the amount that it owes the
City. "Allow" and "Allowing" shall have correlative meanings.

         20.      "Ambac" means Ambac Assurance Corporation.

        21.     "Annuity Savings Fund" means that sub-account and pension benefit arrangement that is part of
the GRS and operated by the trustees of the GRS.

           22.      "Annuity Savings Fund Excess Amount" means the following: (a) for an ASF Current Participant
who has not received any distributions from the Annuity Savings Fund, the difference between (i) the value of such
participant's Annuity Savings Fund account as of June 30, 2013 and (ii) the value of such participant's Annuity
Savings Fund account as of June 30, 2013 calculated using the Actual Return; (b) for an ASF Current Participant
who has received any distribution from the Annuity Savings Fund other than a total distribution, the difference
between (i) the sum of (A) the value of such participant's Annuity Savings Fund account as of June 30, 2013 and (B)
all distributions received by such participant from the Annuity Savings Fund during the ASF Recoupment Period
and (ii) the sum of (A) the value of such participant's Annuity Savings Fund account as of June 30, 2013 calculated
using the Actual Return and (B) the value of the participant's distribution calculated as of the date of distribution
using the Actual Return through such date; and (c) for an ASF Distribution Recipient, the difference between (i) the
value of such ASF Distribution Recipient's Annuity Savings Fund account as of the date of distribution from the
Annuity Savings Fund, provided such date falls within the ASF Recoupment Period, and (ii) the value of such
participant's Annuity Savings Fund account as of such date, calculated using the Actual Return. For purposes of this
definition, the value of a participant's Annuity Savings Fund account as of any date will include the principal
amount of any loans to the participant from his Annuity Savings Fund account that are outstanding as of such date or
that were defaulted during the ASF Recoupment Period.


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         23.      "ASF/GRS Reduction" means, with respect to a Holder of a GRS Pension Claim who is a retiree
who is receiving a monthly pension as of June 30, 2014 or such retiree's later-surviving beneficiary, the 4.5%
reduction in the Current Accrued Annual Pension amount described in Section I.A.211, plus the ASF Recoupment.

        24.     "ASF Current Participant" means a person who (a) participates in the GRS, (b) participated in the
Annuity Savings Fund at any time during the ASF Recoupment Period and (c) is not an ASF Distribution Recipient.

         25.     "ASF Distribution Recipient" means a person who (a) participates in the GRS, (b) participated in
the Annuity Savings Fund at any time during the ASF Recoupment Period and (c) has received a total distribution
from the Annuity Savings Fund.

         26.      "ASF Election Date" means the date that is 35 days after the date on which the ASF Election Form
is mailed.

         27.      "ASF Election Form" means a form to be mailed to each ASF Distribution Recipient with the ASF
Election Notice to allow such ASF Distribution Recipient to elect the ASF Recoupment Cash Option.

         28.     "ASF Election Notice" means a notice to be mailed to each ASF Distribution Recipient notifying
such ASF Distribution Recipient of the ASF Recoupment Cash Option and providing such recipient with an ASF
Election Form.

         29.       "ASF Final Cash Payment Date" means the later of (a) 90 days after the Effective Date or
(b) 50 days after the date of mailing of an ASF Final Cash Payment Notice.

         30.      "ASF Final Cash Payment Notice" means a notice to be provided by GRS to each ASF
Distribution Recipient who timely elects the ASF Recoupment Cash Option indicating the amount of such ASF
Distribution Recipient's ASF Recoupment Cash Payment.

        31.       "ASF Recoupment" means the amount to be deducted from an ASF Current Participant's Annuity
Savings Fund account or an ASF Distribution Recipient's monthly pension check, as applicable, pursuant to the
formulae set forth in Section II.B.3.r.ii.D.

         32.      "ASF Recoupment Cap" means, for both ASF Current Participants and ASF Distribution
Recipients, 20% of the highest value of such participant's Annuity Savings Fund account during the ASF
Recoupment Period plus an interest component of 6.75% if the amount recouped is amortized over time. For
purposes of this definition, the value of a participant's Annuity Savings Fund account as of any date will include the
principal amount of any loans to the participant from such participant's Annuity Savings Fund account that are
outstanding as of such date or that were defaulted during the ASF Recoupment Period.

        33.       "ASF Recoupment Cash Option" means an election that may be exercised by an ASF Distribution
Recipient to pay the total amount of such ASF Distribution Recipient's ASF Recoupment in a single lump sum.

         34.      "ASF Recoupment Cash Payment" means the amount of the cash payment that an ASF
Distribution Recipient who elects the ASF Recoupment Cash Option will be required to pay on account of such ASF
Distribution Recipient's ASF Recoupment.

         35.      "ASF Recoupment Period" means the period beginning July 1, 2003 and ending June 30, 2013.

          36.      "Assigned UTGO Bond Tax Proceeds" means the rights to the proceeds of the UTGO Bond Tax
Levy in an amount equal to the principal and interest payable on the Stub UTGO Bonds (but subject to the prior
rights of the holders of the Municipal Obligation), which rights shall be assigned to a designee or designees of the
City pursuant to the UTGO Settlement Agreement, substantially on the terms set forth on Exhibit I.A.360.

         37.     "Assured" means, together, Assured Guaranty Municipal Corp., formerly known as Financial
Security Assurance, Inc., and Assured Guaranty Corp.


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         38.       "Ballot" means the ballot upon which a Holder of an Impaired Claim entitled to vote shall cast its
vote to accept or reject the Plan and make certain elections provided for in the Plan.

          39.      "Bankruptcy Code" means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as now in
effect or hereafter amended.

         40.       "Bankruptcy Court" means the United States Bankruptcy Court for the Eastern District of
Michigan having jurisdiction over the Chapter 9 Case, and, to the extent of the withdrawal of any reference under
28 U.S.C. § 157 or the General Order of the District Court pursuant to § 151 of title 28 of the United States Code,
the District Court.

          41.     "Bankruptcy Rules" means, collectively, the Federal Rules of Bankruptcy Procedure and the
general, local and chambers rules of the Bankruptcy Court, as now in effect or hereafter amended, as applicable to
the Chapter 9 Case.

          42.      "Bar Date" means the applicable bar date by which a proof of Claim must be or must have been
Filed, as established by an order of the Bankruptcy Court, including a Bar Date Order and the Confirmation Order.

         43.      "Bar Date Order" means any order of the Bankruptcy Court establishing Bar Dates for Filing
proofs of Claim in the Chapter 9 Case, including the Order, Pursuant to Sections 105, 501 and 503 of the
Bankruptcy Code and Bankruptcy Rules 2002 and 3003(c), Establishing Bar Dates for Filing Proofs of Claim and
Approving Form and Manner of Notice Thereof (Docket No. 1782), entered by the Bankruptcy Court on the docket
of the Chapter 9 Case on November 21, 2013, as it may be amended, supplemented or otherwise modified.

      44.         "Bond Agent" means a trustee, paying agent or similar Entity, as applicable, under the Bond
Documents.

        45.      "Bond Claims" means, collectively, the DWSD Bond Claims, the DWSD Revolving Bond Claims,
the General Obligation Bond Claims, the HUD Installment Note Claims and the Secured GO Bond Claims.

       46.     "Bond Documents" means, collectively, the DWSD Bond Documents, the DWSD Revolving
Bond Documents, the General Obligation Bond Documents, the HUD Installment Note Documents and the Secured
GO Bond Documents.

        47.      "Bond(s)" means, individually or collectively, the DWSD Bonds, the DWSD Revolving Bonds,
the General Obligation Bonds, the HUD Installment Notes or the Secured GO Bonds.

         48.      "Bondholder" means any beneficial or record holder of a Bond.

       49.       "Bond Insurance Policies" means those policies, surety policies or other instruments insuring any
Bond and obligations related thereto, including all ancillary and related documents that may obligate the City to pay
any amount to a Bond Insurer for any reason.

        50.      "Bond Insurance Policy Claim" means a Claim held by a Bond Insurer arising under or in
connection with a Bond Insurance Policy.

         51.      "Bond Insurer" means any party, other than the City, that has issued a Bond Insurance Policy.

        52.     "Business Day" means any day, other than a Saturday, Sunday or "legal holiday" (as defined in
Bankruptcy Rule 9006(a)).

         53.      "Cash" means legal tender of the United States of America and equivalents thereof.

           54.       "Causes of Action" means, without limitation, any and all actions, causes of action, controversies,
liabilities, obligations, rights, suits, damages, judgments, claims and demands whatsoever, whether known or


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unknown, reduced to judgment, liquidated or unliquidated, fixed or contingent, matured or unmatured, disputed or
undisputed, secured or unsecured, assertable directly or derivatively, existing or hereafter arising, in law, equity or
otherwise, based in whole or in part upon any act or omission or other event occurring prior to the Effective Date,
including without limitation (a) claims and causes of action under sections 502(d), 510, 544, 545, 547, 548, 549(a),
549(c), 549(d), 550, 551 and 553 of the Bankruptcy Code and (b) any other avoidance or similar claims or actions
under the Bankruptcy Code or under similar or related state or federal statutes or common law, and, in the case of
each Cause of Action, the proceeds thereof, whether received by judgment, settlement or otherwise.

         55.       "CFSEM Supporting Organization" means the Foundation for Detroit's Future, a supporting
organization of, and an Entity legally separate from, the Community Foundation for Southeast Michigan, solely in
its capacity as a participant in the DIA Settlement.

         56.     "Chapter 9 Case" means the bankruptcy case commenced by the City under chapter 9 of the
Bankruptcy Code, captioned as In re City of Detroit, Michigan, Case No. 13-53846 (Bankr. E.D. Mich.), and
currently pending before the Bankruptcy Court.

         57.      "City" means the City of Detroit, Michigan.

         58.      "City Council" means the duly-elected City Council of the City.

         59.      "City Parking Assets" means, collectively, the City's right, title and interest in (a) the Parking
Garages, (b) operating revenue received by the City generated by the Parking Garages, (c) revenues collected from
fines received by the City related to tickets issued for parking violations (other than any such revenue that would
otherwise be paid to the 36th District Court), (d) revenue received by the City generated by parking meters owned
by the City and (e) revenue received by the City generated by "boot and tow" operations conducted by the City.

         60.      "Claim" means a claim, as defined in section 101(5) of the Bankruptcy Code, against the City.

        61.     "Claims and Balloting Agent" means Kurtzman Carson Consultants, LLC, in its capacity as
Bankruptcy Court-appointed claims and balloting agent for the Chapter 9 Case.

          62.       "Claims Objection Bar Date" means the deadline for objecting to a Claim, which shall be on the
date that is the latest of (a) 180 days after the Effective Date, subject to extension by an order of the Bankruptcy
Court, (b) 90 days after the Filing of a proof of Claim for such Claim and (c) such other period of limitation as may
be specifically fixed by an order of the Bankruptcy Court, which other period may be set without notice to Holders
of Claims.

         63.      "Claims Register" means the official register of Claims maintained by the Claims and Balloting
Agent.

         64.      "Class" means a class of Claims, as described in Section II.B.

         65.      "Class 9 Settlement Asset Pool" means (a) either: (i) the New C Notes or (ii) in the event of a
disposition or monetization of the City Parking Assets prior to distribution of the New C Notes, the proceeds from
such disposition or monetization, in an amount not less than $80 million; and (b) the Class 9 Settlement Credits.

         66.      "Class 9 Eligible City Asset" means those assets identified on Exhibit I.A.66.

          67.      "Class 9 Settlement Credits" means assignable, transferable settlement credits in the aggregate
amount of $25 million that may be applied to offset not more than 50% of the purchase price of a Class 9 Eligible
City Asset; provided that, in all cases, to apply a Class 9 Settlement Credit, the owner thereof must (a) be the final
party selected in a procurement process or auction conducted by the City and (b) otherwise satisfy all other elements
of the procurement or auction process applicable to a particular Class 9 Eligible City Asset (in each of (a) and (b),
without regard to such owner's offsetting any portion of the purchase price with such Class 9 Settlement Credit and
irrespective of such owner's ability to apply any Class 9 Settlement Credit).


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         68.      "COLAs" means the cost of living adjustments made to annual pension benefits pursuant to
collective bargaining agreements, other contracts or ordinances (as applicable) to account for the effects of inflation,
which adjustments sometimes are called "escalators" in such collective bargaining agreements, other contracts or
ordinances.

         69.      "Confirmation" means the entry of the Confirmation Order by the Bankruptcy Court on the docket
of the Chapter 9 Case.

        70.      "Confirmation Date" means the date on which the Bankruptcy Court enters the Confirmation
Order on the docket in the Chapter 9 Case, within the meaning of Bankruptcy Rules 5003 and 9021.

          71.     "Confirmation Hearing" means the hearing held by the Bankruptcy Court on Confirmation of the
Plan, as such hearing may be continued.

         72.      "Confirmation Order" means the order of the Bankruptcy Court confirming the Plan pursuant to
section 943 of the Bankruptcy Code, as it may be subsequently amended, supplemented or otherwise modified.

         73.      "Contract Administration Agreement 2005" means the Contract Administration Agreement dated
June 2, 2005, by and among the COP Service Corporations, the Detroit Retirement Systems Funding Trust 2005, the
COP Contact Administrator and the COP Swap Counterparties.

         74.     "Contract Administration Agreement 2006" means the Contract Administration Agreement dated
June 12, 2006, by and among the COP Service Corporations, the Detroit Retirement Systems Funding Trust 2006,
the COP Contact Administrator and the COP Swap Counterparties.

        75.     "Contract Administration Agreements" means, together, the Contract Administration Agreement
2005 and the Contract Administration Agreement 2006.

         76.      "Convenience Claim" means a Claim that would otherwise be an Other Unsecured Claim that is
(a) an Allowed Claim in an amount less than or equal to $25,000.00; or (b) in an amount that has been reduced to
$25,000.00 pursuant to an election made by the Holder of such Claim; provided that, where any portion(s) of a
single Claim has been transferred, (y) the amount of all such portions will be aggregated to determine whether a
Claim qualifies as a Convenience Claim and for purposes of the Convenience Claim election and (z) unless all
transferees make the Convenience Claim election on the applicable Ballots, the Convenience Claim election will not
be recognized for such Claim.

         77.    "COP Agent" means a contract administrator, trustee, paying agent or similar Entity, as applicable,
under the COP Documents.

         78.      "COP Agent Fees" means reasonable, actual and documented fees payable to the COP Agent for
services rendered or expenses incurred in accordance with and pursuant to the terms of the COPs Documents.

          79.      "COP Claim" means a Claim under or evidenced by the COP Service Contracts. For the
avoidance of doubt, except as provided in any Final Order of the Bankruptcy Court, the definition of COP Claim
shall include any Claim (other than a COP Swap Claim) on account of any act, omission or representation (however
described) based upon, arising out of or relating to: (a) the issuance, offering, underwriting, purchase, sale,
ownership or trading of any COPs (to the extent any such Claim is not a Subordinated Claim); (b) the COP Service
Corporations; (c) any COP Service Contracts; (d) the 2005 COPs Agreement; (e) the 2006 COPs Agreement; (f) the
Detroit Retirement Systems Funding Trust 2005; (g) the Detroit Retirement Systems Funding Trust 2006; (h) the
Contract Administration Agreement 2005; (i) the Contract Administration Agreement 2006; (j) any allegations that
have been made or could have been made by or against the City or any other person in the COP Litigation; or
(k) any policy of insurance relating to the COPs.

        80.     "COP Contract Administrator" means Wilmington Trust, National Association, as successor to
U.S. Bank, N.A.


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        81.    "COP Documents" means, collectively, the COP Service Contracts, the 2005 COPs Agreement,
the 2006 COPs Agreement and the Contract Administration Agreements.

         82.       "COP Insurance Policies" means those certain polices or other instruments insuring the 2005
COPs issued under the 2005 COPs Agreement and the 2006 COPs issued under the 2006 COPs Agreement,
including all ancillary and related documents that may obligate the City to pay any amount to a COP Insurer for any
reason.

        83.      "COP Insurance Policies Claim" means a Claim held by a COP Insurer arising under or in
connection with a COP Insurance Policy.

        84.      "COP Insurer" means any party, other than the City, that has issued a COP Insurance Policy.

         85.     "COP Litigation" means the adversary proceeding captioned as City of Detroit, Michigan v.
Detroit General Retirement System Service Corporation, Detroit Police and Fire Retirement System Service
Corporation, Detroit Retirement Systems Funding Trust 2005 and Detroit Retirement Systems Funding Trust 2006,
Case No. 14-04112 (Bankr. E.D. Mich.), filed in the Chapter 9 Case on January 31, 2014.

         86.       "COP Service Contracts" means, collectively, the (a) the GRS Service Contract 2005, dated
May 25, 2005, by and between the City and the Detroit General Retirement System Service Corporation; (b) the
PFRS Service Contract 2005, dated May 25, 2005, by and between the City and the Detroit Police and Fire
Retirement System Service Corporation; (c) the GRS Service Contract 2006, dated June 7, 2006, by and between the
City and the Detroit General Retirement System Service Corporation; and (d) the PFRS Service Contract 2006,
dated June 7, 2006, by and between the City and the Detroit Police and Fire Retirement System Service Corporation,
as each of the foregoing may have been subsequently amended, restated, supplemented or otherwise modified,
together with all ancillary and related instruments.

        87.      "COP Service Corporations" means, collectively, the Detroit General Retirement System Service
Corporation and the Detroit Police and Fire Retirement System Service Corporation.

          88.     "COP Swap Agreements" means the 1992 ISDA Master Agreements (Local Currency Single
Jurisdiction) between the COP Service Corporations and the COP Swap Counterparties, as set forth on
Exhibit I.A.88, together with all ancillary and related instruments and agreements, as the same may have been
subsequently amended, restated, supplemented or otherwise modified.

      89.        "COP Swap Claim" means a Claim by the COP Swap Counterparties arising under the COP Swap
Documents.

          90.      "COP Swap Collateral Agreement" means the Collateral Agreement among the City, the COP
Service Corporations, the COP Swap Collateral Agreement Custodian and the COP Swap Counterparties, together
with all ancillary and related instruments and agreements.

         91.    "COP Swap Collateral Agreement Custodian" means U.S. Bank National Association as custodian
under the COP Swap Collateral Agreement or any successor custodian.

        92.      "COP Swap Counterparties" means UBS AG and Merrill Lynch Capital Services, Inc., as
successor to SBS Financial Products Company LLC, under the COP Swap Documents.

       93.       "COP Swap Documents" means the COP Swap Agreements and the COP Swap Collateral
Agreement.

          94.      "COP Swap Exculpated Parties" means the COP Swap Counterparties and their affiliates and each
of their respective present and former (a) officers, (b) directors, (c) employees, (d) members, (e) managers,
(f) partners and (g) attorneys, attorneys-in-fact and other advisors, in each case solely in their capacity as such.



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        95.      "COP Swap Settlement" means that Settlement and Plan Support Agreement among the City and
the COP Swap Counterparties filed with the Bankruptcy Court on the docket of the Chapter 9 Case on
March 26, 2014 (Docket No. 3234), as the same may be subsequently amended, restated, supplemented or otherwise
modified in accordance therewith.

        96.     "COP Swap Settlement Approval Order" means the order entered by the Bankruptcy Court
approving the COP Swap Settlement (Docket No. 4094).

      97.     "COP Syncora Swap Insurance Policies" shall mean policy numbers CA03049E, CA03049D,
CA3049C and CA03049B issued by XL Capital Assurance Inc.

         98.      "COPs" means, collectively, the 2005 COPs and the 2006 COPs.

         99.       "COP Trustee" means Wilmington Trust, National Association, as Successor Trustee for the
Detroit Retirement Systems Funding Trust 2005 and the Detroit Retirement Systems Funding Trust 2006, or any
successor thereto.

         100.     "Counties" means, collectively, Macomb County, Oakland County and Wayne County.

         101.     "Cure Amount Claim" means a Claim based upon the City's defaults under an Executory Contract
or Unexpired Lease at the time such contract or lease is assumed by the City under section 365 of the Bankruptcy
Code to the extent such Claim is required to be cured by section 365 of the Bankruptcy Code.

         102.       "Current Accrued Annual Pension" means, with respect to any Holder of a Pension Claim, the
amount of annual pension benefits that the applicable Retirement System (a) is obligated to pay to such Holder as of
June 30, 2014 to the extent such Holder is retired or a surviving beneficiary and receiving, or terminated from City
employment and eligible to receive, a monthly pension as of such date or (b) would be obligated to pay such Holder
upon his or her future retirement to the extent such Holder is actively employed by the City on June 30, 2014,
assuming such Holder's annual pension is frozen as of June 30, 2014, and such Holder is no longer able to accrue
pension benefits after such date under the current terms and conditions of the applicable Retirement System, in
either case as reflected on the books and records of the applicable Retirement System as of June 30, 2014.

         103.   "Current GRS Retiree Adjustment Cap" means, if the funding from the State Contribution
Agreement and the DIA Settlement is received, an ASF/GRS Reduction in an amount not to exceed 20% of the
Current Accrued Annual Pension (including an interest component of 6.75% on the ASF Recoupment portion of the
ASF/GRS Reduction if the ASF Recoupment is amortized over time) of a person who was a current retiree as of
June 30, 2014.

          104.     "CUSIP" means the nine-character identifier (consisting of letters and numbers) that uniquely
identifies any particular issue of DWSD Bonds.

         105.     "Detroit General Retiree" means a retired employee or surviving beneficiary of a retired employee
of a department of the City who (a) is not a Detroit Police and Fire Retiree, (b) retired (or is a surviving beneficiary
of one who retired) on or before December 31, 2014 and (c) is a Holder of an OPEB Claim.

         106.     "Detroit General VEBA" means a voluntary employees' beneficiary association established in
accordance with section 501(c)(9) of the Internal Revenue Code of 1986, as amended, and regulations thereunder
  that provides health benefits to Detroit General VEBA Beneficiaries and certain of their dependents.

         107.     "Detroit General VEBA Beneficiary" means either (a) a Holder of an Allowed OPEB Claim who
is a Detroit General Retiree or (b) a retired employee (or surviving beneficiary of a retired employee) of the Detroit
Public Library or the Detroit Regional Convention Facility Authority who (i) retired (or is a surviving beneficiary of
one who retired) on or before December 31, 2014 and (ii) holds a valid claim for OPEB Benefits against the Detroit
Public Library or the Detroit Regional Convention Facility Authority.



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         108.    "Detroit General VEBA Trust Agreement" means the definitive documentation to be executed in
connection with the formation of the Detroit General VEBA, in substantially the form attached hereto as
Exhibit I.A.108.

          109.     "Detroit Police and Fire Retiree" means a retired employee or surviving beneficiary of a retired
employee of the Detroit Police Department or the Detroit Fire Department who (a) was not an employee of the
Emergency Medical Services Division of the Detroit Fire Department, (b) is a Holder of an OPEB Claim and
(c) retired (or was a surviving beneficiary of one who retired) on or before December 31, 2014.

         110.     "Detroit Police and Fire VEBA" means a voluntary employees' beneficiary association established
in accordance with section 501(c)(9) of the Internal Revenue Code of 1986, as amended, and regulations thereunder
that provides health benefits to Detroit Police and Fire VEBA Beneficiaries and certain of their dependents.

         111.     "Detroit Police and Fire VEBA Beneficiary" means a Holder of an Allowed OPEB Claim that is a
Detroit Police and Fire Retiree.

         112.      "Detroit Police and Fire VEBA Trust Agreement" means the definitive documentation to be
executed in connection with the formation of the Detroit Police and Fire VEBA, in substantially the form attached
hereto as Exhibit I.A.112.

        113.   "Detroit Retirement Systems Funding Trust 2005" means the funding trust established pursuant to
the 2005 COPs Agreement.

        114.   "Detroit Retirement Systems Funding Trust 2006" means the funding trust established pursuant to
the 2006 COPs Agreement.

         115.     "Developer" means FGIC or its designee(s) under the FGIC Development Agreement.

         116.     "DDA" means the City of Detroit Downtown Development Authority.

       117.   "DIA" means The Detroit Institute of Arts, a museum and cultural institution located at
5200 Woodward Avenue, Detroit, Michigan 48202.

         118.     "DIA Assets" means the "Museum Assets" as defined in the DIA Settlement Documents.

         119.     "DIA Corp." means The Detroit Institute of Arts, a Michigan non-profit corporation.

        120.      "DIA Direct Funders" means DIA Corp. and those DIA Funders whose commitments to contribute
monies in furtherance of the DIA Settlement are made directly to the CFSEM Supporting Organization.

         121.    "DIA Funders" means those persons, businesses, business-affiliated foundations and other
foundations from which DIA Corp. secures commitments, whether before or after the Effective Date, to contribute
monies or otherwise secures contributions of monies in support of DIA Corp.'s payment obligations under the DIA
Settlement, whether paid directly to the CFSEM Supporting Organization or to DIA Corp. for the purpose of
supporting DIA Corp.'s payments to the CFSEM Supporting Organization.

         122.     "DIA Funding Parties" means the Foundations and the DIA Direct Funders.

         123.     "DIA Proceeds" means, collectively, the irrevocable funding commitments described in
Section IV.E.1.

          124.    "DIA Proceeds Default Amount" means a reduction in the Adjusted Pension Amount of a Holder
of a Pension Claim (or a surviving beneficiary) by virtue of a DIA Proceeds Payment Default, as determined by the
trustees of the GRS or the PFRS, the aggregate amount of which shall be commensurate with the pertinent DIA
Proceeds Payment Default.


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         125.     "DIA Proceeds Payment Default" means a default that has not been cured during any applicable
grace period, as determined by the trustees of the GRS or the PFRS, by one or more DIA Funding Parties respecting
material amounts scheduled to be paid to the City in accordance with the DIA Settlement that the City, in turn, is
required to pay over to the GRS or the PFRS in accordance with the terms and conditions of the Plan.

         126.     "DIA Settlement" means the comprehensive settlement regarding the DIA Assets, as described at
Section IV.E and as definitively set forth in the DIA Settlement Documents, the principal terms of which are
attached hereto as Exhibit I.A.126.

         127.     "DIA Settlement Documents" means the definitive documentation to be executed in connection
with the DIA Settlement, in substantially the form attached hereto as Exhibit I.A.127, which documents substantially
conform to the term sheet attached hereto as Exhibit I.A.126.

         128.     "Disbursing Agent" means the disbursing agent(s) appointed pursuant to Section V.A.

         129.      "Disclosure Statement" means the disclosure statement (including all exhibits and schedules
thereto or referenced therein) that relates to the Plan and has been prepared and distributed by the City and approved
by the Bankruptcy Court in the Disclosure Statement Order, as the same may be amended, supplemented or
otherwise modified.

         130.     "Disclosure Statement Order" means the Order Approving the Proposed Disclosure Statement
(Docket No. 4401), entered by the Bankruptcy Court on the docket of the Chapter 9 Case on May 5, 2014,
approving the Disclosure Statement as containing adequate information pursuant to section 1125 of the Bankruptcy
Code, as it may have been subsequently amended, supplemented or otherwise modified.

         131.   "Discounted Value" means the net present value of all Net DWSD Transaction Proceeds to be
received immediately or in the future utilizing a 6.75% discount rate.

         132.      "Dismissed FGIC/COP Litigation" means all litigation pending between the City and FGIC
(including all appeals) arising out of or related to, and all motions or objections pending in, the Chapter 9 Case,
including the litigation set forth on Exhibit I.A.132, which litigation shall be dismissed or withdrawn as set forth in
the FGIC/COP Settlement Documents.

         133.      "Dismissed Syncora Litigation" means all litigation pending between the City and Syncora
(including all appeals) arising out of or related to, and all motions or objections pending in, the Chapter 9 Case,
including the litigation set forth on Exhibit I.A.133, which litigation shall be dismissed or withdrawn as set forth in
the Syncora Settlement Documents.

         134.     "Disputed Claim" means any Claim that is not Allowed.

        135.     "Distribution" means any initial or subsequent payment or transfer made on account of an Allowed
Claim under or in connection with the Plan.

         136.     "Distribution Amount" means the principal amount of $42,500,000 for each of the COP Swap
Counterparties, plus interest, on and after October 15, 2014, on the unpaid Net Amount at the rate applicable to
obligations under the Postpetition Financing Agreement, payable in cash in the manner set forth in the COP Swap
Settlement Agreement.

         137.     "Distribution Date" means any date on which a Distribution is made.

         138.     "Distribution Record Date" means 5:00 p.m., Eastern Time, on the Confirmation Date.

         139.     "District Court" means the United States District Court for the Eastern District of Michigan.




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          140.     "Document Website" means the internet site address http://www.kccllc.net/Detroit, at which the
Plan, the Disclosure Statement and all Filed Exhibits to the Plan shall be available to any party in interest and the
public, free of charge.

       141.    "Downtown Development Authority Claims" means Claims in respect of the Downtown
Development Authority Loans.

       142.      "Downtown Development Authority Loans" means loans made pursuant to that certain Loan
Agreement, dated August 26, 1991, by and between the City and the DDA, as the same may have been subsequently
amended, restated, supplemented or otherwise modified, together with all ancillary and related instruments and
agreements.

         143.     "DRCEA" means the Detroit Retired City Employees Association.

         144.     "DWSD" means the Detroit Water and Sewerage Department, which is a department of the City.

         145.    "DWSD Authority" means an authority that may be formed pursuant to a DWSD Authority
Transaction to conduct many or all of the operations currently conducted by DWSD as described in Section IV.A.3.

         146.     "DWSD Authority Transaction" means the potential formation (including the potential transfer of
certain assets owned by DWSD) and operation of the DWSD Authority, as described in Section IV.A.3.

      147.   "DWSD Bond Claims" means any Claim against the City arising under or evidenced by the
DWSD Bond Documents, including a Claim for principal and interest on the DWSD Bonds.

         148.    "DWSD Bond Documents" means the ordinances passed, resolutions adopted, orders issued or
indentures executed with respect to the DWSD Bonds, as set forth on Exhibit I.A.148, as the same may have been
subsequently amended, restated, supplemented or otherwise modified, together with all ancillary and related
instruments and agreements and all related Bond Insurance Policies.

         149.      "DWSD Bonds" means the secured bonds issued pursuant to the DWSD Bond Documents, as set
forth on Exhibit I.A.148.

         150.    "DWSD CVR" means a single series of contingent value right certificates representing the right to
receive 50% of the Net DWSD Transaction Proceeds received by the General Fund on account of a Qualifying
DWSD Transaction.

         151.     "DWSD Exculpated Parties" means, collectively, the DWSD Settlement Parties and their
respective parents, affiliates, shareholders, directors, officers, managers, employees, agents, attorneys, advisors,
accountants, restructuring consultants, financial advisors and investment bankers, solely in their capacity as such.

         152. "DWSD Revolving Bond Claims" means, collectively, the DWSD Revolving Sewer Bond Claims
and the DWSD Revolving Water Bond Claims.

      153.      "DWSD Revolving Bond Documents" means, collectively, the DWSD Revolving Sewer Bond
Documents and the DWSD Revolving Water Bond Documents.

      154.    "DWSD Revolving Bonds" means, collectively, the DWSD Revolving Sewer Bonds and the
DWSD Revolving Water Bonds.

        155.     "DWSD Revolving Sewer Bond Claims" means any Claim against the City arising under or
evidenced by the DWSD Revolving Sewer Bond Documents, including a Claim for principal and interest on the
DWSD Revolving Sewer Bonds.




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         156.      "DWSD Revolving Sewer Bond Documents" means the ordinances passed, resolutions adopted or
indentures or agreements executed with respect to the DWSD Revolving Sewer Bonds, as set forth on
Exhibit I.A.156, as the same may have been subsequently amended, restated, supplemented or otherwise modified,
together with all ancillary and related instruments and agreements and all related Bond Insurance Policies.

        157.    "DWSD Revolving Sewer Bonds" means the secured bonds issued pursuant to the DWSD
Revolving Sewer Bond Documents, as set forth on Exhibit I.A.156.

        158.     "DWSD Revolving Water Bond Claims" means any Claim against the City arising under or
evidenced by the DWSD Revolving Water Bond Documents, including a Claim for principal and interest on the
DWSD Revolving Water Bonds.

         159.      "DWSD Revolving Water Bond Documents" means the ordinances passed, resolutions adopted or
indentures or agreements executed with respect to the DWSD Revolving Water Bonds, as set forth on
Exhibit I.A.159, as the same may have been subsequently amended, restated, supplemented or otherwise modified,
together with all ancillary and related instruments and agreements and all related Bond Insurance Policies.

        160.    "DWSD Revolving Water Bonds" means the secured bonds issued pursuant to the DWSD
Revolving Water Bond Documents, as set forth on Exhibit I.A.159.

          161.      "DWSD Series" means an individual issue of DWSD Revolving Bonds having the same lien
priority, issue date and series designation.

          162.      "DWSD Settlement Date" means the date prior to the Effective Date upon which each of
(i) consummation of the purchase of the DWSD Tendered Bonds, (ii) issuance of the 2014 DWSD Refinancing
Obligations and (iii) issuance of the 2014 Revenue Refinancing Bonds occurs, which date is identified as September
4, 2014 in the DWSD Tender Invitations (subject to rescheduling to a date earlier or later than that date by the City
in its sole discretion).

          163.     "DWSD Settlement Parties" means, collectively, Assured Guaranty Municipal Corp., formerly
known as Financial Security Assurance Inc., Berkshire Hathaway Assurance Corp., FGIC (solely in its capacity as a
DWSD Bond Insurer), NPFG, the Ad Hoc Committee of DWSD Bondholders and U.S. Bank National Association,
as trustee for the DWSD Bonds.

         164.      "DWSD Tender" means the offers, subject to acceptance at the City's election and in its sole
discretion, to purchase for cancellation some or all of the DWSD Bonds that have been tendered and accepted in
connection with, and on the terms provided in, the DWSD Tender Invitations.

         165.     "DWSD Tendered Bonds" means the DWSD Bonds that have been tendered for purchase or
cancellation pursuant to the DWSD Tender.

         166.     "DWSD Tender Invitations" means the invitations and accompanying disclosure statements sent
by the City to holders of DWSD Bonds on August 7, 2014, in the form of those collectively attached as Exhibits 8A
and 8B to the DWSD Tender Motion.

         167.     "DWSD Tender Motion" means the Motion of the Debtor for a Final Order Pursuant to
(I) 11 U.S.C. §§105, 364(c), 364(d)(1), 364(e), 902, 904, 921, 922 and 928 (A) Approving Postpetition Financing
and (B) Granting Liens and (II) Bankruptcy Rule 9019 Approving Settlement of Confirmation Objections (Docket
No. 6644), Filed by the City on August 11, 2014.

         168.     "DWSD Tender Order" means the Order, Pursuant to (I) 11 U.S.C. §§ 105, 364(c), 364(d)(1),
364(e), 902, 904, 921, 922 and 928 (A) Approving Postpetition Financing and (B) Granting Liens and (II)
Bankruptcy Rule 9019 Approving Settlement of Confirmation Objections (Docket No. 7028), entered by the
Bankruptcy Court on the docket of the Chapter 9 Case on August 25, 2014.



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         169.    "Effective Date" means the Business Day, as determined by the City, on which each applicable
condition contained in Section III.A has been satisfied or waived.

         170.      "Eligible Pensioner" means a Holder of a Pension Claim who is eligible to receive an Income
Stabilization Payment because such Holder (a) is, as of the Effective Date, at least 60 years of age or is a minor child
receiving survivor benefits from GRS or PFRS and (b) has an aggregate annual household income equal to or less
than 140% of the Federal Poverty Level in 2013 (as determined by reference to their (or in the case of minor
children, their legal guardian's) 2013 income tax returns or equivalent documentation); provided, that no new
persons will be eligible to receive Income Stabilization Payments at any time in the future, and any minor child
receiving survivor benefits shall cease to be an Eligible Pensioner after he or she turns 18 years of age.

         171.     "Emergency Manager" means Kevyn D. Orr, in his capacity as emergency manager for the City
serving in accordance with PA 436 or any successor emergency manager.

          172.     "Employee Health and Life Insurance Benefit Plan" means the Employee Health and Life
Insurance Benefit Plan, a welfare benefit plan sponsored and administered by the City, which provides health,
dental, vision care and life insurance benefits to (a) all officers and employees of the City who were employed on
the day preceding the effective date of the benefit plan, and who continue to be employed by the City on and after
the Effective Date and (b) substantially all retired officers and employees of the City.

       173.     "Employees Death Benefit Board of Trustees" means the governing board of the City of Detroit
Employee Health and Life Insurance Benefit Plan, which operates and administers the Employees Death Benefit
Plan.

         174.    "Employees Death Benefit Plan" means the City of Detroit Employee Death Benefit Plan, a
pre-funded defined benefit plan and trust administered by the Employees Death Benefit Board of Trustees that
provides supplemental death benefits to active and retired officers and employees of the City.

         175.     "Entity" shall have the meaning set forth in section 101(15) of the Bankruptcy Code.

         176.      "Estimated Future Liability" means the Income Stabilization Payments anticipated to be made
from GRS or PFRS, as applicable, in the future in order for the respective Retirement System to fulfill the obligation
to make Income Stabilization Payments, as determined by the respective Retirement System's board of trustees in
the year 2022, provided that the State has not issued a certificate of default under the State Contribution Agreement
with respect to the Retirement System at any time prior to 2022.

        177.    "Excess Assets" means the amount by which, if at all, the Income Stabilization Fund of either
GRS or PFRS is credited with assets in excess of its Estimated Future Liability.

         178.     "Excess New B Notes" means, collectively: (a) the Syncora Excess New B Notes and (b) New B
Notes in the aggregate face amount of approximately $48.71 million, representing the difference between (i) the
New B Notes that would have been distributed to FGIC or the FGIC COP Holders had their respective asserted COP
Claims for principal and interest in Class 9 been Allowed in full and (ii) the New B Notes to be provided to FGIC
and the FGIC COP Holders as partial consideration pursuant to the terms of the FGIC/COP Settlement.

         179.      "Excluded Actions" means (a) any claims with respect to enforcement of the FGIC/COP
Settlement Documents or the FGIC Development Agreement, (b) any claims with respect to the New B Notes, the
New C Notes or the Class 9 Settlement Credits, (c) any claims held by FGIC against the (i) COP Swap
Counterparties or (ii) Related Entities of any of the foregoing, or (d) any claims asserted against the City in the
proofs of claim filed by FGIC and the COP Trustee; provided that, with respect to the claims described in clause
(d), notwithstanding any other provision of the Plan, such claims shall be subject to the treatment, discharge and
injunction provisions set forth herein.

          180.     "Exculpated Parties" means, collectively and individually, (a) the RDPFFA and its board of
trustees/directors, attorneys, advisors and professionals, (b) the DRCEA and its board of trustees/directors,


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attorneys, advisors and professionals, (c) the postpetition officers of the Detroit Police Lieutenants and Sergeants
Association, (d) the postpetition officers of the Detroit Police Command Officers Association, (e) GRS and its
postpetition professional advisors, (f) PFRS and its postpetition professional advisors, (g) Gabriel, Roeder, Smith &
Company, (h) the COP Swap Exculpated Parties, (i) the LTGO Exculpated Parties, (j) the UTGO Exculpated
Parties, (k) the DWSD Exculpated Parties, (l) the RDPMA Exculpated Parties, (m) the Syncora Exculpated Parties,
(n) the COP Agent and (o) the FGIC/COP Exculpated Parties. For the avoidance of doubt, Exculpated Parties shall
not include the COP Service Corporations.

        181.     "Executory Contract" means a contract to which the City is a party that is subject to assumption,
assumption and assignment, or rejection under section 365 of the Bankruptcy Code.

         182.     "Exhibits" means, collectively, the documents listed on the "Table of Exhibits" included herein, all
of which will be made available on the Document Website once they are Filed. The City reserves the right, in
accordance with the terms hereof, to modify, amend, supplement, restate or withdraw any of the Exhibits after they
are Filed and shall promptly make such changes available on the Document Website.

         183.     "Exit Facility" means a credit facility that will be entered into by the City, the Exit Facility Agent
and the other financial institutions party thereto on the Effective Date on substantially the terms set forth on
Exhibit I.A.183.

         184.     "Exit Facility Agent" means the agent under the Exit Facility.

          185.      "Face Amount" means either (a) the full stated amount claimed by the holder of such Claim in any
proof of Claim Filed by the Bar Date or otherwise deemed timely Filed under applicable law, if the proof of Claim
specifies only a liquidated amount; (b) if no proof of Claim is Filed by the Bar Date or otherwise deemed timely
Filed under applicable law, the full amount of the Claim listed on the List of Creditors, provided that such amount is
not listed as disputed, contingent or unliquidated; or (c) the amount of the Claim (i) acknowledged by the City in any
objection Filed to such Claim, (ii) estimated by the Bankruptcy Court for such purpose pursuant to section 502(c) of
the Bankruptcy Code, or (iii) proposed by City, if (A) no proof of Claim has been Filed by the Bar Date or has
otherwise been deemed timely Filed under applicable law and such amount is not listed in the List of Creditors or is
listed in List of Creditors as disputed, contingent or unliquidated or (B) the proof of Claim specifies an unliquidated
amount (in whole or in part).

         186.     "Federal Poverty Level" means the poverty guidelines issued each year in the Federal Register by
the United States Department of Health and Human Services.

         187.    "Fee Examiner" means Robert M. Fishman, in his capacity as the fee examiner appointed pursuant
to the Fee Examiner Order.

        188.     "Fee Examiner Order" means the Order Appointing Fee Examiner (Docket No. 383), entered by
the Bankruptcy Court on the docket of the Chapter 9 Case on August 19, 2013, as it may have been amended,
supplemented or otherwise modified.

         189.     "Fee Examiner Parties" means, collectively, (a) the Fee Examiner and (b) all counsel and other
professionals advising the Fee Examiner whose fees and expenses are subject to the Fee Review Order.

        190.     "Fee Review Order" means the Fee Review Order (Docket No. 810), entered by the Bankruptcy
Court on the docket of the Chapter 9 Case on September 11, 2013, as it may have been amended, supplemented or
otherwise modified, including pursuant to the Order Amending and Clarifying Fee Review Order of
September 11, 2013 (Docket No. 5150), entered on May 29, 2014.

         191.   "Fee Review Professionals" means, collectively, (a) those professionals retained by the City and
the Retiree Committee to render services in connection with the Chapter 9 Case who seek payment of compensation
and reimbursement of expenses from the City for postpetition services pursuant to and in accordance with the Fee
Review Order and (b) those additional professionals retained by third parties to provide services in connection with


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the Chapter 9 Case that seek reimbursement by or payment from the City or any of its departments and are, or are
determined (by Bankruptcy Court order or otherwise) to be, subject to the Fee Review Order or the terms of this
Plan. For the avoidance of doubt, any professionals retained by any official committee appointed in the Chapter 9
Case other than the Retiree Committee are not Fee Review Professionals.

         192.     "Fee Review Professional Fees" means, collectively, (a) the fees and expenses of the Fee Review
Professionals incurred during the period beginning on the Petition Date and ending on the Effective Date and (b) the
fees and expenses of the Fee Examiner Parties through the projected date of dismissal of the Fee Examiner pursuant
to Section IV.N.3.

         193.     "FGIC" means Financial Guaranty Insurance Company.

          194.     "FGIC/COP Exculpated Parties" means (a) FGIC and its Related Entities, (b) the FGIC COP
Holders and their respective Related Entities and (c) the COP Agent and its Related Entities, in each case solely in
their respective capacities as holders of, insurer of or administrator, trustee, or paying agent with respect to COP
Claims.

         195.     "FGIC COP Holders" means the registered and beneficial holders of COPs originally insured by
FGIC.

         196.     "FGIC/COP Settlement" means the comprehensive settlement with FGIC and the FGIC COP
Holders, as described at Section IV.J and as definitively set forth in the FGIC/COP Settlement Documents.

          197.     "FGIC/COP Settlement Documents" means the definitive documentation to be executed in
connection with the FGIC/COP Settlement, in substantially the form attached hereto as Exhibit I.A.197, and in any
case in form and substance reasonably acceptable to the City, FGIC and the FGIC COP Holders. Whenever the
consent of the FGIC COP Holders is required hereunder, or any document is required to be reasonably satisfactory
to the FGIC COP Holders, such consent shall be deemed given and such document shall be deemed reasonably
satisfactory unless within the period of time specified for such consent or document (which shall be reasonable
under the circumstances and in any event not less than 48 hours after the request for such consent or proposed
document shall have been filed with the court) unless beneficial holders of a majority of the COPs originally insured
by FGIC shall have objected in writing to the action or document.

         198.     "FGIC Development Agreement" means that certain development agreement to be entered into by
the City and the Developer, in substantially the form attached hereto as Exhibit I.A.198.

         199.     "FGIC Settlement Consideration" means the share of the Class 9 Settlement Asset Pool and New
B Notes to be distributed for the benefit of FGIC and the FGIC COP Holders pursuant to Section II.B.3.p.i.A in
respect of COPs originally insured by FGIC.

         200.     "File," "Filed," or "Filing" means file, filed or filing with the Bankruptcy Court or the Claims and
Balloting Agent, as applicable, in the Chapter 9 Case.

          201.      "Final Order" means an order or judgment of the Bankruptcy Court, or any other court of
competent jurisdiction, as entered on the docket in the Chapter 9 Case or the docket of any other court of competent
jurisdiction, that has not been reversed, stayed, modified or amended, and as to which the time to appeal or seek
certiorari or move, under Bankruptcy Rule 9023 or Rule 59 of the Federal Rules of Civil Procedure, for a new trial,
reargument or rehearing has expired, and no appeal or petition for certiorari or other proceedings for a new trial,
reargument or rehearing has been timely taken, or as to which any appeal that has been taken or any petition for
certiorari that has been timely filed has been withdrawn or resolved by the highest court to which the order or
judgment was appealed or from which certiorari was sought or the new trial, reargument or rehearing shall have
been denied or resulted in no modification of such order; provided that the possibility that a motion under Rule 60 of
the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed shall not
prevent such order from being a Final Order.



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         202.     "Financial Review Commission" means the financial review commission appointed under
Section 4 of the Financial Review Commission Act.

        203.     "Financial Review Commission Act" means Public Act 181 of 2014 of the State, also known as
the Michigan Financial Review Commission Act, Michigan Compiled Laws §§ 141.1631, et seq.

          204.     "Fiscal Year" means a fiscal year for the City, commencing on July 1 of a year and ending on
June 30 of the following year. A Fiscal Year is identified by the calendar year in which the Fiscal Year ends, such
that, for example, the 2015 Fiscal Year is the Fiscal Year commencing on July 1, 2014, and ending on
June 30, 2015.

         205.    "Foundations" means those entities identified on Exhibit B to the summary of the material terms
of the DIA Settlement, which is attached hereto as Exhibit I.A.126.

         206.   "General Fund" means the primary governmental fund and the chief operating fund of the City,
which fund accounts for several of the City's primary services, including police, fire, public works, community and
youth services.

        207.    "General Obligation Bond Claims" means, collectively, the Limited Tax General Obligation Bond
Claims and the Unlimited Tax General Obligation Bond Claims.

       208.    "General Obligation Bond Documents" means, collectively, the Limited Tax General Obligation
Bond Documents and the Unlimited Tax General Obligation Bond Documents.

        209.     "General Obligation Bonds" means, collectively, the Limited Tax General Obligation Bonds and
the Unlimited Tax General Obligation Bonds.

         210.     "GRS" means the General Retirement System of the City of Detroit.

        211.    "GRS Adjusted Pension Amount" means, with respect to a Holder of a GRS Pension Claim, the
Current Accrued Annual Pension payable to such Holder as adjusted in accordance with the following formulas:

         (a) If Classes 10 and 11 vote to accept the Plan, and funding is received from the DIA Settlement and the
         State Contribution Agreement: for a Holder of a GRS Pension Claim who is (i) either retired and receiving
         a monthly pension or a surviving beneficiary or (ii) an Active Employee or a terminated employee with a
         right to receive a GRS pension in the future, elimination of the right to supplemental pension benefits to be
         paid after July 1, 2014 in respect of COLAs, plus an additional 4.5% reduction in the Current Accrued
         Annual Pension amount, plus the ASF Recoupment, provided that ASF Recoupment shall not apply to a
         surviving beneficiary of a retiree who died prior to June 30, 2014; and

         (b) If Classes 10 and 11 do not vote to accept the Plan or funding is not received from the DIA Settlement
         and the State Contribution Agreement: for a Holder of a GRS Pension Claim who is (i) either retired and
         receiving a monthly pension or a surviving beneficiary or (ii) an Active Employee or a terminated
         employee with a right to receive a GRS pension in the future, elimination of the right to supplemental
         pension benefits to be paid after July 1, 2014 in respect of COLAs, plus an additional 27% reduction in the
         Current Accrued Annual Pension amount, plus the ASF Recoupment; provided that ASF Recoupment shall
         not apply to a surviving beneficiary of a retiree who died prior to June 30, 2014; and provided further, that
         with respect to Holders who are Active Employees, in the event the unfunded liabilities of the GRS for the
         plan year ending June 30, 2014 are greater than the unfunded liabilities of the GRS as of June 30, 2013, the
         monthly pension amount shall be decreased to the extent necessary to ensure that there is no change in the
         amount of the underfunding between Fiscal Years 2013 and 2014.

         212.     "GRS Pension Claim" means any Claim (other than an OPEB Claim), whether asserted by current
or former employees of the City or any participants in GRS, their heirs or beneficiaries or by the GRS or any trustee
thereof or any other Entity acting on the GRS's behalf, against the City or any fund managed by the City (including,


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but not limited to, the General Fund, the water fund, the sewage disposal fund, the Detroit General Retirement
System Service Corporation fund or the pension funds) based upon, arising under or related to any agreement,
commitment or other obligation, whether evidenced by contract, agreement, rule, regulation, ordinance, statute or
law for (a) any pension, disability or other post-retirement payment or distribution in respect of the employment of
current or former employees or (b) the payment by the GRS to persons who at any time participated in, were
beneficiaries of or accrued post-retirement pension or financial benefits under the GRS.

        213.     "GRS Restoration Payment" means an addition to the pension benefits that comprise the GRS
Adjusted Pension Amount as described in Exhibit II.B.3.r.ii.C.

        214.     "Holder" means an Entity holding a Claim. With respect to any COP originally insured by FGIC,
"Holder" includes the beneficial holders of any such COP.

       215.     "HUD Installment Note Claims" means any Claim against the City arising under or evidenced by
the HUD Installment Note Documents, including a Claim for principal and interest on the HUD Installment Notes.

         216.    "HUD Installment Note Documents" means the promissory notes executed with respect to the
HUD Installment Notes, as set forth on Exhibit I.A.216, as the same may have been subsequently amended, restated,
supplemented or otherwise modified, together with all ancillary and related instruments and agreements and all
related Bond Insurance Policies.

       217.     "HUD Installment Notes" means, collectively, the secured notes issued under the HUD Installment
Note Documents, as set forth on Exhibit I.A.216.

        218.     "Impaired" means, with respect to a Class or a Claim, that such Class or Claim is impaired within
the meaning of section 1124 of the Bankruptcy Code.

         219.      "Income Stabilization Benefit" means a supplemental pension benefit in an amount necessary to
ensure that (a) each Eligible Pensioner's total household income is equal to 130% of the Federal Poverty Level in
2013 or (b) the annual pension benefit payment payable to each Eligible Pensioner equals 100% of the annual
pension benefit payment actually received by the Eligible Pensioner in 2013, whichever amount is lower.

          220.     "Income Stabilization Benefit Plus" means a supplemental pension benefit in an amount necessary
to ensure that (a) an Eligible Pensioner's estimated adjusted annual household income (as determined by the
applicable Retirement System) in a given calendar year is equal to 105% of the Federal Poverty Level for such year
or (b) the annual pension benefit payment payable to an Eligible Pensioner equals 100% of the Eligible Pensioner's
Current Accrued Annual Pension, plus COLAs, whichever amount is lower.

         221.     "Income Stabilization Payments" means the Income Stabilization Benefit and the Income
Stabilization Benefit Plus, which will be paid from the Income Stabilization Fund in each of GRS and PFRS to
Eligible Pensioners in accordance with the State Contribution Agreement.

          222.     "Income Stabilization Fund" means a separate recordkeeping sub-account that will be established
in each of GRS and PFRS for the sole purpose of paying Income Stabilization Payments to Eligible Pensioners. The
assets credited to these sub-accounts will be invested on a commingled basis with the GRS and PFRS assets, as
applicable, and will be credited with a pro rata portion of the applicable Retirement System's earnings and losses.

          223.     "Indirect 36th District Court Claim" means any claim arising in connection with a Cause of Action
against the 36th District Court, solely to the extent that (a) the 36th District Court is entitled to receive funding from
the City to satisfy any such claim and (b) any Claim for such funding by the 36th District Court is resolved pursuant
to the Plan and the 36th District Court Settlement.

         224.      "Indirect Employee Indemnity Claim" means any claim against an employee or former employee
of the City with respect to which such employee has an Allowed Claim against the City for indemnification or



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payment or advancement of defense costs based upon, arising under or related to any agreement, commitment or
other obligation, whether evidenced by contract, agreement, rule, regulation, ordinance, statute or law.

       225.     "Insured LTGO Bonds" means those Limited Tax General Obligation Bonds that are insured by
the LTGO Insurer.

         226.      "Investment Committee" means, as applicable, the investment committee established by GRS or
PFRS for the purpose of making recommendations to, and approving certain actions by, the respective Retirement
System's board of trustees or making determinations and taking action under, and with respect to certain matters
described in, the State Contribution Agreement.

          227.     "Liabilities" means any and all claims, obligations, suits, judgments, damages, demands, debts,
rights, derivative claims, causes of action and liabilities, whether liquidated or unliquidated, fixed or contingent,
matured or unmatured, known or unknown, foreseen or unforeseen, arising in law, equity or otherwise, that are
based in whole or in part on any act, event, injury, omission, transaction, agreement, employment, exposure or other
occurrence taking place on or prior to the Effective Date.

         228.     "Lien" shall have the meaning set forth in section 101(37) of the Bankruptcy Code.

         229.    "Limited Tax General Obligation Bond Claim" means any Claim against the City arising under or
evidenced by the Limited Tax General Obligation Bond Documents, including a Claim for principal and interest on
the Limited Tax General Obligation Bonds.

          230.    "Limited Tax General Obligation Bond Documents" means the resolutions adopted and orders
issued with respect to the Limited Tax General Obligation Bonds, as set forth on Exhibit I.A.230, as the same may
have been subsequently amended, restated, supplemented or otherwise modified, together with all ancillary and
related instruments and agreements and all related Bond Insurance Policies.

         231.    "Limited Tax General Obligation Bonds" means, collectively, the unsecured bonds issued under
the Limited Tax General Obligation Bond Documents, as set forth on Exhibit I.A.230.

          232.     "Liquidity Event" shall be deemed to occur only if the City has at all times complied with its
obligations under the COP Swap Settlement to use its best efforts to secure sufficient exit financing as set forth
therein, but is nonetheless unable to secure sufficient exit financing to pay the Net Amount on or promptly following
the Effective Date.

         233.     "List of Creditors" means the Second Amended List of Creditors and Claims, Pursuant to
Sections 924 and 925 of the Bankruptcy Code (together with the summaries and schedules attached thereto),
attached as Exhibit A to the Notice of Filing of Second Amended List of Creditors and Claims, Pursuant to
Sections 924 and 925 of the Bankruptcy Code (Docket No. 1059), Filed by the City on September 30, 2013, as such
list, summaries or schedules may be amended, restated, supplemented or otherwise modified.

          234.     "LTGO Distribution Agent" means U.S. Bank National Association, in its capacity as agent under
a distribution agreement to be entered into in connection with the LTGO Settlement Agreement or such other entity
as may be agreed to among the parties to the LTGO Settlement Agreement.

          235.     "LTGO Exculpated Parties" means (a) the LTGO Insurer, (b) BlackRock Financial Management,
solely in its capacity as a Holder of Limited Tax General Obligation Bonds, and (c) their respective parents,
affiliates, shareholders, directors, officers, managers, employees, agents, attorneys, advisors, accountants,
consultants, financial advisors and investment bankers, solely in their capacity as such.

         236.      "LTGO Insurer" means Ambac, solely in its capacity as insurer of certain of the City's obligations
with respect to the Limited Tax General Obligation Bonds.




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         237.      "LTGO Settlement Agreement" means the comprehensive settlement regarding Limited Tax
General Obligation Bond Claims and related Bond Insurance Policy Claims, substantially in the form attached
hereto as Exhibit I.A.237.

      238.     "LTGO Settlement Parties" means (a) the LTGO Insurer and (b) BlackRock Financial
Management, on behalf of certain managed funds and accounts set forth in the LTGO Settlement Agreement.

         239.     "Macomb County" means the County of Macomb, Michigan.

         240.     "Mayor" means the duly-elected mayor of the City.

         241.     "MFA" means the Michigan Finance Authority.

          242.   "Municipal Obligation" means the local government municipal obligation to be delivered by the
City to the MFA in accordance with the UTGO Settlement Agreement and applicable law.

         243.     "NPFG" means National Public Finance Guarantee Corporation.

        244.   "Net Amount" means the Distribution Amount less the sum of all quarterly payments received by
the COP Swap Counterparties under the COP Swap Collateral Agreement in respect of amounts owed under the
COP Swap Agreements since January 1, 2014.

          245.      "Net DWSD Transaction Proceeds" means (a) the cash proceeds received by or for the benefit of,
or for attribution to, the General Fund as a result of a Qualifying DWSD Transaction less (1) any cash payments
made by or on behalf of the General Fund in connection with a Qualifying DWSD Transaction, (2) any cash
payments previously anticipated or projected to be contributed to GRS by DWSD but for the Qualifying DWSD
Transaction and (3) any cash payments previously anticipated or projected to be received by or on behalf of the
General Fund but for the Qualifying DWSD Transaction; and (b) any other net payments, assumption of scheduled
monetary liability or cancellation of indebtedness or other monetary obligations that inures to the direct benefit of
the General Fund as a result of the Qualifying DWSD Transaction. In applying this definition, the City and the
Restoration Trust (or the Retiree Committee if prior to the Effective Date) will work to develop a schedule of Net
DWSD Transaction Proceeds at the time of the Qualifying DWSD Transaction that will inform any Value
Determination (if requested) and allow the parties to subsequently track actual results and adjust applicable pension
restoration levels accordingly.

      246.      "New B Notes" means the unsecured bonds to be issued by the City pursuant to the New B Notes
Documents, substantially on the terms set forth on Exhibit I.A.246.

         247.     "New B Notes Documents" means the ordinances to be passed, resolutions to be adopted, orders to
be issued or indentures to be executed with respect to the New B Notes, in substantially the form attached hereto as
Exhibit I.A.247.

        248.      "New C Notes" means the unsecured bonds to be issued by the City pursuant to the New C Notes
Documents, substantially on the terms set forth on Exhibit I.A.248 and in any case in form and substance reasonably
acceptable to the City and Syncora.

         249.     "New C Notes Documents" means the ordinances to be passed, resolutions to be adopted, orders to
be issued or indentures to be executed with respect to the New C Notes, in substantially the form attached hereto as
Exhibit I.A.249 and in any case in form and substance reasonably acceptable to the City and Syncora.

         250.     "New GRS Active Pension Plan" means the terms and conditions for future accrual and payment
of pensions for active non-public safety employees of the City or another entity that participates in GRS in
connection with employment service performed on and after July 1, 2014, in substantially the form attached hereto
as Exhibit I.A.250.a and the material terms of which are attached hereto as Exhibit I.A.250.b.



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          251.     "New GRS Active Pension Plan Formula" means an accrual rate for active employee participants
in the GRS for benefits earned for service on or after July 1, 2014 that equals the product of (a) 1.5% multiplied by
(b) an employee's average base compensation over such employee's final 10 years of service, multiplied by (c) such
employee's years of service after July 1, 2014. For purposes of this definition, base compensation will exclude
overtime, longevity or other bonuses, and unused sick leave, and the New GRS Active Pension Plan Formula will be
part of a hybrid program that will contain rules to shift funding risk to participants in the event of underfunding of
hybrid pensions, and mandate minimum retirement ages for unreduced pensions.

         252.     "New LTGO Bond Documents" means the ordinances to be passed, resolutions to be adopted,
orders to be issued or indentures to be executed with respect to the New LTGO Bonds, in substantially the form
attached as an exhibit to the LTGO Settlement Agreement.

      253.      "New LTGO Bonds" means the bonds to be issued by the City pursuant to the New LTGO Bond
Documents, substantially on the terms set forth on Schedule 1 of the LTGO Settlement Agreement.

          254.     "New PFRS Active Pension Plan" means the terms and conditions for future accrual and payment
of pensions for active public safety employees of the City in connection with employment service performed on and
after July 1, 2014, in substantially the form attached hereto as Exhibit I.A.254.a and the material terms of which are
attached hereto as Exhibit I.A.254.b.

          255.     "New PFRS Active Pension Plan Formula" means an accrual rate for active employee participants
in the PFRS for benefits earned on or after July 1, 2014 that equals the product of (a) 2.0% multiplied by (b) an
employee's average base compensation over the employee's final five years of service, as set forth on Exhibit
I.A.254.b, multiplied by (c) such employee's years of service after July 1, 2014. For purposes of this definition, base
compensation will mean the employee's actual base compensation and will exclude overtime, longevity or other
bonuses, and unused sick leave, and the New PFRS Active Pension Plan Formula will be part of a hybrid program
that will contain rules to shift funding risk to participants in the event of underfunding of hybrid pensions, and
mandate minimum retirement ages for unreduced pensions.

        256.     "New Securities" means, collectively, the New B Notes, the New C Notes, the New LTGO Bonds
and the Municipal Obligation.

        257.      "Non-Settling UTGO Bond Insurer" means, together, Syncora Capital Assurance Inc. and Syncora
Guarantee Inc., solely in their capacity as insurers of certain of the City's obligations with respect to the Unlimited
Tax General Obligation Bonds.

         258.     "Oakland County" means the County of Oakland, Michigan.

        259.       "OPEB Benefits" means, collectively, post-retirement health, vision, dental, life and death benefits
provided to retired employees of the City, the Detroit Public Library or the Detroit Regional Convention Facility
Authority and their surviving beneficiaries pursuant to the Employee Health and Life Insurance Benefit Plan, the
Employees Death Benefit Plan or any comparable plan, including the members of the certified class in the action
captioned Weiler et. al. v. City of Detroit, Case No. 06-619737-CK (Wayne County Circuit Court), pursuant to the
"Consent Judgment and Order of Dismissal" entered in that action on August 26, 2009.

         260.      "OPEB Claim" means any Claim against the City for OPEB Benefits held by a retiree who retired
on or before December 31, 2014 and is otherwise eligible for OPEB Benefits, and any eligible surviving
beneficiaries of such retiree.

         261.  "Other Secured Claim" means a Secured Claim, other than a COP Swap Claim, a DWSD Bond
Claim, a DWSD Revolving Bond Claim, a HUD Installment Note Claim or a Secured GO Bond Claim.

         262.    "Other Unsecured Claim" means any Claim that is not an Administrative Claim, a Convenience
Claim, a COP Claim, a Downtown Development Authority Claim, a General Obligation Bond Claim, a GRS
Pension Claim, an OPEB Claim, a PFRS Pension Claim, a Secured Claim, an Indirect 36th District Court Claim or a


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Subordinated Claim. For the avoidance of doubt, Section 1983 Claims and Indirect Employee Indemnity Claims are
included within the definition of Other Unsecured Claim.

        263.     "PA 436" means Public Act 436 of 2012 of the State, also known as the Local Financial Stability
and Choice Act, Michigan Compiled Laws §§ 141.1541-141.1575.

         264.      "Parking Garages" means, collectively, parking garages owned by the City other than (a) that
certain underground parking garage, commonly known as the "Grand Circus Parking Garage," located at 1600-01
Woodward Avenue, Detroit, Michigan, (b) that certain underground parking garage, commonly known as the
"Cultural Center Garage," located at 41 Farnsworth Street, Detroit, Michigan and (c) that certain multi-story parking
structure near the Riverfront Arena with an address of 900 W. Jefferson Avenue, Detroit, Michigan having a
capacity of approximately 3,200 car spaces commonly known as "Joe Louis Arena Garage." For the avoidance of
doubt, (a) that certain parking lot located at 5200 Woodward Avenue, Detroit, Michigan and (b) that certain parking
lot, commonly known as the "Frederick Lot," located at 318 Frederick Street, Detroit, Michigan, shall not be
considered Parking Garages.

         265.      "Pass-Through Obligations" means the City's obligations to the Pass-Through Recipients with
respect to which the City acts, or may in the future act, as a tax-collecting agent for tax increment revenues derived
from property taxes of the City and certain other taxing jurisdictions and required to be transmitted by the Treasurer
of the City to the Pass-Through Recipients under their respective tax increment financing enabling statutes.

        266.      "Pass-Through Recipients" means, collectively, the (a) DDA, (b) Local Development Finance
Authority, (c) Detroit Brownfield Redevelopment Authority and (d) City of Detroit Eight Mile/Woodward Corridor
Improvement Authority, each of which are separate legal entities from the City.

         267.     "Pension Claim" means a GRS Pension Claim or a PFRS Pension Claim.

         268.     "Petition Date" means July 18, 2013.

         269.     "PFRS" means the Police and Fire Retirement System of the City of Detroit.

        270.    "PFRS Adjusted Pension Amount" means, with respect to a Holder of a PFRS Pension Claim, the
Current Accrued Annual Pension payable to such Holder as adjusted in accordance with the following formulas:

         (a) If Classes 10 and 11 vote to accept the Plan, and funding is received from the DIA Settlement and the
         State Contribution Agreement: Holders of PFRS Pension Claims will continue to receive their Current
         Accrued Annual Pension, but COLAs from and after June 30, 2014 shall be 45% of the COLAs provided
         for in police and fire collective bargaining agreements, other contracts or ordinances; and

         (b) If Classes 10 and 11 do not vote to accept the Plan or funding is not received from the DIA Settlement
         and the State Contribution Agreement: (i) for a Holder of a PFRS Pension Claim who is (A) either retired
         and receiving a monthly pension or a surviving beneficiary or (B) a terminated employee with a right to
         receive a PFRS pension in the future, elimination of the right to supplemental pension benefits to be paid
         after July 1, 2014 in respect of COLAs; and (ii) for a Holder of a PFRS Pension Claim who is an Active
         Employee, elimination of the right to supplemental pension benefits to be paid after July 1, 2014 in respect
         of COLAs, plus elimination of the deferred retirement option plan feature of PFRS for certain Active
         Employees who have not already irrevocably elected to participate in the feature; provided that, with
         respect to Holders that are Active Employees, in the event the unfunded liabilities of the PFRS for the plan
         year ending June 30, 2014 are greater than the unfunded liabilities of the PFRS as of June 30, 2013, the
         monthly pension amount shall be reduced to the extent necessary to ensure that there is no change in the
         amount of the underfunding between Fiscal Years 2013 and 2014.

         271.      "PFRS Pension Claim" means any Claim (other than an OPEB Claim), whether asserted by
current or former employees of the City, their heirs or beneficiaries or by the PFRS or any trustee thereof or any
other Entity acting on the PFRS's behalf, against the City or any fund managed by the City (including, but not


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limited to, the General Fund, the Police and Fire Retirement System Service Corporation fund or the pension funds)
based upon, arising under or related to any agreement, commitment or other obligation, whether evidenced by
contract, agreement, rule, regulation, ordinance, statute or law for (a) any pension, disability, or other
post-retirement payment or distribution in respect of the employment of such current or former employees or (b) the
payment by the PFRS to persons who at any time participated in, were beneficiaries of or accrued post-retirement
pension or financial benefits under the PFRS.

        272.     "PFRS Restoration Payment" means an addition to the pension benefits that comprise the PFRS
Adjusted Pension Amount as described in Exhibit II.B.3.q.ii.C.

       273.    "Plan" means this plan of adjustment and all Exhibits attached hereto or referenced herein, as the
same may be amended, restated, supplemented or otherwise modified.

         274.     "Plan COP Settlement" means the comprehensive settlement regarding COP Claims on terms and
conditions described in Section II.B.3.p.i.A.

         275.      "Plan Supplement" means any supplement to the Plan containing Exhibits that were not Filed as of
the date of the entry of the Disclosure Statement Order.

       276.     "Pledged Property" means the collateral pledged by the City under the COP Swap Collateral
Agreement or Ordinance No. 05-09 of the City.

        277.     "Postpetition Financing Agreement" means, collectively, (a) the Bond Purchase Agreement by and
among the City and Barclays Capital, Inc., as purchaser, (b) the Financial Recovery Bond Trust Indenture by and
among the City and UMB Bank, N.A., as trustee, and (c) all ancillary and related instruments and agreements
approved by the Bankruptcy Court pursuant to the Postpetition Financing Order.

        278.      "Postpetition Financing Order" means the Order Pursuant to 11 U.S.C. §§ 105, 362, 364(c)(1),
364(c)(2), 364(e), 364(f), 503, 507(a)(2), 904, 921 and 922 (I) Approving Post-Petition Financing, (II) Granting
Liens and Providing Superpriority Claim Status and (III) Modifying Automatic Stay (Docket No. 3067) entered by
the Bankruptcy Court on the docket of the Chapter 9 Case on April 2, 2014, approving the Postpetition Financing
Agreement.

         279.     "Postpetition Financing Claims" means any Claim against the City under or evidenced by (a) the
Postpetition Financing Agreement and (b) the Postpetition Financing Order.

         280.     "Prior GRS Pension Plan" means the terms and conditions of the GRS in effect as of
June 30, 2014 and applicable to benefits accrued by members of GRS prior to July 1, 2014, the form documentation
of which is attached hereto as Exhibit I.A.280.

         281.     "Prior PFRS Pension Plan" means the terms and conditions of the PFRS in effect as of
June 30, 2014 and applicable to benefits accrued by members of PFRS prior to July 1, 2014, the form documentation
of which is attached hereto as Exhibit I.A.281.

          282.     "Pro Rata" means, when used with reference to a distribution of property to Holders of Allowed
Claims in a particular Class or other specified group of Claims, proportionately so that with respect to a particular
Allowed Claim in such Class or in such group, the ratio of (a)(i) the amount of property to be distributed on account
of such Claim to (ii) the amount of such Claim, is the same as the ratio of (b)(i) the amount of property to be
distributed on account of all Allowed Claims in such Class or group of Claims to (ii) the amount of all Allowed
Claims in such Class or group of Claims. Until all Disputed Claims in a Class or other specified group of Claims are
resolved, Disputed Claims shall be treated as Allowed Claims in their Face Amount for purposes of calculating a Pro
Rata distribution of property to holders of Allowed Claims in such Class or group of Claims.

         283.     "Professional Fee Reserve" means the reserve for Fee Review Professional Fees established
pursuant to Section IV.N.1.


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         284.     "Qualifying DWSD Transaction" means a potential transaction involving the transfer to a third
party (including but not limited to a lease) of a majority of the assets of, or the right to operate and manage, the
City's water or sewage disposal systems currently operated by the DWSD in one or a series of related transactions.

         285.     "RDPFFA" means the Retired Detroit Police and Fire Fighters Association.

         286.     "RDPMA" means the Retired Detroit Police Members Association.

         287.     "RDPMA Exculpated Parties" means the RDPMA and its board of trustees/directors, attorneys,
advisors and professionals, solely in their capacity as such.

          288.     "Reinstated" means (a) leaving unaltered the legal, equitable and contractual rights to which a
Claim entitles the Holder or (b) notwithstanding any contractual provision or applicable law that entitles the Holder
of such Claim to demand or receive accelerated payment of such Claim after the occurrence of a default, (i) the cure
of any such default other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code or of a kind
that section 365(b)(2) of the Bankruptcy Code expressly does not require to be cured; (ii) the reinstatement of the
maturity of such Claim as such maturity existed before such default; (iii) compensation of the Holder of such Claim
for any damages incurred as a result of any reasonable reliance by such Holder on such contractual provision or such
applicable law; (iv) if such Claim arises from any failure to perform a nonmonetary obligation other than a default
arising from failure to operate a nonresidential real property lease subject to section 365(b)(1)(A) of the Bankruptcy
Code, compensation of the Holder of such Claim for any actual pecuniary loss incurred by such Holder as a result of
such failure; and (v) not otherwise altering the legal, equitable or contractual rights to which such Claim entitles the
Holder. "Reinstate" and "Reinstatement" shall have correlative meanings.

         289.     "Related Entity" means, with respect to any Entity, such Entity's Affiliates, predecessors,
successors and assigns (whether by operation of law or otherwise), and with respect to any of the foregoing their
respective present and former Affiliates and each of their respective current and former officials, officers, directors,
employees, managers, attorneys, advisors and professionals, each acting in such capacity, and any Entity claiming
by or through any of them (including their respective officials, officers, directors, employees, managers, advisors
and professionals).

         290.      "Released Parties" means, collectively and individually, the Retiree Committee, the members of
the Retiree Committee, the Retiree Committee Professionals, the Foundations, DIA Corp., the DIA Funders and
their Related Entities and the CFSEM Supporting Organization and its Related Entities.

          291.    "Restoration Trust" means a trust to be established pursuant to the Restoration Trust Agreement to
(a) hold the DWSD CVR and enforce rights related to its terms and (b) consult with the trustees and the Investment
Committee of PFRS or GRS with respect to restoration rights affecting retirees of PFRS or GRS, respectively;
provided, however, that the Restoration Trust shall not have any right to initiate enforcement proceedings against the
trustees or Investment Committee of either PFRS or GRS with respect to Special Restoration or the general rules
governing pension restoration as provided for in Exhibits II.B.3.q.ii.C and II.B.3.r.ii.C.

         292.     "Restoration Trust Agreement" means the definitive documentation to be executed in connection
with the formation of the Restoration Trust, in substantially the form attached hereto as Exhibit I.A.292.

         293.     "Restructured UTGO Bonds" means the bonds to be issued by the MFA to the current Holders of
Unlimited Tax General Obligation Bond Claims, the Settling UTGO Bond Insurers and the Non-Settling UTGO
Bond Insurer in the amount of $287,560,790 pursuant to the UTGO Settlement Agreement, which bonds shall be
limited obligations of the MFA and shall be secured as more particularly described in the UTGO Settlement
Agreement.

         294.     "Retiree Classes" means Classes 10, 11 and 12, as set forth in Section II.B.




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         295.      "Retiree Committee" means the official committee of retired employees first appointed by the
United States Trustee in the Chapter 9 Case on August 22, 2013 (Docket No. 566), as such committee may be
reconstituted, solely in its capacity as such.

         296.      "Retiree Committee Professionals" means those professionals retained by the Retiree Committee
to render services in connection with the Chapter 9 Case that seek payment of compensation and reimbursement of
expenses from the City for postpetition services pursuant to and in accordance with the Fee Review Order, solely in
their capacity as such.

         297.      "Retiree Health Care Litigation" means the adversary proceeding captioned as Official Committee
of Retirees of the City of Detroit, Michigan, et al. v. City of Detroit, Michigan, et al., Case No. 14-04015 (Bankr.
E.D. Mich.), filed in the Chapter 9 Case on January 9, 2014.

          298.    "Retiree Health Care Settlement Agreement" means the Settlement Agreement, effective
February 14, 2014, between the parties to the Retiree Health Care Litigation, pursuant to which such parties agreed
to certain modifications to the changes in retiree health care benefits that the City was otherwise to implement on
March 1, 2014, a copy of which is attached hereto as Exhibit I.A.298.

          299.     "Retirement System Indemnity Obligations" means any and all obligations of the City, as of the
Petition Date, to indemnify, defend, reimburse, exculpate, advance fees and expenses to, or limit the liability of any
party in connection with any Causes of Action relating in any way to either GRS or PFRS or the management,
oversight, administration or activities thereof, as such obligations may be as provided for in the City Charter of the
City or other organizational documents, resolutions, employment contracts, applicable law or other applicable
agreements.

         300.     "Retirement Systems" means, collectively, the GRS and the PFRS.

         301.     "Section 115" means section 115 of the Internal Revenue Code of 1986, as amended.

         302.    "Section 1983 Claim" means any Claim against the City, its employees or both arising under
42 U.S.C. § 1983 that has not been settled, compromised or otherwise resolved and with respect to which Claim a
lawsuit was pending before the District Court on or prior to the Petition Date.

          303.       "Secured Claim" means a Claim that is secured by a Lien on property in which the City has an
interest or that is subject to valid setoff under section 553 of the Bankruptcy Code, to the extent of the value of the
Claim Holder's interest in the City's interest in such property or to the extent of the amount subject to valid setoff, as
applicable, as determined pursuant to section 506 of the Bankruptcy Code.

         304.   "Secured GO Bond Claims" means, collectively, the Secured GO Series 2010 Claims, the Secured
GO Series 2010(A) Claims, the Secured GO Series 2012(A)(2) Claims, the Secured GO Series 2012(A2-B) Claims,
the Secured GO Series 2012(B) Claims and the Secured GO Series 2012(B2) Claims.

      305.      "Secured GO Bond Documents" means, collectively, the Secured GO Series 2010 Bond
Documents, the Secured GO Series 2010(A) Bond Documents, the Secured GO Series 2012(A)(2) Bond
Documents, the Secured GO Series 2012(A2-B) Bond Documents, the Secured GO Series 2012(B) Bond
Documents and the Secured GO Series 2012(B2) Bond Documents.

         306.   "Secured GO Bonds" means, collectively, the Secured GO Series 2010 Bonds, the Secured GO
Series 2010(A) Bonds, the Secured GO Series 2012(A)(2) Bonds, the Secured GO Series 2012(A2-B) Bonds,
the Secured GO Series 2012(B) Bonds and the Secured GO Series 2012(B2) Bonds.

          307.    "Secured GO Series 2010 Bond Documents" means the resolutions adopted, orders issued and
indentures executed with respect to the Secured GO Series 2010 Bonds, as set forth on Exhibit I.A.305, as the same
may have been subsequently amended, restated, supplemented or otherwise modified, together with all ancillary and
related instruments and agreements and all related Bond Insurance Policies.


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        308.     "Secured GO Series 2010 Bonds" means the secured $249,790,000 Distributable State Aid
General Obligation (Limited Tax) Bonds, Series 2010, issued pursuant to the Secured GO Series 2010 Bond
Documents.

         309.   "Secured GO Series 2010 Claim" means any Claim against the City arising under or evidenced by
the Secured GO Series 2010 Bond Documents, including a Claim for principal and interest on the Secured GO
Series 2010 Bonds.

         310.      "Secured GO Series 2010(A) Bond Documents" means the resolutions adopted, orders issued and
indentures executed with respect to the Secured GO Series 2010(A) Bonds, as set forth on Exhibit I.A.305, as the
same may have been subsequently amended, restated, supplemented or otherwise modified, together with all
ancillary and related instruments and agreements and all related Bond Insurance Policies.

        311.    "Secured GO Series 2010(A) Bonds" means the secured $100,000,000 Distributable State Aid
Second Lien Bonds (Unlimited Tax General Obligation), Series 2010(A) (Taxable-Recovery Zone Economic
Development Bonds – Direct Payment), issued pursuant to the Secured GO Series 2010(A) Bond Documents.

         312.   "Secured GO Series 2010(A) Claim" means any Claim against the City arising under or evidenced
by the Secured GO Series 2010(A) Bond Documents, including a Claim for principal and interest on the Secured
GO Series 2010(A) Bonds.

         313.      "Secured GO Series 2012(A)(2) Bond Documents" means the resolutions adopted, orders issued
and indentures executed with respect to the Secured GO Series 2012(A)(2) Bonds, as set forth on Exhibit I.A.305, as
the same may have been subsequently amended, restated, supplemented or otherwise modified, together with all
ancillary and related instruments and agreements and all related Bond Insurance Policies.

         314.     "Secured GO Series 2012(A)(2) Bonds" means the secured $38,865,000 Self-Insurance
Distributable State Aid Third Lien Bonds (Limited Tax General Obligation), Series 2012(A)(2), issued pursuant to
the Secured GO Series 2012(A)(2) Bond Documents.

         315.    "Secured GO Series 2012(A)(2) Claim" means any Claim against the City arising under or
evidenced by the Secured GO Series 2012(A)(2) Bond Documents, including a Claim for principal and interest on
the Secured GO Series 2010(A)(2) Bonds.

         316.      "Secured GO Series 2012(A2-B) Bond Documents" means the resolutions adopted, orders issued
and indentures executed with respect to the Secured GO Series 2012(A2-B) Bonds, as set forth on Exhibit I.A.305,
as the same may have been subsequently amended, restated, supplemented or otherwise modified, together with all
ancillary and related instruments and agreements and all related Bond Insurance Policies.

         317.     "Secured GO Series 2012(A2-B) Bonds" means the secured $53,520,000 Self-Insurance
Distributable State Aid Third Lien Refunding Bonds (Limited Tax General Obligation), Series 2012(A2-B), issued
pursuant to the Secured GO Series 2012(A2-B) Bond Documents.

         318.    "Secured GO Series 2012(A2-B) Claim" means any Claim against the City arising under or
evidenced by the Secured GO Series 2012(A2-B) Bond Documents, including a Claim for principal and interest on
the Secured GO Series 2012(A2-B) Bonds.

         319.      "Secured GO Series 2012(B) Bond Documents" means the resolutions adopted, orders issued and
indentures executed with respect to the Secured GO Series 2012(B) Bonds, as set forth on Exhibit I.A.305, as the
same may have been subsequently amended, restated, supplemented or otherwise modified, together with all
ancillary and related instruments and agreements and all related Bond Insurance Policies.

         320.     "Secured GO Series 2012(B) Bonds" means the $6,405,000 General Obligation Distributable State
Aid Third Lien Capital Improvement Refunding Bonds (Limited Tax General Obligation), Series 2012(B), issued
pursuant to the Secured GO Series 2012(B) Bond Documents.


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         321.    "Secured GO Series 2012(B) Claim" means any Claim against the City arising under or evidenced
by the Secured GO Series 2012(B) Bond Documents, including a Claim for principal and interest on the Secured GO
Series 2012(B) Bonds.

         322.      "Secured GO Series 2012(B2) Bond Documents" means the resolutions adopted, orders issued and
indentures executed with respect to the Secured GO Series 2012(B2) Bonds, as set forth on Exhibit I.A.305, as the
same may have been subsequently amended, restated, supplemented or otherwise modified, together with all
ancillary and related instruments and agreements and all related Bond Insurance Policies.

        323.     "Secured GO Series 2012(B2) Bonds" means the $30,730,000 Self-Insurance Distributable State
Aid Third Lien Refunding Bonds (Limited Tax General Obligation), Series 2012(B2), issued pursuant to the
Secured GO Series 2012(B2) Bond Documents.

        324.     "Secured GO Series 2012(B2) Claim" means any Claim against the City arising under or
evidenced by the Secured GO Series 2012(B2) Bond Documents, including a Claim for principal and interest on the
Secured GO Series 2012(B2) Bonds.

          325.      "Securities Act" means the Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, as amended, or any
similar federal, state, or local law.

          326.    "Settling 36th District Court Claimants" means (a) the 36th District Court, (b) Local 917 of the
American Federation of State, County and Municipal Employees, (c) Local 3308 of the American Federation of
State, County and Municipal Employees and (d) those individuals identified as "Individual Claimants" on the term
sheet attached hereto as Exhibit I.A.9.

        327.    "Settling COP Claimant" means (a) those holders of COP Claims that are the subject of the
Syncora Settlement Documents or (b) those Holders of COP Claims that are the subject of the FGIC/COP
Settlement Documents.

         328.     "Settling UTGO Bond Insurers" means, collectively, Ambac, Assured and NPFG and each of their
respective successors and assigns, solely in their capacity as insurers of certain of the City's obligations with respect
to the Unlimited Tax General Obligation Bonds.

         329.     "Special Restoration" means the potential restoration or replacement of benefit reductions imposed
by the Plan in connection with a Qualifying DWSD Transaction, as described in Section IV.F.

         330.     "State" means the state of Michigan.

         331.     "State Contribution" means payments to be made to GRS and PFRS by the State or the State's
authorized agent for the purpose of funding Adjusted Pension Amounts in an aggregate amount equal to the net
present value of $350 million payable over 20 years using a discount rate of 6.75%, pursuant to the terms of the
State Contribution Agreement.

         332.     "State Contribution Agreement" means the definitive documentation to be executed in connection
with the comprehensive settlement regarding Pension Claims as described in Section IV.D, in substantially the form
attached hereto as Exhibit I.A.332.

          333.     "State Related Entities" means, collectively: (a) all officers, legislators, employees, judges and
justices of the State; (b) the Governor of the State; (c) the Treasurer of the State; (d) all members of the Local
Emergency Financial Assistance Loan Board created under the Emergency Municipal Loan Act, Michigan
Compiled Laws §§ 141.931-141.942; (e) each of the State's agencies and departments; and (f) the Related Entities of
each of the foregoing.

        334.    "Stay Extension Order" means the Order Pursuant to Section 105(a) of the Bankruptcy Code
Extending the Chapter 9 Stay to Certain (A) State Entities, (B) Non-Officer Employees and (C) Agents and


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Representatives of the Debtor (Docket No. 166), entered by the Bankruptcy Court on the docket of the Chapter 9
Case on July 25, 2013, as it may be amended, supplemented or otherwise modified.

         335.     "Stub UTGO Bonds" means Unlimited Tax General Obligation Bonds in the principal amount of
$43,349,210 that, from and after the Effective Date, will (a) be reinstated, (b) remain outstanding and (c) be payable
from the UTGO Bond Tax Levy, as more particularly described in the UTGO Settlement Agreement.

        336.    "Subordinated Claim" means a Claim of the kind described in sections 726(a)(3) or 726(a)(4) of
the Bankruptcy Code or Claims subordinated under sections 510(b) or 510(c) of the Bankruptcy Code.

         337.     "Supplemental Trust Agreements" means, collectively, (a) one or more supplemental trust
agreements between the COP Trustee and COP Service Corporations, entered into with the consent of FGIC and
(b) one or more supplemental trust agreements between the COP Trustee and COP Service Corporations, entered
into with the consent of Syncora, in each case to be executed prior to the Effective Date, which agreements shall,
among other things, for purposes of distributions of trust assets explicitly supersede the 2005 COPs Agreement and
the 2006 COPs Agreement, which incorporates by reference Sections 6.5 and 9.1 of each Contract Administration
Agreement and Section 8.03 of each COP Service Contract.

       338.     "Swap Insurance Policies" means those policies or other instruments insuring the COP Swap
Agreements and obligations related thereto.

         339.     "Syncora" means, collectively, Syncora Guarantee, Inc. and Syncora Capital Assurance Inc.

         340.     "Syncora Development Agreement" means that certain development agreement by and between
the City and Pike Point Holdings, LLC, a wholly owned indirect subsidiary of Syncora, in substantially the form
attached hereto as Exhibit I.A.340, including all exhibits thereto, and in any case in form and substance reasonably
acceptable to the City and Syncora.

          341.    "Syncora Excess New B Notes" means New B Notes in the aggregate face amount of
approximately $15.43 million, representing the difference between (a) the New B Notes that would have been
distributed to Syncora had its asserted COP Claim for principal and interest in Class 9 been Allowed in full and (b)
the New B Notes to be provided to Syncora as partial consideration pursuant to the terms of the Syncora Settlement.

          342.     "Syncora Exculpated Parties" means Syncora and their Related Entities, solely with respect to
issues arising in connection with Syncora's capacity as holder or insurer of Unlimited Tax General Obligation Bond
Claims and COP Claims.

         343.     "Syncora Settlement" means the comprehensive settlement with Syncora, as described at
Section IV.I and as definitively set forth in the Syncora Settlement Documents.

         344.     "Syncora Settlement Documents" means the definitive documentation to be executed in
connection with the Syncora Settlement, in substantially the form attached hereto as Exhibit I.A.344, and in any case
in form and substance reasonably acceptable to the City and Syncora.

          345.      "Tax" means: (a) any net income, alternative or add-on minimum, gross income, gross receipts,
gross margins, sales, use, stamp, real estate transfer, mortgage recording, ad valorem, value added, transfer,
franchise, profits, license, property, payroll, employment, unemployment, occupation, disability, excise, severance,
withholding, environmental or other tax, assessment or charge of any kind whatsoever (together in each instance
with any interest, penalty, addition to tax or additional amount) imposed by any federal, state, local or foreign taxing
authority; or (b) any liability for payment of any amounts of the foregoing types as a result of being a member of an
affiliated, consolidated, combined or unitary group, or being a transferee or successor or a party to any agreement or
arrangement whereby liability for payment of any such amounts is determined by reference to the liability of any
other Entity.




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         346.    "Top-Off Payments" means the payments to be made to the Settling UTGO Bond Insurers
pursuant to the UTGO Settlement Agreement if a Trigger Event occurs in amounts equal to the product of: (a) the
amount by which the recovery received by Holders of Allowed Limited Tax General Obligation Bond Claims or
Allowed COP Claims, as applicable, under the Plan exceeds 69.5% of the aggregate amount of all such Allowed
Claims in such Class, multiplied by (b) the quotient of (i) $100.5 million, divided by (ii) the sum of (x) 30.5% of the
aggregate amount of all Allowed Limited Tax General Obligation Bond Claims or Allowed COP Claims, as the case
may be, and (y) $100.5 million.

         347.      "Tort Claim" means any Claim that has not been settled, compromised or otherwise resolved that
arises out of allegations of personal injury or wrongful death claims and is not a Section 1983 Claim.

         348.      "Trigger Event" means the receipt by Holders of Allowed Limited Tax General Obligation Bond
Claims or Allowed COP Claims, as applicable, of consideration pursuant to the Plan of 69.5% or more of the
aggregate amount of all of the Allowed Claims in such Class. For purposes of determining whether a Trigger Event
has occurred, all actual recoveries for Holders of Allowed Limited Tax General Obligation Bond Claims and
Allowed COP Claims shall be determined by discounting the payments made to such Classes using a 5% discount
rate back to the date of Confirmation.

         349.     "Tunnel Lease" means, collectively, (a) that certain Tube Lease, dated March 20, 1978, by and
between the City, as landlord, and Detroit Windsor Tunnel LLC, as successor-in-interest to Detroit & Canada
Tunnel Corporation, as tenant, and (b) that certain Sublease, dated March 20, 1978, by and between the City, as
landlord, as successor-in-interest to Ford Motor Properties, Inc. as sublandlord, and Detroit Windsor Tunnel LLC, as
successor-in-interest to Detroit & Canada Tunnel Corporation, as subtenant, each as may be amended, restated,
supplemented or otherwise modified, in any case in form and substance reasonably acceptable to the City and
Syncora.

        350.     "Unexpired Lease" means a lease to which the City is a party that is subject to assumption,
assumption and assignment, or rejection under section 365 of the Bankruptcy Code.

         351.     "Unimpaired" means, with respect to a Class or a Claim, that such Class or Claim is not Impaired.

        352.      "United States Trustee" means the Office of the United States Trustee for the Eastern District of
Michigan.

          353.    "Unlimited Tax General Obligation Bond Claim" means any Claim against the City arising under
or evidenced by the Unlimited Tax General Obligation Bond Documents, including a Claim for principal and
interest on the Unlimited Tax General Obligation Bonds.

          354.    "Unlimited Tax General Obligation Bond Documents" means the resolutions passed and orders
issued with respect to the Unlimited Tax General Obligation Bonds, as set forth on Exhibit I.A.354, as the same may
have been subsequently amended, restated, supplemented or otherwise modified, together with all ancillary and
related instruments and agreements and all related Bond Insurance Policies.

        355.    "Unlimited Tax General Obligation Bonds" means, collectively, the bonds issued under the
Unlimited Tax General Obligation Bond Documents, as set forth on Exhibit I.A.354.

         356.     "Unsecured Claim" means a Claim that is not a Secured Claim or an Administrative Claim.

         357.    "UTGO Bond Tax Levy" means that portion of the proceeds of the ad valorem tax millage levies
pledged to and on account of the Unlimited Tax General Obligation Bonds.

         358.      "UTGO Exculpated Parties" means, collectively, Ambac, Assured and NPFG, solely in their
capacity as insurers of certain of the City's obligations with respect to the Unlimited Tax General Obligation Bonds,
and each of their respective parents, affiliates, shareholders, directors, officers, managers, employees, agents,



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attorneys, advisors, accountants, consultants, restructuring consultants, financial advisors and investment bankers,
solely in their capacity as such.

        359.      "UTGO Litigation" means, together, the adversary proceedings filed in the Chapter 9 Case on
November 8, 2013, captioned as National Public Finance Guarantee Corporation and Assured Guaranty Municipal
Corporation v. City of Detroit, Michigan, et al., Case No. 13-05309 (Bankr. E.D. Mich.), and Ambac Assurance
Corporation v. City of Detroit, Michigan, et al., Case No. 13-05310 (Bankr. E.D. Mich.), to the extent that such
proceedings relate to the Unlimited Tax General Obligation Bonds.

         360.    "UTGO Settlement Agreement" means that certain Settlement Agreement, dated as of
July 18, 2014, among the City and the Settling UTGO Bond Insurers, substantially in the form attached hereto as
Exhibit I.A.360.

         361.     "Value Determination" means a valuation of the expected Net DWSD Transaction Proceeds.

         362.     "Voting Deadline" means the deadline fixed by the Bankruptcy Court in the Disclosure Statement
Order for submitting Ballots to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code.

         363.     "Wayne County" means the Charter County of Wayne, Michigan.

B.       Rules of Interpretation and Computation of Time.

         1.       Rules of Interpretation.

                    For purposes of the Plan, unless otherwise provided herein: (a) whenever from the context it is
appropriate, each term, whether stated in the singular or the plural, shall include both the singular and the plural and
pronouns stated in the masculine, feminine or neuter gender shall include the masculine, feminine and neuter gender;
(b) any reference herein to a contract, lease, instrument, release, indenture or other agreement or document being in
a particular form or on particular terms and conditions means that such document shall be substantially in such form
or substantially on such terms and conditions; (c) any reference herein to an existing document or Exhibit Filed or to
be Filed shall mean such document or Exhibit, as it may have been or may be amended, restated, supplemented or
otherwise modified pursuant to the Plan, the Confirmation Order or otherwise; (d) any reference to an Entity as a
Holder of a Claim includes that Entity's successors, assigns and Affiliates; (e) all references to Sections or Exhibits
are references to Sections and Exhibits of or to the Plan; (f) the words "herein," "hereunder," "hereof" and "hereto"
refer to the Plan in its entirety rather than to a particular portion of the Plan; (g) captions and headings to Articles
and Sections are inserted for convenience of reference only and are not intended to be a part of or to affect the
interpretation of the Plan; (h) the words "include" and "including," and variations thereof, shall not be deemed to be
terms of limitation, and shall be deemed to be followed by the words "without limitation"; and (i) the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply to the extent not inconsistent with any other
provision of this Section.

         2.       Computation of Time.

                 In computing any period of time prescribed or allowed by the Plan, the provisions of Bankruptcy
Rule 9006(a) shall apply.

                                           ARTICLE II
                              CLASSIFICATION OF CLAIMS; CRAMDOWN;
                           EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                    Pursuant to sections 1122 and 1123 of the Bankruptcy Code, Claims are classified under the Plan
for all purposes, including voting, Confirmation and Distribution. In accordance with section 1123(a)(1) of the
Bankruptcy Code, Administrative Claims, as described in Section II.A, have not been classified and thus are
excluded from the Classes described in Section II.B.1. A Claim shall be deemed classified in a particular Class only
to the extent that the Claim qualifies within the description of that Class and shall be deemed classified in a different


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Class to the extent that any remainder of such Claim qualifies within the description of such other Class.
Notwithstanding the foregoing, in no event shall any Holder of an Allowed Claim be entitled to receive payments or
Distributions under the Plan that, in the aggregate, exceed the Allowed amount of such Holder's Claim.

A.       Unclassified Claims.

         1.       Payment of Administrative Claims.

                  a.       Administrative Claims in General.

                   Except as specified in this Section II.A.1, and subject to the bar date provisions herein, unless
otherwise agreed by the Holder of an Administrative Claim and the City, or ordered by the Bankruptcy Court, each
Holder of an Allowed Administrative Claim will receive, in full satisfaction of such Allowed Administrative Claim,
Cash in an amount equal to such Allowed Administrative Claim either: (1) on the Effective Date or as soon as
reasonably practicable thereafter; or (2) if the Administrative Claim is not Allowed as of the Effective Date, 30 days
after the date on which such Administrative Claim becomes an Allowed Claim. No Claim of any official or
unofficial creditors' committee or any member thereof for professionals' fees or other costs and expenses incurred by
such creditors' committee or by a member of such creditors' committee shall constitute an Allowed Administrative
Claim, except that the Retiree Committee's members and the Retiree Committee Professionals shall be entitled to
payment in accordance with the Fee Review Order.

                  b.       Claims Under the Postpetition Financing Agreement.

                  Unless otherwise agreed by Barclays Capital, Inc. pursuant to the Postpetition Financing
Agreement, on or before the Effective Date, Postpetition Financing Claims that are Allowed Administrative Claims
will be paid in Cash equal to the amount of those Allowed Administrative Claims.

         2.       Bar Dates for Administrative Claims.

                  a.       General Bar Date Provisions.

                    Except as otherwise provided in Section II.A.2.b, Section II.A.2.c or in a Bar Date Order or other
order of the Bankruptcy Court, unless previously Filed, requests for payment of Administrative Claims must be
Filed and served on the City no later than 45 days after the Effective Date. Holders of Administrative Claims that
are required to File and serve a request for payment of such Administrative Claims and that do not File and serve
such a request by the applicable Bar Date will be forever barred from asserting such Administrative Claims against
the City or its property, and such Administrative Claims will be deemed discharged as of the Effective Date.
Objections to such requests must be Filed and served on the City and the requesting party by the later of (i) 150 days
after the Effective Date, (ii) 60 days after the Filing of the applicable request for payment of Administrative Claims
or (iii) such other period of limitation as may be specifically fixed by a Final Order for objecting to such
Administrative Claims. The foregoing procedures shall be specified in the Confirmation Order and the notice of
entry of the Confirmation Order and served on all parties in interest.

                  b.       Ordinary Course Claims

                   Holders of Claims based on Liabilities incurred by the City after the Petition Date in the ordinary
course of its operations will not be required to File or serve any request for payment or application for allowance of
such Claims. Such Claims will be paid by the City, pursuant to the terms and conditions of the particular transaction
giving rise to such Claims, without further action by the Holders of such Claims or further action or approval of the
Bankruptcy Court.




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                     c.       Claims Under the Postpetition Financing Agreement.

                   Holders of Administrative Claims that are Postpetition Financing Claims will not be required to
File or serve any request for payment or application for allowance of such Claims. Such Administrative Claims will
be satisfied pursuant to Section II.A.1.b.

                     d.       No Modification of Bar Date Order.

                  The Plan does not modify any other Bar Date Order, including Bar Dates for Claims entitled to
administrative priority under section 503(b)(9) of the Bankruptcy Code.

B.         Classified Claims.

           1.        Designation of Classes.

                The following table designates the Classes and specifies whether such Classes are Impaired or
Unimpaired by the Plan.

     CLASS                                       NAME                                         IMPAIRMENT
                                                        Secured Claims

                All Classes of DWSD Bond Claims
      1A        (One Class for each CUSIP of DWSD Bonds,                              Unimpaired
                as set forth on Exhibit I.A.148)

                All Classes of DWSD Revolving Sewer Bond Claims
      1B        (One Class for each DWSD Series of DWSD Revolving Sewer Bonds,        Unimpaired/Nonvoting
                as set forth on Exhibit I.A.156)
                All Classes of DWSD Revolving Water Bond Claims
      1C        (One Class for each DWSD Series of DWSD Revolving Water Bonds,        Unimpaired/Nonvoting
                as set forth on Exhibit I.A.159)
      2A        Secured GO Series 2010 Claims                                         Unimpaired/Nonvoting
      2B        Secured GO Series 2010(A) Claims                                      Unimpaired/Nonvoting
      2C        Secured GO Series 2012(A)(2) Claims                                   Unimpaired/Nonvoting
      2D        Secured GO Series 2012(A2-B) Claims                                   Unimpaired/Nonvoting
      2E        Secured GO Series 2012(B) Claims                                      Unimpaired/Nonvoting
      2F        Secured GO Series 2012(B2) Claims                                     Unimpaired/Nonvoting
       3        Other Secured Claims                                                  Unimpaired/Nonvoting
       4        HUD Installment Notes Claims                                          Unimpaired/Nonvoting
       5        COP Swap Claims                                                       Impaired/Voting
       6        Claims Previously Classified in Class 6 Paid in Full                  N/A
                                                      Unsecured Claims
       7        Limited Tax General Obligation Bond Claims                            Impaired/Voting
       8        Unlimited Tax General Obligation Bond Claims                          Impaired/Voting
       9        COP Claims                                                            Impaired/Voting



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  CLASS                                         NAME                                              IMPAIRMENT
     10        PFRS Pension Claims                                                       Impaired/Voting
     11        GRS Pension Claims                                                        Impaired/Voting
     12        OPEB Claims                                                               Impaired/Voting
     13        Downtown Development Authority Claims                                     Impaired/Voting
     14        Other Unsecured Claims                                                    Impaired/Voting
     15        Convenience Claims                                                        Impaired/Voting
     16        Subordinated Claims                                                       Impaired/Nonvoting
     17        Indirect 36th District Court Claims                                       Impaired/Voting


          2.        Subordination; Reservation of Rights to Reclassify Claims.

                    Except with respect to Bond Insurance Policy Claims, the allowance, classification and treatment
of Allowed Claims and the respective Distributions and treatments specified in the Plan take into account the
relative priority and rights of the Claims in each Class and all contractual, legal and equitable subordination rights
relating thereto, whether arising under general principles of equitable subordination, section 510(b) of the
Bankruptcy Code or otherwise. Except as expressly set forth herein, consistent with section 510(a) of the
Bankruptcy Code, nothing in the Plan shall, or shall be deemed to, modify, alter or otherwise affect any right of a
Holder of a Claim to enforce a subordination agreement against any Entity other than the City to the same extent
that such agreement is enforceable under applicable nonbankruptcy law. Pursuant to section 510 of the Bankruptcy
Code, the City reserves the right to reclassify any Disputed Claim in accordance with any applicable contractual,
legal or equitable subordination. For the avoidance of doubt, this Section II.B.2 shall not affect or limit the
application of section 509 of the Bankruptcy Code or any similar doctrine to Bond Insurance Policy Claims, which
are preserved for enforcement by the City or by the relevant Bond Insurer.

          3.        Treatment of Claims.

                    a.       Class 1A – DWSD Bond Claims.

                             i.       Classification and Allowance.

                  DWSD Bond Claims relating to each CUSIP of DWSD Bonds shall be separately classified, as
reflected on Exhibit I.A.148, with each Class receiving the treatment set forth below. On the Effective Date, the
DWSD Bond Claims shall be deemed Allowed in the amounts set forth on Exhibit I.A.148.

                             ii.      Treatment.

                  Each Holder of an Allowed DWSD Bond Claim shall have its Allowed DWSD Bond Claim
Reinstated on the Effective Date, unless such Holder agrees to a different treatment of such Claim. All votes and
elections previously delivered in Class 1A shall not be counted and shall be of no force and effect. Any Allowed
Secured Claims for fees, costs and expenses under the DWSD Bond Documents arising in connection with such
Allowed DWSD Bond Claims shall be paid in full in Cash once Allowed pursuant to the DWSD Tender Order, by
agreement of the parties or by order of the Bankruptcy Court. In addition, all claims for fees, costs and expenses
authorized pursuant to or in accordance with the DWSD Tender Order shall be paid as provided therein.




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                 b.       Class 1B – DWSD Revolving Sewer Bond Claims

                          i.       Classification and Allowance.

                 DWSD Revolving Sewer Bond Claims relating to each DWSD Series of DWSD Revolving Sewer
Bonds shall be separately classified, as reflected on Exhibit I.A.156, with each Class receiving the treatment set
forth below. On the Effective Date, the DWSD Revolving Sewer Bond Claims shall be deemed Allowed in the
aggregate amounts set forth on Exhibit I.A.156.

                          ii.      Treatment.

                  On the Effective Date, each Holder of an Allowed DWSD Revolving Sewer Bond Claim shall
have its Allowed DWSD Revolving Sewer Bond Claim Reinstated, unless such Holder agrees to a different
treatment of such Claim.

                 c.       Class 1C – DWSD Revolving Water Bond Claims

                          i.       Classification and Allowance.

                  DWSD Revolving Water Bond Claims relating to each DWSD Series of DWSD Revolving Water
Bonds shall be separately classified, as reflected on Exhibit I.A.159, with each Class receiving the treatment set
forth below. On the Effective Date, the DWSD Revolving Water Bond Claims shall be deemed Allowed in the
amounts set forth on Exhibit I.A.159.

                          ii.      Treatment.

                  On the Effective Date, each Holder of an Allowed DWSD Revolving Water Bond Claim shall
have its Allowed DWSD Revolving Water Bond Claim Reinstated, unless such Holder agrees to a different
treatment of such Claim.

                 d.       Class 2A – Secured GO Series 2010 Claims.

                On the Effective Date, (i) the Secured GO Series 2010 Claims shall be deemed Allowed in the
aggregate amount of $252,475,366 and (ii) each Holder of an Allowed Secured GO Series 2010 Claim shall have its
Allowed Secured GO Series 2010 Claim Reinstated, unless such Holder agrees to a different treatment of such
Claim.

                 e.       Class 2B – Secured GO Series 2010(A) Claims.

                 On the Effective Date, (i) the Secured GO Series 2010(A) Claims shall be deemed Allowed in the
aggregate amount of $101,707,848 and (ii) each Holder of an Allowed Secured GO Series 2010(A) Claim shall have
its Allowed Secured GO Series 2010(A) Claim Reinstated, unless such Holder agrees to a different treatment of
such Claim.

                 f.       Class 2C – Secured GO Series 2012(A)(2) Claims.

                  On the Effective Date, (i) the Secured GO Series 2012(A)(2) Claims shall be deemed Allowed in
the aggregate amount of $39,254,171 and (ii) each Holder of an Allowed Secured GO Series 2012(A)(2) Claim shall
have its Allowed Secured GO Series 2012(A)(2) Claim Reinstated, unless such Holder agrees to a different
treatment of such Claim.

                 g.       Class 2D – Secured GO Series 2012(A2-B) Claims.

                 On the Effective Date, (i) the Secured GO Series 2012(A2-B) Claims shall be deemed Allowed in
the aggregate amount of $54,055,927 and (ii) each Holder of an Allowed Secured GO Series 2012(A2-B) Claim


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shall have its Allowed Secured GO Series 2012(A2-B) Claim Reinstated, unless such Holder agrees to a different
treatment of such Claim.

                  h.       Class 2E - Secured GO Series 2012(B) Claims.

                 On the Effective Date, (i) the Secured GO Series 2012(B) Claims shall be deemed Allowed in the
aggregate amount of $6,469,135 and (ii) each Holder of an Allowed Secured GO Series 2012(B) Claim shall have
its Allowed Secured GO Series 2012(B) Claim Reinstated, unless such Holder agrees to a different treatment of such
Claim.

                  i.       Class 2F – Secured GO Series 2012(B2) Claims.

                 On the Effective Date, (i) the Secured GO Series 2012(B2) Claims shall be deemed Allowed in the
aggregate amount of $31,037,724 and (ii) each Holder of an Allowed Secured GO Series 2012(B2) Claim shall have
its Allowed Secured GO Series 2012(B2) Claim Reinstated, unless such Holder agrees to a different treatment of
such Claim.

                  j.       Class 3 – Other Secured Claims.

                 On the Effective Date, each Holder of an Allowed Other Secured Claim shall have its Allowed
Other Secured Claim Reinstated, unless such Holder agrees to a different treatment of such Claim.

                  k.       Class 4 – HUD Installment Note Claims.

                On the Effective Date, (i) the HUD Installment Note Claims shall be deemed Allowed in the
aggregate amount of $90,075,004 and (ii) each Holder of a HUD Installment Note Claim shall have its Allowed
HUD Installment Note Claim Reinstated, unless such Holder agrees to a different treatment of such Claim.

                  l.       Class 5 – COP Swap Claims.

                           i.       Allowance.

                  The COP Swap Claims shall be deemed Allowed as Secured Claims, which, solely for purposes of
distributions from the City, will be equal to the Distribution Amount.

                           ii.      Treatment.

                   Each Holder of an Allowed COP Swap Claim, in full satisfaction of such Allowed Claim, shall
receive, either: (A) within thirty days following the Effective Date, the Net Amount in full in cash, provided that
until paid in cash in full, such Secured Claims will remain secured by the Pledged Property; or (B) solely in the case
of a Liquidity Event, the Net Amount in cash in full within 180 days following the Effective Date, provided that
(1) other than with respect to net proceeds used to repay the Postpetition Financing Agreement, to the extent
permitted by law but without taking into consideration any limitations imposed by the City, including in any
ordinance or resolution of the City, the first dollars of any net cash proceeds of any financing or refinancing
consummated in connection with, or subsequent to, the consummation of such Plan and either (a) supported by the
full faith and credit of the City or (b) payable from the general fund of the City, will be used to pay the Net Amount,
(2) the City will continue to comply with its obligations under the COP Swap Settlement and the COP Swap
Settlement Approval Order until the Net Amount is paid in cash in full, (3) until paid in cash in full, such Secured
Claims will remain secured by the Pledged Property, (4) from and after the Effective Date, the unpaid Net Amount
will accrue interest at the rate applicable to obligations under the Postpetition Financing Agreement plus 1.5% with
the interest obligation likewise being secured by the Pledged Property and (5) the COP Swap Counterparties will
receive from the City on the Effective Date a deferral fee in cash equal to 1.0% of the Net Amount to be shared
equally between them.




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                  m.       Class 6.

                  [Claims previously classified in Class 6 paid in full – Paragraph intentionally left blank]

                  n.       Class 7 – Limited Tax General Obligation Bond Claims.

                           i.         Allowance.

                  On the Effective Date, the Limited Tax General Obligation Bond Claims shall be deemed Allowed
in the amount of $163,544,770.

                           ii.        Treatment.

                   Unless such Holder agrees to a different treatment of such Claim, (A) each Holder of an Allowed
Limited Tax General Obligation Bond Claim that is not attributable to the Insured LTGO Bonds and (B) the LTGO
Insurer with respect to those Allowed Limited Tax General Obligation Bond Claims attributable to the Insured
LTGO Bonds, in full satisfaction of such Allowed Claim(s), shall receive, on or as soon as reasonably practicable
after the Effective Date, (X) a Pro Rata share of, at the City's option, (1) $55,000,000 in Cash or (2) the New LTGO
Bonds and (Y) distributions in accordance with Section II.B.3.p.i.A.

                  The City will use its best efforts to prepay the New LTGO Bonds on the Effective Date or as soon
as reasonably practicable thereafter from the proceeds of the Exit Facility. If the City cannot prepay all of the New
LTGO Bonds on the Effective Date or as soon as reasonably practicable thereafter, the City will use its best efforts
to prepay as much of the New LTGO Bonds as reasonably possible, and the LTGO Settlement Parties will accept
such partial prepayment. Upon a partial prepayment of the New LTGO Bonds, such New LTGO Bonds will be
redeemed by lot.

                           iii.       Impact of UTGO Settlement.

                  Pursuant to the UTGO Settlement Agreement, the City has agreed that (a) the Plan shall not permit
the Holders of Allowed Limited Tax General Obligation Bond Claims to recover more on a percentage basis on
account of such Allowed Limited Tax General Obligation Bond Claims than the Holders of Allowed Unlimited Tax
General Obligation Bond Claims recover on a percentage basis on account of such Allowed Unlimited Tax General
Obligation Bond Claims, as such percentage recoveries are projected on the terms set forth in the UTGO Settlement
Agreement at Confirmation; and (b) if a Trigger Event occurs, the Settling UTGO Bond Insurers shall receive
Top-Off Payments (as set forth in Section IV.C).

                  o.       Class 8 – Unlimited Tax General Obligation Bond Claims.

                           i.         Allowance.

                 On the Effective Date, the Unlimited Tax General Obligation Bond Claims shall be deemed
Allowed in the amount of $388,000,000.

                           ii.        Treatment.

                 Unless such Holder agrees to a different treatment of such Claim, each Holder of an Allowed
Unlimited Tax General Obligation Bond Claim, in full satisfaction of such Allowed Claim, shall receive, on or as
soon as reasonably practicable after the Effective Date, a Pro Rata share of Restructured UTGO Bonds as set forth in
Schedules 1a and 1b to the UTGO Settlement Agreement. Those Holders identified on Schedule 1a of the UTGO
Settlement Agreement shall retain ownership of the Stub UTGO Bonds, subject to Sections I.A.36 and IV.C, which
Stub UTGO Bonds shall be reinstated.




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                  p.        Class 9 – COP Claims.

                            i.       Treatment.

                                     A.        Plan COP Settlement Option.

                    On the Effective Date, the City shall deliver to the COP Trustee, solely for the benefit of, and for
distribution to, the COP Insurers and the Settling COPs Claimants in accordance with (1) the Supplemental Trust
Agreements and (2) the instructions of the applicable COP Insurer, (x) the Class 9 Settlement Asset Pool and
(y) New B Notes in the face amount of $97,692,787, based upon each Settling COP Claimant's Pro Rata share
calculated as an amount equal to the proportion that the unpaid principal amount plus accrued prepetition interest of
COPs held by such Settling COP Claimant bears to the aggregate unpaid principal amount of all COPs plus all
accrued prepetition interest thereon; provided, that the allocation of distributions among FGIC COP Holdesr shall be
determined in accordance with agreements among FGIC and the FGIC COP Holders disclosed in a term sheet filed
in court on October 22, 2014, as the same may be subsequently amended and more fully documented. For the
avoidance of doubt, a Settling COP Claimant shall not be required to transfer (1) any claim against a COP Insurer or
(2) the COPs it holds to the City pursuant to the Plan COP Settlement or otherwise pursuant to the Plan, the Syncora
Settlement Documents or the FGIC/COP Settlement Documents. The COP Service Corporations shall enter into
such Supplemental Trust Agreements as FGIC and Syncora may reasonably request with respect to their respective
insured COPs as long as such Supplemental Trust Agreements do not impose any additional obligations or liability
on the COP Service Corporations.

                   The City has granted the LTGO Settlement Parties, on behalf of the holders of Allowed Limited
Tax General Obligation Bond Claims in Class 7, and the Retiree Committee consent rights regarding pre-Effective
Date settlements of the COP Litigation if and as permitted under applicable non-bankruptcy law. The LTGO
Settlement Parties have consented to the Syncora Settlement and FGIC/COP Settlement. On the Effective Date, on
account of such consent rights, the Excess New B Notes shall be distributed as follows: (1) approximately
$42.68 million to the Detroit General VEBA and the Detroit Police and Fire VEBA in proportion with the New B
Notes allocated to each pursuant to Sections II.B.3.s.ii.A and II.B.3.s.ii.B; (2) approximately $17.34 million to be
distributed Pro Rata among holders of Allowed Limited Tax General Obligation Bond Claims in Class 7; and
(3) approximately $4.12 million to be distributed Pro Rata among holders of Allowed Other Unsecured Claims in
Class 14. With respect to the distribution of the Syncora Excess New B Notes, on April 1, 2015, the City shall pay
the interest then due on the Syncora Excess New B Notes and shall also prepay the October 1, 2015 interest payment
on the Syncora Excess New B Notes (as a consequence of which, no interest payment shall be made on the Syncora
Excess New B Notes on October 1, 2015). The VEBAs may not sell or otherwise transfer their right, title or interest
in the Syncora Excess New B Notes prior to October 2, 2015.

                  As part of the Plan COP Settlement, on or as soon as reasonably practicable after the Effective
Date, Syncora shall cause to be paid $500,126.94 in cash to the COP Agent on account of COP Agent Fees. As part
of the Plan COP Settlement, FGIC shall cause to be paid to the COP Agent 75.945% of the reasonable COP Agent
Fees in cash out of the first proceeds of the distributions to or for the benefit of the FGIC COP Holders.

                   Nothing in this Section II.B.3.p.i.A shall, or shall be asserted or construed to, affect or prejudice
any rights, claims or defenses between the COP Swap Counterparties on the one hand and any Settling COP
Claimant (including Syncora, FGIC and the FGIC COP Holders) on the other hand.

                   Without limiting any other applicable provisions of, or releases contained in, the Plan or any
contracts, instruments, releases, agreements or documents to be entered into or delivered in connection with the Plan,
as of the Effective Date, in consideration for the obligations under the Plan and the consideration and other contracts,
instruments, releases, agreements or documents to be entered into or delivered in connection with the Plan, each
Settling COP Claimant shall, to the fullest extent permitted under law, be deemed to forever release, waive and
discharge all Liabilities relating to COP Documents such Settling COP Claimant has, had or may have against the
(1) GRS, (2) PFRS or (3) Related Entities of either GRS or PFRS. At the direction of FGIC, which shall be deemed
given on the Effective Date, the COP Contract Administrator shall have irrevocably agreed (on behalf of itself, any
successors and each FGIC COP Holder) to release and not to sue any COP Holder or any COP Insurer on behalf of
any FGIC COP Holder, COP Insurer, the Detroit Retirement Systems Funding Trust 2005 or the Detroit Retirement

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Systems Funding Trust 2006 in connection with any liability arising in connection with or related to (1) Sections 6.5
and 9.1 of the Contract Administration Agreements, (2) Section 8.03 of the COP Service Contracts, (3) distributions
made pursuant to or in connection with this Section II.B.3.p.i.A, (4) the FGIC Settlement or (5) the Syncora
Settlement. On the Effective Date, Syncora and FGIC shall, to the fullest extent permitted under law, be deemed to
forever mutually release, waive and discharge all liabilities against each other relating to distributions made pursuant
to or in connection with this Section II.B.3.p.i.A, Sections 6.5 and 9.1 of the Contract Administration Agreements or
Section 8.03 of the COP Service Contracts.

                           ii.      Impact of UTGO Settlement.

                   Pursuant to the UTGO Settlement Agreement, the City has agreed that (a) the Plan shall not permit
the Holders of Allowed COP Claims to recover more on a percentage basis on account of such Allowed COP Claims
than the Holders of Allowed Unlimited Tax General Obligation Bond Claims recover on a percentage basis on
account of such Allowed Unlimited Tax General Obligation Bond Claims, as such percentage recoveries are
projected on the terms set forth in the UTGO Settlement Agreement at Confirmation; and (b) if a Trigger Event
occurs, the Settling UTGO Bond Insurers shall receive Top-Off Payments (as set forth in Section IV.C).

                  q.       Class 10 – PFRS Pension Claims.

                           i.       Allowance.

                 The PFRS Pension Claims shall be allowed in an aggregate amount equal to the sum of
approximately $1,250,000,000.

                           ii.      Treatment.

                                    A.        Contributions to PFRS.

                   During the Fiscal Years from the Effective Date through Fiscal Year 2023, annual contributions
shall be made to fund benefits accrued under the Prior PFRS Pension Plan only in the amounts identified on
Exhibit II.B.3.q.ii.A. The exclusive source for such contributions shall be certain DIA Proceeds and a portion of the
State Contribution. After June 30, 2023, (1) PFRS will receive certain additional DIA Proceeds and (2) the City will
contribute sufficient funds required to pay each Holder of a PFRS Pension Claim his or her PFRS Adjusted Pension
Amount in accordance with and as modified by the terms and conditions contained in the Plan and the Prior PFRS
Pension Plan, in accordance with the State Contribution Agreement and exhibits thereto. Nothing in this Plan
prevents any non-City third party from making additional contributions to or for the benefit of PFRS if such party
chooses to do so.

                                    B.        Investment Return Assumption.

                   During the period that ends on June 30, 2023, the trustees of the PFRS, or the trustees of any
successor trust or pension plan, shall adopt and maintain an investment return assumption and discount rate for
purposes of determining the assets and liabilities of the PFRS that shall be 6.75%.

                                    C.        Modification of Benefits for PFRS Participants.

                   During the period that ends no earlier than June 30, 2023, the pension benefits payable to each
Holder of a PFRS Pension Claim shall be equal to the PFRS Adjusted Pension Amount for such Holder, provided
that such PFRS Adjusted Pension Amount shall be (1) automatically reduced by the DIA Proceeds Default Amount
in the event of a DIA Proceeds Payment Default and (2) increased by any PFRS Restoration Payment.

                   Restoration of all or a portion of the modified pension benefits will be provided in accordance
with the methodology set forth on Exhibit II.B.3.q.ii.C. For purposes of calculating a PFRS Restoration Payment,
market value of assets shall not include any City contributions through June 30, 2023, other than those listed on
Exhibit II.B.3.q.ii.A or any State contributions if the PFRS trustees fail to comply with the requirements described in


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the State Contribution Agreement. In the event that the Foundations and DIA Corp. accelerate all or a portion of
their funding commitments described in Section IV.E.1 prior to June 30, 2023, the incremental portion of the
acceleration will not count towards pension restoration.

                                     D.       Contingent Payment Rights.

                  The City will issue the DWSD CVR to the Restoration Trust for the benefit of Holders of Pension
Claims, as described in Section IV.F.

                                     E.       Accrual of Future Benefits.

                   Each Holder of a PFRS Pension Claim who is an Active Employee shall receive, in addition to his
or her PFRS Adjusted Pension Amount, as such amount may be modified herein, such additional pension benefit for
service on or after July 1, 2014 consistent with the terms and conditions of the New PFRS Active Pension Plan
Formula and the New PFRS Active Pension Plan.

                                     F.       Governance.

                  On or as soon as reasonably practicable after the Effective Date, an Investment Committee shall be
established under PFRS in accordance with the State Contribution Agreement. The Investment Committee shall be
vested with the authority and responsibilities set forth in the State Contribution Agreement for a period of 20 years
following the Effective Date. The initial independent members of the Investment Committee established by PFRS
shall be (1) Woodrow S. Tyler, (2) McCullough Williams III, (3) Robert C. Smith, (4) Joseph Bogdahn and
(5) Rebecca Sorenson.

                                     G.       No Changes in Terms for Ten Years.

                 Except as may be required to maintain the tax-qualified status of the PFRS or to comply
with the terms of the Plan, the City, the trustees of the PFRS and all other persons or entities shall be
enjoined from and against the subsequent amendment of the terms, conditions and rules of operation of the
PFRS, or any successor plan or trust, that govern the calculation of pension benefits (including the PFRS
Adjusted Pension Amount, accrual of additional benefits, the DIA Proceeds Default Amount, the Prior PFRS
Pension Plan, the PFRS Restoration Payment, the New PFRS Active Pension Plan Formula and the terms of
the New PFRS Active Pension Plan) or against any action that governs the selection of the investment return
assumption described in Section II.B.3.q.ii.B, the contribution to the PFRS or the calculation or amount of
PFRS pension benefits for the period ending June 30, 2023, notwithstanding whether that subsequent
amendment or act is created or undertaken by contract, agreement (including collective bargaining
agreement), statute, rule, regulation, ordinance, charter, resolution or otherwise by operation of law.

                                     H.       State Contribution Agreement.

                    The State Contribution Agreement, the effectiveness of which is contingent upon the acceptance
of the Plan by Classes 10 and 11, shall include the following principal terms: (1) the State, or the State's authorized
agent, will distribute the State Contribution for the benefit of Holders of Pension Claims; and (2) the Plan shall
provide for the release of the State and the State Related Entities by each holder of a Pension Claim from all
Liabilities arising from or related to the City, the Chapter 9 Case, the Plan, all Exhibits, the Disclosure Statement,
PA 436 and its predecessor or replacement statutes, and Article IX, Section 24 of the Michigan Constitution, as
more particularly described in the State Contribution Agreement and as set forth at Section III.D.7.b.

                  r.       Class 11 – GRS Pension Claims.

                           i.        Allowance.

                 The GRS Pension Claims shall be allowed in an aggregate amount equal to the sum of
approximately $1,879,000,000.


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                           ii.      Treatment.

                                    A.       Contributions to GRS.

                   During the Fiscal Years from the Effective Date through Fiscal Year 2023, annual contributions
shall be made to fund benefits accrued under the Prior GRS Pension Plan only in the amounts identified on Exhibit
II.B.3.r.ii.A. The exclusive sources for such contributions shall be certain pension related, administrative and
restructuring payments received from the DWSD equal to approximately $428.5 million, a portion of the State
Contribution, certain DIA Proceeds, a portion of the Assigned UTGO Bond Tax Proceeds and certain revenues from
City departments, the Detroit Public Library and the Detroit Regional Convention Facility Authority. After
June 30, 2023, (1) certain DIA Proceeds shall be contributed to the GRS and (2) the City will contribute such
additional funds as are necessary to pay each Holder of a GRS Pension Claim his or her GRS Adjusted Pension
Amount in accordance with and as modified by the terms and conditions contained in the Plan and the Prior GRS
Pension Plan, in accordance with the State Contribution Agreement and exhibits thereto. Nothing in this Plan
prevents any non-City third party from making additional contributions to or for the benefit of GRS if such party
chooses to do so.

                                    B.       Investment Return Assumption.

                  During the period that ends on June 30, 2023, the board of trustees of the GRS, or the trustees of
any successor trust or pension plan, shall adopt and maintain an investment return assumption and discount rate for
purposes of determining the assets and liabilities of the GRS that shall be 6.75%.

                                    C.       Modification of Benefits for GRS Participants.

                 During the period that ends no earlier than June 30, 2023, the pension benefits payable to each
Holder of a GRS Pension Claim shall be equal to the GRS Adjusted Pension Amount for such Holder, provided that
such GRS Adjusted Pension Amount shall be (1) automatically reduced by the DIA Proceeds Default Amount in the
event of a DIA Proceeds Payment Default and (2) increased by any GRS Restoration Payment.

                    Restoration of all or a portion of the modified pension benefits will be provided in accordance
with the methodology set forth on Exhibit II.B.3.r.ii.C. For purposes of calculating a GRS Restoration Payment,
market value of assets shall not include any City contributions through June 30, 2023, other than those listed on
Exhibit II.B.3.r.ii.A or any State contributions if the GRS trustees fail to comply with the requirements described in
the State Contribution Agreement. In the event that the Foundations and DIA Corp. accelerate all or a portion of
their funding commitments described in Section IV.E.1 prior to June 30, 2023, the incremental portion of the
acceleration will not count towards pension restoration.

                                    D.       Annuity Savings Fund Recoupment.

                                             1.        ASF Current Participants.

                   On or as soon as reasonably practicable after the Effective Date, the Annuity Savings Fund Excess
Amount will be calculated for each ASF Current Participant and will be deducted from such participant's Annuity
Savings Fund account and be used to fund the accrued pension benefits of all GRS participants; provided, however,
that in no event shall the amount deducted from an ASF Current Participant's Annuity Savings Fund account exceed
the ASF Recoupment Cap. In the event that the amount credited to an ASF Current Participant's Annuity Savings
Fund account as of the Effective Date is less than such participant's Annuity Savings Fund Excess Amount, the ASF
Current Participant will be treated as an ASF Distribution Recipient to the extent of the shortfall.




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                                            2.       ASF Distribution Recipients.

                                   i.       Monthly Deduction

                  For each ASF Distribution Recipient who does not elect the ASF Recoupment Cash Option
described in Section II.B.3.r.ii.D.2.ii and in the case of any ASF Distribution Recipient that elected the ASF
Recoupment Cash Option but does not timely deliver the ASF Recoupment Cash Payment to the GRS, the Annuity
Savings Fund Excess Amount will: (A) be calculated and converted into monthly annuity amounts based on
common actuarial assumptions (such as the ASF Distribution Recipient's life expectancy, and, if not already retired,
expected date of retirement) and amortized using a 6.75% interest rate; and (B) then be deducted from the ASF
Distribution Recipient's monthly pension check; provided, however, that in no event shall the total amount deducted
from an ASF Distribution Recipient's monthly pension check exceed the ASF Recoupment Cap or the Current GRS
Retiree Adjustment Cap, if applicable. The total ASF Recoupment from the ASF Distribution Recipient's monthly
pension checks over time shall not exceed the amount necessary to amortize the applicable Annuity Savings Fund
Excess Amount at 6.75% interest.

                                   ii.      Single Lump Sum Payment

                 Each ASF Distribution Recipient shall be afforded the ASF Recoupment Cash Option.

                  No later than seven days following the Effective Date, the City, through its Claims and Balloting
Agent, shall send the ASF Election Notice and the ASF Election Form by first-class U.S. mail to each ASF
Distribution Recipient. The ASF Election Form shall explain that the amount of the ASF Recoupment Cash
Payment shall be equal to the total amount of ASF Recoupment shown on the ASF Distribution Recipient's Ballot,
unless the aggregate amount of ASF Recoupment for all ASF Distribution Recipients electing the ASF Recoupment
Cash Option exceeds $30,000,000, in which case (A) the ASF Recoupment Cash Payment will be the ASF
Distribution Recipient's Pro Rata portion of $30,000,000, and (B) the remaining portion of the ASF Distribution
Recipient's ASF Recoupment will be annuitized and deducted from the ASF Distribution Recipient's monthly
pension check, as provided for in Section II.B.3.r.ii.D.2.i.

                 An ASF Distribution Recipient must return his or her ASF Election Form to the Claims and
Balloting Agent so that it is actually received by the Claims and Balloting Agent by the ASF Election Date.

                    GRS shall mail the ASF Final Cash Payment Notice no later than 14 days after the ASF Election
Date. ASF Distribution Recipients shall have until the ASF Final Cash Payment Date to make the ASF Recoupment
Cash Payment, which payment must be made by cashier's check or wire transfer and may not be made by personal
check. If an ASF Distribution Recipient's ASF Recoupment Cash Payment is not received by the ASF Final Cash
Payment Date, GRS will notify the ASF Distribution Recipient of the failure to timely pay, and ASF Recoupment
will be effected through diminution of such recipient's monthly pension check, as provided for in
Section II.B.3.r.ii.D.2.i. The calculation of each electing ASF Distribution Recipient's ASF Recoupment Cash
Payment shall not be adjusted under any circumstances, including as a result of default by any other electing ASF
Distribution Recipient to remit his or her ASF Recoupment Cash Payment by the ASF Final Cash Payment Date.

                                   E.       Contingent Payment Rights.

                  The City will issue the DWSD CVR to the Restoration Trust for the benefit of Holders of Pension
Claims, as described in Section IV.F.

                                   F.       Accrual of Future Benefits.

                   Each Holder of a GRS Pension Claim who is an Active Employee shall receive, in addition to his
or her GRS Adjusted Pension Amount, as such amount may be modified herein, such additional pension benefit for
service on or after July 1, 2014, consistent with the terms and conditions of the New GRS Active Pension Plan
Formula and the New GRS Active Pension Plan.



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                                     G.       Governance.

                   On or as soon as reasonably practicable after the Effective Date, an Investment Committee shall be
established under GRS in accordance with the State Contribution Agreement. The Investment Committee shall be
vested with the authority and responsibilities set forth in the State Contribution Agreement for a period of 20 years
following the Effective Date. The initial independent members of the Investment Committee established by GRS
shall be (1) Kerrie VandenBosch, (2) Doris Ewing, (3) Robert Rietz, (4) David Sowerby and (5) Ken Whipple.

                                     H.       No Changes in Terms for Ten Years.

                  Except as may be required to maintain the tax-qualified status of the GRS or to comply with
the terms of the Plan, the City, the trustees of the GRS and all other persons or entities shall be enjoined from
and against the subsequent amendment of the terms, conditions and rules of operation of the GRS, or any
successor plan or trust, that govern the calculation of pension benefits (including the GRS Adjusted Pension
Amount, accrual of additional benefits, the DIA Proceeds Default Amount, the Prior GRS Pension Plan, the
GRS Restoration Payment, the New GRS Active Pension Plan Formula and the terms of the New GRS Active
Pension Plan) or against any action that governs the selection of the investment return assumption described
in Section II.B.3.r.ii.B, the contribution to the GRS, or the calculation or amount of GRS pension benefits for
the period ending June 30, 2023, notwithstanding whether that subsequent amendment or act is created or
undertaken by contract, agreement (including collective bargaining agreement), statute, rule, regulation,
ordinance, charter, resolution or otherwise by operation of law.

                                     I.       State Contribution Agreement

                    The State Contribution Agreement, the effectiveness of which is contingent upon the acceptance
of the Plan by Classes 10 and 11, shall include the following principal terms: (1) the State, or the State's authorized
agent, will distribute the State Contribution for the benefit of Holders of Pension Claims; and (2) the Plan shall
provide for the release of the State and the State Related Entities by each holder of a Pension Claim from all
Liabilities arising from or related to the City, the Chapter 9 Case, the Plan, all Exhibits, the Disclosure Statement,
PA 436 and its predecessor or replacement statutes, and Article IX, Section 24 of the Michigan Constitution, as
more particularly described in the State Contribution Agreement and as set forth at Section III.D.7.b.

                  s.       Class 12 – OPEB Claims.

                           i.        Allowance.

                 As a result of a settlement between the City and the Retiree Committee, the OPEB Claims shall be
allowed in an aggregate amount equal to $4,303,000,000.

                           ii.       Treatment.

                                     A.       Detroit General VEBA.

                   Establishment of Detroit General VEBA: On or as soon as practicable following the Effective
Date, the City will establish the Detroit General VEBA to provide health benefits to Detroit General VEBA
Beneficiaries and certain of their dependents. The Detroit General VEBA will be governed by a seven member
board of trustees that will be responsible for, among other things, management of property held by the Detroit
General VEBA, administration of the Detroit General VEBA and determination of the level of and distribution of
benefits to Detroit General VEBA Beneficiaries. The Detroit General VEBA Trust Agreement and related plan
documentation will be substantially in the form set forth on Exhibit I.A.108. With respect to the initial appointment
of the board of trustees, the Mayor will appoint one member, and the DRCEA and the Retiree Committee will each
appoint three board members. The DRCEA will fill board member vacancies created by the departure of members
initially appointed by the Retiree Committee or the DRCEA, and the Mayor will fill a board member vacancy
created by the departure of the member appointed by the Mayor. The initial members of the Detroit General VEBA
board of trustees shall be (1) Floyd Allen, (2) Roger Cheek, (3) Suzanne Daniels Paranjpe, (4) Doris Ewing,


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(5) Barbara Wise-Johnson, (6) Shirley Lightsey and (7) Thomas Sheehan. Nothing in the Plan precludes either the
Detroit General VEBA from being formed under Section 115 or the formation of a separate trust under Section 115,
in each case with the City's consent, which consent will not be unreasonably withheld.

                   Distributions to Detroit General VEBA: On the Effective Date, the City shall distribute to the
Detroit General VEBA New B Notes in the aggregate principal amount of $218,000,000, in satisfaction of the
Allowed OPEB Claims held by Detroit General VEBA Beneficiaries. The Detroit General VEBA shall also be
entitled to additional distributions as set forth in Section II.B.3.p.i.A.

                                    B.       Detroit Police and Fire VEBA.

                   Establishment of Detroit Police and Fire VEBA: On or as soon as practicable following the
Effective Date, the City will establish the Detroit Police and Fire VEBA to provide health benefits to Detroit Police
and Fire VEBA Beneficiaries and certain of their dependents. The Detroit Police and Fire VEBA will be governed
by a seven member board of trustees and, for the first four years, one additional non-voting, ex-officio member. The
board of trustees will be responsible for, among other things, management of property held by the Detroit Police and
Fire VEBA, administration of the Detroit Police and Fire VEBA and determination of the level of and distribution of
benefits to Detroit Police and Fire VEBA Beneficiaries. The Detroit Police and Fire VEBA Trust Agreement and
related plan documentation will be substantially in the form set forth on Exhibit I.A.112. With respect to the initial
appointment of the board of trustees, the Mayor will appoint one member, and the RDPFFA and the Retiree
Committee will each appoint three board members. The RDPMA will appoint the non-voting, ex-officio member.
The RDPFFA will fill board member vacancies created by the departure of voting members initially appointed by
the Retiree Committee or the RDPFFA, and the Mayor will fill a board member vacancy created by the departure of
the member appointed by the Mayor. The RDPMA will fill a non-voting, ex-officio board member vacancy created
by the departure of the member initially appointed by the RDPMA, but such non-voting, ex-officio member position
shall expire on December 31, 2018. The initial members of the Detroit Police and Fire VEBA board of trustees shall
be (1) Floyd Allen, (2) Gregory Best, (3) John Clark, (4) Andrew Dillon, (5) Allan Grant, (6) Thomas Sheehan,
(7) Greg Trozak and (8) Shirley Berger (ex officio). Nothing in the Plan precludes either the Detroit Police and Fire
VEBA from being formed under Section 115 or the formation of a separate trust under Section 115, in each case
with the City's consent, which consent will not be unreasonably withheld.

                   Distributions to Detroit Police and Fire VEBA: On the Effective Date, the City shall distribute to
the Detroit Police and Fire VEBA New B Notes in the aggregate principal amount of $232,000,000, in satisfaction
of the Allowed OPEB Claims held by Detroit Police and Fire VEBA Beneficiaries. The Detroit Police and Fire
VEBA shall also be entitled to additional distributions as set forth in Section II.B.3.p.i.A.

                                    C.       No Further Responsibility.

                   From and after the Effective Date, the City shall have no further responsibility to provide retiree
healthcare or any other retiree welfare benefits. The City shall have no responsibility from and after the Effective
Date to provide life insurance or death benefits to former employees. On the Effective Date, the Employees Death
Benefit Plan will be frozen for former employees, and the City will no longer have an obligation to contribute to
fund death benefits under the plan for any participant or beneficiary who is a former employee. Existing retirees
who participate in the plan will be granted a one-time opportunity to receive a lump sum distribution of the present
value of their actuarially determined death benefit to the extent of the plan funding. For the avoidance of doubt, the
Employees Death Benefit Plan shall not be merged into or operated by either the Detroit General VEBA or the
Detroit Police and Fire VEBA. The Employees Death Benefit Board of Trustees shall continue to manage the
Employees Death Benefit Plan and employ the staff of the Retirement Systems to administer the disbursement of
benefits thereunder, the costs of which administration shall be borne by the assets of the Employees Death Benefit
Plan.

                  Retirees (and active employees that retire prior to December 31, 2014) of the Detroit Public
Library and the Detroit Regional Convention Facility Authority are Detroit General VEBA Beneficiaries and will
receive the treatment set forth above. However, the collective bargaining and other legal rights and obligations of
the Detroit Public Library and the Detroit Regional Convention Facility Authority, on one hand, and their respective
unions and former and current employees, on the other hand, are not affected by the Plan. These parties retain the

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right to negotiate further or additional benefits; provided, however, that the City shall not be responsible for, or have
any obligation with respect to, any such further or additional benefits or the administration thereof. In addition, in
consideration of the eligible retirees of the Detroit Public Library and the Detroit Regional Convention Facility
Authority participating in the Detroit General VEBA, the Detroit Public Library and the Detroit Regional
Convention Facility Authority shall reimburse the City for their allocable share of the New B Note debt service
related to the Detroit General VEBA.

                  t.        Class 13 – Downtown Development Authority Claims.

                            i.       Allowance.

                 On the Effective Date, the Downtown Development Authority Claims shall be deemed Allowed in
the amount of $33,600,000.

                            ii.      Treatment.

                  Unless such Holder agrees to a different treatment of such Claim, each Holder of an Allowed
Downtown Development Authority Claim, in full satisfaction of such Allowed Claim, shall receive, on or as soon as
reasonably practicable after the Effective Date, a Pro Rata share of approximately $3.69 million in New B Notes.

                  u.        Class 14 – Other Unsecured Claims.

                            i.       Treatment.

                   Unless such Holder agrees to a different treatment of such Claim, each Holder of an Allowed
Other Unsecured Claim, in full satisfaction of such Allowed Claim, shall receive (A) on or as soon as reasonably
practicable after the Effective Date, a Pro Rata share of approximately $16.48 million in New B Notes and
(B) distributions in accordance with Section II.B.3.p.i.A.

                  v.        Class 15 – Convenience Claims.

                            i.       Treatment.

                 Each Holder of an Allowed Convenience Claim, in full satisfaction of such Allowed Claim, shall
receive Cash equal to the amount of 25% of such Allowed Claim (as reduced, if applicable, pursuant to an election
by such Holder in accordance with Section I.A.76) on or as soon as reasonably practicable after the Effective Date,
unless such Holder agrees to a different treatment of such Claim.

                  w.        Class 16 – Subordinated Claims.

                            i.       Treatment.

                  On the Effective Date, all Subordinated Claims shall be disallowed, extinguished and discharged
without Distribution under the Plan, and Holders of Subordinated Claims shall not receive or retain any property on
account of such Claims. Pursuant to section 1126(g) of the Bankruptcy Code, Class 16 is deemed to have rejected
the Plan and Holders of Subordinated Claims are not entitled to cast a Ballot in respect of such Claims.

                  x.        Class 17 – Indirect 36th District Court Claims.

                            i.       Treatment.

                   Unless such Holder agrees to a different treatment of its Claim, each Holder of an Allowed
Indirect 36th District Court Claim, in full satisfaction of such Allowed Claim, shall receive: (A) if the Allowed
amount of such Indirect 36th District Court Claim is less than $100,000.00, on or as soon as reasonably practicable
after the Effective Date, Cash in an amount equal to 33% of the Allowed amount of such Allowed Indirect 36th


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District Court Claim; or (B) if the Allowed amount of such Indirect 36th District Court Claim is equal to or more
than $100,000.00, Cash equal to 33% of the Allowed amount of such Indirect 36th District Court Claim, plus simple
interest on outstanding amounts at a rate of five percent per annum, payable in five equal annual installments, with
the first installment to be paid on or as soon as reasonably practicable after the Effective Date and the remaining
four installments to be paid on the date of the first four anniversaries of the Effective Date or, if any such date is not
a Business Day, on the first Business Day thereafter.

                            ii.      Further Obligation of City, State and 36th District Court.

                  Subject to the terms of the 36th District Court Settlement, the treatment of Allowed Indirect 36th
District Court Claims set forth in Section II.B.3.x.i shall fulfill any obligation of the City and the 36th District Court
that may exist with respect to all Indirect 36th District Court Claims. Nothing in Section II.B.3.x.i prevents the
Holder of an Indirect 36th District Court Claim from seeking further relief or payment from the State with respect to
such Indirect 36th District Court Claim to the extent such Claim is not satisfied pursuant to the Plan.

C.       Confirmation Without Acceptance by All Impaired Classes.

                 The City requests Confirmation under section 1129(b) of the Bankruptcy Code in the event that
any impaired Class does not accept or is deemed not to accept the Plan pursuant to section 1126 of the Bankruptcy
Code. The Plan shall constitute a motion for such relief.

D.       Treatment of Executory Contracts and Unexpired Leases.

         1.       Assumption.

                  Except as otherwise provided in the Plan, in any contract, instrument, release or other agreement
or document entered into in connection with the Plan or in a Final Order of the Bankruptcy Court, or as requested in
any motion Filed by the City on or prior to the Effective Date, on the Effective Date, pursuant to section 365 of the
Bankruptcy Code, the City will be deemed to assume all Executory Contracts and Unexpired Leases to which it is a
party. Notwithstanding the foregoing, Retirement System Indemnity Obligations shall not be assumed under the
Plan and shall be discharged. For the avoidance of doubt, the City shall assume the Tunnel Lease pursuant to this
Section II.D.1.

         2.       Assumption of Ancillary Agreements.

                  Each Executory Contract and Unexpired Lease assumed pursuant to Section II.D.1 will include
any modifications, amendments, supplements, restatements or other agreements made directly or indirectly by any
agreement, instrument or other document that in any manner affects such Executory Contract or Unexpired Lease,
unless any such modification, amendment, supplement, restatement or other agreement is rejected pursuant to
Section II.D.6 or designated for rejection in accordance with Section II.D.3.

         3.       Approval of Assumptions and Assignments.

                  The Confirmation Order will constitute an order of the Bankruptcy Court approving the
assumption of Executory Contracts and Unexpired Leases pursuant to Sections II.D.1 and II.D.2 (and any related
assignment) as of the Effective Date, except for Executory Contracts or Unexpired Leases that (a) have been
rejected pursuant to a Final Order of the Bankruptcy Court, (b) are subject to a pending motion for reconsideration
or appeal of an order authorizing the rejection of such Executory Contract or Unexpired Lease, (c) are subject to a
motion to reject such Executory Contract or Unexpired Lease Filed on or prior to the Effective Date, (d) are rejected
pursuant to Section II.D.6 or (e) are designated for rejection in accordance with the last sentence of this paragraph.
An order of the Bankruptcy Court (which may be the Confirmation Order) entered on or prior to the Confirmation
Date will specify the procedures for providing notice to each party whose Executory Contract or Unexpired Lease is
being assumed pursuant to the Plan of: (a) the Executory Contract or Unexpired Lease being assumed; (b) the Cure
Amount Claim, if any, that the City believes it would be obligated to pay in connection with such assumption;
(c) any assignment of an Executory Contract or Unexpired Lease; and (d) the procedures for such party to object to


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the assumption of the applicable Executory Contract or Unexpired Lease, the amount of the proposed Cure Amount
Claim or any assignment of an Executory Contract or Unexpired Lease. If an objection to a proposed assumption,
assumption and assignment or Cure Amount Claim is not resolved in favor of the City, the applicable Executory
Contract or Unexpired Lease may be designated by the City for rejection, which shall be deemed effective as of the
Effective Date.

         4.       Payments Related to the Assumption of Executory Contracts and Unexpired Leases.

                  To the extent that such Claims constitute monetary defaults, the Cure Amount Claims associated
with each Executory Contract or Unexpired Lease to be assumed pursuant to the Plan will be satisfied, pursuant to
section 365(b)(1) of the Bankruptcy Code, at the option of the City: (a) by payment of the Cure Amount Claim in
Cash on the Effective Date or (b) on such other terms as are agreed to by the parties to such Executory Contract or
Unexpired Lease. If there is a dispute regarding: (a) the amount of any Cure Amount Claim, (b) the ability of the
City or any assignee to provide "adequate assurance of future performance" (within the meaning of section 365 of
the Bankruptcy Code) under the contract or lease to be assumed or (c) any other matter pertaining to the assumption
of such contract or lease, the payment of any Cure Amount Claim required by section 365(b)(1) of the Bankruptcy
Code will be made within 30 days following the entry of a Final Order resolving the dispute and approving the
assumption.

         5.       Contracts and Leases Entered Into After the Petition Date.

                  Contracts, leases and other agreements entered into after the Petition Date by the City, including
(a) any Executory Contracts or Unexpired Leases assumed by the City and (b) the collective bargaining agreements
identified on Exhibit II.D.5, will be performed by the City in the ordinary course of its business. Accordingly, such
contracts and leases (including any assumed Executory Contracts or Unexpired Leases) will survive and remain
unaffected by entry of the Confirmation Order.

         6.       Rejection of Executory Contracts and Unexpired Leases.

                   On the Effective Date, each Executory Contract and Unexpired Lease that is listed on
Exhibit II.D.6 shall be deemed rejected pursuant to section 365 of the Bankruptcy Code. The Confirmation Order
will constitute an order of the Bankruptcy Court approving such rejections, pursuant to section 365 of the
Bankruptcy Code, as of the later of: (a) the Effective Date or (b) the resolution of any objection to the proposed
rejection of an Executory Contract or Unexpired Lease. Each contract or lease listed on Exhibit II.D.6 shall be
rejected only to the extent that any such contract or lease constitutes an Executory Contract or Unexpired Lease.
The City reserves its right, at any time on or prior to the Effective Date, to amend Exhibit II.D.6 to delete any
Executory Contract or Unexpired Lease therefrom, thus providing for its assumption pursuant to Section II.D.1, or
add any Executory Contract or Unexpired Lease thereto, thus providing for its rejection pursuant to this
Section II.D.6. The City will provide notice of any amendments to Exhibit II.D.6 to the parties to the Executory
Contracts or Unexpired Leases affected thereby and to the parties on the then-applicable service list in the Chapter 9
Case. Listing a contract or lease on Exhibit II.D.6 shall not constitute an admission by the City that such contract or
lease is an Executory Contract or Unexpired Lease or that the City has any liability thereunder. Any Claims arising
from the rejection of an Executory Contract or Unexpired Lease pursuant to the Plan shall be treated as Class 14
Claims (Other Unsecured Claims), subject to the provisions of section 502 of the Bankruptcy Code.

         7.       Rejection Damages Bar Date.

                   Except as otherwise provided in a Final Order of the Bankruptcy Court approving the rejection of
an Executory Contract or Unexpired Lease, Claims arising out of the rejection of an Executory Contract or
Unexpired Lease must be Filed with the Bankruptcy Court and served upon counsel to the City on or before the later
of: (a) 45 days after the Effective Date; or (b) 45 days after such Executory Contract or Unexpired Lease is rejected
pursuant to a Final Order or designated for rejection in accordance with Section II.D.3. Any Claims not Filed within
such applicable time periods will be forever barred from receiving a Distribution from, and shall not be enforceable
against, the City.



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         8.       Preexisting Obligations to the City Under
                  Rejected Executory Contracts and Unexpired Leases.

                  Pursuant to section 365(g) of the Bankruptcy Code, rejection of any Executory Contract or
Unexpired Lease pursuant to the Plan or otherwise shall constitute a breach of such contract or lease and not a
termination thereof, and all obligations owing to the City under such contract or lease as of the date of such breach
shall remain owing to the City upon rejection. Notwithstanding any applicable non-bankruptcy law to the contrary,
the City expressly reserves and does not waive any right to receive, or any continuing obligation of a non-City party
to provide, warranties, indemnifications or continued maintenance obligations on goods previously purchased, or
services previously received, by the City from non-City parties to rejected Executory Contracts or Unexpired Leases,
and any such rights shall remain vested in the City as of the Effective Date.

         9.       Insurance Policies.

                   From and after the Effective Date, each of the City's insurance policies (other than welfare
benefits insurance policies) in existence as of or prior to the Effective Date shall be reinstated and continue in full
force and effect in accordance with its terms and, to the extent applicable, shall be deemed assumed by the City
pursuant to section 365 of the Bankruptcy Code and Section II.D.1. Nothing contained herein shall constitute or be
deemed a waiver of any Causes of Action that the City may hold against any Entity, including any insurer under any
of the City's insurance policies. For the avoidance of doubt, nothing contained in this Section II.D.9 shall apply to
reinstate or continue any obligation of the City or any fund thereof to any Bond Insurer.

                                               ARTICLE III
                                        CONFIRMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

                 The Effective Date will not occur, and the Plan will not be consummated, unless and until the City
has determined that all of following conditions have been satisfied or waived in accordance with Section III.B:

          1.       The Bankruptcy Court shall have entered the Confirmation Order in form and substance
satisfactory to the City.

          2.       The Bankruptcy Court shall have entered an order (which may be included in the Confirmation
Order) approving and authorizing the City to take all actions necessary or appropriate to implement the Plan,
including the transactions contemplated by the Plan and the implementation and consummation of the contracts,
instruments, settlements, releases and other agreements or documents entered into or delivered in connection with
the Plan.

         3.       The Confirmation Order shall not be stayed in any respect.

         4.        The Confirmation Order shall contain (a) a finding that the FGIC Settlement Consideration and
the FGIC Development Agreement are solely for the benefit of FGIC and the FGIC COP Holders (subject to any
provision set forth herein for payment of COP Agent Fees), and (b) an ordered provision that such consideration be
administered and distributed to FGIC and the FGIC COP Holders in a manner consistent therewith and with the
Plan.

         5.        The Confirmation Order shall contain (a) a finding that the Syncora Development Agreement is
solely for the benefit of Syncora (subject to any provision set forth herein for payment of COP Agent Fees), and
(b) an ordered provision that such consideration be administered and distributed to Syncora in a manner consistent
therewith and with the Plan.

        6.       All actions and all contracts, instruments, settlements, releases and other agreements or documents
necessary to implement the terms and provisions of the Plan are effected or executed and delivered, as applicable, in
form and substance satisfactory to the City.


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         7.      All authorizations, consents and regulatory approvals, if any, required in connection with the
consummation of the Plan have been obtained and not revoked, including all governmental and Emergency Manager
consents and approvals required to carry out the terms of the LTGO Settlement Agreement.

        8.       Any legislation that must be passed by the State legislature to effect any term of the Plan shall
have been enacted.

         9.     The MFA board shall have approved the issuance of the Restructured UTGO Bonds and the
Restructured UTGO Bonds shall have been issued.

         10.       The City shall have obtained all governmental and Emergency Manager consents and approvals
required to carry out the terms of the UTGO Settlement Agreement.

          11.     The Plan and all Exhibits shall have been Filed and shall not have been materially amended,
altered or modified from the Plan as confirmed by the Confirmation Order, unless such material amendment,
alteration or modification has been made in accordance with Section VIII.B.

        12.      If Classes 10 and 11 have accepted the Plan, all conditions to the effectiveness of the State
Contribution Agreement and the DIA Settlement Documents have been satisfied.

        13.      The Syncora Settlement and the Syncora Settlement Agreement shall have been approved by the
Bankruptcy Court in form and substance reasonably acceptable to the City and Syncora, and such approval shall not
have been vacated or otherwise modified, and the definitive documents contemplated thereby shall have been
executed and delivered.

        14.      The Syncora Development Agreement shall have been approved by the Bankruptcy Court in form
and substance reasonably acceptable to the City and Syncora, and such approval shall not have been vacated or
otherwise modified, and the definitive documents contemplated thereby shall have been executed and delivered.

         15.      The FGIC/COP Settlement Documents and the FGIC Development Agreement shall have been
approved by the Bankruptcy Court in form and substance reasonably acceptable to the City and FGIC, and such
approval shall not have been vacated or otherwise modified, and the definitive documents contemplated thereby
shall have been executed and delivered.

        16.      The New York State Department of Financial Services shall have waived in writing the notice
requirement under FGIC's plan of rehabilitation with respect to the settlement contemplated by the FGIC/COP
Settlement Documents and the FGIC Development Agreement in form and substance reasonably acceptable to
FGIC, and such waiver shall not have been vacated or otherwise modified.

         17.      The Effective Date shall have occurred within 180 days of the entry of the Confirmation Order,
unless the City requests an extension of such deadline and such deadline is extended by the Bankruptcy Court.

B.       Waiver of Conditions to the Effective Date.

                  The conditions to the Effective Date set forth in Section III.A may be waived in whole or part at
any time by the City in its sole and absolute discretion, except for those conditions set forth in (1) Section III.A.9
and Section III.A.10, which conditions cannot be waived, (2) Sections III.A.5, III.A.13 and III.A.14, which may
only be waived by the City with the prior written consent of Syncora, (3) Sections III.A.4 and III.A.15, which may
only be waived by the City with the prior written consent of FGIC and (4) Section III.A.16, which may be waived
by the City at any time on or after November 4, 2014 at 5:00 p.m. (Eastern Time) with the prior written consent of
FGIC.




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C.       Effect of Nonoccurrence of Conditions to the Effective Date.

                   If each of the conditions to the Effective Date is not satisfied, or duly waived in accordance with
Section III.B, then, before the time that each of such conditions has been satisfied and upon notice to such parties in
interest as the Bankruptcy Court may direct, the City may File a motion requesting that the Bankruptcy Court vacate
the Confirmation Order; provided, however, that, notwithstanding the Filing of such motion, the Confirmation Order
may not be vacated if each of the conditions to the Effective Date is satisfied before the Bankruptcy Court enters an
order granting such motion. If the Confirmation Order is vacated pursuant to this Section III.C: (1) the Plan will be
null and void in all respects, including with respect to (a) the discharge of Claims pursuant to section 944(b) of the
Bankruptcy Code, (b) the assumptions, assignments or rejections of Executory Contracts and Unexpired Leases
pursuant to Section II.D and (c) the releases described in Section III.D.7; and (2) nothing contained in the Plan, nor
any action taken or not taken by the City with respect to the Plan, the Disclosure Statement or the Confirmation
Order, will be or will be deemed to be (a) a waiver or release of any Claims by or against the City, (b) an admission
of any sort by the City or any other party in interest or (c) prejudicial in any manner the rights of the City or any
other party in interest.

D.       Effect of Confirmation of the Plan.

         1.       Dissolution of Retiree Committee.

                  On the Effective Date, the Retiree Committee, to the extent not previously dissolved or disbanded,
will dissolve and disband, and the members of the Retiree Committee and their respective professionals will cease to
have any role arising from or related to the Chapter 9 Case.

         2.       Preservation of Rights of Action by the City.

                   Except as otherwise provided in the Plan or in any contract, instrument, release or other agreement
entered into or delivered in connection with the Plan, in accordance with section 1123(b)(3)(B) of the Bankruptcy
Code, the City will retain and may enforce any claims, demands, rights, defenses and Causes of Action that it may
hold against any Entity, including but not limited to any and all Causes of Action against any party relating to the
past practices of the Retirement Systems (including any investment decisions related to, and the management of, the
Retirement Systems' respective pension plans or assets), to the extent not expressly released under the Plan or
pursuant to any Final Order of the Bankruptcy Court. A nonexclusive schedule of currently pending actions and
claims brought by the City is attached as Exhibit III.D.2. The City's inclusion of, or failure to include, any right of
action or claim on Exhibit III.D.2 shall not be deemed an admission, denial or waiver of any claims, demands, rights
or Causes of Action that the City may hold against any Entity, and all Entities are hereby notified that the City
intends to preserve all such claims, demands, rights or Causes of Action.

         3.       Comprehensive Settlement of Claims and Controversies.

                    Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other benefits
provided under the Plan, the provisions of the Plan will constitute a good faith compromise and settlement of all
claims or controversies relating to the rights that a holder of a Claim may have with respect to any Allowed Claim or
any Distribution to be made pursuant to the Plan on account of any Allowed Claim. The entry of the Confirmation
Order will constitute the Bankruptcy Court's approval, as of the Effective Date, of the compromise or settlement of
all such claims or controversies and the Bankruptcy Court's finding that all such compromises or settlements are
(a) in the best interests of the City, its property and Claim Holders and (b) fair, equitable and reasonable. For the
avoidance of doubt, this Section III.D.3 shall not affect or limit the application of section 509 of the Bankruptcy
Code or any similar doctrine to Bond Insurance Policy Claims.




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         4.       Discharge of Claims.

                  a.       Complete Satisfaction, Discharge and Release.

                   Except as provided in the Plan or in the Confirmation Order, the rights afforded under the Plan
and the treatment of Claims under the Plan will be in exchange for and in complete satisfaction, discharge and
release of all Claims arising on or before the Effective Date, including any interest accrued on Claims from and after
the Petition Date. Except as provided in the Plan or in the Confirmation Order, Confirmation will, as of the
Effective Date, discharge the City from all Claims or other debts that arose on or before the Effective Date, and all
debts of the kind specified in section 502(g), 502(h) or 502(i) of the Bankruptcy Code, whether or not (i) a proof of
Claim based on such debt is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code, (ii) a Claim
based on such debt is allowed pursuant to section 502 of the Bankruptcy Code or (iii) the Holder of a Claim based
on such debt has accepted the Plan.

                  b.       Discharge.

                    In accordance with Section III.D.4.a, except as expressly provided otherwise in the Plan or the
Confirmation Order, the Confirmation Order will be a judicial determination, as of the Effective Date, of a discharge
of all debts of the City, pursuant to sections 524(a)(1), 524(a)(2) and 944(b) of the Bankruptcy Code, and such
discharge will void any judgment obtained against the City at any time, to the extent that such judgment relates to a
discharged debt; provided that such discharge will not apply to (i) debts specifically exempted from discharge under
the Plan; and (ii) debts held by an Entity that, before the Confirmation Date, had neither notice nor actual knowledge
of the Chapter 9 Case.

         5.       Injunction.

                  On the Effective Date, except as otherwise provided herein or in the Confirmation Order,

                 a.       all Entities that have been, are or may be holders of Claims against the City,
Indirect 36th District Court Claims or Indirect Employee Indemnity Claims, along with their Related Entities,
shall be permanently enjoined from taking any of the following actions against or affecting the City or its
property, DIA Corp. or its property, the DIA Assets, the Released Parties or their respective property and the
Related Entities of each of the foregoing, with respect to such claims (other than actions brought to enforce
any rights or obligations under the Plan and appeals, if any, from the Confirmation Order):

                            1.      commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding of any kind against or affecting the City or its property
(including (A) all suits, actions and proceedings that are pending as of the Effective Date, which must be
withdrawn or dismissed with prejudice, (B) Indirect 36th District Court Claims and (C) Indirect Employee
Indemnity Claims);

                        2.       enforcing, levying, attaching, collecting or otherwise recovering by any
manner or means, directly or indirectly, any judgment, award, decree or order against the City or its
property;

                        3.       creating, perfecting or otherwise enforcing in any manner, directly or
indirectly, any encumbrance of any kind against the City or its property;

                           4.       asserting any setoff, right of subrogation or recoupment of any kind,
directly or indirectly, against any obligation due the City or its property;

                         5.       proceeding in any manner in any place whatsoever that does not conform to
or comply with the provisions of the Plan or the settlements set forth herein to the extent such settlements
have been approved by the Bankruptcy Court in connection with Confirmation of the Plan; and



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                            6.       taking any actions to interfere with the implementation or consummation of
the Plan.

                  b.        All Entities that have held, currently hold or may hold any Liabilities released
pursuant to the Plan will be permanently enjoined from taking any of the following actions against the State,
the State Related Entities, the officers, board of trustees/directors, attorneys, advisors and professionals of the
RDPFFA or the DRCEA, and the Released Parties or any of their respective property on account of such
released Liabilities: (i) commencing, conducting or continuing in any manner, directly or indirectly, any suit,
action or other proceeding of any kind; (ii) enforcing, levying, attaching, collecting or otherwise recovering by
any manner or means, directly or indirectly, any judgment, award, decree or order; (iii) creating, perfecting
or otherwise enforcing in any manner, directly or indirectly, any lien; (iv) asserting any setoff, right of
subrogation or recoupment of any kind, directly or indirectly, against any obligation due the State, a State
Related Entity, the officers, board of trustees/directors, attorneys, advisors and professionals of the RDPFFA
or the DRCEA, or a Released Party; and (v) commencing or continuing any action, in any manner, in any
place that does not comply with or is inconsistent with the provisions of the Plan. Notwithstanding the
foregoing and without limiting the injunctions in Section III.D.5.a, the Holders of Indirect 36th District Court
Claims shall not be enjoined from taking any of the foregoing actions against the State or the State Related
Entities with respect to Indirect 36th District Court Claims to the extent such Claims are not satisfied
pursuant to the Plan.

         6.       Exculpation.

                    From and after the Effective Date, to the fullest extent permitted under applicable law and except
as expressly set forth in this Section, neither the City, its Related Entities (including the members of the City
Council, the Mayor and the Emergency Manager), to the extent a claim arises from actions taken by such Related
Entity in its capacity as a Related Entity of the City, the State, the State Related Entities, the Exculpated Parties nor
the Released Parties shall have or incur any liability to any person or Entity for any act or omission in connection
with, relating to or arising out of the City's restructuring efforts and the Chapter 9 Case, including the authorization
given to file the Chapter 9 Case, the formulation, preparation, negotiation, dissemination, consummation,
implementation, confirmation or approval (as applicable) of the Plan, the property to be distributed under the Plan,
the settlements implemented under the Plan, the Exhibits, the Disclosure Statement, any contract, instrument, release
or other agreement or document provided for or contemplated in connection with the consummation of the
transactions set forth in the Plan or the management or operation of the City; provided that the foregoing provisions
shall apply to (a) the LTGO Exculpated Parties solely in connection with acts or omissions taken in connection with
the LTGO Settlement Agreement or the Plan (as it relates to the LTGO Settlement Agreement), (b) the UTGO
Exculpated Parties solely in connection with acts or omissions taken in connection with the UTGO Settlement
Agreement or the Plan (as it relates to the UTGO Settlement Agreement), (c) the DWSD Exculpated Parties solely
in connection with acts or omissions taken in connection with the DWSD Tender, DWSD Tender Motion or DWSD
Tender Order, (d) the Syncora Exculpated Parties solely in connection with acts or omissions taken in connection
with the Syncora Settlement Documents and any actions or litigation positions taken by the Syncora Exculpated
Parties in the Chapter 9 Case, (e) the FGIC/COP Exculpated Parties solely in connection with acts or omissions
taken in connection with the FGIC/COP Settlement Documents and any actions or litigation positions taken by the
FGIC/COP Exculpated Parties in the Chapter 9 Case, (f) the RDPMA Exculpated Parties and (g) the COP Agent,
solely in its capacity as such and solely in connection with any Distributions made pursuant to the terms of the
Plan; provided, further, that the foregoing provisions in this Section III.D.6 shall not affect the liability of the City,
its Related Entities, the State, the State Related Entities, the Released Parties and the Exculpated Parties that
otherwise would result from any such act or omission to the extent that such act or omission is determined in a Final
Order to have constituted gross negligence or willful misconduct or any act or omission occurring before the Petition
Date. The City, its Related Entities (with respect to actions taken by such Related Entities in their capacities as
Related Entities of the City), the State, the State Related Entities, the Released Parties and the Exculpated Parties
shall be entitled to rely upon the advice of counsel and financial advisors with respect to their duties and
responsibilities under, or in connection with, the Chapter 9 Case, the administration thereof and the Plan. This
Section III.D.6 shall not affect any liability of (a) any of the COP Swap Exculpated Parties to the Syncora
Exculpated Parties or FGIC or (b) the Syncora Exculpated Parties or FGIC/COP Exculpated Parties to any of the
COP Swap Exculpated Parties.


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         7.       Releases

                   Without limiting any other applicable provisions of, or releases contained in, the Plan or any
contracts, instruments, releases, agreements or documents to be entered into or delivered in connection with the
Plan, as of the Effective Date, in consideration for the obligations of the City under the Plan and the consideration
and other contracts, instruments, releases, agreements or documents to be entered into or delivered in connection
with the Plan (including the State Contribution Agreement):

                  a.       each holder of a Claim that votes in favor of the Plan, to the fullest extent permissible
                           under law, will be deemed to forever release, waive and discharge (which release will be
                           in addition to the release and discharge of Claims otherwise provided herein and under
                           the Confirmation Order and the Bankruptcy Code):

                                     i.       all Liabilities in any way relating to the City, the Chapter 9 Case
                           (including the authorization given to file the Chapter 9 Case), the Plan, the Exhibits or the
                           Disclosure Statement, in each case that such holder has, had or may have against the City
                           or its current and former officials, officers, directors, employees, managers, attorneys,
                           advisors and professionals, each acting in such capacity (and, in addition to and without
                           limiting the foregoing, in the case of any Emergency Manager, in such Emergency
                           Manager's capacity as an appointee under PA 436); provided further, for the avoidance of
                           doubt, that any person or entity designated to manage the Chapter 9 Case for the City
                           after the Emergency Manager's term is terminated, whether such person or entity acts as
                           an employee, advisor or contractor to the City or acts as an employee, agent, contractor or
                           appointee of the State under any applicable state law, shall be treated the same as an
                           employee of the City hereunder; and

                                     ii.      all Liabilities in any way relating to (A) Claims that are compromised,
                           settled or discharged under or in connection with the Plan, (B) the Chapter 9 Case
                           (including the authorization given to file the Chapter 9 Case), (C) the Plan, (D) the
                           Exhibits, (E) the Disclosure Statement or (F) the DIA Settlement, in each case that such
                           holder has, had or may have against the City's Related Entities, the State, the State
                           Related Entities and the Released Parties; provided, however, that any such Liability of
                           the Foundations, the DIA Funders and the CFSEM Supporting Organization and their
                           Related Entities shall be released only to the extent that such Liability, if any, arises from
                           any such entity's participation in the DIA Settlement;

                           provided, however, that the foregoing provisions shall not affect the liability of the City,
                           its Related Entities and the Released Parties that otherwise would result from any act or
                           omission to the extent that act or omission subsequently is determined in a Final Order to
                           have constituted gross negligence or willful misconduct; and provided further, however,
                           that if Classes 10 and 11 vote to accept the Plan, but any necessary conditions precedent
                           to the receipt of the initial funding from the State (pursuant to the State Contribution
                           Agreement) and the DIA Funding Parties that are such as of the commencement of the
                           Confirmation Hearing (pursuant to the DIA Settlement) that can be satisfied or waived by
                           the applicable funding party prior to the Confirmation Hearing (including, but not limited
                           to, adoption of relevant legislation and appropriations by the State and execution of
                           necessary and irrevocable agreements for their funding commitments by each of the DIA
                           Funding Parties that are such as of the commencement of the Confirmation Hearing,
                           which conditions may not be waived) are not satisfied or waived by the applicable
                           funding party prior to the Confirmation Hearing, then Holders of Claims in Classes 10
                           and 11 that voted to accept the Plan shall be deemed to have voted to reject the Plan, and
                           the voluntary release set forth in the first sentence of this Section III.D.7.a shall not apply
                           to Holders of Claims in Classes 10 and 11; provided, further, that nothing in this
                           Section III.D.7.a shall release (i) the City's obligations under the Plan or (ii) any defenses
                           that any party may have against the City, its Related Entities, the State, the State Related
                           Entities or the Released Parties; and

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                  b.       if the State Contribution Agreement is consummated, each holder of a Pension Claim will
                           be deemed to forever release, waive and discharge all Liabilities arising from or related to
                           the City, the Chapter 9 Case, including the authorization given to file the Chapter 9 Case,
                           the Plan, all Exhibits, the Disclosure Statement, PA 436 and its predecessor or
                           replacement statutes, and Article IX, Section 24 of the Michigan Constitution that such
                           party has, had or may have against the State and any State Related Entities. For the
                           avoidance of doubt, the Plan does not release, waive or discharge obligations of the City
                           that are established in the Plan or that arise from and after the Effective Date with respect
                           to (i) pensions as modified by the Plan or (ii) labor-related obligations. Such
                           post-Effective Date obligations shall be enforceable against the City or its representatives
                           by active or retired employees or their collective bargaining representatives to the extent
                           permitted by applicable non-bankruptcy law or the Plan, or, with respect to pensions only,
                           GRS or PFRS.

                  Notwithstanding Sections III.D.5-7 and IV.L of the Plan, except as set forth in the COP Swap
                  Settlement, nothing in the Plan or the Confirmation Order shall or shall be deemed to provide a
                  release by the COP Swap Counterparties of any Liabilities related to the COPs, the COP Service
                  Corporations, the Transaction Documents (as defined in the COP Swap Settlement), the COP
                  Swap Settlement or the COP Swap Settlement Approval Order. For the avoidance of doubt,
                  notwithstanding Section III.D.6 of the Plan, a vote of DWSD Bond Claims or DWSD Revolving
                  Bond Claims in favor of the Plan shall not, and shall not be deemed to, effect a release pursuant to
                  this Section III.D.7 by a Holder of any such DWSD Bond Claims, a Holder of any such DWSD
                  Revolving Bond Claims or the Bond Insurer insuring any such Claims of any Liabilities against
                  the City or its Related Entities that do not arise in connection with the DWSD Bonds or the
                  DWSD Revolving Bonds. For the further avoidance of doubt, notwithstanding anything in the
                  Plan to the contrary, a vote of a Claim other than a DWSD Bond Claim or DWSD Revolving
                  Bond Claim in favor of the Plan shall not, and shall not be deemed to, effect a release pursuant to
                  this Section III.D.7 by a Holder of any such voted Claim or the Bond Insurer insuring such voted
                  Claim of any Liabilities against the City or any other Entity arising in connection with the DWSD
                  Bonds or DWSD Revolving Bonds.

E.       No Diminution of State Power

                   No provision of this Plan shall be construed: (1) so as to limit or diminish the power of the State to
control, by legislation or otherwise, the City in the exercise of the political or governmental powers of the City,
including expenditures for such exercise; (2) so as to limit or diminish the power of the State to effect setoffs
necessary to compensate the State or relieve the State of liability against funds (a) owing to the City from the State,
(b) granted to the City by the State, or (c) administered by the State on behalf of the City or the federal government
(including funds resulting from federal or state grants), for acts or omissions by the City (including but not limited to
misappropriation or misuse of funds); and (3) as a waiver by the State of its rights as a sovereign or rights granted to
it pursuant to the Tenth Amendment to the United States Constitution, or limit or diminish the State's exercise of
such rights.

F.       Effectiveness of the Plan.

                  The Plan shall become effective on the Effective Date. Any actions required to be taken on the
Effective Date shall take place and shall be deemed to have occurred simultaneously, and no such action shall be
deemed to have occurred prior to the taking of any other such action.

G.       Binding Effect of Plan.

                   Pursuant to section 944(a) of the Bankruptcy Code, on and after the Effective Date, the provisions
of the Plan shall bind all Holders of Claims, and their respective successors and assigns, whether or not the Claim of
any such Holder is Impaired under the Plan and whether or not such Holder has accepted the Plan. The releases and
settlements effected under the Plan will be operative, and subject to enforcement by the Bankruptcy Court, from and
after the Effective Date, including pursuant to the injunctive provisions of the Plan. Once approved, the

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compromises and settlements embodied in the Plan, along with the treatment of any associated Allowed Claims,
shall not be subject to any collateral attack or other challenge by any Entity in any court or other forum. As such,
any Entity that opposes the terms of any compromise and settlement set forth in the Plan must (1) challenge such
compromise and settlement prior to Confirmation of the Plan and (2) demonstrate appropriate standing to object and
that the subject compromise and settlement does not meet the standards governing bankruptcy settlements under
Bankruptcy Rule 9019 and other applicable law.

                                           ARTICLE IV
                              MEANS FOR IMPLEMENTATION OF THE PLAN

A.       DWSD.

         1.       Rates and Revenues.

                   DWSD will maintain Fiscal Year 2015 rate setting protocols for a minimum of five years, subject
to certain changes necessary to stabilize water and sewer revenues. Rates will be determined by the Board of Water
Commissioners or, if a DWSD Authority is formed and approved by the incorporating units' governing bodies, by
the board of any such DWSD Authority. The City may seek to implement a rate stability program for City residents,
which program may, among other things, (a) provide a source of funds to mitigate against rate increases, (b) enhance
affordability and (c) provide a buffer against delinquent payments.

         2.       DWSD CBAs.

                   Collective bargaining agreements with respect to current DWSD employees that are in effect and
not expired as of the Effective Date will be assumed by the City.

         3.       Potential DWSD Authority Transaction.

                  As a result of mediation or otherwise, it is possible that the City may enter into a DWSD Authority
Transaction that includes the formation of the DWSD Authority to conduct many or all of the operations currently
conducted by DWSD. Any such transaction would be subject to the approval of incorporating units and numerous
other conditions. The timing of any such transaction, if it occurs at all, is not known. If any such transaction could
occur, unless waived by the City in its sole discretion, the City will enter into such transaction only if Macomb
County, Oakland County and Wayne County, and each of their municipal affiliates or related public corporations,
withdraw with prejudice or shall have withdrawn with prejudice their objections to the Confirmation of the Plan.
Any DWSD Authority Transaction shall be on terms that are consistent with all other provisions of the Plan,
applicable law and orders of the Bankruptcy Court. The City shall not enter into any binding agreement with respect
to or consummate any DWSD Authority Transaction prior to the Effective Date without first obtaining an order of
the Bankruptcy Court approving and authorizing such DWSD Authority Transaction.

                  All terms and conditions in respect of any DWSD Authority Transaction set forth in (a) any
DWSD Bond Document or (b) any transaction document in respect of such a DWSD Authority Transaction shall in
any case include: (i) no material modifications to the source of payment and security for any DWSD Bonds or 2014
Revenue and Revenue Refinancing Bonds; (ii) an opinion of tax counsel that such transfer shall have no material
adverse effect on the tax exempt status of the interest on the DWSD Bonds or 2014 Revenue and Revenue
Refinancing Bonds; (iii) that the City could issue at least $1 of additional new money DWSD Bonds in compliance
with the additional bonds test set forth in the applicable DWSD Bond Documents; and (iv) ratings confirmation of
any rating agency then rating the DWSD Bonds and 2014 Revenue and Revenue Refinancing Bonds. A DWSD
Authority Transaction shall not affect, impair, modify or otherwise alter the rights of any party under the DWSD
Tender Order, the DWSD Bond Documents, the DWSD Revolving Bond Documents, the 2014 DWSD Refinancing
Obligations, the 2014 Revenue and Revenue Refinancing Bonds or the 2014 Revenue Refinancing Bonds or any
Bond Insurance Policy related to or issued in connection with any of the foregoing.




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B.       The New B Notes, New C Notes and New LTGO Bonds.

                   On or before the Effective Date, the City shall (a) execute the New B Notes Documents, issue the
New B Notes, substantially on the terms set forth on Exhibit I.A.246, and distribute the New B Notes as set forth in
the Plan; (b) execute the New C Notes Documents, issue the New C Notes, substantially on the terms set forth on
Exhibit I.A.248 (and in any case in form and substance reasonably acceptable to the City and Syncora), and
distribute the New C Notes as set forth in the Plan; and (c) execute the New LTGO Bond Documents, issue the New
LTGO Bonds, substantially on the terms set forth on Exhibit I.A.237, and distribute the New LTGO Bonds as set
forth in the Plan.

C.       The UTGO Settlement.

                 On the Effective Date, the City and the Settling UTGO Bond Insurers shall consummate the
UTGO Settlement Agreement, a copy of which is attached hereto as Exhibit I.A.360. The treatment of Unlimited
Tax General Obligation Bond Claims under the Plan is provided for pursuant to the UTGO Settlement Agreement,
which involves the settlement of, among other things, the UTGO Litigation and is subject to Bankruptcy Court
approval pursuant to Bankruptcy Rule 9019. The Plan shall be construed as a motion for approval of, and the
Confirmation Order shall constitute an order approving, the UTGO Settlement Agreement pursuant to Bankruptcy
Rule 9019.

                  Pursuant to the UTGO Settlement Agreement, among other things: (1) the Unlimited Tax General
Obligation Bond Claims shall be deemed Allowed in the amount of $388,000,000; (2) the City shall issue the
Municipal Obligation to the MFA, which in turn will issue the Restructured UTGO Bonds; (3) Holders of Allowed
Unlimited Tax General Obligation Bond Claims shall be entitled to receive their Pro Rata share of $279,618,950 of
the Restructured UTGO Bonds as set forth in Schedule 1a of the UTGO Settlement Agreement; (4) the Settling
UTGO Bond Insurers and the Non-Settling UTGO Bond Insurer shall be entitled to receive $7,941,840 of the
Restructured UTGO Bonds as set forth in Schedule 1b to the UTGO Settlement Agreement; and (5) a designee or
designees of the City shall have the right to receive the Assigned UTGO Bond Tax Proceeds, which Assigned
UTGO Bond Tax Proceeds will be distributed over a 14-year period to the Income Stabilization Funds of GRS and
PFRS for the payment of Income Stabilization Payments to Eligible Pensioners and to the Retirement Systems, in
accordance with applicable agreements.

                  Each Settling UTGO Bond Insurer shall receive, as soon as reasonably practicable after the
occurrence of a Trigger Event, its allocable share of the Top-Off Payments in accordance with the terms of the
UTGO Settlement Agreement.

D.       The State Contribution Agreement.

                 Prior to or on the Effective Date, if Classes 10 and 11 vote to accept the Plan, the City, GRS,
PFRS and the State will enter into the State Contribution Agreement, substantially on the terms set forth on
Exhibit I.A.332.

         1.       State Contribution.

                 The State or the State's authorized agent will contribute the net present value of $350 million
payable over 20 years using a discount rate of 6.75% to GRS and PFRS for the benefit of the Holders of Pension
Claims.

         2.       Income Stabilization Payments.

                  The Income Stabilization Funds of GRS and PFRS will receive not less than an aggregate amount
of $20 million over 14 years of the Assigned UTGO Bond Tax Proceeds in the form of annual installment payments
pursuant to a payment schedule approved by the State. Following the Effective Date, on an annual basis, GRS and
PFRS will distribute such portion of the funds held in their respective Income Stabilization Fund to Eligible
Pensioners entitled to receive the Income Stabilization Benefit and the Income Stabilization Benefit Plus. The


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Income Stabilization Benefit, which will be calculated in the first year following the Effective Date and will not
increase thereafter, will be provided by the applicable Retirement System to each Eligible Pensioner. In addition, to
the extent that an Eligible Pensioner's estimated adjusted annual household income (as determined by the applicable
Retirement System) in any calendar year after the first year of the income stabilization program is less than 105% of
the Federal Poverty Level for such year, the applicable Retirement System will distribute the Income Stabilization
Benefit Plus to such Eligible Pensioner.

                   In the event that, in 2022 (provided that the State has not issued a certificate of default under the
State Contribution Agreement with respect to GRS or PFRS, as applicable, at any time prior to 2022), it is the
opinion of at least 75% of the independent members of the Investment Committee of GRS or PFRS, as applicable,
that the Income Stabilization Fund of the applicable Retirement System is credited with Excess Assets, the
respective Investment Committee may recommend that the Excess Assets, in an amount not to exceed $35 million,
be used to fund the Adjusted Pension Amounts payable by the applicable Retirement System. In the event that any
funds remain in the Income Stabilization Fund of each or either of GRS or PFRS on the date upon which no Eligible
Pensioners under the applicable Retirement System are living, such funds shall be used to fund the Adjusted Pension
Amounts payable by the applicable Retirement System.

         3.       Conditions to State's Participation.

                     The payment of the State Contribution by the State or the State's authorized agent is conditioned
upon satisfaction of the conditions precedent set forth in the State Contribution Agreement, including, among other
things, the following: (a) the Confirmation Order becoming a Final Order no later than December 31, 2014, which
Confirmation Order must contain certain provisions as set forth in the State Contribution Agreement, including a
requirement that the governing documents of GRS and PFRS be amended to include (i) the governance terms and
conditions set forth in the State Contribution Agreement and (ii) the Income Stabilization Funds and Income
Stabilization Payments; (b) the occurrence of the Effective Date no later than April 1, 2015; (c) acceptance of the
Plan by Classes 10 and 11, which Plan must be in form and substance reasonably acceptable to the State and contain
certain release provisions; (d) the Retiree Committee's endorsement of the Plan, including a letter from the Retiree
Committee recommending that Classes 10 and 11 vote in favor of the Plan, or equivalent assurances from member
organizations representing a majority of retirees in Classes 10 and 11; (e) active support of the Plan by, a release of
and covenant not to sue the State from, and an agreement not to support in any way the litigation described in
subsection (f) of this Section by, the City, the Retiree Committee, the Retirement Systems and certain unions and
retiree associations, or equivalent assurances of litigation finality; (f) cessation of all litigation, or equivalent
assurances of finality of such litigation, including the cessation of funding of any litigation initiated by any other
party, as it relates to the City, (i) challenging PA 436 or any actions taken pursuant to PA 436 or (ii) seeking to
enforce Article IX, Section 24 of the Michigan Constitution; (g) evidence satisfactory to the State of an irrevocable
commitment by the Foundations (excluding the Special Foundation Funders, as that term is defined in the DIA
Settlement Documents) to fund $366 million (or the net present value thereof) as part of the DIA Settlement, as
provided in Section IV.E.1; and (h) evidence satisfactory to the State of an irrevocable commitment by DIA Corp. to
fund $100 million (or the net present value thereof) as part of the DIA Settlement, as provided in Section IV.E.1.

                  The State shall File and serve via the Court's electronic case filing and noticing system a notice
that the conditions precedent to the State's payment of the State Contribution have been satisfied or otherwise
addressed pursuant to the procedures outlined in the State Contribution Agreement no later than ten days after all
such conditions have been satisfied or otherwise addressed.

         4.       Release of Claims Against the State and State Related Entities.

                   The State Contribution Agreement requires that the Plan provide for the release of the State and
the State Related Entities by each holder of a Pension Claim from all Liabilities arising from or related to the City,
the Chapter 9 Case, the Plan, all Exhibits, the Disclosure Statement, PA 436 and its predecessor or replacement
statutes, and Article IX, Section 24 of the Michigan Constitution, as more particularly described in the State
Contribution Agreement and as set forth at Section III.D.7.b.




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E.       The DIA Settlement.

                   On the Effective Date, the City and the DIA Corp. will enter into the DIA Settlement, pursuant to
which (1) the DIA Funding Parties that are such as of the Effective Date have committed to assist in the funding of
the City's restructured legacy pension obligations and (2) the City has agreed to enter into certain transactions that
will cause the DIA to remain in the City in perpetuity, as described in and subject to the terms and conditions of the
DIA Settlement Documents, and to otherwise make the DIA Assets available for the benefit of the residents of the
City and the Counties and the citizens of the State. The DIA Settlement Documents attached hereto as Exhibit
I.A.127 will qualify the description of the DIA Settlement in the Plan, Disclosure Statement and Exhibit I.A.126.
The Plan shall be construed as a motion for approval of, and the Confirmation Order shall constitute an order
approving, the DIA Settlement pursuant to Bankruptcy Rule 9019.

         1.        Funding Contributions.

                   The DIA Settlement will be funded as follows: (a) irrevocable commitments in an aggregate
amount of at least $366 million by the Foundations (excluding the Special Foundation Funders, as that term is
defined in the DIA Settlement Documents); and (b) in addition to its continuing commitments outside of the DIA
Settlement, irrevocable commitments in an aggregate amount of $100 million from the DIA Direct Funders
(including the commitment of the Special Foundation Funders, as that term is defined in the DIA Settlement
Documents, and subject to certain adjustments as set forth in the DIA Settlement Documents), the payment of which
$100 million will be guaranteed by DIA Corp., subject to the terms of the DIA Settlement Documents. The
foregoing commitments shall be funded over the course of the 20 year period immediately following the Effective
Date (subject to the annual confirmation of the City's continuing compliance with the terms of the DIA Settlement)
according to the "Agreed Required Minimum Schedule" and subject to the option at any time for the "Present Value
Discount," as set forth in the DIA Settlement Documents. Amounts committed by the Foundations and the DIA
Direct Funders will be paid to the CFSEM Supporting Organization, which will (a) transfer such amounts for the
purpose of funding the Retirement Systems upon the City's satisfaction of certain conditions and (b) not be subject
to claims of creditors of the Community Foundation for Southeast Michigan.

         2.        Transfer of DIA Assets.

                  On the Effective Date, the City shall irrevocably transfer all of its right, title and interest in and to
the DIA Assets to DIA Corp., as trustee, to be held in perpetual charitable trust, and within the City limits, for the
primary benefit of the residents of the City and the Counties and the citizens of the State.

         3.        Conditions to the DIA Funding Parties' Participation.

                   The DIA Funding Parties' participation in the DIA Settlement is conditioned upon, among other
things, the following: (a) execution of the DIA Settlement Documents by each Foundation; (b) the irrevocable
commitment from the DIA Corp. described in Section IV.E.1; (c) the acceptance of the Plan by Classes 10 and 11;
(d) the irrevocable transfer by the City of the DIA Assets described in Section IV.E.2; (e) approval by the DIA's
Board of Directors and the taking effect of the recommendation of the governance committee as described in
Exhibit I.A.126; (f) the earmarking of all funds provided by the DIA Funding Parties towards the recoveries upon
Pension Claims under the Plan for Holders of Claims in Classes 10 and 11; (g) the adoption of prospective
governance and financial oversight mechanisms for the Retirement Systems that are reasonably satisfactory to the
DIA Funding Parties; (h) the amendment by DIA Corp. and the art institute authority for each of Macomb County,
Oakland County and Wayne County, Michigan of each art institute authority's respective service agreement so that
the termination of the 1997 Operating Agreement between the City and DIA Corp. will not affect the art institute
authorities' obligations under such agreements to pay millage proceeds to DIA Corp.; (i) the approval of the DIA
Settlement by the Attorney General for the State; (j) the agreement of the State to provide the State Contribution;
and (k) the City's agreement to indemnify and hold harmless the DIA Funding Parties and the CFSEM Supporting
Organization and their Related Entities pursuant to, and in accordance with, the terms of the DIA Settlement
Documents.




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F.       Contingent Payment Rights

                    On or as soon as reasonably practicable after the Confirmation Date, the City shall establish the
Restoration Trust. The City shall issue the DWSD CVR to the Restoration Trust. If a Qualifying DWSD
Transaction has not occurred before the seventh anniversary of the Effective Date, the DWSD CVR shall terminate
and expire. The Restoration Trust shall distribute proceeds from the DWSD CVR in the following amounts and
priorities: (1) first, to GRS up to an amount sufficient for all three GRS waterfall classes identified on
Exhibit II.B.3.r.ii.C to have their 4.5% pension reductions restored; (2) second, to GRS up to an amount sufficient
for all three GRS waterfall classes identified on Exhibit II.B.3.r.ii.C to have 92% of their COLA benefits restored;
and (3) third, 53% to GRS and 47% to PFRS. If the City makes any contributions to either GRS or PFRS out of its
portion of the Net DWSD Transaction Proceeds, such contributions and earnings thereon shall not be taken into
account for determining whether any pension restoration may be made. The DWSD CVR may not be transferred.

         1.       Special Restoration

                   Any proceeds from the DWSD CVR distributed by the Restoration Trust on account of a
Qualifying DWSD Transaction consummated on or before the Effective Date, or fully executed and enforceable
before the Effective Date but consummated after the Effective Date, shall be utilized for the purpose of funding the
Special Restoration; provided that the City shall act in good faith so as not to unreasonably delay the execution of a
Qualifying DWSD Transaction solely to avoid Special Restoration. In such case, the City will perform a Value
Determination and arrive at the Discounted Value. The City will engage in good faith discussion as to the
reasonableness of the Value Determination with the Retiree Committee or Restoration Trust, as applicable. In the
event that the Retiree Committee or the Restoration Trust, as applicable, does not accept the Value Determination,
the Retiree Committee or the Restoration Trust, as applicable, may seek to have the Bankruptcy Court determine the
dispute, and the City consents to such jurisdiction.

                   Special Restoration shall follow the priorities of restoration of benefits set forth in
Exhibits II.B.3.q.ii.C and II.B.3.r.ii.C. In order for benefits to be restored pursuant to the Special Restoration, such
benefits must be fully funded by 50% of the Discounted Value for the full actuarially-determined lives of all
participants for whom benefits are restored. In the event that actual Net DWSD Transaction Proceeds from the
DWSD CVR do not equal 50% of the contemplated Net DWSD Transaction Proceeds as of the date of the Value
Determination, the Investment Committees of the Retirement Systems will reduce or eliminate the Special
Restoration benefits, as applicable, by the amount that 50% of the Discounted Value exceeds the actual Net DWSD
Transaction Proceeds from the DWSD CVR received or projected to be received using a 6.75% discount rate. In the
event that the Retiree Committee, the Restoration Trust or the City, as applicable, does not agree with the reduction
in the Special Restoration benefits, the Retiree Committee or the Restoration Trust, as applicable, or the City may
consult with the trustees and Investment Committees of PFRS or GRS with respect to any such reduction. Neither
the Retiree Committee nor the Restoration Trust shall have any right to initiate any enforcement proceeding with
respect to Special Restoration.

         2.       General Restoration

                   Any Net DWSD Transaction Proceeds from the DWSD CVR distributed by the Restoration Trust
on account of a Qualifying DWSD Transaction consummated after the Effective Date, if such Qualifying
Transaction was not fully executed and enforceable before the Effective Date, shall be utilized for the purpose of
funding the pension trusts, and such cash contributions shall be included in any calculations allowing for the
restoration of benefits in accordance with the general rules governing pension restoration as provided for in
Exhibits II.B.3.q.ii.C and II.B.3.r.ii.C.

G.       The OPEB Settlement.

                   The City and the Retiree Committee have reached a settlement related to the allowance and
calculation of the OPEB Claims in Class 12 and the treatment of such Allowed OPEB Claims, the terms of which
settlement are reflected in the Plan. The Plan shall be construed as a motion for approval of, and the Confirmation
Order shall constitute an order approving, such settlement pursuant to Bankruptcy Rule 9019.


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H.       The LTGO Settlement.

                    The City, the LTGO Insurer and BlackRock Financial Management have reached a settlement
related to the treatment of Allowed Limited Tax General Obligation Bond Claims, the terms of which settlement are
reflected in the Plan. Pursuant to the LTGO Settlement Agreement, Distributions attributable to the Insured LTGO
Bonds shall be made to the LTGO Distribution Agent (as opposed to directly to the record owners of the Insured
LTGO Bonds or to the LTGO Insurer) for the benefit of the record owners of the Insured LTGO Bonds in
accordance with the LTGO Settlement Agreement. In the event that the City intends to redeem the principal amount
of New LTGO Notes during any time that the Insured LTGO Bonds are outstanding, the City and the LTGO
Distribution Agent shall be required to take certain actions as described in the LTGO Settlement Agreement. The
Plan shall be construed as a motion for approval of, and the Confirmation Order shall constitute an order approving,
the LTGO Settlement Agreement pursuant to Bankruptcy Rule 9019.

I.       The Syncora Settlement

                   The City and Syncora have reached a settlement effecting a global resolution of all matters and
litigation between the parties related to the Chapter 9 Case, as set forth in the Syncora Settlement Documents (the
terms of which qualify and control over any description of the Syncora Settlement contained herein). Pursuant to
the Syncora Settlement, and in accordance with the Plan, among other things: (1) the City shall, pursuant to Section
II.D.1, assume the Tunnel Lease; (2) the parties shall enter into the Syncora Development Agreement; (3) the parties
shall dismiss or withdraw the Dismissed Syncora Litigation as set forth in the Syncora Settlement Agreement;
(4) any vote cast by Syncora to reject the Plan shall be deemed a vote to accept the Plan; (5) Syncora shall support
Confirmation; and (6) on the Effective Date or as soon thereafter as practical, the City shall pay the sum of
$5 million in full satisfaction of all of Claims filed or asserted against the City by Syncora relating to the COP Swap
Agreements and any agreements related thereto, including the COP Syncora Swap Insurance Policies and the COP
Swap Collateral Agreement. The Plan shall be construed as a motion for approval of, and the Confirmation Order
shall constitute an order approving and authorizing the parties to enter into, (1) the Syncora Settlement pursuant to
Bankruptcy Rule 9019 and (2) the related Syncora Development Agreement (including the garage option) and the
Tunnel Lease. The City shall not amend the Plan in any way that adversely affects Syncora without Syncora's prior
written consent.

J.       The FGIC/COP Settlement

                     The City and FGIC have reached a settlement effecting a global resolution of all matters and
litigation between the parties related to the Chapter 9 Case, as set forth in the FGIC/COP Settlement Documents (the
terms of which qualify and control over any description of the FGIC/COP Settlement contained herein). Pursuant to
the FGIC/COP Settlement, and in accordance with the Plan, among other things: (1) the City and the Developer, for
the benefit of FGIC and the FGIC COP Holders, shall enter into the FGIC Development Agreement; (2) FGIC shall,
on behalf of the FGIC COP Holders, become a Settling COP Claimant with respect to all COPs and COP Claims
associated with COPs originally insured by FGIC; (3) the parties shall dismiss or withdraw the Dismissed
FGIC/COP Litigation as set forth in the FGIC/COP Settlement Documents; (4) except for Excluded Actions, FGIC
shall waive any claims it may have against any other party related to the Dismissed FGIC/COP Litigation as set
forth in the FGIC/COP Settlement Documents; (5) any vote cast by FGIC to reject the Plan shall be deemed a vote
to accept the Plan; and (6) in full satisfaction and discharge of FGIC's claims against the City related to FGIC's
Swap Insurance Policies, (a) FGIC shall receive an Allowed Class 14 Claim in the amount of $6.15 million, entitling
FGIC to receive the Distributions provided pursuant to Section II.B.3.u.i and (b) the DDA shall assign to FGIC all of
its right, title and interest to the New B Notes to be distributed to the DDA pursuant to Section II.B.3.t.ii. The Plan
shall be construed as a motion for approval of, and the Confirmation Order shall constitute an order approving and
authorizing the parties to enter into, (1) the FGIC/COP Settlement pursuant to Bankruptcy Rule 9019 and (2) the
related FGIC Development Agreement. The City shall not amend the Plan in any way that adversely affects FGIC
without FGIC's prior written consent.

K.       Issuance of the New Securities.

                 The City shall issue the New Securities on the Effective Date or a subsequent Distribution Date, as
applicable. To the maximum extent provided by section 1145 of the Bankruptcy Code and applicable non-

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bankruptcy law, the issuance of New Securities as contemplated by the Plan is exempt from, among other things, the
registration requirements of Section 5 of the Securities Act and any other applicable U.S. state or local law requiring
registration prior to the offering, issuance, distribution, or sale of securities. The New Securities (a) are not
"restricted securities" as defined in Rule 144(a)(3) under the Securities Act, and (b) are freely tradable and
transferable by any initial recipient thereof that (i) is not an "affiliate" of the City or applicable issuer as defined in
Rule 144(a)(1) under the Securities Act, (ii) has not been such an "affiliate" within 90 days of such transfer, and (iii)
is not an entity that is an "underwriter" as defined in subsection (b) of Section 1145 of the Bankruptcy Code.

L.       Cancellation of Existing Bonds, Bond Documents, COPs and COP Documents.

                   Except (a) as provided in any contract, instrument or other agreement or document entered into or
delivered in connection with the Plan, (b) for purposes of evidencing a right to Distribution under the Plan or (c) as
specifically provided otherwise in the Plan (including any rejection of Executory Contracts pursuant to Section II.D),
on the Effective Date, the Bonds, the Bond Documents, the COPs and the COP Documents will be deemed
automatically cancelled, terminated and of no further force or effect against the City without any further act or
action under any applicable agreement, law, regulation, order or rule, and the obligations of the parties to the City,
as applicable, under the Bonds, the Bond Documents, the COPs and the COP Documents shall be discharged;
provided, however, that the Bonds, the Bond Documents, the COPs and the COP Documents shall continue in effect
solely (i) to allow the Disbursing Agent to make any Distributions as set forth in the Plan and to perform such other
necessary administrative or other functions with respect thereto, (ii) for any trustee, agent, contract administrator or
similar entity under the Bond Documents or COP Documents to have the benefit of all the rights and protections and
other provisions of the Bond Documents or COP Documents, as applicable, and all other related agreements with
respect to priority in payment and lien rights with respect to any Distribution, (iii) to set forth the terms and
conditions applicable to parties to the Bond Documents and COP Documents other than the City, (iv) as may be
necessary to preserve any claim by (1) a Bondholder or Bond Agent under a Bond Insurance Policy or against any
Bond Insurer, (2) a COPs Holder or COP Agent under a COP Insurance Policy or against any COP Insurer or (3) a
COP Swap Counterparty under a Swap Insurance Policy or against any insurer thereunder and (v) with respect to
any obligation of any party (other than the City, except to the extent provided in the COP Swap Settlement or the
COP Swap Settlement Approval Order) under any COP Document related to such party's obligations owed in
respect of the COP Swap Documents or the COP Swap Claims. Notwithstanding the foregoing, and except as
otherwise expressly provided in the Plan (or the COP Swap Settlement or the COP Swap Settlement Approval
Order), such Bonds, Bond Documents, COPs or COP Documents as remain outstanding shall not form the basis for
the assertion of any Claim against the City. Nothing in the Plan impairs, modifies, affects or otherwise alters the
rights of (a) Bondholders or Bond Agents with respect to claims under applicable Bond Insurance Policies or against
the Bond Insurers, (b) COPs Holders or COP Agent with respect to claims under COP Insurance Policies and
obligations related thereto or (c) COP Swap Counterparties with respect to claims under Swap Insurance Policies
and obligations related thereto. For the avoidance of doubt, except for the immediately preceding sentence, this
Section IV.L shall not apply to any Bonds that are Reinstated pursuant to Section II.B.3.a.ii. As of the Effective
Date, the principal amounts of the COPs originally insured by FGIC shall be deemed accelerated and due and
payable, and no interest on the COPs originally insured by FGIC shall accrue thereafter, solely for the purposes of
determining distributions from the COP Trustee to holders of COPs originally insured by FGIC. The foregoing
acceleration of principal and cessation of interest shall affect only the rights of each holder of COPs originally
insured by FGIC to the receipt of proceeds of distributions under the Plan and not the rights of each such COPs
holder against FGIC or shall not in any way modify payments currently required of FGIC under its existing
insurance policies or FGIC's Plan of Rehabilitation.

M.       Release of Liens.

                   Except as otherwise provided in the Plan or in any contract, instrument, release or other agreement
or document entered into or delivered in connection with the Plan, or where a Claim is Reinstated, on the Effective
Date, all Liens against the City's property will be deemed fully released and discharged, and all of the right, title and
interest of any holder of such Liens, including any rights to any collateral thereunder, will revert to the City. As of
the Effective Date, (1) the holders of such Liens will be authorized and directed to release any collateral or other
property of the City (including any cash collateral) held by such Holder and to take such actions as may be requested
by the City to evidence the release of such Lien, including the execution, delivery, filing or recording of such
releases as may be requested by the City, and (2) the City shall be authorized to execute and file on behalf of

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creditors Form UCC-3 termination statements or such other forms as may be necessary or appropriate to implement
the provisions of this Section IV.M.

N.       Professional Fees

         1.       Professional Fee Reserve

                   On the Effective Date, the City shall establish and fund the Professional Fee Reserve from the
General Fund or, where applicable, the DWSD's funds, in an amount determined by the City to be sufficient to pay
the Fee Review Professional Fees that remain unpaid as of the Effective Date, solely to the extent that such amounts
are payable from the General Fund or the DWSD's funds. The initial amount of the Professional Fee Reserve shall
be equal to the sum of (a) all invoices received from Fee Review Professionals and the Fee Examiner Parties as of
the establishment and funding of the Professional Fee Reserve to the extent not yet paid (including holdbacks);
(b) an estimate of the Fee Review Professionals' unbilled fees through the Effective Date as determined by the City
in consultation with the Fee Review Professionals, which estimate shall be no lower than 125% of the aggregate
amount of the highest monthly invoices respectively submitted by each Fee Review Professional pursuant to the Fee
Review Order prior to the establishment and funding of the Professional Fee Reserve; and (c) an estimate of the Fee
Examiner Parties' unbilled fees and expenses through the projected date of dismissal of the Fee Examiner under
Section IV.N.3, as determined by the City in consultation with the Fee Examiner. The funds held in the Professional
Fee Reserve may not be used for any purpose other than the payment of Fee Review Professional Fees until any and
all disputes regarding the Fee Review Professional Fees, including any disputes arising under the Fee Review Order,
have been fully and finally resolved pursuant to a Final Order or a stipulation between the disputing parties. Any
amounts remaining in the Professional Fee Reserve after final resolution of all such disputes and the payment of all
Fee Review Professional Fees determined to be reasonable in accordance with the Fee Review Order shall be
released to the General Fund or the DWSD's funds, as applicable. If the Professional Fee Reserve is insufficient to
pay all Fee Review Professional Fees that are determined to be reasonable in accordance with the Fee Review Order
and that are payable from the General Fund or the DWSD's funds, the City shall pay such additional amounts from
the General Fund or the DWSD's funds, as applicable.

         2.       Fee Review Order

                   The Fee Examiner shall review all fees and expenses of the Fee Review Professionals for the
period from the Petition Date and ending on the Effective Date in accordance with the terms of the Fee Review
Order. For the avoidance of doubt, the Fee Review Order shall not apply to any fees or expenses of the Fee Review
Professionals for the period on and after the Effective Date, and the Fee Examiner shall not review any such fees or
expenses; provided, however, that all fees and expenses of the Fee Examiner Parties, whether incurred before, on or
after the Effective Date, shall remain subject to review and approval of the Bankruptcy Court pursuant to the terms
of the Fee Review Order.

         3.       Dismissal of the Fee Examiner

                    Once the Fee Examiner completes his review of all Fee Review Professional Fees and submits or
Files all reports related thereto as required by the Fee Review Order, the Fee Examiner shall be dismissed of all
duties and obligations under the Fee Examiner Order and the Fee Review Order, other than any obligations of
confidentiality thereunder. The confidentiality obligations of the Fee Examiner and the other Fee Examiner Parties,
including the confidentiality obligations set forth in paragraph 22 of the Fee Review Order, shall remain binding
from and after the Effective Date.

         4.       Potential Review of Fees Not Subject to Fee Review Order

                   The City shall have the right to bring before the Bankruptcy Court a request to review and
determine the reasonableness of the fees and expenses of any Fee Review Professional retained by a creditor of the
City or any of its departments to the extent that such fees and expenses have not been either (a) approved pursuant to
or in accordance with the DWSD Tender Order, (b) subject to court review or (c) subject to a Bankruptcy Court-
approved or agreed upon process for binding arbitration.


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         5.       Court-Appointed Expert

                  The Court-appointed expert, Martha E. M. Kopacz of Phoenix Management Services, and her
counsel shall be compensated for any reasonable fees and expenses incurred through the Confirmation Date in
accordance with the terms of the Court's Order Appointing Expert Witness (Docket No. 4215), entered on
April 22, 2014, as amended.

O.       Assumption of Indemnification Obligations.

                   Notwithstanding anything otherwise to the contrary in the Plan, nothing in the Plan shall discharge
or impair the obligations of the City as provided in the City Charter of the City or other organizational documents,
resolutions, employment contracts, applicable law or other applicable agreements as of the Petition Date to
indemnify, defend, reimburse, exculpate, advance fees and expenses to, or limit the liability of officers and
employees of the City (consistent with the injunction provisions of Section III.D.5 and including the members of the
City Council, the Mayor and the Emergency Manager) and their Related Entities, in each case to the extent such
Entities were acting in such capacity, against any claims or causes of action whether direct or derivative, liquidated
or unliquidated, foreseen or unforeseen, asserted or unasserted; provided that this Section IV.O shall be read in
conjunction with the provisions for Indirect Employee Indemnity Claims set forth in Section III.D.5.
Notwithstanding the foregoing, Retirement System Indemnity Obligations shall not be assumed under the Plan and
shall be discharged. For the avoidance of doubt, no indemnification provision in any loan document, bond
document, Bond Insurance Policy or other agreement with a Bond Insurer is exempted from discharge by reason of
this Section IV.O.

P.       Incorporation of Retiree Health Care Settlement Agreement.

                  The terms of the Retiree Health Care Settlement Agreement resolving the Retiree Health Care
Litigation, which agreement is attached hereto as Exhibit I.A.298, are incorporated herein by reference and shall be
binding upon the parties thereto.

Q.       Payment of Workers' Compensation Claims.

                   From and after the Effective Date, (a) the City will continue to administer (either directly or
through a third party administrator) and pay all valid claims for benefits and liabilities for which the City is
responsible under applicable State workers' compensation law, regardless of when the applicable injuries were
incurred, in accordance with the City's prepetition practices and procedures and governing State workers'
compensation law, and (b) nothing in the Plan shall discharge, release or relieve the City from any current or future
liability under applicable State workers' compensation law. The City expressly reserves the right to challenge the
validity of any claim for benefits or liabilities arising under applicable State workers' compensation law.

R.       36th District Court Settlement.

                  The City and the Settling 36th District Court Claimants have reached a settlement related to
(1) the allowance of certain of the Settling 36th District Court Claimants' Claims and (2) the treatment of Allowed
Indirect 36th District Court Claims under the Plan substantially on the terms attached hereto as Exhibit I.A.9. The
36th District Court Settlement is incorporated into the Plan, which shall be construed as a motion for approval of,
and the Confirmation Order shall constitute an order approving, such settlement pursuant to Bankruptcy Rule 9019.

S.       Payment of Certain Claims Relating to the Operation of City Motor Vehicles.

                   From and after the Effective Date, the City will continue to administer (either directly or through a
third party administrator) and pay valid prepetition Claims for liabilities with respect to which the City is required to
maintain insurance coverage pursuant to MCL § 500.3101 in connection with the operation of the City's motor
vehicles, as follows: (1) Claims for personal protection benefits as provided by MCL § 500.3107 and MCL
§ 500.3108, for which insurance coverage is required by MCL § 500.3101(1), shall be paid in full, to the extent
valid, provided, however, that the City will not be liable for or pay interest or attorneys' fees under MCL § 500.3142


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or MCL § 500.3148 on prepetition Claims for personal protection benefits; (2) tort claims permitted by MCL
§ 500.3135, for which residual liability insurance coverage is required by MCL § 500.3101(1) and MCL § 500.3131,
shall be paid, to the extent valid, only up to the minimum coverages specified by MCL § 500.3009(1), i.e., up to a
maximum of (a) $20,000 because of bodily injury to or death of one person in any one accident, and subject to that
limit for one person, (b) $40,000 because of bodily injury to or death of two or more persons in any one accident and
(c) $10,000 because of injury to or destruction of property of others in any accident; and (3) Claims for property
protection benefits under MCL § 500.3121 and MCL § 500.3123 shall be paid, to the extent valid, only up to the
maximum benefits specified in MCL § 500.3121; provided, however, for the avoidance of doubt, to the extent any
valid Claim subject to subsections 2 and 3 above exceeds the applicable payment limits, the excess claim amount
shall be treated as an Other Unsecured Claim or a Convenience Claim (as applicable). Nothing in the Plan shall
discharge, release or relieve the City from any current or future liability with respect to Claims subject to insurance
coverage pursuant to MCL § 500.3101 or Claims within the minimum coverage limits in MCL § 500.3009(1). The
City expressly reserves the right to challenge the validity of any Claim subject to this Section IV.S, and nothing
herein shall be deemed to expand the City's obligations or claimants' rights with respect to these Claims under State
law.

T.       Payment of Tax Refund Claims.

                   From and after the Effective Date, the City will continue to administer (either directly or through a
third party administrator) and pay all valid claims for income tax refunds and property tax refunds for which the City
is responsible under applicable law, regardless of when the applicable right to a refund arose, in accordance with the
City's prepetition practices and procedures. The City expressly reserves the right to challenge the validity of any
claim for an income tax refund or property tax refund.

U.       Utility Deposits.

                  From and after the Effective Date, the City will continue to administer utility deposits in
accordance with the City's prepetition practices and procedures, including the payment of any undisputed,
non-contingent, liquidated claims against the City for the refund of a utility deposit.

V.       Pass-Through Obligations.

                  The City shall continue to honor its Pass-Through Obligations to the Pass-Through Recipients.

W.       Exit Facility.

                 On the Effective Date, the City shall enter into the Exit Facility, as well as any ancillary notes,
documents or agreements in connection therewith, including, without limitation, any documents required in
connection with the creation or perfection of the liens securing the Exit Facility.

X.       Post-Effective Date Governance.

                   Prior to or on the Effective Date, the Financial Review Commission shall be established pursuant
to and in accordance with the Financial Review Commission Act. The Financial Review Commission shall provide
oversight as set forth in the Financial Review Commission Act, including to ensure that, post-Effective Date, the
City adheres to the Plan and continues to implement financial and operational reforms that promote more efficient
and effective delivery of services to City residents. The City shall promptly provide to the Bankruptcy Court copies
of any reports given to, or received from, the Financial Review Commission. Nothing herein shall expand, limit or
otherwise modify the role or powers of the Financial Review Commission.




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                                        ARTICLE V
                     PROVISIONS REGARDING DISTRIBUTIONS UNDER THE PLAN

A.       Appointment of Disbursing Agent.

                   The City may act as Disbursing Agent or may employ or contract with other Entities to act as the
Disbursing Agent or to assist in or make the Distributions required by the Plan. Any Disbursing Agent appointed by
the City will serve without bond. Other than as specifically set forth in the Plan, the Disbursing Agent shall make all
Distributions required to be made under the Plan.

B.       Distributions on Account of Allowed Claims.

                   Except as otherwise provided in the Plan, on the Effective Date or as soon as practicable thereafter
(or if a Claim is not an Allowed Claim on the Effective Date, on the date that such a Claim becomes an Allowed
Claim, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim shall receive from the
Disbursing Agent, the Bond Agent or the COP Agent, as applicable, the Distributions that the Plan provides for
Allowed Claims in the applicable Class. In the event that any payment or act under the Plan is required to be made
or performed on a date that is not a Business Day, then the making of such payment or the performance of such act
may be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
required date. If and to the extent that there are Disputed Claims, Distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in Section VI.B. Except as otherwise provided in the Plan,
Holders of Claims shall not be entitled to interest, dividends or accruals on the Distributions provided for in the Plan,
regardless of whether such Distributions are delivered on or at any time after the Effective Date. Notwithstanding
anything to the contrary in the Plan, no Holder of an Allowed Claim shall, on account of such Allowed Claim,
receive a Distribution in excess of the Allowed amount of such Claim.

C.       Certain Claims to Be Expunged.

                  Any Claim that has been or is hereafter listed in the List of Creditors as contingent, unliquidated
or disputed, and for which no proof of Claim is or has been timely Filed, is not considered to be an Allowed Claim
and shall be expunged without further action by the City and without further notice to any party or any action,
approval or order of the Bankruptcy Court.

D.       Record Date for Distributions; Exception for Bond Claims.

                   With the exception of Bond Claims, neither the City nor any Disbursing Agent will have any
obligation to recognize the transfer of, or the sale of any participation in, any Claim that occurs after the close of
business on the Distribution Record Date, and will be entitled for all purposes herein to recognize and distribute only
to those Holders of Allowed Claims (including Holders of Claims that become Allowed after the Distribution
Record Date) that are Holders of such Claims, or participants therein, as of the close of business on the Distribution
Record Date. With the exception of the Bond Claims, the City and any Disbursing Agent shall instead be entitled to
recognize and deal for all purposes under the Plan with only those record Holders stated on the official Claims
Register as of the close of business on the Distribution Record Date. Unless otherwise set forth in the Confirmation
Order, the City shall not establish a record date for Distributions to Holders of Bond Claims.

E.       Means of Cash Payments.

                   Except as otherwise specified herein, all Cash payments made pursuant to the Plan shall be in
U.S. currency and made by check drawn on a domestic bank selected by the Disbursing Agent or, at the option of
the Disbursing Agent, by wire transfer, electronic funds transfer or ACH from a domestic bank selected by the
Disbursing Agent; provided, however, that Cash payments to foreign Holders of Allowed Claims may be made, at
the option of the Disbursing Agent, in such funds and by such means as are necessary or customary in a particular
foreign jurisdiction.




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F.       Selection of Distribution Dates for Allowed Claims.

                  Except where the Plan requires the making of a Distribution on account of a particular Allowed
Claim within a particular time, the Disbursing Agent shall have the authority to select Distribution Dates that, in the
judgment of the Disbursing Agent, provide Holders of Allowed Claims with payments as quickly as reasonably
practicable while limiting the costs incurred in the distribution process. Upon the selection of a Distribution Date by
the Disbursing Agent, the Disbursing Agent shall File a notice of such Distribution Date that provides information
regarding the Distribution to be made.

G.       Limitations on Amounts to Be Distributed to Holders of Allowed Claims Otherwise Insured.

                   No Distributions under the Plan shall be made on account of an Allowed Claim that is payable
pursuant to one of the City's insurance policies until the Holder of such Allowed Claim has exhausted all remedies
with respect to such insurance policy; provided that, if the City believes a Holder of an Allowed Claim has recourse
to an insurance policy and intends to direct the Disbursing Agent to withhold a Distribution pursuant to this
Section V.G, the City shall provide written notice to such Holder regarding what the City believes to be the nature
and scope of applicable insurance coverage. To the extent that one or more of the City's insurance carriers agrees to
satisfy a Claim in full, then immediately upon such agreement such Claim may be expunged without a Claims
objection having to be Filed and without any further notice or any action, order or approval of the Bankruptcy Court.
Nothing in the Plan, including this Section V.G, shall constitute a waiver of any claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action or liabilities that any Entity may hold against any other Entity,
including the City's insurance carriers and Bond Insurers, other than the City. For the avoidance of doubt, this
Section shall not apply to Bond Insurance Policies or Swap Insurance Policies.

H.       City's Rights of Setoff Preserved.

                    Notwithstanding anything to the contrary in the Plan, pursuant to section 553 of the Bankruptcy
Code or otherwise applicable non-bankruptcy law, the City may set off against any Allowed Claim and the
Distributions to be made pursuant to the Plan on account of such Allowed Claim the claims, rights and Causes of
Action of any nature that the City may assert against the Holder of such Claim; provided, however, that neither the
failure to effect a setoff nor the allowance of any Claim pursuant to the terms of the Plan shall constitute a waiver or
release by the City of any claims, rights and Causes of Action that the City may assert against such Holder, all of
which are expressly preserved.

I.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.       Delivery of Distributions Generally.

                   Except as set forth in Section V.I.2, Distributions to Holders of Allowed Claims shall be made at
the addresses set forth in the City's records unless such addresses are superseded by proofs of Claim or transfers of
Claim Filed pursuant to Bankruptcy Rule 3001.

         2.       Delivery of Distributions on Account of Bond Claims.

                    Distributions on account of the Bond Claims shall (a) be made by the Disbursing Agent to the
Bond Agent under the applicable Bond Documents for the benefit of Holders of Bond Claims and (b) be deemed
completed when made by the Disbursing Agent to the Bond Agent as if such Distributions were made directly to the
Holders of such Claims. The applicable Bond Agent, in turn, shall make such distributions to the applicable Holders
pursuant to the terms and conditions of the applicable Bond Documents and subject to the respective rights, claims
and interests, if any, that the Bond Agent may have under the applicable Bond Documents or otherwise to the
recovery or reimbursement of their fees, costs and expenses (including the fees, costs and expenses of counsel and
financial advisors) from any distribution hereunder, whether such rights, claims or interests are in the nature of a
charging lien or otherwise. The Bond Agent shall not be required to give any bond, surety or other security for the
performance of its duties with respect to such Distributions.



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         3.       De Minimis Distributions / No Fractional New Securities.

                  No distribution shall be made by the Disbursing Agent on account of an Allowed Claim if the
amount to be distributed to the specific Holder of an Allowed Claim on the applicable Distribution Date has an
economic value of less than $25.00. No fractional New Securities shall be distributed. Where a fractional portion of
a New Security otherwise would be called for under the Plan, the actual issuance shall reflect a rounding down to the
nearest whole New Security.

         4.       Undeliverable or Unclaimed Distributions.

                  In the event that any Distribution to any Holder is returned as undeliverable, no Distribution to
such Holder shall be made unless and until the Disbursing Agent has determined the then-current address of such
Holder, at which time such Distribution shall be made to such Holder without interest.

                   Any Holder of an Allowed Claim that does not claim an undeliverable or unclaimed
Distribution within six months after the Effective Date shall be deemed to have forfeited its claim to such
Distribution and shall be forever barred and enjoined from asserting any such claim against the City or its
property. In such cases, any Cash held by the City on account of such undeliverable or unclaimed Distributions
shall become the property of the City free of any restrictions thereon and notwithstanding any federal or state
escheat laws to the contrary. Any New Securities held for distribution on account of such Claims shall be canceled
and of no further force or effect. Nothing contained in the Plan shall require any Disbursing Agent to attempt to
locate any Holder of an Allowed Claim.

         5.       Time Bar to Cash Payment Rights.

                    Checks issued in respect of Allowed Claims shall be null and void if not negotiated within 90 days
after the date of issuance thereof. Requests for reissuance of any check shall be made to the Disbursing Agent by
the Holder of the Allowed Claim to whom such check originally was issued within 180 days after the date of the
original check issuance. After such date, the Claim of any Holder to the amount represented by such voided check
shall be released and forever barred from assertion against the City and its property.

J.       Other Provisions Applicable to Distributions in All Classes.

         1.       No Postpetition Interest.

                    Except as otherwise specifically provided for in the Plan, or required by applicable bankruptcy law,
the City shall have no obligation to pay any amount that constitutes or is attributable to interest on an Allowed
Claim accrued after the Petition Date and no Holder of a Claim shall be entitled to be paid any amount that
constitutes or is attributable to interest accruing on or after the Petition Date on any Claim without regard to the
characterization of such amounts in any document or agreement or to whether such amount has accrued for federal
income tax purposes. Any such amount that constitutes or is attributable to interest that has been accrued and has
not been paid by the City shall be cancelled as of the Effective Date for federal income tax purposes.

         2.       Compliance with Tax Requirements.

                   In connection with the Plan and all instruments issued in connection therewith and distributed
thereon, the City and any Disbursing Agent shall comply with all Tax withholding and reporting requirements
imposed on it by any governmental unit, and all Distributions under the Plan shall be subject to such withholding
and reporting requirements. All such amounts withheld and paid to the appropriate governmental unit shall be
treated as if made directly to the Holder of an Allowed Claim. The City and the Disbursing Agent shall be
authorized to take any actions that they determine, in their reasonable discretion, to be necessary or appropriate to
comply with such withholding and reporting requirements, including withholding Distributions pending receipt of
information necessary to facilitate such Distributions, or establishing any other mechanisms they believe are
reasonable and appropriate.



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                   Notwithstanding any other provision of the Plan, each Entity receiving or deemed to receive a
Distribution pursuant to the Plan shall have sole and exclusive responsibility for the satisfaction and payment of any
Tax imposed on such Entity on account of such Distribution, including income, withholding and other Tax
obligations. The City has the right, but not the obligation, to refuse, or to direct a Disbursing Agent to refuse, to
make a Distribution until a Holder of an Allowed Claim has made arrangements satisfactory to the City and any
Disbursing Agent for payment of any such Tax obligations. The City may require, as a condition to making a
Distribution, that the Holder of an Allowed Claim provide the City or any Disbursing Agent with a completed
Form W-8, W-9 or other Tax information, certifications and supporting documentation, as applicable.

                   If the City makes such a request and the Holder of an Allowed Claim fails to comply before the
date that is 180 days after the initial request is made, the amount of such Distribution shall irrevocably revert to the
City and any Claim in respect of such Distribution shall be released and forever barred from assertion against the
City and its property.

         3.       Allocation of Distributions.

                  All Distributions to Holders of Allowed Claims that have components of principal and interest
shall be deemed to apply first to the principal amount of such Claim until such principal amount is paid in full, and
then the remaining portion of such Distributions, if any, shall be deemed to apply to any applicable accrued interest
included in such Claim to the extent interest is payable under the Plan.

         4.       Surrender of Instruments.

                   As a condition to participation under this Plan, the Holder of a note, debenture or other evidence
of indebtedness of the City that desires to receive the property to be distributed on account of an Allowed Claim
based on such note, debenture or other evidence of indebtedness shall surrender such note, debenture or other
evidence of indebtedness to the City or its designee (unless such Holder's Claim will not be Impaired by the Plan, in
which case such surrender shall not be required), and shall execute and deliver such other documents as are
necessary to effectuate the Plan; provided, however, that, if a claimant is a Holder of a note, debenture or other
evidence of indebtedness for which no physical certificate was issued to the Holder but which instead is held in
book-entry form pursuant to a global security held by the Depository Trust Company or other securities depository
or custodian thereof, there shall be no requirement of surrender. In the City's sole discretion, if no surrender of a
note, debenture or other evidence of indebtedness occurs and the Holder of Claim does not provide an affidavit and
indemnification agreement, in form and substance reasonably satisfactory to the City, that such note, debenture or
other evidence of indebtedness was lost, then no distribution may be made to such Holder in respect of the Claim
based on such note, debenture or other evidence of indebtedness. For the avoidance of doubt, (a) no Bond, note,
debenture or other evidence of indebtedness of the City shall be surrendered or deemed surrendered that is subject to
any Bond Insurance Policy and (b) no COP shall be surrendered or deemed surrendered hereby to the extent
necessary to make or preserve a claim under any applicable policies or other instruments insuring the COPs and
obligations related thereto or against any party, other than the City, that insures the COPs. Notwithstanding the
foregoing, such Bonds or Bond Documents as remain outstanding shall not form the basis for the assertion of any
Claim against the City.

                                           ARTICLE VI
                            PROCEDURES FOR RESOLVING DISPUTED CLAIMS

A.       Treatment of Disputed Claims.

         1.       General.

                  No Claim shall become an Allowed Claim unless and until such Claim is deemed Allowed under
the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a Final Order (including the Confirmation
Order) allowing such Claim. Notwithstanding any other provision of the Plan, no payments or Distributions shall be
made on account of a Disputed Claim until such Claim becomes an Allowed Claim. Without limiting the foregoing
in any way, no partial payments and no partial Distributions will be made with respect to a disputed, contingent or


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unliquidated Claim, or with respect to any Claim for which a proof of Claim has been Filed but not Allowed, until
the resolution of such disputes or estimation or liquidation of such Claim by settlement or by Final Order.

         2.       ADR Procedures.

                  At the City's option, any Disputed Claim designated or eligible to be designated for resolution
through the ADR Procedures may be submitted to the ADR Procedures in accordance with the terms thereof and the
ADR Procedures Order. For the avoidance of doubt, the designation of a Disputed Claim for resolution through the
ADR Procedures, either prior to or after the Effective Date, will not modify, and will not be deemed to have
modified, the terms of the ADR Injunction imposed pursuant to the ADR Procedures Order. Disputed Claims not
resolved through the ADR Procedures will be resolved pursuant to the Plan.

         3.       Tort Claims.

                   At the City's option, any unliquidated Tort Claim (as to which a proof of Claim was timely Filed
in the Chapter 9 Case) not resolved through the ADR Procedures or pursuant to a Final Order of the Bankruptcy
Court will be determined and liquidated in the administrative or judicial tribunal(s) in which it is pending on the
Effective Date (subject to the City's right to seek removal or transfer of venue) or, if no action was pending on the
Effective Date, in an administrative or judicial tribunal of appropriate jurisdiction that (a) has personal jurisdiction
over the parties, (b) has subject matter jurisdiction over the Tort Claim and (c) is a proper venue. The City may
exercise the above option by service upon the holder of the applicable Tort Claim of a notice informing such holder
that the City has exercised such option (which notice shall be deemed to satisfy the notice requirements of
Section I.B of the ADR Procedures). Upon the City's service of such notice, the automatic stay imposed pursuant to
sections 362 and 922 of the Bankruptcy Code (along with any extension of such stay pursuant to the terms of the
Stay Extension Order) or, after the Effective Date, the injunction set forth at Section III.D.5, will be deemed
modified, without the necessity for further Bankruptcy Court approval or any further action by the City, solely to the
extent necessary to allow the parties to determine or liquidate the Tort Claim in the applicable administrative or
judicial tribunal(s); provided that nothing contained in this Section will modify, or will be deemed to have modified,
the terms of the Stay Extension Order with respect to any Tort Claim prior to the City having served notice of its
intent to determine and liquidate such Tort Claim pursuant to this Section. If the City does not serve such a notice
upon a holder of a Tort Claim by the Claims Objection Bar Date, such holder may file a motion with the Bankruptcy
Court no later than 30 days after the Claims Objection Bar Date seeking relief from the discharge injunction
imposed pursuant to Section III.D.5 in order to liquidate and determine its Claim, which right and the deadline for
exercising such right shall be set forth in the notice of entry of the Confirmation Order.

                   Any Tort Claim determined and liquidated pursuant to a judgment obtained in accordance with
this Section VI.A.3 and applicable non-bankruptcy law that is no longer appealable or subject to review will be
deemed an Allowed Claim, provided that only the amount of such Allowed Tort Claim that is not satisfied from
proceeds of insurance payable to the holder of such Allowed Tort Claim will be treated as an Allowed Claim for the
purposes of distributions under the Plan and subject to the terms of the Plan. Distributions on account of any such
Allowed Tort Claim shall be made in accordance with the Plan. Nothing contained in this Section will constitute or
be deemed a waiver of any claim, right or Cause of Action that the City may have against any Entity in connection
with or arising out of any Tort Claim, including any rights under section 157(b)(5) of title 28 of the United States
Code. All claims, demands, rights, defenses and Causes of Action that the City may have against any Entity in
connection with or arising out of any Tort Claim are expressly retained and preserved.

B.       Disputed Claims Reserve.

                   On and after the Effective Date, until such time as all Disputed Claims have been compromised
and settled or determined by Final Order and before making any Distributions, consistent with and subject to
section 1123(a)(4) of the Bankruptcy Code, the City shall establish and maintain a reserve of property equal to
(1) the Distributions to which Holders of Disputed Claims would be entitled under the Plan if such Disputed Claims
were Allowed Claims in the Face Amount of such Disputed Claims or (2) such lesser amount as required by an
order of the Bankruptcy Court. On the first Distribution Date that is at least 30 days (or such fewer days as may be
agreed to by the City in its sole discretion) after the date on which a Disputed Claim becomes an Allowed Claim, the
Disbursing Agent shall remit to the Holder of such Allowed Claim any Distributions such Holder would have been

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entitled to under the Plan on account of such Allowed Claim had such Claim been Allowed as of the Effective Date.
If a Disputed Claim is disallowed by Final Order, the property reserved on account shall become available for
Distribution to the Holders of Allowed Claims within the Class(es) entitled to receive such property. Each Holder of
a Disputed Claim that ultimately becomes an Allowed Claim will have recourse only to the assets held in the
disputed claims reserve and not to any other assets held by the City, its property or any property previously
distributed on account of any Allowed Claim.

C.       Objections to Claims.

         1.       Authority to Prosecute, Settle and Compromise.

                  The City's rights to object to, oppose and defend against all Claims on any basis are fully
preserved. As of the Effective Date, only the City shall have the authority to File, settle, compromise, withdraw or
litigate to judgment objections to Claims, including pursuant to the ADR Procedures or any similar procedures
approved by the Bankruptcy Court. Any objections to Claims shall be Filed no later than the Claims Objection Bar
Date. On and after the Effective Date, the City may settle or compromise any Disputed Claim or any objection or
controversy relating to any Claim without any further notice or any action, order or approval of the Bankruptcy
Court.

         2.       Expungement or Adjustment of Claims Without Objection.

                  Any Claim that has been paid, satisfied or superseded shall be expunged from the Claims Register
by the Claims and Balloting Agent at the request of the City, and any Claim that has been amended by the Holder of
such Claim shall be adjusted on the Claims Register by the Claims and Balloting Agent at the request of the City,
without the Filing of an objection and without any further notice or any action, order or approval of the Bankruptcy
Court.

         3.       Extension of Claims Objection Bar Date.

                  Upon motion by the City to the Bankruptcy Court, the City may request, and the Bankruptcy
Court may grant, an extension to the Claims Objection Bar Date generally or with respect to specific Claims. Any
extension granted by the Bankruptcy Court shall not be considered to be a modification to the Plan under
section 1127 of the Bankruptcy Code.

         4.       Authority to Amend List of Creditors.

                   The City will have the authority to amend the List of Creditors with respect to any Claim and to
make Distributions based on such amended List of Creditors without approval of the Bankruptcy Court. If any such
amendment to the List of Creditors reduces the amount of a Claim or changes the nature or priority of a Claim, the
City will provide the Holder of such Claim with notice of such amendment and such Holder will have 20 days to
File an objection to such amendment with the Bankruptcy Court. If no such objection is Filed, the Disbursing Agent
may proceed with Distributions based on such amended List of Creditors without approval of the Bankruptcy Court.

                                               ARTICLE VII
                                        RETENTION OF JURISDICTION

                   Pursuant to sections 105(c), 945 and 1142(b) of the Bankruptcy Code and notwithstanding entry of
the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court will retain exclusive
jurisdiction over all matters arising out of, and related to, the Chapter 9 Case and the Plan to the fullest extent
permitted by law, including, among other things, jurisdiction to:

          A.       Allow, disallow, estimate, determine, liquidate, reduce, classify, re-classify, estimate or establish
the priority or secured or unsecured status of any Claim, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the amount, allowance, priority or classification
of Claims;


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          B.       Confirm the maturity date and the terms as written of the collective bargaining agreements
identified on Exhibit II.D.5 of the Plan, which agreements are incorporated as part of the Plan (it being understood
that the enforcement, interpretation and resolution of disputes of the terms of the contracts shall proceed under
applicable state law);

         C.      Resolve any matters related to the assumption, assignment or rejection of any Executory Contract
or Unexpired Lease and to hear, determine and, if necessary, liquidate any Claims arising therefrom, including
claims for payment of any cure amount;

         D.       Ensure that Distributions to Holders of Allowed Claims are accomplished pursuant to the
provisions of the Plan;

         E.       Adjudicate, decide or resolve any motions, adversary proceedings, contested or litigated matters
and any other matters, and grant or deny any applications involving the City that may be pending on the Effective
Date or brought thereafter;

         F.        Enter such orders as may be necessary or appropriate to implement or consummate the provisions
of the Plan and all contracts, instruments, releases and other agreements or documents entered into or delivered in
connection with the Plan, the Disclosure Statement or the Confirmation Order;

         G.       Resolve any cases, controversies, suits or disputes that may arise in connection with the
consummation, interpretation or enforcement of the Plan or any contract, instrument, release or other agreement or
document that is entered into or delivered pursuant to the Plan or any Entity's rights arising from or obligations
incurred in connection with the Plan or such documents;

         H.        Approve any modification of the Plan or approve any modification of the Confirmation Order or
any contract, instrument, release or other agreement or document created in connection with the Plan or the
Confirmation Order, or remedy any defect or omission or reconcile any inconsistency in any order, the Plan, the
Confirmation Order or any contract, instrument, release or other agreement or document created in connection with
the Plan or the Confirmation Order, or enter any order in aid of confirmation pursuant to sections 945 and 1142(b) of
the Bankruptcy Code, in such manner as may be necessary or appropriate to consummate the Plan;

         I.       Issue injunctions, enforce the injunctions contained in the Plan and the Confirmation Order, enter
and implement other orders or take such other actions as may be necessary or appropriate to restrain interference by
any Entity with consummation, implementation or enforcement of the Plan or the Confirmation Order;

       J.       Adjudicate, decide or resolve any matters relating to the City's compliance with the Plan and the
Confirmation Order consistent with section 945 of the Bankruptcy Code;

         K.       Enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason or in any respect modified, stayed, reversed, revoked or vacated or Distributions pursuant to the Plan are
enjoined or stayed;

         L.       Determine any other matters that may arise in connection with or relate to the Plan, the Disclosure
Statement, the Confirmation Order or any contract, instrument, release or other agreement or document entered into
or delivered in connection with the Plan, the Disclosure Statement or the Confirmation Order;

       M.     Resolve any matters, cases, controversies, suits or disputes that may arise in connection with the
FGIC Development Agreement;

        N.     Resolve any matters, cases, controversies, suits or disputes that may arise in connection with the
Syncora Development Agreement

         O.       Enforce or clarify any orders previously entered by the Bankruptcy Court in the Chapter 9 Case;



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         P.       Enter a final decree closing the Chapter 9 Case pursuant to section 945(b) of the Bankruptcy Code;
and

        Q.       Hear any other matter over which the Bankruptcy Court has jurisdiction under the provisions of
the Bankruptcy Code and the Bankruptcy Rules subject to any limits on the Bankruptcy Court's jurisdiction and
powers under sections 903 and 904 of the Bankruptcy Code.

                                              ARTICLE VIII
                                        MISCELLANEOUS PROVISIONS

A.       Plan Supplements.

                All Plan Supplements not previously filed will be Filed no later than ten days before the
Confirmation Hearing.

B.       Modification of the Plan.

                  Subject to section 942 and 1127(d) of the Bankruptcy Code, the City may alter, amend or modify
the Plan or the Exhibits at any time prior to or after the Confirmation Date but prior to the substantial consummation
of the Plan. A Holder of a Claim that has accepted the Plan shall be deemed to have accepted the Plan as altered,
amended or modified so long as the proposed alteration, amendment or modification does not materially and
adversely change the treatment of the Claim of such Holder.

C.       Revocation of the Plan.

                    The City reserves the right to revoke or withdraw the Plan prior to the Confirmation Date. If the
City revokes or withdraws the Plan, or if the Confirmation Date does not occur, then the Plan shall be null and void
in all respects, and nothing contained in the Plan, nor any action taken or not taken by the City with respect to the
Plan, the Disclosure Statement or the Confirmation Order, shall be or shall be deemed to be: (1) a waiver or release
of any claims by or against the City; (2) an admission of any sort by the City or any other party in interest, or
(3) prejudicial in any manner to the rights of the City or any other party in interest.

D.       Severability of Plan Provisions.

                    If any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void or
unenforceable, the Bankruptcy Court, in each case at the election of and with the consent of the City, shall have the
power to alter and interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void or unenforceable, and such term
or provision shall then be applicable as altered or interpreted. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Plan shall remain in full force and effect and shall in
no way be affected, impaired or invalidated by such holding, alteration or interpretation. The Confirmation Order
shall constitute a judicial determination and shall provide that each term and provision of the Plan, as it may have
been altered or interpreted in accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms;
(2) integral to the Plan and may not be deleted or modified without the City's consent; and (3) non-severable and
mutually dependent.

E.       Effectuating Documents and Transactions.

                   The City is authorized to execute, deliver, File or record such contracts, instruments, releases and
other agreements or documents and take such actions as may be necessary or appropriate to effectuate, implement
and further evidence the terms and conditions of the Plan and any notes or securities issued pursuant to the Plan. All
such actions shall be deemed to have occurred and shall be in effect pursuant to applicable non-bankruptcy law and
the Bankruptcy Code, without any requirement of further action by the City Council, the Emergency Manager, the
Mayor or any employees or officers of the City. On the Effective Date, the appropriate employees and officers of
the City are authorized and directed to execute and deliver the agreements, documents and instruments contemplated


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by the Plan, and to take any other actions as may be necessary or advisable to effectuate the provisions and intent of
the Plan, in the name and on behalf of the City.

F.       Successors and Assigns.

                   Except as expressly provided otherwise in the Plan, the rights, benefits and obligations of any
Entity named or referred to in the Plan or the Confirmation Order shall be binding on, and shall inure to the benefit
of, any heir, executor, administrator, successor or assign, Affiliate, representative, beneficiary or guardian, if any, of
each Entity.

G.       Plan Controls.

                  In the event and to the extent that any provision of the Plan is inconsistent with the provisions of
the Disclosure Statement, the provisions of the Plan shall control and take precedence.

H.       Notice of the Effective Date.

                   On or before ten Business Days after occurrence of the Effective Date, the City shall mail or cause
to be mailed to all Holders of Claims a notice that informs such Holders of (1) entry of the Confirmation Order;
(2) the occurrence of the Effective Date; (3) the assumption and rejection of Executory Contracts and Unexpired
Leases pursuant to the Plan, as well as the deadline for the filing of Claims arising from such rejection; (4) the
deadline for the filing of Administrative Claims; and (5) such other matters as the City deems to be appropriate.

I.       Governing Law.

                  Unless (1) a rule of law or procedure is supplied by federal law (including the Bankruptcy Code
and Bankruptcy Rules) or (2) otherwise specifically stated herein or in any contract, articles or certificates of
incorporation, bylaws, codes of regulation, ordinance, similar constituent documents, instrument, release or other
agreement or document entered into or delivered in connection with the Plan, the laws of the State of Michigan,
without giving effect to the principles of conflict of laws, shall govern the rights, obligations, construction and
implementation of the Plan and any contract, articles or certificates of incorporation, bylaws, codes of regulation,
similar constituent documents, instrument, release or other agreement or document entered into or delivered in
connection with the Plan.

J.       Request for Waiver of Automatic Stay of Confirmation Order.

                    The Plan shall serve as a motion seeking a waiver of the automatic stay of the Confirmation Order
imposed by Bankruptcy Rule 3020(e). Any objection to this request for waiver shall be Filed and served on the
parties listed in Section VIII.L on or before the Voting Deadline.

K.       Term of Existing Injunctions and Stays.

                  All injunctions or stays provided for in the Chapter 9 Case under sections 105, 362 or 922 of
the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full force and
effect until the Effective Date.

L.       Service of Documents

                  Any pleading, notice or other document required by the Plan or the Confirmation Order to be
served on or delivered to (1) the City and (2) the Retiree Committee must be sent by overnight delivery service,
facsimile transmission, courier service or messenger to:




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                (Counsel to the Retiree Committee)




Dated: October 22, 2014                   Respectfully submitted,

                                          The City of Detroit, Michigan


                                          By:     /s/ Kevyn D. Orr
                                          Name: Kevyn D. Orr
                                          Title: Emergency Manager for the City of Detroit, Michigan




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ATTORNEYS FOR THE DEBTOR




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                                    EXHIBIT I.A.9

                  PRINCIPAL TERMS OF 36TH DISTRICT COURT SETTLEMENT




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             TERM SHEET REGARDING CLAIMS INVOLVING 36TH DISTRICT COURT

 I.   Parties       x   The City of Detroit, Michigan (the "City")
                    x   The 36th District Court, State of Michigan (the "36th District Court")
                    x   Local 917 and Local 3308 of the American Federation of State, County and Municipal
                        Employees (the "AFSCME Locals")
                    x   Bobby Jones, Richard T. Weatherly, Roderick Holley and Carlton Carter (collectively,
                        the "Individual Claimants" and, together with the City, the 36th District Court and the
                        AFSCME Locals, the "Parties")
 II. Resolved       This Term Sheet applies to all proofs of claim (collectively, the "Claims") filed by: (a) the
 Proofs of Claim    AFSCME Locals, (b) the individuals and entities identified in the AFSCME Locals Claim
                    (as defined below), with the exception of any proof of claim filed by Arnette Rodgers
                    solely to the extent such proof of claim asserts liabilities that arise from that certain
                    proceeding pending in the United States District Court for the Eastern District of
                    Michigan and captioned Arnette Rodgers, et al. v. 36th District court and Chief Judge
                    Marilyn Adkins, Case No. 10-cv-11799 (E.D. Mich.); (c) the Individual Claimants; and
                    (d) the 36th District Court. The Claims include, without limitation, the following proofs
                    of claim:
                    x   Proof of claim number 1828 filed by Bobby Jones (the "Jones Claim") asserting a
                        general unsecured nonpriority claim in the amount of $1,039,242.40;
                    x   Proof of claim number 1843 filed by Richard T. Weatherly (the "Weatherly Claim")
                        asserting the total amount of $1,580,708.74 (consisting of $1,568,233.74 asserted as a
                        general unsecured nonpriority claim and $12,475.00 asserted as a priority claim
                        pursuant to section 507(a)(4) of title 11 of the United States Code (the "Bankruptcy
                        Code"));
                    x   Proof of claim number 2280 filed by Roderick Holley (the "Holley Claim") asserting
                        the total amount of $1,408,200.13 (consisting of $1,395,725.13 asserted as a general
                        unsecured nonpriority claim and $12,475.00 asserted as a priority claim pursuant to
                        section 507(a)(4) of the Bankruptcy Code);
                    x   Proof of claim number 2281 filed by Carlton Carter (the "Carter Claim") asserting a
                        general unsecured nonpriority claim in the total amount of $1,621,760.41;
                    x   Proof of claim number 2422 filed by the 36th District Court (the "36th District Court
                        Claim") asserting contingent and unliquidated liabilities against the City; and
                    x   Proof of claim number 2841 filed by the AFSCME Locals (the "AFSCME Locals
                        Claim") asserting general unsecured nonpriority claims in the total amount of
                        $8,747,322.44 on behalf of the AFSCME Locals' members and themselves arising
                        from grievances, administrative actions and other legal proceedings that the AFSCME
                        Locals commenced against the 36th District Court.




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 III. Agreed      By agreement of the Parties, (a) the 36th District Court Claim is withdrawn with prejudice
 Liquidated       and (b) the remaining Claims (collectively, the "Allowed Claims") are liquidated and
 Amounts of       deemed allowed as follows:
 Claims
                  x   The Jones Claim is liquidated as a nonpriority unsecured claim in the amount
                      $1,061,716.99.
                  x   The Weatherly Claim is liquidated as a nonpriority unsecured claim in the amount of
                      $1,486,820.23.
                  x   The Holley Claim is liquidated as a nonpriority unsecured claim in the amount of
                      $1,438,322.30.
                  x   The Carter Claim is liquidated as a nonpriority unsecured claim in the amount of
                      $1,656,869.17.
                  x   The AFSCME Locals Claim is liquidated as a nonpriority unsecured claim in the
                      amount of $319,721.00, consisting of the following amounts relating to the grievance
                      claims of the following parties with respect to the 36th District Court (collectively,
                      the "Grievances"):
                      o   Donnita Cleveland (Grievance Nos. BH31808 and NKC11-1-7) - $85,000.00
                      o   Arnette Rodgers (Grievance Nos. BH022709 and BH120408) - $125,000.00
                      o   Jonathan Mapp (Case No. 13-154132) - $75,000.00
                      o   Annette Walton (Grievance No. BH102408) - $500.00
                      o   Quanetta Anderson (Grievance No. BH081007) - $1,250.00
                      o   Pamela Muldron (Grievance No. BH081110) - $1,500.00
                      o   Samuel Jamison (Arbitration No. AJ-30512/AJ-32712) - $10,000.00
                      o   Kiambu Boyd (Grievance No. 4-BH091710) - $2,940.00
                      o   Selena Wilson (wrongful suspension claim) - $488.00
                      o   Laticia Lemus (Grievance No. YM5208) - $750.00
                      o   Michele Hembree (Arbitration No. A17671-3308-07) - $293.00
                      o   AFSCME Local 3308 (Grievance No. BH011608) - $16,500.00
                  x   All (a) Claims other than the Allowed Claims and the 36th District Court Claim and
                      (b) liabilities asserted in the AFSCME Locals Claim other than the Grievances are
                      liquidated in the amount of $0.00.
 IV. Mutual       Effective upon the date of approval of this settlement by the Bankruptcy Court, each of the
 Releases         Parties shall for itself and for each of its successor firms, parents, subsidiaries, affiliates,
                  assigns, agents, attorneys, representatives, executors and administrators, present and
                  former members, principals, judges, officers and employees, and each of their respective
                  assigns, agents, representatives, partners, heirs, executors and administrators release each
                  and every other Party and each of its successor firms, parents, subsidiaries, affiliates,
                  assigns, agents, attorneys, representatives, executors and administrators, present and
                  former members, principals, judges, officers and employees, and each of their respective
                  assigns, agents, representatives, partners, heirs, executors and administrators of all claims
                  and causes of action, whether legal or equitable, known or unknown, that arose prior to
                  such date (including, without limitation, the reinstatement claims of Richard T. Weatherly
                  and Arnette Rodgers) provided, however, that the Parties agree that the AFSCME Locals
                  and the Individual Claimants (other than Richard T. Weatherly) shall not release the 36th
                  District Court or any other parties with respect to that certain proceeding captioned In the
                  Matter of: 36th District Court, Respondent v. AFSCME Council 25, Local 917, Charging
                  Party (13-012254-MERC / C13 I-163).




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 V. Treatment         Capitalized terms not otherwise defined in this section shall have the meanings given to
 of Claims Under      them in the Plan.
 the City's Fourth
                      x   All of the Allowed Claims shall be Indirect 36th District Court Claims under the Plan.
 Amended Plan of
 Adjustment           x   All Indirect 36th District Court Claims shall be reclassified into a new Class 17 under
 [Docket                  the Plan, which will provide for the following treatment of Indirect 36th District Court
 No. 4392] (as it         Claims:
 may be modified,             Unless such Holder agrees to a different treatment of such Claim, each
 amended or                   Holder of an Allowed Indirect 36th District Court Claim, in full satisfaction
 supplemented,                of such Allowed Claim, shall receive: (a) if the Allowed Amount of such
 the "Plan")                  Indirect 36th District Court Claim is less than $100,000.00, on or as soon as
                              reasonably practicable after the Effective Date, Cash in an amount equal to
                              33% of the Allowed Amount of such Allowed Indirect 36th District Court
                              Claim; or (b) if the Allowed Amount of such Indirect 36th District Court
                              Claim is equal to or more than $100,000.00, Cash, equal to 33% of the
                              Allowed Amount of such Indirect 36th District Court Claim, plus simple
                              interest on outstanding amounts at a rate of five percent per annum, payable
                              in five equal annual installments, with the first installment to be paid on or as
                              soon as reasonably practicable after the Effective Date and the remaining four
                              installments to be paid on the date of the first four anniversaries of the
                              Effective Date or, if any such date is not a business day, on the first business
                              day thereafter.
                              Subject to the terms of the 36th District Court Settlement, the foregoing shall
                              fulfill any obligation of the City and the 36th District Court that may exist
                              with respect to all Indirect 36th District Court Claims. Nothing in the
                              foregoing prevents the Holder of an Indirect 36th District Court Claim from
                              seeking further relief or payment from the State with respect to such Indirect
                              36th District Court Claim to the extent such Claim is not satisfied pursuant to
                              the Plan.
                      x   The City shall make such other modifications to the Plan as are necessary or
                          appropriate to effectuate the foregoing treatment of Indirect 36th District Court
                          Claims including, solely by way of example, by modifying the definition of "Other
                          Unsecured Claim" under the Plan to exclude Indirect 36th District Court Claims.
                      x   Solely for the purpose of the treatment under the Plan of the AFSCME Locals Claim,
                          each of the Grievances shall be deemed to be a separate Indirect 36th District Court
                          Claim.




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                    x   For the avoidance of doubt, based on the foregoing treatment of the Allowed Claims
                        in Class 17, the Individual Claimants and the AFSCME Locals will receive the
                        following distributions in Cash on account of the Allowed Claims:
                        o   The Jones Claim ($350,366.61 payable in five equal annual payments in the
                            amount of $77,072.24)
                        o   The Weatherly Claim ($490,650.68 payable in five equal annual payments in the
                            amount of $107,931.37)
                        o   The Holley Claim ($474,646.36 payable in five equal annual payments in the
                            amount of $104,410.81)
                        o   The Carter Claim ($546,766.83 payable in five equal annual payments in the
                            amount of $120,275.58)
                        o   The AFSCME Locals Claim ($105,507.93), consisting of the following amounts
                            relating to the claims of the following parties: (a) Donnita Cleveland ($28,050.00
                            lump sum), (b) Arnette Rodgers ($41,250.00 payable in five equal annual
                            payments in the amount of $9,074.01), (c) Jonathan Mapp ($24,750.00 lump
                            sum), (d) Annette Walton ($165.00 lump sum), (e) Quanetta Anderson ($412.50
                            lump sum), (f) Pamela Muldron ($495.00 lump sum), (g) Samuel Jamison
                            ($3,300.00 lump sum), (h) Kiambu Boyd ($970.20 lump sum), (i) Selena Wilson
                            ($161.04 lump sum), (j) Laticia Lemus ($247.50 lump sum), (k) Michele
                            Hembree ($96.69 lump sum) and (l) AFSCME Local 3308 ($5,445.00 lump sum).
 VI. Plan Voting    The AFSCME Locals and the Individual Claimants each shall be deemed to have voted
                    their applicable Claims in favor of the Plan in the amounts established by the Order
                    Regarding the Voting of Claims Relating to the 36th District Court (Docket No. 5905).
 VII. Discharge,    x Section III.D.5.b of the Plan shall be revised to add the following provision:
 Release and
 Injunction                 Notwithstanding the foregoing and without limiting the injunctions in
                            Section III.D.5.a, the Holders of Indirect 36th District Court Claims shall
                            not be enjoined from taking any of the foregoing actions against the State
                            or the State Related Entities with respect to the liabilities asserted in the
                            Indirect 36th District Court Claims, to the extent not satisfied pursuant
                            to the Plan.
                    x   Section III.D.7.a of the Plan shall be revised to provide that no Holders of Indirect
                        36th District Court Claims shall, by voting in favor of the Plan, be deemed to release,
                        waive and discharge the State and the State Related Entities with respect to any
                        liabilities asserted in the Indirect 36th District Court Claims.
 VIII.              The AFSCME Locals, the Individual Claimants and the 36th District Court shall stipulate
                    to the entry of judgment against the 36th District Court in that certain proceeding pending
                    in the Circuit Court for the County of Wayne and captioned 36th District Court v.
                    Michigan American Federation of State, County and Municipal Employees Council 25, et
                    al., Case No. 13-013170-CL, in the respective liquidated amounts set forth in Section III
                    above with respect to the Jones Claim, the Weatherly Claim, the Holley Claim and the
                    Carter Claim (the "Judgment"), provided, however, that the AFSCME Locals and the
                    Individual Claimants shall waive all right to collect upon the Judgment from the City and
                    the 36th District Court except pursuant to the terms of this settlement and the Plan.
 IX. Definitive     x   The foregoing terms are subject to definitive documentation reasonably acceptable to
 Documentation/         the Parties and approval of the Bankruptcy Court, which may be as part of the order
 Court Approval         confirming the Plan.




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                                    EXHIBIT I.A.66

                       SCHEDULE OF CLASS 9 ELIGIBLE CITY ASSETS




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                           Schedule of Class 9 Eligible City Assets

    1. RFP for City Parking Assets.

    2. Any City-owned real property asset within a 3-mile radius of the terminus of the Detroit
       Windsor Tunnel in Detroit, Michigan; excluding all real property assets subject to the
       Development Agreement.




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                                    EXHIBIT I.A.88

                          SCHEDULE OF COP SWAP AGREEMENTS




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                                 SCHEDULE OF COP SWAP AGREEMENTS

                                            COP Swap Agreements

 ISDA Master Agreement (including the Schedule thereto) dated as of May 25, 2005, between Detroit Police and
 Fire Retirement System Service Corporation ("DPFRS Service Corporation") and Merrill Lynch Capital Services,
 Inc. (as successor to SBS Financial Products Company LLC) ("Merrill Lynch") and the Confirmation thereunder
 dated June 7, 2006 (bearing Reference No. SBSFPC-0010) (as amended, modified or supplemented).

 ISDA Master Agreement (including the Schedule thereto) dated as of May 25, 2005 between DFPRS Service
 Corporation and Merrill Lynch and the Confirmation thereunder dated June 7, 2006 (bearing Reference No.
 SBSFPC-0011) (as amended, modified or supplemented).

 ISDA Master Agreement (including the Schedule thereto) dated as of May 25, 2005 between Detroit General
 Retirement System Service Corporation ("DGRS Service Corporation") and Merrill Lynch and the Confirmation
 thereunder dated June 7, 2006 (bearing Reference No. SBSFPC-0009) (as amended, modified or supplemented).

 ISDA Master Agreement (including the Schedule thereto) dated as of June 7, 2006 between DGRS Service
 Corporation and Merrill Lynch and the Confirmation thereunder dated June 7, 2006 (bearing Reference No.
 SBSFPC-0012) (as amended, modified or supplemented).

 ISDA Master Agreement between DGRS Service Corporation and UBS AG, dated as of June 7, 2006, including the
 Schedule and Credit Support Annex thereto and the Confirmations thereunder, dated June 7, 2006, bearing UBS AG
 Reference No. 37380291 (as amended, modified or supplemented).

 ISDA Master Agreement between DFPRS Service Corporation and UBS AG, dated as of May 25, 2005, including
 the Schedule and Credit Support Annex thereto and the Confirmations thereunder, dated June 7, 2006, bearing UBS
 AG Reference No. 37380351 (as amended, modified or supplemented).

 ISDA Master Agreement between DFPRS Service Corporation and UBS AG, dated as of May 25, 2005, including
 the Schedule and Credit Support Annex thereto and the Confirmations thereunder, dated June 7, 2006, bearing UBS
 Reference No. 37380313 (as amended, modified or supplemented).

 ISDA Master Agreement between DGRS Service Corporation and UBS AG, dated as of May 25, 2005, including
 the Schedule and Credit Support Annex thereto and the Confirmations thereunder, dated June 7, 2006, bearing UBS
 Reference No. 37380341 (as amended, modified or supplemented).




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                                EXHIBIT I.A.108

                FORM OF DETROIT GENERAL VEBA TRUST AGREEMENT




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                CITY OF DETROIT GENERAL RETIREE HEALTH CARE TRUST

       THIS TRUST AGREEMENT, entered into effective _____________, 2014, by and
among the City of Detroit (“Detroit” or the “City”), [________________ Bank] (the “Bank”),
and the undersigned individual trustees (“Individual Trustees”).

                                        WITNESSETH:

      WHEREAS, Detroit filed a voluntary petition for relief under chapter 9 of the
Bankruptcy Code on July 18, 2013 in the United States Bankruptcy Court for the United States
Bankruptcy Court Eastern District of Michigan (the “Court”);

       WHEREAS, pursuant to the Plan for the Adjustment of Debts of the City of Detroit (the
“Plan of Adjustment”), the City agreed to establish a voluntary employees beneficiary
association (“VEBA”) to provide health care benefits to certain retirees and their Eligible
Dependents;

        WHEREAS, Detroit hereby establishes this City of Detroit General Retiree Health Care
Trust (the “Trust”);

         WHEREAS, the undersigned Individual Trustees constituting the Board of Trustees shall
be responsible for: (i) managing the property held by, and administration of, this Trust; and
(ii) designing, adopting, maintaining and administering the “Health Care Plan for General
Retirees of the City of Detroit” (the “Plan”), through which all health care benefits to the Trust’s
beneficiaries shall be provided;

       WHEREAS, the Board of Trustees is willing to exercise the authority granted to it herein
with regard to the Trust and Plan;

        WHEREAS, through this Trust Agreement, Detroit intends to designate the Bank to serve
in the capacity of the institutional trustee with respect to the Trust and to maintain custody of the
Trust assets;

       WHEREAS, the Bank is willing to receive, hold, and invest the assets of the Trust in
accordance with the terms of this Trust Agreement; and

        WHEREAS, the Trust and the interdependent Plan are intended to comply with the
requirements of section 501(c)(9) of the Internal Revenue Code of 1986, as amended (the
“Code”), and are together intended to constitute a “governmental plan” within the meaning of
section 3(32) of the Employee Retirement Income Security Act of 1974;

        NOW THEREFORE, in consideration of the premises and the covenants contained
herein, Detroit and the Bank agree as follows:

                                          ARTICLE I
                                         DEFINITIONS

      Section 1.1 Bank. The entity referred to in the Preamble to this Trust Agreement
named to perform the duties set forth in this Trust Agreement, or any successor thereto appointed

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by the Board in accordance with Section 7.3. Any corporation continuing as the result of any
merger or consolidation to which the Bank is a party, or any corporation to which substantially
all the business and assets of the Bank may be transferred, will be deemed automatically to be
continuing as the Bank.

        Section 1.2 Board of Trustees or Board. The Board of Trustees is the body described
in Article VIII to which Detroit has delegated responsibility for: (i) managing the property held
by, and administering, this Trust; and (ii) designing, adopting, maintaining and administering the
Plan, through which all benefits to the Trust’s beneficiaries shall be provided. It shall be
constituted and operated in accordance with Article IX.

       Section 1.3 Code. The Internal Revenue Code of 1986, as amended, and any
successor statute thereto.

        Section 1.4 Detroit General VEBA Beneficiary. Has the meaning given to that term in
the Plan of Adjustment.

        Section 1.5 Eligible Dependent. An Eligible Retiree Member’s dependent, within the
meaning of Code section 501(c)(9) and the regulations promulgated thereunder, who is eligible
to receive benefits under the Plan in accordance with its terms.

       Section 1.6 Eligible Retiree Member. A former employee of Detroit, the Detroit
Public Library, or the Detroit Regional Convention Facility Authority who is a Detroit General
VEBA Beneficiary.

        Section 1.7 Investment Manager. An investment manager appointed by the Board or
its successor in accordance with the provisions of Section 9.4 hereof

      Section 1.8     New B Notes. Has the meaning given to that term in the Plan of
Adjustment.

        Section 1.9 OPEB Claims Notes. The New B Notes the City is required to contribute
to the Trust pursuant to the Plan of Adjustment.

       Section 1.10 Other Supporting Organization. An organization other than the City, the
Rate Stabilization Fund, or the Supporting Organization, having voluntarily contributed funds in
excess of [$500,000] to the Trust on or after the Effective Date.

        Section 1.11 Participant. An Eligible Retiree Member or Eligible Dependent who is
entitled to health care benefits pursuant to the terms of the Plan.

        Section 1.12 Plan. The Health Care Plan for Retirees of the City of Detroit, to be
adopted and thereafter amended from time to time by the Board, as specified herein, and which
will provide health care benefits permitted to be provided by a VEBA under Code section
501(c)(9).

        Section 1.13 Plan of Adjustment. The Plan for the Adjustment of Debts of the City of
Detroit.



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        Section 1.14 Rate Stabilization Fund. The Rate Stabilization Reserves Fund maintained
under the control of the Governing Board of the City of Detroit Employee Benefits Plan
established pursuant to Title 9, Chapter VIII of the Charter of the City of Detroit for the
exclusive purpose of providing hospital, surgical, and death benefits for current or former
employees of the City.

        Section 1.15 Supporting Organization. The Foundation for Detroit’s Future, a not for
profit that is created to collect certain contributions and make an annual contribution to an
escrow account as described in Section 3.2, or the successor to such not for profit. The
Supporting Organization was created to receive funds from organizations, including those listed
in Exhibit B, and allocate such funds in the amounts described in Exhibit B, to, among other
entities, this Trust Fund.

        Section 1.16 Trust Agreement. This agreement as it may be amended thereafter from
time to time by the parties hereto in accordance with the terms hereof.

       Section 1.17 Trust or Trust Fund. The City of Detroit General Retiree Health Care
Trust established by this Trust Agreement, comprising all property or interests in property held
by the Bank from time to time under this Trust Agreement.

                                        ARTICLE II
                                 ESTABLISHMENT OF TRUST

       Section 2.1 Purpose. The Trust is established for the purpose of providing life,
sickness, accident, and other similar benefits, directly, through the purchase of insurance, or by
reimbursement of expenses, to the Participants in accordance with the Plan and consistent with
Section 501(c)(9) of the Code and the regulations and other guidance promulgated thereunder.
The Trust, together with the Plan, is intended to constitute a VEBA under Section 501(c)(9) of
the Code.

        Section 2.2 Receipt of Funds. The Bank shall accept all sums of money and other
property contributed to the Trust pursuant to Article III. The Bank shall hold, manage and
administer the Trust Fund without distinction between principal and income. The Bank shall be
accountable for the contributions or transfers it receives, but shall not be responsible for the
collection of any contributions or transfers to the Trust or enforcement of the terms of the OPEB
Claims Notes.

        Section 2.3 Inurement and Reversion Prohibited. At no time shall any part of the
principal or income of the Trust Fund be used for, or diverted to, any purpose other than
sponsoring, operating and administering the Plan and Trust to provide benefits that are permitted
under Code section 501(c)(9) to Participants. Nothing in this Trust Agreement shall be
construed in such a way as to prohibit the use of assets of the Trust Fund to pay reasonable fees
and other expenses and obligations incurred in maintaining, administering and investing the
Trust Fund or in sponsoring, administering and operating the Plan in accordance with the
provisions of this Trust Agreement. At no time shall any part of the net earnings inure to the
benefit of any individual other than through the provision of benefits as permitted under Code
section 501(c)(9) and the regulations promulgated thereunder. In no event will the assets held in
the Trust Fund revert to Detroit. Upon termination of the Trust Fund, any assets remaining upon
satisfaction of all liabilities to existing Participants shall be applied, either directly or through the

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purchase of insurance, to provide life, sick accident or other permissible benefits under Code
section 501(c)(9) and the rules and regulations promulgated thereunder, pursuant to criteria
consistent with such rules and regulations.

        Section 2.4 No Guarantee. Nothing contained in the Trust or the Plan shall constitute
a guarantee that the assets of the Trust Fund will be sufficient to pay any benefit to any person or
make any other payment. The obligation of the Plan to pay any benefit provided under the Plan
is expressly conditioned on the availability of cash in the Trust to pay the benefit, and no plan
fiduciary or any other person shall be required to liquidate the OPEB Claims Notes or any other
Plan asset in order to generate cash to pay benefits. Detroit shall not have any obligation to
contribute any amount to the Trust except as provided in Article III. Except for payments of
benefits under the Plan, no Participant shall receive any distribution of cash or other thing of
current or exchangeable value, either from the Board or the Bank, on account of or as a result of
the Trust Fund created hereunder.

        Section 2.5 No Interest. Detroit shall not have any legal or equitable interest in the
assets of the Trust Fund at any time, including following the termination of the Trust.

                                   ARTICLE III
                         CONTRIBUTIONS TO THE TRUST FUND

        Section 3.1 Detroit Contributions. The Bank will accept the City's contribution of the
OPEB Claims Notes to the Trust Fund pursuant to the Plan of Adjustment. Apart from the
contribution of the OPEB Claims Notes, contributions to the Trust Fund made within sixty (60)
days of the Effective Date by the Rate Stabilization Fund in the amount of $[4.0] million, or
from Other Supporting Organizations, and as otherwise provided in Section 3.2, Detroit shall
have no further obligation to contribute to the Trust or otherwise fund the Plan. In connection
with monies contributed by the Employee Benefit Plan of the City of Detroit, the General VEBA
trustees shall establish a catastrophic illness fund within the General VEBA to be used to provide
limited assistance to those participants who are otherwise unable to afford the cost of necessary
and immediate life-threatening health care costs. The catastrophic illness fund shall operate
pursuant to the criteria established in consultation with the Detroit Retired City Employees
Association and approved by the VEBA Trustees.

        Section 3.2 Other Contributions. The Bank will accept other contributions to the Trust
Fund from Participants, from funds held in escrow by an escrow agent on behalf of the City that
are received from the Supporting Organization, or from Other Supporting Organizations whether
or not contributed through an escrow on behalf of the City.

                                    ARTICLE IV
                           PAYMENTS FROM THE TRUST FUND

       Section 4.1     Payments from the Trust Fund.

               (a)     Subject to paragraph (b) below, the Bank shall make payments from the
Trust Fund to provide, directly or through the purchase of insurance, benefits under the Plan as
directed by the Board.



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                (b)      To the extent permitted by law, the Bank shall be fully protected in
making payments out of the Trust Fund, and shall have no responsibility to see to the application
of such payments or to ascertain whether such payments comply with the terms of the Plan, and
shall not be liable for any payment made by it in good faith and in the exercise of reasonable care
without actual notice or knowledge of the impropriety of such payments hereunder. The Bank
may withhold all or any part of any payment as the Bank in the exercise of its reasonable
discretion may deem proper, to protect the Bank and the Trust against any liability or claim on
account of any income or other tax whatsoever; and with all or any part of any such payment so
withheld, may discharge any such liability. Any part of any such payment so withheld by the
Bank that may be determined by the Bank to be in excess of any such liability will upon such
determination by the Bank be paid to the person or entity from whom or which it was withheld.

        Section 4.2 Method of Payments. The Bank may make any payment required to be
made by it hereunder, unless directed otherwise by the Board, by direct electronic deposit of the
amount thereof to the financial institution where the person or entity to whom or to which such
payment is to be made maintains an account, or by mailing a check in the amount thereof by first
class mail in a sealed envelope addressed to such person or entity to whom or to which such
payment is to be made, according to the direction of the Board. If any dispute arises as to the
identity or rights of persons who may be entitled to benefits hereunder, the Bank may withhold
payment until such dispute is resolved by a court of competent jurisdiction or, at the discretion of
the Board pursuant to written instructions.

        Section 4.3 Excessive Payments. If the payment of any benefit under the Plan is
determined to have been excessive or improper, and the recipient thereof fails to make
repayment to the Bank or an administrator chosen by the Board of such excessive or improper
payment upon the Bank’s or administrator’s request, the Bank shall deduct the amount of such
excessive or improper payment from any other benefits thereafter payable to such person. Until
repaid to the Bank or Bank’s agent, the amount of said excessive or improper payment shall not
be included in any report by the auditor, the Bank, or the administrator as an asset of the Plan or
the Trust Fund.

                                       ARTICLE V
                                BANK POWERS AND DUTIES

        Section 5.1 Powers of the Bank Generally. The Bank has whatever powers are
required to discharge its obligations and to accomplish any of the purposes of this Trust
Agreement, including (but not limited to) the powers specified in the following Sections of this
Article, and the powers and authority granted to the Bank under other provisions of this Trust
Agreement. The enumeration of any power herein shall not be by way of limitation, but shall be
cumulative and construed as full and complete power in favor of the Bank.

      Section 5.2 Powers Exercisable by the Bank in Its Discretion. The Bank is authorized
and empowered to exercise the following powers at its discretion in satisfaction of the duties
imposed on it under this Trust Agreement:

               (a)     To place securities orders, settle securities trades, hold securities in
custody, deposit securities with custodians or securities clearing corporations or depositories or
similar organizations, and other related activities as shall be necessary and appropriate in
performing its duties under this Trust Agreement. Any indicia of ownership of any Trust Fund

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assets, however, shall not be maintained outside the jurisdiction of the district courts of the
United States. Trades and related activities conducted through a broker shall be subject to
reasonable fees and commissions established by the broker, which may be paid from the Trust
Fund or netted from the proceeds of trades.

                (b)   To make, execute, acknowledge and deliver any and all documents of
transfer and conveyance and any and all other instruments that may be necessary or appropriate
to carry out the powers herein granted.

                (c)     To cause any investment in the Trust Fund to be registered in, or
transferred into, its name as the institutional trustee or the name of its nominee or nominees, or to
retain such investments unregistered in a form permitting transfer by delivery, but the books and
records of the Bank shall at all times show that all such investments are part of the Trust Fund,
and the Bank shall be fully responsible for any misappropriation in respect of any investment
held by its nominee or held in unregistered form and shall cause the indicia of ownership to be
maintained within the jurisdiction of the district courts of the United States.

               (d)     To deliver to the Board, or the person or persons identified by the Board,
on a timely basis as required under Section 5.5, proxies and powers of attorney and related
informational material, for any shares or other property held in the Trust.

        Section 5.3 Powers Exercisable by the Bank Only Upon the Direction of the Board.
The Bank shall exercise the following powers only upon the direction of the Board (or, in the
case of subparagraphs (a) and (b)), a duly appointed Investment Manager who has been
conferred such power by the Board):

                (a)   To receive, hold, invest and reinvest Trust Fund assets and income under
provisions of law from time to time existing and in accordance with Article IX.

               (b)     To exercise or abstain from exercising any option, privilege or right
attaching to any Trust Fund assets.

              (c)     To make payments from the Trust Fund for the provision of benefits in
accordance with Article IV and for the payment of expenses as provided in Section 5.8.

               (d)     To employ suitable agents and depositaries (domestic or foreign), public
accountants, brokers, custodians, ancillary trustees, appraisers, enrolled actuaries, and legal
counsel as shall be reasonably necessary and appropriate to fulfill its obligations under this Trust
Agreement and to comply with the lawful instructions of the Board, and to pay their reasonable
expenses and compensation.

                (e)    To pay any income or other tax or estimated tax, charge or assessment
attributable to any property or benefit out of such property or benefit in its sole discretion, or any
tax on unrelated business income of the Trust, if any, out of the Trust Fund.

               (f)    To vote, in person or by general or limited proxy, at any election of any
corporation in which the Trust Fund is invested, and similarly to exercise, personally or by a
general or limited power of attorney, any right appurtenant to any investment held in the Trust
Fund.

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               (g)     To accept, compromise or otherwise settle any obligations or liability due
to or from them as the Bank hereunder, including any claim that may be asserted for taxes,
assessments or penalties under present or future laws, or to enforce or contest the same by
appropriate legal proceedings.

                (h)     To act as the sole trustee in the event that the Board, by reason of death,
resignation, or failure to appoint successor Individual Trustees, has fewer than three (3)
members.

         Section 5.4 Title to Trust Fund. All rights, title and interest in and to the Trust Fund
shall at all times be vested exclusively in the Bank or any institutional successor trustee under
this Trust Agreement.

       Section 5.5     General Duties and Obligations of Bank.

               (a)    In accordance with Article II, the Bank shall hold all property received by
it and any income and gains thereupon. In accordance with this Article and Article IX, the Bank
shall manage, invest and reinvest the Trust Fund following the directions of the Board or a duly
appointed Investment Manager (who has been conferred such power by the Board), shall collect
the income therefrom, and shall make payments or disbursements as directed by the Board.

                (b)     Subject to the provisions of Articles VII and X, the Bank shall comply
with any directive issued by the Board to withdraw and transfer all or any part of the Trust Fund
to another institutional trustee, custodian or a funding agent.

                 (c)      The Board shall have responsibility for directing the Bank as to the voting
(by proxy or in person) of any shares or other property held in the Trust. Accordingly, the Bank
shall deliver to the Board (or the person or persons identified by the Board), on a timely basis,
proxies, powers of attorney and related informational material that are necessary for the Board to
fulfill its responsibility.

                      The Bank may use agents to effect such delivery to the Board (or the
person or persons identified by the Board).

               (d)     The Bank shall discharge its duties in the interests of Participants and for
the exclusive purpose of providing benefits to Participants and defraying reasonable expenses of
administering the Trust and the Plan and shall act with the care, skill, prudence and diligence
under the circumstances then prevailing that a prudent person acting in like capacity and familiar
with such matters would use in conduct of an enterprise of like character and with like aims. The
Bank will be under no liability or obligation to anyone with respect to any failure of the Board to
perform any of its obligations under the Plan or Trust Agreement or for any error or omission of
the Board.

       Section 5.6 Determination of Rights. The Bank shall have no power, authority, or
duty hereunder in respect to the determination of the eligibility of any person to coverage under
the Plan, or the entitlement of any person to any benefit payments under the Plan.

       Section 5.7 Continuance of Plan; Availability of Funds. Neither the Board, the Bank
nor Detroit assumes any contractual obligation as to the continuance of the Plan and shall not be

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responsible for the adequacy of the Trust Fund to meet and discharge any liabilities under the
Plan, and the Bank’s obligation to make any payment shall be limited to amounts held in the
Trust Fund at the time of the payment.

        Section 5.8 Payment of Expenses. The Bank shall apply the assets of the Trust Fund
to pay all reasonable costs, charges, and expenses (including, but not limited to, all brokerage
fees and transfer tax expenses and other expenses incurred in connection with the sale or
purchase of investments, all real and personal property taxes, income taxes and other taxes of
any kind at any time levied or assessed under any present or future law upon, or with respect to,
the Trust Fund or any property included in the Trust Fund and all legal, actuarial, accounting and
financial advisory expenses) reasonably incurred by the Bank or the Board in connection with
establishing, sponsoring, administering or operating the Trust or Plan. The Board shall by
written certificate provided to the Bank request payment for any expenses related to the
administration of the Trust and/or the Plan. Upon receipt of the written certificate, the Bank may
make the payment requested by the Board. The expenses of the Bank shall constitute a lien on
the Trust Fund.

        Section 5.9 Bank Compensation. The Bank will apply the assets of the Trust Fund to
pay its own fees in the amounts and on the dates set forth in Exhibit A. The Bank’s
compensation shall constitute a lien on the Trust Fund.

        Section 5.10 Reliance on Written Instruments. The Bank shall be fully protected in
acting upon any instrument, certificate or paper believed by it to be genuine and to be signed or
presented by a duly authorized person or persons, and shall be under no duty to make any
investigation or inquiry as to any statement contained in any such writing, but may accept the
same as conclusive evidence of the truth and accuracy of the statements therein contained.

                                         ARTICLE VI
                                       BANK ACCOUNTS

        Section 6.1 Records. The Bank shall maintain accurate and detailed records and
accounts of all investments, receipts, disbursements, and other transactions with respect to the
Trust, and all accounts, books and records relating thereto shall be open at all reasonable times to
inspection and audit by the Board or such person or persons as the Board may designate.

        Section 6.2 Annual Audit. The Trust Fund shall be audited annually by a firm of
certified public accountants independent of the Bank, the members of the Board, and the City,
and a statement of the results of such audit shall be provided to the Bank and the Board and also
made available for inspection by interested persons at the principal office of the Trust. Such
audit must be completed no later than 120 days after the expiration of the calendar year, or after
expiration of the fiscal year if the Trust Fund is on a fiscal year other than a calendar year. The
Board shall provide a copy of this statement to the Supporting Organization and any Other
Supporting Organization no later than the May 15th immediately succeeding the last day of the
year covered by such audited financial statements.

        Section 6.3 No Interest by Participants. In no event shall any Participant or
beneficiary have any interest in any specific asset of the Trust Fund. At no time shall any
account or separate fund be considered a savings account or investment or asset of any particular
Participant, beneficiary, or class of Participants or beneficiaries, and no Participant or beneficiary

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shall have any right to any particular asset which the Board or Bank may have allocated to any
account or separate fund for accounting purposes.

        Section 6.4 Furnishing Written Accounts. The Bank shall file with the Board a
written account setting forth a description of all securities and other property purchased and sold,
and all receipts, disbursements, and other transactions effected by it during the accounting period
to which the Board and the Bank have agreed, and showing the securities and other properties
held, and their fair market values at such times and as of such dates as may be agreed by the
Board and the Bank in writing. Such written account shall be filed with the Board within thirty
(30) days after the close of each calendar quarter.

        Section 6.5 Accounting Year, Cash Basis. The accounting year of the Trust shall be
the calendar year. All accounts of the Bank shall be kept on a cash basis.

        Section 6.6 Judicial Proceedings. If the Bank and the Board cannot agree with respect
to any act or transaction reported in any statement, the Bank shall have the right to have its
accounts settled by judicial proceedings in which only the Bank and the Board shall be necessary
parties. No Participant shall have any right to compel an accounting, judicial or otherwise, by
the Bank.

                                      ARTICLE VII
                                PROCEDURES FOR THE BANK

         Section 7.1 Removal. The Bank may be removed by the Board at any time upon thirty
(30) days’ advance written notice. Such removal shall be effective on the date specified in such
written notice, provided that notice has been given to the Bank of the appointment of a successor
institutional trustee or custodian in the manner set forth in Section 7.3 below.

         Section 7.2 Resignation. The Bank may resign by filing with the Board a written
resignation that shall take effect ninety (90) days after the date of such filing, unless prior thereto
a successor institutional trustee or custodian has been appointed by the Board. In no event may
the Bank’s resignation take effect before a successor institutional trustee or custodian has been
appointed by the Board and such successor trustee has accepted the appointment. If the Board
fails to appoint a successor institutional trustee or custodian, the retiring Bank may seek the
appointment of a successor entity in the manner set forth in Section 7.3.

       Section 7.3     Successor Bank.

                (a)    The Board may appoint a successor institutional trustee or custodian by
delivering to such successor an instrument in writing, executed by an authorized representative
of the Board, appointing such successor entity, and by delivering to the removed or resigning
Bank an acceptance in writing, executed by the successor so appointed. Such appointment shall
take effect upon the date specified in Section 7.1 or 7.2 above, as applicable.

               (b)    Alternatively, the Board may appoint a successor institutional trustee or
custodian by securing from such successor an amendment to this Trust Agreement, executed by
both the successor and an authorized representative of the Board, which replaces the current
Bank with the successor institutional trustee or custodian, appointing such successor institutional


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trustee or custodian, and by delivering to the removed or resigning Bank an executed copy of the
amendment. Such appointment shall take effect upon the date specified in the amendment.

                 (c)     If no appointment of a successor institutional trustee or custodian is made
by the Board within a reasonable time after such resignation, removal or other event, any court of
competent jurisdiction may, upon application by the retiring Bank, appoint a successor
institutional trustee or custodian after such notice to the Board and the retiring Bank, as such
court may deem suitable and proper.

        Section 7.4 Effect of Removal or Resignation of Bank. Upon the removal or
resignation of the Bank in accordance with Section 7.1 or 7.2 above, the Bank shall be fully
discharged from further duty or responsibility under this Trust Agreement to the extent permitted
by law.

        Section 7.5 Merger or Consolidation of the Bank. Any corporation continuing as the
result of any merger or resulting from any consolidation, to which merger or consolidation the
Bank is a party, or any corporation to which substantially all the business and assets of the Bank
may be transferred, will be deemed to be continuing as the Bank.

                            ARTICLE VIII
      COMPOSITION OF AND PROCEDURES FOR THE BOARD OF TRUSTEES

        Section 8.1 Number and Appointment of Members. The Board of Trustees shall
consist of seven (7) Individual Trustees as voting members, who are selected as provided below.

                (a)    The Mayor of Detroit shall appoint one (1) voting member, who may not
be an employee or employed by an affiliate of the City (for such purposes, a contractor of the
City shall not be deemed an affiliate), or of any labor union representing employees of the City,
or a member of any such labor union, or a Participant. Such member shall have expert
knowledge or extensive experience with respect to economics, finance, institutional investments,
administration of public or private health and welfare benefit plans, executive management,
benefits administration or actuarial science. The Board member selected by the Mayor to begin
serving as of the Effective Date shall be Floyd Allen.

                (b)     The remaining six (6) voting members shall be appointed as follows:
three (3) such voting members shall initially be designated by the Official Committee of Retirees
of the City of Detroit, Michigan, and three (3) such voting members shall initially be designated
by the Detroit Retired City Employees Association. The members initially selected by the
Official Committee of Retirees of the City of Detroit, Michigan shall be: Suzanne Daniels
Paranjpe, Roger Cheek, and Thomas Sheehan. The members initially selected by the Detroit
Retired City Employees Association shall be: Doris Ewing, Barbara Wise-Johnson, and Shirley
Lightsey.

                       Each Board member shall acknowledge his or her appointment and
acceptance of the duties and responsibilities set forth in this Trust Agreement in writing.

        Section 8.2 Term of Office. Each member of the Board shall serve a period of four (4)
years, or if earlier, until his or her death, incapacity to serve hereunder, or resignation. A Board


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member whose term has ended due to the passage of time may be reappointed to serve an
additional four (4) year term pursuant to the procedures set forth in Section 8.4 below.

        Section 8.3 Resignation. A Board member may resign, and shall be fully discharged
from further duty or responsibility under this Trust Agreement to the extent permitted by law, by
giving at least ninety (90) days’ advance written notice to the Board (and in the case of a Board
member selected by the Mayor, to the Mayor, and in the case of a Board member selected by the
Official Committee of Retirees or the Detroit Retired City Employees Association, to the Detroit
Retired City Employees Association), which notice shall state the date when such resignation
shall take effect, which notice or time period may be waived by the Board.

       Section 8.4 Vacancies. In the event of a vacancy, either by resignation, death,
incapacity, expiration of term of office, or other reasons, the replacement Board member shall be
appointed as provided below.

              (a)      In the event of a vacancy of the seat previously filled by the appointee of
the Mayor of Detroit, the replacement Board member shall be appointed as provided in Section
8.1(a).

             (b)     In the event of a vacancy of a seat previously filled by an appointee of the
Official Committee of Retirees or the Detroit Retired City Employees Association, the
replacement Board member shall be appointed by the Detroit Retired City Employees
Association.

         Section 8.5 Fees and Expenses. Board members shall each be paid a stipend. For the
2015 and 2016 calendar year, this stipend shall be in the amount of $12,000 per year (payable
ratably on a monthly basis). Beginning with the 2017 calendar year and for each year thereafter,
this stipend shall be in the amount of $6,000 per year (payable ratably on a monthly basis);
provided, however, that the Board, by a vote of not less than six (6) out of seven (7) Board
members, shall have the power to provide for a different amount for the stipend; and provided,
further, that in no event shall such annual stipend exceed $12,000. Each Board member may be
reimbursed for reasonable expenses properly and actually incurred in the performance of his or
her duties. Compensation payable to the Board members and all reimbursed expenses shall be
payable out of the Trust.

        Section 8.6 Operation of the Board; Quorum. The Board shall select from among its
members a chair and a vice chair. The Board shall hold regular meetings, and shall designate the
time and place thereof in advance. The Board shall adopt its own rules of procedure and shall
keep a record of proceedings. Each Board member shall be entitled to one vote on each question
before the Board. Five (5) members shall constitute a quorum at any meeting. Except as
provided in Section 8.5 and Article X, a majority vote of the seven (7) members of the Board, at
a meeting in which a quorum exists, shall be necessary for a decision by the Board.
Notwithstanding the foregoing, the voting members of the Board may act by unanimous written
consent in lieu of a meeting.




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                                 ARTICLE IX
                 POWERS AND DUTIES OF THE BOARD OF TRUSTEES

        Section 9.1 General. The Board shall be responsible for designing, adopting,
maintaining and administering the Plan, as well as administering the Trust and managing the
Trust assets as provided herein. Subject to the provisions of this Trust Agreement, the Plan
documents and applicable laws, the Board shall have sole, absolute and discretionary authority to
adopt such rules and regulations and take all actions that it deems desirable for the administration
of the Plan and Trust, and to interpret the terms of the Plan and Trust. The decisions of the
Board will be final and binding on all Participants and all other parties to the maximum extent
allowed by law. In performing its duties hereunder, the members of the Board shall comply with
the terms of the Trust, and shall discharge their duties for the exclusive purposes of providing
benefits to participants and beneficiaries of the Plan and Trust and defraying reasonable expenses
of the Plan and Trust, and with the care, skill, prudence, and diligence then prevailing that a
prudent person acting in a like capacity – and familiar with such matters – would use in the
conduct of an enterprise of like character and with like aims.

       Section 9.2     Plan Design and Administration.

                (a)     Adoption of Plan. The Board shall adopt a Plan to offer life, sickness,
accident or other similar benefits to Participants. All terms of the Plan shall be determined by
the Board; provided that such terms shall be consistent with this Trust Agreement, Code section
501(c)(9) and the regulations promulgated thereunder. The Board shall be under no obligation to
design the Plan to assure that the assets of the Trust Fund are sufficient to provide benefits to all
potential Participants of the Plan in subsequent years.

                (b)     Benefits. The Plan shall include benefits and any other features including,
without limitation, premium-sharing or other cost-sharing or reimbursements, that the Board
from time to time determines appropriate or desirable in its sole discretion. The Plan may
provide for different benefit structures or programs for different groups of Participants, as
determined by the Board in its sole discretion. In designing the Plan and the benefits to be
provided thereunder, the Board may take into account relevant circumstances, including, without
limitation, the degree to which Participants may have alternative resources or coverage sources,
as well as the resources of the Trust Fund. Benefits provided under the Plan shall be limited to
those health care benefits permitted by Code Section 501(c)(9), and any Plan eligibility
restrictions established by the Board shall conform with the requirements set forth in Treasury
Regulation Section 1.501(c)(9)-2. Notwithstanding the foregoing or any authority granted
trustees herein, and for the duration of this Trust, for purposes of determining benefit levels and
determination of benefits under this Trust, including but not limited to any coordination of
benefits, any amounts paid into or from any Library or Cobo Hall health reimbursement account
for Detroit General VEBA Beneficiaries who are Library or Cobo Hall retirees (and their
spouses) shall not be taken into account.

                (c)     Method of Providing Benefits. Benefits under the Plan may be fully
insured, partially insured or self-insured, as determined by the Board from time to time in its sole
discretion. The expected cost of benefits under the Plan shall not exceed the amount expected to
be available under the Trust.



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               (d)     Plan Documentation. The Board shall be responsible for creating,
adopting and/or executing any documents necessary to set forth the Plan’s governing terms, and
shall be responsible for communicating the terms of the Plan to the Eligible Retiree Members
and Eligible Dependents in accordance with applicable law.

        Section 9.3 Investment of the Trust. The Board, with the same care, skill, prudence,
and diligence under the circumstances then prevailing that a prudent person acting in a similar
capacity and familiar with those matters would use in the conduct of a similar enterprise with
similar means, shall have full power and authority to manage, control, invest and reinvest the
money and other assets of the Trust Fund, and the Bank shall comply with the proper written
direction of the Board concerning those assets. The Board may employ outside advisors,
including investment advisors, to advise it with regard to the investment of the assets of the Trust
Fund. Any outside advisors shall acknowledge a fiduciary relationship to the Board and the
Trust Fund.

       In investing and managing the assets of the Trust, the Board:

        shall consider among other circumstances: the general economic conditions; the possible
effect of inflation or deflation; the role that each investment or course of action plays within the
overall portfolio; the expected total return from income and the appreciation of capital; needs for
liquidity, regularity of income, and preservation or appreciation of capital; and the adequacy of
funding for the plan based on reasonable actuarial factors;

               (b)    shall diversify the investments of the Trust unless the Board reasonably
determines that because of special circumstances, it is clearly prudent not to do so;

            (c)     shall make a reasonable effort to verify facts relevant to the investment
and management of assets of the Trust; and

                (d)    may consider benefits created by an investment in addition to investment
return only if the Board determines that the investment providing these collateral benefits would
be prudent even without the collateral benefits.

        Section 9.4 Appointment of Investment Managers. The Board, from time to time, may
appoint one or more independent Investment Managers, pursuant to a written investment
management agreement describing the powers and duties of the Investment Manager, to direct
the investment and reinvestment of all or a portion of the Trust (hereinafter referred to as an
“Investment Account”). The Board shall determine that each Investment Manager is a fiduciary
to the Board and Trust with demonstrated expertise in the type of investments authorized by the
Board and, is entitled (under its investment management agreement) to direct the investment and
reinvestment of the Investment Account for which it is responsible, in its sole and independent
discretion and without limitation, except for any limitations which from time to time the Board
determines shall modify the scope of such authority. If an Investment Manager is appointed, it
shall have the authority of the Bank specified in Section 5.1 hereof with respect to the
Investment Account over which it has investment discretion and the Bank’s duties with respect
to such Investment Account shall be limited to following the instructions of the Investment
Manager. Provided that an Investment Manager is prudently selected and monitored by the
Board, the Board shall have no liability (a) for the acts or omissions of such Investment
Manager; (b) for following directions of such Investment Manager which are given in

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accordance with this Trust Agreement; or (c) for any loss of any kind which may result by reason
of the manner of division of the Trust into Investment Accounts.

        Section 9.5 Government Reports and Returns. The Board shall file all reports and
returns that are required to be made with respect to the Trust and the Plan.

        Section 9.6 Compromise or Settle Claims. The Board may compromise, settle and
release claims or demands in favor of or against the Trust or the Board on such terms and
conditions as the Board may deem advisable. The Board may at all times rely upon the advice of
independent counsel in reaching such decisions.

        Section 9.7 Appointment of Administrator. The Board may appoint one or more third
parties to perform any administrative functions it has with regard to the Trust or Plan.

        Section 9.8 Employment of Assistance. The Board has the exclusive authority to
employ, contract and pay for all professional services including, but not limited to, actuarial,
investment, legal, accounting, medical, and any other services that the Board considers necessary
for the proper operation and administration of the Plan and Trust. The powers granted to the
Board in this subparagraph include complete control of the procurement process, including
contracts for office space, computer hardware and software, and human resource services. In
accordance with the provisions of Section 5.3 hereof, the Board may direct the Bank to pay
reasonable compensation therefor from the Trust Fund. The Board may take or may refrain from
taking any action in accordance with or reliance upon the opinion of counsel or such expert
advisors.

        Section 9.9 Reliance on Written Instruments. The Board shall be fully protected in
acting upon any instrument, certificate or paper believed by him or her to be genuine and to be
signed or presented by a duly authorized person or persons, and shall be under no duty to make
any investigation or inquiry as to any statement contained in any such writing, but may accept
the same as conclusive evidence of the truth and accuracy of the statements therein contained.

        Section 9.10 No Individual Liability on Contracts. The Board shall not be liable
personally for any debts, obligations, or undertakings contracted by them, or for the breach of
any contracts. Such claims and obligations shall be paid out of the Trust; provided, however,
that neither the Board nor any of its members shall be exempt from personal liability for willful
misconduct, intentional wrongdoing, breach of applicable fiduciary duty, negligence or fraud,
and the Trust shall not indemnify the Board for such liabilities to the extent that such
indemnification would violate the provisions of Section 9.13 herein, or to the extent that
application of this sentence would violate any law.

        Section 9.11 Detroit Not Liable for Conduct of Board. The Board is not in its capacity
as Board an officer, agent, employee, or representative of Detroit. In its capacity as Board, the
Board is a principal acting independently of Detroit, which shall not be liable for any act,
omission, contract, obligation, liability, debt, or undertaking of the Board or its officers, agents,
or representatives.

        Section 9.12 Liability Insurance. The Board shall obtain and keep current a policy or
policies of insurance, insuring the members of the Board from and against any and all liabilities,
costs and expenses incurred by such persons as a result of any act, or omission to act, in

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connection with the performance of their duties, responsibilities and obligations under this Trust
Agreement or the Plan. To the extent permitted by applicable law, the premiums on such
policies may be paid from the Trust Fund.

       Section 9.13 Reimbursement for Defense of Claims.

                 (a)    To the extent permitted by applicable law, and not otherwise covered by
liability insurance purchased by the Trust (without regard to any non-recourse rider purchased by
the insured), the Board, its individual trustees, employees of the Board and persons acting on the
Board’s behalf pursuant to an express written delegation to the extent such written delegation
provides for indemnification (each separately, the “Indemnified Party”) shall be indemnified and
held harmless by the Trust Fund for all reasonable costs and expenses, including without
limitation attorney’s fees, judgments, settlements, liabilities, fines, or penalties, incurred or
suffered in defense of any claim demand, cause of action or administrative proceeding that seeks
to hold the Indemnified Party personally liable for any loss to the Plan or Trust Fund or for
damages suffered by any party to, or beneficiary of this Trust Agreement arising out of conduct
reasonably believed to be good faith acts within the scope and powers and duties of the
Indemnified Party , provided that, the Board shall have the right to approve of the retention of
any counsel whose fees would be paid by the Trust Fund, but such approval shall not be withheld
unreasonably. In the event that indemnification is made by the Trust pursuant hereto, the
Indemnified Party shall agree to reimburse the Trust for all fees, costs and expenses to the extent
that it is determined that the Indemnified Party’s acts or omissions constituted fraud, bad faith,
willful misconduct, negligence, or breach of fiduciary duty, and an independent fiduciary shall
take all reasonable steps to ensure reimbursement at the time the Trust Fund agrees to indemnify
pursuant to this Section; provided further that in the case of a final judicial determination of
negligence or breach of fiduciary duty the Indemnified Party's reimbursement obligation shall be
limited to the lesser of $50,000 or the deductible on any non-recourse commercial liability
insurance policy.

               (b)      The Board may make, execute, record and file on its own behalf and on
behalf of the Trust, all instruments and other documentation (including one or more separate
indemnification agreements between the Trust and individual Indemnified Parties) that the Board
deems necessary and appropriate in order to extend the benefit of the provisions of this Section
to any Indemnified Party.

       Section 9.14 Subrogation and Reimbursement. If the Plan is self-insured, the following
provisions regarding subrogation and third-party reimbursement will apply.

                 (a)    If the Trust Fund pays, or is obligated to pay, any amount to or on behalf
of an individual (“Benefit Recipient”), the Trust Fund shall be subrogated as provided in this
Section 9.14 to all the Benefit Recipient’s rights of recovery with respect to the illness or injury
for which the payment of benefits is made by the Trust Fund. The right of recovery referred to in
the preceding sentence shall include the right to make a claim, sue, and recover against any
person or entity from the first dollars of any funds which are paid or payable as a result of a
personal injury claim or any reimbursement of health care expenses. If requested in writing by
the Board, the Benefit Recipient shall take, through any representative designated by the Board,
such action as may be necessary or appropriate to recover such payment from any person or
entity, said action to be taken in the name of the Benefit Recipient. In the event of a recovery or


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settlement, the Trust Fund shall be reimbursed in full on a first priority basis out of such recovery
or settlement for expenses, costs, and attorneys’ fees incurred by it in connection therewith.

                 (b)     If the Trust Fund pays, or is obligated to pay, any amount to or on behalf
of a Benefit Recipient for an illness or injury, the Trust Fund shall be entitled to, and shall have a
first priority equitable lien on, the proceeds of any recovery, by judgment, settlement or
otherwise, with respect to the illness or injury, and if paid to the Benefit Recipient, the Benefit
Recipient shall immediately pay any such proceeds to the Trust Fund. If the Benefit Recipient
fails to pay such proceeds, or does not cause such proceeds to be paid, to the Trust Fund, the
Board may, in addition to any other remedy to which it may be entitled, recover the proceeds
directly or by offset against claims for benefits under the Plan and Trust made with respect to the
affected Benefit Recipient (or such Benefit Recipient’s beneficiaries, heirs, attorneys, agents,
representatives, or estate).

                (c)     The Trust Fund shall have the right of subrogation and reimbursement set
forth in this Section 9.14 regardless of whether the Benefit Recipient is made whole and
regardless of whether the recovery, or any part thereof, is designated as payment for health care
expenses, pain and suffering, loss of income or any other specified or unspecified damages or
reason, and without regard to whether recovery is designated as including or excluding the health
care expenses covered by the Plan and Trust. Any recovery by a Benefit Recipient, an attorney
or other third party shall be deemed to be for the benefit of the Plan and Trust and shall be held
in constructive trust for the Trust Fund until the Trust Fund is reimbursed in full for all amounts
paid by the Trust Fund. The subrogation and reimbursement rights of the Trust Fund described
in this Section 9.14 include all rights against, and include all rights with respect to, proceeds
from or held by any attorney, third party, insurance carrier or payer of medical benefits,
including an uninsured or under-insured motorist carrier, a no-fault carrier and a school
insurance carrier, even if such coverage was purchased by the Benefit Recipient, and without
regard to whether the proceeds have been paid or are payable.

                 (d)    By participating in the Plan, each Benefit Recipient agrees to cooperate
fully with the Plan and Trust and to execute and deliver agreements, liens and other documents
and do whatever else the Board deems necessary to enable and assist the Trust Fund in
exercising its rights under this Section 9.14, but the Trust Fund’s rights under this Section 9.14
shall be effective regardless of whether the Benefit Recipient actually signs any agreements,
liens or other documents. By participating in the Plan, each Benefit Recipient also agrees (i) that
he or she will not make or maintain any make whole, common trust fund or apportionment action
or claim in contravention of the subrogation and reimbursement provisions of this Section 9.14;
and (ii) that he or she will not oppose any proceeding by the Trust Fund to obtain reimbursement
on procedural grounds. The Benefit Recipient, directly or through his or her representatives,
shall not do anything to impair the Trust Fund’s rights. If the Board determines that any Trust
Fund recovery rights under Section 9.14 have been impaired by any action of the Benefit
Recipient or his or her representatives or by the Benefit Recipient’s or such other person’s failure
to comply with the Benefit Recipient’s obligations under Section 9.14, the Board may, in
addition to any other remedy to which it may be entitled, determine the amount by which the
Trust Fund’s recovery rights have been impaired and recover such amount directly or by offset
against claims for benefits under the Trust Fund made with respect to the affected Benefit
Recipient.



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               (e)      This Section 9.14 entitles the Trust Fund to subrogation and
reimbursement equal to the entire amount paid by the Trust Fund for the illness or injury to
which the subrogation or reimbursement relates, including related expenses, costs and attorneys’
fees, which shall be from the first dollars payable to or received by the Benefit Recipient, his
representatives, heirs, legal counsel, estate or any other third party from any settlement,
judgment or other payment, without reduction for attorneys’ fees or for any other reason. The
common fund, make-whole, apportionment or any similar doctrines shall not apply to any
amounts received. Any attorneys’ fees shall be the responsibility solely of the Benefit Recipient,
and the Trust Fund shall not pay any attorneys’ fees or costs associated with a Benefit
Recipient’s claim or lawsuit without the Board’s prior written authorization.

               (f)     The intention of this Section 9.14 is to give the Trust Fund the first right of
subrogation and reimbursement in full with respect to the first dollars paid or payable, even
though the Benefit Recipient is not made whole. Each Benefit Recipient agrees that as a
condition to receiving benefits under the Plan and from the Trust Fund, the Benefit Recipient
shall comply with the requirements of this Section 9.14.

                                  ARTICLE X
                      AMENDMENT, TERMINATION AND MERGER

        Section 10.1 Amendment. The Trust Agreement may be amended at any time in
writing by the Board, by a vote of not less than six (6) out of seven (7) Board members, or by
Court order upon proper motion, provided, however, that no amendment may impose a
contribution obligation on Detroit; provided further that no amendment shall in any way conflict
with the terms of the Plan of Adjustment or a Court order confirming the Plan of Adjustment;
and provided further that no amendment shall adversely affect the exempt status of the Trust or
Plan under Section 501(c)(9) of the Code. No amendment to the Trust Agreement shall modify
the responsibilities of the Bank hereunder unless the Bank has first consented to such
amendment.

       Section 10.2 Termination.

                (a)     The Trust and this Trust Agreement may be terminated at any time in
writing by action of the Board, acting by a vote of not less than six (6) out of seven (7) Board
members, with a copy of such written instrument to be provided to the Bank, or by Court order
upon proper motion. Upon termination of this Trust Agreement, the assets of the Trust Fund
shall be paid out at the direction of the Board in the following order of priority: (i) the payment
of reasonable and necessary administrative expenses (including taxes); (ii) the payment of
benefits to Participants entitled to payments for claims arising prior to such termination; and (iii)
upon satisfaction of all liabilities to existing Participants, either directly or through the purchase
of insurance, to provide life, sick accident or other permissible benefits in accordance with Code
section 501(c)(9) and the rules and regulations promulgated thereunder. Neither Detroit nor any
member of the Board shall have any beneficial interest in the Trust Fund, except to the extent an
Individual Trustee is also a Participant in the Plan. Any determination by the Board or an
administrator to distribute assets of the Trust upon termination to an Individual Trustee who is
also a Participant must have the written concurrence of the Bank. The Trust Fund shall remain in
existence until all assets have been distributed.



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               (b)      Upon termination, the Bank and the Board shall continue to have all of the
powers provided in this Trust Agreement as are necessary or desirable for the orderly liquidation
and distribution of the Trust Fund in accordance with the provisions hereof.

        Section 10.3 Transfer of Assets and/or Liabilities. To the extent permitted by Code
section 501(c)(9) and other applicable law, some or all of the assets and/or liabilities of the Trust
Fund may at the discretion of the Board be transferred directly to another trust for the purpose of
providing health or welfare benefits to some or all of the Participants on such terms and
conditions as the Board may determine.

                                         ARTICLE XI
                                       MISCELLANEOUS

         Section 11.1 Rights in Trust Fund. No Participant or other person shall have any right,
title or interest in the Trust Fund or any legal or equitable right against the Bank, the Board, or
Detroit, except as may be otherwise expressly provided in the Plan or in this Trust Agreement.

        Section 11.2 Non-Alienation. Except to the extent required by applicable law, the
rights or interest of any Participant to any benefits or future payments hereunder or under the
provisions of the Plan shall not be subject to attachment or garnishment or other legal process by
any creditor of any such Participant, nor shall any such Participant have any right to alienate,
anticipate, commute, pledge, encumber or assign any of the benefits or payments which he may
expect to receive, contingent or otherwise, under this Trust Agreement.

       Section 11.3 Controlling Laws. The Trust shall be construed and the terms hereof
applied according to the laws of the state of Michigan to the extent not superseded by federal
law.

       Section 11.4 Counterparts. This Trust Agreement may be executed in any number of
counterparts, each of which shall be considered as an original.

      Section 11.5 Headings. The headings and subheadings of this Trust Agreement are for
convenience of reference only and shall have no substantive effect on the provisions of this Trust
Agreement.

        Section 11.6 Notices. All notices, requests, demands and other communications under
this Trust Agreement shall be in writing and shall be deemed to have been duly given (a) on the
date of receipt if served personally or by confirmed facsimile or other similar communication;
(b) on the first business day after sending if sent for guaranteed next day delivery by Federal
Express or other next-day courier service; or (c) on the fourth business day after mailing if
mailed to the party or parties to whom notice is to be given by registered or certified mail, return
receipt requested, postage prepaid, and properly addressed as follows:

If to the Bank:

[insert name and address]




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If to the Board:

[insert 7 names and addresses]

If to the Mayor:

[insert name and address]

If to the Supporting Organization:

[insert name and address]

If to the Other Supporting Organization:

[insert name and address]

If to the Detroit Retired City Employees Association:

[insert name and address]




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IN WITNESS WHEREOF, and as evidence of the establishment of the Trust created hereunder,
the parties hereto have caused this instrument to be executed as of the date above first written.

BANK

By:
       Print Name:
       Title:
       Date:

CITY OF DETROIT

By:
       Print Name:
       Title:
       Date:

INDIVIDUAL TRUSTEES

By:                                                  By:
       Name:                                                Name:
       Date:                                                Date:

By:                                                  By:
       Name:                                                Name:
       Date:                                                Date:

By:                                                  By:
       Name:                                                Name:
       Date:                                                Date:

By:
       Name:
       Date:




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                                  EXHIBIT A

                               Bank Compensation




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                                           EXHIBIT B

                                  Supporting Organization Funding



                     Contributing Organization               Contribution Amount

            Skillman Foundation




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                                 EXHIBIT I.A.112

              FORM OF DETROIT POLICE AND FIRE VEBA TRUST AGREEMENT




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      CITY OF DETROIT POLICE AND FIRE RETIREE HEALTH CARE TRUST

      THIS TRUST AGREEMENT, entered into effective______________, 2014, by and
among the City of Detroit (“Detroit” or the “City”), [_____________________ Bank] (the
“Bank”), and the undersigned individual trustees (“Individual Trustees”).

                                         WITNESSETH:


      WHEREAS, Detroit filed a voluntary petition for relief under chapter 9 of the
Bankruptcy Code on July 18, 2013 in the United States Bankruptcy Court for the United States
Bankruptcy Court Eastern District of Michigan (the “Court”);

       WHEREAS, pursuant to the Plan for the Adjustment of Debts of the City of Detroit (the
“Plan of Adjustment”), the City agreed to establish a voluntary employees beneficiary
association (“VEBA”) to provide health care benefits to certain retirees and their Eligible
Dependents;

       WHEREAS, Detroit hereby establishes this City of Detroit Police and Fire Retiree Health
Care Trust (the “Trust”);

         WHEREAS, the undersigned Individual Trustees constituting the Board of Trustees shall
be responsible for: (i) managing the property held by, and administration of, this Trust; and
(ii) designing, adopting, maintaining and administering the “Health Care Plan for Police and Fire
Retirees of the City of Detroit” (the “Plan”), through which all health care benefits to the Trust’s
beneficiaries shall be provided;

       WHEREAS, the Board of Trustees is willing to exercise the authority granted to it herein
with regard to the Trust and Plan;

        WHEREAS, through this Trust Agreement, Detroit intends to designate the Bank to serve
in the capacity of the institutional trustee with respect to the Trust and to maintain custody of the
Trust assets;

       WHEREAS, the Bank is willing to receive, hold, and invest the assets of the Trust in
accordance with the terms of this Trust Agreement; and

        WHEREAS, the Trust and the interdependent Plan are intended to comply with the
requirements of section 501(c)(9) of the Internal Revenue Code of 1986, as amended (the
“Code”), and are together intended to constitute a “governmental plan” within the meaning of
section 3(32) of the Employee Retirement Income Security Act of 1974;

        NOW THEREFORE, in consideration of the premises and the covenants contained
herein, Detroit and the Bank agree as follows:

                                          ARTICLE I
                                         DEFINITIONS

      Section 1.1 Bank. The entity referred to in the Preamble to this Trust Agreement
named to perform the duties set forth in this Trust Agreement, or any successor thereto appointed

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by the Board in accordance with Section 7.3. Any corporation continuing as the result of any
merger or consolidation to which the Bank is a party, or any corporation to which substantially
all the business and assets of the Bank may be transferred, will be deemed automatically to be
continuing as the Bank.

        Section 1.2 Board of Trustees or Board. The Board of Trustees is the body described
in Article VIII to which Detroit has delegated responsibility for: (i) managing the property held
by, and administering, this Trust; and (ii) designing, adopting, maintaining and administering the
Plan, through which all benefits to the Trust’s beneficiaries shall be provided. It shall be
constituted and operated in accordance with Article IX.

       Section 1.3 Code. The Internal Revenue Code of 1986, as amended, and any
successor statute thereto.

        Section 1.4 Detroit Police and Fire VEBA Beneficiary. Has the meaning given to that
term in the Plan of Adjustment.

        Section 1.5 Eligible Dependent. An Eligible Retiree Member’s dependent, within the
meaning of Code section 501(c)(9) and the regulations promulgated thereunder, who is eligible
to receive benefits under the Plan in accordance with its terms.

        Section 1.6 Eligible Retiree Member. A former employee of Detroit who is a Detroit
Police and Fire VEBA Beneficiary.

        Section 1.7 Investment Manager. An investment manager appointed by the Board or
its successor in accordance with the provisions of Section 9.4 hereof

      Section 1.8     New B Notes. Has the meaning given to that term in the Plan of
Adjustment.

        Section 1.9 OPEB Claims Notes. The New B Notes the City is required to contribute
to the Trust pursuant to the Plan of Adjustment.

       Section 1.10 Other Supporting Organization. An organization other than the City, the
Rate Stabilization Fund, or the Supporting Organization, having voluntarily contributed funds in
excess of [$500,000] to the Trust on or after the Effective Date.

        Section 1.11 Participant. An Eligible Retiree Member or Eligible Dependent who is
entitled to health care benefits pursuant to the terms of the Plan.

        Section 1.12 Plan. The Health Care Plan for Retirees of the City of Detroit, to be
adopted and thereafter amended from time to time by the Board, as specified herein, and which
will provide health care benefits permitted to be provided by a VEBA under Code section
501(c)(9).

        Section 1.13 Plan of Adjustment. The Plan for the Adjustment of Debts of the City of
Detroit.



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        Section 1.14 Rate Stabilization Fund. The Rate Stabilization Reserves Fund maintained
under the control of the Governing Board of the City of Detroit Employee Benefits Plan
established pursuant to Title 9, Chapter VIII of the Charter of the City of Detroit for the
exclusive purpose of providing hospital, surgical, and death benefits for current or former
employees of the City.

        Section 1.15 Supporting Organization. The Foundation for Detroit’s Future, a not for
profit that is created to collect certain contributions and make an annual contribution to an
escrow account as described in Section 3.2, or the successor to such not for profit. The
Supporting Organization was created to receive funds from organizations, including those listed
in Exhibit B, and allocate such funds, in the amounts described in Exhibit B, to, among other
entities, this Trust Fund.

        Section 1.16 Trust Agreement. This agreement as it may be amended thereafter from
time to time by the parties hereto in accordance with the terms hereof.

       Section 1.17 Trust or Trust Fund. The City of Detroit Police and Fire Retiree Health
Care Trust established by this Trust Agreement, comprising all property or interests in property
held by the Bank from time to time under this Trust Agreement.

                                        ARTICLE II
                                 ESTABLISHMENT OF TRUST

       Section 2.1 Purpose. The Trust is established for the purpose of providing life,
sickness, accident, and other similar benefits, directly, through the purchase of insurance, or by
reimbursement of expenses, to the Participants in accordance with the Plan and consistent with
Section 501(c)(9) of the Code and the regulations and other guidance promulgated thereunder.
The Trust, together with the Plan, is intended to constitute a VEBA under Section 501(c)(9) of
the Code.

        Section 2.2 Receipt of Funds. The Bank shall accept all sums of money and other
property contributed to the Trust pursuant to Article III. The Bank shall hold, manage and
administer the Trust Fund without distinction between principal and income. The Bank shall be
accountable for the contributions or transfers it receives, but shall not be responsible for the
collection of any contributions or transfers to the Trust or enforcement of the terms of the OPEB
Claims Notes.

        Section 2.3 Inurement and Reversion Prohibited. At no time shall any part of the
principal or income of the Trust Fund be used for, or diverted to, any purpose other than
sponsoring, operating and administering the Plan and Trust to provide benefits that are permitted
under Code section 501(c)(9) to Participants. Nothing in this Trust Agreement shall be
construed in such a way as to prohibit the use of assets of the Trust Fund to pay reasonable fees
and other expenses and obligations incurred in maintaining, administering and investing the
Trust Fund or in sponsoring, administering and operating the Plan in accordance with the
provisions of this Trust Agreement. At no time shall any part of the net earnings inure to the
benefit of any individual other than through the provision of benefits as permitted under Code
section 501(c)(9) and the regulations promulgated thereunder. In no event will the assets held in
the Trust Fund revert to Detroit. Upon termination of the Trust Fund, any assets remaining upon
satisfaction of all liabilities to existing Participants shall be applied, either directly or through the
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purchase of insurance, to provide life, sick accident or other permissible benefits under Code
section 501(c)(9) and the rules and regulations promulgated thereunder, pursuant to criteria
consistent with such rules and regulations.

        Section 2.4 No Guarantee. Nothing contained in the Trust or the Plan shall constitute
a guarantee that the assets of the Trust Fund will be sufficient to pay any benefit to any person or
make any other payment. The obligation of the Plan to pay any benefit provided under the Plan
is expressly conditioned on the availability of cash in the Trust to pay the benefit, and no plan
fiduciary or any other person shall be required to liquidate the OPEB Claims Notes or any other
Plan asset in order to generate cash to pay benefits. Detroit shall not have any obligation to
contribute any amount to the Trust except as provided in Article III. Except for payments of
benefits under the Plan, no Participant shall receive any distribution of cash or other thing of
current or exchangeable value, either from the Board or the Bank, on account of or as a result of
the Trust Fund created hereunder.

        Section 2.5 No Interest. Detroit shall not have any legal or equitable interest in the
assets of the Trust Fund at any time, including following the termination of the Trust.

                                   ARTICLE III
                         CONTRIBUTIONS TO THE TRUST FUND

       Section 3.1 Detroit Contributions. The Bank will accept the City's contribution of the
OPEB Claims Notes to the Trust Fund pursuant to the Plan of Adjustment. Apart from the
contribution of the OPEB Claims Notes, contributions to the Trust Fund made within sixty (60)
days of the Effective Date by the Rate Stabilization Fund in the amount of $[1.5] million, or
from Other Supporting Organizations, and as otherwise provided in Section 3.2, Detroit shall
have no further obligation to contribute to the Trust or otherwise fund the Plan.

        Section 3.2 Other Contributions. The Bank will accept other contributions to the Trust
Fund from Participants, from funds held in escrow by an escrow agent on behalf of the City that
are received from the Supporting Organization, or from Other Supporting Organizations whether
or not contributed through an escrow on behalf of the City.

                                    ARTICLE IV
                           PAYMENTS FROM THE TRUST FUND

       Section 4.1     Payments from the Trust Fund.

               (a)     Subject to paragraph (b) below, the Bank shall make payments from the
Trust Fund to provide, directly or through the purchase of insurance, benefits under the Plan as
directed by the Board.

                (b)      To the extent permitted by law, the Bank shall be fully protected in
making payments out of the Trust Fund, and shall have no responsibility to see to the application
of such payments or to ascertain whether such payments comply with the terms of the Plan, and
shall not be liable for any payment made by it in good faith and in the exercise of reasonable care
without actual notice or knowledge of the impropriety of such payments hereunder. The Bank
may withhold all or any part of any payment as the Bank in the exercise of its reasonable
discretion may deem proper, to protect the Bank and the Trust against any liability or claim on
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account of any income or other tax whatsoever; and with all or any part of any such payment so
withheld, may discharge any such liability. Any part of any such payment so withheld by the
Bank that may be determined by the Bank to be in excess of any such liability will upon such
determination by the Bank be paid to the person or entity from whom or which it was withheld.

        Section 4.2 Method of Payments. The Bank may make any payment required to be
made by it hereunder, unless directed otherwise by the Board, by direct electronic deposit of the
amount thereof to the financial institution where the person or entity to whom or to which such
payment is to be made maintains an account, or by mailing a check in the amount thereof by first
class mail in a sealed envelope addressed to such person or entity to whom or to which such
payment is to be made, according to the direction of the Board. If any dispute arises as to the
identity or rights of persons who may be entitled to benefits hereunder, the Bank may withhold
payment until such dispute is resolved by a court of competent jurisdiction or, at the discretion of
the Board pursuant to written instructions.

        Section 4.3 Excessive Payments. If the payment of any benefit under the Plan is
determined to have been excessive or improper, and the recipient thereof fails to make
repayment to the Bank or an administrator chosen by the Board of such excessive or improper
payment upon the Bank’s or administrator’s request, the Bank shall deduct the amount of such
excessive or improper payment from any other benefits thereafter payable to such person. Until
repaid to the Bank or Bank’s agent, the amount of said excessive or improper payment shall not
be included in any report by the auditor, the Bank, or the administrator as an asset of the Plan or
the Trust Fund.

                                       ARTICLE V
                                BANK POWERS AND DUTIES

        Section 5.1 Powers of the Bank Generally. The Bank has whatever powers are
required to discharge its obligations and to accomplish any of the purposes of this Trust
Agreement, including (but not limited to) the powers specified in the following Sections of this
Article, and the powers and authority granted to the Bank under other provisions of this Trust
Agreement. The enumeration of any power herein shall not be by way of limitation, but shall be
cumulative and construed as full and complete power in favor of the Bank.

      Section 5.2 Powers Exercisable by the Bank in Its Discretion. The Bank is authorized
and empowered to exercise the following powers at its discretion in satisfaction of the duties
imposed on it under this Trust Agreement:

               (a)     To place securities orders, settle securities trades, hold securities in
custody, deposit securities with custodians or securities clearing corporations or depositories or
similar organizations, and other related activities as shall be necessary and appropriate in
performing its duties under this Trust Agreement. Any indicia of ownership of any Trust Fund
assets, however, shall not be maintained outside the jurisdiction of the district courts of the
United States. Trades and related activities conducted through a broker shall be subject to
reasonable fees and commissions established by the broker, which may be paid from the Trust
Fund or netted from the proceeds of trades.



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                (b)   To make, execute, acknowledge and deliver any and all documents of
transfer and conveyance and any and all other instruments that may be necessary or appropriate
to carry out the powers herein granted.

                (c)     To cause any investment in the Trust Fund to be registered in, or
transferred into, its name as the institutional trustee or the name of its nominee or nominees, or to
retain such investments unregistered in a form permitting transfer by delivery, but the books and
records of the Bank shall at all times show that all such investments are part of the Trust Fund,
and the Bank shall be fully responsible for any misappropriation in respect of any investment
held by its nominee or held in unregistered form and shall cause the indicia of ownership to be
maintained within the jurisdiction of the district courts of the United States.

               (d)     To deliver to the Board, or the person or persons identified by the Board,
on a timely basis as required under Section 5.5, proxies and powers of attorney and related
informational material, for any shares or other property held in the Trust.

        Section 5.3 Powers Exercisable by the Bank Only Upon the Direction of the Board.
The Bank shall exercise the following powers only upon the direction of the Board (or, in the
case of subparagraphs (a) and (b)), a duly appointed Investment Manager who has been
conferred such power by the Board):

                (a)   To receive, hold, invest and reinvest Trust Fund assets and income under
provisions of law from time to time existing and in accordance with Article IX.

               (b)     To exercise or abstain from exercising any option, privilege or right
attaching to any Trust Fund assets.

              (c)     To make payments from the Trust Fund for the provision of benefits in
accordance with Article IV and for the payment of expenses as provided in Section 5.8.

               (d)     To employ suitable agents and depositaries (domestic or foreign), public
accountants, brokers, custodians, ancillary trustees, appraisers, enrolled actuaries, and legal
counsel as shall be reasonably necessary and appropriate to fulfill its obligations under this Trust
Agreement and to comply with the lawful instructions of the Board, and to pay their reasonable
expenses and compensation.

                (e)    To pay any income or other tax or estimated tax, charge or assessment
attributable to any property or benefit out of such property or benefit in its sole discretion, or any
tax on unrelated business income of the Trust, if any, out of the Trust Fund.

               (f)    To vote, in person or by general or limited proxy, at any election of any
corporation in which the Trust Fund is invested, and similarly to exercise, personally or by a
general or limited power of attorney, any right appurtenant to any investment held in the Trust
Fund.

               (g)     To accept, compromise or otherwise settle any obligations or liability due
to or from them as the Bank hereunder, including any claim that may be asserted for taxes,
assessments or penalties under present or future laws, or to enforce or contest the same by
appropriate legal proceedings.
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                (h)     To act as the sole trustee in the event that the Board, by reason of death,
resignation, or failure to appoint successor Individual Trustees, has fewer than three (3)
members.

         Section 5.4 Title to Trust Fund. All rights, title and interest in and to the Trust Fund
shall at all times be vested exclusively in the Bank or any institutional successor trustee under
this Trust Agreement.

       Section 5.5     General Duties and Obligations of Bank.

               (a)    In accordance with Article II, the Bank shall hold all property received by
it and any income and gains thereupon. In accordance with this Article and Article IX, the Bank
shall manage, invest and reinvest the Trust Fund following the directions of the Board or a duly
appointed Investment Manager (who has been conferred such power by the Board), shall collect
the income therefrom, and shall make payments or disbursements as directed by the Board.

                (b)     Subject to the provisions of Articles VII and X, the Bank shall comply
with any directive issued by the Board to withdraw and transfer all or any part of the Trust Fund
to another institutional trustee, custodian or a funding agent.

                 (c)      The Board shall have responsibility for directing the Bank as to the voting
(by proxy or in person) of any shares or other property held in the Trust. Accordingly, the Bank
shall deliver to the Board (or the person or persons identified by the Board), on a timely basis,
proxies, powers of attorney and related informational material that are necessary for the Board to
fulfill its responsibility.

                      The Bank may use agents to effect such delivery to the Board (or the
person or persons identified by the Board).

               (d)     The Bank shall discharge its duties in the interests of Participants and for
the exclusive purpose of providing benefits to Participants and defraying reasonable expenses of
administering the Trust and the Plan and shall act with the care, skill, prudence and diligence
under the circumstances then prevailing that a prudent person acting in like capacity and familiar
with such matters would use in conduct of an enterprise of like character and with like aims. The
Bank will be under no liability or obligation to anyone with respect to any failure of the Board to
perform any of its obligations under the Plan or Trust Agreement or for any error or omission of
the Board.

       Section 5.6 Determination of Rights. The Bank shall have no power, authority, or
duty hereunder in respect to the determination of the eligibility of any person to coverage under
the Plan, or the entitlement of any person to any benefit payments under the Plan.

        Section 5.7 Continuance of Plan; Availability of Funds. Neither the Board, the Bank
nor Detroit assumes any contractual obligation as to the continuance of the Plan and shall not be
responsible for the adequacy of the Trust Fund to meet and discharge any liabilities under the
Plan, and the Bank’s obligation to make any payment shall be limited to amounts held in the
Trust Fund at the time of the payment.



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        Section 5.8 Payment of Expenses. The Bank shall apply the assets of the Trust Fund
to pay all reasonable costs, charges, and expenses (including, but not limited to, all brokerage
fees and transfer tax expenses and other expenses incurred in connection with the sale or
purchase of investments, all real and personal property taxes, income taxes and other taxes of
any kind at any time levied or assessed under any present or future law upon, or with respect to,
the Trust Fund or any property included in the Trust Fund and all legal, actuarial, accounting and
financial advisory expenses) reasonably incurred by the Bank or the Board in connection with
establishing, sponsoring, administering or operating the Trust or Plan. The Board shall by written
certificate provided to the Bank request payment for any expenses related to the administration
of the Trust and/or the Plan. Upon receipt of the written certificate, the Bank may make the
payment requested by the Board. The expenses of the Bank shall constitute a lien on the Trust
Fund.

        Section 5.9 Bank Compensation. The Bank will apply the assets of the Trust Fund to
pay its own fees in the amounts and on the dates set forth in Exhibit A. The Bank’s
compensation shall constitute a lien on the Trust Fund.

        Section 5.10 Reliance on Written Instruments. The Bank shall be fully protected in
acting upon any instrument, certificate or paper believed by it to be genuine and to be signed or
presented by a duly authorized person or persons, and shall be under no duty to make any
investigation or inquiry as to any statement contained in any such writing, but may accept the
same as conclusive evidence of the truth and accuracy of the statements therein contained.

                                         ARTICLE VI
                                       BANK ACCOUNTS

        Section 6.1 Records. The Bank shall maintain accurate and detailed records and
accounts of all investments, receipts, disbursements, and other transactions with respect to the
Trust, and all accounts, books and records relating thereto shall be open at all reasonable times to
inspection and audit by the Board or such person or persons as the Board may designate.

        Section 6.2 Annual Audit. The Trust Fund shall be audited annually by a firm of
certified public accountants independent of the Bank, the members of the Board, and the City,
and a statement of the results of such audit shall be provided to the Bank and the Board and also
made available for inspection by interested persons at the principal office of the Trust. Such
audit must be completed no later than 120 days after the expiration of the calendar year, or after
expiration of the fiscal year if the Trust Fund is on a fiscal year other than a calendar year. The
Board shall provide a copy of this statement to the Supporting Organization and any Other
Supporting Organization no later than the May 15th immediately succeeding the last day of the
year covered by such audited financial statements.

        Section 6.3 No Interest by Participants. In no event shall any Participant or
beneficiary have any interest in any specific asset of the Trust Fund. At no time shall any
account or separate fund be considered a savings account or investment or asset of any particular
Participant, beneficiary, or class of Participants or beneficiaries, and no Participant or beneficiary
shall have any right to any particular asset which the Board or Bank may have allocated to any
account or separate fund for accounting purposes.


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        Section 6.4 Furnishing Written Accounts. The Bank shall file with the Board a
written account setting forth a description of all securities and other property purchased and sold,
and all receipts, disbursements, and other transactions effected by it during the accounting period
to which the Board and the Bank have agreed, and showing the securities and other properties
held, and their fair market values at such times and as of such dates as may be agreed by the
Board and the Bank in writing. Such written account shall be filed with the Board within thirty
(30) days after the close of each calendar quarter.

        Section 6.5 Accounting Year, Cash Basis. The accounting year of the Trust shall be
the calendar year. All accounts of the Bank shall be kept on a cash basis.

        Section 6.6 Judicial Proceedings. If the Bank and the Board cannot agree with respect
to any act or transaction reported in any statement, the Bank shall have the right to have its
accounts settled by judicial proceedings in which only the Bank and the Board shall be necessary
parties. No Participant shall have any right to compel an accounting, judicial or otherwise, by
the Bank.

                                      ARTICLE VII
                                PROCEDURES FOR THE BANK

         Section 7.1 Removal. The Bank may be removed by the Board at any time upon thirty
(30) days’ advance written notice. Such removal shall be effective on the date specified in such
written notice, provided that notice has been given to the Bank of the appointment of a successor
institutional trustee or custodian in the manner set forth in Section 7.3 below.

         Section 7.2 Resignation. The Bank may resign by filing with the Board a written
resignation that shall take effect ninety (90) days after the date of such filing, unless prior thereto
a successor institutional trustee or custodian has been appointed by the Board. In no event may
the Bank’s resignation take effect before a successor institutional trustee or custodian has been
appointed by the Board and such successor trustee has accepted the appointment. If the Board
fails to appoint a successor institutional trustee or custodian, the retiring Bank may seek the
appointment of a successor entity in the manner set forth in Section 7.3.

       Section 7.3     Successor Bank.

                (a)    The Board may appoint a successor institutional trustee or custodian by
delivering to such successor an instrument in writing, executed by an authorized representative
of the Board, appointing such successor entity, and by delivering to the removed or resigning
Bank an acceptance in writing, executed by the successor so appointed. Such appointment shall
take effect upon the date specified in Section 7.1 or 7.2 above, as applicable.

                (b)    Alternatively, the Board may appoint a successor institutional trustee or
custodian by securing from such successor an amendment to this Trust Agreement, executed by
both the successor and an authorized representative of the Board, which replaces the current
Bank with the successor institutional trustee or custodian, appointing such successor institutional
trustee or custodian, and by delivering to the removed or resigning Bank an executed copy of the
amendment. Such appointment shall take effect upon the date specified in the amendment.


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                 (c)     If no appointment of a successor institutional trustee or custodian is made
by the Board within a reasonable time after such resignation, removal or other event, any court of
competent jurisdiction may, upon application by the retiring Bank, appoint a successor
institutional trustee or custodian after such notice to the Board and the retiring Bank, as such
court may deem suitable and proper.

        Section 7.4 Effect of Removal or Resignation of Bank. Upon the removal or
resignation of the Bank in accordance with Section 7.1 or 7.2 above, the Bank shall be fully
discharged from further duty or responsibility under this Trust Agreement to the extent permitted
by law.

        Section 7.5 Merger or Consolidation of the Bank. Any corporation continuing as the
result of any merger or resulting from any consolidation, to which merger or consolidation the
Bank is a party, or any corporation to which substantially all the business and assets of the Bank
may be transferred, will be deemed to be continuing as the Bank.

                            ARTICLE VIII
      COMPOSITION OF AND PROCEDURES FOR THE BOARD OF TRUSTEES

        Section 8.1 Number and Appointment of Members. The Board of Trustees shall
consist of seven (7) Individual Trustees as voting members and for the first four (4) years, one
(1) non-voting, ex-officio member, who are selected as provided below.

                (a)    The Mayor of Detroit shall appoint one (1) voting member, who may not
be an employee or employed by an affiliate of the City (for such purposes, a contractor of the
City shall not be deemed an affiliate), or of any labor union representing employees of the City,
or a member of any such labor union, or a Participant. Such member shall have expert
knowledge or extensive experience with respect to economics, finance, institutional investments,
administration of public or private health and welfare benefit plans, executive management,
benefits administration or actuarial science. The Board member selected by the Mayor to begin
serving as of the Effective Date shall be Floyd Allen.

                (b)     The remaining six (6) voting members shall be appointed as follows:
three (3) such voting members shall initially be designated by the Official Committee of Retirees
of the City of Detroit, Michigan, and three (3) such voting members shall initially be designated
by the Retired Detroit Police and Fire Fighters Association. The members initially selected by
the Official Committee of Retirees of the City of Detroit, Michigan shall be: Gregory Best, John
Clark, and Thomas Sheehan. The members initially selected by the Retired Detroit Police and
Fire Fighters Association shall be: Allan Grant, Greg Trozak, and Andrew Dillon.

               (c)      The Retired Detroit Police Members Association shall appoint one (1)
non-voting, ex-officio member who shall initially be: Shirley Berger. The non-voting member
may attend any meeting of the Board, provide whatever opinion and recommendations he or she
deems warranted, and receive all written product received by the full Board. To the extent the
Board appoints any committee or subcommittee, such non-voting member is also eligible to be
appointed, in the full voting Board’s discretion, as an ex-officio member of such
committee/subcommittee, but if appointed would not vote as a committee/subcommittee
member.

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                       Each voting Board member shall acknowledge his or her appointment and
acceptance of the duties and responsibilities set forth in this Trust Agreement in writing.

        Section 8.2 Term of Office. Each member of the Board shall serve a period of four (4)
years, or if earlier, until his or her death, incapacity to serve hereunder, or resignation. A voting
Board member whose term has ended due to the passage of time may be reappointed to serve an
additional four (4) year term pursuant to the procedures set forth in Section 8.4 below.

        Section 8.3 Resignation. A Board member may resign, and shall be fully discharged
from further duty or responsibility under this Trust Agreement to the extent permitted by law, by
giving at least ninety (90) days’ advance written notice to the Board (and in the case of a Board
member selected by the Mayor, to the Mayor; and in the case of a Board member selected by the
Official Committee of Retirees or the Retired Detroit Police and Fire Fighters Association, to the
Retired Detroit Police and Fire Fighters Association), which notice shall state the date when such
resignation shall take effect, which notice or time period may be waived by the Board.

       Section 8.4 Vacancies. In the event of a vacancy, either by resignation, death,
incapacity, expiration of term of office, or other reasons, the replacement Board member shall be
appointed as provided below.

              (a)      In the event of a vacancy of the seat previously filled by the appointee of
the Mayor of Detroit, the replacement Board member shall be appointed as provided in Section
8.1(a).

             (b)     In the event of a vacancy of a seat previously filled by an appointee of the
Official Committee of Retirees or the Retired Detroit Police and Fire Fighters Association, the
replacement Board member shall be appointed by the Retired Detroit Police and Fire Fighters
Association.

                 (c)   In the event of a vacancy of the non-voting, ex-officio seat previously
filled by the appointee of the Retired Detroit Police Members Association, the replacement
Board member shall be appointed by the Retired Detroit Police Members Association; provided,
however, that such seat shall terminate on December 31, 2018, and in no event shall a vacancy in
this seat after December 31, 2018 be filled.

        Section 8.5 Fees and Expenses. Voting Board members shall each be paid a stipend.
For the 2015 and 2016 calendar year, this stipend shall be in the amount of $12,000 per year
(payable ratably on a monthly basis). Beginning with the 2017 calendar year and for each year
thereafter, this stipend shall be in the amount of $6,000 per year (payable ratably on a monthly
basis); provided, however, that the Board, by a vote of not less than six (6) out of seven (7)
voting Board members, shall have the power to provide for a different amount for the stipend;
and provided, further, that in no event shall such annual stipend exceed $12,000. The ex-officio
member appointed by the Retired Detroit Police Members Association shall be paid a stipend of
$4,800 per year (payable ratably on a monthly basis) for the 2015 and 2016 calendar years, and
shall be paid an amount equal to 50% of the stipend of a voting Board member for the 2017 and
2018 calendar years. Each voting Board member may be reimbursed for reasonable expenses
properly and actually incurred in the performance of his or her duties, and in the case of the non-
voting member, he or she may be reimbursed for reasonable expenses properly and actually

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incurred in connection with attendance at Board or Board committee meetings. Compensation
payable to the Board members and all reimbursed expenses shall be payable out of the Trust.

        Section 8.6 Operation of the Board; Quorum. The Board shall select from among its
members a chair and a vice chair. The Board shall hold regular meetings, and shall designate the
time and place thereof in advance. The Board shall adopt its own rules of procedure and shall
keep a record of proceedings. Each Board member shall be entitled to one vote on each question
before the Board. Five (5) voting members shall constitute a quorum at any meeting. Except as
provided in Section 8.5 and Article X, a majority vote of the seven (7) voting members of the
Board at a meeting in which a quorum exists shall be necessary for a decision by the Board.
Notwithstanding the foregoing, the voting members of the Board may act by unanimous written
consent in lieu of a meeting.

                                 ARTICLE IX
                 POWERS AND DUTIES OF THE BOARD OF TRUSTEES

        Section 9.1 General. The Board shall be responsible for designing, adopting,
maintaining and administering the Plan, as well as administering the Trust and managing the
Trust assets as provided herein. Subject to the provisions of this Trust Agreement, the Plan
documents and applicable laws, the Board shall have sole, absolute and discretionary authority to
adopt such rules and regulations and take all actions that it deems desirable for the administration
of the Plan and Trust, and to interpret the terms of the Plan and Trust. The decisions of the
Board will be final and binding on all Participants and all other parties to the maximum extent
allowed by law. In performing its duties hereunder, the voting members of the Board shall
comply with the terms of the Trust, and shall discharge their duties for the exclusive purposes of
providing benefits to participants and beneficiaries of the Plan and Trust and defraying
reasonable expenses of the Plan and Trust, and with the care, skill, prudence, and diligence then
prevailing that a prudent person acting in a like capacity – and familiar with such matters –
would use in the conduct of an enterprise of like character and with like aims.

       Section 9.2     Plan Design and Administration.

                (a)     Adoption of Plan. The Board shall adopt a Plan to offer life, sickness,
accident or other similar benefits to Participants. All terms of the Plan shall be determined by
the Board; provided that such terms shall be consistent with this Trust Agreement, Code section
501(c)(9) and the regulations promulgated thereunder. The Board shall be under no obligation to
design the Plan to assure that the assets of the Trust Fund are sufficient to provide benefits to all
potential Participants of the Plan in subsequent years.

                (b)     Benefits. The Plan shall include benefits and any other features including,
without limitation, premium-sharing or other cost-sharing or reimbursements, that the Board
from time to time determines appropriate or desirable in its sole discretion. The Plan may
provide for different benefit structures or programs for different groups of Participants, as
determined by the Board in its sole discretion. In designing the Plan and the benefits to be
provided thereunder, the Board may take into account relevant circumstances, including, without
limitation, the degree to which Participants may have alternative resources or coverage sources,
as well as the resources of the Trust Fund. Benefits provided under the Plan shall be limited to
those health care benefits permitted by Code Section 501(c)(9), and any Plan eligibility

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restrictions established by the Board shall conform with the requirements set forth in Treasury
Regulation Section 1.501(c)(9)-2.

                (c)     Method of Providing Benefits. Benefits under the Plan may be fully
insured, partially insured or self-insured, as determined by the Board from time to time in its sole
discretion. The expected cost of benefits under the Plan shall not exceed the amount expected to
be available under the Trust.

               (d)     Plan Documentation. The Board shall be responsible for creating,
adopting and/or executing any documents necessary to set forth the Plan’s governing terms, and
shall be responsible for communicating the terms of the Plan to the Eligible Retiree Members
and Eligible Dependents in accordance with applicable law.

        Section 9.3 Investment of the Trust. The Board, with the same care, skill, prudence,
and diligence under the circumstances then prevailing that a prudent person acting in a similar
capacity and familiar with those matters would use in the conduct of a similar enterprise with
similar means, shall have full power and authority to manage, control, invest and reinvest the
money and other assets of the Trust Fund, and the Bank shall comply with the proper written
direction of the Board concerning those assets. The Board may employ outside advisors,
including investment advisors, to advise it with regard to the investment of the assets of the Trust
Fund. Any outside advisors shall acknowledge a fiduciary relationship to the Board and the
Trust Fund.

       In investing and managing the assets of the Trust, the Board:

shall consider among other circumstances: the general economic conditions; the possible effect
of inflation or deflation; the role that each investment or course of action plays within the overall
portfolio; the expected total return from income and the appreciation of capital; needs for
liquidity, regularity of income, and preservation or appreciation of capital; and the adequacy of
funding for the plan based on reasonable actuarial factors;

               (b)    shall diversify the investments of the Trust unless the Board reasonably
determines that because of special circumstances, it is clearly prudent not to do so;

            (c)     shall make a reasonable effort to verify facts relevant to the investment
and management of assets of the Trust; and

                (d)    may consider benefits created by an investment in addition to investment
return only if the Board determines that the investment providing these collateral benefits would
be prudent even without the collateral benefits.

        Section 9.4 Appointment of Investment Managers. The Board, from time to time, may
appoint one or more independent Investment Managers, pursuant to a written investment
management agreement describing the powers and duties of the Investment Manager, to direct
the investment and reinvestment of all or a portion of the Trust (hereinafter referred to as an
“Investment Account”). The Board shall determine that each Investment Manager is a fiduciary
to the Board and Trust with demonstrated expertise in the type of investments authorized by the
Board and, is entitled (under its investment management agreement) to direct the investment and
reinvestment of the Investment Account for which it is responsible, in its sole and independent
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discretion and without limitation, except for any limitations which from time to time the Board
determines shall modify the scope of such authority. If an Investment Manager is appointed, it
shall have the authority of the Bank specified in Section 5.1 hereof with respect to the
Investment Account over which it has investment discretion and the Bank’s duties with respect
to such Investment Account shall be limited to following the instructions of the Investment
Manager. Provided that an Investment Manager is prudently selected and monitored by the
Board, the Board shall have no liability (a) for the acts or omissions of such Investment
Manager; (b) for following directions of such Investment Manager which are given in
accordance with this Trust Agreement; or (c) for any loss of any kind which may result by reason
of the manner of division of the Trust into Investment Accounts.

        Section 9.5 Government Reports and Returns. The Board shall file all reports and
returns that are required to be made with respect to the Trust and the Plan.

        Section 9.6 Compromise or Settle Claims. The Board may compromise, settle and
release claims or demands in favor of or against the Trust or the Board on such terms and
conditions as the Board may deem advisable. The Board may at all times rely upon the advice of
independent counsel in reaching such decisions.

        Section 9.7 Appointment of Administrator. The Board may appoint one or more third
parties to perform any administrative functions it has with regard to the Trust or Plan.

        Section 9.8 Employment of Assistance. The Board has the exclusive authority to
employ, contract and pay for all professional services including, but not limited to, actuarial,
investment, legal, accounting, medical, and any other services that the Board considers necessary
for the proper operation and administration of the Plan and Trust. The powers granted to the
Board in this subparagraph include complete control of the procurement process, including
contracts for office space, computer hardware and software, and human resource services. In
accordance with the provisions of Section 5.3 hereof, the Board may direct the Bank to pay
reasonable compensation therefor from the Trust Fund. The Board may take or may refrain from
taking any action in accordance with or reliance upon the opinion of counsel or such expert
advisors.

        Section 9.9 Reliance on Written Instruments. The Board shall be fully protected in
acting upon any instrument, certificate or paper believed by him or her to be genuine and to be
signed or presented by a duly authorized person or persons, and shall be under no duty to make
any investigation or inquiry as to any statement contained in any such writing, but may accept
the same as conclusive evidence of the truth and accuracy of the statements therein contained.

        Section 9.10 No Individual Liability on Contracts. The Board shall not be liable
personally for any debts, obligations, or undertakings contracted by them, or for the breach of
any contracts. Such claims and obligations shall be paid out of the Trust; provided, however,
that neither the Board nor any of its members shall be exempt from personal liability for willful
misconduct, intentional wrongdoing, breach of applicable fiduciary duty, negligence, or fraud,
and the Trust shall not indemnify the Board for such liabilities to the extent that such
indemnification would violate the provisions of Section 9.13 herein, or to the extent that
application of this sentence would violate any law.


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        Section 9.11 Detroit Not Liable for Conduct of Board. The Board is not in its capacity
as Board an officer, agent, employee, or representative of Detroit. In its capacity as Board, the
Board is a principal acting independently of Detroit, which shall not be liable for any act,
omission, contract, obligation, liability, debt, or undertaking of the Board or its officers, agents,
or representatives.

        Section 9.12 Liability Insurance. The Board shall obtain and keep current a policy or
policies of insurance, insuring the members of the Board from and against any and all liabilities,
costs and expenses incurred by such persons as a result of any act, or omission to act, in
connection with the performance of their duties, responsibilities and obligations under this Trust
Agreement or the Plan. To the extent permitted by applicable law, the premiums on such
policies may be paid from the Trust Fund.

       Section 9.13 Reimbursement for Defense of Claims.

                 (a)    To the extent permitted by applicable law, and not otherwise covered by
liability insurance purchased by the Trust (without regard to any non-recourse rider purchased by
the insured), the Board, its individual trustees, employees of the Board and persons acting on the
Board’s behalf pursuant to an express written delegation to the extent such written delegation
provides for indemnification (each separately, the “Indemnified Party”) shall be indemnified and
held harmless by the Trust Fund for all reasonable costs and expenses, including without
limitation attorney’s fees, judgments, settlements, liabilities, fines, or penalties, incurred or
suffered in defense of any claim demand, cause of action or administrative proceeding that seeks
to hold the Indemnified Party personally liable for any loss to the Plan or Trust Fund or for
damages suffered by any party to, or beneficiary of this Trust Agreement arising out of conduct
reasonably believed to be good faith acts within the scope and powers and duties of the
Indemnified Party , provided that, the Board shall have the right to approve of the retention of
any counsel whose fees would be paid by the Trust Fund, but such approval shall not be withheld
unreasonably. In the event that indemnification is made by the Trust pursuant hereto, the
Indemnified Party shall agree to reimburse the Trust for all fees, costs and expenses to the extent
that it is determined that the Indemnified Party’s acts or omissions constituted fraud, bad faith,
willful misconduct, negligence, or breach of fiduciary duty, and an independent fiduciary shall
take all reasonable steps to ensure reimbursement at the time the Trust Fund agrees to indemnify
pursuant to this Section; provided further that in the case of a final judicial determination of
negligence or breach of fiduciary duty the Indemnified Party's reimbursement obligation shall be
limited to the lesser of $50,000 or the deductible on any non-recourse commercial liability
insurance policy.

               (b)      The Board may make, execute, record and file on its own behalf and on
behalf of the Trust, all instruments and other documentation (including one or more separate
indemnification agreements between the Trust and individual Indemnified Parties) that the Board
deems necessary and appropriate in order to extend the benefit of the provisions of this Section
to any Indemnified Party.

       Section 9.14 Subrogation and Reimbursement. If the Plan is self-insured, the following
provisions regarding subrogation and third-party reimbursement will apply.



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                 (a)    If the Trust Fund pays, or is obligated to pay, any amount to or on behalf
of an individual (“Benefit Recipient”), the Trust Fund shall be subrogated as provided in this
Section 9.14 to all the Benefit Recipient’s rights of recovery with respect to the illness or injury
for which the payment of benefits is made by the Trust Fund. The right of recovery referred to in
the preceding sentence shall include the right to make a claim, sue, and recover against any
person or entity from the first dollars of any funds which are paid or payable as a result of a
personal injury claim or any reimbursement of health care expenses. If requested in writing by
the Board, the Benefit Recipient shall take, through any representative designated by the Board,
such action as may be necessary or appropriate to recover such payment from any person or
entity, said action to be taken in the name of the Benefit Recipient. In the event of a recovery or
settlement, the Trust Fund shall be reimbursed in full on a first priority basis out of such recovery
or settlement for expenses, costs, and attorneys’ fees incurred by it in connection therewith.

                 (b)     If the Trust Fund pays, or is obligated to pay, any amount to or on behalf
of a Benefit Recipient for an illness or injury, the Trust Fund shall be entitled to, and shall have a
first priority equitable lien on, the proceeds of any recovery, by judgment, settlement or
otherwise, with respect to the illness or injury, and if paid to the Benefit Recipient, the Benefit
Recipient shall immediately pay any such proceeds to the Trust Fund. If the Benefit Recipient
fails to pay such proceeds, or does not cause such proceeds to be paid, to the Trust Fund, the
Board may, in addition to any other remedy to which it may be entitled, recover the proceeds
directly or by offset against claims for benefits under the Plan and Trust made with respect to the
affected Benefit Recipient (or such Benefit Recipient’s beneficiaries, heirs, attorneys, agents,
representatives, or estate).

                (c)     The Trust Fund shall have the right of subrogation and reimbursement set
forth in this Section 9.14 regardless of whether the Benefit Recipient is made whole and
regardless of whether the recovery, or any part thereof, is designated as payment for health care
expenses, pain and suffering, loss of income or any other specified or unspecified damages or
reason, and without regard to whether recovery is designated as including or excluding the health
care expenses covered by the Plan and Trust. Any recovery by a Benefit Recipient, an attorney
or other third party shall be deemed to be for the benefit of the Plan and Trust and shall be held
in constructive trust for the Trust Fund until the Trust Fund is reimbursed in full for all amounts
paid by the Trust Fund. The subrogation and reimbursement rights of the Trust Fund described
in this Section 9.14 include all rights against, and include all rights with respect to, proceeds
from or held by any attorney, third party, insurance carrier or payer of medical benefits,
including an uninsured or under-insured motorist carrier, a no-fault carrier and a school
insurance carrier, even if such coverage was purchased by the Benefit Recipient, and without
regard to whether the proceeds have been paid or are payable.

                 (d)    By participating in the Plan, each Benefit Recipient agrees to cooperate
fully with the Plan and Trust and to execute and deliver agreements, liens and other documents
and do whatever else the Board deems necessary to enable and assist the Trust Fund in
exercising its rights under this Section 9.14, but the Trust Fund’s rights under this Section 9.14
shall be effective regardless of whether the Benefit Recipient actually signs any agreements,
liens or other documents. By participating in the Plan, each Benefit Recipient also agrees (i) that
he or she will not make or maintain any make whole, common trust fund or apportionment action
or claim in contravention of the subrogation and reimbursement provisions of this Section 9.14;
and (ii) that he or she will not oppose any proceeding by the Trust Fund to obtain reimbursement

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on procedural grounds. The Benefit Recipient, directly or through his or her representatives,
shall not do anything to impair the Trust Fund’s rights. If the Board determines that any Trust
Fund recovery rights under Section 9.14 have been impaired by any action of the Benefit
Recipient or his or her representatives or by the Benefit Recipient’s or such other person’s failure
to comply with the Benefit Recipient’s obligations under Section 9.14, the Board may, in
addition to any other remedy to which it may be entitled, determine the amount by which the
Trust Fund’s recovery rights have been impaired and recover such amount directly or by offset
against claims for benefits under the Trust Fund made with respect to the affected Benefit
Recipient.

               (e)      This Section 9.14 entitles the Trust Fund to subrogation and
reimbursement equal to the entire amount paid by the Trust Fund for the illness or injury to
which the subrogation or reimbursement relates, including related expenses, costs and attorneys’
fees, which shall be from the first dollars payable to or received by the Benefit Recipient, his
representatives, heirs, legal counsel, estate or any other third party from any settlement,
judgment or other payment, without reduction for attorneys’ fees or for any other reason. The
common fund, make-whole, apportionment or any similar doctrines shall not apply to any
amounts received. Any attorneys’ fees shall be the responsibility solely of the Benefit Recipient,
and the Trust Fund shall not pay any attorneys’ fees or costs associated with a Benefit
Recipient’s claim or lawsuit without the Board’s prior written authorization.

               (f)     The intention of this Section 9.14 is to give the Trust Fund the first right of
subrogation and reimbursement in full with respect to the first dollars paid or payable, even
though the Benefit Recipient is not made whole. Each Benefit Recipient agrees that as a
condition to receiving benefits under the Plan and from the Trust Fund, the Benefit Recipient
shall comply with the requirements of this Section 9.14.

                                  ARTICLE X
                      AMENDMENT, TERMINATION AND MERGER

        Section 10.1 Amendment. The Trust Agreement may be amended at any time in
writing by the Board, by a vote of not less than six (6) out of seven (7) voting Board members, or
by Court order upon proper motion, provided, however, that no amendment may impose a
contribution obligation on Detroit; provided further that no amendment shall in any way conflict
with the terms of the Plan of Adjustment or a Court order confirming the Plan of Adjustment;
and provided further that no amendment shall adversely affect the exempt status of the Trust or
Plan under Section 501(c)(9) of the Code. No amendment to the Trust Agreement shall modify
the responsibilities of the Bank hereunder unless the Bank has first consented to such
amendment.

       Section 10.2 Termination.

                (a)     The Trust and this Trust Agreement may be terminated at any time in
writing by action of the Board, acting by a vote of not less than six (6) out of seven (7) voting
Board members, with a copy of such written instrument to be provided to the Bank, or by Court
order upon proper motion. Upon termination of this Trust Agreement, the assets of the Trust
Fund shall be paid out at the direction of the Board in the following order of priority: (i) the
payment of reasonable and necessary administrative expenses (including taxes); (ii) the payment
of benefits to Participants entitled to payments for claims arising prior to such termination; and
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(iii) upon satisfaction of all liabilities to existing Participants, either directly or through the
purchase of insurance, to provide life, sick accident or other permissible benefits in accordance
with Code section 501(c)(9) and the rules and regulations promulgated thereunder. Neither
Detroit nor any member of the Board shall have any beneficial interest in the Trust Fund, except
to the extent an Individual Trustee is also a Participant in the Plan. Any determination by the
Board or an administrator to distribute assets of the Trust upon termination to an Individual
Trustee who is also a Participant must have the written concurrence of the Bank. The Trust Fund
shall remain in existence until all assets have been distributed.

               (b)      Upon termination, the Bank and the Board shall continue to have all of the
powers provided in this Trust Agreement as are necessary or desirable for the orderly liquidation
and distribution of the Trust Fund in accordance with the provisions hereof.

        Section 10.3 Transfer of Assets and/or Liabilities. To the extent permitted by Code
section 501(c)(9) and other applicable law, some or all of the assets and/or liabilities of the Trust
Fund may at the discretion of the Board be transferred directly to another trust for the purpose of
providing health or welfare benefits to some or all of the Participants on such terms and
conditions as the Board may determine.

                                         ARTICLE XI
                                       MISCELLANEOUS

         Section 11.1 Rights in Trust Fund. No Participant or other person shall have any right,
title or interest in the Trust Fund or any legal or equitable right against the Bank, the Board, or
Detroit, except as may be otherwise expressly provided in the Plan or in this Trust Agreement.

        Section 11.2 Non-Alienation. Except to the extent required by applicable law, the
rights or interest of any Participant to any benefits or future payments hereunder or under the
provisions of the Plan shall not be subject to attachment or garnishment or other legal process by
any creditor of any such Participant, nor shall any such Participant have any right to alienate,
anticipate, commute, pledge, encumber or assign any of the benefits or payments which he may
expect to receive, contingent or otherwise, under this Trust Agreement.

       Section 11.3 Controlling Laws. The Trust shall be construed and the terms hereof
applied according to the laws of the state of Michigan to the extent not superseded by federal
law.

       Section 11.4 Counterparts. This Trust Agreement may be executed in any number of
counterparts, each of which shall be considered as an original.

      Section 11.5 Headings. The headings and subheadings of this Trust Agreement are for
convenience of reference only and shall have no substantive effect on the provisions of this Trust
Agreement.

        Section 11.6 Notices. All notices, requests, demands and other communications under
this Trust Agreement shall be in writing and shall be deemed to have been duly given (a) on the
date of receipt if served personally or by confirmed facsimile or other similar communication;
(b) on the first business day after sending if sent for guaranteed next day delivery by Federal
Express or other next-day courier service; or (c) on the fourth business day after mailing if
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mailed to the party or parties to whom notice is to be given by registered or certified mail, return
receipt requested, postage prepaid, and properly addressed as follows:

If to the Bank:

[insert name and address]

If to the Board:

[insert 8 names and addresses]

If to the Mayor:

[insert name and address]

If to the Supporting Organization:

[insert name and address]

If to the Other Supporting Organization:

[insert name and address]

If to the Retired Detroit Police and Fire Fighters Association:

[insert name and address]

If to the Retired Detroit Police Members Association

[insert name and address]




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IN WITNESS WHEREOF, and as evidence of the establishment of the Trust created hereunder,
the parties hereto have caused this instrument to be executed as of the date above first written.

BANK

By:
       Print Name:
       Title:
       Date:

CITY OF DETROIT

By:
       Print Name:
       Title:
       Date:


INDIVIDUAL TRUSTEES

By:                                                  By:
       Name:                                                Name:
       Date:                                                Date:

By:                                                  By:
       Name:                                                Name:
       Date:                                                Date:

By:                                                  By:
       Name:                                                Name:
       Date:                                                Date:

By:
       Name:
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                                  EXHIBIT A

                              Bank Compensation




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                                       EXHIBIT B

                         Supporting Organization Funding


                       Contributing
                                               Contribution Amount
                       Organization
                 Skillman Foundation




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                       PRINCIPAL TERMS OF DIA SETTLEMENT




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                                  Term Sheet

                            For the purposes of this Term Sheet the following terms have
                            the meanings provided below:
                            CFSEM means Community Foundation for Southeast
                            Michigan.
                            City means the City of Detroit.
                            Closing means the closing of the transactions contemplated
                            herein.
                            Definitive Documentation means the definitive agreements
                            and other transaction documents to be executed and
                            delivered at Closing.
                            DIA Funders means those persons, businesses, business-
                            affiliated foundations and other foundations that are listed
                            on Exhibit C to this Term Sheet and all additional persons,
                            businesses, business-affiliated foundations and any other
                            foundations from which The DIA secures commitments to
                            contribute monies as “DIA Funders” in furtherance of the
                            transactions contemplated by this Term Sheet.
                            Foundation Funders means the foundations that are listed on
        Definitions         Exhibit B to this Term Sheet and any additional foundations
                            (other than foundations that are DIA Funders) that,
                            subsequent to the date of this Term Sheet, agree to contribute
                            monies as “Foundation Funders” in furtherance of the
                            transactions contemplated by this Term Sheet.
                            Funder means a Foundation Funder, a DIA Funder, or The
                            DIA (collectively, the “Funders”).
                            Museum means the museum that is commonly referred to as
                            the Detroit Institute of Arts.
                            Museum Assets means the Museum art collection, operating
                            assets, buildings, parking lots and structures, and any other
                            assets having title vested in the City that are used primarily
                            in servicing the Museum, including those covered by the
                            1997 Operating Agreement between the City and The DIA
                            (the “Operating Agreement”) all as more particularly
                            described on Exhibit A to this Term Sheet.
                            Payment Amount means at least $815 million without
                            interest and, to the extent applicable, reduced by any Present
                            Value Discount.




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                             Payment Period means the twenty year period commencing
                             on and immediately following the date of the Closing.
                             State means the State of Michigan.
                             Supporting Organization means the Foundation for
                             Detroit’s Future, a Michigan nonprofit corporation, which is
                             a supporting organization of CFSEM, which was established
                             to accommodate the contribution and payment of monies
                             from the Funders, as contemplated under this Term Sheet,
                             and will obtain 501(c)(3) status prior to the Closing.
                             The DIA means The Detroit Institute of Arts, a Michigan not-
                             for-profit corporation.
                             Tri-Counties means the Counties of Macomb, Oakland and
                             Wayne, all in the State.
                             Other capitalized terms are defined elsewhere in this Term
                             Sheet.

                             The consummation of the transactions contemplated in this
                             Term Sheet shall be in full and final settlement of all disputes
                             relating to the rights of the City, the Police and Fire
                             Retirement System and the General Retirement System for
    Scope of Settlement      the City (collectively, the “Pensions”), The DIA, and the State
                             with respect to the Museum, including the Museum Assets.
                             Disputes held by other of the City’s creditors pertaining to
                             the foregoing subject matter shall be resolved by
                             confirmation of the Plan of Adjustment (defined below).

                             This Term Sheet proposes a settlement of disputed factual
                             and legal issues. Nothing in this Term Sheet constitutes an
                             admission as to any factual or legal issue or a waiver of any
    Reservation of Rights    claim or defense, and all rights of the City, The DIA, the
                             Funders and all other parties in the City’s bankruptcy case
                             regarding the Museum and the Museum Assets are fully
                             preserved until the Closing.

                             As a result of this settlement, at Closing, all right, title and
                             interest in and to the Museum Assets shall be conveyed to
                             The DIA to be held in perpetual charitable trust for the
Treatment of Museum Assets   benefit of the people of the City and the State, including the
                             citizens of the Tri-Counties, permanently free and clear of all
                             liens, encumbrances, claims and interests of the City and its
                             creditors (the “Transfer”).




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                            All commitments of the Funders shall, subject to the terms
                            and conditions of this Term Sheet and the Definitive
                            Documentation, be the irrevocable, authorized, valid and
                            binding commitments by the Funders, enforceable against
                            such Funders, except that the commitment of The DIA as to
                            any DIA Deficiency will be subject to its right of substitution
                            as discussed in “DIA Commitment Regarding Funding” below.
                            Exhibit B and Exhibit C, as applicable, set forth the
                            commitment amount and, to the extent known prior to the
                            date of this Term Sheet, the payment schedule for each
                            Funder. Prior to execution of the Definitive Documentation,
                            each Funder with respect to which the payment schedule was
                            not known as of the date of this Term Sheet (unless such
                            party becomes a “Funder” only after the date of the
                            Definitive Documentation) shall agree to a payment
                            schedule. Each Funder shall have the right to prepay its
                            commitment in whole or in part at any time without penalty
                            and no interest will be owed on any Funder’s payments.
                            All payments by the Funders shall be made as set forth in
                            “Payment Mechanism” of this Term Sheet. (The mechanics,
                            timing and terms of all payments by the State shall be
   Funding Commitments      determined between the State and the City.)
                            The parties acknowledge that Funder payments are
                            conditioned on the City meeting certain conditions both
                            initially and on a continuing basis. See “Conditions to Future
                            Funding Obligations” of this Term Sheet. Failure of the City to
                            meet those conditions in any material respect may result in
                            the delay of a scheduled payment by the Funders to the
                            Supporting Organization and a delay of a scheduled
                            payment by the Supporting Organization to the City until (i)
                            all material requisite conditions for that payment are met; or
                            (ii) cancellation of that payment if the material requisite
                            conditions are not met within any established cure period.
                            Funding commitments of the following amounts (before
                            giving effect to any Present Value Discount, as applicable)
                            are required as a condition to Closing:
                                   Foundation Funders (net)           $366 million
                                   DIA Funders and DIA                $100 million*
                                   State                              $350 million
                                           *inclusive of the intended
                                           funding amounts for the
                                           indentified Foundation Funders




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                                          listed in Exhibit B


                            To the extent the City fails to meet its indemnity obligations
                            further described in Exhibit D, the Funders’, the Supporting
                            Organization’s and The DIA’s (with respect to a DIA
                            Deficiency or under the Guaranty) funding commitments
                            will be reduced by any litigation or defense costs, damages or
                            settlement costs incurred by the applicable Funder, the
                            Supporting Organization or The DIA in connection
                            therewith.     Similarly, the Funders, the Supporting
                            Organization and The DIA may reduce their funding
                            commitments to the extent that any litigation or defense
                            costs, damages or settlement costs incurred by them and
                            arising from the transactions contemplated by this Term
                            Sheet and the Definitive Documentation are not otherwise
                            covered by the City’s indemnity obligations described in
                            Exhibit D.

                            To the extent that the DIA Funders and The DIA have agreed
                            upon an aggregate payment schedule (determined as of the
                            Closing and adjusted after the Closing for any New Donor
                            Commitments), that provides for the payment of greater
                            than an aggregate of $5 million per year during the Payment
                            Period (the “Agreed Required Minimum Schedule”), the
                            amount and timing of such annual excess in commitments
                            shall, applying a discount rate to be agreed upon hereafter
                            but prior to Closing, which may or may not be the same
                            earnings rate that the Pensions use as provided for in the
                            confirmed Plan of Adjustment as the Pensions’ assumed
                            future investment return, result in a present value discount
                            in an amount which reflects the payments required to be
   Present Value Discount   made being instead made more rapidly than required by the
                            Agreed Required Minimum Payment Schedule, which
                            present value discount shall reduce the aggregate amount of
                            the commitments that The DIA is required to secure or, as to
                            any DIA Deficiency, undertake itself (the “Present Value
                            Discount”).
                            Each Foundation Funder which funds its commitment more
                            rapidly than ratably over twenty years shall likewise be
                            entitled to a Present Value Discount determined in the same
                            manner as set forth in the preceding paragraph.

                            Any disputes regarding the calculation or application of a
                            Present Value Discount will be irrevocably determined,




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                            based upon the formula described in this Term Sheet, by an
                            independent auditing firm to be agreed upon in the
                            Definitive Documentation.

                            The DIA undertakes to secure commitments for contributions
                            of $100 million (subject to the Present Value Discount) from
                            the business community (and their related foundations),
                            other foundations and individuals. As of the Closing, The
                            DIA shall be responsible for any portion of the $100 million
                            (subject to the Present Value Discount) for which it has not
                            secured commitments from DIA Funders as of the Closing
                            (the “DIA Deficiency”). However, The DIA shall have the
                            right after the Closing to substitute for its obligation to pay
                            any or all of the DIA Deficiency commitments from new DIA
   The DIA Commitment
                            Funders or an increased funding commitment from an
    Regarding Funding
                            existing DIA Funder (each a “New Donor Commitment”) for
                            such amount of the DIA Deficiency. Subject to the terms of
                            this Term Sheet, all New Donor Commitments shall be
                            payable according to payment schedules which shall not run
                            later than the end of the Payment Period. In addition, The
                            DIA agrees that it will have no claims against the Foundation
                            Funders for failure to fund their commitments and that the
                            Foundation Funders have made no commitments beyond
                            those set forth in this Term Sheet (as will be reflected in the
                            Definitive Documentation).

                            Subject to the terms and conditions of this Term Sheet, The
                            DIA shall guaranty (the “Guaranty”) the payment by all DIA
                            Funders of all amounts such DIA Funders pledge against the
                            $100 million (subject to the Present Value Discount)
                            commitment of The DIA under the “Funding Commitment”
                            section of this Term Sheet. The City may take action to
                            collect Default Amounts under the Guaranty as permitted
       DIA Guaranty
                            under the “Default and Remedies” section of this Term Sheet.
                            The City shall not otherwise take action to collect any
                            amounts under the Guaranty, and under no circumstances
                            will anyone other than the City have any right to take any
                            action to collect any amounts under the Guaranty. The DIA
                            Guaranty shall be in form and substance acceptable to the
                            City and the Funders.

                            All Funders (including The DIA, both as to any DIA
                            Deficiency and with respect to the Guaranty) shall have the
   Default and Remedies
                            right to rely upon the determination of the Board of Directors
                            of the Supporting Organization as to whether the conditions




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                            to a scheduled payment have been satisfied and, if not
                            initially satisfied, whether they have been timely cured. In
                            the event that the Supporting Organization has determined
                            that the conditions have not been satisfied (or timely cured)
                            and the City disputes that determination, the City’s only
                            recourse shall be to dispute the Supporting Organization’s
                            determination. The City shall have no claim against any
                            Funder (or under the Guaranty) for such Funder’s reliance
                            upon the determination of the Board of Directors of the
                            Supporting Organization. Any dispute between the City and
                            the Supporting Organization regarding whether the
                            conditions had been satisfied or timely cured shall be
                            determined in accordance with the “Dispute Resolution”
                            section of this Term Sheet.
                            In the event it is determined by the Supporting Organization
                            or through arbitration that the conditions to a scheduled
                            payment have been satisfied or timely cured, all Funders
                            shall be required to make their scheduled payments to the
                            Supporting Organization (or, as to DIA Funders that so elect
                            in accordance with the “Payment Mechanism” section of this
                            Term Sheet, to The DIA, which will be required to make its
                            scheduled payments to the Supporting Organization). If a
                            Foundation Funder, a DIA Funder or The DIA (either with
                            respect to a Deficiency Amount or on behalf of a DIA Funder
                            who elects to make its payments to The DIA) has made its
                            scheduled payment to the Supporting Organization, the City
                            shall have recourse only to the Supporting Organization (and
                            not any Funder that made its scheduled payment) for such
                            payment. If a Foundation Funder, a DIA Funder or The DIA
                            (either with respect to a Deficiency Amount or on behalf a
                            DIA Funder who elects to make its payments to The DIA) has
                            not made its scheduled payment after it is determined by the
                            Supporting Organization or through arbitration that the
                            conditions to such payment have been satisfied or timely
                            cured, the Supporting Organization shall, after making
                            reasonable efforts to collect the scheduled payment from the
                            Funder (the “Non-funding Party”), assign its right to enforce
                            payment of that scheduled payment (the “Default Amount”)
                            to the City in full satisfaction of the Supporting
                            Organization’s obligation to make such payment to the City.
                            If the Supporting Organization assigns to the City, in
                            accordance with the preceding paragraph, the Supporting
                            Organization’s right to enforce payment of a Default Amount
                            from a DIA Funder (a “Defaulted DIA Funder”), during the
                            twelve-month period following the assignment of the claim




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                            to the City (the “City Collection Period”), the City shall
                            exercise commercially reasonable efforts to collect the Default
                            Amount from that Defaulted DIA Funder, and any amounts
                            collected from that Defaulted DIA Funder shall reduce the
                            amount subject to the Guaranty. If the City is unable to
                            collect the Default Amount from a Defaulted DIA Funder
                            during the City Collection Period, upon the expiration of the
                            City Collection Period, the City may collect the Default
                            Amount from The DIA under the Guaranty and, in such
                            event, assign to The DIA all right and title to (and exclusive
                            authority to collect) the Default Amount.
                            In no event will any Funder other than the Non-funding
                            Party have any responsibility for the payment or obligations
                            of such Non-funding Party (except, as to The DIA, under the
                            Guaranty), and the City will not have any right to collect any
                            amounts from any Funder except as set forth above.
                            Moreover, there will be no third-party beneficiaries to the
                            rights of the City or the Supporting Organization, and no
                            party other than the City or the Supporting Organization (or
                            The DIA in respect of the Guaranty), as applicable, shall have
                            the right to assert any claim against any Funder in respect of
                            the obligations arising under the Definitive Documentation.
                            Without limiting the foregoing, the failure of any Funder or
                            the Supporting Organization to make a scheduled payment
                            shall give rise to a claim by the City against such Non-
                            funding Party, as set forth above, and not against any other
                            Funder, the Supporting Organization, The DIA or the
                            Museum Assets; provided, however, (i) as contemplated in
                            “The DIA Commitment Regarding Funding” above, The DIA
                            will be obligated for any DIA Deficiency except to the extent
                            the DIA Deficiency is replaced during the Payment Period
                            with a New Donor Commitment, and (ii) The DIA will have
                            its obligations under the Guaranty.
                            The City will be responsible for all costs of its enforcement
                            against the Non-funding Party and will not seek
                            reimbursement of costs of enforcement from any other party
                            or the Supporting Organization. No other person or entity
                            shall have the right to enforce payment.


                            At and as a condition to the Closing (a) each of the
                            Foundation Funders and the State shall pay at least 5% of its
      Initial Payment
                            commitment under this Term Sheet and (b) The DIA and the
                            DIA Funders in the aggregate shall pay at least $5 million.




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                               The Transfer shall be irrevocably consummated upon the
                               Initial Payment to the City Account (defined in
                               “Conditions to Future Funding Obligations” of this Term Sheet)
                               (which shall be made at the Closing). In addition, at the
                               Closing, the City and The DIA will enter into an agreement
                               that (1) terminates the Operating Agreement, (2) includes a
                               mutual release of pre-Closing claims, and (3) assigns
 Transfer on Initial Payment
                               (without recourse) from the City to The DIA all current and
                               future commitments or gifts made or intended for the benefit
                               of the Museum or The DIA, including without limitation
                               money and works of art. The City will not, however, make
                               any representations or warranties relating to the condition of,
                               or title to, the Museum Assets or such commitments and will
                               not have any liability with respect thereto.

                               All payments by the Funders shall be made directly to the
                               Supporting Organization which shall hold such payments in
                               a segregated account (the “Account”) pending payment to
                               the City. Notwithstanding the foregoing, any DIA Funder
                               may make its payments to The DIA instead of to the
                               Supporting Organization; payments by The DIA (either with
                               respect to a Deficiency Amount or on behalf a DIA Funder
                               who elects pursuant to the preceding sentence to make its
                               payments to The DIA) to the Supporting Organization shall
                               be pursuant to the terms of an agreement which will be
                               entered into between The DIA and the Supporting
                               Organization in connection with the execution of the
    Payment Mechanism
                               Definitive Documentation. As set forth under “Default and
                               Remedies” above, only the City will have recourse or claims
                               against the Account, provided all conditions specified in
                               “Conditions to Future Funding Obligations” of this Term
                               Sheet have been satisfied and as otherwise provided in this
                               Term Sheet, and the City shall be paid when due, directly
                               from the Account for the exclusive payment of the Pensions.
                               The City will not be entitled to any interest or earnings on the
                               balances of the Account.       The City shall then pay such
                               amounts to and for the exclusive payment of the Pensions in
                               accordance with the allocation determined by the City and
                               agreed by the Funders.

                               In addition to continuing to operate the Museum for the
   DIA Commitment for          benefit of the people of the City and the State, including the
    State-wide Services        citizens of the Tri-Counties, and continuing to provide the
   for State Contribution      special services to the residents of the Tri-Counties during
                               the millage term that are provided for in the millage




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                            agreements, during the Payment Period The DIA will
                            provide an array of art programs at no or discounted costs to
                            the residents of the State. In determining which programs to
                            offer, both the cost to The DIA of developing and operating
                            these programs and The DIA’s other fundraising obligations,
                            including its need to raise funds for general operations and
                            its stated goal of building endowment funds, as well as any
                            fundraising obligation under this settlement, will be taken
                            into account. As appropriate, The DIA will collaborate with
                            its Michigan museum colleagues in the development of these
                            programs. Given the length of the Payment Period, it is
                            expected that these programs would be developed and
                            adjusted over time. Such programs could include at the
                            outset:
                                x   Two exhibitions in each twelve-month period, with
                                    the first such period beginning six months after the
                                    Closing, of objects from the Museum collection that
                                    would rotate through museums and art centers
                                    around the State on a schedule to be determined by
                                    The DIA and the recipient museums. Each exhibition
                                    will be developed and organized by The DIA and will
                                    include installation and de-installation of the objects,
                                    a marketing package (logo and advertising template)
                                    and, possibly, input on programming and education
                                    opportunities.
                                x   An annual professional development program
                                    coordinated with the Michigan Museums Association
                                    designed to strengthen museum professionals and
                                    introduce museum job opportunities to student
                                    audiences.
                                x   An expansion of the Museum's popular Inside/Out
                                    program (during the tenure of the program), which
                                    places high-quality art reproductions in Southeast
                                    Michigan communities, to include two additional
                                    outstate locations annually, supporting tourism,
                                    cultural awareness and life-long learning.
                                x   Art object conservation services at a discounted rate
                                    to Michigan museums conducted in consultation with
                                    the Museum conservators and the curatorial staff of
                                    the requesting museum.
                                x   The development of an educational program based on
                                    the Museum collection that supports National
                                    Common Core Standards, to be offered in two




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                                      Michigan communities annually and to include
                                      follow-up support for educators.

                                (1)     Subject to the terms set forth herein and the
                                        Definitive Documentation, The DIA shall have
                                        complete responsibility for and control over
                                        Museum        operations,    capital     expenditures,
                                        collection management, purchase or sale of assets,
                                        etc. and will be responsible for all related liabilities,
                                        including existing liabilities of The DIA to its
                                        employees, contractors and vendors.
                                (2)     The permanent primary situs of The DIA and its
                                        art collection will remain in the City in perpetuity.
                                        This Term Sheet and the Definitive Documentation
                                        will not otherwise restrict the ability of The DIA to
                                        lend or to otherwise allow works to travel outside
                                        of the City or the State, consistent with ordinary
                                        Museum operations and the state-wide services
                                        proposed under this settlement. Notwithstanding
                                        anything to the contrary set forth in this Term
                                        Sheet, The DIA acknowledges and agrees that the
                                        Museum shall be operated primarily for the benefit
                                        of the people of the City and the State, including
    DIA Operating and                   the citizens of the Tri-Counties.
 Maintenance Commitments
                                (3)     The DIA will be required to operate the Museum as
                                        an encyclopedic art museum in the City, in
                                        accordance with changing future demands in the
                                        operation of such a Museum. The DIA will not
                                        deaccession from its collection or sell, lease, pledge,
                                        mortgage, or otherwise encumber art that is
                                        accessioned to or otherwise held in its collection
                                        except in accordance with the code of ethics or
                                        applicable standards for museums published by
                                        the American Alliance of Museums (the “AAM”)
                                        as amended or modified by the accreditation
                                        organization. If the AAM ceases to exist or to be
                                        generally regarded by leading American art
                                        museums as the preeminent American art museum
                                        accreditation organization, then the AAM’s
                                        successor organization or such other organization
                                        that is at that time generally regarded by leading
                                        American art museums as the preeminent
                                        American art museum accreditation organization
                                        shall be substituted for the AAM.




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                                (4)   In the event of a liquidation of The DIA, the
                                      Museum Assets will be transferred only to another
                                      not-for-profit entity (which entity shall be subject
                                      to the reasonable approval of the City and the
                                      Supporting Organization, if then in existence, and otherwise
                                      by majority vote of the City and the then-existing Foundation
                                      Funders). Such successor entity would subject itself to
                                      the same conditions as set forth in this Term Sheet
                                      and the Definitive Documentation, including but
                                      not limited to holding the Museum Assets in
                                      perpetual charitable trust for the people of the City
                                      and the State, including the citizens of the Tri-
                                      Counties. For the purposes of determining the
                                      majority vote described above, and for the
                                      avoidance of doubt, the parties agree that the City
                                      and each of the then-existing Foundation Funders
                                      shall each have one vote with respect to such
                                      approval.

                                (1)   The City will adopt and maintain pension
                                      governance mechanisms that meet or exceed
                                      commonly accepted best practices reasonably
                                      satisfactory to the Funders and the State to ensure
                                      acceptable fiscal practices and procedures for
                                      management and investment of pensions and
                                      selection of acceptable pension boards to ensure
                                      the foregoing.
                                (2)   The City will establish, by the Effective Date (as
                                      defined below), a Receivership Transition Review
                                      Board (“Review Board”) or other independent
                                      fiduciary that is independent of the City and any
    City Commitments                  association of City employees or retirees for future
    Relating to Pensions              supervision of the Pensions’ management,
                                      administration and investments for at least twenty
                                      years after the Effective Date.
                                (3)   Any commitments by the City to make payments
                                      hereunder, or cause payments to be made, to the
                                      Pensions shall be subject to receipt of the related
                                      payment      amount     from     the    Supporting
                                      Organization which, in turn, will be conditioned on
                                      the City’s compliance with the above.
                                (4)   The Pension funds themselves shall agree as part of
                                      the settlements approved through the confirmed
                                      Plan of Adjustment that they waive and release




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                                      any and all claims against, and shall have no
                                      recourse directly against, the Funders or the
                                      Supporting Organization with respect to
                                      enforcement of the City’s commitment to make
                                      payments to the Pensions or any such party, nor
                                      for any matter arising from the contemplated
                                      transaction. The agreement of the Pension funds,
                                      as implemented through the Plan of Adjustment
                                      and any associated court orders shall be binding on
                                      the Pensions and all entities or persons claiming
                                      through the Pensions, including without limitation
                                      any successors or assigns and any plan
                                      participants, and any of their representatives,
                                      successors or assigns.


                                (1)   The City shall pass no charter, ordinance or other
                                      provision that solely affects or primarily targets the
                                      Museum, The DIA or museums within the City
                                      generally which such charter, ordinance or other
                                      provision has a material adverse impact on the
                                      Museum or The DIA (it being understood that a
                                      “material adverse impact” shall include any
                                      adverse financial impact or any contradiction, or
                                      adverse impact on the enforceability, of the terms
                                      of this settlement), except pursuant to State-
                                      enabling legislation, and the City agrees that the
                                      Detroit Arts Commission will henceforth have no
                                      oversight of The DIA, the Museum or the Museum
                                      Assets.

  Other City Commitments        (2)   The City shall not impose any fee, tax or other cost
                                      on the Museum or The DIA that solely affects or
                                      primarily targets the Museum, The DIA or
                                      museums within the City generally.
                                (3)   The City shall provide (or cause to be provided)
                                      utilities and other City services to The DIA at the
                                      same pricing and on the same terms upon which
                                      the City offers to provide utilities and such other
                                      City services to arm’s-length third parties
                                      generally.
                                (4)   The City agrees that there are no further
                                      commitments from the Funders, the Supporting
                                      Organization, The DIA or the State relating to the
                                      Museum or the Museum Assets beyond those
                                      contained in the Term Sheet or the Definitive




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                                       Documentation.
                                 (5)   The City agrees to the indemnification, jurisdiction,
                                       venue and choice of law language contained in
                                       Exhibit D for the benefit of the Funders.

                             The settlement between the City and The DIA over the
                             Transfer in exchange for the Funders’ and the State’s
                             commitments for the Payment Amount and The DIA’s
     Bankruptcy Court        commitment to provide for the operation and maintenance of
     Approval Process        the Museum is subject to the Bankruptcy Court’s approval in
                             a manner acceptable to the parties hereto, which the City
                             shall seek promptly after the signing of the Definitive
                             Documentation for the settlement.

                             The City’s and the Funders’ obligations under the settlement
                             will become binding only upon:
                                 (1)   execution of Definitive Documentation acceptable
                                       in all respects to The DIA, the City, the State and
                                       the Funders, memorializing the terms of this Term
                                       Sheet, including irrevocable commitments (subject
                                       to The DIA’s right of substitution as to the DIA
                                       Deficiency) of the Funders, in the aggregate, for the
                                       full Payment Amount,
                                 (2)   Bankruptcy Court entry of an order confirming the
                                       Plan of Adjustment of Debts of the City of Detroit,
                                       Michigan (the “Plan of Adjustment”) that is
  Conditions to The DIA’s,             binding on The DIA, the City and all of the City’s
       the City’s and                  creditors and provides, among other things, for
 the Funders’ Commitments              approval and inclusion of all of the terms of this
    and Initial Payments               settlement, including treatment of the Payment
    under the Settlement               Amount in accordance with this Term Sheet and
                                       protection of the Museum Assets as provided in
                                       “Treatment of Museum Assets” of this Term Sheet,
                                       and not stayed on appeal,
                                 (3)   occurrence of the Effective Date,
                                 (4)   approval of the settlement by the Michigan
                                       Attorney General as consistent with Michigan law
                                       and with Attorney General Opinion No. 7272,
                                 (5)   agreement by the millage authorities for each of the
                                       Tri-Counties to the settlement for protection of the
                                       three-county millage payable to the Museum for
                                       the balance of the millage period approved in 2012,




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                                (6)   approval of the relevant City and State persons or
                                      entities specified in the Local Financial Stability
                                      and Choice Act (PA 436) to the extent applicable,
                                      including, but not limited to, the Emergency
                                      Manager, the Governor of the State and/or the
                                      Treasurer of the State and (if needed) the Detroit
                                      City Council and/or Detroit Arts Commission, in
                                      each case, for the Transfer,
                                (7)   The DIA, the Foundation Funders, the City and the
                                      State being satisfied with The DIA’s governance
                                      structure, mechanisms and documents, program
                                      for provision of statewide services, multi-year
                                      fundraising plan, insurance coverage, policies,
                                      practices and procedures and such other matters as
                                      the Funders determine are critical to their decision
                                      to fund and the City determines are critical to its
                                      decision to execute the Definitive Documentation,
                                (8)   Closing occurring no later than December 31, 2014,
                                (9)   All existing agreements and other arrangements
                                      between the City and The DIA are either affirmed,
                                      modified or terminated, as provided in this Term
                                      Sheet or as otherwise agreed between the City and
                                      The DIA.
                                (10) The DIA agrees to indemnify and hold harmless
                                     the Foundation Funders, the City and the
                                     Supporting Organization from any and all claims
                                     against them (together with all reasonable
                                     associated costs and expenses) that result from The
                                     DIA’s failure to perform any of its obligations
                                     under the Definitive Documentation. The DIA
                                     acknowledges that the Foundation Funders and the
                                     Supporting Organization have no financial
                                     obligations other than, in the case of the
                                     Foundation Funders, the amount specified in the
                                     “Funding Commitments” of this Term Sheet and are
                                     not guaranteeing payment to the City of any
                                     amount committed by the DIA Funders or The
                                     DIA.

                            Upon satisfaction of all “Conditions to The DIA’s, the City’s, the
                            State’s and the Funders’ Commitments and Initial Payments under
    Closing of Settlement   the Settlement” under this Term Sheet (any of which may be
                            waived by agreement of all parties to this Term Sheet for
                            whose benefit the condition exists) and the occurrence of the




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                            effective date of the Plan of Adjustment (“Effective Date”).

                            The Funders’ obligations to continue to fund the settlement
                            (and the Supporting Organization’s obligation to continue to
                            pay funds provided by the Funders to the City) are
                            conditioned on the following:
                                (1)   all amounts paid by the Funders shall be used only
                                      to pay Pensions as provided in this Term Sheet and
                                      the confirmed Plan of Adjustment,
                                (2)   the Funders’ receipt of an annual certification from
                                      the Review Board or other oversight authority
                                      reasonably acceptable to the Funders that the City
                                      is in compliance with its obligation to use the
                                      amounts paid by the Funders solely for the benefit
                                      of the pensioners and that the amounts received
                                      from the Funders are unencumbered by the City or
                                      any other entity,
                                (3)   the amounts paid by the Funders and transmitted
                                      by the Supporting Organization to the City are
                                      placed into a segregated account to be used for
                                      payments to the Pensions only          and shown
    Conditions to Future              separately on the City's books (“City Account”),
    Funding Obligations         (4)   the Funders’ receipt of an annual reconciliation
                                      report of the City Account prepared by external
                                      auditors reasonably satisfactory to the Funders at
                                      the City's expense, certifying use of funds in a
                                      manner consistent with the settlement,
                                (5)   full compliance by the City with the terms of the
                                      funding agreements with the Funders or the
                                      Supporting Organization, and
                                (6)   the City’s continued compliance with the first two
                                      commitments set forth above in the provision
                                      entitled “City Commitments Relating to Pensions” of
                                      this Term Sheet.
                            The City shall have the opportunity to cure any breach or
                            failure of these conditions within 180 days of issuance of
                            notice of the same by the Funders or the Supporting
                            Organization Notwithstanding the foregoing, to the extent
                            that the applicable event of default cannot reasonably be
                            cured within the period specified above, and as long as the
                            City has commenced to cure, and diligently pursues the cure
                            of such default in good faith, such cure period shall be




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                             extended by a reasonable period of time to permit the City to
                             cure such event of default; provided, however, such
                             additional extended cure period shall not extend beyond the
                             later of: (i) 180 days beyond the initial cure period; and (ii)
                             the date that the next applicable payment is due the City by
                             the Supporting Organization. The City’s ability to receive the
                             benefit of the extended cure period, beyond the initial cure
                             period, shall be subject to the approval of the Supporting
                             Organization upon receipt of a written request from the City
                             setting forth why the City is entitled to such extended cure
                             period by meeting the requirements set forth above, which
                             approval shall not be unreasonably withheld, conditioned or
                             delayed.      All obligations of the Funders and Supporting
                             Organization to make payments shall be suspended for the
                             duration of the cure period. If the City fails to cure a breach
                             or failure during the cure period each Funder and the
                             Supporting Organization shall have the right to cancel its
                             remaining commitments.


                             The DIA shall establish an ad-hoc committee (the
                             “Governance Committee”) to review best practices in
                             museum governance, gather input from the parties to this
                             Term Sheet and the State, and make recommendations
                             regarding the future governance of The DIA. In addition to
                             three members representing the perspective of The DIA, The
                             DIA shall appoint to the Governance Committee one member
                             representing each of the following perspectives: 1) the
                             Foundation Funders; 2) the City; and 3) the State. In
                             addition, The DIA shall appoint to the Governance
                             Committee one person who is selected by agreement of the
                             millage authorities of the Tri-Counties. The parties believe
                             the proposed make-up of the Governance Committee will
 Changes in DIA Governance
                             appropriately represent the perspectives of The DIA, the
                             City, the State, the millage authorities and the Foundation
                             Funders, but The DIA will consider adjustments to the
                             proposed membership to the extent necessary to address any
                             concerns raised by the State. Susan Nelson, principal of
                             Technical Development Corporation, will facilitate and
                             advise the process, with funding as required from the
                             Foundation Funders. The process will be completed as
                             quickly as possible but in any event prior to the Closing, with
                             the Governance Committee's recommendations taking effect
                             upon their approval by The DIA’s Board of Directors and
                             prior to Closing. The goal of the Governance Committee will
                             be to ensure that The DIA has the best possible governance




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                                 structure for maintaining its position as one of America's
                                 great art museums.




                              The DIA will provide to the other Funders and the City, or
                              their representatives, on an annual basis, a narrative report
Future Obligations of The DIA
                              covering overall operations, fundraising and state services, as
                              well as audited financial statements.

                                 In connection with the negotiation of the Definitive
                                 Documentation, the parties shall use good faith efforts to
                                 work with the State to identify and agree upon alternative
                                 dispute resolution mechanisms that provide a process for
                                 resolution of disputes surrounding whether conditions to a
     Dispute Resolution
                                 scheduled payment have been satisfied or cured while
                                 considering the ability of the public, Pensions and other
                                 stakeholders to monitor such alternative dispute resolution
                                 process.




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                                        EXHIBIT A

                                    MUSEUM ASSETS

1.    The Museum building and grounds, and the employee parking lot located at
      5200 Woodward Avenue, Detroit, Michigan, comprised of land and improvements
      bounded by Woodward Avenue as widened, existing John R Street, existing East Kirby
      Avenue and the South line of Farnsworth Avenue, depicted on the attached Exhibit A-1
      AERIAL PHOTO MAP, and more particularly described in Commitment for Title
      Insurance No. 58743275 revision 5, with an effective date of December 16, 2013, and
      Commitment for Title Insurance No. 58781215, with an effective date of December 26,
      2013, (collectively, the "Title Commitment") issued by Title Source Inc., as follows:

      PARCEL 1: Block A; together with the Northerly half of vacated Frederick
      Douglass Avenue adjacent thereto, of Ferry's Subdivision of Park Lot 40 and of
      Lots 1 to 18 inclusive of Farnsworth's Subdivision of Park Lots 38 and 39,
      according to the recorded plat thereof, as recorded in Liber 18 of Plats, Page 71,
      Wayne County Records.

      PARCEL 6: Lots 43 through 78, both inclusive, together with the Southerly half
      of vacated Frederick Douglass Avenue adjacent to Lots 43 through 58, and the
      Northerly half of vacated Farnsworth Avenue adjacent to Lots 63 through 78,
      and together with vacated alleys appurtenant to said lots.

      PARCEL 11: Lots 103 through 120, both inclusive, together with the Southerly
      half of vacated Farnsworth Avenue adjacent to Lots 103 through 118, and
      vacated portions of Farnsworth Avenue adjacent to the South of Lots 103
      through 117 and Lot 120, and vacated alleys appurtenant to said lots, of
      Farnsworth Subdivision of Park Lots 38 and 39, according to the recorded plat
      thereof, as recorded in Liber 1, Page 16, Wayne County Records.

2.    The Frederick Lot (across from the Museum, Easterly from existing John R to existing
      Brush) located, in the City of Detroit, Wayne County, Michigan, depicted on the
      attached Exhibit A-1 AERIAL PHOTO MAP, and more particularly described in the Title
      Commitment as follows:

      PARCEL 4: Lots 31 to 37 of Farnsworth Subdivision of Park Lots 38 and 39,
      together with the southerly half of vacated Frederick Douglass Avenue adjacent
      to said lots and together with the vacated alley appurtenant to said lots,
      according to the recorded plat thereof, as recorded in Liber 1, Page 16, Wayne
      County Records.

      PARCEL 7: Lots 79 and 80 of Farnsworth Subdivision of Park Lots 38 and 39,
      together with the Northerly half of vacated Farnsworth Avenue adjacent to said
      lots and together with the vacated alley appurtenant to said lots, as recorded in
      Liber 1, Page 16 of Plats, Wayne County Records.




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         PARCEL 9: The East 5 feet of Lot 85 and Lots 86 and 87 and the West 16 feet of
         Lot 88, together with the Northerly half of vacated Farnsworth Avenue adjacent
         to said lots and together with the vacated alley appurtenant to said lots of
         Farnsworth Subdivision of Park Lots 38 and 39, as recorded in Liber 1, Page 16 of
         Plats, Wayne County Records.

         PARCEL 12: Lots 1 through 5, both inclusive, and Lots 10 through 14, both
         inclusive, Block 25, together with the Southerly half of vacated Frederick
         Douglass Avenue adjacent to Lots 1 through 5, Block 25, and the Northerly half
         of vacated Farnsworth Avenue adjacent to Lots 10 through 14, Block 25 and
         together with the vacated alley appurtenant to said lots of Brush's Subdivision of
         that part of the Brush Farm lying between the North line of Farnsworth Street
         and South line of Harper Avenue, as recorded in Liber 17, Page 28 of Plats,
         Wayne County Records.

3.       The cultural center underground garage1 i.e., the parking garage with all appurtenant
         utilities, equipment, drives, pedestrian and vehicular entrances and easements therefor,
         on the south side of the Museum building located at 40 Farnsworth, Detroit, Michigan,
         depicted on the attached Exhibit A-1 AERIAL PHOTO MAP, and more particularly
         described in the Title Commitment as follows:

         PARCEL 14: A parking structure in the City of Detroit occupying space under
         and on the following described parcel of land. Land in the City of Detroit, being
         a part of Lots 62 through 68 inclusive; parts of Lot 112 and 118 through 120
         inclusive; all that part of Lots 113 through 117 inclusive not set aside as a part of
         Farnsworth Avenue, parts of public alleys and Farnsworth Avenue (60 feet wide)
         vacated by the Common Council on October 7, 1924 and January 11, 1927; all as
         platted in "Farnsworth's Subdivision of Park Lots 38 and 39, City of Detroit"
         recorded in Liber 1, Page 16 of Plats, Wayne County Records and also a portion
         of the Northerly 49 feet of Farnsworth Avenue (70 feet wide), which was opened
         as a public street by action of the Common Council on October 7, 1924. Being
         more particularly described as follows: Commencing at the intersection of the
         South line of Farnsworth Avenue 70 feet wide and the East line of Woodward
         Avenue as widened August 2, 1932, J.C.C. Page 1279, thence North 29 degrees 42
         minutes 10 seconds West 22.17 feet, thence North 60 degrees 17 minutes 50
         seconds East 6.00 feet to the point of beginning of this parcel, thence North 29
         degrees 42 minutes 10 seconds West 248.16 feet; thence North 60 degrees 11
         minutes 50 seconds East 268.00 feet; thence South 29 degrees 42 minutes 10
         seconds East 15.79 feet; thence North 60 degrees 17 minutes 50 seconds East 1.00
         feet to a point of curve; thence 11.77 feet along the arc of a curve concave to the
         Northeast with a Radius of 14.00 feet, a Delta of 48 degrees 11 minutes 23
         seconds with a Long Chord of 11.43 feet which bears South 53 degrees 47
         minutes 52 seconds East to a point of reverse curve; thence 26.07 feet along the
         arc of curve concave to the Southwest, with a Radius of 31 feet, a Delta 48

1
 In connection with the preparation for Closing, the City will advise on the mechanics for the release of existing
encumbrances on title to the garage.




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      degrees 11 minutes 23 seconds with a Long Chord of 25.31 feet which bears
      South 53 degrees 47 minutes 52 seconds East; thence South 29 degrees 42 minutes
      10 seconds East 140.50 feet; thence 78.54 feet along the arc of a curve concave to
      the Northwest, with a Radius of 50.00 feet, a Delta of 90 degrees with a Long
      Chord of 70.71 feet which bears South 15 degrees 17 minutes 50 seconds West;
      thence South 60 degrees 17 minutes 50 seconds West 0.50 feet; thence South 29
      degrees 42 minutes 10 seconds East 4.00 feet; thence South 60 degrees 17 minutes
      50 seconds West 4.00 feet; thence South 29 degrees 42 minutes 10 seconds East
      6.00 feet; thence South 60 degrees 17 minutes 50 seconds West 39.50 feet; thence
      North 29 degrees 42 minutes 10 seconds West 1.67 feet; thence South 60 degrees
      17 minutes 50 seconds West 190 feet to the point of beginning.

      The bottom floor of this structure is at elevation 129.10 feet as related to the City
      of Detroit Datum Plane; the structure has two (2) floors of vehicle parking with
      the top of the roof at elevation 149.34 feet. The structure has three (3) pedestrian
      exit buildings, four (4) air exhaust shafts and a vehicular ramp all of which
      extend upwards from the garage roof to the ground surface at elevations varying
      from 150.6 to 153.7 feet.

      Together with the Easements created in Liber 20846, Page 762, Wayne County
      Records.

4.    The collection of works of art owned by the City and located primarily at the Museum,
      the Museum’s off-site warehouse or the Josephine Ford Sculpture Garden located at or
      about 201 East Kirby Street, Detroit, Michigan (which included at the effective date of
      the Operating Agreement the items listed in Exhibit 2 to the Operating Agreement) or
      included in the Museum collection (whether or not accessioned), whether or not
      reflected on any inventory and irrespective of the manner in which acquired by the City.

5.    All assets of any kind located on or within the real estate described in items 1-4 above
      and used in the operations of the Museum, as well as any easements or other property
      rights benefiting such real estate.

6.    All intangible property solely to the extent used in connection with the Museum and its
      art collection, including trademarks, copyrights and intellectual property, whether or
      not related to collection pieces.

7.    All City records, books, files, records, ledgers and other documents (whether on paper,
      computer, computer disk, tape or other storage media) presently existing to the extent
      relating to the Museum, its art collection or its operations or to The DIA (other than
      those documents which are confidential to the City and not The DIA).

8.    All monies held by the City that are designated for The DIA or the Museum or that were
      raised for the benefit of, or express purpose of supporting, The DIA or the Museum,
      including the approximately $900,000 balance of proceeds of bonds issued for the benefit
      of The DIA by the City in 2010.




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                                                   EXHIBIT B

                                         FOUNDATION FUNDERS

     NOTE: The list of Foundation Funders below is being provided based on information known as
     of March 27, 2014. Foundation Funder commitments remain subject to: (i) final approval of
     the commitments by the appropriate governing body of the respective foundation listed below;
     (ii) all conditions otherwise contained in the Term Sheet and Definitive Documentation being
     met; (iii) approval of the Definitive Documentation by the Foundation Funder; and (iv)
     approval of the Plan of Adjustment through the bankruptcy proceedings.


Foundation Funder                                                         Intended Funding Amount

Community Foundation for Southeast Michigan                                               $10,000,000

William Davidson Foundation                                                                25,000,000

The Fred A. and Barbara M. Erb Family Foundation                                           10,000,000

Max M. and Marjorie S. Fisher Foundation                                                    2,500,000*

Ford Foundation                                                                           125,000,000

Hudson-Webber Foundation                                                                   10,000,000

The Kresge Foundation                                                                     100,000,000

W. K. Kellogg Foundation                                                                   40,000,000

John S. and James L. Knight Foundation                                                     30,000,000

McGregor Fund                                                                               6,000,000

Charles Stewart Mott Foundation                                                            10,000,000

A. Paul and Carol C. Schaap Foundation                                                      5,000,000*
Total                                                                                    $373,500,000
Less Credits to DIA Commitments                                                            (7,500,000)
Net Total                                                                                $366,000,000

*The payment of the intended funding amount by these Foundation Funders will be credited against the $100
million to be paid by DIA Funders and the DIA provided under Funding Commitments of the Term Sheet.

Payment Schedule

Each Foundation Funder intends to make payments available at 5% of the total intended funding amount per year
over the 20 year term, subject to the right of any Foundation Funder to pay early without penalty and as otherwise
provided in the Term Sheet and Definitive Documentation. Collectively, this will result in an annual payment of
$18,300,000 (exclusive of Foundation Funder commitments credited to the DIA) to the City of Detroit as provided
in the Term Sheet and Definitive Documentation.




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                                 DIA FUNDERS

                                 [to be provided]




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           INDEMNIFICATION, JURISDICTION, VENUE AND CHOICE OF LAW

        All capitalized terms used but not defined in this Exhibit D are defined in the Term Sheet.

(a)     To the maximum extent permitted by law, the City shall indemnify, defend, and hold
        the Foundation Funders, the DIA Funders, The DIA and the Supporting Organization
        and their affiliates and all their respective shareholders, officers, directors, members,
        managers, employees, successors, assigns, representatives, attorneys and agents (the
        “Indemnified Parties”) harmless from, against, and with respect to any claim, liability,
        obligation, loss, damage, assessment, judgment, cost and expense (including, without
        limitation, actual out-of-pocket attorney fees and actual expenses incurred in
        investigating, preparing, defending against, or prosecuting any litigation or claim, action,
        suit, hearing, proceeding or demand) of any kind or character, arising out of or in any
        manner, incident, relating or attributable to the following (provided indemnification will
        not be available to an Indemnified Party to the extent resulting from such Indemnified
        Party’s breach of contract, sole ordinary negligence, gross negligence or intentional
        wrongful acts):

(i)     Any claims by third parties or the City arising out of any action properly taken by the
        Indemnified Parties under the Definitive Documentation with respect to the contemplated
        transaction including, but not limited to, any payment, non-payment or other obligation of the
        Indemnified Parties permitted thereunder;

(ii)    Any breach or failure of any representation or warranty of the City contained in the Definitive
        Documentation between the City and the Indemnified Parties and/or other parties related to the
        contemplated transaction;

(iii)   Any failure by the City to perform, satisfy or comply with any covenant, agreement or condition
        to be performed, satisfied or complied with by the City under the Definitive Documentation with
        the Indemnified Parties or under agreements with any third parties contemplated by this
        transaction;

(iv)    Reliance by the Indemnified Parties upon any books or records of the City or reliance by them on
        any written information furnished by the City or any of the City’s employees, officials or agents
        to them to the extent any such information should prove to be false or materially inaccurate or
        misleading (including, without limitation, by omission), but only to the extent that such books,
        records or written information was furnished by the City in connection with the City showing its
        compliance with the conditions to initial or future funding as set forth in the Term Sheet;

(v)     Any claim or objection made in the City’s Chapter 9 Bankruptcy (Case No. 13-53846) or any
        other action brought against, or involving, the Indemnified Parties with respect to their
        participation in any transaction contemplated by the proposed or confirmed Plan of Adjustment;




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(vi)     The transfer, assignment or sale by the City to The DIA of any assets or property (real or
         personal) and any rights, title and interests therein including, but not limited to, the Museum
         and all of the Museum Assets;

(vii)    Any action or claim against the Indemnified Parties made by the Pensions, including any
         successors or assigns and any plan participants, or their representatives, successors or assigns
         (collectively, the “Pension Funds”), as nothing under the Term Sheet or the Definitive
         Documentation is intended to, nor are they to be construed or interpreted to, make the
         Indemnified Parties a party in privity with, or having an obligation in any capacity to the
         Pension Funds. By way of illustration and not limitation, the following statements apply:

         First, the Indemnified Parties have no responsibility for the operation or administration of the
         Pension Funds and have no fiduciary responsibility for the Pension Funds as plan sponsor, plan
         administrator, investment advisor or otherwise.

         Second, the Indemnified Parties have no obligation to contribute towards the funding of the
         Pension Funds and are not a funding guarantor.

(viii)   Any action or claim brought by the City, The DIA, the Pension Funds or any other party
         concerning non-payment of the contributions pursuant to the contemplated transaction by the
         Indemnified Parties due to the breach of the Definitive Documentation by the City, the DIA, the
         Pension Funds or any other party, so long as the Indemnified Parties have made a good faith
         determination of the breach of the Definitive Documentation or payment condition.

(b)      An Indemnified Party shall notify the City in a timely manner of any matters as to which
         the Indemnified Party is entitled to receive indemnification and shall set forth in such
         notice reasonable detail regarding specific facts and circumstances then known by the
         Indemnified Party which pertain to such matters. Failure or delay in providing such
         notice shall not relieve the City of its defense or indemnity obligations except to the
         extent the City’s defense of an applicable claim against an Indemnified Party is actually
         prejudiced by such Indemnified Party’s failure or delay.

(c)      The City shall not contest on any grounds the enforceability of its indemnification
         obligations hereunder.

(d)      Notwithstanding the foregoing, the parties acknowledge that the City is not making any
         representations to The DIA regarding the City’s title to the Museum Assets prior to the
         Closing and that The DIA will not be entitled to indemnification in connection with its
         defense of any post-Closing claims by third parties challenging The DIA’s title to any
         Museum Asset to the extent that such claim is based on an allegation that the City did
         not have legal title to the particular Museum Asset prior to the Closing (a “Quitclaim
         Challenge”). To be clear, however, The DIA will be entitled to indemnification by the
         City under this Exhibit D in connection with any post-Closing challenges to The DIA’s
         title to Museum Assets that are in any way based upon a claim that the title that the City




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      had to the Museum Assets prior to Closing was not effectively conveyed to The DIA at
      and as a result of the Closing.

Defense of Indemnity Claims

      (a) To the extent the City is notified of claim for which it is required to indemnify an
      Indemnified Party, the City shall be solely responsible for responding to or otherwise
      defending such claim. In such event, the City shall assume exclusive control of the
      defense of such claim at its sole expense using counsel of its sole choosing and may
      settle such claim in its sole discretion; provided, however, that (i) with respect to any
      claim that involves allegations of criminal wrongdoing, the City shall not settle such
      claim without the prior written approval of the Indemnified Party, which approval may
      be withheld in such Indemnified Party’s sole discretion, and (ii) with respect to any
      other claim, the City shall not settle such claim in a manner that requires the admission
      of liability, fault, or wrongdoing on the part of an Indemnified Party, that fails to include
      a release of all covered claims pending against the Indemnified Party, or that imposes
      any obligation on the Indemnified Party without the prior written approval of the
      Indemnified Party, which approval may be withheld in such Indemnified Party’s sole
      discretion. The City will keep the Indemnified Party reasonably informed of the status
      of any negotiations or legal proceedings related to any claim, and the Indemnified Party
      shall be entitled to engage counsel (at its own expense) to monitor the handling of any
      claim by the City. Notwithstanding the foregoing, other than as relates to a Quitclaim Challenge (for
      which The DIA will not be entitled to indemnification, as set forth above), The DIA shall be entitled to
      defend on its own behalf any claims regarding title to, interest in or control of the
      Museum Assets or operation of the Museum. To the extent The DIA intends to exercise
      such right, the City and The DIA shall use their commercially reasonable efforts in good
      faith to coordinate a joint defense of such claim (including as to selection of joint
      counsel). If the City and The DIA cannot agree on a joint defense of the claim, each
      party shall undertake its own defense, reserving all rights against the other for
      indemnification hereunder with respect to such claim, but, in such case, The DIA shall
      not be entitled to indemnification of its defense costs in connection therewith.

      (b) Notwithstanding anything to the contrary set forth in this Exhibit D or the Term
      Sheet, to the extent that the City is required to indemnify an Indemnified Party
      hereunder, and the underlying claim being indemnified does not arise out of the City’s
      breach of contract, sole ordinary negligence, gross negligence or intentional wrongful
      acts and is not due to a claim brought by the City, the City may reimburse itself for the
      costs of such indemnity out of the payments from the Supporting Organization, in
      which case the amount payable by the City to the Pensions shall be reduced by the
      amount reimbursed to the City for such indemnity.

Jurisdiction/Venue/Choice of Law

      The parties agree that, except as to disputes that are subject to arbitration in accordance
      with the “Dispute Resolution” section of the Term Sheet, jurisdiction shall be retained by




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      the United States Bankruptcy Court for the Eastern District of Michigan for all matters
      related to the contemplated transaction and venue shall be in Detroit. The parties agree
      that this agreement is to be governed by Michigan law.




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                       FORM OF DIA SETTLEMENT DOCUMENTS




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                                                             EXECUTION VERSION




                    OMNIBUS TRANSACTION AGREEMENT

                               BY AND AMONG

                            THE CITY OF DETROIT

                      THE DETROIT INSTITUTE OF ARTS

                                     AND

                    FOUNDATION FOR DETROIT’S FUTURE




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Exhibit A    -    Settlement, Conveyance and Charitable Trust Agreement

Exhibit B    -    Foundation FDF Agreement

Exhibit C    -    DIA Direct Funder FDF Agreement

Exhibit D    -    DIA FDF Agreement

Exhibit E    -    Closing Direction


                                  List of Schedules

Schedule 1   -    Wire Transfer Instructions for City Account

Schedule 2   -    Examples of Calculation of The DIA’s Payment Obligation




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                         OMNIBUS TRANSACTION AGREEMENT

        THIS OMNIBUS TRANSACTION AGREEMENT (this “Agreement”), effective as of
the Closing Date, is entered into by and among the City of Detroit, Michigan (the “City”), The
Detroit Institute of Arts, a Michigan nonprofit corporation f/k/a Founders Society Detroit
Institute of Arts (“The DIA”), and Foundation for Detroit’s Future, a Michigan nonprofit
corporation (the “Supporting Organization”). The City, The DIA, and the Supporting
Organization are collectively referred to herein as the “Parties” and individually as a “Party”.

                                            RECITALS

        WHEREAS, The DIA currently manages and operates the museum that is now
commonly referred to as the Detroit Institute of Arts (the “Museum”) under an Operating
Agreement for the Detroit Institute of Arts, made on December 12, 1997, between The DIA and
the City (the “Operating Agreement”);

       WHEREAS, on July 18, 2013, the City filed a petition under chapter 9 of the United
States Bankruptcy Code in the United States Bankruptcy Court for the Eastern District of
Michigan (the “Bankruptcy Court”) captioned “In re City of Detroit, Michigan”, Case No. 13-
53846 (the “Bankruptcy Case”);

         WHEREAS, the City and The DIA are willing, on the terms and conditions set forth
herein, to enter into a settlement (the “DIA Settlement”) pursuant to which the City will convey
all of its right, title and interest (including legal title it may hold as trustee and legal title and
beneficial interest it otherwise holds) to the Museum and the Museum Assets (as defined in the
Charitable Trust Agreement) to The DIA in exchange for fair value by virtue of (i) the settlement
of any dispute regarding the ownership of the Museum Assets, (ii) the commitment of The DIA
to hold the DIA Assets in perpetual charitable trust and to operate the Museum primarily for the
benefit of the residents of the City and the Tri-Counties and the citizens of the State and (iii) the
contributions through the Supporting Organization by The DIA (and through it, DIA Indirect
Funders), DIA Direct Funders and Special Foundation Funders of $100 million, by Foundation
Funders (excluding Special Foundation Funders) of $366 million, and an additional contribution
by the State of Michigan (the “State”) of $350 million, which total $816 million (in each case
and in the aggregate before applying any discount for early payment) (the “Payment Amount”);

        WHEREAS, the Payment Amount will be paid for the benefit of Pension Claims of the
City;

       WHEREAS, the Bankruptcy Court has entered an order confirming the Corrected Fifth
Amended Plan for the Adjustment of Debts of the City of Detroit, as it may be further amended
and as modified prior to the Closing Date (the “Plan of Adjustment”) which provides for the
treatment of the Payment Amount and the conveyance and protection of the Museum Assets in a
manner consistent with the DIA Settlement;

        WHEREAS, all conditions to the Effective Date of the Plan of Adjustment (as defined
therein) have been satisfied or waived;




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       WHEREAS, the City, the State, each of their Related Entities (as defined in the Plan of
Adjustment) and each of the Indemnified Parties is the beneficiary of the release and exculpation
provisions of the Plan of Adjustment;

        WHEREAS, the Supporting Organization has been established by the Community
Foundation for Southeast Michigan as a tax exempt organization under section 501(c)(3) of the
Internal Revenue Code of 1986, as amended, to accommodate the contribution and payment of
moneys from The DIA, DIA Direct Funders and Foundation Funders (and certain other
contributions and payments that are not related to the DIA Settlement);

       WHEREAS, the Attorney General of the State has approved the DIA Settlement as being
consistent with Michigan law and with Attorney General Opinion No. 7272;

        WHEREAS, The DIA and the applicable Art Institute Authority in each of Macomb,
Oakland and Wayne Counties, Michigan (the “Tri-Counties”) have amended the applicable Art
Institute Service Agreement for such county in a manner to provide that termination of the
Operating Agreement will not affect the obligations of the Art Institute Authorities’ obligations
under such agreements to collect and pay millage proceeds (the “Millage”) to The DIA;

        WHEREAS, the Governor of the State, the Treasurer of the State, the applicable
legislative bodies of the State, the Emergency Manager specified in the Local Financial Stability
and Choice Act (PA 436), and the Detroit City Council, in each case, have approved the DIA
Settlement and the Transfer;

        WHEREAS, the board of directors of The DIA has, to the extent necessary, adopted the
recommendations of the ad-hoc committee established by The DIA, comprised of representatives
from Foundation Funders, the City, the State and a representative of the Tri-Counties, regarding
the future governance and oversight of The DIA;

        WHEREAS, the City has adopted the Combined Plan for the General Retirement System
of the City of Detroit, Michigan (“GRS”), effective July 1, 2014, which provides for the
establishment, membership, terms, operation and duties of the GRS Investment Committee
(“GRS Pension Governance Terms”), as set forth in the GRS, attached as Exhibit I.A.212.a to
the Plan of Adjustment;

        WHEREAS, the City has adopted the Combined Plan for the Police and Fire Retirement
System of the City of Detroit, Michigan (“PFRS”), effective July 1, 2014, which provides for the
establishment, membership, terms operation and duties of the PFRS Investment Committee
(“PFRS Pension Governance Terms,” together with the GRS Pension Governance Terms
referred to as the “Pension Governance Terms”), as set forth in the PFRS, attached as Exhibit
I.A.216.a to the Plan of Adjustment;

       WHEREAS, in accordance with the Pension Governance Terms, the initial independent
members for the respective GRS and PFRS Investment Committees shall be selected by mutual
agreement of the appropriate representatives of the State, the City and the respective Boards of
Trustees of GRS and PFRS, in consultation with the Supporting Organization, and shall be
named in the Plan of Adjustment; provided, however, that if one of more of the initial
independent Investment Committee members for GRS and PFRS, respectively, are not selected


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by mutual agreement prior to confirmation of the Plan of Adjustment, then the United States
Bankruptcy Court, Eastern District of Michigan shall designate such number of independent
Investment Committee members as necessary to bring the number of independent members for
the GRS and PFRS Investment Committees to five each;

        WHEREAS, in accordance with the Pension Governance Terms and rules and procedures
that may be adopted by the Investment Committees, successor independent members of the
respective GRS and PFRS Investment Committees shall be recommended by a majority of the
remaining independent members of the applicable Investment Committee and confirmed by the
GRS Board or PFRS Board, as applicable, and the State Treasurer in consultation with the
Supporting Organization; provided, however, that if the applicable Board and State Treasurer
cannot agree on the successor independent member, the remaining independent members of the
applicable Investment Committee shall appoint the successor independent member;

       WHEREAS, the Emergency Manager has issued an order directing the City to comply
with the covenants benefitting The DIA and the Museum incorporated in Section 5.3 of this
Agreement; and

        WHEREAS, the Michigan Settlement Administration Authority, the disbursement agent
for the State, shall disburse to GRS and to PFRS the total contribution by the State of $194.8
million, which is the present value of $350 million paid in installments over twenty (20) years
applying the discount rate of 6.75% per annum, in accordance with the terms and conditions of
the State Contribution Agreement attached as Exhibit I.A.294 to the Plan of Adjustment.

        NOW THEREFORE, in consideration of the covenants and agreements hereinafter set
forth, and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, intending to be legally bound, the Parties hereby agree as follows:

                                         ARTICLE I
                                         Definitions

       1.1    Definitions. As used in this Agreement:

       “AAM” means the American Alliance of Museums.

       “Business Day” means any day other than a Saturday, Sunday or “legal holiday” on
which banks in the State of Michigan are closed for business.

       “Charitable Trust Agreement” means that certain Settlement, Conveyance and
Charitable Trust Agreement between the City and The DIA in the form of Exhibit A to this
Agreement pursuant to which the DIA Settlement will be consummated, including by virtue of
the Transfer, the termination of the Operating Agreement, and the other transactions
contemplated therein, as the same may be amended or modified from time to time.

       “City Account” means a segregated escrow account titled “City of Detroit, in Trust for
Certain of Its Retirement Systems and Associated Accounts”, established pursuant to that certain
Escrow Agreement dated as of even date herewith by and among the City, the Supporting
Organization and U.S. Bank National Association (the “Escrow Agent”) with instructions that


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the amounts contributed to this escrow account by the Supporting Organization, which except as
otherwise provided in Section 6.3(e) of this Agreement and the payment of reasonable expenses
of maintaining the City Account, shall be used only for the payment of contributions to GRS and
PFRS in satisfaction of the City’s obligation to contribute to the Prior GRS Pension Plan
(attached as Exhibit I.A.244 to the Plan of Adjustment) (the “Prior GRS Pension Plan”) and the
Prior PFRS Pension Plan (attached as Exhibit I.A.245 to the Plan of Adjustment) (the “Prior
PFRS Pension Plan”) and which is shown separately on the City’s books and records. For the
avoidance of doubt, in addition to the contributions made hereunder, contributions to the City
Account may be made by the Supporting Organization to be used for the payment of
contributions to the City of Detroit Retiree Health Care Trust, the City of Detroit Police and Fire
Retiree Health Care Trust, the Section 401(h) Medical Benefits Account for Retirees in the
Combined Plan for the General Retirement System of the City of Detroit, Michigan and the
Section 401(h) Medical Benefits Account for Retirees in the Combined Plan for the Police and
Fire Retirement System of the City of Detroit, Michigan.

       “DIA Assets” has the same definition contained in the Charitable Trust Agreement.

        “DIA Direct Funders” means those DIA Funders whose commitments (whether made
before or after the Effective Time) to contribute monies in furtherance of The DIA’s payment
obligations under this Agreement are made directly to the Supporting Organization pursuant to a
DIA Direct Funder FDF Agreement.

        “DIA Funders” means those persons, businesses, business-affiliated foundations and
other foundations from which The DIA secures commitments (whether made before or after the
Effective Time) to contribute monies or otherwise secures contributions of monies in support of
The DIA’s payment obligations under this Agreement and, for clarity, includes all DIA Direct
Funders and all DIA Indirect Funders.

        “DIA Indirect Funders” means those DIA Funders whose commitments (whether made
before or after the Effective Time) to contribute monies or whose actual contributions in
furtherance of The DIA’s payment obligations under this Agreement are made directly to The
DIA.

       “Effective Time” has the same definition contained in the Charitable Trust Agreement.

       “Foundation Funder” means a business-affiliated foundation or other foundation that
has entered into a Foundation FDF Agreement.

      “Funder” means a Foundation Funder, a DIA Direct Funder, a DIA Indirect Funder or
The DIA (collectively, the “Funders”).

       “Funding Agreements” means, collectively, the Foundation FDF Agreement, the DIA
Direct Funder FDF Agreement and the DIA FDF Agreement, as such written agreements may be
amended or modified in writing from time to time in accordance with this Agreement.

      “Indemnified Parties” means, as applicable, DIA Indemnified Parties or City
Indemnified Parties.



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        “Loss” means any claim, liability, obligation, loss, damage, assessment, judgment, cost
and expense (including, without limitation, actual out-of-pocket attorney fees and actual
expenses incurred in investigating, preparing, defending against, or prosecuting any litigation or
claim, action, suit, hearing, proceeding or demand) of any kind or character.

           “Museum Assets” has the same definition contained in the Charitable Trust Agreement.

        “Payment Date” means the later of (x) June 30 of each calendar year commencing June
30, 2016 and (y) thirty (30) days after receipt by the Supporting Organization of evidence for
that year of the satisfaction of the conditions precedent to funding set forth in Sections 2.4(a) -(d)
of this Agreement (subject to the City’s right to cure in Section 2.5 of this Agreement).

       “Payment Period” means the period commencing on the Closing Date and ending on
June 30, 2034, subject to extension for any cure period in Section 2.5 of this Agreement.

        “Pension Claims” means the Claims in Classes 10 and 11 of the Plan of Adjustment (as
such terms are defined in the Plan of Adjustment).

        “Present Value Discount” means the value of any amount that The DIA, a DIA Direct
Funder or a Foundation Funder pays to the Supporting Organization as contemplated under this
Agreement, discounted from the date that the Supporting Organization remits such payment to
the City Account (on behalf of the Funder that paid the amount to the Supporting Organization)
to the Closing Date at the rate of 6.75% per annum.

        “Related Parties” means a person’s or entity’s Affiliates (as defined in the United States
Bankruptcy Code), predecessors, successors and assigns (whether by operation of law or
otherwise), and with respect to any of the foregoing, their respective present and former
Affiliates and each of their respective current and former officials, officers, directors, employees,
managers, members, attorneys, advisors, professionals, agents and consultants each acting in
such capacity, and any entity claiming by or through any of them (including their respective
officials, officers, directors, employees, managers, advisors, professionals, agents and
consultants).

       “Special Foundation Funders” means the following Foundation Funders: Max M. and
Marjorie S. Fisher Foundation and the A. Paul and Carol C. Schaap Foundation.

           “Title Company” means Title Source, Inc.

        “Transaction Documentation” means the agreements and other transaction documents
to be executed and delivered at the Closing under this Agreement and under the Charitable Trust
Agreement.

           “Transfer” has the same definition contained in the Charitable Trust Agreement.

       1.2     Other Defined Terms. The following capitalized terms shall have the meanings
given to them in the Sections of this Agreement set forth opposite such term:

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Accountant .................................................................................................................. Section 2.3(c)
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City Event of Default .................................................................................................. Section 2.4(d)
City Indemnified Parties ............................................................................................. Section 6.2(a)
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Contribution Agreement ....................................................................................... Section 2.4(b)(iii)
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DIA Direct Funder FDF Agreement ........................................................................... Section 3.3(b)
DIA FDF Agreement .................................................................................................. Section 3.3(c)
DIA Indemnified Parties ............................................................................................. Section 6.1(a)
DIA Settlement .................................................................................................................... Recitals
Escrow Agent .................................................................................................................. Section 1.1
Extended Cure Period ................................................................................................. Section 2.5(a)
Foundation FDF Agreement ....................................................................................... Section 3.3(a)
Funders............................................................................................................................ Section 1.1
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GRS Investment Committee ............................................................................ Section 2.4(a)(iv)(C)
GRS Pension Governance Terms......................................................................................... Recitals
Indemnifying Party ..................................................................................................... Section 6.3(a)
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PFRS Pension Governance Terms ....................................................................................... Recitals
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Tri-Counties ......................................................................................................................... Recitals

                                                            ARTICLE II
                                                          The Commitments

           2.1        DIA Funding Obligation.

               (a)    Subject to the terms and conditions of this Agreement, including The
DIA’s guaranty obligations in Section 2.8(c) of this Agreement, The DIA hereby commits to pay
to the Supporting Organization on the Closing Date and with respect to each Payment Date: (A)
$5 million multiplied by the number of annual payments required before and with respect to the
then current Payment Date (treating the Closing Date for such purpose as a Payment Date) minus
(B) the sum of (i) the aggregate amounts previously paid by The DIA, all DIA Direct Funders
and both Special Foundation Funders plus (ii) the amount to be paid in the aggregate by all DIA
Direct Funders and both Special Foundation Funders on such Payment Date. The DIA may pay
an amount in excess of its obligation in this Section 2.1(a) without penalty or premium in
connection with any payment otherwise made with respect to a Payment Date.

                (b)     Except for The DIA’s guaranty obligations as provided in Section 2.8(c)
of this Agreement, and taking into account the application of Sections 2.1(c) and (d) below, The
DIA shall have no obligation to make any further payments and The DIA’s obligations shall be
entirely satisfied at such time (the “Termination Date”) as: (A) the sum of (1) the remaining
aggregate funding commitments of DIA Direct Funders to the Supporting Organization assuming
such commitments are paid precisely in accordance with the funding schedule reflected in their
individual DIA Direct Funder FDF Agreements plus, (2) the remaining aggregate funding
commitments of both Special Foundation Funders to the Supporting Organization assuming such
commitments are paid precisely in accordance with the funding schedule reflected in their
individual Foundation FDF Agreements, plus (3) the aggregate amount theretofore paid by DIA
Direct Funders, The DIA and both Special Foundation Funders to the Supporting Organization
that is paid to the City Account is greater than or equal to (B) the sum of (i) $5 million paid on
the Closing Date plus (ii) nineteen (19) payments of $5 million on each Payment Date thereafter,
with each of the amounts in (A) and (B) being calculated with application of the Present Value
Discount. The term “Termination Date” includes the date, if any, of the cancellation of the
commitment of The DIA hereunder in accordance with Section 2.5(b) of this Agreement.
Hypothetical examples of the calculation of The DIA’s payment obligations pursuant to this
Section 2.1 are attached as Schedule 2 to this Agreement.

              (c)    For purposes of the calculations in Sections 2.1(a) and 2.1(b) of this
Agreement, in the event of a City Event of Default during a particular fiscal year (July 1 through
June 30) that results in the cancellation of a payment pursuant to Section 2.5(b) of this


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Agreement, The DIA, all DIA Direct Funders and both Special Foundation Funders shall, in each
case, be deemed to have made the annual payment required by, with respect to The DIA, Section
2.1(a) of this Agreement and The DIA FDF Agreement, and with respect to DIA Direct Funders
and Special Foundation Funders by their respective Funding Agreements, on June 30 of such
year notwithstanding such cancellation of such scheduled payment.

               (d)      The DIA’s payment obligations under Sections 2.1(a) and 2.1(b) above
and Section 2.8(c) shall be reduced by (x) any litigation or defense costs, damages or settlement
costs incurred by The DIA, any DIA Direct Funder or any Special Foundation Funder to the
extent the City fails to meet its indemnity obligations set forth in Section 6.2 of this Agreement,
and (y) to the extent of any litigation or defense costs, damages or settlement costs incurred by
The DIA, any DIA Direct Funder or any Special Foundation Funder arising from the transactions
contemplated by this Agreement and the other Transaction Documentation that are not otherwise
covered by the City’s indemnity obligations in Section 6.2 of this Agreement.

        2.2    Foundation Funders Commitments to Supporting Organization. Under their
respective Foundation FDF Agreements, each Foundation Funder has committed to make an
aggregate amount of payments to the Supporting Organization. The obligation of each
Foundation Funder to make such aggregate amount of payments to the Supporting Organization
shall terminate at such time as, taking into account the application of Section 2.3(d), (A) the
aggregate amount theretofore paid by that Foundation Funder to the Supporting Organization
that is paid to the City Account is greater than or equal to (B) the aggregate amount of its
commitment paid (i) on the Closing Date plus (ii) the nineteen (19) payments on each Payment
Date thereafter, with each of the amounts in (A) and (B) being calculated with application of the
Present Value Discount. For purposes of the calculations in this Section 2.2, in the event of a
City Event of Default during a particular fiscal year (July 1 through June 30) that results in the
cancellation of a payment pursuant to Section 2.5(b) of this Agreement, all Foundation Funders
shall be deemed to have made the scheduled payment under their respective Foundation FDF
Agreements on June 30 of such year notwithstanding the cancellation of such scheduled
payment.

       2.3     Payments.

               (a)     Subject to the terms and conditions of ARTICLE II, funding of the
commitments shall be made by (i) each Foundation Funder pursuant to the terms and conditions
of its Foundation FDF Agreement, (ii) The DIA pursuant to the terms and conditions of this
Agreement and the DIA FDF Agreement, and (iii) each DIA Direct Funder pursuant to the terms
and conditions of its DIA Direct Funder FDF Agreement.

              (b)     Subject to the terms and conditions of this Agreement, on the Closing
Date, and on an annual basis thereafter commencing in 2016, on each Payment Date the
Supporting Organization will remit to the City Account pursuant to the wire transfer instructions
on Schedule 1 to this Agreement: (x) the payments made by all Foundation Funders as described
in Section 2.2 of this Agreement and any prepayments by Foundation Funders, plus (y) the
payments made by The DIA pursuant to Section 2.1 of this Agreement and the DIA FDF
Agreement and any prepayments by The DIA, plus (z) the payments made by all DIA Direct
Funders pursuant to the DIA Direct Funder FDF Agreements and any prepayments by DIA


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Direct Funders. No interest will be owed on any Funder’s payments. The Supporting
Organization shall not have any obligation to remit funds to the City Account if it has not
received scheduled payments from a Funder, except as provided in Section 2.8(c) of this
Agreement with respect to The DIA’s guaranty of payment obligations with respect to a
Defaulted DIA Funder. Further, the obligation of the Supporting Organization to remit payments
to the City shall terminate upon the remittance in the aggregate of $466 million, comprised of
$100 million from The DIA (including the commitments of DIA Direct Funders and Special
Foundation Funders) and $366 million from Foundation Funders (excluding Special Foundation
Funders), in each case, without interest and before applying any Present Value Discount, if
applicable, or the equivalent of such amount, applying the Present Value Discount, payable
$23.3 million at Closing and $23.3 million with respect to each Payment Date thereafter. For
purposes of the calculations in this Section 2.3(b), (x) in the event of a City Event of Default
during a particular fiscal year (July 1 through June 30) that results in the cancellation of a
payment by any Funder pursuant to Section 2.5(b) of this Agreement, the Supporting
Organization shall be deemed to have made the scheduled payment under this Agreement on
June 30 of such year notwithstanding such cancellation of such scheduled payment and (y) the
provisions of Section 2.3(d) shall, if applicable, be taken into account in such calculation.

                (c)     Either the City or the Supporting Organization may deliver written notice
to the other party that they have been unable to reach agreement upon the calculation of the
amount of any prepayment by any Foundation Funder applying the Present Value Discount in
accordance with the applicable Foundation FDF Agreement in advance of a particular Payment
Date. In addition, the City may deliver a written notice of objection to the Supporting
Organization regarding the calculation of the payment obligations of The DIA with respect to a
particular Payment Date within sixty (60) days after the remittance of the funds by the
Supporting Organization to the City on behalf of The DIA. Any such disputes regarding the
calculation of any such payment obligations under this Agreement or the applicable Foundation
FDF Agreement will be determined by an independent accounting firm of national or regional
(Midwest) reputation; provided that no such firm may have a conflict of interest and such firm
shall be required to maintain independence as those terms are defined by the AICPA Code of
Professional Conduct (as of June 1, 2012) (the “Accountant”). The Accountant shall be agreed
to by the City and the Supporting Organization with respect to a Foundation Funder or by the
City and The DIA if the dispute relates to The DIA’s payment obligations. If the applicable
Parties cannot agree on the Accountant within fourteen (14) days after either Party issues written
notice to the other Party of the existence of a dispute, then within seven (7) days after the end of
such fourteen (14) day notice period, each of such Parties shall submit the names of two (2)
accounting firms that meet the standards of the preceding sentence, within seven (7) days
thereafter, either Party may strike one name submitted by the other Party and the Accountant
shall be selected by lot from the remaining names. The City and the Supporting Organization or
The DIA, as applicable, shall deliver their calculations of the amounts they assert are owing to
the Accountant within fourteen (14) days after the selection of the Accountant. The Accountant
shall deliver its determination of the disputed payment obligations under this Agreement within
thirty (30) days after receipt of the written notice of calculations from the Parties, and when
rendered in writing, shall be final and binding upon each of the Parties. The City and The DIA
agree that the Supporting Organization shall not be responsible for any shortfall in the amount of
funds remitted to the City Account on behalf of The DIA due to a dispute regarding the
calculation of The DIA’s payment obligations in accordance with the provisions of this Section


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2.3(c) nor shall the Supporting Organization have any other liability as a result of any such
dispute.

               (d)     The obligation of the Foundation Funders under Section 2.2 of this
Agreement and of the Supporting Organization to remit funds to the City Account under Section
2.3(b) above shall be reduced by (x) any litigation or defense costs, damages or settlement costs
incurred by the Supporting Organization or the Foundation Funder to the extent the City fails to
meet its indemnity obligations set forth in Section 6.2 of this Agreement, and (y) to the extent of
any litigation or defense costs, damages or settlement costs incurred by the Supporting
Organization or the Foundation Funder arising from the transactions contemplated by this
Agreement and the other Transaction Documentation, that are not otherwise covered by the
City’s indemnity obligations in Section 6.2 of this Agreement.

       2.4     City Reporting and Conditions to Funding.

               (a)    Commencing in 2015, by December 31st of each year, the City shall, at its
expense, provide an annual report (the “Annual Report”) to the Supporting Organization
containing the following information:

                      (i)     an annual reconciliation report of the City Account, performed at
       the City’s expense, prepared by an independent external auditor, the selection of which is
       reasonably satisfactory to the Supporting Organization, certifying that the amounts
       transferred to the City Account by the Supporting Organization on each preceding
       Payment Date were used by the City in a manner consistent with the terms of the
       Transaction Documentation, including, without limitation, to make contributions to GRS
       and PFRS in satisfaction of the City’s obligation to contribute to the Prior GRS Pension
       Plan and the Prior PFRS Pension Plan in accordance with the Plan of Adjustment, the
       payment of reasonable expenses of maintaining the City Account and consistent with
       Section 6.3(e) of this Agreement,

                      (ii)    certification by the City’s Chief Financial Officer on behalf of the
       City that the City has complied with the covenants in Sections 5.2 and 5.3(a)-(d) of this
       Agreement through the date of the Annual Report,

                      (iii) certification from the Escrow Agent that to its knowledge the
       amounts contributed to the GRS or PFRS from the City Account were unencumbered by
       the City or any other entity,

                    (iv)      information as of the date of the Annual Report about the current
       membership of the:

                              (A)     board of trustees of the GRS (the “GRS Board”),

                              (B)     board of trustees of the PFRS (the “PFRS Board”),

                              (C)     investment committee of the GRS (the “GRS Investment
                                      Committee”), and



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                            (D)    investment committee of          the   PFRS      (the   “PFRS
                                   Investment Committee”).

                      The information for this subsection (iv) should include the term of each
      member (where applicable), whether the person is a member of the GRS Board or PFRS
      Board by virtue of his or her position with the City, by appointment or by election, and,
      with respect to the independent members of the Investment Committees, such person’s
      qualifications.

                    (v)     evidence from the respective Investment Committee reasonably
      necessary to show that the internal controls governing the investment of the respective
      Pension Funds are in compliance with the applicable provision of the Plan of Adjustment,
      and

                    (vi)    any additional information that is necessary to evidence that the
      City is in compliance with the terms of this Agreement as may be reasonably requested
      by the Supporting Organization from time to time.

             (b)     Prior to the Closing Date, the City shall cause the Pension Governance
Terms to be amended to provide that, commencing in 2015, no later than December 31 of each
year, the GRS Investment Committee and the PFRS Investment Committee will provide the
Supporting Organization with the following information:

                      (i)   a copy of the audited annual financial statement and the
      corresponding management letter for each of the GRS and the PFRS, as applicable, for
      the fiscal period ending June 30 of that year, containing a non-qualified opinion of an
      independent external auditor to the GRS and the PFRS, as applicable (the “Independent
      Audited Financial Reports”).

                     (ii)   a certification as of the date of the Annual Report from the
      respective Chair of each of the PFRS Investment Committee and the GRS Investment
      Committee on behalf of their respective Investment Committees in a form reasonably
      acceptable to the Supporting Organization (the “Pension Certificate”) that:

                            (A)    the City is current in its obligation to contribute to the Prior
                                   GRS Pension Plan and the Prior PFRS Pension Plan in
                                   accordance with the Plan of Adjustment,

                            (B)    the operation of the respective Investment Committees is in
                                   accordance with the applicable Pension Governance Terms,
                                   and

                            (C)    the City has complied and is continuing to comply with the
                                   covenants in Section 5.2(a) of this Agreement,

                   (iii) copies of the documentation provided for under Section 6 of the
      Contribution Agreement by and among the Michigan Settlement Administration
      Authority, GRS, PFRS and the City (“Contribution Agreement”), including, as


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       applicable: (A) the compliance report(s) (“Compliance Report”) covering the calendar
       year for which the Annual Report is made that the respective Investment Committee
       provided to the Treasurer of the State of Michigan (“Treasurer”); (B) any additional
       compliance reports provided during the calendar year for which the Annual Report is
       made as requested by the Treasurer; (C) either the certificate of compliance or the Default
       Notice, within the meaning of Section 6 of the Contribution Agreement, as applicable,
       that was provided to the respective Investment Committee by the Treasurer; and (D) in
       the event that the Treasurer issued a Default Notice, the Cure Certification, within the
       meaning of Section 6 of the Contribution Agreement, provided by the Investment
       Committee for the defaulting system. Notwithstanding anything in this subsection (iii) to
       the contrary, if the parties to the Contribution Agreement agree to revise the requirements
       of Section 6 of the Contribution Agreement or the information required in the
       Compliance Report, in order to meet the conditions of this subsection (iii), the respective
       Investment Committee shall be required only to provide documentation to the Supporting
       Organization that meets such revised requirements. However, any such change in
       reporting requirements pursuant to this subsection (iii) shall not change the reporting
       obligations under subsections (i), (ii), (iv) and (v) of this Section 2.4(b).

                      (iv)    Commencing in 2016, before May 15th of each year, the GRS
       Investment Committee and the PFRS Investment Committee will provide the Chief
       Financial Officer of the City with the information required of the GRS and PFRS in
       Section 2.4(c) of this Agreement, and

                      (v)   any additional information from the GRS Investment Committee or
       the PFRS Investment Committee that may be reasonably requested by the Supporting
       Organization from time to time.

               (c)    Commencing in 2016, by May 15th of each year, the City shall provide (or
with respect to the Pension Certificates cause to be provided) to the Supporting Organization a
reaffirmation of the information and certifications provided by the City in the Annual Report
which shall be executed by the Chief Financial Officer of the City (the “Interim
Reaffirmation”) and which shall confirm that as of the date of the Interim Reaffirmation there
has been no impairment or modification of the information in the most recent Annual Report
since the date of that Annual Report, and which shall include confirmation from the GRS
Investment Committee and PFRS Investment Committee that as of the date of the Interim
Reaffirmation there has been no impairment or modification of the information in the most
recent Pension Certificates since the date of such Pension Certificates. The Interim
Reaffirmation shall include copies of the unaudited financial statements as of and for the most
recent period prepared for each of the PFRS and the GRS.

To further confirm that the conditions precedent to funding are satisfied, the Supporting
Organization reserves the right to make an onsite review and inspection of the City’s records and
financial information and may employ at its cost an outside agent or consultant to undertake that
review. The City will cooperate with any such onsite review and will provide those persons
conducting the review adequate office space and assistance (without charge) to conduct that
review. The City specifically waives, in favor of the Supporting Organization, or its agent or
consultant, any fee for a public record search, pursuant to MCLA 15.234.


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                (d)    The obligation of The DIA, a DIA Direct Funder and a Foundation Funder
to make payment to the Supporting Organization of any portion of its commitment under this
Agreement or any other Funding Agreement is conditioned upon the City’s compliance with the
covenants in Sections 5.2 and 5.3(a)-(d) of this Agreement, satisfaction of the conditions
specified in Sections 2.4(a)-(c) above, the receipt of the Independent Audited Financial Reports
and the Pension Certificate. The City acknowledges that The DIA under this Agreement, and
under the DIA FDF Agreement, and each DIA Direct Funder and Foundation Funder under its
respective Funding Agreement, shall have no obligation to make any payment to the Supporting
Organization, nor shall the Supporting Organization have any obligation to remit any funds to
the City Account, until all material requisite conditions precedent to funding in Section 2.4 of
this Agreement are met. Failure of the City to meet the conditions to funding specified in this
Section 2.4 in any material respect, including based on the Supporting Organization informing
the City that the information provided in the Annual Report, the Independent Audited Financial
Reports, the Pension Certificates or the Interim Reaffirmation is incomplete or unsatisfactory,
shall be a “City Event of Default”.

       2.5     The City’s Cure Right; Suspension or Cancellation of Funding.

                (a)     The City shall have the opportunity to cure any City Event of Default by
May 15th of the year following the date the Annual Report is due under Section 2.4(a) above
(this being 135 days from the time conditions to funding were due to be met by the City)
provided an issuance of written notice of a City Event of Default by the Supporting Organization
was provided to the City by the Supporting Organization by January 31st of the year following
the year such Annual Report was due from the City under Section 2.4(a) above.
Notwithstanding the foregoing, to the extent that the applicable City Event of Default cannot
reasonably be cured by May 15th as specified above or if the Event of Default arises out of the
Independent Audited Financial Reports, the Pension Certificates or the Interim Reaffirmation of
that Annual Report, and as long as the City has commenced to cure, and diligently pursues the
cure of such default in good faith, such cure period shall be extended in writing by a reasonable
period of time (the “Extended Cure Period”), to permit the City to cure such City Event of
Default; provided, however, such Extended Cure Period shall not extend beyond December 15th
(being 346 days from the date the Annual Report was due under Section 2.4(a) above). The
City’s ability to receive the benefit of the Extended Cure Period shall be subject to the written
approval of the Supporting Organization upon receipt of a written request from the City setting
forth why the City believes that it will be able to meet the requirements set forth above within the
requested Extended Cure Period, which approval shall not be unreasonably withheld,
conditioned or delayed.

              (b)     All obligations of The DIA under this Agreement, and as acknowledged
by the City, all obligations of The DIA under the DIA FDF Agreement and of DIA Direct
Funders and Foundation Funders under their respective Funding Agreements, to make scheduled
payments and of the Supporting Organization to remit funds to the City Account shall be
suspended for the duration of the initial and any Extended Cure Period. The City acknowledges
and agrees that, if the City fails to cure a City Event of Default during the initial and any
Extended Cure Period, the scheduled payment of The DIA under this Agreement and under the
DIA FDF Agreement and of all DIA Direct Funders and Foundation Funders under their
respective Funding Agreements shall be cancelled, and the Supporting Organization shall have


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no obligation to remit any funds to the City Account with respect to such Payment Date.
Further, the City acknowledges and agrees that if the City fails to cure a City Event of Default
during the initial and any Extended Cure Period under this Agreement, The DIA, all DIA Direct
Funders, Foundation Funders and the Supporting Organization shall have the right to cancel their
respective remaining commitments under their respective Funding Agreements and this
Agreement.

         2.6    Disputes and Remedies Regarding Conditions Precedent to Funding. The
DIA shall have the right to rely upon the determination of the board of directors of the
Supporting Organization as to whether the conditions to a scheduled payment have been satisfied
and, if not initially satisfied, whether any City Event of Default shall have been timely cured.
The City acknowledges that each DIA Direct Funder and each Foundation Funder shall, pursuant
to its respective Funding Agreement, similarly have the right to rely upon the determination of
the board of directors of the Supporting Organization as to whether the conditions to a scheduled
payment have been satisfied and, if not initially satisfied, whether any City Event of Default
shall have been timely cured. The City shall have no claim (and not pursue any claim) against
The DIA, any DIA Direct Funder or any Foundation Funder for such Funder’s reliance upon the
determination of the Supporting Organization. In the event that the Supporting Organization has
determined that the conditions have not been satisfied (or the City Event of Default not timely
cured) and the City disputes that determination, the City’s only recourse shall be to dispute the
Supporting Organization’s determination in accordance with the provisions of Section 7.3 of this
Agreement.

        2.7     Notification of Funding Conditions. In the event it is determined by the
Supporting Organization or through the dispute resolution provisions in Section 7.3 of this
Agreement that the conditions to funding in Section 2.4 of this Agreement have been satisfied or
a City Event of Default timely cured, the Supporting Organization shall within five (5) Business
Days thereafter give written notification to each of The DIA, DIA Direct Funders and
Foundation Funders. The DIA, and pursuant to each Funder’s respective Funding Agreement,
each DIA Direct Funder and Foundation Funder, shall be required to make its respective
payment to the Supporting Organization (without interest) within twenty (20) days after written
notification of such determination is issued by the Supporting Organization.

       2.8    Failures to Fund.

                (a)   If The DIA has made its payment required under Section 2.1 of this
Agreement or a Foundation Funder or DIA Direct Funder has made its scheduled payment under
its respective Funding Agreement, in each case, to the Supporting Organization, the City shall
have recourse only to the Supporting Organization (and not to any such Funder that made its
payment) for such payment.

               (b)    If The DIA, a DIA Direct Funder or a Foundation Funder (the “Non-
funding Party”) has not within the twenty (20) day period specified in Section 2.7 of this
Agreement made its payment to the Supporting Organization in accordance with this Agreement
with respect to The DIA, or such DIA Direct Funder’s or Foundation Funder’s schedule reflected
in its Funding Agreement, as applicable (“Default Amount”), the Supporting Organization shall
notify the Non-funding Party that it must pay its Default Amount within thirty (30) days and if


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not so paid, that the Supporting Organization shall assign its right to enforce payment of the
Default Amount to the City. If the Non-funding Party does not pay its Default Amount within
the thirty (30) day period, the Supporting Organization shall assign its right to enforce payment
of the Default Amount to the City in full satisfaction of the Supporting Organization’s obligation
to make such payment to the City; provided that if the Non-funding Party is a DIA Direct Funder
or a Special Foundation Funder (a “Defaulted DIA Funder”) such assignment shall be made to
The DIA and not the City. Except with respect to the guaranty obligation of The DIA with
respect to a Defaulted DIA Funder in accordance with Section 2.8(c) below, the annual payment
amount due to the City from the Supporting Organization on the Payment Date will be reduced
by the Default Amount.

               (c)     In the case of a Defaulted DIA Funder, the Supporting Organization shall
issue written notice to The DIA within two (2) days after the expiration of the twenty (20) day
funding period specified in Section 2.7 of this Agreement of the name of the Defaulted DIA
Funder and the Default Amount. The DIA shall within five (5) Business Days of receipt of such
notice pay to the Supporting Organization (x) the Default Amount if the Termination Date has
occurred and (y) if the Termination Date has not occurred, such additional amount as is
necessary, if any, such that The DIA’s payment to the Supporting Organization with respect to
such Payment Date is equal to the amount that The DIA is otherwise required to pay pursuant to
Section 2.1 of this Agreement. The DIA shall not, however, have any obligation pursuant to this
Section 2.8(c) if The DIA’s commitment has been cancelled as provided in Section 2.5 of this
Agreement. If the Supporting Organization thereafter collects the Default Amount from the
Defaulted DIA Funder, the Supporting Organization shall promptly pay such amount to The
DIA.

                (d)     The City agrees that, except for the guaranty obligation of The DIA in
Section 2.8(c) of this Agreement with respect to a Defaulted DIA Funder, in no event will any
Funder other than the Non-funding Party have any responsibility for the payment or obligations
of such Non-funding Party, and the City will not have any right to collect any amounts from any
Funder except as set forth in Section 2.8(b) of this Agreement. No party other than the City (as
provided in Section 2.8(b) of this Agreement), the Supporting Organization, or The DIA with
respect to a Defaulted DIA Funder or a DIA Indirect Funder pursuant to any grant agreement
directly with The DIA shall have the right to assert any claim against any Funder. Without
limiting the foregoing, the failure of The DIA, any DIA Direct Funder, any Foundation Funder or
the Supporting Organization to make a scheduled payment shall only give rise to a claim by the
City against such Non-funding Party (pursuant to Section 2.8(b) above)., or by the Supporting
Organization, and not against any other Funder, the Supporting Organization, The DIA or the
DIA Assets; provided, however, (x) The DIA will have its guaranty obligations under Section
2.8(c) of this Agreement and its rights under its applicable grant agreement with each DIA
Indirect Funder and (y) the foregoing shall not preclude the City from asserting claims in
satisfaction of an indemnity claim pursuant to Section 6.1(b) of this Agreement but only against
cash, cash equivalents or cash receivables of The DIA (excluding any cash, cash equivalents or
cash receivables that are restricted in use by the terms of the donation, gift, bequest or
contribution of a third party or by restrictions imposed on the use of proceeds from the sale of art
by the applicable standards or ethical guidelines of the AAM or the Association of Art Museum
Directors (or such other organizations by which The DIA or the Museum or its Director is
accredited in the future or of which they become members in accordance with then applicable art


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museum best practices). Without limiting the foregoing, under no circumstances shall the City
or the Supporting Organization have a claim against any DIA Indirect Funder.

                (e)      The City will be responsible for all costs of its enforcement against the
Non-funding Party or the Supporting Organization, as applicable, and will not seek
reimbursement of costs of enforcement from any other Funder or the Supporting Organization.
No other person or entity shall have the right to enforce payment of any commitments in
connection with any Funding Agreement or any Transactional Documentation except as
specifically set forth in this Agreement.

                                          ARTICLE III
                                    Initial Funding; Closing

       3.1     Closing. The closing of the transactions pursuant to this Agreement (the
“Closing”) will take place immediately following the written confirmation from an authorized
representative of the City, the Supporting Organization and The DIA in the form of Exhibit E to
this Agreement (the “Closing Direction”); provided, that the Closing hereunder shall in all
events occur concurrently with the closing under the Charitable Trust Agreement. The time and
date on which the Closing occurs is referred to in this Agreement as the “Closing Date”.

        3.2    Initial Funding. On the Closing Date, subject to the satisfaction of the
deliverables pursuant to Section 3.3 of this Agreement, the Supporting Organization shall remit
to the City Account pursuant to the wire transfer instructions on Schedule 1 to this Agreement:

                    (i)     the aggregate payment by Foundation Funders (excluding Special
       Foundation Funders) of at least $18.3 million, and

                     (ii)   the aggregate payment by The DIA, DIA Direct Funders and
       Special Foundation Funders of at least $5 million.

        3.3    At the Closing. At the Closing, the Supporting Organization shall deliver, or
cause to be delivered, to each of the other Parties fully executed copies of the following which,
to the extent held by the Title Company in escrow, shall be deemed delivered by virtue of the
release of such documents by the Title Company in accordance with escrow instructions
previously delivered to the Title Company:

              (a)     each grant agreement between a Foundation Funder and the Supporting
Organization in substantially the form of Exhibit B to this Agreement (the “Foundation FDF
Agreement”).

              (b)     each grant agreement between a DIA Direct Funder and the Supporting
Organization in substantially the form of Exhibit C to this Agreement (the “DIA Direct Funder
FDF Agreement”).

                (c)     the agreement between The DIA and the Supporting Organization in
substantially the form of Exhibit D to this Agreement with respect to The DIA’s payment
obligations as set forth in Section 2.1 of this Agreement (the “DIA FDF Agreement”).



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                                   ARTICLE IV
Representations and Warranties; Covenants of The DIA and the Supporting Organization

       4.1    DIA Representations, Warranties and Covenants.

              (a)       The DIA represents and warrants that this Agreement and the DIA FDF
Agreement have been duly executed and The DIA’s obligations under this Agreement and under
the DIA FDF Agreement are authorized, valid and binding commitments of The DIA,
enforceable against it in accordance with their respective terms.

               (b)     The DIA acknowledges that (x) Foundation Funders, DIA Funders and the
Supporting Organization have no financial obligations other than, in the case of Foundation
Funders, on a several basis, their individual commitments in their respective Foundation FDF
Agreement, in the case of DIA Direct Funders, their respective commitments in each of their
DIA Direct Funder FDF Agreements, and DIA Indirect Funders pursuant to any grant agreement
directly with The DIA, and (y) that the Funders are not guaranteeing payment to the City of any
amount committed by any other Funder (other than The DIA with respect to its obligations in
Section 2.8(c) of this Agreement).

              (c)     The DIA agrees not to amend or modify the DIA FDF Agreement, or
release or waive any rights that it has under such Funding Agreement, in a manner that would
reasonably be expected to adversely affect the timing or amount of the payments to be made
thereunder without the consent of the City.

      4.2     Supporting Organization Representations and Warranties. The Supporting
Organization represents that its obligations under this Agreement and under the applicable
Funding Agreements have been duly executed and are authorized, valid and binding upon the
Supporting Organization, enforceable against it in accordance with their respective terms.

       4.3    Supporting Organization Covenants as to Funding Agreements.

               (a)    The Supporting Organization agrees not to amend or modify any Funding
Agreement, or release or waive any rights that it has under any Funding Agreement, in a manner
that would reasonably be expected to adversely affect the timing or amount of the payments to be
made thereunder (i) without the consent of the City and, (ii) with respect to any DIA Direct
Funder FDF Agreement or Foundation FDF Agreement with a Special Foundation Funder, the
consent of The DIA.

               (b)   The Supporting Organization shall promptly after execution thereof
deliver to The DIA and the City copies of any DIA Direct Funder FDF Agreement entered into
after the Closing Date, or any modifications to any DIA Direct Funder FDF Agreement or
Foundation FDF Agreement with a Special Foundation Funder executed at Closing, in the event
that the commitments thereunder are increased or modified (with the consent of The DIA) after
the Closing Date.

              (c)     Concurrently with the remittance of payments to the City Account by the
Supporting Organization, the Supporting Organization shall deliver to The DIA and the City a
schedule which reflects all payments received in such year from DIA Direct Funders and Special


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Foundation Funders and shall denote thereon whether any such payment represents a prepayment
in excess of the funding schedule under the applicable DIA Direct Funder FDF Agreement or
Foundation FDF Agreement, as applicable, and the date on which such payment was remitted to
the City Account.

        4.4     Reporting Obligations. The DIA will provide to the other Funders and the City,
and/or their representatives, within 150 days after the end of each fiscal year during the Payment
Period (i) annual financial statements of The DIA audited by an independent certified public
accountant and (ii) the annual report of the Director of the Museum in the form provided to the
board of directors of the Museum.

        4.5     Supporting Organization Observer Right. During the Payment Period, the
Supporting Organization shall have the right to designate a representative to attend and
participate in a non-voting observer capacity in the meetings of the Board of The DIA (or its
successor entity) subject to such observer’s compliance with the applicable policies regarding
confidentiality, conflicts of interest and other similar matters as may reasonably be adopted from
time to time by The DIA.

                                       ARTICLE V
                   Representations and Warranties; Covenants of the City

       5.1     City Representations and Warranties.

             (a)    The City represents and warrants that this Agreement has been duly
executed and the City’s obligations under this Agreement are authorized, valid and binding
commitments of the City, enforceable against it in accordance with its terms.

               (b)     The City acknowledges that (x) Foundation Funders, DIA Funders and the
Supporting Organization have no financial obligations other than, in the case of Foundation
Funders, on a several basis, each of their commitments in their individual Foundation FDF
Agreements, in the case of DIA Direct Funders, their respective commitments in each of their
DIA Direct Funder FDF Agreements, and DIA Indirect Funders pursuant to any grant agreement
directly with The DIA, and (y) that the Funders are not guaranteeing payment to the City of any
amount committed by any other Funder (other than The DIA with respect to its obligations in
Section 2.8(c) of this Agreement). The City further acknowledges that it has no rights under any
grant agreement between any DIA Indirect Funder and The DIA.

      5.2     City Commitments Relating to Pensions. The City covenants to The DIA and
Supporting Organization as follows:

              (a)     For the twenty (20) year period following the effective date of the Plan of
Adjustment, the City shall maintain the Pension Governance Terms reflected in the GRS and the
PFRS, as applicable, without modification or amendment, except as required to comply with
applicable federal law, including without limitation to maintain the tax qualified status of the
GRS or PFRS under the Internal Revenue Code, or the Plan of Adjustment.

              (b)    The City acknowledges that, except as provided in Section 6.3(e) and to
pay reasonable expenses of maintaining the City Account, all funds remitted by the Supporting


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Organization to the City Account in connection with this Agreement shall be used solely for the
payment of contributions to GRS and PFRS, allocated as provided in the Plan of Adjustment, in
satisfaction of the City’s obligation to contribute to the Prior GRS Pension Plan and the Prior
PFRS Pension Plan in accordance with the Plan of Adjustment. Except as provided in Section
6.3(e) and to pay reasonable expenses of maintaining the City Account, the City shall cause to be
transferred from the City Account for payment of contributions to the Prior GRS Pension Plan
and the Prior PFRS Pension Plan all amounts received from the Supporting Organization within
not more than three (3) Business Days after such funds are deposited in the City Account.

               (c)    The City shall notify the Supporting Organization in writing prior to the
selection of the initial and successor independent GRS Investment Committee and PFRS
Investment Committee members and such notice shall include information regarding the identity
and qualifications of the candidates under consideration by the State, the City and the GRS
Board or PFRS Board, as applicable. In addition, upon the written request of the Supporting
Organization, the City shall provide to the appropriate representatives of the State and the
applicable Board any written comments or observations about the candidates that the Supporting
Organization elects in its consulting role to provide to the City, provided that such written
comments or observations are received by the City no later than three (3) days after the City has
provided notice to the Supporting Organization of the identity of the candidates under
consideration.

               (d)     The City shall provide written notification of any change to the wire
transfer instructions to the City Account on Schedule 1 to this Agreement at least ten (10)
Business Days prior to the next Payment Date.

       5.3    Other City Commitments. The City covenants to The DIA and Supporting
Organization as follows:

               (a)     The City shall pass no charter, ordinance or other provision that solely
affects or primarily targets the Museum, The DIA or museums within the City generally which
charter, ordinance or other provision has a material adverse impact on the Museum or The DIA
(it being understood that a “material adverse impact” shall include any adverse financial impact
or any contradiction, or adverse impact on the enforceability, of the terms of the DIA Settlement
or the Transaction Documentation), except pursuant to State-enabling legislation.

            (b)     The City agrees that after the Effective Time the City of Detroit Arts
Commission will have no oversight of The DIA, the Museum or the DIA Assets.

               (c)    The City shall not impose any fee, tax or other cost on the Museum or The
DIA that solely affects or primarily targets the Museum, The DIA, the DIA Assets or museums
within the City generally.

               (d)      The City shall provide (or cause to be provided) utilities, police, fire and
other City services to The DIA at the same pricing and on the same terms upon which the City
offers to provide utilities, police, fire and such other City services to arm’s-length third parties
generally.




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              (e)   The City agrees that, as of the date hereof, there are no further
commitments from the Funders, the Supporting Organization, The DIA or the State relating to
the Museum or the DIA Assets beyond those contained in this Agreement or the other
Transaction Documentation.

                                          ARTICLE VI
                                         Indemnification

      6.1     Indemnification by The DIA. To the maximum extent permitted by law, The
DIA shall indemnify, defend and hold harmless:

               (a)    DIA Funders, Foundation Funders, the City and the Supporting
Organization and each of their Related Parties (the “DIA Indemnified Parties”) from, against,
and with respect to any Loss arising out of or in any manner, incident, relating or attributable to,
or resulting from The DIA’s failure to perform any of its obligations under the Transaction
Documentation; and

               (b)     the City and its Related Parties from, against, and with respect to any Loss
arising out of or in any manner, incident, relating or attributable to, or resulting from any claim
brought by an employee of The DIA arising from or relating to his/her employment with The
DIA which employment commenced at any time after the effective date of the Operating
Agreement and prior to the Effective Time, including without limitation, wrongful termination,
workers’ compensation, unemployment compensation, discrimination, violation of federal or
state labor or employment laws, ERISA, bodily injury, personal injury or defamation, but
excluding any claim relating to pension benefits from the GRS to which such employee was or is
entitled by virtue of having been employed by the City prior to the commencement of
employment with The DIA (the “Employee Liabilities”).

       6.2     Indemnification by the City.

                (a)    To the maximum extent permitted by law, the City shall indemnify,
defend, and hold Foundation Funders, DIA Funders, The DIA and the Supporting Organization
and their respective Related Parties (the “City Indemnified Parties”) harmless from, against,
and with respect to any Loss arising out of or in any manner incident, relating or attributable to,
or resulting from the following (provided indemnification will not be available to an Indemnified
Party to the extent resulting from such Indemnified Party’s breach of contract, sole ordinary
negligence, gross negligence or intentional wrongful acts):

                       (i)    Any claims by third parties or the City arising out of any action
       properly taken by a City Indemnified Party under the Transaction Documentation,
       including but not limited to, any payment or non-payment or performance of any other
       obligation of the City Indemnified Parties permitted thereunder;

                      (ii)   Any breach or failure of any representation or warranty of the City
       contained in the Transaction Documentation between the City and the City Indemnified
       Parties and/or other parties related to the transactions consummated pursuant to this
       Agreement or the Charitable Trust Agreement;



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                    (iii) Any failure by the City to perform, satisfy or comply with any
      covenant, agreement or condition to be performed, satisfied or complied with by the City
      under the Transaction Documentation with the City Indemnified Parties or under
      agreements with any third parties contemplated by this Agreement or the Charitable Trust
      Agreement;

                     (iv)    Reliance by the City Indemnified Parties upon any books or
      records of the City or reliance by them on any written information furnished by the City
      or any of the City’s employees, officials or agents to them to the extent any such
      information should prove to be false or materially inaccurate or misleading (including,
      without limitation, by omission), but only to the extent that such books, records or written
      information was furnished by the City in connection with the City showing its
      compliance with the conditions to initial or future funding as set forth in this Agreement;

                    (v)    Any claim or objection made after the Effective Date of the Plan of
      Adjustment in the Bankruptcy Case or any other action brought against, or involving, the
      City Indemnified Parties with respect to their participation in any transaction
      contemplated by the proposed or confirmed Plan of Adjustment;

                     (vi)     The transfer, assignment or sale by the City to The DIA of any
      assets or property (real or personal) and any rights, title and interests therein including
      but not limited to, the Museum and all of the Museum Assets;

                      (vii) Any action or claim against the City Indemnified Parties made by
      the GRS or PFRS, including any successors or assigns and any plan participants, or their
      representatives, successors or assigns (collectively, the “Pension Funds”), as nothing
      under the Transaction Documentation is intended to, nor are they to be construed or
      interpreted to, make the City Indemnified Parties a party in privity with, or having an
      obligation in any capacity to the Pension Funds. By way of illustration and not
      limitation, the following statements apply:

                            First, the City Indemnified Parties have no responsibility for the
             operation or administration of the Pension Funds and have no fiduciary
             responsibility for the Pension Funds as plan sponsor, plan administrator,
             investment advisor or otherwise; and

                           Second, the City Indemnified Parties have no obligation to
             contribute towards the funding of the Pension Funds and are not a funding
             guarantor.

                      (viii) Any action or claim brought by the City, The DIA, the Pension
      Funds or any other party concerning non-payment of the commitments pursuant to this
      Agreement (and the Funding Agreements) by the City Indemnified Parties due to the
      breach of the Transaction Documentation by the City, The DIA, the Pension Funds or any
      other party, so long as the City Indemnified Parties have made a good faith determination
      of the breach of the Transaction Documentation or payment condition.




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              (b)     The City shall not contest on any grounds the enforceability of its
indemnification obligations hereunder.

                (c)     Notwithstanding the foregoing, the Parties acknowledge that the City is
not making any representations to The DIA regarding the City’s title to the Museum Assets prior
to the Effective Time and that The DIA will not be entitled to indemnification in connection with
its defense of any claims by third parties after the Effective Time challenging The DIA’s title to
any Museum Asset to the extent that such claim is based on an allegation that the City did not
have legal title to the particular Museum Asset prior to the Effective Time (a “Quitclaim
Challenge”). To be clear, however, The DIA will be entitled to indemnification by the City
under this Section 6.2 in connection with any challenges after the Effective Time to The DIA’s
title to Museum Assets that are in any way based upon a claim that the title that the City had to
the Museum Assets prior to the Effective Time was not effectively conveyed to The DIA at and
as a result of the closing under the Charitable Trust Agreement. For avoidance of doubt, in the
event of a final determination by the Bankruptcy Court not subject to appeal or certiorari by a
court of competent jurisdiction that the Museum Assets must be re-conveyed to the City, the
Losses for which The DIA may be indemnified shall not include the value of the Museum Assets
but shall include all other Losses incurred by The DIA for which it is otherwise entitled to
indemnification under this Agreement.

                (d)     Notwithstanding the foregoing, the City’s indemnification of an
Indemnified Party shall be limited solely to Losses arising out of or related to the Indemnified
Party’s participation in any transaction contemplated by the DIA Settlement.

       6.3     Defense of Indemnity Claims.

               (a)     An Indemnified Party shall provide written notice to The DIA or the City,
as applicable (the “Indemnifying Party”) in a timely manner and in any event, within twenty-
one (21) days of receipt of any claim, of any matters as to which the Indemnified Party is entitled
to receive indemnification and shall set forth in such notice reasonable detail regarding specific
facts and circumstances then known by the Indemnified Party which pertain to such matters.
Failure or delay in providing such notice shall not relieve the Indemnifying Party of its defense
or indemnity obligations except to the extent the Indemnifying Party’s defense of an applicable
claim against an Indemnified Party is actually prejudiced by such Indemnified Party’s failure or
delay.

               (b)      To the extent the Indemnifying Party is notified of a claim for which it is
required to indemnify an Indemnified Party, the Indemnifying Party shall be solely responsible at
its expense for responding to or otherwise defending such claim. In such event, the
Indemnifying Party shall assume exclusive control of the defense of such claim at its sole
expense using counsel of its sole choosing and may settle such claim in its sole discretion;
provided, however, that (i) with respect to any claim that involves allegations of criminal
wrongdoing, the City shall not settle such claim without the prior written approval of the City
Indemnified Party, which approval may be withheld in such City Indemnified Party’s sole
discretion, and (ii) with respect to any other claim, the Indemnifying Party shall not settle such
claim in a manner that requires the admission of liability, fault, or wrongdoing on the part of an
Indemnified Party, that fails to include a release of all covered claims pending against the


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Indemnified Party, or that imposes any obligation on the Indemnified Party without the prior
written approval of the Indemnified Party, which approval may be withheld in such Indemnified
Party’s sole discretion.

              (c)     The Indemnifying Party will keep the Indemnified Party reasonably
informed of the status of any negotiations or legal proceedings related to any claim, and the
Indemnified Party shall be entitled to engage counsel (at its own expense) to monitor the
handling of any claim by the Indemnifying Party.

                (d)     Notwithstanding the foregoing, The DIA shall be entitled to defend on its
own behalf any claims regarding title to, interest in or control of the Museum Assets or operation
of the Museum (including with respect to a Quitclaim Challenge provided The DIA shall not be
entitled to indemnification for a Quitclaim Challenge, as set forth above). To the extent The DIA
intends to exercise such right, the City and The DIA shall use their commercially reasonable
efforts in good faith to coordinate a joint defense of such claim (including as to selection of joint
counsel). If the City and The DIA cannot agree on a joint defense of the claim, each Party shall
undertake its own defense, reserving all rights against the other for indemnification hereunder
with respect to such claim, but, in such case, The DIA shall not be entitled to indemnification of
its defense costs in connection therewith.

                (e)    Notwithstanding anything to the contrary set forth in this Agreement or in
the Charitable Trust Agreement, to the extent that the City is required to indemnify a City
Indemnified Party hereunder, and the underlying claim being indemnified does not arise out of
the City’s breach of contract (including a City Event of Default), sole ordinary negligence, gross
negligence or intentional wrongful acts and is not due to a claim brought by the City (including
pursuant to Section 2.8(b) of this Agreement), the City may reimburse itself for the costs of such
indemnity out of the City Account, in which case the amount payable by the City in satisfaction
of the City’s obligation to contribute to the Prior GRS Pension Plan and the Prior PFRS Pension
Plan shall be reduced by the amount reimbursed to the City for such indemnity.

                                          ARTICLE VII
                                          Miscellaneous

        7.1     No Third Party Beneficiary. Except for the Indemnified Parties, each of whom
is an express third-party beneficiary under this Agreement with respect to ARTICLE VI of this
Agreement, and each Funder who is an express third-party beneficiary under Sections 2.3(d),
2.5(b), 2.6, 2.8(a), 2.8(d), 2.8(e), 4.1(b), 4.4, 5.1(b) and 5.3(e) of this Agreement, the terms and
provisions of this Agreement are intended solely for the benefit of the Parties and their respective
successors and permitted assigns, and nothing contained in this Agreement, expressed or
implied, is intended to confer upon any person or entity other than the City, The DIA, and the
Supporting Organization any third-party beneficiary rights or remedies.

       7.2      Choice of Law; Jurisdiction; Venue. This Agreement shall be construed in
accordance with the laws of the State of Michigan without regard to such state’s choice of law
provisions which would require the application of the law of any other jurisdiction. By its
execution and delivery of this Agreement, each of the Parties irrevocably and unconditionally
agrees for itself that, except as to disputes regarding the calculation of the The DIA’s payment


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obligations under this Agreement or of a Foundation Funder under a Foundation FDF Agreement
which shall be determined in accordance with Section 2.3(c) of this Agreement, or any disputes
that are subject to arbitration in accordance with Section 7.3 of this Agreement, any legal action,
suit or proceeding against it with respect to any matter arising under or arising out of or in
connection with this Agreement, or for recognition or enforcement of any judgment rendered in
any such action, suit or proceeding, including a proceeding under Section 2.3(c) or Section 7.3 of
this Agreement, shall be brought in the Bankruptcy Court for so long as it has jurisdiction, and
thereafter in the United States District Court for the Eastern District of Michigan; provided that if
the United States District Court for the Eastern District of Michigan does not have jurisdiction,
then such legal action, suit or proceeding shall be brought in such other court of competent
jurisdiction located in Wayne County, Michigan; and provided, further, that The DIA may bring
a legal action, suit or proceeding in a state court to obtain a writ of mandamus to enforce the
obligations of the City in Section 5.3 of this Agreement. By execution and delivery of this
Agreement, each of the Parties irrevocably accepts and submits to the exclusive jurisdiction of
such court, generally and unconditionally, with respect to any such action, suit or proceeding and
specifically consents to the jurisdiction and authority of the Bankruptcy Court to hear and
determine all such actions, suits, and proceedings under 28 U.S.C. §157(b) or (c), whichever
applies.

        7.3     Dispute Resolution. Any controversy or claim arising out of or relating to the
satisfaction of the conditions precedent to funding in ARTICLE II of this Agreement shall be
settled by arbitration administered by the American Arbitration Association (“AAA”) in
accordance with its Commercial Arbitration Rules, and judgment on the award rendered by the
arbitrator(s) may be entered in any court having jurisdiction thereof in accordance with Section
7.2 of this Agreement. Any such controversy or claim shall be submitted to a panel of three (3)
AAA arbitrators. The place of the arbitration shall be within the Wayne County, Michigan.
Except as may be required by law, neither a party nor an arbitrator may disclose the existence,
content, or results of any arbitration hereunder without the prior written consent of all Parties to
the arbitration. The Parties may apply to the arbitrator seeking injunctive relief until the
arbitration award is rendered or the controversy is otherwise resolved. The Parties also may,
without waiving any remedy under this Agreement, seek from any court having jurisdiction in
accordance with Section 7.2 of this Agreement any interim or provisional relief that is necessary
to protect the rights or property of that party, pending the establishment of the arbitral tribunal
(or pending the arbitral tribunal’s determination of the merits of the controversy). Each Party
shall bear its own costs and expenses and an equal share of the arbitrators’ and administrative
fees of arbitration. With respect to any dispute as to a City Event of Default and a payment in
connection with the same, the arbitration proceeding and its findings contemplated under this
Section must be held and received by no later than the January 31st of the second calendar year
after the year in which the Annual Report was due, as provided in Section 2.4(a) above, from the
City to the Supporting Organization from which the disputed City Event of Default arose,
regardless of whether the City Event of Default arises from the Annual Report or the Interim
Reaffirmation of said report. If the arbitration hearing findings cannot be received by that
January 31st, the position of the Supporting Organization that the City Event of Default exists
and has not been cured will be deemed a final determination for purposes of determining whether
the conditions to funding have been satisfied.




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        7.4     Specific Performance. It is understood and agreed by the Parties that money
damages would be an insufficient remedy for any breach of this Agreement by any Party and
each non-breaching Party shall be entitled to specific performance and injunctive or other
equitable relief as a remedy for any such breach, including, without limitation, seeking an order
of the court having jurisdiction in accordance with Section 7.2 of this Agreement requiring any
Party to comply promptly with any of its obligations hereunder.

        7.5    Amendment and Waiver. This Agreement may be amended and any provision
of this Agreement may be waived; provided that any such amendment or waiver will be binding
upon the Parties only if such amendment or waiver is set forth in a writing executed by all Parties
during the Payment Period and, thereafter, by The DIA and the City. No course of dealing
between or among any persons having any interest in this Agreement will be deemed effective to
modify, amend or discharge any part of this Agreement or any rights or obligations of any Party
under or by reason of this Agreement.

        7.6     Notices. All notices, demands and other communications given or delivered
under this Agreement shall be given in writing to the address indicated below (or such other
address as the recipient specifies in writing) and will be deemed to have been given when
delivered personally, three (3) Business Days after mailed by certified or registered mail, return
receipt requested and postage prepaid, or when delivery is guaranteed if sent via a nationally
recognized overnight carrier, or when receipt is confirmed if sent via facsimile or other
electronic transmission to the recipient with telephonic confirmation by the sending party.

               The City of Detroit
               Law Department
               Coleman A. Young Municipal Center
               2 Woodward Avenue, 5th Floor
               Detroit, Michigan 48226
               Telephone: (313)224-1352
               Facsimile: (313)224-5505
               Attention: Corporation Counsel

                      with a copy to (which will not constitute notice):

                              Office of the Mayor
                              Coleman A. Young Municipal Center
                              2 Woodward Avenue, Suite 1126
                              Detroit, Michigan 48226
                              Facsimile: (313)224-4128
                              Attention: Mayor

               The Detroit Institute of Arts
               5200 Woodward Avenue
               Detroit, Michigan 48202
               Facsimile:
               E-mail:
               Attention: Director and Chief Financial Officer


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                      with a copy to (which will not constitute notice):

                              Honigman Miller Schwartz and Cohn LLP
                              2290 First National Bank Building
                              660 Woodward Avenue
                              Detroit, Michigan 48226-3506
                              Facsimile: (313)465-7575
                              E-mail: azschwartz@honigman.com
                              Attention: Alan S. Schwartz and
                              E-mail: jopperer@honigman.com
                              Attention: Joshua F. Opperer

               Foundation for Detroit’s Future
               333 West Fort Street, Suite 2010
               Detroit, Michigan 48226-3134
               Facsimile: (313)961-2886
               E-mail: rferriby@cfsem.org
               Attention: Robin D. Ferriby

        7.7     Binding Agreement; Assignment. This Agreement and all of the provisions
hereof will be binding upon and inure to the benefit of the Parties and their respective successors
and permitted assigns; provided that neither this Agreement nor any of the rights, interests or
obligations hereunder may be assigned by any Party (by operation of law or otherwise) without
the prior written consent of all the other Parties. Any attempted assignment in violation of this
Section 7.7 shall be null and void.

        7.8    Severability. Whenever possible, each provision of this Agreement will be
interpreted in such a manner as to be effective and valid under applicable law, but if any
provision of this Agreement is held to be prohibited by or invalid under applicable law, such
provision will be ineffective only to the extent of such prohibition or invalidity, without
invalidating the remainder of such provisions or the remaining provisions of this Agreement.

        7.9    No Strict Construction. The language used in this Agreement will be deemed to
be the language chosen by the Parties to express their mutual intent. In the event an ambiguity or
question of intent or interpretation arises, this Agreement will be construed as if drafted jointly
by the Parties, and no presumption or burden of proof will arise favoring or disfavoring any
Party by virtue of the authorship of any of the provisions of this Agreement.

        7.10 Captions. The captions used in this Agreement are for convenience of reference
only and do not constitute a part of this Agreement and will not be deemed to limit, characterize
or in any way affect any provision of this Agreement, and all provisions of this Agreement will
be enforced and construed as if no caption had been used in this Agreement.

       7.11 Entire Agreement. This Agreement, including the Exhibits, constitutes the
entire agreement of the Parties with respect to the subject matter of this Agreement and



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supersedes all other prior negotiations, agreements and understandings, whether written or oral,
among the Parties with respect to the subject matter of this Agreement.

        7.12 Counterparts. This Agreement may be executed in several counterparts, each of
which shall be deemed an original and all of which shall constitute one and the same instrument,
and shall become effective when counterparts have been signed by each of the Parties and
delivered to the other Parties; it being understood that all Parties need not sign the same
counterpart. The exchange of copies of this Agreement or of any other document contemplated
by this Agreement (including any amendment or any other change thereto) and of signature
pages thereof by facsimile transmission (whether directly from one facsimile device to another
by means of a dial-up connection or whether otherwise transmitted via electronic transmission),
by electronic mail in “portable document format” (“.pdf”) form, or by any other electronic
means intended to preserve the original graphic and pictorial appearance of a document, or by a
combination of such means, shall constitute effective execution and delivery of this Agreement
as to the Parties and may be used in lieu of an original Agreement or other document for all
purposes. Signatures of the Parties transmitted by facsimile, by electronic mail in .pdf form or
by any other electronic means referenced in the preceding sentence, or by any combination
thereof, shall be deemed to be original signatures for all purposes.

                                   [signature page follows]




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      IN WITNESS WHEREOF, the parties have executed this Omnibus Transaction
Agreement effective as of the Closing Date.

                                     THE CITY OF DETROIT


                                     By:
                                           Name:
                                           Title:


                                     THE DETROIT INSTITUTE OF ARTS


                                     By:
                                           Name:
                                           Title:

                                     FOUNDATION FOR DETROIT’S FUTURE


                                     By:
                                           Name:
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                                  EXHIBIT A

    SETTLEMENT, CONVEYANCE AND CHARITABLE TRUST AGREEMENT




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                                  EXHIBIT B

                       FOUNDATION FDF AGREEMENT




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                                  EXHIBIT C

                   DIA DIRECT FUNDER FDF AGREEMENT




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                                  EXHIBIT D

                            DIA FDF AGREEMENT




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                                          EXHIBIT E

                                   CLOSING DIRECTION

                                                                       ____________ ___, 2014

Title Source, Inc.
662 Woodward Avenue
Detroit, Michigan 48226-3422

       Re: Certification of Release Conditions

Ladies and Gentlemen:

       We refer to the Escrow Agreement, dated as of ___________ ____, 2014 (the “Escrow
Agreement”), among each of you and the undersigned. Capitalized terms used herein shall have
the meaning given in the Omnibus Transaction Agreement or Escrow Agreement, as applicable.

        By execution of this Certificate, each of the undersigned certifies that the conditions to
the Closing under the Omnibus Transaction Agreement and to the Closing Release specified in
Section 2.1 of the Escrow Agreement have been satisfied and directs that you shall undertake the
actions specified in Section 2.1 of the Escrow Agreement.

                                    [signature pages follow]




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                                     By:
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                                   SCHEDULE 1

                     Wire Transfer Instructions for City Account



U.S. Bank
777 E. Wisconsin Avenue
Milwaukee, WI 53202
ABA# 091000022
BNF: USBANK WIRE CLRG
Beneficiary Account Number: 180121167365
OBI: Detroit Art Escrow




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                                            SCHEDULE 2

               Examples of the Calculation of The DIA’s Payment Obligations

                    Examples Illustrating The DIA’s Payment Obligation
                       under the Omnibus Transaction Agreement

Example 1
                                                            DIA Direct
                                                            Funder and
                                       Previous DIA,        Special
                                       DIA Direct Funder,   Foundation
Previous                Aggregate      and Special          Funder
and Current   Payment   Committed      Foundation           Scheduled     DIA
Payment Dates Number    Payment        Funder Payments      Payments*     Payment

Closing**      1        $5,000,000     $0                   $0            $5,000,000
6/30/16        2        $10,000,000    $5,000,000           $2,000,000    $3,000,000
6/30/17        3        $15,000,000    $10,000,000          $5,000,000    $0
6/30/18        4        $20,000,000    $15,000,000          $5,000,000    $0
6/30/19        5        $25,000,000    $20,000,000          $5,000,000    $0
6/30/20        6        $30,000,000    $25,000,000          $5,000,000    $0
6/30/21        7        $35,000,000    $30,000,000          $5,000,000    $0
6/30/22        8        $40,000,000    $35,000,000          $5,000,000    $0
6/30/23        9        $45,000,000    $40,000,000          $5,000,000    $0
6/30/24        10       $50,000,000    $45,000,000          $5,000,000    $0
6/30/25        11       $55,000,000    $50,000,000          $5,000,000    $0
6/30/26        12       $60,000,000    $55,000,000          $5,000,000    $0
6/30/27        13       $65,000,000    $60,000,000          $5,000,000    $0
6/30/28        14       $70,000,000    $65,000,000          $5,000,000    $0
6/30/29        15       $75,000,000    $70,000,000          $5,000,000    $0
6/30/30        16       $80,000,000    $75,000,000          $5,000,000    $0
6/30/31        17       $85,000,000    $80,000,000          $5,000,000    $0
6/30/32        18       $90,000,000    $85,000,000          $5,000,000    $0
6/30/33        19       $95,000,000    $90,000,000          $5,000,000    $0
6/30/34        20       $100,000,000   $95,000,000          $5,000,000    $0
Total                                  $100,000,000         $92,000,000   $8,000,000

As of the Closing Date, $5 million multiplied by the single Payment Date (Closing) equals $5
million. The sum of previous payments by The DIA, DIA Direct Funders and Special
Foundation Funders ($0) and the DIA Direct Funders’ and Special Foundation Funders’
scheduled payment at Closing ($0) equals $0. Therefore, at Closing, The DIA is obligated to pay
$5 million less $0, which equals $5 million. The formula applies in an identical manner to the
June 30, 2016 Payment Date (and the remaining Payment Dates). $5 million multiplied by the
two (2) relevant Payment Dates (the Closing Date and June 30, 2016) equals $10 million. The
sum of the previous payments by The DIA, DIA Direct Funders and Special Foundation Funders
($5 million) and the DIA Direct Funders’ and Special Foundation Funders’ scheduled payment
($2 million) equals $7 million. Therefore, on June 30, 2016, The DIA is obligated to pay $10
million less $7 million, which equals $3 million.

As of June 30, 2016, The DIA has satisfied its payment obligation under the Omnibus
Transaction Agreement (other than its guarantee obligation). The Present Value Discount of the
total payments made as of the end of the day June 30, 2016, plus the Present Value Discount of


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the DIA Direct Funders’ and Special Foundation Funders’ remaining scheduled payments equals
the Present Value Discount of $5 million paid at Closing and 19 annual payments of $5 million
commencing as of June 30, 2016.

*DIA Direct Funder and Special Foundation Funder scheduled payments are assumed to be
made on the Payment Date, as scheduled.

** All examples assume an October 31, 2014 Closing Date.




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                Examples Illustrating The DIA’s Payment Obligation
                    under the Omnibus Transaction Agreement
Example 2: DIA Payments and Present Value Discount Limitation
                                                            DIA Direct
                                                            Funder
                                       Previous DIA,        and Special
                                       DIA Direct Funder,   Foundation
Previous                Aggregate      and Special          Funder
and Current   Payment   Committed      Foundation           Scheduled     DIA             DIA
Payment Dates Number    Payment        Funder Payments      Payments*     Payment         Prepayment

Closing        1        $5,000,000      $0                  $10,000,000   $0              $0
6/30/16        2        $10,000,000     $10,000,000         $10,000,000   $0              $0
6/30/17        3        $15,000,000     $20,000,000         $10,000,000   $0              $0
6/30/18        4        $20,000,000     $30,000,000         $10,000,000   $0              $0
6/30/19        5        $25,000,000     $40,000,000         $10,000,000   $0              $0
6/30/20        6        $30,000,000     $50,000,000         $10,000,000   $0              $0
6/30/21        7        $35,000,000     $60,000,000         $0            $0              $0
6/30/22        8        $40,000,000     $60,000,000         $0            $0              $0
6/30/23        9        $45,000,000     $60,000,000         $0            $0              $0
6/30/24        10       $50,000,000     $60,000,000         $0            $0              $0
6/30/25        11       $55,000,000     $60,000,000         $0            $0              $0
6/30/26        12       $60,000,000     $60,000,000         $0            $0              $0
6/30/27        13       $65,000,000     $60,000,000         $0            $5,000,000      $0
6/30/28        14       $70,000,000     $65,000,000         $0            $5,000,000      $0
6/30/29        15       $75,000,000     $70,000,000         $0            $4,316,096      $0
6/30/30        16       $80,000,000     $74,316,096         $0            $         **    $0
6/30/31        17       $85,000,000     $74,316,096         $0            $         **    $0
6/30/32        18       $90,000,000     $74,316,096         $0            $         **    $0
6/30/33        19       $95,000,000     $74,316,096         $0            $         **    $0
6/30/34        20       $100,000,000    $74,316,096         $0            $          **   $0
Total                                   $74,316,096         $60,000,000   $14,316,096     $0

As of the Closing Date, $5 million multiplied by the single Payment Date (the Closing Date)
equals $5 million. The sum of previous payments by The DIA, DIA Direct Funders and Special
Foundation Funders ($0) and the DIA Direct Funders’ and Special Foundation Funders’
scheduled payment at Closing ($10,000,000) is $10 million. Therefore, at Closing, The DIA is
not obligated to make a payment. The same result occurs for each Payment Date up to June 30,
2027.

As of the June 30, 2027 Payment Date, $5 million multiplied by the 13 relevant Payment Dates
equals $65 million. The sum of the previous payments by The DIA ($0) and DIA Direct Funders
and Special Foundation Funders ($60 million) and the DIA Direct Funders’ and Special
Foundation Funders’ scheduled payments on June 30, 2027 ($0), equals $60 million. Therefore,
on June 30, 2027, The DIA is obligated to pay $65 million less $60 million, which equals $5
million. The same result would occur for each of the remaining Payment Dates, except the
Present Value Discount limitation under Section 2.1(b) applies as of the June 30, 2029 Payment
Date. On that Payment Date, the formula for the Present Value Discount will result in The DIA
only needing to pay $4,316,096 in order for the Present Value Discount of the total payments
made as of the end of that day, plus the Present Value Discount of the DIA Direct Funders’ and
Special Foundation Funders’ remaining scheduled payments ($0) equaling the Present Value
Discount of $5 million paid at Closing and 19 annual payments of $5 million commencing as of
June 30, 2016.



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*DIA Direct Funder and Special Foundation Funder scheduled payments are assumed to be
made on the Payment Date, as scheduled.
**No payment due because of Present Value Discount limitation.




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                          Examples Illustrating The DIA’s Payment Obligation
                             under the Omnibus Transaction Agreement

Example 3: DIA Prepayments and Present Value Discount Limitation
                                                                   DIA Direct
                                                                   Funder
                                                                   and
                                              Previous DIA,        Special
                                              DIA Direct Funder,   Foundation
Previous                       Aggregate      and Special          Funder
and Current   Payment          Committed      Foundation           Scheduled     DIA              DIA
Payment Dates Number           Payment        Funder Payments      Payments*     Payment          Prepayment

Closing            1           $5,000,000      $0                  $10,000,000   $0               $0
6/30/16            2           $10,000,000     $10,000,000         $10,000,000   $0               $0
6/30/17            3           $15,000,000     $20,000,000         $10,000,000   $0               $0
6/30/18            4           $20,000,000     $30,000,000         $10,000,000   $0               $0
6/30/19            5           $25,000,000     $40,000,000         $10,000,000   $0               $0
6/30/20            6           $30,000,000     $50,000,000         $10,000,000   $0               $0
6/30/21            7           $35,000,000     $60,000,000         $0            $0               $0
6/30/22            8           $40,000,000     $60,000,000         $0            $0               $0
6/30/23            9           $45,000,000     $60,000,000         $0            $0               $0
6/30/24            10          $50,000,000     $60,000,000         $0            $0               $0
6/30/25            11          $55,000,000     $60,000,000         $0            $0               $0
6/30/26            12          $60,000,000     $60,000,000         $0            $0               $0
6/30/27            13          $65,000,000     $60,000,000         $0            $5,000,000       $4,683,841**
6/30/28            14          $70,000,000     $69,683,841         $0            $ 316,159        $3,726,128***
6/30/29            15          $75,000,000     $73,726,128         $0            $---------****   $0
6/30/30            16          $80,000,000     $73,726,128         $0            $---------****   $0
6/30/31            17          $85,000,000     $73,726,128         $0            $---------****   $0
6/30/32            18          $90,000,000     $73,726,128         $0            $---------****   $0
6/30/33            19          $95,000,000     $73,726,128         $0            $---------****   $0
6/30/34            20          $100,000,000    $73,726,128         $0            $---------****   $0
Total                                          $73,726,128         $60,000,000   $5,316,159       $8,409,969

The facts are the same as in Example 2, except that The DIA makes a $4,683,841 prepayment at
the time of the June 30, 2027 Payment Date. For the June 30, 2028 Payment Date, The DIA is
obligated to pay $316,159, calculated as follows: $5 million multiplied by 14 relevant Payment
Dates equals $70 million, less previous payments of $69,683,841, equals $316,159. The DIA
makes a $3,726,128 prepayment at the time of the June 30, 2028 Payment Date also. For the
June 30, 2029 Payment Date, The DIA is not obligated to make any payment, notwithstanding
the following calculation: $5 million multiplied by 15 relevant Payment Dates equals $75
million, less previous payments of $73,726,128, equals $1,273,872. However, under Section
2.1(b), the Present Value Discount of the payments made as of the end of the day on June 30,
2028 ($73,726,128, before discounting), plus the Present Value Discount of the DIA Direct
Funders’ and Special Foundation Funders’ remaining scheduled payments ($0) equals the
Present Value Discount of $5 million paid at Closing and 19 annual payments of $5 million
commencing as of June 30, 2016. The DIA’s prepayments at the time of the 2027 and 2028
Payment Dates results in The DIA not having a payment obligation in 2029 or thereafter.

*DIA Direct Funder and Special Foundation Funder scheduled payments are assumed to be
made on the Payment Date, as scheduled.
**$4,683,841 is the discounted value of $5 million at a 6.75% discount rate for a one-year
period.


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***$3,726,128 is the discounted amount that results in The DIA fulfilling its payment obligation
on a present value basis as of June 30, 2028.
****No payment due because of Present Value Discount limitation and no guarantee because
there are no remaining commitments.




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Example 4: DIA Prepayments and Present Value Discount Limitation
                                                                   DIA Direct
                                                                   Funder
                                              Previous DIA,        and Special
                                              DIA Direct Funder,   Foundation
Previous                       Aggregate      and Special          Funder
and Current   Payment          Committed      Foundation           Scheduled     DIA             DIA
Payment Dates Number           Payment        Funder Payments      Payments*     Payment         Prepayment
Closing         1              $5,000,000      $0                  $10,000,000   $0              $0
6/30/16         2              $10,000,000     $10,000,000         $10,000,000   $0              $0
6/30/17         3              $15,000,000     $20,000,000         $10,000,000   $0              $0
6/30/18         4              $20,000,000     $30,000,000         $10,000,000   $0              $0
6/30/19         5              $25,000,000     $40,000,000         $0            $0              $0
6/30/20         6              $30,000,000     $40,000,000         $0            $0              $0
6/30/21         7              $35,000,000     $40,000,000         $0            $0              $0
6/30/22         8              $40,000,000     $40,000,000         $0            $0              $0
6/30/23         9              $45,000,000     $40,000,000         $0            $5,000,000      $0
6/30/24         10             $50,000,000     $45,000,000         $0            $5,000,000      $0
6/30/25         11             $55,000,000     $50,000,000         $0            $5,000,000      $0
6/30/26         12             $60,000,000     $55,000,000         $0            $5,000,000      $0
6/30/27         13             $65,000,000     $60,000,000         $0            $5,000,000      $4,683,841**
6/30/28         14             $70,000,000     $69,683,841         $0            $ 316,159       $0
6/30/29         15             $75,000,000     $70,000,000         $0            $5,000,000      $0
6/30/30         16             $80,000,000     $75,000,000         $0            $1,969,618***   $0
6/30/31         17             $85,000,000     $76,969,618         $0            $0****          $0
6/30/32         18             $90,000,000     $76,969,618         $0            $0****          $0
6/30/33         19             $95,000,000     $76,969,618         $5,000,000    $0****          $0
6/30/34         20             $100,000,000    $81,969,618         $5,000,000    $0****          $0
Total                                          $86,969,618         $50,000,000   $32,285,777     $4,683,841

The facts are the same as in Example 3, except the DIA Direct Funders’ and Special Foundation
Funders’ Scheduled Payment has been revised as set forth above and The DIA will be required to
make payments for the Payment Dates in years 2023 through 2030. The DIA’s prepayment of
$4,683,841 at the time of the June 30, 2027 Payment Date and its payment obligation on the June
30, 2028 Payment Date remain the same as in Example 3. Under Section 2.1(a), The DIA has a
$5 million payment obligation with respect to the June 30, 2029 Payment Date. On the June 30,
2030 Payment Date, The DIA pays $1,969,618, notwithstanding the following calculation: $5
million multiplied by 16 relevant Payment Dates equals $80 million, less previous payments of
$75,000,000, equals $5,000,000. However, under Section 2.1(b), the Present Value Discount of
the payments made as of the end of the day on June 30, 2030 ($76,969,618 before discounting),
plus the Present Value Discount of the DIA Direct Funders’ and Special Foundation Funders’
remaining scheduled payments ($10,000,000, before discounting) equals the Present Value
Discount of $5 million paid at Closing and 19 annual payments of $5 million commencing as of
June 30, 2016. The DIA’s aggregate payments as of the June 30, 2030 Payment Date result in
The DIA not having a payment obligation in 2031 or thereafter.

*DIA Direct Funder and Special Foundation Funder scheduled payments are assumed to be
made on the Payment Date, as scheduled.
**$4,683,841 is the discounted value of $5 million at a 6.75% discount rate for a one-year
period.

                                              Schedule 2 – Example 4
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***$1,969,618 is the discounted amount that results in The DIA fulfilling its payment obligation
on a present value basis as of June 30, 2030.
****No payment due because of Present Value Discount limitation, but The DIA guarantee
applies if the 2033 and 2034 payments are not made or are not made on a timely basis.




                                    Schedule 2 – Example 4
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     Form of Settlement, Conveyance and Charitable Trust Agreement
     By and Between the City of Detroit and the Detroit Institute of Arts




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                                             FORM OF SETTLEMENT, CONVEYANCE
                                             AND CHARITABLE TRUST AGREEMENT




    SETTLEMENT, CONVEYANCE AND CHARITABLE TRUST AGREEMENT

                              BY AND BETWEEN

                            THE CITY OF DETROIT

                                     AND

                      THE DETROIT INSTITUTE OF ARTS




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      Exhibit B   –     Bill of Sale

      Exhibit C   –     Intellectual Property Assignment

      Exhibit D   –     Museum Quit Claim Deed

      Exhibit E   –     Cultural Center Garage Quit Claim Deed




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     SETTLEMENT, CONVEYANCE AND CHARITABLE TRUST AGREEMENT

        THIS SETTLEMENT, CONVEYANCE AND CHARITABLE TRUST AGREEMENT
(this “Agreement”), effective as of the Effective Time, is entered into by and between the City
of Detroit, Michigan (the “City”) and The Detroit Institute of Arts, a Michigan nonprofit
corporation f/k/a Founders Society Detroit Institute of Arts (“The DIA”). The City and The DIA
are together referred to herein as the “Parties” and individually as a “Party”. Capitalized terms
used in this Agreement and not defined herein shall have the meaning ascribed thereto in the
Omnibus Transaction Agreement among the City, The DIA and Foundation for Detroit’s Future,
a Michigan nonprofit corporation (the “Omnibus Transaction Agreement”).

                                          RECITALS

        WHEREAS, beginning in 1885 The DIA held the assets of the museum that is now
commonly referred to as the Detroit Institute of Arts (the “Museum”) in charitable trust for the
benefit of the people of the City and the State of Michigan (the “State”) and, beginning in 1919,
the City began to hold certain of such assets in charitable trust, with museum assets acquired by
either The DIA or the City, and assets contributed by other donors and the State, constituting
additions to the trust corpus to the extent not expended for the ongoing conduct of the trust’s
charitable and educational activities;

        WHEREAS, the Attorney General of the State has determined that the Museum
collection is held by the City in charitable trust;

        WHEREAS, The DIA asserts that the Museum and all Museum Assets are owned by the
City in charitable trust, the co-trustees of which are the City and The DIA and subject to the
protections of a public trust;

       WHEREAS, the City acknowledges that certain creditors of the City and other interested
persons have taken the position that the City has full legal and beneficial title to the Museum,
including its art collection;

        WHEREAS, this Agreement is being entered into as part of the DIA Settlement pursuant
to the Omnibus Transaction Agreement whereby the City will convey all of its right, title and
interest (including legal title it may hold as trustee and legal title and beneficial interest it
otherwise holds) to the Museum and all related assets to The DIA in exchange for fair value by
virtue of (i) the settlement of any dispute regarding the ownership of Museum and the Museum
Assets, (ii) the contributions through the Supporting Organization by The DIA (and through it,
the DIA Indirect Funders), DIA Direct Funders and Special Foundation Funders of $100 million,
of Foundation Funders (excluding Special Foundation Funders) of $366 million, and an
additional contribution by the State of $350 million, which aggregate $816 million (in each case
and in the aggregate before applying any discount for early payment), which amounts will be
paid for the benefit of Pension Claims of the City, and (iii) the commitment of The DIA to hold
the Museum Assets (as they may be augmented, replaced or disposed of consistent with the
perpetual charitable trust and as otherwise permitted under this Agreement) (collectively, “DIA
Assets”) in perpetual charitable trust and to operate the Museum primarily for benefit of the
residents of the City and the Tri-Counties and the citizens of the State;



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       WHEREAS, the allocation of responsibilities with respect to the charitable trust assets
and the operation of the Museum has changed from time to time;

       WHEREAS, The DIA currently operates the Museum and manages its assets under an
Operating Agreement for the Detroit Institute of Arts, made on December 12, 1997, between The
DIA and the City (the “Operating Agreement”) whereby those responsibilities have been
performed by The DIA as operator on the terms set forth therein;

        WHEREAS, the City and The DIA currently are parties to that certain Licensing
Agreement, dated December 12, 1997 (the “Licensing Agreement”) under which the City
licensed the use of certain intellectual property assets to The DIA, which will be terminated by
the Parties pursuant to this Agreement;

        WHEREAS, as part of the DIA Settlement and concurrently with the closing pursuant to
the Omnibus Transaction Agreement, the Transfer shall occur, each of the Operating Agreement
and the Licensing Agreement shall be terminated, and the other transactions and agreements
reflected herein shall become effective; and

       WHEREAS, the Transfer of the Museum and the Museum Assets is for fair value, for a
public purpose and authorized by law.

       NOW THEREFORE, in consideration of the covenants and agreements hereinafter set
forth and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, intending to be legally bound, the Parties hereby agree as follows:

                                          ARTICLE I
                                          Definitions

       1.1.    Definitions. As used in this Agreement:

        “Museum Assets” means the Museum art collection, operating assets, buildings, parking
lots and structures, and any other assets that are used primarily in operating or servicing the
Museum, including, without limitation, any item that is in the “City art collection” (as defined in
the Operating Agreement but taking into account any additions to or subtractions from such
collection over time) as of the Effective Time and including, without limitation, those items
described in Exhibit A to this Agreement and all items conveyed pursuant to the Bill of Sale,
Intellectual Property Assignment, Museum Quit Claim Deed and Cultural Center Garage Quit
Claim Deed (each as defined below).

       1.2.    Other Defined Terms. The following capitalized terms shall have the meanings
given to them in the Sections set forth opposite such term:




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Agreement                                                                                    Preamble
Assigned Intellectual Property                                                               Exhibit C
Bill of Sale                                                                             Section 3.2(i)
City                                                                                         Preamble
Cultural Center Garage                                                                 Section 3.2(iv)
Cultural Center Garage Quit Claim Deed                                                 Section 3.2(iv)
DIA Assets                                                                                    Recitals
Effective Time                                                                             Section 3.1
Intellectual Property Assignment                                                        Section 3.2(ii)
Licensing Agreement                                                                           Recitals
Museum                                                                                        Recitals
Museum Quit Claim Deed                                                                 Section 3.2(iii)
Omnibus Transaction Agreement                                                                Preamble
Operating Agreement                                                                           Recitals
Parties                                                                                      Preamble
Party                                                                                        Preamble
State                                                                                         Recitals
The DIA                                                                                      Preamble
Title Company                                                                              Section 3.2
Transfer                                                                                   Section 2.1


                                           ARTICLE II
                                         Transfer of Assets

        2.1.    Transfer. As of the Effective Time, the City hereby irrevocably sells, transfers,
conveys, assigns and delivers to The DIA, and The DIA hereby acquires, all of the City’s right,
title and interest (including legal title it may hold as trustee and legal title and beneficial interest
it otherwise holds) throughout the world in and to the Museum and the Museum Assets free and
clear of all security interests, liens, encumbrances, claims and interests of the City and its
creditors (the “Transfer”). Subject to the provisions in this Agreement, from and after the
Effective Time, The DIA shall have exclusive responsibility for and control over the Museum,
Museum Assets, Museum operations, capital expenditures, collection management, and the
purchase or sale of assets.

        2.2.    Liabilities. From and after the Effective Time, The DIA is assuming (i) the
obligations arising prior to the Effective Time to pay operating expenses to third parties to the
extent that any such obligation was an expense imposed on The DIA under the Operating
Agreement prior to the Effective Time and (ii) the Employee Liabilities. Except as provided in
the preceding sentence, The DIA is not assuming or in any way becoming liable for any of the
City’s debts, liabilities or obligations, whether known, unknown, absolute, contingent, matured
or unmatured, regardless of whether any of the foregoing relate to the Museum or the Museum
Assets.




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                                         ARTICLE III
                                  Effective Time; Deliverables

       3.1.    Effective Time. This Agreement will become effective immediately following
the written confirmation under the Omnibus Transaction Agreement that the Closing under the
Omnibus Transaction Agreement shall be deemed to occur (the “Effective Time”).

        3.2.   Deliverables. The City hereby delivers or causes to be delivered to The DIA the
following which, to the extent Title Source, Inc. (the “Title Company”) shall be deemed
delivered by virtue of the release of such documents by the Title Company in accordance with
the escrow instructions previously delivered to the Title Company:

                        (i)     the bill of sale substantially in the form of Exhibit B to this
       Agreement (the “Bill of Sale”) duly executed by the City pursuant to which all tangible
       and intangible assets included in the Museum Assets (including those described on
       Exhibit A to this Agreement) and not otherwise conveyed by a distinct instrument
       delivered pursuant to this Section 3.2 shall be conveyed to The DIA, including, without
       limitation, all rights to donations, gifts, bequests, grants and contributions for the benefit
       of the Museum or The DIA;

                     (ii)    the transfer agreement with respect to all Assigned Intellectual
       Property substantially in the form of Exhibit C to this Agreement (the “Intellectual
       Property Assignment”) duly executed by the City;

                       (iii) a quitclaim deed substantially in the form of Exhibit D to this
       Agreement (the “Museum Quit Claim Deed”) duly executed by the City with respect to
       the real estate referenced as the Museum building and grounds, the employee parking lot
       located at 5200 Woodward Avenue, Detroit, Michigan, and the Frederick Lot (Parcels 1-
       7 in Exhibit A to this Agreement);

                      (iv)   a quitclaim deed substantially in the form of Exhibit E to this
       Agreement (the “Cultural Center Garage Quit Claim Deed”) duly executed by the City
       with respect to the real estate referenced as the cultural center underground garages
       (Parcel 8 in Exhibit A to this Agreement being the “Cultural Center Garage”).

                                        ARTICLE IV
                            Termination of the Various Agreements

        4.1.  Termination of the Operating Agreement. As of the Effective Time, the
Operating Agreement is terminated without any further action or notice by the Parties and
without any further rights or obligations of any Party thereunder other than The DIA’s indemnity
obligation under Section J of the Operating Agreement (which shall survive in accordance with
its terms).

       4.2.    Termination of the Licensing Agreement. As of the Effective Time, the
Licensing Agreement is terminated without any further action or notice by the Parties and
without any further rights or obligations of any Party thereunder.


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        4.3.     Release. Each of the Parties hereby fully and forever, knowingly, voluntarily,
and irrevocably, releases, acquits, discharges and promises not to sue the other Party or its
Related Parties from, including, without limitation, any and all claims, demands, damages,
obligations, losses, causes of action, costs, expenses, attorneys’ fees judgments, liabilities, duties,
debts, liens, accounts, obligations, contracts, agreements, promises, representations, actions and
causes of action, other proceedings and indemnities of any nature whatsoever arising from or in
any way related to the Operating Agreement other than The DIA’s indemnity obligation under
Section J of the Operating Agreement (which shall survive in accordance with its terms), the
Licensing Agreement, the Museum, the Museum Assets or any other matter of any kind or
nature, whether accrued or contingent, known or unknown and whether based on law, equity,
contract, tort, statute or other legal or equitable theory of recovery, whether mature or to mature
in the future, which from the beginning of time of the world to the Effective Time, either Party
had, now has, or may have against the other Party or its Related Parties; provided that the
foregoing release shall not extend to, nor be deemed to modify in any respect, any right of any
Party under this Agreement or any other Transaction Documentation.

                                          ARTICLE V
                                 Representations and Warranties

        5.1.    Representations and Warranties of The DIA. The DIA represents and warrants
to the City that (a) it has the power and authority to execute and deliver this Agreement and each
Exhibit to this Agreement to which it is a party and to perform its obligations hereunder and
thereunder, (b) the execution, delivery and performance of this Agreement and each Exhibit to
this Agreement to which it is a party have been duly authorized by all necessary action, (c) this
Agreement and each Exhibit to this Agreement to which it is a party constitutes the valid and
binding obligation of The DIA, enforceable in accordance with its respective terms, and (d) its
performance under this Agreement and each Exhibit to this Agreement to which it is a party will
not conflict with, result in a breach of or constitute (alone or with notice or lapse of time or both)
a default under, any agreement or other instrument or any applicable law binding upon The DIA.

       5.2.    Representations and Warranties of The City. The City represents and warrants
to The DIA that (a) it has the power and authority to execute and deliver this Agreement and
each Exhibit to this Agreement to which it is a party and to perform its obligations hereunder and
thereunder, (b) the execution, delivery and performance of this Agreement and each Exhibit to
this Agreement to which it is a party have been duly authorized by all necessary action, (c) this
Agreement and each Exhibit to this Agreement to which it is a party constitutes the valid and
binding obligation of the City, enforceable in accordance with its respective terms, and (d) its
performance under this Agreement and each Exhibit to this Agreement to which it is a party will
not conflict with, result in a breach of or constitute (alone or with notice or lapse of time or both)
a default under, any agreement or other instrument or any applicable law binding upon the City.

        5.3.    Acknowledgement of No Further Representations and Warranties. Except
for the representations and warranties in Section 5.2 of this Agreement or as otherwise
specifically set forth in the Transaction Documentation, the Museum Assets are being transferred
by the City to The DIA without warranty or representation of any kind, including any warranty
of merchantability or fitness for a particular purpose or any warranty or representation which
might otherwise be inherent in a description or in specifications.

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                                         ARTICLE VI
                                      Covenants of the City

         6.1.    Further Assurances. In addition to the actions specifically provided for
elsewhere in this Agreement, at any time and from time to time, at The DIA’s reasonable
request, the City shall (x) at its own expense (except as provided in subsection (y)), do, execute,
acknowledge and deliver all and every such further acts, transfers, assignments, conveyances,
powers of attorney, and assurances (including in recordable form) as The DIA reasonably may
require to transfer, convey, assign and deliver the Museum and the Museum Assets free and clear
of all security interests, liens, encumbrances, claims and interests of the City and its creditors and
to confirm The DIA’s title to the Museum and all of the Museum Assets and (y) at no cost or
expense to the City, take such actions, including filing such releases, as may be necessary to
remove any security interest, lien, encumbrance, claim or interest of the City or any of its
creditors on the Museum or the Museum Assets.

        6.2.   Remittance of Museum Assets. If after the Effective Time, the City receives
(a) any monies for the benefit of The DIA or the Museum, including with respect to any existing
or future (i) donations, gifts, bequests, and contributions from individuals, corporations,
foundations and trusts, if any, and (ii) federal, state, regional, county or local tax proceeds and
grants from governmental or quasi-public entities, if any, other than proceeds or grants that are
intended for the City for reimbursement for specific amounts that were previously advanced or
funded by the City with the expectation of the City at the time of such advance or funding that
such reimbursement would be received by the City, or (b) any art or other property that is, as
designated by its grant, intended for the benefit of the Museum or The DIA, in each case, the
City shall promptly pay or deliver such monies, art or other property to The DIA.

      6.3. NO RECOURSE. THE TRANSFER OF THE MUSEUM AND THE MUSEUM
ASSETS IS FINAL AND IRREVOCABLE. THE DIA SHALL RETAIN TITLE TO AND
OWNERSHIP OF THE MUSEUM AND THE DIA ASSETS IN PERPETUITY AND THE
CITY SHALL NOT HAVE RECOURSE TO ANY OF THE DIA ASSETS FOR ANY CLAIMS
THE CITY MAY HAVE AGAINST THE DIA, ANY OTHER FUNDER, THE SUPPPORTING
ORGANIZATION, THE STATE OR OTHERWISE, WHETHER ARISING NOW OR IN THE
FUTURE, INCLUDING, WITHOUT LIMITATION, NONCOMPLIANCE BY THE DIA, ANY
OTHER FUNDER OR THE SUPPORTING ORGANIZATION WITH ANY OF THE TERMS
OR CONDITIONS OF THE OMNIBUS TRANSACTION AGREEMENT, THE
TRANSACTION DOCUMENTS OR ANY RELATED DOCUMENTS; PROVIDED THAT
THE FOREGOING SHALL NOT PRECLUDE THE CITY FROM ASSERTING CLAIMS IN
SATISFACTION OF AN INDEMNITY OBLIGATION PURSUANT TO SECTION J OF THE
OPERATING AGREEMENT OR SECTION 6.1(b) OF THE OMNIBUS AGREEMENT BUT
ONLY AGAINST CASH, CASH EQUIVALENTS OR CASH RECEIVABLES OF THE DIA
(EXCLUDING ANY CASH, CASH EQUIVALENTS OR CASH RECEIVABLES THAT ARE
RESTRICTED IN USE BY THE TERMS OF THE DONATION, GIFT, BEQUEST OR
CONTRIBUTION OF A THIRD PARTY OR BY RESTRICTIONS IMPOSED ON THE USE
OF PROCEEDS FROM THE SALE OF ART BY THE APPLICABLE STANDARDS OR
ETHICAL GUIDELINES OF THE AAM OR THE ASSOCIATION OF ART MUSEUM
DIRECTORS (OR SUCH OTHER ORGANIZATIONS BY WHICH THE DIA OR THE
MUSEUM OR ITS DIRECTOR IS ACCREDITED IN THE FUTURE OR OF WHICH THEY

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BECOME MEMBERS IN ACCORDANCE WITH THEN APPLICABLE ART MUSEUM
BEST PRACTICES).

                                         ARTICLE VII
                                      Covenants of The DIA

       7.1.    Charitable Trust.

                (a)     The DIA as trustee shall hold the DIA Assets in perpetual charitable trust.
The primary purpose of the charitable trust shall be to provide for the primary benefit of the
residents of the City and the Tri-Counties and the citizens of the State an art museum located in
the City of Detroit, including the ownership, maintenance and operation of The Detroit Institute
of Arts, and all the benefits that are derivative thereof.

                (b)     The DIA shall neither change the name of the Museum from “The Detroit
Institute of Arts” nor relocate the primary situs of the Museum from its current location at 5200
Woodward Avenue, Detroit, Michigan, without the approval of the City; provided that nothing in
this Agreement or in any other agreement included in the Transaction Documentation shall be
deemed to otherwise restrict the ability of The DIA to lend or to otherwise allow art works to
travel outside of the City or the State consistent with ordinary Museum operations.

                (c)     In its capacity as trustee of the perpetual charitable trust, The DIA shall
operate the Museum as an encyclopedic art museum in the City, in accordance with changing
future demands in the operation of such a Museum. The DIA shall not deaccession from its
collection or sell, lease, pledge, mortgage, or otherwise encumber art that is accessioned to its
permanent collection except in accordance with the code of ethics or applicable standards for
museums published by the AAM, as amended or modified by the AAM. If the AAM ceases to
exist or ceases to be generally regarded by leading American art museums as the preeminent
American art museum accreditation organization, then the code of ethics or applicable standards
(as may be amended or modified) of AAM’s successor organization, or such other organization
that is at that time generally regarded by leading American art museums as the preeminent
American art museum accreditation organization, shall be substituted for such policies of the
AAM.

        7.2.   State-wide Services. In addition to continuing to operate the Museum for the
primary benefit of the residents of the City, the Tri-Counties and the citizens of the State, and
continuing to provide the special services to the residents of the Tri-Counties during the balance
of the ten (10) year millage period commencing in 2013 that are provided for in the agreements
for the Millage, during the Payment Period The DIA will provide an array of art programs at no
or discounted costs to the residents of the State. In determining which programs to offer, both
the cost to The DIA of developing and operating these programs and The DIA’s other
fundraising obligations, including its need to raise funds for general operations and its stated goal
of building endowment funds, as well as any fundraising obligation under the Omnibus
Transaction Agreement, will be taken into account. As appropriate, The DIA will collaborate
with its Michigan museum colleagues in the development of these programs. Given the length of
the Payment Period, it is expected that these programs would be developed and adjusted over
time. Such programs could include at the outset:

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                       (i)    two exhibitions in each twelve-month period, with the first such
       period beginning six (6) months after the Closing, of objects from the Museum collection
       that will rotate through museums and art centers around the State on a schedule to be
       determined by The DIA and the recipient museums. Each exhibition will be developed
       and organized by The DIA and will include installation and de-installation of the objects,
       a marketing package (logo and advertising template) and, possibly, input on
       programming and education opportunities,

                     (ii)  an annual professional development program coordinated with the
       Michigan Museums Association designed to strengthen museum professionals and
       introduce museum job opportunities to student audiences,

                      (iii) an expansion of the Museum’s popular Inside/Out program (during
       the tenure of the program), which places high-quality art reproductions in Southeast
       Michigan communities, to include two additional outstate locations annually, supporting
       tourism, cultural awareness and life-long learning,

                       (iv)    art object conservation services at a discounted rate to Michigan
       museums conducted in consultation with the Museum conservators and the curatorial
       staff of the requesting museum, and

                       (v)    the development of an educational program based on the Museum
       collection that supports National Common Core Standards, to be offered in two Michigan
       communities annually and to include follow-up support for educators.

        7.3.    Liquidation. In the event of a dissolution of, and liquidation of the assets and
affairs of, The DIA in accordance with the Michigan Nonprofit Corporation Act, the DIA Assets
will be conveyed to another nonprofit entity determined by the board of directors of The DIA,
subject to the reasonable approval of the City and the Supporting Organization, if then in
existence, and otherwise by majority vote of the City and any Foundation Funders who have
remaining commitments under their Funding Agreements. As a condition to receiving the
conveyance, such successor entity must subject itself to the same conditions as set forth in this
Agreement, including but not limited to, holding the DIA Assets in perpetual charitable trust for
the primary benefit of the residents of the City and the Tri-Counties and the citizens of the State.
For the purposes of determining the majority vote described above, and for the avoidance of
doubt, the Parties agree that the City and each of the Foundation Funders who have remaining
commitments under their Funding Agreements at the time of such dissolution or liquidation shall
each have one vote with respect to any such approval.

        7.4.   City Board Representative. From and after the Effective Time, in perpetuity,
the City shall have the right to appoint one director to the Board of The DIA (or its successor
entity). Such representative shall be designated in writing to The DIA by the Mayor of the City
with approval by the City Council. Such director shall be subject to removal by The DIA for
cause. The City shall have the right in accordance with this Section 7.4 to appoint a successor
representative to any vacancy created by the removal of the City’s representative for cause or
otherwise.


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        7.5.    Enforcement of Certain of The DIA’s Obligations. The Attorney General of
the State and the Corporation Counsel of the City (on behalf of the City) (or their respective
successors) shall have the exclusive rights to enforce the obligations of The DIA (x) to hold the
DIA Assets in perpetual charitable trust and (y) under ARTICLE VII of this Agreement. If the
Corporation Counsel of the City (on behalf of the City) exercises its rights to enforce the
obligations of The DIA pursuant to this Section 7.5 by means of a legal action or proceeding, the
unsuccessful party to such action or proceeding shall pay to the prevailing party all costs and
expenses, including reasonable attorneys’ fees and disbursements, incurred by such prevailing
party in such action or proceeding and in any appeal in connection therewith. If such prevailing
party recovers a judgment in any such action, proceeding or appeal, such costs, expenses and
attorneys’ fees and disbursements shall be included in and as a part of such judgment.

                                       ARTICLE VIII
                        Incorporation by Reference; Entire Agreement

       8.1.    Incorporation by Reference. The following provisions of the Omnibus
Transaction Agreement are hereby incorporated by reference as if set forth in full herein mutatis
mutandis:     Article I (Definitions), Article VI (Indemnification) with respect to the
indemnification of the City by The DIA pursuant to Section 6.1 of the Omnibus Transaction
Agreement and the indemnification of The DIA by the City pursuant to Section 6.2 of the
Omnibus Transaction Agreement, subject to the limitations and procedural requirements
otherwise set forth in Article VI of the Omnibus Transaction Agreement, Section 7.4 (Specific
Performance), Section 7.6 (Notices) (with respect to the Parties hereto), Section 7.7 (Binding
Agreement; Assignment), Section 7.8 (Severability), Section 7.9 (No Strict Construction),
Section 7.10 (Captions), and Section 7.12 (Counterparts).

       8.2.    No Third Party Beneficiary. Except for the Related Parties, each of whom is an
express third-party beneficiary under this Agreement with respect to Section 4.3 of this
Agreement, and the Attorney General of the State who is an express third party beneficiary under
this Agreement with respect to Section 7.5 of this Agreement, the terms and provisions of this
Agreement are intended solely for the benefit of the City and The DIA and their respective
successors and permitted assigns, and nothing contained in this Agreement, expressed or
implied, is intended to confer upon any person or entity any third-party beneficiary rights or
remedies.

        8.3.    Choice of Law; Jurisdiction; Venue. This Agreement shall be construed in
accordance with the laws of the State of Michigan without regard to such state’s choice of law
provisions which would require the application of the law of any other jurisdiction. By its
execution and delivery of this Agreement, each of the Parties irrevocably and unconditionally
agrees for itself that, subject to the exclusive rights of the Attorney General of the State and the
Corporation Counsel of the City (on behalf of the City) as set forth in Section 7.5 of this
Agreement, any legal action, suit or proceeding against it with respect to any matter arising
under or arising out of or in connection with this Agreement or for recognition or enforcement of
any judgment rendered in any such action, suit or proceeding, shall be brought in the Bankruptcy
Court for so long as the Bankruptcy Court has jurisdiction, and thereafter in the United States
District Court for the Eastern District of Michigan; provided that if the United States District
Court for the Eastern District of Michigan does not have jurisdiction, then (i) if such legal action,

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suit or proceeding relates to or seeks to enforce the obligations of The DIA to hold the DIA
Assets in perpetual charitable trust or the obligations of The DIA under Article VII of this
Agreement, then such legal action, suit or proceeding shall be brought only in Wayne County
Probate Court, or (ii) if such legal action, suit or proceeding involves any other matter relating to
this Agreement not referenced in subsection (i), then it may be brought only in such other court
of competent jurisdiction located in Wayne County, Michigan. By execution and delivery of this
Agreement, each of the City and The DIA irrevocably accepts and submits to the exclusive
jurisdiction of such courts, generally and unconditionally, with respect to any such action, suit or
proceeding and specifically consents to the jurisdiction and authority of the Bankruptcy Court to
hear and determine all such actions, suits, and proceedings under 28 U.S.C. §157(b) or (c),
whichever applies.

        8.4.   Amendment and Waiver. This Agreement may be amended and any provision
of this Agreement may be waived; provided that any such amendment or waiver will be binding
upon the Parties only if such amendment or waiver is set forth in a writing executed by both
Parties. No course of dealing between The DIA and the City will be deemed effective to modify,
amend or discharge any part of this Agreement or any rights or obligations of either Party under
or by reason of this Agreement.

       8.5.    Entire Agreement. This Agreement, including the Exhibits, together with the
Omnibus Transaction Agreement, constitutes the entire agreement of the Parties with respect to
the subject matter of this Agreement and supersedes all other prior negotiations, agreements and
understandings, whether written or oral, among the Parties with respect to the subject matter of
this Agreement.

                                     [signature page follows]




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       IN WITNESS WHEREOF, the parties have executed this Settlement, Conveyance and
Charitable Trust Agreement effective as of the Effective Time.

                                      THE CITY OF DETROIT


                                      By:
                                            Name:
                                            Title:



                                      THE DETROIT INSTITUTE OF ARTS


                                      By:
                                            Name:
                                            Title:




     [SIGNATURE PAGE TO SETTLEMENT, CONVEYANCE AND CHARITABLE TRUST AGREEMENT]
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                                           EXHIBIT A

                                         Museum Assets

1.    The Museum building and grounds, and the employee parking lot located at 5200 Woodward
      Avenue, Detroit, Michigan, comprised of land and improvements bounded by Woodward
      Avenue as widened, existing John R Street, existing East Kirby Avenue and the South line of
      Farnsworth Avenue, depicted on the attached Exhibit A-1 AERIAL PHOTO MAP, and more
      particularly described in Commitment for Title Insurance No. 58743275 revision 5, with an
      effective date of December 16, 2013, and Commitment for Title Insurance No. 58781215, with
      an effective date of December 26, 2013, (collectively, the "Title Commitment") issued by Title
      Source Inc., as follows:

      PARCEL 1: Block A; together with the Northerly half of vacated Frederick Douglass
      Avenue adjacent thereto, of Ferry's Subdivision of Park Lot 40 and of Lots 1 to 18
      inclusive of Farnsworth's Subdivision of Park Lots 38 and 39, according to the recorded
      plat thereof, as recorded in Liber 18 of Plats, Page 71, Wayne County Records.

      PARCEL 2: Lots 43 through 78, both inclusive, together with the Southerly half of
      vacated Frederick Douglass Avenue adjacent to Lots 43 through 58, and the Northerly
      half of vacated Farnsworth Avenue adjacent to Lots 63 through 78, and together with
      vacated alleys appurtenant to said lots.

      PARCEL 3: Lots 103 through 120, both inclusive, together with the Southerly half of
      vacated Farnsworth Avenue adjacent to Lots 103 through 118, and vacated portions of
      Farnsworth Avenue adjacent to the South of Lots 103 through 117 and Lot 120, and
      vacated alleys appurtenant to said lots, of Farnsworth Subdivision of Park Lots 38 and
      39, according to the recorded plat thereof, as recorded in Liber 1, Page 16, Wayne
      County Records.

      PARCEL 4: Lots 31 to 37 of Farnsworth Subdivision of Park Lots 38 and 39, together
      with the southerly half of vacated Frederick Douglass Avenue adjacent to said lots and
      together with the vacated alley appurtenant to said lots, according to the recorded plat
      thereof, as recorded in Liber 1, Page 16, Wayne County Records.

      PARCEL 5: Lots 79 and 80 of Farnsworth Subdivision of Park Lots 38 and 39, together
      with the Northerly half of vacated Farnsworth Avenue adjacent to said lots and together
      with the vacated alley appurtenant to said lots, as recorded in Liber 1, Page 16 of Plats,
      Wayne County Records.

      PARCEL 6: The East 5 feet of Lot 85 and Lots 86 and 87 and the West 16 feet of Lot
      88, together with the Northerly half of vacated Farnsworth Avenue adjacent to said lots
      and together with the vacated alley appurtenant to said lots of Farnsworth Subdivision
      of Park Lots 38 and 39, as recorded in Liber 1, Page 16 of Plats, Wayne County Records.

      PARCEL 7: Lots 1 through 5, both inclusive, and Lots 10 through 14, both inclusive,
      Block 25, together with the Southerly half of vacated Frederick Douglass Avenue
      adjacent to Lots 1 through 5, Block 25, and the Northerly half of vacated Farnsworth
      Avenue adjacent to Lots 10 through 14, Block 25 and together with the vacated alley


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      appurtenant to said lots of Brush's Subdivision of that part of the Brush Farm lying
      between the North line of Farnsworth Street and South line of Harper Avenue, as
      recorded in Liber 17, Page 28 of Plats, Wayne County Records.

2.    The cultural center underground garages i.e., the parking garage with all appurtenant utilities,
      equipment, drives, pedestrian and vehicular entrances and easements therefor, on the south side
      of the Museum building located at 40 Farnsworth, Detroit, Michigan, depicted on the attached
      Exhibit A-1 AERIAL PHOTO MAP, and more particularly described in the Title Commitment
      as follows:

      PARCEL 8: A parking structure in the City of Detroit occupying space under and on the
      following described parcel of land. Land in the City of Detroit, being a part of Lots 62
      through 68 inclusive; parts of Lot 112 and 118 through 120 inclusive; all that part of
      Lots 113 through 117 inclusive not set aside as a part of Farnsworth Avenue, parts of
      public alleys and Farnsworth Avenue (60 feet wide) vacated by the Common Council on
      October 7, 1924 and January 11, 1927; all as platted in "Farnsworth's Subdivision of
      Park Lots 38 and 39, City of Detroit" recorded in Liber 1, Page 16 of Plats, Wayne
      County Records and also a portion of the Northerly 49 feet of Farnsworth Avenue (70
      feet wide), which was opened as a public street by action of the Common Council on
      October 7, 1924. Being more particularly described as follows: Commencing at the
      intersection of the South line of Farnsworth Avenue 70 feet wide and the East line of
      Woodward Avenue as widened August 2, 1932, J.C.C. Page 1279, thence North 29
      degrees 42 minutes 10 seconds West 22.17 feet, thence North 60 degrees 17 minutes 50
      seconds East 6.00 feet to the point of beginning of this parcel, thence North 29 degrees
      42 minutes 10 seconds West 248.16 feet; thence North 60 degrees 17 minutes 50
      seconds East 268.00 feet; thence South 29 degrees 42 minutes 10 seconds East 15.79
      feet; thence North 60 degrees 17 minutes 50 seconds East 1.00 feet to a point of curve;
      thence 11.77 feet along the arc of a curve concave to the Northeast with a Radius of
      14.00 feet, a Delta of 48 degrees 11 minutes 23 seconds with a Long Chord of 11.43 feet
      which bears South 53 degrees 47 minutes 52 seconds East to a point of reverse curve;
      thence 26.07 feet along the arc of curve concave to the Southwest, with a Radius of 31
      feet, a Delta 48 degrees 11 minutes 23 seconds with a Long Chord of




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       25.31 feet which bears South 53 degrees 47 minutes 52 seconds East; thence South 29
       degrees 42 minutes 10 seconds East 140.50 feet; thence 78.54 feet along the arc of a
       curve concave to the Northwest, with a Radius of 50.00 feet, a Delta of 90 degrees with
       a Long Chord of 70.71 feet which bears South 15 degrees 17 minutes 50 seconds West;
       thence South 60 degrees 17 minutes 50 seconds West 0.50 feet; thence South 29 degrees
       42 minutes 10 seconds East 4.00 feet; thence South 60 degrees 17 minutes 50 seconds
       West 4.00 feet; thence South 29 degrees 42 minutes 10 seconds East 6.00 feet; thence
       South 60 degrees 17 minutes 50 seconds West 39.50 feet; thence North 29 degrees 42
       minutes 10 seconds West 1.67 feet; thence South 60 degrees 17 minutes 50 seconds
       West 190 feet to the point of beginning.

       The bottom floor of this structure is at elevation 129.10 feet as related to the City of
       Detroit Datum Plane; the structure has two (2) floors of vehicle parking with the top of
       the roof at elevation 149.34 feet. The structure has three (3) pedestrian exit buildings,
       four (4) air exhaust shafts and a vehicular ramp all of which extend upwards from the
       garage roof to the ground surface at elevations varying from 150.6 to 153.7 feet.

       Together with the Easements created in Liber 20846, Page 762, Wayne County Records.

3.     The collection of works of art owned by the City and located primarily at the Museum, the
       Museum's off-site warehouse or the Josephine Ford Sculpture Garden located at or about 201
       East Kirby Street, Detroit, Michigan (which included at the effective date of the Operating
       Agreement the items listed in Exhibit 2 to the Operating Agreement) or included in the
       Museum collection (whether or not accessioned), whether or not reflected on any inventory
       and irrespective of the manner in which acquired by the City.

4.     All assets of any kind located on or within the real estate described in items 1-4 above and used
       in the operations of the Museum, as well as any easements or other property rights benefiting
       such real estate.

5.     All intangible property solely to the extent used in connection with the Museum and its art
       collection, including trademarks, copyrights and intellectual property, whether or not related to
       collection pieces.

6.     All City records, books, files, records, ledgers and other documents (whether on paper,
       computer, computer disk, tape or other storage media) presently existing to the extent relating
       to the Museum, its art collection or its operations or to The DIA (other than those documents
       which are confidential to the City and not The DIA).

All monies held by the City that are designated for The DIA or the Museum or that were raised for the
benefit of, or express purpose of supporting, The DIA or the Museum, including the approximately
$900,000 balance of proceeds of bonds issued for the benefit of The DIA by the City in 2010.




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                                  EXHIBIT B

                                  Bill of Sale




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                                   EXHIBIT C

                         Intellectual Property Assignment




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                                  EXHIBIT D

                            Museum Quit Claim Deed




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                                  EXHIBIT E

                     Cultural Center Garage Quit Claim Deed




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                      Form of Bill of Sale By the City of
                Detroit in Favor of the Detroit Institute of Arts




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                                                          FORM OF BILL OF SALE




                                BILL OF SALE

                                      BY

                            THE CITY OF DETROIT

                                IN FAVOR OF

                      THE DETROIT INSTITUTE OF ARTS




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                                         BILL OF SALE

        This Bill of Sale (this “Bill of Sale”), is effective as of the Effective Time, in favor of
The Detroit Institute of Arts, a Michigan nonprofit corporation f/k/a Founders Society Detroit
Institute of Arts (“The DIA”), by the City of Detroit, Michigan (the “City”). Capitalized terms
not otherwise defined in this Bill of Sale will have the meanings given to them in the Charitable
Trust Agreement (defined below).

                                            RECITALS

        WHEREAS, the City and The DIA are parties to that certain Settlement, Conveyance and
Charitable Trust Agreement (the “Charitable Trust Agreement”) pursuant to which, as of the
Effective Time, the City has irrevocably sold, transferred, conveyed, assigned and delivered to
The DIA, to be held in perpetual charitable trust for the benefit of the citizens of the City and the
State of Michigan (the “State”), all of the City’s right, title and interest (including legal title it
may hold as trustee and legal title and beneficial interest it otherwise holds) throughout the world
in and to the Museum Assets free and clear of all security interests, liens, encumbrances, claims
and interests of the City and its creditors; and

       WHEREAS, this Bill of Sale is being executed and delivered pursuant to the Charitable
Trust Agreement to confirm and further effectuate the Transfer as of the Effective Time.

        NOW, THEREFORE, for the consideration described in the Charitable Trust Agreement,
the receipt and sufficiency of which are hereby acknowledged:

        1.     Conveyance. The City hereby irrevocably sells, transfers, conveys, assigns and
delivers to The DIA, and The DIA hereby acquires, all of the City’s right, title and interest
(including legal title it may hold as trustee and legal title and beneficial interest it otherwise
holds) throughout the world in and to the Museum Assets and not otherwise conveyed by a
distinct instrument delivered pursuant to Section 3.2 of the Charitable Trust Agreement,
including, without limitation, all rights to donations, gifts, bequests, grants and contributions, for
the benefit of the Museum or The DIA, free and clear of all security interests, liens,
encumbrances, claims and interests of the City and its creditors. All Museum Assets being
transferred pursuant to this Bill of Sale shall be transferred on an “AS-IS, WHERE-IS” basis,
and the City makes no representations or warranties with respect to the Museum Assets. The
DIA shall hold the Museum Assets in perpetual charitable trust for the benefit of the citizens of
the City and the State in accordance with the terms of the Charitable Trust Agreement.

       2.      Construction. Nothing in this Bill of Sale, express or implied, is intended or will
be construed to expand or defeat, impair or limit in any way the rights, obligations, claims or
remedies of the Parties as set forth in the Charitable Trust Agreement. To the extent that any
term or provision of this Bill of Sale is deemed to be inconsistent with the terms of the Charitable
Trust Agreement, the terms of the Charitable Trust Agreement shall control.

        3.     Dispute Resolution. Any dispute arising under or arising out of this Bill of Sale
shall be adjudicated in accordance with and otherwise subject to the provisions of Sections 8.1
and 8.3 of the Charitable Trust Agreement.



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       4.     Binding Agreement. This Bill of Sale and all of the provisions hereof will be
binding upon, and inure to the benefit of, The DIA and the City and their respective successors
and permitted assigns.

        5.      Counterparts. This Assignment may be executed in several counterparts, each of
which shall be deemed an original and all of which shall constitute one and the same, instrument,
and shall become effective when counterparts have been signed by each of the Parties and
delivered to the other party; it being understood that both Parties need not sign the same
counterpart. The exchange of copies of this Assignment or of any other document contemplated
by this Assignment (including any amendment or any other change thereto) and of signature
pages thereof by facsimile transmission (whether directly from one facsimile device to another
by means of a dial-up connection or whether otherwise transmitted via electronic transmission),
by electronic mail in “portable document format” (“.pdf”) form, or by any other electronic
means intended to preserve the original graphic and pictorial appearance of a document, or by a
combination of such means, shall constitute effective execution and delivery of this Assignment
as to the Parties and may be used in lieu of an original Assignment or other document for all
purposes. Signatures of the parties transmitted by facsimile, by electronic mail in .pdf form or
by any other electronic means referenced in the preceding sentence, or by any combination
thereof, shall be deemed to be original signatures for all purposes.

                                    [signature page follows]




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       IN WITNESS WHEREOF, the undersigned has executed this Bill of Sale in favor of The
DIA as of the Effective Time.


                                               THE CITY OF DETROIT


                                               By:_______________________________
                                                 Name:
                                                 Its:


                                               THE DETROIT INSTITUTE OF ARTS


                                               By:_______________________________
                                                 Name:
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                            [SIGNATURE PAGE TO BILL OF SALE]
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             Form of Intellectual Property Assignment By and
         Between the City of Detroit and the Detroit Institute of Arts




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                                   FORM OF INTELLECTUAL PROPERTY ASSIGNMENT




                  INTELLECTUAL PROPERTY ASSIGNMENT

                              BY AND BETWEEN

                            THE CITY OF DETROIT

                                     AND

                      THE DETROIT INSTITUTE OF ARTS




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                       INTELLECTUAL PROPERTY ASSIGNMENT


        THIS INTELLECTUAL PROPERTY ASSIGNMENT (“Assignment”), is effective as of
the Effective Time, by and between the City of Detroit, Michigan (the “City”), and The Detroit
Institute of Arts, a Michigan nonprofit corporation f/k/a Founders Society Detroit Institute of
Arts (“The DIA”). The DIA and the City are referred to individually as a “Party” and
collectively, as the “Parties.” Capitalized terms not otherwise defined in this Assignment will
have the meaning given to them in the Charitable Trust Agreement (as defined below).

                                            RECITALS

        WHEREAS, the City and The DIA are parties to that certain Settlement, Conveyance and
Charitable Trust Agreement (the “Charitable Trust Agreement”) pursuant to which, as of the
Effective Time, the City has irrevocably sold, transferred, conveyed, assigned and delivered to
The DIA, to be held in perpetual charitable trust for the benefit of the citizens of the City and the
State of Michigan (the “State”), all of the City’s right, title and interest (including legal title it
may hold as trustee and legal title and beneficial interest it otherwise holds) throughout the world
in and to the Museum Assets free and clear of all security interests, liens, encumbrances, claims
and interests of the City and its creditors;

       WHEREAS, included among the Museum Assets are certain Assigned Intellectual
Property (as defined below) relating to the City Art Collection (as defined below);

        WHEREAS, the City desires to convey, transfer, assign and deliver to The DIA, to be
held in perpetual charitable trust for the benefit of the citizens of the City and the State, and The
DIA desires to accept from the City, all of the City’s right, title and interest in and to the
Assigned Intellectual Property (including legal title it may hold as trustee and legal title and
beneficial interest it otherwise holds) throughout the world free and clear of all security interests,
liens, encumbrances, claims and interests of the City and its creditors; and

       WHEREAS, this Assignment is being executed and delivered pursuant to the Charitable
Trust Agreement to confirm and further effectuate the Transfer as of the Effective Time.

       NOW, THEREFORE, for valuable consideration, including, without limitation, the
consideration received by the City under the Charitable Trust Agreement, the receipt of which is
hereby acknowledged, the City and The DIA hereby agree as follows:

       1.      Definitions. As used in this Agreement:

        “Assigned Intellectual Property” shall mean the City’s entire right, title and interest
throughout the world in and to the Copyrights, Trademark Rights, Patent Rights and Other
Rights embodied in, related to, evidenced by or are or that were inherent in, associated with, or
primarily used to develop, manage or exploit the City Art Collection or operation of the
Museum, and specifically including, but not limited to, the rights: (a) to seek and obtain
protection therefor (including, without limitation, the right to seek and obtain copyright
registrations, trademark registrations, industrial design registrations, and design and utility



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patents and the like) in the United States and all other countries in The DIA’s name (or otherwise
as The DIA may desire); (b) to sue for and collect damages and all other remedies for any current
or past infringements, violations, or misappropriations of the same; and (c) to collect royalties,
products and proceeds in connection with any of the foregoing.

        “City Art Collection” shall mean the works of art owned by the City, and part of the
collection of the Museum or otherwise under the auspices of the Museum (including, without
limitation, any item that is still in the “City art collection” (as defined in the Operating
Agreement but taking into account any additions to or subtractions from such collection over
time) as of the Effective Time), the Museum’s library, all related license rights and permissions
in favor of the City and/or The DIA (to the full extent that they are subject to transfer), whether
by (a) gift directly to The DIA or the City or to any third person or entity for the benefit of the
Museum; (b) purchase; or (c) otherwise.

        “Copyrights” shall mean the City’s rights to all works of authorship under the copyright
laws of the United States and all other countries and governmental divisions throughout the
world for the full term or terms thereof (and including all copyright rights accruing by virtue of
copyright treaties and conventions) including, but not limited to, all moral rights, all rights of
attribution and integrity, any and all renewals, extensions, reversion or restoration of copyright
now or hereafter provided by law and all rights to make applications for and receive copyright
registrations therefor in the United States and all other countries.

       “Other Rights” shall mean all intellectual property and proprietary rights in the United
States and all other countries and governmental divisions throughout the world not otherwise
included in the Copyrights, Trademark Rights and Patent Rights, and specifically including, but
not limited to, worldwide rights in and to all trade secrets, trade dress, know-how, techniques,
designs, concepts, confidential information and associated goodwill.

        “Patent Rights” shall mean all patent applications and issued patents throughout the
world in the United States and all foreign countries which have been or may be granted therefor
and thereon, and any and all divisions, continuations, continuations-in-part, reexaminations,
substitutions, reissues, extensions and renewals of such patents.

        “Trademark Rights” shall mean all trademarks, service marks, trade names, trade dress,
domain name registrations and other indicia of source, together with the goodwill associated with
and symbolized by the same, including any applications, registrations, renewals and extensions
thereof, and all other corresponding rights at common law or otherwise that are or may be
secured under the laws of the United States or any foreign country, now or hereafter in effect.

        2.     Assignment. The City hereby irrevocably assigns, conveys, sells, grants and
transfers to The DIA, and The DIA hereby acquires, the City’s entire right, title and interest
(including legal title it may hold as trustee and legal title and beneficial interest it otherwise
holds) throughout the world in and to the Assigned Intellectual Property free and clear of all
security interests, liens, encumbrances, claims and interests of the City and its creditors. All
Assigned Intellectual Property being transferred pursuant to this Assignment shall be transferred
on an “AS-IS, WHERE-IS” basis, and the City makes no representations or warranties with
respect to the Assigned Intellectual Property. The DIA shall hold the Assigned Intellectual

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Property in a perpetual charitable trust for the benefit of the citizens of the City and the State in
accordance with the terms of the Charitable Trust Agreement.

       3.     Construction. Nothing in this Assignment, express or implied, is intended or will
be construed to expand or defeat, impair or limit in any way the rights, obligations, claims or
remedies of the Parties as set forth in the Charitable Trust Agreement. To the extent that any
term or provision of this Assignment is deemed to be inconsistent with the terms of the
Charitable Trust Agreement, the terms of the Charitable Trust Agreement shall control.

       4.     Dispute Resolution. Any dispute arising out of this Assignment shall be
determined in accordance with the provisions of Sections 8.1 and 8.3 of the Charitable Trust
Agreement

       5.     Binding Agreement. This Assignment and all of the provisions hereof will be
binding upon and inure to the benefit of the Parties and their respective successors and permitted
assigns.

        6.      Counterparts. This Assignment may be executed in several counterparts, each of
which shall be deemed an original and all of which shall constitute one and the same instrument,
and shall become effective when counterparts have been signed by each of the Parties and
delivered to the other party; it being understood that both Parties need not sign the same
counterpart. The exchange of copies of this Assignment or of any other document contemplated
by this Assignment (including any amendment or any other change thereto) and of signature
pages thereof by facsimile transmission (whether directly from one facsimile device to another
by means of a dial-up connection or whether otherwise transmitted via electronic transmission),
by electronic mail in “portable document format” (“.pdf”) form, or by any other electronic means
intended to preserve the original graphic and pictorial appearance of a document, or by a
combination of such means, shall constitute effective execution and delivery of this Assignment
as to the Parties and may be used in lieu of an original Assignment or other document for all
purposes. Signatures of the parties transmitted by facsimile, by electronic mail in .pdf form or
by any other electronic means referenced in the preceding sentence, or by any combination
thereof, shall be deemed to be original signatures for all purposes.

                                     [signature pages follow]




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        IN WITNESS WHEREOF, each of the undersigned has executed this Assignment of
Intellectual Property as of the Effective Time.


                                              THE CITY OF DETROIT

                                              By: __________________________
                                              Name:
                                              Title:


CITY OF DETROIT                       )
                                      ) SS
STATE OF MICHIGAN                     )

       I, a Notary Public, certify that on the __________ day of _________, 2014 before me personally
appeared ____________________, to me known and known to me to be of legal capacity and
acknowledged his/her signature appearing on the foregoing instrument and ratified the same.


                                              _____________________________________________
                                              Notary Public

                                              My commission expires: _________________________




                   [SIGNATURE PAGE TO INTELLECTUAL PROPERTY ASSIGNMENT]
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                                              THE DETROIT INSTITUTE OF ARTS


                                              By: __________________________
                                              Name:
                                              Title:


CITY OF DETROIT                       )
                                      ) SS
STATE OF MICHIGAN                     )

       I, a Notary Public, certify that on the __________ day of _________, 2014 before me personally
appeared ____________________, to me known and known to me to be of legal capacity and
acknowledged his/her signature appearing on the foregoing instrument and ratified the same.

                                               ____________________________________________
                                              Notary Public

                                              My commission expires: _______________________




                   [SIGNATURE PAGE TO INTELLECTUAL PROPERTY ASSIGNMENT]
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                    Form of Foundation FDF Agreement




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                                        08/06/2014
                            [Form of Foundation FDF Agreement]

______________________________________________________________________________

TERMS OF GRANT AGREEMENT

I.     Acceptance of Grant

The grant to your organization from the [INSERT NAME OF FOUNDATION] (“Foundation”) is
for the explicit purposes described below and is subject to your acceptance of the terms
described herein.

To accept the grant, return a signed copy of this “Terms of Grant Agreement” to the Foundation.
Keep the other copy for your files. Please refer to the grant number and title in all
communications concerning the grant.

       Grantee:                                             Date Authorized:

       Foundation for Detroit’s Future                      [Insert Date], 2014

       Grant Number:                                        Amount Granted:

       #[Insert grant number]                               $[Insert Grant Amount]
                                                            (Conditional, multi-year)

II.    Grant

The purpose of this grant of $[INSERT GRANT AMOUNT] to the Foundation for Detroit’s Future
(“Grantee”), a supporting organization of the Community Foundation for Southeast Michigan, is
to provide the funding, in part, for the proposed DIA Settlement found in the Corrected Fifth
Amended Plan for the Adjustment of the Debts of the City of Detroit, as it may be further
amended and as modified, and in a term sheet found in Exhibit I.A.102 of same, provided DIA
Settlement provisions and said term sheet remain substantially unchanged (“Plan of
Adjustment”). The grant and the payment of the grant installments will be conditioned upon the
City of Detroit and the City of Detroit General Retirement System and Police and Fire
Retirement System (“Pension Funds”) being in compliance with (i) the conditions precedent for
closing found in the Plan of Adjustment, and (ii) certain material grant conditions, of both an
initial and ongoing nature, that are memorialized in the Omnibus Transaction Agreement
(“OTA”) to be entered into between the City of Detroit, the Detroit Institute of Arts, and the
Grantee substantially in the form attached to this Terms of Grant Agreement as Exhibit A and
incorporated herein by this reference, a copy of which will be provided to Foundation promptly
following its execution. Any capitalized defined terms not defined herein will have the definitions
found in the OTA.

This Terms of Grant Agreement is also known as a “Foundation FDF Agreement” under the
OTA.




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Grant payments will be made in equal annual installments over a twenty-year period, subject to
those conditions and any terms and conditions of this Terms of Grant Agreement. The schedule
of grant payments will be made as follows and subject to the following conditions:

       a. Initial Grant Payment
          1. Payment amount and date. Foundation will make an initial grant payment to
               Grantee of $[INSERT 1/20 OF TOTAL GRANT AWARD] upon the later of (i) the
               return of this signed Terms of Grant Agreement by Grantee, and (ii) August 30,
               2014.
          2. Payment Conditions.
               Grantee acknowledges that this initial grant payment is being made by
               Foundation in order to facilitate the ability of Grantee to provide, in part, the initial
               payment to the City of Detroit by Grantee due at Closing in the event that the DIA
               Settlement found in the Plan of Adjustment is approved, and both (i) the City of
               Detroit and the City of Detroit Pension Funds are in compliance with their
               material grant conditions, of both an initial and ongoing nature, that are
               memorialized in Article IV(E) of the Plan of Adjustment and (ii) the conditions to
               the Foundation’s and Grantee’s grant obligations set forth in the OTA and the
               Plan of Adjustment have been satisfied in all material respects.

               In the event that the Plan of Adjustment is not approved by the U.S. Bankruptcy
               Court, or the Closing is otherwise not consummated, by December 31, 2014,
               Grantee will return to Foundation all provided grant funds by January 31, 2015.
               The remaining grant installments under this Terms of Grant Agreement will
               likewise be cancelled and this Terms of Grant Agreement will terminate.

           3. Report on City of Detroit Compliance with Initial Grant Conditions
              Grantee will provide to Foundation a report within 45 days of the Closing Date
              documenting that the conditions precedent for Closing were met and that the
              initial grant payment contemplated by the OTA has been made by the Grantee to
              the City of Detroit. In the event the Closing does not occur by December 31,
              2014, a first and final report will be provided by January 31, 2015.

       b. Annual Grant Payments
          1. Payment Amounts and Dates. Commencing in 2015 and continuing until 2033
             (except as otherwise provided herein), Foundation will annually make a grant
             payment to Grantee of $[INSERT 1/20 OF TOTAL GRANT AWARD] by
             September 15 of that year. Foundation intends Grantee to use these annual
             payments to fund, in part, the annual payments from Grantee to the City of
             Detroit, pursuant to and subject to the terms and conditions of the OTA, on a
             funding schedule commencing June 30, 2016, and each June 30 thereafter
             ending on June 30, 2034 (the payment dates to the City of Detroit being subject
             to possible extensions pursuant to the OTA).

               Foundation acknowledges that it has the right to, but is not required to, rely on
               any finding by the board of trustees of the Grantee that the City is in compliance
               with the Conditions for Funding found in Section 2.4 of the OTA and that as a
               result of such a finding the Foundation is obligated to make timely payment to
               Grantee as provided in Section 2.7 of the OTA. Foundation will not unreasonably
               dispute any such finding by the board of the Grantee that the City is in
               compliance. If (i) Foundation has failed to make an annual grant installment


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            payment to Grantee when due hereunder and Grantee has provided the
            Foundation the 30-day notice contemplated by Section 2.8(b) of the OTA, and (ii)
            the Foundation has not made the required grant payment by the expiration of
            such 30-day period, then Grantee will assign its right to enforce collection of the
            payment from the Foundation to the City and the City will have the right to pursue
            collection of that payment as provided in the OTA. Foundation will be
            responsible for its own costs and attorney fees in defending any action by
            Grantee or City to enforce payment from Foundation, unless those costs and
            attorney fees are otherwise indemnified or set-off on behalf of Foundation by the
            provisions of the OTA or the Plan of Adjustment.

         2. Annual Grant Payment Conditions
            Grantee agrees that any annual grant payment it receives from the Foundation
            will be used for the sole purpose of making the annual payments to be made by
            Grantee to the City of Detroit pursuant to Section 2.3 of the OTA.

            In the event the Foundation has provided (i) an annual grant payment to the
            Grantee prior to the date Grantee has determined that the City has complied with
            Section 2.4 of the OTA for the year in which the annual grant payment is to be
            used, or (ii) Foundation, in its sole discretion, advances any future annual grant
            payment to Grantee, Grantee will maintain such grant balances in conservatively
            invested reserves to ensure that the monies provided are available to make
            payment to the City when conditions have been met. Any earnings on such early
            grant payments will be used to offset operational costs of Grantee relating to the
            purposes of this grant. If on December 31, 2034, there remains any earnings
            after payment of those operational expenses, Grantee, in its discretion, may use
            those excess earnings (i) to make grants and/or establish endowments that will
            support the ongoing revitalization, or maintain and expand the quality of life of the
            residents, of the City of Detroit and/or (ii) return those excess earnings ratably to
            the Foundation Funders.

            In the event the City fails to meet the conditions for release of an annual payment
            to it under Section 2.4 of the OTA and all applicable cure periods available to the
            City pursuant to Section 2.5 of the OTA (including any periods of time necessary
            for dispute resolution as provided in the OTA) have expired, the Foundation may
            either request that the Grantee return that annual grant payment to the
            Foundation, at which time the Foundation’s obligation to make such annual grant
            payment is automatically terminated and cancelled, or request that the Grantee
            retain the annual grant payment for application to a future annual grant payment
            due to the Grantee from the Foundation. Foundation and Grantee also
            acknowledge and agree that consistent with Section 2.5(b) of the OTA, the
            Foundation may cancel its remaining grant installments to Grantee if the City fails
            to meet the conditions for release of an annual payment to it under the OTA, and
            all applicable cure periods available to the City pursuant to Section 2.5 of the
            OTA (including any periods of time necessary for dispute resolution as provided
            in the OTA) have expired. If Foundation elects to cancel its remaining grant
            payments, the Foundation may either request that the Grantee return any pre-
            paid annual grant amount provided to Grantee that has not yet been paid or is
            not obligated to be paid to the City by Grantee and/or allow Grantee to retain
            some or all of such pre-paid grant installments to offset operational costs of
            Grantee relating to the purposes of this grant.


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           3. Present Value Election
              Consistent with the OTA, Foundation has the right to elect to make early
              payment of any or all of its grant payment obligations to the Grantee and have its
              obligation under this Terms of Grant Agreement reduced by a present value
              discount rate of 6.75% as provided in the OTA. Grantee will transfer such early
              payment to the City of Detroit and elect that present value discount provided the
              requirements of the next paragraph are met.

               Foundation agrees that it will only make the above mentioned present value
               election if (i) the Grantee receives confirmation from the City, in a form
               reasonably acceptable to Grantee, that the Grantee’s future grant payment
               obligations to the City under the OTA will be properly reduced as a result of such
               present value election by Foundation, and (ii) Foundation and Grantee agree to
               reasonable arrangements to prevent such early payment election from
               Foundation jeopardizing the fiscal stability and operations of Grantee and its
               abilities to perform its obligations under the OTA.


III.   Indemnification and Other Provisions

Foundation and Grantee acknowledge that Foundation is a third-party beneficiary of certain
provisions contained in the OTA and the contemplated order confirming the Plan of Adjustment.
Foundation’s rights as a third-party beneficiary include, but are not limited to, (i) indemnification
by the City of Detroit as found in Section 6.2 of the OTA, (ii) set-offs on grant installments as a
result of the City of Detroit failing to pay for defense and other costs (except that Foundation is
not entitled to such set-off if the Grantee has, as a result of the City failing to pay all of the
defense and other costs of the Foundation, incurred those costs on behalf of Foundation and
Grantee), (iii) jurisdiction and choice of law provisions, and (iv) certain injunctive and other relief
as found in the Plan of Adjustment as confirmed by court order. Foundation’s obligation to
make any installment payment under this Terms of Grant Agreement is expressly conditioned
upon the existence of all such third-party benefits including, but not limited to, said
indemnification provision, set-off provisions and injunctive relief.

This Terms of Grant Agreement, or any rights, obligations or funds awarded under this Terms of
Grant Agreement, may not be assigned, unless otherwise expressly provided herein, without the
prior written consent of the non-assigning party, and any purported assignment in violation of
the foregoing will be void and of no effect. This Terms of Grant Agreement will be governed by
and construed in accordance with the laws of the state of Michigan, with jurisdiction in the State
and Federal Courts of Michigan (as more specifically provided in the OTA and the Plan of
Adjustment).

IV.    Review of Grant Activity

Grantee will provide written annual reports to the Foundation each July 30 showing the use of
the grant funds provided under this grant. Grantee may extend the date for any annual report to
no later than January 30 of the following calendar year if Grantee is unable to obtain information
from the City of Detroit necessary for completing the report. Foundation and Grantee agree that
the reports to be provided will be of a standard format and content to be provided to all
Foundation Funders. The content of the annual reports will include, without limitation:



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       -   Information on the Grantee’s progress toward meeting the terms of this grant
       -   A statement of determination by the board of Grantee regarding the City’s
           compliance with the Conditions for Funding found in Section 2.4 of the OTA
       -   A statement of facts regarding the accounting treatment of the remaining payments
           due to Grantee by the Foundation for consideration by the Foundation in preparing
           its statements of financial position
       -   Copies of any and all evaluation or similar reports, if any, provided to any other
           Foundation Funder or any party to the OTA
       -   An explanation of any significant changes in the organizational leadership of the
           Grantee, such information to be provided promptly to Foundation if it occurs between
           the filing of an annual report

A final report is due by June 30, 2035.

In addition, Grantee will furnish the Foundation with any additional information reasonably
requested by the Foundation from time to time. Without limiting the generality of the foregoing,
Grantee will provide the Foundation (or its designated representatives) with reasonable access
to Grantee’s files, records and personnel for the purpose of making financial audits, evaluations
or verification, program evaluations, or other verifications concerning this grant as the
Foundation reasonably deems necessary during the term of this grant and for five years
thereafter. The fees and expenses of any such representative that is designated by the
Foundation to undertake these tasks, and any reasonable out-of-pocket costs actually incurred
by the Grantee in complying with this request, will be paid by the Foundation.

V.     Standard Provisions

In accepting this grant, the Grantee agrees to the following and certifies the following
statements:

       a. Grantee will use the funds granted solely for the purpose stated and Grantee will
          repay any portion of the amounts granted which is not used for the purpose of the
          grant or not expended by the due date for the final report.
       b. Grantee is and will at all times maintain its status as (i) a nonprofit corporation in
          good standing under the laws of the State of Michigan, and (ii) an organization
          described in Section 501(c)(3) and Section 509(a)(3) of the U.S. Internal Revenue
          Code (“Code”) that is not a “private foundation” within the meaning of Section 509(a)
          of the Code because it is a Type-I supporting organization of the Community
          Foundation for Southeast Michigan.
       c. Grantee will notify the Foundation immediately of any change in its tax status.
       d. Grantee will return any unexpended funds if the Grantee loses its exemption from
          Federal income taxation as a 501(c)(3) nonprofit organization pursuant to Section
          509(a)(1), 509(a)(2) or 509(a)(3) of the Code.
       e. Grantee will maintain books and records adequate to verify actions related to this
          grant during the term of this grant and for five years thereafter.
       f. Grant funds will only be expended for charitable, educational, literary or scientific
          purposes within the meaning of Section 501(c)(3) of the Code, and Grantee will
          comply with all applicable federal and state laws and regulations that govern the use


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           of funds received from private foundations. Grantee will in no event use grant funds
           or any income earned thereon to:

             i.   Carry on propaganda or otherwise to attempt to influence legislation (within
                  the meaning of Section 4945(d)(1) of the Code).
             ii.  Influence the outcome of any specific public election or carry on, directly or
                  indirectly, any voter registration drive (within the meaning of Section
                  4945(d)(2) of the Code).
            iii.  Make grants to individuals or to other organizations for travel, study or similar
                  purpose that do not comply with the requirements of Section 4945(d)(3) or (4)
                  of the Code.
            iv.   Undertake any activity other than for a charitable, educational, literary or
                  scientific purpose specified in Section 170(c)(2)(B) of the Code.
             v.   Inure a benefit to any private person or entity in violation of Section 501(c)(3)
                  and 4941 of the Code, including but not limited to any Foundation trustee,
                  officer, employee, or his/her spouse, children, grandchildren, and great
                  grandchildren or their respective spouses for any purpose.
            vi.   Support a use that is not in compliance with all applicable anti-terrorist
                  financing and asset control laws, regulations, rules and executive orders,
                  including but not limited to, the USA Patriot Act of 2001 and Executive Order
                  No. 13224. Furthermore, Grantee agrees to ensure that no Foundation funds
                  will be disbursed to any organization or individual listed on the United States
                  Government’s Terrorist Exclusion List or the Office of Foreign Assets Control
                  (OFAC) Specially Designated Nationals & Blocked Persons List. In addition,
                  Grantee takes reasonable steps to ensure that its board, staff and volunteers
                  have no dealings whatsoever with known terrorist or terrorist organizations.
       g. Grantee acknowledges and agrees that this Terms of Grant Agreement does not
          imply a commitment by the Foundation to continued funding beyond the express
          terms of this Terms of Grant Agreement.
       h. Grantee represents that this grant will not result in the private benefit of any
          individual or entity, including, but not limited to, the discharge of any pledge or
          financial obligation of any individual or entity.

VI.     Publicity
Communications regarding this grant, the OTA and the City’s compliance with the ongoing
conditions of the OTA will be coordinated and made by Grantee, in consultation with Foundation
and other Foundation Funders. Foundation and Grantee will obtain the other’s approval prior to
making any public announcement about this grant. Foundation may include information on this
grant in its period publications without the need for Grantee approval.

VII.   Notices and Foundation Contact Information:

All notices, demands and other communications given or delivered under this Agreement will be
given in writing to the address indicated below (or such other address as the recipient specifies
in writing) and will be deemed to have been given when delivered personally, three (3) Business
Days after mailing by certified or registered mail, return receipt requested and postage prepaid,
or when delivery is guaranteed if sent via a nationally recognized overnight carrier, or when
receipt is confirmed if sent via facsimile or other electronic transmission to the recipient.

       If to Grantee:        Robin D. Ferriby


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                                                                          Vice President, Philanthropic Services
                                                                          Foundation for Detroit’s Future
                                                                          333 West Fort Street, Suite 2010
                                                                          Detroit, MI 48226-3134
                                                                          313-961-6675
                                                                          rferriby@cfsem.org

                  If to Foundation:                                       [INSERT FOUNDATION CONTACT INFORMATION]

VIII.             Power to Amend

Grantee will (i) promptly advise Foundation in writing if Grantee enters into any agreement or
amendment with any other Foundation Funder that could reasonably be expected to provide
such other Foundation Funder with benefits or terms that are more favorable than those
provided to the Foundation hereunder, and (ii) upon the Foundation’s request, promptly amend
this Terms of Grant Agreement to provide Foundation with any or all of such more favorable
benefits or terms. This Terms of Grant Agreement may be amended only by a written
agreement signed by the parties.


For the [INSERT NAME OF FOUNATION]:



By: ___________________________________________                                                                    ____________
[INSERT OFFICER NAME AND TITLE]:                                                                                   Date


For the Foundation for Detroit’s Future:



By: ____________________________________________                                                                   ____________
Mariam C. Noland, President                                                                                        Date




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                          DISMISSED FGIC/COP LITIGATION




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                        Schedule of Dismissed FGIC/COP Litigation

   x   All objections, replies, responses, briefs, memoranda, reservations of rights or other
       documents filed by FGIC in opposition to the Plan or any prior version of the Plan,
       including: (i) the Objection of Financial Guaranty Insurance Company to Plan for the
       Adjustment of Debts of the City of Detroit, filed on May 12, 2014 [Docket No. 4660];
       (ii) the Supplemental Objection of Financial Guaranty Insurance Company to Plan for the
       Adjustment of Debts of the City of Detroit, filed on August 12, 2014 [Docket No. 6674];
       (iii) the Supplemental Objection to Confirmation of the Sixth Amended Plan for the
       Adjustment of Debts of the City of Detroit, filed on August 25, 2014 [Docket No. 7046];
       (iv) Financial Guaranty Insurance Company's Pretrial Brief in Support of Objection to
       Plan for the Adjustment of Debts of the City of Detroit [Docket No. 7102]; (v) the Joint
       Pretrial Brief in Support of Objection to DIA Settlement [Docket No. 7103]; and (vi) the
       Third Supplemental Objection of Financial Guaranty Insurance Company to Plan for the
       Adjustment of Debts of the City of Detroit [Docket No. 7611], and

   x   The adversary proceeding styled City of Detroit, Michigan v. Detroit General Retirement
       System Service Corporation, et al., Case No. 14-04112 (Bankr. E.D. Mich.), commenced
       by the City on January 31, 2014, including all counterclaims filed in connection
       therewith.




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                         DISMISSED SYNCORA LITIGATION




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             APPEALS TO BE VOLUNTARILY DISMISSED, AND
             MOTIONS AND OBJECTIONS TO BE WITHDRAWN,
           WITH PREJUDICE BY SYNCORA AS A PRECONDITION
           TO CONSUMMATION OF THE PLAN COP SETTLEMENT

                                       Appeals
Syncora Guarantee Inc., et al. v. City of Detroit (In re City of Detroit),
     No. 2:13-CV-14305-BAF-PJK (E.D. Mich.), filed Oct. 10, 2013

Syncora Guarantee Inc., et al. v. City of Detroit, No. 14-1864 (6th Cir.),
     docketed July 14, 2014

Syncora Guarantee Inc., et al. v. City of Detroit (In re City of Detroit),
     No. 2:14-CV-10501-BAF-PJK (E.D. Mich.), filed Feb. 3, 2014

Syncora Guarantee Inc., et al. v. City of Detroit (In re City of Detroit),
     No. 2:13-CV-10509-BAF-PJK (E.D. Mich.), filed Feb. 4, 2014

Syncora Guarantee Inc., et al. v. City of Detroit (In re City of Detroit),
     No. 2:14-CV-11995-BAF-PJK (E.D. Mich.), filed May 19, 2014

Syncora Guarantee Inc., et al. v. City of Detroit (In re City of Detroit),
     No. 2:14-CV-12062-BAF-PJK (E.D. Mich.), filed May 22, 2014

In re Syncora Guarantee, et al., No. 14-109 (6th Cir.), docketed July 24, 2014

Syncora Guarantee Inc., et al. v. City of Detroit (In re City of Detroit),
     No. 2:14-CV-13044-BAF-PJK (E.D. Mich.), filed Aug. 6, 2014

Appeal of Order Denying Motion for Clarification of Post-Confirmation
     Procedures (Docket No. 7034) (see Notice of Appeal to the District Court,
     Docket No. 7080)

                              Motions and Objections
Ex Parte Emergency Motion to (I) Issue a Temporary Administrative Stay of the
     DIP Order and (II) Set a Briefing and Hearing Schedule (Docket No. 2500)

Emergency Motion of Syncora Guarantee Inc. and Syncora Capital Assurance Inc.
     for Stay Pending Appeal (Docket No. 2516)

Motion to Compel Responses to Interrogatories (Docket No. 4557)
CLI-2254831v2

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Syncora Capital Assurance Inc. and Syncora Guarantee Inc.'s Objection to the
     Debtor's Plan of Adjustment (Docket No. 4679)

Syncora's First Supplemental Objection Regarding Certain Legal Issues Relating to
     Confirmation (Docket No. 5706)

Syncora Guarantee Inc. and Syncora Capital Assurance Inc.'s Motion to Exclude
     the Testimony of John W. Hill (Docket No. 6997)

Motion to Exclude Certain of the Expert Opinions of Martha Kopacz Under
     Federal Rule of Evidence 702 (Docket No. 6999)

Motion to Exclude the Testimony of the City's Forecasting Experts Under Federal
     Rule of Evidence 702 (Docket No. 7004)

Syncora Guarantee Inc. and Syncora Capital Assurance Inc. Limited Supplemental
     Objection and Reservation of Rights to Debtor's Sixth Amended Plan of
     Adjustment (Docket No. 7041)

Syncora Guarantee Inc. and Syncora Capital Assurance Inc.'s Amended Second
     Supplemental Objection to the Debtor's Plan of Adjustment (Docket
     No. 7213)




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                                 EXHIBIT I.A.148

            SCHEDULE OF DWSD BOND DOCUMENTS & RELATED DWSD BONDS




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           SCHEDULE OF (I) DWSD BOND DOCUMENTS, (II) RELATED DWSD BONDS,
(III) CLASSES OF DWSD BOND CLAIMS AND (IV) ALLOWED AMOUNTS OF DWSD BOND CLAIMS


                                                                                      Allowed Amount of
                                        DWSD
    DWSD Bond Documents                                CUSIP            Class        DWSD Bond Claims in
                                      Bond Series
                                                                                            Class

Ordinance No. 01-05 adopted
January 26, 2005 ("Water Bond
             1
Ordinance")
Trust Indenture dated as of
February 1, 2013 among the City
of Detroit, Detroit Water and
Sewerage Department and U.S.
Bank National Association, as
trustee ("Water Indenture")            Series 1993    251255TP0      Class 1A-1              $24,725,000.00
Bond Resolution adopted on
October 14, 1993
Resolution adopted October 22,
1993
Final Report of the Finance
Director delivered to City Council
December 22, 1993

Water Bond Ordinance
Water Indenture                                       251255XM2      Class 1A-2                $6,520,000.00
Bond Resolution adopted July 9,
1997                                  Series 1997-A
Sale Order of the Finance Director
of the City of Detroit dated August                   251255XN0      Class 1A-3                $6,910,000.00
6, 1997




1
        Ordinance No. 0-05 amends and restates Ordinance No. 30-02 adopted November 27, 2002, which
        amended and restated Ordinance No. 06-01 adopted October 18, 2001, which amended and restated
        Ordinance No. 32-85, as amended.




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                                       DWSD
    DWSD Bond Documents                                CUSIP            Class        DWSD Bond Claims in
                                     Bond Series
                                                                                            Class

Ordinance No. 01-05 adopted
January 26, 2005 ("Water Bond
            2
Ordinance")

Trust Indenture dated
February 1, 2013 among City of
Detroit, Detroit Water and Sewage
Department and U.S. Bank
National Association, as trustee
("Water Indenture")                  Series 2001-A   251255A21       Class 1A-4              $73,790,000.00

Bond Authorizing Resolution of
City Council adopted January 31,
2001 and Resolution Amending
Bond Authorizing Resolution,
adopted April 25, 2001

Sale Order of Finance Director of
City of Detroit dated May 17, 2001

                                                     2512556U4       Class 1A-5                 $350,000.00

                                                     2512556V2       Class 1A-6                 $365,000.00
                                                     2512556W0       Class 1A-7                 $380,000.00
                                                     2512556X8       Class 1A-8                 $390,000.00
Water Bond Ordinance                                 2512556Y6       Class 1A-9                 $415,000.00
Water Indenture                                      2512556Z3       Class 1A-10             $12,510,000.00
Resolution of the City Council                       2512557A7       Class 1A-11             $13,235,000.00
adopted April 25, 2001
                                     Series 2001-C   2512557B5       Class 1A-12             $14,025,000.00
Sale Order of the Finance Director                   2512557C3       Class 1A-13             $14,865,000.00
of the City of Detroit dated May
31, 2001 and Supplement to Prior                     2512557D1       Class 1A-14             $15,750,000.00
Sale Orders of Finance Director                      2512557E9       Class 1A-15             $16,690,000.00
dated May 6, 2008
                                                     2512557F6       Class 1A-16             $17,690,000.00
                                                     2512557G4       Class 1A-17             $18,735,000.00
                                                     2512557H2       Class 1A-18             $19,945,000.00
                                                      2512557J8      Class 1A-19               $4,000,000.00
                                                     2512557L3       Class 1A-20             $20,090,000.00
                                                     2512557K5       Class 1A-21             $18,815,000.00


2
        Ordinance No. 0-05 amends and restates Ordinance No. 30-02 adopted November 27, 2002, which
        amended and restated Ordinance No. 06-01 adopted October 18, 2001, which amended and restated
        Ordinance No. 32-85, as amended.



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                                         DWSD
    DWSD Bond Documents                                  CUSIP        Class       DWSD Bond Claims in
                                       Bond Series
                                                                                         Class

Water Bond Ordinance                                   251255D77    Class 1A-22            $500,000.00
Water Indenture                                        251255D93    Class 1A-23            $250,000.00
Bond Authorizing Resolution of                         251255E27    Class 1A-24           $3,550,000.00
the City Council adopted Nov. 27,
2002 ("2003 Water Resolution")                         2512555F8    Class 1A-25           $9,970,000.00

Sale Order of the Finance Director     Series 2003-A   251255K20    Class 1A-26          $20,955,000.00
of the City of Detroit dated January                                                     $21,900,000.00
                                                       251255K38    Class 1A-27
24, 2003 and Supplement to Sale
Order of the Finance Director –
2003 Bonds, dated February 6,                                                           $121,660,000.00
2003 (collectively, "2003 Sale                         251255E68    Class 1A-28
Order")


Water Bond Ordinance
Water Indenture                        Series 2003-B   2512555H4    Class 1A-29          $41,770,000.00
2003 Water Resolution
2003 Sale Order

                                                        251255J22   Class 1A-30           $2,120,000.00
                                                        251255J30   Class 1A-31           $2,620,000.00
Water Bond Ordinance                                    251255J48   Class 1A-32           $2,655,000.00

Water Indenture                                         251255J55   Class 1A-33           $2,930,000.00
                                       Series 2003-C    251255J63   Class 1A-34           $2,790,000.00
2003 Water Resolution
                                                        251255J71   Class 1A-35           $2,965,000.00
2003 Sale Order
                                                        251255J89   Class 1A-36           $4,580,000.00
                                                        251255J97   Class 1A-37           $4,665,000.00
                                                       251255H99    Class 1A-38           $2,330,000.00

                                                       2512552T1    Class 1A-39            $325,000.00
Water Bond Ordinance
                                                       2512552U8    Class 1A-40            $335,000.00
Water Indenture
                                                       2512552V6    Class 1A-41            $350,000.00
Bond Authorizing Resolution of
the City Council adopted                               2512552W4    Class 1A-42            $360,000.00
                                       Series 2003-D
November 27, 2002                                      2512552X2    Class 1A-43            $370,000.00
Sale Order of Finance Director of                      2512552Y0    Class 1A-44           $2,585,000.00
the City of Detroit dated February
5, 2003                                                2512552Z7    Class 1A-45          $29,410,000.00
                                                       2512553A1    Class 1A-46          $23,920,000.00
                                                       2512553B9    Class 1A-47          $82,930,000.00



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                                       DWSD
    DWSD Bond Documents                                CUSIP       Class       DWSD Bond Claims in
                                     Bond Series
                                                                                      Class

                                                     2512553G8   Class 1A-48           $4,250,000.00
                                                     2512553H6   Class 1A-49           $4,475,000.00
Water Bond Ordinance
                                                     2512553J2   Class 1A-50           $4,710,000.00
Water Indenture
                                                     2512553K9   Class 1A-51           $4,955,000.00
Bond Authorizing Resolution of                       2512553L7   Class 1A-52           $5,215,000.00
the City Council adopted January     Series 2004-A
21, 2004 ("2004 Bond Resolution")                    2512553M5   Class 1A-53           $5,490,000.00
                                                     2512553N3   Class 1A-54           $5,780,000.00
Sale Order of Finance Director of
the City of Detroit dated May 12,                    2512553P8   Class 1A-55           $6,085,000.00
2004 ("2004 Sale Order")                             2512553Q6   Class 1A-56           $6,400,000.00
                                                     2512553R4   Class 1A-57           $6,735,000.00
                                                     2512553S2   Class 1A-58          $14,505,000.00
                                                     2512554A0   Class 1A-59              $85,000.00
                                                     2512554B8   Class 1A-60              $90,000.00
                                                     2512554C6   Class 1A-61          $10,000,000.00
                                                     2512554D4   Class 1A-62           $3,545,000.00
Water Bond Ordinance
                                                     2512554E2   Class 1A-63          $13,925,000.00
Water Indenture                                      2512554F9   Class 1A-64             $350,000.00
                                     Series 2004-B
2004 Bond Resolution                                 2512554G7   Class 1A-65          $14,940,000.00
2004 Sale Order                                      2512554H5   Class 1A-66          $15,810,000.00
                                                     2512554J1   Class 1A-67          $16,665,000.00
                                                     2512554K8   Class 1A-68          $16,085,000.00
                                                     2512554L6   Class 1A-69          $16,935,000.00
                                                     2512554M4   Class 1A-70           $6,280,000.00
                                                     251255M85   Class 1A-71              $50,000.00
                                                     251255Q81   Class 1A-72           $2,070,000.00
                                                     251255M93   Class 1A-73              $85,000.00
                                                     251255Q99   Class 1A-74           $2,145,000.00
Water Bond Ordinance
                                                     251255N27   Class 1A-75              $95,000.00
Water Indenture                                      251255R23   Class 1A-76           $2,265,000.00
Amended and Restated Resolution                      251255N35   Class 1A-77             $125,000.00
of the City Council adopted                          251255R31   Class 1A-78           $2,370,000.00
January 26, 2005 ("2005-A/C Bond     Series 2005-A
Resolution")                                         251255N43   Class 1A-79              $20,000.00
                                                     251255R49   Class 1A-80           $2,615,000.00
Sale Order of Finance Director of
the City of Detroit dated March 3,                   251255N50   Class 1A-81           $2,790,000.00
2005 (Series 2005-A)                                 251255N68   Class 1A-82           $2,955,000.00
                                                     251255N76   Class 1A-83           $3,030,000.00
                                                     251255N84   Class 1A-84           $3,225,000.00
                                                     251255N92   Class 1A-85           $3,430,000.00
                                                     251255P25   Class 1A-86           $3,650,000.00



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                                        DWSD
    DWSD Bond Documents                                 CUSIP         Class       DWSD Bond Claims in
                                      Bond Series
                                                                                         Class

                                                      251255P33    Class 1A-87            $3,790,000.00
                                                      251255P41    Class 1A-88            $4,080,000.00
                                                      251255P58    Class 1A-89            $4,290,000.00
                                                      251255P66    Class 1A-90            $4,615,000.00
                                                      251255P74    Class 1A-91            $4,890,000.00
                                                      251255P82    Class 1A-92            $5,145,000.00
                                                      251255P90    Class 1A-93            $5,415,000.00
                                                      251255Q24    Class 1A-94            $5,715,000.00
                                                      251255Q32    Class 1A-95           $19,525,000.00
                                                      2512557R0    Class 1A-96            $2,125,000.00
                                                      2512557S8    Class 1A-97            $2,225,000.00
                                                      2512557T6    Class 1A-98            $2,305,000.00
Water Bond Ordinance
                                                      2512557U3    Class 1A-99            $2,385,000.00
Water Indenture                                       2512557V1    Class 1A-100           $2,465,000.00
Amended and Restated Resolution                       2512557W9    Class 1A-101           $2,575,000.00
of the City Council dated March                       2512557X7    Class 1A-102           $2,690,000.00
22, 2005 (Series 2005-B)                              2512557Y5    Class 1A-103           $2,905,000.00
Sale Order of Finance Director of     Series 2005-B   2512557Z2    Class 1A-104           $3,025,000.00
the City of Detroit dated March 22,                   2512558A6    Class 1A-105           $3,145,000.00
2005 (Series 2005-B), Amendment                       2512558B4    Class 1A-106           $3,270,000.00
No. 1 to Sale Order of the Finance                    2512558C2    Class 1A-107           $3,490,000.00
Director dated April 23, 2008 and
Supplement to Prior Sale Orders of                    2512558D0    Class 1A-108           $3,620,000.00
Finance Director dated                                2512558E8    Class 1A-109           $3,850,000.00
May 6, 2008                                           2512558F5    Class 1A-110           $3,980,000.00
                                                      2512558G3    Class 1A-111          $28,415,000.00
                                                      2512558H1    Class 1A-112          $57,365,000.00
                                                       2512558J7   Class 1A-113          $57,500,000.00
                                                      251255S63    Class 1A-114           $9,270,000.00
Water Bond Ordinance                                  251255S71    Class 1A-115           $9,735,000.00
                                                      251255S89    Class 1A-116          $17,545,000.00
Water Indenture
                                                      251255S97    Class 1A-117          $18,425,000.00
2005-A/C Bond Resolution              Series 2005-C   251255T21    Class 1A-118          $18,700,000.00
Sale Order of Finance Director of                     251255T39    Class 1A-119           $8,245,000.00
the City of Detroit dated March 3,
2005 (Series 2005-C)                                  251255T47    Class 1A-120           $8,655,000.00
                                                      251255T54    Class 1A-121           $9,090,000.00
                                                      251255T62    Class 1A-122           $9,540,000.00
                                                      251255V36    Class 1A-123           $7,285,000.00
Water Bond Ordinance
                                                      251255V44    Class 1A-124           $7,650,000.00
Water Indenture                       Series 2006-A   251255V51    Class 1A-125           $8,030,000.00
Resolution of the City Council                        251255V69    Class 1A-126           $8,430,000.00
adopted November 18, 2005
                                                      251255V77    Class 1A-127           $8,855,000.00


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                                       DWSD
    DWSD Bond Documents                                CUSIP         Class       DWSD Bond Claims in
                                     Bond Series
                                                                                        Class

("2006 Bond Resolution")                             251255V85    Class 1A-128           $9,295,000.00
Sale Order of Finance Director of                    251255V93    Class 1A-129           $9,760,000.00
the City of Detroit dated July 19,                   251255W27    Class 1A-130          $10,250,000.00
2006 (Series 2006-A)
                                                     251255W35    Class 1A-131          $10,760,000.00
                                                     251255W43    Class 1A-132          $11,300,000.00
                                                     251255W50    Class 1A-133          $11,865,000.00
                                                     251255W68    Class 1A-134          $12,460,000.00
                                                     251255W76    Class 1A-135          $13,080,000.00
                                                     251255W84    Class 1A-136         $131,150,000.00
                                                     251256AG8    Class 1A-137            $100,000.00
Water Bond Ordinance                                 251256AH6    Class 1A-138            $100,000.00
                                                     251256AJ2    Class 1A-139            $100,000.00
Water Indenture
                                                     251256AK9    Class 1A-140            $100,000.00
2006 Bond Resolution                 Series 2006-B   251256AL7    Class 1A-141            $100,000.00
Sale Order of Finance Director of                    251256AM5    Class 1A-142            $100,000.00
the City of Detroit dated August
15, 2006 (Series 2006-B)                             251256AN3    Class 1A-143            $400,000.00
                                                     251256AP8    Class 1A-144          $56,600,000.00
                                                     251256AQ6    Class 1A-145          $62,100,000.00
                                                     251255X83    Class 1A-146           $1,100,000.00
Water Bond Ordinance                                 251255X91    Class 1A-147           $3,725,000.00
                                                     251255Y25    Class 1A-148           $3,795,000.00
Water Indenture
                                                     251255Y33    Class 1A-149           $4,010,000.00
2006 Bond Resolution                 Series 2006-C   251255Y41    Class 1A-150           $4,765,000.00
Sale Order of Finance Director of                    251255Y58    Class 1A-151           $5,860,000.00
the City of Detroit dated July 19,
2006 (Series 2006-C)                                 251255Y66    Class 1A-152          $14,880,000.00
                                                     251255Y74    Class 1A-153          $32,045,000.00
                                                     251255Y82    Class 1A-154            146,500,000
                                                     251255Z81    Class 1A-155             $15,000.00
                                                     251255Z99    Class 1A-156             $15,000.00
                                                     2512552A2    Class 1A-157             $15,000.00
Water Bond Ordinance
                                                     2512552B0    Class 1A-158             $20,000.00
Water Indenture
                                                     2512552C8    Class 1A-159             $20,000.00
2006 Bond Resolution                 Series 2006-D   2512552D6    Class 1A-160           $2,650,000.00
Sale Order of Finance Director of                    2512552E4    Class 1A-161           $3,200,000.00
the City of Detroit dated July 19,
2006 (Series 2006-D)                                 2512552F1    Class 1A-162          $20,135,000.00
                                                     2512552G9    Class 1A-163          $27,425,000.00
                                                     2512552H7    Class 1A-164           $9,955,000.00
                                                      2512552J3   Class 1A-165          $21,105,000.00



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                                       DWSD
    DWSD Bond Documents                                CUSIP        Class       DWSD Bond Claims in
                                     Bond Series
                                                                                       Class

                                                     2512552K0   Class 1A-166          $57,650,000.00
                                                     251256BA0   Class 1A-167           $3,410,000.00
                                                     251256BB8   Class 1A-168           $3,550,000.00
                                                     251256BC6   Class 1A-169           $3,695,000.00
                                                     251256BD4   Class 1A-170           $3,845,000.00
                                                     251256BE2   Class 1A-171           $4,000,000.00

Water Bond Ordinance                                 251256BF9   Class 1A-172           $3,160,000.00
                                                     251256BG7   Class 1A-173           $3,225,000.00
Water Indenture
                                                     251256BH5   Class 1A-174           $4,215,000.00
Resolution of the City Council
adopted April 5, 2011 ("2011 Bond                    251256BJ1   Class 1A-175           $4,195,000.00
                                     Series 2011-A
Resolution")                                         251256BK8   Class 1A-176           $4,170,000.00
Sale Order of the Finance Director                   251256BL6   Class 1A-177           $4,140,000.00
dated as of December 15, 2011
                                                     251256BM4   Class 1A-178           $4,085,000.00
("2011 Sale Order")
                                                     251256BN2   Class 1A-179           $4,020,000.00
                                                     251256BP7   Class 1A-180           $3,930,000.00
                                                     251256BQ5   Class 1A-181          $14,665,000.00
                                                     251256BR3   Class 1A-182          $28,890,000.00
                                                     251256BT9   Class 1A-183          $49,315,000.00
                                                     251256BS1   Class 1A-184         $224,300,000.00
Water Bond Ordinance
                                                     251256AV5   Class 1A-185           $1,970,000.00
Water Indenture
                                     Series 2011-B   251256AW3   Class 1A-186           $3,760,000.00
2011 Bond Resolution
2011 Sale Order                                      251256AX1   Class 1A-187           $9,740,000.00

                                                     251256BV4   Class 1A-188           $2,700,000.00
                                                     251256BW2   Class 1A-189           $9,965,000.00
Water Bond Ordinance                                 251256BX0   Class 1A-190          $10,490,000.00
Water Indenture                                      251256BY8   Class 1A-191          $11,035,000.00
                                     Series 2011-C
2011 Bond Resolution                                 251256BZ5   Class 1A-192          $11,615,000.00
2011 Sale Order                                      251256CA9   Class 1A-193           $5,000,000.00
                                                     251256CC5   Class 1A-194           $7,230,000.00
                                                     251256CB7   Class 1A-195          $44,630,000.00




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                                        DWSD
    DWSD Bond Documents                                 CUSIP           Class        DWSD Bond Claims in
                                      Bond Series
                                                                                            Class


Ordinance No. 18-01 adopted                           251237S87      Class 1A-196              $3,110,000.00
October 18, 2001 ("Sewage Bond
            3                                         251237S95      Class 1A-197              $3,225,000.00
Ordinance")
Trust Indenture dated as of June 1,                   251237T29      Class 1A-198              $3,540,000.00
2012 among the City of Detroit,
Detroit Water and Sewage                              251237T37      Class 1A-199              $3,660,000.00
Department and U.S. Bank
National Association, as trustee                      251237T45      Class 1A-200              $3,885,000.00
("Sewage Indenture")                  Series 1998-A
                                                      251237T52      Class 1A-201              $4,095,000.00
Resolution of the City Council
adopted May 6, 1998 ("1998 Bond                       251237T60      Class 1A-202              $7,415,000.00
Resolution")
Sale Order of the Finance Director                    251237T78      Class 1A-203              $7,745,000.00
of the City of Detroit dated
December 9, 1998 ("1998 Sale                          251237T86      Class 1A-204            $12,585,000.00
Order")
                                                      251237T94      Class 1A-205            $13,350,000.00

                                                      251237U92      Class 1A-206              $3,125,000.00
                                                      251237V26      Class 1A-207              $3,240,000.00
                                                      251237V34      Class 1A-208              $3,455,000.00
Sewage Bond Ordinance                                 251237V42      Class 1A-209              $3,575,000.00
Sewage Indenture                                      251237V59      Class 1A-210              $3,895,000.00
                                      Series 1998-B
1998 Bond Resolution                                  251237V67      Class 1A-211              $4,015,000.00
1998 Sale Order                                       251237V75      Class 1A-212              $7,330,000.00
                                                      251237V83      Class 1A-213              $7,665,000.00
                                                      251237V91      Class 1A-214            $12,600,000.00
                                                      251237W25      Class 1A-215            $13,265,000.00
                                                      251237VM2      Class 1A-216              $7,924,628.15
Sewage Bond Ordinance
                                                      251237VN0      Class 1A-217              $7,759,578.75
Sewage Indenture                                      251237VP5      Class 1A-218               7,704,816.00
Bond Resolution adopted on                            251237VQ3      Class 1A-219              $7,157,798.95
November 24, 1999                     Series 1999-A
                                                      251237VR1      Class 1A-220              $6,738,459.00
Sale Order of the Finance Director                    251237VS9      Class 1A-221              $6,365,288.40
of the City of Detroit dated
                                                      251237VT7      Class 1A-222              $5,690,933.60
December 10, 1999
                                                      251237VU4      Class 1A-223              $6,235,125.30


3
         Ordinance No. 18-01 amended and restated Ordinance No. 27-86 adopted on December 9, 1986, as
         amended.



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                                       DWSD
    DWSD Bond Documents                                CUSIP         Class       DWSD Bond Claims in
                                     Bond Series
                                                                                        Class

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution
adopted on August 1, 2001 and
Amendment dated October 10,
2001 (collectively, "2001 Bond       Series 2001-B   251237WV1    Class 1A-224         $110,550,000.00
Resolution")
Composite Sale Order of the
Finance Director of the City of
Detroit dated August 1, 2001
("2001 Sale Order")

                                                     2512376G3    Class 1A-225            $575,000.00
                                                     2512376H1    Class 1A-226            $600,000.00
Sewage Bond Ordinance                                 2512376J7   Class 1A-227            $625,000.00
Sewage Indenture                        Series       2512376K4    Class 1A-228            $655,000.00
2001 Bond Resolution                  2001-C(1)
                                                     2512376L2    Class 1A-229            $690,000.00
2001 Sale Order
                                                     2512376M0    Class 1A-230            $720,000.00
                                                     2512376P3    Class 1A-231         $110,510,000.00
                                                     2512376N8    Class 1A-232          $38,000,000.00

                                                     2512374G5    Class 1A-233            $310,000.00
Sewage Bond Ordinance
                                                     2512374H3    Class 1A-234            $325,000.00
Sewage Indenture
2001 Bond Resolution                                  2512374J9   Class 1A-235            $345,000.00
2001 Sale Order and Amendment                        2512374K6    Class 1A-236            $365,000.00
No. 1 to Sale Order of the Finance
Director (2001(C-2) and (E)) dated      Series
                                       2001-C(2)     2512374L4    Class 1A-237            $380,000.00
April 23, 2008 ("2001 Sale Order
Amendment") and Supplement to
                                                     2512374M2    Class 1A-238            $400,000.00
Prior Sale Orders (2001(C-2),
2001(E) and 2006(A)) dated May
1, 2008                                              2512374N0    Class 1A-239           $4,090,000.00
("2001/2006 Supplement to Sale O
rders")                                              2512374P5    Class 1A-240          $21,600,000.00

                                                     2512374Q3    Class 1A-241          $93,540,000.00




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                                        DWSD
    DWSD Bond Documents                                  CUSIP          Class        DWSD Bond Claims in
                                      Bond Series
                                                                                            Class

Ordinance No. 18-01 adopted
October 18, 2001 ("Sewage Bond
            4
Ordinance")
Trust Indenture dated as of June 1,
2012 among the City of Detroit,
Detroit Water and Sewage
Department and U.S. Bank
National Association, as trustee      Series 2001-D   251237WY5                              $21,300,000.00
("Sewage Indenture")                                                 Class 1A-242

Bond Authorizing Resolution
adopted August 1, 2001;
Amendment October 10, 2001
Composite Sale Order of the
Finance Director of the City of
Detroit dated August 1, 2001

Sewage Bond Ordinance
Sewage Indenture
2001 Bond Resolution                  Series 2001-E    2512374R1     Class 1A-243           $136,150,000.00
2001 Sale Order, 2001 Amendment
and 2001/2006 Supplement to Sale
Orders
                                                      251237YK3      Class 1A-244              $3,815,000.00
                                                      251237Q89      Class 1A-245                 $10,000.00
                                                      251237ZE6      Class 1A-246                 $25,000.00
                                                      251237ZB2      Class 1A-247                 $50,000.00
                                                      251237R21      Class 1A-248               $180,000.00
Sewage Bond Ordinance                                 251237YQ0      Class 1A-249               $190,000.00
Sewage Indenture                                      251237YT4      Class 1A-250               $250,000.00
Bond Authorizing Resolution of
the City Council adopted May 7,                       251237YM9      Class 1A-251               $275,000.00
                                      Series 2003-A
2003 ("2003 Bond Resolution")                         251237YZ0      Class 1A-252               $300,000.00
Composite Sale Order of the                           251237YW7      Class 1A-253               $535,000.00
Finance Director of the City of
Detroit dated May 14, 2003                            251237ZG1      Class 1A-254              $1,000,000.00
                                                      251237Q97      Class 1A-255              $3,200,000.00
                                                      251237K77      Class 1A-256              $3,225,000.00
                                                      251237K85      Class 1A-257              $3,325,000.00
                                                      251237ZD8      Class 1A-258              $4,795,000.00
                                                      251237ZF3      Class 1A-259              $5,440,000.00

4
         Ordinance No. 18-01 amended and restated Ordinance No. 27-86 adopted on December 9, 1986, as
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                                         DWSD
    DWSD Bond Documents                                   CUSIP        Class       DWSD Bond Claims in
                                       Bond Series
                                                                                          Class

                                                        251237ZH9   Class 1A-260           $7,935,000.00
                                                       251237Y80    Class 1A-261           $9,005,000.00
                                                       251237YN7    Class 1A-262          $11,880,000.00
                                                       251237YR8    Class 1A-263          $12,535,000.00
                                                       251237Y72    Class 1A-264          $13,210,000.00
                                                       251237YU1    Class 1A-265          $13,215,000.00
                                                       251237YX5    Class 1A-266          $13,950,000.00
                                                       251237ZJ5    Class 1A-267          $18,215,000.00
                                                       251237Y98    Class 1A-268          $19,485,000.00
                                                       251237Z22    Class 1A-269          $38,290,000.00
Sewage Bond Ordinance
Sewage Indenture
2003 Bond Resolution                   Series 2003-B    2512376Q1                        $150,000,000.00
                                                                    Class 1A-270
Composite Sale Order of the
Finance Director of the City of
Detroit dated May 22, 2003
Sewage Bond Ordinance                                   251237B69   Class 1A-271           $7,310,000.00
Sewage Indenture                                        251237B77   Class 1A-272          $14,830,000.00
Bond Authorizing Resolution of                          251237B85   Class 1A-273          $15,605,000.00
the City Council adopted May 7,        Series 2004-A    251237B93   Class 1A-274           $5,525,000.00
2003
Composite Sale Order of the                             251237C27   Class 1A-275           $5,545,000.00
Finance Director dated January 9,                       251237C35   Class 1A-276           $5,835,000.00
2004                                                    251237C43   Class 1A-277           $6,145,000.00
                                                        251237E41   Class 1A-278             $625,000.00
                                                        251237E58   Class 1A-279             $490,000.00
                                                        251237E66   Class 1A-280             $510,000.00
Sewage Bond Ordinance                                   251237E74   Class 1A-281             $545,000.00
Sewage Indenture                                        251237E82   Class 1A-282             $555,000.00
                                                        251237E90   Class 1A-283             $830,000.00
Resolution of the City Council
authorizing sale of the 2005                            251237F24   Class 1A-284             $860,000.00
adopted November 17, 2004              Series 2005-A    251237F32   Class 1A-285             $905,000.00
("2005 Bond Resolution")                                251237F40   Class 1A-286             $925,000.00
Sale Order of the Finance Director                      251237F57   Class 1A-287             $970,000.00
of the City of Detroit, Series 2005-                    251237F65   Class 1A-288             $490,000.00
A, dated March 9, 2005
                                                        251237Z55   Class 1A-289          $19,415,000.00
                                                        251237Z63   Class 1A-290          $24,820,000.00
                                                        251237F99   Class 1A-291         $138,945,000.00
                                                        251237G23   Class 1A-292          $47,000,000.00
Sewage Bond Ordinance                                   251237G64   Class 1A-293           $7,775,000.00
                                       Series 2005-B
Sewage Indenture                                        251237G72   Class 1A-294           $8,010,000.00



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                                         DWSD
    DWSD Bond Documents                                   CUSIP        Class       DWSD Bond Claims in
                                       Bond Series
                                                                                          Class

2005 Bond Resolution                                    251237G80   Class 1A-295          $10,420,000.00
Sale Order of the Finance Director
of the City of Detroit, Series 2005-                    251237G98   Class 1A-296          $10,990,000.00
B, dated March 9, 2005
                                                        251237J20   Class 1A-297           $4,140,000.00
Sewage Bond Ordinance                                   251237J38   Class 1A-298           $4,345,000.00
Sewage Indenture                                        251237J46   Class 1A-299           $4,570,000.00
                                                        251237J53   Class 1A-300           $4,795,000.00
2005 Bond Resolution                   Series 2005-C    251237J61   Class 1A-301           $5,030,000.00
Sale Order of the Finance Director                      251237J79   Class 1A-302           $5,280,000.00
of the City of Detroit, Series 2005-                    251237J87   Class 1A-303           $7,355,000.00
C, dated March 9, 2005                                  251237J95   Class 1A-304           $7,720,000.00
                                                        251237K28   Class 1A-305           $6,345,000.00
Sewage Bond Ordinance
Sewage Indenture
Resolution of the City Council
adopted February 15, 2006
("2006 Bond Resolution")
                                       Series 2006-A    2512373Z4   Class 1A-306         $123,655,000.00
Sale Order of Finance Director of
the City of Detroit, Series 2006(A),
dated August 4, 2006, Amendment
No. 1 to Sale Order dated April
23, 2008 and 2001/2006
Supplement to Sale Orders

                                                       251237M83    Class 1A-307           $1,835,000.00
                                                       251237M91    Class 1A-308           $1,825,000.00
                                                        251237N25   Class 1A-309           $1,430,000.00
Sewage Bond Ordinance
Sewage Indenture                                        251237N33   Class 1A-310           $1,505,000.00

2006 Bond Resolution                                    251237N41   Class 1A-311           $1,590,000.00
                                       Series 2006-B
Sale Order of Finance Director of                       251237N58   Class 1A-312           $7,515,000.00
the City of Detroit, Series 2006(B),                    251237N66   Class 1A-313           $6,540,000.00
dated July 27, 2006
                                                        251237N74   Class 1A-314          $24,400,000.00
                                                        251237N82   Class 1A-315          $40,000,000.00
                                                        251237N90   Class 1A-316         $156,600,000.00
Sewage Bond Ordinance                                   251237P31   Class 1A-317           $8,495,000.00
Sewage Indenture
                                       Series 2006-C
2006 Bond Resolution
                                                        251237P49   Class 1A-318           $8,915,000.00
Sale Order of Finance Director of




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                                         DWSD
    DWSD Bond Documents                                   CUSIP        Class       DWSD Bond Claims in
                                       Bond Series
                                                                                          Class

the City of Detroit, Series 2006(C),
dated August 4, 2006                                    251237P56   Class 1A-319           $9,150,000.00

Sewage Bond Ordinance
Sewage Indenture
Resolution of the City Council
adopted February 15, 2006              Series 2006-D   251237W66    Class 1A-320         $288,780,000.00
Sale Order of Finance Director of
the City of Detroit dated November
29, 2006

                                                       251250AC0    Class 1A-321           $8,880,000.00
                                                        251250AE6   Class 1A-322           $9,750,000.00
                                                        251250AS5   Class 1A-323          $50,000,000.00
                                                       251250AA4    Class 1A-324           $5,820,000.00
                                                       251250AB2    Class 1A-325           $6,005,000.00
                                                       251250AD8    Class 1A-326           $6,430,000.00
Sewage Bond Ordinance
                                                        251250AF3   Class 1A-327          $19,930,000.00
Sewage Indenture
                                                       251250AG1    Class 1A-328          $13,925,000.00
Resolution of the City Council
adopted July 19, 2011                  Series 2012-A   251250AH9    Class 1A-329           $9,845,000.00
Sale Order of the Finance Director                      251250AJ5   Class 1A-330          $14,860,000.00
of the City of Detroit dated June
                                                       251250AK2    Class 1A-331          $22,275,000.00
20, 2012
                                                       251250AN6    Class 1A-332          $13,170,000.00
                                                        251250AP1   Class 1A-333           $9,890,000.00
                                                       251250AQ9    Class 1A-334         $120,265,000.00
                                                       251250AR7    Class 1A-335         $292,865,000.00
                                                        251250AL0   Class 1A-336          $23,630,000.00

                                                       251250AM8    Class 1A-337          $32,240,000.00




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               SCHEDULE OF DWSD REVOLVING SEWER BOND DOCUMENTS
                    & RELATED DWSD REVOLVING SEWER BONDS




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       SCHEDULE OF (I) DWSD REVOLVING SEWER BOND DOCUMENTS, (II) RELATED
     DWSD REVOLVING SEWER BONDS, (III) CLASSES OF DWSD REVOLVING SEWER BOND
     CLAIMS AND (IV) ALLOWED AMOUNTS OF DWSD REVOLVING SEWER BOND CLAIMS

                                                 Series of
                                                                              Allowed Amount of DWSD
     DWSD Revolving Sewer Bonds                   DWSD
                                                                  Class      Revolving Sewer Bonds Claims
            Documents                         Revolving Sewer
                                                                                        in Class
                                                  Bonds

Ordinance No. 18-01 adopted October 18,
                               1
2001 ("Sewage Bond Ordinance")
Trust Indenture dated as of June 1, 2012
among the City of Detroit ("City"), Detroit
Water and Sewage Department and U.S.
Bank National Association, as trustee
("Sewage Indenture")                               Series
                                                                Class 1B-1            $115,000.00
Bond Authorizing Resolution adopted             1992-B-SRF
September 9, 1992
Supplemental Agreement dated September
24, 1992, among City, Michigan Bond
Authority ("Authority") and the State of
Michigan acting through the Department
of Natural Resources

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
September 30, 1993                                Series
                                                                Class 1B-2            $775,000.00
                                                1993-B-SRF
Supplemental Agreement regarding
$6,603,996 Sewage Disposal System
Revenue Bond Series 1993-B -SRF,
among the City, Authority and DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted July
30, 1997                                          Series
                                                                Class 1B-3           $1,870,000.00
Supplemental Agreement dated September          1997-B-SRF
30, 1997, among City, the Authority and
the State of Michigan acting through the
Department of Environmental Quality
("DEQ")




1
         Ordinance No. 18-01 amended and restated Ordinance No. 27-86 adopted on December 9, 1986, as
         amended.




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                                              Series of
                                                                           Allowed Amount of DWSD
    DWSD Revolving Sewer Bonds                 DWSD
                                                               Class      Revolving Sewer Bonds Claims
           Documents                       Revolving Sewer
                                                                                     in Class
                                               Bonds

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
May 12, 1999                                   Series
                                                             Class 1B-4          $8,750,000.00
Supplemental Agreement regarding             1999-SRF-1
$21,475,000 City Sewage Disposal System
Revenue Bond, Series 1999-SRF1, dated
June 24, 1999, among City, Authority and
DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
August 4, 1999 ("1999 SRF Resolution")
                                               Series
Supplemental Agreement regarding                             Class 1B-5          $25,860,000.00
                                             1999-SRF-2
$46,000,000 SRF-2, $31,030,000 SRF-3,
$40,655,000 SRF-4 dated September 30,
1999 ("1999 SRF Supplemental
Agreement"), among City, Authority and
DEQ

Sewage Bond Ordinance
Sewage Indenture                               Series
                                                             Class 1B-6          $14,295,000.00
1999 SRF Resolution                          1999-SRF-3

1999 SRF Supplemental Agreement

Sewage Bond Ordinance
Sewage Indenture                               Series
                                                             Class 1B-7          $18,725,000.00
1999 SRF Resolution                          1999-SRF-4

1999 SRF Supplemental Agreement

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
February 9, 2000                               Series
                                                             Class 1B-8          $21,947,995.00
Supplemental Agreement regarding             2000-SRF-1
Sewage Disposal System Revenue Bond
(SRF Junior Lien), Series 2000-SRF1,
dated March 30, 2000, among City,
Authority and DEQ




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                                                                            Allowed Amount of DWSD
    DWSD Revolving Sewer Bonds                 DWSD
                                                               Class       Revolving Sewer Bonds Claims
           Documents                       Revolving Sewer
                                                                                      in Class
                                               Bonds

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted July
19, 2000                                       Series
                                                             Class 1B-9           $36,051,066.00
Supplemental Agreement regarding             2000-SRF-2
Sewage Disposal System Revenue Bond
(SRF Junior Lien) Series 2000-SRF2 dated
September 28, 2000, among City,
Authority and DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
March 7, 2001                                  Series
                                                             Class 1B-10          $54,145,000.00
Supplemental Agreement regarding City of     2001-SRF-1
Detroit Sewage Disposal System Revenue
Bonds (SRF Junior Lien), Series 2001-
SRF-1, dated June 28, 2001 among City,
Authority and DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
November 21, 2001                              Series
                                                             Class 1B-11          $39,430,000.00
Supplemental Agreement regarding City of     2001-SRF-2
Detroit Sewage Disposal System SRF
Junior Lien Revenue Bonds, Series 2001-
SRF2, dated December 20, 2001 among
City, Authority and DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
June 5, 2002                                   Series
                                                             Class 1B-12          $10,660,000.00
Supplemental Agreement regarding City of     2002-SRF-1
Detroit Sewage Disposal System SRF
Junior Lien Revenue Bonds, Series 2002-
SRF1, dated June 27, 2002 among City,
Authority and DEQ




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                                              Series of
                                                                            Allowed Amount of DWSD
    DWSD Revolving Sewer Bonds                 DWSD
                                                               Class       Revolving Sewer Bonds Claims
           Documents                       Revolving Sewer
                                                                                      in Class
                                               Bonds

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
June 5, 2002                                   Series
                                                             Class 1B-13           $865,369.00
Supplemental Agreement regarding             2002-SRF-2
Sewage Disposal System SRF Junior Lien
Revenue Bonds, Series 2002-SRF2, dated
June 27, 2002 among City, Authority and
DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
November 13, 2002                              Series
                                                             Class 1B-14          $19,189,466.00
Supplemental Agreement regarding             2002-SRF-3
Sewage Disposal System SRF Junior Lien
Revenue Bonds, Series 2002-SRF3, dated
December 19, 2002 among City, Authority
and DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
May 14, 2003                                   Series
                                                             Class 1B-15          $34,215,000.00
Supplemental Agreement regarding City of     2003-SRF-1
Detroit Sewage Disposal System SRF
Junior Lien Revenue Bonds, Series 2003-
SRF1, dated June 26, 2003 among City,
Authority and DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted July
9, 2003                                        Series
                                                             Class 1B-16          $16,390,370.00
Supplemental Agreement regarding City of     2003-SRF-2
Detroit Sewage Disposal System SRF
Junior Lien Revenue Bonds, Series 2003-
SRF2, dated September 25, 2003 among
City, Authority and DEQ




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                                             Series of
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    DWSD Revolving Sewer Bonds                DWSD
                                                              Class       Revolving Sewer Bonds Claims
           Documents                      Revolving Sewer
                                                                                     in Class
                                              Bonds

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
April 21, 2004 ("2004 SRF Resolution")        Series
                                                            Class 1B-17          $1,890,000.00
Supplemental Agreement regarding            2004-SRF-1
Sewage Disposal System SRF Junior Lien
Revenue Bonds, Series 2004-SRF1, dated
June 24, 2004 among City, Authority and
DEQ

Sewage Bond Ordinance
Sewage Indenture
2004 SRF Resolution
                                              Series
Supplemental Agreement regarding                            Class 1B-18          $11,888,459.00
                                            2004-SRF-2
Sewage Disposal System SRF Junior Lien
Revenue Bonds, Series 2004-SRF2, dated
June 24, 2004 among City, Authority and
DEQ

Sewage Bond Ordinance
Sewage Indenture
2004 SRF Resolution
                                              Series
Supplemental Agreement regarding                            Class 1B-19          $8,232,575.00
                                            2004-SRF-3
Sewage Disposal System SRF Junior Lien
Revenue Bonds, Series 2004-SRF3, dated
June 24, 2004 among City, Authority and
DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
May 16, 2007                                  Series
                                                            Class 1B-20         $140,109,096.00
Supplemental Agreement regarding            2007-SRF-1
Sewage Disposal System SRF Junior Lien
Revenue Bonds, Series 2007-SRF1, dated
September 20, 2007 among City,
Authority and DEQ




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                                              Series of
                                                                            Allowed Amount of DWSD
    DWSD Revolving Sewer Bonds                 DWSD
                                                               Class       Revolving Sewer Bonds Claims
           Documents                       Revolving Sewer
                                                                                      in Class
                                               Bonds

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
November 5, 2008                               Series
                                                             Class 1B-21          $9,806,301.00
Supplemental Agreement regarding City of     2009-SRF-1
Detroit Sewage Disposal System SRF
Junior Lien Revenue Bonds, Series 2009-
SRF1, dated April 17, 2009 among City,
Authority and DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
September 29, 2009                             Series
                                                             Class 1B-22          $3,358,917.00
Supplemental Agreement regarding             2010-SRF-1
Sewage Disposal System SRF Junior Lien
Revenue Bonds, Series 2010-SRF1, dated
January 22, 2010 among City, Authority
and DEQ

Sewage Bond Ordinance
Sewage Indenture
Bond Authorizing Resolution adopted
December 13, 2011                               Series
                                                             Class 1B-23          $4,302,413.00
Supplemental Agreement regarding City of      2012-SRF
Detroit Sewage Disposal System SRF
Junior Lien Revenue Bonds, Series 2012-
SRF1, dated August 30, 2012 among City,
Authority and DEQ




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              SCHEDULE OF DWSD REVOLVING WATER BOND DOCUMENTS
                   & RELATED DWSD REVOLVING WATER BONDS




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       SCHEDULE OF (I) DWSD REVOLVING WATER BOND DOCUMENTS, (II) RELATED
     DWSD REVOLVING WATER BONDS, (III) CLASSES OF DWSD REVOLVING WATER BOND
     CLAIMS AND (IV) ALLOWED AMOUNTS OF DWSD REVOLVING WATER BOND CLAIMS



                                             Series of                          Allowed Amount of
    DWSD Revolving Water Bonds
                                           DWSD Revolving         Class       DWSD Revolving Water
           Documents
                                            Water Bonds                        Bonds Claims in Class

Ordinance No. 01-05 adopted January 26,
                              1
2005 ("Water Bond Ordinance")
Trust Indenture dated as of February 1,
2013 among the City of Detroit ("City"),
Detroit Water and Sewerage Department
and U.S. Bank National Association, as
trustee ("Water Indenture")
                                           Series 2005-SRF-1    Class 1C-1         $9,960,164.00
Bond Authorizing Resolution adopted
April 29, 2005 ("2005 SRF Resolution")
Supplemental Agreement dated as of
September 22, 2005 among City, Michigan
Municipal Bond Authority ("Authority")
and Michigan Department of
Environmental Quality ("DEQ")

Water Bond Ordinance
Water Indenture
2005 SRF Resolution
Supplemental Agreement regarding the       Series 2005-SRF-2    Class 1C-2         $6,241,730.00
Water Supply System SRF Junior Lien
Revenue Bond, Series 2005-SRF2, dated
September 22, 2005 among City, Authority
and DEQ

Water Bond Ordinance
Water Indenture
Bond Authorizing Resolution adopted
February 15, 2006
                                           Series 2006-SRF-1    Class 1C-3         $3,715,926.00
Supplemental Agreement regarding the
Water Supply System SRF Junior Lien
Revenue Bond, Series 2006-SRF1, dated
September 21, 2006 among City, Authority
and DEQ




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        Ordinance No. 0-05 amends and restates Ordinance No. 30-02 adopted November 27, 2002, which
        amended and restated Ordinance No. 06-01 adopted October 18, 2001, which amended and restated
        Ordinance No. 32-85, as amended.




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                                             Series of                        Allowed Amount of
    DWSD Revolving Water Bonds
                                           DWSD Revolving        Class      DWSD Revolving Water
           Documents
                                            Water Bonds                      Bonds Claims in Class

Water Bond Ordinance
Water Indenture
Bond Authorizing Resolution and Bond
Ordinance, adopted July 15, 2008
                                           Series 2008-SRF-1   Class 1C-4       $1,535,941.00
Supplemental Agreement regarding Water
Supply System SRF Junior Lien Revenue
Bonds, Series 2008-SRF1, dated
September 29, 2008 among City, Authority
and DEQ




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                        PRINCIPAL TERMS OF EXIT FACILITY




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                                  EXIT FACILITY
                            SUMMARY OF PRINCIPAL TERMS 1

       The definitive documentation governing the Exit Facility shall provide generally for the
following terms:

Issuer                   City of Detroit.
Initial Bond             The bonds will initially be sold to the Michigan Finance Authority
Purchaser                (the "MFA"). The MFA will issue bonds secured by the City's bonds.
                         $325 million, consisting of Financial Recovery Bonds issued pursuant to
                         section 36a(7) of the Michigan Home Rule City Act, excluding any
Amount and Type
                         amounts raised to fund (if required) debt service reserve funds consistent
                         with municipal markets practice.
                         An amount up to $200 million is contemplated to be tax-exempt
Taxation
                         financing.
                         As approved by the Local Emergency Financial Assistance Loan Board,
                         proceeds of the exit facility will be used to fund: (i) the retirement of the
                         City's $120,000,000 post-petition financing, (ii) certain of the City's
                         reinvestment and revitalization initiatives and (iii) the retirement of the
Use of Proceeds
                         City's obligations with respect to holders of Class 5 Claims (COP Swap
                         Claims) and potentially holders of Class 7 Claims (Limited Tax General
                         Obligation Bond Claims) under the City's Seventh Amended Plan of
                         Adjustment.

Pricing on Sale to       Tax-Exempt Bonds: SIFMA Municipal Swap Index + 4.25%
Purchaser                Taxable Bonds: 1-month USD-LIBOR + 4.75%
                         Tax-Exempt Bonds: The sum of (i) the yield on Thomson Reuters
                         Municipal Market Data 15-year AAA Index, plus (ii) the Base Spread (as
                         set forth in the Commitment Letter, dated September 17, 2014), plus
                         (iii) the applicable Market Flex (as set forth in the Commitment Letter,
Pricing on Public        dated September 17, 2014).
Offering
                         Taxable Bonds: The sum of (i) the yield on 7-year US Treasury Notes,
                         plus (ii) the Base Spread (as set forth in the Commitment Letter, dated
                         September 17, 2014), plus (iii) the applicable Market Flex (as set forth in
                         the Commitment Letter, dated September 17, 2014).
                         No longer than 15 years on Tax-Exempt Bonds; no longer than 8 years on
Maturity
                         Taxable Bonds.
                         The obligations owing by the City with respect to the Exit Facility will be
Security
                         secured by a first priority lien on certain income tax revenues of the City.

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         Capitalized terms not otherwise defined herein shall have the meanings given to them in
         the Plan.


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                    FORM OF FGIC/COP SETTLEMENT DOCUMENTS




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                                    Settlement Agreement

       This Settlement Agreement (this “Agreement”) is entered into as of October __, 2014, by
and between the City of Detroit, Michigan (the “City”), and Financial Guaranty Insurance
Company (“FGIC”). The City and FGIC are referred to herein each individually as a “Party”
and collectively as the “Parties”.

        WHEREAS, the Detroit General Retirement System Service Corporation, a Michigan
nonprofit corporation (“DGRS”), and the Detroit Police and Fire Retirement System Service
Corporation, a Michigan nonprofit corporation (“PFRS” and, together with DGRS, each a
“Service Corporation” and collectively the “Service Corporations”) created each of (i) the
Detroit Retirement Systems Funding Trust 2005 (the “2005 Pension Funding Trust”) pursuant to
that certain Trust Agreement, dated June 2, 2005, among the Service Corporations and U.S.
Bank National Association, as trustee, and (ii) the Detroit Retirement Systems Funding Trust
2006 (the “2006 Pension Funding Trust”) pursuant to that certain Trust Agreement, dated June
12, 2006, among the Service Corporations and U.S. Bank National Association, as trustee;

        WHEREAS, the 2005 Pension Funding Trust issued certain Taxable Certificates of
Participation Series 2005 (the “2005 Pension Funding Securities”) and the 2006 Pension Funding
Trust issued certain Taxable Certificates of Participation Series 2006 (the “2006 Pension
Funding Securities” and, collectively with the 2005 Pension Funding Securities, the “Certificates
of Participation” or “COPs”);

      WHEREAS, FGIC issued certain financial guaranty insurance policies guaranteeing the
payment of the principal of and interest on certain of the Certificates of Participation;

        WHEREAS, on January 31, 2014, the City commenced the Adversary Proceeding
styled, City of Detroit, Michigan v. Detroit General Retirement System Service Corporation,
Detroit Police and Fire Retirement System Service Corporation, Detroit Retirement Systems
Funding Trust 2005 and Detroit Retirement Systems Funding Trust 2006, Case No. 14-04112
(Bankr. E.D. Mich.) (the “COP Litigation”);

       WHEREAS, on March 17, 2014, Wilmington Trust, National Association, as Successor
Trustee for the Detroit Retirement Systems Funding Trust 2005 and the Detroit Retirement
Systems Funding Trust 2006 (collectively, the “Trustee”) filed that certain Answer to Complaint
with Affirmative Defenses and Counterclaims of Defendants Detroit Retirement Systems Funding
Trust 2005 and Detroit Retirement Systems Funding Trust 2006 to Complaint for Declaratory
and Injunctive Relief (the “Funding Trusts’ Counterclaims”);

      WHEREAS, on March 17, 2014, FGIC filed that certain Financial Guaranty Insurance
Company’s Motion to Intervene Pursuant to Rule 7024 of the Federal Rules of Bankruptcy
Procedure and Section 1109(b) of the Bankruptcy Code (the “FGIC Motion to Intervene”);




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       WHEREAS, on April 10, 2014, the City filed that certain City of Detroit’s Motion to
Dismiss in Part the Funding Trusts’ Counterclaims (the “Motion to Dismiss the Funding Trusts’
Counterclaims”);

       WHEREAS, on June 30, 2014, the Bankruptcy Court for the Eastern District of
Michigan (the “Bankruptcy Court”) issued an Opinion and Order, among other things, granting
the FGIC Motion to Intervene, subject to certain limitations;

       WHEREAS, on July 18, 2014, FGIC filed that certain Answer and Affirmative Defenses
of Defendant Financial Guaranty Insurance Company;

       WHEREAS, on August 13, 2014, FGIC filed those certain Counterclaims of Defendant
Financial Guaranty Insurance Company against the City (the “FGIC Counterclaims”);

       WHEREAS, on August 28, 2014, the City filed that certain City of Detroit’s Motion to
Dismiss in Part FGIC's Counterclaims (the “Motion to Dismiss the FGIC Counterclaims” and,
together with the Motion to Dismiss the Funding Trusts’ Counterclaims, the “Motions to
Dismiss”);

       WHEREAS, the Motions to Dismiss have been fully briefed and argued; and

        WHEREAS, the Parties and their representatives have engaged in good faith, arm’s
length settlement discussions regarding a consensual resolution of their disputes under or in
respect of the COP Litigation, the Certificates of Participation and related issues.

        NOW, THEREFORE, in consideration of the foregoing and the promises, mutual
covenants, and agreements set forth herein and for other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, the Parties hereby agree as follows:

Section 1         Definitions and Interpretations.

        1.1    Additional Definitions. The following terms have the respective meanings set
forth below for all purposes of this Agreement.

       “Approval Order” means an order confirming the Plan entered by the Bankruptcy Court,
which contains provisions substantially in the form attached hereto as Schedule 1 approving this
Agreement pursuant to Bankruptcy Rule 9019.

       “COP Holders” means the holders of COPs originally insured by FGIC with a claim for
principal or interest.

       “Counterclaims” means the FGIC Counterclaims and the Funding Trusts’ Counterclaims.

       “Plan” means that certain Eighth Amended Plan for the Adjustment of Debts of the City
of Detroit (October __, 2014), as the same may be amended consistent with the terms and
conditions of the Stipulation.



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       “Settlement Effective Date” means the latest date to occur of (i) the City obtaining all
governmental and other consents and approvals (including the Approval Order) set forth in
Section 5.1(d), and (ii) FGIC obtaining the approval of the New York State Department of
Financial Services, as set forth in Section 5.2(d).

      “Stipulation” means that certain Stipulation Regarding FGIC Plan COP Settlement and
FGIC COP Swap Settlement, dated October [__], 2014.

       1.2    Plan Definitions. Capitalized terms used herein, but not otherwise defined, shall
have the meanings ascribed to such terms in the Plan.

        1.3     Other Definitional and Interpretive Provisions. The words “hereof”, “herein”
and “hereunder” and words of like import used in this Agreement shall refer to this Agreement as
a whole and not to any particular provision of this Agreement. References to Sections and
Schedules are to Sections and Schedules of this Agreement unless otherwise specified. Any
singular term in this Agreement shall be deemed to include the plural, and any plural term the
singular. Whenever the words “include”, “includes” or “including” are used in this Agreement,
they shall be deemed to be followed by the words “without limitation”, whether or not they are in
fact followed by those words or words of like import. References to any statute shall be deemed
to refer to such statute as amended from time to time and to any rules or regulations promulgated
thereunder. References from or through any date mean, unless otherwise specified, from and
including or through and including, respectively. References to “law”, “laws” or to a particular
statute or law shall be deemed also to include any and all applicable law.

Section 2          Global Resolution of COP Litigation.

       2.1    Dismissal of COP Litigation. As soon as practicable after the occurrence of the
Settlement Effective Date, the City shall dismiss the COP Litigation, with prejudice.

       2.2    Dismissal of Counterclaims. As soon as practicable after the occurrence of the
Settlement Effective Date, FGIC shall dismiss or cause to be dismissed all Counterclaims, with
prejudice. For the avoidance of doubt, the dismissal of the COP Litigation and dismissal of all
Counterclaims is intended and shall be deemed to take place contemporaneously.

       2.3     Waiver & Release of Claims. Effective as of the Settlement Effective Date:

                (a) FGIC shall, without further action, release unconditionally, and be deemed to
forever and unconditionally release, waive and discharge all entities (including the City, the
City’s Related Entities, the State and the State Related Entities), of and from any and all claims,
obligations, suits, judgments, damages, debts, rights, remedies, causes of action and liabilities of
any nature whatsoever, whether known or unknown, foreseen or unforeseen, liquidated or
unliquidated, matured or unmatured, existing or hereafter arising, in law, equity, or otherwise,
that are or may be based in whole or in part upon any act, omission, transaction, event or other
occurrence taking place or existing on or prior to the Effective Date of the Plan related to the
COP Litigation (the “Released Claims”), including any claims against the Retirement Systems
arising in connection with the COPs, provided, however that the Released Claims shall not
include (i) any claims with respect to enforcement of this Agreement, the Stipulation or the FGIC
Development Agreement, (ii) any claims with respect to the New B Notes, the New C Notes or

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the Class 9 Settlement Credits, (iii) any claims held by FGIC against the COP Swap
Counterparties or Related Entities thereof or (iv) any claims asserted against the City in the
proofs of claim filed by FGIC and the Trustee; provided that, with respect to the claims
described in clause (iv), for the avoidance of doubt, the Parties intend that such claims shall be
subject to the treatment, discharge and injunction provisions set forth in the Plan.

                (b)      The City shall provide the exculpations to FGIC, the COP Holders and the
Trustee as provided under the Plan and shall have no further claims on account of the COP
Litigation as set forth in Section 2.1 above.

Section 3            Consideration.

      3.1     Development Agreement. The City shall enter into the FGIC Development
Agreement in the form attached hereto as Schedule 2.

       3.2   Sole Benefit. The consideration provided herein is solely for the benefit of FGIC
and the COPs Holders, and such consideration shall be administered and distributed to FGIC and
the COP Holders in a manner consistent herewith.

Section 4            Approvals; Trustee Steps.

       4.1     Time is of the Essence. The Parties hereto acknowledge and agree that time is of
the essence. The City and FGIC shall each use commercially reasonable efforts to obtain all
governmental and other consents and approvals (including, in the case of the City, the Approval
Order) set forth in Section 5.1(d) and Section 5.2(d), respectively. FGIC shall use commercially
reasonable efforts to support the City’s efforts to obtain the Approval Order.

        4.2    Trustee. FGIC shall take all necessary and appropriate steps to direct the Trustee
to effectuate this Agreement, including directing the Trustee to withdraw the Funding Trusts’
Counterclaims.

Section 5            Representations and Warranties.

       5.1     Representations and Warranties of the City. The City represents to FGIC that:

               (a)      It is a municipal corporation of the State of Michigan.

               (b)    It has the power to execute and deliver this Agreement and to perform its
obligations hereunder and it has taken all necessary action to authorize such execution, delivery
and performance.

               (c)    Such execution, delivery and performance do not violate or conflict with
any law applicable to it, any provision of its constitutional documents, any order or judgment of
any court or other agency of government applicable to it or any of its assets.

              (d)    Other than (i) approvals by (x) the City Council, (y) the Local Emergency
Financial Assistance Loan Board created under the Emergency Municipal Loan Act, Michigan
Compiled Laws §§ 141.931-141.942 and (z) the Treasurer of the State, (ii) any other approvals


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required by Section 19 of PA 436, (iii) execution of an order by the Emergency Manager
approving this Agreement and (iv) the approval of the Bankruptcy Court, all governmental and
Emergency Manager consents and approvals that are required to have been obtained by it as of
the date of execution of this Agreement with respect to the execution, delivery and performance
of this Agreement have been obtained and are in full force and effect and all conditions of any
such consents and approvals have been complied with.

       5.2     Representations and Warranties of FGIC. FGIC represents to the City that:

                (a)     It is duly organized and validly existing under the laws of the jurisdiction
of its organization or incorporation and in good standing.

               (b)     It has the power to execute this Agreement, to deliver this Agreement and
to perform its obligations under this Agreement and it has taken all necessary action to authorize
such execution, delivery and performance.

               (c)    Such execution, delivery and performance do not violate or conflict with
any law applicable to it, any provision of its constitutional documents, any order or judgment of
any court or other agency of government applicable to it or any of its assets.

                (d)   Other than the approval or the waiver of required minimum notice of the
New York State Department of Financial Services , all governmental consents and approvals that
are required to have been obtained by it with respect to this Agreement have been obtained and
are in full force and effect and all conditions of any such consents and approvals have been
complied with.

               (e)    That certain Stipulation By and Between the City of Detroit, Michigan and
the COPs Creditors Regarding Certain Facts and the Admission of Certain Exhibits for the
Confirmation Trial, dated July 13, 2014 and approved by the Bankruptcy Court on July 14, 2014,
remains in effect.

Section 6          No Admission.

        This Agreement is a proposed settlement of claims and disputes between the Parties and
is the product of good faith, arm’s length negotiations between the Parties hereto. If this
Agreement is terminated, this Agreement will not be an admission of any kind. Pursuant to
Federal Rule of Evidence 408 and any applicable state rules of evidence, this Agreement and all
negotiations relating hereto will not be admissible into evidence in any proceeding. However,
this Agreement will be admissible into evidence in any proceeding to obtain Bankruptcy Court
approval of this Agreement or to enforce or interpret the terms of this Agreement, and, subject to
any otherwise applicable rules in the Federal Rules of Evidence (other than Federal Rule of
Evidence 408), this Agreement may be admitted into evidence in any proceeding arising as a
result of or in connection with a Party’s breach of this Agreement or in which breach of this
Agreement is alleged as a relevant fact. The admissibility of all negotiations related to this
Agreement shall be governed by the Mediation Order [Docket No. 322] entered by the
Bankruptcy Court, as the same has been amended and supplemented, including with respect to
that Limited Order Modifying the Mediation Order [Docket No. 7968]. Notwithstanding the
foregoing, nothing herein shall limit the scope or effect of the Mediation Order.

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Section 7          Termination.

        Any Party may terminate this Agreement upon one Business Day’s prior written notice to
the other Party if: (a) the Bankruptcy Court denies approval of (x) this Agreement, (y) the
Stipulation or (z) the Plan, (b) the Bankruptcy Court approves this Agreement pursuant to an
order that does not constitute an Approval Order, (c) the Approval Order is vacated, reversed or
modified on appeal, (d) the Effective Date of the Plan does not occur within six (6) months of the
entry of the Approval Order, (e) any approval or consent sought pursuant to Section 5.1(d) or
5.2(d) of this Agreement is denied or (f) the other Party is in material breach of any provision of
this Agreement, and such breach is continuing and has not been cured within 5 Business Days
after written notice thereof is provided to such Party. Absent the prior written consent of the
City, this Agreement shall immediately automatically terminate if all approvals or consents
sought pursuant to Section 5.2(d) of this Agreement are not obtained by November 4, 2014 at
5:00 p.m. (ET).

         Notwithstanding anything herein to the contrary , in the event that this Agreement is
terminated as set forth herein, then neither this Agreement, nor any document filed with the
Bankruptcy Court with respect to the approval of this Agreement, will have any res judicata or
collateral estoppel effect or be of any force or effect, and each of the Parties’ respective interests,
rights, remedies and defenses will be restored without prejudice as if this Agreement had never
been executed and the Parties will be automatically relieved of any further obligations under this
Agreement. For the avoidance of doubt, in the event this Agreement is terminated, the City shall
retain the right to pursue the COP Litigation and related claims and FGIC shall retain the right to
make any arguments, objections, or other assertions (other than res judicata or collateral estoppel
as set forth in the preceding sentence), pursue any Released Claims, Counterclaims, defenses,
litigation, appeals, or disputes related to the COP Litigation or any other matter otherwise
resolved by this Agreement.

Section 8          Miscellaneous.

       8.1     Execution of this Agreement. This Agreement may be executed and delivered
(by facsimile, PDF, or otherwise) in any number of counterparts, each of which, when executed
and delivered, will be deemed an original, and all of which together will constitute the same
agreement. Each individual executing this Agreement on behalf of a Party has been duly
authorized and empowered to execute and deliver this Agreement on behalf of said Party.

       8.2    Binding Obligation; Successors and Assigns. This Agreement is a legally valid
and binding obligation of the Parties, enforceable in accordance with its terms, and will inure to
the benefit of the Parties and their respective successors, assigns and transferees. This
Agreement grants no rights to any third party, including any COP Holder or Trustee.

        8.3    Complete Agreement; Interpretation. This Agreement, the Plan and the
Stipulation constitute the complete agreement among the Parties with respect to the subject
matter hereof and supersedes all prior agreements, oral or written, among the Parties with respect
thereto. This Agreement is the product of negotiation by and among the Parties. Any Party
enforcing or interpreting this Agreement will interpret it in a neutral manner. There will be no
presumption concerning whether to interpret this Agreement for or against any Party by reason


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of that Party having drafted this Agreement, or any portion thereof, or caused it or any portion
thereof to be drafted.

        8.4   Amendment, Modification and Waiver. This Agreement may be modified,
altered, amended, or supplemented only by an agreement in writing signed by each Party. No
waiver of any provision of this Agreement will be effective unless made in a writing signed by
the Party making the waiver, nor will the waiver be extended to any other right, claim or remedy.

        8.5    Notices. All notices and other communications required under this Agreement
will be given in writing and delivered, if sent by telecopy, electronic mail, courier, or by
registered or certified mail (return receipt requested) to the following addresses and telecopier
numbers (or at such other addresses or telecopier numbers as will be specified by like notice):

              If to the City:

              City of Detroit, Michigan
              1200 Coleman A. Young Municipal Center
              2 Woodward Avenue
              Detroit, Michigan 48226
              Attention: CFO
              Fax:
              Email:


              with copies (which shall not constitute notice) to:

              City of Detroit Law Department
              First National Building, Suite 1650
              660 Woodward Avenue
              Detroit, Michigan 48226
              Attention: Corporation Counsel
              Fax:
              Email:

              and

              Jones Day
              222 East 41st Street
              New York, NY 10017-6702
              Attn: Corinne Ball & Benjamin Rosenblum
              Fax: (212) 755-7306
              Email: cball@JonesDay.com
                     brosenblum@JonesDay.com

              If to FGIC:

              Financial Guaranty Insurance Company


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               521 Fifth Avenue
               New York, NY 10175
               Attention: General Counsel
               Fax: (212) 312-2231
               Email: GeneralCounsel@fgic.com

               with copies (which shall not constitute notice) to:

               Weil, Gotshal & Manges LLP
               700 Louisiana, Suite 1700
               Houston, TX 77002
               Attention: Alfredo R. Pérez
               Fax: (212) 310-8007
               Email: alfredo.perez@weil.com

Any notice given by delivery, mail, or courier will be effective when received. Any notice given
by telecopier will be effective upon oral or machine confirmation of transmission. Any notice
given by electronic mail will be effective upon oral or machine confirmation of receipt.

       8.6     Headings. The headings of all sections of this Agreement are inserted solely for
the convenience of reference and are not a part of and are not intended to govern, limit, or aid in
the construction or interpretation of any term or provision hereof.

        8.7    Governing Law and Jurisdiction.               THIS AGREEMENT WILL BE
GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE
STATE OF MICHIGAN, WITHOUT REGARD TO ANY PRINCIPLES OF CONFLICTS OF
LAW THEREOF THAT WOULD REQUIRE THE APPLICATION OF THE LAW OF
ANOTHER JURISDICTION. By its execution and delivery of this Agreement, each of the
Parties hereby irrevocably and unconditionally agrees that any dispute with respect to this
Agreement will be resolved by the Bankruptcy Court to the extent that the Bankruptcy Court
then has jurisdiction and power to enforce the terms of this Agreement and, to the extent that the
Bankruptcy Court does not then have jurisdiction, to the exclusive jurisdiction of the courts of
the State of Michigan and the United States District Court for the Eastern District of Michigan.
Each of the Parties irrevocably consents to service of process by mail at the addresses listed for
such Party in Section 8.5 hereof. Each of the Parties agrees that its submission to jurisdiction
and consent to service of process by mail is made for the sole and express benefit of the other
Party.

     8.8   Waiver of Jury Trial. TO THE EXTENT PERMITTED BY LAW, THE
PARTIES HERETO HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVE TRIAL
BY JURY IN ANY LEGAL ACTION OR PROCEEDING RELATING TO THIS
AGREEMENT.

                                    [Signature Pages Follow]




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                 IN WITNESS WHEREOF, the parties hereto have executed this Agreement as
of the date first above written.


CITY:

City of Detroit, Michigan

By: _________________________________
Name: _______________________________
Title: ________________________________

Dated: October __, 2014




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FGIC:

Financial Guaranty Insurance Company

By: _________________________________
Name: _______________________________
Title: ________________________________

Dated: October __, 2014




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                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
-----------------------------------------------------x
                                                     :
In re                                                : Chapter 9
                                                     :
CITY OF DETROIT, MICHIGAN,                           : Case No. 13-53846
                                                     :
                               Debtor.               : Hon. Steven W. Rhodes
                                                     :
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   STIPULATION REGARDING FGIC PLAN COP SETTLEMENT AND
                FGIC COP SWAP SETTLEMENT

      WHEREAS, the Detroit General Retirement System Service Corporation, a

Michigan nonprofit corporation (“DGRS”), and the Detroit Police and Fire

Retirement System Service Corporation, a Michigan nonprofit corporation

(“PFRS” and, together with DGRS, each a “Service Corporation” and collectively

the “Service Corporations”) created each of (i) the Detroit Retirement Systems

Funding Trust 2005 (the “2005 Pension Funding Trust”) pursuant to that certain

Trust Agreement, dated June 2, 2005, among the Service Corporations and U.S.

Bank National Association, as trustee, and (ii) the Detroit Retirement Systems

Funding Trust 2006 (the “2006 Pension Funding Trust”) pursuant to that certain

Trust Agreement, dated June 12, 2006, among the Service Corporations and U.S.

Bank National Association, as trustee;




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      WHEREAS, the 2005 Pension Funding Trust issued certain Taxable

Certificates of Participation Series 2005 (the “2005 Pension Funding Securities”)

and the 2006 Pension Funding Trust issued certain Taxable Certificates of

Participation Series 2006 (the “2006 Pension Funding Securities” and collectively

with the 2005 Pension Funding Securities, the “Certificates of Participation” or

“COPs”);

      WHEREAS, Financial Guaranty Insurance Company (“FGIC”) issued

certain financial guaranty insurance policies guaranteeing the payment of the

principal of and interest on certain of the Certificates of Participation (“FGIC

COPs Policies”);

      WHEREAS, in connection with the issuance of the COPs, the Service

Corporations entered into certain swap transactions under certain 1992 ISDA

Master Agreements (Local Currency Single Jurisdiction) (together with all

ancillary and related instruments and agreements, as the same may have been

subsequently amended, restated, supplemented or otherwise modified, the “COP

Swap Agreements”);

      WHEREAS, FGIC issued certain financial guaranty insurance policies

guaranteeing the payment of certain amounts owed by the Service Corporations

under the COP Swap Agreements;




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      WHEREAS, the City of Detroit, Michigan (the “City”) has proposed a Plan

for the Adjustment of Debts, as amended (the “Plan”),1 and FGIC has opposed and

objected to such Plan; and

      WHEREAS, the City and FGIC (collectively, the “Parties”) and their

representatives have engaged in good faith, arm’s length settlement discussions

regarding a consensual resolution of their disputes under or in respect of the Plan,

the Certificates of Participation and the COP Swap Agreements.

      NOW, THEREFORE, in consideration of the foregoing and the promises,

mutual covenants, and agreements set forth herein and for other good and valuable

consideration, the receipt and sufficiency of which are hereby acknowledged, the

Parties, by and through their respective undersigned counsel, agree and stipulate as

follows:

             1.     The City shall (a) modify the Plan as set forth on Exhibit 1,

(b) not amend the Plan in a way that would have a materially adverse effect on the

class of claims (“Class 9”) associated with COPs as set forth in the Plan, without

the consent of FGIC, and (c) exclude the Joe Louis Arena Parking Garage from

any requests for qualifications, quotations or proposals in connection with the

Parking Garages.



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      Capitalized terms not defined herein have the meanings given to them in the Plan.


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             2.       All votes cast by FGIC to accept or reject the Plan, including

any votes cast on behalf of any COP Holder, shall be deemed to have been cast as

accepting the Plan.

             3.       All objections by FGIC to the Plan shall be withdrawn, without

prejudice to FGIC refiling such objections in the event that (i) the Plan is not

confirmed, (ii) this Stipulation is not approved, or (iii) that certain Settlement

Agreement, entered into as of October [___], 2014, by and between the City and

FGIC in connection with the COP Litigation (the “Settlement Agreement”) is not

approved or is otherwise terminated in accordance with the provisions thereof

(each event described in clause (i), (ii) or (iii), a “Termination Event”). Pending

approval of this Stipulation, FGIC shall take no action in furtherance of any

objection, joinder, reservation of rights, or opposition to the Plan. For the

avoidance of doubt, while approval for this Stipulation is pending, FGIC shall

refrain from calling or examining any witnesses, introducing other evidence or

advancing legal argument in connection with the confirmation trial on the Plan.

             4.       FGIC, on behalf of itself and the COP Holders, shall opt into

the Plan COP Settlement with respect to the COPs originally insured by FGIC (the

“FGIC-Insured COPs”), without impairing the COP Holders’ insurance claims

against FGIC.




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             5.    The consideration provided under this Stipulation and the Plan

COP Settlement is solely for the benefit of FGIC and the COP Holders, and such

consideration shall be administered and distributed in a manner consistent with the

Plan.


             6.    Subject to FGIC having obtained the consents of any and all

reinsurers providing reinsurance with respect to all or a portion of the FGIC COPs

Policies, FGIC may, in its sole discretion, require the insertion of the following

provision in the proposed Confirmation Order:

             FGIC (irrespective of the terms of the FGIC COPs
             Policies, including, without limitation the definition of
             Due for Payment) may treat all of the outstanding
             principal owing on all series of the FGIC-Insured COPs
             as having been accelerated and currently “Due for
             Payment” (as such term is defined in the applicable FGIC
             COPs Policy for purposes of such policy) as of the
             Effective Date, in which case, with respect to each FGIC
             COPs Policy there shall be deemed a Permitted Policy
             Claim (as defined in the First Amended Plan of
             Rehabilitation for Financial Guaranty Insurance
             Company, dated June 4, 2013) in the amount of (i) the
             outstanding principal amount of the FGIC-Insured COPs
             in each CUSIP, as of the Effective Date, insured by such
             policy and (ii) interest accrued and unpaid on such
             principal amount of such FGIC-Insured COPs through
             the Effective Date, in which case no interest shall accrue
             on or after the Effective Date.

             7.    In full satisfaction and discharge of FGIC’s swap insurance and

related claims against the City, FGIC shall receive: (a) an Allowed Class 14 claim


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in the amount of $6.11 million, and (b) the Downtown Development Authority

shall assign to FGIC all of the Downtown Development Authority’s right, title and

interest to its distribution of New B Notes under the plan on account of its $33.6

million Class 13 claim. For the avoidance of doubt, this consideration is solely for

FGIC’s benefit.

             8.     This Stipulation shall automatically terminate upon the

occurrence of a Termination Event.

             9.     This Stipulation, including Exhibit 1 hereto, and the Settlement

Agreement contain the entire understanding of the Parties hereto concerning the

subject matter hereof and supersedes all prior understandings and agreements,

whether written or oral, between the Parties hereto on such subject matter. The

Parties acknowledge that they are not relying on any promises or representations

not contained in this Stipulation.

             10.    This Stipulation may be executed in counterparts by facsimile,

email, or other similar electronic transmission, each of which shall be deemed an

original and all of which when taken together shall constitute one document.




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                                 EXHIBIT I.A.198

                     FORM OF FGIC DEVELOPMENT AGREEMENT




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                              DEVELOPMENT AGREEMENT

                      OPTION TO ACQUIRE AND DEVELOP LAND
                                      BY AND AMONG
                                    CITY OF DETROIT,
                                THE STATE OF MICHIGAN
                                             AND
                   FINANCIAL GUARANTY INSURANCE COMPANY

        THIS AGREEMENT (referred to herein as this “Agreement”) is entered into as of the
____ day of October, 2014 (the “Effective Date”), by and between the City of Detroit, a
Michigan public body corporate (the “City”), acting through its Planning & Development
Department (“PDD”), whose address is 2300 Cadillac Tower, Detroit, Michigan 48226, the State
of Michigan (the “State”), whose address is P.O. Box 30013, Lansing, Michigan 48909, and
Financial Guaranty Insurance Company, a New York stock insurance company (“Developer”),
whose address is 521 Fifth Avenue – 15th Floor, New York, New York 10175. The City and
Developer are sometimes referred to in this Agreement as a “Party” and, collectively, as the
“Parties.”

                                           Recitals:

        A.      In consideration of the Parties’ various contractual arrangements and settlements
entered into contemporaneously herewith between the City and Developer, and the mutual desire
of the Parties to promote economic growth in the City (the “Arrangement”), the City has agreed
to grant an option to Developer to acquire that certain real property upon which is presently
situated the improvements commonly referred to as the Joe Louis Arena, inclusive of 5.3 acres of
real property located at 19 Steve Yzerman Drive, Detroit, Michigan, and the Joe Louis Arena
Garage, inclusive of 3.3 acres of real property located at 900 W. Jefferson Avenue, Detroit,
Michigan (collectively, the “Property”). As used herein, the term “Property” shall be deemed to



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include: (i) the land described on Exhibit __1 together with all air, mineral, subsurface and
riparian rights appertaining thereto, if any; (ii) the City’s interest, if any, in those certain above
ground pedestrian walkways and all necessary related easements located on the Property or
appurtenant thereto, whether now existing or hereafter granted prior to the Closing (as
hereinafter defined), allowing access from the property to COBO Center (the “COBO Interests”);
(iii) the City’s interest, if any, in any land lying in the bed of any street, road, alley, right-of-way
or avenue, at the foot of, adjoining or dividing the Property, only to the extent such street, road,
alley, right-of-way or avenue is not open for the general benefit of the public; (iv) the City’s
interest, if any, in the use and benefit of all easements appurtenant to the Property whether or not
of record; (v) the City’s interest in and development rights under all authorizations, permits and
approvals with respect to the use and development of the Property; and (vi) such other rights,
interests and properties as may be specified in this Agreement to be sold, transferred, assigned or
conveyed by the City to Developer.

        B.     The State has agreed to grant to the Developer or assist the Developer in obtaining
certain economic development incentives for purposes of developing the Property upon the terms
and conditions set forth herein.

      C.     If Developer exercises its option with respect to the Property as set forth herein,
Developer shall develop such Property in accordance with the terms and provisions of this
Agreement.

         Accordingly, the Parties agree as follows:

Section 1.        DEVELOPMENT AND OPTION

         (A)      Development Proposal.

                 (1)     On or before a date which is thirty-six (36) months following full and
         complete execution of this Agreement (as the same may be extended in accordance with
         the terms hereof, the “Development Proposal Deadline”), the Developer shall (i) identify
         a developer partner that shall serve as development manager for the Development, or a
         development manager to be hired on a fee for service basis by Developer to manage
         construction of the Development (as hereinafter defined), either of which shall have
         significant experience in the development of large, complex mixed-use urban projects,
         and (ii) prepare a comprehensive development plan for the Development, and shall
         submit such information along with such plan (in form and substance reasonably
         acceptable to the City) to the City for its review and approval in the manner set forth in
         this Section 1(A) (the “Development Proposal”), which approval shall not be
         unreasonably withheld, conditioned or delayed, including, without limitation, any
         condition in such approval that would interfere with the eligibility of the Development
         for TIF Incentives (as defined in Section 5(I)(a) below) as contemplated hereby. For
         purposes of this Agreement, “Development” shall mean that certain mixed use project
         consisting of (i) a first-class hotel and related facilities including not less than 300 hotel

1 The Parties should agree upon a legal description for the Property and associated easements upon receipt of Title
    and Survey.


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        rooms, and (ii) such other office, retail, commercial, recreational, residential and/or
        condominium units as shall be determined by the Developer (industrial, adult
        entertainment and other noxious uses excepted) given prevailing market conditions, with
        a height above ground not to exceed 30 floors, to be constructed upon the Property by the
        Developer, together with all onsite improvements, site preparation, onsite infrastructure
        (including, without limitation, sanitary sewer, water, storm sewer, sidewalks, street
        lighting, driveways, storm water detention or retention facilities), related parking
        facilities and landscaping, necessary or appurtenant thereto; in all instances as approved
        by the City in accordance herewith, which approval shall not be unreasonably withheld,
        conditioned or delayed to the extent consistent with the City’s urban planning policies
        and the City’s comprehensive development plan as existing on the date any applicable
        Required Approvals (as defined below) are obtained by the Developer. For purposes of
        this Agreement, and without limiting the Developer’s ability to identify and receive
        approval of a different development partner, the Detroit Regional Convention Facility
        Authority is deemed by the City an approved development partner. The Development
        Proposal shall include an application for the brownfield plan necessary for the application
        for TIF Incentives, and it shall also identify which components of the Development
        Proposal are eligible for the TIF Incentives, disbursement of which shall be governed by
        the Economic Incentive Agreements (as defined in Section 5(I)(a) below), and the City
        shall use its commercially reasonable efforts to cause the State or applicable State related
        entity to grant any approvals necessary for those TIF Incentives no later than one hundred
        twenty (120) days after the date of approval of the Development Proposal, subject to the
        terms hereof. The Development Proposal shall include the terms of the Guaranty (as
        defined in Section 5(B) below), including the identity of any guarantor thereunder, and
        also include the terms of any proposed equity investment and financing for the
        Development; provided, however, (i) the Development Proposal does not need to disclose
        any additional equity partners, provided that the Developer will not partner with any third
        party that is prohibited from doing business with the City, (ii) the Development proposal
        does not need to disclose the holder(s) of the COPs or holders of the beneficial interests
        in the COPs, and (iii) the Development Proposal does not need to identify a development
        partner if the rights under the Agreement have been transferred to a developer prior to the
        date of the Development Proposal Deadline, which transferee has previously been
        approved by the City, which approval shall not be unreasonably withheld, conditioned or
        delayed.

                (2)     The City shall review any Development Proposal submitted to the City by
        the Developer and within ninety (90) days of receipt by the City of such Development
        Proposal (the “Development Proposal Review Period”) the City shall either (i) approve
        the Development Proposal or (ii) provide the Developer with the specific reasons why the
        Development Proposal is not acceptable, which may include unacceptability of the
        proposed development partner (if required). If the City does not approve the
        Development Proposal, the Developer may provide a revised Development Proposal(s) to
        the City for its approval pursuant to the process herein, which shall continue until the
        earlier of (i) the date on which a Development Proposal is approved, and (ii) the
        Development Proposal Deadline which shall be automatically extended by the aggregate
        of all Development Proposal Review Periods. The City and, to the extent applicable
        related to the TIF Incentives, the State, shall reasonably cooperate with the Developer in

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        preparation of the Development Proposal, at no incremental cost to the City or, as
        applicable, the State. The Development Proposal, as approved by the City pursuant to
        this Section 1(A) shall be hereinafter referred to as the “Approved Development
        Proposal.”

                (3)    Upon request of the Developer, the City may approve an extension of the
        Development Proposal Deadline by up to twenty-four (24) additional months, which
        approval shall not be unreasonably withheld, delayed or conditioned. The City agrees
        that it would be unreasonable to withhold its approval of such extension if (i) the
        Developer requested the extension because development in the immediate vicinity of the
        Property has materially decreased or the general economic condition of the City has
        deteriorated to such a level that it would not be economically feasible for the Developer
        to pursue development of the Property or (ii) it is reasonable given the complexity of the
        development contemplated by the Developer for the Property.

        (B)       Option and Diligence Procedure.

                (1)    The Developer shall have until a date which is one hundred eighty (180)
        days prior to the Development Proposal Deadline (as may be extended) to give the City
        written notice of its intent to conduct the Diligence Activities (as hereinafter defined) on
        the Property (the “Diligence Notice”). Following receipt of the Diligence Notice, the City
        shall use its commercially reasonable efforts during the Diligence Period (as defined
        below) to provide the Developer and its contractors, consultants and their respective
        agents with such access to the Property as may be reasonably requested by the Developer
        from time to time, subject to any access limitation of that certain Sublease of Riverfront
        Arena between the City, Olympia Entertainment, Inc. and the Detroit Red Wings, Inc.,
        dated June 15, 2014, and the related Parking Agreement (as may be amended, restated or
        modified, the “JLA Lease”). For purposes of this Agreement, “Diligence Activities”
        include but are not limited to the following:

                          (a)      such physical inspections, surveys, soil borings and bearing tests
                  and possible relocation of utilities, all as Developer deems necessary in its sole
                  discretion, all of which shall be completed at Developer’s expense;

                          (b)     subject to the terms and provisions of Section 2 below, including
                  giving of such Investigation Notices and obtaining City approval as may be
                  required thereunder, investigations, environmental studies, environmental site
                  assessments (including Phase I and Phase II site assessments, and/or sampling and
                  invasive testing of soil, groundwater, surface water, soil vapors, indoor air, and
                  building materials (such as Asbestos and lead-based paint)), and such other
                  investigations and assessments as Developer may deem necessary in its sole
                  discretion to determine the condition of the Property and the Property’s
                  compliance with Environmental Laws (as defined below) and any other federal,
                  state and local laws, rules, regulations and orders relating in any way to protection
                  of human health, the environment and natural resources, all of which shall be
                  completed at Developer’s expense; and



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                         (c)    a review of available public and private utilities and public
                  accesses necessary for the proposed development of the Property.
                (2)    Title and Survey. The City shall deliver to Developer a title commitment
        and ALTA survey for the Property (the “Title Commitment and Survey”) promptly
        following execution of this Agreement. Within twenty (20) business days after the
        Developer’s receipt of the Title Commitment and Survey (in form reasonably acceptable
        to the Developer) and copies of each of the title exceptions referenced in the Title
        Commitment and Survey, the Developer shall examine the Title Commitment and Survey
        and shall make any objections to any items therein that would cause title to the Property
        not to be good and marketable, free and clear of any items that, in Developer’s reasonable
        discretion, would unreasonably interfere with the construction, use or operation of the
        Development for its intended purposes or impair the value of the Development to such an
        extent as to make such Development not commercially feasible (any of the foregoing a
        “Title Defect”) by written notice to the City (the “Title Objection Notice”). For
        avoidance of doubt, the City shall not be obligated to cure, remove or bond over any
        objection to the Title Commitment and Survey that fails to qualify as a Title Defect
        hereunder. The Title Objection Notice shall state with specificity the reasons for
        Developer’s objection(s) and the curative steps requested by the Developer which would
        remove the basis for the Developer’s objection(s). The City shall cure, remove or bond
        over any Title Defects prior to the Closing Date. If the Developer orders an update to the
        Title Commitment and Survey prior to Closing (as defined in Section 3(A) below), and
        such update shows any additional Title Defect not caused by the Developer or its agents,
        consultants or contractors, the City shall cause each such Title Defect to be cured,
        removed or bonded over prior to Closing.
                 (3)    City Information. To the extent within the possession of the City and the
        City Parties (as defined below), as reasonably determined by the City’s corporation
        counsel upon due inquiry, the City shall, promptly upon the written request of the
        Developer, provide, and shall cause all City Parties to provide, to the Developer (i) copies
        of all environmental studies, asbestos reports or other environmental reports on the
        Property, and all material documents, records or non-privileged communications related
        to the presence, use or release of Hazardous Materials at the Property subject to a pending
        claim or matter or present at concentrations exceeding those allowed by law, (ii) copies
        of all title reports and the underlying documents referenced therein, (iii) copies of all
        surveys of the Property, (iv) copies of any other records, documents, instruments,
        agreements or files with respect to the use or ownership of the Property, to the extent
        materially relevant after Closing, (v) to the extent not included in the above, copies of the
        correspondence to or from the City or any City Parties related to the use or ownership of
        the Property, to the extent materially relevant after Closing and (vi) such other
        documentation as is reasonably requested by Developer with respect to the Property. For
        purposes of this Agreement, “City Parties” shall mean any department, subdivision or
        agency of the City and/or any governmental authority within the direct or indirect control
        or supervision of the City.
                (4)    Insurance. Prior to entering onto the Property for any Diligence
        Activities, Developer or its contractors shall maintain the insurance coverage and comply



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        with the insurance requirements specified in the City’s Right-of-Entry, a form of which is
        attached as Exhibit A (the “Right-of-Entry”).

                (5)    Indemnity. Developer shall defend, indemnify and hold harmless the City
        from and against any loss, liability, cost or expense incurred by the City to the extent
        resulting from Developer’s (including its duly authorized employees, agents, engineers or
        other representatives) negligence or willful acts occurring in connection with the
        Diligence Activities; provided, however, that the Developer shall not be responsible for
        any loss, liability, cost, or expense resulting from the City’s (or any City Parties’)
        negligence or misconduct.

                (6)     The Developer shall notify the City in writing, no less than one hundred
        twenty (120) days following the Diligence Notice (the “Diligence Period”), that either (i)
        the Developer intends to proceed to Closing on the Property (the “Notice of Option
        Exercise”), or (ii) the condition of the Property is such that, in Developer’s reasonable
        judgment, the condition adversely affects Developer’s ability to timely complete the
        Development or adversely affects the use, value or marketability of the Property (the
        “Objection Notice”), which Objection Notice shall state with reasonable specificity the
        particular diligence matter(s) unacceptable to the Developer, including any Title Defects
        (“Objections”). The City, in its sole discretion, shall have the option (but not the
        obligation) to cure, remove or bond over such Objections within sixty (60) days
        following receipt of the Objection Notice (the “Cure Period”), provided, that the City
        must cure, remove or bond over such Objections that (a) are encumbrances for the benefit
        of the City, the City Parties, their lenders or vendors, (b) are Title Defects, or (c) may
        reasonably be deemed to directly cause a delay in the Developer’s ability to complete the
        Development in accordance with the terms and conditions of this Agreement more than
        two (2) years after the Completion Deadline; provided, however, in the event any such
        Objection may reasonably be deemed to directly cause a delay in the Developer’s ability
        complete the Development in accordance with the terms and conditions of this
        Agreement of two (2) years or less after the Completion Deadline (a “Minor Delay
        Defect”), then the City shall not be obligated to cure, remove or bond over such Minor
        Delay Defect; however, the number of days of delay reasonably determined to be caused
        by such Minor Delay Defect shall be deemed Force Majeure Delay (as hereinafter
        defined) for the equivalent number of days. Without limiting the generality of the
        foregoing, the City shall be obligated to cause to be cured, removed or bonded over prior
        to expiration of the Cure Period: (i) mechanics’ liens; (ii) judgment liens against the City
        or any City Parties; (iii) mortgages, similar loan documents and voluntary liens with
        respect to indebtedness of the City or any City Party; (iv) delinquent taxes, charges,
        impositions or assessments; (v) fines issued by any governmental or quasi-governmental
        authority or other liens encumbering the Property or any portion thereof which are in
        liquidated amounted; and (vi) any other monetary liens against the property. To the
        extent the Developer desires to proceed to Closing on the Property following delivery of
        an Objection Notice, the Developer must deliver to the City a Notice of Option Exercise
        prior to fifteen (15) days following expiration of the Cure Period. Failure of the
        Developer to timely deliver a Notice of Option Exercise as provided for herein shall
        result in automatic termination of the Developer’s rights under this Agreement and the


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        Developer shall thereafter have no further interest in the Property. Following delivery by
        the Developer of a Notice of Option Exercise, the City shall be bound to convey the
        Property, upon the terms and conditions set forth herein, and the City and the Developer
        shall proceed to closing on the Property on a mutually agreed upon date which is the later
        of (i) two (2) years following approval by the City of the Development Proposal, and (ii)
        six (6) months following completion of Demolition (as defined in Section 5(H)(b) below)
        by the City (the “Closing Date”).

                (7)    As Is Condition of Property; City Cooperation. The City makes no implied
        or express representations or warranties of any kind as to any condition that may
        adversely affect the development, or its fitness for absolutely any purpose whatsoever,
        other than with respect to the Sufficient Environmental Remediation (as defined in
        Section 5(H)(b) below). Upon delivery to the City of the Notice of Option Exercise,
        Developer will be deemed to have acknowledged that it is satisfied with the condition of
        the applicable Property, subject to the completion of the Sufficient Environmental
        Remediation, and shall be deemed to have waived any right to object to the status of title
        or to the condition of the Property, regardless of the result of any Diligence Activities,
        except as expressly provided for in this Agreement.

                 (8)     Release of City from Liability. Upon Closing and subject to the City’s
        obligation hereunder to perform Sufficient Environmental Remediation, Developer shall
        release the City and its officials, employees, and agents (but not any third party) from any
        and all claims or causes of action the Developer may have against the City for any
        liability, injury or loss as a result of any physical defects in or physical conditions of the
        Property, including but not limited to any surface, subsurface, latent or patent conditions
        whether naturally occurring or by action of any party.

        (C)     Brokerage and Finder’s Fees and Commission. Developer will defend and
indemnify the City and hold it harmless with respect to any commissions, fees, judgments, or
expenses of any nature and kind that the City or Developer may become liable to pay by reason
of any claims by or on behalf of brokers, finders or agents claiming by, through or under
Developer incident to this Agreement and the transaction contemplated hereby or any litigation
or similar proceeding arising therefrom unless the City has a written agreement with a broker,
finder or agent providing for such payment in which case the City shall be responsible for such
broker, finder or agents’ commissions, fees, judgments or expenses. To the maximum extent
permitted by applicable law, the City will defend and indemnify the Developer and hold it
harmless with respect to any commissions, fees, judgments, or expenses of any nature and kind
that the City or Developer may become liable to pay by reason of any claims by or on behalf of
brokers, finders or agents claiming by, through or under the City incident to this Agreement and
the transaction contemplated hereby or any litigation or similar proceeding arising therefrom
unless the Developer has a written agreement with a broker, finder or agent providing for such
payment in which case the Developer shall be responsible for such broker, finder or agents’
commissions, fees, judgments or expenses. Developer represents and warrants to the City that it
has not engaged or otherwise dealt with any brokers entitled to any commissions, fees,
judgments, or expenses in connection with this Agreement.

        (D)       Taxes And Assessments. All taxes and assessments which (i) have become a lien

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upon the Property or part thereof prior to the date of Closing, and (ii) have been discovered and
specifically identified by Developer prior to the Closing, shall be paid by the City on or prior to
the Closing Date; provided, further that all current property taxes shall paid by the City through
the date of Closing. From and after Closing, and subject to any abatement or other tax limitation
described in this Agreement, Developer shall be solely responsible for all taxes, liens, and
assessments that become due and payable for the period after the Closing against the Property it
acquires hereunder or any part thereof, whenever assessed, levied, or due.

Section 2.        ENVIRONMENTAL MATTERS

       (A)    Definitions. The following words and expressions shall, wherever they appear in
this Agreement, be construed as follows:

                  (1)    “Asbestos” shall have the meanings provided under the Environmental
                  Laws and shall include, but not be limited to, asbestos fibers, friable asbestos or
                  asbestos-containing materials or presumed asbestos-containing materials, as such
                  terms are defined under the Environmental Laws.

                  (2)    “Environmental Claims” shall mean all claims, demands, suits,
                  proceedings, actions, whether pending or threatened, contingent or non-
                  contingent, known or unknown, including but not limited to investigations and
                  notices by any governmental authority or other person, brought under common
                  law and/or under any of the Environmental Laws which can or do relate to the
                  Property or the operations conducted thereon.

                  (3)     “Environmental Laws” shall mean all applicable federal, state, and local
                  laws, rules, regulations, orders, judicial determinations and decisions or
                  determinations by any judicial, legislative or executive body of any governmental
                  or quasi-governmental entity, or any other legally binding requirement, whether in
                  the past, present or future, with respect to or otherwise related to the environment,
                  natural resources, pollution or contamination and human health and safety,
                  including, but not limited to:

                          (a)      the installation, existence, or removal of, or exposure to, Asbestos
                  at, on or in the Property;

                        (b)     the existence on, discharge from, release of, exposure to, or
                  removal from the Property of Hazardous Materials; and

                        (c)    the effects on the environment of the Property or any activity
                  conducted now, or previously or hereafter conducted, on the Property.

                  Without limiting the foregoing, Environmental Laws shall include, but not be
                  limited to, the following: (i) the Michigan Natural Resources and Environmental
                  Protection Act, 1994 Public Act 451, as amended (“NREPA”); the
                  Comprehensive Environmental Response, Compensation, and Liability Act, 42
                  USC Sections 9601, et seq. (“CERCLA”); the Superfund Amendments and

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                  Reauthorization Act, Public Law 99-499, 100 Stat. 1613; the Resource
                  Conservation and Recovery Act, 42 USC Sections 6901, et seq.; the National
                  Environmental Policy Act, 42 USC Section 4321; the Toxic Substances Control
                  Act, 15 USC Section 2601; the Hazardous Materials Transportation Act, 49 USC
                  Section 1801; the Clean Air Act, 42 USC Sections 7401, et seq.; the Occupational
                  Safety and Health Act, 29 USC Sections 651, et seq., as each have been amended
                  and the regulations promulgated in connection therewith; (ii) Environmental
                  Protection Agency regulations pertaining to Asbestos (including 40 CFR Part 61,
                  Subpart M); Occupational Safety and Health Administration Regulations
                  pertaining to Asbestos (including CFR Sections 1901.1001 and 1926.58) as each
                  may now or hereafter be amended; and (iii) any Michigan state and local laws and
                  regulations pertaining to any Hazardous Materials.

                  (4)     “Hazardous Materials” shall include any material, substance or waste
                  classified, regulated, or otherwise characterized as “hazardous,” “toxic,”
                  “radioactive,” a “pollutant,” “contaminant,” or words of similar meaning or is
                  otherwise regulated by Environmental Laws, including, without limitation,
                  polychlorinated biphenyls (PCBs), paint containing lead and urea formaldehyde
                  foam insulation, and sewage.

        (B)    The City and Developer acknowledge and agree that some of the parcels to be
transferred may be “facilities” pursuant to Part 201 of NREPA, whether or not as yet discovered
to be such and that the obligations to perform Sufficient Environmental Remediation is the City’s
obligation and shall be done at its cost and expense.

        (C) The City shall authorize the Developer, through a fully executed Right-of-Entry (in
the form attached), to enter upon the Property during the Diligence Period to, subject to the
reasonable conditions set forth herein, make soil boring and bearing tests, undertake such
surveying and environmental due diligence activities as Developer deems appropriate, including
without limitation sampling and testing of soil, soil vapor, surface water, groundwater, indoor
air, and the installation of groundwater wells, provided such do not materially and unreasonably
interfere with demolition or site improvement activities of the City or the rightful use of the
Property by a tenant in possession or other third party, if any, provided the City shall use its
commercially reasonable efforts to facilitate such access to tenant spaces. All such testing and
remediation shall be done at Developer’s expense; provided, if sampling occurs, the City shall
have the right, at its cost and expense, to obtain split samples of any environmental media to the
extent reasonably practicable. During the Diligence Period, Developer shall comply with the
terms and provisions of the Right-of-Entry. Developer’s right to enter upon the applicable
Property is subject to execution of such Right-of-Entry and subject to the prior written
authorization by the tenant under the JLA Lease, which the City shall use commercially
reasonable efforts to procure promptly upon receipt of the Diligence Notice from the Developer.
Upon request from the City, Developer shall promptly provide the City with a copy of each final
survey or environmental testing report generated as a result of such activities. Developer shall
give prior written notice to the City of Developer’s plan to inspect and/or investigate the
environmental condition of the Property during the Diligence Period (each such notice referred
to herein as an “Investigation Notice”). The Investigation Notice shall identify any agents or


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contractors that the Developer intends to use in conducting the activities covered by the
Investigation Notice and the general scope of such activities; provided, the scope of any such
investigations, site assessments or testing activities shall be subject to the City’s prior written
approval, which approval shall not be unreasonably withheld, conditioned or delayed; provided,
further, Developer shall have sole discretion to determine what analysis any samples will be
subjected to. Developer shall use all commercially reasonable efforts to minimize damage to the
Property in connection with such entry and shall restore the Property to the condition existing
prior to such entry. Developer shall indemnify, defend and hold the City harmless from and
against any and all out-of-pocket loss, cost, liability and expense, including reasonable attorney
fees and litigation costs, suffered or incurred by the City as a result of the Developer’s (including
any of its duly authorized employees, agents, engineers or other representatives) negligent acts or
omissions or willful misconduct occurring in connection with the activities conducted in
accordance with the Right-of-Entry.

         (D)     In the event Developer elects to proceed to take title to the Property, upon the
Closing and subject to the Sufficient Environmental Remediation, Developer takes such Property
as it finds it, “AS IS”, and the City makes no express or implied representations or warranties as
to its fitness for absolutely any purpose whatsoever, including but not limited to any warranty
that the Property is fit for the Developer’s purpose or regarding the presence or absence of
Hazardous Materials at, on, in, under, at, or from the Property and compliance with the Property
with Environmental Laws, other than with respect to Sufficient Environmental Remediation.
Except with respect to Sufficient Environmental Remediation, Developer acknowledges that
neither the City nor any agent or employee of the City has made any representation, warranty or
agreement, either express or implied, and Developer has not relied on any representation,
warranty or agreement of any kind made by the City or any agent or employee of the City,
concerning (a) the physical or environmental condition of the Property, or (b) the presence or
absence of any condition, substance or material, including but not limited to any waste material,
equipment or device at, on, in, under, about, or from the Property. Developer agrees that the
disclosures of the City concerning the Property and its condition are intended to satisfy any
duties the City may have under the law, including but not limited to the statutes, Environmental
Laws, and common law. By executing this Agreement, Developer acknowledges that it is
entitled to receive from the City Sufficient Environmental Remediation and is entitled to conduct
its Diligence Activities, including but not limited to inspection of the Property, review of title,
and the results of the tests, investigations and surveys permitted under this Agreement. If, prior
to Closing, Developer fails to undertake such investigations and/or obtain such test results and
surveys, or fails to object to the condition of the Property based on the results of its Diligence
Activities, and Developer thereafter elects to proceed to Closing, Developer shall thereupon be
deemed to have waived any right to object to the condition of the Property and shall be deemed
to have declared its full satisfaction therewith, subject to Sufficient Environmental Remediation.

        (E)    Upon Closing, Developer, for itself and its successors and assigns, expressly
waives and releases all Environmental Claims (whether for personal injury, property damage or
otherwise) that Developer may have against the City and its officials, employees and agents in
connection with or related to such Property or any aspect thereof, except with respect to
Sufficient Environmental Remediation.



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        (F)    After the Closing, the City shall have no obligation or liability to Developer
whatsoever to undertake any cleanup or other remedial action that may be required in connection
with the Property under any Environmental Law, or to comply with any other federal, state or
local requirement to attend to the physical condition of the Property, subject to the City’s
obligations hereunder related to Sufficient Environmental Remediation.

       (G)     At its sole cost and expense, with respect to the Property for the period
commencing on the Closing and ending on Commencement of Construction (as defined in
Section 5(C) below), Developer shall: (a) comply with all Environmental Laws; (b) pay when
due the cost of Developer’s compliance with the Environmental Laws resulting out of
environmental conditions caused or permitted by Developer during its period of ownership, use,
possession or development of the Property; and (c) keep the Property free of any lien imposed
pursuant to the Environmental Laws resulting out of Developer’s ownership, use, possession, or
development of the Property.

       (H)    Notwithstanding anything to the contrary which may be contained in this
Agreement, Developer represents and warrants and covenants to the City for the period after
Developer’s commencement of ownership, use, possession or development of the Property
through and including Commencement of Construction, as follows:

                          (a)      Developer shall not use or allow the use of the Property for the
                  purpose of storing any Hazardous Materials Developer brings into the Property,
                  nor shall Developer use the Property in a manner which will cause or increase the
                  likelihood of causing the release of such Hazardous Materials onto or from the
                  Property, in each case other than those Hazardous Materials which are necessary
                  and commercially reasonable for the conduct of Developer’s development
                  activities or the business operated on the Property and which Hazardous Materials
                  shall be handled and disposed of in compliance with all Environmental Laws and
                  industry standards and in a commercially reasonable manner.

                           (b)     Developer shall promptly notify the City of any claims or
                  litigation against the Developer by any person (including any governmental
                  authority), concerning the presence or possible presence of Hazardous Materials
                  contamination at the Property or concerning any violation or alleged violation of
                  the Environmental Laws by the Developer respecting the Property, and shall
                  furnish the City with a copy of any such communication received by Developer.

                          (c)     Developer shall notify the City promptly and in reasonable detail
                  in the event that Developer becomes aware of or suspects the presence of
                  Hazardous Materials at levels exceeding those allowed by the Environmental
                  Laws or contamination or a material violation of the Environmental Laws at the
                  Property.

                          (d)    If Developer’s operations at the Property violate the Environmental
                  Laws so as to subject Developer or the City to a formal notice of violation by a
                  governmental agency alleging a violation of the Environmental Laws, Developer
                  shall promptly notify the City of the Developer’s receipt of such formal notice of


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                  violation and shall promptly investigate the underlying circumstances and notify
                  the City within five (5) days after the completion of its investigation of the results
                  of its investigation. If Developer determines that an ongoing material violation by
                  Developer is occurring or did occur, Developer shall, to the extent required by
                  Environmental Laws, cease or cause a cessation of or take other actions to address
                  those aspects of the use or operations causing the violation and shall remedy and
                  cure in compliance with the Environmental Laws any conditions arising therefrom
                  to the extent required by Environmental Laws at its own cost and expense. If
                  Developer disputes that its activities are violating Environmental Laws, it shall
                  expeditiously appeal and prosecute an appeal of the notice of violation or take
                  other commercially reasonable actions to dispute such notice.

Section 3.        CLOSING

       (A)     On the Closing Date, the City shall, subject to Developer’s satisfaction of the
conditions precedent set forth in Section 3(B) below, convey the Property to the Developer (the
“Closing”) by quit-claim deed substantially in the form of the deed set forth in Exhibit B (the
“Deed”) using legal descriptions approved by Developer and the City. The Parties agree and
acknowledge that the sole and exclusive consideration for conveyance of the Property hereunder
is deemed to be the Arrangement, the sufficiency of which is hereby acknowledged.

       (B)    Conditions to Closing. The City’s obligation to proceed with a Closing is
conditioned on the fulfillment by Developer of each of the following conditions precedent:

                       a.      Resolution of Developer’s Authority. Developer shall furnish to
the City a certified copy of a resolution in form and substance reasonably acceptable to the City
and the title company insuring title to the Property, duly authorizing the execution, delivery and
performance of this Agreement and all other documents and actions contemplated hereunder.

                       b.     Payment of Closing Costs. Developer shall have tendered payment
of the closing costs payable by Developer, which shall include all title charges, escrow, closing
and recording fees associated with any conveyance hereunder except those costs expressly
allocated to the City hereunder. The City shall pay all closing costs in connection with transfer
of the Property at Closing to the extent such costs are expressly allocated to sellers of real
property in Detroit, Michigan pursuant to applicable law. Each Party shall bear the cost of its
own legal fees and expenses in connection with this Agreement.

       (C)    Delivery of Deeds and Possession. The City will deliver to Developer at Closing
the Deed with respect to the Property and possession thereof.

       (D)     Recording. Provided that Developer has complied with all conditions precedent
as specified in Section 3(B) above, the Deed shall be delivered at the Closing for prompt
recordation with the Register of Deeds of Wayne County, Michigan. Developer shall pay at
Closing all costs for recording the Deed. Possession of the Property shall be delivered to
Developer at the Closing.

Section 4:        NOTICES


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        All notices, demands, requests, consents, approvals or other communications (any of the
foregoing, a “Notice”) required, permitted, or desired to be given hereunder to any Party shall be
in writing and either (a) hand delivered, (b) sent by registered or certified mail, postage prepaid,
return receipt requested, (c) sent by facsimile transmission (with confirmation), or (d) sent by
reputable overnight prepaid courier, addressed to the Party to be so notified at its address set
forth below, or to such other address as such Party may hereafter specify in accordance with the
provisions of this Section. Any Notice shall be deemed to have been effectively given and
received: (i) in the case of hand delivery, at the time of delivery if delivered prior to 5:00 P.M.
New York time on a Business Day (or if delivered after 5:00 P.M. or on a day other than a
Business Day, then the next succeeding Business Day); (ii) in the case of registered or certified
mail, three (3) Business Days from transmittal; (iii) in the case of reputable overnight prepaid
courier, one (1) Business Day subsequent to transmittal; or (iv) in the case of facsimile
transmission, upon confirmation that receipt of such transmission was received, provided receipt
of such transmission is confirmed prior to 5:00 P.M. New York time on the Business Day on
which such confirmation is received (or if confirmed after 5:00 P.M. or on a day other than a
Business Day, then the succeeding next Business Day), in each case addressed to the respective
Party as follows:

        If to Developer:      Financial Guaranty Insurance Company
                              521 Fifth Avenue – 15th Floor
                              New York, New York 10175
                              Attention: General Counsel
                              Fax: 212-312-3221

        If to the City:       Director
                              Planning & Development Department
                              65 Cadillac Square, Suite 2300
                              Detroit, Michigan 48226
                              Fax:__________________________

                              With a copy to (which copy shall not constitute notice):

                              Corporation Counsel
                              City of Detroit Law Department
                              2 Woodward Avenue
                              Suite 500
                              Detroit, MI 48226
                              Fax:__________________________

        If to the State:      State of Michigan
                              P.O. Box 30013
                              Lansing, Michigan 48909
                              Attention: _____________________
                              Fax:__________________________

Any Party may notify any other Party of any changes to the address or any of the other details for
Notice to such Party specified above; provided, however, that no such change shall be effective

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earlier than the date such Notice is received or deemed to have been received in accordance with
this Section.

Section 5:        COVENANTS

        (A)     Developer covenants for itself and its successors and assigns and every successor
in interest to the Property, that from and after Closing on the Property, Developer and its
successors and assigns shall develop such Property only to and in accordance with the Approved
Development Proposal and otherwise pursuant to the terms and conditions of this Agreement,
unless otherwise agreed in writing by the City. Subject to Force Majeure Delays (as defined
below), within twelve (12) months following the Closing Date (the “Commencement Deadline”),
the Developer shall achieve Commencement of Construction with respect to such Property.
Following Commencement of Construction, the Developer shall diligently prosecute the
Development on the Property to substantial completion in material conformance with the
Approved Development Proposal (which shall mean substantial completion of the Development
and all improvements related thereto, exclusive of landscaping, punch list items and any tenant
work for commercial or other space for which there are no tenants or for which the work is to be
done by a tenant and any onsite or offsite work that is not commercially necessary for occupancy
in material conformance with the Approved Development Proposal) (the date upon which such
substantial completion occurs referred to herein as the “Completion Date”). Subject to Force
Majeure Delays, the Completion Date shall occur within thirty-six (36) months following the
Closing Date (the “Completion Deadline”). For purposes of this Agreement, “Force Majeure
Delays” shall mean an event, casualty, occurrence, condition, or circumstance of any kind or
nature reasonably beyond the control of the applicable party hereto which renders such party
unable to perform any of its obligations contemplated hereunder, in full or in part, including,
without limitation, (i) acts of declared or undeclared war by a foreign enemy; (ii) civil
commotion, insurrection or riots; (iii) fire or casualty or condemnation; (iv) floods, hurricanes or
other materially adverse weather conditions; (v) earthquakes; (vi) acts of God; (vii)
governmental preemption in the case of emergency; (viii) unavailability of materials to the extent
not within the reasonable control of the applicable party (other than shortage of funds); (ix)
strikes, lockouts or other labor trouble; (x) inability to secure labor or access to the Property
including, without limitation, holdover of the tenant under the JLA Lease (as defined below)
beyond any stated expiration date (inclusive of all renewal options thereunder); (xi) acts of
terrorism; (xii) the suspension of government operations; (xiii) any act, omission, rule, order or
regulation of any governmental authority or any department or subdivision thereof (other than,
with respect to the City, the City, any department, subdivision or agency of the City or any
governmental authority within the direct or indirect control or supervision of the City and other
than, with respect to the Developer, the failure of the Developer to secure the Required
Approvals if the Developer does not apply for and diligently prosecute the applications for such
Required Approvals); (ix) the presence of hazardous materials on the Property and any related
remedial action; and (x) any other cause, event or circumstance not within the reasonable control
of the applicable party (other than shortage of funds).

       (B)    The Commencement Deadline and Completion Deadline shall be extended for a
period of time equal to the number of days during which Developer is prevented from
proceeding with the construction of the development at the Property by reason of Force Majeure


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Delays, provided that (i) Developer is otherwise in compliance with the terms and provisions of
this Agreement, and (ii) Developer notifies the City of the events constituting such Force
Majeure Delays no later than sixty (60) days after Developer has actual knowledge of their
occurrence. At Closing, Developer shall cause the City to be provided with a commercially
reasonable completion guarantee, or other assurance of completion (which other assurance of
completion shall be reasonably acceptable to the City), given by an entity reasonably acceptable
to the City, which guarantees for the benefit of the City substantial completion of the
Development on or before the Completion Deadline (the “Guaranty”).

       (C)     For purposes of this Agreement, “Commencement of Construction” on the
Property shall be deemed to have occurred when the Developer shall have commenced site
preparation work on the Property, which site preparation work may include renovation or
demolition of existing structures located on the Property by the Developer, as applicable.

       (D)     Developer covenants and agrees that from and after Closing, through and
including the Commencement of Construction, it will: (i) comply with all applicable zoning
requirements, and all other applicable state and federal statutes and regulations and local laws
and ordinances applicable to the ownership, use and/or occupancy of the Property; and (ii)
except as abated in accordance with the terms hereof, pay and discharge when due without
penalty, and in all events before penalty for nonpayment attaches thereto, all taxes, assessments
and governmental charges, including but not limited to real estate taxes or assessments on the
Property or any part thereof, except where the same may be contested in good faith.

        (E)     Developer covenants and agrees to permit the City or its designee to encumber
that portion of the Property depicted in the attached Exhibit C with an easement upon terms and
conditions determined by the City in its reasonable discretion, for the purpose of constructing
certain riverwalk improvements. In the event the easement contemplated above is not placed of
record prior to Closing, the Developer (including any successors or assigns thereof) shall permit
such easement to be placed of record following Closing free of charge. Notwithstanding any
provision hereof to the contrary, no such easement described in this paragraph, to the extent
recorded prior to Closing, shall form the basis for a Title Defect or any Objection hereunder, and
the City shall not be required for any reason to cure, remove or bond over such encumbrance.

        (F)     Developer covenants and agrees to permit the City or its designee to maintain on
the Property those certain public transportation assets of the City commonly referred to as the
“people mover” and all ancillary assets related thereto free of charge (the “People Mover”).
Developer further covenants and agrees to permit the City or its designee to encumber the
Property with an easement upon terms and conditions determined by the City in its reasonable
discretion, for the purpose of maintaining, renewing and replacing, as necessary in the City’s
sole discretion, the People Mover in the location on the Property in which the People Mover is
situated as of the date of this Agreement. In the event the easement contemplated above is not
placed of record prior to Closing, the Developer (including any successors or assigns thereof)
shall permit such easement to be placed of record following Closing free of charge.
Notwithstanding any provision hereof to the contrary, no such easement described in this
paragraph, to the extent recorded prior to Closing, shall form the basis for a Title Defect or any



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Objection hereunder, and the City shall not be required for any reason to cure, remove or bond
over such encumbrance.

       (G)     Estate Conveyed. Notwithstanding anything contained in this Agreement to the
contrary, the estate conveyed hereby shall be deemed to be a determinable fee and only upon
Commencement of Construction hereunder will the possibility of reverter retained by the City
automatically expire as to that part of the applicable Property.

        (H)       City Covenants.

                (a)     Prior to Closing, the City shall (1) subject to Demolition, maintain the
Property in at least the same condition and repair (except for environmental condition and repair
thereof, which is addressed in sub-clause (2) below) as such exists on the Effective Date, (2) not,
through its own action, alter the environmental condition of the Property, as such exists on the
Effective Date, in a material and adverse manner, (3) not take zoning or land use action on the
Property without Developer’s prior written consent, and (4) not execute or grant any lease,
contract, agreement, lien, security interest, encumbrance, easement, or restriction with respect to
such Property, or amend, modify, renew or extend any of the foregoing, without prior written
consent of the Developer, which consent shall not be unreasonably withheld, conditioned or
delayed; provided, however, without the consent of the Developer, the City shall be permitted to
(i) enter into, amend, modify or renew any contract, agreement or lease with respect to the
Property to the extent that such instrument is terminable at will by the City and is terminated by
the City prior to the Closing or the term of such instrument does not extend beyond Closing, and
(ii) amend or modify the JLA Lease in any manner which would not materially, adversely alter
the rights of the Developer hereunder (for avoidance of doubt, the City shall be permitted to
terminate the JLA Lease without the Developer’s prior consent); provided, however, in no event
shall the City renew or otherwise extend the JLA Lease, subject to the right of the existing tenant
thereunder to so extend the JLA Lease. The City shall pass no charter, ordinance or other
provision that solely affects or primarily targets the Developer or its rights under this Agreement
which charter, ordinance or other provision has a material adverse impact on the Developer or its
rights under this Agreement (it being understood that a “material adverse impact” shall include
any adverse financial impact on or any contradiction, or adverse impact on the enforceability of,
the terms of this Agreement or the Economic Incentive Agreements). To the extent any COBO
Interests are intended to benefit the owner of the Property, but are not otherwise in the name of,
or held by, the City, upon written request of the Developer given to the City not less than ninety
(90) days prior to Closing, the City shall use reasonable efforts to cause such COBO Interests to
be conveyed to the Developer at Closing.

               (b)     Promptly upon expiration of the JLA Lease, but in no event more than
ninety (90) days after expiration of the JLA Lease (the “Demolition Commencement Date”), the
City shall commence or cause to be commenced the demolition of all improvements on the
Property (except for those certain improvements commonly referred to as the Joe Louis Arena
Garage) (the “Demolition Property”), which demolition shall include (i) removal and disposal of
all building improvements and materials located thereon and (ii) certain excavation work to be
completed at the Demolition Property, which excavation work shall include, without limitation,
clearing and grubbing, soil erosion and control, and site excavation and embankment on the


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Demolition Property, all in accordance with plans and specifications reasonably acceptable to the
Developer and all applicable laws, including, but not limited to Environmental Laws
(“Demolition”). For the avoidance of doubt, if the City commences staging for the Demolition
by the Demolition Commencement Date, the City will be deemed to have timely commenced
Demolition. Notwithstanding the foregoing, Demolition shall also include (i) remediation or
removal of Hazardous Materials (including, but not limited to, asbestos-containing materials,
PCB-containing light fixtures, mercury-containing switches) related to the removal and disposal
of materials from the Demolition Property to the extent required by or necessary to comply with
applicable laws or as is customary for demolition projects of a similar scope and nature and (ii)
the investigation, control or removal of any Hazardous Materials at, on or below the surface of
the Property that is sufficient under and otherwise causes the Property to comply with applicable
law for Developer to develop and use the Property consistent with the Development Proposal for
its intended purposes as a multiuse hotel, residential condominium, office or retail development
(“Sufficient Environmental Remediation”). Sufficient Environmental Remediation may, at the
City’s election, include controls that do not unreasonably interfere with the Development
Proposal; provided such are acceptable to the governmental authorities with jurisdiction over the
Property. Developer agrees that, in conjunction with Developer, the City may have prepared and
submitted to the Michigan Department of Environmental Quality a Baseline Environmental
Assessment (Phase II) and associated Due Care Plans approved by and for the benefit of
Developer, which approval shall not be unreasonably withheld, delayed or conditioned; however,
the submission of such shall not alleviate the City’s obligation to undertake such other actions
necessary to perform Sufficient Environmental Remediation to allow for the implementation of
the Development Proposal. The Developer agrees that in conducting Sufficient Environmental
Remediation, the City may rely on protective barriers to prevent contact with affected soil and
deed restrictions to limit groundwater use and other due care requirements approved by the
governmental authorities and reasonably acceptable to Developer. Sufficient Environmental
Remediation shall not include the construction of measures adopted as controls to the extent that
they are otherwise specifically part of the Development Proposal, in which case Developer shall
construct them as part of the Development; however, if the costs to do so are increased as a result
of government approved controls, the City shall reimburse Developer for the increased costs to
satisfy any government imposed controls. Developer or any future owner will be responsible for
maintaining any reasonable controls or due care measures adopted as part of the Sufficient
Environmental Remediation. The Demolition Commencement Date is expected to occur on or
before September 15, 2017. Demolition shall be completed within one (1) year following the
Demolition Commencement Date. The State shall make available to the City and/or the City
Parties certain CRP Incentives set forth below, of which up to $6,000,000 will be for the purpose
of reimbursing the City for the costs and expenses incurred in connection with the Demolition
(the “Demolition CRP Incentives”). For purposes of this Agreement, “CRP Incentives” shall
mean incentives available from the Michigan Strategic Fund, in cooperation with the Michigan
Economic Development Corporation (“MEDC”), through the Community Revitalization
Program under Public Act 252 of 2011. If there are any remaining Demolition CRP Incentives
following the Demolition and the Sufficient Environmental Remediation, such funds shall be
made available to reimburse the Developer for other eligible costs for the Development, to the
extent the Developer otherwise meets the eligibility requirements for CRP Incentives and enters
into the Economic Incentive Agreements applicable to such CRP Incentives.



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               (c)     Until the earlier of Closing or termination of the Developer’s rights under
this Agreement, the City shall fund or cause to be funded all costs and expenses for the repairs
specified on page 15 “Opinion of Expected Construction Costs – July 2014” in the Physical
Conditions Due Diligence Review and Evaluation dated September 2014 prepared by Desman
Associates, except for Item #3 identified therein.

              (d)      The City represents to Developer that, as of the Closing Date, the City or
an instrumentality of the City will have the right, power and authority to convey the Property in
the manner provided for in this Agreement.

        (I)       Economic Incentive Covenants.

               (a)     In order to facilitate construction of the Development pursuant to the
Approved Development Proposal on the Property, the State has agreed to reimburse the
Developer for certain eligible project costs through TIF Incentives, as more particularly set forth
herein. To the extent that the Approved Development Proposal meets the eligibility requirements
for TIF Incentives, the Developer shall be provided up to $18,000,000 in TIF Incentives, which
TIF Incentives will accrue interest at three percent (3%) per annum on any outstanding balance
thereof, pursuant to one or more subsequent final written grants or loans (forgivable or
otherwise), as applicable, and a development agreement or other economic assistance
agreements, as applicable, which shall be entered into by the Developer and the State no later
than one hundred twenty (120) following the City’s approval of the Approved Development
Proposal (which date may be extended by up to sixty (60) days in the event that the TIF
Incentives require review by the Michigan Department of Environmental Quality) (the
“Economic Incentive Agreements”). The Economic Incentive Agreements shall include (i) a
schedule of performance- based project milestones for construction of the Development, and (ii)
a pro-forma budget for the Development, as agreed upon by the City, the State and the
Developer. The Economic Incentive Agreements will be executed in accordance with the
standard process, including the filing of any necessary applications. The Economic Incentive
Agreements shall govern disbursement of the TIF Incentives, including those project costs
related to the Development that are eligible for TIF Incentives, as well as conditions precedent,
milestones and timing for such disbursement, and shall include customary periodic reporting
requirements of the Developer for data related to the Development both during and after
construction.    For purposes of this Agreement, “TIF Incentives” shall mean certain
redevelopment incentives awarded by the Michigan Strategic Fund (MSF) under the Brownfield
Tax Increment Financing Program (Act 381 of 1996), as administered by MEDC.

               (b)     To the extent the Development includes residential uses, the Economic
Incentive Agreements shall also provide for designation of the Development as a Neighborhood
Enterprise Zone (“NEZ”), and the City and each of the City Parties shall cooperate with and
assist the Developer in applying for the NEZ certificate. The City and each of the City Parties
shall establish either a Commercial Redevelopment Zone (as defined in the Commercial
Redevelopment Act, defined below) or a Commercial Rehabilitation Zone (as defined in the
Commercial Rehabilitation Act, defined below), as requested by the Developer, such that the
Property will be eligible for the property tax abatements available for properties in the applicable
zone. The City and each of the City Parties shall cooperate with and assist the Developer in


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applying for and obtaining the tax abatements for which the Property and any development
thereon is eligible under the Commercial Rehabilitation Act or the Commercial Redevelopment
Act. For purposes hereof, “Commercial Redevelopment Act” means the Public Act 255 of 1978,
MCL § 207.651 et seq., and “Commercial Rehabilitation Act” means the Public Act 210 of 2005,
MCL § 207.841 et seq.

              (c)    The City shall use its commercially reasonable efforts to assist the
Developer in obtaining any additional sources of developer financings and grants not already
expressly provided for in this Agreement that are identified in writing to the City by the
Developer.

        (J)       Land Use Covenants.

               (a)    The City shall change the zoning requirement for the Property to be
designated “B-5”, which will permit the Developer to develop the Property as a mixed-use
development, provided that the City administratively approves the site plans, which approval will
not be unreasonably withheld, delayed or conditioned. Approval by the City of the Development
Proposal shall not be deemed approval with respect to any site plan, elevation, special land use,
environmental, conditional use or other municipal approvals or permits, or variances therefrom,
required for the Development (the “Required Approvals”); provided, however, upon approval by
the City of the Development Proposal and prior to Closing, the Developer may proceed with
securing the Required Approvals at its sole cost and expense.

                (b)     With respect to any formal requests made by Developer or its designee to
the City or State for any Required Approvals, the City or State, as applicable: (a) agrees to
process such requests promptly and to use commercially reasonable efforts to process them
within thirty (30) days of submission by the Developer, (b) shall not unreasonably withhold,
condition or delay approvals of the applicable requests, provided that the City or State have the
legal authority to grant such approval and that such approval does not violate any applicable law,
rule or regulation of general application, (c) shall not unreasonably impede or interfere with the
Development, (d) shall not discriminate against Developer in the consideration or approval of
such Required Approvals on account of the circumstances surrounding the Arrangement and this
Agreement and the events leading up thereto, and (e) shall use reasonable efforts to facilitate
such requests, taking into consideration other similar requests for approvals or inducements, as
applicable, of third parties granted thereby for similarly situated developments and uses as those
contemplated for the Development; provided, however, the City or State, as applicable, shall
process such requests for all Required Approvals pursuant to all then applicable rules,
regulations, statutes and similar requirements.

Section 6:        REMEDIES

        (A)     City’s Remedies Prior to Conveyance. In the event that, prior to the Closing on
the Property, Developer assigns or otherwise transfers this Agreement or any right therein or in
the Property to any entity prohibited from doing business with the City, this Agreement and any
rights of Developer in this Agreement, may, at the option of the City, be terminated by the City
after thirty (30) days written notice and opportunity to cure provided by the City to Developer.
In any case, the Developer shall provide written notice to the City of such assignment.

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        (B)       City’s Remedies Subsequent to Conveyance.

                (1) Event of Default. If, prior to the Developer achieving substantial completion
of the Development, the Developer breaches any covenant set forth in this Agreement and fails
to cure such breach within thirty (30) days after written demand by the City, such an event shall
be deemed to constitute an “Event of Default”, provided, however, that if the nature of
Developer's default is such that more than the cure period provided is reasonably required for its
cure, then Developer shall not be deemed to be in default if Developer commences such cure
within said period and thereafter diligently pursues such cure to completion within one hundred
eighty (180) days of City’s initial written demand hereunder. Notwithstanding the foregoing,
Developer shall have the right to dispute that an Event of Default has occurred or that an Event
of Default has not been timely cured by written notice of dispute sent to the City (“Notice of
Dispute”). In the event a Notice of Dispute is sent, such Parties shall meet and in good faith work
to resolve their differences. In the event the City and Developer cannot resolve their differences
as to whether an Event of Default has occurred or has been cured, then the City shall not take any
action with respect to such uncured and disputed Event of Default as described in Sections
6(B)(2) or 6(B)(3) below without first bringing an action in a court of competent jurisdiction for
a final judicial determination that an Event of Default occurred and was uncured.
Notwithstanding the foregoing, the Developer shall not be entitled to give a Notice of Dispute
and the City shall not be required to first meet in good faith with the Developer as provided for
above, and may proceed directly to seek judicial relief in a court of competent jurisdiction to the
extent such Event of Default arises from or relates to the imminent risk of harm to property or
persons. The City may, in its sole discretion, waive in writing any default or Event of Default by
Developer.

                 (2)     City’s Remedies. Upon the occurrence of an Event of Default by the
Developer, then after a judicial determination as required by Section 6(B)(1) above, the City
shall have the right (as its sole remedy except as set forth in Section 6(B)(3) below with respect
to the failure of the Developer to achieve Commencement of Construction prior to the
Commencement Deadline as the same may be extended as provided herein), to seek injunctive
relief, specific performance or other equitable remedies (other than the forfeiture of Developer’s
title to or interest in the Property) for the Developer’s breach of this Agreement,. In no event
shall the City be entitled to monetary damages as a result of the Developer’s breach of this
Agreement.

                (3)    Right of Reverter. It is expressly understood and agreed between the
Parties hereto that until Commencement of Construction, the conveyance of such Property to
Developer shall be construed and interpreted as the conveyance of a fee simple determinable,
and that in the event of an uncured and undisputed Event of Default caused solely by the failure
of the Developer to achieve Commencement of Construction prior to the Commencement
Deadline as the same may be extended as provided herein, then after a judicial determination as
required by Section 6(B)(1) above, title to the Property shall automatically revest in the City.
Upon such revesting of title, the City shall have the right to re-enter and take immediate
possession of the Property. While the right of reversion as to the Property automatically
terminates upon Commencement of Construction, the City agrees to provide Developer with a
written acknowledgement, in recordable form, that Commencement of Construction has occurred


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and the City’s right of reversion has terminated hereunder and to take such further action as may
reasonably be requested by the Developer, at no incremental cost to the City, to extinguish the
right of reversion of record.

        (C)     Rights and Remedies Cumulative. The rights and remedies of the City and the
Developer, whether provided by law or by this Agreement, shall be cumulative, and the exercise
by the City or the Developer of any one or more remedies shall not preclude the exercise by it, at
the same or different times, of any other remedy for the same default or breach or any other
default or breach by the Developer or the City. No waiver made by any Party shall apply to
obligations beyond those expressly waived in writing.

         (D)     Developer’s Remedies. If the City breaches its obligations under this Agreement
after reasonable notice and opportunity to cure, Developer shall have the right to seek injunctive
relief, specific performance or other equitable remedies for the City’s breach of this Agreement.
In no event shall the Developer be entitled to monetary damages as a result of the City’s breach
of this Agreement.

        (E)    Representatives Not Individually Liable. No official or employee of the City
shall be personally liable to Developer or any successor in interest, in the event of any default or
breach by the City or for any amount which may become due to Developer or successor or on
any obligations under the terms of this Agreement. No director, officer or employee of the
Developer or any successor in interest shall be personally liable to the City, in the event of any
default or breach by the Developer or any successor in interest for any amount which may
become due to the City or on any obligations under the terms of this Agreement.

Section 7:        PROVISIONS NOT MERGED WITH DEEDS

        No provision of this Agreement is intended to or shall be merged into the Deed
transferring title to the Property from the City to Developer or any successor in interest, and any
such Deed shall not be deemed to affect or impair the provisions and covenants of this
Agreement.

Section 8:        ENTIRE AGREEMENT; AMENDMENT

       This Agreement (including all exhibits, schedules or other attachments hereto) constitutes
the complete and exclusive statement of the terms of the agreement among the Parties with
respect to the subject matter hereof and supersedes all prior agreements, understandings,
promises, and arrangements, oral or written, between or among the Parties with respect to the
subject matter hereof. This Agreement may be amended or modified only by an instrument in
writing signed by all of the Parties.

Section 9:        GOVERNING LAW; JURISDICTION

        This Agreement shall be governed by and construed in accordance with the laws of the
State of Michigan without regard to conflicts-of-law principles that would require the application
of any other law. Any dispute between the Parties under this Agreement which cannot be
resolved by informal dispute resolution by the Parties within sixty (60) days of notice to the other


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Party shall be brought in the United States Bankruptcy Court for the Eastern District of Michigan
(the “Bankruptcy Court”) for so long as it has jurisdiction, and thereafter in the United States
District Court for the Eastern District of Michigan (the “District Court”); provided, that if the
District Court does not have jurisdiction, then such legal action, suit or proceeding shall be
brought in such other court of competent jurisdiction located in Wayne County, Michigan;
provided, further, by execution and delivery of this Agreement, each of the Parties irrevocably
accepts and submits to the exclusive jurisdiction of such court, generally and unconditionally,
with respect to any such action, suit or proceeding and specifically consents to the jurisdiction
and authority of the Bankruptcy Court to hear and determine all such actions, suits, and
proceedings under 28 U.S.C. §157(b) or (c), whichever applies.

Section 10:       COUNTERPARTS

        This Agreement may be executed in several counterparts, each of which shall be deemed
to be an original, but together such counterparts shall constitute one and the same instrument.

Section 11:       AUTHORITY OF CITY.

        Notwithstanding anything in this Agreement, in law or in equity, or otherwise to the
contrary, this Agreement shall be of no force or effect and may not in any way be enforced
against the City unless or until this Agreement and the transaction contemplated hereby
have been: (i) approved in writing by the Emergency Manager for the City of Detroit, in
accordance with Emergency Manager Order No. 5 (as modified by Order No. 42), (ii)
either included in the Emergency Manager’s financial and operating plan or approved in
writing by the Governor of the State of Michigan or his or her designee, in accordance with
Section 12(1)(k) of Public Act 436 of 2012; and (iii) either included in the Emergency
Manager’s financial and operating plan or approved in writing by the State Treasurer, in
accordance with Section 15(1) of Public Act 436 of 2012. The City shall provide written
notice to Developer of the satisfaction of the foregoing conditions, within five (5) business
days after satisfaction thereof.

Section 12: CITY AGENCIES AND DEPARTMENTS. Whenever this Agreement requires
an action or creates an obligation on behalf of the City, the City shall also be required, as
applicable, to cause all of the City Parties to take such actions and perform such obligations.

Section 13:       TRANSFERABILITY.

         (A) Developer shall be entitled to freely transfer or assign its rights and obligations
hereunder at any time, as long as it provides the City written notice thereof and it does not
transfer its rights hereunder to a party that is prohibited from doing business with the City, and
upon such assignment and an assumption of the obligations and liabilities of the Developer by
any such transferee, the Developer shall be automatically released from any of its obligations or
liabilities hereunder.

        (B) Notwithstanding anything to the contrary contained herein, the COPs and any
beneficial interests in COPs shall be freely transferable without restriction of any kind or notice
to the City or any City Parties.

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                           (signatures on following pages)




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         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Effective
Date.

WITNESSES:                                        DEVELOPER

                                                  FINANCIAL GUARANTY INSURANCE
                                                  COMPANY, a New York stock insurance
                                                  corporation



                                                  By:
Print:                                            Print:
                                                  Its:



STATE OF NEW YORK  )
                   ) ss.
COUNTY OF NEW YORK )

      The foregoing instrument was acknowledged before me on October __, 2014 by
___________________________________ the _________________________ of Financial
Guaranty Insurance Company, a New York stock insurance company, on behalf of said
company.




                                                  Notary Public, New York County, New
                                                  York
                                                  Acting in New York County, New York
                                                  My commission expires:


                           [signatures continue on following page]




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WITNESSES:                                     STATE OF MICHIGAN



                                               By:
Print:                                         Print:
                                               Its:


STATE OF MICHIGAN        )
                         ) ss.
COUNTY OF WAYNE          )

      The foregoing instrument was acknowledged before me on October ___ 20__ by
_______________________________, the _____________________________ of the State of
Michigan, on behalf of the State.




                                               Notary Public, Wayne County, Michigan
                                               Acting in Wayne County, Michigan
                                               My commission expires:



                        [signatures continue on following page]




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WITNESSES:                                     CITY OF DETROIT,
                                               a Michigan public body corporate



                                               By:
Print:                                         Print:
                                               Its:


STATE OF MICHIGAN           )
                            ) ss.
COUNTY OF WAYNE             )

        The foregoing instrument was acknowledged before me on October ___ 20__ by
_______________________________, the _____________________________ of the City of
Detroit, a Michigan public body corporate, on behalf of the City.




                                               Notary Public, Wayne County, Michigan
                                               Acting in Wayne County, Michigan
                                               My commission expires:



Pursuant to § 18-5-12 of the Detroit City Code, Approved by the City Law Department
I hereby certify that proper and fair pursuant to Sec. 7.5-206 of the Charter of the
consideration has been received by the City City of Detroit.
pursuant to this contract.
                                                       Corporation Counsel
       Finance Director
                                                City Council Approval Date:


Drafted by and when recorded return to:

Bruce N. Goldman
Senior Assistant Corporation Counsel
City of Detroit Law Department
2 Woodward Avenue, Suite 500
Detroit, Michigan 48226


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                                  EXHIBIT A

                              RIGHT OF ENTRY

                                 [See attached]




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                                          EXHIBIT B

                                     QUIT CLAIM DEED

       The City of Detroit, a Michigan public body corporate whose address is 2 Woodward
Avenue, Detroit, MI 48226 (“Grantor”), quit claims to _______________________, a Michigan
_____________________ (“Grantee”), whose address is __________________________, the
premises located in the City of Detroit, Wayne County, Michigan, described as:

        A/K/A ___________________________                     Ward: _________ Item(s):

(the “Property”), for the sum of ____________________________________________________
($______________), subject to and reserving to the City of Detroit its rights under public
easements and rights of way, easements of record, applicable zoning ordinances, development
plans pursuant to Act 344 of 1945 as amended (if any), and restrictions of record.


        This Deed is given subject to the terms, covenants and conditions of a Development
Agreement - Option to Purchase and Develop Land dated                          , 20    entered into
by the parties hereto and which is incorporated herein by reference and a memorandum of which
was recorded on                      , 20    in the Office of the Register of Deeds for the County
of Wayne in Liber         on Pages         through         inclusive, none of the terms, covenants
and conditions of which shall be deemed merged in this Deed. The covenants therein recited to
be covenants running with the land are hereby declared to be covenants running with the land
enforceable by the City as therein set forth until Commencement of Construction as defined
therein.

        The Grantor grants to the Grantee the right to make all divisions under Section 108 of
the land division act, Act No. 288 of the Public Acts of 1967, as amended. This property may be
located within the vicinity of farmland or a farm operation. Generally accepted agricultural and
management practices which may generate noise, dust, odors, and other associated conditions
may be used and are protected by the Michigan right to farm act.

        This deed is dated as of _____________________.

                                                     CITY OF DETROIT,
                                                     a Michigan public body corporate


                                                     By:
                                                     Print:
                                                     Its:


                              [acknowledgement on following page]



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STATE OF MICHIGAN             )
                              ) ss.
COUNTY OF WAYNE               )

        The foregoing instrument was acknowledged before me on _______________________
20__, by _____________________________, the __________________________________ of
the City of Detroit, a Michigan public body corporate, on behalf of the City.



                                                 Print:
                                                 Notary Public, Wayne County, Michigan
                                                 Acting in Wayne County, Michigan
                                                 My commission expires:



Pursuant to § 18-5-12 of the Detroit City Code, Approved by the City Council on.
I hereby certify that proper and fair
consideration has been received by the City JCC pp _________ or Detroit Legal News,
pursuant to this contract.
                                                ________________, on file in my office.
       Finance Director

Approved by the City Law Department
pursuant to Sec. 7.5-206 of the Charter of     Approved by Mayor on
the City of Detroit.

        Corporation Counsel                           City Clerk


This Instrument Drafted by:                      When recorded, return to:


Bruce N. Goldman                                 Grantee
Senior Assistant Corporation Counsel
City of Detroit Law Department
2 Woodward Avenue, Suite 500
Detroit, MI 48226


Exempt from transfer taxes pursuant to MCL § 207.505(h)(i) and MCL § 207.526(h)(i).




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                                  EXHIBIT C

                        RIVERWALK EASEMENT AREA

                                 [See attached]




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                                 EXHIBIT I.A.216

                 SCHEDULE OF HUD INSTALLMENT NOTE DOCUMENTS
                       & RELATED HUD INSTALLMENT NOTES




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                                                                                           Estimated Allowed Amount
                                                                                      (The estimated allowed amount is the sum of all
HUD Installment Note Documents                                                    advances and conversion date advances under the HUD
                                                                                     Installment Notes identified in this schedule, less
     (Identified by note number. Ancillary        HUD Installment Notes            principal amounts paid, plus interest due on principal
instruments and agreements related thereto are
                                                                                  amounts outstanding. The estimated aggregate allowed
            not separately identified)
                                                                                  amount is the sum of the estimated allowed amount for
                                                                                      all the HUD Installment Notes identified in this
                                                                                                         schedule)

                                                                              *
City Note No. B-94-MC-26-0006-A                    Garfield Project Note                             $549,142.50

City Note No. B-94-MC-26-0006-D                   Stuberstone Project Note*                           $95,929.50

City Note No. B-97-MC-26-0006                     Ferry Street Project Note*                        $1,837,217.00

                                                  New Amsterdam Project
City Note No. B-98-MC-26-0006-A                                                                    $10,371,138.25
                                                        Note*
                                                  Vernor Lawndale Project
City Note No. B-98-MC-26-0006-B                                                                     $1,923,209.50
                                                          Note*

City Note No. B-02-MC-26-0006                      Mexicantown Welcome                              $4,255,498.00
                                                    Center Project Note*
City Note No. B-03-MC-26-0006                        Garfield II Note 1*                            $8,935,901.00

City Note No. B-03-MC-26-0006                        Garfield II Note 2*                            $3,071,773.50
                                                                          q
City Note No. B-03-MC-26-0006                        Garfield II Note 3                             $7,262,461.03

City Note No. B-03-MC-26-0006                        Garfield II Note 4q                            $1,554,180.43

                                                 Woodward Garden Project 1
City Note No. B-05-MC-26-0006                                                                       $8,532,290.00
                                                         Note*
                                                 Woodward Garden Project 2
City Note No. B-05-MC-26-0006                                                                       $9,324,475.35
                                                         Note*
                                                 Woodward Garden Project 3
City Note No. B-05-MC-26-0006                                                                       $6,177,291.95
                                                          Noteq
                                                    Book Cadillac Project
City Note No. B-05-MC-26-0006-A                                                                    $10,457,437.75
                                                          Note*
                                                 Book Cadillac Project Note
City Note No. B-05-MC-26-0006-A                                                                    $13,547,692.80
                                                            II*

City Note No. B-05-MC-26-0006-B                   Fort Shelby Project Note*                        $24,447,587.50




*
 HUD Installment Note has a fixed interest rate. Estimated allowed amount represents the aggregate of outstanding
principal and fixed interest payments set forth in the amortization schedule for the HUD Installment Note.
q
 HUD Installment Note has a variable interest rate. Estimated allowed amount represents the aggregate of
outstanding principal and an estimate of the variable interest payments at the rate set forth in the HUD Installment
Note.


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          SCHEDULE OF LIMITED TAX GENERAL OBLIGATION BOND DOCUMENTS
               & RELATED LIMITED TAX GENERAL OBLIGATION BONDS




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                 SCHEDULE OF LIMITED TAX GENERAL OBLIGATION BOND
             DOCUMENTS & RELATED LIMITED TAX GENERAL OBLIGATION BONDS

           Limited Tax General                  Series of Limited Tax
                                                                              Balance as of Petition Date
        Obligation Bond Documents              General Obligation Bonds

Bond Authorizing Resolution adopted May 26,
2004
Finance Director's Order approving sale of     Self Insurance - Series 2004          $13,186,559
General Obligation Self-Insurance Bonds
(Limited Tax) Series 2004, dated August 27,
2004

Bond Authorizing Resolution adopted May 6,
2005 ("2005 LTGO Resolution")
                                                    Series 2005-A(1)                 $60,776,168
Finance Director's Order dated June 24, 2005
("2005 Sale Order")

2005 LTGO Resolution
                                                    Series 2005-A(2)                 $11,080,060
2005 Sale Order

2005 LTGO Resolution
                                                     Series 2005-B                    $9,003,535
2005 Sale Order

Resolution of the City Council adopted
November 17, 2006 ("2006 LTGO Resolution")
                                                    Series 2008-A(1)                 $43,905,085
Finance Director's Order dated May 30, 2008
("2008 LTGO Sale Order")

2006 LTGO Resolution
                                                    Series 2008-A(2)                 $25,591,781
2008 LTGO Sale Order




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                      FORM OF LTGO SETTLEMENT AGREEMENT




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                              SETTLEMENT AGREEMENT
                                     (LTGO)

                  This Settlement Agreement (“Agreement”) is entered into as of July 24,
   2014, among the City of Detroit (the “City”), Ambac Assurance Corporation (“Ambac”),
   and BlackRock Financial Management, on behalf of certain managed funds and accounts
   listed on Exhibit B (“Uninsured Bondholder,” and together with Ambac, the “LTGO
   Parties”). In this Agreement, the City and the LTGO Parties are referred to collectively
   as the “Parties.”

                                         RECITALS

                   WHEREAS, as of the close of Fiscal Year 2013 (i.e., June 30, 2013), the
   City had $160,970,000 in outstanding principal amount of limited tax general obligation
   bonds, excluding any limited tax general obligation bonds secured by distributable state
   aid and sold to the Michigan Finance Authority (the “Prior LTGO Bonds”);

                   WHEREAS, more than two thirds in amount of the Prior LTGO Bonds
   are either insured by Ambac under financial guaranty insurance policies (the “Bond
   Insurance Policies”) that were issued contemporaneously with certain Prior LTGO
   Bonds (the “Insured Prior LTGO Bonds”) or held by the Uninsured Bondholder;

                 WHEREAS, the Governor of the State of Michigan determined on
   March 1, 2013 that a financial emergency existed in the City, and the Emergency
   Manager (together with any successors, the “Emergency Manager”) was appointed for
   the City on March 14, 2013;

                  WHEREAS, on July 18, 2013 (the “Petition Date”), the City filed a
   voluntary petition for relief under chapter 9 of title 11 of the United States Code (the
   “Bankruptcy Code”), thereby commencing Bankruptcy Case No. 13-53846 (the
   “Bankruptcy Case”) before the United States Bankruptcy Court for the Eastern District
   of Michigan (the “Bankruptcy Court”);

                 WHEREAS, as of the Petition Date, the balance due on the Prior LTGO
   Bonds, including prepetition interest accrued as of that date, was $163,554,770;

                  WHEREAS, on October 1, 2013, the City defaulted on its obligation to
   make interest payments on the Prior LTGO Bonds in the amount of $4,348,211 and
   Ambac paid claims in the amount of $2,266,586 on account of the Insured Prior LTGO
   Bonds and was subrogated to the rights of the owners for such payments, and the
   insurance documents contemplate the assignment of the Insured Prior LTGO Bonds to
   Ambac upon payment of a claim;

                  WHEREAS, on April 1, 2014, the City defaulted on its obligation to
   make interest payments in the amount of $4,348,211 and principal payments in the
   amount of $43,420,000 on the Prior LTGO Bonds, and Ambac paid claims in the amount
   of $20,686,586 on account of the Insured Prior LTGO Bonds insured by it and was
   subrogated to the rights of the owners for such payments, and the insurance documents


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   contemplate the assignment of the Insured Prior LTGO Bonds to Ambac upon payment
   of a claim;

                  WHEREAS, on November 8, 2013, Ambac filed an adversary proceeding
   against the City seeking declaratory relief with regard to its rights in respect of, inter alia,
   the Prior LTGO Bonds that is pending before the Bankruptcy Court (Adv. Proc. No.
   13-05310) (the “Ambac Action”);

                  WHEREAS, on or before February 21, 2014, each of the LTGO Parties
   and other owners of Prior LTGO Bonds filed proofs of claim in the Bankruptcy Case (the
   “LTGO Claims”) asserting claims against the City for the full amount of principal and
   interest due under the documents pursuant to which the Prior LTGO Bonds were issued
   (including post-petition interest), and Ambac filed a proof of claim for amounts due
   Ambac for payments pursuant to the Bond Insurance Policies, and contractual
   reimbursements due for charges, fees, costs, losses, liabilities and expenses incurred by
   Ambac in connection with the Bond Insurance Policies; and

                  WHEREAS, the Parties have engaged in good faith and arms’ length
   negotiations regarding a consensual resolution of their disputes under or in respect of the
   Prior LTGO Bonds, the Ambac Action as it pertains to the Prior LTGO Bonds, and the
   LTGO Claims.

                 NOW, THEREFORE, in consideration of the foregoing and the
   promises, mutual covenants, and agreements set forth in this Agreement, and for other
   good and valuable consideration, the receipt and sufficiency of which are hereby
   acknowledged, the Parties agree as follows:

                                           ARTICLE I
                                          DEFINITIONS

                  Section 1.1 Recitals. The recitals set forth above are incorporated by
   reference and are explicitly made a part of this Agreement.

                 Section 1.2 Definitions. In addition to the capitalized terms defined in
   the preamble and recitals, the following definitions shall apply to and constitute part of
   this Agreement and all schedules, exhibits and annexes hereto:

                   “Allowed Claim” has the meaning ascribed to it in the Plan.

                   “Ambac Action” has the meaning ascribed to it in the recitals hereof.

                   “Approval Motion” shall mean a motion filed by the City with the
   Bankruptcy Court seeking entry of the Approval Order pursuant to Federal Rule of
   Bankruptcy Procedure 9019, which motion shall be in form and substance reasonably
   satisfactory to the Parties.

                  “Approval Order” shall mean an order of the Bankruptcy Court (other
   than the Plan Confirmation Order) approving the compromise and settlement set forth in

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   this Agreement authorizing and directing the consummation of the transactions
   contemplated herein, which order shall be in a form and substance reasonably satisfactory
   to the Parties.

                   “Bankruptcy Case” has the meaning ascribed to it in the recitals hereof.

                   “Bankruptcy Code” has the meaning ascribed to it in the recitals hereof.

                   “Bankruptcy Court” has the meaning ascribed to it in the recitals hereof.

                   “Beneficiaries” has the meaning ascribed to it in Section 2.2.

                   “Bond Insurance Policies” has the meaning ascribed to it in the recitals
   hereof.

                  “City Representative” shall mean a representative chosen by the City to
   be on the fee committee described in Section 2.2(b).

                “Claim” shall mean a “claim” as defined in Section 101(5) of the
   Bankruptcy Code.

                   “Class” means each class of Claims established under the Plan.

                   “COP Claims” shall have the meaning ascribed to it in the Plan.

                   “COP Litigation” shall have the meaning ascribed to it in the Plan.

                   “Disputed COP Claims Reserve” shall have the meaning ascribed to it
   in the Plan.

                  “Distribution Agent” shall mean U.S. Bank National Association,
   Detroit, Michigan.

                   “Distribution Agreement” shall mean the Insured Prior LTGO Bonds
   Distribution Agreement among the Distribution Agent the City, Ambac and the paying
   agent for the Insured Prior LTGO Bonds, in form and substance satisfactory to the City
   and Ambac, relating to the distribution of payments of principal and interest on the
   Insured Prior LTGO Bonds.

                  “DTC” shall mean the Depository Trust Company or any successor
   provider of a book entry and securities depository system for the Prior LTGO Bonds.

               “DTC System” shall mean the system maintained by the Depository Trust
   Company used for trading municipal securities.

                   “Effective Date” shall mean the effective date of any Plan.

                   “Emergency Manager” has the meaning ascribed to it in the recitals
   hereof.

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                 “Emergency Manager Order” shall mean an order of the Emergency
   Manager in substantially the form attached hereto as Exhibit A.

                      “Event of Default” has the meaning ascribed to it in Section 4.1.

                    “Final Order” shall mean an order or judgment (including any associated
   findings of fact and conclusions of law) of the Bankruptcy Court or other court of
   competent jurisdiction with respect to the applicable subject matter which has not been
   reversed, stayed, modified or amended and as to which (a) any right to appeal or seek
   certiorari, review, reargument, stay or rehearing has expired and no appeal or petition for
   certiorari, review, reargument, stay or rehearing is pending, or (b) an appeal has been
   taken or petition for certiorari, review, reargument, stay or rehearing has been filed and
   (i) such appeal or petition for certiorari, review, reargument, stay or rehearing has been
   resolved by the highest court to which the order or judgment was appealed or from which
   certiorari, review, reargument, stay or rehearing was sought or (ii) the time to appeal
   further or seek certiorari, review, reargument, stay or rehearing has expired and no such
   further appeal or petition for certiorari, review, reargument, stay or rehearing is pending;
   provided, however, that the possibility that a motion pursuant to Rule 60 of the Federal
   Rules of Civil Procedure or Federal Rule of Bankruptcy Procedure 9024 may be filed
   relating to such order shall not cause such order to not be a Final Order.

                      “Financial Terms” has the meaning ascribed to it in Section 2.2.

                      “Holder” shall mean the holder of a Claim.

                “Independent Party” shall mean a party agreed to by the Retiree
   Committee, LTGO Representative and the City.

                      “Insured Prior LTGO Bonds” has the meaning ascribed to it in the
   recitals hereof.

                    "LTGO Exculpated Parties" means Ambac solely in its capacity as
   insurer of the Insured Prior LTGO Bonds, and the Uninsured Bondholder, solely in its
   capacity as an owner of a portion of the Prior LTGO Bonds, and their respective parents,
   affiliates, shareholders, directors, officers, managers, employees, agents, attorneys,
   advisors, accountants, consultants, financial advisors and investment bankers, solely in
   their capacity as such.

                      “LTGO Claims” has the meaning ascribed to it in the recitals hereof.

                   “LTGO Claim Holders” shall mean holders of Allowed Claims on
   account of Prior LTGO Bonds who are (i) the record owner of any Prior LTGO Bonds
   that are not Insured Prior LTGO Bonds and (ii) Ambac as to any Insured Prior LTGO
   Bond.

                      “LTGO Parties” has the meaning ascribed to it in the recitals hereof.

                      “LTGO Representative” shall mean Ambac.

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                   “New B Notes” shall have the meaning ascribed to it in the Plan.

                   “New LTGO Bonds” has the meaning ascribed to it in Section 2.2.

                   “OPEB Claim” has the meaning ascribed to it in the Plan.

                   “Petition Date” has the meaning ascribed to it in the recitals hereof.

                  “Plan” shall mean the chapter 9 plan of adjustment filed by the City and
   incorporating the terms and conditions set forth in this Agreement, in substantially the
   form of the draft thereof dated May 5, 2014, as such plan may be amended, modified or
   supplemented from time to time, which plan, solely as it relates to this Settlement
   Agreement, shall be in form and substance reasonably satisfactory to the LTGO Parties.

                 “Plan Confirmation Order” shall mean findings of fact and an order of
   the Bankruptcy Court confirming the Plan and meeting the requirements of Section 2.3 of
   this Agreement.

                  “Plan Documents” shall mean the Plan, the Plan Confirmation Order and
   any Plan-related documents effectuating this Agreement.

                   “Prior LTGO Bonds” has the meaning ascribed to it in the recitals
   hereof.

                  “Pro Rata” shall mean the proportion that a claim of one LTGO Claims
   Holder bears to the aggregate amount of all claims of all of the LTGO Claims Holders.

                   “Reserve B Notes” shall have the meaning ascribed to it in Section 2.2.

                   “Resolved COP Claims” has the meaning ascribed to it in Section 2.2.

                   "Retiree Committee" shall have the meaning ascribed to it in the Plan.

                 “Settlement-Related Documents” shall mean this Agreement, the Plan
   Documents, the Approval Order (if applicable), the New LTGO Bonds, and all
   documents related to the New LTGO Bonds.

                   “State” shall mean the State of Michigan.

                   “State Treasurer” shall mean the State Treasurer of the State.

                  “VEBA Trust Representatives” shall mean the chair of the Board as
   defined by and created by the City of Detroit Retiree Health Care Trust and the chair of
   the Board as defined by and created by the City of Detroit Police and Fire Retiree Health
   Care Trust.

                   Section 1.3 Interpretation. The Parties have participated jointly in the
   negotiation and drafting of this Agreement. If an ambiguity or question of intent or
   interpretation arises, this Agreement will be construed as if drafted jointly by the Parties

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   hereto and no presumption or burden of proof will arise favoring or disfavoring any Party
   hereto because of the authorship of any provision of this Agreement.

                Section 1.4 General Rules of Construction. For all purposes of this
   Agreement, except as otherwise expressly provided or unless the context otherwise
   requires:

                           (a)    Defined terms in the singular shall include the plural as
   well as the singular, and vice versa.

                         (b)    All accounting terms not otherwise defined herein shall
   have the meanings assigned to them, and all computations herein provided for shall be
   made, in accordance with generally accepted accounting principles. All references herein
   to “generally accepted accounting principles” refer to such principles as they exist at the
   date of application.

                          (c)    All references in this instrument to designated “Articles”,
   “Sections” and other subdivisions are to the designated Articles, Sections and
   subdivisions of this instrument as originally executed.

                          (d)     The terms “herein”, “hereof” and “hereunder” and other
   words of similar import refer to this Agreement as a whole and not to any particular
   Article, Section or other subdivision.

                          (e)     All references in this instrument to a separate instrument
   are to such separate instrument as the same may be amended or supplemented from time
   to time pursuant to the applicable provisions thereof.

                          (f)     The term “person” shall include any individual,
   corporation, partnership, limited liability company, joint venture, association, trust,
   unincorporated organization and any government or agency or political subdivision
   thereof.

                                       ARTICLE II
                                   SETTLEMENT TERMS

                  Section 2.1 (a)        Claim Allowance and Treatment; Other Plan Terms.
   The City hereby agrees that the total Allowed Claim relating to the Prior LTGO Bonds
   will be $163,544,770.

                           (b)     Holders of Allowed Claims for Prior LTGO Bonds will be
   treated in the Plan as follows:

                              (i)   all uninsured Prior LTGO Bonds will be cancelled
   and discharged, and LTGO Claim Holders will receive their Pro Rata share of New
   LTGO Bonds and Reserve B Notes in accordance with Section 2.2(e) of this Agreement;



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                                   (ii)    all Insured Prior LTGO Bonds will be cancelled and
   discharged as to the City but deemed outstanding solely for recourse to the Bond
   Insurance Policies, i.e., the City will have no liability relating to the Prior LTGO Bonds,
   and any liability of the City in respect of Prior LTGO Bonds and Class 7 Claims in the
   Plan shall be cancelled and discharged; and

                                  (iii) a Pro Rata share of New LTGO Bonds and Reserve
   B Notes attributable to the Insured Prior LTGO Bonds will be delivered to a Distribution
   Agent in accordance with Section 2.1(d) and, for the Reserve B Notes, Section 2.2(e) of
   this Agreement.

                           (c)     The Distribution Agent shall be the beneficial owner of the
   Pro Rata share of the New LTGO Bonds and the Reserve B Notes attributable to the
   Insured Prior LTGO Bonds pursuant to the Distribution Agreement. The Distribution
   Agreement shall provide that, unless the Distribution Agent receives, no later than noon
   on a principal or interest payment date for the Prior LTGO Bonds, written notice from
   Cede & Co., as the registered owner of the outstanding Insured Prior LTGO Bonds, or
   any subsequent registered owner (the “Registered Owner”) that Ambac has failed to
   timely pay a properly submitted claim for principal and/or interest which was due and
   payable on the Insured Prior LTGO Bonds on that date, the Distribution Agent shall remit
   each payment of principal and/or interest received by it from the paying agent for the
   New LTGO Bonds or the paying agent for the New B Notes to Ambac. In the event that
   the Distribution Agent receives, no later than noon on a principal or interest payment date
   for the Prior LTGO Bonds, written notice from the Registered Owner that Ambac has
   failed to timely pay a properly submitted claim for principal and/or interest which was
   due and payable on that date, the Distribution Agent shall remit the payment of principal
   and/or interest received by it from the paying agent for the New LTGO Bonds or the
   paying agent for the New B Notes to the paying agent for the Insured Prior LTGO Bonds
   for payment to the Holders of the Insured Prior LTGO Bonds, and shall provide notice
   thereof to Ambac, the paying agent for the Insured Prior LTGO Bonds and the Holders of
   the Insured Prior LTGO Bonds. The Distribution Agreement will provide that, once
   Ambac has paid the Holders of Insured Prior LTGO Bonds in full, the Distribution
   Agent will assign its beneficial ownership interest in the New LTGO Bonds and Reserve
   B Bonds to Ambac.

                Section 2.2 Issuance of New LTGO Bonds, Delivery of New LTGO
   Bonds, and Delivery of Reserve B Notes.

                          (a)     (i) On or before the Effective Date, by execution of the
   Emergency Manager Order the City will authorize the issuance and delivery of its
   Financial Recovery Bonds (Limited Tax General Obligation) under Section 36a of the
   Home Rule Act (“New LTGO Bonds”) in accordance with applicable law, which New
   LTGO Bonds shall be distributed Pro Rata to the LTGO Claim Holders pursuant to the
   Plan. The New LTGO Bonds will have the principal amount, interest rate, amortization
   schedule and other financial terms as set forth in Schedule 1 (the “Financial Terms”)
   and the Emergency Manager Order. The New LTGO Bonds will be limited tax general
   obligations of the City issued in accordance with applicable law. The New LTGO Bonds

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   shall be taxable. The New LTGO Bonds will be callable prior to maturity at the option of
   the City on any date at a price of par plus accrued interest to the date of redemption and
   without premium or penalty. If the City intends to redeem the New LTGO Bonds during
   any time that the Insured Prior LTGO Bonds are outstanding as set forth in Section
   2.1(b)(ii) then:

                           (v)    at least 35 days prior to such intended redemption, the City
   will direct the paying agent for the New LTGO Bonds to send a redemption notice to the
   New LTGO Bondholders;

                          (w)     at least 34 days prior to the redemption date the
   Distribution Agent will direct the paying agent for the Insured Prior LTGO Bonds to send
   a redemption notice to Insured Prior LTGO Bondholders providing for a pro rata
   redemption of Insured Prior LTGO Bonds in an aggregate principal amount equal to the
   proportion that the principal amount of the New LTGO Bonds then outstanding of which
   the Distribution Agent is the beneficial owner bears to the total principal amount of New
   LTGO Bonds then outstanding, in accordance with the procedures for redemption in the
   Prior LTGO Bonds documents;

                          (x)    no later than noon, Eastern Time, on the business day prior
   to the redemption date the City will pay the redemption price of the New LTGO Bonds
   to the paying agent for the New LTGO Bonds, and upon receipt of the redemption price
   of the portion of the New LTGO Bonds of which it is the beneficial owner, but no later
   than 10:00 a.m. Eastern Time, on the redemption date, the Distribution Agent shall
   promptly transfer the redemption price for the portion of the Insured Prior LTGO Bonds
   to be redeemed to the paying agent for the Insured Prior LTGO Bonds to effectuate the
   redemption of the Insured Prior LTGO Bonds on the same day;

                         (y)     if Ambac issues endorsements to its Bond Insurance
   Policies decreasing such Policies by the redemption principal amount, the holders of
   Insured Prior LTGO Bonds will be deemed to consent to such endorsements and such
   Bond Insurance Policies will be so reduced; and

                           (z)    the City understands that the paying agent for the Insured
   Prior LTGO Bonds will apply the amount received to reduce the principal amount, pro
   rata, of the Insured Prior LTGO Bonds which then remain outstanding as provided in
   Section 2.1(b) above and such reduction in principal shall be deemed a redemption, in
   part, of such the Insured Prior LTGO Bonds.

                   (ii)   Any redemption of the New LTGO Bonds will be in whole and not
   in part.

                  (iii)   In the event the City decides not to issue the New LTGO Bonds by
   the Effective Date but instead to pay cash to the LTGO Claim Holders, the Holders of
   Insured Prior LTGO Bonds which then remain outstanding as provided in Section 2.1(b)
   above will receive pro rata, cash equal to the Insured Prior LTGO Bonds’ Pro Rata shares
   of such cash. The City understands that the paying agent for the Insured Prior LTGO


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   Bonds will apply such cash, pro rata, to reduce the principal of Insured Prior LTGO
   Bonds which then remain outstanding as provided in Section 2.1(b) and such reduction in
   principal shall be deemed a redemption, in part, of such Insured Prior LTGO Bonds.

                   (iv)    All Settlement-Related Documents will be in form and substance
   reasonably satisfactory to the LTGO Parties (and in the case of the Plan Documents,
   solely as they relate to this Agreement).

                 (v)     Each of the New LTGO Bonds will be freely transferable through
   the DTC System under a unique CUSIP identification number or, if the DTC System is
   discontinued with respect to the New LTGO Bonds, in such other manner as is permitted
   in accordance with their terms.

                   (vi)    The City will not optionally redeem Insured Prior LTGO Bonds
   except as set forth in this Agreement.

                  (b)     In addition to issuing and delivering the New LTGO Notes to the
   LTGO Claims Holders, the City shall also deliver and distribute to the LTGO Claim
   Holders the Pro Rata share of the Reserve B Notes in accordance with Section 2.2(e) of
   this Agreement. The Plan will provide in the event the City intends to redeem all or a
   portion of principal amount of New B Notes during any time that the Insured Prior LTGO
   Bonds are outstanding pursuant to Section 2.1(b)(ii) then:

                         (i)      at least 35 days prior to the redemption date, the
   Distribution Agent will direct the paying agent for the Reserve B Notes to send a
   redemption notice to the New B Note Holders

                          (ii)    at least 34 days prior to the redemption date, the
   Distribution Agent will direct the paying agent for the Insured Prior LTGO Bonds to
   send a redemption notice to Insured Prior LTGO Bondholders providing for a pro rata
   redemption of Insured Prior LTGO Bonds in an aggregate principal amount equal to the
   proportion that the principal amount of the New B Notes held by the Distribution Agent
   which are to be redeemed bears to the total principal amount of Insured Prior LTGO
   Bonds then outstanding pursuant to Section 2.1(b)(ii), in accordance with the procedures
   for redemption in the Prior LTGO Bonds documents;

                          (iii)  no later than noon, Eastern Time, on the business day prior
   to the redemption date the City will pay the redemption price of the New B Notes to the
   paying agent for the New B Notes, and upon receipt of the redemption price of the
   portion of the New B Notes of which it is the beneficial owner, but no later than 10:00
   a.m. Eastern Time, on the redemption date the Distribution Agent shall promptly transfer
   the redemption price for the portion of the Insured Prior LTGO Bonds to be redeemed to
   the paying agent for the Insured Prior LTGO Bonds to effectuate the redemption of the
   Insured Prior LTGO Bonds on the same day;

                          (iv)    if Ambac issues endorsements to its bond Insurance
   Policies decreasing such Policies by the redemption principal amount, the holders of
   Insured Prior LTGO Bonds will be deemed to consent to such endorsements and such

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   Bond Insurance Policies will re so reduced; and

                           (v)   the City understands that the paying agent for the Insured
   Prior LTGO Bonds will apply the amount received to reduce the principal amount, pro
   rata, of the Insured Prior LTGO Bonds which then remain outstanding as provided in
   Section 2.1(b) and such reduction in principal shall be deemed a redemption in part, of
   such Insured Prior LTGO Bonds.

                          (c)     The Plan will provide that, from and after the Effective
   Date:

                           (i)    The City will remain a named plaintiff and defendant in the
   COP Litigation but will transfer all of its rights and interests in the COP Litigation to a
   Litigation Trust whose beneficiaries, for the purpose of the COP Litigation, shall be the
   Litigation Parties and the Holders of Allowed Class 14 Claims. The Litigation Trustee
   will be selected by the LTGO Representative and the Retiree Committee and must be
   acceptable to the City. The document creating the Litigation Trust shall include
   indemnification of the Litigation Trustee by the City and will contain such other terms
   satisfactory to the Retiree Committee, the LTGO Representative and the City.

                           (ii)   The Litigation Trustee will follow the day to day direction
   of the VEBA Trust Representatives in prosecuting and defending the COP Litigation,
   including defending any counterclaims and third-party claims therein. The Litigation
   Trustee and VEBA Trust Representatives will meet, in person or by phone at reasonable
   times and with reasonable advance notice, with all or any of the LTGO Representative,
   the VEBA Trust Representatives and the City (the “Litigation Parties”) as requested to
   discuss the status, progress and prosecution of the COP Litigation. The Litigation
   Trustee will provide copies of all court filings by any party in the COP Litigation and
   such other documents relating to the COP Litigation as may be reasonably requested by
   the Litigation Parties. Upon request from a Litigation Party, the Litigation Trustee will
   provide to such Litigation Party drafts of court papers that will be filed by the Litigation
   Trustee as early as practicable under the circumstances to allow for comments, which
   may be accepted or rejected.

                          (iii)    The cost of all fees and expenses incurred in connection
   with the COP Litigation will be borne by the Disputed COP Claims Reserve, subject to
   the funding of the Disputed COP Claims Reserve pursuant to Section II.B.3.p.iii of the
   Plan. The City will advance payment of all such fees and expenses within 30 days of
   receipt of the statements for the same pending reimbursement from the Disputed COP
   Claims Reserve. Reimbursement of the City will be effected by an offset in the amount
   of fees and expenses paid to the date of such reimbursement against the amount to be
   paid by the City to the Disputed COP Claims Reserve on that date. In the event that the
   COP Litigation is unsuccessful and a final, nonappealable judgment is entered against the
   City or the Litigation Trust as successor in interest to the City, such that the notes in the
   Disputed COP Claims Reserve are subject to release and distribution in full to the holders
   of Allowed Class 9 Claims in accordance with the Plan, the City will reimburse the


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   Disputed COP Claims Reserve for any amounts withdrawn prior to the date of such
   adverse judgment.

                          (iv) The Litigation Trustee will submit invoices for the fees and
   expenses incurred in connection with the COP Litigation, including for the Litigation
   Trustee’s professional fees to the City on a monthly basis, and the City will pay such
   invoice within 30 days after receipt, subject to reimbursement as provided in paragraph
   (c)(iii) above. The Litigation Trustee fees will be fixed and consented to by the LTGO
   Representative and the VEBA Trustee Representatives.

                           (v) The Litigation Trustee will consult with the Litigation Parties
   in connection with any potential settlement of the COP Litigation. The Litigation Trustee
   will provide the Litigation Parties advance notice as early as practicable under the
   circumstances of any settlement negotiations, and the Litigation Parties and their counsel
   will have the right to participate in such negotiations. Any potential settlement must
   resolve the settled claims in their entirety, including the release by the settling party of all
   counterclaims and third party claims relating to the settled claims that it made or could
   have made against anyone. The Litigation Trustee will not take action on the matters set
   forth below unless all of the Litigation Parties agree with the decision relating to (B), (C)
   and (D) below, and the LTGO Representative agrees with the settlement described in (A)
   below:

                        (A)     Any settlement that releases from the Disputed COP
   Claims Reserve to any of the COP Holders a pro rata share of the B Notes (or equivalent
   currency) based on 40% or more of the face amount of their claim.

                           (B)     Any change of COP Litigation counsel.

                          (C)     Any decision not to appeal an adverse decision on any
   claim or defense related to the COP Litigation.

                         (D)    Any decision to voluntarily dismiss a substantive claim or
   counterclaim or to end the COP Litigation

   To the extent the Litigation Parties are unable to reach agreement on the above matters,
   the Litigation Trustee or any Litigation Party may refer the matter to the Independent
   Party for mediation. Subject to such mediation, the Litigation Trustee shall have the
   authority to take whatever action may be required to avoid potentially adverse or
   prejudicial consequences of inaction. If a consensual resolution cannot be reached, the
   Independent Party will decide a substantive resolution of the issue or issues based upon
   the Independent Party’s assessment of the merits of the legal claims, counterclaims and
   legal liabilities in the COP Litigation, which decision will be binding on the Litigation
   Parties and Litigation Trustee.




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   The City, the COP Litigation counsel, the VEBA Trust Representatives and the LTGO
   Representative will take any steps that may be required to preserve applicable privileges
   of the City and the COP Litigation counsel.

                          (d)     In the event any Holder of a Disputed COP Claim enters
   into a settlement of such claim with the City prior to the Effective Date, including
   pursuant to the Plan, the portion of the New B Notes allocable to such Disputed COP
   Claim if such Disputed COP Claim had been allowed in full that is not used to satisfy the
   Disputed COP Claim pursuant to the terms of such settlement shall be deposited into the
   Disputed COP Claims Reserve and then distributed from the Disputed COP Claims
   Reserve pursuant to Section 2.2(e).

                           (e)     Following the occurrence of the Effective Date, upon a
   settlement, or the entry of an order by the trial court having jurisdiction over the
   objections to the Disputed COP Claims, resolving any objection to any disputed COP
   Claim (“Resolved COP Claims”) and after all distributions on account of Allowed
   Claims respecting such Resolved COP Claim have been made or provided for, any and
   all New B Notes and distributions thereon remaining in the Disputed COP Claims
   Reserve with respect to such Resolved COP Claim shall be distributed as follows, and
   valued at face value for the purposes of the distribution: (I) an amount of New B Notes
   and/or distributions thereon in an amount equal to the costs, fees and expenses related to
   the COP Litigation incurred from and after the Effective Date shall be distributed to the
   City to reimburse it for attorneys’ fees relating to the COP Litigation, subject to and in
   accordance with the provisions of Section 2.2(c)(iii) above; (II) following such
   distribution, the balance of the New B Notes and any distributions thereon remaining in
   the Disputed COP Claims Reserve allocated to or with respect to such Resolved COP
   Claim shall be distributed as follows: (i) 65% to the Detroit General VEBA and the
   Detroit Police and Fire VEBA in proportion with the New B Notes allocated to each
   pursuant to Sections II.B.3.s.ii.A and II.B.3.s.ii.B of the Plan; and (ii) 20% to the LTGO
   Claim Holders (the “Reserve B Notes”) to be allocated Pro Rata; and (iii) 15% is to be
   allocated as determined by the City.

                   Section 2.3 Confirmation Order and Findings. The Plan Confirmation
   Order shall (i) approve the terms and conditions of this Agreement, (ii) direct that each
   month monies for the payment of one-sixth of the next semi-annual debt service payable
   on the New LTGO Bonds must be segregated and deposited into a debt service fund and
   not be used for any purpose other than paying debt service on the New LTGO Bonds so
   long as any New LTGO Bonds remain outstanding, (iii) provide that Plan treatment of
   the Prior LTGO Bonds is part of a settlement of the Ambac Action as it relates to the
   Prior LTGO Bonds, (iv) provide that the Bankruptcy Court will have exclusive post-
   confirmation authority and power to enforce this Agreement and all Settlement-Related
   Documents and (v) be in form and substance reasonably satisfactory to the LTGO Parties.

                   Section 2.4 Conditions to Plan Effectiveness. The Plan shall provide
   that the effectiveness of the Plan is subject to the City having obtained all governmental
   and Emergency Manager consents and approvals required to carry out the terms of this
   Agreement.

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                   Section 2.5   Stay of Litigation, Proofs of Claim.

                           (a)     The Ambac Action, as it pertains to the Prior LTGO Bonds,
   shall be stayed pending the issuance of an Approval Order or Plan Confirmation Order
   and the occurrence of the Effective Date, whereupon Ambac and the City shall ask the
   Bankruptcy Court to dismiss the Ambac Action as it pertains to the Prior LTGO Bonds
   without prejudice until the Approval Order or the Plan Confirmation Order, as applicable,
   is a Final Order, when such dismissal shall be deemed to be with prejudice. If the Ambac
   Action is dismissed without prejudice and subsequently refiled pursuant to this
   Agreement, then the statute of limitations for the causes of action asserted in the Ambac
   Action, and all other defenses based on the passage of time, shall be tolled for 60 days
   after the date of the event that would permit a refiling.

                           (b)     As soon as practicable subsequent to the execution and
   delivery of this Agreement by each of the Parties, but in no event later than five (5)
   business days subsequent thereto, Ambac and the City shall take any and all action as is
   appropriate to (i) stay the Ambac Action as provided in subsection (a) above,
   (ii) maintain the status quo in the Ambac Action as it pertains to the Prior LTGO Bonds
   as of the execution of this Agreement, and (iii) ensure that no action (including separate
   litigation and any objection to proofs of claim filed by the LTGO Parties relating to the
   Prior LTGO Bonds) is undertaken or commenced inconsistent with seeking a stay of and
   maintaining the status quo of the Ambac Action as it pertains to the Prior LTGO Bonds;
   provided, however, that any such stay shall terminate on the first (1st) business day
   following termination of this Agreement.

                           (c)     In the event (i) an Approval Motion is made by the City
   and denied by the Bankruptcy Court, (ii) an Approval Order is issued but is not consistent
   with this Agreement in any material respect or is overturned on appeal, (iii) a Plan
   consistent with this Agreement in all material respects is not confirmed by the
   Bankruptcy Court, or (iv) a Plan Confirmation Order is entered by the Bankruptcy Court
   but is not consistent in all material respects with this Agreement, or is overturned on
   appeal, then Ambac may resume the Ambac Action and terminate this Agreement by
   written notice to the other Parties.

                          (d)     The LTGO Parties agree that all proofs of claims filed by
   any of them with respect to Prior LTGO Bonds shall be deemed resolved and fully
   satisfied by approval of this Agreement in the Confirmation Order or an Approval Order,
   as applicable, which is a Final Order.

                   Section 2.6   Additional Covenants

                           (a)    Paying Agent and Distribution Agent. The City shall pay
   the reasonable and customary fees and expenses (including reasonable attorneys’ fees) of
   (i) the paying agent with respect to the Prior LTGO Bonds, (ii) the paying agent in
   respect of all transactions contemplated by this Agreement, and (iii) the Distribution
   Agent pursuant to the Distribution Agreement.



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                          (b)     Further Action. To the extent that the City has not taken all
   necessary action to authorize the execution, delivery and performance of this Agreement,
   it will do so.

                                  ARTICLE III
                     PLAN OF ADJUSTMENT AND PLAN SUPPORT

                   Section 3.1 Plan Commitment Regarding Voting and Abstention From
   Objection. From and after the date hereof, and so long as the City has complied, and is
   complying, with its covenants and obligations under this Agreement, each LTGO Party
   shall withdraw its objections to the Plan regarding the treatment of the Prior LTGO
   Bonds no later than August 1, 2014. The Plan shall provide that such treatment,
   consistent with this Agreement, is the treatment for all LTGO Claim Holders. The
   Uninsured Bondholder will vote its Prior LTGO Bonds and Ambac will vote its Prior
   LTGO Bonds and reimbursement claims in support of such Plan treatment promptly
   following the execution of this Agreement or as otherwise agreed by the City. Upon the
   finalization of the terms of this Agreement, the Parties will file a stipulation and proposed
   order with the Bankruptcy Court that will permit each LTGO Party to modify its previous
   vote(s) and submit a vote in support of the Plan, pursuant to Federal Rule of Bankruptcy
   Procedure 3018. For the absence of doubt, nothing contained in this Agreement shall
   require any LTGO Party to vote for the treatment of any class of claims under the Plan
   other than the LTGO Bonds, or refrain from objecting to the Plan with respect to issues
   other than the treatment of the LTGO Bonds.

                   Section 3.2 Solicitation Required in Connection with Plan.
   Notwithstanding anything contained in this Article III or elsewhere in this Agreement to
   the contrary, this Agreement is not, and shall not be deemed to be, a solicitation of
   acceptances of the Plan.

                    Section 3.3 Plan Document Provisions. All Plan Documents, as they
   relate to the settlement embodied in this Agreement must (i) be in form and substance
   reasonably satisfactory to the LTGO Parties and to the City and be consistent with this
   Agreement, (ii) provide that the Plan treatment for Prior LTGO Bonds is part of a
   settlement of the pending Ambac Action as it pertains to the Prior LTGO Bonds.

                                     ARTICLE IV
                                DEFAULTS AND REMEDIES

                 Section 4.1 Events of Default. The breach by any Party of any material
   agreement or covenant set forth in this Agreement will be an event of default (“Event of
   Default”) under this Agreement.

                   Section 4.2 Remedies. The Parties acknowledge and agree that a
   breach of the provisions of this Agreement by any Party would cause irreparable damage
   to the other Parties and that such other Parties would not have an adequate remedy at law
   for such damage. Therefore, the obligations of the Parties set forth in this Agreement
   shall be enforceable by an order compelling specific performance issued by the


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   Bankruptcy Court, and appropriate injunctive relief may be applied for and granted in
   connection therewith. Such remedies shall be cumulative and not exclusive and shall be
   in addition to any other remedies that the Parties may have under this Agreement or
   otherwise. Any LTGO Party may exercise its rights hereunder on its own. Consistent
   with Section 904 of the Bankruptcy Code, the City hereby consents to the Bankruptcy
   Court enforcing the terms of this Agreement.

                   Section 4.3   Termination.

                          (a)     This Agreement may be terminated by the mutual
   agreement of all of the LTGO Parties upon an Event of Default caused by the City. This
   Agreement may be terminated by less than all of the LTGO Parties as to such LTGO
   Party or LTGO Parties upon an Event of Default caused by the City if (i) an action or
   proceeding seeking to enforce the material agreement or covenant purported to be
   breached is brought by one or more LTGO Parties before the Bankruptcy Court, (ii) the
   Bankruptcy Court, after notice and a hearing, finds that an Event of Default caused by the
   City has occurred and (iii) either (A) the Bankruptcy Court declines to issue an order
   compelling specific performance by the City of the applicable agreement or covenant
   purported to be breached or (B) the Bankruptcy Court issues such an order compelling
   specific performance but the City fails to comply with the order.

                           (b)     This Agreement may be terminated by the City if (i) any of
   the LTGO Parties fails to withdraw its objections to the Plan regarding the treatment of
   the Prior LTGO Bonds on or before August 1, 2014, or (ii) any of the LTGO Parties fails
   to submit a ballot to vote its Class 7 Claims to accept the Plan promptly following the
   execution of this Agreement or as otherwise agreed by the City. This Agreement may be
   terminated by the City upon an Event of Default caused by the LTGO Parties, or any of
   them, if (i) an action or proceeding seeking to enforce the material agreement or covenant
   purported to be breached is brought by the City before the Bankruptcy Court, (ii) the
   Bankruptcy Court finds, after notice and a hearing, that an Event of Default caused by the
   applicable LTGO Party has occurred and (iii) either (A) the Bankruptcy Court declines
   to issue an order compelling specific performance by the applicable LTGO Party of this
   Agreement or the applicable covenant purported to be breached or (B) the Bankruptcy
   Court issues such an order compelling specific performance but the applicable LTGO
   Party fails to comply with the order.

                          (c)    Upon any such termination, Ambac may resume the Ambac
   Action unless it has been previously dismissed with prejudice or has been previously
   deemed dismissed with prejudice.

                                  ARTICLE V
                        REPRESENTATIONS AND WARRANTIES

                  Section 5.1 Representations and Warranties of the City. The City
   represents and warrants to the LTGO Parties that:

                          (a)    It is a municipal corporation of the State of Michigan.


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                          (b)     It has the power to execute and deliver this Agreement and
   to perform its obligations hereunder and it has taken or will take all necessary action to
   authorize such execution, delivery and performance.

                          (c)    Such execution, delivery and performance do not violate or
   conflict with any law applicable to it, any order or judgment of any court or other agency
   of government applicable to it, or any material agreements specifically applicable to it or
   any of its assets.

                          (d)     Other than (i) approvals of the State Treasurer, the
   Emergency Loan Board and the City Council to be obtained prior to delivery of the New
   LTGO Bonds, which the City reasonably expects to be obtained prior to the Effective
   Date, and (ii) the approval of the Bankruptcy Court, all governmental and Emergency
   Manager consents and approvals that are required to have been obtained by it as of the
   date of execution of this Agreement with respect to the execution, delivery and
   performance of this Agreement have been obtained and are in full force and effect and all
   conditions of any such consents and approvals have been complied with.

                Section 5.2 Representations and Warranties of the LTGO Parties. Each
   of the LTGO Parties represents to the City that:

                            (a)    It is duly organized and validly existing under the laws of
   the jurisdiction of its organization or incorporation.

                          (b)    It has the power to execute and deliver this Agreement and
   to perform its obligations under this Agreement and it has taken all necessary corporate
   action to authorize such execution, delivery and performance.

                          (c)    Such execution, delivery and performance do not violate or
   conflict with any law applicable to it, any provision of its constitutional documents, any
   order or judgment of any court or other agency of government applicable to it, or any
   agreements specifically applicable to it or any of its assets.

                          (d)     All corporate or governmental consents and approvals that
   are required to have been obtained by it with respect to this Agreement have been
   obtained and are in full force and effect and all conditions of any such consents and
   approvals have been complied with.

                   Section 5.3 Representations and Warranties of Ambac. Ambac had and
   has standing to bring and resolve the Ambac Action as it pertains to the Prior LTGO
   Bonds that it insures.

                   Section 5.4 Mutual Representations and Warranties. Unless otherwise
   noted, each Party makes the following representations, warranties and covenants (on a
   several basis, with respect to such Party only) to each of the other Parties:




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                          (a)    Each person signing this Agreement warrants that he or she
   is legally competent and authorized to execute this Agreement on behalf of the Party
   whose name is subscripted at or above such person’s signature.

                           (b)     The Parties have not made any statement or representation
   to each other regarding any facts relied upon by them in entering into this Agreement,
   and each of them specifically does not rely upon any statement, representation or promise
   of the other Parties hereto or any other person in entering into this Agreement, except as
   expressly stated herein or in the exhibits hereto. Each party has relied upon its own
   investigation and analysis of the facts and not on any statement or representation made by
   any other party in choosing to enter into this Agreement and the transactions
   contemplated herein.

                           (c)     The Parties and their respective attorneys have made such
   investigation of the facts pertaining to this Agreement and all of the matters pertaining
   thereto as they deem necessary.

                                        ARTICLE VI
                                       EXCULPATION

                  Section 6.1 Exculpation. The Plan will include the LTGO Exculpated
   Parties as exculpated parties for acts and omissions (other than those constituting gross
   negligence or willful misconduct) in connection with the Plan as it relates to this
   Agreement and this Agreement.

                   Section 6.2 Releases. Upon the dismissal with prejudice or deemed
   dismissal with prejudice of the Ambac Action as it pertains to the Prior LTGO Bonds,
   Ambac and the City shall be deemed to have released each other, and each of their
   respective officials, officers, directors, employees and representatives, of and from any
   and all claims and causes of action related to the Prior LTGO Bonds and the Ambac
   Action.

                                   ARTICLE VII
                       DISMISSAL OF CASE AND TERMINATION

                 Section 7.1 Effect of Dismissal of the Bankruptcy Case. In the event
   the Bankruptcy Case is dismissed, any Party may at any time within 60 days after such
   dismissal immediately terminate this Agreement by written notice to the other Parties.

                    Section 7.2 Effect of Termination. In the event of the termination of
   this Agreement by any Party pursuant to any provisions of this Agreement, this
   Agreement shall become null and void and be deemed of no force and effect, with no
   liability on the part of any Party hereto (or of any of its elected or appointed officials,
   directors, officers, employees, consultants, contractors, agents, legal and financial
   advisors or other representatives) arising from such termination, and no Party shall have
   any obligations to any other Party arising out of this Agreement. Upon termination,
   neither this Agreement nor any terms or provisions set forth herein shall be admissible in
   any dispute, litigation, proceeding or controversy among the Parties and nothing

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   contained herein shall constitute or be deemed to be an admission by any Party as to any
   matter, it being understood that the statements and resolutions reached herein were as a
   result of negotiations and compromises of the respective positions of the Parties. If the
   Ambac Action is reinstated, and this Agreement is terminated, then no Party hereto may
   (i) use this Agreement, any of its terms or any discussions or negotiations conducted in
   respect of this Agreement, or any part of the foregoing, in the Ambac Action; (ii) seek
   discovery with respect to any of the matters described in subsection (i) in the Ambac
   Action; or (iii) seek to admit any of the matters described in subsection (i) into evidence
   in the Ambac Action.

                                       ARTICLE VIII
                                      MISCELLANEOUS

                  Section 8.1 Amendments. This Agreement may not be modified,
   amended or supplemented except by a written agreement executed by each Party to be
   affected by such modification, amendment or supplement.

                   Section 8.2   No Admission of Liability.

                           (a)     The execution of this Agreement is not intended to be, nor
   shall it be construed as, an admission or evidence in any pending or subsequent suit,
   action, proceeding or dispute of any liability, wrongdoing, or obligation whatsoever
   (including as to the merits of any claim or defense) by any Party to any other Party or any
   other person with respect to any of the matters addressed in this Agreement.

                           (b)     None of this Agreement (including, without limitation, the
   recitals and exhibits hereto), the settlement or any act performed or document executed
   pursuant to or in furtherance of this Agreement or the settlement: (i) is or may be
   deemed to be or may be used as an admission or evidence of the validity of any claim or
   of any wrongdoing or liability of any Party; or (ii) is or may be deemed to be or may be
   used as an admission or evidence of any liability, fault or omission of any Party in any
   civil, criminal or administrative proceeding in any court, administrative agency or other
   tribunal. None of this Agreement, the settlement, or any act performed or document
   executed pursuant to or in furtherance of this Agreement or the settlement shall be
   admissible in any proceeding for any purposes, except to enforce the terms of the
   Agreement, and except that any Party may file this Agreement in any action for any
   purpose, including, but not limited to, in order to support a defense or counterclaim based
   on the principles of res judicata, collateral estoppel, release, good faith settlement,
   judgment bar or reduction or any other theory of claim preclusion or issue preclusion or
   similar defense of counterclaim.

                 Section 8.3 Good Faith Negotiations. The Parties recognize and
   acknowledge that each of the Parties hereto is represented by counsel, and such Party
   received independent legal advice with respect to the advisability of entering into this
   Agreement. Each of the Parties acknowledges that the negotiations leading up to this
   Agreement were conducted regularly and at arm’s length; this Agreement is made and
   executed by and of each Party’s own free will; that each knows all of the relevant facts


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   and his or its rights in connection therewith, and that it has not been improperly
   influenced or induced to make this settlement as a result of any act or action on the part
   of any party or employee, agent, attorney or representative of any party to this
   Agreement. The Parties further acknowledge that they entered into this Agreement
   because of their desire to avoid the further expense and inconvenience of litigation and
   other disputes, and to compromise permanently and settle the claims between the Parties
   settled by the execution of this Agreement.

                   Section 8.4 Rights and Remedies. Nothing in this Agreement is
   intended to augment, impair any rights, remedies and interests, including without
   limitation, liens, of any of the Parties hereto other than with respect to the Prior LTGO
   Bonds.

                   Section 8.5 Third Party Beneficiaries. Nothing in this Agreement,
   express or implied, is intended or shall be construed to confer upon, or to give to, any
   Person other than the Parties hereto and their respective successors and assigns, any right,
   remedy or claim under or by reason of this Agreement or any covenant, condition or
   stipulation thereof; and the covenants, stipulations and agreements contained in this
   Agreement are and shall be for the sole and exclusive benefit of the Parties hereto and
   their respective successors and assigns.

                    Section 8.6 Governing Law; Retention of Jurisdiction; Service of
   Process. This Agreement shall be governed by and construed in accordance with the
   internal laws of the State of Michigan, without giving effect to any principles of conflicts
   of law and applicable federal law. By its execution and delivery of this Agreement, each
   of the Parties hereby irrevocably and unconditionally agrees for itself that any legal
   action, suit or proceeding between any or all of the foregoing with respect to any matter
   under or arising out of or in connection with this Agreement or for recognition or
   enforcement of any judgment rendered in any such action, suit or proceeding, shall be
   brought in the Bankruptcy Court for that purpose only, and, by execution and delivery of
   this Agreement, each hereby irrevocably accepts and submits itself to the jurisdiction of
   such court, generally and unconditionally, with respect to any such action, suit or
   proceeding. In the event any such action, suit or proceeding is commenced, the Parties
   hereby agree and consent that service of process may be made, and personal jurisdiction
   over any Party hereto in any such action, suit or proceeding may be obtained, by service
   of a copy of the summons, complaint and other pleadings required to commence such
   action, suit or proceeding upon the Party at the address of such Party set forth in
   Section 8.11 hereof, unless another address has been designated by such Party in a notice
   given to the other Parties in accordance with Section 8.11 hereof. The City agrees that the
   Bankruptcy Court will have exclusive post-confirmation authority and power to enforce
   this Agreement and all Settlement-Related Documents and to hear and adjudicate any
   challenge, action, suit or proceeding brought by any third party challenging the validity
   or enforceability of any provision of this Agreement, until all New LTGO Bonds have
   been paid in full and all Plan Instruments are no longer outstanding. Pursuant to Section
   904 of the Bankruptcy Code, the City hereby consents to the Bankruptcy Court enforcing
   the terms of this Agreement.


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                   Section 8.7 Headings. The headings of the Articles and Sections of this
   Agreement are inserted for convenience only and are not part of this Agreement and do
   not in any way limit or modify the terms or provisions of this Agreement and shall not
   affect the interpretation hereof.

                   Section 8.8 Binding Agreement Successors and Assigns; Joint and
   Several Obligations. This Agreement shall be binding upon the execution and delivery of
   this Agreement by the Parties listed on the signature pages hereto. This Agreement is
   intended to bind and inure to the benefit of the Parties and their respective successors,
   assigns, administrators, constituents and representatives. The agreements, representations,
   covenants and obligations of the Parties under this Agreement are several only and not
   joint in any respect and none shall be responsible for the performance or breach of this
   Agreement by another.

                   Section 8.9 Entire Agreement. This Agreement shall constitute the full
   and entire agreement among the Parties with regard to the subject matter hereof, and
   supersedes all prior negotiations, representations, promises or warranties (oral or
   otherwise) made by any Party with respect to the subject matter hereof. No Party has
   entered into this Agreement in reliance on any other Party’s prior representation, promise
   or warranty (oral or otherwise) except for those that may be expressly set forth in this
   Agreement.

                   Section 8.10 Counterparts. This Agreement may be executed in one or
   more counterparts, each of which shall be deemed an original copy of this Agreement and
   all of which, when taken together, shall constitute one and the same Agreement. Copies
   of executed counterparts transmitted by telecopy or other electronic transmission service
   shall be considered original executed counterparts, provided receipt of copies of such
   counterparts is confirmed.

                   Section 8.11 Notices. All demands, notices, requests, consents, and
   other communications hereunder shall be in writing and shall be deemed to have been
   duly given (a) when personally delivered by courier service or messenger, (b) upon actual
   receipt (as established by confirmation of receipt or otherwise) during normal business
   hours, otherwise on the first business day thereafter if transmitted electronically (by e-
   mail transmission), by facsimile or telecopier, with confirmation of receipt, or (c) three
   (3) business days after being duly deposited in the mail, by certified or registered mail,
   postage prepaid-return receipt requested, to the following addresses, or such other
   addresses as may be furnished hereafter by notice in writing, to the following Parties:

                   If to the City, to:

                           Chief Financial Officer
                           City of Detroit
                           1126 Coleman A. Young Municipal Center
                           Two Woodward Avenue
                           Detroit MI 48226



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                          Phone: (313) 224-3382
                          Fax: (313) 224-2827

                   with a copy given in like manner to:

                          Corporation Counsel
                          City of Detroit Law Department
                          Coleman A. Young Municipal Center
                          2 Woodward Avenue
                          Detroit MI 48226
                          Phone: (313) 237-3018
                          Fax: (313) 224-5505

                          Miller, Canfield, Paddock and Stone, PLC
                          150 West Jefferson, Suite 2500
                          Detroit, MI 48226
                          Attention: Jonathan Green
                          Email: green@millercanfield.com
                          Attention: Amanda Van Dusen
                          Email: vandusen@millercanfield.com

                   If to the LTGO Parties, to:

                          Ambac Assurance Corporation
                          One State Street Plaza
                          New York, New York 10004
                          Attention: Surveillance Department and General Counsel’s Office
                          Fax: (212) 208-3384

                          with a copy given in like manner to:

                                  Arent Fox LLP
                                  1675 Broadway
                                  New York, New York 10019
                                  Attention: David L. Dubrow, Esq.
                                  Telecopy: (212) 484-3990
                                  Email: david.dubrow@arentfox.com

                          -and

                          BlackRock Financial Management
                          1 University Square Drive
                          Princeton, New Jersey 08540
                          Attn: Jim Schwartz
                          Phone: (609) 282-1784
                          Email: jim.schwartz@blackrock.com

                          with a copy given in like manner to:

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                                 Kramer Levin Naftalis & Frankel LLP
                                 1177 Avenue of the Americas
                                 New York, NY 10036
                                 Attn: Amy Caton
                                 Phone: (212) 713-7772
                                 Email: acaton@kramerlevin.com

                   Section 8.12 Further Assurances. Each of the Parties hereto agrees to
   execute and deliver, or to cause to be executed and delivered, all such instruments, and to
   take all such action as the other Parties may reasonably request in order to effectuate the
   intent and purposes of, and to carry out the terms of, this Agreement.

                   Section 8.13 Non-Severability of Agreement. This Agreement is to be
   construed as a whole, and all provisions of it are to be read and construed together.
   Notwithstanding anything in this Agreement, the Approval Order (if applicable) or the
   Plan Confirmation Order to the contrary, and in light of the integrated nature of the
   settlements and compromises embodied in this Agreement, in the event that (i) a court of
   competent jurisdiction enters a Final Order ruling that any of the transactions
   contemplated in this Agreement, are void, invalid, illegal or unenforceable in any
   material respect, (ii) any of the transactions contemplated by this Agreement are reversed,
   vacated, overturned, voided or unwound in any material respect, or (iii) the Approval
   Order or Plan Confirmation Order as it relates to the transactions contemplated in this
   Agreement is reversed, vacated, overturned or amended in any material respect, then in
   each case, the entirety of this Agreement (other than this Section 8.13) shall be void ab
   initio and of no force and effect and, during any subsequent proceeding, the Parties shall
   not assert claim preclusion, issue preclusion, estoppel or any similar defense in respect of
   rights and claims of the Parties that were the subject of this Agreement prior to this
   Agreement being of no force or effect.

                                    (Signature page follows)




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                  IN WITNESS WHEREOF, the Parties hereto have caused this Agreement
   to be executed as of the date set forth above.

                                    THE CITY OF DETROIT, as Debtor



                                    By:    _____________________________
                                           Name:
                                           Title:

                                    AMBAC ASSURANCE CORPORATION


                                    By:    _____________________________
                                           Name:
                                           Title:

                                    BLACKROCK FINANCIAL MANAGEMENT, on
                                    behalf of its managed funds and accounts as
                                    reflected in Exhibit B


                                    By:    _____________________________
                                           Name:
                                           Title:

                                    __________________________




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                                       Schedule 1

                         Financial Terms of New LTGO Bonds



   Principal:          $55 million

   Interest Rate:      5.65% per annum (first 10 years, 5.00% payable in cash and 0.65%
                       capital appreciation added to principal)

   Final Maturity:     23 years

   Amortization:       Interest payable semi-annually

                       On each anniversary from the sixth through tenth anniversary—$2
                       million principal due per year


                       On each anniversary from the eleventh through twenty-third
                       anniversary—principal payment equal to one-thirteenth (1/13) of
                       the principal outstanding immediately prior to the eleventh
                       anniversary (approximately $3,735,115 per year)




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                                   Exhibit A

                       EMERGENCY MANAGER ORDER




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      ORDER OF THE EMERGENCY MANAGER OF THE CITY OF DETROIT,
      COUNTY OF WAYNE, STATE OF MICHIGAN, AUTHORIZING THE
      ISSUANCE BY THE CITY OF DETROIT OF NOT TO EXCEED $55,000,000
      FINANCIAL   RECOVERY     BONDS    (LIMITED  TAX    GENERAL
      OBLIGATION) IN ONE OR MORE SERIES FOR THE PURPOSE OF
      SATISFYING CERTAIN CLAIMS OF THE HOLDERS AND INSURER OF
      CERTAIN LIMITED TAX GENERAL OBLIGATION BONDS AS PROVIDED
      IN THE BANKRUPTCY CASE PLAN OF ADJUSTMENT; AND
      AUTHORIZING THE EMERGENCY MANAGER TO MAKE CERTAIN
      DETERMINATIONS AND TO TAKE CERTAIN ACTIONS IN CONNECTION
      WITH THE DELIVERY AND EXCHANGE OF SAID BONDS TO THE
      HOLDERS OF SAID CLAIMS IN FULL SATISFACTION OF SAID CLAIMS.




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                                       ORDER NO. ___

       ORDER OF THE EMERGENCY MANAGER OF THE CITY OF DETROIT,
       COUNTY OF WAYNE, STATE OF MICHIGAN, AUTHORIZING THE
       ISSUANCE BY THE CITY OF DETROIT OF NOT TO EXCEED $55,000,000
       FINANCIAL   RECOVERY     BONDS    (LIMITED  TAX    GENERAL
       OBLIGATION) IN ONE OR MORE SERIES FOR THE PURPOSE OF
       SATISFYING CERTAIN CLAIMS OF THE HOLDERS AND INSURER OF
       CERTAIN LIMITED TAX GENERAL OBLIGATION BONDS AS PROVIDED
       IN THE BANKRUPTCY CASE PLAN OF ADJUSTMENT; AND
       AUTHORIZING THE EMERGENCY MANAGER TO MAKE CERTAIN
       DETERMINATIONS AND TO TAKE CERTAIN ACTIONS IN CONNECTION
       WITH THE DELIVERY AND EXCHANGE OF SAID BONDS TO THE
       HOLDERS OF SAID CLAIMS IN FULL SATISFACTION OF SAID CLAIMS.


        WHEREAS, on March 1, 2013, the Governor (the “Governor”) of the State of Michigan
(the “State”) determined that a financial emergency existed within the City of Detroit, County of
Wayne, State of Michigan (the “City”) pursuant to the Local Government Fiscal Responsibility
Act, Act 72, Public Acts of Michigan, 1990, as amended (“Act 72”); and

       WHEREAS, on March 14, 2013, the Governor confirmed that a financial emergency ex-
isted within the City and, pursuant to Act 72, assigned to the Local Emergency Financial
Assistance Loan Board established pursuant to the Emergency Municipal Loan Act, Act 243
Public Acts of Michigan, 1980, as amended (the “Board”) the responsibility for managing the
financial emergency; and

      WHEREAS, on March 14, 2013, pursuant to Act 72, the Board appointed Kevyn D. Orr
as Emergency Financial Manager for the City; and

       WHEREAS, by operation of law the financial emergency continues to exist within the
City pursuant to the Local Financial Stability and Choice Act, Act 436, Public Acts of Michigan,
2012 (“Act 436”) and the Emergency Financial Manager continues in the capacity of the
Emergency Manager for the City (the “Emergency Manager”); and

       WHEREAS, as of the close of Fiscal Year 2013 (i.e., June 30, 2013), the City had
$160.97 million in outstanding principal amount of limited tax general obligation bonds,
excluding any limited general obligation bonds secured by distributable state aid and sold to the
Michigan Finance Authority (the “Prior LTGO Bonds”); and

       WHEREAS, more than two thirds in amount of the Prior LTGO Bonds are either held by
BlackRock Financial Management (the “Uninsured Bondholder”) or insured by Ambac
Assurance Corporation (“Ambac”) under financial guaranty insurance policies (the “Bond
Insurance Policies”) that were issued contemporaneously with certain Prior LTGO Bonds (the
“Insured Prior LTGO Bonds”); and




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       WHEREAS, on July 18, 2013 (the “Petition Date”), in accordance with Act 436 and the
approval of the Governor, the Emergency Manager filed on behalf of the City a petition for relief
pursuant to Chapter 9 of title 11 of the United States Code, 11 U.S.C. Sections 101-1532 (as
amended, the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District
of Michigan (the “Bankruptcy Court”); and

        WHEREAS, as of the Petition Date, the balance due on the Prior LTGO Bonds, including
prepetition interest accrued as of that date, was $163,554,770; and

       WHEREAS, on October 1, 2013, the City defaulted on its obligation to make interest
payments on the Prior LTGO Bonds in the amount of $4,348,211, and Ambac paid claims in the
amount of $2,266,586 on account of the Insured Prior LTGO Bonds and was subrogated to the
rights of the owners for such payments, and the insurance documents contemplate for the
assignment of the Insured Prior LTGO Bonds to Ambac upon payment of a claim; and

        WHEREAS, on April 1, 2014, the City defaulted on its obligation to make interest
payments in the amount of $4,348,211 and principal payments in the amount of $43,420,000 on
the Prior LTGO Bonds, and Ambac paid claims in the amount of $20,686,586 on account of the
Insured Prior LTGO Bonds insured by it and was subrogated to the rights of the owners for such
payments, and the insurance documents contemplate for the assignment of the Insured Prior
LTGO Bonds to Ambac upon payment of a claim; and

       WHEREAS, on May 5, 2014, the Emergency Manager filed on behalf of the City a
Fourth Amended Plan for the Adjustment of the Debts of the City of Detroit (now and as
subsequently amended, the “Plan of Adjustment”) in the Bankruptcy Court to provide for the
adjustment of the debts of the City pursuant to and in accordance with Chapter 9 of the
Bankruptcy Code; and

       WHEREAS, on ____________, 2014, the City, Ambac and the Uninsured Bondholder
(together the “LTGO Parties”) entered into a Settlement Agreement (LTGO) (the “Settlement
Agreement”) regarding a consensual resolution of their disputes under or in respect of the Prior
LTGO Bonds, the Ambac Action (as defined in the Settlement Agreement) and the claims of the
LTGO Parties (the “LTGO Claims”); and

        WHEREAS, the Plan of Adjustment and the Settlement Agreement provide, among other
things, for the satisfaction of the claims of the holders of Allowed Claims on account of Prior
LTGO Bonds who are (i) record owners of any Prior LTGO Bonds and (ii) Ambac as to any
Insured Prior LTGO Bond (each, a “LTGO Claims Holder”) in exchange for the receipt of
unsecured pro rata shares ( each a “Pro Rata Share”) of New LTGO Notes, in the form of the
Bonds authorized herein, in the form of Financial Recovery Bonds authorized for settlement of
unsecured claims under the Plan of Adjustment and a portion of the New B Notes, referred to as
“Reserve B Notes” in the Settlement Agreement, to be authorized by separate order of the
Emergency Manager; and

        WHEREAS, upon satisfaction of all of the terms and conditions required of the City
related to the confirmation of the Plan of Adjustment, the City shall establish the Business Day
upon which the Plan of Adjustment shall become effective (the “Effective Date”); and



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        WHEREAS, on or before the Effective Date, the City shall issue Financial Recovery
Bonds (Limited Tax General Obligation) (the “Bonds”) under Section 36a of the Home Rule
City Act, Act 279, Public Acts of Michigan, 1909, as amended (“Act 279”) and this Order, and
distribute Pro Rata Shares of the Bonds, to the LTGO Claim Holders as provided in the Plan of
Adjustment; and

        WHEREAS, the Emergency Manager of the City deems it necessary to authorize the
issuance of the Bonds in one or more series, in the aggregate principal amount of not to exceed
Fifty Five Million Dollars ($55,000,000) pursuant to Section 36a of Act 279; and

        WHEREAS, the Bonds will be secured by a pledge of the City’s limited tax full faith and
credit; and

       WHEREAS, Section 36a of Act 279 authorizes a city, for which a financial emergency
has been determined to exist, such as the City, to borrow money and issue Financial Recovery
Bonds subject to the terms and conditions approved by the Board; and

       WHEREAS, the City must receive prior approval of the terms and conditions for the
issuance of the Bonds from the Board in accordance with Section 36a of Act 279; and

        WHEREAS, the Emergency Manager desires to submit this Order to the Board proposing
the issuance by the City of the Bonds, in one or more series, under Section 36a of Act 279, to
provide for a portion of the financing of the City under the Plan of Adjustment, solely to satisfy
the claims of the LTGO Claim Holders; and

       WHEREAS, prior to submission of this Order to the Board, pursuant to Sections 12(1)(u)
and 19(i) of Act 436, the Emergency Manager must obtain approval of the issuance of the Bonds
by the City Council of the City (the “City Council”), and if the City Council disapproves the
issuance of the Bonds, the issuance of the Bonds must be approved by the Board.

       NOW, THEREFORE, BE IT ORDERED AS FOLLOWS:


                                          ARTICLE I

                         DEFINITIONS AND INTERPRETATION


        Section 101. Definitions.    The words and terms defined in the preambles and recitals
hereof and the following words and terms as used in this Order shall have the meanings ascribed
therein, herein or in the Plan of Adjustment to them unless a different meaning clearly appears
from the context:

       “Accretion Date” means April 1 and October 1 of each year after the Date of Original
Issue and the Conversion Date.




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       “Accretion Rate” means a rate of accretion in principal borne by the Bonds of 0.65% per
annum compounded semiannually on each Accretion Date from the Date of Original Issue until
the Conversion Date.

       “Accretion Value” means as of any particular date of calculation, the original principal
amount of the Bond, plus all accretion in principal accrued and compounded to the particular
date of calculation. A table setting forth the Accreted Values per $5,000 original principal
amount of the Bonds at each Accretion Date shall be set forth in the Bonds and as an exhibit to
the Supplemental Order.

       “Act 243” means Act No. 243, Public Acts of Michigan, 1980, as amended.

       “Act 279” means Act No. 279, Public Acts of Michigan, 1909, as amended.

       “Act 436” means Act No. 436, Public Acts of Michigan, 2012.

       “Allowed Claims” has the meaning set forth in the Plan of Adjustment.

       “Authorized Denominations” shall mean denominations of Bonds equal to multiples of
$1,000 or integral multiples of $1.00 in excess thereof.

        “Authorized Officer” means (i) the Emergency Manager or his designee or successor, or
if the City is no longer operating under a financial emergency pursuant to Act 436, the chief
administrative officer of the City, the Finance Director or his or her designee, or (ii) any other
person authorized by a Certificate of an Authorized Officer to act on behalf of or otherwise
represent the City in any legal capacity, which such certificate shall be delivered, if at all, in the
City’s sole discretion.

      “Bankruptcy Case” means the City’s Bankruptcy Case No. 13-53846 in the U.S.
Bankruptcy Court for the Eastern District of Michigan.

       “Bankruptcy Code” has the meaning ascribed to it in the recitals hereof.

       “Board” has the meaning set forth in recitals hereto.

        “Bond Counsel” means Miller, Canfield, Paddock and Stone, P.L.C., attorneys of Detroit,
Michigan, or such other nationally recognized firm of attorneys experienced in matters
pertaining to municipal bonds and appointed to serve in such capacity by the City with respect to
the Bonds.

       “Bond” or “Bonds” means the Financial Recovery Bonds (Limited Tax General
Obligation), Series 2014 of the City authorized to be issued by the Order in the aggregate
principal amount not to exceed $55,000,000, in one or more series, and bearing such other
designations as determined by the Authorized Officer in the Supplemental Order.

       “Bond Insurance Policies” has the meaning ascribed to it in the recitals hereof.




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         “Bond Registry” means the books for the registration of Bonds maintained by the Paying
Agent.

       “Bondowner”, “Owner” or “Registered Owner” means, with respect to any Bond, the
person in whose name such Bond is registered in the Bond Registry.

        “Business Day” means any day other than (i) a Saturday, Sunday or legal holiday, (ii) a
day on which the Paying Agent or banks and trust companies in New York, New York are
authorized or required to remain closed, (iii) a day on which the New York Stock Exchange is
closed, or (iv) a day on which the Federal Reserve is closed.

        “Certificate” means (i) a signed document either attesting to or acknowledging the
circumstances, representations or other matters therein stated or set forth or setting forth matters
to be determined pursuant to the Indenture or (ii) the report of an Authorized Officer as to audits
or other procedures called by the Indenture, as the case may be.

         “Charter” means the Charter of the City, as amended from time to time.

         “City” means the City of Detroit, County of Wayne, State of Michigan.

         “Claim” shall mean a “claim” as defined in Section 101(5) of the Bankruptcy Code.

         “Class” means each class of Claims established under the Plan.

         “Closing Date” means the Date of Original Issue.

         “Code” means the Internal Revenue Code of 1986, as amended.

         “Confirmation Order” has the meaning set forth in recitals hereto.

         “Constitution” means the Constitution of the State of Michigan of 1963, as amended.

       “Conversion Date” means the last Accretion Date on the tenth anniversary of the Date of
Original Issue of the Bonds, after which the Bonds shall no longer accrete in value.

         “Date of Original Issue” means the date upon which all conditions precedent set forth in
the Bond Purchase Agreement to the transactions contemplated therein and herein have been
satisfied and the Bonds have been issued to the Purchaser.

        “Debt Retirement Fund” means the Debt Retirement Fund established under Section 501
hereof, and any subaccounts thereof established hereunder for the payment of principal of and
premium and interest on the Bonds.

         “Distribution Agent” shall mean U.S. Bank National Association, Detroit, Michigan.

        “Distribution Agreement” shall mean the Insured Prior LTGO Bonds Distribution
Agreement among the Distribution Agent the City, Ambac and the paying agent for the Insured
Prior LTGO Bonds, in form and substance satisfactory to the City and Ambac, relating to the
distribution of payments of principal and interest on the Insured Prior LTGO Bonds.


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       “DTC System” shall mean the system maintained by The Depository Trust Company
used for trading municipal securities.

       “Emergency Manager” has the meaning set forth in the recitals hereto.

       “Final Order” has the meaning set forth in the Plan of Adjustment.

       “Fiscal Year” means the period from July 1 to and including June 30 of the immediately
succeeding calendar year or such other fiscal year of the City as in effect from time to time.

       “Holder” shall mean the holder of a Claim under or evidenced by the Prior LTGO Bonds.

       “Insured Prior LTGO Bonds” has the meaning ascribed to it in the recitals hereof.

        “Interest Payment Date” means April 1 and October 1 of each year commencing with the
April 1 or October 1 specified in the Supplemental Order.

        “Interest Rate” means a rate of interest borne by the Bonds, payable currently on each
Interest Payment Date, of 5% per annum from the Date of Original Issue until the Conversion
Date, and thereafter at a rate of interest of 5.65% per annum payable currently until the Maturity
Date.

        “LTGO Claims” has the meaning ascribed to it in the recitals hereof.

       “LTGO Claims Holder” shall mean holders of Allowed Claims on account of Prior
LTGO Bonds who are (i) the record owners of any Prior LTGO Bonds and (ii) Ambac as to any
Insured Prior LTGO Bond.

        “LTGO Parties” has the meaning set forth in the recitals hereof.

       “Maturity Date” means the twenty-third (23rd) anniversary of the Date of Original Issue
or such other final date of maturity of each series of the Bonds as specified in the Supplemental
Order.

       “Maximum Aggregate Principal Amount” has the meaning given such term in
Section 201.

        “New LTGO Bonds” means the Bonds.

       “Order” means this Order of the Emergency Manager as supplemented by the
Supplemental Order, and as amended from time to time pursuant to Article VI.

       “Outstanding” when used with respect to:

       (1)     the Bonds, means, as of the date of determination, the Bonds theretofore
               authenticated and delivered under this Order, except:

               (A)    Bonds theretofore canceled by the Paying Agent or delivered to such
                      Paying Agent for cancellation;


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              (B)     Bonds for whose payment money in the necessary amount has been
                      theretofore deposited with the Paying Agent in trust for the registered
                      owners of such Bonds;

              (C)     Bonds delivered to the Paying Agent for cancellation in connection with
                      (x) the exchange of such Bonds for other Bonds or (y) the transfer of the
                      registration of such Bonds;

              (D)     Bonds alleged to have been destroyed, lost or stolen which have been paid
                      or replaced pursuant to this Order or otherwise pursuant to law; and

              (E)     Bonds deemed paid as provided in Section 701.

       “Paying Agent” means the bond registrar, transfer agent and paying agent for the Bonds.

       “Petition Date” has the meaning set forth in the recitals hereto.

       “Plan of Adjustment” has the meaning set forth in the recitals hereto.

       “Prior LTGO Bonds” has the meaning ascribed to it in the recitals hereof.

       “Pro Rata” shall mean the proportion that a claim of one LTGO Claims Holder bears to
the aggregate amount of all claims of all of the LTGO Claims Holders.

       “Registered Owner” means the registered owner of a Bond as the registered owner’s
name appears on the Bond Registry under Section 305.

       “Regular Record Date” has the meaning given such term in Section 302.

       “Reserve New B Notes” shall have the meaning set forth in the recitals hereto.

       “Security Depository” has the meaning given such term in Section 310.

       “State” has the meaning set forth in the recitals hereto.

       “State Treasurer” means the Treasurer of the State of Michigan.

       “Supplemental Order” means the order or orders of the Authorized Officer making
certain determinations and confirming the final details on the Bonds upon issuance, in
accordance with the parameters of this Order.

        Section 102. Interpretation. (a) Words of the feminine or masculine genders include
the correlative words of the other gender or the neuter gender.

        (b)    Unless the context shall otherwise indicate, words importing the singular include
the plural and vice versa, and words importing persons include corporations, associations,
partnerships (including limited partnerships), trusts, firms and other legal entities, including
public bodies, as well as natural persons.



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       (c)      Articles and Sections referred to by number mean the corresponding Articles and
Sections of this Order.

       (d)     The terms “hereby, “hereof”, “hereto”, “herein”, “hereunder” and any similar
terms as used in this Order, refer to this Order as a whole unless otherwise expressly stated.


                                          ARTICLE II

                                      DETERMINATIONS

        Section 201. Finding, and Declaration of Need to Issue Bonds. The Emergency Manager
hereby finds and declares that it is necessary for the City to issue the Bonds hereunder in such
sum as shall be determined and approved by the Emergency Manager, not in excess of
$55,000,000 as of the Date of Original Issue (the “Maximum Aggregate Principal Amount”), and
to evidence such debt by the issuance of the Bonds in one or more series not in excess of the
Maximum Aggregate Principal Amount, in Authorized Denominations, pursuant to and in
accordance with the provisions of Section 36a of Act 279, for the purpose of satisfying a portion
of the LTGO Claims. The Maximum Aggregate Principal Amount shall not include the accretion
of principal at the Accretion Rate as provided in this Order.


                                          ARTICLE III

       AUTHORIZATION, REDEMPTION AND ASSIGNMENT OF THE BONDS

        Section 301. Authorization of Bonds to Satisfy the Claims and Pledge. The City hereby
authorizes the issuance of the Bonds as hereinafter defined in such principal amount as shall be
confirmed in the Supplemental Order to satisfy the LTGO Claims. The principal of and interest
on the Bonds shall hereby be secured by the limited tax full faith and credit pledge of the City.
The City pledges to pay the principal of and interest on the Bonds as a first budget obligation
from its general funds and in case of insufficiency thereof, from the proceeds of an annual levy
of ad valorem taxes on all taxable property of the City, subject to applicable constitutional,
statutory and charter tax rate limitations.

        Section 302. Designations, Date, Interest, Maturity and Other Terms of the Bonds to
Satisfy the Claims. (a) The Bonds shall be designated “FINANCIAL RECOVERY BONDS
(LIMITED TAX GENERAL OBLIGATION), SERIES 2014” and may bear such later or earlier
dates and additional or alternative designations, series or subseries as the Authorized Officer may
determine in the Supplemental Order, shall be issued in fully registered form and shall be
consecutively numbered from “R-1” upwards, unless otherwise provided by the Authorized
Officer in the Supplemental Order. The Bonds shall be dated and issued in such denominations
all as determined by the Authorized Officer and confirmed by the Authorized Officer in the
Supplemental Order.

       (b)     The Bonds of each series shall mature on the April 1, 2037 or such other April 1
which is not in excess of 23 years from the Date of Original Issue and shall accrete in principal
amount, bear interest at the Interest Rate on a taxable or tax exempt basis, payable on the Interest


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Payment Dates, all as shall be determined and confirmed by the Authorized Officer in the
Supplemental Order. The Bonds shall be subject to mandatory sinking fund redemption on
April 1 in the years and in the Accretion Values set forth in the form of Bond provided in Section
307 hereof. Unless otherwise provided by the Authorized Officer in the Supplemental Order,
interest on the Bonds shall be calculated on the basis of the actual number of days elapsed in a
360 day year. The Bonds shall be payable, as to principal and interest, in lawful money of the
United States of America.

        (c)     The Bonds shall also accrete in principal amount at the Accretion Rate starting
from the Date of Original Issue and compounded semiannually on each Accretion Date until the
Conversion Date. Thereafter, the Bonds at their Accretion Value shall bear interest at the
Interest Rate on a taxable or tax exempt basis, payable on a current basis on the Interest Payment
Dates, all as shall be determined and confirmed by the Authorized Officer in the Supplemental
Order.

        (d)     Except as may be otherwise determined by the Authorized Officer in the
Supplemental Order, interest on the Bonds shall be payable to the Registered Owner as of the
15th day of the month, whether or not a Business Day (a “Regular Record Date”), prior to each
Interest Payment Date. Interest on the Bonds shall be payable to such Registered Owners by
check or draft drawn on the Paying Agent on each Interest Payment Date and mailed by first
class mail or, upon the written request of the Owner of $1,000,000 or more in aggregate principal
amount of Bonds (with complete wiring instructions no later than the Regular Record Date for
such Interest Payment Date), by wire transfer by the Paying Agent to such Owner. Such a
request may provide that it will remain in effect with respect to subsequent Interest Payment
Dates unless and until changed or revoked at any time prior to a Regular Record Date by
subsequent written notice to the Paying Agent.

         (e)    Interest on Bonds not punctually paid or duly provided for on an Interest Payment
Date shall forthwith cease to be payable to the Registered Owners on the Regular Record Date
established for such Interest Payment Date, and may be paid to the Registered Owners as of the
close of business on a date fixed by the Paying Agent (a “Special Record Date”) with respect to
the payment of such defaulted interest to be fixed by the Paying Agent, or may be paid at any
time in any other lawful manner. The Paying Agent shall give notice to the Registered Owners
at least seven days before any such Special Record Date.

        (f)     The principal of the Bonds shall be payable to the Registered Owners of the
Bonds upon the presentation of the Bonds to the Paying Agent at the principal corporate trust
office of the Paying Agent.

        (g)    The Bonds shall be subject to redemption prior to maturity or shall not be subject
thereto, upon such terms and conditions as shall be determined by the Authorized Officer and
confirmed in the Supplemental Order, provided, however, that redemption at the option of the
City prior to maturity may occur on any Interest Payment Date for which notice is given as
provided herein and such redemption shall be in whole.

      Unless waived by any registered owner of Bonds to be redeemed, official notice of
redemption shall be given by the Paying Agent on behalf of the City. Such notice shall be dated


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and shall contain at a minimum the following information: original issue date; maturity dates;
interest rates, CUSIP numbers, if any; certificate numbers, and in the case of partial redemption,
the called amounts of each certificate; the redemption date; the redemption price or premium; the
place where Bonds called for redemption are to be surrendered for payment; and that interest on
Bonds or portions thereof called for redemption shall cease to accrue from and after the
redemption date.

        In addition, further notice shall be given by the Paying Agent in such manner as may be
required or suggested by regulations or market practice at the applicable time, but no defect in
such further notice nor any failure to give all or any portion of such further notice shall in any
manner defeat the effectiveness of a call for redemption if notice thereof is given as prescribed
herein.

       Section 303. Execution, Authentication and Delivery of Bonds. The Bonds shall be
executed in the name of the City by the manual or facsimile signatures of the Emergency
Manager and the Finance Director of the City and authenticated by the manual signature of the
Finance Director or an authorized representative of the Paying Agent, as the case may be, and a
facsimile of the seal of the City shall be imprinted on the Bonds. Additional Bonds bearing the
manual or facsimile signatures of the Emergency Manager or Mayor of the City and the Finance
Director, and upon which the facsimile of the seal of the City is imprinted may be delivered to
the Paying Agent for authentication and delivery in connection with the exchange or transfer of
Bonds. The Paying Agent shall indicate on each Bond the date of its authentication.

        Section 304. Authentication of the Bonds. (a) No Bond shall be entitled to any benefit
under this Order or be valid or obligatory for any purpose unless there appears on such Bond a
Certificate of Authentication substantially in the form provided for in Section 307 of this Order,
executed by the manual or facsimile signature of the Finance Director or by an authorized
signatory of the Paying Agent by manual signature, and such certificate upon any Bond shall be
conclusive evidence, and the only evidence, that such Bond has been duly authenticated and
delivered hereunder.

       (b)     The Paying Agent shall manually execute the Certificate of Authentication on
each Bond upon receipt of a written direction of the Authorized Officer of the City to
authenticate such Bond.

        Section 305. Transfer of Registration and Exchanges on the Bonds. (a) The registration
of each Bond is transferable only upon the Bond Registry by the Registered Owner thereof, or by
his attorney duly authorized in writing, upon the presentation and surrender thereof at the
designated corporate trust office of the Paying Agent together with a written instrument of
transfer satisfactory to the Paying Agent, duly executed by the Registered Owner thereof or his
attorney duly authorized in writing, and thereupon one or more fully executed and authenticated
Bonds in any authorized denominations of like maturity and tenor, in equal aggregate principal
amount shall be issued to the transferee in exchange therefor.

       (b)     Each Bond may be exchanged for one or more Bonds in equal aggregate principal
amount of like maturity and tenor in one or more authorized denominations, upon the
presentation and surrender thereof at the principal corporate trust office of the Paying Agent


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together with a written instrument of transfer satisfactory to the Paying Agent, duly executed by
the Registered Owner hereof or his attorney duly authorized in writing.

        Section 306. Regulations with Respect to Exchanges and Transfers. (a) In all cases in
which the privilege of exchanging Bonds or transferring the registration of Bonds is exercised,
the City shall execute and the Paying Agent shall authenticate and deliver Bonds in accordance
with the provisions of this Order. All Bonds surrendered in any such exchanges or transfers shall
be forthwith canceled by the Paying Agent.

       (b)     For every exchange or transfer of Bonds, the City or the Paying Agent may make
a charge sufficient to reimburse it for any tax, fee or other governmental charge required to be
paid with respect to such exchange or transfer and, except as otherwise provided in this Order,
may charge a sum sufficient to pay the costs of preparing each new Bond issued upon such
exchange or transfer, which shall be paid by the person requesting such exchange or transfer as a
condition precedent to the exercise of the privilege of making such exchange or transfer.

        (c)     The Paying Agent shall not be required (i) to issue, register the transfer of or
exchange any Bond during a period beginning at the opening of business 15 days before the day
of the giving of a notice of redemption of Bonds selected for redemption as described in the form
of Bonds contained in Section 307 of this Order and ending at the close of business on the day of
that giving of notice, or (ii) to register the transfer of or exchange any Bond so selected for
redemption in whole or in part, except the unredeemed portion of Bonds being redeemed in part.
The City shall give the Paying Agent notice of call for redemption at least 20 days prior to the
date notice of redemption is to be given.

        Section 307. Form of the Bonds. The Bonds shall be in substantially the following form
with such insertions, omissions, substitutions and other variations as shall not be inconsistent
with this Order or as approved by an Authorized Officer in the Supplemental Order:




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                                        [Forms of Bonds]

[Unless this certificate is presented by an authorized representative of The Depository Trust
Company, a New York corporation (“DTC”) to the City (as hereinafter defined), or its agent for
registration of transfer, exchange, or payment and any certificate issued is registered in the name
of Cede & Co. or in such other name as is requested by an authorized representative of DTC (and
any payment is made to Cede & Co. or to such other entity as is requested by an authorized
representative of DTC), ANY TRANSFER, PLEDGE, OR OTHER USE HEREOF FOR
VALUE OR OTHERWISE BY OR TO ANY PERSON IS WRONGFUL inasmuch as the
registered owner hereof, Cede & Co., has an interest herein.]

                               UNITED STATES OF AMERICA
                                  STATE OF MICHIGAN
                                   COUNTY OF WAYNE

                                      CITY OF DETROIT
                               FINANCIAL RECOVERY BOND
                  (LIMITED TAX GENERAL OBLIGATION), SERIES 2014


Maturity Date                 Date of Original Issue                CUSIP

April 1, 20__                 ___________, 2014

Registered Owner:

Original Principal Amount:                                                                 Dollars

         The City of Detroit, County of Wayne, State of Michigan (the “City”), acknowledges
itself to owe and for value received hereby promises to pay to the Registered Owner specified
above, or registered assigns, the Accretion Value specified below, in lawful money of the United
States of America, on the Maturity Date specified above, unless prepaid prior thereto as
hereinafter provided, with interest thereon at the Interest Rate of 5.0% per annum from the Date
of Original Issue specified above until the tenth (10th) anniversary of the Date of Original Issue
(the “Conversion Date”), and thereafter at an Interest Rate of 5.65% per annum on Accretion
Value prior to the next Accretion Date, until the Maturity Date specified above or until the
Accretion Value is paid in full. Interest is payable semiannually on April 1 and October 1 in
each year commencing on ____________ (each an “Interest Payment Date”). The interest so
payable, and punctually paid or duly provided for, will be paid, as provided in the hereinafter
defined Order, to the person in whose name this Bond is registered on the books maintained for
such purpose by the hereinafter defined Paying Agent (the “Bond Registry”), on the close of
business on the Regular Record Date for such interest payment, which shall be the fifteenth day
(whether or not a Business Day) of the calendar month immediately preceding such Interest
Payment Date. Any such interest not so punctually paid or duly provided for shall herewith
cease to be payable to the Registered Owner on such Regular Record Date, and may be paid to


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the person in whose name this Bond is registered at the close of business on a Special Record
Date for the payment of such defaulted interest to be fixed by the Paying Agent, notice of which
shall be given to Registered Owners at least seven days before such Special Record Date, or may
be paid at any time in any other lawful manner. The bonds of this series shall also accrete in
value at an Accretion Rate of 0.65% per annum, compounded semiannually on each April 1 and
October 1 to the Accreted Value as of any date of calculation (as hereinafter set forth), until the
Conversion Date. Thereafter, the Bonds at their Accreted Value in principal amount shall pay
current interest at the Interest Rate of 5.65% per annum, payable semiannually on each Interest
Payment Date. Capitalized terms used herein but not defined herein, shall have the meanings
ascribed to them in the Order.

     THE BELOW CHART OF ACCRETION VALUES OF THIS BOND PER $5,000
ORIGINAL PRINCIPAL AMOUNT WILL REQUIRE MODIFICATION IF THE BONDS
ARE ISSUED ON A DATE OTHER THAN 10/01/14 BASED ON INTEREST
CALCULATIONS AT 0.65% ANNUALLY.

                                    Chart of Accretion Values
                           Accretion Date         Accretion Amount
                           04/01/2015                     $5,016.25
                           10/01/2015                      5,032.55
                           04/01/2016                      5,048.91
                           10/01/2016                      5,065.32
                           04/01/2017                      5,081.78
                           10/01/2017                      5,098.30
                           04/01/2018                      5,114.87
                           10/01/2018                      5,131.49
                           04/01/2019                      5,148.17
                           10/01/2019                      5,164.90
                           04/01/2020                      5,181.68
                           10/01/2020                      5,198.52
                           04/01/2021                      5,215.42
                           10/01/2021                      5,232.37
                           04/01/2022                      5,249.37
                           10/01/2022                      5,266.43
                           04/01/2023                      5,283.55
                           10/01/2023                      5,300.72
                           04/01/2024                      5,317.95
                           10/01/2024                      5,335.23
                           Thereafter                      5,335.23

      The Accretion Value of this Bond is payable in lawful money of the United States of
America upon presentation and surrender of this Bond at the designated corporate trust office of
________________________________, __________, __________, as registrar, transfer agent
and paying agent under the Order (such bank and any successor as paying agent, the “Paying
Agent”). Interest on this Bond is payable in like money by check or draft drawn on the Paying


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Agent and mailed to the Registered Owner entitled thereto, as provided above, by first class mail
or, upon the written request of a Registered Owner of at least $1,000,000 in aggregate principal
amount of Bonds (with complete wiring instructions no later than the Regular Record Date for
such Interest Payment Date), by wire transfer by the Paying Agent to such Registered Owner,
and such request may provide that it will remain in effect with respect to subsequent Interest
Payment Dates unless and until changed or revoked at any time prior to a Regular Record Date
by subsequent written notice to the Paying Agent. Interest shall be computed on the basis of a
360-day year consisting of twelve 30 day months. For prompt payment of this Bond, both
principal and interest, the full faith, credit and resources of the City are hereby irrevocably
pledged.

        This bond is one of a series of bonds aggregating the principal sum of $__________,
issued under and in full compliance with the Constitution and statutes of the State of Michigan,
and particularly Section 36a of Act No. 279, Public Acts of Michigan, 1909, as amended (“Act
279”), for the purpose of satisfying certain LTGO Claims, as defined in the Order. Pursuant to
the Order, the bonds of this series (the “Bonds”) are limited tax general obligations of the City,
and the City is obligated to levy annually ad valorem taxes on all taxable property in the Issuer,
subject to applicable constitutional, statutory and charter tax rate limitations.

       The “Order” is an Order of the Emergency Manager issued on ________, 2014,
supplemented by a Supplemental Order of an Authorized Officer of the City issued on
___________, 2014, authorizing the issuance of the Bonds.

       The bonds of this series shall be subject to redemption prior to maturity as follows:

        (a) Optional Redemption. The Bonds are subject to redemption prior to maturity, in
whole, at the option of the Issuer, on any Interest Payment Date after the Date of Original Issue,
at a redemption price equal to the Accretion Value as of the date of redemption plus accrued
interest to the date fixed for redemption.

       (b) Mandatory Redemption.

        The Bonds shall be subject to mandatory redemption, in part, by lot, on the redemption
dates and in the Accretion Values set forth below, and at a redemption price equal to the
Accretion Value thereof as of the date of redemption, without premium, plus accrued interest to
the date fixed for redemption.




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                          Redemption Date              Principal
                           October 1                   Amount

                             2020                       $2,000,000
                             2021                        2,000,000
                             2022                        2,000,000
                             2023                        2,000,000
                             2024                        2,000,000
                             2025                        3,735,115
                             2026                        3,735,115
                             2027                        3,735,115
                             2028                        3,735,115
                             2029                        3,735,115
                             2030                        3,735,115
                             2031                        3,735,115
                             2032                        3,735,115
                             2033                        3,735,115
                             2034                        3,735,115
                             2035                        3,735,115
                             2036                        3,735,115
                             2037*                       3,735,115


               *Final Maturity

       The Accretion Value of the Bonds to be redeemed on the dates set forth above shall be
reduced by the Accretion Value of Term Bonds that has been redeemed (other than by
mandatory sinking fund redemption) or otherwise acquired by the City and delivered to the
Paying Agent prior to giving the notice of redemption described below. The City may satisfy any
mandatory redemption requirement by the purchase and surrender of Term Bonds of the same
maturity and interest rate in lieu of calling such Term Bonds for mandatory redemption.

        General Redemption Provisions. In case less than the full amount of an outstanding bond
is called for redemption, the Paying Agent, upon presentation of the bond called for redemption,
shall register, authenticate and deliver to the registered owner of record a new bond in the
principal amount of the portion of the original bond not called for redemption.

        Notice of redemption shall be given to the registered owners of Bonds or portions thereof
called for redemption by mailing of such notice not less than thirty (30) days but not more than
sixty (60) days prior to the date fixed for redemption to the registered address of the registered
owner of record. Bonds or portions thereof so called for redemption shall not bear interest after
the date fixed for redemption, whether presented for redemption or not, provided funds are on
hand with the Paying Agent to redeem such Bonds.

       Reference is hereby made to the Order for the provisions with respect to the nature and
extent of the security for the Bonds, the manner and enforcement of such security, the rights,


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duties and obligations of the City, and the rights of the Paying Agent and the Registered Owners
of the Bonds. As therein provided, the Order may be amended in certain respects without the
consent of the Registered Owners of the Bonds. A copy of the Order is on file and available for
inspection at the office of the Finance Director and at the principal corporate trust office of the
Paying Agent.

        The City and the Paying Agent may treat and consider the person in whose name this
Bond is registered on the Bond Registry as the absolute owner hereof, whether this Bond shall be
overdue or not, for the purpose of receiving payment of, or on account of, the principal hereof
and interest hereon and for all other purposes whatsoever, and all such payments so made to such
person or upon his order shall be valid and effectual to satisfy and discharge the liability hereon
to the extent of the sum or sums so paid.

        The registration of this Bond is transferable only upon the Bond Registry by the
Registered Owner hereof or by his attorney duly authorized in writing upon the presentation and
surrender hereof at the designated corporate trust office of the Paying Agent together with a
written instrument of transfer satisfactory to the Paying Agent, duly executed by the Registered
Owner hereof or his attorney duly authorized in writing, and thereupon one or more fully
executed and authenticated Bonds in any authorized denominations of like maturity and tenor, in
equal aggregate principal amount shall be issued to the transferee in exchange therefor as
provided in the Order upon the payment of the charges, if any, therein prescribed.

        It is hereby certified, recited and declared that all acts, conditions and things required by
law to exist, happen and to be performed, precedent to and in the issuance of the Bonds do exist,
have happened and have been performed in due time, form and manner as required by the
Constitution and statutes of the State of Michigan, and that the total indebtedness of the City,
including the Bonds does not exceed any constitutional, statutory or charter limitation.

       This Bond is not valid or obligatory for any purpose until the Paying Agent’s Certificate
of Authentication on this Bond has been executed by the Paying Agent.




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       IN WITNESS WHEREOF, the City of Detroit, by its Emergency Manager, has caused
this bond to be signed in the name of the City by the facsimile signatures of its Emergency
Manager and Finance Director of the City, and a facsimile of its corporate seal to be printed
hereon, all as of the Date of Original Issue.

                                           CITY OF DETROIT

                                           By:
                                                  Emergency Manager


                                           By:
                                                  Finance Director

(SEAL)




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                   (Form of Paying Agent’s Certificate of Authentication)


DATE OF AUTHENTICATION:


                         CERTIFICATE OF AUTHENTICATION

      This bond is one of the bonds described in the within-mentioned Order.



__________________________
__________________________
___________, Michigan
Paying Agent



By:
      Authorized Signatory




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                                        ASSIGNMENT

       FOR VALUE RECEIVED the undersigned hereby sells, assigns and transfers unto



______________________________________________________________________________
                (Please print or typewrite name and address of transferee)


        the within bond and all rights thereunder, and hereby irrevocably constitutes and appoints
___________________________ attorney to transfer the within bond on the books kept for
registration thereof, with full power of substitution in the premises.

Dated:                                                _____________________________________
_______________________________                       _____________________________________

Signature Guaranteed:                                 NOTICE: The signature(s) to this assignment
                                                      must correspond with the name as it appears
                                                      upon the face of the within bond in every
                                                      particular, without alteration or enlargement
                                                      or any change whatever. When assignment is
                                                      made by a guardian, trustee, executor or
                                                      administrator, an officer of a corporation, or
                                                      anyone in a representative capacity, proof of
                                                      such person’s authority to act must
                                                      accompany the bond.



       Signature(s) must be guaranteed by a commercial bank or trust company or by a
brokerage firm having a membership in one of the major stock exchanges. The transfer agent
will not effect transfer of this bond unless the information concerning the transferee requested
below is provided.
                                                        Name and Address: ________________
PLEASE INSERT SOCIAL                                   __________________________________
SECURITY NUMBER OR OTHER                               __________________________________
IDENTIFYING NUMBER OF                                    (Include information for all joint owners
TRANSFEREE.                                                 if the bond is held by joint account.)


(Insert number for first named
transferee if held by joint account.)




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       Section 308. Registration. The City and the Paying Agent may treat and consider the
Registered Owner of any Bond as the absolute owner of such Bond, whether such Bond shall be
overdue or not, for the purpose of receiving payment of, or on account of, the principal (and
premium, if any) thereof and interest thereon and for all other purposes whatsoever, and all such
payments so made to such Bondowner or upon his order shall be valid and effectual to satisfy
and discharge the liability upon such Bond to the extent of the sum or sums so paid.

       Section 309. Mutilated, Destroyed, Stolen or Lost Bonds. (a) Subject to the provisions
of Act 354, Public Acts of Michigan, 1972, as amended and any other applicable law, if (i) any
mutilated Bond is surrendered to the Paying Agent or the City and the Paying Agent and the City
receive evidence to their satisfaction of the destruction, loss or theft of any Bond and (ii) there is
delivered to the City and the Paying Agent such security or indemnity as may be required by
them to save each of them harmless, then, in the absence of notice to the City or the Paying
Agent that such Bond has been acquired by a bona fide purchaser, the City shall execute and the
Paying Agent shall authenticate and deliver in exchange for or in lieu of any such mutilated,
destroyed, lost or stolen Bond, a new Bond of like tenor and principal amount, bearing a number
not contemporaneously outstanding.

      (b)    If any such mutilated, destroyed, lost or stolen Bond has become or is about to
become due and payable, the City in its discretion may, instead of issuing a new Bond, pay such
Bond.

        (c)    Any new Bond issued pursuant to this Section in substitution for a Bond alleged
to be mutilated, destroyed, stolen or lost shall constitute an original additional contractual
obligation on the part of the City, and shall be equally secured by and entitled to equal
proportionate benefits with all other Bonds issued under this Order.

        Section 310. Book-Entry-Only System Permitted. (a) If determined by the Authorized
Officer in the Supplemental Order, the Bonds or portions of the Bonds shall be issued to a
securities depository selected by the Authorized Officer (the “Security Depository”) to be held
pursuant to the book-entry-only system maintained by the Security Depository and registered in
the name of the Security Depository or its nominee. Ownership interests in Bonds held under
such book-entry-only system shall be determined pursuant to the procedures of the Security
Depository and Article 8 of the applicable Uniform Commercial Code (such persons having such
interests, “Beneficial Owners”).

         (b)    If (i) the City and the Paying Agent receive written notice from the Security
Depository to the effect that the Security Depository is unable or unwilling to discharge its
responsibilities with respect to the Bonds under the book-entry-only system maintained by it or
(ii) the Authorized Officer determines that it is in the best interests of the Beneficial Owners that
they be able to obtain Bonds in certificated form, then the City may so notify the Security
Depository and the Paying Agent, and, in either event, the City and the Paying Agent shall take
appropriate steps to provide the Beneficial Owners with Bonds in certificated form to evidence
their respective ownership interests in the Bonds. Whenever the Security Depository requests
the City and the Paying Agent to do so, the Authorized Officer on behalf of the City and the
Paying Agent will cooperate with the Security Depository in taking appropriate action after



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reasonable notice to make available Bonds registered in whatever name or names the Beneficial
Owners transferring or exchanging Bonds shall designate.

      (c)     Notwithstanding any other provision of the Order to the contrary, so long as the
Bonds are held pursuant to the book-entry-only system maintained by the Security Depository:

               (i)    all payments with respect to the principal and interest on such Bonds and
       all notices with respect to such Bonds shall be made and given, respectively, to the
       Security Depository as provided in the representation letter from the City and the Paying
       Agent to the Security Depository with respect to such Bonds; and

             (ii)    all payments with respect to principal of the Bonds and interest on the
       Bonds shall be made in such manner as shall be prescribed by the Security Depository.

                                         ARTICLE IV

                                  FUNDS AND ACCOUNTS

        Section 401. Establishment of Accounts and Funds. (a) The City hereby establishes and
creates the Debt Retirement Fund as a special, separate and segregated account and fund which
shall be held for and on behalf of the City by the Paying Agent.

       (b)     The Finance Director is hereby authorized to establish such additional accounts,
subaccounts or funds as shall be required for the Bonds, to accommodate the requirements of
such series of Bonds.

        Section 402. Debt Retirement Fund. General funds of the City, proceeds of all taxes
levied pursuant to Section 301 hereof shall be used to pay the principal of and interest on the
Bonds when due. The City shall set aside in the Debt Retirement Fund each month, (i) beginning
the first day of the first month following the date of delivery of the Bonds, an amount equal to
1/6 of the interest coming due on the Bonds on the next Interest Payment Date and, (ii) beginning
on the first day of the first month which is 11 months prior to the date on which the first
mandatory sinking fund redemption occurs, an amount equal to 1/12 of the principal or
Accretion Value coming due on the next mandatory sinking fund redemption date for the Bonds
The foregoing amounts shall be placed in the Debt Retirement Fund and held in trust by the
Paying Agent, and so long as the principal or Accretion Value of or interest on the Bonds shall
remain unpaid, no moneys shall be withdrawn from the Debt Retirement Fund except to pay such
principal or Accretion Value and interest. Any amounts remaining in the Debt Retirement Fund
after payment in full of the Bonds and the fees and expenses of the Paying Agent shall be
retained by the City to be used for any lawful purpose.

       Section 403. Investment of Monies in the Funds and Accounts. (a) The Finance Director
shall direct the investment of monies on deposit in the Funds and Accounts established
hereunder, and the Paying Agent, upon written direction or upon oral direction promptly
confirmed in writing by the Finance Director, shall use its best efforts to invest monies on
deposit in the Funds and Accounts in accordance with such direction.




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       (b)    Monies on deposit in the Funds and Accounts may be invested in such
investments and to the extent permitted by applicable law.

                                           ARTICLE V

                                     THE PAYING AGENT

        Section 501. Paying Agent. The Paying Agent for the Bonds shall act as bond registrar,
transfer agent and paying agent for the Bonds and shall be initially ____________
____________________, Detroit, Michigan, or such other bank or trust company located in the
State which is qualified to act in such capacity under the laws of the United States of America or
the State. The Paying Agent means and includes any company into which the Paying Agent may
be merged or converted or with which it may be consolidated or any company resulting from any
merger, conversion or consolidation to which it shall be a party or any company to which the
Paying Agent may sell or transfer all or substantially all of its corporate trust business, provided,
that such company shall be a trust company or bank which is qualified to be a successor to the
Paying Agent as determined by an Authorized Officer, shall be authorized by law to perform all
the duties imposed upon it by this Order, and shall be the successor to the Paying Agent without
the execution or filing of any paper or the performance of any further act, anything herein to the
contrary notwithstanding. An Authorized Officer is authorized to enter into an agreement with
such a bank or trust company, and from time to time as required, may designate a similarly
qualified successor Paying Agent and enter into an agreement therewith for such services.

                                          ARTICLE VI

                     SUPPLEMENTAL ORDERS AND RESOLUTIONS

       Section 601. Supplemental Orders and Resolutions Not Requiring Consent of Holders of
the Bonds. The City may without the consent of any Bondowner adopt orders or resolutions
supplemental to this Order for any one or more of the following purposes:

       (i)     to confirm or further assure the security hereof or to grant or pledge to the holders
               of the Bonds any additional security;

       (ii)    to add additional covenants and agreements of the City for the purposes of further
               securing the payment of the Bonds;

       (iii)   to cure any ambiguity or formal defect or omission in this Order; and

       (iv)    such other action not materially, adversely and directly affecting the security of
               the Bonds.

provided that (A) no supplemental order or resolution amending or modifying the rights or
obligations of the Paying Agent shall become effective without the consent of the Paying Agent
and (B) the effectiveness of any supplemental resolution is subject to Section 702 to the extent
applicable.




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        Section 602. Bond Counsel Opinion. Before any supplemental order or resolution under
this Article shall become effective, a copy thereof shall be filed with the Paying Agent, together
with an opinion of Bond Counsel that such supplemental order or resolution is authorized or
permitted by this Article; provided that, Bond Counsel in rendering any such opinion shall be
entitled to rely upon certificates of an Authorized Officer or other City official, and opinions or
reports of consultants, experts and other professionals retained by the City to advise it, with
respect to the presence or absence of facts relative to such opinion and the consequences of such
facts.

                                         ARTICLE VII

                                        DEFEASANCE

        Section 701. Defeasance. Bonds shall be deemed to be paid in full upon the deposit in
trust of cash or direct obligations of, or obligations the principal of and interest on which are
unconditionally guaranteed by, the United States of America, or any combination thereof, not
redeemable at the option of the issuer thereof, the principal and interest payments upon which,
without reinvestment thereof, will come due at such times and in such amounts, as to be fully
sufficient to pay when due, the principal of such Bonds and interest to accrue thereon, as
confirmed by a verification report prepared by an independent certified public accountant;
provided, that if any of such Bonds are to be called for redemption prior to maturity, irrevocable
instructions to call such Bonds for redemption shall be given to the Paying Agent. Such cash and
securities representing such obligations shall be deposited with a bank or trust company and held
for the exclusive benefit of the Owners of such Bonds. After such deposit, such Bonds shall no
longer be entitled to the benefits of this Order (except for any rights of transfer or exchange of
Bonds as therein or herein provided for) and shall be payable solely from the funds deposited for
such purpose and investment earnings, if any, thereon, and the lien of this Order for the benefit
of such Bonds shall be discharged.

                                        ARTICLE VIII

                  OTHER PROVISIONS OF GENERAL APPLICATION

       [Section 801. Reserved]

       Section 802. Approval of Other Documents and Actions. The Mayor, the Finance
Director, the Treasurer, the City Clerk and any written designee of the Emergency Manager are
each hereby authorized and directed on behalf of the City to take any and all other actions,
perform any and all acts and execute any and all documents that shall be required, necessary or
desirable to implement this Order.

        Section 803. Delegation of City to, and Authorization of Actions of Authorized Officers.
(a) Each Authorized Officer is hereby authorized and directed to do and perform any and all acts
and things with respect to the Bonds which are necessary and appropriate to carry into effect,
consistent with this Order, the authorizations therein and herein contained, including without
limitation, the securing of ratings by bond rating agencies, if cost effective, the negotiation for
and acquisition of bond insurance and/or other credit enhancement, if any, to further secure the


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Bonds or any portions thereof, the acquisition of an irrevocable surety bond to fulfill the City’s
obligation to fund any reserve account, the printing of the Bonds and the incurring and paying of
reasonable fees, costs and expenses incidental to the foregoing and other costs of issuance of the
Bonds including, but not limited to fees and expenses of bond counsel, financial advisors,
accountants and others, from available funds, for and on behalf of the City.

       (b)     Except as otherwise provided herein, all determinations and decisions of the
Authorized Officer with respect to the issuance and sale of the Bonds or the negotiation,
execution or delivery of agreements as permitted or required by this Order shall be confirmed by
this Authorized Officer in a Supplemental Order or Supplemental Orders, and such
confirmations shall constitute determinations that any conditions precedent to such
determinations and decisions of the Authorized Officer have been fulfilled.

       Section 804. Approving Legal Opinions with Respect to the Bonds. Delivery of the
Bonds shall be conditioned upon receiving, at the time of delivery of the Bonds; the approving
opinion of Bond Counsel, approving legality of the Bonds.

       Section 805. Appointment of Bond Counsel; Engagement of Other Parties.                  The
appointment by the Emergency Manager of the law firm of Miller, Canfield, Paddock and Stone,
P.L.C. of Detroit, Michigan, as Bond Counsel for the Bonds is hereby ratified and confirmed,
notwithstanding the periodic representation by Miller, Canfield, Paddock and Stone, P.L.C., in
unrelated matters of other parties and potential parties to the issuance of the Bonds. The fees and
expenses of Miller, Canfield, Paddock and Stone, P.L.C. as Bond Counsel and other accumulated
bond related fees and expenses shall be payable from available funds in accordance with the
agreement of such firm on file with the Finance Director.

        Section 806. Preservation of Records. So long as any Bond remains Outstanding, all
documents received by the Paying Agent under the provisions of this Order shall be retained in
its possession and shall be subject at all reasonable times to the inspection of the City, and the
Bondowners, and their agents and representatives, any of whom may make copies thereof.

        Section 807. Parties in Interest. Nothing in this Order, expressed or implied, is intended
or shall be construed to confer upon, or to give to, any person or entity, other than the City, the
Paying Agent and the Owners of the Bonds, any right, remedy or claim under or by reason of this
Order or any covenant, condition or stipulation hereof, and all covenants, stipulations, promises
and agreements in this Order contained by and on behalf of the City or Paying Agent shall be for
the sole and exclusive benefit of the City, the Paying Agent and the Bondowners.

        Section 808. No Recourse Under Order. All covenants, agreements and obligations of
the City contained in this Order shall be deemed to be the covenants, agreements and obligations
of the City and not of any councilperson, member, officer or employee of the City in his or her
individual capacity, and no recourse shall be had for the payment of the principal of or interest
on the Bonds or for any claim based thereon or on this Order against any councilperson, member,
officer or employee of the City or any person executing the Bonds in his or her official
individual capacity.




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       Section 809. Severability. If any one or more sections, clauses or provisions of this
Order shall be determined by a court of competent jurisdiction to be invalid or ineffective for any
reason, such determination shall in no way affect the validity and effectiveness of the remaining
sections, clauses and provisions hereof.

        Section 810. Cover Page, Table of Contents and Article and Section Headings. The
cover page, table of contents and Article and Section headings hereof are solely for convenience
of reference and do not constitute a part of this Order, and none of them shall affect its meaning,
construction or effect.

       Section 811. Conflict. All orders or resolutions or parts of orders or resolutions or other
proceedings of the City in conflict herewith shall be and the same hereby are repealed insofar as
such conflict exists.

       Section 812. Governing Law and Jurisdiction. This Order shall be governed by and
construed in accordance with the laws of the State.

       Section 813. Order and Supplemental Order are a Contract. The provisions of this Order
and the Supplemental Order shall constitute a contract between the City, the Paying Agent, and
the Bondowners.

       Section 814. Effective Date. This Order shall take effect immediately upon its adoption
by the Council.

        Section 815. Notices. All notices and other communications hereunder shall be in
writing and given by United States certified or registered mail, expedited courier overnight
delivery service or by other means (including facsimile transmission) that provides a written
record of such notice and its receipt. Notices hereunder shall be effective when received and
shall be addressed to the address set forth below or to such other address as any of the below
persons shall specify to the other persons:


If to the City, to:                          City of Detroit
                                             Finance Department
                                             1200 Coleman A. Young Municipal Center
                                             Detroit, Michigan 48226
                                             Attention: Finance Director


If to the Paying Agent, to:                  U.S. Bank National Association
                                             ____________________
                                             ____________________
                                             Attention: _____________________




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         SO ORDERED this ____ day of ____________, 2014.

                                         __________________________________________
                                            Kevyn D. Orr
                                            Emergency Manager
                                            City of Detroit, Michigan




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                         PRINCIPAL TERMS OF NEW B NOTES




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                                              NEW B NOTES
                                       SUMMARY OF PRINCIPAL TERMS1

        On the Effective Date, the City shall issue the New B Notes and distribute them as set forth in the Plan.
The definitive documentation governing the New B Notes shall provide generally for the following terms:

                                   The City's obligations with respect to the New B Notes shall be a general and
Obligation
                                   unsecured obligation of the City.

Initial Principal Amount           $632.0 million.

Interest Rate                      4.0% for the first 20 years; 6.0% for years 21 through 30.

Maturity                           30 years.

                                   Interest only for 10 years; amortization in 20 equal annual installments beginning
Amortization
                                   on the interest payment date nearest to the 11th anniversary from issuance.

                                   The City will provide a continuing disclosure undertaking under 17 C.F.R.
Disclosure
                                   § 240.15c2-12 in connection with the delivery of the New B Notes.




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           Capitalized terms not otherwise defined herein shall have the meaning given to them in the Plan.




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                        FORM OF NEW B NOTES DOCUMENTS




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      ORDER OF THE EMERGENCY MANAGER OF THE CITY OF DETROIT,
      COUNTY OF WAYNE, STATE OF MICHIGAN, AUTHORIZING THE
      ISSUANCE BY THE CITY OF DETROIT OF NOT TO EXCEED $632,000,000
      FINANCIAL RECOVERY BONDS IN ONE OR MORE SERIES FOR THE
      PURPOSE OF SATISFYING CERTAIN UNSECURED CLAIMS AS
      PROVIDED IN THE BANKRUPTCY CASE PLAN OF ADJUSTMENT; AND
      AUTHORIZING THE EMERGENCY MANAGER TO MAKE CERTAIN
      DETERMINATIONS AND TO TAKE CERTAIN ACTIONS IN CONNECTION
      WITH THE DELIVERY AND EXCHANGE OF SAID BONDS TO THE
      HOLDERS OF SAID CLAIMS.




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       ORDER OF THE EMERGENCY MANAGER OF THE CITY OF DETROIT,
       COUNTY OF WAYNE, STATE OF MICHIGAN, AUTHORIZING THE
       ISSUANCE BY THE CITY OF DETROIT OF NOT TO EXCEED $632,000,000
       FINANCIAL RECOVERY BONDS IN ONE OR MORE SERIES FOR THE
       PURPOSE OF SATISFYING CERTAIN UNSECURED CLAIMS AS
       PROVIDED IN THE BANKRUPTCY CASE PLAN OF ADJUSTMENT; AND
       AUTHORIZING THE EMERGENCY MANAGER TO MAKE CERTAIN
       DETERMINATIONS AND TO TAKE CERTAIN ACTIONS IN CONNECTION
       WITH THE DELIVERY AND EXCHANGE OF SAID BONDS TO THE
       HOLDERS OF SAID CLAIMS.


        WHEREAS, on March 1, 2013, the Governor (the “Governor”) of the State of Michigan
(the “State”) determined that a financial emergency existed within the City of Detroit, County of
Wayne, State of Michigan (the “City”) pursuant to the Local Government Fiscal Responsibility
Act, Act 72, Public Acts of Michigan, 1990, as amended (“Act 72”); and

       WHEREAS, on March 14, 2013, the Governor confirmed that a financial emergency ex-
isted within the City and, pursuant to Act 72, assigned to the Local Emergency Financial
Assistance Loan Board established pursuant to the Emergency Municipal Loan Act, Act 243
Public Acts of Michigan, 1980, as amended (the “Board”) the responsibility for managing the
financial emergency; and

      WHEREAS, on March 14, 2013, pursuant to Act 72, the Board appointed Kevyn D. Orr
as Emergency Financial Manager for the City; And

       WHEREAS, by operation of law the financial emergency continues to exist within the
City pursuant to the Local Financial Stability and Choice Act, Act 436, Public Acts of Michigan,
2012 (“Act 436”) and the Emergency Financial Manager continues in the capacity of the
Emergency Manager for the City (the “Emergency Manager”); and

       WHEREAS, on July 18, 2013 (the “Petition Date”), in accordance with Act 436 and the
approval of the Governor, the Emergency Manager filed on behalf of the City a petition for relief
pursuant to Chapter 9 of title 11 of the United States Code, 11 U.S.C. Sections 101-1532 (as
amended, the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District
of Michigan (the “Bankruptcy Court”); and

       WHEREAS, on _________, 2014, the Emergency Manager filed on behalf of the City a
______ Amended Plan for the Adjustment of the Debts of the City of Detroit (now and as
subsequently amended, the “Plan of Adjustment”) in the Bankruptcy Court to provide for the
adjustment of the debts of the City pursuant to and in accordance with Chapter 9 of the
Bankruptcy Code; and

        WHEREAS, the Plan of Adjustment provides, among other things, for the satisfaction of
certain claims of unsecured creditors as set out in the Plan of Adjustment in exchange for the

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receipt of unsecured pro rata shares ( each a “Pro Rata Share”) of New B Notes (the “New B
Notes”); and

        WHEREAS, upon satisfaction of all of the terms and conditions required of the City
related to the confirmation of the Plan of Adjustment, the City shall establish the Business Day
upon which the Plan of Adjustment shall become effective (the “Effective Date”); and

       WHEREAS, on or as reasonably practicable after the Effective Date, the City shall
execute New B Notes Documents and issue New B Notes in the form of Financial Recovery
Bonds authorized under Section 36a of the Home Rule City Act, Act 279, Public Acts of
Michigan, 1909, as amended (“Act 279”) and this Order, and distribute the New B Notes, in the
form of the Financial Recovery Bonds, to the holders of the particular unsecured claims, as
provided in the Plan of Adjustment and described on Exhibit A hereto (collectively, the
“Claims”); and

       WHEREAS, the Emergency Manager of the City deems it necessary to authorize the
issuance of Financial Recovery Bonds in one or more series (the “Bonds”), in the aggregate
principal amount of not to exceed Six Hundred Thirty Two Million Dollars ($632,000,000)
pursuant to Section 36a of Act 279; and

        WHEREAS, the Bonds will be secured by a pledge of the City’s limited tax full faith and
credit; and

       WHEREAS, Section 36a of Act 279 authorizes a city, for which a financial emergency
has been determined to exist, such as the City, to borrow money and issue Financial Recovery
Bonds subject to the terms and conditions approved by the Board; and

       WHEREAS, the City must receive prior approval of the terms and conditions for the
issuance of the Bonds from the Board in accordance with Section 36a of Act 279; and

        WHEREAS, the Emergency Manager desires to submit this Order to the Board proposing
the issuance by the City of Financial Recovery Bonds, in one or more series, under Section 36a
of Act 279, to provide for a portion of the financing of the City under the Plan of Adjustment,
solely to satisfy the Claims [and to pay certain administrative and other costs related to the
issuance of the bonds, upon the terms and conditions and parameters approved by the Board;
and]

       WHEREAS, prior to submission of this Order to the Board, pursuant to Sections 12(1)(u)
and 19(i) of Act 436, the Emergency Manager must obtain approval of the issuance of the Bonds
by the City Council of the City (the “City Council”), and if the City Council disapproves the
issuance of the Bonds, the issuance of the Bonds must be approved by the Board.

       NOW, THEREFORE, BE IT ORDERED AS FOLLOWS:




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                                            ARTICLE I

                          DEFINITIONS AND INTERPRETATION


        Section 101. Definitions.    The words and terms defined in the preambles and recitals
hereof and the following words and terms as used in this Order shall have the meanings ascribed
therein, herein or in the Plan of Adjustment to them unless a different meaning clearly appears
from the context:

       “Act 243” means Act No. 243, Public Acts of Michigan, 1980, as amended.

       “Act 279” means Act No. 279, Public Acts of Michigan, 1909, as amended.

       “Act 436” means Act No. 436, Public Acts of Michigan, 2012.

       “Allowed Claims” has the meaning set forth in the Plan of Adjustment.

       “Allowed Limited Tax General Obligation Bond Claims” shall mean such claims under
Class 7 of the Plan of Adjustment.

       “Allowed Other Unsecured Claims” has the meaning set forth in the Plan of Adjustment.

       “Authorized Denominations” shall mean denominations of Bonds equal to multiples of
$1,000 or integral multiples of $1.00 in excess thereof.

        “Authorized Officer” means (i) the Emergency Manager or his designee or successor, or
if the City is no longer operating under a financial emergency pursuant to Act 436, the chief
administrative officer of the City, the Finance Director or his or her designee, or (ii) any other
person authorized by a Certificate of an Authorized Officer to act on behalf of or otherwise
represent the City in any legal capacity, which such certificate shall be delivered, if at all, in the
City’s sole discretion.

      “Bankruptcy Case” means the City’s Bankruptcy Case No. 13-53846 in the U.S.
Bankruptcy Court for the Eastern District of Michigan.

       “Bankruptcy Court” has the meaning set forth in the Plan of Adjustment.

       “Board” has the meaning set forth in recitals hereto.

        “Bond Counsel” means Miller, Canfield, Paddock and Stone, P.L.C., attorneys of Detroit,
Michigan, or such other nationally recognized firm of attorneys experienced in matters
pertaining to municipal bonds and appointed to serve in such capacity by the City with respect to
the Bonds.




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       “Bond” or “Bonds” means the Financial Recovery Bonds, Series 2014B of the City
authorized to be issued by the Order in the aggregate principal amount not to exceed
$632,000,000, in one or more series, and bearing such other designations as determined by the
Authorized Officer in the Supplemental Order.

         “Bond Registry” means the books for the registration of Bonds maintained by the Paying
Agent.

       “Bondowner”, “Owner” or “Registered Owner” means, with respect to any Bond, the
person in whose name such Bond is registered in the Bond Registry.

       “Bonds” means the City’s Financial Recovery Bonds, Series 2014B, with such series
designations as may be determined by the Authorized Officer in the Supplemental Order.

        “Business Day” means any day other than (i) a Saturday, Sunday or legal holiday, (ii) a
day on which the Paying Agent or banks and trust companies in New York, New York are
authorized or required to remain closed, (iii) a day on which the New York Stock Exchange is
closed, or (iv) a day on which the Federal Reserve is closed.

        “Certificate” means (i) a signed document either attesting to or acknowledging the
circumstances, representations or other matters therein stated or set forth or setting forth matters
to be determined pursuant to this Order.

         “Charter” means the Charter of the City, as amended from time to time.

         “City” means the City of Detroit, County of Wayne, State of Michigan.

         “Claimants” means the beneficial owners of the Claims.

         “Claims” has the meaning set forth recitals hereto.

         “Closing Date” means the Date of Original Issue.

         “Code” means the Internal Revenue Code of 1986, as amended.

         “Constitution” means the Constitution of the State of Michigan of 1963, as amended.

         “Confirmation Order” has the meaning set forth in recitals hereto.

       “Contingent General VEBA Claims” has the meaning set forth in the recitals and Exhibit
A hereto.

       “Contingent Police and Fire VEBA Claims” has the meaning set forth in the recitals and
Exhibit A hereto.

         “COP Litigation” has the meaning set forth in the Plan of Adjustment.

         “COPs Claims” has the meaning set forth in the recitals and Exhibit A hereto.


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        “Date of Original Issue” means the date upon which all conditions precedent set forth in
the Bond Purchase Agreement to the transactions contemplated therein and herein have been
satisfied and the Bonds have been issued to the Purchaser.

        “DDA Claims” has the meaning set forth in the recitals and Exhibit A hereto.

        “Debt Retirement Fund” means the Debt Retirement Fund established under Section 501
hereof, and any subaccounts thereof established hereunder for the payment of principal of and
premium and interest on the Bonds.

       “Disbursing Agent” means the Registered Owner of the Bonds issued on behalf of the
Claimants entitled to distributions of Bonds and/or cash from the Disputed COPs Claims
Reserve.

       “Disbursing Agent Agreement” means the agreement between the City and the
Disbursing Agent to provide for the distributions of Bonds and/or cash to Claimants from the
Disputed COPs Claims Reserve.

        “Disputed COPs Claims” has the meaning set forth in the Plan of Adjustment.

       “Disputed COPs Claims Reserve” means the Disputed COP Claims Reserve established
under Section 401(b).

        “Emergency Manager” has the meaning set forth in the recitals hereto.

        “Final Order” has the meaning set forth in the Plan of Adjustment.

       “Fiscal Year” means the period from July 1 to and including June 30 of the immediately
succeeding calendar year or such other fiscal year of the City as in effect from time to time.

        “Interest Payment Date” means April 1 and October 1 of each year commencing with the
April 1 or October 1 specified in the Supplemental Order.

       “Interest Rate” means 4% per annum from the Date of Original Issue until the twentieth
   th
(20 ) anniversary of the Date of Original Issue, and thereafter 6% per annum until the Maturity
Date, or such other interest rates as confirmed in the Supplemental Order.

        “Litigation Trust” has the meaning set forth in the Plan of Adjustment.

       “Maturity Date” means the thirtieth (30th) anniversary of the Date of Original Issue or
such other final date of maturity of each series of the Bonds as specified in the Supplemental
Order.

       “Maximum Aggregate Principal Amount” has the meaning given such term in
Section 201.

      “Order” means this Order of the Emergency Manager as supplemented by the
Supplemental Order, and as amended from time to time pursuant to Article VII.


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          “Other Unsecured Claims” has the meaning set forth in the recitals hereto.

          “Outstanding” when used with respect to:

          (1)    the Bonds, means, as of the date of determination, the Bonds theretofore
                 authenticated and delivered under this Order, except:

                 (A)     Bonds theretofore canceled by the Paying Agent or delivered to such
                         Paying Agent for cancellation;

                 (B)     Bonds for whose payment money in the necessary amount has been
                         theretofore deposited with the Paying Agent in trust for the registered
                         owners of such Bonds;

                 (C)     Bonds delivered to the Paying Agent for cancellation in connection with
                         (x) the exchange of such Bonds for other Bonds or (y) the transfer of the
                         registration of such Bonds;

                 (D)     Bonds alleged to have been destroyed, lost or stolen which have been paid
                         or replaced pursuant to this Order or otherwise pursuant to law; and

                 (E)     Bonds deemed paid as provided in Section 701.

          “Paying Agent” means the bond registrar, transfer agent and paying agent for the Bonds.

          “Petition Date” has the meaning set forth in the recitals hereto.

          “Plan of Adjustment” has the meaning set forth in the recitals hereto.

          “Police and Fire VEBA Claims” has the meaning set forth in the recitals and Exhibit A
hereto.

      “Registered Owner” means the registered owner of a Bond as the registered owner’s
name appears on the Bond Registry under Section 305.

          “Regular Record Date” has the meaning given such term in Section 302.

          “Security Depository” has the meaning given such term in Section 310.

          “Settled COP Claims” has the meaning set forth in the Plan of Adjustment.

          “State” has the meaning set forth in the recitals hereto.

          “State Treasurer” means the Treasurer of the State of Michigan.

       “Supplemental Order” means the order or orders of the Authorized Officer making
certain determinations and confirming the final details on the Bonds upon issuance, in
accordance with the parameters of this Order.


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       “Unsecured Pro Rata Share” has the meaning set forth in the Plan of Adjustment.

        Section 102. Interpretation. (a) Words of the feminine or masculine genders include
the correlative words of the other gender or the neuter gender.

        (b)    Unless the context shall otherwise indicate, words importing the singular include
the plural and vice versa, and words importing persons include corporations, associations,
partnerships (including limited partnerships), trusts, firms and other legal entities, including
public bodies, as well as natural persons.

       (c)      Articles and Sections referred to by number mean the corresponding Articles and
Sections of this Order.

       (d)     The terms “hereby, “hereof”, “hereto”, “herein”, “hereunder” and any similar
terms as used in this Order, refer to this Order as a whole unless otherwise expressly stated.


                                         ARTICLE II

                                    DETERMINATIONS

       Section 201. Finding, and Declaration of Need to Issue Bonds. The Emergency Manager
hereby finds and declares that it is necessary for the City to issue the Bonds hereunder in such
sum as shall be determined and approved by the Emergency Manager, not in excess of
$632,000,000 (the “Maximum Aggregate Principal Amount”), and to evidence such debt by the
issuance of the Bonds in one or more series not in excess of the Maximum Aggregate Principal
Amount, in Authorized Denominations, pursuant to and in accordance with the provisions of
Section 36a of Act 279, for the purpose of satisfying the Claims.


                                        ARTICLE III

       AUTHORIZATION, REDEMPTION AND ASSIGNMENT OF THE BONDS

         Section 301. Authorization of Bonds to Satisfy the Claims and Pledge. The City hereby
authorizes the issuance of the Bonds as hereinafter defined in such principal amount as shall be
confirmed in the Supplemental Order to satisfy the Claims as determined by the Authorized
Officer in the Supplemental Order or subsequently confirmed by the Authorized Officer to Bond
Counsel. The principal of and interest on the Bonds shall hereby be secured by the limited tax
full faith and credit pledge of the City.

        The City pledges to pay the principal of and interest on the Bonds as a first budget
obligation from its general funds and in case of insufficiency thereof, from the proceeds of an
annual levy of ad valorem taxes on all taxable property of the City, subject to applicable
constitutional, statutory and charter tax rate limitations.

        Section 302. Designations, Date, Interest, Maturity and Other Terms of the Bonds to
Satisfy the Claims. (a) The Bonds shall be designated “FINANCIAL RECOVERY BONDS,

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SERIES 2014B” and may bear such later or earlier dates and additional or alternative
designations, series or subseries as the Authorized Officer may determine in the Supplemental
Order, shall be issued in fully registered form and shall be consecutively numbered from “R-1”
upwards, unless otherwise provided by the Authorized Officer in the Supplemental Order. The
Bonds shall be dated and issued in such denominations all as determined by the Authorized
Officer and confirmed by the Authorized Officer in the Supplemental Order.

        (b)     The Bonds of each series shall mature on such Maturity Dates not in excess of 30
years from the Date of Original Issue and shall bear interest at the Interest Rate on a taxable
basis, payable on the Interest Payment Dates, all as shall be determined and confirmed by the
Authorized Officer in the Supplemental Order. Unless otherwise provided by the Authorized
Officer in the Supplemental Order, interest on the Bonds shall be calculated on the basis of the
actual number of days elapsed in a 360 day year. The Bonds shall be payable, as to principal and
interest, in lawful money of the United States of America.

        (c)     Except as may be otherwise determined by the Authorized Officer in the
Supplemental Order, interest on the Bonds shall be payable to the Registered Owner as of the
15th day of the month, whether or not a Business Day (a “Regular Record Date”), prior to each
Interest Payment Date. Interest on the Bonds shall be payable to such Registered Owners by
check or draft drawn on the Paying Agent on each Interest Payment Date and mailed by first
class mail or, upon the written request of the Owner of $1,000,000 or more in aggregate principal
amount of Bonds (with complete wiring instructions no later than the Regular Record Date for
such Interest Payment Date), by wire transfer by the Paying Agent to such Owner. Such a
request may provide that it will remain in effect with respect to subsequent Interest Payment
Dates unless and until changed or revoked at any time prior to a Regular Record Date by
subsequent written notice to the Paying Agent.

         (d)    Interest on Bonds not punctually paid or duly provided for on an Interest Payment
Date shall forthwith cease to be payable to the Registered Owners on the Regular Record Date
established for such Interest Payment Date, and may be paid to the Registered Owners as of the
close of business on a date fixed by the Paying Agent (a “Special Record Date”) with respect to
the payment of such defaulted interest to be fixed by the Paying Agent, or may be paid at any
time in any other lawful manner. The Paying Agent shall give notice to the Registered Owners
at least seven days before any such Special Record Date.

        (e)     The principal of the Bonds shall be payable to the Registered Owners of the
Bonds upon the presentation of the Bonds to the Paying Agent at the principal corporate trust
office of the Paying Agent.

       (f)     The Bonds shall be subject to redemption and/or tender for purchase prior to
maturity or shall not be subject thereto, upon such terms and conditions as shall be determined
by the Authorized Officer and confirmed in the Supplemental Order.

        Unless waived by any registered owner of Bonds to be redeemed, official notice of
redemption shall be given by the Paying Agent on behalf of the City. Such notice shall be dated
and shall contain at a minimum the following information: original issue date; maturity dates;
interest rates, CUSIP numbers, if any; certificate numbers, and in the case of partial redemption,

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the called amounts of each certificate; the redemption date; the redemption price or premium; the
place where Bonds called for redemption are to be surrendered for payment; and that interest on
Bonds or portions thereof called for redemption shall cease to accrue from and after the
redemption date.

        In addition, further notice shall be given by the Paying Agent in such manner as may be
required or suggested by regulations or market practice at the applicable time, but no defect in
such further notice nor any failure to give all or any portion of such further notice shall in any
manner defeat the effectiveness of a call for redemption if notice thereof is given as prescribed
herein.

       Section 303. Execution, Authentication and Delivery of Bonds. The Bonds shall be
executed in the name of the City by the manual or facsimile signatures of the Emergency
Manager and the Finance Director of the City and authenticated by the manual signature of the
Finance Director or an authorized representative of the Paying Agent, as the case may be, and a
facsimile of the seal of the City shall be imprinted on the Bonds. Additional Bonds bearing the
manual or facsimile signatures of the Emergency Manager or Mayor of the City and the Finance
Director, and upon which the facsimile of the seal of the City is imprinted may be delivered to
the Paying Agent for authentication and delivery in connection with the exchange or transfer of
Bonds. The Paying Agent shall indicate on each Bond the date of its authentication.

        Section 304. Authentication of the Bonds. (a) No Bond shall be entitled to any benefit
under this Order or be valid or obligatory for any purpose unless there appears on such Bond a
Certificate of Authentication substantially in the form provided for in Section 307 of this Order,
executed by the manual or facsimile signature of the Finance Director or by an authorized
signatory of the Paying Agent by manual signature, and such certificate upon any Bond shall be
conclusive evidence, and the only evidence, that such Bond has been duly authenticated and
delivered hereunder.

       (b)     The Paying Agent shall manually execute the Certificate of Authentication on
each Bond upon receipt of a written direction of the Authorized Officer of the City to
authenticate such Bond.

        Section 305. Transfer of Registration and Exchanges on the Bonds. (a) The registration
of each Bond is transferable only upon the Bond Registry by the Registered Owner thereof, or by
his attorney duly authorized in writing, upon the presentation and surrender thereof at the
designated corporate trust office of the Paying Agent together with a written instrument of
transfer satisfactory to the Paying Agent, duly executed by the Registered Owner thereof or his
attorney duly authorized in writing, and thereupon one or more fully executed and authenticated
Bonds in any authorized denominations of like maturity and tenor, in equal aggregate principal
amount shall be issued to the transferee in exchange therefor.

       (b)     Each Bond may be exchanged for one or more Bonds in equal aggregate principal
amount of like maturity and tenor in one or more authorized denominations, upon the
presentation and surrender thereof at the principal corporate trust office of the Paying Agent
together with a written instrument of transfer satisfactory to the Paying Agent, duly executed by
the Registered Owner hereof or his attorney duly authorized in writing.

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        Section 306. Regulations with Respect to Exchanges and Transfers. (a) In all cases in
which the privilege of exchanging Bonds or transferring the registration of Bonds is exercised,
the City shall execute and the Paying Agent shall authenticate and deliver Bonds in accordance
with the provisions of this Order. All Bonds surrendered in any such exchanges or transfers shall
be forthwith canceled by the Paying Agent.

       (b)     For every exchange or transfer of Bonds, the City or the Paying Agent may make
a charge sufficient to reimburse it for any tax, fee or other governmental charge required to be
paid with respect to such exchange or transfer and, except as otherwise provided in this Order,
may charge a sum sufficient to pay the costs of preparing each new Bond issued upon such
exchange or transfer, which shall be paid by the person requesting such exchange or transfer as a
condition precedent to the exercise of the privilege of making such exchange or transfer.

        (c)     The Paying Agent shall not be required (i) to issue, register the transfer of or
exchange any Bond during a period beginning at the opening of business 15 days before the day
of the giving of a notice of redemption of Bonds selected for redemption as described in the form
of Bonds contained in Section 307 of this Order and ending at the close of business on the day of
that giving of notice, or (ii) to register the transfer of or exchange any Bond so selected for
redemption in whole or in part, except the unredeemed portion of Bonds being redeemed in part.
The City shall give the Paying Agent notice of call for redemption at least 20 days prior to the
date notice of redemption is to be given.

        Section 307. Form of the Bonds. The Bonds shall be in substantially the following form
with such insertions, omissions, substitutions and other variations as shall not be inconsistent
with this Order or as approved by an Authorized Officer in the Supplemental Order:




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                                        [Forms of Bonds]

[Unless this certificate is presented by an authorized representative of The Depository Trust
Company, a New York corporation (“DTC”) to the City (as hereinafter defined), or its agent for
registration of transfer, exchange, or payment and any certificate issued is registered in the name
of Cede & Co. or in such other name as is requested by an authorized representative of DTC (and
any payment is made to Cede & Co. or to such other entity as is requested by an authorized
representative of DTC), ANY TRANSFER, PLEDGE, OR OTHER USE HEREOF FOR
VALUE OR OTHERWISE BY OR TO ANY PERSON IS WRONGFUL inasmuch as the
registered owner hereof, Cede & Co., has an interest herein.]

                               UNITED STATES OF AMERICA
                                  STATE OF MICHIGAN
                                   COUNTY OF WAYNE

                                      CITY OF DETROIT
                       FINANCIAL RECOVERY BOND, SERIES 2014B


Interest Rate                 Maturity Date          Date of Original Issue                CUSIP

                                                     ___________, 2014

Registered Owner:

Principal Amount:                                                                          Dollars

         The City of Detroit, County of Wayne, State of Michigan (the “City”), acknowledges
itself to owe and for value received hereby promises to pay to the Registered Owner specified
above, or registered assigns, the Principal Amount specified above, in lawful money of the
United States of America, on the Maturity Date specified above, unless prepaid prior thereto as
hereinafter provided, with interest thereon at the Interest Rate of 4.0% per annum from the Date
of Original Issue specified above until the twentieth (20th) anniversary of the Date of Original
Issue, and thereafter at 6.0% per annum, until the Maturity Date specified above or until the
Principal Amount specified above is paid in full. Interest is payable semiannually on April 1 and
October 1 in each year commencing on ____________ (each an “Interest Payment Date”). The
interest so payable, and punctually paid or duly provided for, will be paid, as provided in the
hereinafter defined Order, to the person in whose name this Bond is registered on the books
maintained for such purpose by the hereinafter defined Paying Agent (the “Bond Registry”), on
the close of business on the Regular Record Date for such interest payment, which shall be the
fifteenth day (whether or not a Business Day) of the calendar month immediately preceding such
Interest Payment Date. Any such interest not so punctually paid or duly provided for shall
herewith cease to be payable to the Registered Owner on such Regular Record Date, and may be
paid to the person in whose name this Bond is registered at the close of business on a Special
Record Date for the payment of such defaulted interest to be fixed by the Paying Agent, notice of
which shall be given to Registered Owners at least seven days before such Special Record Date,

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or may be paid at any time in any other lawful manner. Capitalized terms used herein but not
defined herein, shall have the meanings ascribed to them in the Order.

       The principal of this Bond is payable in lawful money of the United States of America
upon presentation and surrender of this Bond at the designated corporate trust office of
________________________________, __________, __________, as registrar, transfer agent
and paying agent under the Order (such bank and any successor as paying agent, the “Paying
Agent”). Interest on this Bond is payable in like money by check or draft drawn on the Paying
Agent and mailed to the Registered Owner entitled thereto, as provided above, by first class mail
or, upon the written request of a Registered Owner of at least $1,000,000 in aggregate principal
amount of Bonds (with complete wiring instructions no later than the Regular Record Date for
such Interest Payment Date), by wire transfer by the Paying Agent to such Registered Owner,
and such request may provide that it will remain in effect with respect to subsequent Interest
Payment Dates unless and until changed or revoked at any time prior to a Regular Record Date
by subsequent written notice to the Paying Agent. Interest shall be computed on the basis of a
360-day year consisting of twelve 30 day months. For prompt payment of this Bond, both
principal and interest, the full faith, credit and resources of the City are hereby irrevocably
pledged.

        This bond is one of a series of bonds aggregating the principal sum of $__________,
issued under and in full compliance with the Constitution and statutes of the State of Michigan,
and particularly Section 36a of Act No. 279, Public Acts of Michigan, 1909, as amended (“Act
279”), for the purpose of satisfying certain Claims, as defined in the Order. Pursuant to the
Order, the bonds of this series (the “Bonds”) are limited tax general obligations of the City, and
the City is obligated to levy annually ad valorem taxes on all taxable property in the Issuer,
subject to applicable constitutional, statutory and charter tax rate limitations.

       The “Order” is an Order of the Emergency Manager issued on ________, 2014,
supplemented by a Supplemental Order of an Authorized Officer of the City issued on
___________, 2014, authorizing the issuance of the Bonds.

       The bonds of this series shall be subject to redemption prior to maturity as follows:

        (a) Optional Redemption. Bonds or portions of bonds in Authorized Denominations of
multiples of $1,000 or integral multiples of $1.00 in excess thereof are subject to redemption
prior to maturity, at the option of the Issuer, in such order as the Issuer may determine, and by lot
within a maturity on any date after the Date of Original Issue, at a redemption price of par plus
accrued interest to the date fixed for redemption.

       (b) Mandatory Redemption. [TO BE DETERMINED]

        General Redemption Provisions. In case less than the full amount of an outstanding bond
is called for redemption, the Paying Agent, upon presentation of the bond called for redemption,
shall register, authenticate and deliver to the registered owner of record a new bond in the
principal amount of the portion of the original bond not called for redemption.

        Notice of redemption shall be given to the registered owners of Bonds or portions thereof
called for redemption by mailing of such notice not less than thirty (30) days but not more than
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sixty (60) days prior to the date fixed for redemption to the registered address of the registered
owner of record. Bonds or portions thereof so called for redemption shall not bear interest after
the date fixed for redemption, whether presented for redemption or not, provided funds are on
hand with the Paying Agent to redeem such Bonds.

        Reference is hereby made to the Order for the provisions with respect to the nature and
extent of the security for the Bonds, the manner and enforcement of such security, the rights,
duties and obligations of the City, and the rights of the Paying Agent and the Registered Owners
of the Bonds. As therein provided, the Order may be amended in certain respects without the
consent of the Registered Owners of the Bonds. A copy of the Order is on file and available for
inspection at the office of the Finance Director and at the principal corporate trust office of the
Paying Agent.

        The City and the Paying Agent may treat and consider the person in whose name this
Bond is registered on the Bond Registry as the absolute owner hereof, whether this Bond shall be
overdue or not, for the purpose of receiving payment of, or on account of, the principal hereof
and interest hereon and for all other purposes whatsoever, and all such payments so made to such
person or upon his order shall be valid and effectual to satisfy and discharge the liability hereon
to the extent of the sum or sums so paid.

        The registration of this Bond is transferable only upon the Bond Registry by the
Registered Owner hereof or by his attorney duly authorized in writing upon the presentation and
surrender hereof at the designated corporate trust office of the Paying Agent together with a
written instrument of transfer satisfactory to the Paying Agent, duly executed by the Registered
Owner hereof or his attorney duly authorized in writing, and thereupon one or more fully
executed and authenticated Bonds in any authorized denominations of like maturity and tenor, in
equal aggregate principal amount shall be issued to the transferee in exchange therefor as
provided in the Resolution upon the payment of the charges, if any, therein prescribed.

        It is hereby certified, recited and declared that all acts, conditions and things required by
law to exist, happen and to be performed, precedent to and in the issuance of the Bonds do exist,
have happened and have been performed in due time, form and manner as required by the
Constitution and statutes of the State of Michigan, and that the total indebtedness of the City,
including the Bonds does not exceed any constitutional, statutory or charter limitation.

       This Bond is not valid or obligatory for any purpose until the Paying Agent’s Certificate
of Authentication on this Bond has been executed by the Paying Agent.




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       IN WITNESS WHEREOF, the City of Detroit, by its Emergency Manager, has caused
this bond to be signed in the name of the City by the facsimile signatures of its Emergency
Manager and Finance Director of the City, and a facsimile of its corporate seal to be printed
hereon, all as of the Date of Original Issue.

                                           CITY OF DETROIT

                                           By:
                                                  Emergency Manager


                                           By:
                                                  Finance Director

(SEAL)




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                   (Form of Paying Agent’s Certificate of Authentication)


DATE OF AUTHENTICATION:


                         CERTIFICATE OF AUTHENTICATION

      This bond is one of the bonds described in the within-mentioned Order.



__________________________
__________________________
___________, Michigan
Paying Agent



By:
      Authorized Signatory




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                                        ASSIGNMENT

       FOR VALUE RECEIVED the undersigned hereby sells, assigns and transfers unto



______________________________________________________________________________
                (Please print or typewrite name and address of transferee)


        the within bond and all rights thereunder, and hereby irrevocably constitutes and appoints
___________________________ attorney to transfer the within bond on the books kept for
registration thereof, with full power of substitution in the premises.

Dated:                                                _____________________________________
_______________________________                       _____________________________________

Signature Guaranteed:                                 NOTICE: The signature(s) to this assignment
                                                      must correspond with the name as it appears
                                                      upon the face of the within bond in every
                                                      particular, without alteration or enlargement
                                                      or any change whatever. When assignment is
                                                      made by a guardian, trustee, executor or
                                                      administrator, an officer of a corporation, or
                                                      anyone in a representative capacity, proof of
                                                      such person’s authority to act must
                                                      accompany the bond.



       Signature(s) must be guaranteed by a commercial bank or trust company or by a
brokerage firm having a membership in one of the major stock exchanges. The transfer agent
will not effect transfer of this bond unless the information concerning the transferee requested
below is provided.
                                                        Name and Address: ________________
PLEASE INSERT SOCIAL                                   __________________________________
SECURITY NUMBER OR OTHER                               __________________________________
IDENTIFYING NUMBER OF                                    (Include information for all joint owners
TRANSFEREE.                                                 if the bond is held by joint account.)


(Insert number for first named
transferee if held by joint account.)




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       Section 308. Registration. The City and the Paying Agent may treat and consider the
Registered Owner of any Bond as the absolute owner of such Bond, whether such Bond shall be
overdue or not, for the purpose of receiving payment of, or on account of, the principal (and
premium, if any) thereof and interest thereon and for all other purposes whatsoever, and all such
payments so made to such Bondowner or upon his order shall be valid and effectual to satisfy
and discharge the liability upon such Bond to the extent of the sum or sums so paid.

       Section 309. Mutilated, Destroyed, Stolen or Lost Bonds. (a) Subject to the provisions
of Act 354, Public Acts of Michigan, 1972, as amended and any other applicable law, if (i) any
mutilated Bond is surrendered to the Paying Agent or the City and the Paying Agent and the City
receive evidence to their satisfaction of the destruction, loss or theft of any Bond and (ii) there is
delivered to the City and the Paying Agent such security or indemnity as may be required by
them to save each of them harmless, then, in the absence of notice to the City or the Paying
Agent that such Bond has been acquired by a bona fide purchaser, the City shall execute and the
Paying Agent shall authenticate and deliver in exchange for or in lieu of any such mutilated,
destroyed, lost or stolen Bond, a new Bond of like tenor and principal amount, bearing a number
not contemporaneously outstanding.

      (b)    If any such mutilated, destroyed, lost or stolen Bond has become or is about to
become due and payable, the City in its discretion may, instead of issuing a new Bond, pay such
Bond.

        (c)    Any new Bond issued pursuant to this Section in substitution for a Bond alleged
to be mutilated, destroyed, stolen or lost shall constitute an original additional contractual
obligation on the part of the City, and shall be equally secured by and entitled to equal
proportionate benefits with all other Bonds issued under this Order.

        Section 310. Book-Entry-Only System Permitted. (a) If determined by the Authorized
Officer in the Supplemental Order, the Bonds or portions of the Bonds shall be issued to a
securities depository selected by the Authorized Officer (the “Security Depository”) to be held
pursuant to the book-entry-only system maintained by the Security Depository and registered in
the name of the Security Depository or its nominee. Ownership interests in Bonds held under
such book-entry-only system shall be determined pursuant to the procedures of the Security
Depository and Article 8 of the applicable Uniform Commercial Code (such persons having such
interests, “Beneficial Owners”).

         (b)    If (i) the City and the Paying Agent receive written notice from the Security
Depository to the effect that the Security Depository is unable or unwilling to discharge its
responsibilities with respect to the Bonds under the book-entry-only system maintained by it or
(ii) the Authorized Officer determines that it is in the best interests of the Beneficial Owners that
they be able to obtain Bonds in certificated form, then the City may so notify the Security
Depository and the Paying Agent, and, in either event, the City and the Paying Agent shall take
appropriate steps to provide the Beneficial Owners with Bonds in certificated form to evidence
their respective ownership interests in the Bonds. Whenever the Security Depository requests
the City and the Paying Agent to do so, the Authorized Officer on behalf of the City and the
Paying Agent will cooperate with the Security Depository in taking appropriate action after


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reasonable notice to make available Bonds registered in whatever name or names the Beneficial
Owners transferring or exchanging Bonds shall designate.

      (c)     Notwithstanding any other provision of the Order to the contrary, so long as the
Bonds are held pursuant to the book-entry-only system maintained by the Security Depository:

               (i)    all payments with respect to the principal and interest on such Bonds and
       all notices with respect to such Bonds shall be made and given, respectively, to the
       Security Depository as provided in the representation letter from the City and the Paying
       Agent to the Security Depository with respect to such Bonds; and

             (ii)    all payments with respect to principal of the Bonds and interest on the
       Bonds shall be made in such manner as shall be prescribed by the Security Depository.

                                         ARTICLE IV

                                  FUNDS AND ACCOUNTS

        Section 401. Establishment of Accounts and Funds. (a) The City hereby establishes and
creates the Debt Retirement Fund as a special, separate and segregated account and fund which
shall be held for and on behalf of the City by the Paying Agent.

        (b)   On the Effective Date, the City shall establish and create the Disputed COPs
Claims Reserve (the “Disputed COPs Claims Reserve”) which shall be held for and on behalf of
the City by the Disbursing Agent under the Disbursing Agent Agreement pursuant to Section
401(d).

        (c)    The Disputed COP Claims Reserve shall contain no less than (i) an Unsecured
Pro Rata Share of Bonds, calculated as if such Disputed COP Claims were Allowed in an amount
equal to the sum of (A) aggregate unpaid principal amount as of the Petition Date for the COPs
other than those giving rise to the Settled COP Claims (or such other amount as may be required
by an order of the Bankruptcy Court), and (B) with respect to the Settled COPs Claims, the
aggregate unpaid principal amount as of the Petition Date for the COPs giving rise to the Settled
COPs claims less the amounts expended in settlement of such Settled COP Claims; and (ii) any
distributions made on account of Bonds held in the Disputed COP Claims Reserve.

       (d)     An Authorized Officer is authorized and directed to designate a Disbursing Agent
and negotiate and enter into a Disbursing Agent Agreement (the “Disbursing Agent Agreement”)
between the City and the Disbursing Agent, setting forth the duties and obligations of the
Disbursing Agent with respect to the distribution of Bonds and/or cash from the Disputed COPs
Claims Reserve to the Claimants thereof pursuant to Section 404(h).

       (e)    The Finance Director is hereby authorized to establish such additional accounts,
subaccounts or funds as shall be required for the Bonds, and the Dispute COPS Claims Reserve
to accommodate the requirements of such series of Bonds and the Disputed COPS Claims
Reserve.



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        Section 402. Debt Retirement Fund. General funds of the City, proceeds of all taxes
levied pursuant to Section 301 hereof [and any amounts transferred from the debt retirement
funds related to the COPs, if any,] shall be used to pay the principal of and interest on the Bonds
when due. The foregoing amounts shall be placed in the Debt Retirement Fund and held in trust
by the Paying Agent, and so long as the principal of or interest on the Bonds shall remain unpaid,
no moneys shall be withdrawn from the Debt Retirement Fund except to pay such principal and
interest. Any amounts remaining in the Debt Retirement Fund after payment in full of the Bonds
and the fees and expenses of the Paying Agent shall be retained by the City to be used for any
lawful purpose.

       Section 403. Investment of Monies in the Funds and Accounts. (a) The Finance Director
shall direct the investment of monies on deposit in the Funds and Accounts established
hereunder, and the Paying Agent, upon written direction or upon oral direction promptly
confirmed in writing by the Finance Director, shall use its best efforts to invest monies on
deposit in the Funds and Accounts in accordance with such direction.

       (b)    Monies on deposit in the Funds and Accounts may be invested in such
investments and to the extent permitted by applicable law.

        Section 404. Satisfaction of Claims. (a) On the Effective Date, the City shall issue the
Bonds in an amount sufficient to satisfy the Claims. An Authorized Officer shall arrange for
delivery of the Bonds to the Claimants and the Disbursing Agent to satisfy the Claims on behalf
of the Claimants of each class of creditors entitled to New B Notes and/or cash as provided in the
Plan of Adjustment and as set forth in this Section 404 in subsections (b) through (g), inclusive.
Upon delivery of the Bonds to the Disbursing Agent and the Claimants, an Authorized Officer
shall take all necessary steps to extinguish any related existing debt, including the cancellation of
any related bonds or notes of the City representing portions of the Claims.

        (b)     On the Effective Date, the City shall distribute to the Detroit General VEBA,
Bonds in the aggregate principal amount of $218,000,000, in satisfaction of the Allowed OPEB
Claims held by the Detroit General VEBA Beneficiaries. The Detroit General VEBA shall also
be paid any contingent additional distributions from the Disputed COPs Claims Reserve as set
forth in Section 404(g).

       (c)   On the Effective Date, the City shall distribute to the Detroit Police and Fire
VEBA, Bonds in the aggregate principal amount of $232,000,000, in satisfaction of the Allowed
OPEB Claims held by the Detroit Police and Fire VEBA Beneficiaries. The Detroit Police and
Fire VEBA shall also be paid any contingent additional distributions from the Disputed COPs
Claims Reserve as set forth in Section 404(g).

        (d)    On the Effective Date, the Downtown Development Authority Claims shall be
allowed in the amount of $33,600,000. Unless the Holder agrees to a different treatment of its
Claim, each Holder of an Allowed Downtown Development Authority Claim, in full satisfaction
of such Allowed Claim, shall receive from the City, on or as soon as reasonably practicable after
the Effective Date, an Unsecured Pro Rata Share of the Bonds.




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       (e)    Unless such Holder agrees to a different treatment of such claim, each Holder of
an Allowed Other Unsecured Claim, in full satisfaction of such Allowed Claim, shall receive
from the Disbursing Agent, on or as soon as reasonably practicable after the Effective Date, an
Unsecured Pro Rata Share of Bonds.

       (f)    If and to the extent that Disputed COP Claims become Allowed Claims, the
Holders of such Allowed Claims shall be sent a Distribution from the Disputed COP Claims
Reserve by the Disbursing Agent of no less than (i) the portion of New B Notes held in the
Disputed COP Claims Reserve initially allocated to the Disputed COP Claims that became
Allowed Claims; and (ii) any distributions received by the Disputed COP Claims Reserve on
account of such portion of Bonds.

        (g)    Upon the entry of a Final Order resolving any objection to any Disputed COP
Claim and after all Distributions on account of Allowed COP Claims respecting such resolved
Disputed COP Claims have been made or provided for (i) an amount of Bonds or distributions
thereon in an amount equal to the costs, fees and expenses related to the COP Litigation incurred
by the Litigation Trust from and after the Effective Date shall be distributed by the Disbursing
Agent to the City subject to the terms of the Plan of Adjustment; (ii) following such distribution,
the Bonds and any distributions thereon remaining in the Disputed COP Claims Reserve shall be
distributed as follows: (A) 65% to the Detroit General VEBA and the Detroit Police and Fire
VEBA in proportion with the Bonds allocated to each pursuant to Sections 404(b) and 404(c);
(B) 20% to be distributed Pro Rata among holders of Allowed Limited Tax General Obligation
Bond Claims in Class 7 under the Plan of Adjustment; and (C) 15% to holders of Allowed Other
Unsecured Claims in Class 14 under the Plan of Adjustment.

                                           ARTICLE V

                                     THE PAYING AGENT

        Section 501. Paying Agent. The Paying Agent for the Bonds shall act as bond registrar,
transfer agent and paying agent for the Bonds and shall be initially ____________
____________________, Detroit, Michigan, or such other bank or trust company located in the
State which is qualified to act in such capacity under the laws of the United States of America or
the State. The Paying Agent means and includes any company into which the Paying Agent may
be merged or converted or with which it may be consolidated or any company resulting from any
merger, conversion or consolidation to which it shall be a party or any company to which the
Paying Agent may sell or transfer all or substantially all of its corporate trust business, provided,
that such company shall be a trust company or bank which is qualified to be a successor to the
Paying Agent as determined by an Authorized Officer, shall be authorized by law to perform all
the duties imposed upon it by this Order, and shall be the successor to the Paying Agent without
the execution or filing of any paper or the performance of any further act, anything herein to the
contrary notwithstanding. An Authorized Officer is authorized to enter into an agreement with
such a bank or trust company, and from time to time as required, may designate a similarly
qualified successor Paying Agent and enter into an agreement therewith for such services.




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                                          ARTICLE VI

                    SUPPLEMENTAL ORDERS AND RESOLUTIONS

       Section 601. Supplemental Orders and Resolutions Not Requiring Consent of Holders of
the Bonds. The City may without the consent of any Bondowner adopt orders or resolutions
supplemental to this Order for any one or more of the following purposes:

       (i)     to confirm or further assure the security hereof or to grant or pledge to the holders
               of the Bonds any additional security;

       (ii)    to add additional covenants and agreements of the City for the purposes of further
               securing the payment of the Bonds;

       (iii)   to cure any ambiguity or formal defect or omission in this Order; and

       (iv)    such other action not materially, adversely and directly affecting the security of
               the Bonds.

provided that (A) no supplemental order or resolution amending or modifying the rights or
obligations of the Paying Agent shall become effective without the consent of the Paying Agent
and (B) the effectiveness of any supplemental resolution is subject to Section 702 to the extent
applicable.

        Section 602. Bond Counsel Opinion. Before any supplemental order or resolution under
this Article shall become effective, a copy thereof shall be filed with the Paying Agent, together
with an opinion of Bond Counsel that such supplemental order or resolution is authorized or
permitted by this Article; provided that, Bond Counsel in rendering any such opinion shall be
entitled to rely upon certificates of an Authorized Officer or other City official, and opinions or
reports of consultants, experts and other professionals retained by the City to advise it, with
respect to the presence or absence of facts relative to such opinion and the consequences of such
facts.

                                         ARTICLE VII

                                         DEFEASANCE

        Section 701. Defeasance. Bonds shall be deemed to be paid in full upon the deposit in
trust of cash or direct obligations of, or obligations the principal of and interest on which are
unconditionally guaranteed by, the United States of America, or any combination thereof, not
redeemable at the option of the issuer thereof, the principal and interest payments upon which,
without reinvestment thereof, will come due at such times and in such amounts, as to be fully
sufficient to pay when due, the principal of such Bonds and interest to accrue thereon, as
confirmed by a verification report prepared by an independent certified public accountant;
provided, that if any of such Bonds are to be called for redemption prior to maturity, irrevocable
instructions to call such Bonds for redemption shall be given to the Paying Agent. Such cash and
securities representing such obligations shall be deposited with a bank or trust company and held

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for the exclusive benefit of the Owners of such Bonds. After such deposit, such Bonds shall no
longer be entitled to the benefits of this Order (except for any rights of transfer or exchange of
Bonds as therein or herein provided for) and shall be payable solely from the funds deposited for
such purpose and investment earnings, if any, thereon, and the lien of this Order for the benefit
of such Bonds shall be discharged.

                                        ARTICLE VIII

                  OTHER PROVISIONS OF GENERAL APPLICATION

        [Section 801. Credit Enhancement. (a) There is hereby authorized to be obtained
municipal bond insurance or other credit enhancement or a combination thereof to secure the
payment of all or part of the Bonds, if, and provided that, it shall be determined by an Authorized
Officer that obtaining such Municipal Bond Insurance Policy or other credit enhancement or a
combination thereof is in the best interest of the City. Such municipal bond insurance or other
credit enhancement providers may be afforded certain rights and remedies to direct the
proceedings with respect to the enforcement of payment of the Bonds as shall be provided in the
documents relating thereto. In the event a commitment for a Municipal Bond Insurance Policy is
obtained or a commitment for other credit enhancement is obtained, an Authorized Officer is
hereby authorized, to approve the terms, perform such acts and execute such instruments that
shall be required, necessary or desirable to effectuate the terms of such commitment and the
transactions described therein and in this Order and the Supplemental Order provided that such
terms are not materially adverse to the City.

       (b)    In connection with the execution of any of the agreements authorized by this
Section, an Authorized Officer is authorized to include therein such covenants as shall be
appropriate.]

       Section 802. Approval of Other Documents and Actions. The Mayor, the Finance
Director, the Treasurer, the City Clerk and any written designee of the Emergency Manager are
each hereby authorized and directed on behalf of the City to take any and all other actions,
perform any and all acts and execute any and all documents that shall be required, necessary or
desirable to implement this Order.

        Section 803. Delegation of City to, and Authorization of Actions of Authorized Officers.
(a) Each Authorized Officer is hereby authorized and directed to do and perform any and all acts
and things with respect to the Bonds which are necessary and appropriate to carry into effect,
consistent with this Order, the authorizations therein and herein contained, including without
limitation, the securing of ratings by bond rating agencies, if cost effective, the negotiation for
and acquisition of bond insurance and/or other credit enhancement, if any, to further secure the
Bonds or any portions thereof, the acquisition of an irrevocable surety bond to fulfill the City’s
obligation to fund any reserve account, the printing of the Bonds and the incurring and paying of
reasonable fees, costs and expenses incidental to the foregoing and other costs of issuance of the
Bonds including, but not limited to fees and expenses of bond counsel, financial advisors,
accountants and others, from Bond proceeds or other available funds, for and on behalf of the
City.


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       (b)     Except as otherwise provided herein, all determinations and decisions of the
Authorized Officer with respect to the issuance and sale of the Bonds or the negotiation,
execution or delivery of agreements as permitted or required by this Order shall be confirmed by
this Authorized Officer in a Supplemental Order or Supplemental Orders, and such
confirmations shall constitute determinations that any conditions precedent to such
determinations and decisions of the Authorized Officer have been fulfilled.

       Section 804. Approving Legal Opinions with Respect to the Bonds. Delivery of the
Bonds shall be conditioned upon receiving, at the time of delivery of the Bonds; the approving
opinion of Bond Counsel, approving legality of the Bonds.

       Section 805. Appointment of Bond Counsel; Engagement of Other Parties.                  The
appointment by the Emergency Manager of the law firm of Miller, Canfield, Paddock and Stone,
P.L.C. of Detroit, Michigan, as Bond Counsel for the Bonds is hereby ratified and confirmed,
notwithstanding the periodic representation by Miller, Canfield, Paddock and Stone, P.L.C., in
unrelated matters of other parties and potential parties to the issuance of the Bonds. The fees and
expenses of Miller, Canfield, Paddock and Stone, P.L.C. as Bond Counsel and other accumulated
bond related fees and expenses shall be payable from available funds in accordance with the
agreement of such firm on file with the Finance Director.

        Section 806. Preservation of Records. So long as any Bond remains Outstanding, all
documents received by the Paying Agent under the provisions of this Order shall be retained in
its possession and shall be subject at all reasonable times to the inspection of the City, and the
Bondowners, and their agents and representatives, any of whom may make copies thereof.

        Section 807. Parties in Interest. Nothing in this Order, expressed or implied, is intended
or shall be construed to confer upon, or to give to, any person or entity, other than the City, the
Paying Agent and the Owners of the Bonds, any right, remedy or claim under or by reason of this
Order or any covenant, condition or stipulation hereof, and all covenants, stipulations, promises
and agreements in this Order contained by and on behalf of the City or Paying Agent shall be for
the sole and exclusive benefit of the City, the Paying Agent and the Bondowners.

        Section 808. No Recourse Under Resolution. All covenants, agreements and obligations
of the City contained in this Order shall be deemed to be the covenants, agreements and
obligations of the City and not of any councilperson, member, officer or employee of the City in
his or her individual capacity, and no recourse shall be had for the payment of the principal of or
interest on the Bonds or for any claim based thereon or on this Order against any councilperson,
member, officer or employee of the City or any person executing the Bonds in his or her official
individual capacity.

       Section 809. Severability. If any one or more sections, clauses or provisions of this
Order shall be determined by a court of competent jurisdiction to be invalid or ineffective for any
reason, such determination shall in no way affect the validity and effectiveness of the remaining
sections, clauses and provisions hereof.

       Section 810. Cover Page, Table of Contents and Article and Section Headings. The
cover page, table of contents and Article and Section headings hereof are solely for convenience

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of reference and do not constitute a part of this Order, and none of them shall affect its meaning,
construction or effect.

        Section 811. Conflict. All resolutions or parts of resolutions or other proceedings of the
City in conflict herewith shall be and the same hereby are repealed insofar as such conflict exists.

       Section 812. Governing Law and Jurisdiction. This Order shall be governed by and
construed in accordance with the laws of the State.

       Section 813. Order and Supplemental Order are a Contract. The provisions of this Order
and the Supplemental Order shall constitute a contract between the City, the Paying Agent, the
Bond Insurer and the Bondowners.

       Section 814. Effective Date. This Order shall take effect immediately upon its adoption
by the Council.

        Section 815. Notices. All notices and other communications hereunder shall be in
writing and given by United States certified or registered mail, expedited courier overnight
delivery service or by other means (including facsimile transmission) that provides a written
record of such notice and its receipt. Notices hereunder shall be effective when received and
shall be addressed to the address set forth below or to such other address as any of the below
persons shall specify to the other persons:


If to the City, to:                           City of Detroit
                                              Finance Department
                                              1200 Coleman A. Young Municipal Center
                                              Detroit, Michigan 48226
                                              Attention: Finance Director




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If to the Paying Agent, to:            ____________________
                                       ____________________
                                       ____________________
                                       Attention: _____________________



       SO ORDERED this ____ day of ____________, 2014.

                                       __________________________________________
                                          Kevyn D. Orr
                                          Emergency Manager
                                          City of Detroit, Michigan




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                                           EXHIBIT A

                                 THE UNSECURED CLAIMS


1.       Class 7 Allowed Limited Tax General Obligation Bond Claims.

2.       Class 9 Disputed COPS Claims which become Allowed Claims.

3.       Class 12 OPEB Claims - Detroit General VEBA Claims (“General VEBA Claims”) in the
         amount of $218,000,000, plus contingent additional distributions from the Disputed COP
         Claims Reserve (“Contingent General VEBA Claims”);

4.       Class 12 OPEB Claims - Detroit Police and Fire VEBA Claims (“Police and Fire VEBA
         Claims”) in the amount of $232,000,000, plus contingent additional distributions from the
         Disputed COP Claims Reserve (“Contingent Police and Fire VEBA Claims”);

5.       Class 13 Allowed Downtown Development Authority Claims (“DDA Claims”) in the
         amount of $33,600,000; and

6.       Class 14 Allowed Other Unsecured Claims (“Other Unsecured Claims”).




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                         PRINCIPAL TERMS OF NEW C NOTES




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                                       NEW C NOTES
                                 SUMMARY OF PRINCIPAL TERMS1

        On the Effective Date, the City shall issue the New C Notes and distribute them as set
forth in the Plan. The definitive documentation governing the New C Notes shall provide
generally for the following terms:

Obligation                  Unsecured financial recovery bonds due 2026.

                            The City shall direct Parking Revenues into a lockbox account.
Parking Revenues            Once amounts sufficient to pay the principal of or interest due on the
Lockbox                     New C Notes for the then current fiscal year (the “Annual Set Aside
                            Requirement”) have been set aside, any excess may be transferred to the
                            City’s general fund and used for other purposes.

                            “Parking Revenues” shall mean (a) in the event the New C Notes are
                            issued in a principal amount equal to or less than the $21,271,804,
                            revenues collected from fines received by the City related to tickets
                            issued for parking violations, other than such revenues that would
Parking Violation           otherwise be paid to the 36th District Court (“Violations Revenue”), and
Revenue
                            (b) in the event the New C Notes are issued in a principal amount in
                            excess of $21,271,804, Violations Revenue, meter collections and
                            revenue from garage (other than Grand Circus) and boot and tow
                            operations.

Principal Amount            Not to exceed $88,430,021

                            5%.
                            In addition, in the event the City fails to make an interest and principal
Interest Rate               amortization payment when due (a “Payment Default”), the City shall
                            have thirty days, following written notice of such default (the “Cure
                            Period”), to cure such Payment Default. Failure to cure a Payment
                            Default within the Cure Period will result in application of additional
                            default rate interest of 2% until such Payment Default is cured.

Maturity                    12 years, callable at any time for par plus accrued interest.

                            The City shall make interest and principal amortization payments
Payment Date
                            annually on June 30.




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           Capitalized terms not otherwise defined herein shall have the meaning given to them in the Plan.




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                         Principal amortization in accordance with the schedule hereto such that
Amortization             the total annual principal and interest cash payment on the bonds is
                         $9,977,153.00 (or $2,400,000 with respect to Syncora).

                         In the event the City disposes of some or all of the City Parking Facilities
City Parking             subsequent to distribution of the New C Notes, the City shall use the net
Facilities Disposition   proceeds from such transaction to prepay the amount owed on account of
                         the New C Notes.

                         The City, to the extent required to effectuate the provisions of the New C
Effectuation of          Notes, shall (i) cause the Detroit Building Authority to convey the City
Provisions of New C      Parking Facilities to the City, and (ii) treat accounting of the Parking
Notes                    Revenues such that all Parking Revenues are deposited into a general
                         governmental account.




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                        FORM OF NEW C NOTES DOCUMENTS




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                             ORDER NO. __

      ORDER OF THE EMERGENCY MANAGER OF THE CITY OF DETROIT,
      COUNTY OF WAYNE, STATE OF MICHIGAN, AUTHORIZING THE
      ISSUANCE BY THE CITY OF DETROIT OF NOT TO EXCEED $88,430,021
      FINANCIAL RECOVERY BONDS IN ONE OR MORE SERIES FOR THE
      PURPOSE OF SATISFYING CERTAIN COP CLAIMS AS PROVIDED IN
      THE BANKRUPTCY CASE PLAN OF ADJUSTMENT; AND AUTHORIZING
      THE EMERGENCY MANAGER TO MAKE CERTAIN DETERMINATIONS
      AND TO TAKE CERTAIN ACTIONS IN CONNECTION WITH THE
      DELIVERY IN PARTIAL SATISFACTION THEREOF AND EXCHANGE OF
      SAID BONDS TO THE HOLDERS OF SAID CLAIMS.




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       ORDER OF THE EMERGENCY MANAGER OF THE CITY OF DETROIT,
       COUNTY OF WAYNE, STATE OF MICHIGAN, AUTHORIZING THE
       ISSUANCE BY THE CITY OF DETROIT OF NOT TO EXCEED $88,430,021
       FINANCIAL RECOVERY BONDS IN ONE OR MORE SERIES FOR THE
       PURPOSE OF SATISFYING CERTAIN COP CLAIMS AS PROVIDED IN
       THE BANKRUPTCY CASE PLAN OF ADJUSTMENT; AND AUTHORIZING
       THE EMERGENCY MANAGER TO MAKE CERTAIN DETERMINATIONS
       AND TO TAKE CERTAIN ACTIONS IN CONNECTION WITH THE
       DELIVERY IN PARTIAL SATISFACTION THEREOF AND EXCHANGE OF
       SAID BONDS TO THE HOLDERS OF SAID CLAIMS.


        WHEREAS, on March 1, 2013, the Governor (the “Governor”) of the State of Michigan
(the “State”) determined that a financial emergency existed within the City of Detroit, County of
Wayne, State of Michigan (the “City”) pursuant to the Local Government Fiscal Responsibility
Act, Act 72, Public Acts of Michigan, 1990, as amended (“Act 72”); and

       WHEREAS, on March 14, 2013, the Governor confirmed that a financial emergency ex-
isted within the City and, pursuant to Act 72, assigned to the Local Emergency Financial
Assistance Loan Board established pursuant to the Emergency Municipal Loan Act, Act 243
Public Acts of Michigan, 1980, as amended (the “Board”) the responsibility for managing the
financial emergency; and

      WHEREAS, on March 14, 2013, pursuant to Act 72, the Board appointed Kevyn D. Orr
as Emergency Financial Manager for the City; And

       WHEREAS, by operation of law the financial emergency continues to exist within the
City pursuant to the Local Financial Stability and Choice Act, Act 436, Public Acts of Michigan,
2012 (“Act 436”) and the Emergency Financial Manager continues in the capacity of the
Emergency Manager for the City (the “Emergency Manager”); and

       WHEREAS, on July 18, 2013 (the “Petition Date”), in accordance with Act 436 and the
approval of the Governor, the Emergency Manager filed on behalf of the City a petition for relief
pursuant to Chapter 9 of title 11 of the United States Code, 11 U.S.C. Sections 101-1532 (as
amended, the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District
of Michigan (the “Bankruptcy Court”); and

       WHEREAS, on August 20, 2014, the Emergency Manager filed on behalf of the City a
Sixth Amended Plan of Adjustment of the Debts of the City of Detroit (now and as subsequently
amended, the “Plan of Adjustment”) in the Bankruptcy Court to provide for the adjustment of the
debts of the City pursuant to and in accordance with Chapter 9 of the Bankruptcy Code; and

        WHEREAS, the Plan of Adjustment provides, among other things, for the satisfaction of
certain claims of unsecured creditors as set out in the Plan of Adjustment in exchange for the



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receipt of unsecured pro rata shares ( each a “Pro Rata Share”) of New C Notes (the “New C
Notes”); and

        WHEREAS, upon satisfaction of all of the terms and conditions required of the City
related to the confirmation of the Plan of Adjustment, the City shall establish the Business Day
upon which the Plan of Adjustment shall become effective (the “Effective Date”); and

       WHEREAS, on or as reasonably practicable after the Effective Date, the City shall
execute New C Notes Documents and issue New C Notes in the form of Financial Recovery
Bonds authorized under Section 36a of the Home Rule City Act, Act 279, Public Acts of
Michigan, 1909, as amended (“Act 279”) and this Order, and distribute the New C Notes, in the
form of the Financial Recovery Bonds, through the Litigation Trust, as defined in the Plan of
Adjustment, to Settling COP Claimants as provided in the Plan of Adjustment (the “Settling
COP Claimants”); and

       WHEREAS, the Emergency Manager of the City deems it necessary to authorize the
issuance of Financial Recovery Bonds in one or more series (the “Bonds”), in the aggregate
principal amount of not to exceed Eighty Eight Million Four Hundred Thirty Thousand Twenty
One Dollars ($88,430,021) pursuant to Section 36a of Act 279; and

       WHEREAS, the Bonds will be payable from City Parking Revenues or a portion thereof
and secured by a pledge of the City’s limited tax full faith and credit; and

       WHEREAS, Section 36a of Act 279 authorizes a city, for which a financial emergency
has been determined to exist, such as the City, to borrow money and issue Financial Recovery
Bonds subject to the terms and conditions approved by the Board; and

       WHEREAS, the City must receive prior approval of the terms and conditions for the
issuance of the Bonds from the Board in accordance with Section 36a of Act 279; and

        WHEREAS, the Emergency Manager desires to submit this Order to the Board proposing
the issuance by the City of Financial Recovery Bonds, in one or more series, under Section 36a
of Act 279, to provide for a portion of the financing of the City under the Plan of Adjustment,
solely to satisfy the Settling COP Claimants’ COP Claims; and

       WHEREAS, prior to submission of this Order to the Board, pursuant to Sections 12(1)(u)
and 19(i) of Act 436, the Emergency Manager must obtain approval of the issuance of the Bonds
by the City Council of the City (the “City Council”), and if the City Council disapproves the
issuance of the Bonds, the issuance of the Bonds must be approved by the Board.

       NOW, THEREFORE, BE IT ORDERED AS FOLLOWS:




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                                            ARTICLE I

                           DEFINITIONS AND INTERPRETATION


        Section 101. Definitions.    The words and terms defined in the preambles and recitals
hereof and the following words and terms as used in this Order shall have the meanings ascribed
therein, herein or in the Plan of Adjustment to them unless a different meaning clearly appears
from the context:

        “Account Control Agreement” means that certain Account Control Agreement by and
among the City, the Paying Agent and the Depository Bank in favor of the Paying Agent with
respect to the bank account that holds the City Parking Revenues.

         “Act 243” means Act No. 243, Public Acts of Michigan, 1980, as amended.

         “Act 279” means Act No. 279, Public Acts of Michigan, 1909, as amended.

         “Act 436” means Act No. 436, Public Acts of Michigan, 2012.

         “Authorized Denominations” shall mean denominations of Bonds equal to multiples of
$1.00.

        “Authorized Officer” means (i) the Emergency Manager or his designee or successor, or
if the City is no longer operating under a financial emergency pursuant to Act 436, the chief
administrative officer of the City, the Finance Director or his or her designee, or (ii) any other
person authorized by a Certificate of an Authorized Officer to act on behalf of or otherwise
represent the City in any legal capacity, which such certificate shall be delivered, if at all, in the
City’s sole discretion.

      “Bankruptcy Case” means the City’s Bankruptcy Case No. 13-53846 in the U.S.
Bankruptcy Court for the Eastern District of Michigan.

         “Bankruptcy Court” has the meaning set forth in the Plan of Adjustment.

         “Board” has the meaning set forth in recitals hereto.

        “Bond Counsel” means Miller, Canfield, Paddock and Stone, P.L.C., attorneys of Detroit,
Michigan, or such other nationally recognized firm of attorneys experienced in matters
pertaining to municipal bonds and appointed to serve in such capacity by the City with respect to
the Bonds.

       “Bond” or “Bonds” means the Financial Recovery Bonds, Series 2014C of the City
authorized to be issued by the Order in the aggregate principal amount not to exceed
$88,430,021, in one or more series, and bearing such other designations as determined by the
Authorized Officer in the Supplemental Order.

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         “Bond Registry” means the books for the registration of Bonds maintained by the Paying
Agent.

       “Bondowner”, “Owner” or “Registered Owner” means, with respect to any Bond, the
person in whose name such Bond is registered in the Bond Registry.

        “Business Day” means any day other than (i) a Saturday, Sunday or legal holiday, (ii) a
day on which the Paying Agent or banks and trust companies in New York, New York are
authorized or required to remain closed, (iii) a day on which the New York Stock Exchange is
closed, or (iv) a day on which the Federal Reserve is closed.

        “Certificate” means (i) a signed document either attesting to or acknowledging the
circumstances, representations or other matters therein stated or set forth or setting forth matters
to be determined pursuant to this Order.

         “Charter” means the Charter of the City, as amended from time to time.

         “City” means the City of Detroit, County of Wayne, State of Michigan.

         [“City Parking Facilities” means ______________________.]

          “City Parking Revenues” means revenues collected by the City related to (i) tickets
issued for parking violations, including, but not limited to, meter collections, towing, storage fees
and booting fees, other than revenues that would otherwise be paid to the 36th District Court, and
(ii) if the Bonds are issued in a principal amount greater than $21,271,804, garage operations at
City Parking Facilities, other than the Grand Circus Park facility.

         “Closing Date” means the Date of Original Issue.

         “Code” means the Internal Revenue Code of 1986, as amended.

         “Constitution” means the Constitution of the State of Michigan of 1963, as amended.

         “Confirmation Order” has the meaning set forth in recitals hereto.

         “COP Claims” has the meaning set forth in the Plan of Adjustment.

        “Date of Original Issue” means the date upon which all conditions precedent set forth in
the Bond Purchase Agreement to the transactions contemplated therein and herein have been
satisfied and the Bonds have been issued to the Purchaser.

        “Debt Retirement Fund” means the Debt Retirement Fund established under Section 501
hereof, and any subaccounts thereof established hereunder for the payment of principal of and
premium and interest on the Bonds.

      “Depository Bank” means a bank or banks or other financial institution which the
Emergency Manager of the City designates as depository of the City.

         “Emergency Manager” has the meaning set forth in the recitals hereto.

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       “Final Order” has the meaning set forth in the Plan of Adjustment.

       “Fiscal Year” means the period from July 1 to and including June 30 of the immediately
succeeding calendar year or such other fiscal year of the City as in effect from time to time.

        “Interest Payment Date” means June 30 of each year commencing with the June 30
specified in the Supplemental Order.

       “Interest Rate” means 5% per annum from the Date of Original Issue until the Maturity
Date, or such other interest rates as confirmed in the Supplemental Order.

       “Litigation Trust” has the meaning set forth in the Plan of Adjustment.

        “Maturity Date” means June 30, 20__ or such other final date of maturity of each series
of the Bonds as specified in the Supplemental Order.

       “Maximum Aggregate Principal Amount” has the meaning given such term in
Section 201.

      “Order” means this Order of the Emergency Manager as supplemented by the
Supplemental Order, and as amended from time to time pursuant to Article VII.

       “Outstanding” when used with respect to:

       (1)    the Bonds, means, as of the date of determination, the Bonds theretofore
              authenticated and delivered under this Order, except:

              (A)     Bonds theretofore canceled by the Paying Agent or delivered to such
                      Paying Agent for cancellation;

              (B)     Bonds for whose payment money in the necessary amount has been
                      theretofore deposited with the Paying Agent in trust for the registered
                      owners of such Bonds;

              (C)     Bonds delivered to the Paying Agent for cancellation in connection with
                      (x) the exchange of such Bonds for other Bonds or (y) the transfer of the
                      registration of such Bonds;

              (D)     Bonds alleged to have been destroyed, lost or stolen which have been paid
                      or replaced pursuant to this Order or otherwise pursuant to law; and

              (E)     Bonds deemed paid as provided in Section 701.

       “Paying Agent” means the bond registrar, transfer agent and paying agent for the Bonds.

       “Petition Date” has the meaning set forth in the recitals hereto.

       “Plan of Adjustment” has the meaning set forth in the recitals hereto.


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      “Registered Owner” means the registered owner of a Bond as the registered owner’s
name appears on the Bond Registry under Section 305.

       “Regular Record Date” has the meaning given such term in Section 302.

       “Security Depository” has the meaning given such term in Section 310.

       “Settling COP Claimant” has the meaning set forth in the Plan of Adjustment.

       “State” has the meaning set forth in the recitals hereto.

       “State Treasurer” means the Treasurer of the State of Michigan.

       “Supplemental Order” means the order or orders of the Authorized Officer making
certain determinations and confirming the final details on the Bonds upon issuance, in
accordance with the parameters of this Order.

       “Unsecured Pro Rata Share” has the meaning set forth in the Plan of Adjustment.

        Section 102. Interpretation. (a) Words of the feminine or masculine genders include
the correlative words of the other gender or the neuter gender.

        (b)    Unless the context shall otherwise indicate, words importing the singular include
the plural and vice versa, and words importing persons include corporations, associations,
partnerships (including limited partnerships), trusts, firms and other legal entities, including
public bodies, as well as natural persons.

       (c)      Articles and Sections referred to by number mean the corresponding Articles and
Sections of this Order.

       (d)     The terms “hereby, “hereof”, “hereto”, “herein”, “hereunder” and any similar
terms as used in this Order, refer to this Order as a whole unless otherwise expressly stated.


                                          ARTICLE II

                                     DETERMINATIONS

       Section 201. Finding, and Declaration of Need to Issue Bonds. The Emergency Manager
hereby finds and declares that it is necessary for the City to issue the Bonds hereunder in such
sum as shall be determined and approved by the Emergency Manager, not in excess of
$88,430,021 (the “Maximum Aggregate Principal Amount”), and to evidence such debt by the
issuance of the Bonds in one or more series not in excess of the Maximum Aggregate Principal
Amount, in Authorized Denominations, pursuant to and in accordance with the provisions of
Section 36a of Act 279, for the purpose of satisfying the Claims.




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                                         ARTICLE III

       AUTHORIZATION, REDEMPTION AND ASSIGNMENT OF THE BONDS

        Section 301. Authorization of Bonds to Satisfy the Claims and Pledge. The City hereby
authorizes the issuance of the Bonds as hereinafter defined in such principal amount as shall be
confirmed in the Supplemental Order to satisfy a portion of the COP Claims as determined by
the Authorized Officer in the Supplemental Order or subsequently confirmed by the Authorized
Officer to Bond Counsel. The principal of and interest on the Bonds shall hereby be payable
from (i) the City Parking Revenues and (ii) secured by the limited tax full faith and credit pledge
of the City.

        In the event of insufficient City Parking Revenues, the City pledges to pay the principal
of and interest on the Bonds as a first budget obligation from its general funds and in case of
insufficiency thereof, from the proceeds of an annual levy of ad valorem taxes on all taxable
property of the City, subject to applicable constitutional, statutory and charter tax rate
limitations.

        Section 302. Designations, Date, Interest, Maturity and Other Terms of the Bonds to
Satisfy the Claims. (a) The Bonds shall be designated “FINANCIAL RECOVERY BONDS,
SERIES 2014C” and may bear such later or earlier dates and additional or alternative
designations, series or subseries as the Authorized Officer may determine in the Supplemental
Order, shall be issued in fully registered form and shall be consecutively numbered from “R-1”
upwards, unless otherwise provided by the Authorized Officer in the Supplemental Order. The
Bonds shall be dated and issued in Authorized Denominations all as determined by the
Authorized Officer and confirmed by the Authorized Officer in the Supplemental Order.

        (b)     The Bonds of each series shall mature on the Maturity Date not more than 13
years from the Date of Original Issue and shall bear interest at the Interest Rate on a taxable
basis, payable on the Interest Payment Dates, all as shall be determined and confirmed by the
Authorized Officer in the Supplemental Order. Unless otherwise provided by the Authorized
Officer in the Supplemental Order, interest on the Bonds shall be calculated on the basis of a
360-day year and twelve 30-day months. The Bonds shall be payable, as to principal and
interest, in lawful money of the United States of America.

        (c)     Except as may be otherwise determined by the Authorized Officer in the
Supplemental Order, interest on the Bonds shall be payable to the Registered Owner as of the
15th day of the month, whether or not a Business Day (a “Regular Record Date”), prior to each
Interest Payment Date. Interest on the Bonds shall be payable to such Registered Owners by
check or draft drawn on the Paying Agent on each Interest Payment Date and mailed by first
class mail or, upon the written request of the Owner of $1,000,000 or more in aggregate principal
amount of Bonds (with complete wiring instructions no later than the Regular Record Date for
such Interest Payment Date), by wire transfer by the Paying Agent to such Owner. Such a
request may provide that it will remain in effect with respect to subsequent Interest Payment
Dates unless and until changed or revoked at any time prior to a Regular Record Date by
subsequent written notice to the Paying Agent.


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         (d)    Interest on Bonds not punctually paid or duly provided for on an Interest Payment
Date shall forthwith cease to be payable to the Registered Owners on the Regular Record Date
established for such Interest Payment Date, and may be paid to the Registered Owners as of the
close of business on a date fixed by the Paying Agent (a “Special Record Date”) with respect to
the payment of such defaulted interest to be fixed by the Paying Agent, or may be paid at any
time in any other lawful manner. The Paying Agent shall give notice to the Registered Owners
at least seven days before any such Special Record Date.

        (e)     The principal of the Bonds shall be payable to the Registered Owners of the
Bonds upon the presentation of the Bonds to the Paying Agent at the principal corporate trust
office of the Paying Agent.

        (f)    The Bonds shall be subject to optional, mandatory sinking fund and mandatory
redemption prior to maturity or shall not be subject thereto, upon such terms and conditions as
shall be determined by the Authorized Officer and confirmed in the Supplemental Order.

        Unless waived by any registered owner of Bonds to be redeemed, official notice of
redemption shall be given by the Paying Agent on behalf of the City. Such notice shall be dated
and shall contain at a minimum the following information: original issue date; maturity dates;
interest rates, CUSIP numbers, if any; certificate numbers, and in the case of partial redemption,
the called amounts of each certificate; the redemption date; the redemption price or premium; the
place where Bonds called for redemption are to be surrendered for payment; and that interest on
Bonds or portions thereof called for redemption shall cease to accrue from and after the
redemption date.

        In addition, further notice shall be given by the Paying Agent in such manner as may be
required or suggested by regulations or market practice at the applicable time, but no defect in
such further notice nor any failure to give all or any portion of such further notice shall in any
manner defeat the effectiveness of a call for redemption if notice thereof is given as prescribed
herein.

        Section 303. Execution, Authentication and Delivery of Bonds. The Bonds shall be
executed in the name of the City by the manual or facsimile signatures of the Mayor and the
Finance Director of the City and authenticated by the manual signature of the Finance Director
or an authorized representative of the Paying Agent, as the case may be, and a facsimile of the
seal of the City shall be imprinted on the Bonds. The Bonds shall be delivered to the Litigation
Trust for the Benefit of the Settling COP Claimants as described in the Plan of Adjustment.
Additional Bonds bearing the manual or facsimile signatures of the Mayor of the City and the
Finance Director, and upon which the facsimile of the seal of the City is imprinted may be
delivered to the Paying Agent for authentication and delivery in connection with the exchange or
transfer of Bonds. The Paying Agent shall indicate on each Bond the date of its authentication.

        Section 304. Authentication of the Bonds. (a) No Bond shall be entitled to any benefit
under this Order or be valid or obligatory for any purpose unless there appears on such Bond a
Certificate of Authentication substantially in the form provided for in Section 307 of this Order,
executed by the manual or facsimile signature of the Finance Director or by an authorized
signatory of the Paying Agent by manual signature, and such certificate upon any Bond shall be

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conclusive evidence, and the only evidence, that such Bond has been duly authenticated and
delivered hereunder.

       (b)     The Paying Agent shall manually execute the Certificate of Authentication on
each Bond upon receipt of a written direction of the Authorized Officer of the City to
authenticate such Bond.

        Section 305. Transfer of Registration and Exchanges on the Bonds. (a) The registration
of each Bond is transferable only upon the Bond Registry by the Registered Owner thereof, or by
his attorney duly authorized in writing, upon the presentation and surrender thereof at the
designated corporate trust office of the Paying Agent together with a written instrument of
transfer satisfactory to the Paying Agent, duly executed by the Registered Owner thereof or his
attorney duly authorized in writing, and thereupon one or more fully executed and authenticated
Bonds in any authorized denominations of like maturity and tenor, in equal aggregate principal
amount shall be issued to the transferee in exchange therefor.

       (b)     Each Bond may be exchanged for one or more Bonds in equal aggregate principal
amount of like maturity and tenor in one or more authorized denominations, upon the
presentation and surrender thereof at the principal corporate trust office of the Paying Agent
together with a written instrument of transfer satisfactory to the Paying Agent, duly executed by
the Registered Owner hereof or his attorney duly authorized in writing.

        Section 306. Regulations with Respect to Exchanges and Transfers. (a) In all cases in
which the privilege of exchanging Bonds or transferring the registration of Bonds is exercised,
the City shall execute and the Paying Agent shall authenticate and deliver Bonds in accordance
with the provisions of this Order. All Bonds surrendered in any such exchanges or transfers shall
be forthwith canceled by the Paying Agent.

       (b)     For every exchange or transfer of Bonds, the City or the Paying Agent may make
a charge sufficient to reimburse it for any tax, fee or other governmental charge required to be
paid with respect to such exchange or transfer and, except as otherwise provided in this Order,
may charge a sum sufficient to pay the costs of preparing each new Bond issued upon such
exchange or transfer, which shall be paid by the person requesting such exchange or transfer as a
condition precedent to the exercise of the privilege of making such exchange or transfer.

        (c)     The Paying Agent shall not be required (i) to issue, register the transfer of or
exchange any Bond during a period beginning at the opening of business 15 days before the day
of the giving of a notice of redemption of Bonds selected for redemption as described in the form
of Bonds contained in Section 307 of this Order and ending at the close of business on the day of
that giving of notice, or (ii) to register the transfer of or exchange any Bond so selected for
redemption in whole or in part, except the unredeemed portion of Bonds being redeemed in part.
The City shall give the Paying Agent notice of call for redemption at least 20 days prior to the
date notice of redemption is to be given.

        Section 307. Form of the Bonds. The Bonds shall be in substantially the following form
with such insertions, omissions, substitutions and other variations as shall not be inconsistent
with this Order or as approved by an Authorized Officer in the Supplemental Order:

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                                        [Form of Bonds]

[Unless this certificate is presented by an authorized representative of The Depository Trust
Company, a New York corporation (“DTC”) to the City (as hereinafter defined), or its agent for
registration of transfer, exchange, or payment and any certificate issued is registered in the name
of Cede & Co. or in such other name as is requested by an authorized representative of DTC (and
any payment is made to Cede & Co. or to such other entity as is requested by an authorized
representative of DTC), ANY TRANSFER, PLEDGE, OR OTHER USE HEREOF FOR
VALUE OR OTHERWISE BY OR TO ANY PERSON IS WRONGFUL inasmuch as the
registered owner hereof, Cede & Co., has an interest herein.]

                               UNITED STATES OF AMERICA
                                  STATE OF MICHIGAN
                                   COUNTY OF WAYNE

                                      CITY OF DETROIT
                       FINANCIAL RECOVERY BOND, SERIES 2014C


Interest Rate                 Maturity Date          Date of Original Issue                CUSIP

                                                     ___________, 2014

Registered Owner:

Principal Amount:                                                                          Dollars

         The City of Detroit, County of Wayne, State of Michigan (the “City”), acknowledges
itself to owe and for value received hereby promises to pay to the Registered Owner specified
above, or registered assigns, the Principal Amount specified above, in lawful money of the
United States of America, on the Maturity Date specified above, unless prepaid prior thereto as
hereinafter provided, with interest thereon at the Interest Rate specified above per annum from
the Date of Original Issue specified above until the Maturity Date specified above or until the
Principal Amount specified above is paid in full. Interest is payable annually on June 30 in each
year commencing on June 30, 20__ (each an “Interest Payment Date”). The interest so payable,
and punctually paid or duly provided for, will be paid, as provided in the hereinafter defined
Order, to the person in whose name this Bond is registered on the books maintained for such
purpose by the hereinafter defined Paying Agent (the “Bond Registry”), on the close of business
on the Regular Record Date for such interest payment, which shall be the fifteenth day (whether
or not a Business Day) of the calendar month immediately preceding such Interest Payment
Date. Any such interest not so punctually paid or duly provided for shall herewith cease to be
payable to the Registered Owner on such Regular Record Date, and may be paid to the person in
whose name this Bond is registered at the close of business on a Special Record Date for the
payment of such defaulted interest to be fixed by the Paying Agent, notice of which shall be
given to Registered Owners at least seven days before such Special Record Date, or may be paid
at any time in any other lawful manner.

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       Capitalized terms used herein but not defined herein, shall have the meanings ascribed to
them in the Order.

       The principal of this Bond is payable in lawful money of the United States of America
upon presentation and surrender of this Bond at the designated corporate trust office of
________________________________, __________, __________, as registrar, transfer agent
and paying agent under the Order (such bank and any successor as paying agent, the “Paying
Agent”). Interest on this Bond is payable in like money by check or draft drawn on the Paying
Agent and mailed to the Registered Owner entitled thereto, as provided above, by first class mail
or, upon the written request of a Registered Owner of at least $1,000,000 in aggregate principal
amount of Bonds (with complete wiring instructions no later than the Regular Record Date for
such Interest Payment Date), by wire transfer by the Paying Agent to such Registered Owner,
and such request may provide that it will remain in effect with respect to subsequent Interest
Payment Dates unless and until changed or revoked at any time prior to a Regular Record Date
by subsequent written notice to the Paying Agent. Interest shall be computed on the basis of a
360-day year consisting of twelve 30 day months. For prompt payment of this Bond, both
principal and interest, the full faith, credit and resources of the City are hereby irrevocably
pledged.

      In the event that the City fails to make a principal and interest payment when due (a
“Payment Default”), the City shall have 30 days, following written notice of such default (the
“Cure Period”), to cure such Payment Default. Failure to cure a Payment Default within the
Cure Period will result in application of additional default rate interest at the rate of 2% per
annum until such Payment Default is cured.

        This bond is one of a series of bonds aggregating the principal sum of $__________,
issued under and in full compliance with the Constitution and statutes of the State of Michigan,
and particularly Section 36a of Act No. 279, Public Acts of Michigan, 1909, as amended (“Act
279”), for the purpose of satisfying certain Claims, as defined in the Order. The Bonds are
limited tax general obligations of the City, and the City is obligated to levy annually ad valorem
taxes on all taxable property in the Issuer, subject to applicable constitutional, statutory and
charter tax rate limitations. Pursuant to the Authorizing Orders, the bonds of this series (the
“Bonds”) are payable in the first instance from the City Parking Revenues.

       The “Order” is an Order of the Emergency Manager issued on ________, 2014,
supplemented by a Supplemental Order of an Authorized Officer of the City issued on
___________, 2014, authorizing the issuance of the Bonds.

       The bonds of this series shall be subject to redemption prior to maturity as follows:

        (a) Optional Redemption. Bonds or portions of bonds in Authorized Denominations of
integral multiples of $1.00 are subject to redemption prior to maturity, at the option of the Issuer,
in such order as the Issuer may determine, and by lot within a maturity on any date after the Date
of Original Issue, at a redemption price of par plus accrued interest to the date fixed for
redemption.




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        (b) Mandatory Sinking Fund Redemption. This bond is subject to mandatory sinking
fund redemption in part prior to maturity, by lot in such manner as the Paying Agent may
determine, at a redemption price of 100% of the principal amount thereof plus interest accrued to
the date fixed for redemption, on the dates and in the principal amounts as follows:

                             Date (June 30)         Principal Amount
                                 20__                           $
                                 20__
                                 20__
                                 20__
                                 20__
                                 20__
                                 20__
                                 20__
                                 20__
                                 20__
                                 20__
                                 20__†
†Final Maturity

        The amounts to be so redeemed may be reduced by the principal amounts of this bond
theretofore redeemed (otherwise than through operation of the Mandatory Sinking Fund
Redemption described above), or otherwise acquired and delivered to the Paying Agent, at least
45 days prior to the payment date for credit against the Mandatory Sinking Fund Redemption
requirement described above and shall be applied in direct order of date of redemption.

       (c)     Mandatory Redemption from Proceeds of Sale of City Parking Facilities. In the
event the City sells any City Parking Facilities, this bond is subject to redemption in part at a
price equal to the principal amount to be redeemed plus accrued interest to the date fixed for
redemption from the net proceeds of such disposition.

        General Redemption Provisions. In case less than the full amount of an outstanding bond
is called for redemption, the Paying Agent, upon presentation of the bond called for redemption,
shall register, authenticate and deliver to the registered owner of record a new bond in the
principal amount of the portion of the original bond not called for redemption.

        Notice of redemption shall be given to the registered owners of Bonds or portions thereof
called for redemption by mailing of such notice not less than thirty (30) days but not more than
sixty (60) days prior to the date fixed for redemption to the registered address of the registered
owner of record. Bonds or portions thereof so called for redemption shall not bear interest after
the date fixed for redemption, whether presented for redemption or not, provided funds are on
hand with the Paying Agent to redeem such Bonds.

       Event of Default Provisions. The Bonds and the Bonds are subject to, Events of Default
and acceleration in the manner, at the times and subject to the conditions specified in the
Indenture and incorporated herein and made a part hereof by reference.

        Reference is hereby made to the Order for the provisions with respect to the nature and
extent of the security for the Bonds, the manner and enforcement of such security, the rights,
duties and obligations of the City, and the rights of the Paying Agent and the Registered Owners

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of the Bonds. As therein provided, the Order may be amended in certain respects without the
consent of the Registered Owners of the Bonds. A copy of the Order is on file and available for
inspection at the office of the Finance Director and at the principal corporate trust office of the
Paying Agent.

        The City and the Paying Agent may treat and consider the person in whose name this
Bond is registered on the Bond Registry as the absolute owner hereof, whether this Bond shall be
overdue or not, for the purpose of receiving payment of, or on account of, the principal hereof
and interest hereon and for all other purposes whatsoever, and all such payments so made to such
person or upon his order shall be valid and effectual to satisfy and discharge the liability hereon
to the extent of the sum or sums so paid.

        The registration of this Bond is transferable only upon the Bond Registry by the
Registered Owner hereof or by his attorney duly authorized in writing upon the presentation and
surrender hereof at the designated corporate trust office of the Paying Agent together with a
written instrument of transfer satisfactory to the Paying Agent, duly executed by the Registered
Owner hereof or his attorney duly authorized in writing, and thereupon one or more fully
executed and authenticated Bonds in any authorized denominations of like maturity and tenor, in
equal aggregate principal amount shall be issued to the transferee in exchange therefor as
provided in the Resolution upon the payment of the charges, if any, therein prescribed.

        It is hereby certified, recited and declared that all acts, conditions and things required by
law to exist, happen and to be performed, precedent to and in the issuance of the Bonds do exist,
have happened and have been performed in due time, form and manner as required by the
Constitution and statutes of the State of Michigan, and that the total indebtedness of the City,
including the Bonds does not exceed any constitutional, statutory or charter limitation.

       This Bond is not valid or obligatory for any purpose until the Paying Agent’s Certificate
of Authentication on this Bond has been executed by the Paying Agent.




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        IN WITNESS WHEREOF, the City of Detroit, by its Mayor, has caused this bond to be
signed in the name of the City by the facsimile signatures of its Mayor and Finance Director of
the City, and a facsimile of its corporate seal to be printed hereon, all as of the Date of Original
Issue.

                                               CITY OF DETROIT

                                               By:
                                                     Mayor


                                               By:
                                                     Finance Director

(SEAL)




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                   (Form of Paying Agent’s Certificate of Authentication)


DATE OF AUTHENTICATION:


                         CERTIFICATE OF AUTHENTICATION

      This bond is one of the bonds described in the within-mentioned Order.



__________________________
__________________________
___________, Michigan
Paying Agent



By:
      Authorized Signatory




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                                        ASSIGNMENT

       FOR VALUE RECEIVED the undersigned hereby sells, assigns and transfers unto



______________________________________________________________________________
                (Please print or typewrite name and address of transferee)


        the within bond and all rights thereunder, and hereby irrevocably constitutes and appoints
___________________________ attorney to transfer the within bond on the books kept for
registration thereof, with full power of substitution in the premises.

Dated:                                                _____________________________________
_______________________________                       _____________________________________

Signature Guaranteed:                                 NOTICE: The signature(s) to this assignment
                                                      must correspond with the name as it appears
                                                      upon the face of the within bond in every
                                                      particular, without alteration or enlargement
                                                      or any change whatever. When assignment is
                                                      made by a guardian, trustee, executor or
                                                      administrator, an officer of a corporation, or
                                                      anyone in a representative capacity, proof of
                                                      such person’s authority to act must
                                                      accompany the bond.



       Signature(s) must be guaranteed by a commercial bank or trust company or by a
brokerage firm having a membership in one of the major stock exchanges. The transfer agent
will not effect transfer of this bond unless the information concerning the transferee requested
below is provided.
                                                        Name and Address: ________________
PLEASE INSERT SOCIAL                                   __________________________________
SECURITY NUMBER OR OTHER                               __________________________________
IDENTIFYING NUMBER OF                                    (Include information for all joint owners
TRANSFEREE.                                                 if the bond is held by joint account.)


(Insert number for first named
transferee if held by joint account.)




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       Section 308. Registration. The City and the Paying Agent may treat and consider the
Registered Owner of any Bond as the absolute owner of such Bond, whether such Bond shall be
overdue or not, for the purpose of receiving payment of, or on account of, the principal (and
premium, if any) thereof and interest thereon and for all other purposes whatsoever, and all such
payments so made to such Bondowner or upon his order shall be valid and effectual to satisfy
and discharge the liability upon such Bond to the extent of the sum or sums so paid.

       Section 309. Mutilated, Destroyed, Stolen or Lost Bonds. (a) Subject to the provisions
of Act 354, Public Acts of Michigan, 1972, as amended and any other applicable law, if (i) any
mutilated Bond is surrendered to the Paying Agent or the City and the Paying Agent and the City
receive evidence to their satisfaction of the destruction, loss or theft of any Bond and (ii) there is
delivered to the City and the Paying Agent such security or indemnity as may be required by
them to save each of them harmless, then, in the absence of notice to the City or the Paying
Agent that such Bond has been acquired by a bona fide purchaser, the City shall execute and the
Paying Agent shall authenticate and deliver in exchange for or in lieu of any such mutilated,
destroyed, lost or stolen Bond, a new Bond of like tenor and principal amount, bearing a number
not contemporaneously outstanding.

      (b)    If any such mutilated, destroyed, lost or stolen Bond has become or is about to
become due and payable, the City in its discretion may, instead of issuing a new Bond, pay such
Bond.

        (c)    Any new Bond issued pursuant to this Section in substitution for a Bond alleged
to be mutilated, destroyed, stolen or lost shall constitute an original additional contractual
obligation on the part of the City, and shall be equally secured by and entitled to equal
proportionate benefits with all other Bonds issued under this Order.

        Section 310. Book-Entry-Only System Permitted. (a) If determined by the Authorized
Officer in the Supplemental Order, the Bonds or portions of the Bonds shall be issued to a
securities depository selected by the Authorized Officer (the “Security Depository”) to be held
pursuant to the book-entry-only system maintained by the Security Depository and registered in
the name of the Security Depository or its nominee. Ownership interests in Bonds held under
such book-entry-only system shall be determined pursuant to the procedures of the Security
Depository and Article 8 of the applicable Uniform Commercial Code (such persons having such
interests, “Beneficial Owners”).

         (b)    If (i) the City and the Paying Agent receive written notice from the Security
Depository to the effect that the Security Depository is unable or unwilling to discharge its
responsibilities with respect to the Bonds under the book-entry-only system maintained by it or
(ii) the Authorized Officer determines that it is in the best interests of the Beneficial Owners that
they be able to obtain Bonds in certificated form, then the City may so notify the Security
Depository and the Paying Agent, and, in either event, the City and the Paying Agent shall take
appropriate steps to provide the Beneficial Owners with Bonds in certificated form to evidence
their respective ownership interests in the Bonds. Whenever the Security Depository requests
the City and the Paying Agent to do so, the Authorized Officer on behalf of the City and the
Paying Agent will cooperate with the Security Depository in taking appropriate action after


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reasonable notice to make available Bonds registered in whatever name or names the Beneficial
Owners transferring or exchanging Bonds shall designate.

      (c)     Notwithstanding any other provision of the Order to the contrary, so long as the
Bonds are held pursuant to the book-entry-only system maintained by the Security Depository:

               (i)    all payments with respect to the principal and interest on such Bonds and
       all notices with respect to such Bonds shall be made and given, respectively, to the
       Security Depository as provided in the representation letter from the City and the Paying
       Agent to the Security Depository with respect to such Bonds; and

             (ii)    all payments with respect to principal of the Bonds and interest on the
       Bonds shall be made in such manner as shall be prescribed by the Security Depository.

                                         ARTICLE IV

                                  FUNDS AND ACCOUNTS

        Section 401. Establishment of Accounts and Funds. The City hereby establishes and
creates the following special, separate and segregated accounts and funds:

       (a)    City Parking Revenue Fund. There is hereby established at the Depository Bank
the City Parking Revenue Fund. City Parking Revenues shall be directly remitted to and
deposited by the Depository Bank into the City Parking Revenue Fund as provided in Section
801.

       (b)     Debt Retirement Fund. The City hereby establishes and creates the Debt
Retirement Fund as a special, separate and segregated account and fund which shall be held for
and on behalf of the City by the Paying Agent.

       (c)     The Finance Director is hereby authorized to establish such additional accounts,
subaccounts or funds as shall be required for the Bonds to accommodate the requirements of
such series of Bonds.

        Section 402. Debt Retirement Fund. General funds of the City, proceeds of all City
Parking Revenues transferred by the Depository Bank pursuant to Section 801 and taxes levied
pursuant to Section 301 hereof shall be used to pay the principal of and interest on the Bonds
when due. The foregoing amounts shall be placed in the Debt Retirement Fund and held in trust
by the Paying Agent, and so long as the principal of or interest on the Bonds shall remain unpaid,
no moneys shall be withdrawn from the Debt Retirement Fund except to pay such principal and
interest. Any amounts remaining in the Debt Retirement Fund after payment in full of the Bonds
and the fees and expenses of the Paying Agent shall be retained by the City to be used for any
lawful purpose.

       Section 403. Investment of Monies in the Funds and Accounts. (a) The Finance Director
shall direct the investment of monies on deposit in the Funds and Accounts established
hereunder, and the Paying Agent, upon written direction or upon oral direction promptly

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confirmed in writing by the Finance Director, shall use its best efforts to invest monies on
deposit in the Funds and Accounts in accordance with such direction.

       (b)    Monies on deposit in the Funds and Accounts may be invested in such
investments and to the extent permitted by applicable law.

        Section 404. Satisfaction of COP Claims. On the Effective Date, the City shall issue the
Bonds in an amount sufficient to satisfy the portion of the COP Claims to be satisfied thereby.
An Authorized Officer shall arrange for delivery of the Bonds to the Litigation Trust to be
distributed to satisfy the portion of the COP Claims on behalf of the Settling COP Claimants as
provided in the Plan of Adjustment. Upon delivery of the Bonds to the Litigation Trustee, an
Authorized Officer shall take all necessary steps to extinguish any related existing debt,
including the cancellation of any obligation of the City representing portions of the COP Claims
settled thereby.

                                          ARTICLE V

                                    THE PAYING AGENT

        Section 501. Paying Agent. The Paying Agent for the Bonds shall act as bond registrar,
transfer agent and paying agent for the Bonds and shall be initially _______________________,
or such other bank or trust company located in the State which is qualified to act in such capacity
under the laws of the United States of America or the State. The Paying Agent means and
includes any company into which the Paying Agent may be merged or converted or with which it
may be consolidated or any company resulting from any merger, conversion or consolidation to
which it shall be a party or any company to which the Paying Agent may sell or transfer all or
substantially all of its corporate trust business, provided, that such company shall be a trust
company or bank which is qualified to be a successor to the Paying Agent as determined by an
Authorized Officer, shall be authorized by law to perform all the duties imposed upon it by this
Order, and shall be the successor to the Paying Agent without the execution or filing of any
paper or the performance of any further act, anything herein to the contrary notwithstanding. An
Authorized Officer is authorized to enter into an agreement with such a bank or trust company,
and from time to time as required, may designate a similarly qualified successor Paying Agent
and enter into an agreement therewith for such services.


                                          ARTICLE VI

                    SUPPLEMENTAL ORDERS AND RESOLUTIONS

       Section 601. Supplemental Orders and Resolutions Not Requiring Consent of Holders of
the Bonds. The City may without the consent of any Bondowner adopt orders or resolutions
supplemental to this Order for any one or more of the following purposes:

       (i)     to confirm or further assure the security hereof or to grant or pledge to the holders
               of the Bonds any additional security;


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       (ii)    to add additional covenants and agreements of the City for the purposes of further
               securing the payment of the Bonds;

       (iii)   to cure any ambiguity or formal defect or omission in this Order; and

       (iv)    such other action not materially, adversely and directly affecting the security of
               the Bonds.

provided that (A) no supplemental order or resolution amending or modifying the rights or
obligations of the Paying Agent shall become effective without the consent of the Paying Agent
and (B) the effectiveness of any supplemental resolution is subject to Section 702 to the extent
applicable.

        Section 602. Bond Counsel Opinion. Before any supplemental order or resolution under
this Article shall become effective, a copy thereof shall be filed with the Paying Agent, together
with an opinion of Bond Counsel that such supplemental order or resolution is authorized or
permitted by this Article; provided that, Bond Counsel in rendering any such opinion shall be
entitled to rely upon certificates of an Authorized Officer or other City official, and opinions or
reports of consultants, experts and other professionals retained by the City to advise it, with
respect to the presence or absence of facts relative to such opinion and the consequences of such
facts.

                                         ARTICLE VII

                                        DEFEASANCE

        Section 701. Defeasance. Bonds shall be deemed to be paid in full upon the deposit in
trust of cash or direct obligations of, or obligations the principal of and interest on which are
unconditionally guaranteed by, the United States of America, or any combination thereof, not
redeemable at the option of the issuer thereof, the principal and interest payments upon which,
without reinvestment thereof, will come due at such times and in such amounts, as to be fully
sufficient to pay when due, the principal of such Bonds and interest to accrue thereon, as
confirmed by a verification report prepared by an independent certified public accountant;
provided, that if any of such Bonds are to be called for redemption prior to maturity, irrevocable
instructions to call such Bonds for redemption shall be given to the Paying Agent. Such cash and
securities representing such obligations shall be deposited with a bank or trust company and held
for the exclusive benefit of the Owners of such Bonds. After such deposit, such Bonds shall no
longer be entitled to the benefits of this Order (except for any rights of transfer or exchange of
Bonds as therein or herein provided for) and shall be payable solely from the funds deposited for
such purpose and investment earnings, if any, thereon, and the lien of this Order for the benefit
of such Bonds shall be discharged.




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                                        ARTICLE VIII

                  OTHER PROVISIONS OF GENERAL APPLICATION

       Section 801. Account Control Agreement. (a)          The City shall enter into the Account
Control Agreement with the Depository Bank and the Paying Agent, pursuant to which the bank
account described in Section 401(a) shall be established at the Depository Bank. Daily, City
Parking Revenues deposited in the City Parking Revenue Fund shall be remitted by the
Depository Bank to the Debt Retirement Fund held by the Paying Agent until sufficient funds are
on deposit therein to pay the principal and interest payable on the Bonds during that fiscal year
(the “Annual Deposit Requirement”). Once the Annual Deposit Requirement is satisfied, any
additional City Parking Revenues shall be remitted to the City for deposit into its general fund
and used for any other purposes permitted by law.

       (b)   In connection with the execution of any of the agreements authorized by this
Section, an Authorized Officer is authorized to include therein such covenants as shall be
appropriate.

        Section 802. Agreements with Third Parties Related to Deposit of City Parking
Revenues; Approval of Third Parties. The Emergency Manager is hereby authorized and
directed on behalf of the City to take any and all other actions and perform any and all acts that
shall be required, necessary or desirable, including, but not limited to, negotiate the terms and
enter into the Account Control Agreement in such form and with such terms as shall be
subsequently approved by the Emergency Manager (such subsequent approval to be conclusively
evidenced by his execution and delivery of the Account Control Agreement) as security for the
Bonds.

       Section 803. Approval of Other Documents and Actions. The Mayor, the Finance
Director, the Treasurer, the City Clerk and any written designee of the Emergency Manager are
each hereby authorized and directed on behalf of the City to take any and all other actions,
perform any and all acts and execute any and all documents that shall be required, necessary or
desirable to implement this Order.

        Section 804. Delegation of City to, and Authorization of Actions of Authorized Officers.
(a) Each Authorized Officer is hereby authorized and directed to do and perform any and all acts
and things with respect to the Bonds which are necessary and appropriate to carry into effect,
consistent with this Order, the authorizations therein and herein contained, including without
limitation, the securing of ratings by bond rating agencies, if cost effective, the negotiation for
and acquisition of bond insurance and/or other credit enhancement, if any, to further secure the
Bonds or any portions thereof, the acquisition of an irrevocable surety bond to fulfill the City’s
obligation to fund any reserve account, the printing of the Bonds and the incurring and paying of
reasonable fees, costs and expenses incidental to the foregoing and other costs of issuance of the
Bonds including, but not limited to fees and expenses of bond counsel, financial advisors,
accountants and others, from Bond proceeds or other available funds, for and on behalf of the
City.



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       (b)     Except as otherwise provided herein, all determinations and decisions of the
Authorized Officer with respect to the issuance and sale of the Bonds or the negotiation,
execution or delivery of agreements as permitted or required by this Order shall be confirmed by
this Authorized Officer in a Supplemental Order or Supplemental Orders, and such
confirmations shall constitute determinations that any conditions precedent to such
determinations and decisions of the Authorized Officer have been fulfilled.

       Section 805. Approving Legal Opinions with Respect to the Bonds. Delivery of the
Bonds shall be conditioned upon receiving, at the time of delivery of the Bonds; the approving
opinion of Bond Counsel, approving legality of the Bonds.

       Section 806. Appointment of Bond Counsel; Engagement of Other Parties.                  The
appointment by the Emergency Manager of the law firm of Miller, Canfield, Paddock and Stone,
P.L.C. of Detroit, Michigan, as Bond Counsel for the Bonds is hereby ratified and confirmed,
notwithstanding the periodic representation by Miller, Canfield, Paddock and Stone, P.L.C., in
unrelated matters of other parties and potential parties to the issuance of the Bonds. The fees and
expenses of Miller, Canfield, Paddock and Stone, P.L.C. as Bond Counsel and other accumulated
bond related fees and expenses shall be payable from available funds in accordance with the
agreement of such firm on file with the Finance Director.

        Section 807. Preservation of Records. So long as any Bond remains Outstanding, all
documents received by the Paying Agent under the provisions of this Order shall be retained in
its possession and shall be subject at all reasonable times to the inspection of the City, and the
Bondowners, and their agents and representatives, any of whom may make copies thereof.

        Section 808. Parties in Interest. Nothing in this Order, expressed or implied, is intended
or shall be construed to confer upon, or to give to, any person or entity, other than the City, the
Paying Agent and the Owners of the Bonds, any right, remedy or claim under or by reason of this
Order or any covenant, condition or stipulation hereof, and all covenants, stipulations, promises
and agreements in this Order contained by and on behalf of the City or Paying Agent shall be for
the sole and exclusive benefit of the City, the Paying Agent and the Bondowners.

        Section 809. No Recourse Under Resolution. All covenants, agreements and obligations
of the City contained in this Order shall be deemed to be the covenants, agreements and
obligations of the City and not of any councilperson, member, officer or employee of the City in
his or her individual capacity, and no recourse shall be had for the payment of the principal of or
interest on the Bonds or for any claim based thereon or on this Order against any councilperson,
member, officer or employee of the City or any person executing the Bonds in his or her official
individual capacity.

       Section 810. Severability. If any one or more sections, clauses or provisions of this
Order shall be determined by a court of competent jurisdiction to be invalid or ineffective for any
reason, such determination shall in no way affect the validity and effectiveness of the remaining
sections, clauses and provisions hereof.

       Section 811 Cover Page, Table of Contents and Article and Section Headings. The cover
page, table of contents and Article and Section headings hereof are solely for convenience of

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reference and do not constitute a part of this Order, and none of them shall affect its meaning,
construction or effect.

        Section 812 Conflict. All resolutions or parts of resolutions or other proceedings of the
City in conflict herewith shall be and the same hereby are repealed insofar as such conflict exists.

       Section 813 Governing Law and Jurisdiction. This Order shall be governed by and
construed in accordance with the laws of the State.

       Section 814 Order and Supplemental Order are a Contract. The provisions of this Order
and the Supplemental Order shall constitute a contract between the City, the Paying Agent and
the Bondowners.

       Section 815 Effective Date. This Order shall take effect immediately upon its adoption
by the Council.

        Section 816 Notices. All notices and other communications hereunder shall be in
writing and given by United States certified or registered mail, expedited courier overnight
delivery service or by other means (including facsimile transmission) that provides a written
record of such notice and its receipt. Notices hereunder shall be effective when received and
shall be addressed to the address set forth below or to such other address as any of the below
persons shall specify to the other persons:


If to the City, to:                           City of Detroit
                                              Finance Department
                                              1200 Coleman A. Young Municipal Center
                                              Detroit, Michigan 48226
                                              Attention: Finance Director


If to the Paying Agent, to:                   _______________________


                                              Attention:



        SO ORDERED this ____ day of September, 2014.

                                              __________________________________________
                                                 Kevyn D. Orr
                                                 Emergency Manager
                                                 City of Detroit, Michigan




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                      FORM OF NEW GRS ACTIVE PENSION PLAN




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             COMBINED PLAN
                FOR THE
      GENERAL RETIREMENT SYSTEM
                 OF THE
       CITY OF DETROIT, MICHIGAN

                 Amendment and Restatement Effective July 1, 2014




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                           ARTICLE 1. GENERAL PROVISIONS

Sec. 1.1.   General Retirement System Established; Adoption of 2014 Combined Plan
            Document; Amendment and Restatement of 2014 Combined Plan Document

        Effective July 1, 1938, a General Retirement System for the employees of the City of
Detroit was established for the purpose of providing retirement and survivor benefits for eligible
City employees and their beneficiaries. The provisions of the Detroit General Retirement
System, as in effect July 1, 2014, were set forth in a Combined Plan Document. As provided in
Ordinance 19-14 and Ordinance 20-14 and Section 47-1-1 of the Detroit City Code, this
Combined Plan Document replaced in its entirety Chapter 47 of the Detroit City Code as in
effect on June 30, 2014 and any conflicting provisions in any collective bargaining agreements
covering Members (including, without limitation, the City Employment Terms that applied to
Members effective July 18, 2012). All resolutions and policies of the Retirement Board
previously adopted which were inconsistent with the provisions of the Combined Plan Document
were also repealed to the extent of such inconsistency.

        The Combined Plan Document is hereby amended and restated effective July 1, 2014, in
the form of this instrument. Component I of the Combined Plan Document applies to benefits
accrued by Members on and after July 1, 2014 and to operation of the Detroit General
Retirement System on and after July 1, 2014. Component II of the Combined Plan Document
applies to benefits accrued by Members prior to July 1, 2014. Except as specifically provided in
Component II, benefits provided under Component II of the Combined Plan Document are
frozen effective June 30, 2014.

Sec. 1.2.   Retirement System Intended to be Tax-Qualified

       The Retirement System is a governmental plan under Section 414(d) of the Internal
Revenue Code which is intended to be a qualified plan and trust pursuant to applicable
provisions of the Internal Revenue Code. The Board shall construe and administer the
provisions of the Retirement System in a manner that gives effect to the tax-qualified status of
the Retirement System.

Sec. 1.3.   Compliance With Plan of Adjustment

        The Retirement System is intended to comply with all relevant provisions (including
Exhibits) of the Plan for the Adjustment of Debts of the City of Detroit, as approved by the
United States Bankruptcy Court in In re City of Detroit, Michigan, Case No. 13-53846 (“Plan of
Adjustment”). Component I and Component II of the Combined Plan shall be interpreted and
construed by the City, the Board of Trustees and the Retirement System to give full effect to the
Plan of Adjustment. To the extent that a conflict arises between the Combined Plan Document
and the Plan of Adjustment, the City, the Board of Trustees, the Investment Committee and the
Retirement System are directed to interpret any inconsistency or ambiguity to give full effect to
the Plan of Adjustment.




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Sec. 1.4.   Board of Trustees

       Effective July 1, 1938, a Board of Trustees of the Detroit General Retirement System was
created. The Board is vested with responsibility for the general administration, management and
operation of the Detroit General Retirement System and with the trust and investment powers
conferred in this Combined Plan Document.

Sec. 1.5.   Board of Trustees – Membership; Appointment

       The Board of Trustees of the Detroit General Retirement System shall consist of ten
Trustees, as follows:

(1)    The Mayor, ex officio, or the Mayor’s designee;

(2)    One City Council member, ex officio, who is selected by the City Council;

(3)    The City Treasurer, ex officio;

(4)    Five active employee Members of the Retirement System to be elected by the Members
       in accordance with such rules and regulations as may be adopted by the Board. No more
       than one Trustee shall be elected from any one City Department;

(5)    One individual, appointed by the Mayor subject to the approval of the Board, who is
       neither an employee of the City nor is eligible to receive benefits under the Retirement
       System; and

(6)    One retiree who is receiving benefits under the Retirement System and who is elected by
       Retirees in accordance with procedures described in Section 1.6.

Sec. 1.6.   Board of Trustees; Retiree Member Election

        The procedures for the election of the Retiree member of the Board of Trustees shall be
as follows:

(1)    Notice. Notice of a primary election shall be sent to each Retiree by United States Mail.

(2)    Nominating petitions. No candidate’s name shall be placed on the primary election ballot
       unless a nominating petition containing the signatures of at least one hundred and twenty-
       five Retirees is filed with the executive director of the Retirement System. The form of
       the nominating petition, the filing of the petition, and the procedure for verification of
       signatures shall be in accordance with rules and regulations adopted by the Board.
       Notwithstanding the foregoing, an incumbent Retiree Trustee shall not be required to
       submit a nominating petition but instead shall submit a written communication indicating
       his or her intention to seek an additional term.




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(3)    Ballot. Each candidate whose name appears on the ballot at any election held for the
       office of Retiree Trustee shall be identified by the title of the position held by the Retiree
       at the time of retirement and by the word “incumbent” if the candidate is a current trustee
       seeking re-election. No ballot shall contain any organizational or political designation or
       mark. Rotation and arrangement of names on the ballot shall be in accordance with the
       rules and regulations of the Board.

(4)    Voting. Procedures regarding mailing of ballots, poll lists, custody of ballots, marking of
       ballots, return of ballots, handling of return envelopes received, and sealed ballot boxes
       shall be the same as those adopted and followed by the Board in the immediately
       preceding election of an active employee Trustee.

(5)    Procedures. Procedures regarding the selection and certification of successful candidates
       for nomination, the selection of Trustees from nominees, tie votes, and the destruction of
       ballots shall be the same as those adopted and followed by the Board in the immediately
       preceding election of an active employee Trustee.

(6)    Board Rules. Any matters relative to the election of the Retiree member of the Board not
       covered by this Section 1.6 shall be handled in accordance with such rules and
       regulations as the Board may adopt.

Sec. 1.7.   Board of Trustees; Oath; Term; Vacancies

      Within ten days after appointment or election, each Trustee shall take an oath of office to
be administered by the Detroit City Clerk.

       The regular term of office for the elected Member Trustees and the Trustee appointed by
the Mayor under Section 1.5(5) shall be for a period of six years, one such Trustee to be elected
or appointed, as the case may be, each year. The term of office for the Retiree Trustee shall be
two years.

        If an active employee Trustee leaves the employ of the City, or if an elected or appointed
Trustee fails to attend four consecutive scheduled Board meetings without being excused for
cause by the Trustees attending such meetings, the Trustee shall be considered to have resigned
from the Board. By resolution, the Board shall declare the office vacated as of the date of
adoption of such resolution. If a vacancy occurs in the office of Trustee, the vacancy shall be
filled at the next regular election held by the Board, or at any special election ordered by
resolution adopted by the Board.

Sec. 1.8.   Board of Trustees; Officers and Employees

       The Board shall elect a chair and vice-chair from its members. The executive director of
the Retirement System or its designee shall serve as secretary of the Board. The Board may
employ such actuarial, medical and other contractors and employees as shall be required, subject
to the powers and authority reserved to the Investment Committee and subject to the Public
Employee Retirement System Investment Act, as amended, MCL 38.1132 et seq.




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Sec. 1.9.   Board of Trustees; Meetings; Rules of Procedure; Votes; Quorum

(1)    The Board shall hold regular meetings, at least one in each month, and shall hold special
       meetings as necessary. The Board shall designate the time and place thereof in advance.
       The Board shall adopt its own rules of procedure, including provisions for special
       meetings and notice thereof, and shall keep a record of proceedings. All meetings of the
       Board shall be public and are subject to the Michigan Open Meetings Act, MCL 15.261 et
       seq. All Board meetings shall be held within the City of Detroit.

(2)    Each Trustee shall be entitled to one vote on each question before the Board. A majority
       vote of the Trustees present shall be necessary for a decision by the Trustees at any
       meeting of the Board.

(3)    Five Trustees shall constitute a quorum.

Sec. 1.10. Board of Trustees; Compensation; Expenses

      Members of the Board of Trustees shall serve without additional compensation from the
Employer, but they shall be compensated by the Retirement System as follows:

(1)    Stipend. Trustees are eligible for a meeting stipend, provided the Trustee attends one or
       more regular or special Board meetings during a month. The stipend amount shall be a
       minimum of sixty-seven dollars ($67.00) per week multiplied by the Trustee’s years of
       service. Eligibility rules and the amount of the stipend shall be set by Board resolution.
       However, the amount of the weekly meeting stipend shall not exceed two hundred dollars
       ($200.00).

(2)    Ex Officio Trustees. Ex Officio Trustees are not eligible for a stipend payment.

(3)    Attendance. For purposes of this Section 1.10, attendance at a Board meeting shall
       include actual attendance at a meeting or being otherwise available to attend a Board
       meeting canceled for lack of a quorum.

       Trustees shall be reimbursed from the Expense Fund for all actual, reasonable and
necessary expenses incurred in the performance of their duties as Trustees.

Sec. 1.11. Rules for Administration of Funds

       Subject to the limitations contained in this Combined Plan Document, the Board of
Trustees shall, from time to time, establish rules and regulations for the administration of the
funds created by this Plan document and for the transaction of its business.

Sec. 1.12. Board of Trustees; Certain Data to be Kept

       The Board shall keep or cause to be kept, in convenient form, such data as shall be
necessary for an actuarial valuation of the Retirement System and for checking and compiling



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the experience of the Retirement System. The ordinary actuarial, accounting and clerical
services for the operation of the Retirement System shall be performed by the employees of the
Retirement System.

Sec. 1.13. Board of Trustees; Annual Audit Report

        The Board shall render a report to the Mayor, the City Council and the Investment
Committee on or before the fifteenth day of January, showing the fiscal transactions of the
Retirement System for the year ending on the preceding thirtieth day of June, the amounts of
accumulated cash and securities in the various funds of the System, and the last balance sheet
showing the financial condition of the Retirement System by means of an actuarial valuation of
the assets and liabilities of the Retirement System.

Sec. 1.14. Board of Trustees; Legal Advisors

(1)    The Board shall appoint legal advisors (including a general counsel) who shall be directly
       responsible to and shall hold office at the pleasure of the Board of Trustees. Any legal
       advisor to the Board of Trustees shall be an attorney licensed to practice law in the State
       of Michigan and shall be experienced in matters relating to pension systems. The
       qualifications of legal counsel shall be approved by the Board of Trustees.

(2)    Legal advisors to the Board of Trustees shall have such duties relative to pension matters
       as shall be assigned by the Board of Trustees.

(3)    Costs and expenses relative to the position of legal advisors to the Board shall be payable
       out of the assets of the Retirement System, subject to the provisions of the Public
       Employee Retirement System Investment Act, as amended, MCL 38.1132 et seq.

Sec. 1.15. Designation of Actuary; Authority to Engage Additional Actuaries

        The Retirement System actuary as of July 1, 2014 shall continue to serve as such until
resignation or removal by the Board. In the event the Board desires to retain a new actuary, the
Board and the Investment Committee shall collectively participate in the evaluation and selection
of a qualified actuary. The Retirement System actuary shall be responsible for assisting the
Board and the Investment Committee in performing their actuarial duties and shall comply with
all requests for information or modeling requested by the Board or the Investment Committee,
and shall attend meetings of the Board and Investment Committee as requested, so as to allow
the Board and Investment Committee to perform satisfactorily the rights and duties set forth in
the Combined Plan, the term sheet regarding Investment Committee Governance for General
Retirement System, attached to that certain agreement by and between the Michigan Settlement
Administration Authority, a Michigan body public corporation (the “Authority”), the Retirement
System, the Police and Fire Retirement System for the City of Detroit, Michigan (“PFRS”) and
the City (the “State Contribution Agreement”) as Exhibit A (the “Governance Term Sheet”) and
the Plan of Adjustment. Furthermore, the Board shall not act on any recommendation made by
the Retirement System’s actuary based on any calculation, assumption or assessment rejected by
the Investment Committee.




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        Nothing herein shall be interpreted as limiting the Investment Committee’s authority to
engage an actuarial consulting firm other than the Retirement System’s actuary to perform
actuarial services deemed necessary to fulfill its fiduciary and other duties to the Retirement
System as set forth in the Governance Term Sheet and the Plan of Adjustment.

Sec. 1.16. Board of Trustees; Adoption of Mortality and Other Tables of Experience and
           Rates of Interest; Limitations on Payments by the Retirement System

(1)    Subject to Section 15.1, the Board shall adopt such mortality and other tables of
       experience, and a rate or rates of interest, as shall be necessary for the operation of the
       System on an actuarial basis, provided, that the authority granted by this section shall not
       permit or be used to provide for an interest rate which would violate the prohibitions of
       subsection (2) or (3) of this section.

(2)    The Retirement System and the Trustees charged with management of the System shall
       not make any payment to active or retired Members other than payments that are required
       by the governing documents of the Retirement System. This prohibition applies to all
       payments that are not authorized by this Combined Plan, whether such payments are
       those commonly referred to as a “thirteenth check” or by any other name.

(3)    Anything in this Combined Plan Document or any other document to the contrary
       notwithstanding, the annual actuarial interest rate assumption for the period commencing
       July 1, 2014 and ending June 30, 2023 shall be six and three-quarters percent (6.75%).

Sec. 1.17. Board of Trustees; Annual Actuarial Valuation of Assets and Liabilities

        Subject to Section 15.1, each year, on the basis of such mortality and other tables of
experience, and such rate or rates of regular interest as the Board shall adopt pursuant to Section
1.16, the Board shall cause to be made an actuarial valuation of the assets and liabilities of the
Retirement System.

Sec. 1.18. Board of Trustees; Powers and Duties; Fiduciary Status; Fiduciary Duties

        The Board of Trustees shall have such powers and duties as are necessary for the proper
administration of the Retirement System and the custody and investment of Retirement System
assets, other than those powers and duties reserved to the Investment Committee. To the extent
the Board exercises discretion with respect to investment of Retirement System assets, each
member of the Board of Trustees shall be an investment fiduciary as defined in the Public
Employee Retirement System Investment Act, as amended, MCL 38.1132 et seq., and shall
discharge his or her duties with respect to the Retirement System in compliance with the
provisions of the Public Employee Retirement System Investment Act, as amended, MCL 38.1132
et seq. A member of the Board of Trustees shall discharge his or her duties with the care, skill
and caution under the circumstances then prevailing that a prudent person, acting in a like
capacity and familiar with such matters, would use in the conduct of an activity of like character
and purpose. Board members shall comply with all Board governance policies and procedures,
including the Ethics and Code of Conduct Policies, unless such compliance would violate the
member’s fiduciary duties or conflicts with the provisions set forth in this Combined Plan
Document.


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Sec. 1.19. Investment Committee; Establishment; Purpose; Fiduciary Status; Fiduciary
           Duties

        As of the effective date of the Plan of Adjustment, but subject to consummation of the
State Contribution Agreement, an Investment Committee is hereby created for the purpose of
making recommendations to the Board of Trustees with respect to certain investment
management matters relating to the Retirement System. The creation and operation of the
Investment Committee is controlled by the Governance Term Sheet. The Investment Committee
shall remain in effect for a period of not less than twenty years following the date of
confirmation of the Plan of Adjustment. The Investment Committee shall be an investment
fiduciary as defined in the Public Employee Retirement System Investment Act, as amended,
MCL 38.1132 et seq. and shall have all powers granted fiduciaries under the first sentence of
MCL 38.1133(5) and (6). The Investment Committee shall serve in a fiduciary capacity with
respect to the investment management of Retirement System assets, determination of the
investment return assumptions, and Board compliance with provisions of the governing
documents of the Retirement System. An Investment Committee member shall discharge his or
her duties with respect to the Retirement System in compliance with the provisions of the Public
Employee Retirement System Investment Act, as amended, MCL 38.1132 et seq. An Investment
Committee member shall discharge his or her duties with the care, skill and caution under the
circumstances then prevailing that a prudent person, acting in a like capacity and familiar with
such matters, would use in the conduct of an activity of like character and purpose. Investment
Committee members shall comply with all Board governance policies and procedures, including
the Ethics and Code of Conduct Policies, unless such compliance would violate the member’s
fiduciary duties or conflict with the provisions set forth in the Governance Term Sheet.

Sec. 1.20. Investment Committee; Membership; Appointment

       The Investment Committee shall consist of seven (7) members, determined as follows:

(1)    Five independent members, two of whom must be residents of the State of Michigan, and
       none of whom may be a party-in-interest with respect to the Retirement System, as
       defined in Section 38.1132d(4) of the Public Employee Retirement System Investment
       Act, as amended, MCL 38.1132 et seq. Each independent Investment Committee member
       shall have expert knowledge or extensive experience with respect to either (a) economics,
       finance, or institutional investments, or (b) administration of public or private retirement
       plans, executive management, benefits administration or actuarial science. At least one
       of the independent Investment Committee members shall satisfy the requirements of (a)
       above and at least one of the independent Investment Committee members shall satisfy
       the requirements of (b) above. The initial independent Investment Committee members
       shall be selected by mutual agreement of the appropriate representatives of the State of
       Michigan, the City and the Board, in consultation with the Foundation for Detroit’s
       Future (the “Foundation”), and shall be named in the Plan of Adjustment. If one or more
       of the five initial independent Investment Committee members are not selected by mutual
       agreement prior to confirmation of the Plan of Adjustment, then the United States
       Bankruptcy Court, Eastern District of Michigan shall designate such number of
       independent Investment Committee members as is necessary to bring the number of
       independent Investment Committee members to five (5);



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(2)    One Retiree who is a Retiree member of the Board of Trustees who shall be appointed by
       the Board; and

(3)    One employee who is an active employee member of the Board of Trustees who shall be
       appointed by the Board.

Sec. 1.21. Investment Committee; Term; Resignation and Removal; Vacancies

       The term of office for the independent members of the Investment Committee shall be six
years; provided, however, that the initial term for the independent Investment Committee
members shall be determined as follows:

               Independent Member                          Term of Office
                        (1)                                   2 years
                        (2)                                   3 years
                        (3)                                   4 years
                        (4)                                   5 years
                        (5)                                   6 years

        The term of office for a Retiree or employee Investment Committee member shall be the
number of years remaining on such individual’s term of office as a member of the Board of
Trustees. Each Investment Committee member shall serve until his or her successor is appointed
at the expiration of his or her term of office, or until his or her death, incapacity, resignation or
removal, if earlier. Notwithstanding any provision of this Combined Plan Document, an initial
independent Investment Committee member shall not be prohibited from becoming a successor
independent Investment Committee member after expiration of his or her initial term.

        An Investment Committee member may resign at any time by giving ninety days’ prior
written notice to the Investment Committee, the City and the Board, which notice or time period
may be waived by the Investment Committee. An Investment Committee member may be
removed from office by majority vote of the remaining Investment Committee members for any
of the following reasons: (a) the member is legally incapacitated from executing his or her duties
as a member of the Investment Committee and neglects to perform those duties; (b) the member
has committed a material breach of the provisions of the Retirement System or the policies or
procedures of the Retirement System and the removal of the member is in the interests of the
Retirement System or its Members and Beneficiaries; (c) the member is convicted of a violation
of law and the removal is accomplished by a vote of the members of the Investment Committee
in according with the voting procedure set forth in Section 1.22; or (d) if the member holds a
license to practice and such license is revoked for misconduct by any State or federal
government. A member who fails to attend four (4) consecutive scheduled meetings of the
Investment Committee shall be deemed to have resigned, unless in each case his or her absence
is excused for cause by the remaining members attending such meetings. In the event of any
such removal or resignation, the Investment Committee shall by resolution declare the office of
the member vacated as of the date such resolution is adopted.




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       Any vacancy occurring on the Investment Committee shall be filled within sixty (60)
days following the date of the vacancy for the unexpired portion of the term, in the same manner
in which the office was previously filled.

       Successor independent Investment Committee members shall be recommended by a
majority of the remaining independent Investment Committee members and shall be confirmed
by the Board and the Treasurer of the State of Michigan (“State Treasurer”), in consultation with
the Foundation, pursuant to such rules and regulations as may be adopted by the Investment
Committee (provided that such rules are not inconsistent with the Governance Term Sheet or the
Plan of Adjustment). In the event the Board and the State Treasurer cannot agree on a successor
independent Investment Committee member within thirty (30) days of the receipt of the
recommendation of the Investment Committee, the remaining independent Investment
Committee members shall appoint the successor independent Investment Committee member.

        In the event the United States Bankruptcy Court, Eastern District of Michigan appoints
one or more of the initial independent Investment Committee members, a successor to any such
independent Investment Committee member shall be appointed in the same manner as provided
in the preceding paragraph following three (3) weeks’ notice to the Board of the individuals
appointed, in accordance with such rules and regulations as may be adopted by the Investment
Committee (provided that such rules are not inconsistent with either the Governance Term Sheet
or the Plan of Adjustment).

       Successor Investment Committee members shall have the powers and duties conferred on
Investment Committee members herein.

Sec. 1.22. Investment Committee; Operation; Meetings; Quorum; Voting

        The Investment Committee members shall select from among the independent members a
chair and a vice chair. The Investment Committee members shall select from among themselves
a secretary. The Investment Committee shall hold regular meetings, not less frequently than
once every other month, and shall hold special meetings as necessary. The Investment
Committee shall designate the time and place thereof in advance. The secretary or his or her
designee shall be responsible for providing meeting notices to the other Investment Committee
members. The Investment Committee shall adopt its own rules of procedure and shall keep a
record of its proceedings. Notice and conduct of all Investment Committee meetings, both
regular and special, shall be subject to the Michigan Open Meetings Act, MCL 15.261 et seq. All
Investment Committee meeting shall be held within the City of Detroit.

        Five Investment Committee members shall constitute a quorum at any meeting, as long as
at least three of the independent Investment Committee members are in attendance. Except as
otherwise provided in the Governance Term Sheet, each Investment Committee member shall be
entitled to one vote on each question before the Committee and at least four concurring votes
shall be necessary for a decision by the Investment Committee.

       An Investment Committee member may have his or her voting privileges temporarily
suspended by a 70% or higher vote of the other members if the member is indicted or sued by a




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State or federal government for an alleged violation of the law that relates to his or her service on
the Investment Committee, or for other alleged financial crimes, including fraud.

Sec. 1.23. Investment Committee; Compensation; Expenses; Employment of Advisors

       Investment Committee members shall not receive any compensation from the Retirement
System for their services; Investment Committee members shall, however, be reimbursed for the
reasonable, actual and necessary expenses incurred in the performance of their duties. All
reasonable and proper expenses related to the administration of the Investment Committee,
including but not limited to the purchase of insurance, shall be payable out of the assets of the
Retirement System. The Investment Committee may retain actuarial, legal counsel, audit or
other professional or support personnel to provide advice to the Investment Committee as it
deems reasonably necessary to perform its functions and such parties or persons may be
reasonably compensated from the assets of the Retirement System. Such engagements shall not
be subject to approval of the Board.

Sec. 1.24. Investment Committee; Special Reporting Obligations

(1)    Beginning in 2015, pursuant to Section 6 of the State Contribution Agreement, the
       Investment Committee shall provide compliance reports to the State Treasurer on a semi-
       annual basis and at such other times as the State Treasurer reasonably may request (each,
       a “Compliance Report”) that certifies that the Investment Committee is not aware of any
       defaults under the State Contribution Agreement, or, if the Investment Committee is
       aware of a default under the State Contribution Agreement, specifically identifying the
       facts of such default.

(2)    In the event the Retirement System receives a written notice from the State Treasurer
       declaring and specifically identifying the facts of an alleged default under the State
       Contribution Agreement (“Default Notice”), and such default is cured as provided in the
       State Contribution Agreement, the Investment Committee must provide to the State
       Treasurer a written certification that (i) the default has been cured, and (ii) that no
       material damages have been caused by the default that have not otherwise been remedied
       (the “Cure Certification”).

(3)    Beginning in 2015, the Investment Committee shall provide to the City not later than
       December 31 of each year evidence reasonably necessary to show that the internal
       controls governing the investment of Retirement System assets are in compliance with
       the applicable provisions of the Plan of Adjustment.

(4)    Beginning in calendar year 2015 and for each calendar year thereafter, as of a date which
       is not later than December 31 of each such calendar year the Investment Committee shall
       provide to the Foundation the following information:

       (a)     a copy of the audited annual financial statement and the corresponding
               management letter for the Retirement System for the Fiscal Year ending June 30
               of such calendar year, containing a non-qualified opinion of an independent
               external auditor to the Retirement System;




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      (b)    a certification from the Chair of the Investment Committee on behalf of the
             Investment Committee (“Pension Certificate”) in a form reasonably acceptable to
             the Foundation that, as of the date of the annual report required to be provided by
             the City to the Foundation under the Omnibus Transaction Agreement by and
             among the City, The Detroit Institute of Arts and Foundation For Detroit’s Future
             (“Annual Report”):

             (i)     the City is current in its obligation to contribute to Component II of the
                     Combined Plan determined in accordance with the Plan of Adjustment;

             (ii)    the Investment Committee has been operated in accordance with the terms
                     set forth in this Component I of the Combined Plan Document; and

             (iii)   the City continues to maintain the pension governance terms reflected in
                     this Component I of the Combined Plan as of the effective date of the Plan
                     of Adjustment, without modification or amendment during the twenty (20)
                     year period following the effective date of the Plan of Adjustment, except
                     as required to comply with applicable federal law, including without
                     limitation to maintain the tax qualified status of the Retirement System
                     under the Internal Revenue Code, or to comply with the Plan of
                     Adjustment;

      (c)    a copy of (i) the Compliance Report covering the calendar year for which the
             Annual Report is made; (ii) any additional Compliance Reports provided during
             the calendar year for which the Annual Report is made as requested by the State
             Treasurer; (iii) either the certificate of compliance or the Default Notice, within
             the meaning of Section 6 of the State Contribution Agreement, as applicable, that
             was provided to the Investment Committee by the State Treasurer; and (iv) in the
             event that the State Treasurer issued a Default Notice, the Cure Certification,
             within the meaning of Section 6 of the State Contribution Agreement, provided by
             the Investment Committee. Notwithstanding anything in this paragraph (c) to the
             contrary, if the parties to the State Contribution Agreement agree to revise the
             requirements of Section 6 of the State Contribution Agreement or the information
             required in the Compliance Report, in order to meet the obligations of this
             paragraph (c), the Investment Committee shall be required only to provide
             documentation to the Foundation that meets such revised requirements; and

      (d)    any additional information that may be reasonably requested by the Foundation
             from time to time.

(5)   Beginning in calendar year 2016, before May 15th of each calendar year, the Investment
      Committee shall provide to the Chief Financial Officer of the City confirmation that, as
      of the date of the City’s report to the Foundation, there has been no impairment or
      modification of the information contained in the most recent Pension Certificate since the
      date of such Pension Certificate.




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                                ARTICLE 2. DEFINITIONS

Sec. 2.1.   Definitions

       Unless a different meaning is plainly required by context, the following words and
phrases have the meanings respectively ascribed to them by this section:

(1)    Accumulated Mandatory Employee Contributions means the sum of all amounts deducted
       from the compensation of a Member and credited to the Accumulated Mandatory
       Employee Contribution Fund for periods on and after July 1, 2014.

(2)    Accumulated Voluntary Employee Contributions means the total balance in a Member’s
       individual account under Component I of the Retirement System representing after-tax
       amounts deducted from the compensation of the Member, together with earning on such
       contributions.

(3)    Actuarial Equivalent or Actuarially Equivalent means a Retirement Allowance or benefit
       amount having the same Actuarial Equivalent Value as another applicable benefit. The
       rates of interest, tables and factors adopted by the Board from time to time to determine
       Actuarial Equivalence shall not violate the terms of the Plan of Adjustment.

(4)    Actuarial Equivalent Value means the value of an applicable Retirement Allowance or
       benefit amount, where values are calculated under generally accepted actuarial methods
       and using the applicable tables, interest rates and other factors established by the Board
       upon recommendation of the Investment Committee.

(5)    Administrative Rules and Regulations means rules and regulations promulgated by the
       Board of Trustees for the administration of the Retirement System and for the transaction
       of its business.

(6)    Age, Attainment of means the age an individual reaches on the day of his or her birthday.

(7)    Average Final Compensation means the average Compensation received by a Member
       during the ten consecutive years of Credited Service under the Retirement System (for
       this purpose, both before and after July 1, 2014) which immediately precede the date of
       the Member’s last termination of employment with the Employer. If a Member has less
       than ten years of Credited Service, the Member’s Average Final Compensation shall be
       the average of the annual Compensation received by the Member during the Member’s
       total years of Credited Service. If a Member is absent from service with the City for a
       period of not less than two consecutive months during his last two years of employment
       because of an unpaid leave under the Family and Medical Leave Act, such Member’s
       Average Final Compensation will mean the average Compensation received by the
       Member during the ten consecutive year period out of the last twelve years of Credited
       Service which produces the highest average.

(8)    Beneficiary means any person or persons (designated by a Member pursuant to
       procedures established by the Board) who are entitled to receive a Retirement Allowance




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       or pension payable from funds of the Retirement System due to the participation of a
       Member.

(9)    Board of Trustees or Board or Retirement Board means the Board of Trustees of the
       Retirement System.

(10)   City means the City of Detroit, Michigan, a municipal corporation.

(11)   City Council or Council means the legislative body of the City.

(12)   Combined Plan means the Combined Plan for the General Retirement System of the City
       of Detroit, Michigan, effective July 1, 2014 and as amended thereafter.

(13)   Compensation means a Member’s base salary or wages actually paid to the Member for
       personal services rendered to the Employer, excluding bonuses, overtime pay, payment of
       unused accrued sick leave, longevity pay, payment for unused accrued vacation, the cost
       or value of fringe benefits provided to the Member, termination or severance pay,
       reimbursement of expenses, or other extra payment of any kind. Compensation will
       include any amount which is contributed by the City to a plan or program pursuant to a
       salary reduction agreement and which is not includable in the taxable income of the
       Member under Sections 125, 402(e)(3), 402(h) or 403(b) of the Internal Revenue Code or
       which are contributed by the City on behalf of a Member as provided in Section 9.3(3)
       and 9.5 pursuant to a qualified “pick-up program”.

       For periods of time prior to July 1, 2014, the City shall provide to the Retirement System
       actual base salary or wages paid to Members using the best and most reliable sources of
       information available to the City. In the event the City is unable to provide actual base
       wages to the Retirement System, the City shall make reasonable estimates of each
       Member’s base salary or wages for purposes of determining a Member’s Compensation
       for periods prior to July 1, 2014.

       Notwithstanding the foregoing, for purposes of determining a Member’s Voluntary
       Employee Contributions, Compensation shall mean the gross salary or wages paid to the
       Member for personal services rendered to the Employer on and after July 1, 2014.

       The annual Compensation of each Member taken into account for the purposes of
       determining all benefits provided under the Retirement System for any determination
       period shall not exceed the limitation set forth in Code Section 401(a)(17) ($260,000 for
       the Plan Year commencing July 1, 2014). Such limitation shall be adjusted for the cost-
       of-living in accordance with Section 401(a)(17)(B) of the Internal Revenue Code. The
       cost-of-living adjustment in effect for a calendar year applies to any determination period
       beginning in such calendar year. If Compensation for any prior determination period is
       taken into account in determining a Member’s benefits for the current determination
       period, the Compensation for such prior determination period is subject to the applicable
       annual compensation limit in effect for that determination period. If a determination
       period consists of fewer than 12 months, the annual compensation limit is an amount
       equal to the otherwise applicable annual compensation limit multiplied by a fraction, the




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       numerator of which is the number of months in the short determination period, and the
       denominator of which is 12.

(14)   Component I means the portion of the Retirement System described in this Combined
       Plan and which consists of:

       (a)    the 2014 Defined Benefit Plan, which is a qualified plan and trust pursuant to
              applicable sections of the Internal Revenue Code; and

       (b)    the 2014 Defined Contribution Plan, which is a qualified plan and trust pursuant
              to applicable sections of the Internal Revenue Code.

(15)   Component II means the portion of the Retirement System described in this Combined
       Plan and which consists of:

       (1)    The 1973 Defined Benefit Plan, which is a qualified plan and trust pursuant to
              applicable sections of the Internal Revenue Code; and

       (2)    the 1973 Defined Contribution Plan, which is a qualified plan and trust pursuant
              to applicable sections of the Internal Revenue Code.

(16)   Credited Service means service credited to a Member to the extent provided in Article 4
       of Component I of this Combined Plan Document and, solely for purposes of Section
       2.1(7), service credited to a Member prior to July 1, 2014 pursuant to Component II of
       this Combined Plan.

(17)   Disability or Disabled means that a Member has been determined to be eligible to receive
       long term disability benefits under a policy or plan of insurance or self-insurance
       maintained by the Employer.

(18)   Employee means any regular and/or permanent officer, agent, or person in the employ of
       the Employer, but does not include:

       (a)    individuals whose services for the Employer are compensated on a contractual or
              fee basis;

       (b)    persons who are not employed as Full-time Employees;

       (c)    any person during any period when such person is classified by the Employer as a
              non-common-law employee or an independent contractor for federal income tax
              and withholding purposes whose compensation for services is reported on a form
              other than Form W-2 or any successor form for reporting wages paid to and taxes
              withheld from employees, even if a court or administrative agency determines that
              such person is a common-law employee of the Employer;

       (d)    the medical director of the Retirement System; or




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       (e)    any Police or Fire employee covered by the Police and Fire Retirement System of
              the City of Detroit, Michigan by virtue of such employment.

       If a person described in (c) above is reclassified by the Employer as a common-law
       employee of the Employer and otherwise meets the definition of an Employee, the person
       will be eligible to participate in the Retirement System prospectively as of the actual date
       of such reclassification only (and only to the extent such individual otherwise qualifies as
       an Employee).

(19)   Employer means the City, or any board, commission, or court serving the City, to the
       extent that both the City, through the action of City Council, and the governing authority
       of such board, commission or court, shall mutually agree to include the employees of
       such board, commission, or court, as Employees under the provisions of this Retirement
       System at such time as they are eligible. To the extent that any employees of a board,
       commission, or court are considered Employees for this purpose, all employees of such
       board, commission, or court, shall be so included. However, only City board members
       and commissioners who are also Employees are eligible to participate in the Retirement
       System, unless otherwise specifically provided for in the Combined Plan Document. In
       all cases of doubt, the Board of Trustees shall decide who is an Employee.

(20)   Family and Medical Leave Act means the federal Family and Medical Leave Act of 1993,
       as amended, and regulations issued thereunder.

(21)   Fiscal Year means the twelve month period commencing each July 1 and ending on the
       following June 30.

(22)   Full-time Employee means an Employee who is employed in a position normally
       requiring six hundred hours of work or more per calendar year; provided, however, that
       an employee who is hired by an Employer as a part-time transit operator to work less than
       twenty-five hours per week shall not be a full-time employee under the Retirement
       System. Notwithstanding the general rule, a special service employee of the City shall be
       considered a full-time employee under the Retirement System upon completion of
       fourteen hundred and forty (1440) hours or more in a Fiscal Year. For purposes of
       Component I, once a special service employee has worked 1440 hours in a Fiscal Year,
       the employee will be deemed to be a full-time employee under the Retirement System for
       all subsequent Fiscal Years.

(23)   General Retirement System or Retirement System means the General Retirement System
       of the City of Detroit created and established by Title IX, Chapter VI, of the 1918 Detroit
       City Charter, as amended, continued in effect through the 1974, 1997 and 2012 Detroit
       City Charters, Article 47 of the Detroit City Code and this Combined Plan Document, as
       amended from time to time, which consists of:

       (a)    The 2014 Defined Benefit Plan, the terms of which are described in Component I
              hereof;

       (b)    The 2014 Defined Contribution Plan, consisting of the Voluntary Employee
              Contribution Account, the terms of which are described in Component I hereof;


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       (c)    The Frozen 1973 Defined Benefit Plan, the terms of which are described in
              Component II hereof; and

       (d)    The Frozen 1973 Defined Contribution Plan, the terms of which are described in
              Component II hereof.

       References to the words Retirement System in Component I of the Combined Plan
       Document shall mean the provisions of the 2014 Defined Benefit Plan and/or the 2014
       Defined Contribution Plan described in Component I, unless a different meaning is
       plainly required by the context.

(24)   Hour of Service means (i) each hour for which a Member is paid or entitled to payment
       by the Employer for the performance of duties, and (ii) each hour for which a Member is
       directly paid or entitled to payment by the Employer for reasons other than the
       performance of duties (such as vacation, holiday, illness or approved leave of absence).

(25)   Internal Revenue Code or Code means the United States Internal Revenue Code of 1986,
       as amended.

(26)   Investment Committee means the committee established pursuant to Section 1.19 which
       shall have the powers and duties described herein.

(27)   Mandatory Employee Contributions mean the contributions made by a Member to the
       Retirement System pursuant to Section 9.3(3).

(28)   Medical Beneficiary means a Member who has retired from employment with the
       Employers and the spouses and dependants of such Member who are receiving post-
       retirement benefits in accordance with the terms of a retiree medical plan sponsored or
       maintained by an Employer.

(29)   Medical Benefits mean the provision of payments for certain sickness, accident,
       hospitalization and medical benefits within the meaning of Treasury Regulation section
       1.401-14(a), including dental, vision and mental health benefits, as designated by the
       City.

(30)   Medical Benefits Account means the bookkeeping account established under Section 16.1
       to provide for the payment of Medical Benefits on behalf of Medical Beneficiaries.

(31)   Member means any Employee who is included in the membership of the Retirement
       System and who has not retired or died.

(32)   Normal Retirement Age means age sixty-two (62). Notwithstanding the foregoing, the
       Normal Retirement Age of a Member who is an active Employee as of June 30, 2014 and
       who has 10 or more years of Vesting Service as of such date shall be as follows solely for
       purposes of this Component I:




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                 Age as of July 1, 2014                        Normal Retirement Agee
                         61 years                               60 years and 0 months
                         60 years                               60 years and 0 months
                         59 years                               60 years and 3 months
                         58 years                               60 years and 6 months
                         57 years                               60 years and 9 months
                         56 years                               61 years and 0 months
                         55 years                               61 years and 3 months
                         54 years                               61 years and 6 months
                         53 years                               61 years and 9 months

(33)   Normal Retirement Date means for any Member the later of the date the Member (i)
       attains 10 years of Vesting Service, or (ii) attains Normal Retirement Age.

       Pursuant to Code Section 411(e), as in effect in 1974, a Member shall be 100% vested in
       his accrued benefit under the Retirement System upon attainment of his or her Normal
       Retirement Date while employed by an Employer.

(34)   Notice to Members, Beneficiaries, and Retirees means a mailing using First Class United
       States Mail to the Members, Beneficiaries, and Retirees at their last known addresses.

(35)   Pension Reserve means the present value of all payments to be made on account of any
       Retirement Allowance payable under Component I of the Combined Plan. Such Pension
       Reserve shall be computed upon the basis of such mortality and other tables of
       experience and interest, as provided herein until June 30, 2023 and, thereafter, as shall be
       adopted by the Board upon the recommendation of the Investment Committee.

(36)   Plan Actuary or Actuary means the enrolled actuary or actuarial firm appointed as
       provided in Section 1.15 to serve as technical advisor to the Investment Committee and
       the Board on matters regarding the funding and operation of the Retirement System and
       to perform such other duties as the Board or the Investment Committee may direct.

(37)   Plan Document or Combined Plan Document means this instrument, effective as of July
       1, 2014, with all amendments hereafter adopted.

(38)   Plan of Adjustment means the Plan for the Adjustment of Debts of the City of Detroit,
       which has been approved by the United States Bankruptcy Court in In re City of Detroit,
       Michigan, Case No. 13-53846.

(39)   Plan Year means the twelve month period commencing on July 1 and ending on June 30.

(40)   Prior Service means the service credit awarded to a Member before July 1, 2014 under
       the terms of Component II of the Retirement System as in effect on June 30, 2014, as
       certified by the Board of Trustees.

(41)   Retiree means a former Member who is receiving a Retirement Allowance from the
       Retirement System.



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(42)   Retirement means a Member’s withdrawal from the employ of the Employer with a
       Retirement Allowance paid by the Retirement System.

(43)   Retirement Allowance means an annual amount payable in monthly installments by the
       Retirement System, whether payable for a temporary period or throughout the future life
       of a Retiree or Beneficiary.

(44)   Service means personal services rendered to the Employer by a person as an Employee,
       provided such person is compensated by the Employer for such personal services.

(45)   Spouse means the person to whom a Member is legally married under applicable law at
       the time the determination is made.

(46)   Straight Life Retirement Allowance means payment of a Member’s Retirement
       Allowance over the Member’s lifetime.

(47)   Vesting Service means service credited to a Member to the extent provided in Article 4 of
       Component I of this Combined Plan Document.

(48)   Voluntary Employee Contributions mean the after-tax contributions made by a Member
       to the Retirement System pursuant to Section 10.1.

(49)   Voluntary Employee Contributions Account means the account established pursuant to
       Section 10.3 for a Member who elects to make Voluntary Employee Contributions.

      The following terms shall have the meanings given to them in the Sections of this
Combined Plan Document set forth opposite such term:

Accumulated Mandatory Employee Contribution Fund                  Section 9.2(1)
Accumulated Voluntary Employee Contribution Fund                  Section 9.2(2)
Annual Addition                                                   Section 12.2(1)
Annual Report                                                     Section 1.24(4)(b)
Authority                                                         Section 1.19
compensation                                                      Section 12.1(11)
Compliance Report                                                 Section 1.24(1)
Cure Certification                                                Section 1.24(2)
Default Notice                                                    Section 1.24(2)
Direct Rollover                                                   Section 17.8(2)(a)
Distributee                                                       Section 17.8(2)(b)
Dollar Limit                                                      Section 12.1(3)(b)
Eligible retirement plan                                          Section 17.8(2)(c)
Eligible rollover distribution                                    Section 17.8(2)(d)
Expense Fund                                                      Section 9.2(6)
Foundation                                                        Section 1.20(1)
funding level                                                     Section 9.5
Governance Term Sheet                                             Section 1.15
Income Fund                                                       Section 9.2(7)
Investment management decision/investment management matter       Section 15.2



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limitation year                                        Section 12.1(2)
Medical Benefit Fund                                   Section 9.2(5)
Medical Plans                                          Section 16.1
Option “A”. Joint and Seventy-Five Percent Survivor
        Allowance                                      Section 8.1(1)(c)
Option “B”. Joint and Twenty-Five Percent Survivor
        Allowance                                      Section 8.1(1)(e)
Option One. Cash Refund Annuity                        Section 8.1(1)(a)
Option Three. Joint and Fifty Percent Survivor
        Allowance                                      Section 8.1(1)(d)
Option Two. Joint and One Hundred Percent Survivor
        Allowance                                      Section 8.1(1)(b)
Pension Accumulation Fund                              Section 9.2(3)
Pension Certificate                                    Section 1.24(4)(b)
Pension Improvement Factor (Escalator)                 Section 6.2
PFRS                                                   Section 1.19
Plan of Adjustment                                     Section 1.3
Pop-up Form                                            Section 8.1(2)(b)
Rate Stabilization Fund                                Section 9.2(4)
Standard Form                                          Section 8.1(2)(a)
State Contribution Agreement                           Section 1.15
State Treasurer                                        Section 1.21
Straight Life Retirement Allowance                     Section 8.1(1)




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                                  ARTICLE 3. MEMBERSHIP

Sec. 3.1.    Eligible Employees

      The membership of the Retirement System shall consist of all persons who are Full-time
Employees, except:

       (a)     persons who are members of the Police and Fire Retirement System of the City of
               Detroit, Michigan established under Title IX, Chapter VII of the 1918 Detroit City
               Charter, continued in the 1974, 1997 and 2012 Detroit City Charters, and
               continued in the form of the Combined Plan for the Police and Fire Retirement
               System of the City of Detroit, Michigan; and

       (b)     Any person who is a member of any other public employee pension or retirement
               plan or retirement system adopted by the State of Michigan, other than the
               Michigan National Guard, or by any other political subdivision of the State of
               Michigan.

Sec. 3.2.    Cessation of Membership; Re-Employment by the Employer

(1)    The following provisions shall apply to a non-vested Member who terminates
       employment with the Employer and is re-employed:

       (a)     Except as otherwise provided in this Article 3, if any non-vested Member leaves
               the employment of the Employer for any reason other than Retirement or death,
               such person shall continue to be a Member until such time as the Member
               receives a total distribution of his Accumulated Mandatory Employee
               Contributions and Accumulated Voluntary Employee Contributions. Upon
               receipt of his Accumulated Mandatory Employee Contributions, the Member’s
               Credited Service and Vesting Service at that time shall be forfeited.

       (b)     If the Member is re-employed by an Employer (other than as a part-time transit
               operator) within a period of six years from and after the date employment with the
               Employer last terminated, any forfeited Credited Service and Vesting Service
               rendered on and after July 1, 2014 shall be restored for purposes of determining
               the Member’s Retirement Allowance after re-employment, provided that within
               the two year period beginning on the Member’s re-employment date, the Member
               re-contributes to the Retirement System any Accumulated Mandatory Employee
               Contributions that were distributed to the Member pursuant to Section 5.5.

       (c)     If a non-vested Member is re-employed (other than as a part-time transit operator)
               more than six years from and after the date employment with the Employer last
               terminated, the Member shall not be permitted to re-contribute to the Retirement
               System any Accumulated Mandatory Employee Contributions that were
               distributed to the Member pursuant to Section 5.5 and any forfeited Credited
               Service and Vesting Service shall not be restored at the time of the Member’s re-
               employment.




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(2)    A former Employee who is vested but has not yet begun to receive a Retirement
       Allowance and who is rehired (other than as a part-time transit operator) prior to being
       separated for six years shall have his benefit pertaining to his total Credited Service
       earned on and after July 1, 2014 calculated in accordance with the terms of Component I
       of the Retirement System in effect at the time of his last separation from service.

(3)    A former Employee who is vested but has not begun to receive a Retirement Allowance
       and who is rehired (other than as a part-time transit operator) after being separated for
       more than six years shall be entitled to two separate and distinct pension benefits under
       Component I, each to be calculated in accordance with the provisions of Component I of
       the Retirement System in effect at the time of each separation from service.

(4)    Retirement benefits for a Retiree who returns to active full time employment with an
       Employer shall be subject to the following provisions:

       (a)     A Retiree who returns to work will have his Retirement Allowance suspended
               upon re-employment. The variable pension improvement factor (escalator) shall
               not be added to the amount of the original Retirement Allowance during the
               Retiree’s re-employment period.

       (b)     A Retiree who returns to work will be entitled to receive a second Retirement
               Allowance in accordance with the provisions of the Retirement System in effect
               during his re-employment period.

       (c)     A Retiree’s Average Final Compensation for purposes of determining the
               Retiree’s second Retirement Allowance will be based upon the Compensation
               earned by the Retiree after he returns to work.

       (d)     An individual who retires for a second time will not be allowed to change the
               payment option selected by the Member with respect to the original Retirement
               Allowance. However, the individual may select a separate payment option with
               respect to his second Retirement Allowance.

       (e)     The Coordination of Benefits (Equaled Social Security) option will not be
               available with respect to payment of the second Retirement Allowance.

Sec. 3.3.    Report of the Employer

       It shall be the duty of the Employer to submit to the Board of Trustees a statement
showing the name, title, compensation, duties, date of birth, date of hire, and length of service of
each Member, and such other information as the Board of Trustees may require or reasonably
request for proper administration of the Retirement System.




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                               ARTICLE 4. SERVICE CREDIT

Sec. 4.1.   Credited Service

(1)    The Board shall keep an accurate record of each Employee’s accumulated Service credit
       from the date of commencement of employment with the Employer to the date of
       termination of employment with the Employer.

(2)    A Member shall be credited with one month of Credited Service for each calendar month
       during which he performs one hundred forty (140) or more Hours of Service for the
       Employer as an Employee, beginning on the later of July 1, 2014 or his date of hire with
       the Employer and ending on the date his employment with the Employer is terminated.
       Service shall be credited in years and twelfths (1/12th) of a year. Not more than one-
       twelfth (1/12th) of a year of Credited Service shall be credited to a Member on account of
       all Service rendered to the Employer in a calendar month. Not more than one year of
       Credited Service shall be credited to a Member on account of all Service rendered to the
       Employer in any period of 12 consecutive months.

(3)    A Member who does not perform Service for the Employer by reason of a Disability
       which begins on or after July 1, 2014 shall be credited with Credited Service for the
       period of his Disability during which he is entitled to receive long-term disability benefits
       under the Employer’s plan or policy.

(4)    Solely for purposes of determining eligibility for a retirement benefit under Section 5.2, a
       Member shall be credited with the sum of his Prior Service as determined by the Board
       and his Credited Service on and after July 1, 2014 determined under Section 4.1(2).

Sec. 4.2.   Vesting Service

(1)    A Member shall be credited with a year of Vesting Service for each Plan Year
       commencing on or after July 1, 2014 during which the Member performs 1,000 or more
       Hours of Service for the Employer.

(2)    A Member’s total Vesting Service shall be the sum of his Prior Service and his Service
       determined under Section 4.2(1).

Sec. 4.3.   Service Credit; Military Service

       An Employee who enters the military service of the United States while employed by an
Employer shall have the period of such military service credited as Service in the same manner
as if the Employee had served the Employer without interruption, provided that (1) the
Employee’s entry into such military service and re-employment thereafter shall be in accordance
with applicable laws, ordinances, and regulations of the State of Michigan and the Employer; (2)
he or she is re-employed by the Employer upon completion of such military service; and (3) the
Member contributes to the Retirement System the Mandatory Employee Contributions that
would have been made by the Member but for the Member’s military service. The Member shall
be permitted to make such contributions in accordance with Code Section 414(u) and regulations
thereunder. During the period of military service and until return to employment with the



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Employer, the Employee’s Mandatory Employee Contributions to the Retirement System shall
be suspended.

Sec. 4.4.   Service Credit; Qualified Military Service

        Notwithstanding any provision of this Combined Plan Document to the contrary,
contributions, benefits, and service credit with respect to qualified military service under
Component I, shall be provided in accordance with Code Section 414(u). Notwithstanding
anything to the contrary herein, if a Member dies while performing qualified military service (as
defined in Code Section 414(u)), to the extent required by Code Section 401(a)(37), the survivors
of the Member are entitled to any additional benefits (if any, and other than benefit accruals
relating to the period of qualified military service) provided under the Retirement System as if
the Member had resumed and then terminated employment on account of death.




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               ARTICLE 5. ELIGIBILITY FOR RETIREMENT BENEFITS

Sec. 5.1.   Eligibility for Unreduced Normal Retirement Benefit

        Any Member who attains his Normal Retirement Date while employed by the City may
retire upon written application filed with the Board setting forth the date on which the Member
desires to be retired. The date of retirement shall be effective as of the first day following the
later of (i) the Member’s last day on the City payroll, or (ii) the date the Member executes and
files an application for retirement, notwithstanding that the Member may have separated from
Service during the notification period. Such a Member shall be entitled to receive an unreduced
Retirement Allowance calculated as provided in Section 6.1 and payable in a form of payment
selected by the Member pursuant to Section 8.1.

Sec. 5.2.   Eligibility for Reduced Early Retirement Benefit

        Any Member who has attained Age fifty-five, who is credited with thirty or more years of
Credited Service, and who has not attained his Normal Retirement Date, shall have the option of
retiring upon written application filed with the Board setting forth the date on which the Member
desires to be retired. The Retirement Allowance payable to a Member who retires early shall be
the Actuarial Equivalent of the Retirement Allowance that would be payable to the Member at
his Normal Retirement Date pursuant to Section 6.1, as determined by the Plan Actuary. A
Member’s early retirement benefit shall be payable in accordance with a form of payment
selected by the Member pursuant to Section 8.1.

Sec. 5.3.   Eligibility for Deferred Vested Retirement Benefit

        Any Member who ceases to be an employee before satisfying the requirements for receipt
of a retirement benefit under Section 5.1 or Section 5.2 and who is credited with ten or more
years of Vesting Service upon his or her termination of employment (regardless of age), shall be
entitled to receive an unreduced Retirement Allowance commencing at any time following his
attainment of Age sixty-two. Deferred vested retirement benefits shall be payable in accordance
with a form of payment selected by the Member pursuant to Section 8.1.

Sec. 5.4.   Eligibility for Retirement Benefit – Disabled Members

        Any Member who becomes Disabled prior to his Normal Retirement Date shall be
entitled to receive an unreduced Retirement Allowance commencing at any time following the
Member’s attainment of Age sixty-two. Disability retirement benefits shall be payable in
accordance with a form of payment selected by the Member pursuant to Section 8.1.

Sec. 5.5.   Return of Accumulated Mandatory Contributions to Non-Vested Member

       If a Member ceases to be an Employee before becoming eligible for a deferred vested
Retirement Allowance under Section 5.3, the Member may elect to receive distribution of the
Accumulated Mandatory Employee Contributions made to the Retirement System by such
Member. If a Member elects to receive his Accumulated Mandatory Employee Contributions,
such amounts shall be paid to the Member in a lump sum payment or in equal monthly




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installments for a period not to exceed three years, according to such rules and regulations as the
Board may adopt from time to time.




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            ARTICLE 6. RETIREMENT ALLOWANCE; VARIABLE PENSION
                       IMPROVEMENT FACTOR (ESCALATOR)

Sec. 6.1.   Retirement Allowance

        The Retirement Allowance payable to a Member commencing at the later of his Normal
Retirement Date or his actual retirement from employment with the Employer in the form of a
Straight Life Retirement Allowance shall be equal to one and one-half percent (1.5%) of the
Member’s Average Final Compensation multiplied by the Member’s years (computed to the
nearest one-twelfth (1/12th) year) of Credited Service earned after June 30, 2014.

Sec. 6.2.   Variable Pension Improvement Factor (Escalator)

        Except as provided in Section 9.5, beginning July 1, 2018 and effective the first day of
each Plan Year thereafter, the Board may determine that a Retiree’s annual Retirement
Allowance shall be increased by a factor of two percent (2.0%), computed each year on the basis
of the amount of the original Retirement Allowance received at the time of Retirement; provided,
that the recipient of said Retirement Allowance shall have attained Age sixty-two and shall have
been receiving a Retirement Allowance for a period of not less than twelve months prior to the
first day of such Plan Year. The Pension Improvement Factor (Escalator) shall not be
compounded.




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                              ARTICLE 7. DEATH BENEFITS

Sec. 7.1.   Accidental Death Benefit; Performance of Duty

(1)    If a Member is killed in the performance of duty in the service of the Employer, or dies as
       the result of illness contracted or injuries received while in the performance of duty in the
       service of the Employer, and such death, illness or injury resulting in death, is found by
       the Board to have resulted from the actual performance of duty in the service of the
       Employer, the Member’s surviving Spouse shall be entitled to a monthly annuity benefit
       equal to the Member’s Retirement Allowance at the time of his death, unreduced for
       early payment. Such benefit shall be payable until the surviving Spouse’s death.

(2)    The minimum annual Retirement Allowance payable to a surviving Spouse under this
       Section 7.1 shall be equal to ten percent (10%) of the Member’s Average Final
       Compensation determined as of the date of the Member’s death.

Sec. 7.2.   Death Benefits for Surviving Spouses Generally

        If any Member dies while in the employ of the Employer (other than in the performance
of duty) after the date such Member has earned ten or more years of Credited Service, the
Member’s surviving Spouse shall receive a Retirement Allowance. The Retirement Allowance
payable to the Spouse shall be computed in the same manner in all respects as if said Member
had (i) retired effective the day preceding the Member’s death, notwithstanding that the Member
had not attained his or her Normal Retirement Date, (ii) elected a Joint and One Hundred Percent
Survivor Allowance as described in Section 8.1, and (iii) nominated the surviving Spouse as
Beneficiary.

Sec. 7.3.   Refund of Accumulated Mandatory Contributions Upon Death of Member

       If a Member dies while employed by the City or following termination of employment
and the Member is not eligible for a benefit under Section 7.1 or 7.2, the Member’s Accumulated
Mandatory Employee Contributions to the Retirement System at the time of death shall be paid
to the Beneficiary nominated in a written designation duly executed by the Member and filed
with the Board. In the event there is no such designated Beneficiary surviving, the Member’s
Accumulated Mandatory Employee Contributions shall be paid to the Member’s estate. If a
Member who dies without a legal will has not nominated a Beneficiary, the Member’s
Accumulated Mandatory Employee Contributions at the time of death may be used to pay burial
expenses if the Member leaves no other estate sufficient for such purpose. Such expenses shall
not exceed a reasonable amount as determined by the Board.

Sec. 7.4.   Benefits Offset by Compensation Benefits; Subrogation

(1)    Any amounts which may be paid or payable to a Beneficiary on account of a Member’s
       death under the provisions of any Workers’ Compensation, pension, or similar law,
       except federal Social Security old-age and survivors’ benefits, shall be an offset against
       any amounts payable from funds of the Retirement System on account of the Member’s
       death. If the present value of the benefits payable under said Workers’ Compensation,
       pension, or similar law, is less than the Pension Reserve for the Retirement Allowance



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      payable by the Retirement System, the present value of the said Workers’ Compensation,
      pension, or similar legal benefit shall be deducted from the amounts payable by the
      Retirement System, and such amounts as may be provided by the Retirement System, so
      reduced, shall be payable as provided in this Combined Plan Document.

(2)   In the event a person becomes entitled to a pension payable by the Retirement System
      because of an accident or injury caused by the act of a third party, the Retirement System
      shall be subrogated to the rights of said person against such third party to the extent of the
      benefit which the Retirement System pays or becomes liable to pay.




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                            ARTICLE 8. FORMS OF PAYMENT

Sec. 8.1.    Retirement Allowance Options

(1)    Until the date the first Retirement Allowance payment check is issued, any Member may
       elect to receive a Straight Life Retirement Allowance payable throughout life, or the
       Member may elect to receive the Actuarial Equivalent of the Straight Life Retirement
       Allowance computed as of the effective date of retirement, in a reduced Retirement
       Allowance payable throughout life, and nominate a Beneficiary to receive benefit
       payments following the Member’s death, in accordance with the options set forth below:

       (a)     Option One. Cash Refund Annuity. If a Retiree who elected a Cash Refund
               Annuity dies before payment of the Accumulated Contributions made to the
               Retirement System on and after July 1, 2014 has been received in an aggregate
               amount equal to, but not exceeding the Retiree’s Accumulated Mandatory
               Employee Contributions at the time of retirement, the difference between said
               Accumulated Mandatory Employee Contributions and the aggregate amount of
               annuity payments already received, shall be paid in a single lump sum to a
               Beneficiary nominated by written designation duly executed by the Member and
               filed with the Board. If there are no such designated Beneficiaries surviving said
               Retiree, any such difference shall be paid to the Retiree’s estate.

       (b)     Option Two. Joint and One Hundred Percent Survivor Allowance. Upon the
               death of a Retiree who elected a Joint and One Hundred Percent Survivor
               Allowance, one hundred percent of the reduced Retirement Allowance shall be
               paid to and continued throughout the life of the Beneficiary nominated by written
               designation duly executed and filed with the Board prior to the date the first
               payment of the Retirement Allowance becomes due.

       (c)     Option “A”. Joint and Seventy-Five Percent Survivor Allowance. Upon the
               death of a Retiree who elected a Joint and Seventy-Five Percent Survivor
               Allowance, seventy-five percent of the reduced Retirement Allowance shall be
               continued throughout the life of and paid to the Beneficiary nominated by written
               designation duly executed by the Member and filed with the Board prior to the
               date the first payment of the Retirement Allowance becomes due.

       (d)     Option Three. Joint and Fifty Percent Survivor Allowance. Upon the death of a
               Retiree who elected a Joint and Fifty Percent Survivor Allowance, fifty percent of
               the reduced Retirement Allowance shall be continued throughout the life of and
               paid to the Beneficiary nominated by written designation duly executed by the
               Member and filed with the Board prior to the date the first payment of the
               Retirement Allowance becomes due.

       (e)     Option “B”. Joint and Twenty-Five Percent Survivor Allowance. Upon the death
               of a Retiree who elected a Joint and Twenty-Five Percent Survivor Allowance,
               twenty-five percent of the reduced Retirement Allowance shall be paid throughout
               the life of the Beneficiary nominated by written designation duly executed and



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               filed with the Board prior to the date the first payment of the Retirement
               Allowance becomes due.

(2)    Joint and Survivor Optional Forms of Payment. The Joint and Survivor Optional Forms
       of Payment provided under the Retirement System shall be made available in either the
       standard form or the pop-up form, as follows:

       (a)     Standard Form. Under the Standard Form, the reduced Retirement Allowance
               shall be paid throughout the lifetime of the Retiree.

       (b)     Pop-up Form. Under the Pop-up Form, the reduced Retirement Allowance shall
               be paid throughout the lifetime of the Retiree and the designated Beneficiary. In
               the event of the death of the designated Beneficiary during the lifetime of the
               Retiree, the amount of the Retirement Allowance shall be changed to the amount
               that would have been payable had the Retiree elected the Straight Life Retirement
               Allowance Form of Payment.

(3)    Coordination of Benefits. According to such rules and regulations as the Board shall
       adopt, until the first payment of a Retirement Allowance becomes due, but not thereafter,
       a Member under Age sixty-five may elect to have the Member’s Straight Life Retirement
       Allowance provided for under Component I equated on an Actuarial Equivalent basis to
       provide an increased Retirement Allowance payable to Age sixty-two or Age sixty-five,
       and to provide a decreased Retirement Allowance thereafter. The increased Retirement
       Allowance payable to such Age shall approximate the total of the decreased Retirement
       Allowance payable thereafter and the estimated social security benefit. If a Member
       elects to receive increased and then decreased Retirement Allowance payments provided
       for in this paragraph, he or she may also elect to have such payments reduced by electing
       one of the optional forms of payment provided for in paragraph (1) of this Section 8.1.
       This coordination of benefits option shall not create any additional actuarial costs to the
       City.

Sec. 8.2.    Disposition of Surplus Benefits upon Death of Retiree and Beneficiary

        If under a Joint and One Hundred Percent Survivor allowance, a Joint and Seventy-Five
Percent Survivor allowance, a Joint and Fifty Percent Survivor allowance, or a Joint and Twenty-
Five Percent Survivor allowance as provided for under Section 8.1(1), both a Retiree and his
Beneficiary die before they have received in Retirement Allowance payments an aggregate
amount equal to the Retiree’s Accumulated Mandatory Employee Contributions at the time of
retirement, the difference between the said Accumulated Mandatory Employee Contributions
and the aggregate amount of Retirement Allowances paid to the Retiree and Beneficiary, shall
be paid in a single lump sum to such person or persons nominated by written designation of the
Retiree duly executed and filed with the Board. If there are no such person or persons surviving
the Retiree and the Beneficiary, any such difference shall be paid to the estate of the second to
die of the Retiree or Beneficiary.




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                          ARTICLE 9. FUNDING AND RESERVES

Sec. 9.1.   Funding Objective of the Retirement System

        The funding objective of Component I of the Retirement System is to establish and
receive Employer and Member contributions during each Plan Year that are sufficient to fully
cover the actuarial cost of benefits anticipated to be paid on account of Credited Service rendered
by Members during the Plan Year (the normal cost requirements of the Retirement System), and
to amortize the unfunded actuarial costs of benefits likely to be paid on account of Credited
Service rendered on or after July 1, 2014 and before the first day of the Plan Year (the unfunded
actuarial accrued liability of Component I of the Retirement System).

Sec. 9.2.   Funds

       Component I of the Retirement System shall consist of the Accumulated Mandatory
Employee Contribution Fund, the Accumulated Voluntary Employee Contribution Fund, the
Pension Accumulation Fund, the Rate Stabilization Fund, the Medical Benefit Fund, the Expense
Fund, and the Income Fund, as follows:

(1)    The Accumulated Mandatory Employee Contribution Fund shall be the Fund in which
       shall be accumulated the contributions of Members to provide their Retirement
       Allowances. Upon the Retirement, termination, or death of a Member with a vested
       Retirement Allowance, the Member’s Accumulated Mandatory Employee Contributions
       shall be deemed to be part of the Pension Reserve which shall be used to pay the
       Member’s Retirement Allowance.

(2)    The Accumulated Voluntary Employee Contribution Fund shall be the Fund in which
       shall be accumulated the voluntary after-tax contributions of Members together with
       earnings thereon.

(3)    The Pension Accumulation Fund shall be the fund in which shall be accumulated reserves
       for the Retirement Allowances and other benefits payable from that portion of the
       Employer’s annual contribution that is not credited to the Rate Stabilization Fund and
       amounts transferred to Component I as provided in Section E-16(c) of Component II, and
       from which shall be paid Retirement Allowances and other benefits on account of
       Members.

(4)    The Rate Stabilization Fund shall be the Fund to which shall be credited Employer annual
       contributions in excess of the amount of the Employer’s contribution which is credited to
       the Pension Accumulation Fund and amounts transferred to Component I as provided in
       Section E-16(c) of Component II.

(5)    The Medical Benefit Fund shall be the Fund to which shall be credited contributions
       made for the purpose of funding Medical Benefits.

(6)    The Expense Fund shall be the fund to which shall be credited any money provided by
       the Employers to pay the administrative expenses of the Retirement System, and from




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       which shall be paid certain expenses incurred in connection with the administration and
       operation of the Retirement System.

(7)    The Income Fund shall be the Fund to which shall be credited all interest, dividends, and
       other income derived from the investments of Component I of the Retirement System and
       any earnings thereon, all gifts and bequests received by Component I of the Retirement
       System, and all other moneys credited to Component I of the Retirement System, the
       disposition of which is not specifically provided for in this Article 9. There shall be paid
       or transferred from the Income Fund, all amounts required to credit earnings and losses to
       the various Funds of the Retirement System in accordance with the provisions of
       Component I of this Combined Plan Document. Amounts credited to the Income Fund in
       excess of amounts needed to credit earnings and losses of the Retirement System as
       provided in this Component I for any Plan Year shall be transferred to the Pension
       Accumulation Fund and used to pay Retirement Allowances and other benefits on
       account of Members.

Sec. 9.3.   Method of Financing Retirement System Benefits

(1)    The pension liabilities for Members shall be determined by the Plan’s Actuary using the
       entry-age normal cost method of actuarial valuation.

(2)    The Employer’s annual contribution to finance the prospective pension liabilities for the
       nine Plan Year period commencing July 1, 2014 and ending June 30, 2023 shall be five
       percent (5%) of the base Compensation of active Members for the applicable Plan Year.
       A portion of the Employer’s annual contribution for each Plan Year as determined by the
       City shall be credited to the Rate Stabilization Fund. The remainder of the City’s annual
       contribution shall be allocated to the Pension Accumulation Fund.

(3)    Except as provided in Section 9.5, for each Plan Year, a Member shall contribute to the
       Retirement System an amount equal to four percent (4%) of his or her base
       Compensation for such Plan Year. A Member’s Mandatory Employee Contributions for
       the Plan Year beginning July 1, 2014 and ending June 30, 2015 shall commence as of the
       Member’s first payroll date occurring in August 2014. The officer or officers responsible
       for processing the payroll shall cause a Member’s Mandatory Employee Contributions to
       be deducted from the Member’s Compensation on each and every payroll, for each and
       every payroll period, from the later of (i) the Member’s first payroll date occurring in
       August 2014, and (ii) the Member’s date of hire to the date he ceases to be an Employee.
       The contribution shall be deducted from a Member’s Compensation, notwithstanding that
       the minimum compensation provided by law for the Member shall be reduced thereby.
       Payment of compensation, less said Mandatory Employee Contributions, shall be a
       complete discharge of all claims and demands whatsoever for the services rendered by
       the said Member during the period covered by such payment. Member Mandatory
       Employee Contributions will be used for the purpose of funding the normal cost of the
       Retirement System.




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Sec. 9.4.    Member Contributions Picked-Up

(1)    The Employer shall pick up Member Mandatory Employee Contributions required
       pursuant to Sections 9.3(3) and 9.5 in accordance with Code Section 414(h).

(2)    The picked-up contributions, although designated as employee contributions shall be
       treated as City contributions for the purpose of determining a Member’s tax treatment
       under the Internal Revenue Code. The City shall pay the contributions picked-up on
       behalf of a Member from the same source of funds that are used for paying compensation
       to the Member.

(3)    The Employer shall pick up Member Mandatory Employee Contributions by a reduction
       in the Member’s cash salary or an offset against a future salary increase, or both. The
       Employer shall designate Mandatory Employee Contributions that are picked-up and paid
       to the Retirement System as employer contributions and not as employee contributions.
       No Member who participates in the Retirement System shall have the option of choosing
       to receive the contributed amounts directly instead of having those amounts paid by the
       City to the Retirement System.

Sec. 9.5.    Fiscal Responsibility: Increased Funding Obligations and Benefit Reductions

(1)    To safeguard the long-term actuarial and financial integrity of the Retirement System, in
       the event the funding level of Component I of the Retirement System projected over a
       five year period falls below one hundred percent (100%), the following remedial action
       shall be required in the order set forth below, beginning with the Plan Year following the
       Plan Year in which such determination is made and continuing until the funding level is
       restored to not less than one hundred percent (100%):

       (a)     the Trustee may not award the variable pension improvement factor (escalator)
               described in Section 6.2 to any Retiree;

       (b)     all amounts credited to the Rate Stabilization Fund shall be transferred to the
               Pension Accumulation Fund for the purposes of funding benefits payable under
               Component I of the Retirement System; and

       (c)     Member Mandatory Employee Contributions shall be increased from four percent
               (4%) of Compensation to five percent (5%) of Compensation for up to the next
               following five Plan Years.

(2)    In the event the funding level of Component I of the Retirement System determined as
       provided in Section 9.5(1) is projected to fall below eighty percent (80%), the following
       remedial action shall be required in the order set forth below, beginning with the Plan
       Year following the Plan Year in which such determination is made and continuing until
       the funding level is restored to not less than eighty percent (80%):

       (a)     the remedial action required in Section 9.5(1) shall be implemented or continued;




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      (b)    the Retirement Allowance payable to a Retiree shall not include the variable
             pension improvement factor (escalator) that was most recently added to the
             Retiree’s Retirement Allowance for a Plan Year;

      (c)    Member Mandatory Employee Contributions shall be increased from five percent
             (5%) of Compensation to six percent (6%) of Compensation for up to the next
             following five Plan Years;

      (d)    the Retirement Allowance payable to a Retiree shall not include the variable
             pension improvement factor (escalator) that was most recently added to the
             Retiree’s Retirement Allowance for the Plan Year preceding the Plan Year
             referenced in paragraph (b) above; and

      (e)    the Retirement Allowance accrued by Members for up to the next five Plan-Year-
             period shall be determined as provided in Section 6.1, except that one percent
             (1%) shall be substituted for one and one-half percent (1.5%) wherever it appears
             in said Section 6.1.

      In determining whether the eighty percent (80%) funding level under this Section 9.5(2)
      has been achieved, the Plan’s Actuary shall calculate the funding percentage of the
      Retirement System after taking into account the elimination of the variable pension
      improvement factor (escalator) pursuant to Section 9.5(1)(a) but prior to taking into
      account the remedial steps provided in Sections 9.5(1)(b) and (c).

(3)   For purposes of this Section 9.5, the “funding level” of Component I of the Retirement
      System shall mean the ratio of the market value of the assets of Component I of the
      Retirement System to the actuarial accrued liability of Component I of the Retirement
      System. The actuarial accrued liability shall be calculated by the Plan’s Actuary utilizing
      an interest rate assumption of six and three-quarters percent (6.75%) and other reasonable
      assumptions as directed by the Board upon the recommendation of the Investment
      Committee. The market value of assets shall be determined on the basis of a three-year
      look back period of smoothed investment returns.




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              ARTICLE 10. VOLUNTARY EMPLOYEE CONTRIBUTIONS

Sec. 10.1. Voluntary Employee Contributions; Amount; Vesting

       Subject to procedures established by the Board, a Member may elect to reduce his
Compensation for any Plan Year by a whole percentage equal to three percent (3%), five percent
(5%) or seven percent (7%) and have such amount contributed by the Employer to a Voluntary
Employee Contribution Account maintained on his behalf under Component I of the Retirement
System. Voluntary Employee Contributions shall be made to the Retirement System on an after-
tax basis. Amounts credited to a Member’s Voluntary Employee Contribution Account shall be
one hundred percent (100%) vested at all times.

Sec. 10.2. Changing an Election to Contribute

        A Member may change or revoke an election to make Voluntary Employee Contributions
to the Retirement System pursuant to this Article 10 in such manner and with such advance
notice as the City shall determine. Notwithstanding the foregoing, a Member shall be permitted
to change such election not less frequently than annually.

Sec. 10.3. Individual Member Accounting; Crediting of Earnings

        The Board shall maintain a Voluntary Employee Contribution Account on behalf of each
Member who elects to make Voluntary Employee Contributions to the Retirement System. Each
Plan Year, a Member’s Voluntary Employee Contribution Account shall be credited with
earnings at a rate equal to the actual net investment rate of return on the assets of the Retirement
System for the second Plan Year immediately preceding the Plan Year in which the earnings are
credited; in no event, however, shall the earnings rate credited to a Member’s Voluntary
Employee Contribution Account for any Plan Year be less than zero percent (0%) nor greater
than five and one-quarter percent (5.25%).

Sec. 10.4. Distribution of Accumulated Voluntary Employee Contributions

(1)    If a Member ceases to be an Employee other than by reason of death, the Member may
       elect to receive distribution of the Accumulated Voluntary Employee Contributions made
       to the Retirement System by such Member. If a Member elects to receive his
       Accumulated Voluntary Employee Contributions, such amounts shall be paid to the
       Member in a lump sum payment or in equal monthly installments for a period not to
       exceed three years, according to such rules and regulations as the Board may adopt from
       time to time.

(2)    In lieu of receiving distribution of his Accumulated Voluntary Employee Contributions
       as provided in Section 10.4(1), a Member may elect to have the actuarial equivalent value
       of his Accumulated Voluntary Employee Contributions added to his Retirement
       Allowance and paid in the form of an annuity described in Section 8.1.

(3)    If a Member dies while employed by the Employer or following termination of
       employment but prior to receiving distribution of the Member’s Accumulated Voluntary
       Employee Contributions, the amounts credited to the Member’s Voluntary Employee



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      Contribution Account at the time of death shall be paid to the Beneficiary nominated in a
      written designation duly executed by the Member and filed with the Board. In the event
      there is no such designated Beneficiary surviving the Member, the Member’s
      Accumulated Voluntary Employee Contributions shall be paid to the Member’s estate. If
      a Member who dies without a legal will has not nominated a Beneficiary, the Member’s
      Accumulated Voluntary Employee Contributions at the time of death may be used to pay
      burial expenses if the Member leaves no other estate sufficient for such purpose. Such
      expenses shall not exceed a reasonable amount as determined by the Board.




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             ARTICLE 11. LOAN PROGRAM FOR VOLUNTARY EMPLOYEE
                         CONTRIBUTIONS

Sec. 11.1. The Loan Program

        A loan program shall be available to Members who have amounts credited to a Voluntary
Employee Contributions Account under Component I of the Retirement System. The Board is
authorized to adopt rules and regulations, from time to time, to govern the administration and the
operation of the loan program. Copies of the rules shall be made available to eligible Members
in the offices of the Retirement System. Any loans granted or renewed under the Retirement
System shall be made and administered pursuant to and in compliance with Section 72(p) of the
Internal Revenue Code and regulations thereunder.

Sec. 11.2. Eligibility for Loan

        Subject to the rules and procedures established by the Board, loans may be made to
eligible Members from such Member’s Voluntary Employee Contribution Account. An eligible
Member is any Member who has participated in the Retirement System for twelve months or
more. Former Members, Spouses and Beneficiaries are not eligible to receive any loans from the
Retirement System. No Member shall have more than two outstanding loans from the
Retirement System (Component I and/or Component II) at any time. A Member who has
previously defaulted on a loan (under either Component I or Component II) shall not be eligible
for a loan from the Retirement System.

Sec. 11.3. Amount of Loan

       An eligible Member who has satisfied applicable rules and procedures established by the
Board may borrow from his Voluntary Employee Contribution Account an amount which does
not exceed the lesser of (i) fifty percent (50%) of the Member’s Voluntary Employee
Contribution Account balance, and (ii) Ten Thousand Dollars ($10,000.00), in each case reduced
by the excess, if any, of: (1) the Member’s highest outstanding loan balance under the
Retirement System (both Component I and Component II) during the one (1) year period ending
on the day before the date on which the loan is made, or (2) the outstanding loan balance under
the Retirement System (both Component I and Component II) on the date on which the loan is
made, whichever is less. The minimum loan amount shall be One Thousand Dollars ($1,000.00).

Sec. 11.4. Terms and Conditions

      In addition to such rules and procedures that are established by the Board, all loans shall
comply with the following terms and conditions:

       (a)     Each loan application shall be made in writing.

       (b)     All loans shall be memorialized by a collateral promissory note for the amount of
               the loan, including interest, payable to the order of the Retirement System and
               properly executed by the Member.




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       (c)     Each loan shall be repaid by substantially equal payroll deductions over a period
               not to exceed five years, or, where the loan is for the purpose of buying a
               principal residence, a period not to exceed fifteen years. In no case shall the
               amount of the payroll deduction be less than Twenty Dollars ($20.00) for any
               two-week pay period. A Member receiving a loan will be required to authorize
               payroll deductions from his compensation in an amount sufficient to repay the
               loan over its term.

       (d)     An amount equal to the principal amount of the loan to a Member (but not more
               than one half of the Member’s vested interest in the Defined Contribution Plans of
               the Retirement System) will be designated as collateral for guaranteeing the loan.

       (e)     Each loan shall bear interest at a rate determined by the Board. The Board shall
               not discriminate among Members in its determination of interest rates on loans.
               However, loans initiated at different times may bear different interest rates,
               where, in the opinion of the Board, the difference in rates is supported by a
               change in market interest rates or a change in the Retirement System’s current
               assumed rate of return. The loan interest rate shall bear a reasonable relationship
               to market rates for secured loans of a similar duration and shall bear a reasonable
               relationship to the costs to the Retirement System of administering the loan. The
               loan interest rate shall be calculated in a manner that will not negatively affect
               either the Employers’ costs with respect to the Retirement System or the
               investment return allocated to Members.

       (f)     Loan repayments shall be suspended during a period of military service, as
               permitted by Section 414(u)(4) of the Internal Revenue Code. A Member who
               has an outstanding loan balance from the Retirement System who is absent from
               employment with the City, and who has satisfied the requirements of Section
               414(u) of the Internal Revenue Code shall not be required to make loan
               repayments to the Retirement System during said periods of absence.

Sec. 11.5. Loan Balance

        A Member’s outstanding loan balance shall be considered a directed investment by the
Member and interest payments shall be credited to the Member’s Voluntary Employee
Contribution Account (provided that the interest credited to the Member’s Voluntary Employee
Contribution Account shall be reduced appropriately to cover the administrative costs of the loan
program and avoid negatively affecting the Employers’ costs or the Retirement System’s
investment returns), and shall not be part of the Retirement System’s net investment income or
part of the Member’s Voluntary Employee Contribution Account balance for the purpose of
allocation of net investment income under the Retirement System.

Sec. 11.6. Default

       In the event a Member defaults on a loan before the loan is repaid in full, the unpaid
balance thereof will become due and payable and, to the extent that the outstanding amount is
not repaid by the end of the calendar quarter which follows the calendar quarter in which the last



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payment was received, such amount shall be deemed to have been distributed to the Member for
tax purposes, consistent with Section 72(p) of the Internal Revenue Code.

Sec. 11.7. Distribution

       No distribution shall be made to a Member, former Member, Spouse or Beneficiary from
the Retirement System until all outstanding loan balances and applicable accrued interest have
been repaid or offset against amounts distributable to the individual from the Retirement System.

Sec. 11.8. Annual Report

        The Retirement System shall include, in its annual report to all Members, an accounting
of the Loan Program established by this Article 11, which contains the number and amount of
loans made, the costs of administering the Loan Program maintained under this Component I, the
amount of payments made including interest received by Component I of the Retirement System,
the amount of loans outstanding, including any defaults or delinquencies, and an evaluation as to
whether the interest charged in that Fiscal Year covered the costs of administering the Loan
Program under Component I.




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            ARTICLE 12. LIMITATION ON BENEFITS AND CONTRIBUTIONS

Sec. 12.1. Compliance With Code Section 415(b) And Regulations

(1)   Notwithstanding any other provision of this Combined Plan Document, the defined
      benefit component of the Retirement System shall be administered in compliance with
      the provisions of Code Section 415(b) and regulations thereunder that are applicable to
      governmental plans.

(2)   The maximum annual benefit accrued by a Member during a “limitation year” (which
      shall be the Plan Year) and the maximum annual benefit payable under the Retirement
      System to a Member at any time within a Plan Year, when expressed as an annual benefit
      in the form of a straight life annuity (with no ancillary benefits), shall be equal to
      $160,000 (as such amount is adjusted pursuant to Code Section 415(d) for such Plan
      Year).

(3)   Notwithstanding the foregoing:

      (a)      if the benefit under the Retirement System is payable in any form other than a
               straight life annuity, the determination as to whether the limitation described in
               Section 12.1(2) has been satisfied shall be made, in accordance with the
               regulations prescribed by the Secretary of the Treasury, by adjusting such benefit
               to the Actuarially Equivalent straight life annuity beginning at the same time, in
               accordance with Section 12.1(8) or (9);

      (b)      if the benefit under the Retirement System commences before Age sixty-two, the
               determination of whether the limitation set forth in Section 12.1(2) (the “Dollar
               Limit”) has been satisfied shall be made, in accordance with regulations
               prescribed by the Secretary of the Treasury, by reducing the Dollar Limit so that
               the Dollar Limit (as so reduced) is equal to an annual benefit payable in the form
               of a straight life annuity, commencing when such benefit under the Retirement
               System commences, which is Actuarially Equivalent to a benefit in the amount of
               the Dollar Limit commencing at Age sixty-two; provided, however, if the
               Retirement System has an immediately commencing straight life annuity
               commencing both at Age sixty-two and the age of benefit commencement, then
               the Dollar Limit (as so reduced) shall equal the lesser of (i) the amount
               determined under this Section 12.1(3)(b) without regard to this proviso, or (ii) the
               Dollar Limit multiplied by a fraction the numerator of which is the annual amount
               of the immediately commencing straight life annuity under the Retirement System
               and the denominator of which is the annual amount of the straight life annuity
               under the Retirement System, commencing at Age sixty-two; and

      (c)      if the benefit under the Retirement System commences after Age sixty-five, the
               determination of whether the Dollar Limit has been satisfied shall be made, in
               accordance with regulations prescribed by the Secretary of the Treasury, by
               increasing the Dollar Limit so that the Dollar Limit (as so increased) is equal to an
               annual benefit payable in the form of a straight life annuity, commencing when



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             the benefit under the Retirement System commences, which is Actuarially
             Equivalent to a benefit in the amount of the Dollar Limit commencing at Age
             sixty-five; provided, however, if the Retirement System has an immediately
             commencing straight life annuity commencing both at Age sixty-five and the Age
             of benefit commencement, the Dollar Limit (as so increased) shall equal the lesser
             of (i) the amount determined under this Section 12.1(3)(c) without regard to this
             proviso, or (ii) the Dollar Limit multiplied by a fraction the numerator of which is
             the annual amount of the immediately commencing straight life annuity under the
             Retirement System and the denominator of which is the annual amount of the
             immediately commencing straight life annuity under the Retirement System,
             commencing at Age sixty-five.

(4)   Notwithstanding the foregoing provisions of this Section 12.1, except as provided in
      Section 12.1(5), the maximum annual benefit specified in Section 12.1(2) above shall not
      apply to a particular Retirement System benefit if (a) the annual amount of such
      Retirement System benefit, together with the aggregate annual amount of any other
      pensions payable with respect to such Member under all other defined benefit plans
      maintained by an Employer, does not exceed $10,000 for the Plan Year or any prior Plan
      Year and (b) the Member was not at any time a participant in a defined contribution plan
      maintained by an Employer.

(5)   In the case of a Member who has less than ten years of participation in the Retirement
      System, the limitation set forth in Section 12.1(2) shall be such limitation (without regard
      to this Section 12.1(5)), multiplied by a fraction, the numerator of which is the number of
      years of participation in the Retirement System (or parts thereof) credited to the Member
      and the denominator of which is ten. In the case of a Member who has less than ten years
      of Vesting Service, the limitations set forth in Paragraph (b) of Section 12.1(2) and in
      Section 12.1(4) shall be such limitations (determined without regard to this Section
      12.1(5)) multiplied by a fraction, the numerator of which is the number of years of
      Vesting Service, or parts thereof, credited to the Member and the denominator of which is
      ten.

(6)   Notwithstanding anything in this Section 12.1 to the contrary, if the annual benefit of a
      Member who has terminated employment with the Employer is limited pursuant to the
      limitations set forth in Section 12.1(2), such annual benefit shall be increased in
      accordance with the cost-of-living adjustments of Code Section 415(d).

(7)   For purposes of determining actuarial equivalence under Paragraph (b) or (c) of Section
      12.1(3), the interest rate assumption shall be five percent (5%) and the mortality table
      used shall be the applicable mortality table specified by the Board.

(8)   The actuarially equivalent straight life annuity for purposes of adjusting any benefit
      payable in a form to which Code Section 417(e)(3) does not apply, as required by
      Paragraph (a) of Section 12.1(3), is equal to the greater of (a) the annual amount of the
      straight life annuity payable under the Retirement System commencing at the same
      annuity starting date as the form of benefit payable to the Member, or (b) the annual
      amount of the straight life annuity commencing at the same annuity starting date that has



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       the same actuarial present value as the form of benefit payable to the Member, computed
       using the interest rate and mortality assumptions set forth in Section 12.1(7).

(9)    The actuarially equivalent straight life annuity for purposes of adjusting any benefit
       payable in a form to which Code Section 417(e)(3) applies, as required by Paragraph (a)
       of Section 12.1(3), is equal to the greatest of (a) the annual amount of the straight life
       annuity commencing at the same annuity starting date that has the same Actuarial
       Equivalent present value as the form of benefit payable to the Member, (b) the annual
       amount of the straight life annuity commencing at the same annuity starting date that has
       the same actuarial present value as the form of benefit payable to the Member, computed
       using a five and one-half percent (5.5%) interest rate assumption and the applicable
       mortality table specified by the Board, or (c) the annual amount of the straight life
       annuity commencing at the same annuity starting date that has the same actuarial present
       value as the form of benefit payable to the Member, computed using the applicable
       interest rate and the applicable mortality table, both as specified by the Board, divided by
       1.05.

(10)   For purposes of applying the limitations set forth in this Section 12.1, all qualified
       defined benefit plans (whether or not terminated) ever maintained by an Employer shall
       be treated as one defined benefit plan.

(11)   For purposes of this Section 12.1, the term “compensation” shall include those items of
       remuneration specified in Treasury Regulation § 1.415(c)-2(b) and shall exclude those
       items of remuneration specified in Treasury Regulation § 1.415(c)-2(c), taking into
       account the timing rules specified in Treasury Regulation § 1.415(c)-2(e), but shall not
       include any amount in excess of the limitation under Code Section 401(a)(17) in effect
       for the year. The term “compensation” as defined in the preceding sentence shall include
       any payments made to a Member by the later of (a) two and one-half months after the
       date of the Member’s severance from employment with an Employer or (b) the end of the
       limitation year that includes the date of the Member’s severance from employment with
       an Employer, provided that, absent a severance from employment, such payments would
       have been paid to the Member while the Member continued in employment with the
       Employer and are regular compensation for services performed during the Member’s
       regular working hours, compensation for services outside the Member’s regular working
       hours (such as overtime or shift differential pay), commissions, bonuses or other similar
       compensation.

(12)   This Section 12.1 shall be administered in conformity with the regulations issued by the
       Secretary of the Treasury interpreting Code Section 415 including, but not limited to, any
       regulation providing for the “grandfathering” of any benefit accrued prior to the effective
       date of such regulations or statutory provision.

Sec. 12.2. Compliance with Code Section 415(c) and Regulations

(1)    The “Annual Addition” with respect to a Member for a limitation year (which shall be the
       Plan Year) shall in no event exceed the lesser of:




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      (a)    $40,000 (adjusted as provided in Code Section 415(d)); or

      (b)    One hundred percent (100%) of the Member’s compensation, as defined in Code
             Section 415(c)(3) and regulations issued thereunder, for the limitation year.

(2)   The Annual Addition with respect to a Member for a limitation year means the sum of his
      Voluntary Employee Contributions for such limitation year to the Retirement System,
      and the employer contributions, employee contributions and forfeitures allocated to his
      accounts under any other qualified defined contribution plan (whether or not terminated)
      maintained by an Employer, and the amounts described in Code Sections 415(l)(2) and
      419A(d)(2) allocated to his account.

(3)   In the event the Annual Addition to the Retirement System on behalf of a Member would
      otherwise exceed the amount that may be applied for his benefit under the limitation
      contained in this Section 12.2, the limitation shall be satisfied by reducing the Member’s
      Voluntary Employee Contributions to the extent necessary and distributing such amounts
      to the Member.




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             ARTICLE 13. RETIREMENT SYSTEM ADMINISTRATION

Sec. 13.1. Board of Trustees as Retirement System Administrator

(1)   The Retirement Board shall have the power and authority to manage and administer the
      Retirement System in accordance with the provisions of the Combined Plan Document.

(2)   The Retirement Board shall provide procedures for the processing and review of benefit
      claims, corrections of errors, and similar matters, as further described in Section 13.2.

(3)   The Retirement Board and the Retirement System shall not make any payment to active
      or retired Members or Beneficiaries other than payments that are required by the
      Retirement System as established by this Combined Plan Document. This prohibition
      applies to all payments that are not authorized by this Combined Plan Document, whether
      such payments are those commonly referred to as a “thirteenth check” or payments by
      any other name.

Sec. 13.2. Powers and Duties of Board

(1)   The Board shall have the following powers and duties:

      (a)    exclusive authority regarding the administration, management and operation of
             the Retirement System, including, but not limited to, the right to contract for
             office space, computer hardware and software, and human resource services (any
             or all of which may be obtained from the City), and to make rules and regulations
             with respect to the operation of the Retirement System not inconsistent with the
             terms of the Combined Plan Document and applicable law, and to amend or
             rescind such rules and regulations;

      (b)    to determine questions of law or fact that may arise as to the rights of any person
             claiming rights under the Retirement System;

      (c)    to determine the contributions to the Retirement System required of the Employer
             and Members pursuant to the documents governing operation of the Retirement
             System, including the Plan of Adjustment;

      (d)    to construe and interpret the provisions of the Retirement System and to reconcile
             any inconsistencies;

      (e)    to perform ministerial functions, whether or not expressly authorized, which the
             Board may deem necessary or desirable in carrying out its duties under the
             Retirement System;

      (f)    except to the extent authority is vested in the Investment Committee, authority
             to employ, contract and pay for professional services including, but not limited to,
             actuarial, investment, legal, accounting, medical, and any other services that the
             Board considers necessary for the proper operation of the Retirement System;




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      (g)   except to the extent authority or responsibility is vested in the Investment
            Committee, to arrange for annual audits of the records and accounts of the
            Retirement System by a certified public accountant or by a firm of certified public
            accountants pursuant to generally accepted auditing standards;

      (h)   to prepare an annual report for the Retirement System for each Fiscal Year in
            compliance with generally accepted accounting principles. The report shall
            contain information regarding the financial, actuarial, and other activities of the
            Retirement System during the Fiscal Year. The Board shall furnish a copy of
            the annual report to the Mayor and finance director of the City, to the chair of the
            City Council and to the Investment Committee. The report shall also contain a
            review of the latest actuarial valuation of the Retirement System;

      (i)   to maintain or cause to be maintained such separate funds and accounts as are
            required to be maintained under the provisions of Components I and II of the
            Combined Plan Document and such additional accounts as the Board deems
            necessary or expedient for the proper administration of the Retirement System
            and the administration and investment of the assets of the Retirement System.
            The Board shall maintain suitable records, data and information in connection
            with the performance of its functions, including, but not limited to, accurate and
            detailed accounts of all investments, receipts, disbursements, and other actions,
            including the proportionate interest therein and Accumulated Contributions of
            each Member who has made contributions to the Retirement System;

      (j)   to correct any error in the records of the Retirement System that results in
            overpayment or underpayment of contributions to the Retirement System by the
            Employer or a Member, or overpayment or underpayment of benefits to a
            Member, former Member, or Beneficiary by the Retirement System. In the event
            of overpayment to a Member, former Member or Beneficiary, the Board may, as
            far as practicable, adjust future payments to such individual, in such a manner that
            the Actuarial Equivalent of the benefit to which such individual was entitled shall
            be paid;

      (k)   to the extent permissible under Michigan law (and consistent with the Retirement
            System’s favorable tax qualified status under Code Section 401(a)), purchase one
            or more insurance policies to indemnify any person and such person’s heirs and
            legal representatives who is made a party to (or threatened to be made a party to)
            any action, suit or proceeding whether brought by or in the right of the Board, the
            Investment Committee or the Retirement System or otherwise, by reason of the
            fact that such person is or was a Board member, Investment Committee member,
            director, officer, employee or agent of the Board (or an advisory body or
            committee of the Board) or the Retirement System. The insurance policies
            purchased by the Board shall not indemnify any person who is judicially
            determined to have incurred liability due to fraud, gross negligence or
            malfeasance in the performance of his duties; and




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       (l)    except to the extent authority or responsibility is vested in the Investment
              Committee, to perform any other function that is required for the proper
              administration of the Retirement System.

Sec. 13.3. Executive Director; Employees

         The Board shall employ on behalf of the Retirement System an executive director and
any other employees for which the Board establishes positions. The executive director shall do
all of the following:

       (a)    manage and administer the Retirement System under the supervision and direction
              of the Board;

       (b)    annually prepare and submit to the Board for review, amendment, and adoption an
              itemized budget projecting the amount required to pay the Retirement System’s
              expenses for the following Fiscal Year; and

       (c)    perform such other duties as the Board shall delegate to the executive director.

       The executive director, unless such power is retained by the Board, shall determine the
compensation of all employees of the Retirement System (except the executive director, whose
compensation shall be determined by the Board; and the chief investment officer, whose
compensation shall be determined by the Investment Committee) and such compensation shall be
payable from the Retirement System. Any person employed by the Retirement System may, but
need not, be an employee of the City.

Sec. 13.4. Discretionary Authority

       The Board shall have discretion to:

       (a)    interpret the provisions of the Retirement System;

       (b)    make factual findings with respect to any and all issues arising under the
              Retirement System;

       (c)    determine the rights and status of Members, Retirees, Beneficiaries and other
              persons under the Retirement System;

       (d)    decide benefit claims and disputes arising under the Retirement System pursuant
              to such procedures as the Board shall adopt; and

       (e)    make determinations and findings (including factual findings) with respect to the
              benefits payable hereunder and the persons entitled thereto as may be required for
              the purposes of the Retirement System.




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Sec. 13.5. Administrator’s Decision Binding

        The Board’s decision on any matter arising in connection with administration and
interpretation of the Retirement System shall be final and binding on Members, Retirees and
Beneficiaries.




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                        ARTICLE 14. MANAGEMENT OF FUNDS

Sec. 14.1. Board as Trustee of Retirement System Assets

        The Board of Trustees shall be the trustee of the funds held under the Retirement System,
shall receive and accept all sums of money and other property paid or transferred to it by or at
the direction of the City and, subject to the terms of Article 15, shall have the power to hold,
invest, reinvest, manage, administer and distribute such money and other property subject to all
terms, conditions, limitations, and restrictions imposed on the investment of assets of public
employee retirement systems or plans by Act No. 314 of the Public Acts of 1965, being sections
38.1132 et seq. of the Michigan Compiled Laws, as amended.

Sec. 14.2. Maintenance of Segregated Funds

        The Board of Trustees shall maintain separate funds as required for the proper
administration of the Retirement System and shall not commingle the assets held under the
Retirement System for the purpose of funding benefits accrued by Members prior to July 1, 2014,
together with earnings and losses on such assets (or replacement assets), as more fully described
in Component II of this Combined Plan Document, with the assets of the Retirement System held
for the purpose of paying benefits accrued by Members on and after July 1, 2014 as described in
this Component I of the Combined Plan Document. Notwithstanding the foregoing, the assets
held under Components I and II of this Combined Plan Document may be commingled for
investment purposes, and transferred as provided in Section E-16(c) of Component II.

Sec. 14.3. Custodian of Funds

       The Board of Trustees shall appoint or employ custodians of the assets of the Retirement
System. The custodians shall perform all duties necessary and incidental to the custodial
responsibility and shall make disbursements as authorized by the Board.

Sec. 14.4. Exclusive Purpose

       All money and other assets of the Retirement System shall be held by the Trustees and
invested for the sole purpose of paying benefits to Members and Beneficiaries and shall be used
for no other purpose other than payment of the reasonable expenses of maintaining the
Retirement System. In exercising its discretionary authority with respect to the management of
the money and other assets of the Retirement System, the Trustees shall exercise the care, skill,
prudence and diligence under the circumstances then prevailing, that a person acting in a like
capacity and familiar with such matters, would use in the conduct of an enterprise of like
character with like aims.

Sec. 14.5. Prohibited Conduct

       Members of the Board and employees of the Retirement System are prohibited from:

(1)    Having any beneficial interest, direct or indirect, in any investment of the Retirement
       System;




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(2)   Being an obligor or providing surety for any money loaned to or borrowed from the
      Retirement System;

(3)   Except as provided in Article 11, borrowing any money or other assets of the Retirement
      System; and

(4)   Receiving any pay or other compensation from any person, other than compensation paid
      by the Retirement System, with respect to investments of the Retirement System.




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           ARTICLE 15. INVESTMENT OF RETIREMENT SYSTEM ASSETS

Sec. 15.1. Investment Powers of the Board and the Investment Committee

        Subject to the requirements set forth in this Article 15, the Board shall have the power
and authority to manage, control, invest and reinvest money and other assets of the Retirement
System subject to all terms, conditions, limitations, and restrictions imposed on the investment of
assets of public employee retirement systems or plans by Act No. 314 of the Public Acts of 1965,
being sections 38.1132 et seq. of the Michigan Compiled Laws, as amended. Notwithstanding
anything in this Combined Plan Document to the contrary, for the twenty year period following
the effective date of the Plan of Adjustment, the Investment Committee shall make
recommendations to the Board with respect to investment management matters as provided in
this Article 15.

       All investment management decisions made by the Board, as more fully described in
Section 15.2, shall require a recommendation by an affirmative vote of the Investment
Committee as provided in this Combined Plan Document. The Board shall take no action with
respect to any matter for which the Investment Committee has responsibility and authority,
including the investment management matters described in Section 15.2, unless and until such
action has been approved by affirmative vote of the Investment Committee. All actions and
recommendations of the Investment Committee shall be forwarded to the Board for consideration
and are subject to Board approval. If (a) the Board fails to approve or disapprove an Investment
Management decision that has been recommended by an affirmative vote of the Investment
Committee, and such failure continues for forty-five days after the date that the recommendation
was made to the Board, or (b) the Board disapproves an Investment Management decision within
such forty-five day period but fails to provide to the Investment Committee within such forty-
five day period a detailed written response outlining the reasons for such disapproval, then the
Investment Committee and the Chief Investment Officer are authorized to implement the
decision.

        If the Board disapproves an investment management decision within such forty-five day
period and provides to the Investment Committee within such forty-five day period a detailed
written response outlining the reasons for such disapproval, then the Investment Committee shall
have forty-five days after the receipt of the Board response to either (a) withdraw the
recommended investment management decision, or (b) request, in writing, a conference with the
Board to be held within ten days, but not less than five business days, of the request by the
Investment Committee to discuss the disapproval by the Board described in the written response.
Any such conference shall be conducted with at least three independent Investment Committee
members present in person or by phone. Within ten days of the commencement of the
conference or twenty days following the Investment Committee’s request for a conference if no
conference is held, the Investment Committee shall either withdraw the recommended
Investment Management decision or provide the Board with a written explanation of the
Investment Committee’s decision to proceed with the recommended Investment Management
decision. After delivery of such written explanation by the Investment Committee, the
Investment Committee and the chief investment officer are authorized to implement the decision.
Any action taken by the Board or the Investment Committee in violation of the terms of this
Article 15 shall constitute an ultra vires act and the Investment Committee or the Board is



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granted the express right to seek to preliminarily enjoin such violation without the need to show
irreparable harm.

Sec. 15.2. Investment Management

(1)    For purposes of this Combined Plan, “investment management decisions” and
       “investment management matters” shall include:

       (a)    development of an investment policy statement with sound and consistent
              investment goals, objectives, and performance measurement standards which are
              consistent with the needs of the Retirement System;

       (b)    within 120 days after the effective date of the Plan of Adjustment, placement of
              all of the assets of the Retirement System not already under qualified management
              with qualified investment managers selected by the Investment Committee;

       (c)    evaluation, retention, termination and selection of qualified managers to invest
              and manage the Retirement System’s assets;

       (d)    review and affirmation or rejection of the correctness of any and all calculations,
              actuarial assumptions and/or assessments used by the Actuary including, but not
              limited to (i) those underlying the restoration of pension benefits, funding levels
              and amortization thereof, all in accordance with the pension restoration program
              attached to the Plan of Adjustment (as more fully described in Article G of
              Component II of this Combined Plan Document), (ii) those underlying the
              determination of annual funding levels and amortization thereof, and (iii) on or
              after Fiscal Year 2024, the recommended annual contributions to the Retirement
              System in accordance with applicable law;

       (e)    in accordance with approved actuarial work as provided in paragraph (d) above
              and based on the annual actuarial valuation reports and any other projections or
              reports as applicable from the Actuary or other professional advisors, the
              determination of the extent of restoration of pension benefits, including but not
              limited to the payment of all or a portion of the reduced base monthly pension
              amounts and the payment of lost COLA payments, all in conformance with the
              pension restoration program attached to the Plan of Adjustment;

       (f)    communication of the Retirement System’s investment goals, objectives, and
              standards to the investment managers, including any material changes that may
              subsequently occur;

       (g)    determination and approval of the Retirement System’s investment and asset
              allocation guidelines, taking into account the appropriate liquidity needs of the
              Retirement System;

       (h)    the taking of corrective action deemed prudent and appropriate when an
              investment manager fails to perform as expected;




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       (i)     interpretation of Retirement System governing documents, existing law, the Plan
               of Adjustment and other financial information that could affect funding or benefit
               levels;

       (j)     review and approval, prior to final issuance, of the annual audit and all financial
               reports prepared on behalf of the Retirement System and meet and confer with the
               Auditor or other professional advisors, as necessary, prior to approval of the
               annual audit or other financial reports;

       (k)     determination of the funding status of the Retirement System and any remedial
               action to be taken pursuant to Section 9.5; and

       (l)     performance of an asset/liability valuation study for the Retirement System every
               three years or, more often, as requested by the Investment Committee or the
               Board.

        All actions of the Investment Committee shall comply with the provisions of pertinent
federal, state, and local laws and regulations, specifically Act No. 314 of the Public Acts of 1965,
being Sections 38.1132 et seq. of the Michigan Compiled Laws, as amended, and the Retirement
System’s investment guidelines.

Sec. 15.3. Best Practices

       Prior to adopting investment guidelines and asset allocation policies, selecting investment
managers or adopting investment return assumptions, the Investment Committee shall have an
understanding of and shall give appropriate consideration to the following:

       (a)     the fiduciary best practices and institutional standards for the investment of public
               employee retirement system plan assets;

       (b)     the objective to obtain investment returns above the established actuarial
               investment return assumption to support the restoration of benefits under the
               pension restoration program described in the Plan of Adjustment and Component
               II of this Combined Plan Document, to the extent that it is prudent and consistent
               with the overall funding, liquidity needs and actuarial assumptions governing the
               Retirement System; and

       (c)     the liquidity needs of the Retirement System.

Sec. 15.4. Chief Investment Officer

        The Investment Committee shall have the exclusive power to select, retain and terminate
the services of a chief investment officer for the Retirement System. The Investment Committee
shall determine any and all compensation and other terms of employment of any chief
investment officer hired by it. The chief investment officer shall report directly to the
Investment Committee and the executive director of the Board. The chief investment officer
shall be responsible for assisting the Investment Committee and the Board with respect to
oversight of the Retirement System’s investment portfolio. The chief investment officer shall



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provide such periodic reports relating to the Retirement System’s assets to the Investment
Committee and the Board as it or they shall request.

Sec. 15.5. Investment Consultants

        The Board and/or Investment Committee may retain the services of one or more
investment consultants who shall be responsible for assisting the Board and the Investment
Committee with oversight of the Retirement System’s investment portfolio. Any such
investment consultant shall be a registered advisor with the United States Securities and
Exchange Commission and shall be a nationally recognized institutional investment consultant
with expertise in the investment of public pension plan assets. Any such investment consultant
shall acknowledge in writing its role as investment fiduciary with respect to the Retirement
System as defined in the Public Employee Retirement System Investment Act, as amended, MCL
38.1132 et seq. The Board or the Investment Committee, as appropriate, shall determine the
compensation and other terms of employment of any investment consultant hired by it. The
duties of an investment consultant may include, but shall not be limited to:

       (a)    providing an asset/liability valuation study for the Retirement System;

       (b)    reviewing the Retirement System’s asset allocation based on current market
              assumptions;

       (c)    identifying and recommending to the Investment Committee and the Board
              appropriate investment strategies based on the financial condition of the
              Retirement System;

       (d)    implementing the approved investment strategies, such as recommending to the
              Investment Committee, for Board approval, an asset allocation strategy, building
              an investment structure for the Retirement System, and identifying qualified
              investment managers (through an organized search process) to execute and
              implement investment strategies;

       (e)    monitoring and evaluating the ongoing progress of the investment managers
              toward stated investment goals and objectives;

       (f)    recommending to the Investment Committee and the Board any necessary
              corrective actions, including adjustments to the investment structure or investment
              management organizations, in the event of a deviation from expectations;

       (g)    communicating the investment policies of the Retirement System to the
              investment managers;

       (h)    reviewing the investment policies with the appropriate employees of the
              Retirement System;

       (i)    aiding the Investment Committee in providing recommendations on issues
              relating to rebalancing and cash flow management, securities lending, transition
              management, cash equalization and other investment related topics;



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      (j)   attending Investment Committee and Board meetings in person, or telephonically,
            as needed or as requested;

      (k)   meeting with the Investment Committee and the Board to provide detailed
            quarterly performance reports and executive summaries of performance;

      (l)   meeting with the Investment Committee and the Board to review capital markets
            and inform the Board and Retirement System employees on the current
            investment environment; and

      (m)   meeting with the Investment Committee and the Board to provide
            recommendations on asset allocation, investment structure, and manager
            selections.




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                      ARTICLE 16. RETIREE MEDICAL ACCOUNT

Sec. 16.1. Establishment of Account

       A Medical Benefits Account shall be established and maintained under the Retirement
System out of which the Board shall pay the cost, which would otherwise be borne by the
Employers, for certain medical and related benefits provided under the plans or programs
maintained by the Employers to provide Medical Benefits (the “Medical Plans”) for the benefit
of the Medical Beneficiaries. The provisions of this Article 16 are intended to comply with
Section 401(h) of the Code and shall be construed to comply therewith.

Sec. 16.2. Effective Date of Retiree Medical Account

       Medical Benefits may be paid from the Medical Benefits Account beginning October ___,
2014, or such other date recommended by an enrolled actuary (within the meaning of Section
7701(a)(35) of the Code) and approved by the Board and Investment Committee.

Sec. 16.3. Funding of Benefits

        Subject to the Plan of Adjustment and the right reserved to the City to amend or terminate
the provision of Medical Benefits under its general power to amend the Plan under Section 17.5,
the City expects and intends to make actuarially determined contributions under the Retirement
System from time to time to fund the Medical Benefits Account. The assets of the Medical
Benefits Account may be invested together with the other assets of the Retirement System, in
which case earnings of the Retirement System shall be allocated to the Medical Benefits Account
on a reasonable basis, or such assets may be invested separately. In any event, no part of the
Retirement System, other than the assets of the Medical Benefits Account, shall be available to
pay for any part of the cost of Medical Benefits.

        The amount determined by the City to be contributed for any Plan Year by the Employers
pursuant to the paragraph above shall be reasonable and ascertainable and shall not exceed the
total cost for such Plan Year of providing Medical Benefits to the Medical Beneficiaries,
determined in accordance with generally accepted actuarial methods and assumptions that are
reasonable in view of the provisions and coverage of the medical and other welfare plans
providing such benefits, the funding medium and any other applicable considerations. At the
time any Employer makes a contribution to the Trustee, the Employer shall designate the portion
thereof that is allocable to the Medical Benefits Account.

Sec. 16.4. Limitation on Contributions

       At all times the aggregate of the contributions made by the Employers to provide Medical
Benefits shall not exceed twenty-five percent (25%) of the sum of the aggregate contributions
made by the Employers to the Plan under Sections 9.3, 9.4 and 9.5 other than the contributions to
fund past service credits, plus the aggregate contributions to the Medical Benefits Account. In
the event that a contribution under Section 16.3 shall exceed the amount described in the
preceding sentence, such contribution shall be reduced by the excess amount.




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Sec. 16.5. Impossibility of Diversion

         In no event, prior to the satisfaction of all liabilities to provide Medical Benefits, shall the
Medical Benefits Account be used for, or diverted to, any purpose other than the payment of
such benefits and any necessary or appropriate expenses of administration associated therewith.
Any amounts credited to the Medical Benefits Account following the satisfaction of all such
liabilities shall be returned to the Employers.

Sec. 16.6. Administration

        The Medical Plans shall continue to be administered, and claims processed, under their
respective terms. The interpretation and administration of the terms of this Article 16 shall be
subject to the provisions of the Combined Plan Document.

Sec. 16.7. Right to Amend or Terminate Medical Plans

        The Employers expressly reserve the exclusive right, retroactively to the extent permitted
by law, to amend, modify, change, terminate or revoke any medical or other welfare plan or
policy maintained by any such Employer that provides medical or other welfare benefits,
including but not limited to Medical Benefits, and to require Members, former Members, their
eligible Spouses and dependents to pay all or any portion of the cost of such medical benefits.

Sec. 16.8. Reversion

        At no time prior to the satisfaction of all liabilities under the Retirement System to
provide Medical Benefits, shall any part of the Medical Benefits Account be used for any
purpose other than providing Medical Benefits, and any necessary or appropriate expenses
attributable to the administration of the Medical Benefits Account. If any residual assets remain
in the Medical Benefits Account after the satisfaction of all obligations of the Employers to
provide Medical Benefits to the Medical Beneficiaries, such assets shall be returned to the
Employers. In the event a Medical Beneficiary’s interest in the Medical Benefits Account is
forfeited prior to the termination of the Retirement System, an amount equal to such forfeiture
shall be applied as soon as possible to reduce the Employers’ contributions to the Medical
Benefits Account.

Sec. 16.9. Limitation of Rights

        A Medical Beneficiary shall have no right, title or claim in any specific asset of the
Medical Benefits Account, but shall have the right only to the Medical Benefits provided from
time to time under the Medical Benefits Account.




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                              ARTICLE 17. MISCELLANEOUS

Sec. 17.1. Nonduplication of Benefits

        If any Member is a participant in another defined benefit pension plan, retirement system
or annuity plan sponsored by an Employer (including Component II of this Retirement System)
and the Member is or becomes entitled to accrue pension benefits under such plan or retirement
system (including Component II of this Retirement System) with respect to any period of service
for which he is entitled to accrue a benefit under Component I of this Retirement System, such
Member shall not be eligible to accrue or receive payment of a benefit under Component I with
respect to such period of service.

Sec. 17.2. Assignments Prohibited

       The right of a person to a pension, annuity, the return of Accumulated Voluntary
Employee Contributions and/or the return of Accumulated Mandatory Employee Contributions,
the Retirement Allowance itself, to any optional form of payment, to any other right accrued or
accruing to any person under the provisions of this Retirement System, and the monies in the
various funds of the Retirement System shall not be assignable and shall not be subject to
execution, garnishment, attachment, the operation of bankruptcy or insolvency law, or any other
process of law whatsoever, except as specifically provided in this Combined Plan Document or
by an eligible domestic relations order of a lawful court.

Sec. 17.3. Protection Against Fraud

       A person who, with intent to deceive, makes any statements or reports required under this
Retirement System that are untrue, or who falsifies or permits to be falsified any record or
records of this Retirement System, or who otherwise violates, with intent to deceive, any terms
or provisions of the Retirement System, shall be subject to prosecution under applicable law.

Sec. 17.4. Errors

        If any change or error in the records results in any person receiving from the Retirement
System more or less than the person would have been entitled to receive from the Retirement
System had the records been correct, the Board shall correct such error and, as far as practicable,
shall adjust the payment in such a manner that the actuarial equivalent of the benefit to which
such person was correctly entitled shall be paid.

Sec. 17.5. Amendment; Termination; Exclusive Benefit

       The City reserves the right to amend the Combined Plan Document created hereunder at
any time; such amendments may include termination of the Retirement System; provided,
however, that following the effective date of the Plan of Adjustment, no amendment other than
amendments permitted under the terms of the Plan of Adjustment (including amendments
contemplated in Section G-4(5) of Component II) may be made to the terms, conditions and rules
of operation of the Retirement System, or any successor plan or trust, that govern the calculation
of pension benefits during the period ending June 30, 2023, nor may any amendment or
termination deprive any Member, former Member or Beneficiary of any then vested benefit



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under the Retirement System, except as provided in the Plan of Adjustment. Notwithstanding
the foregoing, the City and the Board have the authority to amend the Combined Plan Document
as necessary to retain the tax qualified status of the Retirement System under the Internal
Revenue Code. The City shall make no amendment or amendments to the Retirement System
which causes any part of the assets of the Retirement System to be used for, or diverted to, any
purpose other than the exclusive benefit of Members, former Members or their Beneficiaries;
provided, that the City may make any amendment necessary, with or without retroactive effect,
to comply with applicable federal law. Any amendment of the Retirement System by the City
must be approved by the Council or person standing in the stead of the Council.

       Upon termination of the Retirement System or upon complete discontinuance of
contributions to the Retirement System, the rights of all Members to benefits accrued to the date
of such termination or discontinuance, to the extent then funded, shall be nonforfeitable.

Sec. 17.6. Forfeitures Not to Increase Benefits

       Any forfeitures arising under the Retirement System due to a Member’s termination of
employment or death, or for any other reason, shall be used to pay expenses of the Retirement
System and shall not be applied to increase the benefits any Member would otherwise receive
under the Retirement System at any time prior to termination of the Retirement System.

Sec. 17.7. Required Distributions - Compliance with Code Section 401(a)(9) and
           Regulations

        The Retirement System will apply the minimum distribution requirements of Code
Section 401(a)(9) in accordance with the final regulations issued thereunder, notwithstanding any
provision in the Combined Plan Document to the contrary. Pursuant to Code Section
401(a)(9)(A)(ii), a Member’s interest must begin to be distributed by the later of (i) the April 1 of
the calendar year following the calendar year in which he attains the Age of seventy and one-half
(70-1/2), or (ii) April 1 of the calendar year following the year in which he retires. Distributions
will be made in accordance with Regulations Sections 1.401(a)(9)-2 through 1.401(a)(9)-9. The
provisions of this Section 17.7 and the regulations cited herein and incorporated by reference
override any inconsistent plan distribution options.

Sec. 17.8. Direct Rollovers

(1)    For purposes of compliance with Code Section 401(a)(31), a distributee may elect, at the
       time and in the manner prescribed by the Board, to have any portion of an eligible
       rollover distribution paid directly to an eligible retirement plan specified by the
       distributee in a direct rollover.

(2)    For purposes of this Section 17.8, the following terms shall have the following meanings:

       (a)     “Direct rollover” means a payment by the retirement system to an eligible
               retirement plan specified by a distributee.

       (b)     “Distributee” means a Member or former Member. It also includes the Member’s
               or former Member’s surviving Spouse, a Spouse or former spouse who is the



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            alternate payee under an eligible domestic relations order, or a nonspouse
            beneficiary who is a designated beneficiary as defined by Code Section
            401(a)(9)(E). However, a nonspouse beneficiary may only make a direct rollover
            to an individual retirement account or individual retirement annuity established
            for the purpose of receiving the distribution, and the account or annuity will be
            treated as an “inherited” individual retirement account or annuity.

      (c)   “Eligible retirement plan” means any of the following that accepts a distributee’s
            eligible rollover distribution:

            (i)     a qualified trust described in Code Section 401(a);

            (ii)    an annuity plan described in Code Section 403(a);

            (iii)   an annuity contract described in Code Section 403(b);

            (iv)    an individual retirement account described in Code Section 408(a);

            (v)     an individual retirement annuity described in Code Section 408(b);

            (vi)    a Roth IRA described in Code Section 408A; or

            (vii)   a plan eligible under Code Section 457(b) that is maintained by a state,
                    political subdivision of a state, or any agency or instrumentality of a
                    state or a political subdivision of a state that agrees to separately account
                    for amounts transferred into that plan from the Retirement System.

      (d)   “Eligible rollover distribution” means any distribution of all or any portion of the
            balance to the credit of a distribute under the Retirement System, except that an
            eligible rollover distribution does not include: any distribution that is one of a
            series of substantially equal periodic payments (not less frequently than annually)
            made for the life (or the life expectancy) of the distributee or the joint lives (or
            joint life expectancies) of the distributee and the distributee’s designated
            beneficiary, or for a specified period of ten years or more; any distribution to the
            extent such distribution is required under Code Section 401(a)(9); the portion of
            any distribution that is not includible in gross income; and any other distribution
            which the Internal Revenue Service does not consider eligible for rollover
            treatment, such as any distribution that is reasonably expected to total less than
            $200 during the year. Notwithstanding the foregoing, a portion of a distribution
            will not fail to be an “eligible rollover distribution” merely because the portion
            consists of after-tax contributions that are not includible in Member’s gross
            income upon distribution from the Retirement System. However, such portion
            may be transferred only (i) to an individual retirement account or annuity
            described in Code Section 408(a) or (b) or to a qualified defined contribution plan
            described in Code Section 401(a) that agrees to separately account for amounts so
            transferred (and earnings thereon), including separately accounting for the portion
            of the distribution that is includible in gross income and the portion of the
            distribution that is not so includible; (ii) to a qualified defined benefit plan



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               described in Code Section 401(a) or to an annuity contract described in Code
               Section 403(b) that agrees to separately account for amounts so transferred (and
               earnings thereon), including separately accounting for the portion of the
               distribution that is includible in gross income and the portion of the distribution
               that is not so includible; or (iii) to a Roth IRA described in Code Section 408A.

Sec. 17.9. Construction

        Words in the singular should be read and construed as though used in the plural, and
words in the plural should be read and construed as though used in the singular, where
appropriate. The words “hereof”, “herein”, and “hereunder” and other similar compounds of the
word “here”, shall mean and refer to Component I and/or Component II of this Combined Plan
Document or to the Combined Plan Document in its entirety, as the context may require, and not
to any particular provision or section thereof. The table of contents, article and section headings
are included for convenience of reference, and are not intended to add to, or subtract from, the
terms of the Combined Plan Document or the Retirement System created hereunder.

Sec. 17.10. Severability

        If any section or part of a section of this Combined Plan Document or provision relating
to the Retirement System is for any reason held to be invalid or unconstitutional, such holding
shall not be construed as affecting the validity of the remaining sections of the Combined Plan
Document or Retirement System or of the Combined Plan Document or Retirement System in its
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                 PRINCIPAL TERMS OF NEW GRS ACTIVE PENSION PLAN




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                      FORM OF NEW PFRS ACTIVE PENSION PLAN




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           COMBINED PLAN
               FOR THE
           POLICE AND FIRE
       RETIREMENT SYSTEM OF
    THE CITY OF DETROIT, MICHIGAN
                 Amendment and Restatement Effective July 1, 2014




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                           ARTICLE 1. GENERAL PROVISIONS

Sec 1.1.   Police and Fire Retirement System Established; Adoption of 2014 Plan
           Document

        Effective July 1, 1941, a Pension System for Policemen and Firemen of the City of
Detroit was established for the purpose of providing retirement allowances and death benefits for
Policemen and Firemen and their beneficiaries by amendment to the Charter of the City of
Detroit. That Pension System was amended on numerous occasions after July 1, 1941, including
an amendment renaming the Retirement System as the “Police and Fire Retirement System of the
City of Detroit.” The provisions of the Police and Fire Retirement System of the City of Detroit,
as in effect July 1, 2014, are set forth in this Plan Document (including Appendix A attached
hereto). Component I of the Plan Document applies to benefits accrued by Members on and
after July 1, 2014 and to operation of the Police and Fire Retirement System of the City of
Detroit on and after July 1, 2014. Component II of the Plan Document generally applies to
benefits accrued by Members prior to July 1, 2014. Except as specifically provided in
Component II, benefits provided under Component II of the Plan Document are frozen effective
June 30, 2014.

        Pursuant to Section 47-1-2 of the Detroit City Code, this Combined Plan Document shall
replace the provisions of the Police and Fire Retirement System of the City of Detroit as set forth
in the City of Detroit Charter, the Detroit City Code and any conflicting provisions in any
collective bargaining agreements, rulings or opinions covering Members (including, without
limitation, City Employment Terms). All resolutions and policies of the Board previously
enacted which are inconsistent with the provisions of this Plan Document are also hereby
repealed to the extent of such inconsistency.

Sec 1.2.   Retirement System Intended to be Tax-Qualified; Governmental Plan

       The Retirement System is a governmental plan under Section 414(d) of the Internal
Revenue Code which is intended to be a qualified plan and trust pursuant to applicable
provisions of the Internal Revenue Code. The Board shall construe and administer the
provisions of the Retirement System in a manner that gives effect to the tax-qualified status of
the Retirement System.

Sec 1.3.   Compliance With Plan of Adjustment

        The Retirement System is intended to comply with all relevant provisions (including
Exhibits) of the Plan for the Adjustment of Debts of the City of Detroit, as approved by the
United States Bankruptcy Court in In re City of Detroit, Michigan, Case No. 13-53846 (“Plan of
Adjustment”). Component I and Component II of the Combined Plan shall be interpreted and
construed by the City, the Board of Trustees and the Retirement System to give full effect to the
Plan of Adjustment. To the extent that a conflict arises between the Combined Plan Document
and the Plan of Adjustment, the City, the Board of Trustees, the Investment Committee and the
Retirement System are directed to interpret any inconsistency or ambiguity to give full effect to
the Plan of Adjustment.




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Sec 1.4.     Board of Trustees

       Effective July 1, 1941, a Board of Trustees of the Police and Fire Retirement System of
the City of Detroit was created. The Board is vested with responsibility for the general
administration, management and operation of the Police and Fire Retirement System of the City
of Detroit and with the trust and investment powers conferred in this Combined Plan Document.

Sec 1.5.     Board of Trustees – Membership; Appointment

        The Board of Trustees of the Police and Fire Retirement System of the City of Detroit
shall consist of seventeen Trustees, as follows:

(1)    The Mayor, ex-officio, or the Mayor’s designee;

(2)    The President of City Council or a member thereof elected by the City Council, ex-
       officio;

(3)    The City Treasurer or Deputy City Treasurer, ex-officio;

(4)    The City Finance Director, or a designated representative, ex-officio;

(5)    The City Budget Director, or a designated representative, ex-officio;

(6)    The Corporation Counsel of the City, or a designated representative, ex-officio;

(7)    Three Fire Members of the Retirement System to be elected by the Fire Members under
       such rules and regulations as may be established by the Board of Fire Commissioners to
       govern such elections, as follows:

       (a)      Two to be elected by and from Members holding the rank of lieutenant (or its
                equivalent) and lower ranks; and

       (b)      One to be elected by and from Members holding ranks above the rank of
                lieutenant (or its equivalent);

(8)    Three Police Members of the Retirement System to be elected by the Police Members
       under the rules and regulations as may be established by the Commissioner of Police to
       govern such elections, as follows:

       (a)      Two to be elected by and from Members holding the rank of lieutenant (or its
                equivalent) and lower ranks; and

       (b)      One to be elected by and from Members holding a rank above lieutenant (or its
                equivalent); and

(9)    One individual who neither is a Member of the Retirement System nor an employee of
       the City in any capacity to be selected by the Board;




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(10)   Two Retirees receiving benefits under the Retirement System, one of whom shall be
       elected by Retired Police Members and one of whom will be elected by Retired Fire
       Members pursuant to Sections 1.6 and 1.7 below;

(11)   One Trustee appointed by the Mayor upon election of a Retiree Police Trustee; and

(12)   One Trustee appointed by the Mayor upon election of a Retiree Fire Trustee.

Sec 1.6.   Board of Trustees; Scheduling of Elections for Active and Retiree Trustees

(1)    Annual elections for active Police Officers and Fire Fighters shall be held in the Police
       and Fire Departments during the month of May to elect a trustee to fill the vacancy
       created by the expiration of a term.

(2)    Elections to fill vacancies created by the expiration of a term for a Retiree Trustee shall
       be held every three years during the month of May.

(3)    A special election for Retiree Trustees shall be held as soon as practicable after the Plan
       of Adjustment is confirmed. Unless a Retiree Trustee elected by reason of this special
       election resigns or is removed from the position of Trustee in accordance with the terms
       of the Combined Plan Document, a Retiree elected to the office of Trustee in the special
       election shall be eligible to serve a full term of three (3) years from the date of the special
       election, plus such period of time until the last day of June that follows the third
       anniversary of the special election, at which time an election for Retiree Trustees shall be
       held in accordance with Section 1.7.

Sec 1.7.   Procedures for election of Retiree Trustees

       The procedures for the election of the Retiree Trustees shall be as follows:

(1)    Notice. Notice of a primary election shall be sent to each Retiree by United States Mail.

(2)    Notice of Candidacy. A proposed candidate shall submit a notarized letter to the
       executive director notifying the Retirement System of his or her candidacy.

(3)    Ballot. Each candidate whose name appears on the ballot at any election held for the
       office of Retiree Trustee shall be identified by the title of the position the Retiree held at
       the time of retirement and by the word “incumbent” if the candidate is a current trustee
       seeking re-election. No ballot shall contain any organizational or political designation or
       mark. Rotation and arrangement of names on the ballot shall be in accordance with the
       rules and regulations of the Board.

(4)    Voting. Procedures regarding mailing of ballots, poll lists, custody of ballots, marking of
       ballots, return of ballots, handling of return envelopes received, and sealed ballot boxes
       shall be the same as those adopted and followed by the Board in the immediately
       preceding election of an active employee Trustee.




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(5)    Procedures. Procedures regarding the selection and certification of successful candidates
       for nomination, the selection of Trustees from nominees, tie votes, and the destruction of
       ballots shall be the same as those adopted and followed by the Board in the immediately
       preceding election of an active employee Trustee.

(6)    Board Rules. Any matters relative to the election of the Retiree member of the Board not
       covered by this Section 1.7 shall be handled in accordance with such rules and
       regulations as the Board may adopt and Michigan law.

Sec 1.8.   Board of Trustees; Oath; Term; Vacancies

      Within ten days after appointment or election, each Trustee shall take an oath of office to
be administered by the City Clerk.

        The term of office for each elected Trustee under Sections 1.5(7), (8) and (10) shall be
three years. The term of office for the Trustee who is selected by the Board under Section 1.5(9)
shall be two years. The term of office for the Trustees appointed by the Mayor under Sections
1.5(11) and (12) shall be three years. Except as provided in Section 1.6(3), elected Trustees
holding office on June 30, 2014 shall serve the remainder of their terms.

        If a Trustee resigns or is removed by the other Trustees for cause, or if an elected or
appointed Trustee fails to attend three consecutive scheduled Board meetings without being
excused for cause by the Trustees attending such meetings, the Trustee shall be considered to
have resigned from the Board. If a vacancy occurs in the office of Trustee from any cause other
than expiration of a term, the vacancy for the unexpired term shall be filled within sixty days of
the date of said vacancy in the same manner as the office was previously filled. No vacancy
shall result by reason of a change in the rank or grade of a Trustee during the term of office.

Sec 1.9.   Board of Trustees; Officers and Employees

        The Board of Trustees shall elect from its membership a chairman and a vice chairman.
The executive director of the Retirement System or his or her representative shall serve as
secretary of the Board of Trustees. The Board may employ such special actuarial, medical and
other employees as shall be required, subject to the powers and authority reserved to the
Investment Committee and subject to the Public Employee Retirement System Investment Act, as
amended, MCL 38.1132 et seq.

Sec 1.10. Board of Trustees; Meetings; Rules of Procedure; Votes; Quorum

(1)    The Board shall hold regular meetings, at least one in each month, and shall designate the
       time and place thereof in advance. The Board shall adopt its own rules of procedure,
       including provisions for special meetings and notice thereof, and shall keep a record of
       proceedings. All meetings of the Board shall be public and are subject to the Michigan
       Open Meetings Act, MCL 15.261 et seq. All Board meetings shall be held within the City
       of Detroit.




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(2)    Each Trustee shall be entitled to one vote on each question before the Board. A majority
       vote of the Trustees present shall be necessary for a decision by the Trustees at any
       meeting of the Board.

(3)    Eight members of the Board, four of whom must be elected members, shall constitute a
       quorum.

Sec 1.11. Board of Trustees; Compensation; Expenses

        All members of the Board of Trustees shall serve without additional compensation from
the City or the Retirement System; however Retiree Trustees shall receive a hourly stipend from
the Retirement System equal to the lowest rate of pay received by an active employee Trustee for
attending Board meetings, educational time and travel out of the City on official business of the
Retirement System. All Trustees shall be reimbursed from the Expense Fund for all actual,
reasonable and necessary expenses incurred in the performance of their duties as Trustees.

Sec 1.12. Rules for Administration of Funds.

       Subject to the limitations contained in this Combined Plan document, the Board of
Trustees shall, from time to time, establish rules and regulations for the administration of the
funds created by this Combined Plan document and for the transaction of its business.

Sec 1.13. Board of Trustees; Certain Data to be Kept

        The Board of Trustees shall keep, or cause to be kept, in convenient form, such data as
shall be necessary for the actuarial valuation of the various funds of the Retirement System and
for checking and compiling the experience of the Retirement System. The ordinary actuarial,
accounting and clerical services for the operation of the Retirement System shall be performed
by the employees of the Retirement System.

Sec 1.14. Board of Trustees; Annual Audit Report

        The Board shall render a report to the Mayor, the City Council and the Investment
Committee on or before the fifteenth day of January, showing the fiscal transactions of the
Retirement System for the year ending on the preceding thirtieth day of June, the amounts of
accumulated cash and securities in the various funds of the System, and the last balance sheet
showing the financial condition of the Retirement System by means of an actuarial valuation of
the assets and liabilities of the Retirement System.

Sec 1.15. Board of Trustees; Legal Advisors

(1)    The Board shall appoint legal advisors (including a general counsel) who shall be directly
       responsible to and shall hold office at the pleasure of the Board of Trustees. Any legal
       advisor to the Board of Trustees shall be an attorney licensed to practice law in the State
       of Michigan and shall be experienced in matters relating to pension systems. The
       qualifications of legal counsel shall be approved by the Board of Trustees.




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(2)    Legal advisors to the Board of Trustees shall have such duties relative to pension matters
       as shall be assigned by the Board of Trustees.

(3)    Costs and expenses relative to the position of legal advisors to the Board shall be payable
       out of the assets of the Retirement System, subject to the provisions of the Public
       Employee Retirement System Investment Act, as amended, MCL 38.1132 et seq.

Sec 1.16. Board of Trustees; Medical Director

(1)    The Board shall appoint a Medical Director who is directly responsible to and shall hold
       office at the pleasure of the Board. The Medical Director shall be a physician who has not
       at any time been regularly or permanently employed by any department, board, or
       commission of the City, county, or state, has not held an elective, appointive, or salaried
       office in any city, county, or state government at any time, and is not eligible to
       participate in a retirement system maintained by the City. However, service as an intern
       in any city, county, or state hospital or sanitarium and service in any state military body
       shall not disqualify a physician for appointment as Medical Director.

(2)    The Medical Director shall arrange for and pass upon all medical examinations required
       under the provisions of the Combined Plan, and shall report in writing to the Board of
       Trustees his or her conclusions and recommendations on medical matters referred to it.

Sec 1.17. Designation of Actuary; Authority to Engage Additional Actuaries

        The Retirement System actuary as of July 1, 2014 shall continue to serve as such until
resignation or removal by the Board. In the event the Board desires to retain a new actuary, the
Board and the Investment Committee shall collectively participate in the evaluation and selection
of a qualified actuary. The Retirement System actuary shall be responsible for assisting the
Board and the Investment Committee in performing its actuarial duties and shall comply with all
requests for information or modeling requested by the Investment Committee, and shall attend
meetings of the Board and Investment Committee as requested, so as to allow the Investment
Committee to perform satisfactorily the rights and duties set forth in the Combined Plan, the
governance terms attached to the that certain Agreement by and between the Michigan
Settlement Administration Authority, the Retirement System, the General Retirement system for
the City of Detroit, Michigan (“GRS”), and the City (the “State Contribution Agreement”) as
Exhibit B (the “Governance Term Sheet”), and the Plan of Adjustment. Furthermore, the Board
shall not act on any recommendation made by the Retirement System’s actuary based on any
calculation, assumption or assessment rejected by the Investment Committee.

        Nothing herein shall be interpreted as limiting the Investment Committee’s authority to
engage an actuarial consulting firm other than the Retirement System’s actuary to perform
actuarial services deemed necessary to fulfill its fiduciary and other duties to the Retirement
System as set forth in the Governance Term Sheet and the Plan of Adjustment.

Sec 1.18. Board of Trustees; Adoption of Mortality and Other Tables of Experience and
          Rates of Interest; Limitations on Payments by the Retirement System




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(1)    Subject to Section 15.1, the Board shall adopt such mortality and other tables of
       experience, and a rate or rates of interest, as shall be necessary for the operation of the
       System on an actuarial basis, provided, that the authority granted by this Section shall not
       permit or be used to provide for an interest rate which would violate the prohibitions of
       Subsection (2) or (3) of this Section.

(2)    The Retirement System and the Trustees charged with management of the System shall
       not make any payment to active or retired Members other than payments that are required
       by the governing documents of the Retirement System. This prohibition applies to all
       payments that are not authorized by this Combined Plan, whether such payments are
       those commonly referred to as a “thirteenth check” or by any other name.

(3)    Anything in this Combined Plan Document or any other document to the contrary
       notwithstanding, the annual actuarial interest rate assumption for the period commencing
       July 1, 2014 and ending June 30, 2023 shall be six and three-quarters percent (6.75%).

Sec 1.19. Board of Trustees; Annual Actuarial Valuation of Assets and Liabilities

        Subject to Section 15.1, each year, on the basis of such mortality and other tables of
experience, and such rate or rates of regular interest as the Board shall adopt pursuant to Section
1.18, the Board shall cause to be made an actuarial valuation of the assets and liabilities of the
Retirement System.

Sec 1.20. Board of Trustees; Powers and Duties; Fiduciary Status; Fiduciary Duties

        The Board of Trustees shall have such powers and duties as are necessary for the proper
administration of the Retirement System and the custody and investment of Retirement System
assets, other than those powers and duties reserved to the Investment Committee. To the extent
the Board exercises discretion with respect to investment of Retirement System assets, the Board
shall be an investment fiduciary as defined in the Public Employee Retirement System Investment
Act, as amended, MCL 38.1132 et seq., and a Board member shall discharge his or her duties
with respect to the Retirement System in compliance with the provisions of the Public Employee
Retirement System Investment Act, as amended, MCL 38.1132 et seq. A member of the Board of
Trustees shall discharge his or her duties with the care, skill and caution under the circumstances
then prevailing that a prudent person, acting in a like capacity and familiar with such matters,
would use in the conduct of an activity of like character and purpose. Board members shall
comply with all Board governance policies and procedures, including the Ethics and Code of
Conduct Policies, unless such compliance would violate the member’s fiduciary duties or
conflicts with the provisions set forth in this Combined Plan Document.

Sec 1.21. Investment Committee; Establishment; Purpose; Fiduciary Status; Fiduciary
          Duties

       As of the effective date the Plan of Adjustment, but subject to consummation of the State
Contribution Agreement, an Investment Committee is hereby created for the purpose of making
recommendations to, and approving certain actions by, the Board of Trustees and/or making
determinations and taking action under and with respect to certain investment management
matters relating to the Retirement System. The creation and operation of the Investment


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Committee is controlled by the Governance Term Sheet. The Investment Committee shall
remain in effect for a period of not less than twenty years following the date of confirmation of
the Plan of Adjustment. The Investment Committee shall be an investment fiduciary as defined
in the Public Employee Retirement System Investment Act, as amended, MCL 38.1132 et seq. and
shall have all powers granted fiduciaries under the first sentence of MCL 38.1133(5) and (6).
The Investment Committee shall serve in a fiduciary capacity with respect to the investment
management of Retirement System assets, determination of the investment return assumptions,
and Board compliance with provisions of the governing documents of the Retirement System.
An Investment Committee member shall discharge his or her duties with respect to the
Retirement System in compliance with the provisions of the Public Employee Retirement System
Investment Act, as amended, MCL 38.1132 et seq. An Investment Committee member shall
discharge his or her duties with the care, skill and caution under the circumstances then
prevailing that a prudent person, acting in a like capacity and familiar with such matters, would
use in the conduct of an activity of like character and purpose. Investment Committee members
shall comply with all Board governance policies and procedures, including the Ethics and Code
of Conduct Policies, unless such compliance would violate the member’s fiduciary duties or
conflict with the provisions set forth in the Governance Term Sheet.

Sec 1.22. Investment Committee; Membership; Appointment

       The Investment Committee shall consist of nine (9) members, determined as follows:

(1)    Five independent members, at least two of whom must be residents of the State of
       Michigan, and none of whom may be a party in interest with respect to the Retirement
       System, as defined in as defined in Section 38.1132d(4) of the Public Employee
       Retirement System Investment Act, as amended, MCL 38.1132 et seq. Each independent
       Investment Committee member shall have expert knowledge or extensive experience
       with respect to either (a) economics, finance, or institutional investments, or (b)
       administration of public or private retirement plans, executive management, benefits
       administration or actuarial science. At least one of the independent Investment
       Committee members shall satisfy the requirements of (a) above and at least one of the
       independent Investment Committee members shall satisfy the requirements of (b) above.
       The initial independent Investment Committee members shall be selected by mutual
       agreement of the appropriate representatives of the State of Michigan, the City and the
       Board, in consultation with the Foundation for Detroit’s Future (the “Foundation”), and
       shall be named in the Plan of Adjustment. If one or more of the five initial independent
       Investment Committee members are not selected by mutual agreement prior to
       confirmation of the Plan of Adjustment, then the United States Bankruptcy Court, Eastern
       District of Michigan shall designate such number of independent Investment Committee
       members as necessary to bring the number of independent Investment Committee
       members to five (5);

(2)    Two Retirees who shall be appointed by the Board consisting of one elected retired
       Police Member and one elected retired Fire Member who are serving on the Board and
       who are receiving benefit payments under the Retirement System; and




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(3)    Two Employee members who shall be appointed by the Board consisting of one Fire
       Department Employee and one Police Department Employee who are active members of
       the Board.



Sec 1.23. Investment Committee; Term; Resignation and Removal; Vacancies

       The term of office for the independent members of the Investment Committee shall be six
years; provided, however, that the initial term for the independent Investment Committee
members shall be determined as follows:

             Independent Member                                     Term of Office
                     (1)                                               2 years
                     (2)                                               3 years
                     (3)                                               4 years
                     (4)                                               5 years
                     (5)                                               6 years

        The term of office for a Retiree or Employee Investment Committee member shall be the
number of years remaining on such individual’s term of office as a member of the Board of
Trustees. Each Investment Committee member shall serve until his or her successor is appointed
at the expiration of his or her term of office, or until his or her death, incapacity, resignation or
removal, if earlier. Notwithstanding any provision of this Combined Plan document, an initial
independent Investment Committee member shall not be prohibited from becoming a successor
independent Investment Committee member after expiration of his or her initial term.

        An Investment Committee member may resign at any time by giving ninety days’ prior
written notice to the Investment Committee, the City and the Board, which notice or time period
may be waived by the Investment Committee. An Investment Committee member may be
removed from office by majority vote of the remaining Investment Committee members for any
of the following reasons: (a) the member is legally incapacitated from executing his or her duties
as a member of the Investment Committee and neglects to perform those duties; (b) the member
has committed a material breach of the provisions of the Retirement System or the policies or
procedures of the Retirement System and the removal of the member is in the interests of the
Retirement System or its Members and Beneficiaries; (c) the member is convicted of a violation
of law and the removal is accomplished by a vote of the members of the Investment Committee
in accordance with the voting procedure set forth in Section 1.24; or (d) if the member holds a
license to practice and such license is revoked for misconduct by any State or federal
government. A member who fails to attend four (4) consecutive scheduled meetings of the
Investment Committee shall be deemed to have resigned, unless in each case his or her absence
is excused for cause by the remaining members attending such meetings. In the event of any
removal or resignation, the Investment Committee shall by resolution declare the office of the
member vacated as of the date such resolution is adopted.




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       Any vacancy occurring on the Investment Committee shall be filled within sixty (60)
days following the date of the vacancy for the unexpired portion of the term, in the same manner
in which the office was previously filled.

       Successor independent Investment Committee members shall be recommended by a
majority of the remaining independent Investment Committee members and shall be confirmed
by the Board and the Treasurer of the State of Michigan (“Treasurer”), in consultation with the
Foundation, in accordance with such rules and regulations as may be adopted by the Investment
Committee (provided that such rules are not inconsistent with the Governance Term Sheet or the
Plan of Adjustment). In the event the Board and the Treasurer cannot agree on a successor
independent Investment Committee member within thirty (30) days of the receipt of the
recommendation of the Investment Committee, the remaining independent Investment
Committee members shall appoint the successor independent Investment Committee member.

        In the event the United States Bankruptcy Court, Eastern District of Michigan appoints
one or more of the initial independent Investment Committee members, a successor to any such
independent Investment Committee member shall be appointed in the same manner as provided
in the preceding paragraph following three (3) weeks’ notice to the Board of the individuals
appointed, in accordance with such rules and regulations as may be adopted by the Investment
Committee (provided that such rules are not inconsistent with either the Governance Term Sheet
or the Plan of Adjustment).

       Successor Investment Committee members shall have the powers and duties conferred on
Investment Committee members herein.

Sec 1.24. Investment Committee; Operation; Meetings; Quorum; Voting

        The Investment Committee members shall select from among the independent members a
chair and a vice chair. The Investment Committee members shall select from among themselves
a secretary. The Investment Committee shall hold regular meetings, not less frequently than
once every other month, and shall hold special meetings as necessary. The Investment
Committee shall designate the time and place thereof in advance. The secretary or his or her
designee shall be responsible for providing meeting notices to the other Investment Committee
members. The Investment Committee shall adopt its own rules of procedure and shall keep a
record of proceedings. Notice and conduct of all Investment Committee meetings, both regular
and special, shall be subject to the Michigan Open Meetings Act, MCL 15.261 et seq. All
Investment Committee meetings shall be held within the City of Detroit.

        Five Investment Committee members shall constitute a quorum at any meeting, as long as
at least three of the independent Investment Committee members are in attendance. Each
independent Investment Committee member shall be entitled to one vote on each question before
the Investment Committee. Each Retiree and Employee member shall be entitled to one-half
vote on each question before the Investment Committee. Except as otherwise provided in the
Governance Term Sheet, at least four concurring votes shall be necessary for a decision by the
Investment Committee and each Investment Committee member shall be entitled to one vote on
each question before the Investment Committee.




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        An Investment Committee member may have his or her voting privileges temporarily
suspended by a 70% or higher vote of the other members if the member is indicted or sued by a
state or federal government for an alleged violation of the law that relates to his or her service on
the Investment Committee, or for other alleged financial crimes, including fraud.




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Sec 1.25. Investment Committee; Compensation; Expenses; Employment of Advisors

       Investment Committee members shall not receive any compensation from the Retirement
System for their services; Investment Committee members shall, however, be reimbursed for the
reasonable, actual and necessary expenses incurred in the performance of their duties. All
reasonable and proper expenses related to the administration of the Investment Committee,
including but not limited to the purchase of insurance, shall be payable out of the assets of the
Retirement System. The Investment Committee may retain actuarial, legal counsel, audit or
other professional or support personnel to provide advice to the Investment Committee as it
deems reasonably necessary to perform its functions, and such parties or persons may be
reasonably compensated from the assets of the Retirement System. Such engagements shall not
be subject to approval of the Board.

Sec 1.26. Investment Committee; Special Reporting Obligation

(1)    Beginning in calendar year 2015, pursuant to Section 6 of the State Contribution
       Agreement, the Investment Committee shall provide compliance reports to the Treasurer
       on a semi-annual basis and at such other times as the Treasurer reasonably may request
       (each, a “Compliance Report”) that certifies that the Investment Committee is not aware
       of any defaults under the State Contribution Agreement, or, if the Investment Committee
       is aware of a default under the State Contribution Agreement, specifically identifying the
       facts of such default.

(2)    In the event the Retirement System receives a written notice from the Treasurer declaring
       and specifically identifying the facts of an alleged default under the State Contribution
       Agreement (“Default Notice”), and such default is cured as provided in the State
       Contribution Agreement, the Investment Committee must provide to the Treasurer a
       written certification that (i) the default has been cured, and (ii) no material damages have
       been caused by the default that have not otherwise been remedied (the “Cure
       Certification”).

(3)    Beginning in calendar year 2015, the Investment Committee shall provide to the City not
       later than December 31 of each year evidence reasonably necessary to show that the
       internal controls governing the investment of Retirement System assets are in compliance
       with the applicable provisions of the Plan of Adjustment.

(4)    Beginning in calendar year 2015 and for each calendar year thereafter, as of a date which
       is not later than December 31 of each such calendar year the Investment Committee shall
       provide to the Foundation the following information:

       (a)    a copy of the audited annual financial statement and the corresponding
              management letter for the Retirement System for the Fiscal Year ending June 30
              of such calendar year, containing a non-qualified opinion of an independent
              external auditor to the Retirement System;

       (b)    a certification from the Chair of the Investment Committee on behalf of the
              Investment Committee (“Pension Certificate”) in a form reasonably acceptable to




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            the Foundation that, as of the date of the annual report (“Annual Report”) required
            to be provided by the City to the Foundation:

            (i)     the City is current in its obligation to contribute to Component II of the
                    Combined Plan determined in accordance with the Plan of Adjustment;

            (ii)    the Investment Committee has been operated in accordance with the terms
                    set forth in this Component I of the Combined Plan document; and

            (iii)   the City continues to maintain the pension governance terms reflected in
                    this Component I of the Combined Plan as of the effective date of the Plan
                    of Adjustment, without modification or amendment during the twenty (20)
                    year period following the effective date of the Plan of Adjustment, except
                    as required to comply with applicable federal law, including without
                    limitation to maintain the tax qualified status of the Retirement System
                    under the Internal Revenue Code, or to comply with the Plan of
                    Adjustment;

      (c)   a copy of (i) the Compliance Report covering the calendar year for which the
            Annual Report is made; (ii) any additional Compliance Reports provided during
            the calendar year for which the Annual Report is made as requested by the
            Treasurer; (iii) either the certificate of compliance or the Default Notice, within
            the meaning of Section 6 of the State Contribution Agreement, as applicable, that
            was provided to the Investment Committee by the Treasurer; and (iv) in the event
            that the Treasurer issued a Default Notice, the Cure Certification, within the
            meaning of Section 6 of the State Contribution Agreement, provided by the
            Investment Committee. Notwithstanding anything in this paragraph (c) to the
            contrary, if the parties to the State Contribution Agreement agree to revise the
            requirements of Section 6 of the State Contribution Agreement or the information
            required in the Compliance Report, in order to meet the obligations of this
            paragraph (c), the Investment Committee shall be required only to provide
            documentation to the Foundation that meets such revised requirements; and

      (d)   any additional information that may be reasonably requested by the Foundation
            from time to time.

      (e)   Beginning in calendar year 2016, before May 15th of each calendar year, the
            Investment Committee shall provide to the Chief Financial Officer of the City
            confirmation that, as of the date of the City’s report to the Foundation, there has
            been no impairment or modification of the information contained in the most
            recent Pension Certificate since the date of such Pension Certificate.




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                                ARTICLE 2. DEFINITIONS

Sec 2.1.   Definitions

        Unless a different definition is contained within this Combined Plan Document, or a
different meaning is plainly required by context, for purposes of this Combined Plan Document
the following words and phrases have the meanings respectively ascribed to them by this section:

(1)    Accumulated Mandatory Employee Contributions means the sum of all amounts deducted
       from the Compensation of a Member and credited to the Accumulated Mandatory
       Employee Contribution Fund for periods on and after July 1, 2014.

(2)    Accumulated Voluntary Employee Contributions means the total balance in a Member’s
       individual account under Component I of the Retirement System.

(3)    Actuarial Equivalent or Actuarially Equivalent means a Retirement Allowance or benefit
       amount having the same Actuarial Equivalent Value as another applicable benefit. The
       rates of interest adopted by the Board from time to time shall not violate the terms of the
       Plan of Adjustment.

(4)    Actuarial Equivalent Value means the value of an applicable Retirement Allowance or
       benefit amount, where values are calculated under generally accepted actuarial methods
       and using the applicable tables, interest rates and other factors established by the Board
       upon recommendation of the Investment Committee.

(5)    Administrative Rules and Regulations means rules and regulations promulgated by the
       Board of Trustees for the administration of the Retirement System and for the transaction
       of its business.

(6)    Age, Attainment of means the age an individual reaches on the day of his or her birthday.

(7)    Average Final Compensation means the average Compensation received by a Member
       during the five consecutive years of Credited Service which immediately precede the date
       of the Member’s last termination of City employment as an employee of the Police
       Department or the Fire Department. If a Member has less than five years of Credited
       Service, the Average Final Compensation shall be the average of the annual
       Compensation received by the Member during the Member’s total years of Credited
       Service.

(8)    Beneficiary means any person or persons (designated by a Member pursuant to
       procedures established by the Board) who are entitled to receive a Retirement Allowance
       or Pension payable from funds of the Retirement System due to the participation of a
       Member.

(9)    Board of Trustees or Board or Retirement Board means the Board of Trustees of the
       Police and Fire Retirement System of the City of Detroit.

(10)   City means the City of Detroit, Michigan, a municipal corporation.



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(11)   City Council or Council means the legislative body of the City.

(12)   Combined Plan means the Combined Plan for the Police and Fire Retirement System of
       the City of Detroit, Michigan, effective July 1, 2014, and as amended thereafter.

(13)   Compensation means a Member’s base salary or wages actually paid to the Member for
       personal services rendered to the Employer, excluding bonuses, overtime pay, payment of
       unused accrued sick leave, longevity pay, payment for unused accrued vacation, the cost
       or value of fringe benefits provided to the Member, termination or severance pay,
       reimbursement of expenses, or other extra payment of any kind. Compensation will
       include any amount which is contributed by the City to a plan or program pursuant to a
       salary reduction agreement and which is not includable in the income of the Member
       under Sections 125, 402(e)(3), 402(h) or 403(b) of the Internal Revenue Code or which is
       contributed by the City on behalf of a Member as provided in Section 9.3(3) and 9.5
       pursuant to a qualified “pick-up program”.

       For periods of time prior to July 1, 2014, the City shall provide to the Retirement System
       actual base salary or wages paid to Members using the best and most reliable sources of
       information available to the City. In the event the City is unable to provide actual base
       wages to the Retirement System, the City shall make reasonable estimates of each
       Member’s base salary or wages for purposes of determining a Member’s Compensation
       for periods prior to July 1, 2014.

       Notwithstanding the foregoing, for purposes of determining a Member’s Voluntary
       Employee Contributions, Compensation shall mean the gross salary or wages paid to the
       Member for personal services rendered to the City.

       The annual Compensation of each Member taken into account for the purposes of
       determining all benefits provided under the Retirement System for any determination
       period shall not exceed the limitation set forth in Code Section 401(a)(17) ($260,000 for
       the Plan Year commencing July 1, 2014). Such limitation shall be adjusted for the cost-
       of-living in accordance with Section 401(a)(17)(B) of the Internal Revenue Code. The
       cost-of-living adjustment in effect for a calendar year applies to any determination period
       beginning in such calendar year. If Compensation for any prior determination period is
       taken into account in determining a Member’s benefits for the current determination
       period, the Compensation for such prior determination period is subject to the applicable
       annual compensation limit in effect for that determination period. If a determination
       period consists of fewer than 12 months, the annual compensation limit is an amount
       equal to the otherwise applicable annual compensation limit multiplied by a fraction, the
       numerator of which is the number of months in the short determination period, and the
       denominator of which is 12.

(14)   Component I means the portion of the Retirement System described in this Combined
       Plan and which consists of:

       (a)    the 2014 Defined Benefit Plan, which is a qualified plan and trust pursuant to
              applicable sections of the Internal Revenue Code; and



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       (b)    the 2014 Defined Contribution Plan which is a qualified plan and trust pursuant to
              applicable sections of the Internal Revenue Code.

(15)   Component II means the portion of the Retirement System described in this Combined
       Plan and which consists of:

       (a)    the Defined Benefit Plan, which is a qualified plan and trust pursuant to
              applicable sections of the Internal Revenue Code; and

       (b)    the Defined Contribution Plan, which is a qualified plan and trust pursuant to
              applicable sections of the Internal Revenue Code.

(16)   Credited Service means service credited to a Member to the extent provided in Article 4
       of Component I of this Combined Plan Document.

(17)   Disability or Disabled: see Total Disability or Totally Disabled.

(18)   DFFA means the Detroit Fire Fighters Association.

(19)   DPCOA means the Detroit Police Command Officers Association.

(20)   DPLSA means the Detroit Police Lieutenants and Sergeants Association.

(21)   DPOA means the Detroit Police Officers Association.

(22)   DROP Account means the account established by the Board for a Member who is eligible
       for and who elects to participate in the DROP Program.

(23)   DROP Program means a program established for eligible Members pursuant to Article
       12.

(24)   Employee means an employee of the City’s Police Department who has taken an oath of
       office or a Fire Fighter providing services to the City, but does not include:

       (a)    individuals whose City services are compensated on a contractual or fee basis;

       (b)    any person during any period when such person is classified by the City as a non-
              common-law employee or an independent contractor for federal income tax and
              withholding purposes whose compensation for services is reported on a form
              other than Form W-2 or any successor form for reporting wages paid to and taxes
              withheld from employees, even if a court or administrative agency determines that
              such person is a common-law employee of the City;

       (c)    the Medical Director of the Retirement System.

       If a person described in (b) above is reclassified by the City as a common-law employee
       of the City and otherwise meets the definition of an Employee, the person will be eligible
       to participate in the Retirement System prospectively as of the actual date of such




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       reclassification only (and only to the extent such individual otherwise qualifies as an
       Employee).

(25)   Employer means the City.

(26)   Final Compensation means the annual compensation of a Member at the time of his or
       her termination of employment.

(27)   Fire Fighter means the rank in the Fire Department currently or formerly classified by
       the civil service commission as Fire Fighter.

(28)   Fire Member means an employee of the Fire Department of the City of Detroit who is a
       participant in the Retirement System.

(29)   Fiscal Year means the twelve month period commencing each July 1 and ending on the
       following June 30.

(30)   Hour of Service means (i) each hour for which a Member is paid or entitled to payment
       by the City for the performance of duties, and (ii) each hour for which a Member is
       directly paid or entitled to payment by the City for reasons other than the performance of
       duties (such as vacation, holiday, illness or approved leave of absence).

(31)   Internal Revenue Code or Code means the United States Internal Revenue Code of 1986,
       as amended.

(32)   Investment Committee means the committee established pursuant to Section 1.22 which
       shall have the powers and duties described herein.

(33)   Mandatory Employee Contributions mean the contributions made by a Member to the
       Retirement System pursuant to Section 9.3(3).

(34)   Medical Beneficiary means a Member who has retired from employment with the
       Employers and the spouses and dependents of such Member who are receiving post-
       retirement benefits in accordance with the terms of a retiree medical plan sponsored or
       maintained by an Employer.

(35)   Medical Benefits mean the provision of payments for certain sickness, accident,
       hospitalization and medical benefits within the meaning of Treasury Regulation section
       1.401-14(a), including dental, vision and mental health benefits, as designated by the
       City.

(36)   Medical Benefits Account means the bookkeeping account established under Section 17.1
       to provide for the payment of Medical Benefits on behalf of Medical Beneficiaries.

(37)   Medical Director means the physician appointed by the Board pursuant to Section 1.16.

(38)   Member means any Police Member or Fire Member who has not retired or died.




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(39)   Normal Retirement Age means for any Member Age fifty with twenty-five years of
       Credited Service, with the following transition period regarding payment of Component I
       benefits only:

                      Fiscal Year                                Age and Service
                         2015                                   Age 43 and 20 years
                         2016                                   Age 43 and 20 years
                         2017                                   Age 44 and 21 years
                         2018                                   Age 45 and 22 years
                         2019                                   Age 46 and 23 years
                         2020                                   Age 47 and 24 years
                   2021 and thereafter                          Age 50 and 25 years

       Pursuant to Code Section 411(e), as in effect in 1974, a Member shall be 100% vested in
       his accrued benefit under the Retirement System upon Attainment of Normal Retirement
       Age while in Service.

(40)   Notice to Members, Beneficiaries, and Retirees means a mailing using First Class United
       States Mail to the Members, Beneficiaries, and Retirees at their last known addresses.

(41)   Patrolman means the rank in the Police Department currently or formerly known as
       patrolman.

(42)   Pension Reserve means the present value of all payments to be made on account of any
       Retirement Allowance. Such Pension Reserve shall be computed upon the basis of such
       mortality and other tables of experience, and interest, as provided herein until June 30,
       2023 and, thereafter, as shall be adopted by the Board upon the recommendation of the
       Investment Committee.

(43)   Plan Actuary or Actuary means the enrolled actuary or actuarial firm appointed as
       provided in Section 1.17 to serve as technical advisor to the Investment Committee and
       the Board on matters regarding the funding and operation of the Retirement System and
       to perform such other duties as the Investment Committee or the Board may direct.

(44)   Plan Document or Combined Plan Document means this instrument, effective as of July
       1, 2014, with all amendments hereafter adopted.

(45)   Plan of Adjustment means the Plan for the Adjustment of Debts of the City of Detroit,
       which has been approved by the United States Bankruptcy Court in In re City of Detroit,
       Michigan, Case No. 13-53846.

(46)   Plan Year means the twelve month period commencing on July 1 and ending on June 30.

(47)   Police and Fire Retirement System of the City of Detroit or Retirement System means the
       Police and Fire Retirement System of the City of Detroit created and, prior to July 1,
       2014, memorialized in Title IX, Chapter VI, of the 1918 Detroit City Charter, as
       amended, continued in effect through the 1974, 1997 and 2012 Detroit City Charters,
       Article 47 of the Detroit City Code, Article 54 of the Detroit City Code of 1964, and



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       collective bargaining agreements and, on and after July 1, 2014, pursuant to Section 47-1-
       2 of the Detroit City Code, memorialized in this Combined Plan Document, as amended
       from time to time.

       The Retirement System consists of:

       (a)    The 2014 Defined Benefit Plan, which is described in Component I hereof;

       (b)    the Defined Contribution Plan, consisting of the Voluntary Employee
              Contribution Account, which are described in Component I hereof;

       (c)    the Frozen Defined Benefit Plan, which is described in Component II hereof; and

       (d)    the Frozen Defined Contribution Plan, which is described in Component II hereof.

       References to the words Retirement System in Component I of the Plan Document shall
       mean the provisions of the Defined Benefit Plan and Defined Contribution Plan
       described in Component I, unless a different meaning is plainly required by context.

(48)   Police Member means a Police Officer who has taken the oath of office as prescribed in
       the Detroit City Charter, excluding patrolmen of other City departments, privately
       employed patrolmen and special patrolmen, who is a participant in the Retirement
       System.

(49)   Police Officer means the rank in the Police Department currently or formerly known as
       Police Officer.

(50)   Prior Service means the service credit awarded to a Member before July 1, 2014 under
       the terms of the Retirement System as in effect on June 30, 2014, as certified by the
       Board of Trustees.

(51)   Retiree means a former Member who is receiving a Retirement Allowance from the
       Retirement System.

(52)   Retirement means a Member’s withdrawal from the employ of the City with a Retirement
       Allowance paid by the Retirement System.

(53)   Retirement Allowance means an annual amount payable in monthly installments by the
       Retirement System, whether payable for a temporary period or throughout the future life
       of a Retiree or Beneficiary.

(54)   Service means personal services rendered to the City by an employee of the Police
       Department or Fire Department, provided such person is compensated by the City for
       such personal services.

(55)   Spouse means the person to whom a Member is legally married under applicable law at
       the time a determination is made.




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(56)   Straight Life Retirement Allowance means payment of a Member’s Retirement
       Allowance over the Member’s lifetime.

(57)   Total Disability or Totally Disabled means:

       (a)    during the first twenty-four (24) months that a Member receives benefits from the
              Retirement System due to injury, illness or disease, that the Member is unable to
              perform, for wage or profit, the material and substantial duties of the Member’s
              occupation; and

       (b)    during all subsequent months that a Member receives benefits from the
              Retirement System due to illness, injury or disease, that the Member is unable to
              perform, for wage or profit, the material and substantial duties of any occupation
              for which the Member is suited, based on education, training and experience.

(58)   Vesting Service means service credited to a Member to the extent provided in Section 4
       of Component I of this Combined Plan Document.

(59)   Voluntary Employee Contributions mean the after-tax contributions made by an eligible
       Member to the Retirement System pursuant to Section 10.1.

(60)   Voluntary Employee Contributions Account means the account established pursuant to
       Section 10.3 for an eligible Member who elects to make Voluntary Employee
       Contributions.

      The following terms shall have the meanings given to them in the Sections of this
Combined Plan Document set forth opposite such term:

Accumulated Mandatory Employee Contribution Fund          Section 9.2(1)
Accumulated Voluntary Employee Contribution Fund          Section 9.2(2)
Annual Addition                                           Section 13.2(2)
Annual Report                                             Section 1.26(4)(b)
Authority                                                 Section 1.26(1)
compensation                                              Section 13.1(12)
Compliance Report                                         Section 1.26(1)
Cure Certification                                        Section 1.26(2)
current active                                            Section 9.3(3)
Default Notice                                            Section 1.26(2)
Deferred Retirement Option Plan Fund                      Section 9.2(3)
Deferred Retirement Option Plan Program (DROP)            Section 12.1
Differential Wage Payment                                 Section 4.4
Direct rollover                                           Section 18.8(1)(b)
Distributee                                               Section 18.8(1)(c)
Dollar Limit                                              Section 13.1(3)(b)
DRRB                                                      Section 5.6
Eligible retirement plan                                  Section 18.8(1)(d)
Eligible rollover distribution                            Section 18.8(1)(e)
Expense Fund                                              Section 9.2(7)


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Foundation                                                 Section 1.22
funding level                                              Section 9.5(3)
Governance Term Sheet                                      Section 1.17
Income Fund                                                Section 9.2(8)
ING                                                        Section 12.3(1)
investment management decision or investment               Section 16.2
management matter
limitation year                                            Section 13.1(2)
Medical Benefits Account Fund                              Section 9.2(4)
Medical Plans                                              Section 17.1
new employee                                               Section 9.3(3)
Option “A”. Joint and Seventy-Five Percent Survivor        Section 8.1(1)(c)
Allowance
Option “B”. Joint and Twenty-Five Percent Survivor         Section 8.1(1)(e)
Allowance
Option One. Cash Refund Annuity                            Section 8.1(1)(a)
Option Three. Joint and Fifty Percent Survivor             Section 8.1(1)(d)
Allowance
Option Two. Joint and One Hundred Percent Survivor         Section 8.1(1)(b)
Allowance
Pension Accumulation Fund                                  Section 9.2(5)
Pension Certificate                                        Section 1.26(4)(b)
Pension Improvement Factor (Escalator)                     Section 6.2
Plan of Adjustment                                         Section 1.3
Police and Fire Retirement System of the City of Detroit   Section 1.1
Pop-up Form                                                Section 8.1(2)(b)
Rate Stabilization Fund                                    Section 9.2(6)
Standard Form                                              Section 8.1(2)(a)
State Contribution Agreement                               Section 1.17
Straight Life Retirement Allowance                         Section 8.1(1)
Treasurer                                                  Section 1.23




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                                ARTICLE 3. MEMBERSHIP

Sec 3.1.   Eligible Employees

(1)    Except as provided in Section 3.2, the membership of the Retirement System shall consist
       of all persons who are employed with the Police and Fire Departments of the City and
       who are employed as Police Officers or Fire Fighters according to the rules and
       regulations of the respective Departments. An eligible Employee’s membership in the
       Retirement System shall be automatic; no eligible Employee shall have the option to elect
       to become a Member of the Retirement System.

(2)    Any appointive official of the Police Department or Fire Department appointed from the
       membership thereof shall be permitted to remain a Member, paying contributions and
       entitled to benefits as though he had remained in the rank, grade or position held at the
       date of his appointment.

(3)    Any Police Officer or Fire Fighter who, prior to being confirmed, shall be killed or
       Totally Disabled as the result of the performance of active duty, shall be deemed to have
       been a Member as of his or her date of death.

(4)    Any Member who shall be transferred to a civilian position in his Department shall
       continue as a Member, subject to all the obligations of a Member.

Sec 3.2.   Cessation of Membership; Re-Employment

(1)    If a Member dies, or is separated from service with the City by resignation, dismissal,
       retirement or disability, he shall cease to be a Member. A Member who elects to
       participate in the DROP Program under Component I, Component II or both shall be
       considered to have separated from service with the City by reason of retirement and shall
       neither accrue a benefit under the Retirement System nor be required to make Mandatory
       Employee Contributions to the Retirement System pursuant to Section 9.3(3) or 9.5 or
       permitted to make Voluntary Employee Contributions pursuant to Section 10.1.

(2)    If a Member ceases to be a Member under paragraph (1) other than by reason of
       participation in the DROP Program and later becomes a Police Officer or Fire Fighter
       other than in the position of Police Assistant, he shall again become a Member, subject to
       the obligations of a Member.

(3)    If a Member ceases to be a Member under paragraph (1) and later becomes employed as a
       Police Assistant, such Member shall not become a Member upon reemployment. If such
       Member was receiving a Retirement Allowance from the Retirement System prior to his
       or her date of rehire, such Retirement Allowance shall not be suspended during the period
       of the Member’s reemployment as a Police Assistant.

(4)    Retirement benefits for a Retiree who returns to active full time employment other than
       as a Police Assistant shall be subject to the following:




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       (a)      A Retiree who returns to work will have his Retirement Allowance suspended
                upon re-employment. The variable Pension Improvement Factor (Escalator) shall
                not be added to the amount of the original Retirement Allowance during the
                Retiree’s re-employment period.

       (b)      A Retiree who returns to work will be entitled to receive a second Retirement
                Allowance in accordance with the provisions of the Retirement System in effect
                during his re-employment period.

       (c)      A Retiree’s Average Final Compensation and Credited Service for purposes of
                determining the Retiree’s second Retirement Allowance will be based upon the
                Compensation and Credited Service earned by the Retiree after he returns to
                work.

       (d)      An individual who retires for a second time will not be allowed to change the
                payment option selected by the Member with respect to the original Retirement
                Allowance. However, the individual may select a separate payment option with
                respect to his second Retirement Allowance.

Sec 3.3.     Report From City

        It shall be the duty of the City to submit to the Board of Trustees a statement showing the
name, title, compensation, duties, date of birth, date of hire, and length of service of each
Member, and such other information as the Board of Trustees may require or reasonably request
for proper administration of the Retirement System.




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                               ARTICLE 4. SERVICE CREDIT

Sec 4.1.   Credited Service

(1)    The Board shall keep an accurate record of each Member’s accumulated Service credit
       from the date of commencement of employment with the City to the date of termination
       of employment with the City.

(2)    A Member shall be credited with one month of Credited Service for each calendar month
       during which he performs one hundred forty (140) or more Hours of Service for the City
       as a Police Officer or Fire Fighter beginning on the later of (i) July 1, 2014 or (ii) his date
       of hire with the City as a Police Officer or Fire Fighter and ending on the date his
       employment with the City as a Police Officer or Fire Fighter is terminated. Service shall
       be credited in years and twelfths (1/12th) of a year. Not more than one-twelfth (1/12th) of
       a year of Credited Service shall be credited to a Member on account of all Service
       rendered to the City in a calendar month. Not more than one year of Credited Service
       shall be credited to a Member on account of all Service rendered to the City in any period
       of 12 consecutive months.

(3)    Not more than one month of Credited Service shall be granted for any period of more
       than one month during which the Member is absent without pay; notwithstanding the
       foregoing, any Member who shall be suspended from duty and subsequently reinstated to
       duty without further disciplinary action shall receive credit for the time of such period of
       suspension.

(4)    Solely for purposes of determining eligibility for a retirement benefit under Sections 5.1
       and 5.4, a Member shall be credited with the sum of his Prior Service as determined by
       the Board and his Credited Service on and after July 1, 2014 determined under Section
       4.1(2). The period of time during which a Member is on layoff from the service of the
       City shall be included in the Member’s Credited Service solely for the purposes of
       determining whether the Member has attained his Normal Retirement Age for purposes
       of Section 5.1.

Sec 4.2.   Vesting Service

(1)    A Member shall be credited with a year of Vesting Service for each Plan Year
       commencing on or after July 1, 2014 during which the Member performs 1,000 or more
       Hours of Service for the City.

(2)    A Member’s total Vesting Service shall be the sum of his Prior Service and his Service
       determined under Section 4.2(1).

Sec 4.3.   Service Credit; Military Service

       A Member who enters the military service of the United States while employed with the
City shall have the period of such military service credited as City Service in the same manner as
if the Member had served the City without interruption, provided that (1) the Member’s entry
into such military service and re-employment thereafter shall be in accordance with applicable



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laws, ordinances, and regulations of the State of Michigan and the City, (2) he or she is re-
employed by the City upon completion of such military service, and (3) the Member contributes
to the Retirement System the Mandatory Employee Contributions that would have been made by
the Member but for the Member’s military service. The Member shall be permitted to make
such contributions in accordance with Code Section 414(u) and regulations thereunder. During
the period of military service and until return to City employment, the Member’s Mandatory
Employee Contributions to the Retirement System shall be suspended.

Sec 4.4.   Service Credit; Qualified Military Service

        Notwithstanding any provision of this Combined Plan Document to the contrary,
contributions, benefits, and service credit with respect to qualified military service under
Component I, shall be provided in accordance with Code Section 414(u). Notwithstanding
anything to the contrary herein, if a Member dies while performing qualified military service (as
defined in Code Section 414(u)), to the extent required by Code Section 401(a)(37), the survivors
of the Member are entitled to any additional benefits (if any, and other than benefit accruals
relating to the period of qualified military service) provided under the Retirement System as if
the Member had resumed and then terminated employment on account of death.

        Notwithstanding anything to the contrary herein, if the City decides to provide
Differential Wage Payments to individuals who are performing service in the uniformed services
(as defined in Chapter 43 of Title 238, United States Code) while on active duty for a period of
more than thirty days, such Differential Wage Payment will be treated as compensation under the
Code Section 415(c)(3) limits, but not for purposes of benefit accruals under the Retirement
System. For these purposes the term “Differential Wage Payment” means a payment defined in
Code Section 3401(h)(2) that is made by the City to an individual who is performing service in
the uniformed services while on active duty for a period of more than thirty days.




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                      ARTICLE 5. ELIGIBILITY FOR RETIREMENT

Sec 5.1.     Eligibility for Unreduced Normal Retirement Benefit

        Any Member who attains his Normal Retirement Age while employed by the City may
retire upon written application filed with the Board setting forth the date on which the Member
desires to be retired. The date of retirement shall be effective as of the first day following the
later of (i) the Member’s last day on the City payroll, or (ii) the date the Member executes and
files an application for retirement, notwithstanding that the Member may have separated from
Service during the notification period. Such a Member shall be entitled to receive an unreduced
Retirement Allowance calculated as provided in Section 6.1 and payable in a form of payment
selected by the Member pursuant to Section 8.1.

Sec 5.2.     Eligibility for Deferred Vested Retirement Benefit

        Any Member who terminates employment with the City prior to satisfying the
requirements for receipt of a retirement benefit under Section 5.1 and who is credited with ten
(10) or more years of Vesting Service upon his or her termination of employment (regardless of
Age) shall be entitled to receive an unreduced Retirement Allowance commencing at any time
following his Attainment of Age sixty-two. At a Member’s election, the Member may begin
receiving a Retirement Allowance following his Attainment of Age fifty-five, actuarially reduced
for early commencement, in lieu of an unreduced Retirement Allowance beginning at age sixty-
two. Deferred vested retirement benefits shall be payable in accordance with a form of payment
selected by the Member pursuant to Section 8.1.

Sec 5.3.     Eligibility for Disability Retirement Benefit – Duty Disability

(1)    If, prior to attainment of his Normal Retirement Date, a Member shall become Totally
       Disabled for duty by reason of injury, illness or disease resulting from performance of
       duty and if, pursuant to Section 5.6, the Board shall find such injury, illness or disease to
       have resulted from the performance of duty, on written application to the Board by or on
       behalf of such Member or by the head of his Department such Member shall be retired;
       notwithstanding that during such period of notification he or she may have separated
       from service and provided further that the Medical Director, after examination of such
       Member shall certify to the Board the Member’s Total Disability. A Member who retires
       as a result of duty disability shall receive for a period of twenty-four months the sum of:

       (a)      a basic benefit equal to fifty percent (50%) of his Final Compensation at the time
                his duty disability retirement begins, and

       (b)      a supplemental benefit equal to sixteen and two-thirds percent (16-2/3%) of his
                Final Compensation at the time his duty disability retirement begins.

       Subject to Section 9.5, on the first day of each Plan Year, a Member’s duty disability
       benefit will be increased as provided in Section 6.2.

(2)    After a Member receives benefits hereunder for a period of twenty-four months, the
       Board will determine whether the Member is disabled from any occupation. If the



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      Member is disabled from any occupation, the Member shall continue to receive the
      benefit provided in paragraphs (1)(a) and (1)(b) until such time as the Member would
      have attained twenty-five years of Credited Service had he continued in active Service
      with the City. At that time, the Member shall continue to receive the benefit described in
      paragraph 1(a) above; however, benefits described in paragraph (1)(b) above will cease.
      If the Member is not disabled from any occupation, he shall continue to receive the
      benefit described in paragraph (1)(a) above; benefits described in paragraph 1(b) will
      cease.

(3)   In the event a Member receiving duty disability benefits has attained twenty-five years of
      Credited Service, duty disability benefits shall continue to be paid to the Member until
      the earlier of (i) the Member’s Attainment of Age sixty-five, or (ii) the date the Member
      ceases to be Totally Disabled as determined by the Board. Upon termination of disability
      or Attainment of Age sixty-five, a Member with twenty-five years of Credited Service
      shall be eligible to receive a Retirement Allowance as provided in Section 6.1. The
      amount of such Retirement Allowance shall be equal to the amount which would have
      been payable to the Member if the Member’s conversion from duty disability retirement
      to a Retirement Allowance had occurred on the date the Member attained twenty-five
      years of Credited Service.

(4)   If a Member on duty disability retirement returns to active Service with the City and shall
      re-qualify for duty disability retirement for the same or related reasons within twenty-four
      months of his return to active Service, then the disability shall be deemed a continuation
      of the prior Total Disability and the period of the Member’s active Service following the
      return to work will not qualify the Member to be entitled to a new initial determination of
      disability for purposes of determining the benefit payable to the Member. Instead, such
      Member will return to duty disability retirement benefits based on the number of months
      of disability with which the Member was credited at the time of his return to active
      Service, as if there had not been a break in his period of duty disability retirement.

(5)   During the period a Member is eligible to receive duty disability benefits under this
      Section 5.3, the Member shall continue to be credited with Credited Service until the
      Member accrues twenty-five years of Credited Service, at which time accrual of Credited
      Service shall cease.

(6)   In the event that a recipient of a duty disability retirement benefit receives earned income
      from gainful employment during a calendar year, the amount of the Member’s disability
      benefit payable during the next subsequent Plan Year will be adjusted so it does not
      exceed the difference between (i) the Member’s base salary at the date of duty disability,
      increased by the variable Pension Improvement Factor (Escalator) (if any) applicable to
      such benefit pursuant to Section 6.2 multiplied by the number of full Plan Years from the
      date of the Member’s duty disability to the year in which the earnings offset is applied,
      and (ii) the amount of the Member’s remuneration from gainful employment during the
      prior calendar year. The amount of income received by a Member shall be determined by
      the Board based upon information received from the Member or based upon information
      secured from other reliable sources. Furnishing such information to the Board at such




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       times as the Board shall require shall be a condition for the Member’s continued
       eligibility for duty disability benefits.

Sec 5.4.     Eligibility for Disability Retirement Benefit – Non-Duty Disability

(1)    Upon the application of a Member or the Member’s Department head, a Member who
       becomes totally and permanently disabled prior to his or her Normal Retirement Date in
       the employ of the City not resulting from the performance of duty shall be retired by the
       Board; provided that the Medical Director shall certify to the Board after a medical
       examination, that such Member is mentally or physically totally and permanently
       disabled for the further performance of duty to the City. Such a Member shall receive the
       following applicable benefits:

       (a)      If such Member has less than five years of Credited Service at the time of his
                disability retirement, his Accumulated Mandatory Employee Contributions
                standing to his credit in the Accumulated Mandatory Employee Contributions
                Fund shall be returned to him, or at his option he shall receive a cash refund
                annuity which shall be the actuarial equivalent of his Accumulated Mandatory
                Employee Contributions.

       (b)      If such Member has five or more years of Credited Service at the time of his
                disability retirement, he shall receive a disability Retirement Allowance computed
                in accordance with the provisions of Section 6.1 payable in any of the optional
                forms provided in Section 8.1 hereof. His annual Straight Life Retirement
                Allowance shall not be less than twenty per cent (20%) of his Average Final
                Compensation.

(2)    If a Member receiving non-duty disability retirement benefits is or becomes engaged in a
       gainful occupation, business, or employment paying more than the difference between
       the disabled Member’s Retirement Allowance and Average Final Compensation, the
       Member’s Retirement Allowance shall be reduced by the amount of such difference. If
       the amount of the Retiree’s earnings changes, the Retirement Allowance may be adjusted
       accordingly. The amount of income received by a Member shall be determined by the
       Board based upon information received from the Member or based upon information
       secured from other reliable sources. Furnishing such information to the Board at such
       times as the Board shall require shall be a condition for the Member’s continued
       eligibility for non-duty disability benefits.

Sec 5.5.     Disability Retirees; Reexamination

(1)    At least once each year during each year following the retirement of a Member under
       Section 5.3 or Section 5.4, the Board shall require that such disability Retiree who has not
       attained his Normal Retirement Age undergo a medical examination, to be made by, or
       under the direction of the Medical Director; provided, however, that medical
       examinations shall not be required if the Medical Director determines that the Retiree’s
       condition is permanent and there is no need for further reexamination. Retirees shall be
       reimbursed for reasonable costs actually incurred by the Retirees in connection with such



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       examinations. Should any such Retiree who has not attained Normal Retirement Age fail
       to submit to a required medical examination, the Retiree’s Retirement Allowance may be
       suspended by the Board until the examination is completed. Should such failure continue
       for one year, all of the disability Retiree’s rights in and to the duty or non-duty disability
       Retirement Allowance may be revoked by the Board. If upon such examination of a
       Retiree, the examiner reports that the Retiree is no longer Totally Disabled, and such
       report is concurred in by the Board, the Retiree shall be restored to active service with the
       City and the Retirement Allowance paid pursuant to Section 5.3 or Section 5.4 shall be
       suspended until the Retiree terminates active Service with the City.

(2)    A disabled Retiree who has been, or shall be, reinstated to active Service in the employ of
       the City shall again become a Member. All Credited Service at the time of the disability
       retirement shall be restored to the Member.

Sec 5.6.     Disability Benefits; Procedures for Determination of Disability

(1)    The Board shall establish procedures for determining whether a Member is Totally
       Disabled. Such procedures shall be consistent with any collective bargaining agreements
       between the City and the unions covering Police Employees and Fire Employees.

(2)    If a Member is determined to be Totally Disabled under Section 5.3(1) or 5.4(1), the
       Board or its designee will examine the pension file, including the submissions of the
       Member and the Police or Fire Department, to determine if there is any dispute as to
       whether the disability “resulted from the performance of duty” within the meaning of the
       Combined Plan. If it is undisputed that the disability did result from the performance of
       duty, the Board will grant duty disability retirement benefits. If it is undisputed that the
       disability did not result from the performance of duty, the Board will grant non-duty
       disability retirement benefits, provided the Member meets the other conditions of
       eligibility. If the performance of duty issue is in dispute, the Board will refer the matter
       to arbitration by a member of the Disability Retirement Review Board (“DRRB”). The
       decision of the DRRB member as to whether the disability resulted from the performance
       of duty shall be final and binding upon the Member, the Department and the Board. The
       DRRB shall consist of three qualified arbitrators who will be individually assigned in
       rotating order to decide the matters referred to arbitration by the Board. The three
       members of the DRRB shall be disinterested persons qualified as labor arbitrators and
       shall be selected in accordance with agreements between the City and the unions
       representing Members. The procedure for the termination of DRRB members and the
       selection of new DRRB members also shall be carried out in accordance with the
       agreements between the City and the unions representing Members.

(3)    The hearing before a member of the DRRB will be conducted in accordance with the
       following procedures:

       (a)      The Member and the City will have the right to appear in person or otherwise may
                be represented by counsel if they wish and will be afforded an equal opportunity
                to present evidence relevant to the issues;




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      (b)    A court reporter will be present and make a stenographic record of the
             proceedings;

      (c)    The hearing will be closed to the public, except that the Member may select one
             person to be with him or her in the hearing room; provided, however, that person
             may not testify;

      (d)    The witnesses will be sequestered;

      (e)    The witnesses will be sworn by the court reporter and testify under oath;

      (f)    The Member may not be called by the City as an adverse witness;

      (g)    The DRRB member will apply the rules of evidence and follow the procedures
             which are customarily applied and followed in labor arbitration cases;

      (h)    If the Member wishes to have an employee of the City released from duty to
             appear as a witness on his or her behalf, the Member may so inform the Board in
             writing which, in turn, will submit a written request to the appropriate Department
             executive for the release of the employee for the purpose of so testifying;

      (i)    The DRRB member will afford the parties an opportunity for the presentation of
             oral argument and/or the submission of briefs;

      (j)    The DRRB member will issue a written decision containing credibility resolutions
             as necessary, findings of fact and conclusions with respect to all relevant issues in
             dispute;

      (k)    The authority of the DRRB member is limited to deciding whether or not the
             Member’s disability “resulted from the performance of duty” within the meaning
             of the Combined Plan. The DRRB member shall have no authority to add to,
             subtract from, modify or disregard the terms of the Combined Plan: and

      (l)    The costs associated with the hearing, including the arbitrator’s fees and expenses
             and the court reporter’s fees and expenses, will be paid by the Retirement System.

(4)   If a disability Retiree is determined by the Board to no longer be Totally Disabled, he or
      she may appeal that determination within seven (7) days thereof by filing a written
      request with the Board for a re-examination. The Board shall promptly arrange for such
      re-examination. The Member’s disability benefits will be continued pending that final
      and binding medical finding, and if the finding is that the Member is no longer Totally
      Disabled, his or her disability benefits will be further continued while the Police or Fire
      Department conducts such examinations and/or investigations as necessary to determine
      whether the Member is qualified for reappointment to active duty. In the event that the
      examinations and/or investigations conducted by the Police Department result in a
      determination that a Member represented by DPLSA is not qualified, for medical reasons,
      for reappointment to active duty, disability benefits will be continued.




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(5)    The Board shall not act upon or grant the application filed by a Member who, although he
       or she is not capable of performing the full duties of a Police Employee or Fire
       Employee, has not suffered any diminishment of his or her base wages or benefits
       because he or she is either:

       (a)      regularly assigned to a position, the full duties of which he or she is capable of
                performing; or

       (b)      assigned to a restricted duty position, unless the Member’s Department advises
                that it intends to seek a disability retirement for the Member in the foreseeable
                future.

(6)    The provisions in paragraph (5) above are not intended to and will not:

       (a)      affect the right of a Member to seek a disability retirement when no restricted
                duty position is available; or

       (b)      restrict in any way the existing authority of the Chief of Police or the Fire
                Commissioner to seek a duty or non-duty disability retirement for a Member for
                that Member at that time to request a duty or non-duty disability retirement.

Sec 5.7.     Return of Accumulated Mandatory Contributions to Non-Vested Member

        If a Member ceases employment with the City before becoming eligible for a Retirement
Allowance under Section 5.1 or 5.2 or a disability Retirement Allowance pursuant to Section 5.3
or 5.4, the Member may elect to receive distribution of the Accumulated Mandatory Employee
Contributions made to the Retirement System by such Member. If a Member elects to receive
his Accumulated Mandatory Employee Contributions, such amounts shall be paid to the Member
in a lump sum payment or in equal monthly installments for a period not to exceed three years,
according to such rules and regulations as the Board may adopt from time to time.

Sec 5.8.     Benefits Offset by Compensation Benefits; Subrogation

(1)    Any amounts which may be paid or payable to a Member, Retiree, or Beneficiary on
       account of disability or death under the provisions of any Workers’ Compensation,
       pension, or similar law, except federal Social Security old-age and survivors’ and
       disability insurance benefits, shall be an offset against any amounts payable from funds
       of the Retirement System (Component I and Component II combined) on account of the
       same disability or death. If the present value of the benefits payable under said Workers’
       Compensation, pension, or similar law, is less than the Pension Reserve for the
       Retirement Allowance payable by the Retirement System (under both Component I and
       Component II), the present value of the said Workers’ Compensation, pension, or similar
       legal benefit shall be deducted from the amounts payable by the Retirement System
       (under both Component I and Component II), and such amounts as may be provided by
       the Retirement System, so reduced, shall be payable as provided in this Combined Plan
       Document.




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(2)   In the event a person becomes entitled to a pension payable by the Retirement System
      because of an accident or injury caused by the act of a third party, the Retirement System
      shall be subrogated to the rights of said person against such third party to the extent of the
      benefit which the Retirement System pays or becomes liable to pay.




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ARTICLE 6. RETIREMENT ALLOWANCE; VARIABLE PENSION IMPROVEMENT
                       FACTOR (ESCALATOR)

Sec 6.1.   Retirement Allowance

        The Retirement Allowance payable to a Member commencing at the later of his Normal
Retirement Age or his actual retirement from employment with the City in the form of a Straight
Life Retirement Allowance shall be equal to two percent (2%) of the Member’s Average Final
Compensation multiplied by the Member’s years (computed to the nearest one-twelfth (1/12th)
year) of Credited Service earned after June 30, 2014.

Sec 6.2.   Variable Pension Improvement Factor (Escalator)

        Except as provided in Section 9.5, beginning July 1, 2015 and effective the first day of
each Plan Year thereafter, the Board may determine that the annual Retirement Allowance of a
Member shall be increased by a factor of one percent (1.0%), computed each year on the basis of
the amount of the original Retirement Allowance received at the time of Retirement (“Pension
Improvement Factor (Escalator)”); provided, that the recipient of said Retirement Allowance
shall have been receiving a Retirement Allowance for a period of not less than twelve months
prior to the first day of such Plan Year. The Pension Improvement Factor (Escalator) shall be
compounded.




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                               ARTICLE 7. DEATH BENEFITS

Sec 7.1.     Accidental Death Benefit; Performance of Duty

(1)    If a Member is killed in the performance of duty in the service of the City, or dies as the
       result of illness contracted or injuries received while in the performance of duty in the
       service of the City, and such death, illness, or injury resulting in death, is found by the
       Board to have resulted from the actual performance of duty in the service of the City, the
       following benefits shall be paid:

       (a)      the Accumulated Mandatory Employee Contributions standing to his or her credit
                in the Accumulated Mandatory Employee Contributions Fund at the time of his or
                her death shall be paid to such person or persons as the Member shall have
                nominated by written designation duly executed and filed with the Board. If no
                such designated person survives the Member, the said Accumulated Mandatory
                Employee Contributions shall be paid to the Member’s legal representative,
                subject to paragraph (e) of this Section 7.1(1).

       (b)      the surviving spouse shall receive a pension of five-elevenths of the Member’s
                Final Compensation payable for the spouse’s lifetime. If the Member’s child or
                children under age eighteen years also survive the deceased Member, each such
                child shall receive a pension of one-tenth of such Final Compensation; provided,
                that if there are more than two such surviving children under age eighteen years,
                each such child’s pension shall be an equal share of seven thirty-thirds of such
                Final Compensation. Upon the death, marriage, adoption, or Attainment of Age
                eighteen years of any such child, his or her pension shall terminate and there shall
                be a redistribution of the benefit by the Board to the deceased Member’s
                remaining eligible children, if any; provided, that in no case shall any such child’s
                pension exceed one-tenth of the Member’s Final Compensation. In no case shall
                the total of the benefits provided for in this paragraph (b), payable on account of
                the death of a Member exceed two-thirds of the Member’s Final Compensation.

       (c)      if no surviving spouse survives the deceased Member or if the Member’s
                surviving spouse dies before his youngest unmarried surviving child attains Age
                eighteen years, his unmarried child or children under Age eighteen years shall
                each receive a pension of one-fourth of the Member’s Final Compensation;
                provided that if there are more than two such surviving children under age
                eighteen years, each such child’s pension shall be an equal share of one-half of
                such Final Compensation. Upon the death, marriage, adoption, or Attainment of
                Age eighteen years of any such child, his or her pension shall terminate and there
                shall be a redistribution by the Board to the deceased Member’s remaining
                eligible children, if any; provided, that in no case shall any such child’s pension
                exceed one-fourth of the Member’s Final Compensation.

       (d)      if the Member has no surviving spouse or surviving children under Age eighteen
                years and if the Member leaves surviving either a father or mother or both, whom
                the Board shall find to be actually dependent upon such Member for financial



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                support, such dependent father and mother shall each receive a pension of one-
                sixth of the Member’s Final Compensation.

       (e)      If a Member dies intestate, without having designated a person or persons, as
                provided in paragraph (a) of this Section 7.1(1), and without heirs, the amount of
                his Accumulated Mandatory Employee Contributions in the Accumulated
                Mandatory Employee Contribution Fund, not to exceed a reasonable sum, to be
                determined by the Board, shall be used to pay his burial expenses, provided the
                Member leaves no other estate sufficient for such purpose. Any balance credited
                to such Member in the Accumulated Mandatory Employee Contribution Fund,
                and not used for burial expenses shall remain a part of the funds of the Retirement
                System and shall be transferred to the Pension Accumulation Fund.

Sec 7.2.     Non-Duty Death Benefits

        The surviving spouse of any Member who dies while in the employ of the City (other
than in the performance of duty) after the date such Member has earned ten or more years of
Credited Service, shall receive a Retirement Allowance computed in the same manner in all
respects as if said Member had (i) retired effective on the day preceding the Member’s death,
notwithstanding that the Member had not attained Normal Retirement Age, (ii) elected a Joint
and One Hundred Percent Survivor Allowance as described in Section 8.1, and (iii) nominated
the surviving spouse as Beneficiary.

Sec 7.3.     Refund of Accumulated Mandatory Contributions Upon Death of Member

       If a Member who is not covered by Section 7.1 dies while employed by the City or
following termination of employment but prior to commencement of a Retirement Allowance,
the Member’s Accumulated Mandatory Employee Contributions to the Retirement System at the
time of death shall be paid to the Beneficiary nominated in a written designation duly executed
by the Member and filed with the Board. In the event there is no such designated Beneficiary
surviving, the Member’s Accumulated Mandatory Employee Contributions shall be paid to the
Member’s estate. If a Member who dies without a legal will has not nominated a Beneficiary,
the Member’s Accumulated Mandatory Employee Contributions at the time of death may be
used to pay burial expenses if the Member leaves no other estate sufficient for such purpose.
Such expenses shall not exceed a reasonable amount as determined by the Board.




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                            ARTICLE 8. FORMS OF PAYMENT

Sec 8.1.     Retirement Allowance Options

(1)    Until the date the first Retirement Allowance payment check is issued, any Member may
       elect to receive a Straight Life Retirement Allowance payable throughout life, or the
       Member may elect to receive the Actuarial Equivalent of the Straight Life Retirement
       Allowance computed as of the effective date of retirement, in a reduced Retirement
       Allowance payable throughout life, and nominate a Beneficiary, in accordance with the
       options set forth below:

       (a)      Option One. Cash Refund Annuity. A Retiree will receive a reduced Retirement
                Allowance for as long as he or she lives, provided that if the Retiree dies before
                payment of the Accumulated Mandatory Employee Contributions made to the
                Retirement System on and after July 1, 2014 has been received in an aggregate
                amount equal to, but not exceeding the Retiree’s Accumulated Mandatory
                Employee Contributions at the time of retirement, the difference between said
                Accumulated Mandatory Employee Contributions and the aggregate amount of
                annuity payments already received, shall be paid in a single lump sum to a
                Beneficiary nominated by written designation duly executed by the Member and
                filed with the Board. If there are no such designated Beneficiaries surviving said
                Retiree, any such difference shall be paid to the Retiree’s estate.

       (b)      Option Two. Joint and One Hundred Percent Survivor Allowance. Upon the
                death of a Retiree who elected a Joint and One Hundred Percent Survivor
                Allowance, one hundred percent of the Member’s reduced Retirement Allowance
                shall be paid to and continued throughout the life of the Beneficiary nominated by
                written designation duly executed and filed with the Board prior to the date the
                first payment of the Retirement Allowance becomes due.

       (c)      Option “A”. Joint and Seventy-Five Percent Survivor Allowance. Upon the
                death of a Retiree who elected a Joint and Seventy-Five Percent Survivor
                Allowance, seventy-five percent of the Member’s reduced Retirement Allowance
                shall be continued throughout the life of and paid to the Beneficiary nominated by
                written designation duly executed by the Member and filed with the Board prior
                to the date the first payment of the Retirement Allowance becomes due.

       (d)      Option Three. Joint and Fifty Percent Survivor Allowance. Upon the death of a
                Retiree who elected a Joint and Fifty Percent Survivor Allowance, fifty percent of
                the Member’s reduced Retirement Allowance shall be continued throughout the
                life of and paid to the Beneficiary nominated by written designation duly executed
                by the Member and filed with the Board prior to the date the first payment of the
                Retirement Allowance becomes due.

       (e)      Option “B”. Joint and Twenty-Five Percent Survivor Allowance. Upon the death
                of a Retiree who elected a Joint and Twenty-Five Percent Survivor Allowance,
                twenty-five percent of the Member’s reduced Retirement Allowance shall be



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                continued throughout the life of and paid to the Beneficiary nominated by written
                designation duly executed by the Member and filed with the Board prior to the
                date the first payment of the Retirement Allowance becomes due.

(2)    Joint and Survivor Optional Forms of Payment. The Joint and Survivor Optional Forms
       of Payment provided under the Retirement System shall be made available in either the
       standard form or the pop-up form, as follows:

       (a)      Standard Form. Under the Standard Form, the reduced Retirement Allowance
                shall be paid throughout the lifetime of the Retiree.

       (b)      Pop-up Form. Under the Pop-up Form, the reduced Retirement Allowance shall
                be paid throughout the lifetime of the Retiree and the designated Beneficiary. In
                the event of the death of the designated Beneficiary during the lifetime of the
                Retiree, the amount of the Retirement Allowance payable to the Retiree shall be
                changed to the amount that would have been payable had the Retiree elected the
                Straight Life Retirement Allowance Form of Payment.

Sec 8.2.     Disposition of Surplus Benefits upon Death of Retiree and Beneficiary

       If under a Joint and One Hundred Percent Survivor allowance, a Joint and Seventy-Five
Percent Survivor allowance, a Joint and Fifty Percent Survivor allowance or a Joint and Twenty-
Five Percent Survivor allowance as provided for under Section 8.1, both a Retiree and
Beneficiary die before they have received in Retirement Allowance payments an aggregate
amount equal to the Retiree’s Accumulated Mandatory Employee Contributions (and if the
Retiree makes an election pursuant to Section 10.4(2), his Accumulated Voluntary Employee
Contributions) at the time of retirement, the difference between the said Accumulated Mandatory
Employee Contributions (and Accumulated Voluntary Employee Contributions, if applicable)
and the aggregate amount of Retirement Allowances paid to the Retiree and Beneficiary, shall be
paid in a single lump sum to such person or persons nominated by written designation of the
Retiree duly executed and filed with the Board. If there is no such person or persons surviving
the Retiree and the Beneficiary, any such difference shall be paid to the estate of the Retiree or
the Beneficiary, whichever is the last to die.




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                         ARTICLE 9. FUNDING AND RESERVES

Sec 9.1.   Funding Objective of the Retirement System

        The funding objective of Component I of the Retirement System is to establish and
receive City and Member contributions during each Plan Year that are sufficient to fully cover
the actuarial cost of benefits anticipated to be paid on account of Credited Service rendered by
Members during the Plan Year (the normal cost requirements of the Retirement System), and to
amortize the unfunded actuarial costs of benefits likely to be paid on account of Credited Service
rendered on or after July 1, 2014 and before the first day of the Plan Year (the unfunded actuarial
accrued liability of the Retirement System).

Sec 9.2.   Funds

       Component I of the Retirement System shall consist of the Accumulated Mandatory
Employee Contribution Fund, the Accumulated Voluntary Contribution Fund, the Deferred
Retirement Option Program Fund (if applicable), the Medical Benefits Account Fund, the
Pension Accumulation Fund, the Rate Stabilization Fund, the Expense Fund and the Income
Fund, as follows:

(1)    The Accumulated Mandatory Employee Contribution Fund shall be the Fund in which
       shall be accumulated the contributions of Members to provide their Retirement
       Allowances. Upon the retirement, termination, disability or death of a Member with a
       Retirement Allowance, the Member’s Accumulated Mandatory Employee Contributions
       shall be deemed to be part of the Pension Reserve which shall be used to pay the
       Member’s or Beneficiary’s Retirement Allowance.

(2)    The Accumulated Voluntary Employee Contribution Fund shall be the Fund in which
       shall be accumulated the voluntary after-tax contributions of Members, together with
       earnings thereon.

(3)    The Deferred Retirement Option Plan Fund shall be the fund in which shall be
       accumulated the amounts credited to the DROP Accounts of Members who have elected
       to participate in the DROP Program pursuant to Article 12, together with earnings
       thereon, provided that the DROP Accounts are held and invested within the Retirement
       System.

(4)    The Medical Benefits Account Fund shall be the fund in which shall be accumulated the
       amounts contributed to the Retirement System for the purposes of paying Medical
       Benefits.

(5)    The Pension Accumulation Fund shall be the fund in which shall be accumulated reserves
       for the Retirement Allowances and other benefits payable from that portion of the City’s
       annual contribution that is not credited to the Rate Stabilization Fund and amounts
       transferred to Component I as provided in Section G-2(f) of Component II and from
       which shall be paid Retirement Allowances and other benefits on account of Members.




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(6)    The Rate Stabilization Fund shall be the Fund to which shall be credited City
       contributions in excess of the amount of the City’s contribution which is credited to the
       Pension Accumulation Fund and amounts transferred to Component I as provided in
       Section G-2(f) of Component II.

(7)    The Expense Fund shall be the fund to which shall be credited any money provided by
       the City, if any, to pay the administrative expenses of the Retirement System, and from
       which shall be paid certain expenses incurred in connection with the administration and
       operation of the Retirement System.

(8)    The Income Fund shall be the Fund to which shall be credited all interest, dividends, and
       other income derived from the investments of the assets of Component I of the
       Retirement System, all gifts and bequests received by Component I of the Retirement
       System, and all other moneys credited to Component I of the Retirement System, the
       disposition of which is not specifically provided for in this Article 9. There shall be paid
       or transferred from the Income Fund, all amounts required to credit earnings and losses to
       the various Funds of the Retirement System in accordance with the provisions of
       Component I of this Combined Plan Document. Amounts credited to the Income Fund in
       excess of amounts needed to credit earnings and losses of the Retirement System as
       provided in this Component I for any Plan Year shall be transferred to the Pension
       Accumulation Fund and used to pay Retirement Allowances and other benefits on
       account of Members.

Sec 9.3.   Method of Financing Retirement System Benefits

(1)    The pension liabilities for Members under this Component I shall be determined by the
       Plan’s Actuary using the entry-age normal cost method of actuarial valuation.

(2)    The City’s annual contribution to finance the prospective pension liabilities during the
       nine Plan Year period commencing July 1, 2014 and ending June 30, 2023 shall be (a)
       eleven and two-tenths percent (11.2%) of the base Compensation of active employees
       who are members of the DFFA (for pay periods ending on or before the effective date of
       the 2014-2019 collective bargaining agreement between the City and DFFA) and
       members of DPOA (for pay periods ending on or before October 3, 2014) and (b) twelve
       and one-quarter percent (12.25%) of the base Compensation of active employees who are
       members of the DPCOA, the DPLSA, the DPOA (for pay periods beginning on or after
       October 3, 2014) and the DFFA (for pay periods beginning on or after the effective date
       of the 2014-2019 collective bargaining agreement between the City and DFFA). A
       portion of the City’s annual contribution for each Plan Year shall be credited to the Rate
       Stabilization Fund. The remainder of the City’s annual contribution shall be allocated to
       the Pension Accumulation Fund.

(3)    Except as provided in Section 9.5, for each Plan Year, a Member who was an active
       employee as of June 30, 2014 (“current active”) shall contribute to the Retirement System
       an amount equal to six percent (6%) of his or her base Compensation for such Plan Year
       and a Member who is hired or rehired by the City on or after July 1, 2014 (“new
       employee”) shall contribute to the Retirement System an amount equal to eight percent



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       (8%) of his or her base Compensation for such Plan Year. A Member’s Mandatory
       Employee Contributions for the Plan Year beginning July 1, 2014 and ending June 30,
       2015 shall commence as of the Member’s first payroll date occurring in August 2014.
       The officer or officers responsible for processing the payroll shall cause a Member’s
       Mandatory Employee Contributions to be deducted from the Member’s Compensation on
       each and every payroll, for each and every payroll period, from the later of (i) the
       Member’s first payroll date occurring in August 2014 and (ii) the Member’s date of hire,
       to the date he ceases to be a Member. The contribution shall be deducted from the
       Members’ Compensation, notwithstanding that the minimum compensation provided by
       law for any Member shall be reduced thereby. Payment of compensation, less said
       Mandatory Employee Contributions, shall be a complete discharge of all claims and
       demands whatsoever for the services rendered by the said Member during the period
       covered by such payment. Member Mandatory Employee Contributions will be used for
       the purpose of funding the normal cost of the Retirement System.

Sec 9.4.   Member Contributions Picked-Up

(1)    The City shall pick up Member Mandatory Employee Contributions required pursuant to
       Sections 9.3(3) and 9.5 in accordance with Code Section 414(h).

(2)    The picked-up contributions, although designated as employee contributions shall be
       treated as City contributions for the purpose of determining a Member’s tax treatment
       under the Internal Revenue Code. The City shall pay the contributions picked-up on
       behalf of a Member from the same source of funds that are used for paying compensation
       to the Member.

(3)    The City shall pick up Member Mandatory Employee Contributions by a reduction in the
       Member’s cash salary or an offset against a future salary increase, or both. The City shall
       designate the Mandatory Employee Contributions that are picked-up and paid to the
       Retirement System as employer contributions and not as employee contributions. No
       Member who participates in the Retirement System shall have the option of choosing to
       receive the contributed amounts directly instead of having those amounts paid by the City
       to the Retirement System.

Sec 9.5.   Fiscal Responsibility: Benefit Reductions and Increased Funding Obligations

(1)    To safeguard the long-term actuarial and financial integrity of the Retirement System, in
       the event the funding level of Component I of the Retirement System projected over a
       five year period falls below ninety percent (90%), the Trustee may not award the variable
       Pension Improvement Factor (Escalator) described in Section 6.2 to any individual
       beginning with the Plan Year following the Plan Year in which such determination is
       made and continuing until the funding level is restored to not less than ninety percent
       (90%).

(2)    In the event the funding level of the Retirement System projected over a five year period
       falls below ninety percent (90%), the following remedial action shall be required in the
       order set forth below, beginning with the Plan Year following the Plan Year in which



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      such determination is made and continuing until the funding level is projected to be one
      hundred percent (100%) on a market value basis within the next five years:

      (a)    the remedial action required in Section 9.5(1) shall be implemented or continued;

      (b)    all amounts credited to the Rate Stabilization Fund shall be transferred to the
             Pension Accumulation Fund for the purposes of funding benefits payable under
             the Retirement System;

      (c)    Mandatory Employee Contributions for active and new employees shall be
             increased by one percent (1%) for up to the next following five Plan Years;

      (d)    Mandatory Employee Contributions for active and new employees shall be
             increased by an additional one percent (1%) per year;

      (e)    Mandatory Employee Contributions for active and new employees shall be
             increased by an additional one percent (1%) per year;

      (f)    the Retirement Allowance payable to a Retiree shall not include the variable
             Pension Improvement Factor (Escalator) that was most recently paid to the
             Retiree on the date the funding level is projected to fall below ninety percent
             (90%);

      (g)    the Retirement Allowance payable to a Retiree shall not include the variable
             Pension Improvement Factor (Escalator) that was most recently added to the
             Member’s Retirement Allowance for the Plan Year preceding the Plan Year
             referenced in paragraph (f) above;

      (h)    Mandatory Employee Contributions for active and new employees shall be
             increased by an additional one percent (1%) per year; and

      (i)    contributions made to the Retirement System by the City shall be increased,
             consistent with applicable actuarial principles and the Public Employee
             Retirement System Investment Act, as amended, MCL 38.1132 et seq.

(3)   For purposes of this Section 9.5, the “funding level” shall mean the ratio of the market
      value of the assets of Component I of the Retirement System to the actuarial accrued
      liability of Component I of the Retirement System. The actuarial accrued liability shall
      be calculated by the Plan’s Actuary utilizing an interest rate assumption of six and three-
      quarters percent (6.75%) and other reasonable assumptions as directed by the Board upon
      the recommendation of the Investment Committee. The market value of assets shall be
      determined on the basis of a three-year look back period of smoothed investment returns.




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              ARTICLE 10. VOLUNTARY EMPLOYEE CONTRIBUTIONS

Sec 10.1. Voluntary Employee Contributions; Amount; Vesting

       Subject to procedures established by the Board, a Member who is covered by a collective
bargaining agreement with the City that permits the Member to make Voluntary Employee
Contributions to Component I of the Retirement System may elect to reduce his Compensation
for any Plan Year by a whole percentage not less than one percent (1%) nor more than ten
percent (10%) and have such amount contributed by the City to a Voluntary Employee
Contribution Account maintained on his behalf under Component I of the Retirement System. A
Member represented by the DPOA may elect to reduce the amount paid to him or her by the City
for accumulated sick leave in excess of 400 hours by a whole percentage not less than one
percent (1%) nor more than one hundred percent (100%) of such amount and have such amount
contributed by the City to a Voluntary Employee Contribution Account maintained on his behalf
under Component I of the Retirement System. Voluntary Employee Contributions shall be made
to the Retirement System on an after-tax basis. Amounts credited to a Member’s Voluntary
Employee Contribution Account shall be one hundred percent (100%) vested at all times.

Sec 10.2. Changing an Election to Contribute

        A Member may change or revoke an election to make Voluntary Employee Contributions
to the Retirement System pursuant to this Article 10 in such manner and with such advance
notice as the City shall determine. Notwithstanding the foregoing, a Member shall be permitted
to change such election not less frequently than annually.

Sec 10.3. Individual Member Accounting; Crediting of Earnings

        The Board shall maintain a Voluntary Employee Contribution Account on behalf of each
Member who elects to make Voluntary Employee Contributions to the Retirement System. Each
Plan Year, a Member’s Voluntary Employee Contribution Account shall be credited with
earnings at a rate equal to the actual net investment rate of return on the assets of the Retirement
System for the second Fiscal Year immediately preceding the Fiscal Year in which the earnings
are credited; in no event, however, shall the earnings rate credited to a Member’s Voluntary
Employee Contribution Account for any Plan Year be less than zero percent (0%) nor greater
than five and one-quarter percent (5.25%).

Sec 10.4. Distribution of Accumulated Voluntary Employee Contributions

(1)    If a Member ceases employment with the City other than by reason of death, the Member
       may elect to receive distribution of the Accumulated Voluntary Employee Contributions
       made to the Retirement System by such Member. If a Member elects to receive his
       Accumulated Voluntary Employee Contributions, such amounts shall be paid to the
       Member in a lump sum payment or in equal monthly installments for a period not to
       exceed three years, according to such rules and regulations as the Board may adopt from
       time to time.

(2)    In lieu of receiving distribution of his Accumulated Voluntary Employee Contributions
       as provided in Section 10.4(1), a Member may elect to have the Actuarial Equivalent



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      Value of his Accumulated Voluntary Employee Contributions added to his Retirement
      Allowance and paid in the form of an annuity described in Section 8.1.

(3)   If a Member dies while employed by the City or following termination of employment
      but prior to receiving distribution of the Member’s Accumulated Voluntary Employee
      Contributions, the amounts credited to the Member’s Voluntary Employee Contribution
      Account at the time of death shall be paid to the Beneficiary nominated in a written
      designation duly executed by the Member and filed with the Board. In the event there is
      no such designated Beneficiary surviving, the Member’s Accumulated Voluntary
      Employee Contributions shall be paid to the Member’s estate. If a Member who dies
      without a legal will has not nominated a Beneficiary, the Member’s Accumulated
      Voluntary Employee Contributions at the time of death may be used to pay burial
      expenses if the Member leaves no other estate sufficient for such purpose. Such expenses
      shall not exceed a reasonable amount as determined by the Board.




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ARTICLE 11. LOAN PROGRAM FOR VOLUNTARY EMPLOYEE CONTRIBUTIONS

Sec 11.1. The Loan Program

        A loan program shall be available to Members who have amounts credited to a Voluntary
Employee Contributions Account. The Board is authorized to adopt rules and regulations, from
time to time, to govern the administration and the operation of the loan program. Copies of the
rules shall be made available to eligible Members in the offices of the Retirement System. Any
loans granted or renewed under the Retirement System shall be made and administered pursuant
to and in compliance with Section 72(p) of the Internal Revenue Code and regulations
thereunder.

Sec 11.2. Eligibility for Loan

        Subject to the rules and procedures established by the Board, loans may be made to
eligible Members from such Member’s Voluntary Employee Contribution Account. An eligible
Member is any Member who has participated in the Retirement System for twelve (12) months
or more. Former Members, spouses and Beneficiaries are not eligible to receive any loans from
the Retirement System. No Member shall have more than two (2) outstanding loans from the
Retirement System (Component I and/or Component II) at any time. A Member who has
previously defaulted on a loan under either Component I or Component II of the Combined Plan
shall not be eligible for a loan from the Retirement System.

Sec 11.3. Amount of Loan

       An eligible Member who has satisfied applicable rules and procedures established by the
Board may borrow from his Voluntary Employee Contribution Account an amount, which does
not exceed the lesser of (i) fifty percent (50%) of the Member’s Voluntary Employee
Contribution Account balance, and (ii) Fifteen Thousand Dollars ($15,000.00), in each case
reduced by the excess, if any, of: (1) the Member’s highest outstanding loan balance under the
Retirement System (both Component I and Component II) during the one (1) year period ending
on the day before the date on which the loan is made, or (2) the outstanding loan balance under
the Retirement System (both Component I and Component II) on the date on which the loan is
made, whichever is less. The minimum loan amount shall be One Thousand Dollars ($1,000.00).

Sec 11.4. Terms and Conditions

      In addition to such rules and procedures that are established by the Board, all loans shall
comply with the following terms and conditions:

       (a)    Each loan application shall be made in writing.

       (b)    All loans shall be memorialized by a collateral promissory note for the amount of
              the loan, including interest, payable to the order of the Retirement System and
              properly executed by the Member.

       (c)    Each loan shall be repaid by substantially equal payroll deductions over a period
              not to exceed five (5) years, or, where the loan is for the purpose of buying a



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               principal residence, a period not to exceed fifteen (15) years. In no case shall the
               amount of the payroll deduction be less than Twenty Dollars ($20.00) for any
               two-week pay period. A Member receiving a loan will be required to authorize
               payroll deductions from his compensation in an amount sufficient to repay the
               loan over its term.

       (d)     An amount equal to the principal amount of the loan to a Member (but not more
               than one half of the Member’s vested interest in the Defined Contribution Plans of
               the Retirement System) will be designated as collateral for guaranteeing the loan.

       (e)     Each loan shall bear interest at a rate determined by the Board. The Board shall
               not discriminate among Members in its determination of interest rates on loans.
               However, loans initiated at different times may bear different interest rates,
               where, in the opinion of the Board, the difference in rates is supported by a
               change in market interest rates or a change in the Retirement System’s current
               assumed rate of return. The loan interest rate shall bear a reasonable relationship
               to market rates for secured loans of a similar duration and shall bear a reasonable
               relationship to the costs to the Retirement System of administering the loan. The
               loan interest rate shall be calculated in a manner that will not negatively affect
               either the City’s costs with respect to the Retirement System or the investment
               return allocated to Members.

       (f)     Loan repayments shall be suspended during a period of military service, as
               permitted by Section 414(u)(4) of the Internal Revenue Code. A Member who
               has an outstanding loan balance from the Retirement System who is absent from
               employment with the City, and who has satisfied the requirements of Section
               414(u) of the Internal Revenue Code shall not be required to make loan
               repayments to the Retirement System during said periods of absence.

Sec 11.5. Loan Balance

        A Member’s outstanding loan balance shall be considered a directed investment by the
Member and interest payments shall be credited to the Member’s Voluntary Employee
Contribution Account (provided that the interest credited to the Member’s Voluntary Employee
Contribution Account shall be reduced appropriately to cover the administrative costs of the loan
program and avoid negatively affecting the City’s costs or the Retirement System’s investment
returns), and shall not be part of the Retirement System’s net investment income or part of the
Member’s Voluntary Employee Contribution Account balance for the purpose of allocation of
net investment income under the Retirement System.

Sec 11.6. Default

       In the event a Member defaults on a loan before the loan is repaid in full, the unpaid
balance thereof will become due and payable and, to the extent that the outstanding amount is
not repaid by the end of the calendar quarter which follows the calendar quarter in which the last
payment was received, such amount shall be deemed to have been distributed to the Member for
tax purposes, consistent with Section 72(p) of the Internal Revenue Code.



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Sec 11.7. Distribution

       No distribution shall be made to a Member, former Member, spouse or Beneficiary from
the Retirement System until all outstanding loan balances and applicable accrued interest have
been repaid or offset against amounts distributable to the Member from the Retirement System.




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      ARTICLE 12. DEFERRED RETIREMENT OPTION PLAN (“DROP”) PROGRAM

Sec 12.1. General Provisions

        The following provisions are hereby established as the Deferred Retirement Option Plan
(“DROP”) Program under Component I, which shall be available to Members who are covered
by collective bargaining agreements with the City that permit such Members to participate in the
DROP program and those non-union executives of the Police Department and the Fire
Department.

(1)     In lieu of terminating employment and accepting a Retirement Allowance under the
        Component I, any Member of the Retirement System who is eligible for the DROP
        program and who is eligible to immediately retire and receive an unreduced Retirement
        Allowance under Section 5.1 may elect to participate in the DROP program and defer the
        receipt of his or her Retirement Allowance in accordance with the provisions of this
        Article 12. Any such election shall be irrevocable.

(2)     A Member shall be entitled to participate in the DROP program under Component I for a
        maximum of five years. At the end of such five year period of participation in the DROP
        program, the Member shall be retired from employment.

Sec 12.2. Conversion to Retirement Allowance

        Upon the effective date of a Member’s participation in the DROP program, the Member
shall cease to accrue a Retirement Allowance pursuant to Section 6.1 and shall elect a form of
payment for his Retirement Allowance pursuant to Section 8.1. Seventy-five percent (75%) of
the monthly Retirement Allowance (including applicable variable Pension Improvement Factor
(Escalator) increases) that would have been payable, had the Member elected to terminate
employment with the City on the effective date of his or her DROP election and receive an
immediate Retirement Allowance, shall be paid into a DROP Account established on behalf of
the Member under the Retirement System or in an entity selected by the Board.

Sec 12.3. Investment of DROP Assets

(1)     ING was previously selected by the Board as the DROP administration and investment
        entity for Members who elect to participate in the DROP program. ING shall continue to
        be the DROP administration and investment entity, unless and until such time as the
        Board terminates the agreement with ING as provided in paragraph (4) or determines that
        it is administratively feasible for the DROP program to be administered and invested
        under the Retirement System.

(2)     As soon as possible after July 1, 2014, the Board shall determine whether it is
        administratively feasible for the DROP program to be administered and the assets in
        DROP accounts invested under the Retirement System. If the Board determines that it is
        feasible to administer the DROP program under the Retirement System, the Board shall
        promptly take appropriate steps to implement such decision.




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(3)    If amounts credited to a DROP Account are invested under the Retirement System, such
       amounts shall be comingled with the assets of the Retirement System for investment
       purposes and shall be invested by the Trustees. A Member’s DROP Account shall be
       credited with annual earnings at a rate equal to seventy-five percent (75%) of the actual
       net earnings rate of the assets of the Retirement System; however, in no event shall the
       earnings rate applied to a Member’s DROP Account for any Plan Year be less than zero
       percent (0%) nor greater than seven and three-quarters percent (7.75%).

(4)    The Board of Trustees entered into an administrative services agreement with ING. Such
       agreement shall remain in effect until such time as it is terminated by the Board as
       provided therein.

(5)    The Board of Trustees may replace ING with a trust type vehicle or the Board may
       determine that amounts subject to a DROP election will be invested with Retirement
       System assets as provided above.

(6)    Any fees associated with the maintenance of DROP Accounts outside of the Retirement
       System shall be paid by the Members by means of deduction from their DROP Accounts.

Sec 12.4. Distribution of Amounts Credited to DROP Account

        A Member shall not receive a distribution of amounts credited to his DROP Account
prior to his termination of employment with the City. Upon termination of employment, a
Member who is a participant in the DROP program shall receive, at his or her option either a
lump sum payment from the DROP Account equal to the amount then credited to the DROP
Account or an annuity based upon the amount credited to his DROP Account. In addition, one
hundred percent (100%) of the Member’s monthly Retirement Allowance that otherwise would
have been paid upon the Member’s retirement had he or she not elected to participate in the
DROP program (together with any applicable variable Pension Improvement Factor (Escalator)
increases) shall commence to the Member in accordance with the form of payment selected by
the Member at the commencement of his or her participation in the DROP program.
Termination of employment includes termination of any kind, such as resignation, retirement,
discharge or disability.

Sec 12.5. Death of Member While Participating in the DROP Program

       If a Member dies while participating in the DROP program, a lump sum payment equal to
the Member’s DROP Account balance shall be paid to the Beneficiary named by the Member, or
if no Beneficiary has been designated, to the Member’s estate. In addition, one hundred percent
(100%) of the Member’s Retirement Allowance (together with any applicable variable Pension
Improvement Factor (Escalator) increases) that would have been paid to the Member but for the
Member’s decision to participate in the DROP program will be restored. Survivor benefits, if
any, shall be paid in accordance with the payment option elected by the deceased Member at the
time the Member elected to participate in the DROP program.

Sec 12.6. Disability of Member While Participating in the DROP Program




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        If a Member becomes Totally Disabled while participating in the DROP program and
while still an Employee and his employment with the City is terminated because he is Totally
Disabled, such Member (a) shall be immediately retired and one hundred percent (100%) of the
Retirement Allowance) that would have been paid to the Member but for the Member’s decision
to participate in the DROP program (together with any applicable variable Pension Improvement
Factor (Escalator) increases) will commence in accordance with the payment option selected by
the Member at the commencement of the Member’s participation in the DROP program as
provided in Section 12.1(2), and (b) shall be entitled to receive payment of the funds in his
DROP Account (in the form of a lump sum or other form of payment described in Section 8.1).
Such Member shall not be entitled to disability retirement benefits under Section 5.3 or Section
5.4 hereof.

Sec 12.7. Cost Neutrality

(1)    The DROP program shall be effective only for as long as it is cost-neutral to the City,
       provided however, that the DROP program shall continue during the pendency of
       proceedings, described in paragraph (2) below, designed to restore the Retirement System
       to cost neutrality.

(2)    If the City contends that the DROP program is not cost-neutral, including, but not limited
       to, making the City’s annual contribution to the Retirement System higher than it would
       be if the DROP program was not in effect, the Board and the City, along with the Plan
       Actuary as well as an actuary appointed by the City (who will be an associate or a fellow
       of the Society of Actuaries and a member of the American Academy of Actuaries) shall
       meet and confer in good faith regarding the cost. If the Board and the City are unable to
       reach an agreement as to cost, the matter shall be submitted to a third, independent,
       actuary, chosen or agreed upon by the Plan Actuary and the City’s actuary. This actuary,
       when rendering a decision, will be limited to ordering implementation of changes
       necessary to make the DROP program cost-neutral. Upon the implementation of changes
       necessary to make the DROP program cost-neutral, Members shall have thirty days to
       elect to either (a) retire from active employment with the City or (b) withdraw from the
       DROP program and resume active participation in Component I of the Retirement
       System. The Board shall notify DROP participants of these changes prior to
       implementation. Those DROP participants resuming participation in Component I of the
       Retirement System shall not accumulate Credited Service for any time that they were
       participating in the DROP program (under either Component I or Component II). Those
       not making either election shall remain participants in the DROP program.

(3)    In the event the DROP program cannot be changed to restore cost neutrality, it shall be
       discontinued and Members participating in the DROP program at that time shall have the
       option to either (i) retire or (ii) continue active employment with the City and resume
       active participation in Component I of the Retirement System. DROP participants
       resuming participation in Component I of the Retirement System shall not accumulate
       Credited Service for the time during which such DROP participants participated in the
       DROP program (under Component I or Component II).




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        ARTICLE 13. LIMITATION ON BENEFITS AND CONTRIBUTIONS

Sec 13.1. Compliance With Code Section 415(b) And Regulations

(1)   Notwithstanding any other provision of this Combined Plan Document, the defined
      benefit component of the Retirement System shall be administered in compliance with
      the provisions of Code Section 415(b) and regulations thereunder that are applicable to
      governmental plans.

(2)   The maximum annual benefit accrued by a Member during a “limitation year” (which
      shall be the Plan Year) and the maximum annual benefit payable under the Retirement
      System to a Member at any time within a Plan Year, when expressed as an annual benefit
      in the form of a straight life annuity (with no ancillary benefits), shall be equal to
      $160,000 (as such amount is adjusted pursuant to Code Section 415(d) for such Plan
      Year).

(3)   Notwithstanding the foregoing:

      (a)    if the benefit under the Retirement System is payable in any form other than a
             straight life annuity, the determination as to whether the limitation described in
             Section 13.1(2) has been satisfied shall be made, in accordance with the
             regulations prescribed by the Secretary of the Treasury, by adjusting such benefit
             to the Actuarially Equivalent straight life annuity beginning at the same time, in
             accordance with Section 13.1(9) or (10);

      (b)    if the benefit under the Retirement System commences before Age sixty-two, the
             determination of whether the limitation set forth in Section 13.1(2) (the “Dollar
             Limit”) has been satisfied shall be made, in accordance with regulations
             prescribed by the Secretary of the Treasury, by reducing the Dollar Limit so that
             the Dollar Limit (as so reduced) is equal to an annual benefit payable in the form
             of a straight life annuity, commencing when such benefit under the Retirement
             System commences, which is Actuarially Equivalent to a benefit in the amount of
             the Dollar Limit commencing at Age sixty-two (adjusted for participation of
             fewer than 10 years, if applicable); provided, however, if the Retirement System
             has an immediately commencing straight life annuity commencing both at Age
             sixty-two and the age of benefit commencement, then the Dollar Limit (as so
             reduced) shall equal the lesser of (i) the amount determined under this Section
             13.1(3)(b) without regard to this proviso, or (ii) the Dollar Limit multiplied by a
             fraction the numerator of which is the annual amount of the immediately
             commencing straight life annuity under the Retirement System and the
             denominator of which is the annual amount of the straight life annuity under the
             Retirement System, commencing at Age sixty-two; and

      (c)    if the benefit under the Retirement System commences after Age sixty-five, the
             determination of whether the Dollar Limit has been satisfied shall be made, in
             accordance with regulations prescribed by the Secretary of the Treasury, by
             increasing the Dollar Limit so that the Dollar Limit (as so increased) is equal to an



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             annual benefit payable in the form of a straight life annuity, commencing when
             the benefit under the Retirement System commences, which is Actuarially
             Equivalent to a benefit in the amount of the Dollar Limit commencing at Age
             sixty-five; provided, however, if the Retirement System has an immediately
             commencing straight life annuity commencing both at Age sixty-five and the Age
             of benefit commencement, the Dollar Limit (as so increased) shall equal the lesser
             of (i) the amount determined under this Section 13.1(3)(c) without regard to this
             proviso, or (ii) the Dollar Limit multiplied by a fraction the numerator of which is
             the annual amount of the immediately commencing straight life annuity under the
             Retirement System and the denominator of which is the annual amount of the
             immediately commencing straight life annuity under the Retirement System,
             commencing at Age sixty-five.

(4)   The adjustments in Sections 13.1(3)(b) shall not apply to a Member with at least 15 years
      of Credited Service as a Police Member or a Fire Member within the meaning of Code
      Section 415(b)(2)(H). In addition, the adjustments in Sections 13.1(3)(b) and 13.1(6)
      shall not apply to benefits payable on account of the disability or the death of a Member.

(5)   Notwithstanding the foregoing provisions of this Section 13.1, except as provided in
      Section 13.1(6), the maximum annual benefit specified in Section 13.1(2) above shall not
      apply to a particular Retirement System benefit if (a) the annual amount of such
      Retirement System benefit, together with the aggregate annual amount of any other
      pensions payable with respect to such Member under all other defined benefit plans
      maintained by the City, does not exceed $10,000 for the Plan Year or any prior Plan
      Year, and (b) the Member was not at any time a participant in a Defined Contribution
      Plan maintained by the City.

(6)   In the case of a Member who has less than ten years of participation in the Retirement
      System, the limitation set forth in Section 13.1(2) shall be such limitation (without regard
      to this Section 13.1(6)), multiplied by a fraction, the numerator of which is the number of
      years of participation in the Retirement System (or parts thereof) credited to the Member
      and the denominator of which is ten. In the case of a Member who has less than ten years
      of Vesting Service, the limitations set forth in Paragraph (b) of Section 13.1(2) and in
      Section 13.1(5) shall be such limitations (determined without regard to this Section
      13.1(6)) multiplied by a fraction, the numerator of which is the number of years of
      Vesting Service, or parts thereof, credited to the Member and the denominator of which is
      ten. The adjustment in this Section 13.1(6) shall not apply to benefits paid on account of
      the disability or death of a Member.

(7)   Notwithstanding anything in this Section 13.1 to the contrary, if the annual benefit of a
      Member who has terminated employment with the City is limited pursuant to the
      limitations set forth in Section 13.1(2), such annual benefit shall be increased in
      accordance with the cost-of-living adjustments of Code Section 415(d).

(8)   For purposes of determining actuarial equivalence under Paragraph (b) or (c) of Section
      13.1(3), the interest rate assumption shall be five percent (5%) and the mortality table
      used shall be the applicable mortality table specified by the Board.



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(9)    The Actuarially Equivalent straight life annuity for purposes of adjusting any benefit
       payable in a form to which Code Section 417(e)(3) does not apply, as required by
       Paragraph (a) of Section 13.1(3), is equal to the greater of (a) the annual amount of the
       straight life annuity payable under the Retirement System commencing at the same
       annuity starting date as the form of benefit payable to the Member, or (b) the annual
       amount of the straight life annuity commencing at the same annuity starting date that has
       the same actuarial present value as the form of benefit payable to the Member, computed
       using the interest rate and mortality assumptions set forth in Section 13.1(8).

(10)   The Actuarially Equivalent straight life annuity for purposes of adjusting any benefit
       payable in a form to which Code Section 417(e)(3) applies, as required by Paragraph (a)
       of Section 13.1(3), is equal to the greatest of (a) the annual amount of the straight life
       annuity commencing at the same annuity starting date that has the same Actuarial
       Equivalent present value as the form of benefit payable to the Member, (b) the annual
       amount of the straight life annuity commencing at the same annuity starting date that has
       the same actuarial present value as the form of benefit payable to the Member, computed
       using a five and one-half percent (5.5%) interest rate assumption and the applicable
       mortality table specified by the Board, or (c) the annual amount of the straight life
       annuity commencing at the same annuity starting date that has the same actuarial present
       value as the form of benefit payable to the Member, computed using the applicable
       interest rate and the applicable mortality table, both as specified by the Board, divided by
       1.05.

(11)   For purposes of applying the limitations set forth in this Section 13.1, all qualified
       defined benefit plans (whether or not terminated) ever maintained by the City shall be
       treated as one defined benefit plan.

(12)   For purposes of this Section 13.1, the term “compensation” shall include those items of
       remuneration specified in Treasury Regulation § 1.415(c)-2(b) and shall exclude those
       items of remuneration specified in Treasury Regulation § 1.415(c)-2(c), taking into
       account the timing rules specified in Treasury Regulation § 1.415(c)-2(e), but shall not
       include any amount in excess of the limitation under Code Section 401(a)(17) in effect
       for the year. The term “compensation” as defined in the preceding sentence shall include
       any payments made to a Member by the later of (a) two and one-half months after the
       date of the Member’s severance from employment with the City or (b) the end of the
       limitation year that includes the date of the Member’s severance from employment with
       the City, provided that, absent a severance from employment, such payments would have
       been paid to the Member while the Member continued in employment with the City and
       are regular compensation for services performed during the Member’s regular working
       hours, compensation for services outside the Member’s regular working hours (such as
       overtime or shift differential pay), commissions, bonuses or other similar compensation.

(13)   This Section 13.1 shall be administered in conformity with the regulations issued by the
       Secretary of the Treasury interpreting Code Section 415 including, but not limited to
       those interpreting Section 415(b)(2)(H), and any regulation providing for the
       “grandfathering” of any benefit accrued prior to the effective date of such regulations or
       statutory provision.



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Sec 13.2. Compliance with Code Section 415(c) and Regulations

(1)   The “Annual Addition” with respect to a Member for a limitation year shall in no event
      exceed the lesser of:

      (a)    $40,000 (adjusted as provided in Code Section 415(d)); or

      (b)    One hundred percent (100%) of the Member’s compensation, as defined in Code
             Section 415(c)(3) and regulations issued thereunder, for the limitation year.

(2)   The Annual Addition with respect to a Member for a limitation year means the sum of his
      Voluntary Employee Contributions made to the Retirement System, and the employer
      contributions, employee contributions and forfeitures allocated to his accounts under any
      other qualified Defined Contribution Plan (whether or not terminated) maintained by the
      City, and the amounts described in Code Sections 415(l)(2) and 419A(d)(2) allocated to
      his account.

(3)   In the event the Annual Addition to the Retirement System on behalf of a Member would
      otherwise exceed the amount that may be applied for his benefit under the limitation
      contained in this Section 13.2, the limitation shall be satisfied by reducing the Member’s
      Voluntary Employee Contributions to the extent necessary and distributing such amounts
      to the Member.




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             ARTICLE 14. RETIREMENT SYSTEM ADMINISTRATION

Sec 14.1. Board of Trustees as Retirement System Administrator

(1)   The Retirement Board shall have the power and authority to manage and administer the
      Retirement System in accordance with the provisions of this Combined Plan Document.

(2)   The Retirement Board shall provide procedures for the processing and review of benefit
      claims, corrections of errors, and similar matters, as further described in Section 14.2.

(3)   The Retirement Board and the Retirement System shall not make any payment to active
      or retired Members or Beneficiaries other than payments that are required by the
      Retirement System as established by this Combined Plan Document. This prohibition
      applies to all payments that are not authorized by this Combined Plan Document, whether
      such payments are those commonly referred to as a “thirteenth check” or payments by
      any other name.

Sec 14.2. Powers and Duties of Board

(1)   The Board shall have the following powers and duties:

      (a)    exclusive authority regarding the administration, management and operation of
             the Retirement System, including, but not limited to, the right to contract for
             office space, computer hardware and software, and human resource services (any
             or all of which may be obtained from the City), and to make rules and regulations
             with respect to the operation of the Retirement System not inconsistent with the
             terms of the Combined Plan Document and applicable law, and to amend or
             rescind such rules and regulations;

      (b)    to determine questions of law or fact that may arise as to the rights of any person
             claiming rights under the Retirement System;

      (c)    to determine the contributions to the Retirement System required of the City and
             Members pursuant to the documents governing operation of the Retirement
             System, including the Plan of Adjustment;

      (d)    to construe and interpret the provisions of the Retirement System and to reconcile
             any inconsistencies;

      (e)    to perform ministerial functions, whether or not expressly authorized, which the
             Board may deem necessary or desirable in carrying out its duties under the
             Retirement System;

      (f)    except to the extent authority is vested in the Investment Committee, authority
             to employ, contract and pay for professional services including, but not limited to,
             actuarial, investment, legal, accounting, medical, and any other services that the
             Board considers necessary for the proper operation of the Retirement System;




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      (g)   except to the extent authority or responsibility is vested in the Investment
            Committee, to arrange for annual audits of the records and accounts of the
            Retirement System by a certified public accountant or by a firm of certified public
            accountants pursuant to generally accepted auditing standards;

      (h)   to prepare an annual report for the Retirement System for each Fiscal Year in
            compliance with generally accepted accounting principles. The report shall
            contain information regarding the financial, actuarial, and other activities of the
            Retirement System during the Fiscal Year. The Board shall furnish a copy of
            the annual report to the Mayor and finance director of the City, to the chair of the
            City Council and the Investment Committee. The report shall also contain a
            review of the latest actuarial valuation of the Retirement System;

      (i)   to maintain or cause to be maintained such separate funds and accounts as are
            required to be maintained under the provisions of Components I and II of the
            Combined Plan Document and such additional accounts as the Board deems
            necessary or expedient for the proper administration of the Retirement System
            and the administration and investment of the assets of the Retirement System.
            The Board shall maintain suitable records, data and information in connection
            with the performance of its functions, including, but not limited to, accurate and
            detailed accounts of all investments, receipts, disbursements, and other actions,
            including the proportionate interest therein and contributions of each Member
            who has made contributions to the Retirement System;

      (j)   to correct any error in the records of the Retirement System that results in
            overpayment or underpayment of contributions to the Retirement System by the
            City or a Member, or overpayment or underpayment of benefits to a Member,
            former Member, or Beneficiary by the Retirement System. In the event of
            overpayment to a Member, former Member or Beneficiary, the Board may, as far
            as practicable, adjust future payments to such individual in such a manner that the
            Actuarial Equivalent of the benefit to which such individual was entitled shall be
            paid;

      (k)   to the extent permissible under Michigan law (and consistent with the Retirement
            System’s favorable tax qualified status under Code Section 401(a)), purchase one
            or more insurance policies to indemnify any person and such person’s heirs and
            legal representatives who is made a party to (or threatened to be made a party to)
            any action, suit or proceeding whether brought by or in the right of the Board, the
            Investment Committee or the Retirement System or otherwise, by reason of the
            fact that such person is or was a Board member, Investment Committee member,
            director, officer, employee or agent of the Board (or an advisory body or
            committee of the Board) or the Retirement System. The insurance policies
            purchased by the Board shall not indemnify any person who is judicially
            determined to have incurred liability due to fraud, gross negligence or
            malfeasance in the performance of his duties; and




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       (l)    except to the extent authority or responsibility is vested in the Investment
              Committee, to perform any other function that is required for the proper
              administration of the Retirement System.

Sec 14.3. Executive Director; Employees

         The Board shall employ on behalf of the Retirement System an executive director and
any other employees for which the Board establishes positions. The executive director shall do
all of the following:

       (a)    manage and administer the Retirement System under the supervision and direction
              of the Board;

       (b)    annually prepare and submit to the Board for review, amendment, and adoption an
              itemized budget projecting the amount required to pay the Retirement System’s
              expenses for the following Fiscal Year; and

       (c)    perform such other duties as the Board shall delegate to the executive director.

       The executive director, unless such power is retained by the Board, shall determine the
compensation of all employees of the Retirement System (except the executive director, whose
compensation shall be determined by the Board and the chief investment officer, whose
compensation shall be determined by the Investment Committee) and such compensation shall be
payable from the Retirement System. Any person employed by the Retirement System may but
need not be an employee of the City.

Sec 14.4. Discretionary Authority

       The Board shall have sole and absolute discretion to:

       (a)    interpret the provisions of the Retirement System;

       (b)    make factual findings with respect to any and all issues arising under the
              Retirement System;

       (c)    determine the rights and status of Members, Retirees, Beneficiaries and other
              persons under the Retirement System;

       (d)    decide benefit claims and disputes arising under the Retirement System pursuant
              to such procedures as the Board shall adopt; and

       (e)    make determinations and findings (including factual findings) with respect to the
              benefits payable hereunder and the persons entitled thereto as may be required for
              the purposes of the Retirement System.




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Sec 14.5. Administrator’s Decision Binding

        The Board’s decision on any matter arising in connection with administration and
interpretation of the Retirement System shall be final and binding on Members, Retirees and
Beneficiaries.




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                        ARTICLE 15. MANAGEMENT OF FUNDS

Sec 15.1. Board as Trustee of Retirement System Assets

        The Board of Trustees shall be the trustee of the funds held under the Retirement System,
shall receive and accept all sums of money and other property paid or transferred to it by or at
the direction of the City, and subject to the terms of Article 16, shall have the power to hold,
invest, reinvest, manage, administer and distribute such money and other property subject to all
terms, conditions, limitations, and restrictions imposed on the investment of assets of public
employee retirement systems or plans by Act No. 314 of the Public Acts of 1965, being sections
38.1132 et seq. of the Michigan Compiled Laws, as amended.

Sec 15.2. Maintenance of Segregated Funds

        The Board of Trustees shall maintain separate funds as required for the proper
administration of the Retirement System and shall not commingle the assets held under the
Retirement System for the purpose of funding benefits accrued by Members prior to July 1,
2014, together with earnings and losses on such assets (or replacement assets), as more fully
described in Component II of this Combined Plan document, with the assets of the Retirement
System held for the purpose of paying benefits accrued by Members on and after July 1, 2014 as
described in this Component I of the Combined Plan document. Notwithstanding the foregoing,
the assets held under Components I and II of this Combined Plan document may be commingled
for investment purposes and transferred as provided in Section G-2(f) of Component II.

Sec 15.3. Custodian of Funds

       The Board of Trustees shall appoint or employ custodians of the assets of the Retirement
System. The custodians shall perform all duties necessary and incidental to the custodial
responsibility and shall make disbursements as authorized by the Board.

Sec 15.4. Exclusive Purpose

        All money and other assets of the Retirement System shall be held by the Trustees and
invested for the sole purpose of paying benefits to Members and Beneficiaries and shall be used
for no other purpose. In exercising its discretionary authority with respect to the management of
the money and other assets of the Retirement System, the Trustees shall exercise the care, skill,
prudence and diligence under the circumstances then prevailing, that a person acting in a like
capacity and familiar with such matters, would use in the conduct of an enterprise of like
character with like aims.

Sec 15.5. Prohibited Conduct

       Members of the Board and employees of the Retirement System are prohibited from:

(1)    Having any beneficial interest, direct or indirect, in any investment of the Retirement
       System;




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(2)   Being an obligor or providing surety for any money loaned to or borrowed from the
      Retirement System;

(3)   Except as provided in Article 11, borrowing any money or other assets of the Retirement
      System; and

(4)   Receiving any pay or other compensation from any person, other than compensation paid
      by the Retirement System, with respect to investments of the Retirement System.




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          ARTICLE 16. INVESTMENT OF RETIREMENT SYSTEM ASSETS

Sec 16.1. Investment Powers of the Board and the Investment Committee

        Subject to the requirements set forth in this Article 16, the Board shall have the power
and authority to manage, control, invest and reinvest money and other assets of the Retirement
System subject to all terms, conditions, limitations, and restrictions imposed on the investment of
assets of public employee retirement systems or plans by Act No. 314 of the Public Acts of 1965,
being sections 38.1132 et seq. of the Michigan Compiled Laws, as amended. Notwithstanding
anything in this Combined Plan Document to the contrary, for the twenty year period following
the effective date of the Plan of Adjustment, the Investment Committee shall make
recommendations to the Board with respect to investment management matters as provided in
this Article 16.

       All investment management decisions made by the Board, as more fully described in
Section 16.2, shall require a recommendation by an affirmative vote of the Investment
Committee as provided in this Combined Plan Document. The Board shall take no action with
respect to any matter for which the Investment Committee has responsibility and authority,
including the investment management matters described in Section 16.2, unless and until such
action has been approved by affirmative vote of the Investment Committee. All actions and
recommendations of the Investment Committee shall be forwarded to the Board for consideration
and are subject to Board approval. If (a) the Board fails to approve or disapprove an investment
management decision that has been recommended by an affirmative vote of the Investment
Committee, and such failure continues for forty-five days after the date that the recommendation
was made to the Board, or (b) the Board disapproves an investment management decision within
such forty-five day period but fails to provide to the Investment Committee within such forty-
five day period a detailed written response outlining the reasons for such disapproval, then the
Investment Committee and the chief investment officer are authorized to implement the decision.

        If the Board disapproves an investment management decision within such forty-five day
period and provides to the Investment Committee within such forty-five day period a detailed
written response outlining the reasons for such disapproval, then the Investment Committee shall
have forty-five days after the receipt of the Board response to either (a) withdraw the
recommended investment management decision, or (b) request, in writing, a conference with the
Board to be held within ten days, but not less than five business days, of the request by the
Investment Committee to discuss the disapproval by the Board described in the written response.
Any such conference shall be conducted with at least three independent Investment Committee
members present in person or by phone. Within ten days of the commencement of the
conference or twenty days following the Investment Committee’s request for a conference if no
conference is held, the Investment Committee shall either withdraw the recommended
investment management decision or provide the Board with a written explanation of the
Investment Committee’s decision to proceed with the recommended investment management
decision. After delivery of such written explanation by the Investment Committee, the
Investment Committee and the chief investment officer are authorized to implement the decision.
Any action taken by the Board or the Investment Committee in violation of the terms of this
Article 16 shall constitute an ultra vires act and the Investment Committee or the Board is




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granted the express right to seek to preliminarily enjoin such action without the need to show
irreparable harm.

Sec 16.2. Investment Management

(1)    For purposes of this Combined Plan, “investment management decisions” and
       “investment management matters” shall include:

       (a)    development of an investment policy statement with sound and consistent
              investment goals, objectives, and performance measurement standards which are
              consistent with the needs of the Retirement System;

       (b)    within 120 days after the effective date of the Plan of Adjustment, placement of
              all of the assets of the Retirement System not already under qualified management
              with qualified investment managers selected by the Investment Committee;

       (c)    evaluation, retention, termination and selection of qualified managers to invest
              and manage the Retirement System’s assets;

       (d)    review and affirmation or rejection of the correctness of any and all calculations,
              actuarial assumptions and/or assessments used by the Actuary including, but not
              limited to (i) those underlying the restoration of pension benefits, funding levels
              and amortization thereof, all in accordance with the pension restoration program
              attached to the Plan of Adjustment (as more fully described in Article K of
              Component II of this Combined Plan Document), (ii) those underlying the
              determination of annual funding levels and amortization thereof, and (iii) on or
              after Fiscal Year 2024, the recommended annual contributions to the Retirement
              System in accordance with applicable law;

       (e)    in accordance with approved actuarial work as provided in paragraph (d) above
              and based on the annual actuarial valuation reports and any other projections or
              reports as applicable from the Actuary or other professional advisors, the
              determination of the extent of restoration of pension benefits, including but not
              limited to the payment of lost COLA payments, all in conformance with the
              pension restoration program attached to the Plan of Adjustment;

       (f)    communication of the Retirement System’s investment goals, objectives, and
              standards to the investment managers, including any material changes that may
              subsequently occur;

       (g)    determination and approval of the Retirement System’s investment and asset
              allocation guidelines, taking into account the appropriate liquidity needs of the
              Retirement System;

       (h)    the taking of corrective action deemed prudent and appropriate when an
              investment manager fails to perform as expected;




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       (i)     interpretation of Retirement System governing documents, existing law, the Plan
               of Adjustment or other financial determination that could affect funding or benefit
               levels;

       (j)     review and approval, prior to final issuance, of the annual audit and all financial
               reports prepared on behalf of the Retirement System and meet and confer with the
               Auditor or other professional advisors as necessary prior to approval of the annual
               audit or other financial reports;

       (k)     determination of the funding status of the Retirement System and any remedial
               action to be taken pursuant to Section 9.5; and

       (l)     causing an asset/liability valuation study to be performed for the Retirement
               System every three years or, more often, as requested by the Investment
               Committee or the Board.

       All actions of the Investment Committee shall comply with the provisions of pertinent
       federal, state, and local laws and regulations, specifically Public Act 314 and Plan
       Investment Guidelines.

Sec 16.3. Best Practices

       Prior to adopting investment guidelines and asset allocation policies, selecting investment
managers or adopting investment return assumptions, the Investment Committee shall have an
understanding of and shall give appropriate consideration to the following:

       (a)     the fiduciary best practices and institutional standards for the investment of public
               employee retirement system plan assets;

       (b)     the objective to obtain investment returns above the established actuarial
               investment return assumption to support the restoration of benefits under the
               pension restoration program described in the Plan of Adjustment and Component
               II of this Combined Plan Document, to the extent that it is prudent and consistent
               with the overall funding, liquidity needs and actuarial assumptions governing the
               Retirement System; and

       (c)     the liquidity needs of the Retirement System.

Sec 16.4. Chief Investment Officer

        The Investment Committee shall have the exclusive power to select, retain and terminate
the services of a chief investment officer for the Retirement System. The Investment Committee
shall determine any and all compensation and other terms of employment of any chief
investment officer hired by it. The chief investment officer shall report directly to the
Investment Committee and the Executive Director of the Board. The chief investment officer
shall be responsible for assisting the Investment Committee and the Board with respect to
oversight of the Retirement System’s investment portfolio. The chief investment officer shall




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provide such periodic reports relating to the Retirement System’s assets to the Investment
Committee and the Board as it or they shall request.

Sec 16.5. Investment Consultants

        The Board and/or Investment Committee may retain the services of one or more
investment consultants who shall be responsible for assisting the Investment Committee and the
Board with oversight of the Retirement System’s investment portfolio. Any such investment
consultant shall be a registered advisor with the United States Securities and Exchange
Commission and shall be a nationally recognized institutional investment consultant with
expertise in the investment of public pension plan assets. Any such investment consultant shall
acknowledge in writing its role as investment fiduciary with respect to the Retirement System as
defined in the Public Employee Retirement System Investment Act, as amended, MCL 38.1132 et
seq. The Board or the Investment Committee, as appropriate, shall determine the compensation
and other terms of employment of any investment consultant hired by it. The duties of an
investment consultant may include, but shall not be limited to:

       (a)    providing an asset/liability valuation study for the Retirement System;

       (b)    reviewing the Retirement System’s asset allocation based on current market
              assumptions;

       (c)    identifying and recommending to the Investment Committee and the Board
              appropriate investment strategies based on the financial condition of the
              Retirement System;

       (d)    implementing the approved investment strategies, such as recommending to the
              Investment Committee, for Board approval, an asset allocation strategy, building
              an investment structure for the Retirement System, and identifying qualified
              investment managers (through an organized search process) to execute and
              implement investment strategies;

       (e)    monitoring and evaluating the ongoing progress of the investment managers
              toward stated investment goals and objectives;

       (f)    recommending to the Investment Committee and the Board any necessary
              corrective actions, including adjustments to the investment structure or investment
              management organizations in the event of a deviation from expectations;

       (g)    communicating the investment policies of the Retirement System to the
              investment managers;

       (h)    reviewing the investment policies with the appropriate employees of the
              Retirement System;

       (i)    aiding the Investment Committee in providing recommendations on issues
              relating to rebalancing and cash flow management, securities lending, transition
              management, cash equalization and other investment related topics;



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       (j)    attending Investment Committee and Board meetings in person, or telephonically,
              as needed or as requested;

       (k)    meeting with the Investment Committee to provide            detailed quarterly
              performance reports and executive summaries of performance;

       (l)    meeting with the Investment Committee and the Board to review capital markets
              and inform the Board and Retirement System employees on the current
              investment environment; and

       (m)    meeting with the Investment Committee and the Board to provide
              recommendations on asset allocation, investment structure, and manager
              selections.

Sec 16.6. Consistency With Plan of Adjustment

         Nothing herein shall be interpreted as permitting the Investment Committee or the Board
to alter or depart from the requirements set forth in the Plan of Adjustment.




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                      ARTICLE 17. RETIREE MEDICAL ACCOUNT

Sec 17.1. Establishment of Account

       A Medical Benefits Account shall be established and maintained under the Retirement
System out of which the Board of Trustees shall pay the cost, which would otherwise be borne
by the City, for certain medical and related benefits provided under the plans or programs
maintained by the City to provide Medical Benefits (the “Medical Plans”) for the benefit of the
Medical Beneficiaries. The provisions of this Article 17 are intended to comply with Section
401(h) of the Code and shall be construed to comply therewith.

Sec 17.2. Effective Date

       Medical Benefits shall be paid from the Medical Benefits Account beginning October __,
2014 or such other date recommended by an enrolled actuary (within the meaning of Section
7701(a)(35) of the Code) and approved by the Board and Investment Committee.

Sec 17.3. Funding of Benefits

        Subject to the right reserved to the City to amend or terminate the provision of Medical
Benefits under its general power to amend the Combined Plan document under Section 18.5, the
City expects and intends to make actuarially determined contributions under the Retirement
System from time to time to fund the Medical Benefits Account. The assets of the Medical
Benefits Account may be invested together with the other assets of the Retirement System, in
which case earnings of the Retirement System shall be allocated to the Medical Benefits Account
on a reasonable basis or such assets may be invested separately. In any event, no part of the
Retirement System, other than the assets of the Medical Benefits Account, shall be available to
pay for any part of the cost of Medical Benefits.

       The amount determined by the City to be contributed for any Plan Year pursuant to the
paragraph above shall be reasonable and ascertainable and shall not exceed the total cost for such
Plan Year of providing Medical Benefits to the Medical Beneficiaries, determined in accordance
with generally accepted actuarial methods and assumptions that are reasonable in view of the
provisions and coverage of the medical and other welfare plans providing such benefits, the
funding medium and any other applicable considerations. At the time the City makes a
contribution to the Trustee, the City shall designate the portion thereof that is allocable to the
Medical Benefits Account.

Sec 17.4. Limitation on Contributions

        At all times the aggregate of the contributions made by the City to provide Medical
Benefits shall not exceed twenty-five percent (25%) of the sum of the aggregate contributions
made by the City to the Plan under Sections 9.3 and 9.5, other than the contributions to fund past
service credits, plus the aggregate contributions to the Medical Benefits Account. In the event
that a contribution under Section 17.3 shall exceed the amount described in the preceding
sentence, such contribution shall be reduced by the excess amount.

Sec 17.5. Impossibility of Diversion



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         In no event, prior to the satisfaction of all liabilities to provide Medical Benefits shall the
Medical Benefits Account be used for, or diverted to, any purpose other than the payment of
such benefits and any necessary or appropriate expenses of administration associated therewith.
Any amounts credited to the Medical Benefits Account following the satisfaction of all such
liabilities shall be returned to the City.

Sec 17.6. Administration

        The Medical Plans shall continue to be administered, and claims processed, under their
respective terms. Notwithstanding, the interpretation and administration of the terms of this
Article 17 shall be pursuant to the provisions of the Combined Plan document.

Sec 17.7. Right to Amend or Terminate Medical Plans

        The City expressly reserves the exclusive right, retroactively to the extent permitted by
law, to amend, modify, change, terminate or revoke any medical or other welfare plan or policy
maintained by the City that provides medical or other welfare benefits, including but not limited
to Medical Benefits, and to require Members, former Members, their eligible spouses and
dependents to pay all or any portion of the cost of such medical benefits.

Sec 17.8. Reversion

        At any time prior to the satisfaction of all liabilities under the Retirement System to
provide Medical Benefits, no part of the Medical Benefits Account may be used for any purpose
other than providing Medical Benefits, and any necessary or appropriate expenses attributable to
the administration of the Medical Benefits Account. If any residual assets remain in the Medical
Benefits Account after the satisfaction of all obligations of the City to provide Medical Benefits
to the Medical Beneficiaries, such assets shall be returned to the City. In the event a Medical
Beneficiary’s interest in the Medical Benefits Account is forfeited prior to the termination of the
Retirement System, an amount equal to such forfeiture shall be applied as soon as possible to
reduce the City’s contributions.

Sec 17.9. Limitation of Rights

        A Medical Beneficiary shall have no right, title or claim in any specific asset of the
Medical Benefits Account, but shall have the right only to the Medical Benefits provided from
time to time under the Medical Benefits Account.




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                             ARTICLE 18. MISCELLANEOUS

Sec 18.1. Nonduplication of Benefits

        If any Member is a participant in another defined benefit pension plan, retirement system
or annuity plan sponsored by the City (including Component II of this Retirement System) and
the Member is or becomes entitled to accrue pension benefits under such plan or retirement
system (including Component II of this Retirement System) with respect to any period of service
for which he is entitled to accrue a benefit under Component I of this Retirement System, such
Member shall not be eligible to accrue or receive payment of a benefit under Component I with
respect to such period of service.

Sec 18.2. Assignments Prohibited

       The right of a person to a pension, annuity, the return of Accumulated Voluntary
Employee Contributions and/or the return of Accumulated Mandatory Employee Contributions,
the Retirement Allowance itself, to any optional form of benefit, to any other right accrued or
accruing to any person under the provisions of this Retirement System, and the monies in the
various funds of the Retirement System shall not be assignable and shall not be subject to
execution, garnishment, attachment, the operation of bankruptcy or insolvency law, or any other
process of law whatsoever, except as specifically provided in this Combined Plan Document or
by an eligible domestic relations order of a lawful court.

Sec 18.3. Protection Against Fraud

       A person who, with intent to deceive, makes any statements or reports required under this
Retirement System that are untrue, or who falsifies or permits to be falsified any record or
records of this Retirement System, or who otherwise violates, with intent to deceive, any terms
or provisions of the Retirement System, shall be subject to prosecution under applicable law.

Sec 18.4. Conviction of Felony; Forfeiture of Rights

        If a Member or Beneficiary shall be convicted by a court of competent jurisdiction of a
felony or high misdemeanor involving moral turpitude committed during active Service, the
Board shall have the power to order the forfeiture of all rights of the Member or Beneficiary to
benefits hereunder, except the return of the Member’s Accumulated Mandatory Employee
Contributions and Accumulated Voluntary Employee Contributions.

Sec 18.5. Amendment; Termination; Exclusive Benefit

       The City reserves the right to amend the Combined Plan document created hereunder at
any time; such amendments may include termination of the Retirement System; provided,
however, that following the effective date of the Plan of Adjustment, no amendment other than
amendments permitted under the terms of the Plan of Adjustment (including amendments
contemplated in Section K-4(5) of Component II) may be made to the terms, conditions and rules
of operation of the Combined Plan or any successors plan or trust that govern the calculation of
pension benefits, nor may any amendment or termination deprive any Member, former Member
or Beneficiary of any then vested benefit under the Retirement System, except as provided in the



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Plan of Adjustment. Notwithstanding the foregoing, the City and the Board have the authority to
amend the Combined Plan document as necessary to retain the tax qualified status of the
Retirement System under the Internal Revenue Code. The City shall make no amendment or
amendments to the Retirement System which causes any part of the assets of the Retirement
System to be used for, or diverted to, any purpose other than the exclusive benefit of Members,
former Members or their Beneficiaries; provided, that the City may make any amendment
necessary, with or without retroactive effect, to comply with applicable federal law. Any
amendment of the Retirement System by the City must be approved by the Council or a person
standing in the stead of the Council.

       Upon termination of the Retirement System or upon complete discontinuance of
contributions to the Retirement System, the rights of all Members to benefits accrued to the date
of such termination or discontinuance, to the extent then funded, shall be nonforfeitable.

Sec 18.6. Forfeitures Not to Increase Benefits

       Any forfeitures arising under the Retirement System due to a Member’s termination of
employment or death, or for any other reason, shall be used to pay expenses of the Retirement
System and shall not be applied to increase the benefits any Member would otherwise receive
under the Retirement System at any time prior to termination of the Retirement System.

Sec 18.7. Required Distributions - Compliance with Code Section 401(a)(9) and
          Regulations

        The Retirement System will apply the minimum distribution requirements of Code
Section 401(a)(9) in accordance with the final regulations issued thereunder, notwithstanding any
provision in the Combined Plan document to the contrary. Pursuant to Code Section
401(a)(9)(A)(ii), a Member’s interest must begin to be distributed by the later of (i) the April 1 of
the calendar year following the calendar year that he attains the Age of seventy and one-half (70-
1/2), or (ii) April 1 of the calendar year following the year in which he retires. Distributions will
be made in accordance with Regulations Sections 1.401(a)(9)-2 through 1.401(a)(9)-9. The
provisions of this Section 18.7 and the regulations cited herein and incorporated by reference
override any inconsistent plan distribution options.

Sec 18.8. Direct Rollovers

(1)    For purposes of compliance with Code Section 401(a)(31), a distributee may elect, at the
       time and in the manner prescribed by the Board, to have any portion of an eligible
       rollover distribution paid directly to an eligible retirement plan specified by the
       distributee in a direct rollover.

       (a)     For purposes of this Section 18.8, the following terms shall have the following
               meanings:

       (b)     “Direct rollover” means a payment by the Retirement System to an eligible
               retirement plan specified by a distributee.




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      (c)   “Distributee” means a Member or former Member. It also includes the
            Member’s or former Member’s surviving spouse, a spouse or former spouse who
            is the alternate payee under an eligible domestic relations order, or a nonspouse
            beneficiary who is a designated beneficiary as defined by Code Section
            401(a)(9)(E). However, a nonspouse beneficiary may only make a direct rollover
            to an individual retirement account or individual retirement annuity established
            for the purpose of receiving the distribution, and the account or annuity will be
            treated as an “inherited” individual retirement account or annuity.

      (d)   “Eligible retirement plan” means any of the following that accepts a distributee’s
            eligible rollover distribution:

            (i)     a qualified trust described in Code Section 401(a);

            (ii)    an annuity plan described in Code Section 403(a);

            (iii)   an annuity contract described in Code Section 403(b);

            (iv)    an individual retirement account described in Code Section 408(a);

            (v)     an individual retirement annuity described in Code Section 408(b);

            (vi)    a Roth IRA described in Code Section 408A; or

            (vii)   a plan eligible under Code Section 457(b) that is maintained by a state,
                    political subdivision of a state, or any agency or instrumentality of a
                    state or a political subdivision of a state that agrees to separately account
                    for amounts transferred into that plan from the Retirement System.

      (e)   “Eligible rollover distribution” means any distribution of all or any portion of the
            balance to the credit of a distributee under the Retirement System, except that an
            eligible rollover distribution does not include: any distribution that is one of a
            series of substantially equal periodic payments (not less frequently than annually)
            made for the life (or the life expectancy) of the distributee or the joint lives (or
            joint life expectancies) of the distributee and the distributee’s designated
            beneficiary, or for a specified period of ten years or more; any distribution to the
            extent such distribution is required under Code Section 401(a)(9); the portion of
            any distribution that is not includible in gross income; and any other distribution
            which the Internal Revenue Service does not consider eligible for rollover
            treatment, such as any distribution that is reasonably expected to total less than
            $200 during the year. Notwithstanding the foregoing, a portion of a distribution
            will not fail to be an “eligible rollover distribution” merely because the portion
            consists of after-tax contributions that are not includible in Member’s gross
            income upon distribution from the Retirement System. However, such portion
            may be transferred only (i) to an individual retirement account or annuity
            described in Code Section 408(a) or (b) or to a qualified defined contribution plan
            described in Code Section 401(a) that agrees to separately account for amounts so
            transferred (and earnings thereon), including separately accounting for the portion



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              of the distribution that is includible in gross income and the portion of the
              distribution that is not so includible; (ii) to a qualified defined benefit plan
              described in Code Section 401(a) or to an annuity contract described in Code
              Section 403(b) that agrees to separately account for amounts so transferred (and
              earnings thereon), including separately accounting for the portion of the
              distribution that is includible in gross income and the portion of the distribution
              that is not so includible; or (iii) to a Roth IRA described in Code Section 408A.

Sec 18.9. Construction

        Words in the singular should be read and construed as though used in the plural, and
words in the plural should be read and construed as though used in the singular, where
appropriate. The words “hereof”, “herein”, and “hereunder” and other similar compounds of the
word “here”, shall mean and refer to Component I of this Combined Plan document and not to
any particular provision or section thereof. The table of contents, article and section headings
are included for convenience of reference, and are not intended to add to, or subtract from, the
terms of the Combined Plan document or the Retirement System created hereunder.

Sec 18.10. Severability

        If any section or part of a section of this Combined Plan document or provision relating
to the Retirement System is for any reason held to be invalid or unconstitutional, such holding
shall not be construed as affecting the validity of the remaining sections of the Combined Plan
document or Retirement System or of the Combined Plan document or Retirement System in its
entirety.




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                 PRINCIPAL TERMS OF NEW PFRS ACTIVE PENSION PLAN




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               NEW PFRS ACTIVE PENSION PLAN -- MATERIAL TERMS


   1.    Benefit Formula for all employees is Final Average Compensation (average base
         compensation over last 5 consecutive years of employment) x Years of Service
         earned after June 30, 2014 x 2.0%. Average base compensation means no overtime,
         no unused sick leave, no longevity or any other form of bonus – just employee's base
         salary.

   2.    Actual time for benefit accrual is actual time served. For vesting service, 1,000 hours
         in a 12 month period to earn a year of service.

   3.    Normal Retirement Age for all employees is age 50 with 25 years of service, with the
         following 7 year transition period:

                    Fiscal Year                   Age and Service
                    2015                          Age 43 and 20 years
                    2016                          Age 43 and 20 years
                    2017                          Age 44 and 21 years
                    2018                          Age 45 and 22 years
                    2019                          Age 46 and 23 years
                    2020                          Age 47 and 24 years
                    2021 and thereafter           Age 50 and 25 years

   4.    10 Years of Service for vesting.

   5.    Deferred vested pension -- 10 years of service and age 55 for reduced benefit; 10
         years of service and age 62 for unreduced benefit.

   6.    Duty Disability - consistent with current PFRS

   7.    Non-Duty Disability – consistent with current PFRS

   8.    Non-Duty Death Benefit for Surviving Spouse – consistent with current PFRS

   9.    Duty Death Benefit for Surviving Spouse – consistent with current PFRS

   10.   COLA: 1% compounded, variable

   11.   DROP Accounts will be available for existing and future accrued benefits for
         employees who are eligible to retire under concurrent eligibility requirements. No
         more than 5 years of DROP participation (both for Old PFRS and New PFRS) for
         employees not already in DROP. DROP accounts will be managed by the PFRS
         instead of ING, if administratively and legally feasible. If managed by PFRS, interest
         will be credited to DROP accounts at a rate equal to 75% of the actual net investment
         return of PFRS, but in no event lower than 0% or higher than 7.75%.




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   12.   Annuity Savings Fund – employees may make voluntary Annuity Savings Fund
         contributions up to 10% of total after-tax pay. Interest will be credited at the actual
         net investment rate of return for PFRS, but will in no event be lower than 0% or
         higher than 5.25%. No in-service withdrawals permitted. An employee represented
         by the Detroit Police Officers Association may elect to contribute up to 100% of the
         amount paid to him or her by the City for accumulated sick leave in excess of 400
         hours.

   13.   Investment Return/Discount rate – 6.75%

   14.   City Contributions

         a. Detroit Fire Fighters Association Employees
                i. 11.2% of the base compensation of eligible employees for payroll periods
                    beginning prior to the effective date of the collective bargaining agreement
                    and 12.25% of the base compensation of eligible employees for payroll
                    periods beginning after the effective date of the collective bargaining
                    agreement. A portion of such contribution will be credited to a rate
                    stabilization fund.

         b. Detroit Police Command Officers Association Employees
                i. 12.25% of the base compensation of eligible employees. A portion of
                    such contribution will be credited to a rate stabilization fund.

         c. Detroit Police Officers Association Employees
                i. 11.2% of the base compensation of eligible employees for payroll periods
                    beginning prior to the effective date of the collective bargaining agreement
                    and 12.25% of the base compensation of eligible employees for payroll
                    periods beginning after the effective date of the collective bargaining
                    agreement. A portion of such contribution will be credited to a rate
                    stabilization fund.

         d. Detroit Police Lieutenants and Sergeants Association Employees
                i. 12.25% of the base compensation of eligible employees. A portion of
                    such contribution will be credited to a rate stabilization fund.

   15.   Employee Contributions – Employees hired before July 1, 2014 (current actives) will
         contribute 6% of base compensation (pre-risk shifting); employees hired on or after
         July 1, 2014 (new employees) will contribute 8% of base compensation (pre-risk
         shifting). Maximum employee contributions of 10% (current actives) and 12% (new
         employees).

   16.   Risk Shifting:

         a. If the funding level is less than 90% (using the fair market value of assets),
            COLAs will be eliminated (to the extent applicable).




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         b. If the funding level is 90% or lower (using the fair market value of assets and a 3-
            year look back period), the following corrective actions will be taken in the order
            listed below, until the actuary can state that by virtue of the use of corrective
            action, and a 6.75% discount rate and return assumption, the funding level is
            projected to be 100% on a market value basis within the next 5 years:

                  i. eliminate COLAs (if applicable);
                 ii. use amounts credited to the rate stabilization fund to fund accrued benefits;
               iii. increase employee contributions by 1% per year (6% to 7% for current
                     actives and 8% to 9% for new employees) for up to 5 years;
                iv. increase employee contributions (active and new employees) by an
                     additional 1% per year;
                 v. increase employee contributions (active and new employees) by an
                     additional 1% per year;
                vi. implement a 1 year COLA fallback;
               vii. implement a second 1 year COLA fallback;
              viii. increase employee contributions by an additional 1% per year; and
                ix. increase City contributions consistent with applicable actuarial principles
                     and PERSIA.




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                             PRIOR GRS PENSION PLAN




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             COMBINED PLAN
                FOR THE
      GENERAL RETIREMENT SYSTEM
                 OF THE
       CITY OF DETROIT, MICHIGAN

                 Amendment and Restatement Effective July 1, 2014




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 ARTICLE A. COMMON PROVISIONS OF THE GENERAL RETIREMENT SYSTEM

Sec. A-1. Common Provisions

        Certain provisions of the Combined Plan for the General Retirement System of the City
of Detroit, Michigan described below are common to both Component I and this Component II
as in effect July 1, 2014. Those provisions are set forth in the following Sections of Component
I:

(a)    Article I (General Provisions);

(b)    Article II (Definitions):

       Actuarial Equivalent or Actuarially Equivalent

       Actuarially Equivalent Value

       Administrative Rules and Regulations

       Age; Attainment of

       Board of Trustees or Board or Retirement Board

       City

       City Council or Council

       Combined Plan

       Component I

       Component II

       Employer

       Fiscal Year

       General Retirement System or Retirement System

       Internal Revenue Code or Code

       Investment Committee

       Member

       Notice to Members, Beneficiaries and Retirees;

       Plan Actuary or Actuary;




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      Plan Document or Combined Plan Document;

      Plan of Adjustment;

      Plan Year;

      Spouse; and

      Straight Life Retirement Allowance;

(c)   Article 12 (Limitation on Benefits and Contributions);

(d)   Article 13 (Retirement System Administration);

(e)   Article 14 (Management of Funds);

(f)   Article 15 (Investment of Retirement System Assets); and

(g)   Article 17 (Miscellaneous).




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 ARTICLE B. FREEZE OF GENERAL RETIREMENT SYSTEM AS OF JUNE 30, 2014

Sec. B-1. Freeze of Eligibility and Benefits Under General Retirement System

      Notwithstanding anything in Articles I, II, III, or IV of Chapter 47 of the 1984 Detroit
City Code or this Combined Plan for the General Retirement System of the City of Detroit,
Michigan to the contrary, effective as of June 30, 2014 (the “Freeze Date”):

(a)    No new employee hired by an Employer on or after July 1, 2014 shall become a Member
       who is eligible to accrue a benefit under the terms of the General Retirement System in
       effect as of the Freeze Date;

(b)    No employee who is rehired by an Employer on or after July 1, 2014 shall become a
       Member who is eligible to accrue either a benefit or service credit for any purpose under
       the terms of the General Retirement System in effect as of the Freeze Date; provided,
       however, that a Member who is entitled to a Frozen Accrued Benefit as defined in
       subsection (c) of this Section B-1 and who is rehired by an Employer on or after July 1,
       2014 but prior to the date the Member incurs a six-year break in service shall be eligible
       to accrue service credit following rehire solely for the purpose of determining the
       Member’s vesting in and eligibility for payment of his Frozen Accrued Benefit;

(c)    Benefit accruals for Members with respect to service rendered prior to July 1, 2014 will
       be frozen based on a Member’s years of service, Average Final Compensation, and the
       pension multiplier formulae in effect as of such Freeze Date under the terms of the
       General Retirement System (“Frozen Accrued Benefit”);

(d)    Except as otherwise provided in subsection (e) of this Section B-1, compensation of a
       Member shall be frozen effective as of the Freeze Date for purposes of determining the
       Member’s Frozen Accrued Benefit. No compensation of any type earned by a Member
       after the Freeze Date shall be taken into consideration for purposes of determining the
       Member’s Frozen Accrued Benefit under the General Retirement System;

(e)    Any Member who, as of June 30, 2014, would have been eligible to elect to use a portion
       of his unused accrued sick leave to increase his Average Final Compensation (“Sick
       Leave Rollover”) if the Member had been eligible to retire and had elected to retire as of
       June 30, 2014, shall have a one-time election (“Special Election”) to add the value of
       twenty-five percent (25%) of the Member’s unused sick leave accrued for purposes of the
       Sick Leave Rollover in accordance with the terms of the applicable collective bargaining
       agreement, City Employment Terms or Detroit Code of Ordinance to the earnings used in
       computing Average Final Compensation for purposes of determining the Member’s
       Frozen Accrued Benefit; provided, however, that at least twenty-five percent (25%) of
       the Member’s sick leave accrued for purposes of the Sick Leave Rollover in accordance
       with the terms of the applicable collective bargaining agreement, City Employment
       Terms or Detroit Code of Ordinance remains in the Member’s sick leave bank at the time
       the completed Special Election form is received by the Retirement System and, provided
       further that the completed Special Election form is received by the Retirement System no
       later than August 22, 2014 or, if later, the date set forth in a collective bargaining



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       agreement between the City and a union whose members are eligible to make a Special
       Election. A Member’s Special Election shall be made in the manner set forth by the
       Board of Trustees and the Retirement System. A Member may revoke a Special Election,
       as long as such revocation occurs on or before the latest date upon which such Member is
       permitted to make a Special Election. Notwithstanding anything in this subsection (e) to
       the contrary, a Member’s Special Election will be void and the determination of the
       Member’s Average Final Compensation for purposes of calculating the Member’s Frozen
       Accrued Benefit will not take into account any of the Member’s unused sick leave, if (i)
       the electing Member would not have been eligible to receive an immediate service
       retirement if he retired as of June 30, 2014, and (ii) the electing Member’s employment
       with an Employer is terminated before the electing Member becomes eligible for an
       immediate service retirement under the Retirement System;

(f)    Service earned after the Freeze Date shall be credited to a Member solely for purposes of
       determining the Member’s vesting in and eligibility for payment of his or her Frozen
       Accrued Benefit. Service credit for all Members for benefit accrual purposes under the
       terms of the General Retirement System in effect as of the Freeze Date shall be frozen
       effective as of the Freeze Date and no Member shall earn service credit with respect to
       benefits payable under the terms of the General Retirement System in effect as of the
       Freeze Date (except for vesting and benefit payment eligibility purposes) after the Freeze
       Date; and

(g)    No Member shall make contributions to the Annuity Savings Fund under the General
       Retirement System in effect as of June 30, 2014 with respect to wages earned on or after
       the earliest date following June 30, 2014 that the City’s payroll department can
       implement the freeze. All after tax contributions made on or after the date referenced in
       the preceding sentence shall be made to and in accordance with the terms of Component I
       of the Combined Plan.

        The foregoing terms shall be referred to as the “Freeze” of the provisions of the General
Retirement System as in effect on the Freeze Date and the provisions of Articles I, II, III, or IV
of Chapter 47 of the 1984 Detroit City Code and this Component II of the Combined Plan shall
be interpreted and construed by the Board of Trustees and the Retirement System to give full
effect to the Freeze. To the extent that a conflict arises between this Section B-1, the provisions
in Chapter 47, or any collective bargaining agreement or other document governing the terms of
employment of any employee, the Board of Trustees and the Retirement System are directed to
interpret any inconsistency or ambiguity to give full effect to the Freeze.




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                                  ARTICLE C. DEFINITIONS

Sec. C-1. Definitions

        Unless a different meaning is plainly required by context, for purposes of this Component
II the following words and phrases have the meanings respectively ascribed to them by this
Section C-1:

       (1)    Accrued Service means a Member’s credited service for employment rendered
              before July 1, 2014.

       (2)    Accumulated Contributions means the sum of all amounts deducted from the
              compensation of a Member and credited to the Member’s individual account in
              the Annuity Savings Fund, together with regular interest thereon.

       (3)    Annuity means the portion of the retirement allowance which is paid for by a
              Member’s accumulated contributions.

       (4)    Annuity Reserve means the present value of all payments to be made on account
              of any annuity or benefit in lieu of any annuity. Such annuity reserve shall be
              computed upon the basis of such mortality tables and regular interest as shall be
              adopted by the Board.

       (5)    Average Final Compensation means:

              a.        On or before June 30, 1992. For those Members who retired or separated
                        from active service with vested pension rights on or before June 30, 1992,
                        the highest average compensation received by a Member during any
                        period of five consecutive years of credited service selected by the
                        Member from the ten years of credited service which immediately
                        preceded the date of the Member’s last termination of City employment.
                        If a Member has less than five years of credited service, the Average Final
                        Compensation shall be the average of the annual compensation received
                        during the Member’s total years of credited service.

              b.        On or after July 1, 1992 but before July 1, 1998. For those Members who
                        retired or separated from active service with vested pension rights on or
                        after July 1, 1992 but before July 1, 1998, the highest average
                        compensation received by a Member during any period of four
                        consecutive years of credited service during the ten years of credited
                        service which immediately preceded the date of the Member’s last
                        termination of City employment. If a Member has less than four years of
                        credited service, the Average Final Compensation shall be the average of
                        the annual compensation received during the Member’s total years of
                        credited service.

              c.        On or after July 1, 1998. For those Members who retire or separate from
                        active service with vested pension rights on or after July 1, 1998, the



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                   highest average compensation received by a Member during any period of
                   three consecutive years of credited service during ten years of credited
                   service which immediately precede the date of the Member’s last
                   termination of City employment. If a Member has less than three years of
                   credited service, the Average Final Compensation shall be the average of
                   the annual compensation received during the Member’s total years of
                   credited service.

            d.     Sick Leave Election. For those nonunion Members with a regular or early
                   service retirement who retire on or after July 1, 1999, in computing the
                   highest average compensation received by a Member, the Member shall
                   have the option of adding the value of twenty-five percent (25%) of the
                   Member’s unused accrued sick leave at the time of retirement to the
                   earnings used in computing the Average Final Compensation. Bargaining
                   unit members who retire on or after July 1, 1999 and prior to July 1, 2014
                   shall have the Unused Sick Leave On Retirement benefit provided for in
                   the applicable bargaining agreement. For any Member choosing to
                   exercise this option, the lump sum payment the Member will receive will
                   be the remaining value of the unused accrued sick leave bank as provided
                   in the bargaining agreement.

      (6)   Beneficiary means any person or persons (designated by a Member pursuant to
            procedures established by the Board) who are entitled to receive a retirement
            allowance or pension payable from funds of the General Retirement System due
            to the participation of a Member.

      (7)   Compensation means:

            a.     On or before June 30, 1992. For those Members retired or separated from
                   active service with vested pension rights, on or before June 30, 1992, all
                   remuneration, excluding longevity payments, paid to a Member because of
                   personal services rendered by the Member to the Employer.
                   Compensation in excess of the limitations set forth in Section 401(a)(17)
                   of the Internal Revenue Code shall be disregarded.

            b.     On or after July 1, 1992. For those Members who retire on or after July 1,
                   1992, all remuneration, including longevity payments, paid to a Member
                   because of personal services rendered by the Member to the Employer.
                   Compensation in excess of the limitations set forth in Section 401(a)(17)
                   of the Internal Revenue Code shall be disregarded.

      (8)   Conversion means that date on which a Member’s benefits change from disability
            retirement benefits to normal retirement benefits.

      (9)   Credited Service means membership service credited to a Member to the extent
            provided in this Component II.




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       (10)   Final Compensation means a Member’s annual rate of compensation at the time
              employment with all Employers is last terminated.

       (11)   Pension means, for purposes of this Component II, the portion of a retirement
              allowance which is paid for by appropriations made by the Employers into the
              appropriate funds.

       (12)   Pension Reserve means the present value of all payments to be made on account
              of any pension, or benefit in lieu of any pension. Such pension reserve shall be
              computed upon the basis of such mortality and other tables of experience, and
              regular interest, as shall be adopted by the Board.

       (13)   Regular Interest means such rate or rates per annum, compounded annually, as
              the Board of Trustees shall determine in accordance with the limitations contained
              in Section E-16 of this Component II.

       (14)   Retiree means a former Member who is receiving a retirement allowance from
              Component II of the Retirement System.

       (15)   Retirement means a Member’s withdrawal from the employ of the Employers
              with a retirement allowance or pension paid by Component II of the Retirement
              System.

       (16)   Retirement Allowance means the sum of the annuity and the pension.

       (17)   Service means personal services rendered to the Employer by a person as an
              employee of the Employer, provided such person is compensated by the Employer
              for such personal services.

       (18)   Service credit for purposes of the 1973 Defined Benefit/Defined Contribution
              (Annuity) Plan means that, in accordance with such rules and regulations as the
              Board shall adopt, each Member shall be credited with service as follows: (1) One
              month of service credit is earned when the Member is paid for eighty hours of
              work during the month; (2) A full year of credit is earned for nine months of
              credit in any calendar year, except the Member’s last year of work, which service
              credit shall be determined as of the Member’s last day on the Employer’s payroll.
              Less than nine months of service rendered in a calendar year shall neither be
              credited as a full year of service, nor shall more than one year of service be
              credited to any Member for service rendered in any one calendar year. Service
              credit is used to determine eligibility for service retirement, vesting, non-duty
              disability and survivor benefits. Service credit is also earned by a Member while
              retired on a duty disability or while receiving Workers’ Compensation benefits.

     The following terms shall have the meanings given to them in the Sections of this
Component II set forth opposite such term:

2023 UAAL Amortization                                            Section G-4(3)a
Accrued Liability Fund                                            Section E-18(d)



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Actual Return                                                Section G-2(5)
Adjusted Accrued Benefit                                     Section G-1(1)a
Adjusted Deferred Accrued Benefit                            Section G-1(1)b
Annuity Reserve Fund                                         Section E-18(b)
Annuity Savings Fund Excess Amount                           Section G-2(1)
Annuity Savings Fund of the 1973 Defined Contribution Plan   Section E-18(a)
ASF                                                          Section G-2
ASF account                                                  Section G-2(1)
ASF Recalculation Period                                     Section G-2
ASF Excess Return                                            Section E-16(c)
ASF Recoupment                                               Section G-1(1)(c)
Cash Option Cap                                              Section G-2(4)
Cash Repayment Option                                        Section G-2(4)
Certificate of Default                                       Section G-3(7)
COLA                                                         Section G-4
Determination Date                                           Section E-18
Eligible Pensioner                                           Section G-3(5)
Estimated Adjusted Annual Household Income                   Section G-3(3)b
Excess Assets                                                Section G-3(7)
Expense Fund                                                 Section E-18(f)
Extra Contribution Account                                   Section G-4(3)b
Federal Poverty Level                                        Section G-3(6)
Final Payment Notice                                         Section G-2(4)
Freeze                                                       Section B-1
Freeze Date                                                  Section B-1
Frozen Accrued Benefit                                       Section B-1(c)
Funded Level                                                 Section G-4(2)
Funding Conditions                                           Section G-1(1)a
Funding Proceeds                                             Section E-18(d)
Funding Target                                               Sections G-4(2)a, G-4(3)a,
                                                             G-4(4)a
Governor                                                     Section G-4(5)
IME                                                          Section E-5(a)
Income Fund                                                  Section E-18(g)
Income Stabilization Benefit                                 Section G-3(2)
Income Stabilization Benefit Plus                            Section G-3(3)
Income Stabilization Fund                                    Section G-3(4)
Monthly Annuity Savings Fund Excess Amount                   Section G-2(2)
Option “A”. Joint and Seventy-Five Percent Survivor
       Allowance                                             Section E-8(a)
Option “B”. Joint and Twenty-Five Percent Survivor
       Allowance                                             Section E-8(a)
Option One. Cash Refund Annuity                              Section E-8(a)
Option Three. Joint and Fifty Percent Survivor
       Allowance                                             Section E-8(a)
Option Two. Joint and One Hundred Percent Survivor




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        Allowance                                      Section E-8(a)
Participant Loan Program                               Section F-1
Pension Accumulation Fund                              Section E-18(c)
Pension Funding Transaction                            Section E-18(d)
Pension Improvement Factor (Escalator)                 Sections E-15, G-1(2)
Pension Reserve Fund                                   Section E-18(e)
Pension Restoration Agreement                          Section G-4
Permanent Restoration Target                           Section G-4(2)g, G-4(3)a,
                                                       G-4(4)a
Pop-up Form                                            Section E-8(b)(2)
Restoration Reserve Account                            Section G-4(2)a
Restoration Reserve Suspension Trigger                 Sections G-4(2)g, G-4(3)a,
                                                       G-4(4)a
Restoration Target                                     Sections G-4(2)a, G-4(3)a,
                                                       G-4(4)a
Sick Leave Rollover                                    Section B-1(e)
Special Election                                       Section B-1(e)
Standard Form                                          Section E-8(b)(1)
Straight Life Retirement Allowance                     Section E-8(a)
Transition Cost                                        Section E-16(c)
UAAL                                                   Sections E-18(d), G-4
Waterfall Classes                                      Section G-4(1)




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                              ARTICLE D. SERVICE CREDIT

Sec. D-1. Service Credit

       The Board shall keep an accurate record of each employee’s accumulated service credit
from the date of commencement of employment with the Employers.

Sec. D-2. Service Credit; Former Employees of the Founder’s Society—Detroit Institute of
          Arts

        Pursuant to Section 6-519 of the 1974 Detroit City Charter, and for the sole purpose of
computing service credit to determine eligibility for a retirement allowance from the General
Retirement System, a person who was inducted into the classified service of the City during the
calendar year 1984 as a result of the transfer of certain functions at the Detroit Institute of Arts
from The Founder’s Society/Detroit Institute of Arts to the City, shall be credited with service
credit equivalent to continuous time worked as a full time employee of the Founder’s
Society/Detroit Institute of Arts retroactive to January 1, 1984. Such Founder’s Society/Detroit
Institute of Arts service credit shall have no effect upon the amount of retirement benefits paid
by the General Retirement System. Such Founder’s Society/Detroit Institute of Arts service
credit shall be added to the service credit earned as a City employee only for purposes of meeting
service credit eligibility requirements under the General Retirement System. The Board of
Trustees of the General Retirement System shall make all determinations of crediting of such
Founder’s Society/Detroit Institute of Arts service credit in accordance with the provisions of
this Component II of the Combined Plan.

Sec. D-3. Service Credit; Transfer to Other Governmental Service

       A Member transferred from the City payroll by his or her department head to the payroll
of any City, county, state, or federal government to serve the interests of the City during peace
time shall continue to be a Member of the Retirement System for purposes of service credit in
accordance with the ordinance or resolution passed to implement such transfer.

Sec. D-4. Service Credit; Military Service

        An Employee of the Employer who enters the military service of the United States while
so employed shall have such service credited as City service for purposes of this Component II in
the same manner as if the employee had served the employer without interruption, provided that
(1) the employee’s entry into such service and re-employment thereafter shall be in accordance
with applicable laws, ordinances, and regulations of the State of Michigan and the City, and (2)
he or she is re-employed by the Employer upon completion of such service. During the period of
service and until return to City employment, his or her contributions to the fund shall be
suspended and the fund balance shall be accumulated at regular interest.

Sec. D-5. Service Credit; Qualified Military Service (Pre-Employment Service)

(a)    Notwithstanding any provision of this Component II to the contrary, contributions,
       benefits, and service credit with respect to qualified military service, shall be provided in
       accordance with Section 414(u) of the Internal Revenue Code. Up to three years of pre-



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      employment service credit may be purchased prior to June 30, 2014 for the following
      periods: service for a period of not less than ninety days between (1) the date of
      declaration of war by Congress and the recognized date of cessation of military
      hostilities; (2) the onset of World War II on December 8, 1941 to its conclusion on July
      1, 1946; (3) the onset of the Korean Conflict on June 27, 1950 to its conclusion on
      December 31, 1953; (4) the onset of the Vietnam Conflict on February 28, 1961 to its
      conclusion on May 7, 1975, or (5) beginning on the date of the recognition of an
      emergency condition by the issuance of a presidential proclamation or a presidential
      executive order, during which emergency condition the Member received the Armed
      Forces Expeditionary or other Campaign Service Medal authorized by the Federal
      Government for the Expedition or Campaign.

(b)   This time may be applied toward a Member’s credited service and may be used in
      meeting the minimum time needed for an automatic Option Two or automatic Option
      Three pension.

(c)   This time shall not apply toward meeting the minimum service and age requirements for
      vesting, for a non-duty disability pension, or for a service pension.




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  ARTICLE E. DEFINED BENEFIT/DEFINED CONTRIBUTION (ANNUITY) PLAN
                       OF THE GENERAL RETIREMENT SYSTEM

Sec. E-1. Membership

       The membership of the General Retirement System 1973 Defined Benefit/Defined
Contribution (Annuity) Plan – Component II of the Combined Plan - shall consist of all persons
who are full time employees of the Employer except:

(a)    persons who are members of the Police and Fire Retirement System of the City of
       Detroit, Michigan, established under Title IX, Chapter VII of the 1918 Detroit City
       Charter and continued in the 1974, 1997 and 2012 Detroit City Charters and as continued
       in the form of the Combined Plan for the Police and Fire Retirement System for the City
       of Detroit, Michigan, effective July 1, 2014 and as thereafter amended;

(b)    persons who are hired or rehired by an Employer on or after July 1, 2014; and

(c)    Any person who is a member of any other public employee pension or retirement plan
       adopted by the State of Michigan, other than the Michigan National Guard, or by any
       other political subdivision of the State of Michigan.

        Special Service employees who worked more than fourteen hundred forty (1440) hours
per Fiscal Year ending on or before June 30, 2014 will be eligible to participate in Component II
of the Retirement System.

Sec. E-2. Cessation of Membership; Re-Employment by the Employer

(a)    Any Member who retires under Section E-3(a), (b), or (c), or dies, shall have a non-
       forfeitable right to a benefit.

(b)    With respect to persons not on the active payroll prior to October 1, 2005, the following
       provisions of this subsection shall apply:

       (1)    Except as otherwise provided for in this Component II, if any non-vested Member
              leaves City employment for any reason other than retirement or death, such
              person shall thereupon cease to be a Member and his or her credited service at
              that time shall be forfeited. In the event of re-employment by the City prior to
              July 1, 2014, such person shall again become a Member of the Retirement System
              and shall accrue benefits pursuant to Component II of the Combined Plan. In the
              event of reemployment by the employer on or after July 1, 2014, such person shall
              again become a Member of the Retirement System and shall accrue benefits
              pursuant to Component I of the Combined Plan. If re-employment occurs prior to
              July 1, 2014 and within a period of six (6) years from and after the date City
              employment last terminated, credited service last forfeited shall be restored to the
              employee’s credit for purposes of accruing a benefit after re-employment.




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      (2)    With respect to persons on the active payroll on or after October 1, 2005, re-
             employment prior to July 1, 2014 shall restore any previously forfeited service
             credit notwithstanding the time of re-employment.

(c)   Vested former employees rehired prior to receiving pension benefits and prior to July 1,
      2014.

      (1)    Former employees who are vested but have not yet begun to receive pension
             benefits who are rehired prior to July 1, 2014 and prior to being separated for six
             (6) years shall have their pensions calculated in accordance with the rules in effect
             at the earlier of (i) the time of their last termination of active service or retirement
             and (ii) June 30, 2014.

      (2)    Former employees who are vested but have not begun to receive pension benefits
             and are rehired after July 1, 1992 but prior to July 1, 2014 and after being
             separated for more than six (6) years who accumulate enough service credit to be
             eligible for a second pension shall be entitled to two (2) separate and distinct
             pensions, each to be calculated in accordance with the rules in effect at the earlier
             of (i) the time of each separation from service and (ii) June 30, 2014.

      (3)    An employee who becomes eligible to collect his or her previously vested pension
             while still working, shall not be eligible to receive his or her vested pension but
             will be entitled to have the pension improvement factor earned through June 30,
             2014 added to the vested amount of the original pension for payment when the
             employee eventually retires. The basic pension amount of twelve dollars ($12.00)
             per year for up to ten (10) years will only be included on the employee’s original
             pension.

(d)   Vested former employees rehired prior to receiving pension benefits and on or after
      July 1, 2014.

      (1)    Former employees who are vested but have not yet begun to receive pension
             benefits who are rehired prior to being separated for six (6) years and on or after
             July 1, 2014 shall have their Component II pension calculated in accordance with
             the rules in effect on June 30, 2014 and their Component I pension calculated in
             accordance with the rules in effect at the time of their last termination of active
             service or retirement.

      (2)    Former employees who are vested but have not begun to receive pension benefits
             and are rehired after July 1, 2014 after being separated for more than six (6) years
             who accumulate enough service credit to be eligible for a Component I pension
             shall be entitled to two (2) separate and distinct pensions under Component I and
             Component II, each to be calculated in accordance with the rules in effect at the
             time of each separation from service.

      (3)    An employee who becomes eligible to collect his or her previously vested pension
             while still working, shall not be eligible to receive his or her vested pension but
             will be entitled to have the pension improvement factor added to the vested


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             amount of the original pension for payment when the employee eventually retires.
             The basic pension amount of twelve dollars ($12.00) per year for up to ten (10)
             years will only be included on the employee’s original pension.

(e)   Retirement benefits for retirees who return to active full time employment prior to July 1,
      2014.

      (1)    Retirees who return to work will have their pension benefit amount suspended
             upon re-employment. However, retirees who have not withdrawn the amounts
             credited to their defined contribution account shall be entitled to continue to
             receive the monthly annuity from the 1973 Defined Contribution Plan. The
             pension improvement factor shall continue to be added to the vested amount of
             the original pension but shall not be paid on the defined benefit amount until the
             employee again separates from service.

      (2)    Retirees who return to work prior to July 1, 2014 will be entitled to receive a
             second pension benefit in accordance with the rules in effect at the earlier of (1)
             their final separation, or (ii) June 30, 2014, with respect to service credit earned
             after the retiree returns to active employment. Previous service credit will be used
             to determine the retirement factors that will be credited to service time earned
             after return to active employment and used to calculate the new pension amount.

      (3)    Average Final Compensation will be based upon the amounts earned after the
             retiree returns to work through the earlier of (1) their final separation and (ii) June
             30, 2014.

      (4)    Employees who retire under this Section E-2(e) for a second time will not be
             allowed to change the original option selection with respect to the original
             pension benefit. However, employees may make a separate option selection on
             their second pension benefit amount.

      (5)    The basic pension amount of twelve dollars ($12.00) per year for up to ten (10)
             years will be included only on the employee’s original pension.

      (6)    The coordination of benefits (equated Social Security) option will not be available
             on a second pension amount.

      (7)    If a retiree who returns to work and dies while working, had an accumulated
             combined total service time of at least twenty years, the employee’s Spouse will
             be eligible for automatic Option Two benefits, notwithstanding the option form of
             retirement originally elected.

      (8)    If a retiree who returns to work and dies while working had an accumulated
             combined total service time of at least fifteen years but less than twenty years, the
             employee’s Spouse will be eligible for automatic Option Three benefits,
             notwithstanding the option form of retirement originally elected.




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      (9)    If the employee returns to work and dies prior to accumulating a combined total
             of fifteen years of service credit, the original pension and benefit option chosen
             shall resume unless the employee had chosen the Straight Life Option which
             would result in no survivor pension benefits.

      (10)   The Board of Trustees will determine all entitlements for re-employed individuals
             on a case by case basis consistent with this section and will resolve all issues
             based upon special circumstances or unique situations.

Sec. E-3. Service Retirement

(a)   Retirement after thirty years of service. Any Member hired prior to January 1, 1996 who
      has accumulated at least thirty or more years of credited service regardless of age, or, for
      any Member who was hired on or after January 1, 1996 and who has accumulated at least
      thirty or more years of credited service and has attained age fifty-five, may retire upon
      written application filed with the Board setting forth the date on which the Member
      desires to be retired. The date of retirement shall be effective on the first day following
      the Member’s last day on City payroll. Upon retirement, the Member shall receive a
      retirement allowance as provided in Section E-4 of this Component II of the Combined
      Plan.

(b)   Retirement after twenty-five years of service. Any Employee who is covered by the
      provisions of this Component II and who is a member of the International Union of
      Operating Engineers IUOE Local 324 (Principal Clerks), the International Brotherhood
      of Teamsters Teamster Local 214, the Police Officers Association of Michigan, or the
      Emergency Medical Service Officers Association, who on July 1, 1995, or later has
      twenty-five (25) or more years of credited service may retire upon his or her written
      application filed with the Board of Trustees setting forth the date on which the Member
      desires to be retired. The date of retirement shall be effective on the first day following
      the Member’s last day on City payroll. Upon retirement the Member shall receive a
      Retirement Allowance as provided in Section E-4 of this Component II of the Combined
      Plan.

(c)   Retirement at age sixty-five with eight years of service; at age sixty with ten years of
      service.

      (1)    Sixty-five and eight. Any Member who has attained sixty-five years of age and
             has at least eight years of credited service may retire upon written application
             filed with the Board setting forth an anticipated retirement date.

      (2)    Sixty and ten. Any Member who has attained sixty years of age and has at least
             ten years of credited service may retire upon written application filed with the
             Board setting forth an anticipated retirement date.

      The date of retirement shall be effective on the first day following the Member’s last day
      on City payroll. Upon retirement, the former Member shall receive the retirement
      allowance provided for in Section E-4 of this Component II of the Combined Plan.




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(d)   Conversion of Duty-Disability benefit to Retirement Allowance.

      (1)    Retirees who are members of the Emergency Medical Service Officers
             Association or the Police Officers Association of Michigan and who began
             receiving a Duty Disability Pension after July 1, 1995 may choose to convert to a
             service retirement at the time they would have had twenty-five (25) years of
             service with the City.

(e)   Retirement after twenty-five years of service without attaining age sixty years; reduced
      pension.

      (1)    Early retirement. Any Member of the Retirement System who is on the payroll
             on or after July 1, 1992, and who has twenty-five years of credited service and has
             not attained sixty years of age, shall have the option of early retirement by
             accepting an actuarially reduced retirement allowance as determined by the Board
             after consultation with the Plan Actuary, notwithstanding the age of the Member
             who elects early retirement; provided however that any Member hired by an
             Employer on or after January 1, 1996 must have twenty-five years of credited
             service and have attained age fifty-five to have such early retirement option. Said
             election shall be made within ninety days of separation from City service.
             Actuarial tables provided by the Plan Actuary shall always provide this actuarially
             reduced retirement allowance at no cost to the employee.

             Notwithstanding the foregoing, any Member hired by an Employer on or after
             January 1, 1996 who has twenty-five years of credited service and has attained
             age fifty-five shall have the option of early retirement by accepting

      (2)    Fringe benefits. Employees utilizing the early retirement provision in Section E-
             3(e)(1) will not be entitled to the fringe benefits, if any, accruing to employees
             who qualify for a normal service retirement until such time as they would have
             qualified for a normal service retirement under Section E-3(a) or (b) of this
             Component II of the Combined Plan.

(f)   Vested retirement allowance; age forty and eight years of service; ten years of service
      regardless of age.

      (1)    Eligibility.

             a.      Any Member hired before July 1, 1980 who has reached forty years of age
                     and has acquired eight or more years of credited service shall be eligible to
                     receive benefits provided by Section E-3(f)(2) of this Component II of the
                     Combined Plan.

             b.      Any Member hired on or after July 1, 1980 who has acquired ten years of
                     credited service shall be eligible to receive the benefits provided by
                     Section E-3(f)(2) of this Component II of the Combined Plan, regardless
                     of age.




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            c.     Any non-union Member hired on or after July 1, 1980 but before March
                   31, 1992 who has acquired ten years of credited service regardless of age
                   or has reached age forty with eight or more years of credited service,
                   whichever is earlier, shall be eligible to receive benefits provided by
                   Section E-3(f)(2) of this Component II of the Combined Plan.

      (2)   Benefits.

            a.     Any Member described in Section E-3(f)(1) of this Component II who left
                   City employment on or before June 30, 1992 but prior to the date the
                   Member would have first become eligible to retire as provided in Section
                   E-3(a), (b) or (c) of this Component II of the Combined Plan, for any
                   reason except discharge for reasons covered by the State Forfeiture Law,
                   retirement or death, shall be entitled to a retirement allowance based upon
                   one point five percent (1.5%) of Average Final Compensation for the first
                   ten years of service and one point six three percent (1.63%) for service in
                   excess of ten years. There shall be no change to the base pension upon
                   which future increases are based.

            b.     Any Member described in Section E-3(f)(1) of this Component II of the
                   Combined Plan who leaves City employment on or after July 1, 1992, but
                   prior to the date the Member would have first become eligible to retire as
                   provided in Section E-3(a), (b) or (c) of this Component II of the
                   Combined Plan, for any reason except discharge for reasons covered by
                   the State Forfeiture Law, retirement or death, shall be entitled to a
                   retirement allowance computed according to Section E-4 of this
                   Component II of the Combined Plan.

      (3)   Commencement of retirement allowance. The retirement allowance shall begin
            on the first day of the calendar month following the month in which a retirement
            application is filed with the Board, on or after that date on which the Member
            would have been eligible to retire with an unreduced service retirement under
            Section E-3(a) or (b) of this Component II of the Combined Plan, had City
            employment continued or on the date when age sixty is reached, whichever is
            earlier. Unless otherwise provided in this Article, no service credit shall be
            earned for the period of absence from City employment and such person’s
            beneficiary shall not be entitled to any other benefit afforded in this Article except
            those benefits afforded either in Section E-3 or in Section E-4 of this Component
            II of the Combined Plan notwithstanding termination of membership.

      (4)   Withdrawal of accumulated contributions.          Upon separation from City
            employment, Members who qualify for benefits pursuant to Section E-3(f)(1) of
            this Component II of the Combined Plan may withdraw their 1973 Defined
            Contribution Plan accumulated contributions and all other funds standing to their
            credit in the Annuity Savings Fund at that time without affecting their benefits
            under Section E-3(f)(2) or E-4 of this Component II of the Combined Plan.




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        In the event that any law, State or Federal, is passed during the term of the collective
bargaining agreement or City Employment Terms agreement which permits Employees to vest
their pension prior to meeting the vesting requirements set forth in this Component II, any
Employee who vests his or her pension in such a manner shall not be eligible for any pension
benefits until his or her sixty-second (62nd) birthday. This provision will not affect the current
practice governing disabled Employees.

Sec. E-4. Service Retirement Allowance

       Upon retirement, a Member who meets the qualifications set forth in section E-3(a), (b)
or (c) of this Component II of the Combined Plan, shall receive a Straight Life Retirement
Allowance, and shall have the right to elect to receive in lieu of the Straight Life Retirement
Allowance, a reduced retirement allowance under an option provided for in E-8 of this
Component II of the Combined Plan.

       The Straight Life Retirement Allowance shall consist of:

(a)    An Annuity which shall be the actuarial equivalent of the Member’s accumulated
       contributions in the 1973 Defined Contribution Annuity Savings Fund at the time of
       retirement; and

(b)    A Basic Pension of twelve dollars ($12.00) per annum multiplied by the number of years,
       and fractions of years of credited service, not to exceed ten (10) years; and

(c)    A Membership Service Pension.

       (1)     For Members who retire on or before June 30, 1992, a membership service
               pension of one point five percent (1.5%) of Average Final Compensation for the
               first ten (10) years of service and one point six three percent (1.63%) for service
               in excess of ten (10) years.

       (2)     For Members who retire on or after July 1, 1992 but prior to July 1, 1998, a
               membership service pension of one point five percent (1.5%) of Average Final
               Compensation for each year of service for the first ten (10) years, plus one point
               seven percent (1.7%) of Average Final Compensation for each year of service in
               excess of ten (10) years up to twenty (20) years of service, plus one point nine
               percent (1.9%) of Average Final Compensation for each year of service in excess
               of twenty years. In no event shall benefits paid by the Retirement System exceed
               ninety percent (90%) of Average Final Compensation.

       (3)     For Members who retire on or after July 1, 1998, a membership service pension
               for service rendered prior to July 1, 2012 of one point six percent (1.6%) of
               Average Final Compensation for each year of service for the first ten (10) years,
               plus one point eight percent (1.8%) of Average Final Compensation for each year
               of service in excess of ten (10) years, up to twenty (20) years of service, plus two
               percent (2%) of Average Final Compensation for each year of service in excess of
               twenty (20) years up to twenty-five (25) years, plus two point two percent (2.2%)
               of Average Final Compensation for each year of service in excess of twenty-five



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             (25) years; plus, for service rendered after July 1 2012 and prior to July 1, 2014,
             one and one-half percent (1.5%) of Average Final Compensation for each year of
             service; plus twelve dollars ($12) for each year of City service not to exceed one
             hundred twenty dollars ($120). Notwithstanding the foregoing, for members of
             the Michigan Council 25 of the American Federation of State, County and
             Municipal Employees, AFL-CIO Local 2920 and the Detroit Senior Water
             Systems Chemists Association bargaining units, the effective date of the one and
             one-half percent multiplier was April 1, 2013 for all years of service rendered
             after that date. In no case shall benefits paid by the Retirement System exceed
             ninety percent (90%) of Average Final Compensation.

(d)   With respect to regular service retirees under Section E-3(a) and (b) of this Component II
      of the Combined Plan only and excluding persons who receive vested benefits under
      Section E-3(c) and (d) of this Component II of the Combined Plan, in no case shall the
      total of the annual Straight Life Pension be less than three hundred sixty dollars
      ($360.00) times each of the first ten (10) years of service at retirement, plus one hundred
      twenty dollars ($120.00) for each year of service in excess of ten (10) years. Effective
      July 1, 2007, each year of service in excess of ten (10) years earned prior to July 1, 2014
      shall be calculated using two hundred twenty-five dollars ($225.00).

(e)   The recalculation of the pension benefit shall include previous pension improvement
      factors but shall not include special increases granted by prior separate ordinances.

(f)   If a retiree dies before receipt of Straight Life Retirement allowance payments in an
      aggregate amount equal to, but not exceeding, the retiree’s accumulated contributions in
      the Annuity Savings Fund at the time of retirement, the difference between these
      accumulated contributions and the aggregate amount of Straight Life Retirement
      allowance payments received, shall be paid to such person or persons nominated by
      written designation duly executed by the retiree and filed with the Board. If there is no
      such designated person or persons surviving the retiree, such difference shall be paid to
      his or her estate. In no case shall any benefits be paid under this section because of the
      death of a retiree if the retiree had elected any of the Options provided for in Section E-8
      of this Component II of the Combined Plan.

Sec. E-5. Disability Retirement

(a)   Duty Disability; Eligibility. Upon the application of a Member or the Member’s
      department head, a Member who becomes totally and permanently incapacitated for duty
      in the employ of the Employer shall be retired by the Board; provided, such incapacity is
      found by the Board to be the natural and proximate result of the actual performance of
      duty, without willful negligence on the part of the Member; provided further, that any
      employee who is seeking a duty disability retirement, shall have an examination
      conducted by an independent medical examiner (“IME”). If the IME concludes that the
      employee’s physical or medical condition does not relate to his/her employment with the
      City, the employee shall not be eligible for the duty disability retirement.




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(b)   Duty disability; Benefits. Upon retirement for disability as provided in Section E-5(a) of
      this Component II of the Combined Plan, a retiree shall receive the following benefits:

      (1)    Any Member who is eligible for a Service Retirement under Section E-3(a) or (b)
             of this Component II of the Combined Plan shall receive a Service Retirement
             Allowance as provided in Section E-4 of this Component II of the Combined Plan
             and shall have the right to elect an option provided for in Section E-8 of this
             Component II of the Combined Plan.

      (2)    Any Member prior to eligibility for a Service Retirement under Section E-3(a) or
             (b) of this Component II of the Combined Plan shall receive a Disability
             Retirement Allowance to begin as of the date of disability. In no case shall the
             Disability Retirement Allowance be retroactive to more than six months before
             the date the application for Disability Retirement is filed with the Board, or prior
             to the date the Member’s name last appeared on a City payroll with pay,
             whichever is later. The Disability Retirement Allowance shall continue until the
             Member reaches eligibility for Service Retirement or recovers prior to that event.
             Upon reaching eligibility for Service Retirement, he or she shall receive a pension
             as provided in Sections E-4(b)-(e) of this Component II of the Combined Plan,
             together with an annuity which shall be the equivalent of the annuity which would
             have been received had contributions to the Annuity Savings Fund continued.
             Said contributions are to be based on the final compensation at the date of duty
             disability and the annuity percentage in effect for the employee on the July first
             prior to the effective date on which the employee is added to the disability
             retirement payroll, provided said July first is at least six months prior to the
             effective date that the employee is added to the regular retirement payroll. In
             computing the pension, membership service credit shall be given for the period a
             Duty Disability Retirement Allowance is received. The Disability Retirement
             Allowance shall consist of:

             (i)     Cash Refund Annuity which shall be the actuarial equivalent of the
                     Member’s accumulated contributions in the Annuity Savings Fund at the
                     time of retirement. If a retiree dies before receipt of annuity payments in
                     an aggregate amount equal to, but not exceeding, the retiree’s accumulated
                     contributions, the difference between the accumulated contributions and
                     the aggregate amount of annuity payments received shall be paid in a
                     single lump sum to such person or persons nominated by written
                     designation duly executed and filed with the Board. If there is no such
                     designated person surviving the retiree, such difference shall be paid to the
                     retiree’s estate.

             (ii)   In addition to the Annuity, a Disability Pension of sixty-six and two-thirds
                    percent (66-2/3%) of the Member’s Average Final Compensation at the
                    time of duty disability, subject to the provisions of Sections E-12 and E-13
                    of this Component II of the Combined Plan. This Disability Pension shall
                    in no event exceed fifty-seven hundred dollars ($5,700.00) per annum.




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             (iii)   For Members who retired on disability on or after January 1, 1999 or on or
                     after July 1, 2012 for members of the Emergency Medical Service Officers
                     Association and Police Officers Association of Michigan bargaining units,
                     in addition to the Annuity, a Disability Pension of sixty-six and two-thirds
                     percent (66-2/3%) of the Member’s average compensation at the time of
                     duty disability, subject to the provisions of Sections E-12 and E-13 of this
                     Component II of the Combined Plan. This Disability Pension shall in no
                     event exceed nine thousand dollars ($9,000.00) per annum.

(c)   Non-Duty Disability; Eligibility. Upon the application of a Member or the Member’s
      department head, a Member who has at least ten years of credited service who becomes
      totally and permanently incapacitated for duty as a result of causes which do not occur in
      the actual performance of duty to the employer, may be retired by the Board if the IME
      certifies to the Board after examination that such Member is mentally or physically
      totally incapacitated for the further performance of duty, that such incapacity is likely to
      be permanent, and that such Member should be retired.

(d)   Non-Duty Disability; Benefits. Upon retirement for non-duty disability as provided in
      Section E-5(c) of this Component II of the Combined Plan, a Member shall receive the
      following benefits:

      (1)    After attaining sixty years of age, a Member shall receive a Service Retirement
             Allowance as provided in Section E-4 of this Component II of the Combined Plan
             and shall have the right to elect an Option as provided in Section E-8 of this
             Component II.

      (2)    Prior to age sixty, a Member shall receive benefits as provided in Section E-
             5(d)(2)(i)-(iv) of this Component II of the Combined Plan:

             i.      A Cash Refund Annuity which shall be the actuarial equivalent of the
                     Member’s accumulated contributions in the Annuity Savings Fund at the
                     time of retirement. In the event a retiree dies before the total of the Cash
                     Refund Annuity payments received equals or exceeds the amount of his or
                     her accumulated contributions at the time of retirement, the remainder
                     shall be paid in a single lump sum to such person or persons nominated by
                     written designation duly executed by the Member and filed with the
                     Board. If there is no such designated person or persons surviving, any
                     such remainder shall be paid to the retiree’s estate.

             ii.     In addition to the Annuity, a Disability Pension which shall be based on
                     the Service Retirement factors in effect on the effective date of disability.
                     The service retirement factors shall be multiplied by the Average Final
                     Annual Compensation multiplied by the number of years and fractions of
                     years of service credited to the retiree. In addition, a basic pension of
                     twelve dollars ($12.00) per annum for a maximum of ten years of credited
                     service shall be added for a total not to exceed one hundred twenty dollars
                     ($120.00) and adjustments thereto, as calculated pursuant to applicable



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                       provisions of this Component II of the Combined Plan. Said Disability
                       Pension shall begin as of the date of the disability. However, in no case
                       shall the Disability Pension begin more than six months before the date the
                       application for disability retirement was filed with the Board, or prior to
                       the date his or her name last appeared on a City payroll with pay,
                       whichever is later. Payment of the Disability Pension shall continue to
                       age sixty. Said Disability Pension shall not exceed thirty-nine hundred
                       dollars ($3,900.00) per annum, and shall be subject to the provisions of
                       Sections E-12 and E-13 of this Component II of the Combined Plan.

               iii.    A Member who retired on disability on or after January 1, 1999 shall
                       receive a Disability Pension as provided for in Section E-5(d)(2)(ii) of this
                       Component II of the Combined Plan. Said Disability Pension shall not
                       exceed six thousand dollars ($6,000.00) per annum, and shall be subject to
                       the provisions of Sections E-12 and E-13 of this Component II of the
                       Combined Plan.

               iv.     Effective July 1, 1967, notwithstanding the limitations contained in
                       Section E-5(d)(2)(ii) of this Component II of the Combined Plan,
                       disability retirees under Section E-5(c) of this Component II of the
                       Combined Plan, who retired (1) prior to August 13, 1953, shall receive a
                       supplementary Disability Pension of forty dollars ($40.00) per month; or
                       (2) after August 13, 1956 and prior to July 1, 1966, shall receive a
                       supplementary Disability Pension of twenty dollars ($20.00) per month.

               v.      Upon Attaining Age Sixty, the retiree shall receive a Pension computed
                       according to the provisions of Section E-4(b)-(e) of this Component II of
                       the Combined Plan; provided, that no service credit shall be given for the
                       time a Disability Pension provided for in Section E-5(d)(2)(ii) of this
                       Component II of the Combined Plan was received. Upon attaining age
                       sixty, the retiree shall have the right to make an election under Section E-8
                       of this Component II of the Combined Plan.

Sec. E-6. Accidental Death Benefit; Performance of Duty

        If a Member is killed in the performance of duty in the service of the employer, or dies as
the result of illness contracted or injuries received while in the performance of duty in the service
of the employer, and such death, illness, or injuries resulting in death, is found by the Board to
have resulted from the actual performance of duty in the service of the employer, the following
benefits shall be paid, subject to Section E-12 of this Component II of the Combined Plan:

(a)    Annuity Savings Fund. Accumulated savings in the Member’s Annuity Savings Fund at
       the time of death shall be paid in a single lump sum to such person or persons as the
       Member nominated in a writing duly executed and filed with the Board. In the event
       there is no designated person or persons surviving the Member, the accumulated
       contributions shall be paid to the Member’s estate.




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(b)   A Pension of one-third of the final compensation of said Member shall be paid to the
      surviving Spouse to continue until remarriage. If an unmarried child, or children under
      age eighteen also survive the deceased Member, each surviving child shall receive a
      pension of one-fourth of said final compensation, to be divided equally. Upon any such
      child’s adoption, marriage, attainment of age eighteen, or death, whichever occurs first,
      such child’s pension shall terminate and there shall be a redistribution by the Board to the
      surviving eligible children under age eighteen. In no event shall any child receive a
      pension of more than one-fourth of said final compensation.

(c)   No Surviving Spouse; Children. If there is no surviving Spouse, or if such surviving
      Spouse dies or remarries before the youngest surviving child of a deceased Member shall
      have attained the age of eighteen, any unmarried child or children under age eighteen, if
      any, shall receive a Pension equal to one-fourth of the deceased Member’s final
      compensation; provided, that if there are more than two such surviving children, each
      shall receive a pension of an equal share of one-half of said final compensation. Upon
      any such child’s adoption, marriage, attainment of age eighteen, or death, whichever
      occurs first, the child’s Pension shall terminate and there shall be a redistribution by the
      Board to the surviving eligible children under age eighteen. In no case shall any such
      child’s Pension be more than one-fourth of the deceased Member’s final compensation.

(d)   Annual Limit. The total amount payable under Section E-6(b) and (c) of this Component
      II of the Combined Plan on account of the death of a Member, shall not exceed nine
      thousand dollars ($9,000.00) per annum.

(e)   Dependent Father and/or Mother. If the deceased Member has no surviving Spouse or
      children eligible for a Pension under this section, a Pension equal to one-sixth of the
      deceased Member’s final compensation shall be paid to the Member’s surviving
      dependent father and/or mother; provided that in no case shall either parent’s Pension
      exceed fifty dollars ($50.00) per month. Payment to a dependent parent or parents shall
      be contingent upon a finding by the Board of Trustees after investigation that such parent
      or parents were actually dependent upon said deceased Member through a lack of earning
      power resulting from physical or mental disability.

(f)   Section E-12 of Component II of the Combined Plan Applicable. The benefits provided
      in Section E-6 of this Component II shall be subject to Section E-12 of this Component
      II.

Sec. E-7. Accumulated Contributions; Return of 1973 Defined Contribution Plan Amount

(a)   Cessation of Employment.

      (1)    If a Member ceases to be an employee of the employer before becoming eligible
             for a Pension paid out of City contributions to the Retirement System, such
             Member shall be paid all or part of the Member’s Annuity Savings Fund, being
             the 1973 Defined Contribution Plan amount, as the Member shall demand by
             written application filed with the Board.




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      (2)    Except as otherwise provided in this Article, upon the death of a Member, the
             Member’s Annuity Savings Fund shall be paid to such person or persons
             nominated in a written designation duly executed by the Member and filed with
             the Board. In the event there is no such designated person or persons surviving,
             the Member’s said accumulated contributions shall be paid to the Member’s
             estate.

      (3)    If a Member who dies without a legal will is not survived by a Spouse and has not
             nominated a beneficiary as provided in Section E-7(a)(2) of this Component II,
             the Member’s accumulated Annuity Savings Fund contributions at the time of
             death may be used to pay burial expenses, if the Member leaves no other estate
             sufficient for such purpose. Such expenses shall not exceed a reasonable amount
             as determined by the Board.

      (4)    Accumulated contributions to be returned as provided in this section may be paid
             in equal monthly installments for a period not to exceed three years, according to
             such rules and regulations as the Board may adopt from time to time. After a
             Member ceases to be a Member, any balance in the Annuity Savings Fund which
             is unclaimed by the said Member or the Member’s heirs, shall remain a part of the
             funds of the Retirement System and shall be transferred to the Pension
             Accumulation Fund.

(b)   One-Time Withdrawal; Twenty-Five Years. Prior to the receipt of the first retirement
      benefit check, an employee with twenty-five or more years of service shall be allowed to
      withdraw either a partial or full amount of his or her accumulated contributions, one time
      only.

(c)   One-Time Withdrawal; Duty and Non-Duty Disability Retirees. Duty and non-duty
      disability retirees shall be allowed to withdraw either a partial or full amount of their
      accumulated contributions, one time only.

(d)   One-Time Withdrawal. Withdrawal by a Member under either (b) or (c) of this Section
      E-7 constitutes the one time withdrawal allowed.

Sec. E-8. Retirement Allowance Options

(a)   Election by Member. Until the earlier of the first time a retirement allowance payment
      check is cashed, or six months after the first payment check is issued, but not thereafter,
      any Member may elect to receive a Straight Life Retirement Allowance payable
      throughout life, or the Member may elect to receive the actuarial equivalent of the
      Straight Life Retirement Allowance computed as of the effective date of retirement, in a
      reduced retirement allowance payable throughout life, with the exception that there will
      be no reduction in the benefits received pursuant to Section E-4(e) of this Component II
      of the Combined Plan, and nominate a beneficiary to receive benefits following the
      Member’s death, in accordance with the options set forth below:

      Option One. Cash Refund Annuity. If a retiree who elected a Cash Refund Annuity dies
      before payment of the annuity portion of the reduced retirement allowance has been


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      received in an aggregate amount equal to, but not exceeding the retiree’s accumulated
      contributions in the Annuity Savings Fund at the time of retirement, the difference
      between said accumulated contributions and the aggregate amount of annuity payments
      already received, shall be paid in a single lump sum to such person or person nominated
      by written designation duly executed by the Member and filed with the Board. If no such
      designated person or persons survive the retiree, any such difference shall be paid to the
      retiree’s estate.

      Option Two. Joint and One Hundred Percent Survivor Allowance. Upon the death of a
      retiree who elected a Joint and One Hundred Percent Survivor Allowance, one hundred
      percent of the reduced retirement allowance shall be paid to and continued throughout the
      life of the person nominated by written designation duly executed and filed with the
      Board prior to the date the first payment of the retirement allowance becomes due.

      Option “A”. Joint and Seventy-Five Percent Survivor Allowance. Upon the death of a
      retiree who elected a Joint and Seventy-Five Percent Survivor Allowance, seventy-five
      percent of the reduced retirement allowance shall be continued throughout the life of and
      paid to the person nominated by written designation duly executed by the Member and
      filed with the Board prior to the date the first payment of the retirement allowance
      becomes due.

      Option Three. Joint and Fifty Percent Survivor Allowance. Upon the death of a retiree
      who elected a Joint and Fifty Percent Survivor Allowance, fifty percent of the reduced
      retirement allowance shall be continued throughout the life of and paid to the person
      nominated by written designation duly executed by the Member and filed with the Board
      prior to the date the first payment of the retirement allowance becomes due.

      Option “B”. Joint and Twenty-Five Percent Survivor Allowance. Upon the death of a
      retiree who elected a Joint and Twenty-Five Percent Survivor Allowance, twenty-five
      percent of the reduced retirement allowance shall be paid throughout the life of the
      person nominated by written designation duly executed and filed with the Board prior to
      the date the first payment of the retirement allowance becomes due.

(b)   Joint and Survivor Optional Forms of Payment. The Joint and Survivor Optional Forms
      of Payment provided under Section E-8(a) of this Component II of the Combined Plan
      shall be made available in either the standard form or the pop-up form, as follows:

      (1)    Standard Form. Under the Standard Form, the reduced retirement allowance
             shall be paid throughout the lifetime of the retiree.

      (2)    Pop-up Form. Under the Pop-up Form, the reduced allowance shall be paid
             throughout the lifetime of the retiree and the designated beneficiary. In the event
             of the death of the designated beneficiary during the lifetime of the retiree, the
             amount of the allowance shall be changed to the amount that would have been
             payable had the retiree elected the Straight Life Retirement Allowance form of
             payment.




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(c)    Coordination of Benefits. According to such rules and regulations as the Board shall
       adopt, until the first payment of a retirement allowance becomes due, but not thereafter, a
       Member under age sixty-five may elect to have the Member’s Straight Life Retirement
       Allowance provided for in Section E-4 of this Component II of the Combined Plan
       equated on an actuarial equivalent basis to provide an increased retirement allowance
       payable to age sixty-two or age sixty-five, and to provide a decreased retirement
       allowance thereafter. The increased retirement allowance payable to such age shall
       approximate the total of the decreased retirement allowance payable thereafter and the
       estimated social security benefit. If a Member elects to receive increased and then
       decreased retirement allowance payments provided for in this paragraph, he or she may
       also elect to have such payments reduced by electing one of the optional forms of
       payment provided for in paragraph (a) of this section. This coordination of benefits
       option shall not create any additional actuarial costs.

Sec. E-9. Benefits for Surviving Spouses; Generally

(a)    The surviving Spouse of any Member who dies while in the employ of the City or in the
       employ of a second governmental unit as provided in Section E-14 of this Component II
       after the date such Member either (1) has earned twenty years of credited service
       regardless of age, or (2) has earned eight years of credited service and has attained age
       sixty-five, or (3) has earned ten or more years of credited service and has attained age
       sixty, shall receive a retirement allowance. The Spouse’s retirement allowance shall be
       computed according to Section E-4 of this Component II of the Combined Plan in the
       same manner in all respects as if the said Member had retired effective the day preceding
       the Member’s death, notwithstanding that the Member had not attained age sixty, elected
       a Joint and One Hundred Percent Survivor Allowance as provided for in Section E-8 of
       this Component II, and nominated the surviving Spouse as beneficiary. No payments
       shall be made under this Section E-9 on account of the death of a Member if any benefits
       are paid under Section E-6 of this Component II. If an Employee dies with twenty (20)
       years of service and without a surviving Spouse, dependent children shall be paid a total
       of nine thousand dollars ($9,000.00) per year which shall be divided equally among all
       eligible dependent children until the youngest child reaches age nineteen, or for life, if a
       child is permanently physically or mentally impaired and such impairment occurred prior
       to the child’s attainment of age nineteen. There shall be no retirement escalator for this
       payment.

(b)    In addition to in-service death benefits which existed prior to July 1, 1998 for Members
       with twenty or more years of service, if a Member dies on or after July 1, 1998 or such
       later date as provided in a collective bargaining agreement, after having attained fifteen
       or more but less than twenty years of creditable service at any age below sixty, the
       surviving Spouse will be paid a Fifty Percent Joint and Survivor benefit. If there is no
       eligible surviving Spouse, dependent children shall be paid a total of six thousand dollars
       ($6,000.00) which shall be divided equally among all eligible dependent children until
       the youngest child reaches age nineteen, or for life if a child is permanently physically or
       mentally impaired.

Sec. E-10. Benefits for Surviving Spouses; Disability Retirees



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        The surviving Spouse of a disability retiree who retired under the provisions of Section
E-5 of this Component II of the Combined Plan and who died before the age of sixty shall
receive a retirement allowance computed in the same manner as if the disability retiree had been
a Member who became eligible for death benefits under Section E-9 of Component II of the
Combined Plan, provided the disability retiree had earned fifteen or more years of credited
service. In the case of a non-duty disability retiree, credited service shall be determined on the
effective date of the non-duty disability retirement. In the case of a duty disability retiree,
credited service shall be determined on the date of death of the disability retiree assuming City
employment had continued until the date of death.

Sec. E-11. Disposition of Surplus Benefits upon Death of Retiree and Beneficiary

        If under a Joint and One Hundred Percent Survivor allowance, a Joint and Seventy-Five
Percent Survivor allowance, a Joint and Fifty Percent Survivor allowance, or a Joint Twenty-
Five Percent Survivor allowance as provided for under Section E-8 of this Component II of the
Combined Plan, both a retiree and beneficiary die before they have received in retirement
allowance payments, an aggregate amount equal to the retiree’s accumulated contributions in the
Annuity Savings Fund at the time of retirement, less withdrawals, the difference between the said
accumulated contributions and the said aggregate amount of retirement allowances paid the
retiree and beneficiary, shall be paid in a single lump sum to such person or persons nominated
by written designation of the retiree duly executed and filed with the Board. If there are no
person or persons surviving retiree and beneficiary, any such difference shall be paid to the
retiree’s estate.

Sec. E-12. Pensions Offset by Compensation Benefits; Subrogation

(a)    Generally. Any amounts which may be paid or payable to a Member, retiree, or to the
       dependents of a Member or retiree on account of any disability or death under the
       provisions of any Workers’ Compensation, pension, or similar law, except federal Social
       Security old-age and survivors’ and disability insurance benefits, shall be offset against
       any pensions payable from funds of the Retirement System on account of the same
       disability or death. If the present value of the benefits payable under said Workers’
       Compensation, pension, or similar law, is less than the Pension Reserve for said pension
       payable by the Retirement System, the present value of the said Workers’ Compensation,
       pension, or similar legal benefit shall be deducted from the Pension Reserve, and such
       pensions as may be provided by the Pension Reserve so reduced shall be payable as
       provided in this Article E.

(b)    The City’s right of subrogation. In the event a person becomes entitled to a pension
       payable by the Retirement System because of an accident or injury caused by the act of a
       third party, the City shall be subrogated to the rights of said person against such third
       party to the extent of the benefit which the City or the Retirement System pays or
       becomes liable to pay.

Sec. E-13. Disability Retirees; Reexamination; Authority of the Board




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(a)    Medical examination. At least once each year during the first five years following the
       retirement of a Member with a Disability Retirement Allowance or Disability Pension,
       and at least once in every three year period thereafter, the Board may, and upon the
       retiree’s application shall, require that any disability retiree who has not attained age sixty
       undergo a medical examination, to be made by, or under the direction of, the Medical
       Director. Should any such disability retiree who has not attained age sixty refuse to
       submit to at least one such medical examination in any such period, the retiree’s
       retirement allowance or pension may be discontinued by the Board until withdrawal of
       such refusal. Should such refusal continue for one year, all of the disability retiree’s
       rights in and to the Pension portion of the Retirement Allowance may be revoked by the
       Board. If upon such examination of a disability retiree, the Medical Director reports that
       the retiree is physically able and capable of resuming employment, and such report is
       concurred in by the Board, the retiree shall be restored to active service with the City and
       the Disability Retirement Allowance shall terminate.

(b)    Other employment. If such disability retiree is or becomes engaged in a gainful
       occupation, business, or employment paying more than the difference between the
       retiree’s Disability Retirement Allowance and final compensation, the Pension portion of
       the Disability Retirement Allowance shall be reduced by the amount of such difference.
       If the amount of the earnings changes, the Pension may be adjusted accordingly.

(c)    Reinstatement to active service. A disability retiree who has been, or shall be, reinstated
       to active service in the employ of the City as provided in this Section, shall again become
       a Member of the Retirement System. All credited service at the time of the retirement
       shall be restored to full force and effect and a duty disability retiree shall be given
       membership service credit for the period said retiree was out of service due to such duty
       disability.

Sec. E-14. Transfer of Department or Department Functions; Generally

        In the event a function or functions of a City Department or the Department itself is
transferred to the federal or state government, or to a political subdivision of the State of
Michigan (second governmental unit), a Member of the Retirement System whose employment
is transferred from the City to the second governmental unit shall be entitled to a retirement
allowance payable by the Retirement System subject to the following conditions:

(a)    Employment within sixty days of transfer. The employee enters the employment of the
       second governmental unit within sixty days from and after the effective date of the
       transfer of the function or functions of a City Department or the Department itself to the
       second governmental unit.

(b)    Credited service combined; ten year minimum. The employee’s credited service as a
       Member of the Retirement System plus any credited service acquired in the employ of the
       second governmental unit totals at least ten years.

(c)    Retirement; second governmental unit. If the employee retires from employment with
       the second governmental unit on account of age and service, the employee’s Retirement



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      Allowance shall be computed in accordance with Section E-3(b) or Section E-4 of this
      Component II of the Combined Plan, whichever is applicable. If the employee retires
      from employment in the second governmental unit because of total and permanent
      disability arising from non-service connected causes, the Retirement Allowance shall be
      computed in accordance with Section E-5(d) of this Component II of the Combined Plan.
      In computing the Retirement Allowance, the basic pension shall not exceed twelve
      dollars ($12.00) per year for a maximum of ten years for a total amount to not exceed one
      hundred twenty dollars ($120.00), and the membership service pension shall be based
      only upon City-credited service existing at the time of transfer. In determining the
      Average Final Compensation defined in Section C-1 of this Component II of the
      Combined Plan, the compensation received as an employee of the second governmental
      unit shall be regarded as compensation paid by the City. If the employee leaves the
      employ of the second governmental unit with a deferred retirement allowance, no City
      retirement allowance shall be paid unless the employee has met the requirements of
      Section E-3(d)(1) of this Component II of the Combined Plan. Notwithstanding the
      foregoing, effective as of the Freeze Date, for purposes of calculating a Retirement
      Allowance for a Member whose employment was transferred prior to July 1, 2014 from
      the City to a second governmental unit, Average Final Compensation for the transferred
      Member shall be compensation received by such transferred Member prior to July 1,
      2014 as an employee of the second governmental unit.

(d)   Allowance starting date. The retirement allowance shall begin upon retirement from the
      employment of the second governmental unit, but in no event prior to the date the
      employee would have become eligible for retirement had the employee continued in City
      employment. If retirement is because of total and permanent disability arising from non-
      service-connected causes, the retirement allowance shall begin upon the approval of
      retirement by the Board.

Sec. E-15. Pension Improvement Factor (Escalator)

(a)   Increase of pension. On or after July 1, 1992 and prior to the effective date of the Plan of
      Adjustment, effective as of the first day of July of each year, the pension portion of any
      Retirement Allowance or Duty Death Benefit which is paid or payable under this Article
      shall be increased by a factor of two and one quarter percent (2.25%), computed on the
      basis of the amount of the original pension received at the time of retirement, including,
      if applicable, any supplemental pensions provided under this Article; provided, that the
      recipient of said pension shall have been on the retirement rolls at least one year prior to
      said July first date. If the recipient has been on the retirement payroll less than one year
      prior to said July first date, the amount of the increase shall be prorated accordingly.

(b)   Payment. Except as provided in paragraph (c) below, the pension improvement factor of
      two and one quarter percent (2.25%) provided for in Section E-15(a) of this Component
      II, shall be payable notwithstanding any Retirement Allowance or pension amount
      limitation provisions in this Article to the contrary.

(c)   After the effective date of the City Employment Terms between the City of Detroit and
      Police Officers Association of Michigan presented to the union on July 18, 2012,



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      employees represented by the union will no longer receive the two and one-quarter
      percent (2.25%) per annum escalation.

(d)   Effective April 1, 2013, the post-retirement escalator factor for all service after that date
      shall be eliminated for any employee who is a member of the American Federation of
      State, County and Municipal Employees, AFL-CIO Local 2920.

Sec. E-16. Adoption of Rates of Interest; Limitations on Payments By Retirement System;
          Transfer of Investment Returns in Excess of Crediting Rate

(a)   The Retirement System and the Board of Trustees shall not make any payment to active
      or retired Members other than payments that are required by the Retirement System as
      established by this Combined Plan to govern the Retirement System or the Plan of
      Adjustment. This prohibition applies to all payments that are not authorized by this
      Combined Plan, whether such payments are those commonly referred to as a “thirteenth
      check” or by any other name.

(b)   The Retirement System and the Board of Trustees shall not provide any savings plan,
      annuity plan, or other Member investment or savings vehicle that provides an annual
      return to investing Members which in any year is greater than the actual investment
      return net of expenses of the Retirement System’s invested reserves for the year in which
      the return is earned and accrued, provided that such return shall neither be greater than
      the assumed annual return as expressed in the Retirement System’s valuation for that year
      nor less than zero. This prohibition shall apply to all annual returns credited to accounts
      of investing Members in the Annuity Savings Fund of the 1973 Defined Contribution
      Plan from the effective date of Ordinance 37-11 to June 30, 2013. Notwithstanding
      anything in this Section E-16 to the contrary, effective for Plan Years beginning on and
      after July 1, 2013, the annual rate of return credited to a Member’s account in the
      Annuity Savings Fund of the 1973 Defined Contribution Plan shall be no less than zero
      and no greater than the lesser of (i) 5.25% or (ii) the actual investment return net of
      expenses of the Retirement System’s invested reserves for the second Plan Year
      immediately preceding the Plan Year in which the annual return is credited.

(c)   In any Plan Year during the period beginning on or after July 1, 2014 and ending June 30,
      2023 in which the annual rate of return credited to the accounts of Members investing in
      the Annuity Savings Fund as provided in paragraph (b) is less than the actual rate of
      return net of expenses of the Retirement System's invested assets for the second Plan
      Year immediately preceding the Plan Year in which the annual rate of return is credited
      ("ASF Return Excess"), an amount equal to the value of the ASF Return Excess shall be
      transferred to the Pension Accumulation Fund maintained under Component I of the
      Combined Plan and shall be used to fund the Transition Cost relating to Component I.
      The Transition Cost is a measure of the liability that Component I of the Retirement
      System has at its inception; due to the fact that at its inception, Members in Component I
      of the Retirement System receive vesting and eligibility credit under Component I for
      service that was earned prior to July 1, 2014 and is otherwise credited to Members under
      Component II of the Retirement System, as such Transition Cost is calculated by the Plan
      Actuary. In the event there is an ASF Return Excess for a Plan Year following the Plan



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      Year in which such transfers have fully funded the Transition Costs relating to
      Component I, fifty percent (50%) of such ASF Return Excess shall be transferred to the
      Pension Accumulation Fund maintained under Component II and the remaining fifty
      percent (50%) of such ASF Return Excess shall be transferred to Component I and
      credited to the Rate Stabilization Fund maintained under Component I. “Transition Cost”
      shall be determined by the Plan Actuary.

Sec. E-17. Funds

       The 1973 Defined Benefit/Defined Contribution (Annuity) Plan shall consist of the
Annuity Savings Fund, the Annuity Reserve Fund, the Pension Accumulation Fund, the Pension
Reserve Fund, and the Income Fund.

Sec. E-18. Method of Financing

(a)   Annuity Savings Fund of the 1973 Defined Contribution Plan.

      (1)    The Annuity Savings Fund of the 1973 Defined Contribution Plan shall be the
             fund in which shall be accumulated at regular interest, in accordance with the
             limitations that are contained in Section E-16 of this Component II of the
             Combined Plan, the contributions of Members made prior to the first payroll date
             occurring in August 2014 to provide their annuities. At the election of the
             Member, the amount of the basic contribution of a Member to the Retirement
             System prior to the first payroll date occurring in August 2014 were zero percent
             (0%), three percent (3%), five percent (5%), or seven percent (7%) of annual
             compensation. If a Member elected three percent (3%), his or her contribution
             shall be that amount which is subject to taxation under the provisions of the
             Federal Insurance Contribution Act, 26 USC 3101 et seq. (Act), plus five percent
             (5%) of the portion of annual compensation, if any, which exceeds the amount
             subject to taxation under that Act.

      (2)    The contribution rate elected by the Member under Section E-18(a)(1) of this
             Component II of the Combined Plan were deducted from the Member’s
             compensation notwithstanding that the minimum compensation provided by law
             for any Member were reduced thereby. Payment of compensation, less said
             deductions, constituted a complete discharge of all claims and demands
             whatsoever for the services rendered by the said Member during the period
             covered by such payment, except as to benefits provided under this Article E.

      (3)    Upon retirement of a Member with a Retirement Allowance, the Member’s
             accumulated contributions shall be transferred from the Annuity Savings Fund to
             the Annuity Reserve Fund, refunded to the Member, or a combination thereof.

(b)   Annuity Reserve Fund. The Annuity Reserve Fund shall be the fund, from which all
      annuities and benefits in lieu of annuities payable as provided in this Article E, shall be
      paid. If a disability retiree is reinstated to active City service, the retiree’s Annuity
      Reserve at that time shall be transferred from the Annuity Reserve Fund to the Annuity
      Savings Fund and credited to his or her individual account therein.


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(c)   Pension Accumulation Fund. The Pension Accumulation Fund shall be the fund in which
      shall be accumulated reserves for the pensions and other benefits payable from the
      contributions made by the City, including various departments thereof, the Detroit Public
      Library, and certain third parties pursuant to the Plan of Adjustment and from which shall
      be paid pensions and other benefits on account of Members with prior service credit, and
      transfers as provided in this Section E-18. Contributions to the Pension Accumulation
      Fund from the effective date of the Plan of Adjustment through Fiscal Year 2023, shall be
      made only in the amounts and from the sources identified in the Plan of Adjustment.

      For Fiscal Years beginning after June 30, 2023, contributions to fund pension benefits
      (adjusted as provided in the Plan of Adjustment) shall be made as follows:

      (1)    Certain amounts shall be contributed by certain third parties as provided in the
             Plan of Adjustment.

      (2)    The City’s annual contribution shall be calculated by the Actuary as provided in
             Section E-19.

      (3)    Upon the retirement of a Member without prior service credit, or upon a
             Member’s death in the performance of duty, the Pension Reserve Fund for the
             pension or pensions to be paid on the Member’s account shall be transferred from
             the Pension Accumulation Fund to the Pension Reserve Fund.

      (4)    Upon the basis of such mortality and other tables of experience and interest as the
             Board shall adopt from time to time consistent with Section 1.16(d) of
             Component I, the Actuary shall compute annually the pension reserve liabilities
             for pension benefits being paid to retirees and beneficiaries.

      (5)    On an annual basis, the Board shall ascertain and report to the Mayor and the
             Council the amount of City contributions due to the Retirement System. The
             Council shall appropriate and the City shall pay such contributions during the
             appropriate Fiscal Year. When paid, such contributions shall be credited to the
             Pension Accumulation Fund.

      (6)    If the amount appropriated by the City and paid to the Retirement System for any
             Fiscal Year is insufficient to make the transfers and pay the pensions, as adjusted
             in the Plan of Adjustment, from the Pension Accumulation Fund as provided in
             this Section E-18, the amount of such insufficiency shall be provided by the
             appropriating authorities of the City.

(d)   Accrued Liability Fund. Pursuant to Ordinance No. 5-05, which authorized the creation
      of the Detroit General Retirement Service Corporation, the City previously entered into a
      transaction (the “Pension Funding Transaction”) to obtain funds as an alternative to those
      available through the traditional funding mechanism described above in Subsection (c).
      The proceeds generated by the Pension Funding Transaction (or any Additional Pension
      Funding Transactions, as described below) that were deposited into the System are
      termed the “Funding Proceeds.” The Funding Proceeds were deposited into a new fund in
      the System to be called the Accrued Liability Fund. The purpose of the Funding


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      Proceeds was to fund all or part of the heretofore unfunded actuarial accrued liability
      (“UAAL”) of the Retirement System, as determined as of a date certain, that is, the
      “Determination Date,” pursuant to the Retirement System’s actuarial valuation as of that
      date. The Funding Proceeds are assets of the Retirement System and will be applied,
      together with all other assets of the Retirement System, to fund the Retirement System’s
      obligation to pay pension benefits, as adjusted in the Plan of Adjustment.

      This Accrued Liability Fund shall contain only the Funding Proceeds of this Pension
      Funding Transaction, and any earnings thereon. Prior to Fiscal Year 2013, funds were
      transferred each Fiscal Year (or monthly portion thereof) from the Accrued Liability
      Fund to the Pension Accumulation Fund as provided in Chapter 47 of the 1984 Detroit
      City Code and Ordinance No. 5-05.

      As soon as practicable following the effective date of the Plan of Adjustment, any
      amounts remaining credited to the Accrued Liability Fund shall be transferred to the
      Pension Accumulation Fund and the Accrued Liability Fund shall cease to exist.

(e)   Pension Reserve Fund. The Pension Reserve Fund shall be the fund from which
      pensions shall be paid to retirees and beneficiaries. Should a disability retiree be
      reinstated to active service, the retiree’s Pension Reserve at that time, shall be transferred
      from the Pension Reserve Fund to the Pension Accumulation Fund.

(f)   Expense Fund. The Expense Fund shall be the fund to which shall be credited all money
      provided by the City to pay the administrative expenses of the Retirement System, and
      from which shall be paid all the expenses necessary in connection with the administration
      and operation of the Retirement System.

(g)   Income Fund. The Income Fund shall be the Fund to which shall be credited all interest,
      dividends, and other income derived from the investments of the Retirement System
      (other than those derived from the investments credited to any Accrued Liability Fund),
      all gifts and bequests received by the Retirement System, and all other moneys the
      disposition of which is not specifically provided for in this Article E. There shall be paid
      or transferred from the Income Fund, all amounts required to credit regular interest to the
      various Funds of the Retirement System, except for the Accrued Liability Fund which is
      to be credited with interest, dividends and other earnings pursuant to Section E-18(d)(2)
      of this Component II of the Combined Plan in accordance with the limitations that are
      contained in Section E-18 of this Component II of the Combined Plan.

(h)   Maintenance of Reserves.

      (1)    The maintenance of proper reserves in the various Funds of the Retirement
             System except the Expense Fund are hereby made obligations of the Pension
             Accumulation Fund.

      (2)    City contributions to the Retirement System to the extent necessary to provide
             pensions on account of Members who are employees of a revenue-supported
             division of the City shall be made from the revenues of the said division. Any
             City contribution to the Retirement System from any Fund by law with a certain


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             and definite purpose shall, at the direction of the Finance Director, be accounted
             for separately.

Sec. E-19. Determination of City’s Annual Contribution

(a)   For the period ending June 30, 2023, the City shall make only those contributions to the
      Retirement System as are set forth in the Plan of Adjustment.

(b)   For Fiscal Years beginning on and after July 1, 2023, the annuity and pension reserve
      liabilities for Members, retirees, and beneficiaries, shall be actuarially evaluated as set
      forth in this Article for each division as is accounted for separately pursuant to Section E-
      18(h)(2) of this Component II of the Combined Plan.

      (1)    Pension Liabilities.

             a.      The pension liabilities for Members shall be determined by the Actuary
                     using reasonable and appropriate actuarial assumptions approved by the
                     Board and the Investment Committee.

             b.      The City’s annual contribution to finance any unfunded accrued pension
                     liabilities, expressed as a percentage of active employees’ compensation,
                     shall be determined by amortizing such unfunded accrued pension
                     liabilities as a level percentage of such compensation over a period or
                     periods of future years as established by the Board and approved by the
                     Investment Committee.

      (2)    Pension Accumulation Fund. Based upon the provisions of this Article E
             including any amendments, the Board shall compute the City’s annual
             contributions to the Retirement System, expressed as a percentage of active
             Member compensation each Fiscal Year, using actuarial valuation data as of the
             June thirtieth date which date is a year and a day before the first day of such
             Fiscal Year. The Board shall report to the Mayor and Council the contribution
             percentages so computed. Such contribution percentages shall be used in
             determining the contribution dollars to be appropriated by Council and paid to the
             Retirement System. Such contribution dollars shall be determined by multiplying
             the applicable contribution percentage for such Fiscal Year by the Member
             compensation paid for such Fiscal Year. Such contribution dollars for each Fiscal
             Year shall be paid to the Retirement System in such Fiscal Year in a manner to be
             agreed upon from time to time by the Board and the City, provided, for any Fiscal
             Year for which an agreement has not been reached before the first day of such
             Fiscal Year, such contribution dollars shall be paid in equal monthly installments
             at the end of each calendar month in such Fiscal Year.




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                     ARTICLE F. PARTICIPANT LOAN PROGRAM

Sec. F-1. Established.

        Any loans granted or renewed shall be made pursuant to a Participant Loan Program
which shall conform with the requirements of Section 72(p) of the Internal Revenue Code. Such
loan program shall be established in writing by the Board of Trustees, and must include, but need
not be limited to the following:

    (1) The identity of the administrator of the Participant Loan Program;

    (2) A procedure to apply for loans, the amount of loan that will be approved or denied, and
        limitations, if any, on the types and amount of loans offered;

    (3) The procedures under the program for determining a reasonable rate of interest; and

    (4) The events constituting default and the steps that will be taken to preserve plan assets.

Sec. F-2. The Loan Program.

    (1) This Loan Program shall be contained in a separate written document copies of which
        shall be made available in the offices of the Retirement System for prospective
        participants in the Loan Program. The Board of Trustees is authorized to adopt rules
        and regulations, from time to time, to govern the administration and the operation of
        this program. Copies of the rules shall also be made available to prospective Members
        in the offices of the Retirement System; and

    (2) All collective bargaining agreements which accept the terms of this section are
        specifically agreeing to be subject to the Board’s authority to modify or amend the
        Participant Loan Program from time to time, including during the effective terms of the
        applicable labor agreement and no such modification or amendment shall be deemed a
        violation of said labor agreement and no grievance or other form of action shall be
        effective to overturn or alter the Board’s decision.

Sec. F-3. Eligibility.

        Subject to rules and procedures established by the Board, loans will initially be made
only to non-union Members of the Retirement System. Union employees will be eligible when
their respective bargaining unit has accepted the Loan Program. Former Members, spouses of
Members, and beneficiaries are not eligible to receive any loans from the Retirement System.
Subject to rules and procedures established by the Board, a Member who has been in the
Combined Plan for twelve (12) months or more is eligible to apply for a loan under this
Component II. No Member shall have more than two outstanding loans from the Retirement
System (Component I and/or Component II) at any time. A Member who has previously
defaulted on a loan (under either Component I or Component II) shall not be eligible for a loan
from the Retirement System.




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Sec. F-4. Amount of Loan.

        A Member who has satisfied applicable rules and procedures may borrow from his or her
account an amount, which does not exceed fifty percent (50%) of the Member’s vested
accumulated balance, or ten thousand dollars ($10,000.00) reduced by the excess, if any, of: 1)
the highest outstanding balance of loans from the Retirement System (both Component I and
Component II) during the one (1) year period ending on the day before the date on which the
loan is made, or 2) the outstanding balance of loans from the Retirement System (both
Component I and Component II) on the date on which the loan is made, whichever is less. The
minimum loan amount shall be one thousand dollars ($1,000.00).

Sec. F-5. Terms and Conditions.

      In addition to such rules and procedures that are established by the Board, all loans shall
comply with the following terms and conditions:

    (1) Loan applications shall be in writing;

    (2) Loans shall be repaid by equal payroll deductions over a period not to exceed five (5)
        years, or, where the loan is for the purpose of buying a principal residence, a period not
        to exceed fifteen (15) years. In no case shall the amount of the payroll deduction be less
        than twenty dollars ($20.00) for any two-week period;

    (3) Each loan shall be made against the assignment of the Member’s entire right, title, and
        interest in and to the Retirement System, supported by the Member’s collateral
        promissory note for the amount of the loan, including interest payable to the order of the
        Board of Trustees;

    (4) Each loan shall bear interest at a rate determined by the Board. The Board shall not
        discriminate among Members in its determination of interest rates on loans. Loans
        initiated at different times may bear different interest rates, where, in the opinion of the
        Board, the difference in rates is supported by a change in market interest rates or a
        change in the Retirement System’s current assumed rate of return. The loan interest
        rate shall bear a reasonable relationship to market rates for secured loans of a similar
        duration and shall bear a reasonable relationship to the costs to the Retirement System
        of administering the Combined Plan. The loan interest rate shall be calculated in a
        manner that will not negatively affect the Employers’ costs with respect to the
        Retirement System or the investment return allocated to Members;

    (5) Loan repayments shall be suspended under this plan as permitted by Section 414(u)(4)
        of the Internal Revenue Code. A participant who has an outstanding loan balance from
        the plan who is absent from employment with the employer, and who has satisfied the
        requirements of Section 414(u) of the Internal Revenue Code shall not be required to
        make loan repayments to the Retirement System during said periods of absence.




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Sec. F-6. Renewal of Loan.

       Any loans granted or renewed shall be made pursuant to the Participant Loan Program
and Section 72(p) of the Internal Revenue Code and the regulations thereunder.

Sec. F-7. Loan Balance.

        A Member’s outstanding loan balance shall be considered a directed investment by the
Member and interest payments shall be credited to the Member’s account balance, and shall not
be part of net investment income or part of the Member’s account balance for the purpose of
allocation of net investment income under the Retirement System.

Sec. F-8. Distributions.

       No distributions shall be made to a Member, former Member, or beneficiary until all loan
balances drawn on the applicable vested accumulated balance and applicable accrued interest
have been liquidated.

Sec. F-9. Annual Report.

        The Retirement System shall include, in its annual report to all Members, an accounting
of the Loan Program established by this Article F, which contains the number and amount of
loans made under this Component II, the costs of administering the Loan Program under
Component II, the amount of payments made including interest received by Component II of the
Retirement System, the amount of loans outstanding, including any defaults or delinquencies,
and an evaluation as to whether the interest charged in that Fiscal Year covered the costs of
administering the Loan Program maintained under this Component II.




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             ARTICLE G. SPECIAL PLAN OF ADJUSTMENT PROVISIONS

Sec. G-1. Benefit Changes Implemented Pursuant to the Terms of the Plan Of Adjustment

        Notwithstanding anything in Articles A, C, D or E of Component II to the contrary, as of
the effective date of the Plan of Adjustment and during the period that ends no earlier than June
30, 2023, the following provisions to comply with the terms of the Plan of Adjustment shall be
implemented:

       (1)     Reduction in monthly pension payments.

               a.     For a retiree or a surviving beneficiary who is receiving a monthly pension
                      benefit as of the effective date of the Plan of Adjustment, as soon as
                      practicable following such effective date such retiree’s or surviving
                      beneficiary’s monthly pension benefit will be reduced to an amount that is
                      equal to 95.5% of the monthly pension benefit being paid to such retiree or
                      surviving beneficiary as of the date immediately preceding the effective
                      date of the Plan of Adjustment (“Adjusted Accrued Benefit”); provided,
                      however, that the Board and the Investment Committee shall determine on
                      the effective date of the Plan of Adjustment and not less frequently than
                      annually thereafter that the “Funding Conditions” as defined herein have
                      been satisfied, and in the event that such Funding Conditions have not
                      been satisfied then such retiree’s or surviving beneficiary’s Adjusted
                      Accrued Benefit will be reduced in proportion to the funding which is not
                      received by the Retirement System but not below an amount that is equal
                      to 73% of the monthly pension benefit being paid to such retiree or
                      surviving beneficiary as of the date immediately preceding the effective
                      date of the Plan of Adjustment.

               b.     The Frozen Accrued Benefit that will be paid as a monthly Retirement
                      Allowance upon the retirement or death of an active employee Member or
                      a vested former employee Member on or after the Effective Date, will be
                      reduced to an amount that is equal to 95.5% of the monthly pension
                      benefit that would otherwise have been paid to the active employee or
                      vested former employee under the terms of this Component II of the
                      Combined Plan without taking into account this Section G-1 (“Adjusted
                      Deferred Accrued Benefit”); provided, however, that the Board and the
                      Investment Committee shall determine on an annual basis that the
                      “Funding Conditions” as defined herein have been satisfied, and in the
                      event such Funding Conditions have not been satisfied then such active
                      employee Member’s or vested former employee Member’s Adjusted
                      Accrued Benefit will be reduced in proportion to the funding which is not
                      received by the Retirement System but not below an amount that is equal
                      to 73% of the monthly pension benefit that would otherwise have been
                      paid to the active employee or vested former employee under the terms of
                      this Component II of the Combined Plan without taking into account this
                      Section G-1.



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              c.      Cap on Benefit Reductions for Certain Retirees. With respect to any
                      retiree or surviving beneficiary receiving monthly pension benefits from
                      the Retirement System as of June 30, 2014, such retiree’s or surviving
                      beneficiary’s Adjusted Accrued Benefit, as further reduced to take into
                      account any ASF Recoupment under Section G-2, shall not be less than
                      80% of the monthly pension benefit being paid to such retiree or surviving
                      beneficiary as of the date immediately preceding the Effective Date.

              For purposes of this Sec. G-1, the term “Funding Conditions” shall mean that (i)
              Class 10 and Class 11 voted in favor of the Plan of Adjustment in accordance
              with the procedures for such vote under the Plan of Adjustment, (ii) the Plan of
              Adjustment is confirmed by the U.S. Bankruptcy Court, and (iii) the funds that are
              pledged to be contributed to the Retirement System pursuant to the terms of the
              State Contribution Agreement and the DIA Settlement Documents have been
              received.

       (2)    Elimination of Pension Improvement Factor. For all pension benefits payable
              after the Effective Date, the Pension Improvement Factor (Escalator) that will be
              applied to the monthly Adjusted Accrued Benefit or Adjusted Deferred Accrued
              Benefit of a Member, retiree, surviving beneficiary or vested former employee
              will be equal to 0%.

       (3)    Recoupment of Excess Returns on Annuity Savings Fund Account. The terms of
              Section G-2 Annuity Savings Fund Recoupment shall apply to the Annuity
              Savings Fund account of Members, retirees and vested former employees as
              provided in Section G-2.

       (4)    Future Disability Pensions Eliminated.     The Duty Disability Retirement
              Allowance and Non-Duty Disability Retirement Allowance are eliminated with
              respect to Members who become disabled on or after July 1, 2014.

       (5)    Effect of Payment Default. In the event that all or a portion of the funds pledged
              to be contributed to the Retirement System pursuant to the terms of the DIA
              Settlement Agreement are not received by the Retirement System, the Board shall
              automatically reduce the monthly pension benefits payable to Members, retirees,
              surviving beneficiaries, and former employees to the extent of such default.

Sec. G-2. Annuity Savings Fund Recoupment

        Notwithstanding anything in Articles A, B, C, D or E to the contrary, upon the effective
date of the Plan of Adjustment, Members, retirees or vested former employees who were
identified by the City as a Class 11 Holder under the Plan of Adjustment and who participated in
the Annuity Savings Fund (“ASF”) at any time during the period that began on July 1, 2003 and
ended on June 30, 2013 (“ASF Recalculation Period”) are subject to the following provisions:

       (1)    Recoupment from Members, retirees and vested former employees who maintain
              an Annuity Savings Fund account (“ASF account”) as of the Effective Date. For
              each Member, retiree or vested former employee who maintains an ASF account


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            in the Retirement System as of the effective date of the Plan of Adjustment, such
            individual’s ASF account balance will be reduced by such individual’s Annuity
            Savings Fund Excess Amount, as determined by the City in accordance with this
            Section G-2 (1).

            a.     For a Member, retiree or former vested employee who did not receive any
                   distribution or loan from such individual’s ASF account during the ASF
                   Recalculation Period, the Annuity Savings Fund Excess Amount means
                   the difference between the value of such individual’s ASF account as
                   recalculated using the Actual Return (as defined in paragraph (3) below)
                   and the actual value of such individual’s ASF account as of June 30, 2013;
                   provided, however, that an individual’s Annuity Savings Fund Excess
                   Amount shall not exceed 20% of the highest value of such individual’s
                   ASF account balance (including any unpaid loan balance relating to the
                   ASF account) during the ASF Recalculation Period.

            b.     For a Member, retiree or vested former employee who during the ASF
                   Recalculation Period has received a distribution (other than a total
                   distribution) or loan from the ASF, the Annuity Savings Fund Excess
                   Amount means the difference between (i) the sum of (A) the value of such
                   individual’s ASF account as of June 30, 2013 and (B) all distributions
                   (including any unpaid loans) received by such individual from his or her
                   ASF account during the ASF Recalculation Period, and (ii) the value of
                   such individual’s ASF account as of June 30, 2013 as recalculated using
                   the Actual Return; provided, however, that an individual’s Annuity
                   Savings Fund Excess Amount shall not exceed 20% of the highest value of
                   such individual’s ASF account balance (including any unpaid loans made
                   to the individual) during the ASF Recalculation Period.

      (2)   Recoupment from Members, retirees and former employees who previously took
            total Annuity Savings Fund account distributions. Except as provided in
            paragraph (4) below, for each Member, retiree or vested former employee who
            has received a total distribution of the individual’s ASF account during the ASF
            Recalculation Period, the individual’s monthly pension benefit (and the survivor
            monthly pension benefit payable to the Member’s survivor, if any) will be
            reduced by the individual’s “Monthly Annuity Savings Fund Excess Amount” as
            determined by the City in accordance with this Section G-2(2).

            A Monthly Annuity Savings Fund Excess Amount means the difference between
            (i) the value of the ASF account of a Member, retiree or vested former employee
            as of the date of distribution to such individual from the ASF, provided such date
            falls within the ASF Recalculation Period, and (ii) the value of the individual’s
            ASF account as of such date, as recalculated using the Actual Return; provided,
            however, such difference shall not exceed 20% of the highest value of such
            individual’s ASF account balance (including any unpaid loan balance) during the
            ASF Recalculation Period; provided, further, such amount will be converted into




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            a monthly annuity amount based on the individual’s life expectancy, gender and,
            if the Member has not already retired, the expected date of retirement.

      (3)   Recoupment from Members, retirees and former employees who received partial
            Annuity Savings Fund account distributions. A Member, retiree or vested former
            employee who previously received a distribution of a portion but not the entirety
            of the Member’s Annuity Savings Account shall be subject to paragraph (1) to the
            extent of any funds then credited to the Member’s Annuity Savings Fund account
            and shall be subject to paragraph (2) to the extent of any Excess Amount that
            cannot be recovered pursuant to paragraph (1).

      (4)   Cash repayment option. Notwithstanding paragraphs (2) and (3) above and
            subject to the Cash Option Cap described below, a Member, retiree, employee or
            former employee whose monthly pension benefit will be reduced pursuant to
            paragraph (2) or (3) may elect to make a single lump sum cash payment to the
            Retirement System of the Annuity Savings Fund Excess Amount by cashier’s
            check or wire transfer (“Cash Repayment Option”). Each individual eligible for
            the Cash Repayment Option shall be provided by first-class U.S. mail an election
            notice and an election form no later than seven days following the Effective Date.
            The individual shall have thirty-five days from the date on which the election
            form is mailed to return the election form as directed on the form. An election of
            the Cash Repayment Option shall be effective only if it is received by the deadline
            set forth on the election form.

            No later than fourteen days following the election deadline, the Board shall notify
            each individual who timely elects the Cash Repayment Option of the amount to
            be repaid to the Retirement System (“Final Payment Notice”). Such amount must
            be paid to the Retirement System on or before the later of (i) ninety days after the
            Effective Date, or (ii) fifty days following the date on which the Final Payment
            Notice is mailed to the individual.

            If payment is not timely received, the monthly pension benefit of an individual
            who elects the Cash Repayment Option shall be reduced as provided in paragraph
            (2) or (3).

            The Cash Repayment Option shall be limited to an aggregate amount of $30
            million (the “Cash Option Cap”). In the event the Retirement System receives
            timely and properly completed election forms representing an aggregate recovery
            amount in excess of the Cash Option Cap, then each individual who made a
            timely election of the Cash Repayment Option shall be permitted to repay an
            amount equal to his pro rata share of the Cash Option Cap. Any Annuity Savings
            Fund Excess Amount that is not repaid under the Cash Repayment Option shall be
            repaid as provided in paragraph (2) or (3).

      (5)   Definition of Actual Return. “Actual Return” means the actual net return
            percentage on the Retirement System’s invested assets for each Fiscal Year




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              during the ASF Recalculation Period; provided, however, that for any such Fiscal
              Year the net return shall not be greater than 7.9% nor less than 0%.

       (6)    Limitation on recoupment. Notwithstanding anything in this Section G-2 to the
              contrary:

              a.     a Member’s ASF account value after recoupment of the Member’s
                     Annuity Savings Fund Excess Amount will never be less than the
                     contributions made to the ASF by such Member and will reflect all interest
                     credited by the Board to the Member’s ASF account for the Fiscal Years
                     ending prior to July 1, 2002; and

              b.     in no event shall the amount recovered from a Member described in
                     Section G-2(2) (or G-2(3), with respect to amounts that may not be
                     recovered pursuant to Section G-2(1)) exceed the Member’s Annuity
                     Savings Fund Excess Amount plus interest on such amount at a rate of
                     6.75%. Upon the Member’s repayment of such amount in full, the
                     Member’s monthly pension benefit in effect immediately prior to
                     adjustment as provided in Section G-2(2) (adjustment as provided in
                     Section G-1), increased as provided in Section G-4, if applicable, shall be
                     fully restored.

       (7)    Cap on benefit reductions for certain retirees. With respect to any retiree or
              surviving beneficiary receiving monthly pension benefits from the Retirement
              System as of June 30, 2014, the Adjusted Accrued Benefit of such retiree or
              surviving beneficiary, as further reduced to take into account any ASF
              Recoupment under Section G-2, shall not be less than 80% of the monthly
              pension benefit being paid to such retiree or surviving beneficiary as of the date
              immediately preceding the Effective Date.

        Annuity Savings Fund Excess Amounts of Members described in paragraphs (1) and (3)
shall be transferred from the Annuity Savings Fund to the Pension Accumulation Fund and shall
be used to pay pensions and other benefits to Members as provided in Component II of the
Combined Plan.

Sec. G-3. Income Stabilization Benefits

       (1)    The provisions of this Section G-3 shall become effective only if each of the
              Conditions Precedent (as that term is defined in the State Contribution
              Agreement) have been met to the satisfaction of the Authority and the Treasurer,
              unless any one or more of such conditions are waived in a writing executed by the
              Authority and the Treasurer.

       (2)    Beginning not later than 120 days after the Effective Date, Component II of the
              Combined Plan shall pay, in accordance with this Section G-3, an annual
              supplemental pension income stabilization benefit (“Income Stabilization
              Benefit”) to each Eligible Pensioner (as defined in Section G-3(5)) equal to the
              lesser of either (i) the amount needed to restore an Eligible Pensioner’s reduced


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            annual pension benefit to 100% of the amount of the annual pension benefit that
            the Eligible Pensioner received from the Retirement System in 2013; or (ii) the
            amount needed to bring the total annual 2013 household income of the Eligible
            Pensioner up to 130% of the Federal Poverty Level for 2013. The Income
            Stabilization Benefit as determined under this Section G-3(2) will not increase
            after the date on which the Income Stabilization Benefit is determined. The
            Income Stabilization Benefit payable to an Eligible Pensioner will terminate
            immediately at such time as the Eligible Pensioner ceases to qualify as an Eligible
            Pensioner.

      (3)   To the extent an Eligible Pensioner’s Estimated Adjusted Annual Household
            Income (as defined in this Section G-3) in any calendar year after the first year
            that the Eligible Pensioner receives a benefit under this Section G-3 is less than
            105% of the Federal Poverty Level in that year, the Eligible Pensioner will
            receive an additional “Income Stabilization Benefit Plus” benefit commencing as
            of the next following July 1.

            a.     The Income Stabilization Benefit Plus benefit for a calendar year will be
                   equal to the lesser of either (i) the amount needed to restore 100% of the
                   Eligible Pensioner’s pension benefit, as increased by any Pension
                   Improvement Factor (Escalator), under Component II of the Combined
                   Plan; or (ii) the amount needed to bring the Eligible Pensioner’s Estimated
                   Adjusted Annual Household Income in that calendar year up to 105% of
                   the Federal Poverty Level in that year.

            b.     An Eligible Pensioner’s “Estimated Adjusted Annual Household Income”
                   for any year will be the sum of (i) the Eligible Pensioner’s 2013 total
                   household income (per his or her (or in the case of a minor child, his or
                   her legal guardian’s) 2013 income tax return or equivalent
                   documentation), less the pension benefit paid to the Eligible Pensioner
                   from the Retirement System in 2013, as adjusted for inflation or Social
                   Security COLA increases; (ii) the Adjusted Accrued Benefit that is
                   payable to the Eligible Pensioner for that year as determined under Section
                   G-1, (iii) any pension restoration payment to the Eligible Pensioner as
                   determined under Section G-4; and (iv) the Eligible Pensioner’s Income
                   Stabilization Benefit.

      (4)   A separate recordkeeping fund called the “Income Stabilization Fund” shall be
            established by the Board for the sole purpose of paying the Income Stabilization
            Benefits and Income Stabilization Benefits Plus to Eligible Pensioners. Any
            funds received by the Retirement System that is designated by the City as UTGO
            Bond Tax Proceeds or a contribution to the Income Stabilization Fund shall be
            credited by the Board to the Income Stabilization Fund. The assets credited to the
            Income Stabilization Fund will be invested on a commingled basis with assets of
            the Retirement System and will be credited with a pro-rata portion of the earnings
            and losses of the Retirement System. Amounts credited to the Income
            Stabilization Fund may not be used for any purpose other than the payment of



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            Income Stabilization Benefits and Income Stabilization Benefit Plus benefits to
            Eligible Pensioners, except as expressly provided in Section G-3 (7).

      (5)   For purposes of this Section G-3, an “Eligible Pensioner” is a retiree or surviving
            spouse who is at least 60 years of age or a minor child receiving survivor benefits,
            each as of the effective date of the Plan of Adjustment, whose benefit will be
            reduced as provided in Section G-1, and who is eligible to receive Income
            Stabilization Benefits because (i) such individual is receiving monthly pension
            benefits from the Retirement System as of the effective date of the Plan of
            Adjustment, and (ii) such individual has a total annual household income equal to
            or less than 140% of the federal poverty level in 2013 (per his or her (or in the
            case of a minor child, his or her legal guardian’s) 2013 income tax return or
            equivalent documentation).

            a.     An eligible individual must apply for an Income Stabilization Benefit in
                   accordance with procedures established by the Authority and provide such
                   substantiation of the individual’s aggregate annual household income as is
                   required by the State in its sole discretion.

            b.     The initial determination of Eligible Pensioners, and amount of the
                   Income Stabilization Benefit payable to each Eligible Pensioner shall be
                   made by the State in its sole discretion. The State shall transmit the list of
                   Eligible Pensioners to the Investment Committee and the Board. The
                   Board, with the assistance of the Investment Committee, shall be
                   responsible for administering the Income Stabilization Fund and annually
                   certifying to the State Treasurer that it has administered the requirements
                   for eligibility and payment of benefits with respect to Eligible Pensioners
                   in accordance with the terms of the State Contribution Agreement.

            c.     After the initial determination of Eligible Pensioners is made, no new
                   individuals will be eligible to receive an Income Stabilization Benefit or
                   an Income Stabilization Benefits Plus benefit at any time in the future.

            d.     An Eligible Pensioner will cease to be an Eligible Pensioner as of the
                   earlier of (i) the Eligible Pensioner’s death, or (ii) with respect to any
                   minor child receiving survivor benefits, the date the minor child reaches
                   the age of 18 years.

      (6)   For purposes of this Section G-3, the “Federal Poverty Level” means the poverty
            guidelines published each year in the Federal Register by the United States
            Department of Health and Human Resources.

      (7)   In the event that in 2022 (provided that the State has not issued a Certificate of
            Default (as defined in the State Contribution Agreement) with respect to the
            Retirement System at any time prior to 2022), it is the opinion of at least 75% of
            the independent members of the Investment Committee that the assets of the
            Income Stabilization Fund exceed the Income Stabilization Benefits and Income



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               Stabilization Benefits Plus benefits anticipated to be made to Eligible Pensioners
               by the Retirement System in the future (“Excess Assets”), the Investment
               Committee may, in its sole discretion, recommend to the Board that all or a
               portion of the Excess Assets, in an amount not to exceed $35 million, be used to
               fund the Adjusted Accrued Benefits or Adjusted Deferred Accrued Benefits, as
               applicable, payable by the Retirement System. The Investment Committee shall
               have the right to engage professional advisers to assist in making this
               determination and such expenses shall be paid by the Retirement System.

       (8)     In the event that any funds remain in the Income Stabilization Fund on the date
               upon which there are no Eligible Pensioners under the Retirement System, such
               funds shall be used to fund the Adjusted Accrued Benefits or Adjusted Deferred
               Accrued Benefits, as applicable, payable by the Retirement System.

Sec. G-4. Restoration of Pension Benefits

        The following rules shall govern how accrued pensions, including Pension Improvement
Factor (“COLA”) benefits, that are reduced as part of the Plan of Adjustment, shall be restored
during the thirty year period following the confirmation order issued by the Bankruptcy court in
In Re. City of Detroit, Michigan, Case No. 13-53846. The pension restoration process shall be
supervised, and restoration decisions undertaken by the Investment Committee and in accordance
with the pension governance provisions set forth in the State Contribution Agreement and
exhibits thereto. The pension restoration program shall be deemed a part of this Component II,
but in the event of any conflict between the language set forth herein and the pension restoration
agreement attached to and made a part of the Plan of Adjustment (“Pension Restoration
Agreement”), the terms of the Pension Restoration Agreement will govern.

       (1)     Waterfall Classes.

               There will be three Waterfall Classes:

               a.     Waterfall Class 1 – Retirees, in retirement benefit pay status as of June 30,
                      2014, and their surviving spouses and beneficiaries.

               b.     Waterfall Class 2 – Retirees, who entered into retirement benefit pay
                      status after June 30, 2014, and their surviving spouses and beneficiaries,
                      and who are in pay status as of the end of the Fiscal Year prior to the year
                      in which the restoration decision is made.

               c.     Waterfall Class 3 – All other Members who as of June 30, 2014 are not in
                      retirement benefit pay status.

       (2)     Restoration of Benefits Through June 30, 2023.

               a.     Each year in conjunction with the annual actuarial valuation report, the
                      Plan Actuary will project the funded ratio of the Retirement System as of
                      2023 based upon the market value of plan assets relative to the actuarial



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                  accrued liabilities (the “Funded Level”). This projection will be further
                  based upon a 6.75% assumed rate of investment return which is net of
                  expenses (investment and administrative), future Employer contributions
                  as set forth in the Plan of Adjustment (subject to the conditions in the Plan
                  of Adjustment) and such other actuarial assumptions as utilized by the
                  Plan Actuary. For purposes of restoration of benefits through June 30,
                  2023, the Funding Target will be a 70% funded ratio, the Restoration
                  Target will be a 75% funded ratio, and the Restoration Reserve
                  Suspension Trigger will be a 71% funded ratio, all projected to June 30,
                  2023. For purposes of calculating the funded ratio, the assets in the
                  Restoration Reserve Account will be excluded. Each year, if the Actuary
                  projects that the projected Funded Level as of June 30, 2023 (excluding
                  Restoration Reserve Account assets to avoid double counting) exceeds the
                  Restoration Target (i.e., exceeds 75%), a credit of assets for bookkeeping
                  purposes will be made into a new notional “Restoration Reserve
                  Account”. The notional credit will be in an amount equal to the excess of
                  assets above the amount projected to be needed to satisfy the Restoration
                  Target. Once the Restoration Reserve Account is established, each year
                  thereafter, Restoration Reserve Account assets will be credited with
                  interest in an amount equal to the net return on Retirement System
                  investments, but capped at the actuarially assumed rate of investment
                  return (i.e., 6.75% for the period through June 30, 2023). In the event of
                  net losses, the credited asset value of the Restoration Reserve Account will
                  be diminished to reflect such losses and any required transfer to the
                  Pension Reserve Fund.

            b.    To the extent that the City’s (including DWSD or a successor authority)
                  actual contributions in any of the Fiscal Years 2015 through 2023 are less
                  than the contributions provided for in the Plan of Adjustment, such
                  difference and any investment earnings thereon shall be notionally
                  allocated to the Pension Reserve Fund.

            c.    Actual restoration payments and credits will work as follows: each year in
                  conjunction with preparation of the annual actuarial valuation report and
                  following establishment of the Restoration Reserve Account, the Plan
                  Actuary will determine whether there are sufficient funds in such account
                  to restore a portion of the 4.5% across the board pension cuts in one or
                  more minimum incremental amounts equal to ½% of the monthly benefit
                  for each member of Waterfall Class 1 (i.e. reducing the initial across the
                  board cut to 4.0%). This restoration only occurs if the funding level in the
                  Restoration Reserve Account can fund 100% of each incremental increase
                  over the remaining actuarially projected lives of the eligible recipients in
                  Waterfall Class 1. If the Restoration Reserve Account satisfies the
                  required funding level, then in the next Fiscal Year, actual restoration
                  payments will be made to Waterfall Class 1 members in amounts equal to
                  the benefit associated with each increment that have been fully funded in
                  the Restoration Reserve Account. Once Waterfall Class 1 has sufficient



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                  assets in the Restoration Reserve Account to fully fund and restore the
                  4.5% cut in their monthly benefits, and to the extent that additional assets
                  in the Restoration Reserve Account remain and will fully fund at least ½%
                  of the monthly benefit for each member of Waterfall Class 2 over their
                  remaining actuarially projected lives, then Waterfall Class 2 members will
                  receive pension restoration in minimum ½% benefit increments until an
                  amount equal to the 4.5% cuts in their monthly benefits has been fully
                  funded. At that juncture, and to the extent that additional assets in the
                  Restoration Reserve Account remain and will fund at least a minimum
                  ½% of the monthly benefit of each member in Waterfall Class 3 over their
                  remaining actuarially projected lives, then each such member of Waterfall
                  Class 3 shall receive a credit granting them a right upon retirement to
                  receive pension restoration equal to the benefit increments that are fully
                  funded. Restoration payments will be calculated and paid on a prospective
                  basis only.

            d.    After the full 4.5% across the board pension cuts are restored for all three
                  Waterfall Classes, and to the extent there are additional assets in the
                  Restoration Reserve Account to fully fund COLA benefits over the
                  actuarially-projected lives of the eligible recipient Waterfall Class, such
                  assets will be used to fully fund and restore a portion of the COLA values
                  that were eliminated as part of the Plan of Adjustment. COLA will be
                  restored in minimum 10% COLA value increments up to 50% of the
                  future COLA values for each member of Waterfall Class 1 (i.e., a 50%
                  future COLA value will constitute a 1.25% simple COLA), then up to
                  50% of the future COLA values for each member of Waterfall Class 2,
                  and then up to 50% of the future COLA values for each member of
                  Waterfall Class 3 until all members of the three Waterfall Classes have
                  had 50% of the value of their COLAs fully funded and restored. After
                  50% of the future values of COLA have been fully funded and restored,
                  and to the extent there are additional assets in the Restoration Reserve
                  Account for each of the three Waterfall Classes, then a second 50% COLA
                  restoration will be made, first to members of Waterfall Class 1, then
                  Waterfall Class 2, and then Waterfall Class 3. Classes will be restored in
                  minimum 10% COLA value increments. Restoration payments will be
                  calculated and paid on a prospective basis only.

            e.    If the amounts in the Restoration Reserve Account are sufficient to fully-
                  fund the 4.5% across the board pension cuts for all three Waterfall Classes
                  and 100% COLA restoration for all three Waterfall Classes, then any
                  additional assets in the Restoration Reserve Account shall be used to
                  increase the frozen accrued benefits of active and other Members whose
                  Annuity Savings Fund accounts were diminished as part of the Annuity
                  Savings Fund Recoupment (described in Section G-2), such that they
                  receive treatment equal to the 20%/20% ceiling applied to retirees in pay
                  status under the Plan of Adjustment. If after such pension restoration
                  there are additional assets in the Restoration Reserve Account to fully



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                  fund benefit increments over their remaining actuarially projected lives,
                  Waterfall Class 1 members will receive pension restoration in ½% benefit
                  increments of the reductions to their monthly pension due to Annuity
                  Savings Fund Recoupment, and once such pension benefits are restored,
                  Waterfall Class 2 members will receive pension restoration in ½% benefit
                  increments in connection with the reductions to their monthly pensions
                  due to Annuity Savings Fund Recoupment. Restoration payments will be
                  calculated and paid on a prospective basis only

            f.    Once restoration payments to applicable retirees and restoration credits to
                  active employees begin, as long as the Restoration Reserve Account
                  continues to have assets sufficient to fund 100% of an incremental pension
                  restoration amount for such Waterfall Class members for their actuarially
                  projected lives, such restoration payments and credits will continue;
                  provided, however, that in the event the Restoration Reserve Account,
                  after having sufficient assets to fund 100% of two or more increments
                  (over their actuarially projected lives), falls below 100% for the second or
                  greater increment, the annual amounts to pay such second or other
                  additional increment can continue until the Restoration Reserve Account
                  lacks any assets to fund it. For example, assume a ½% increment in
                  Waterfall Class 1 requires $10 million in assets to be fully funded for the
                  Waterfall Class members’ actuarially projected lives, and that based on
                  Fiscal Year 2018 results the Restoration Reserve Account has assets of
                  $22 million so as to fund two increments of restoration in Fiscal Year
                  2019, (i.e., a 1% pension increase). Assume further that in the following
                  Fiscal Year the Restoration Reserve Account drops in value to $17
                  million; in such event two increments could still be paid, and the second
                  increment of ½% would cease being paid only if the value of assets in the
                  Restoration Reserve Account dropped to or below $10 million (in the
                  event they dropped below $10 million, the first increment also would
                  cease being paid). For purposes of restoration reduction, restoration
                  increments will be taken away in reverse order in which they were granted
                  (i.e. last in, first out).

            g.    In the event the Funded Level (not including the assets in the Restoration
                  Reserve Account) falls below 71% (hereinafter, “Restoration Reserve
                  Suspension Trigger”), then, until such time as the projected Funded Level
                  in 2023 is 71% or above, further interest credits to the notional Restoration
                  Reserve Account will cease notwithstanding the actual net investment
                  returns for the Retirement System for the Fiscal Year in question.
                  Furthermore, if the Funded Level projected to 2023 falls below the
                  Funding Target (i.e., 70%) then restoration payments and credits in the
                  following year will be modified in the following manner: (1) funds
                  previously credited to the Restoration Reserve Account will be notionally
                  transferred and credited to the Pension Reserve Account in sufficient
                  amounts to restore the projected Funded Level in 2023 to 70%; (2)
                  following such transfer, the remaining assets in the Restoration Reserve



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                   Account shall be applied to make restoration payments in accordance with
                   and pursuant to the same mechanism described in paragraph f.

            h.     Following receipt of the actuarial reports for 2019, and in the event that
                   the projected Funded Level as of 2023 is less than 71%, the Plan Actuary
                   shall revisit the restoration calculations that it made during each of the
                   prior four (4) years. It shall recalculate each such prior year’s Funded
                   Level projection, this time by assuming the lesser of (i) $4.5 million in
                   annual administrative expenses until 2023, or (ii) an amount of annual
                   administrative expenses until 2023 equal to the average annual normal
                   course administrative expenses in the prior four (4) years applicable to
                   Component II, in addition to a net 6.75% annual investment return. If
                   such retrospective recalculation indicates that fewer amounts would have
                   transferred to the Restoration Reserve Account than actually were
                   transferred during such look back period, then the Restoration Reserve
                   Account shall be debited by the lesser of (i) this difference (plus interest at
                   a rate equal to the rate that was credited to the Restoration Reserve
                   Account during the look-back period) or (ii) the dollars that were actually
                   paid out in restoration payments during such look-back period (plus
                   interest at a rate equal to the rate that was credited to the Restoration
                   Reserve Account during the look-back period); or (iii) the amount required
                   to increase the projected 2023 Funded Level to 71%.

      (3)   Restoration of Benefits from July 1, 2023 to June 30, 2033.

            a.     During this period, the Funding Target, the Restoration Target, the
                   Permanent Restoration Targets and the Restoration Reserve Suspension
                   Trigger shall be as set forth below:
                        2023 Funded Level                 2033 Funding Target/Restoration Target

                             75%                                                75%/78%
                             74%                                                74%/77%
                             73%                                                73%/76%
                             72%                                                72%/75%
                             71%                                                71%/74%
                             70%                                                70%/73%
                          69% or lower                                  the % = to 2023 Funded Level %/73%

                                         2033 Permanent Restoration Target
                            75%, or if greater, 1% more than 2033 Restoration Target

                                  2033 Restoration Reserve Suspension Trigger
                              1% more than the projected Funding Target for all time periods

                   The same rules for variable restoration payments and credits that applied
                   during the period ending June 30, 2023 shall apply during the period
                   ending June 30, 2033 (including ceasing interest credits in the event of a
                   Restoration Reserve Suspension Trigger, and making Restoration Reserve
                   Account asset transfers to the Pension Reserve Fund in the event the 2033
                   Funded Level falls below the 2033 Funding Target), except as follows.



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                  For purposes of determining whether the 2033 Restoration Target has been
                  satisfied, the Plan Actuary shall project investment returns through June
                  30, 2033 at the then current investment return assumption which is
                  assumed to be net of expenses (administrative and investment) and the
                  applicable actuarial assumptions as utilized in the annual actuarial
                  valuation. Further, the Plan Actuary shall assume, merely for purposes of
                  determining whether the Restoration Target is satisfied, that the annual
                  City contribution amount shall be the annual amount necessary to fund the
                  Retirement System based upon an amortization of the actual 2023 UAAL
                  at market value over 30 years (hereinafter, the “2023 UAAL
                  Amortization”) and in such manner that the resulting annual contribution
                  stream would achieve the Funding Target set forth above as of 2033.
                  (Such projected, hypothetical contributions shall be for purposes only of
                  making restoration determinations, and shall not necessarily be the actual
                  contributions made or required to be made by the City or recommended
                  during such period; all of which shall be determined independent of the
                  restoration calculation process.). For purposes of calculating the funded
                  ratio, the assets in the Restoration Reserve Account will be excluded.

            b.    To the extent that the City’s actual contributions to the Retirement System
                  in any of the Fiscal Years 2024 (the year ending June 30, 2024) through
                  2033 are greater than the projected annual contribution under the 2023
                  UAAL Amortization, such amounts, and any investment earnings thereon,
                  shall be notionally credited to a new bookkeeping account in the
                  Retirement System called the Extra Contribution Account. In determining
                  pension restoration during the period from Fiscal Year 2024 through 2033,
                  none of the amounts in the Extra Contribution Account shall be considered
                  for purposes of determining the projected funded level for the Restoration
                  Target or Permanent Restoration Targets. To the extent that the City’s
                  (including for this purpose DWSD or a successor authority) actual
                  contributions in any of the Fiscal Years 2024 through 2033 are less than
                  the projected annual contribution under the 2023 UAAL Amortization,
                  such difference and any investment earnings thereon shall be notionally
                  allocated to the Pension Reserve Fund.

            c.    Each year, in addition to the credit of assets that exceed the amount
                  necessary to satisfy the Restoration Target, existing Restoration Account
                  assets will be credited with interest equal to the net return on Retirement
                  System investments, but capped at the then investment return assumption.
                  In the event of net losses, the credited asset value of the Restoration
                  Reserve Account will be diminished to reflect such losses.

            d.    In connection with preparation of the actuarial report for Fiscal Year 2028,
                  the Plan Actuary will determine whether the Retirement System has
                  satisfied the applicable Permanent Restoration Target, which shall be
                  75%. Transfers from the Restoration Reserve Account for credit to the
                  Pension Reserve Fund may be made in such amounts as are necessary to



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                  satisfy the Permanent Restoration Target. If following such transfers the
                  Funded Level as of June 30, 2028 has satisfied the Permanent Restoration
                  Target (75%), then the amounts in the Restoration Reserve Account, if any
                  (which will necessarily represent excess not necessary to satisfy the
                  Permanent Restoration Target), and which fully fund one or more
                  increments of restoration payments for one or more Waterfall Classes over
                  such Waterfall Class members’ actuarially projected lives, shall be
                  transferred from the Restoration Reserve Account and credited to the
                  Pension Reserve Account and the applicable incremental payments shall
                  be permanently restored for the applicable Waterfall Class and shall no
                  longer be variable from year to year. Variable restoration payments will
                  continue to be paid or credited during the period from July 1, 2028
                  through June 30, 2033 based on the applicable Restoration Target set forth
                  in paragraph a and otherwise in accordance with this Section G-4,
                  notwithstanding whether the Restoration Target during this period is less
                  than the Permanent Restoration Target as of June 30, 2028 of 75%.

            e.    In connection with preparation of the annual actuarial valuation report for
                  Fiscal Year 2033, the Plan Actuary will determine whether the Retirement
                  System has satisfied the Permanent Restoration Target for 2033, as set
                  forth in paragraph a. Transfers from the Restoration Reserve Account for
                  credit to the Pension Reserve Account may be made in such amounts as
                  are necessary to satisfy the Permanent Restoration Target. If following
                  such transfers the Funded Level as of June 30, 2033 has satisfied the
                  applicable Permanent Restoration Target, then the amounts in the
                  Restoration Reserve Account if any (which will necessarily represent
                  excess not necessary to satisfy the Permanent Restoration Target), and
                  which fully fund one or more increments of restoration payments for one
                  or more Waterfall Classes over such Waterfall Class members’ actuarially
                  projected lives, shall be transferred from the Restoration Reserve Account
                  and credited to the Pension Reserve Account and the applicable
                  incremental payments shall be permanently restored for the applicable
                  Waterfall Class and shall no longer be variable from year to year.

            f.    Following receipt of the actuarial reports for 2028, and in the event that
                  the projected Funded Level of the Retirement System as of 2033 is less
                  than 71%, the Plan Actuary shall revisit the restoration calculations that it
                  made during each of the prior four (4) years. It shall recalculate each such
                  prior year’s Funded Level projection, this time by assuming the lesser of
                  (i) $4.5 million in annual administrative expenses until 2033, or (ii) an
                  amount of annual normal course administrative expenses until 2033 equal
                  to the average annual administrative expenses in the prior four (4) years
                  applicable to Component II, in addition to a net 6.75% annual investment
                  return. If such retrospective recalculation indicates that fewer amounts
                  would have transferred to the Restoration Reserve Account than actually
                  were transferred during such look back period, then the Restoration
                  Reserve Account shall be debited by the lesser of (i) this difference (plus



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                   interest at a rate equal to the rate that was credited to the Restoration
                   Reserve Account during the look-back period) or (ii) the dollars that were
                   actually paid out in restoration payments during such look-back period
                   (plus interest at a rate equal to the rate that was credited to the Restoration
                   Reserve Account during the look-back period); or (iii) the amount required
                   to increase the projected 2033 Funded Level to 71%.

      (4)   Restoration of Benefits from July 1, 2033 to June 30, 2043.

            a.     During this period, the Funding Target, the Restoration Target , the
                   Permanent Restoration Target and the Restoration Reserve Suspension
                   Trigger shall be as set forth below:
                           2023 Funded Level              2043 Funding Target/Restoration Target

                             75%                                                75%/78%
                             74%                                                74%/77%
                             73%                                                73%/76%
                             72%                                                72%/75%
                             71%                                                71%/74%
                             70%                                                70%/73%
                          69% or lower                                  the % = to 2023 Funded Level %/73%

                                          2043 Permanent Restoration Target
                                75% ,or if greater, 1% more than 2043 Restoration Target

                                  2043 Restoration Reserve Suspension Trigger
                              1% more than the projected Funding Target for all time periods

                   The same rules for restoration that applied during the period ending June
                   30, 2033 shall otherwise apply (including ceasing interest credits in the
                   event of a Restoration Reserve Suspension Trigger, and making
                   Restoration Account asset transfers to the Pension Reserve Fund in the
                   event the 2043 Funded Level falls below the 2043 Funding Target). For
                   example, for purposes of determining whether the 2043 Restoration Target
                   has been satisfied, the Plan Actuary shall project annual contributions
                   using the same 2023 UAAL Amortization. For purposes of calculating the
                   funded ratio, the assets in the Restoration Reserve Account will be
                   excluded, and no Extra Contribution Account assets shall be included for
                   purposes of determining whether the Funded Level meets the Restoration
                   Target or Permanent Restoration Target, including any additions to such
                   account after 2033.

            b.     In connection with preparation of the annual actuarial valuation report for
                   Fiscal Year 2043, the Plan Actuary will determine whether the Retirement
                   System has satisfied the applicable Permanent Restoration Target, as set
                   forth in paragraph a. Transfers from the Restoration Reserve Account for
                   credit to the Pension Reserve Account may be made in such amounts as
                   are necessary to satisfy the Permanent Restoration Target. If following
                   such transfers the Funded Level as of June 30, 2043 is equal to or greater
                   than the applicable Permanent Restoration Target, then the amounts in the



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                   Restoration Reserve Account if any (which will necessarily represent
                   excess not necessary to satisfy the Permanent Restoration Target), shall be
                   transferred from the Restoration Reserve Account and credited to the
                   Pension Reserve Account and the applicable payments for the applicable
                   Waterfall Class shall be permanently restored and shall no longer be
                   variable.

      (5)   Modification of the Pension Restoration Program.

            If any time after July 1, 2026, the Investment Committee (by vote of 5 of its 7
            members), or the Board of Trustees (by a greater than 66% vote) determines that a
            change in relevant circumstances has occurred, or there was a mutual mistake of
            fact in developing the Pension Restoration Agreement, such that the continued
            operation of the Pension Restoration Agreement without amendment will: (a)
            materially harm the long-term economic interests of the City, or Retirement
            System; (b) materially impair the City’s ability to fully fund over a reasonable
            period the then existing frozen benefit liabilities; or (c) materially hinder the
            restoration program, if as of that juncture (and for purposes of applying this
            subsection 5) annual funding levels (excluding the Extra Contribution Account)
            had materially exceeded the applicable Restoration Targets for a substantial
            period yet without any material actual restoration of benefits as contemplated
            herein having been made, the Investment Committee or the Board, as the case
            may be, shall provide written notice to the other entity of such a determination
            and of the need to amend the Pension Restoration Agreement and this Section G-4
            (it being understood that the post-Chapter 9, 40-year amortization period (to
            2053) to fully fund the Retirement System’s frozen liabilities is, unless the
            relevant facts demonstrate otherwise, presumptively reasonable). The Investment
            Committee and the Board shall then meet to negotiate amendments to the Pension
            Restoration Agreement that address the identified risk of harm or impairment, but
            which also considers the Pension Restoration Agreement’s objective of providing
            pension restoration. Such negotiations shall take into account reasonable actions
            the City has pursued or could pursue to mitigate such harm or impairment. Any
            such amendments shall require the approval of a majority vote of the combined
            members of the Investment Committee and Board (persons who sit on both the
            Board and Investment Committee shall have one vote). Such parties shall consult
            with the Mayor, City Council and the Governor of the State of Michigan
            (“Governor”) in connection with such negotiation.

            If the Board, acting through a majority, and the Investment Committee, acting
            through a majority, cannot agree to such amendments with the 90-day period
            following the provision of such notice by the determining party, then the Board
            and Investment Committee shall proceed to mediation upon demand from either
            the Board or the Investment Committee. In this regard, within 30-days following
            expiration of the 90-day period the Board and the Investment Committee shall
            each select a mediator from the list of approved mediators for the United States
            District Court for the Eastern District of Michigan. The two selected mediators
            shall appoint a third neutral mediator from the approved list. Each party shall



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            furnish a written statement to the mediators within 30 days of selection of the
            neutral mediator. Representatives of the Mayor and the Governor shall be
            consulted in connection with such mediations. If following a 90-day mediation
            period following submission of the written statements the matter is not settled,
            then either the Investment Committee or the Board can file an action in the United
            Stated District Court for the Eastern District of Michigan asking it to declare, inter
            alia, whether or in what manner to amend the Pension Restoration Agreement and
            this Section G-4.




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 ARTICLE H. MISCELLANEOUS PROVISIONS OF THE GENERAL RETIREMENT
                            SYSTEM

Sec. H-1. Enforcement; Civil Action.

        A civil action for relief against any act or practice which violates the state law, the 1997
Detroit City Charter, 1984 Detroit City Code or the terms of this Plan, may be brought by:

       (1)     A Plan participant who is or may become eligible to receive benefit;

       (2)     A beneficiary who is or may become eligible to receive a benefit;

       (3)     A Plan fiduciary, including a Trustee;

       (4)     The Finance Director, on behalf of the City as Plan sponsor.

Sec. H-2. Limitation of Other Statutes.

        No other provision of law, charter, or ordinance, which provides pensions or retirement
benefits wholly or partly at the City expense, exclusive of federal Social Security old-age and
survivors’ insurance benefits for City employees, their surviving spouses and other dependents,
shall apply to Members, retirees or beneficiaries of the Retirement System, their surviving
spouses or other dependents.




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                            PRIOR PFRS PENSION PLAN




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           COMBINED PLAN
               FOR THE
           POLICE AND FIRE
       RETIREMENT SYSTEM OF
    THE CITY OF DETROIT, MICHIGAN
                 Amendment and Restatement Effective July 1, 2014




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                 ARTICLE A. COMMON PROVISIONS OF THE POLICE
                         AND FIRE RETIREMENT SYSTEM

Sec. A-1.       Common Provisions

      Certain provisions of the Combined Plan for the Police and Fire Retirement System of the
City of Detroit, Michigan described below are common to both Component I and this
Component II as in effect July 1, 2014. Those provisions are set forth in the following Sections
of Component I:

   (a)      Article I (General Provisions);

   (b)      Article II (Definitions):

         Actuarial Equivalent or Actuarially Equivalent

         Actuarially Equivalent Value

         Administrative Board of Trustees

         Administrative Rules and Regulations

         Age; Attainment of

         Board of Trustees or Board or Retirement Board

         City

         City Council or Council

         Combined Plan

         Component I

         Component II

         DFFA

         DPLSA

         DPCOA

         DPOA

         Detroit Police and Fire Retirement System or Retirement System

         Fiscal Year

         Internal Revenue Code or Code



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         Investment Committee

         Medical Director

         Notice to Members, Beneficiaries and Retirees;

         Plan Actuary or Actuary;

         Plan Document or Combined Plan Document;

         Plan of Adjustment;

         Plan Year;

         Spouse;

         Straight Life Retirement Allowance; and

         Total Disability or Totally Disabled;

   (c)      Article 13 (Limitation on Benefits and Contributions);

   (d)      Article 14 (Retirement System Administration);

   (e)      Article 15 (Management of Funds);

   (f)      Article 16 (Investment of Retirement System Assets); and

   (g)      Article 18 (Miscellaneous).




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         ARTICLE B. FREEZE OF POLICE AND FIRE RETIREMENT SYSTEM
                            AS OF JUNE 30, 2014

Sec. B-1.      Freeze of Police and Fire Retirement System as of June 30, 2014.

        Notwithstanding anything in Chapter 47 of the 1984 Detroit City Code, or in Chapter 54,
Article II of the 1964 Detroit City Code, or any ordinances, resolutions, or orders, or parts
thereof, whether codified or not codified, or any collective bargaining agreement or other
documents governing terms of employment to the contrary, effective as of June 30, 2014 (the
“Freeze Date”):

   (a)      No new employee hired by the City on or after July 1, 2014 shall become a Member
            who is eligible to accrue a benefit under the terms of the Police and Fire Retirement
            System in effect as of the Freeze Date;

   (b)      No employee who is rehired by the City on or after July 1, 2014 and who received a
            distribution of his accumulated employee contributions prior to July 1, 2014, shall
            become a Member who is eligible to accrue a benefit under the terms of the Police
            and Fire Retirement System in effect as of the Freeze Date; provided, however, that if
            a Member who is entitled to a Frozen Accrued Benefit as defined in subsection (d) of
            this Section B-1 and who is rehired by the City on or after July 1, 2014 repays to the
            Police and Fire Retirement System in accordance with a payment schedule approved
            by the Board of Trustees the amount of accumulated employee contributions that he
            withdrew, then such Member shall be eligible to accrue service credit under this
            Component II following rehire solely for the purpose of determining the Member’s
            eligibility for payment of his Frozen Accrued Benefit;

   (c)      No Member shall make contributions to the Annuity Savings Fund under the Police
            and Fire Retirement System in effect as of June 30, 2014 with respect to payroll dates
            occurring on or after August 1, 2014 and all Member contributions made with respect
            to payroll dates occurring on or after August 1, 2014 shall be made to and in
            accordance with the terms of Component I of the Combined Plan;

   (d)      Benefit accruals for Members with respect to service rendered prior to July 1, 2014
            will be frozen based on a Member’s years of service and Average Final
            Compensation and the pension multiplier formulae as of such Freeze Date (“Frozen
            Accrued Benefit”);

   (e)      Except as otherwise provided in this Section B-1, compensation of a Member shall be
            frozen effective as of the Freeze Date for purposes of determining the Member’s
            Frozen Accrued Benefit. No compensation of any type earned by a Member after the
            Freeze Date shall be taken into consideration for purposes of determining the
            Member’s Frozen Accrued Benefit under the Police and Fire Retirement System;

   (f)      Any Member who, as of June 30, 2014, would have been eligible to elect to use a
            portion of the unused accrued sick leave that he could have received in cash upon
            retirement (“Cashable Sick Leave”) to increase his Average Final Compensation if
            the Member had been eligible to retire and had elected to retire as of June 30, 2014,


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           shall have a one-time election to have the value of twenty-five percent (25%) of the
           Member’s Cashable Sick Leave as of June 30, 2014 included in the computation of
           the Member’s Average Final Compensation for purposes of determining the
           Member’s Frozen Accrued Benefit (“Sick Leave Election”); provided, however, that
           the amount of the member’s Cashable Sick Leave at the time the completed election
           form is received by the Retirement System is at least equal to the value of twenty-five
           percent (25%) of the Member’s Cashable Sick Leave as of June 30, 2014 and,
           provided further that the completed election form is received by the Retirement
           System no later than the dates established by the City. A Member’s Sick Leave
           Election shall be made in the manner set forth by the Board of Trustees and the Police
           and Fire Retirement System. Notwithstanding anything in this subsection (f) to the
           contrary, a Member’s Sick Leave Election will be void and the determination of the
           Member’s Average Final Compensation for purposes of calculating the Member’s
           Frozen Accrued Benefit will not take into account any of the Member’s Cashable
           Sick Leave, if (i) the electing Member would not have been eligible to receive an
           immediate service retirement benefit if he retired as of June 30, 2014, and (ii) the
           electing Member’s employment with the City is terminated before the electing
           Member becomes eligible for an immediate service retirement benefit under the
           Police and Fire Retirement System;

   (g)     Service earned after the Freeze Date shall be credited to a Member under this
           Component II solely for purposes of determining a Member’s vesting in and
           eligibility for payment of his or her Frozen Accrued Benefit and to a rehired Member
           solely for purposes of determining the Member’s eligibility for payment of his or her
           Frozen Accrued Benefit. Service credit for all Members for benefit accrual purposes
           under the terms of the Police and Fire Retirement System in effect as of the Freeze
           Date shall be frozen effective as of the Freeze Date and no Member shall earn service
           credit with respect to benefits payable under the terms of the Police and Fire
           Retirement System in effect as of the Freeze Date (except for vesting and benefit
           payment eligibility purposes) after the Freeze Date; and

   (h)     The Deferred Retirement Option Plan (“DROP”) shall remain in effect for all
           Members who have either enrolled in or elected to participate in the DROP as of June
           30, 2014. Members also may elect to participate in the DROP after June 30, 2014
           with respect to their Frozen Accrued Benefits; however, participation in DROP with
           respect to such Frozen Accrued Benefits shall be limited to five years.

        The foregoing terms of Section B-1 shall be referred to as the “Freeze” of the provisions
of the Police and Fire Retirement System as in effect on the Freeze Date and the provisions of
Component II of the Police and Fire Retirement System shall be interpreted and construed by the
Board of Trustees and the Police and Fire Retirement System to give full effect to the Freeze. To
the extent that a conflict arises between this Section B-1 and the provisions of Chapter 54 of the
1964 Detroit City Code, or any Charter, ordinances, resolutions, or orders, or parts thereof,
whether codified or not codified, or any collective bargaining agreement or other document
governing terms of employment of an employee, the Board of Trustees and the Police and Fire
Retirement System are directed to interpret any inconsistency or ambiguity to give full effect to
the Freeze.



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                                ARTICLE C. DEFINITIONS

Sec. C-1.     Definitions.

        Unless a different meaning is plainly required by context, for purposes of this Component
II the following words and phrases have the meanings respectively ascribed to them by this
Section C-1:

       (1)    Accrued Service shall mean a Member’s credited service for employment
              rendered before the date of an actuarial valuation of the Retirement System and
              before July 1, 2014.

       (2)    Accumulated Contributions shall mean the sum of all amounts deducted from the
              compensation of a Member and credited to his individual account in the Annuity
              Savings Fund, together with Regular Interest, as provided in this Component II of
              the Combined Plan.

       (3)    Annuity shall mean payments derived from the Accumulated Contributions of a
              Member.

       (4)    Annuity Reserve shall mean the present value of all payments to be made on
              account of any Annuity, or benefits in lieu of any Annuity, computed on the basis
              of such mortality tables and Regular Interest as shall be adopted by the Board of
              Trustees.

       (5)    Average Final Compensation shall mean:

              a.      With respect to an “Old Plan Member” (an employee described in Section
                      F-2(a)) the current maximum salary for the rank(s), grade(s) or position(s)
                      held by the Member over the sixty (60) months immediately preceding the
                      earlier of: (i) the date his employment with the City last terminated and
                      (ii) June 30, 2014. The salary shall be obtained from the official
                      compensation schedule for the Fiscal Year of the earlier of the dates
                      described in (i) or (ii) and an average shall be determined. A Member
                      who retires on or after July 1, 2000 (for DPCOA and DFFA members) or
                      July 1, 1998 (for all other Members) shall have the Member’s most recent
                      full longevity payment included in his Average Final Compensation.

              b.      With respect to a “New Plan Member” (an employee described in Section
                      F-2(b)) the current maximum salary for the rank(s), grade(s) or position(s)
                      held by the Member over the sixty (60) months immediately preceding the
                      earlier of: (i) the date his employment with the City last terminated and
                      (ii) June 30, 2014. The salary shall be obtained from the official
                      compensation schedule for the Fiscal Year of the earlier of the dates
                      described in (i) or (ii) and an average shall be determined. If more than
                      one (1) rank, grade or position has been held over the sixty (60) month
                      period, a weighted average is determined based on time spent in each rank,
                      grade or position during this sixty (60) month period.



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                  (i)    A Member who retires on or after July 1, 2000 (for DPCOA and
                         fire equivalents) or July 1, 1998 (for all other Members) shall have
                         the Member’s most recent full longevity payment included in his
                         Average Final Compensation.

                  (ii)   Effective July 1, 2000, Average Final Compensation shall be
                         calculated for members of the DPCOA, Executive members and
                         their fire equivalents by using the current maximum salary for the
                         rank(s), grade(s) or position(s) held by the Member over the thirty-
                         six (36) months immediately preceding the earlier of: (i) the date
                         his employment with the City last terminated and (ii) June 30,
                         2014.

            c.    With respect to reduced duty disability retirements occurring on or after
                  July 1, 1992, notwithstanding the provisions of Article F, Part B, Section
                  F-8, for those Members who receive benefits under Article F, Part B,
                  Section F-9(a), the Average Final Compensation used in the computation
                  of the reduced duty disability allowance shall mean the maximum salary at
                  the date of conversion to reduced duty disability retirement for the rank(s),
                  grade(s), or positions(s) which were held by the Member over the sixty
                  (60) months prior to his or her duty disability retirement.

            d.    Subject to Section B-1(f), for purposes of computing the Average Final
                  Compensation received by a Member who retires on or after July 1, 2008
                  and prior to July 1, 2014, the Member shall have the option of adding the
                  value of the three year average of twenty-five percent (25%) of the
                  Member’s unused accrued sick leave at the time of retirement to the
                  earnings used in computing the Average Final Compensation.

            e.    The Average Final Compensation for “Old Plan” and “New Plan”
                  Members represented by DFFA retiring on or after July 1, 1992 or on or
                  after July 1, 2000 for Members represented by DPOA is calculated
                  pursuant to paragraph (b) above. The salary is obtained from the Official
                  Compensation Schedule for the Fiscal Year prior to the Member’s elective
                  date of retirement and an average shall be determined.

            f.    Effective July 1, 2000, for Members represented by DFFA with a parity
                  relationship with the DPCOA Inspector, Average Final Compensation
                  shall be calculated pursuant to paragraph (b)(ii) above. The salary is
                  obtained from the Official Compensation Schedule for the Fiscal Year
                  prior to the Member’s elective date of retirement and an average shall be
                  determined.

            g.    For Members represented by DFFA who have a parity relationship with
                  the DPLSA and the DPCOA Inspector, who retire on or after July 1, 1998
                  and for those having a parity relationship with the DPOA who retire on or
                  after July 1, 2000 and prior to July 1, 2014, the amount of the Member’s



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                   most recent full longevity payment shall be included in the definition of
                   Average Final Compensation.

            h.     Subject to Section B-1(f), all Members represented by DFFA who retire
                   on or after July 1, 2008 and prior to July 1, 2014, may choose to receive
                   the 3-year average of twenty-five percent (25%) of the unused accrued
                   sick leave bank and have that sum included in the average compensation
                   used to compute the Members’ service Pension of their Retirement
                   Allowance.

            i.     Subject to Section B-1(f), non-union uniformed Police and Fire executives
                   represented by DPCOA who retire on or after January 15, 2010 and prior
                   to July 1, 2014 may choose to receive the 3-year average of twenty-five
                   percent (25%) of the unused accrued sick leave bank, and have that sum
                   included in the Average Final Compensation used to compute the
                   Member’s service Pension of their Retirement Allowance.

            j.     Subject to Section B-1(f), a Member represented by DPLSA who retires
                   on or after July 1, 2008 and prior to July 1, 2014 may choose to receive
                   the 3-year average of twenty-five percent (25%) of eighty-five percent
                   (85%) of his or her unused accrued sick leave bank, and have that sum
                   included in the Average Final Compensation used to compute the
                   Member’s service Pension of their Retirement Allowance.

      (6)   Beneficiary shall mean any person or persons (designated by a Member pursuant
            to procedures established by the Board) who are in receipt of a Retirement
            Allowance or Pension payable from funds of the Retirement System due to the
            participation of a Member.

      (7)   Decrement Probabilities shall mean the probabilities of a Member’s withdrawal
            from City employment, death while in the employ of the City, retirement from
            City employment with a Pension payable from funds of the Retirement System,
            and death after retirement.

      (8)   Final Compensation shall mean the annual rate of earnable compensation of a
            Member at the earlier of (i) the time of termination of employment or (ii) June 30,
            2014. Effective July 1, 1992 and prior to July 1, 2014, compensation shall also
            include the value of the percentage reduction in compensation for non-union
            employees, pursuant to ordinance, resolution or executive order. In cases of any
            doubt regarding these values, the decisions of the Board of Trustees shall be
            controlling to implement the intention that no non-union employee will suffer a
            diminution of Pension benefits computation due to reduction in compensation
            because of fiscal emergency and that Pension benefits with respect to Fiscal Years
            beginning July 1, 1992 and ending June 30, 2014 should always be computed as if
            no reduction in compensation occurred due to ordinance, resolution or executive
            order or directive.




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      (9)    Fire Employees (formerly referred to as “Firemen”) shall mean all employees of
             the Fire Department who have taken the oath of office as prescribed in Section 12
             of Chapter XXI of Title IV of the 1918 Detroit City Charter employed therein
             prior to November 10, 1937, and who shall be in the employ of the Fire
             Department of the City of Detroit prior to the effective date of this amendment
             and restatement and, where the context requires, all persons who shall take the
             said oath of office and become members of the Fire Department thereafter.

      (10)   Fire Fighter shall mean the rank in the Fire Department currently or previously
             classified by the civil service commission as Fire Fighter.

      (11)   Member shall mean any member of the Retirement System who has not retired.

      (12)   Membership Service shall mean the total service rendered as a Police Employee or
             Fire Employee prior to July 1, 2014.

      (13)   New Plan shall mean the plan originally created by Title IX, Chapter VII, Article
             IV, Section 1(D) of the 1918 City of Detroit Charter as amended through June 30,
             1974 and continued in effect through June 30, 2014 by Article 11, Section 102 of
             the City of Detroit Charter.

      (14)   Old Plan shall mean the plan originally created by Title IX, Chapter VII, Article
             IV, Section 1(A) and (B) of the 1918 City of Detroit Charter as amended through
             June 30, 1974 and continued in effect through June 30, 2014 by Article 11,
             Section 102 of the City of Detroit Charter.

      (15)   Patrolman shall mean the rank in the Police Department currently or previously
             known as patrolman.

      (16)   Pension shall mean the portion of a Retirement Allowance which is paid for by
             appropriations made by the City.

      (17)   Pension Reserve shall mean the present value of all payments to be made on
             account of any Pension, or benefit in lieu of any Pension, computed upon the
             basis of such mortality tables and Regular Interest as shall be adopted by the
             Board of Trustees.

      (18)   Police Employees (formerly referred to as “Policemen”) shall mean all employees
             of the Police Department who have taken the oath of office as prescribed in
             Section 12 of Chapter XXI of Title IV of the 1918 Detroit City Charter, and who
             shall be in the employ of the Police Department of the City of Detroit prior to the
             effective date of this amendment and restatement and, where the context requires,
             all persons who shall take the said oath of office and become members of the
             Police Department thereafter.

      (19)   Prior Service shall mean service in the military rendered prior to July 1, 2014 as
             provided in Section E-3.




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       (20)   Regular Interest shall mean, for a period of five years from the effective date of
              the Retirement System interest at four per centum per annum, compounded
              annually. For the subsequent five year period, and each five year period
              beginning thereafter but prior to July 1, 2013, Regular Interest shall be such rate
              of interest as the Board of Trustees, in its discretion, may determine and adopt.
              For Fiscal Years beginning on and after July 1, 2013:

              a.     the annual rate of return for purposes of determining the Regular Interest
                     to be credited to a Member’s account in the Annuity Savings Fund shall
                     not be less than zero and shall not be greater than the lesser of (i) 5.25% or
                     (ii) the actual investment return net of expenses of the Retirement
                     System’s invested reserves for the second Fiscal Year immediately
                     preceding the Fiscal Year in which the Regular Interest is credited; and

              b.     the rate(s) of Regular Interest adopted by the Board from time to time as
                     necessary for the operation of the Retirement System on an actuarial basis
                     shall not violate the Plan of Adjustment.

       (21)   Retiree shall mean any Member who has retired with a Pension payable from
              funds of the Retirement System.

       (22)   Retirement shall mean for any Member that such Member has retired, with a
              Pension payable from the funds of the Retirement System.

       (23)   Retirement Allowance shall mean the sum of the Annuity and the Pension.

       (24)   Retirement System or System shall mean the Police and Fire Retirement System of
              the City of Detroit created and established by Title IX, Chapter VII of the 1918
              Charter of the City as amended through June 30, 1974 and continued in effect by
              the provisions of the July 1, 1974 City Charter, and as set forth in the Combined
              Plan effective as of July 1, 2014 and this amendment and restatement of the
              Combined Plan.

       (25)   Salary Factors shall mean the ratio between a Member’s rate of compensation as
              of the date of an actuarial valuation of the Retirement System and his rate of
              compensation as of the earlier of (i) the date of his Retirement and (ii) June 30,
              2014.

       (26)   Service shall mean service with the City as a Police Employee or Fire Employee.

      The following terms shall have the meanings given to them in the Sections of this
Combined Plan Document set forth opposite such term:

Accrued Liability Fund                                      Section G-4(a)
additional years                                            Section F-9(a)(3)
Adjusted Pension Benefit                                    Section K-1(1)
Annuity Reserve Fund                                        Section G-3
Annuity Savings Fund                                        Section G-2(a)



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ASF Excess Return                                     Section G-2(f)
Authority                                             Section K-2(1)
Cashable Sick Leave                                   Section B-1(f)
COLA                                                  Section K-3
Deferred Retirement Option Plan (DROP)                Section B-1(h), Article I
Determination Date                                    Section G-4(a)
Disability Retirement Review Board                    Section F-12(b)
Eligible Pensioner                                    Section K-2(5)
Estimated Adjusted Annual Household Income            Section K-2(3)b
Expense Fund                                          Section G-7
Federal Poverty Level                                 Section K-2(6)
Freeze                                                Section B-1
Freeze Date                                           Section B-1
Frozen Accrued Benefit                                Section B-1(d)
Funding Conditions                                    Section K-1(1)
Funding Proceeds                                      Section G-4(a)
Funding Target                                        Section K-3(2)(a)
GRS                                                   Section K-2(1)
Income Stabilization Benefit                          Section K-2(2)
Income Stabilization Benefit Plus                     Section K-2(3)
Income Stabilization Fund                             Section K-2(4)
New Plan Member                                       Section F-2(b)
Old Plan Member                                       Section F-2(a)
Optional Forms                                        Section F-23
Option 1. Cash Refund Annuity                         Section F-23(a)(1)
Option 2. Joint and Last Survivorship Retirement      Section F-23(a)(2)
Allowance
Option 3. Joint and Seventy-Five Percent Survivor     Section F-23(a)(3)
Allowance
Option 3(A). Modified Joint and Last Survivorship     Section F-23(a)(4)
Allowance
Option 3(B). Joint and Twenty-Five Percent Survivor   Section F-23(a)(5)
Allowance
Participant Loan Program                              Section J-1
Pension Accumulation Fund                             Section G-5
Pension Funding Transaction                           Section G-4(a)
Pension Improvement Factor (Escalator)                Section F-14
Pension Reserve Fund                                  Section G-6
Pop-up Form                                           Section F-23(b)(ii)
Sick Leave Election                                   Section B-1(f)
Standard Form                                         Section F-23(b)(i)
State Treasurer                                       Section K-2(1)
Straight Life Retirement Allowance                    Section F-23
Survivors Benefit Fund                                Section G-10
Transition Cost                                       Section G-2(f)
UAAL                                                  Section G-4(a)




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Waterfall Classes                                Section K-3(1)




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                                    ARTICLE D. MEMBERSHIP

Sec. D-1.          Generally.

        Subject to Section B-1, the membership of Component II of the Retirement System shall
consist of the following:

   (a)          All Police Employees and Fire Employees who were in Service on or after July 1,
                1941, but prior to January 1, 1969; provided, however, that any Police Employee or
                Fire Employee who, on or before July 1, 1941, shall have been in the employ of the
                Police or Fire Department for a period of twenty years, or who shall have a total of
                twenty years of creditable Service, shall be excluded from the provisions hereof and
                shall retain for himself or herself, his or her wife, children, dependent mother and
                dependent sister all rights and privileges provided by Chapters XV and XXI of title
                IV of the 1918 Detroit City Charter, unless any such Police Employee or Fire
                Employee, on or before June 1, 1941, shall file with the City Controller his or her
                written election to become a Member of the Retirement System, in which event he or
                she shall be a Member; such excluded Police Employee not electing to become a
                Member, from and after July 1, 1941, while he or she remains an active member of
                the Police Department, shall pay five per cent of each salary payment into the fund
                for retired Police Employees, and any such excluded Fire Employee not electing to
                become a Member, from and after July 1, 1941, while he or she remains an active
                member of the Fire Department, shall pay five per cent of each salary payment into
                the Fire Department Pension and Retirement Fund, and such salary contributions shall
                hereafter be used toward the payments of Retirement Allowances provided for under
                Chapter XV, Section 14, subsections (1), (2), and (3) thereof. On retirement, the
                contributions of such excluded members shall cease.

   (b)          All persons who became Police Employees or Fire Employees on or after July 1,
                1941, but prior to January 1, 1969, and who are confirmed as Police Employees or
                Fire Employees according to the rules and regulations of the respective Departments
                shall thereupon become Members of the Retirement System, subject, however, to the
                following provisions:

         (i)       Any person who shall become a Police Employee or Fire Employee at an attained
                   age of thirty-one years or more may become a Member of the Retirement System
                   only by vote of the Board of Trustees who shall fix the rate of contribution of
                   such Member on a basis recommended by the Actuary for the attained age of such
                   Member.

         (ii)      Any appointive official of the Police Department or Fire Department appointed
                   from the membership thereof shall be permitted to remain a Member of the
                   Retirement System, paying contributions and entitled to benefits as though he had
                   remained in the rank, grade or position held at the date of his appointment.




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         (iii)     Any Police Employee or Fire Employee who, prior to being confirmed, shall be
                   killed or Totally Disabled as the result of the performance of active duty, shall be
                   deemed to have been a Member of the Retirement System.

   (c)          Any Member as defined in paragraph (a) or (b) of this Section D-1 who shall be
                transferred to a civilian position in his Department shall continue as a Member,
                subject to all the obligations of a Member.

   (d)          All persons who became Police Employees or Fire Employees on or after January 1,
                1969 and prior to July 1, 2014 and who are not individuals re-employed with the
                Police and Fire Departments on or after January 1, 1969 and prior to July 1, 2014, and
                who are confirmed as Police Employees or Fire Employees according to the rules and
                regulations of the respective Departments shall thereupon become Members of the
                Retirement System subject, however, to the following provisions:

         (i)       Any person who shall become a Police Employee or Fire Employee at an attained
                   age of thirty-one years or more may become a Member of the Retirement System
                   only by vote of the Board of Trustees who shall fix the rate of contribution of
                   such Member on a basis recommended by the actuary for the attained Age of such
                   Member.

         (ii)      Any appointive official of the Police Department or Fire Department appointed
                   from the membership thereof shall be permitted to remain a Member of the
                   Retirement System, paying contributions and entitled to benefits as though he had
                   remained in the rank, grade or position held at the date of his appointment.

         (iii)     Any Police Employee or Fire Employee who, prior to being confirmed, shall be
                   killed or Totally Disabled as the result of the performance of active duty, shall be
                   deemed to have been a Member of the Retirement System.

         (iv)      Any Member as defined in Section D-1(a), (b), or (c) who was separated from
                   Service by resignation or dismissal or discharge who subsequently again becomes
                   a Member shall be considered a Member for all purposes under this Component II
                   under Section D-1(a), (b), or (c) and shall not be considered a Member under
                   Section D-1(d).

         (v)       Any Member as defined in Section D-1(d) who shall be transferred to a civilian
                   position in his Department shall continue as a Member, subject to all the
                   obligations of a Member.

Sec. D-2.          Membership election option prior to July 1, 2014.

        Any person who is a Member as defined in Section D-1(a), (b), or (c) who was in active
service on January 1, 1969, shall have had the option to elect to become a Member of the
Retirement System as defined in Section D-1(d) by filing his written election with the Board of
Trustees on or before January 31, 1969, or any Retiree who retired on or before December 31,
1968, under the provisions of Article F, Part B, Section F-8, who returns to active service prior to
July 1, 2014 shall have the option to elect to become a Member of this Retirement System as



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defined in Section D-1(d), by filing his written election with the Board of Trustees on or before
the earlier of (i) thirty days after his return to active service and (ii) June 30, 2014. The election
shall be effective on the date that it is filed with the Board of Trustees.

Sec. D-3.      Cessation of membership.

   (a)      Should a Member die or become a Retiree or be separated from service by
            resignation, dismissal, or disability, he shall thereupon cease to be a Member.

   (b)      Any person who became a Member under Section D-1(a), (b), or (c) and ceases to be
            a Member, as provided in Section D-3(a), and who becomes a Police Employee or
            Fire Employee prior to July 1, 2014, shall again become a Member of Component II
            of the Retirement System, under section D-1(a), (b), or (c) subject to the provisions of
            Article G, Section G-2(d).

   (c)      Any person who became a Member under Section D-1(d) and ceases to be a Member,
            as provided in Section D-3(a), and who becomes a Police Employee or Fire Employee
            prior to July 1, 2014, shall again become a Member of Component II of the
            Retirement System under Section D-1(d), subject to the provisions of Article G,
            Section G-2(d).

   (d)      Any Member of the Retirement System from the Fire Department who retires as a
            Member of the Retirement System and who is rehired prior to July 1, 2014 as a
            civilian Member of the Fire Department may elect on or before June 30, 2014 to
            again become a Member of Component II of the Retirement System.




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                           ARTICLE E. SERVICE CREDITABLE.

Sec. E-1.      Members to file statement of service, etc.

        Under such rules and regulations as the Board of Trustees shall adopt, each Police
Employee and Fire Employee who shall become a Member prior to July 1, 2014 shall file a
detailed statement of all prior service rendered by him as an employee of the Police Department
or Fire Department, for which he claims credit, and of such other facts as the Board of Trustees
may require, for the proper operation of the Retirement System.

Sec. E-2.      Credit for service.

         The Board of Trustees shall fix and determine by appropriate rules and regulations how
much service in any year is equivalent to a year of service, but in no case shall less than six
months’ service constitute one year, nor shall more than one year of service be creditable for all
service in one calendar year. The Board of Trustees shall not allow credit as service for any
period of more than one month during which the Member was or shall be absent without pay
provided that if a Member shall be transferred from his Department payroll to the payroll of any
city, county or state government or the federal government, by his Department head, during
peace times, then such Member shall continue to be a Member of the System and shall he
required to make regular contributions into the Annuity Savings Fund; and provided further, that
if a Member, so transferred, shall fail to make such contributions for three consecutive months,
he shall cease to be a Member of the System four months (of 31 days each) after the due date of
his first defaulted Annuity contribution; and provided further, that any Member who was or shall
be suspended from duty and subsequently reinstated to duty without further disciplinary action,
shall receive total credit for the time of such period or periods of suspension.

Sec. E-3.      Employees in military service commencing prior to July 1, 2014.

   (a)      If a Member of the Retirement System was or shall be drafted, or enlisted or shall
            enlist into military, naval, marine, or other service of the United States government
            during time of war, or if a Member shall be drafted into such service during time of
            peace, and prior to the earlier of (i) ninety days from the date of his separation from
            such government service or from the date peace was or shall be established by treaty,
            whichever date was or shall be earlier, and (ii) June 30, 2014 resumed or shall resume
            employment as a Police Employee or Fire Employee, then such government service
            rendered prior to July 1, 2014 shall be credited to him as a Member of the Retirement
            System. During the period of such government service of a Member, his
            contributions to the Annuity Savings Fund shall be suspended and the balance in the
            Annuity Savings Fund, standing to his credit as of the last payroll date preceding his
            leave of absence from the service of his Department shall be accumulated at Regular
            Interest. Prior to July 1, 2014, even though the applicant may have been unable to
            satisfy all the foregoing requirements, the Board of Trustees had the power to grant
            the privileges provided for by this section in exceptional or extraordinary cases.

   (b)      A Member on the City payroll on or after January 1, 1979 and prior to July 1, 2014
            who, prior to employment in the City service, was called to or entered or is called to



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         or enters any full time military service of the United States during time of war, period
         of compulsory military service, or period of unusual emergency as defined in this
         ordinance, shall have the required period of active duty credited him as Membership
         Service, subject to the following conditions and limitations:

         (1)        The Member files a written election with the Board of Trustees, before the
                    earlier of (i) 180 days following the effective date of this provision or 180
                    days from the date of his first employment in the City service, whichever is
                    most recent, and (ii) June 30, 2014, to claim military service credit under the
                    provisions of this section. A Member who is included in a collective
                    bargaining unit shall file a written election to claim military service credit
                    with the Board of Trustees within 180 days following the date of a negotiated
                    approval and acceptance of this section by his duly authorized bargaining
                    agent as transmitted to the Board of Trustees by the Labor Relations Director
                    or, in the case of Members hired subsequent to the transmittal of approval and
                    acceptance by his duly authorized bargaining agent, within 180 days from the
                    date of his first employment in the City service; provided that any such
                    election is required to be filed prior to July 1, 2014.

         (2)        The Member furnishes the Board of Trustees such information as the Board of
                    Trustees determines necessary to verify the amount of military service
                    claimed.

         (3)        The Member pays to the Pension Accumulation Fund of the Retirement
                    System an amount of five (5) percent of the Member’s annual rate of
                    compensation at the time of payment multiplied by the years or parts of years
                    of military service claimed.

         (4)        The required payment shall be made under one of the following options:

               a.      Payment in full within 30 days of the election to claim military service.

               b.      Payment in equal bi-weekly installments by payroll deduction over a 36
                       month period starting 30 days following the election to claim military
                       service. Interest shall accrue during the period of installment payments at
                       the compound rate of 5 percent per annum. Payments must be completed
                       prior to application for retirement.

               c.      If a Member has sufficient funds in the principal portion of his Annuity, he
                       may authorize the Board to transfer such funds to the Pension
                       Accumulation Fund to meet the required payment.

         (5)        In the event a Member, who has filed the required election of this benefit, and
                    who would be eligible for a Pension in all respects except for paying the full
                    amount, dies prior to completion of the payment required in paragraph (4)
                    preceding, the person otherwise entitled to a Retirement Allowance may pay
                    the full amount due within 30 days of the Member’s death to become eligible
                    for an additional Pension credit under this section.


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         (6)    Military service credited under the provisions of Section 54-30-3(c) of the
                1964 Detroit City Code shall not be claimed or credited under the provisions
                of this section.

         (7)    Military service which is or will be the basis of service credit under any other
                public employee retirement program shall not be claimed or credited under the
                provisions of this section.

         (8)    In no case shall more than 3 years of pre-employment military service be
                credited a Member on account of military service. For the purpose of this
                limitation, military service credited pursuant to Section 54-30-3(a) of the 1964
                Detroit City Code shall be combined with military service created pursuant to
                this section.

         (9)    The required payments made to the Pension Accumulation Fund for military
                service credit pursuant to this section shall, upon application by the Member
                or his estate, be returned without interest to any Member who dies or leaves
                City employment prior to being eligible for a Pension.

         (10)   Only honorable military service during the following periods shall be covered
                by this Section E-3(b):

                World War II — December 8, 1941 to July 1, 1946.

                Korean Conflict — June 27, 1950 to December 31, 1953.

                Vietnam Conflict — August 5, 1964 to May 7, 1975.

         (11)   The military service credit pursuant to this section shall not apply toward
                meeting the minimum service and age requirements for vesting, for a non-duty
                disability Pension or for a service Pension. Such service credit may be used in
                meeting the minimum time needed for an automatic Option Two Pension in
                case of death of a Member.

         (12)   In no case shall benefits be based on the military service credit provided by
                this section unless the Member shall have been credited a minimum of eight
                years of service credit not including military service credit.

         (13)   Special service, contractual, part time, seasonal and summer camp employees
                are not eligible for the military service credit.

         (14)   In cases of doubt, the Board of Trustees will determine whether a Member is
                entitled to the benefits of this section consistent with the requirements and
                limitations herein.

         (15)   Any member of DFFA, DPCOA or DPLSA who performed military service
                prior to employment by the City and membership in the Retirement System




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                   may, prior to July 1 2014, claim service credit as a Member of the Retirement
                   System for time spent in the military service.

            (16)   Effective December 15, 2008, any member of DFFA, DPCOA or DPLSA who
                   has performed any honorable military service may, prior to July 1, 2014,
                   claim up to thirty-six (36) months service in the Pension time for time spent in
                   the military. However, the Member will be required to purchase this military
                   service credit as provided above.

            (17)   Effective March 8, 2007, all DPOA bargaining unit members who have served
                   in the military may, prior to July 1, 2014, purchase a maximum of three (3)
                   years Pension time.

Sec. E-4.      Verification of service claimed.

        Subject to the above restrictions and to such other rules and regulations as the Board of
Trustees may adopt, the Board of Trustees shall verify, as soon as practicable after the filing of
such statements of service, the service therein claimed.

Sec. E-5.      Prior Service certificates.

        Upon verification of the statements of service, the Board of Trustees shall issue Prior
Service certificates, certifying to each Member the length of Prior Service rendered, with which
he is credited. A Prior Service certificate shall be final and conclusive for retirement purposes as
to such service; provided, however, that within one year from the date of issuance or
modification of such certificate the Board of Trustees on its own motion or on the request of a
Member may modify or correct the Prior Service certificate.

Sec. E-6.      Creditable service at retirement.

        Creditable service at retirement, on which the Retirement Allowance of a Member shall
consist of the Membership Service rendered by him prior to July 1, 2014 and, if he has a Prior
Service certificate in full force and effect as of July 1, 2014, the amount of service certified
thereon.




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                   ARTICLE F. BENEFITS PROVIDED TO MEMBERS

                             Part A - Service Retirement Allowance

Sec. F-1.      Petition for retirement, mandatory age.

   (a)      Any Member as defined in Article D, Section D-1 (a), (b), or (c) in service may file
            with the Board of Trustees his written application for retirement setting forth the date
            not less than fifteen days nor more than ninety days subsequent to the filing thereof,
            on which he or she desires to be retired; and provided the Board of Trustees shall
            determine that the Member, at the date so specified for his retirement will have a total
            of twenty-five years or more of creditable service he shall on the date specified be
            retired, notwithstanding that during such period of notification he may have separated
            from service.

            Provided, further, that in the case of any Fire Fighter as defined in Article D, section
            D-1 (a), (b) or (c) having served twenty-five years or more of creditable service, upon
            recommendation of the Board of Fire Commissioners, the Fire Fighter shall be retired
            forthwith, by the Board of Trustees.

   (b)      Any Members as defined in Article D, Section D-1 (d) in service may file with the
            Board of Trustees his written application for retirement setting forth the date not less
            than fifteen days nor more than ninety days subsequent to the filing thereof, on which
            he or she desires to be retired; and provided the Board of Trustees shall determine
            that the Member, at the date so specified for his retirement, will have a total of
            twenty-five years (effective as of March 8, 2007, twenty years for members of DPOA
            and their fire equivalents) or more of creditable service and has attained Age fifty-
            five, he shall on the date specified be retired, notwithstanding that during such period
            of notification he may have separated from service.

            Provided, further, that, effective July 1, 1983 for members of DPOA and fire
            equivalents and June 30, 1986 for DPLSA and fire equivalents and new Members, a
            Member described in Article D, Section D-1(d) shall be eligible to retire upon
            attainment of twenty-five years (effective as of March 8, 2007, twenty years for
            members of DPOA and their fire equivalents) or more of creditable service,
            regardless of Age. Effective July 1, 1998 (June 30, 2001 for DPOA members and
            their fire equivalents), the time a Member is on layoff from service of the City shall
            be included in actual service rendered to the City for purposes of determining whether
            a Member has twenty-five years or twenty years of creditable service. The Pension
            benefit to which such Member is entitled shall be based only on his actual years of
            creditable service. Effective July 1, 1989, the minimum Age requirement for deferred
            Pensions payable for post 1969 Members represented by DPOA and hired before June
            30, 1985 shall be eliminated.

            Notwithstanding the foregoing provisions, effective October 15, 2014, a DPLSA
            member shall be eligible to terminate employment with the City and commence




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         receipt of a Retirement Allowance (or make a DROP election as provided in Article I)
         under this Component II provided the Member satisfies the following requirements:

                            Fiscal Year                    Age and Service
                            2015                           Age 45 and 24 years
                            2016                           Age 46 and 23 years
                            2017                           Age 47 and 23 years
                            2018                           Age 48 and 22 years
                            2019                           Age 49 and 23 years
                            2020 and thereafter            25 years of service

   (c)   Effective June 30, 2001, any Member represented by DPOA and fire equivalents who
         has been laid off shall be eligible to retire at what would have been the Member’s 25th
         anniversary. To determine eligibility for retirement, the Member’s actual service
         time and time on lay off shall be combined. To calculate the Member’s Retirement
         Allowance for members of DFFA, however, only actual service time shall be used.
         For DFFA members having a parity relationship with the DPLSA and the DPCOA
         Inspector, only lay off time which occurred between July 1, 1973 and July 1, 1998
         will be credited. Effective in accordance with the specific date and terms of the
         DPLSA award in Act 312 No. D98 F-0944, Members represented by DPCOA shall
         have the right to retire on their 25th anniversary date, notwithstanding any service
         time they may have lost due to any layoffs, as provided in such award.

   (d)   Any Member represented by DPOA who was hired on or after July 1, 1985 and who
         leaves City employment after being vested shall not be eligible for Pension benefits
         until said individual reaches his or her sixty-second birthday.

   (e)   Any Member of the Retirement System as defined in Article D, Section D-1(a), (b),
         (c), and (d) who shall reach the Age of sixty years shall be retired forthwith, or on the
         first day of the calendar month next succeeding that in which the Member shall have
         reached Age sixty. On the written request of the Member and of the Commissioner of
         Police or the Board of Fire Commissioners, as the case may be, the Board of Trustees
         may continue such Member in active service for a period of two years beyond his
         sixtieth birthday, and on the expiration of such period, on like request, may continue
         such Member for a further period of two years.

   (f)   Any Member of the Retirement System who satisfies the requirements for a Pension
         as defined in Article F, Section F-5 shall be eligible upon ninety days notice to make
         an irrevocable election to receive an immediate Retirement Allowance, actuarially
         reduced for early commencement, in lieu of a deferred Retirement Allowance.

   (g)   Any Member of the Retirement System who was in the service of the City on or after
         July 1, 1941 but prior to January 1, 1969 and who was still an active Member on July
         1, 1983 for DPLSA and fire equivalents and July 1, 1986 for DPOA members and fire
         equivalents shall have the option of retiring under the Old Plan or the New Plan.




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   (h)         Pursuant to IRC 411(e), as in effect in 1974, an employee shall be 100 percent vested
               in his or her Retirement System accrued benefit upon attaining normal retirement
               hereunder while in service.

Sec. F-2.            Old Plan/New Plan

        Effective July 1, 1986, Members of the Retirement System as defined under the terms of
the Retirement System in effect on July 1, 1977, who were in service on or after July 1, 1941 but
prior to January 1, 1969, and are active Members on July 1, 1986 shall have the option of retiring
under the Old Plan or the New Plan.

   (a)         Amount of allowance – Old Plan Members. Upon his or her retirement from service,
               a Member as defined in Article D, Section D-1(a), (b), or (c) (“Old Plan Member”)
               shall receive a straight life Retirement Allowance which shall consist of the benefits
               provided in paragraphs (1) and (2) below; and he or she shall have the right to elect
               an option provided for in Part H of this Article F:

         (1)         An Annuity which shall be the Actuarial Equivalent of the Member’s
                     Accumulated Contributions standing to his or her credit in the Annuity Savings
                     Fund at the time of his or her retirement; and

         (2)         A Pension which, when added to the Member’s Annuity, will provide a straight
                     life Retirement Allowance equal to two percent (2.0%) of his or her Average
                     Final Compensation, multiplied by the number of years, and fraction of a year, of
                     his or her creditable service, not to exceed twenty-five years; provided, that the
                     Retirement Allowance of a Police Employee shall in no case exceed fifteen
                     twenty-seconds of the maximum earnable compensation of a Patrolman and the
                     Retirement Allowance of a Fire Fighter shall not exceed fifteen twenty-seconds of
                     the maximum earnable compensation of a Fire Fighter (and if either or both of the
                     said ranks shall be hereafter abolished, the equivalent thereof). The foregoing
                     Pension limitation shall not apply to any Police Employee or Fire Employee who
                     on July 1, 1941, shall be entitled to a certificate for twenty years or more of prior
                     service and who remains under the provisions of Chapter XV or Chapter XXI of
                     Title IV of the 1918 Detroit City Charter.

   (b)         Amount of allowance – New Plan Members. Upon his retirement from service, a
               Member as defined in Article D, Section D-1(d) (“New Plan Member”) shall receive
               a straight life Retirement Allowance which shall consist of the benefits provided in
               paragraphs (1) and (2) below; and he shall have the right to elect an option provided
               for in Part H of this Article F:

               (1)      An Annuity which shall be the Actuarial Equivalent of the Member’s
                        Accumulated Contributions standing to his or her credit in the Annuity
                        Savings Fund at the time of his retirement; and

               (2)      A Pension which, when added to his or her Annuity, will provide a straight
                        life Retirement Allowance equal to:




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                   a. two and one-half percent (2.5%) of the Member’s Average Final
                      Compensation multiplied by the number of years and fraction of a year of
                      his or her creditable service, for the first twenty-five (25) years of such
                      service; and

                   b. two and one-tenths percent (2.1%) of the Member’s Average Final
                      Compensation multiplied by the number of years and fraction of a year of
                      his or her creditable service in excess of twenty-five (25) years, subject to
                      a maximum of thirty-five (35) years.

Sec. F-3.      Pension Multiplier

   (a)      Notwithstanding Section F-2(a)(2) and F-2(b)(2), effective July 1, 1992 each Member
            who retires on or after that date shall be entitled to a Pension which, when added to
            the Annuity, will provide a straight life Retirement Allowance equal to 2.1% of his or
            her Average Final Compensation, multiplied by the number of years and fraction of a
            year, of his or her creditable service, not to exceed thirty-five (35) years of service for
            New Plan Members and twenty-five (25) years of service for Old Plan Members.

   (b)      Effective July 1, 1997 or for DPCOA members the effective date of the CET-
            DPCOA, each Member who retires shall be entitled to a Pension which when added
            to the Annuity will provide a straight life Retirement Allowance equal to 2.5% (or
            2.1% for DPCOA members) of his or her Average Final Compensation multiplied by
            the number of years and fraction of year of his or her creditable service for the first
            twenty-five (25) years or, in the case of a DPCOA member of his or her creditable
            service earned or accrued on or after the effective date of the CET-DPCOA. For
            Members represented by DFFA, DPCOA and DPLSA, the multiplier shall be 2.1%
            for each year of service over twenty-five (25) years. Maximum years of service for
            Pension credit shall be thirty-five (35) years for New Plan Members and twenty-five
            (25) years for Old Plan Members.

   (c)      Effective September 1, 2011, each Member represented by DPOA who retires shall
            only be entitled to a Pension which, when added to the Annuity, will provide a
            straight life Retirement Allowance equal to 2.1% of his or her Average Final
            Compensation multiplied by the number of years and fraction of a year of his or her
            creditable service earned or accrued on or after September 1, 2011. Hence, for the
            first twenty-five (25) years of service accrued on or after September 1, 2011, the
            multiplier shall no longer be 2.5%; rather, 2.1%. Maximum years of service for
            Pension credit shall be thirty-five (35) years for New Plan Members and twenty-five
            (25) years for Old Plan Members. Service credit accrued prior to September 1, 2011
            will be unaffected by this Section F-3(c).

   (d)      Each DPLSA member who retires shall only be entitled to a Pension which, when
            added to the Annuity, will provide a straight life Retirement Allowance equal to 2.1%
            of his or her Average Final Compensation multiplied by the number of years and
            fraction of a year of his or her creditable service earned or accrued following the date
            of the Act 312 Award in D09 G-0786. Hence, for the first twenty-five (25) years of



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            service accrued after the date of the Act 312 Award, the multiplier shall no longer be
            2.5% as stated in paragraph (b) above. Maximum years of service for Pension credit
            shall be thirty-five (35) years for New Plan Members and twenty-five (25) years for
            Old Plan Members.

Sec. F-4.      Disposition of surplus benefits upon death of retired member.

        In the event a retired Member dies before he or she has received in straight life
Retirement Allowance payments an aggregate amount equal to his or her Accumulated
Contributions standing to his or her credit in the Annuity Savings Fund at the time of his or her
retirement, the difference between his or her said Accumulated Contributions and the said
aggregate amount of straight life Retirement Allowance payments received by him or her shall
be paid to such person or persons as he or she shall have nominated by written designation duly
executed and filed with the Board of Trustees. If there is no such designated person or persons
surviving the said deceased Retiree such difference, if any, shall be paid to his or her legal
representative. No benefits shall be paid under this Section F-4 on account of the death of such a
retired Member if he or she had elected Option 1, 2, 3, 3A or 3B provided for in Part H of this
Article F.

Sec. F-5.      Retirement allowance for certain persons leaving City employment after
               eight years service (40 & 8).

   (a)      Should any DPLSA member or any fire equivalent who (1) has attained age forty
            years of Age, and (2) has acquired eight or more years of credited service, or any
            Member who terminates employment with the City on or after August 29, 2003 with
            ten or more years of credited service leave the employ of the Police Department or
            Fire Department prior to the date he or she would have first become eligible to retire
            as provided in this Part A, for any reason except his or her retirement or death, he or
            she shall be entitled to a Retirement Allowance computed according to Section F-2
            (a) or (b) of this Article F, whichever is applicable, as said Section was in force as of
            the earlier of (i) the date his or her employment with the City last terminated or (ii)
            June 30, 2014; provided, that he or she does not withdraw his or her Accumulated
            Contributions from the Annuity Savings Fund. The Member’s Retirement Allowance
            shall begin the first day of the calendar month next following the month in which his
            or her application for same is filed with the Board of Trustees, on or after the date he
            or she would have been eligible to retire had he or she continued in City employment.
            Notwithstanding the foregoing, prior to March 3, 2008 the Retirement Allowance of a
            DPOA member or a fire equivalent hired on or after July 1, 1985 shall not begin prior
            to the date on which the Member reaches his or her sixty-second birthday. Unless
            otherwise provided in this Component II, such person shall not receive service credit
            for the period of his or her absence from the City Police Department and/or Fire
            Department employ, nor shall his or her Beneficiary be entitled to any other benefit
            afforded in this Component II, except the benefits provided in Part A, Section F-2(a)
            or (b) or Part F of this Article F, whichever is applicable, subject to the above
            provisions, notwithstanding, his or her membership has terminated.




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   (b)      Effective August 28, 2003, for DPOA members and fire equivalents who terminate
            employment after ten (10) years of service shall be vested and shall have all options
            afforded to 40 & 8 Retirees.

Sec. F-6.      Reduced Early Pension Benefits (40 & 8 Vesting Retirees)

   (a)      Members who terminate employment and who are eligible for a Pension pursuant to
            Article F, Part A, Section F-5 of Component II (40 & 8) shall have the option of
            receiving an immediate, but reduced early Pension benefit in lieu of a deferred
            Pension.

   (b)      This reduced early Pension benefit shall not result in an increase in employer
            contribution rates; therefore, the value of the Reduced Early Pension Benefit shall be
            the Actuarial Equivalent of the 40 & 8 Pension.

   (c)      For employees represented by DFFA in ranks or classifications with a parity
            relationship to employees represented by the DPLSA and employees in higher ranks
            or classifications, upon termination, a vested employee must within 90 calendar days
            make an irrevocable election as to whether or not to take this option.

   (d)      Individuals represented by DFFA, DPOA or DPLSA, who terminated employment
            prior to July 1, 1986, are not eligible for this option.

   (e)      An employee who receives a lump sum payment for accumulated time upon
            termination is not allowed to have that time count towards his retirement service.

   (f)      Since Members (other than DPOA and fire equivalents) are eligible to begin
            collecting their vested Pension as soon as they would have been eligible to retire had
            they continued their City employment, minimum retirement age (i.e., Age 55) shall
            not be a factor in computing the actuarially reduced Pension benefit.

   (g)      All DFFA members, except those members in ranks or classifications with a parity
            relationship to employees represented by the DPOA, electing to receive the reduced
            early Pension benefits shall receive upon separation full pay for fifty percent (50%) of
            the unused sick bank amounts. This provision shall have no effect on a Member
            electing to receive the deferred 40 & 8 vested Pension who shall continue to be
            reimbursed for unused sick time in accordance with an applicable collective
            bargaining agreement.

   (h)      Effective August 28, 2003, DPOA members and fire equivalents who terminate
            employment after ten (10) years of service shall be vested and shall have all options
            afforded to 40 & 8 retirees.




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                   Part B — Total Disability Pension and Retirement Allowances

Sec. F-7.         Duty disability.

         If a Member shall become Totally Disabled for duty by reason of injury, illness or disease
resulting from performance of duty and if the Board of Trustees shall find such injury, illness or
disease to have resulted from the performance of duty, on written application to the Board of
Trustees by or on behalf of such Member or by the head of his Department such Member shall be
retired; notwithstanding that during such period of notification he or she may have separated
from service; provided, the Medical Director, after examination of such Member shall certify to
the Board of Trustees his or her Total Disability. If said Member was separated from service
after filing of the written application, and he or she had attained twenty-five years or more of
service prior to the date of separation, the Board of Trustees, shall retire said Member, under this
Part B.

Sec. F-8.         Duty disability benefits; members in service on or after July 1, 1941 but prior
                  to January 1, 1969.

   (a)         A Member, as defined under Article D, Section D-1(a), (b), or (c), shall receive the
               following benefits:

         (1)      Each such Member shall receive a disability Pension of fifty percent (50%), or
                  such other higher percentage that is in effect and applies to such Member, of the
                  Member’s Average Final Compensation at the time of disability retirement. On
                  the date that a Member, who retired under Section F-7 and who receives benefits
                  under this Section F-8, would have accrued twenty-five years of creditable service
                  had the Member continued in active service, or on the date that the Member
                  reaches age sixty, whichever comes first, the Member shall be eligible for
                  optional benefits as provided Part H of this Article F.

         (2)      In addition to the disability Pension provided for in Section F-8(a)(1), any
                  Member who receives a disability Pension pursuant to Section F-8(a)(1) and has
                  not accrued a total of twenty-five (25) years of creditable service as of the date of
                  the Member’s disability retirement shall receive a supplemental disability
                  payment in the amount of sixteen and two-thirds percent (16-2/3%) of the
                  Member’s Average Final Compensation at the earlier of (i) the time of disability
                  retirement or (ii) June 30, 2014. This supplemental payment shall terminate upon
                  the expiration of the period when a Member who retired under Section F-7 of this
                  Part B and who receives benefits under Section F-8(a)(1) would have accrued
                  twenty-five years of creditable service had the Member continued in active
                  service, or on the date that the Member reaches Age sixty, whichever comes first.

                  Effective July 1, 1992 for DPLSA members, the Average Final Compensation
                  used in this computation shall mean the current maximum salary for the rank(s),
                  grade(s) or position(s) which would have been held by the Member over the sixty
                  months prior to the earlier of (i) the date of retirement (reduced disability/service
                  retirement when the Member would have attained a total of twenty-five years of



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                  credited service) had he or she continued working in that classification which he
                  or she held at the time of his or her disability or (ii) June 30, 2014. For Members
                  who begin receiving such benefits on or after July 1, 1998 and before July 1,
                  2014, the amount of the Member’s most recent full longevity payment shall be
                  included in the definition of Average Final Compensation.

                  Effective July 1, 1992 for DFFA and DPOA members, the Average Final
                  Compensation used in this computation shall be the highest average annual
                  compensation that would have been received by such a Member had he or she
                  continued working in the classification he or she held at the time of his or her
                  disability, during any period of five consecutive years, selected by the Member,
                  contained within the last ten years immediately preceding the earlier of (i)
                  expiration of the period when the Member would have attained a total twenty-five
                  years of creditable service and (ii) June 30, 2014.

                  Effective July 1, 2000, the Average Final Compensation used in this computation
                  shall mean the current maximum salary, including the annual longevity payment
                  provided above, for the rank(s), grade(s) or position(s) which would have been
                  held by the Member over the thirty-six (36) months prior to the earlier of (i)
                  retirement or (ii) June 30, 2014.

         (3)      In the case of a Member retired under Section F-8 who receives benefits under F-
                  8(a)(1) and F-8(a)(2), the Accumulated Contributions standing to the Member’s
                  credit at the date of retirement shall continue to be held in the Annuity Savings
                  Fund and Regular Interest shall be credited thereto. If such Member dies before
                  the date upon which the Member would have achieved a total of twenty-five years
                  of creditable service had the Member continued in active service and before such
                  Member reaches Age sixty, the balance of the member’s Annuity Savings
                  Account including interest thereon shall be paid as provided in Part D and Part E
                  of this Article F.

   (b)         This Section shall be applicable to those Members receiving benefits on the date of
               adoption of this Section who are not covered by the arbitration decision regarding the
               DPOA which became effective July 1, 1995, or the arbitration decision regarding the
               DPLSA which became effective June 30, 1998.

   (c)         This Section does not rescind any substantive rights of disability retirees from the
               Retirement System who retired prior to the July 1, 1995 arbitration award, or the
               substantive rights of disability retirees from the DPLSA who retired prior to the June
               30, 1998 arbitration award.

   (d)         This Section does not amend any computations used to determine disability benefits
               payable under this Section F-8, or result in an increase or decrease in such disability
               benefits.




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Sec. F-9.         Duty disability benefits; members beginning service on or after January 1,
                  1969 and becoming disabled prior to the dates set forth in Section F-10.

   (a)      A Member, as defined under Article D, Section D-1(d), who retired under Section
            F-7, shall receive the following benefits:

            (1)      Each such Member shall receive a disability Pension of fifty percent (50%), or
                     such other higher percentage that is in effect and applies to such Member, of
                     the Member’s Average Final Compensation at the earlier of (i) the time of
                     disability retirement or (ii) June 30, 2014. On the date that a Member who
                     retired under Section F-7 of this Part B and who receives benefits under this
                     Section would have accrued twenty-five years of creditable service had the
                     Member continued in active service, or on the date that the Member reaches
                     Age sixty, whichever comes first, the Member shall be eligible for optional
                     benefits as provided Part H of this Article F.

            (2)      In addition to the disability Pension provided for in Section F-8(a)(1) of this
                     Part B, any Member who receives a disability Pension pursuant to Section F-
                     8(a)(1) of this Part B and who has not accrued a total of twenty-five years or
                     more of creditable service as of the date of the Member’s disability retirement
                     shall receive a supplemental disability payment in the amount of sixteen and
                     two-thirds percent (16-2/3%) of the Member’s Average Final Compensation
                     at the earlier of (i) the time of the Member’s disability retirement and (ii) June
                     30, 2014. This supplemental payment shall terminate when a Member who
                     retires under Section F-7 and who receives benefits under Section F-8(a)(1)
                     would have accrued twenty-five years of creditable service had he or she
                     continued in active service or on the date that the Member reaches Age sixty,
                     whichever comes first.

            (3)      In addition to the disability Pension provided for in Section F-8, any Member
                     who receives a disability Pension pursuant to Section F-8(a)(1) and who has
                     accrued more than twenty-five years (“additional years”) of creditable service
                     as of the earlier of (i) the date of the Member’s disability retirement and (ii)
                     June 30, 2014 shall receive another supplemental disability payment equal to
                     two percent (2%), or such other higher percentage that is in effect and applies
                     to such Member, of the Member’s Average Final Compensation as of the
                     earlier of such dates, multiplied by the number of additional years of
                     creditable service the Member has accrued; provided, however, that such
                     supplemental disability payment shall not exceed twenty percent (20%), or
                     such other higher percentage that is in effect and applies to such Member, of
                     the Member’s Average Final Compensation.

            (4)      In the case of a Member who retires under Section F-7 and who receives
                     benefits described under Section F-8(a)(1) through (3), the Accumulated
                     Contributions standing to the Member’s credit at the date of disability
                     retirement shall continue to be held in a separate fund in the Annuity Savings
                     Fund and Regular Interest shall be credited thereto. If such Member dies prior



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                          to the time when the Member would have achieved a total of twenty-five
                          years of creditable service had the Member continued in active service and
                          before such Member reaches Age sixty, the amount of the Member’s
                          Accumulated Contributions so set aside and interest thereon shall be paid as
                          provided in Part D and Part E of this Article. F

             (5)          The amendment of Section F-8(a)(1) shall not result in an increase or decrease
                          in the amount of disability benefits payable to Members.

   (b)       This Section shall be applicable to those Members receiving benefits on the effective
             date of this Section F who are not covered by the arbitration decision regarding the
             DPOA which became effective July 1, 1995, or the arbitration decision regarding the
             DPLSA which became effective June 30, 1998. This Section does not rescind any
             substantive rights of disability retirees from the Retirement System who retired prior
             to the July 1, 1995 arbitration award, or the substantive rights of disability retirees
             from DPLSA who retired prior to the June 30, 1998 arbitration award.

   (c)       This Section does not amend any computations used to determine benefits under
             Section F-8 of this Part, or result in an increase or decrease in such benefits.

Sec. F-10.         Duty Disability benefits; DFFA, DPOA and DPLSA members beginning
                   service on or after January 1, 1969 and becoming disabled on or after the
                   dates set forth below.

   (a)       This Section F-10 shall be applicable to:

             (1)          DFFA employees who file applications for disability retirement on or after
                          July 1, 1995 and who have a parity relationship with the DPOA and on or
                          after June 30, 1998, for DFFA employees with a parity relationship with the
                          DPLSA and the DPCOA Inspector;

             (2)          all DPLSA employees who file applications for disability retirement on or
                          after June 30, 1998; and

             (3)          all DPOA members who file applications for disability retirement on or after
                          July 1, 1995.

   (b)       A Member who retires as a result of duty disability shall receive for a period of
             twenty-four months the sum of:

                   (i)       a basic benefit equal to 50% of the Member’s Final Compensation at the
                             earlier of (i) the time his or her duty disability retirement begins or (ii)
                             June 30, 2014; and

                   (ii)      a supplemental benefit equal to 16-2/3% of the Member’s Final
                             Compensation at the earlier of (i) the time his or her duty disability
                             retirement begins or (ii) June 30, 2014.




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         On July 1st of each year, the benefits determined under paragraphs (i) and (ii) above
         then payable will each be increased by adding to said amounts the product of the
         initial amount of said benefit which was computed at the time the duty disability
         retirement began and the applicable Pension Improvement Factor (Escalator).

   (c)   After a Member receives benefits hereunder for a period of twenty-four months, the
         Board will determine whether the Member is disabled from any occupation. If the
         Member is disabled from any occupation, the Member shall continue to receive the
         benefit provided in paragraphs (b)(i) and (b)(ii) until such time as the Member would
         have attained twenty-five years of creditable service had he continued in active
         Service with the City. At that time, the Member shall continue to receive the benefit
         described in paragraph (b)(i) above; however, benefits described in paragraph (b)(ii)
         above will cease. If the Member is not disabled from any occupation, he shall
         continue to receive the benefit described in paragraph (b)(i) above; benefits described
         in paragraph (b)(ii) will cease.

   (d)   Duty disability retirement benefits shall continue to be paid to a Member on duty
         disability retirement after the Member has attained twenty-five years of creditable
         service, to the earlier of (i) the Member’s attainment of Age sixty-five, or (ii)
         termination of disability as determined by the Board. Upon termination of disability
         or attainment of Age sixty-five, a Member with twenty-five years of creditable
         service shall be eligible to receive a service retirement benefit. The amount of such
         service retirement benefit shall be the same amount which would have been payable
         if the conversion from duty disability retirement to service retirement had occurred at
         the date of attaining twenty-five years of creditable service. In the event that the
         examinations and/or investigations conducted by the Police Department result in a
         determination that a DPOA Member is not qualified for reappointment as a Police
         Employee, for medical reasons, disability benefits will be continued.

   (e)   If a Member on duty disability retirement returns to active service and within a
         twenty-four month period re-qualifies for duty disability retirement for the same or
         related reasons he or she had been retired, then the disability shall be deemed a
         continuation of the prior disabling condition and the period of the return to work will
         not have caused the Member to be entitled to a new initial determination of benefit
         amounts as set forth in paragraph (b) above. Instead, such Member will return to
         retirement at the point he or she had reached in sub-paragraphs (b), (c) or (d) above as
         if there had not been a break in his or her period of placement on duty disability
         retirement.

   (f)   Disability retirement benefits shall continue to be considered benefits provided by the
         City pursuant to the 1918 Detroit City Charter, as amended, which are paid instead of
         and not in addition to any benefits under the State Workers’ Disability Compensation
         Act.

   (g)   Survivor benefit coverage applicable to active Members shall be continued during the
         period a Member is eligible for a duty disability benefit. Upon conversion to a
         service retirement benefit as provided in paragraph (d), automatic survivor benefit



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             coverage shall terminate. At that time, the Member shall have the right to elect an
             optional form of payment in the same manner as if he or she had retired from active
             membership on the conversion date.

   (h)       Pension Credit While on Duty Disability Status

             (1)      While eligible to receive duty disability benefits, Pension service credit shall
                      continue to accrue, but not beyond June 30, 2014.

             (2)      The accrual of Pension service credit will cease on the earlier of (i) the date
                      the Member has twenty-five years of creditable service, or (ii) June 30, 2014.

   (i)       Earnings Offset

             (1)      In the event that a recipient of a duty disability retirement benefit receives
                      earned income from gainful employment during a calendar year, the amount
                      of the Member’s disability benefit payable during the next subsequent Fiscal
                      Year will be adjusted so it does not exceed the difference between (i) the
                      Member’s base salary at the date of disability, increased by 2.25% times the
                      number of full years from the date of disability to the year in which the
                      earnings offset is applied, and (ii) the amount of remuneration from gainful
                      employment during the prior calendar year.

             (2)      The earnings test shall be based on information the Board may periodically
                      require from a duty disability benefit recipient or has secured from other
                      reliable sources. Furnishing such information shall be a condition for a
                      Member’s continued eligibility for a duty disability benefit.

   (j)       The withdrawal provision of the Retirement System will continue to apply to
             Members on duty disability. If a duty disability recipient elects annuity withdrawal
             after attaining twenty-five years of creditable service, the applicable benefit reduction
             will offset the duty disability benefit until the conversion date, after which it will
             offset the converted service retirement benefit.

Sec. F-11.         Non-duty disability.

   (a)       On written application to the Board by or on behalf of a Member or by the head of his
             Department, a Member, who becomes Totally Disabled for duty by reason of injury,
             illness or disease not resulting from the performance of duty as determined by the
             Board of Trustees, shall be retired by the Board of Trustees. If said Member was
             separated from service after the filing of the written application and had attained
             twenty-five years or more of creditable service prior to the date of separation, the
             Board shall retire said Member, under this Part B.

   (b)       A Member retired under paragraph (a) above shall receive the following applicable
             benefits:




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             (1)      If such Member has less than five years of creditable service at the time of his
                      or her disability retirement, his or her Accumulated Contributions standing to
                      his or her credit in the Annuity Savings Fund shall be returned to the Member,
                      or at his or her option, he or she shall receive a cash refund annuity which
                      shall be the Actuarial Equivalent of his or her Accumulated Contributions.

             (2)      If such Member has five or more years of creditable service at the time of his
                      or her disability retirement, he or she shall receive a disability Retirement
                      Allowance computed in accordance with the provisions of this Article F, Part
                      A, Section F-2(a) or (b), whichever is applicable, and he or she shall have the
                      right to elect an Option provided for in Part H of this Article F. The
                      Member’s Straight Life Retirement Allowance shall not be less than twenty
                      per cent of his or her Average Final Compensation. Such Retirement
                      Allowance shall be subject to Parts I and K of this Article F.

             (3)      If a Member receiving non-duty disability benefits has any Accumulated
                      Contributions standing to his or her credit in the Annuity Savings Fund when
                      the Member would have attained twenty-five years (effective as of March 8,
                      2007, twenty years for DPOA members and fire equivalents) of creditable
                      service, such Member may withdraw the balance of such contributions at that
                      time.

Sec. F-12.         Disability retirement procedures.

   (a)       The Board shall establish procedures for determining whether a Member is disabled.
             Such procedures shall be consistent with any collective bargaining agreements
             between the City and the unions covering Police Employees and Fire Employees.

   (b)       If a Member is determined to be disabled, the Board or its designee will examine the
             pension file, including the submissions of the Member and the Police or Fire
             Department, to determine if there is any dispute as to whether the disability “resulted
             from the performance of duty” within the meaning of the Combined Plan. If it is
             undisputed that the disability did result from the performance of duty, the Board will
             grant duty disability retirement benefits. If it is undisputed that the disability did not
             result from the performance of duty, the Board will grant non-duty disability
             retirement benefits, provided the Member meets the other conditions of eligibility. If
             the performance of duty issue is in dispute, the Board will refer the matter to
             arbitration by a member of the Disability Retirement Review Board (“DRRB”). The
             decision of the DRRB member as to whether the disability resulted from the
             performance of duty shall be final and binding upon the Member, the Department and
             the Board. The DRRB shall consist of three qualified arbitrators who will be
             individually assigned in rotating order to decide the matters referred to arbitration by
             the Board. The three members of the DRRB shall be disinterested persons qualified
             as labor arbitrators and shall be selected in accordance with agreements between the
             City and the unions representing Members. The procedure for the termination of
             DRRB members and the selection of new DRRB members also shall be carried out in




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         accordance with the agreements between the City and the unions representing
         Members.

   (c)   The hearing before a member of the DRRB will be conducted in accordance with the
         following procedures:

            (1) The Member and the City will have the right to appear in person or otherwise
                may be represented by counsel if they wish and will be afforded an equal
                opportunity to present evidence relevant to the issues;

            (2) A court reporter will be present and make a stenographic record of the
                proceedings;

            (3) The hearing will be closed to the public, except that the Member may select
                one person to be with him or her in the hearing room; provided, however, that
                person may not testify;

            (4) The witnesses will be sequestered;

            (5) The witnesses will be sworn by the court reporter and testify under oath;

            (6) The Member may not be called by the City as an adverse witness;

            (7) The DRRB member will apply the rules of evidence and follow the
                procedures which are customarily applied and followed in labor arbitration
                cases;

            (8) If the Member wishes to have an employee of the City released from duty to
                appear as a witness on his or her behalf, the Member may so inform the Board
                in writing which, in turn, will submit a written request to the appropriate
                Department for the release of the employee for the purpose of so testifying;

            (9) The DRRB member will afford the parties an opportunity for the presentation
                of oral argument and/or the submission of briefs;

            (10) The DRRB member will issue a written decision containing credibility
                resolutions as necessary, findings of fact and conclusions with respect to all
                relevant issues in dispute;

            (11) The authority of the DRRB member is limited to deciding whether or not
                the Member’s disability “resulted from the performance of duty” within the
                meaning of the Combined Plan. The DRRB member shall have no authority
                to add to, subtract from, modify or disregard the terms of the Combined Plan;
                and

            (12) The costs associated with the hearing, including the arbitrator’s fees and
                expenses and the court reporter’s fees and expenses, will be paid by the
                Retirement System.



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   (d)       If a disability retiree is determined by the Board or its delegate to no longer be
             disabled, he or she may appeal that determination within seven (7) days thereof by
             filing a written request with the Board for a re-examination. The Board or its
             delegate shall promptly arrange for such re-examination. The Member’s disability
             benefits will be continued pending that final and binding medical finding, and if the
             finding is that the Member is no longer disabled, his or her disability benefits will be
             further continued while the Police or Fire Department conducts such examinations
             and/or investigations as necessary to determine whether the Member is qualified for
             reappointment to active duty. In the event that the examinations and/or investigations
             conducted by the Police Department result in a determination that a Member
             represented by DPLSA is not qualified, for medical reasons, for reappointment to
             active duty, disability benefits will be continued.

   (e)       The Board of Trustees shall not act upon or grant the application filed by a Police
             Employee or Fire Employee who, although he or she is not capable of performing the
             full duties of a Police Employee or Fire Employee, has not suffered any diminishment
             of his or her base wages or benefits because he or she is either:

             (1)      regularly assigned to a position, the full duties of which he or she is capable of
                      performing; or

             (2)      assigned to a restricted duty position, unless the Police Department or Fire
                      Department advises that it intends to seek a disability retirement for the Police
                      Employee or Fire Employee in the foreseeable future.

   (f)       The provisions in paragraph (e) above are not intended to and will not:

             (1)      affect the right of a Member to seek a disability retirement when no restricted
                      duty position is available; or

             (2)      restrict in any way the existing authority of the Chief of Police or the Fire
                      Commissioners to seek a duty or non-duty disability retirement for a Member
                      or for that Member at that time to request a duty or non-duty disability
                      retirement.

   (g)       DPCOA and DPLSA members who are retired on disability Pensions pursuant to this
             Part B shall be entitled to lump sum payments of all accumulated time from the date
             that the Board of Trustees determines that they are entitled to such a Pension. These
             members shall not be required to utilize such time delaying their retirement dates.

                     Part C — Escalation and Change in Compensation, Rank

Sec. F-13.         Generally.

       Subject to the Plan of Adjustment, if hereafter the rate of compensation of the rank, grade
or position on which the service Retirement Allowance, disability Pension or disability
Retirement Allowance of a Member who was hired prior to July 1, 1969 or is a Beneficiary of
such a Member as defined in Article D, Section D-1(a), (b), or (c) is based shall be changed, his



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or her service Retirement Allowance, disability Pension, or disability Retirement Allowance
shall be changed proportionately, and if such rank, grade, or position shall have been abolished,
his or her service Retirement Allowance, disability Pension, or disability Retirement Allowance
shall be changed in proportion to the change made in the compensation of the existing rank,
grade, or position most nearly approximating the rank, grade, or position so abolished.

Sec. F-14.     Increase of Benefits; Pension Improvement Factor (Escalator).

        On and after July 1, 1969, and the first of July of each year thereafter until July 1, 1992,
the Pension portion of any Retirement Allowance or death benefit of a Member or Beneficiary of
a Member as defined in Article D, Section D-1(d), which is paid or payable under this
Component II shall be increased at the rate of two per cent (2.0%) per annum computed on the
basis of the amount of the Pension received at the time of retirement.

       On or after July 1, 1992 and the first of July each year thereafter until July 1, 2014, the
Pension portion of any Retirement Allowance or death benefit of a Member or Beneficiary of a
Member as defined in Article D, Section D-1(d), (including those Members who opt to retire
under the New Plan provisions) shall be increased at the rate of two and twenty-five one-
hundredths per cent (2.25%) per annum computed on the basis of the amount of the Pension
received at the time of retirement.

        Effective for Members who retire on or after July 1, 1997 (July 1, 1998 for DPCOA
members, DPLSA members and DFFA members with a parity relationship with DPCOA and
July 1, 2001 for DPOA members and their fire equivalents), the Pension Improvement Factor
(Escalator) described in this Section shall be re-computed each Fiscal Year ending before July 1,
2014 on the basis of the amount of Pension received in the previous Fiscal Year (i.e., the 2.25%
per annum escalation amount shall be compounded).

       Pension benefits for DPCOA members under Component II based on service rendered
after November 30, 2012 shall not be subject to any escalation amounts.

        The Pension portion of any Retirement Allowance or death benefit of a Member, or
Beneficiary of a Member as defined in Article D, Section D-1(d) of the Combined Plan
provisions, and Article 51.G. of the DPLSA collective bargaining agreement or Article 3.K. of
the DPOA collective bargaining agreement (to include those Members who opt out to retire
under the New Plan provisions) earned after April 1, 2011 (for DPLSA members) or September
1, 2011 (for DPOA members), shall not be increased whatsoever, per annum or otherwise. The
Pension portion of any Retirement Allowance or death benefit of a Member, or Beneficiary of a
Member as defined herein, accrued prior to April 1, 2011 (for DPLSA members) or September 1,
2011 (for DPOA members), shall still be increased as provided herein. Hence, Pension benefits
earned based on service rendered after April 1, 2011 (for DPLSA members) or September 1,
2011 (for DPOA members) will no longer receive the 2.25% per annum escalation amount. The
2.25% per annum escalation amount shall continue to apply to Pension benefits earned based on
service rendered before April 1, 2011 (for DPLSA members) or September 1, 2011 (for DPOA
members).




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Sec. F-15.      Payment.

       Except as provided in the Plan of Adjustment, the escalation factor contained in Section
F-14 above shall be payable to the Member or Beneficiary of a Member as defined in Article D,
Section D-1(d), notwithstanding any Retirement Allowance or Pension amount limitation
provisions in this Component II to the contrary.

                                     Part D — Death Benefits.

Sec. F-16.      Generally.

        If a Member, or a Retiree who was a Member, is killed in the performance of his or her
duty or dies as the result of illness contracted or injuries received while in the performance of his
or her duty and such death, illness or injuries resulting in death, is found by the Board of
Trustees to have resulted from the performance of his or her duty, the following applicable
benefits shall be paid, subject to Part I, Section F-25, of this Article F.

   (a)       The Accumulated Contributions standing to his or her credit in the Annuity Savings
             Fund at the time of his or her death shall be paid to such person or persons as he or
             she shall have nominated by written designation duly executed and filed with the
             Board of Trustees. If there is no such designated person surviving, his or her said
             Accumulated Contributions shall be paid to his or her legal representative, subject to
             paragraph (e) of this Section F-16.

   (b)       A Member’s surviving spouse shall receive a Pension of five-elevenths of the
             maximum earnable compensation for the rank of Patrolman or Fire Fighter as the case
             may be determined as of the earlier of (i) the date of death or (ii) June 30, 2014. If his
             or her child or children under Age eighteen years also survive the deceased Member
             each such child shall receive a Pension of one-tenth of such maximum earnable
             compensation as of the earlier of (i) the date of death or (ii) June 30, 2014; provided,
             that if there are more than two such surviving children under Age eighteen years,
             each such child’s Pension shall be an equal share of seven thirty-thirds of such
             maximum earnable compensation. Upon the death, marriage, adoption, or Attainment
             of Age eighteen years of any such child his or her Pension shall terminate and there
             shall be a redistribution by the Board of Trustees to the deceased Member’s
             remaining eligible children, if any; provided, that in no case shall any such child’s
             Pension exceed one-tenth of such maximum earnable compensation. In no case shall
             the total of the Pensions, provided for in this paragraph (b), payable on account of the
             death of a Member exceed two-thirds of the maximum earnable compensation for the
             rank of Patrolman or Fire Fighter, as the case may be, determined as of the earlier of
             (i) the date of the Member’s death or (ii) June 30, 2014.

             Effective July 1, 1986, widows of Police Department or Fire Department employees
             who have been receiving a flat monthly benefit of $300.00 should receive an increase
             of $500.00 per month thereby making the flat monthly benefit $800.00.

   (c)       If no spouse survives the deceased Member or if his or her surviving spouse dies or
             remarries before his or her youngest unmarried surviving child attains Age eighteen


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         years, his or her unmarried child or children under age eighteen years shall each
         receive a Pension of one-fourth of the maximum earnable compensation for the rank
         of Police Employee or Fire Employee, as the case may be as of the earlier of (i) the
         date of the Member’s death or (ii) June 30, 2014; provided that if there are more than
         two such surviving children under Age eighteen years, each such child’s Pension
         shall be an equal share of one-half of such maximum earnable compensation. Upon
         the death, marriage, adoption, or Attainment of Age eighteen years of any such child
         his or her Pension shall terminate and there shall be a redistribution by the Board of
         Trustees to the deceased Member’s remaining eligible children, if any; provided, that
         in no case shall any such child’s Pension exceed one-fourth of the maximum earnable
         compensation for the rank of Patrolman or Fire Fighter, as the case may be
         determined as of the earlier of (i) the date of the Member’s death, or (ii) June 30,
         2014.

   (d)   If there is no surviving spouse and if there are no children under Age eighteen years
         surviving such deceased Member and if he or she leaves surviving either a father or
         mother or both, whom the Board of Trustees shall find to be actually dependent upon
         such Member for financial support, such dependent father and mother shall each
         receive a Pension of one-sixth of the maximum earnable compensation for the rank of
         Patrolman or Fire Fighter, as the case may be determined as of the earlier of (i) the
         date of the Member’s death, or (ii) June 30, 2014.

   (e)   If a Member dies intestate, without having designated a person or persons, as
         provided in sub-section (a) of this section, and without heirs, the amount of his or her
         Accumulated Contributions in the Annuity Savings Fund, not to exceed a reasonable
         sum, to be determined by the Board of Trustees, shall be used to pay his or her burial
         expenses, provided he or she leave no other estate sufficient for such purpose; any
         balance credited to such Member in the Annuity Savings Fund, and not used for
         burial expenses shall remain a part of the funds of the Retirement System and shall be
         credited to the Pension Accumulation Fund.

   (f)   If the maximum earnable compensation for the rank of Patrolman or Fire Fighter, as
         the case may be, is subsequently changed, the Pensions provided in this Section F-16
         for beneficiaries of Members as defined in Article D, Section D-1(a), (b), or (c) shall
         be proportionately changed; provided, however, that no increases shall be made after
         June 30, 2014.

   (g)   The maximum earnable compensation for the rank of Patrolman or Fire Fighter, as
         the case may be, to be used in computing the Pensions provided in this Section for
         beneficiaries of Members as defined in Article D, Section D-1(d) shall be the
         maximum earnable compensation of the rank of Patrolman or Fire Fighter as
         established by the City’s budget for the Fiscal Year in which occurs the earlier of (i)
         the date of the Member’s death, or (ii) June 30, 2014.




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                                     Part E — Nonduty Death.

Sec. F-17.      Payment of Accumulated Contributions.

        If a Member, or a Member who retires after June 30, 1965, under Part B, Section F-7 of
this Article F, dies and no Pension or Pensions become payable under this Component II on
account of his or her death, the Accumulated Contributions standing to his or her credit in the
Annuity Savings Fund at the time of death shall be paid to such person or persons as he or she
shall have nominated by written designation duly executed and filed with the Board of Trustees.
If there is no such designated person or persons surviving the said Member, his or her said
Accumulated Contributions shall be paid to his or her legal representative. If such Member dies
intestate, without having designated a person as above provided, and without heirs, his or her
said Accumulated Contributions not to exceed a reasonable sum to be determined by the Board
of Trustees, shall be used to pay his or her burial expenses, provided he or she leaves no other
estate sufficient for such purpose; and any balance credited to such Member in the Annuity
Savings Fund not so used for burial expenses shall be transferred to the Survivors Benefit Fund.

Sec. F-18.      Allowances to surviving spouses.

        Upon the death of a Member, or a Member who retires after June 30, 1965, under Part B,
Section F-7 of this Article F, and such death is found by the Board of Trustees not to have
resulted from the performance of his or her duty, the applicable Retirement Allowances provided
in paragraphs (a), (b), (c) and (d) of Section F-1 shall be paid from the Survivors Benefit Fund,
to the extent of available funding, and shall be subject to paragraphs (e), (f) and (g) of Section F-
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   (a)       His or her surviving spouse shall receive a Retirement Allowance computed in the
             same manner in all respects as if the said Member had (1) regularly retired on the
             earlier of (i) the day preceding the date of his or her death, or (ii) June 30, 2014,
             notwithstanding that he or she might not have acquired twenty-five years of creditable
             service, in the case of a Member as defined in Article D, Section D-1(a), (b), or (c), or
             notwithstanding that he or she might not have acquired twenty-five years of service or
             more and had not attained age fifty-five, in the case of a Member as defined in Article
             D, Section D-1(d); (2) elected Option 2 provided for in Part H of this Article F; and
             (3) nominated his or her surviving spouse as joint Beneficiary; provided, that in no
             case shall the Retirement Allowance payable to such joint Beneficiary be less than
             twenty per cent of said Member’s Average Final Compensation as of the earlier of (i)
             the Member’s date of death, and (ii) June 30, 2014. If a Member who had less than
             twenty-five years of creditable service dies prior to July 1, 2001, the Retirement
             Allowance payable to the surviving spouse shall be terminated in the event the
             surviving spouse remarries.

   (b)       His or her unmarried child or children under Age eighteen years shall each receive a
             Retirement Allowance of one-seventh of the annual maximum earnable compensation
             of the rank of a Patrolman or a Fire Fighter, as the case may be determined as of the
             earlier of (i) the Member’s date of death, and (ii) June 30, 2014; provided, that if
             there are more than two such children, each child shall receive a Retirement



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         Allowance of an equal share of two-sevenths of said annual maximum earnable
         compensation. Upon any such child’s adoption, marriage, death or Attainment of
         Age eighteen years, whichever occurs first, his or her Retirement Allowance shall
         terminate, and there shall be a redistribution by the Board of Trustees to the deceased
         Member’s remaining eligible children under Age eighteen years; provided, that in no
         case shall the Retirement Allowance payable to any such child exceed one-seventh of
         the said annual maximum earnable compensation.

   (c)   If, at the time of the said Member’s death, there shall be neither a surviving spouse
         nor children eligible for a Retirement Allowance provided for in this Section F-18,
         each of his or her parents shall receive a Retirement Allowance of one-seventh of the
         annual maximum earnable compensation of a Patrolman, or a Fire Fighter, as the case
         may be determined as of the earlier of (i) the Member’s date of death, and (ii) June
         30, 2014; provided, that the Board of Trustees finds that such parent was dependent
         upon the said Member for at least fifty per cent of his or her financial support. Upon
         the remarriage of any such parent, his or her Retirement Allowance shall thereupon
         terminate.

   (d)   In the event all the Retirement Allowances, provided for in this Section F-18, payable
         on account of the death of a Member, terminate before there has been paid an
         aggregate amount equal to the said Member’s Accumulated Contributions standing to
         his or her credit in the Annuity Savings Fund at the time of death, the difference
         between his or her said Accumulated Contributions and the said aggregate amount of
         Retirement Allowances shall be paid to such persons as the said Member shall have
         nominated by written designation duly executed and filed with the Board of Trustees.
         If there are no such designated person or persons surviving the said Member such
         difference, if any, shall be paid to his or her legal representative.

   (e)   In no case shall any Retirement Allowance be paid under this Section F-18 on
         account of the death of a Member if any benefits are paid under Part D of this Article
         F on account of his or her death. The Retirement Allowance provided for in this
         Section F-18 shall be subject to Part I of this Article F.

   (f)   All benefits provided in this Part E for Beneficiaries of Members as defined in Article
         D, Section D-1(a), (b), or (c) shall be based on the maximum earnable compensation
         of the rank of Patrolman or Fire Fighter, as the case may be determined as of the
         earlier of (i) the Member’s date of death, or (ii) June 30, 2014. If a Member died
         before July 1, 2014 and the compensation of such rank shall be changed prior to July
         1, 2014, the benefits provided shall be changed proportionately. All benefits
         provided in this Part E for Beneficiaries of Members as defined in Article D, Section
         D-1(d) shall be based on the maximum earnable compensation of the rank of
         Patrolman or Fire Fighter as established in the City’s budget for the year of the earlier
         of (i) the Member’s death or (ii) June 30, 2014.

   (g)   In the event a Member has withdrawn his or her Accumulated Contributions from the
         Annuity Savings Fund and has not returned in full all amounts due the fund by him or
         her, the survivors benefits provided in paragraphs (a), (b), (c) and (d) of this Section



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             shall be reduced to the proportion that the Member’s Accumulated Contributions
             standing to his or her credit in the Annuity Savings Fund, at the time of his or her
             death bears to the amount his Accumulated Contributions would have been had he or
             she not made a withdrawal from the Annuity Savings Fund.

                     Part F — Termination of Membership Otherwise than
                       by Retirement, Death or Becoming a Beneficiary.

Sec. F-19.      Payment of benefits.

        If the membership of a Member as defined in Article D, Section D-1(a), (b), or (c) shall
terminate for any reason other than retirement, his or her becoming a Beneficiary, or death, the
Member shall be paid the Accumulated Contributions standing to the credit of his or her
individual account in the Annuity Savings Fund, such payment to be made within ninety days
after such termination of membership; provided, however, that if a Member eligible for
retirement shall resign or be dismissed from service, the Board of Trustees, on the written
petition of such Member filed within one year from his or her separation from service and prior
to the withdrawal of his or her Accumulated Contributions in the Annuity Savings Fund, shall
grant such Member service retirement benefits computed in accordance with Article F, Part A,
Section F-2(a), subject to the provisions of Part G of this Article F.

Sec. F-20.      Payment of benefits.

        If the membership of a Member as defined in Article D, Section D-1(d) shall terminate
for any reason other than retirement, his or her becoming a Beneficiary or death, he or she shall
be paid the Accumulated Contributions standing to the credit of his or her individual account in
the Annuity Savings Fund, such payment to be made within ninety days after such termination of
membership; provided, however, that if a Member having twenty-five or more years of service
and having attained age fifty-five shall resign or be dismissed from service, the Board of
Trustees, on the written petition of such Member filed within one year from his or her separation
from service and prior to the withdrawal of his Accumulated Contributions in the Annuity
Savings Fund, shall grant such Member service retirement benefits computed in accordance with
Article F, Part A, Section F-2(b), subject to the provisions of Part G of this Article F.

Sec. F-21.      Deferred vested benefits.

        A Member (i) whose employment is terminated before August 28, 2003 and who is
credited with eight or more years of creditable service and has attained Age forty, or (ii) whose
employment is terminated after August 27, 2008 and who is credited with ten or more years of
creditable service, but in each case less than twenty-five years (effective as of March 8, 2007,
twenty years for DPOA members and fire equivalents) of creditable service shall be eligible to
receive a full Retirement Allowance under Component II beginning on the date upon which the
Member would have been eligible to commence a full Retirement Allowance had he or she
continued in the service of the City until such date. Alternatively, such Member may elect to
receive an actuarially reduced early Retirement Allowance at any time following his or her
termination of employment with the City.

                                 Part G — Conviction of Felony.


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Sec. F-22.         Forfeiture of rights.

        If a Member or retiree as defined in Article D, Section D-1(a), (b), (c) or (d) shall be
convicted of by a court of competent jurisdiction or enters a nolo contendere plea accepted by a
court for a felony against the City arising out of his or her service as an employee of the City and
while a Member of the Retirement System, the court may order the forfeiture of all or a portion
of the rights of the Member to benefits hereunder, except the return of his or her Accumulated
Contributions, as provided in the Public Employee Retirement Benefits Forfeiture Act, MCL
38.2701, et. seq. In such case, the Retirement System shall pay to an individual, if any, who
would otherwise be a Beneficiary of the Member or retiree whose retirement benefit is being
forfeited under this Section F-22 an Actuarially Equivalent monthly retirement allowance at the
Age that the Member or Retiree would have become eligible for unreduced retirement benefits
under the Retirement System.

                                     Part H — Option Elections.

Sec. F-23.         Generally.

   (a)       Prior to the first payment of any Retirement Allowance normally due, except a
             disability Pension payable under Part B, Sections F-8 and F-11 of this article, a
             Member may elect to receive his or her Retirement Allowance as a Straight Life
             Retirement Allowance payable throughout the Member’s life; or the Member may
             elect to receive the Actuarial Equivalent, as of the date of the Member’s retirement, of
             his or her Straight Life Retirement Allowance in a reduced Retirement Allowance
             payable throughout the Member’s life and nominate a joint Beneficiary, in
             accordance with the provisions of Options 1, 2, 3, 3(A) or 3(B) as follows:

             (1)      OPTION 1. Cash Refund Annuity. Under Option 1, a Member will receive a
                      reduced Retirement Allowance. If a Member who selected Option 1 dies
                      before full payment of the Annuity has been received, the person or persons
                      nominated by that Member’s written designation duly executed by the
                      Member and filed with the Board of Trustees shall receive in a single payment
                      the difference between the present value of the Member’s Annuity on the date
                      the Member retired, minus the amount of Annuity payments already paid to
                      the Member. If there is no such designated person(s) surviving the retired
                      deceased Member, such difference, if any, shall be paid to the Member’s legal
                      representative.

             (2)      OPTION 2. Joint and Last Survivorship Retirement Allowance. Under
                      Option 2, upon a Member’s death, payment of a reduced Retirement
                      Allowance shall be continued through the life of and paid the person having
                      an insurable interest in the Member’s life and nominated by written
                      designation duly executed by the Member and filed with the Board of Trustees
                      prior to the first payment of the Member’s Retirement Allowance is due.

             (3)      OPTION 3. Joint and Seventy-Five Percent Survivor Allowance. Under
                      Option 3, upon a Member’s death, payment of seventy-five percent (75%) of



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                         the Member’s reduced Retirement Allowance shall be continued throughout
                         the life of and paid to the person having an insurable interest in the Member’s
                         life and nominated by that Member’s written designation duly executed by the
                         Member and filed with the Board of Trustees prior to the date the first
                         payment of the Retirement Allowance is due.

            (4)          OPTION 3(A). Modified Joint and Last Survivorship Allowance. Under
                         Option 3(A), upon a Member’s death, payment of one-half (50%) of the
                         Member’s reduced Retirement Allowance shall be continued throughout the
                         life of and paid to the person having an insurable interest in the Member’s life
                         and nominated by that Member’s written designation duly executed by the
                         Member and filed with the Board of Trustees prior to the date the first
                         payment of the Retirement Allowance is due.

            (5)          OPTION 3(B). Joint and Twenty-Five Percent Survivor Allowance. Under
                         Option 3(B), upon a Member’s death, payment of twenty-five percent (25%)
                         of the Member’s reduced Retirement Allowance shall be continued
                         throughout the life of and paid to the person having an insurable interest in the
                         Member’s life and nominated by that Member’s written designation duly
                         executed by the Member and filed with the Board of Trustees prior to the date
                         the first payment of the Retirement Allowance is due.

   (b)      The Joint and Survivor Optional Forms of Payment provided under Options 2, 3, 3(A)
            and 3(B) shall be made available in either the standard form or the pop-up form, as
            follows:

                  (i)       Standard Form. Under the Standard Form, the reduced Retirement
                            Allowance shall be paid throughout the lifetime of the Retiree.

                  (ii)      Pop-up Form. Under the Pop-up Form, the reduced allowance shall be
                            paid throughout the lifetime of the Retiree and the designated Beneficiary.
                            In the event of the death of the designated Beneficiary during the lifetime
                            of the Retiree, the amount of the allowance shall be changed to the amount
                            that would have been payable had the Retiree elected the Straight Life
                            Form of Payment. The actuarial cost of the change in benefit shall be
                            borne by the Member who seeks change in his or her election.

         In addition, a Member may elect to have all or part of his Accumulated Contributions
         paid to the Member in a single sum or used to purchase an annuity contract from an
         insurance company of his or her choice in which case, any annuity payments attributable
         to such amount under the Retirement System shall not be payable from the Annuity
         Reserve fund but shall be the responsibility of the insurance company. A Member’ s
         Retirement Allowance shall be reduced by the actuarial equivalent of the amount so paid
         or used.

   (c)      This Section does not rescind any substantive rights of disability retirees from the
            Retirement System who retired prior to the arbitration decision regarding DPOA



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             members that became effective on July 1, 1995, or the arbitration decision regarding
             DPLSA members that became effective on June 30, 1998.

   (d)       This Section does not amend any computations used to determine benefits under Part
             B, Sections F-8 and F-11 of this Component II, or result in an increase or decrease in
             such benefits.

   (e)       Retirees of the Retirement System shall be entitled to change their Pension option
             from either Option 2, Option 3, Option 3(A) or Option 3(B) to a Straight Life
             Retirement Allowance after they have commenced collection of the Pension if the
             Member’s Beneficiary predeceases the Member. The actuarial cost of the change in
             benefit shall be borne by the Member who seeks change in his option election. The
             pop-up option shall be based upon the investment return assumption as recommended
             by the Plan Actuary and adopted by the Board of Trustees.

Sec. F-24.      Disposition of surplus benefits upon death of Member and Beneficiary.

        In the event a Member elected Option 2, 3, 3(A) or 3(B) provided for in Section F-23 of
this Part H and both the Member and his or her designated joint Beneficiary die before there has
been paid in Retirement Allowances an aggregate amount equal to his or her Accumulated
Contributions standing to his or her credit in the Annuity Savings Fund at the time of his or her
retirement, the difference between his or her said Accumulated Contributions and the said
aggregate amount of Retirement Allowances paid shall be paid to the said retired Member’s legal
representative.

                       Part I — Pension Offset by Compensation Benefits.

Sec. F-25.      Generally.

        Any amounts which may be paid under the provisions of any workmen’s compensation,
or pension, or similar law to a Member, or to the dependents of a Member on account of any
disability or death, shall be offset against and payable out of funds provided by the City under
the provisions of the Retirement System on account of the same disability or death. In case the
present value of the total commuted benefits under said workmen’s compensation, pension, or
similar law, is less than the Pension Reserve or benefits otherwise payable from the funds
provided by the City under this Retirement System, then the present value of the commuted
payments shall be deducted from the Pension Reserve, and such benefits as may be provided by
the Pension Reserve, so reduced, shall be payable under the provisions of the Retirement System.

                                  Part J — Monthly Payments.

Sec. F-26.      Generally.

       Unless otherwise herein provided, all benefits payable under this Retirement System shall
be paid in equal monthly installments.




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                           Part K — Re-Examination of Beneficiaries.

Sec. F-27.      Authority of Board.

   (a)       Once each year during the retirement of a Member on a disability Pension or a
             disability Retirement Allowance and at least once in every three year period thereafter
             the Board of Trustees shall require any disability retiree, if he or she would not then
             be eligible for a service Retirement Allowance had he or she remained in active
             service, to undergo a medical examination at a place to be fixed by the Board of
             Trustees. If the retiree shall be required to travel more than twenty miles to reach
             such place, the Board of Trustees shall pay his or her reasonable traveling expenses.
             Should such disability retiree refuse to submit to such examination, his or her
             disability Pension or disability Retirement Allowance may be discontinued until he or
             she shall submit to such examination and should such refusal continue for one year,
             all of the Member’s rights in and to a Pension may be revoked by the Board of
             Trustees. If, on medical examination of a Beneficiary, the Board of Trustees
             determines that the retiree is physically able and capable of resuming active duty, he
             or she shall be restored to such duty and his or her other disability Pension or
             disability Retirement Allowance shall cease. Such Member so restored to active duty
             shall be returned to duty in a rank or grade equivalent to or higher than the rank or
             grade in which he or she was serving at the time of his or her last retirement and his
             or her compensation shall be that provided for the rank or grade in which he or she is
             restored to service. It shall be the duty of the Commissioner of Police or the Board of
             Fire Commissioners to restore such Member to duty forthwith.

   (b)       If the Board of Trustees determines that a disabled Old Plan Member is engaged in a
             gainful occupation, paying more than the difference between his or her Final
             Compensation as of the earlier of (i) the date of disability or (ii) June 30, 2014 and his
             or her disability Pension, or disability Retirement Allowance, the amount of his or her
             Pension shall be reduced to an amount, which together with the amount earned by the
             Member, shall equal the amount of such Final Compensation. If the Board of
             Trustees determines that a disabled New Plan Member is engaged in a gainful
             occupation, paying more than the difference between his or her base salary at the
             earlier of (i) the time of disability or (ii) June 30, 2014, increased by two and twenty-
             five one hundredths percent (2.25%) for each full year from the date of disability and
             his or her disability Pension, or disability Retirement Allowance, the amount of his or
             her Pension shall be reduced to an amount, which together with the amount earned by
             him or her, shall equal the amount of such final compensation. Should his or her
             earnings be later changed, the amount of his or her Pension may be further modified
             in like manner.

   (c)       A disability retiree who shall be reinstated to active service prior to July 1, 2014 as
             provided in this Section, shall from the date of such restoration again become a
             Member of the Retirement System, and he or she shall contribute to the Retirement
             System thereafter in the same manner and at the same rate as he or she paid prior to
             his or her disability retirement. A disability retiree who shall be reinstated to active
             service after June 30, 2014, shall from the date of such restoration become an active



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             Member of the Retirement System and shall accrue future benefits pursuant to
             Component I. He or she shall contribute to the Retirement System at the rate required
             of active Members pursuant to Component I. Any Prior Service and Membership
             Service on the basis of which his or her service was computed at the time of his or her
             disability retirement shall be restored to full force and effect, and he or she shall be
             given service credit under Component I or Component II, as applicable, for the period
             of time he or she was in retirement due to such disability, except in the case of
             nonservice connected disability.

                      Part L — Withdrawal of Accumulated Contributions

Sec. F-28.      Member With Twenty or Twenty-Five Years of Service.

        Effective July 1, 1982, a Member with twenty-five years or more of creditable service
(effective as of March 8, 2007, twenty years for DPOA members and fire equivalents) shall be
allowed to withdraw either a portion or the full amount of his or her Accumulated Contributions,
one time only, whether or not the Member retires. A Member shall make such election prior to
the receipt of his or her first retirement benefit check.

Sec. F-29.      Disabled Member

       A Member who is receiving disability benefits (duty or non-duty) from the Retirement
System and who has twenty-five years (effective as of March 8, 2007, twenty years for DPOA
members and fire equivalents) or more of creditable service shall have the right to withdraw the
full amount of his or her Accumulated Contributions. If such Member withdraws his or her
Accumulated Contributions, his or her retirement benefit shall be actuarially reduced to reflect
such withdrawal.

Sec. F-30.      Optional Annuity Withdrawal

   (a)       A Member shall have the right to elect to receive on the effective date of his or her
             service retirement a partial or total refund of his or her Accumulated Contributions.
             If a Member makes such an election, an Annuity payable under any Retirement
             Allowance or reduced Retirement Allowance shall be reduced proportionally. If the
             total Accumulated Contributions are withdrawn, no Annuity shall be payable.

             The limitation of fifteen twenty-seconds of the maximum earnable compensation of a
             Police Employee and Fire Employee continues in effect. For purposes of determining
             the fifteen twenty-seconds limitation, a computation based on the Annuity which is an
             Actuarial Equivalent of the Accumulated Contributions standing to a Member’s credit
             in the Annuity Savings Fund prior to any partial or total refund will be used.

             On or after July 1, 1974, Members or former Members who are entitled to begin to
             receive the 40 & 8 benefit provided under Section F-6 will be entitled to the annuity
             refund withdrawal option.

             On or after July 1, 1974, non-duty disability retirees represented by DFFA, DPCOA
             and DPLSA who retired pursuant to Article D, Section D-1(a), (b) or (c) prior to



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         having twenty-five years of service credit, shall be entitled to the annuity refund
         withdrawal option on the date he or she would have had twenty-five years of service
         credit had he or she continued as an active employee. Said option shall only apply to
         the balance of Accumulated Contributions, if any, remaining to such retiree’s credit in
         accordance with the existing annuity refund provisions.

         Survivor benefit beneficiaries as defined in Title IX, Chapter VII, Article VI, Part E,
         Section 2, parts (a), (b) and (c) of the 1918 City Charter in effect as of June 30, 1974,
         and continued in effect by Section 11-102 of the City Charter shall be entitled to the
         annuity withdrawal refund option subject to the same rules that would have been
         applicable to the deceased Member or Members had he or she not died. Said option
         shall only apply to the balance of Accumulated Contributions, if any, remaining to the
         applicable former Member’s credit.

         In any case of doubt, the Board of Trustees shall decide whether a Member or
         Beneficiary is entitled to an annuity refund withdrawal option.

   (b)   A Member shall have the right on or after the effective date of his becoming eligible
         for a full service Retirement Allowance (Members who have either twenty or twenty-
         five years of creditable service depending upon the applicable bargaining unit) to
         elect to receive a partial or total refund of his or her Accumulated Contributions to the
         Annuity Savings Fund. If a Member makes such an election, an Annuity payable
         under any Retirement Allowance or reduced Retirement Allowance shall be reduced
         proportionally. If the total Accumulated Contributions are withdrawn, no Annuity
         shall be payable.

         If a Member makes such an election, the Retirement Allowance shall be reduced to
         reflect the value of the Annuity withdrawn. The amount of the Annuity at the time of
         such election shall be the amount used at the time of retirement for purposes of
         computing the Retirement Allowance.

         All members (except DPOA members retiring prior to July 1, 1982) who complete
         their required years of service, shall have the right to withdraw all or part of their
         Accumulated Contributions whether they choose to retire or not.

         Effective July 21, 2000 for DFFA members having a parity relationship with the
         DPOA and for the DPCOA Inspector, and effective July 1, 2003 for DPLSA
         members, and effective July 21, 2000 for DPOA members, a Member who has
         elected to retire and elected to withdraw his or her Annuity for the purposes of
         calculating his or her Retirement Allowance (thereby lowering the Retirement
         Allowance), may nevertheless choose to leave the Annuity in the Retirement System
         collecting regular annuity interest with the option of a one-time withdrawal of the
         Annuity funds at a later date.

         For a DPCOA, DPLSA or DFFA member or an employee with a parity relationship
         with the DPLSA and for the DPCOA Inspector who retires on or after July 1, 1990,
         and who has made or makes an election to receive a total or partial refund of his or



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         her accumulated contribution to the Annuity Savings Fund, there shall be no
         reduction of Retirement Allowances due to the portion of withdrawal representing
         interest credits. For members of DFFA and DPLSA, this Subsection shall be
         controlled by the requirements of the Act 312 arbitration award issued June 25, 1990
         (MERC Case No. B89 C-0622, page numbers 22 and 23).

         Effective January 15, 2010 for members of DPCOA and fire equivalents, or
         December 15, 2008 for DPLSA and fire equivalents, or March 8, 2007 for DPOA
         members and fire equivalents, a Member who retires and elects to leave a balance in
         the Annuity Savings Fund shall have the option of receiving a quarterly payment of
         interest earnings only or to take periodic withdrawals of principal, in addition to a one
         time complete withdrawal. Members of DPCOA and DPLSA and their fire
         equivalents must make their elections a minimum of thirty days before the beginning
         of a quarter; quarter defined as beginning March 1, June 1, September 1, and
         December 1.

         An employee represented by DFFA, DPCOA or DPLSA who is entitled to a
         Retirement Allowance under Article F, Part A, Section F-5 of the Retirement System
         and who leaves the employ of the Police or Fire Department of the City on or after
         July 1, 1982 shall have the right to elect to receive on the effective date of termination
         a partial or total refund of his Accumulated Contributions. The Pension portion of his
         Retirement Allowance shall be computed as if the Member had not withdrawn his or
         her Accumulated Contributions from the Annuity Savings Fund until the date he or
         she was eligible to retire had he or she continued in City employment.

   (c)   Effective in accordance with the specific date and terms of the DPOA award in Act
         312 No. D98 E-0840 (Chairman Donald F. Sugerman, dated July 21, 2000), a DPOA
         member shall have the right to leave his or her withdrawn Annuity in the Pension
         system and accumulating interest, as provided therein.




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                          ARTICLE G. METHOD OF FINANCING.

Sec. G-1.      General.

       The funds of the Retirement System shall be the Annuity Savings Fund, Annuity Reserve
Fund, Pension Accumulation Fund, Pension Reserve Fund, Expense Fund and the Survivors
Benefit Fund.

Sec. G-2.      Annuity Savings Fund.

   (a)      The Annuity Savings Fund shall be the fund in which shall be accumulated at Regular
            Interest, the contributions deducted from the compensation of Members to provide for
            their Annuities. Subject to Section B-1(c), the contributions of a Member as defined
            in Article D, Section D-1(a), (b) or (c) shall be five percent of a Member’s
            compensation until the Member has acquired twenty-five years of creditable service.
            Subject to Section B-1(c), the contribution of a Member as defined in Article D,
            Section D-1(d) shall be five percent of his or her compensation until he or she has
            acquired at least twenty-five years of creditable service (effective as of March 8,
            2007, twenty years for DPOA members and fire equivalents) and attained age fifty-
            five. No Member shall have the option of choosing to receive the compensation
            required to be contributed hereunder directly instead of having such amounts paid by
            the City to the Annuity Savings Fund.

   (b)      The City shall cause the contributions provided for in paragraph (a) above to be
            deducted from the compensation of each Member on each and every payroll, for each
            and every payroll period, from the date of his or her entrance in the System to the
            earlier of (i) the date he or she ceases to be a Member or (ii) the last payroll date
            occurring in July 2014.

   (c)      The deductions provided for herein shall be made notwithstanding that the minimum
            compensation provided by law for any Member shall be reduced thereby. Every
            Member shall be deemed to consent and agree to the deductions made and provided
            for herein, and payment of his or her salary or compensation, less said deduction,
            shall be a full and complete discharge and acquittance of all claims and demands
            whatsoever for the services rendered by such person during the period covered by
            such payments, except as to the benefits provided under this Retirement System. The
            amounts to be deducted shall be deducted by the City Treasurer and when deducted
            shall be paid into the Annuity Savings Fund and shall be credited to the individual
            account of the Member from whose compensation said deduction was made.

   (d)      If, under the provisions of this Component II, any person shall withdraw or be paid
            any part or all of his Accumulated Contributions and shall thereafter again become a
            Member on or before June 30, 2014, he or she shall, in addition to the contributions
            provided for in paragraph (a) above, redeposit in the Annuity Savings Fund, by an
            increased rate of contribution to be determined by the Board of Trustees, or by a
            single payment, such amount that his or her Accumulated Contributions at the date of




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            his or her eligibility for retirement will be the same amount it would have been had no
            withdrawal or payment been made therefrom.

   (e)      Except as is otherwise provided in this Component II, upon the death or retirement of
            a Member, his or her Accumulated Contributions shall be transferred from the
            Annuity Savings Fund to the Annuity Reserve Fund.

   (f)      In any Plan Year during the period beginning on or after July 1, 2014 and ending June
            30, 2023 in which the annual rate of return credited to the accounts of Members
            investing in the Annuity Savings Fund as provided in paragraph (a) is less than the
            actual rate of return net of expenses of the Retirement System's invested assets for the
            second Plan Year immediately preceding the Plan Year in which the annual rate of
            return is credited ("ASF Return Excess"), an amount equal to the value of the ASF
            Return Excess shall be transferred to the Pension Accumulation Fund maintained
            under Component I of the Combined Plan and shall be used to fund the Transition
            Cost relating to Component I The Transition Cost is a measure of the liability that
            Component I of the Retirement System has at its inception; due to the fact that at its
            inception, Members in Component I of the Retirement System receive vesting and
            eligibility credit under Component I for service that was earned prior to July 1, 2014
            and is otherwise credited to Members under Component II of the Retirement System,
            as such Transition Cost is calculated by the Plan Actuary. In the event there is an
            ASF Return Excess for a Plan Year following the Plan Year in which such transfers
            have fully funded the Transition Costs relating to Component I, fifty percent (50%) of
            such ASF Return Excess shall be transferred to the Pension Accumulation Fund
            maintained under Component II and the remaining fifty percent (50%) of such ASF
            Return Excess shall be transferred to Component I and credited to the Rate
            Stabilization Fund maintained under Component I. “Transition Cost” shall be
            determined by the Plan Actuary.

Sec. G-3.      Annuity Reserve Fund.

       The Annuity Reserve Fund shall be the fund from which shall be paid all Annuities
payable as provided in this Component II, except Annuities which are payable from the
Survivors Benefit Fund. Should a disability retiree be restored to active service, his or her
Annuity Reserve at the time shall be transferred from the Annuity Reserve Fund to the Annuity
Savings Fund and credited to his or her individual account therein.

Sec. G-4.      Alternative Financing Method.

       Except as provided regarding the Survivors Benefit Fund, the Pension Accumulation
Fund shall be the fund in which shall be accumulated reserves for the Pensions and other benefits
payable from contributions made by the City, and from which transfers shall be made as
provided in this section.

   (a)      Accrued Liability Fund. Pursuant to Ordinance No. 05-05, which authorized the
            creation of the Detroit Police and Fire Retirement System Service Corporation, the
            City entered into a transaction (“the Pension Funding Transaction”) to obtain funds as



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            an alternative to those available through the traditional funding mechanism described
            in Section G-5. The proceeds generated by the Pension Funding Transaction (or any
            Additional Pension Funding Transaction, as described below) that were deposited
            into the Retirement System will be termed the “Funding Proceeds.” The Funding
            Proceeds were deposited into a new Fund in the Retirement System called the
            Accrued Liability Fund. The purpose of the Funding Proceeds is to fund all or part of
            the heretofore unfunded accrued liabilities (“UAAL”) of the Retirement System. The
            Funding Proceeds are the assets of the Retirement System and will be applied,
            together with all other assets of the Retirement System, to fund the Retirement
            System’s obligation to pay accrued benefits, as adjusted in the Plan of Adjustment.

            This Accrued Liability Fund shall contain only the Funding Proceeds of the Pension
            Funding Transaction, and any earnings thereon. Prior to Fiscal Year 2013, funds were
            transferred each Fiscal Year (or monthly portion thereof) from the Accrued Liability
            Fund to the Pension Accumulation Fund as provided in the documents governing the
            Retirement System, including Ordinance No. 5-05.

   (b)      As soon as practicable following the effective date of the Plan of Adjustment, any
            amounts remaining credited to the Accrued Liability Fund shall be transferred to the
            Pension Accumulation Fund and the Accrued Liability Fund shall cease to exist.

Sec. G-5.      Contributions to and payments from Pension Accumulation Fund.

       Contributions to and payments from the Pension Accumulation Fund shall be made as
follows:

   (a)      For Fiscal Years commencing prior to July 1, 2014, upon the basis of such
            assumptions as to future financial experiences as the Board of Trustees shall from
            time to time adopt, the Actuary annually computed the City’s contribution, expressed
            as a percent of active Member contributions, to provide the Pension Reserves
            covering the Pensions or other City-financed benefits to which Members might be
            entitled or which might be payable at the time of their discontinuances of City
            employment; provided, such contribution percents shall not be less than amounts
            which, expressed as percents of active Member compensation will remain level from
            generation to generation of Detroit citizens. Upon the retirement or death of a
            Member, the Pension Reserve for any benefits payable on his or her behalf shall be
            transferred from the Pension Accumulation Fund to the Pension Reserve Fund, to the
            extent of there being assets in the Pension Accumulation Fund.

   (b)      For Fiscal Years commencing prior to July 1, 2014, the Board of Trustees annually
            ascertained and reported to the Mayor and the Council the amount of contributions
            due the Retirement System by the City, and the Council may have appropriated and
            the City may have paid such contributions to the Retirement System during the
            ensuing Fiscal Year. When paid, such contributions were credited to the Pension
            Accumulation Fund.




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   (c)       For Fiscal Years commencing after June 30, 2014, he City shall make contributions to
             the Pension Accumulation Fund only as provided in the Plan of Adjustment.

Sec. G-6.       Retiree payments from Pension Reserve Fund; reinstatement of disability
                retirees to active service.

        Except as to the Survivor’s Benefit Fund, the Pension Reserve Fund shall be the fund
from which shall be paid Pensions on account of Members. Should a disability retiree be
reinstated to active service, the Member’s Pension Reserve, at that time, shall be transferred from
the Pension Reserve Fund to the Pension Accumulation Fund.

Sec. G-7.       Expense Fund.

         The Expense Fund shall be the fund to which shall be credited all money provided by the
City, if any, to pay the administration expenses of Component II, and from which shall be paid
all the expenses necessary in connection with the administration and operation of Component II.

Sec. G-8.       Appropriations prior to July 1, 2014.

   (a)       The Board of Trustees shall certify the amount of the appropriation necessary to pay
             to the various funds of Component II of the Retirement System the amounts payable
             by the City as enumerated in this Component II, according to legal budget procedure.

   (b)       To cover the requirements of Component II prior to July 1, 2014, such amounts as
             shall have been necessary to cover the needs of Component II prior to July 1, 2014
             shall be paid into the Pension Accumulation Fund and the Expense Fund by special
             appropriations or transfers to the Retirement System; provided, however that no
             transfers can be made from the Accrued Liability Fund other than the annual transfer
             of the scheduled amortizing amount, or transfers under special circumstances
             pursuant to Section G-4 (as in effect prior to July 1, 2014).

Sec. G-9.       Maintenance of reserves.

        The maintenance of the Annuity Reserves in the Annuity Reserve Fund and the Pension
Reserves in the Pension Reserve Fund are hereby made obligations of the Pension Accumulation
Fund. All income, interest, and dividends derived from deposits and investments authorized by
this Component II, which are not required for the allowance of interest to the funds of the
Retirement System as provided herein, shall be credited to the Pension Accumulation Fund. Prior
to July 1, 2014, the moneys credited to the Accrued Liability Fund were credited to the Pension
Accumulation Fund only to the extent authorized pursuant to the terms of the Retirement System
as in effect prior to July 1, 2014. Any contributions by the City to the System from any fund
impressed by law with a certain and definite purpose shall be accounted for separately.

Sec. G-10.      Survivors Benefit Fund.

   (a)       The Survivors Benefit Fund shall be the fund in which shall be accumulated, at
             Regular Interest, the reserves for survivors benefits provided for in Article F, Part E,
             Section F-18, hereof, and from which such benefits shall be paid, but only to the



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         extent sufficient assets are credited to the fund at the time a claim for benefits is
         made. In the event there are insufficient assets credited to the Survivor’s Benefit
         Fund to pay the benefits provided under this Section G-10, such benefits thereafter
         shall be payable from the Pension Reserve Fund.

   (b)   After June 30, 1965 and prior to July 1, 1986, each Member shall contribute to the
         Survivors Benefit Fund one per cent of his or her compensation paid by the City until
         he or she has acquired twenty-five years of creditable service. The City shall cause
         the said contributions to be deducted from the Member’s compensation, on each and
         every payroll, for each and every payroll period so long as he or she remains a
         Member and has not acquired twenty-five years of creditable service. Each and every
         Member shall be deemed to consent and agree to the said deductions. Said
         contributions, when deducted, shall be credited to the Survivors Benefit Fund and
         shall in no case become a part of the said Member’s Accumulated Contributions, nor
         be subject to refund.

   (c)   Each Member who retires after June 30, 1965, under Part B, Section F-7 of Article F
         shall, prior to July 1, 1986, contribute to the Survivors Benefit Fund one per cent of
         his or her final compensation as defined until he or she would have had a total of
         twenty-five years of creditable service had he or she continued in active service. The
         Retirement System shall cause the said contribution to be deducted from the Pension
         of each such retired Member on each and every retirement roll, for each and every
         retirement roll period, so long as he or she is receiving a Pension under Part B,
         Section F-8(a) of Article F. Each and every such retired Member who is receiving a
         Pension under Part B, Section F-8(a) of Article F shall be deemed to consent and
         agree to said deductions. Said contributions, when deducted, shall be credited to the
         Survivors Benefit Fund and shall in no case become a part of said Member’s
         Accumulated Contributions, nor be subject to refund.

   (d)   Effective July 1, 1986, the contributions, required by Article G, Section G-10(b) and
         G-10(c), to the Survivors Benefit Fund were eliminated for union members. For
         Fiscal Years ending prior to July 1, 2014, the City shall make the contributions
         necessary to maintain the benefit level by contributing that amount necessary to
         replace the contributions of members of DFFA and DPOA to the Survivor’s Benefit
         Fund.

   (e)   For Fiscal Years ending prior to July 1, 2014, upon the basis of such mortality and
         other tables of experience, and Regular Interest, as the Board of Trustees shall from
         time to time adopt, the Actuary shall annually compute the liabilities for benefits
         being paid from the Survivors Benefit Fund. The Board of Trustees shall report to the
         Mayor and the Council the amount of contributions to be made by the City to the
         Survivors Benefit Fund, and the Council shall appropriate and the City shall pay such
         amount to the Retirement System during the ensuing Fiscal Year. When paid, such
         appropriations shall be credited to the Survivors Benefit Fund. For Fiscal Years
         commencing prior to July 1, 2014, if the balance in the fund is not sufficient to fully
         cover the liabilities so computed, the City shall appropriate and pay, in the ensuing
         Fiscal Year, the amount of such insufficiency. For Fiscal Years commencing on and



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             after July 1, 2014, the City shall not make any contributions to the Survivor’s Benefit
             Fund.

   (f)       Upon the death of a Member, on whose account survivors benefits become payable as
             provided in Article F, Part B, Section F-8, hereof, his or her Accumulated
             Contributions standing to his or her credit in the Annuity Savings Fund at the time of
             his or her death shall be transferred from the Annuity Savings Fund to, and shall
             become a part of, the Survivors Benefit Fund, notwithstanding any provisions in this
             Component II to the contrary.

Sec. G-11.      Computation of Annuity and Pension Reserve liabilities for Members,
                Retirees and Beneficiaries.

       In computing the Annuity and Pension Reserve liabilities for Members, retirees and
beneficiaries, the Board of Trustees shall cause the following annual Decrement Probabilities,
Salary Factors and interest assumption to be used.

   (a)       The annual Decrement Probabilities and Salary Factors to be used in evaluating the
             Annuity and Pension liabilities for Members shall be as shown in Tables 1 and 2
             hereinafter set forth.

   (b)       The total of active Member annual compensation shall be assumed to increase three
             percent per annum, compounded annually.

   (c)       The mortality assumption for retirees and beneficiaries shall be the mortality rates
             contained in the 1971 group annuity male mortality table, without setback for men
             and set back five years for women.

   (d)       The investment return assumption shall be five percent per annum, compounded
             annually, for Fiscal Years commencing prior to July 1, 2014.

   (e)       For Fiscal Years commencing on or after July 1, 2014, the Annuity and Pension
             Reserve liabilities shall be calculated in a manner which is consistent with the Plan of
             Adjustment.




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                                      TABLE 1.

                       City of Detroit Policemen and Firemen
                                 Retirement System
                               Active Member Annual

                                   Probabilities
                                and Salary Factors

               Age          Withdrawal         Death           Salary
                           from Service      in Service        Factors
               18            .04120              .00098        .10561
               19            .04090              .04099        .11327
               20            .04030              .00100        .12126
               21            .04000              .00101        .12988
               22            .03960              .00102        .13913
               23            .03910              .00103        .14913
               24            .03890              .00104        .15971
               25            .03840              .00105        .17068
               26            .03800              .00107        .18204
               27            .03700              .00108        .19347
               28            .03600              .00111        .20527
               29            .03480              .00113        .21712
               30            .03340              .00117        .22916
               31            .03200              .00121        .24124
               32            .03000              .00126        .25321
               33            .02730              .00133        .26522
               34            .02370              .00143        .27753
               35            .01990              .00154        .29015
               36            .01500              .00168        .30306
               37            .01160              .00184        .31637
               38            .00850              .00204        .32995
               39            .00600              .00227        .34405
               40            .00390              .00252        .35851
               41            .00210              .00281        .37333
               42            .00090              .00313        .38861
               43            .00000              .00348        .40435
               44            .00000              .00387        .42051
               45            .00000              .00429        .43709
               46            .00000              .00475        .45395
               47            .00000              .00526        .47144
               48            .00000              .00582        .48929
               49            .00000              .00643        .50750
               50            .00000              .00710        .52639
               51            .00000              .00783        .54560
               52            .00000              .00864        .56535



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               Age          Withdrawal        Death          Salary
                           from Service     in Service       Factors
               53            .00000          .00953          .58548
               54            .00000          .01051          .60612
               55            .00000          .01157          .62711
               56            .00000          .01270          .64867
               57            .00000          .01392          .67066
               58            .00000          .01520          .69319
               59            .00000          .01656          .71610
               60            .00000          .01802          .73939
               61            .00000          .01959          .76316
               62            .00000          .02133          .78747
               63            .00000          .02322          .81211
               64            .00000          .02526          .83715
               65            .00000          .02750          .86258
               66            .00000          .03000          .88848
               67            .00000          .03277          .91514
               68            .00000          .03584          .94264
               69            .00000          .03919          .97094
               70            .00000          .04278         1.00000




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                                           TABLE 2.

                           City of Detroit Policemen and Firemen
                                     Retirement System
                           Annual Probabilities of Age and Service
                             Retirement Applicable to Members
                                 Who Are Eligible to Retire

                                Age                     Probabilities
                                                        of Retirement
                                 45                          25%
                                 46                           25
                                 47                           25
                                 48                           25
                                 49                           25
                                 50                           25
                                 51                           25
                                 52                           25
                                 53                           25
                                 54                           20
                                 55                           20
                                 56                           15
                                 57                           10
                                 58                           15
                                 59                           30
                                 60                          100

Sec. G-12.     Determination of City’s annual contribution — Disability Pension liabilities.

       For Fiscal Years commencing prior to July 1, 2014, the City’s annual contribution,
expressed as a percent of active Member compensation, to finance disability Pensions shall be
determined by dividing the average of the Pension Reserve liabilities for disability retirements
incurred, during the three Fiscal Years ending with the date of the valuation by one percent of the
active Members’ annual compensation used in the valuation.

Sec. G-13.     Determination of City’s annual contribution — Death Pension liabilities.

        For Fiscal Years commencing prior to July 1, 2014, the City’s annual contribution,
expressed as a percent of active Member compensations, to finance death-in-service Pensions
shall be determined by dividing the average of the Pension reserve liabilities for death-in-service
claims incurred during the three Fiscal Years ending with the date of the valuation by one
percent of the active Member’s annual compensations used in the valuation.




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Sec. G-14.      Determination of City’s annual contribution — Actuarial evaluation of
                annuity and Pension Reserve liabilities.

       The Annuity and Pension Reserve liabilities for Members, retirees and beneficiaries shall
be actuarially evaluated as set forth in this Article G and the Plan of Adjustment.

Sec. G-15.      Determination of City’s annual contribution — Service Pension liabilities for
                Fiscal Years commencing prior to July 1, 2014.

   (a)       The service Pension liabilities for Members shall be determined using the entry age-
             normal cost method of actuarial valuation.

   (b)       The City’s annual contribution, expressed as a percent of active Member
             compensations, to finance the prospective service Pension liabilities shall be
             determined by dividing the total of the individual annual normal costs of the active
             Members by one percent (1%) of the active Members’ annual compensation used in
             the valuation.

   (c)       The City’s annual contribution, expressed as a percent of active Member
             compensation, to finance any unfunded Accrued Service Pension liabilities, including
             instances in which assets exceed liabilities, shall be determined by dividing such
             unfunded Accrued Service Pension liabilities by one percent (1%) of the present
             value of future compensation payable during a period of future years. Such period of
             future years shall be thirty years for the actuarial valuation as of June 30, 1974,
             decreasing one (1) year at each subsequent June 30th until a twenty year period is
             reached, which twenty year period shall be used in each subsequent actuarial
             valuation until June 30th, 2004 when the period shall again be thirty years.

Sec. G-16.      Board of trustees to compute City’s annual contribution.

        Based upon the provisions of this Article, including any amendments, the Board of
Trustees shall compute the City’s annual contributions for Fiscal Years commencing prior to
July 1, 2014, expressed as a percent of active Member compensation, to the Retirement System
for the Fiscal Year beginning July 1, 1975, using actuarial valuation data as of June 30, 1974,
and for each subsequent Fiscal Year prior to July 1, 2014 using actuarial valuation data as of the
June 30th date which date is a year and a day before the first day of such Fiscal Year. The Board
shall report to the Mayor and to the City Council the contribution percents so computed, and
such contribution percents shall be used in determining the contribution dollars to be
appropriated by the City Council and paid to the Retirement System. For each Fiscal Year
beginning July 1, 1975 and each Fiscal Year thereafter and prior to July 1, 2014, such
contribution dollars shall be determined by multiplying the applicable contribution percent for
such Fiscal Year by the Member compensation paid for such Fiscal Year; provided that for the
one Fiscal Year beginning July 1, 1975 and ending June 30, 1976, such Member compensation
so used shall not exceed 106.09 percent of the active Members’ annual compensation used in the
actuarial valuation determining such contribution percent.




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Sec. G-17.     Refunds for certain Members.

        Effective July 1, 1974, a Member who holds the rank of police inspector and above and
who is not covered by a collective bargaining agreement shall, notwithstanding any other
provisions of Component II to the contrary, have the right to elect to receive on the effective date
of his or her service retirement a partial or total refund of his or her Accumulated Contributions.
Effective as of March 8, 2007, a DPOA and fire equivalent retiree who elects not to withdraw his
or her Accumulated Contributions as of the effective date of his or her service retirement shall
have the option of receiving a quarterly payment of interest credited to his or her Accumulated
Contributions or to receive periodic withdrawals of the contributions such Retiree made to
Component II of the Retirement System. If a Member makes such an election, an Annuity
payable under any Retirement Allowance or reduced Retirement Allowance shall be reduced
proportionately. If the total Accumulated Contributions are withdrawn no Annuity shall be
payable with respect to such withdrawn amounts.

Sec. G-18.     Employer Contribution

       Effective January 1, 1987 for members of DFFA and DPLSA or upon issuance of the
1986-89 Act 312 Award for members of DPOA, the employee contributions to the Annuity
Fund, although designated as employee contributions, shall be paid by the City in lieu of
contributions by the Employee. The Employee shall not have the option of choosing to receive
the contributed amount directly instead of having them paid by the City to the Annuity Fund.
There shall be no additional contribution expense to the City, and the amounts so contributed by
the City on behalf of the Employee shall be treated, for tax purposes, as employer contributions
and thus shall not be taxable to the Employee until these amounts are distributed or made
available to the Employee.

        This provision shall not affect the amount or benefit level of the Retirement Allowance,
or the City’s obligation with respect thereto.




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                             ARTICLE H. MISCELLANEOUS.

Sec. H-1.      Recall of Retirees during emergencies.

        During an emergency declared by the Commissioner of Police or the Board of Fire
Commissioners, the Commissioner or the Board of Fire Commissioners, as the case may be,
shall have power, with the consent of a Retiree, to recall to active duty a Retiree for such period
of service as the commissioner or the Board of Fire Commissioners shall deem advisable;
provided, however, that the foregoing power shall not apply in the case of a Retiree who has
reached the age of sixty-four years, and provided further, that any Retiree so recalled may, at any
time, separate from active duty on his or her own application or by order of the Commissioner or
the Board of Fire Commissioners. A Retiree so recalled shall serve in the rank at which he or
she retired, or a higher rank, and shall receive the pay of such rank without deduction. On
subsequent separation from active duty, such Retiree shall resume the Retiree status held by him
prior to such recall.




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                 ARTICLE I. DEFERRED RETIREMENT OPTION PLAN.

Sec. I-1.      General provisions.

       For periods on and after July 1, 2014, the Deferred Retirement Option Plan (“DROP”)
Program under Component II shall be available to Members who are covered by collective
bargaining agreements with the City that permit such Members to participate in the DROP
program and non-union executives of the Police Department and the Fire Department.

   (a)      In lieu of terminating employment and accepting a Retirement Allowance under the
            Component II, any Member of the Retirement System who is eligible for the DROP
            program and who is eligible to immediately receive a twenty-five year (or twenty
            year) Retirement Allowance may elect to participate in the DROP program and defer
            the receipt of his or her Retirement Allowance in accordance with the provisions of
            this Article I. Any such election shall be irrevocable.

   (b)      Participation in the DROP program for Members for who elected to participate in the
            DROP program prior to July 1, 2014 shall be limited to ten years. Participation for
            Members who elect to participate in DROP program after June 30, 2014 shall be
            limited to five years. At the end of such five (or ten) year period of participation in
            the DROP program, the Member shall be retired from employment.

Sec. I-2.      Conversion to Retirement Allowance

        Upon the effective date of a Member’s participation in the DROP program, the Member
shall cease to accrue a Retirement Allowance under Component I and shall elect a form of
payment for his Retirement Allowance pursuant to Part H of Article F. Seventy-five percent
(75%) of the monthly Retirement Allowance (including applicable variable Pension
Improvement Factor (Escalator) increases) that would have been payable, had the Member
elected to terminate employment with the City on the effective date of his or her DROP election
and receive an immediate Retirement Allowance, shall be paid into a DROP Account established
on behalf of the Member under the Retirement System or in an entity selected by the Board.

Sec. I-3.      Investment of DROP assets

   (a)      ING was previously selected by the Board as the DROP administration and
            investment entity for Members who elect to participate in the DROP program. ING
            shall continue to be the DROP administration and investment entity, unless and until
            such time as the Board terminates the agreement with ING as provided in paragraph
            (d) or determines that it is administratively feasible for the DROP program to be
            administered and invested under the Retirement System.

   (b)      As soon as possible after July 1, 2014, the Board shall determine whether it is
            administratively feasible for the DROP program to be administered and the assets in
            DROP accounts to be invested under the Retirement System. If the Board determines
            that it is feasible to administer the DROP program under the Retirement System, the
            Board shall promptly take appropriate steps to implement such decision.




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   (c)      If amounts credited to DROP accounts are invested under the Retirement System,
            such amounts shall be comingled with the assets of the Retirement System for
            investment purposes and shall be invested by the Trustees. A Member’s DROP
            account shall be credited with annual earnings at a rate equal to seventy-five percent
            (75%) of the actual net earnings rate of the assets of the Retirement System; however,
            in no event shall the earnings rate applied to a Member’s DROP account for any Plan
            Year be less than zero percent (0%) nor greater than seven and three-quarters percent
            (7.75%).

   (d)      The Board of Trustees entered into an administrative services agreement with ING.
            Such agreement shall remain in effect until such time as it is terminated by the Board
            as provided therein.

   (e)      The Board of Trustees may replace ING with a trust type vehicle or the Board may
            determine that amounts subject to a DROP election will be invested with Retirement
            System assets as provided above.

   (f)      Any fees associated with the maintenance of DROP Accounts outside of the
            Retirement System shall be paid by the Members by means of deduction from their
            DROP Accounts.

Sec. I-4.      Distribution of amounts credited to DROP Account

        A Member shall not receive a distribution of amounts credited to his DROP Account
prior to his termination of employment with the City. Upon termination of employment, a
Member who is a participant in the DROP program shall receive, at his or her option either a
lump sum payment from the DROP Account equal to the amount then credited to the DROP
Account or an annuity based upon the amount credited to his DROP Account. In addition, one
hundred percent (100%) of the Member’s monthly Retirement Allowance that otherwise would
have been paid upon the Member’s retirement had he or she not elected to participate in the
DROP program (together with any applicable variable Pension Improvement Factor (Escalator)
increases) shall commence to the Member in accordance with the form of payment selected by
the Member at the commencement of his or her participation in the DROP program.
Termination of employment includes termination of any kind, such as resignation, retirement,
discharge or disability.

Sec. I-5.      Death of Member while participating in the DROP program

               If a Member dies while participating in the DROP program, a lump sum payment
equal to the Member’s DROP Account balance shall be paid to the Beneficiary named by the
Member, or if no Beneficiary has been designated, to the Member’s estate; provided,
notwithstanding anything to the contrary herein, the Member’s adjusted DROP Account balance
under Component II upon the Member’s death while participating in the DROP program shall
not be less than total system DROP payments into his or her account (not including earnings and
losses). In addition, one hundred percent (100%) of the Member’s Retirement Allowance
(together with any applicable variable Pension Improvement Factor (Escalator) increases) that
would have been paid to the Member but for the Member’s decision to participate in the DROP



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program will be restored. Survivor benefits, if any, shall be paid in accordance with the payment
option elected by the deceased Member at the time the Member elected to participate in the
DROP program.

Sec. I-6.      Disability of Member While Participating in the DROP Program

        If a Member becomes Totally Disabled while participating in the DROP program and
while still an Employee and his employment with the City is terminated because he is Totally
Disabled, such Member (a) shall be immediately retired and one hundred percent (100%) of the
Retirement Allowance) that would have been paid to the Member but for the Member’s decision
to participate in the DROP program (together with any applicable variable Pension Improvement
Factor (Escalator) increases) will commence in accordance with the payment option selected by
the Member at the commencement of the Member’s participation in the DROP program as
provided in Section I-2, and (b) shall be entitled to receive payment of the funds in his DROP
Account (in the form of a lump sum or other form of payment described in Part H of Article F).
Such Member shall not be entitled to disability retirement benefits under Article F hereof.

Sec. I-7.      Cost Neutrality

   (a)      The DROP program shall be effective only for as long as it is cost-neutral to the City,
            provided however, that the DROP program shall continue during the pendency of
            proceedings, described in paragraph (2) below, designed to restore the Retirement
            System to cost neutrality.

   (b)      If the City contends that the DROP program is not cost-neutral, including, but not
            limited to, making the City’s annual contribution to the Retirement System higher
            than it would be if the DROP program was not in effect, the Board and the City,
            along with the Plan Actuary as well as an actuary appointed by the City (who will be
            an associate or a fellow of the Society of Actuaries and a member of the American
            Academy of Actuaries) shall meet and confer in good faith regarding the cost. If the
            Board and the City are unable to reach an agreement as to cost, the matter shall be
            submitted to a third, independent, actuary, chosen or agreed upon by the Plan Actuary
            and the City’s actuary. This actuary, when rendering a decision, will be limited to
            ordering implementation of changes necessary to make the DROP program cost-
            neutral. Upon the implementation of changes necessary to make the DROP program
            cost-neutral, Members shall have thirty days to elect to either (a) retire from active
            employment with the City or (b) withdraw from the DROP program and resume
            active participation in Component I of the Retirement System. The Board shall notify
            DROP participants of these changes prior to implementation. Those DROP
            participants resuming participation in Component I of the Retirement System shall
            not accumulate Credited Service for any time that they were participating in the
            DROP program (under either Component I or Component II). Those not making
            either election shall remain participants in the DROP program.

   (c)      In the event the DROP program cannot be changed to restore cost neutrality, it shall
            be discontinued and Members participating in the DROP program at that time shall
            have the option to either (i) retire or (ii) continue active employment with the City



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         and resume active participation in Component I of the Retirement System. DROP
         participants resuming participation in Component I of the Retirement System shall
         not accumulate Credited Service for the time during which such DROP participants
         participated in the DROP program (under Component I or Component II).




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     ARTICLE J. PARTICIPANT ANNUITY SAVINGS FUND LOAN PROGRAM

Sec. J-1.         Participant Annuity Savings Fund Loan Program

        A Participant Annuity Savings Fund Loan Program (Participant Loan Program) will be
established and available to bargaining unit Members. Its terms will be as follows:

   (a)      Any loans granted or renewed shall conform to the requirements of Section 72(p) of
            the Internal Revenue Code. Such loan program shall be established in writing by the
            Board of Trustees in conformity with the terms of the Combined Plan document and
            applicable collective bargaining agreements, and must include, but need not be
            limited to the following:

            (1)      The identity of the administrator of the Participant Loan Program;

            (2)      A procedure to apply for loans, the amount of loan that will be approved or
                     denied, and limitations, if any, on the types and amount of loans offered;

            (3)      The procedure under the program for determining a reasonable rate of interest;

            (4)      The events constituting default and the steps that will be taken to preserve
                     plan assets.

   (b)      The Participant Loan Program shall be contained in a separate written document
            copies of which shall be made available in the offices of the Retirement System for
            Members. The Board of Trustees is authorized to adopt rules and regulations, from
            time to time, to govern the administration and the operation of this program. Copies
            of the rules shall also be made available to prospective participating Members of the
            Retirement System in the offices of the Retirement System.

   (c)      Subject to the rules and procedures established by the Board, loans may be made to
            Members from such Member’s contributions to the Annuity Savings Fund. Former
            Members, spouses of Members, and Beneficiaries are not eligible to receive any loans
            from the Retirement System. Subject to rules and procedures established by the
            Board, a Member who has been in the Retirement System for twelve (12) months or
            more is eligible to apply for a loan. No Member shall have more than two (2)
            outstanding loans from the Retirement System (Component I and/or Component II) at
            any time. A Member who has previously defaulted on a loan under either Component
            I or Component II of the Combined Plan shall not be eligible for a loan from the
            Retirement System.

   (d)      A Member who has satisfied applicable rules and procedures may borrow from his or
            her Annuity Savings Fund account an amount, which does not exceed fifty percent
            (50%) of the Member’s vested accumulated balance, up to fifteen thousand dollars
            ($15,000.00) reduced by the excess, if any, of: (1) the highest outstanding balance of
            loans from the Retirement System during the one (1) year period ending on the day
            before the date on which the loan is made (under both Component I and Component
            II), or (2) the outstanding balance of loans from the Retirement System on the date on



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         which the loan is made (under both Component I and Component II), whichever is
         less. The minimum loan amount shall be one thousand dollars ($1,000.00).

   (e)   In addition to such rules and procedures that are established by the Board, all loans
         shall comply with the following terms and conditions:

         (1)    Loan applications shall be in writing.

         (2)    All loans shall be memorialized by a promissory note made to the Retirement
                System and properly executed by the Member.

         (3)    Loan shall be repaid by equal payroll deductions over a period not to exceed
                five (5) years, or, where the loan is for the purpose of buying a principal
                residence, a period not to exceed fifteen (15) years. In no case shall the
                amount of the payroll deduction be less than twenty dollars ($20.00) for any
                two-week period.

         (4)    Each loan granted under Component II shall be made against the assignment
                of the Member’s entire right, title, and interest in and to the Annuity Savings
                Fund supported by the Member’s collateral promissory note for the amount of
                the loan, including interest payable to the order of the Board of Trustees.

         (5)    Each loan shall bear interest at a rate determined by the Board. The Board
                shall not discriminate among Members in its determination of interest rates on
                loans. Loans initiated at different times may bear different interest rates,
                where, in the opinion of the Board, the difference in rates is supported by a
                change in market interest rates or a change in the Retirement System’s current
                assumed rate of return. The loan interest rate shall bear a reasonable
                relationship to market rates for secured loans of a similar duration and shall
                bear a reasonable relationship to the costs to the Retirement System of
                administering the Retirement System. The loan interest rate shall be
                calculated in a manner that will not negatively affect the City’s costs relating
                to the Retirement System or the return to Members.

         (6)    Loan repayments shall be suspended under this Retirement System as
                permitted by Section 414(u)(4) of the Internal Revenue Code. A Member
                who has an outstanding loan balance from the Retirement System who is
                absent from employment with the City, and who has satisfied the requirements
                of Section 414(u) of the Internal Revenue Code shall not be required to make
                loan repayments to the Retirement System during said periods of absence.

   (f)   Any loans granted or renewed shall be made and administered pursuant to the
         participant loan program and Section 72(p) of the Internal Revenue Code and the
         regulations thereunder.

   (g)   A Member’s outstanding loan balance shall be considered a directed investment by
         the Member and interest payments shall be credited to the Member’s account balance
         (provided that the interest credited shall be reduced appropriately to cover the



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         administrative cost of the loan program and avoid negatively affecting the City’s
         costs or the Retirement System’s investment returns), and shall not be part of net
         investment income or part of the Member’s account balance for the purpose of
         allocation of net investment income under Article G.

   (h)   No distributions shall be made to a Member, former Member, or Beneficiary until all
         loan balances drawn on the applicable vested accumulated balance and applicable
         accrued interest have been repaid or offset against the distributable Annuity Savings
         Fund account balance.

   (i)   The Retirement System shall include, in its annual report to all Members, an
         accounting of the loan program established by this section, which contains the
         number and amount of loans made, the costs of administering the program, the
         amount of payments made including interest received by the Retirement System, the
         amount of loans outstanding, including any defaults or delinquencies, and an
         evaluation as to whether the interest charged in the Fiscal Year covered the costs of
         administering the program.




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             ARTICLE K. SPECIAL PLAN OF ADJUSTMENT PROVISIONS

Sec. K-1.      Benefit Changes implemented in accordance with the terms of the Plan Of
               Adjustment

       Notwithstanding anything in Articles A, C, D or E to the contrary, as of the effective date
of the Plan of Adjustment and during the period that ends no earlier than June 30, 2023, the
following changes in benefits provided under Component II of the Combined Plan shall be
implemented:

       (1)     Elimination or Reduction in Pension Improvement Factor (Escalator). With
               respect to all Pension benefits payable on or after the effective date of the Plan of
               Adjustment, the Pension Improvement Factor (Escalator) that will be applied to
               the monthly Pension benefit of a Member, Retiree, surviving Beneficiary or
               vested former employee will be equal to 1.0125%; provided, however, that the
               Board and the Investment Committee shall determine on the effective date of the
               Plan of Adjustment and not less frequently than annually thereafter that the
               “Funding Conditions” as defined herein have been satisfied, and in the event that
               such Funding Conditions have not been satisfied then the Pension Improvement
               Factor (Escalator) that will be applied to the monthly Pension benefit of a
               Member, Retiree, surviving Beneficiary or vested former employee will be
               reduced in proportion to the funding which is not received by the Retirement
               System (“Adjusted Pension Benefit”).

               For purposes of this Section K-1, the term “Funding Conditions” shall mean that
               (i) Class 10 and Class 11 voted in favor of the Plan of Adjustment in accordance
               with the procedures for such vote under the Plan of Adjustment, (ii) the Plan of
               Adjustment is confirmed by the U.S. Bankruptcy Court, and (iii) the funds that are
               pledged to be contributed to the Retirement System pursuant to the terms of the
               State Contribution Agreement and the DIA Settlement Documents have been
               received.

       (2)     Effect of Payment Default. In the event that all or a portion of the funds pledged
               to be contributed to the Retirement System pursuant to the terms of the DIA
               Settlement Agreement are not received by the Retirement System, the Board shall
               proportionately reduce the Pension Improvement Factor (Escalator) to be applied
               to the monthly Pension benefit of any retirees, surviving beneficiaries, employees
               and former employees to the extent of such default.

Sec. K-2.      Income Stabilization Benefits

       (1)     The provisions of this Section K-2 shall become effective only if each of the
               Conditions Precedent (as that term is defined in the State Contribution
               Agreement) have been met to the satisfaction of the Authority and the Treasurer,
               unless any one or more of such conditions are waived in writing executed by the
               Authority and the Treasurer.




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      (2)   Beginning not later than 120 days after the Effective Date, Component II of the
            Combined Plan shall pay, in accordance with this Section K-2, an annual
            supplemental pension income stabilization benefit (“Income Stabilization
            Benefit”) to each Eligible Pensioner (as defined in Section G-3(5)) equal to the
            lesser of either (i) the amount needed to restore an Eligible Pensioner’s reduced
            annual pension benefit to 100% of the amount of the annual pension benefit that
            the Eligible Pensioner received from the Retirement System in 2013; or (ii) the
            amount needed to bring the total annual 2013 household income of the Eligible
            Pensioner up to 130% of the Federal Poverty Level for 2013. The Income
            Stabilization Benefit as determined under this Section K-2(2) will not increase
            after the date on which the Income Stabilization Benefit is determined. The
            Income Stabilization Benefit payable to an Eligible Pensioner will terminate
            immediately at such time as the Eligible Pensioner ceases to qualify as an Eligible
            Pensioner.

      (3)   To the extent an Eligible Pensioner’s Estimated Adjusted Annual Household
            Income (as defined in this Section K-2) in any calendar year after the first year
            that the Eligible Pensioner receives a benefit under this Section K-2 is less than
            105% of the Federal Poverty Level in that year, the Eligible Pensioner will
            receive an additional “Income Stabilization Benefit Plus” benefit commencing as
            of the next following July 1.

            a.     The Income Stabilization Benefit Plus benefit for a calendar year will be
                   equal to the lesser of either (i) the amount needed to restore 100% of the
                   Eligible Pensioner’s Pension benefit, as increased by any Pension
                   Improvement Factor (Escalator), under Component II of the Combined
                   Plan; or (ii) the amount needed to bring the Eligible Pensioner’s Estimated
                   Adjusted Annual Household Income in that calendar year up to 105% of
                   the Federal Poverty Level in that year.

            b.     An Eligible Pensioner’s “Estimated Adjusted Annual Household Income”
                   for any year will be the sum of (i) the Eligible Pensioner’s 2013 total
                   household income (per his or her (or in the case of a minor child, his or
                   her legal guardian’s) 2013 income tax return or equivalent
                   documentation), less the Pension benefit paid to the Eligible Pensioner by
                   the Retirement System in 2013, as adjusted for inflation or Social Security
                   COLA increases; (ii) the Adjusted Pension Benefit that is payable to the
                   Eligible Pensioner for that year as determined under Section K-1, (iii) any
                   pension restoration payment to the Eligible Pensioner as determined under
                   Section K-3; and (iv) the Eligible Pensioner’s Income Stabilization
                   Benefit.

      (4)   A separate recordkeeping fund called the “Income Stabilization Fund” shall be
            established by the Board for the sole purpose of paying the Income Stabilization
            Benefits and Income Stabilization Benefits Plus to Eligible Pensioners. Any
            funds received by the Retirement System that is designated by the City as UTGO
            Bond Tax Proceeds or a contribution to the Income Stabilization Fund shall be



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            credited by the Board to the Income Stabilization Fund. The assets credited to the
            Income Stabilization Fund will be invested on a commingled basis with assets of
            the Retirement System and will be credited with a pro-rata portion of the earnings
            and losses of the Retirement System. Amounts credited to the Income
            Stabilization Fund may not be used for any purpose other than the payment of
            Income Stabilization Benefits and Income Stabilization Benefit Plus benefits to
            Eligible Pensioners, except as expressly provided in Section K-2(6).

      (5)   For purposes of this Section K-2, an “Eligible Pensioner” is a retiree or surviving
            spouse who is at least 60 years of age or a minor child receiving survivor benefits,
            each as of the effective date of the Plan of Adjustment, whose benefit will be
            reduced as provided in Section K-1, and who is eligible to receive Income
            Stabilization Benefits because (i) such individual is receiving monthly pension
            benefits from the Retirement System as of the effective date of the Plan of
            Adjustment, and (ii) such individual has a total annual household income equal to
            or less than 140% of the federal poverty level in 2013 (per his or her (or in the
            case of a minor child, his or her legal guardian’s) 2013 income tax return or
            equivalent documentation).

            a.     An eligible individual must apply for an Income Stabilization Benefit in
                   accordance with procedures established by the Authority and provide such
                   substantiation of the individual’s aggregate annual household income as is
                   required by the State in its sole discretion.

            b.     The initial determination of Eligible Pensioners, and amount of the
                   Income Stabilization Benefit payable to each Eligible Pensioner shall be
                   made by the State in its sole discretion. The State shall transmit the list of
                   Eligible Pensioners to the Investment Committee and the Board. The
                   Board, with the assistance of the Investment Committee shall be
                   responsible for administering the Income Stabilization Fund and annually
                   certifying to the State Treasurer that it has administered the requirements
                   for eligibility and payment of benefits with respect to Eligible Pensioners
                   in accordance with the terms of the State Contribution Agreement.

            c.     After the initial determination of Eligible Pensioners is made, no new
                   individuals will be eligible to receive an Income Stabilization Benefit or
                   an Income Stabilization Benefits Plus benefit at any time in the future.

            d.     An Eligible Pensioner will cease to be an Eligible Pensioner as of the
                   earlier of (i) the Eligible Pensioner’s death or (ii) with respect to any
                   minor child receiving survivor benefits, the date the minor child reaches
                   the age of 18 years.

      (6)   For purposes of this Section K-2, the “Federal Poverty Level” means the poverty
            guidelines published each year in the Federal Register by the United States
            Department of Health and Human Resources.




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       (7)     In the event that, in 2022 (provided that the State has not issued a Certificate of
               Default (as defined in the State Contribution Agreement) with respect to the
               Retirement System at any time prior to 2022), it is the opinion of at least 75% of
               the independent members of the Investment Committee that the assets of the
               Income Stabilization Fund exceed the Income Stabilization Benefits and Income
               Stabilization Benefits Plus benefits anticipated to be made to Eligible Pensioners
               by the Retirement System in the future (“Excess Assets”), the Investment
               Committee may, in its sole discretion, recommend to the Board that all or a
               portion of the Excess Assets, in an amount not to exceed $35 million, be used to
               fund the Adjusted Benefits payable by the Retirement System. The Investment
               Committee shall have the right to engage professional advisers to assist in making
               this determination and such expenses shall be paid by the Retirement System.

       (8)     In the event that any funds remain in the Income Stabilization Fund on the date
               upon which there are no Eligible Pensioners under the Retirement System, such
               funds shall be used to fund the Adjusted Benefits payable by the Retirement
               System.

Sec. K-3.      Restoration of Pension Benefits

        The following rules shall govern how Pension Improvement Factor (Escalator)
(“COLA”) benefits, that are reduced as part of the Plan of Adjustment, shall be restored during
the thirty year period following the confirmation order issued by the Bankruptcy court in In Re
City of Detroit, Michigan, Case No. 13-53846. The pension restoration process shall be
supervised, and restoration decisions undertaken by the Investment Committee and in accordance
with the pension governance provisions set forth in the State Contribution Agreement and
exhibits thereto. The pension restoration program shall be deemed a part of this Component II,
but in the event of any conflict between the language set forth herein and the pension restoration
agreement attached to and made a part of the Plan of Adjustment (“Pension Restoration
Agreement”), the terms of the Pension Restoration Agreement will govern.

       (1)     Waterfall Classes.

               There will be three Waterfall Classes:

               a.     Waterfall Class 1 – Retirees, in retirement benefit pay status as of June 30,
                      2014, and their surviving spouses and Beneficiaries.

               b.     Waterfall Class 2 – Retirees, who entered into retirement benefit pay
                      status after June 30, 2014, and their surviving spouses and Beneficiaries,
                      and who are in pay status as of the end of the Fiscal Year prior to the year
                      in which the restoration decision is made.

               c.     Waterfall Class 3 – All retirees, surviving spouses, and beneficiaries in
                      pay status and all other Members who as of June 30, 2014 are not in
                      retirement benefit pay status.




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      (2)   Restoration of Benefits Through June 30, 2023.

            a.     Each year in conjunction with the annual actuarial valuation report, the
                   Plan Actuary will project the funded ratio of the Retirement System as of
                   2023 based upon the market value of plan assets relative to the actuarial
                   accrued liabilities (the “Funded Level”). This projection will be further
                   based upon a 6.75% assumed rate of investment return which is net of
                   expenses (administrative and investment), future employer contributions
                   as set forth in the Plan of Adjustment (subject to conditions in the Plan of
                   Adjustment), and such other actuarial assumptions as utilized by the Plan
                   Actuary. For purposes of restoration of benefits through June 30, 2023, the
                   Funding Target will be a 75% funded ratio, and the Restoration Target
                   will be a 78% funded ratio, both projected to June 30, 2023. For purposes
                   of calculating the funded ratio, the assets in the Restoration Reserve
                   Account will be excluded. Each year, if the Plan Actuary projects that the
                   Funded Level as of 2023 (excluding Restoration Reserve Account assets
                   to avoid double counting) exceeds the Restoration Target (i.e., exceeds
                   78%), a credit of assets for bookkeeping purposes will be made into a new
                   notional Restoration Reserve Account. The notional credit will be an
                   amount equal to the excess of assets above the amount projected to be
                   needed to satisfy the Restoration Target. Once the Restoration Reserve
                   Account is established, each year thereafter, Restoration Account assets
                   will be credited with interest in an amount equal to the net return on
                   Retirement System investments but capped at the actuarially assumed rate
                   of investment return (i.e., 6.75% for the period through June 30, 2023). In
                   the event of net losses, the credited asset value of the Restoration Reserve
                   Account will be diminished to reflect such losses and any required transfer
                   to the PFRS Pension Reserve Fund as provided herein.

            b.     Actual restoration payments and restoration credits will work as follows:
                   each year, in conjunction with the preparation of the annual actuarial
                   valuation report and following establishment of the Restoration Reserve
                   Account, the Plan Actuary will determine whether there are sufficient
                   funds in such account to restore COLA benefits in a minimum incremental
                   amount of 10% or more. For example: if a retiree’s then current COLA
                   benefit is a 1.0% annual compounded COLA, the minimum incremental
                   restoration would increase the COLA benefit to 1.225%. COLA
                   restoration only will occur if the funding level in the Restoration Reserve
                   Account can fund 100% of the COLA increase over the actuarially-
                   projected lives of the eligible recipient Waterfall Class. If the Plan
                   Actuary certifies that the Restoration Reserve Account as of the end of the
                   prior Fiscal Year satisfies the required funding level for one or more
                   increments of restoration, then in the next immediate Fiscal Year actual
                   COLA restoration payments will be made to PFRS Waterfall Class 1
                   members in such increments until an amount sufficient to fund 66% of the
                   value of their future COLA payments (e.g., a 1.5% compound COLA, or
                   as otherwise applicable) has been funded. At that juncture, and to the



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                  extent that additional assets in the Restoration Reserve Account would
                  fully fund COLA restoration in at least one minimum 10% increment (i.e.,
                  amounts equal to 10% of the value of future COLA payments), Waterfall
                  Class 2 members will receive COLA restoration, until an amount
                  sufficient to fund 66% of the value of their future COLA payments has
                  been funded. At that juncture, and to the extent that additional assets in
                  the Restoration Reserve Account would fully fund COLA restoration in at
                  least one minimum 10% increment (i.e., amounts equal to 10% of the
                  value of future COLA payments), Waterfall Class 3 members will receive
                  COLA restoration on a pro-rata basis. For Waterfall Class 3 members who
                  are in pay status at that time of restoration, they will receive COLA
                  payments; for active employees at the time of restoration, they will receive
                  credits granting them a right upon retirement to receive COLA restoration
                  equal to the 10% increments that are fully funded to Waterfall Class 3
                  members. For example: assume there are sufficient assets credited to the
                  Restoration Reserve Account as of the end of a Fiscal Year to fully fund
                  66% of the value of the COLA for all Waterfall Class 1 and Class 2
                  members for their actuarially projected lives. To the extent additional
                  assets remain in the Restoration Reserve Account to fully fund at least a
                  10% COLA increment for Waterfall Class 3 members for their actuarially
                  projected lives, then (i) all retirees would receive a restoration payment of
                  76% of the value of their COLAs (their having already received by virtue
                  of their membership in Waterfall Classes 1 and 2 an increase to 66% of the
                  value of their COLAs) and also a 10% COLA increment would be credited
                  to eligible active employees which would be included in their benefit
                  payments upon retirement (thus causing their COLAs to increase in value
                  from 45% to 55%). Restoration amounts actually paid from the
                  Restoration Reserve Account will be debited from such account.
                  Restoration payments will be calculated and paid on a prospective basis
                  only.

            c.    Once restoration payments and credits begin, as long as the Restoration
                  Reserve Account continues to have assets to fund 100% of an incremental
                  COLA restoration amount for such Waterfall Class for their actuarially
                  projected lives, the restoration payments and credits will continue;
                  provided, however, that in the event the Restoration Reserve Account,
                  after having sufficient assets to fund 100% of two or more increments,
                  falls below 100% for the second or greater increment, the annual amounts
                  to pay such second or greater increment can continue until the Restoration
                  Reserve Account lacks any assets to fund such additional increment. For
                  example, assume a 10% increment in Waterfall Class 1 requires $10
                  million in assets to be fully funded for the Waterfall Class members’
                  actuarially projected lives, and that based on Fiscal Year 2018 results the
                  Restoration Reserve Account has assets of $22 million so as to fund two
                  increments of restoration in Fiscal Year 2019. Assume further that in the
                  following year the Restoration Reserve Account drops in value to $17
                  million; in such event two increments could still be paid, and the second



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                  increment would cease being paid only if the value of assets in the
                  Restoration Reserve Account dropped to or below $10 million (in the
                  event they dropped below $10 million, the first increment also would
                  cease being paid). For purposes of restoration reduction, restoration
                  increments will be taken away in reverse order in which they were granted
                  (i.e. last in, first out).

            d.    If the Funded Level (excluding Restoration Reserve Assets) projected to
                  2023 falls below 76% (hereinafter, “Restoration Reserve Suspension
                  Trigger”), then, until such time as the projected Funded Level in 2023 is
                  76% or above, further interest credits to the notional Restoration Reserve
                  Account will cease notwithstanding the actual net Retirement System
                  investment returns for the Fiscal Year in question. Furthermore, if the
                  Funded Level projected to 2023 falls below the Funding Target (i.e., 75%)
                  then restoration payments to retirees and credits to active employees in the
                  following year will be modified in the following manner: (1) funds
                  previously credited to the Restoration Reserve Account will be notionally
                  transferred and credited to the Pension Reserve Fund in sufficient amounts
                  to restore the projected Funded Level in 2023 to 75%; (2) following such
                  transfer, the remaining assets in the Restoration Reserve Account shall be
                  applied to make restoration payments in accordance with and pursuant to
                  the same mechanism described in paragraph c.

            e.    In connection with preparation of the actuarial report for Fiscal Year 2023,
                  the Plan Actuary will determine whether the Retirement System has
                  satisfied the Permanent Restoration Target, which shall be 78%. Transfers
                  from the Restoration Reserve Account for credit to the Pension Reserve
                  Fund may be made in such amounts as are necessary to satisfy the
                  Permanent Restoration Target. If following such transfers, the Funded
                  Level as of June 30, 2023 has satisfied the Permanent Restoration Target
                  (i.e., 78%), then the residual amounts, if any, in the Restoration Reserve
                  Account (which will necessarily represent excess not necessary to satisfy
                  the Permanent Restoration Target), and which fully fund one or more
                  increments of COLA restoration payments for one or more Waterfall
                  Classes for their actuarially projected lives, shall be transferred from the
                  Restoration Reserve Account and credited to the Pension Reserve Fund
                  and the applicable incremental COLA payments shall be permanently
                  restored for the applicable Waterfall Class and shall no longer be variable
                  from year to year.

            f.    Following receipt of the actuarial reports for 2019, and in the event that
                  the projected Funded Level of the Retirement System as of 2023 is less
                  than 76%, the Plan Actuary shall revisit the restoration calculations that it
                  made during each of the prior four (4) years. It shall recalculate each such
                  prior year’s Funded Level projection, this time by assuming the lesser of
                  (i) $4.5 million in annual administrative expenses until 2023, or (ii) an
                  amount of annual administrative expenses until 2023 equal to the average



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                    annual normal course administrative expenses in the prior four (4) years
                    applicable to Component II, in addition to a net 6.75% annual investment
                    return. If such retrospective recalculation indicates that fewer amounts
                    would have transferred to the Restoration Reserve Account than actually
                    were transferred during such look back period, then the Restoration
                    Reserve Account shall be debited by the lesser of (i) this difference (plus
                    interest at a rate equal to the rate that was credited to the Restoration
                    Reserve Account during the look-back period or (ii) the dollars that were
                    actually paid out in restoration payments during such look-back period
                    (plus interest at a rate equal to the rate that was credited to the Restoration
                    Reserve Account during the look-back period); or (iii) the amount required
                    to increase the projected 2023 Funded Level to 76%.

      (3)   Restoration of Benefits from July 1, 2023 to June 30, 2033.

            a.      If and to the extent that all COLA payments have not been restored as of
                    June 30, 2023 pursuant to Section (2)(e), then during this period and for
                    purposes of variable restoration, the Funding Target, the Restoration
                    Target, the Permanent Restoration Target and the Restoration Reserve
                    Suspension Trigger shall be as set forth below, all projected as of June 30,
                    2033:

                         2023 Funded Level                 2033 Funding Target/Restoration Target

                             78%                                  81%/84%
                             77%                                  80%/83%
                             76%                                  79%/82%
                             75%                                  78%/81%
                           74% or lower                      3% >than 2023 Funded Level %/81%

                   2033 Permanent Restoration Target - Same as 2033 Restoration Target

                 2033 Restoration Reserve Suspension Trigger – 1% higher than the projected Funding Target
                                            for all time periods


            b.      The same rules for restoration payments that applied during the period
                    ending June 30, 2023 shall apply (including ceasing interest credits in the
                    event of a Restoration Reserve Suspension Trigger, and making
                    Restoration Account asset transfers to the Pension Reserve Fund in the
                    event the 2033 Funded Level falls below the 2033 Funding Target), except
                    as follows. For purposes of determining whether the 2033 Restoration
                    Target has been satisfied, the Plan Actuary shall project investment returns
                    through June 30, 2033 using the then current investment return assumption
                    which is assumed to be net of expenses (administrative and investment),
                    and the then applicable actuarial assumptions as utilized in the annual
                    actuarial valuation. Further, the Plan Actuary shall assume, merely for
                    purposes of determining whether the Restoration Target is satisfied, that



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                  the annual City contribution amount shall be the annual amount necessary
                  to fund the Retirement System based upon an amortization of the actual
                  2023 UAAL (using the market value of assets) over 30 years (hereinafter,
                  the “2023 UAAL Amortization”) and in such manner that the resulting
                  annual contributions would achieve the applicable Funding Target
                  (pursuant to paragraph b) as of 2033. Such projected, hypothetical
                  contributions shall be for purposes only of making restoration
                  determinations, and shall not necessarily be the actual contributions made
                  or required to be made by the City or recommended during such period;
                  all of which shall be determined independent of the restoration calculation
                  process. For purposes of calculating the funded ratio, the assets in the
                  Restoration Reserve account will be excluded.

            c.    To the extent that the City’s actual contributions to the Retirement System
                  in any of the Fiscal Years 2024 (i.e., the year ending June 20, 2024)
                  through 2033 are greater than the projected annual contribution under the
                  2023 UAAL Amortization, such amounts, and any investment earnings
                  thereon, shall be notionally credited to a new bookkeeping account in the
                  Retirement System called the Extra Contribution Account. In determining
                  pension restoration during the period from Fiscal Year 2024 through 2033,
                  none of the amounts in the Extra Contribution Account shall be considered
                  for purposes of determining the projected Funded Level for purposes of
                  determining whether the Retirement System has attained the Restoration
                  Target or the Permanent Restoration Target. To the extent that the City’s
                  actual contributions in any of the Fiscal Years 2024 through 2033 are less
                  than the City’s projected annual contribution under the 2023 UAAL
                  Amortization, such difference and any investment earnings thereon shall
                  be notionally allocated to the Pension Reserve Fund.

            d.    Each year, in addition to the notional credit of amounts that exceed the
                  amount necessary to satisfy the Restoration Target, existing notional
                  Restoration Account assets will be credited with interest equal to the net
                  return on Retirement System investments; however, such interest shall not
                  exceed the then investment return assumption. In the event of net losses
                  on the Retirement System’s investments, the notional assets credited to the
                  Restoration Reserve Account will be reduced to reflect such losses.

            e.    In connection with preparation of the actuarial report for Fiscal Year 2033,
                  the Plan Actuary will determine whether the Retirement System has
                  satisfied the applicable Permanent Restoration Target (i.e., the 2033
                  Restoration Target). Transfers from the Restoration Reserve Account for
                  credit to the Pension Reserve Fund may be made in such amounts as are
                  necessary to satisfy the Permanent Restoration Target. If following such
                  transfers the funding level as of June 30, 2033 has satisfied the applicable
                  Permanent Restoration Target, then the residual amounts in the
                  Restoration Reserve Account, if any (which will necessarily represent
                  excess not necessary to satisfy the Permanent Restoration Target), and



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                   which fully fund one or more increments of COLA restoration payments
                   for one or more Waterfall Classes, shall be transferred from the
                   Restoration Reserve Account and credited to the Pension Reserve Fund
                   and the applicable incremental COLA payments shall be permanently
                   restored for the applicable Waterfall Class and shall no longer be variable
                   from year to year.

            f.     Following receipt of the actuarial report for 2028, and in the event that the
                   projected Funded Level as of 2033 is less than 79%, the Plan Actuary shall
                   revisit the restoration calculations that it made during each of the prior
                   four (4) years. It shall recalculate each such prior year’s Funded Level
                   projection, this time by assuming the lesser of (i) $4.5 million in annual
                   administrative expenses until 2033, or (ii) an amount of annual
                   administrative expenses until 2033 equal to the average annual normal
                   course administrative expenses in the prior four (4) years applicable to
                   Component II, in addition to a net 6.75% annual investment return. If
                   such retrospective recalculation indicates that fewer amounts would have
                   transferred to the Restoration Reserve Account than actually were
                   transferred during such look back period, then the Restoration Reserve
                   Account shall be debited by the lesser of (i) this difference (plus interest at
                   a rate equal to the rate that was credited to the Restoration Reserve
                   Account during the applicable look-back period) or (ii) the dollars that
                   were actually paid out in restoration payments during such look-back
                   period (plus interest at a rate equal to the rate that was credited to the
                   Restoration Reserve Account during the applicable look-back period); or
                   (iii) the amount required to increase the projected 2033 Funded Level to
                   79%.

      (4)   Restoration of Benefits from July 1, 2033 to June 30, 2043.

            a.     If and to the extent that all COLA payments have not been restored
                   pursuant to Section (3)(f) as of June 30, 2033, then during the period
                   ending June 30, 2043 and for purposes of variable restoration, the Funding
                   Target, the Restoration Target, the Permanent Restoration Target and the
                   Restoration Reserve Suspension Trigger shall be as set forth below, all
                   projected as of June 30, 2043.

                        2023 Funded Level                 2043 Funding Target/Restoration Target

                            78%                                  84%/87%
                            77%                                  83%/86%
                            76%                                  82%/85%
                            75%                                  81%/84%
                          74% or lower                      3% > than 2023 Funded Level %/84%

                  2043 Permanent Restoration Target - Same as 2043 Restoration Target




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                  2043 Restoration Reserve Suspension Trigger – 1% higher than the projected Funding Target
                                             for all time periods

             b.      The same rules for restoration that applied during the period ending June
                     30, 2033 shall otherwise apply (including ceasing interest credits in the
                     event of a Restoration Reserve Suspension Trigger, and the making of
                     notional asset transfers from the Restoration Reserve Account to the
                     Pension Reserve Fund in the event the 2043 Funded Level falls below the
                     2043 Funding Target) and shall be rolled forward. For example, for
                     purposes of determining whether the 2043 Restoration Target has been
                     satisfied, the Plan Actuary shall project annual contributions using the
                     same 2023 UAAL Amortization. For purposes of calculating the funded
                     ratio, the assets in the Restoration Reserve account will be excluded, and
                     no Extra Contribution Account assets shall be included for purposes of
                     determining whether the Funded Level meets the Restoration Target or
                     Permanent Restoration Target, including any additions to such account
                     after 2033.

             c.      In connection with preparation of the annual actuarial valuation report for
                     Fiscal Year 2043, the Plan Actuary will determine whether the Retirement
                     System has satisfied the applicable Permanent Restoration Target, as set
                     forth in paragraph a above. Transfers from the Restoration Reserve
                     Account for credit to the Pension Reserve Fund may be made in such
                     amounts as are necessary to satisfy the Permanent Restoration Target. If
                     following such transfers the Funded Level as of June 30, 2043 is equal to
                     or greater than the applicable Permanent Restoration Target, then the
                     residual amounts in the Restoration Reserve Account, if any (which will
                     necessarily represent excess not necessary to satisfy the Permanent
                     Restoration Target), shall be transferred from the Restoration Reserve
                     Account and credited to the Pension Reserve Fund and the applicable
                     incremental COLA payments shall be permanently restored for the
                     applicable Waterfall Class and shall no longer be variable from year to
                     year.

      (5)    Modification of the Pension Restoration Program.

      If at any time after July 1, 2026, the Investment Committee by vote of five of its seven
      Members, or the Board of Trustees by a greater than 66% vote, determines that a change
      in relevant circumstances has occurred, or there was a mutual mistake of fact in
      developing the Pension Restoration Agreement attached to and made a part of the Plan of
      Adjustment, such that the continued operation of the Pension Restoration Agreement and
      this Section K-3 without amendment will: (a) materially harm the long-term economic
      interests of the City or Retirement System; (b) materially impair the City’s ability to fully
      fund over a reasonable period the then existing frozen benefit liabilities; or (c) materially
      hinder the Restoration Program, if as of that juncture (and for purposes of applying this
      subsection K-3(5)(a)) annual funding levels (excluding the Extra Contribution Account)
      had materially exceeded the applicable Restoration Targets for a substantial period yet



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      without any material actual restoration of benefits as contemplated herein having been
      made, the Investment Committee or the Board, as the case may be, shall provide written
      notice to the other entity of such a determination and of the need to amend the Pension
      Restoration Agreement and this Section K-3 (it being understood that the post-Chapter 9,
      40-year amortization period (to 2053) to fully fund frozen liabilities is, unless the relevant
      facts demonstrate otherwise, presumptively reasonable). The Investment Committee and
      the Board shall then meet to negotiate amendments to the Pension Restoration Agreement
      that address the identified risk of harm or impairment, but which also considers the
      Agreement’s objective of providing pension restoration. Such negotiations shall take into
      account reasonable actions the City has pursued or could pursue to mitigate such harm or
      impairment. Any such amendments shall require the approval of a majority vote of the
      combined members of the Investment Committee and Board (persons who sit on both the
      Board and Investment Committee shall have one vote). Such parties shall consult with
      the Mayor, City Council and the Governor in connection with such negotiation.

      If the Board, acting through a majority, and the Investment Committee, acting through a
      majority, cannot agree to such amendments with the 90-day period following the
      provision of such notice by the determining party, then the Board and Investment
      Committee shall proceed to mediation upon demand from either the Board or the
      Investment Committee. In this regard, within 30-days following expiration of the 90-day
      period the Board and the Investment Committee shall each select a mediator from the list
      of approved mediators for the United States District Court for the Eastern District of
      Michigan. The two selected mediators shall appoint a third neutral mediator from the
      approved list. Each party shall furnish a written statement to the mediators within 30
      days of selection of the neutral mediator. Representatives of the Mayor and the Governor
      shall be consulted in connection with such mediations. If following a 90-day mediation
      period following submission of the written statements the matter is not settled, then either
      the Investment Committee or the Board can file an action in the United Stated District
      Court for the Eastern District of Michigan asking it to declare, inter alia, whether or in
      what manner to amend the Pension Restoration Agreement and this Section K-3.




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                                        APPENDIX A


The following provisions shall also have general applicability to the Combined Plan for the
Police and Fire Retirement System of the City of Detroit, Michigan:


                              MCLS Const. Art. IX, § 24 (2003)

§ 24.   Public pension plans and retirement systems, obligation.

        Sec. 24. The accrued financial benefits of each pension plan and retirement system of the
state and its political subdivisions shall be a contractual obligation thereof which shall not be
diminished or impaired thereby.

         Financial benefits arising on account of service rendered in each Fiscal Year shall be
funded during that year and such funding shall not be used for financing unfunded accrued
liabilities.




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                                    Relevant Provisions of
                                       January 1, 2012
                                    City of Detroit Charter

                                       ARTICLE 11.
                                    RETIREMENT PLANS

Sec. 11-101. City’s Duties.

1.     The City shall provide, by ordinance, for the establishment and maintenance of retirement
       plan coverage for city employees.

2.     Financial benefits arising on account of service rendered in each Fiscal Year shall be
       funded during that year and that funding shall not be used for financing unfunded accrued
       liabilities.

3.     The accrued financial benefits of active and retired city employees, being contractual
       obligations of the city, shall in no event be diminished or impaired.

Sec. 11-102. Continuation of Existing Plans.

        The retirement plans of the city existing when this Charter takes effect, including the
existing governing bodies for administering those plans, the benefit schedules for those plans and
the terms for accruing rights to and receiving benefits under those plans shall, in all respects,
continue in existence exactly as before unless changed by this Charter or an ordinance adopted in
accordance with this article.




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                                  Relevant Provisions of the
                                      Detroit City Code



Sec. 47-1-2. Detroit Police and Fire Retirement System.


Notwithstanding any collective bargaining agreement or other documents governing terms of
employment to the contrary, effective as of July 1, 2014, the Detroit Police and Fire Retirement
System shall hereinafter be memorialized in a separate written document entitled “Combined
Plan for the Police and Fire Retirement System of the City of Detroit, Michigan,” which shall
comprise the exclusive terms of the Detroit Police and Fire Retirement System and be kept in the
Office of the City Clerk for the City of Detroit.




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                             Collective Bargaining Agreements.

        Except to the extent otherwise provided in the Plan of Adjustment, under Michigan Law
if there is any conflict between the Retirement System provisions and collective bargaining
agreement provisions, the terms of the collective bargaining agreement control.

       (a)    The Board of Trustees shall administer the Retirement System consistent with the
              pension provisions of the 2014-2019 collective bargaining agreement between the
              City of Detroit and the Detroit Police Officers Association with respect to police
              officers covered by said collective bargaining agreement.

       (b)    The Board of Trustees shall administer the Retirement System consistent with the
              pension provisions of the 2014-2019 collective bargaining agreement between the
              City of Detroit and the Detroit Police Lieutenants and Sergeants Association.

       (c)    The Board of Trustees shall administer the Retirement System consistent with the
              pension provisions of the 2014-2019 collective bargaining agreement between the
              City of Detroit and the Detroit Police Command Officers Association.

       (d)    The Board of Trustees shall administer the Retirement System consistent with the
              pension provisions of the 2014-2019 collective bargaining agreement between the
              City of Detroit and the Detroit Fire Fighters Association.




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                                 EXHIBIT I.A.292

                         RESTORATION TRUST AGREEMENT




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                 CITY OF DETROIT PENSION RESTORATION TRUST

       THIS TRUST AGREEMENT, entered into effective _____________, 2014, by and
among, the City of Detroit (“Detroit” or the “City”) acting by and through [Kevyn Orr acting as
the appointed Emergency Manager pursuant to PA 436, M.C.L. §141.1541 et seq./Mayor
Michael E. Duggan] and each member of the Board of Trustees named herein.

                                      WITNESSETH:

      WHEREAS, Detroit filed a voluntary petition for relief under chapter 9 of the
Bankruptcy Code on July 18, 2013 in the United States Bankruptcy Court for the United States
Bankruptcy Court Eastern District of Michigan, Case No. 13-53846 (the “Court”);

        WHEREAS, pursuant to the Plan for the Adjustment of Debts of the City of Detroit (as
confirmed by the Court, the “Plan of Adjustment”), the City agreed to establish a trust upon the
Effective Date of the Plan of Adjustment (i) to hold the DWSD CVR (as defined in the Plan of
Adjustment) and enforce rights related to its terms, and to consult with the trustees and
investment committee of the Police and Fire Retirement System for the City of Detroit (“PFRS”)
and the General Retirement System for the City of Detroit (“GRS”), respectively in connection
with General Restoration and Special Restoration relating to the DWSD CVR, each as defined
below;

       WHEREAS, Detroit hereby establishes this City of Detroit Pension Restoration Trust (the
“Trust”);

        WHEREAS, the Board of Trustees shall be responsible for maintaining and administering
this Trust and managing the property held by this Trust;

       WHEREAS, the members of the Board of Trustees are willing to exercise the authority
and rights of consultation granted to it herein with regard to the Trust; and

        NOW THEREFORE, in consideration of the premises and the covenants contained
herein, Detroit and the members of the Board of Trustees agree as follows:

                                         ARTICLE I
                                        DEFINITIONS

        Section 1.1 Board of Trustees or Board. The Board of Trustees is the body described
in Article VII to which Detroit has delegated responsibility for: (i) maintaining and
administering this Trust and managing the property held by this Trust; and (ii) exercising the
duties and responsibilities of the Board of Trustees set forth in this Trust Agreement. The Board
of Trustees shall be constituted in accordance with Article VII and shall have the duties and
authorities described in Article V.

       Section 1.2 Code. Means the Internal Revenue Code of 1986, as amended, and any
successor statute thereto.



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        Section 1.3 Beneficiaries. Means the beneficiaries of this Trust, which beneficiaries
shall be the GRS, the PFRS and the participants in GRS and PFRS entitled to the benefits of the
Restoration Plan.

      Section 1.4            DWSD CVR. Has the meaning given to that term in the Plan of
Adjustment.

        Section 1.5 General Restoration. Means the potential restoration or replacement of
benefit reductions imposed by the Plan of Adjustment pursuant to the terms of the Restoration
Plan.

               Section 1.6   GRS. Means the General Retirement System for the City of Detroit.

       Section 1.7           Holder of Pension Claims. Has the meaning given to that term in the Plan
of Adjustment.

        Section 1.8 Plan of Adjustment. Means the Plan for the Adjustment of Debts of the
City of Detroit, as confirmed by order of the Court dated [---], a copy of which is attached hereto
as Exhibit A.

        Section 1.9          PFRS. Means the Police and Fire Retirement System for the City of
Detroit.

        Section 1.10 Qualifying DWSD Transaction. Has the meaning given to that term in the
Plan of Adjustment.

        Section 1.11 Restoration Plan. Means the general rules governing pension benefit
restoration to the PFRS and the GRS as set forth in Exhibit II.B.3.q.ii.C and Exhibit II.B.3.r.ii.C
of the Plan of Adjustment. A copy of the Restoration Plan is attached hereto as Exhibit B.

      Section 1.12 Retiree Committee. Has the meaning given to that term in the Plan of
Adjustment.

        Section 1.13 Special Restoration. Means the potential restoration or replacement of
benefit reductions imposed by the Plan of Adjustment in connection with a Qualifying DWSD
Transaction, as described in Section IV.F of the Plan of Adjustment.

        Section 1.14 Trust Agreement. This agreement as it may be amended hereafter from
time to time by the parties hereto.

        Section 1.15 Trust or Trust Fund. The City of Detroit Pension Restoration Trust
established by this Trust Agreement, comprising all property or interests in property held by, or
under the custody and control of, the Board from time to time under this Trust Agreement.




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                                            ARTICLE II
                                     ESTABLISHMENT OF TRUST

        Section 2.1 Purpose. The Trust is established to receive and hold the DWSD CVR
and enforce rights related to its terms, and to consult with the trustees and investment committee
of the PFRS and the GRS, respectively in connection with General Restoration and Special
Restoration relating to the DWSD CVR.

       Section 2.2 Receipt of Funds. The Board shall accept all sums of money and other
property contributed to the Trust by Detroit pursuant to Article III. The Board shall hold,
manage and administer the Trust Fund without distinction between principal and income.

        Section 2.3 Inurement and Reversion Prohibited. At no time shall any part of the
principal or income of the Trust Fund be used for, or diverted to, any purpose other than
distributing proceeds from the DWSD CVR in the manner described by Section IV.F of the Plan
of Adjustment. Nothing in this Trust Agreement shall be construed in such a way as to prohibit
the Board from using the assets of the Trust Fund to pay reasonable fees and other expenses and
obligations incurred in maintaining and administering the Trust or to maintain a reserve of funds
needed to pay reasonable fees and expenses expected to be incurred in the future.

        Section 2.4 No Residual Interest. Detroit shall not have any legal or equitable interest
in the assets of the Trust Fund at any time, including following the termination of the Trust.

                                         ARTICLE III
                               CONTRIBUTIONS TO THE TRUST FUND

        Section 3.1 Detroit Contributions. The Board will accept the City's contribution of the
DWSD CVR to the Trust Fund pursuant to the Plan of Adjustment. Apart from the contribution
of the DWSD CVR (and any amounts payable to the Trust Fund pursuant to the terms of the
DWSD CVR), Detroit shall have no further obligation to contribute to the Trust.

                                         ARTICLE IV
                                PAYMENTS FROM THE TRUST FUND

               Section 4.1   Payments from the Trust Fund.

                (a)    Subject to paragraph (b) below, the Board shall within a reasonable time
after receiving proceeds from the DWSD CVR distribute such proceeds (less the amount retained
by the Trust Fund in the sole discretion of the Board to pay reasonable fees and expenses
previously incurred or expected to be incurred to maintain and administer the Trust) directly to
the GRS and PFRS in the manner described in Section IV.F of the Plan of Adjustment.

                (b)     The Board may retain or withhold all or any part of any payment as the
Board in the exercise of its reasonable discretion may deem proper, to protect the Board and the
Trust against any liability or claim on account of any income or other tax whatsoever; and with
all or any part of any such payment so retained or withheld, may discharge any such liability.
Any part of any such payment so retained or withheld by the Board that may be determined by
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the Board to be in excess of any such liability will upon such determination by the Board be paid
to the GRS and PFRS in the manner described in Section IV.F of the Plan of Adjustment.

        Section 4.2 Excessive Payments. If the payment of any distributions under the Trust
is determined to have been excessive or improper, and the recipient thereof fails to make
repayment to the Board or Board’s agent of such excessive or improper payment upon the
Board’s request, the Board shall deduct the amount of such excessive or improper payment from
any other benefits thereafter payable to such person. Until repaid to the Board or Board’s agent,
the amount of said excessive or improper payment shall not be included in the Trust Fund.

                                      ARTICLE V
                               BOARD POWERS AND DUTIES

        Section 5.1 Powers of the Board Generally. The Board has whatever lawful powers
are required to discharge its obligations and to accomplish any of the purposes of this Trust
Agreement, including (but not limited to) the powers specified in the following Sections of this
Article, and the powers and authority granted to the Board under other provisions of this Trust
Agreement. The enumeration of any power herein shall not be by way of limitation, but shall be
cumulative and construed as full and complete power in favor of the Board.

        Section 5.2 Powers Exercisable by the Board. The Board is authorized and
empowered to exercise the following powers at its discretion in satisfaction of the duties imposed
on it under this Trust Agreement:

               (a)     To place securities orders, settle securities trades, hold securities in
custody, deposit securities with custodians or securities clearing corporations or depositories or
similar organizations, and other related activities as shall be necessary and appropriate in
performing its duties under this Trust Agreement. Trades and related activities conducted
through a broker shall be subject to reasonable fees and commissions established by the broker,
which may be paid from the Trust Fund or netted from the proceeds of trades.

                (b)   To make, execute, acknowledge and deliver any and all documents of
transfer and conveyance and any and all other instruments that may be necessary or appropriate
to carry out the powers herein granted.

                (c)     To cause any investment in the Trust Fund to be registered in, or
transferred into, the name of any institutional custodian appointed by the Board, or the name of
its nominee or nominees, or to retain such investments unregistered in a form permitting transfer
by delivery, but the books and records of the Board shall at all times show that all such
investments are part of the Trust Fund, and the Board shall be fully responsible for any
misappropriation in respect of any investment held by its nominee or held in unregistered form;
and shall cause the indicia of ownership to be maintained within the jurisdiction of the district
courts of the United States;

                (d)   To receive, hold, invest and reinvest Trust Fund assets and income under
provisions of law from time to time existing and in accordance with Article V;

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               (e)     To exercise or abstain from exercising any option, privilege or right
attaching to any Trust Fund assets;

              (f)     To make payments from the Trust Fund in accordance with Article IV and
for the payment of expenses as provided in Section 5.5;

               (g)     To employ suitable agents and depositaries (domestic or foreign), public
accountants, brokers, custodians, ancillary trustees, appraisers, legal counsel and other expert
advisors as shall be necessary and appropriate, and to pay their reasonable expenses and
compensation;

                (h)    To pay any income or other tax or estimated tax, charge or assessment
attributable to any property or benefit out of such property or benefit in its sole discretion, or any
tax on income of the Trust, if any, out of the Trust Fund;

                      (i)    To file all reports and returns that are required to be made with respect to
the Trust:

               (j)    To vote, in person or by general or limited proxy, at any election of any
corporation in which the Trust Fund is invested, and similarly to exercise, personally or by a
general or limited power of attorney, any right appurtenant to any investment held in the Trust
Fund; and

               (k)     To accept, compromise or otherwise settle any obligations or liability due
to or from the Trust as the Board hereunder, including any claim that may be asserted for taxes,
assessments or penalties under present or future laws, or to enforce or contest the same by
appropriate legal proceedings.

        Notwithstanding the foregoing, the Board shall not (i) assign, transfer, convey or sell its
interest in the DWSD CVR except for an assignment due to the appointment of successors to
members of the Board in accordance with Section 7.2; and (ii) invest any assets in real estate or
real estate securities

         Section 5.3 Title to Trust Fund. All rights, title and interest in and to the Trust Fund
shall at all times be vested exclusively in the Board.

               Section 5.4   General Duties and Obligations of Board.

               (a)     In accordance with Article II but subject to Section 4.1, the Board shall
hold all property received by it and any income and gains thereupon. In accordance with this
Article, the Board shall manage, invest and reinvest the Trust Fund, shall collect the income
therefrom, and shall make payments or disbursements in accordance with Section 4.1.

             (b)     The Board shall confer with the trustees and investment committee of the
GRS and PFRS, respectively, with respect to the Special Restoration and General Restoration;
provided, however, that the Board shall not have any right to initiate any enforcement

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proceedings against the trustees or investment committee of either GRS or PFRS with respect to
Special Restoration or General Restoration.

                 (c)    The Board shall discharge its duties in the interests of the Beneficiaries
and for the exclusive purpose of making distributions to the GRS and PFRS as provided in
Section 4.1 and defraying reasonable expenses of administering the Trust and shall act with the
care, skill, prudence and diligence under the circumstances then prevailing that a prudent person
acting in like capacity and familiar with such matters would use in conduct of an enterprise of
like character and with like aims.

        Section 5.5 Payment of Expenses. The Board shall apply the assets of the Trust Fund
to pay all reasonable costs, charges, and expenses (including, but not limited to, all brokerage
fees and transfer tax expenses and other expenses incurred in connection with the sale or
purchase of investments, all real and personal property taxes, income taxes and other taxes of
any kind at any time levied or assessed under any present or future law upon, or with respect to,
the Trust Fund or any property included in the Trust Fund and all legal, actuarial, accounting and
financial advisory expenses) reasonably incurred by the Board in connection with maintaining
and administering the Trust, including attendance at meetings related thereto. The expenses of
the Board shall constitute a lien on the Trust Fund.

        Section 5.6 No Board Compensation. Except as provided in Section 5.5, the members
of the Board shall serve without compensation.

                                       ARTICLE VI
                                     BOARD ACCOUNTS

        Section 6.1 Records. The Board shall maintain accurate and detailed records and
accounts of all investments, receipts, disbursements, and other transactions with respect to the
Trust, and all accounts, books and records relating thereto shall be open at all reasonable times to
inspection and audit by interested persons at the principal office of the Trust.

       Section 6.2 Annual Audit. The Trust Fund shall be audited annually by an
independent firm of certified public accountants, and a statement of the results of such audit shall
be provided to the Board and also made available for inspection by interested persons at the
principal office of the Trust.

        Section 6.3 No Interest by Beneficiaries. In no event shall any Beneficiary have any
interest in any specific asset of the Trust Fund. At no time shall any account or separate fund be
considered a savings account or investment or asset of any particular Beneficiary, or class of
Beneficiaries, and no Beneficiary shall have any right to any particular asset which the Board
may have allocated to any account or separate fund for accounting purposes.

        Section 6.4 Accounting Year, Cash Basis. The accounting year of the Trust shall be
the calendar year. All accounts of the Board shall be kept on a cash basis.



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                               ARTICLE VII
         COMPOSITION OF AND PROCEDURES FOR THE BOARD OF TRUSTEES

        Section 7.1 Number and Appointment of Members. The Board of Trustees shall
consist of five (5) voting members. The Retiree Committee has selected the following initial
members of the Board of Trustees:[_________________________, _____________________,
______________________, ________________________, and _____________________.]

       By execution of this Trust Agreement each Board member hereby acknowledges his or
her appointment and acceptance of the duties and responsibilities set forth in this Trust
Agreement.

       Section 7.2 Term of Office. Each member of the Board shall serve a period of four
years until the termination of the Trust, or if earlier, until his or her death, incapacity to serve
hereunder, or resignation. In the event of a vacancy, the replacement Board member shall be
appointed pursuant to procedures established by the Board.

        Section 7.3 Resignation. A Board member may resign, and shall be fully discharged
from further duty or responsibility under this Trust Agreement to the extent permitted by law, by
giving at least ninety (90) days’ advance written notice to the remaining Board Members stating
a date when such resignation shall take effect, which notice or time period may be waived by the
Board.

        Section 7.4 Operation of the Board; Quorum. The Board shall select from among its
members a chair and a vice chair. The Board shall hold regular meetings, and shall designate the
time and place thereof in advance. The Board shall adopt its own rules of procedure and shall
keep a record of proceedings. Each Board Member shall be entitled to one vote on each question
before the Board. Three (3) members shall constitute a quorum at any meeting. A majority vote
of the members present at a meeting of the Board at which a quorum exists shall be necessary for
a decision by the Board.

        Section 7.5 Reliance on Written Instruments. Each member of the Board shall be
fully protected in acting upon any instrument, certificate or paper believed by him or her to be
genuine and to be signed or presented by a duly authorized person or persons, and shall be under
no duty to make any investigation or inquiry as to any statement contained in any such writing,
but may accept the same as conclusive evidence of the truth and accuracy of the statements
therein contained.

        Section 7.6 No Individual Liability on Contracts. The members of the Board shall not
be liable personally for any debts, obligations, or undertakings contracted by them, or for the
breach of any contracts. Such claims and obligations shall be paid out of the Trust; provided,
however, that the Board shall not be exempt from personal liability for willful misconduct,
intentional wrongdoing, breach of applicable fiduciary duty, negligence or fraud, and the Trust
shall not indemnify the Board for such liabilities, or to the extent that application of this sentence
would violate any law.


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        Section 7.7 City Not Liable for Conduct of Board. The Board is not, in its capacity as
the Board of Trustees, an officer, agent, employee, or representative of Detroit. In its capacity as
the Board of Trustees, the Board is a principal acting independently of the City, which shall not
be liable for any act, omission, contract, obligation, or undertaking of the Trust, the Board or its
officers, agents, or representatives.

        Section 7.8 Liability Insurance. The Board may obtain and keep current a policy or
policies of insurance, insuring the members of the Board from and against any and all liabilities,
costs and expenses incurred by such persons as a result of any act, or omission to act, in
connection with the performance of their duties, responsibilities and obligations under this Trust
Agreement or the Plan. To the extent permitted by applicable law, the premiums on such
policies may be paid from the Trust Fund.

        Section 7.9 Reimbursement for Defense of Claims. To the extent permitted by
applicable law and not otherwise covered by liability insurance purchased by the Trust (without
regard to any non-recourse rider purchased by the insured), the Board, employees of the Board
and persons acting on the Board’s behalf pursuant to an express written delegation (each
separately, the “Indemnified Party”) shall be reimbursed by the Trust Fund for reasonable
expenses, including without limitation attorneys fees, incurred in defense of any claim that seeks
a recovery of any loss to the Plan or Trust Fund or for any damages suffered by any party to, or
beneficiary of this Trust Agreement (a) for which the Indemnified Party is adjudged not liable, or
(b) which is dismissed or compromised in a final settlement, where the Board or, where required
by applicable law, an independent fiduciary determines that the settling Indemnified Party was
not primarily responsible (in such cases, all or only a portion of the settling Indemnified Party’s
reasonable expenses may be reimbursed, as directed by the Board or an independent fiduciary),
provided that, the Board shall have the right to approve of the retention of any counsel whose
fees would be reimbursed by the Trust Fund, but such approval shall not be withheld
unreasonably.

                                 ARTICLE VIII
                      AMENDMENT, TERMINATION AND MERGER

        Section 8.1 Duration of the Trust. Unless terminated earlier pursuant to Section 8.3,
this Trust Agreement shall terminate automatically on the earlier of: (a) the eighth anniversary
of the Effective Date of the Plan of Adjustment if the City and the Board shall have agreed in
writing that no Qualifying DWSD Transaction has occurred; or (b) the later of (i) written notice
from GRS and PFRS of the death of the last individual who was a participant in such pension
plans on the Effective Date of the Plan of Adjustment or (ii) the 90th anniversary of the effective
date of this Trust Agreement.

        Section 8.2 Amendment. The Trust Agreement may be amended at any time in
writing by the Board or by Court order upon proper motion by the Board or the City, provided,
however, that no amendment may impose a contribution obligation on the City beyond that
specified in Section 3.1. No amendment to the Trust Agreement shall modify the responsibilities
of the Board hereunder unless the Board has first consented to such amendment.

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               Section 8.3   Termination.

                (a)    Notwithstanding Section 8.1, the Trust and this Trust Agreement may be
terminated at any time in writing by the Board with a copy of such written instrument to be
provided to the City, or by Court order upon proper motion. Upon termination of this Trust
Agreement, the assets of the Trust Fund, if any, shall be paid out at the direction of the Board to
the GRS and PFRS as provided in Section IV.F of the Plan of Adjustment. Neither Detroit nor
the Board shall have any beneficial interest in the Trust Fund. If the Trust Fund has assets at the
time of its termination, it shall remain in existence only until all such assets have been
distributed.

                (b)     Upon termination of the Trust pursuant to Section 8.1 or 8.3, the Board
shall continue to have all of the powers provided in this Trust Agreement as are necessary or
desirable for the orderly liquidation and distribution of the Trust Fund in accordance with the
provisions hereof.

                                              ARTICLE IX
                                            MISCELLANEOUS

         Section 9.1 Rights in Trust Fund. No Beneficiary or other person shall have any right,
title or interest in the Trust Fund or any legal or equitable right against the Board, the Board, or
Detroit, except as may be otherwise expressly provided in this Trust Agreement.

        Section 9.2 Non-Alienation. Except to the extent required by applicable law, the
rights or interest of any Beneficiary to any future distributions under the provisions of the GRS
or PFRS shall not be subject to attachment or garnishment or other legal process by any creditor
of any such Beneficiary, nor shall any such Beneficiary have any right to alienate, anticipate,
commute, pledge, encumber or assign any of the benefits or payments which he may expect to
receive, contingent or otherwise, under GRS or PFRS.

       Section 9.3 Controlling Laws. The Trust shall be construed and the terms hereof
applied according to the laws of the state of Michigan to the extent not superseded by federal
law.

       Section 9.4 Counterparts. This Trust Agreement may be executed in any number of
counterparts, each of which shall be considered as an original.

      Section 9.5 Headings. The headings and subheadings of this Trust Agreement are for
convenience of reference only and shall have no substantive effect on the provisions of this Trust
Agreement.

        Section 9.6 Notices. All notices, requests, demands and other communications under
this Trust Agreement shall be in writing and shall be deemed to have been duly given (a) on the
date of receipt if served personally or by confirmed facsimile or other similar confirmed
electronic communication; (b) on the first business day after sending if sent for guaranteed next
day delivery by Federal Express or other next-day courier service; or (c) on the fourth business

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day after mailing if mailed to the party or parties to whom notice is to be given by registered or
certified mail, return receipt requested, postage prepaid, and properly addressed as follows:

If to the City:

[insert name and address]

If to the Board:

[insert name and address]




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IN WITNESS WHEREOF, and as evidence of the establishment of the Trust created hereunder,
the parties hereto have caused this instrument to be executed as of the date above first written.

CITY OF DETROIT

By:
               Print Name:
               Title:
               Date:



MEMBERS OF THE BOARD OF TRUSTEES

By:
Print Name:

               Acknowledged by me on the     day of                    ,
               Signature______________________________________________
               Printed name___________________________________________

               Notary public, State of Michigan, County of
               My commission expires___________________________________


By:
Print Name:

               Acknowledged by me on the     day of                    ,
               Signature______________________________________________
               Printed name___________________________________________

               Notary public, State of Michigan, County of
               My commission expires___________________________________


By:
Print Name:

               Acknowledged by me on the     day of                    ,
               Signature______________________________________________
               Printed name___________________________________________

               Notary public, State of Michigan, County of
               My commission expires___________________________________


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By:
Print Name:

               Acknowledged by me on the     day of                    ,
               Signature______________________________________________
               Printed name___________________________________________

               Notary public, State of Michigan, County of
               My commission expires___________________________________


By:
Print Name:

               Acknowledged by me on the     day of                    ,
               Signature______________________________________________
               Printed name___________________________________________

               Notary public, State of Michigan, County of
               My commission expires___________________________________




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                                  EXHIBIT A

                           PLAN OF ADJUSTMENT




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                                  EXHIBIT B

                             RESTORATION PLAN




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                                  EXHIBIT C

                           CONFIRMATION ORDER




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                                 EXHIBIT I.A.298

                   RETIREE HEALTH CARE SETTLEMENT AGREEMENT




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                                SETTLEMENT AGREEMENT

        Plaintiffs, the Official Committee of Retirees of the City of Detroit, Michigan (the
“Committee”), Detroit Retired City Employees Association, Retired Detroit Police and Fire
Fighters Association, and AFSCME Sub-Chapter 98, City of Detroit Retirees (collectively
with the Committee, the “Plaintiffs”) and Defendants, the City of Detroit, Michigan (the
“City”) and Kevyn Orr, individually and in his official capacity as Emergency Manager of
the City of Detroit, Michigan (collectively with the City, the “Defendants”), hereby enter
into this Settlement Agreement as of the 14th day of February, 2014 (the “Agreement”),
which contains the following terms:

                                 I. GENERAL PROVISIONS

         1.      Agreement Modifies March 1, 2014 Plan. The City agrees to make the changes
listed in Part II herein to the City of Detroit Retiree Health Care Plan for the period March 1,
2014 through December 31, 2014. The changes enumerated in Part II are modifications to the
City of Detroit Retiree Health Care Plan described in the 2014 Health Care Plan Options Booklet
(“Booklet”) distributed approximately January 2, 2014. These modifications are premised on the
terms summarized in the Booklet going into effect on March 1, 2014, subject only to the
modifications set forth in this Agreement, which resolves the Plaintiffs’ claims in Adversary
Proceeding No. 14-04015 (the “Adversary Proceeding”).

        2.     Modifications Will Not Decrease Benefits Offered in March 1, 2014 Plan.
None of the modifications in Part II reduces or eliminates any of the benefits in the City of
Detroit Retiree Health Care Plan for the period March 1, 2014 through December 31, 2014 as
described in the Booklet, except as specified in Part II(4)(a) and (b) below.

        3.     Effective Date of Plan Modifications. The modifications listed in Part II of this
Agreement shall be effective with the beginning of the plan on March 1, 2014 unless otherwise
noted in the Agreement.

         4.      Aggregate Caps. Unless specifically noted below, there is no cap on the amount
that the City will spend to fulfill the modifications listed in Part II. For the two modifications
listed in Part II(3)(a)/(b) and (d)/(e) that expressly include capped funds of $2,500,000 and
$3,000,000, respectively, the City shall aggregate those caps to a total of $5,500,000 such that if
one capped fund is exhausted the City must draw from the other capped fund to the extent that
the other capped fund has not been exhausted.

        5.       Conditions on Agreement. This Agreement, and the additional benefits set forth
herein, are conditioned upon the City receiving debtor in possession financing that can be used
for quality of life purposes on or before May 1, 2014 (the “DIP”). In the event the DIP is not in
effect on or before May 1, 2014 and the City is unable to otherwise perform under this




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Agreement, this Agreement shall be null and void and the parties shall be returned to their
respective positions.

 II. MODIFICATIONS TO THE CITY’S RETIREE HEALTH CARE PLAN FOR THE
           PERIOD MARCH 1, 2014 THROUGH DECEMBER 31, 2014

        1.      Modification of Dental and Vision Coverage.

        (a)     Dental Coverage. The City will make available an additional dental benefits
                option in addition to the dental benefits coverage option described in the Booklet.
                The additional option will be offered by Golden Dental Inc. (“Golden”). The
                premium charged for this group coverage option will be no greater than $23.73
                per month for single coverage, $38.83 per month for two-person coverage, and
                $57.17 per month for family coverage, and the benefits will be as described in
                Exhibit 1 hereto; provided, however, that the amount charged to the retiree shall
                be increased to include an additional administrative charge, which administrative
                charge shall not exceed 20% of the applicable premium. The enrolling retiree will
                be fully responsible to pay the premium associated with this dental option,
                including the additional administrative charge, and the City shall allow the
                retirees to utilize the pension reduction feature for payment of the monthly
                premium. The City will use Reasonable Efforts to have such coverage effective
                June 1, 2014, including taking Reasonable Efforts to notify retirees by mail of this
                option as soon as practicable, and taking Reasonable Efforts to minimize the
                administrative charge. Reasonable Efforts, as used in this Agreement, requires
                the City to use good faith and reasonable diligence in light of its capabilities.

        (b)     Vision Coverage. The City will make available an additional vision benefits
                option in addition to the vision benefits coverage option described in the Booklet.
                The additional option will be offered by Heritage Vision Plans, Inc. (“Heritage”).
                The premium for this group coverage option will be no greater than $6.95 per
                month for single coverage and $13.75 per month for 2 or more person coverage;
                provided, however, that the amount charged to the retiree shall be increased to
                include an additional administrative charge, which administrative charge shall not
                exceed 20% of the applicable premium. The option shall be a national network
                vision option similar to the option that the City provides to active employees. The
                enrolling retiree will be fully responsible to pay the premium associated with this
                vision option, including the additional administrative charge, and the City shall
                allow the retirees to utilize the pension reduction feature for payment of the
                monthly premium. The City will use Reasonable Efforts to have such coverage
                effective June 1, 2014, including taking Reasonable Efforts to notify retirees by
                mail of this option as soon as practicable, and taking Reasonable Efforts to
                minimize the administrative charge.

        2.      Modifications for Retirees Eligible for Medicare.

        (a)     Extension of Enrollment Deadline to Opt Out of Medicare Advantage Plan
                Coverage. For retirees of the City who are enrolled in Medicare and receive


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                coverage under a City-sponsored Medicare Advantage Plan through February 28,
                2014, the date to opt out of such coverage was extended to February 7, 2014.
                Such retirees may opt out by hand delivery (no later than close of business
                February 7) or first-class mail delivery (post-marked on or before February 7) of
                the designated opt out form to the City Benefits Administration Office at Suite
                1026, 2 Woodward Avenue, Detroit MI 48226. Retirees were permitted to
                request the designated opt out form by calling the City’s Benefit Administration
                Customer Service Line or contacting the City Benefits Administration Office at
                the address above. The City will use Reasonable Efforts to process any such opt
                outs for which it receives timely notice in a manner so as to eliminate such
                Medicare Advantage Plan coverage effective March 1, 2014. To the extent the
                City is not able to process the timely sent opt out notices in a manner so as to
                eliminate such coverage effective March 1, 2014, such coverage shall be
                eliminated effective April 1, 2014. Retirees who did not opt out by February 7,
                2014 will be enrolled in a City-sponsored Medicare Advantage Plan as described
                in the Booklet.

        (b)     HRA Contribution for Medicare-Eligible Retirees Who Opt Out. For each
                Medicare-eligible retiree who opted out of coverage under the City-sponsored
                Medicare Advantage Plans on or prior to February 7, 2014, the City shall
                automatically enroll such retiree in a City-sponsored Health Reimbursement
                Arrangement (“HRA”). The HRA shall be administered by Flex Plan, Inc. The
                City will provide each electing enrollee with a vested $115 monthly contribution
                credit to his or her HRA during the remainder of 2014, which will carry forward
                until used by the retiree or otherwise forfeited under terms to be negotiated by the
                parties hereto. The City will make all Reasonable Efforts to implement the HRA
                credits effective May 1, 2014, retroactive to March 1, 2014. The initial monthly
                credit for May 2014 shall be in an amount equal to the total of $115 multiplied by
                the number of months starting March 2014 for which the enrolled retiree did not
                have Medicare Advantage Plan coverage (e.g., if John Smith had City-sponsored
                Medicare Advantage Plan coverage until February 28, 2014, the initial monthly
                credit for May 2014 will be $345, covering March, April, and May; thereafter, the
                payments shall be $115 per month for each month in 2014).

        (c)     Medicare Advantage Plan Catastrophic Drug Expenses. Each of the Medicare
                Advantage Plans sponsored by the City for the period March 1, 2014 through
                December 31, 2014 include Medicare Part D prescription drug coverage, under
                which, once the $4,550 out-of-pocket threshold is met, the participant’s cost
                sharing obligation is limited to the greater of 5% of the cost of the prescription, or
                $2.55 per prescription for generic and preferred multi-source drugs or $6.35 per
                prescription for all other prescription drugs; provided, that the participant’s cost
                sharing obligation shall never be greater than the cost sharing that applied prior to
                the participant meeting such threshold. For each participant who meets the
                $4,550 out-of-pocket threshold while enrolled in one of the City’s Medicare
                Advantage Plans during the period March 1, 2014 through December 31, 2014,
                the City will reimburse the amount of this cost sharing obligation to the related


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                retiree. For the avoidance of doubt, participant means both retiree and any
                retiree’s spouse who is covered by the City’s Medicare Advantage Plans.

        3.      Modifications for Retirees Not Eligible for Medicare.

        (a)     Additional Stipend to Retirees With $75,000 or Lower Household Income
                Who Acquire Health Care Coverage on an Exchange. The City will provide
                non-duty disabled retirees who are not eligible for Medicare a $125 stipend that
                they may use to purchase health care coverage. The City will increase this
                stipend by $50 for any non-Medicare eligible retiree who either (i) was enrolled in
                the City’s retiree health program on December 31, 2013 or (ii) transitioned from
                active City benefits to retiree City benefits on or after November 1, 2013; but only
                to the extent such retiree described in (i) or (ii) above meets the following
                requirements:

                i)     Not eligible for Medicare or Medicaid;

                ii)    Not eligible for a benefit under Part II(4);

                iii)   Not a duty-disabled retiree (duty-disabled retirees are eligible for higher
                       stipends as provided for in the Booklet);

                iv)    Under 65 years old (non-Medicare eligible retirees age 65 and older may
                       receive an increased stipend under Part II(3)(c) below);

                v)     Household income is $75,000 or less, as demonstrated by satisfaction of
                       the process set forth in Part II(3)(b);

                vi)    Does not acquire a City-offered group health plan as set forth in Part
                       II(3)(f); and

                vii)   Purchases or is covered by a health insurance policy acquired through a
                       health insurance exchange (“Exchange”) established pursuant to the
                       Patient Protection and Affordable Care Act.

        (b)     Process to Obtain Additional $50 Monthly Stipend.

                i)     The City will retain Aon Hewitt to administer the eligibility process for
                       the additional $50 monthly stipend set forth above in Part II(3)(a).
                       Retirees will be given a 30-day notice period, to expire no later than April
                       30, 2014, during which they shall provide to Aon Hewitt the following:

                               (1)    Submission of having purchased an insurance policy
                                      through an Exchange that covers such retiree. Such
                                      submission shall include information necessary to validate
                                      the retiree’s eligibility, including the name of the insurer,
                                      monthly premium amount, and the amount of federal


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                                       subsidy, if any, that the retiree is to receive in connection
                                       with such Exchange-acquired coverage; and

                               (2)     If the proof of Exchange-acquired coverage shows that the
                                       retiree’s premium does not also include a federal subsidy
                                       amount, such retiree shall also submit a copy of his or her
                                       most recently filed federal income tax return with proof of
                                       filing, but in no event a return prior to the 2011 tax year. If
                                       such federal income tax return shows household income in
                                       excess of $75,000 and the retiree believes that household
                                       income in 2013 was below $75,000, the retiree shall also
                                       submit – along with a copy of the most recently filed
                                       federal income tax return – proof sufficient for Aon Hewitt
                                       to conclude that his or her household income in 2013 was
                                       less than $75,000.

                ii)    Aon Hewitt shall submit to the City its list of retirees eligible for the
                       additional $50 monthly stipend and the monthly stipends shall be paid to
                       the approved eligible retirees beginning in the month of June 2014 or as
                       soon thereafter as administratively practical, with payments retroactive to
                       March 1, 2014. For example, if the first payment is made in June 2014, it
                       will be in the amount of $200 for the months of March, April, May, and
                       June; thereafter, the payments shall be $50 per month for each succeeding
                       month in 2014. The list provided by Aon Hewitt shall be final and no
                       changes shall be made to such list for the remainder of 2014.

        The City shall cap the amount that it pays for this additional $50 stipend during the
        period from March through December 2014 at $3,000,000. In the event that there are
        more retirees meeting the requirements in Part II(3)(a) and (b) (i.e., retirees listed on the
        final list) than can be paid in full for $3,000,000, each retiree will have his or her stipend
        amount reduced pro rata, unless there are additional funds that can be used as detailed in
        Part I(4).

        (c)     Additional Payment to Non-Medicare Eligible Retirees Age 65 and Older.
                The City will increase the stipend that it gives non-Medicare eligible retirees who
                are 65-years-old and older to $300/month. For such purposes, a non-Medicare
                eligible retiree is any retiree age 65 or older who is not – directly or through his or
                her spouse – eligible to automatically enroll in and obtain premium-free coverage
                under Part A of Medicare as evidenced by a denial letter from the Centers for
                Medicare and Medicaid Services (“CMS”). Retirees who have previously
                submitted such a letter to the City will not be required to resubmit it. Non-
                Medicare eligible retirees who are duty-disabled will not be eligible for this
                increase because their stipend is already $300 or more. The City will coordinate
                with Blue Cross Blue Shield of Michigan to determine the number of non-
                Medicare eligible retirees who are eligible for this $300 stipend. The increased
                stipend will apply for each month from March 2014 through December 2014.
                The City will make all Reasonable Efforts to implement the $300 increased

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                monthly stipend beginning April 1, 2014, with payment of the increased amount
                over the stipend otherwise paid for prior months being retroactive to March 1,
                2014; thereafter, the stipend shall be $300 per month for each succeeding month
                in 2014. Such eligible retirees will not receive any other stipend amounts from
                the City that are described in the Booklet or this Agreement.

        (d)     $125 Monthly Stipend For City Retirees’ Spouses Who are Under Age 65,
                With $75,000 or Lower Household Income, and Are Enrolled in Health Care
                Coverage on an Exchange. The City will provide a $125 stipend to certain
                married retirees whose spouses either (i) were enrolled in the City’s retiree health
                program on December 31, 2013 or (ii) transitioned from active City benefits to
                retiree City benefits on or after November 1, 2013; but only to the extent such
                spouse described in (i) or (ii) above meets the following requirements:

                i)     Not eligible to enroll in one of the City’s Medicare Advantage Plans;

                ii)    Not eligible for Medicaid;

                iii)   Not eligible for a benefit under Part II(4);

                iv)    Under 65 years old;

                v)     Household income is $75,000 or less, as demonstrated by satisfaction of
                       the process set forth in Part II(3)(e);

                vi)    Does not acquire a City-offered group health plan as set forth in Part
                       II(3)(f); and

                vii)   Purchases or is covered by a health insurance policy acquired through an
                       Exchange.

        (e)     Process to Obtain $125 Monthly Spouse Stipend.

                i)     The City will retain Aon Hewitt to administer the eligibility process for
                       the $125 monthly spouse stipend. Retirees will be given a 30-day notice
                       period, to expire no later than April 30, 2014, during which they shall
                       provide to Aon Hewitt the following proof:

                               (1)     Submission of proof that their spouse is covered under an
                                       insurance policy purchased through an Exchange, including
                                       information necessary to validate the retirees’ eligibility,
                                       including the name of the insurer, monthly premium
                                       amount, and the amount of federal subsidy, if any, that the
                                       spouse is to receive in connection with such Exchange-
                                       acquired coverage; and

                               (2)     If the proof of Exchange-acquired coverage shows that the
                                       spouse’s premium does not also include a federal subsidy

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                                       amount, such retiree shall also submit a copy of his or her
                                       most recently filed federal income tax return with proof of
                                       filing, but in no event a return prior to the 2011 tax year.
                                       If such federal income tax return shows household income
                                       in excess of $75,000 and the retiree believes that household
                                       income in 2013 was below $75,000, the retiree shall also
                                       submit – along with a copy of the most recently filed
                                       federal income tax return – proof sufficient for Aon Hewitt
                                       to conclude that his or her household income in 2013 was
                                       less than $75,000.

                ii)    Aon Hewitt shall submit to the City its list of retirees who are eligible for
                       this $125 monthly stipend and the monthly stipends shall be paid to the
                       approved married retirees beginning in the month of June 2014 or as soon
                       thereafter as administratively practical, with payments retroactive to
                       March 1, 2014. For example, if the first payment is made in June 2014, it
                       will be in the amount of $500 for the months of March, April, May, and
                       June; thereafter, the payments shall be $125 per month for each
                       succeeding month in 2014. The list provided by Aon Hewitt shall be final
                       and no changes shall be made to such list for the remainder of 2014,
                       except as follows:

                               (1)     if an eligible retiree ceases to be married (whether by death
                                       or divorce), the retiree’s spouse will cease to be eligible for
                                       this stipend and the retiree shall be removed from the list
                                       effective as of the month immediately following such
                                       event; and

                               (2)     if a retiree’s spouse transitions from active City benefits to
                                       retiree City benefits during 2014 and meets the eligibility
                                       provisions described in Part II(3)(d) and is approved as
                                       eligible pursuant to the process described in Part II(3)(e),
                                       the related retiree shall be added to the list effective as of
                                       the month in which the transition to retiree City benefits
                                       occurs, provided there is sufficient availability under the
                                       Aggregate Caps as described below.

        The City will cap the amount that it pays for spousal stipends at $2,500,000. In the event
        that there are more retirees initially satisfying the requirements in Part II(3)(e) (i.e.,
        retirees listed on the first list submitted by Aon Hewitt to the City) than can be paid in
        full for $2,500,000, each such retiree will have his or her stipend amount reduced pro
        rata, provided that if there are additional funds that can be used as detailed in Part I(4),
        each such retiree will only have his or her stipend amount reduced pro rata to the extent
        the aggregate amount is not sufficient to satisfy the full amount of such stipends.
        Retirees who become eligible for this spousal stipend during the year, as described above,
        shall only be eligible for a stipend to the extent there is sufficient availability under the


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        Aggregate Caps detailed in Part I(4). The addition or removal of retirees from the list
        shall not impact the amount of the stipend being paid to other eligible retirees.

        (f)     City Group Plan. In 2014, the City agrees to contract with Blue Cross Blue
                Shield of Michigan to offer a fully-insured group health plan option to retirees
                who are not eligible for Medicare. Such plan option shall be reasonably
                equivalent to the coverage offered by the City to active employees in 2014. The
                enrolling retiree will be fully responsible to pay the monthly premium associated
                with this option. The premium cost to retirees of such policy will include the cost
                to the City of enrollment and administration related to this policy option, so that
                the City will not incur any additional expense in offering this policy. The parties
                will use Reasonable Efforts to have such coverage effective May 1, 2014. The
                City shall provide a monthly stipend of $100 to each retiree who enrolls in the
                City group plan, beginning with the May 1, 2014 payment. No other stipend
                amounts from the City that are described in the Booklet or this Agreement shall
                be available to retirees enrolling in this group option, unless either (i) the retiree is
                duty-disabled, in which case, he or she will instead receive the stipend available
                to duty-disabled retirees described in the Booklet, or (ii) the retiree is eligible for
                the stipend described in Part II(3)I, in which case, he or she will instead receive
                such stipend.

        4.      Modifications for Retirees Below the Federal Poverty Level.

        (a)     Coverage for Michigan Resident Retirees Eligible For Medicaid Coverage
                On or After April 1, 2014. The parties recognize that CMS has approved the
                State of Michigan’s request to operate the “Healthy Michigan” program for adults
                who will become eligible for Medicaid under Section 1902(a)(10)(A)(i)(VIII) of
                the Social Security Act, and that on April 1, 2014 Michigan will provide
                Medicaid coverage to all adults residing in the State with income up to and
                including 133% of the Federal Poverty Level. “Federal Poverty Level” means the
                applicable poverty guideline based on state of residence and household size issued
                annually by the U.S. Department of Health and Human Services. For those
                retirees who are eligible for Medicaid under the scheduled April 1, 2014
                expansion, the City will facilitate their transition in the following manner:
                Within 10 days of the effective date of this Agreement, the City shall contact by
                letter those non-Medicare eligible retirees, who, according to the Retirement
                Systems’ records, reside in Michigan and whose annual pension income is in an
                amount less than 100% of the Federal Poverty Level. Such retirees will be given
                a 30 day opportunity to submit to Aon Hewitt proof that their income falls below
                the Federal Poverty Level. Upon receipt by Aon Hewitt of a list of such retirees
                falling below the Federal Poverty Level, the City shall provide payment to such
                retirees of the amount equal to the value of the federal subsidy for the month of
                March that they would have received in connection with the second lowest cost
                Exchange-purchased silver plan, had such retiree, and to the extent the retiree is
                married, such retiree’s spouse, been eligible for such subsidy for the month of
                March 2014 for such plan based on a determination of household income at 100%
                of the Federal Poverty Level. A similar payment will be made by the City in

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                connection with insurance coverage for April 2014 if such retiree and spouse are
                not covered by Medicaid. To the extent that the Medicaid expansion rules in
                Michigan have not provided such retirees the opportunity to migrate into the
                Michigan Medicaid program by May 1, 2014, the City shall cease its continued
                payment but the parties agree to negotiate in good faith an additional reasonable
                accommodation to such retirees that balances the City’s and such retirees’
                interests. Retirees eligible for payments under this subsection are not eligible for
                any other payment offered by the City as set forth in the Booklet or as set forth in
                this Agreement.

        (b)     Coverage for Non-Medicare Eligible Retirees in States that Have Not
                Expanded Medicaid. The City recognizes that not all States have chosen to
                expand Medicaid coverage in accordance with Title II of the Patient Protection
                and Affordable Care Act, and certain non-Medicare eligible retirees residing
                outside the State of Michigan whose incomes fall below 133% of the Federal
                Poverty Level will not be eligible for Medicaid coverage. Accordingly, in
                connection with such retirees, the City will pay a monthly amount equal to the
                lesser of: (1) the second lowest cost monthly premium for a silver plan for such
                retiree and spouse purchased through an Exchange in their place of residence; or
                (2) the ratable monthly amount necessary to increase the retiree’s annual
                household income to 100% of the Federal Poverty Level. Within 10 days of the
                effective date of this Agreement, the City shall contact by letter those retirees,
                who, according to the Retirement Systems’ records, reside in states that do not
                provide Medicaid coverage to adults up to the Federal Poverty Level, and whose
                annual pension income is in an amount less than 100% of the Federal Poverty
                Level. Such retirees will be given a 30 day opportunity to submit to Aon Hewitt
                proof that their income falls below the Federal Poverty Level. The City shall
                commence such payments as soon as reasonably practicable after receiving a list
                of such retirees from Aon Hewitt. Retirees eligible for payments under this
                subsection are not eligible for any other payment offered by the City as set forth
                in the Booklet or as set forth in this Agreement.

      III. RELEASES, FUTURE LEGAL PROCEEDINGS, AND MISCELLANEOUS

        1.      Future Claims in City Plan Confirmation Proceedings. This Agreement is
entered into without prejudice to any party to this litigation with respect to any issue involving
the rights, claims, obligations, and payments of health care and other post-employment benefits
(“OPEB”); provided that the City will not seek to recover directly from the retirees any
postpetition OPEB payments made to or on behalf of retirees. Each party expressly reserves its
rights on OPEB issues in connection with negotiations of a plan of adjustment, and the Plaintiffs
are free to pursue, and the City to oppose, their position that the postpetition OPEB payments the
City made to or on behalf of retirees were a business necessity.

       2.      Release. Following the execution of this Agreement, the Plaintiffs will promptly
dismiss the lawsuit – which solely addresses 2014 retiree health care benefits – with prejudice;
provided, however, that any party to the lawsuit may bring an action in the Bankruptcy Court to
enforce the terms of this Agreement resolving the lawsuit (an “Enforcement Action”) and if the

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                                      Certificate of Coverage
                                      City of Detroit Retirees

CLASS I
Diagnostic and Preventive:
Exams, X-Rays, Prophylaxis, Fluoride -up to age 19                       100%


CLASS II
Restorative:
Fillings, Root Canals, Routine Extractions                               100%


CLASS III
Prosthetics:
Crowns, Bridges, Partials, Dentures, Space Maintainers                   80%


CLASS IV
Specialty Care:
Periodontics
Endodontics
Oral Surgery                                                             70%


ORTHODONTICS (Interceptive excluded)
Lifetime Benefit Maximum: Dependents up to age 19                        $3,000
Lifetime Benefit Maximum: Subscriber and Spouse                          $3,000


Out-Of-Area Emergency Coverage $100 reimbursement

Annual Maximum:        $1,600.00
Annual Renewal:        07/01
Membership Card Reads: Detroit Retirees


                              Rate Type                  Current Rates
                             Single Person                  $23.73
                             Family of two                  $38.83
                                Family                      $57.17




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                    SCHEDULE OF SECURED GO BOND DOCUMENTS




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                            SCHEDULE OF SECURED GO BOND DOCUMENTS

     Secured GO Bond Documents              Series of Secured GO Bonds     Balance as of Petition Date

Resolution of the City Council adopted
February 23, 2010
Finance Director's Order dated March 11,
2010
                                              Distributable State Aid
Master Debt Retirement Trust Indenture       General Obligation Limited          $252,475,366
dated as of March 1, 2010, as                 Tax Bonds, Series 2010
supplemented and amended (the "Master
Indenture"), between the City of Detroit
and U.S. Bank National Association, as
trustee

Resolution of the City Council adopted         Distributable State Aid
July 20, 2010                                   Second Lien Bonds
                                              (Unlimited Tax General
Finance Director's Order dated December
                                            Obligation), Series 2010(A)          $101,707,848
9, 2010
                                             (Taxable-Recovery Zone
Master Indenture                              Economic Development
                                             Bonds – Direct Payment)

Resolution of the City Council adopted
March 27, 2012
Finance Director's Order dated March 28,
2012 (Series 2012(A2) and Series
2012(B2))                                   Self Insurance Distributable
                                            State Aid Third Lien Bonds
Finance Director's Order dated July 3,         (Limited Tax General               $39,254,171
2012 (Series 2012 (A2) and Series           Obligation), Series 2012(A2)
2012(B2))
Finance Director's Order dated August 16,
2012 (Series 2012(A2-B), Series 2012
(A2) and Series 2012(B2))
Master Indenture

Resolution of the City adopted March 27,
2012                                        Self Insurance Distributable
                                                State Aid Third Lien
Finance Director's Order dated August 16,
                                            Refunding Bonds (Limited              $31,037,724
2012 (Series 2012(A2-B), Series 2012
                                             Tax General Obligation),
(A2) and Series 2012(B2))
                                                 Series 2012(A2-B)
Master Indenture




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     Secured GO Bond Documents              Series of Secured GO Bonds      Balance as of Petition Date

Resolution of the City Council adopted
March 27, 2012
Finance Director's Order dated March 28,         General Obligation
2012 (Series 2012(B))                       Distributable State Aid Third
                                             Lien Capital Improvement
Finance Director's Order dated July 3,                                              $6,469,135
                                             Refunding Bonds (Limited
2012 (Series 2012(B))
                                              Tax General Obligation),
Finance Director's Order dated August 16,          Series 2012(B)
2012 (Series 2012(B))
Master Indenture

Resolution of the City Council adopted
March 27, 2012
Finance Director's Order dated March 28,
2012 (Series 2012(A2) and Series
2012(B2))                                   Self Insurance Distributable
                                                State Aid Third Lien
Finance Director's Order dated July 3,
                                            Refunding Bonds (Limited               $54,055,927
2012 (Series 2012 (A2) and Series
                                             Tax General Obligation),
2012(B2))
                                                  Series 2012(B2)
Finance Director's Order dated August 16,
2012 (Series 2012(A2-B), Series 2012
(A2) and Series 2012(B2))
Master Indenture




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                                 EXHIBIT I.A.332

                         STATE CONTRIBUTION AGREEMENT




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                                                                      EXECUTION VERSION


                              CONTRIBUTION AGREEMENT

       This Contribution Agreement (“Agreement”), dated as of ____________, 2014, is made
by and among the Michigan Settlement Administration Authority, a Michigan body public
corporate (the “Authority”), the General Retirement System of the City of Detroit, the Police
and Fire Retirement System of the City of Detroit and the City of Detroit (the “City”).

                                          RECITALS

       A.      The City filed a voluntary petition for relief under chapter 9 of the Bankruptcy
Code on July 18, 2013 (the “Chapter 9 Case”) in the United States Bankruptcy Court for the
Eastern District of Michigan (the “Court”).

       B.     During the course of the Chapter 9 Case, the City has asserted that the City’s
Police and Fire Retirement System (the “PFRS” or a “System”) and the General Retirement
System (the “GRS” or a “System” and collectively with the PFRS, the “Systems”) are
underfunded.

        C.     During the course of the Chapter 9 Case, there have been suggestions that the
State of Michigan (the “State”) may be obligated to pay all or a portion of the underfunding of
pension benefits payable to retirees, a suggestion the State vigorously disputes.

       D.      As part of the mediation process in the Chapter 9 Case, the mediators asked the
State and other parties to assist in reducing the amount of underfunding in the PFRS and GRS
pension funds by providing settlement funds for the benefit of pensioners that would not be
otherwise available.

       E.      As part of its determination that the City was eligible to file the Chapter 9 Case,
the Court determined that pension obligations of the City can be impaired or diminished in the
Chapter 9 Case and are not protected from such impairment or diminution by the State
Constitution.

        F.     In support of confirmation of the City’s Fourth Amended Plan of Adjustment
dated May 5, 2014 (as may be further amended from time to time, the “Plan”), the State has
agreed, subject to satisfaction of the terms and conditions set forth herein and in the Plan, to
make a contribution to the GRS and PFRS in return for releases from, among others, the GRS
and PFRS as set forth in the Support and Release Agreement entered into by the State and each
of the Systems in connection with this matter.

       G.      On June 20, 2014, the Authority was established as the disbursement agent for the
State with respect to the State Contribution (as defined below).

        H.       Capitalized terms used in this Agreement but not defined have the same meanings
as set forth in the Plan.

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       NOW THEREFORE, THE PARTIES HERETO AGREE AS FOLLOWS:

       1.      State Contribution. On the later of (a) the date on which the Conditions
Precedent have been satisfied, and (b) 60 days after the Effective Date of the Plan, the Authority
shall disburse $98,800,000 to GRS and $96,000,000 to PFRS (collectively, the “State
Contribution”) for the purpose of increasing the assets of the PFRS and GRS. The total
aggregate State Contribution is equal to the net present value of $350,000,000 payable over 20
years determined using a discount rate of 6.75%, which results in a total contribution by the State
of $194,800,000. The State Contribution shall only be used to fund payments to holders of GRS
Pension Claims and PFRS Pension Claims, each as defined in the Plan.

        2.     Governance Requirements of the GRS and PFRS. At all times during the 20 year
period following the disbursement of the State Contribution to the GRS and PFRS, the GRS and
PFRS each must establish an investment committee (the “Investment Committee”) for the
purpose of making recommendations to, and approving certain actions by, the respective
System's board of trustees and/or making determinations and taking action under and with
respect to Investment Management, as set forth in the terms and conditions enumerated on
Exhibit A and Exhibit B, respectively, each attached to and incorporated by reference into this
Agreement. Further, the Emergency Manager for the City and any subsequently appointed
emergency manager for the City, appointed under PA 436 or under any successor or replacement
statutes to PA 436, shall not seek to exercise any powers granted under section 12(1)(m) of PA
436 (or equivalent provision under any successor or replacement statute) against the Board of
GRS or the Board of PFRS until the earlier of (a) one year following entry of an order
confirming the Plan, and (b) December 31, 2015.

      3.      Income Stabilization Funds and Income Stabilization Payments. The City, GRS
and PFRS shall establish an income stabilization program and amend the governing documents
for GRS and the governing documents for PFRS to include the following:

               a.     A supplemental pension income stabilization payment (the “Income
                      Stabilization Payments”) payable on an annual basis beginning not later
                      than 120 days after the Effective Date, to each Eligible Pensioner equal to
                      the lesser of (a) the amount needed to restore the Eligible Pensioner’s
                      reduced pension benefit to the amount of the pension benefit that the
                      Eligible Pensioner received from GRS or PFRS in 2013, or (b) the amount
                      needed to bring the total annual household income of the Eligible
                      Pensioner up to 130% of the Federal Poverty Level in 2013.

               b.     In addition, to the extent an Eligible Pension’s Estimated Adjusted Annual
                      Household Income in any calendar year is less than 105% of the Federal
                      Poverty Level in that year, the Eligible Pensioner will receive an
                      additional benefit (“Income Stabilization Benefit Plus”). The Income
                      Stabilization Benefit Plus shall be equal to the lesser of either (a) 100%
                      restoration of pension benefits, including escalators and cost of living
                      adjustments; or (b) the amount needed to bring the Eligible Pensioner’s
                      Estimated Adjusted Annual Household Income in that calendar year up to
                      105% of the Federal Poverty Level in that year.

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            c.    An Eligible Pensioner’s “Estimated Adjusted Annual Household Income”
                  shall be calculated as follows: (i) the annual pension benefit amount paid
                  in 2013 shall be subtracted from the Eligible Pensioner’s 2013 total
                  household income (per their (or in the case of minor children, their legal
                  guardian’s) 2013 income tax returns or equivalent documentation) as
                  adjusted for inflation or Social Security COLA increases to create a base
                  additional income amount, plus (ii) the following three items as
                  applicable, (x) the reduced pension benefit that GRS will pay the Eligible
                  Pensioner for that year, (y) any GRS pension restoration due to an
                  improved GRS funding level, and (z) the Eligible Pensioner’s Income
                  Stabilization Benefit.       Notwithstanding the foregoing, Income
                  Stabilization Payments, including the Income Stabilization Benefit Plus,
                  under both GRS and PFRS shall not exceed $20 million in aggregate.

            d.    A separate recordkeeping sub-account called the “Income Stabilization
                  Fund” will be set up under each of GRS and PFRS for the sole purpose of
                  paying the Income Stabilization Payments to Eligible Pensioners. The
                  assets credited to the sub-accounts will be invested on a commingled basis
                  with the applicable System's assets and will be credited with a pro-rata
                  portion of the System's earnings and losses.

            e.    Amounts credited to the Income Stabilization Fund, including the
                  Assigned UTGO Bond Tax Proceeds, may not be used for any purpose
                  other than the payment of Income Stabilization Payments to Eligible
                  Pensioners, except as expressly provided in subparagraph (f) below.

            f.    In 2022, provided that the State has not issued a certificate of default with
                  respect to a System at any time prior to 2022, the Investment Committee
                  for that System shall conduct a valuation to determine the Income
                  Stabilization Payments anticipated to be made from the System in the
                  future, in order for the System to fulfill the obligation to make Income
                  Stabilization Payments (the “Estimated Future Liability”). In the event
                  that 75% of the independent members of the Investment Committee
                  determine that the GRS or PFRS Income Stabilization Fund is credited
                  with assets in excess of its Estimated Future Liability (the “Excess
                  Assets”), the Investment Committee may, in its sole discretion,
                  recommend to the Board of Trustees that the Excess Assets, but not more
                  than $35 million, be used to fund each System’s payment of Adjusted
                  Pension Amounts. The Investment Committee shall have the right to
                  engage professionals to assist in this task as necessary, and such expenses
                  shall be paid by the Systems. If any funds remain in the GRS or PFRS
                  Income Stabilization Fund on the date upon which no Eligible Pensioners
                  under their respective System are living, the remainder of each System’s
                  Income Stabilization Fund shall be used to fund each System’s payment of
                  Adjusted Pension Amounts.



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              g.      “Eligible Pensioners” are those retirees or surviving spouses who are at
                      least 60 years of age or those minor children receiving survivor benefits
                      from GRS or PFRS, each as of the Effective Date, whose pension benefit
                      from GRS or PFRS will be reduced by the confirmed Plan, and who have
                      a total household income equal to or less than 140% of the Federal
                      Poverty Line in 2013 (per their (or in the case of minor children, their
                      legal guardian’s) 2013 income tax returns or equivalent documentation).
                      No new persons will be eligible to receive an Income Stabilization
                      Payment at any time in the future, and any minor child receiving survivor
                      benefits shall cease to be an Eligible Pensioner after he or she turns
                      18 years of age.

              h.      The initial determination of Eligible Pensioners, and the amounts of
                      Income Stabilization Payments payable to Eligible Pensioners shall be
                      made by the State in its sole discretion. The State shall transmit the list of
                      Eligible Pensioners to the Investment Committee and the Board of
                      Trustees of GRS and PFRS, as applicable. The Board of Trustees, with the
                      assistance of the Investment Committee of GRS and PFRS, shall be
                      responsible for properly administering the respective Income Stabilization
                      Fund and annually certifying to the Treasurer that it has properly
                      administered the requirements for eligibility and payment of benefits with
                      respect to Eligible Pensioners.

        4.      Conditions Precedent. The Authority’s obligations under this Agreement are not
effective or enforceable until each of the following conditions (the “Conditions Precedent”) have
been met to the satisfaction of the Authority and the Treasurer, unless any one or more of such
conditions are waived in a writing executed by the Authority and the Treasurer:

              a.      The Authority receives the State Contribution from the State.

              b.      An endorsement of the Plan by the Official Retiree Committee which will
                      include a letter from the Official Retiree Committee as part of the Plan
                      solicitation package recommending to Classes 10 and 11 a vote in favor of
                      the Plan, or equivalent assurances from member organizations
                      representing a majority of retirees in the respective classes.

              c.      Cessation of all litigation, including the cessation of funding of any
                      litigation initiated by any other party, as it relates to the City (a)
                      challenging PA 436 or any actions taken pursuant to PA 436, including
                      but not limited to, a dismissal with prejudice of the cases set forth on
                      Exhibit D, or (b) seeking to enforce Article IX, Section 24 of the
                      Michigan Constitution; provided, however, (i) until the State Contribution
                      is received by the Systems, the Systems agree to stay any pending
                      litigation described in this subparagraph, and (ii) that as a condition
                      precedent to the GRS and the PFRS dismissing any pending litigation
                      described in this subparagraph that they are prosecuting, the GRS and the
                      PFRS have the right to receive written confirmation from the Authority

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                  that the Authority is prepared and authorized to disburse the State
                  Contribution in accordance with this Agreement and the Plan, subject only
                  to the dismissal by the GRS and PFRS of any pending litigation described
                  in this subparagraph that they are prosecuting.

            d.    Active support of the Plan by, a release of and covenant not to sue the
                  State from, and an agreement not to support in any way (including
                  funding) the litigation described in subparagraph 4(c) by the parties listed
                  on Exhibit C, or equivalent assurance of litigation finality (which, as to
                  the Systems, shall be deemed satisfied by the execution of the Support and
                  Release Agreement to be entered into by the State and each of the Systems
                  in connection with this matter).

            e.    Classes 10 and 11 accept the Plan.

            f.    By December 31, 2014, the Court enters a final, non-appealable order
                  confirming the Plan that includes, at a minimum, the following:

                  i.     A release of the State and State Related Entities by each holder of
                         a Pension Claim of all Liabilities arising from or related to the
                         City, the Chapter 9 Case, including the authorization given to file
                         the Chapter 9 Case, the Plan, all Exhibits, the Disclosure
                         Statement, PA 436 and its predecessor or replacement statutes, and
                         Article IX, Section 24 of the Michigan Constitution that such party
                         has, had or may have against the State and any State Related
                         Entities.

                  ii.    A requirement that the governing documents of GRS and the
                         governing documents of PFRS be amended to include:

                            a)    the governance terms and conditions set forth in Paragraph
                                  2, Exhibit A and Exhibit B of this Agreement; and

                            b)    the Income Stabilization Payments and Income
                                  Stabilization Fund described in Paragraph 3 of this
                                  Agreement.

                  iii.   Approval of, and authority for the City to enter into, the UTGO
                         Settlement.

                  iv.    A requirement that the City irrevocably assigns the right to receive
                         not less than an aggregate amount of $20,000,000 of the payments
                         on the Reinstated Stub UTGO Bonds to the Income Stabilization
                         Funds of the GRS and PFRS. Such payments will be made to the
                         Income Stabilization Funds in the form of annual installment
                         payments over a 14 year period, pursuant to a payment schedule
                         approved by the State.


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                    v.     Approval of, and authority for the City to enter into, the DIA
                           Settlement.

                    vi.    Agreement to and compliance with MCL 141.1561 and
                           cooperation with the transition advisory board appointed pursuant
                           to MCL 141.1563, or compliance with any new legislation that is
                           enacted regarding post-bankruptcy governance.

             g.     Evidence satisfactory to the State of an irrevocable commitment by:

                    i.     The Foundations to fund $366,000,000 (or the net present value
                           thereof) as part of the DIA Settlement; and

                    ii.    The DIA Corp. to fund $100,000,000 (or the net present value
                           thereof) as part of the DIA Settlement.

             h.     The Plan Effective Date occurs on or before April 1, 2015.

       5.     Non-occurrence of Conditions Precedent. If the Conditions Precedent are not
met to the satisfaction of the Authority and the Treasurer on or before April 1, 2015, upon
written request of the Treasurer, the Authority shall remit the State Contribution to the
Department and shall have no further obligations under this Agreement.

6.    Default by GRS and PFRS; Cure Period; Remedies.

             a.     A System will be in default if the System has not materially complied with
                    any of the terms and conditions set forth in (i) the Plan, (ii) the Governing
                    Documents, or (iii) this Agreement, including, but not limited to, failing to
                    make the required Income Stabilization Payments or using funds in the
                    Income Stabilization Fund for unauthorized purposes. For the purposes of
                    this Agreement, “Governing Documents” shall mean, (x) for the GRS, the
                    Combined Plan for the General Retirement System of the City of Detroit,
                    Michigan, and (y) for the PFRS, the Combined Plan for the Police and
                    Fire Retirement System of the City of Detroit, Michigan. Notwithstanding
                    subparagraph ‘e’ below, there shall not be an event of default for purposes
                    of this paragraph 6 unless and until the Treasurer delivers to the alleged
                    defaulting System a written notice declaring and specifically identifying
                    the facts of an alleged default (the “Default Notice”). Nothing herein shall
                    prohibit the subject System from contesting the alleged default; provided,
                    however, until the contest over the alleged default is resolved, the subject
                    System may not include its State Contribution, as adjusted for earnings
                    and losses, for purposes of determining whether benefits reduced by the
                    Plan may be restored.

             b.     In the event of a default by a System, the System shall have 100 days
                    after receiving the Default Notice in accordance with subparagraph ‘a’
                    above (the “Cure Period”) to cure such default by remedying the damages
                    sustained as a result of the default, as well as making any delinquent
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                  Income Stabilization Payments, and restoring any funds improperly
                  removed from any other fund maintained by the System, including the
                  Income Stabilization Fund, as applicable. Prior to the expiration of the
                  Cure Period, at least six of the seven total aggregate votes of the
                  Investment Committee for the defaulting System must certify to the
                  Treasurer that (i) the default has been cured, and (ii) that no material
                  damages have been caused by the default that have not otherwise been
                  remedied (the “Cure Certification”). During the Cure Period, the
                  defaulting System may not include its State Contribution, as adjusted for
                  earnings and losses, for purposes of determining whether benefits reduced
                  by the Plan may be restored.

            c.    If the Investment Committee for the defaulting System provides the Cure
                  Certification to the Treasurer in accordance with subparagraph ‘b’ above,
                  then the default will be deemed cured and the defaulting System may once
                  again include its State Contribution, as adjusted for earnings and losses,
                  for purposes of determining whether benefits reduced by the Plan may be
                  restored.

            d.    If the Investment Committee for the defaulting System fails to provide the
                  Cure Certification to the Treasurer in accordance with subparagraph ‘b’
                  above, then no portion of the total State Contribution to the defaulting
                  system, as adjusted for earnings and losses, may be taken into
                  consideration by the System during the remainder of the 20 year period
                  following the date of such default for purposes of determining whether
                  benefits reduced by the Plan may be restored. Notwithstanding the
                  foregoing, if at any time during or after the Cure Period the Investment
                  Committee certifies by a simple majority vote, that (i) the default has been
                  cured; and (ii) that no material damages have been caused by the default
                  that have not otherwise been remedied, then the Treasurer may consent to
                  the defaulting System once again including its State Contribution, as
                  adjusted for earnings and losses, for purposes of determining whether
                  benefits reduced by the Plan may be restored, which consent shall not be
                  unreasonably withheld.

            e.    Each Investment Committee shall provide compliance reports to the
                  Treasurer on a semi-annual basis and at such other times as the Treasurer
                  reasonably may request (each, a “Compliance Report”) that certifies that
                  the Investment Committee is not aware of any defaults, or, if the
                  Investment Committee is aware of a default, specifically identifying the
                  facts of such default. After review of a Compliance Report, the Treasurer
                  shall provide to the System either a certificate of compliance or a Default
                  Notice.

            f.    Notwithstanding the foregoing, in the event of a default, the Treasurer and
                  the Authority shall have the right to pursue all available legal and


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                       equitable remedies against the Board of Trustees for the defaulting
                       System, the Investment Committee, or any other person.

        7.     Execution in Counterparts. This Agreement may be executed in counterparts,
each of which when so executed and delivered shall be deemed to be an original and all of which
taken together shall constitute one and the same instrument.

        8.      Governing Law/Jurisdiction. This Agreement shall be construed in accordance
with the laws of the State of Michigan, without reference to its conflict of law provisions, and the
obligations, rights and remedies of the parties hereunder shall be determined in accordance with
such laws. The Bankruptcy Court of the Eastern District of Michigan shall have exclusive
jurisdiction over any action or proceeding solely with respect to this Agreement, and each party,
to the extent permitted by law, agrees to submit to such jurisdiction and to waive any defense
based on venue or jurisdiction of such court.

       9.     Amendment. This Agreement may be amended, modified, superseded or
canceled, and any of the terms, covenants, representations, warranties or conditions hereof may
be waived only by an instrument in writing signed by each of the Parties.

         10.    Limitation of Liability. The obligation to make the State Contribution is not a
general obligation or indebtedness of the State or the Authority and is subject to satisfaction of
the conditions described herein. Furthermore, neither the State nor the Authority has any
liability or obligation arising from or related to the contributions and funding of the Income
Stabilization Fund of each System. Notwithstanding anything contained herein to the contrary,
no State Related Entity or board member of the Authority shall have any liability for the
representations, warranties, covenants, agreements or other obligations of the State or the
Authority hereunder or in any of the certificates, notices or agreements delivered pursuant
hereto.

        11.     Severability. If any one or more of the covenants, agreements or provisions of
this Agreement shall be determined by a court of competent jurisdiction to be invalid, the
invalidity of any such covenants, agreements and provisions shall in no way affect the validity or
effectiveness of the remainder of this Agreement, and it shall continue in force to the fullest
extent permitted by law.

        12.    Headings. Any headings preceding the text of the several articles and sections
hereof, and any table of contents or marginal notes appended to copies hereof, shall be solely for
convenience or reference and shall not constitute a part of this Agreement, nor shall they affect
its meaning, construction or effect.



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                                MICHIGAN SETTLEMENT ADMINISTRATION
                                AUTHORITY


                                By: ______________________________________
                                Title: Authorized Officer


                                GENERAL RETIREMENT SYSTEM OF THE
                                CITY OF DETROIT


                                By: ______________________________________
                                Title: Authorized Officer


                                By: ______________________________________
                                Title: Authorized Officer


                                POLICE AND FIRE RETIREMENT SYSTEM OF
                                THE CITY OF DETROIT


                                By: ______________________________________
                                Title: Authorized Officer


                                By: ______________________________________
                                Title: Authorized Officer


                                CITY OF DETROIT

                                By: ______________________________________
                                Title: Emergency Manager




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                      EXHIBIT A – GRS Governance Terms




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                INVESTMENT COMMITTEE GOVERNANCE
                  FOR GENERAL RETIREMENT SYSTEM

PREAMBLE                  This document was prepared to set forth the pension governance
                          requirements under the State Contribution Agreement (as that term is
                          defined in the City’s Fourth Amended Plan for the Adjustment of
                          Debts of the City of Detroit, as amended from time to time) applicable
                          to the General Retirement System of the City of Detroit (GRS).


SCOPE OF SETTLEMENT       The GRS is currently administered by a ten (10) member Board of
                          Trustees (the “Board”) that is vested with the fiduciary authority for
                          the general administration, management and operation of the
                          Retirement System. The Board currently makes all administrative,
                          actuarial and investment related decisions for the GRS. Upon the
                          Effective Date under the POA, but subject to consummation of the
                          State Contribution Agreement, there shall be established, by
                          appropriate action and amendments to governing documents, an
                          Investment Committee (“IC”) at GRS which shall be vested with the
                          authority and responsibilities as outlined herein for a period of twenty
                          (20) years after the Effective Date of the POA. All administrative,
                          managerial, and operational matters not addressed in this Term Sheet
                          shall continue to be addressed by the Board in the ordinary course of
                          its affairs.


INVESTMENT                The IC shall consist of seven (7) voting members consisting of:
COMMITTEE                      i. Five (5) Independent Members;
                                ii. One (1) Employee Member; and
                                iii. One (1) Retiree Member.
                          Collectively, or individually, “Members” or “Member.”

                          At least two (2) of the five (5) Independent Members of the committee
                          shall be residents of the State of Michigan. None of the Independent
                          Members shall be a party in interest as defined by MCL 38.1132d (4)
                          to the City or the GRS.

                          Each Independent Member of the IC shall have expert knowledge or
                          extensive experience with respect to either: (a) economics, finance, or
                          institutional investments; or (b) administration of public or private
                          retirement plans, executive management, benefits administration or
                          actuarial science. At least one (1) of the IC Independent Members
                          shall satisfy the requirements of (a) above and at least one (1) of the IC
                          Independent Members shall satisfy the requirements of (b) above.

                          The five (5) initial IC Independent Members shall be selected by
                          mutual agreement of the appropriate representatives of the State, the
                          City and the Board, in consultation with the Foundation for Detroit’s


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                          Future. The initial Independent Members and their terms of office will
                          be as follows: Ken Whipple (2 years), David Sowerby (3 years),
                          Robert Rietz (4 years), Doris Ewing (5 years) and Kerrie
                          VandenBosch (6 years). Successor Independent Members shall be
                          recommended by a majority of the remaining Independent Members
                          and confirmed by the Board and the State Treasurer in consultation
                          with the Foundation for Detroit’s Future, in accordance with such rules
                          and regulations as may be adopted by the IC, provided such rules and
                          regulations are not inconsistent with the POA and this agreement. In
                          the event the Board and the State Treasurer cannot agree on the
                          successor Independent Member within thirty (30) days of the receipt of
                          the recommendation of the IC, the remaining Independent Members of
                          the IC shall appoint the successor Independent Member.

                          If no mutual agreement is reached as to the selection of one or more of
                          the initial IC Independent Members by the time of confirmation of the
                          City’s Plan of Adjustment, then the Bankruptcy Court shall select the
                          Independent Members necessary to fill the five (5) initial IC
                          Independent Member positions for which no agreement has been
                          reached.

                          In the event the Bankruptcy Court selects the initial Independent
                          Members as described immediately above, successor Independent
                          Members shall be appointed in the same manner as the Independent
                          Member being replaced, as described immediately above, after three
                          (3) weeks’ notice to the Board of the individuals chosen, in accordance
                          with such rules and regulations as may be adopted by the IC, provided
                          such rules and regulations are not inconsistent with the POA and this
                          agreement.

                          The Employee Member shall be an employee-elected Member from
                          the Board appointed by the Board. The initial Employee Member will
                          be June Nickleberry.

                          The Retiree Member shall be a retiree-elected Member from the Board
                          appointed by the Board. The initial Retiree Member will be Thomas
                          Sheehan.

                          The terms of office of the initial IC Independent Members shall be
                          staggered at the time of appointment so that Independent Members
                          shall have varying initial terms of office, with one each having a 2, 3,
                          4, 5 and 6 year term. Each initial Independent Member shall serve
                          until the expiration of his/her initial term. After the initial term of
                          office, the term of office of the IC Independent Members shall be six
                          years. Each successor Independent Member shall be selected in
                          accordance with the provisions above and shall serve until his or her
                          death, incapacity, resignation or removal in accordance with the
                          paragraph below. Upon expiration of his or her term of office, an
                          Independent Member shall continue to serve until his or her successor
                          is appointed. Nothing herein shall bar an initial Independent Member
                          from becoming a successor Independent Member after his/her initial

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                          term.

                          The terms of office of the Employee Members and Retiree Members of
                          the IC shall conform to their respective terms of office on the Board.

                          A Member may be removed by the remaining Members for any of the
                          following reasons: (a) the Member is legally incapacitated from
                          executing his or her duties as a Member of the IC and neglects to
                          perform those duties, (b) the Member has committed a material breach
                          of GRS provisions, policies or procedures and the removal of the
                          Member is in the interests of the system or its participants or its
                          participants’ beneficiaries, (c) the Member is convicted of a violation
                          of law and the removal shall be accomplished by a vote of the IC in
                          accordance with the voting procedures in this agreement, (d) if the
                          Member holds a license to practice and such license is revoked for
                          misconduct by any State or federal government, or (e) if an IC
                          Member shall fail to attend scheduled meetings of the IC for four (4)
                          consecutive meetings, unless in each case excused for cause by the
                          remaining Members attending such meetings, the Member shall be
                          considered to have resigned from the IC, and the IC shall, by
                          resolution, declare the office of the Member vacated as of the date of
                          adoption of such resolution. In addition, a Member of the IC may have
                          voting privileges temporarily suspended by a 70% or higher vote of the
                          other members if the Member is indicted or sued by a State or federal
                          government for an alleged violation of the law that relates to his or her
                          service on the IC, or for other alleged financial crimes, including fraud.
                          Any vacancy occurring in the office of Member shall be filled within
                          sixty (60) days following the date of the vacancy, for the unexpired
                          portion of the term, in the same manner in which the office was
                          previously filled.

                          All members of the IC shall be reimbursed for the reasonable, actual
                          and necessary expenses incurred in the performance of their duties.
                          All reasonable and proper expenses related to the administration of the
                          IC, including but not limited to the purchase of insurance, shall be
                          payable out of the assets of the GRS. The IC may retain actuarial,
                          legal counsel, audit or other professional or support personnel to
                          provide advice to the IC as it deems reasonably necessary to perform
                          its functions and such parties or persons may be reasonably
                          compensated from the assets of the Plan; such engagements shall not
                          be subject to the approval of the Board.

                          The IC shall be an investment fiduciary to the GRS. An IC Member or
                          other fiduciary under the GRS shall discharge his or her duties with
                          respect to the GRS in compliance with the provisions of Public Act
                          314 of 1965, as amended. An IC Member shall discharge his or her
                          duties with the care, skill, and caution under the circumstances then
                          prevailing which a prudent person, acting in a like capacity and
                          familiar with those matters, would use in the conduct of an activity of
                          like character and purpose. Members of the IC shall comply with all
                          Board governance policies and procedures, including the Ethics and

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                          Code of Conduct Policies, unless such compliance violates the
                          Member’s fiduciary duties or conflicts with the terms and conditions of
                          this agreement.



IC MEETINGS               The IC shall meet at least once every other month. The Members shall
                          determine the time for the regular meetings of the IC and the place or
                          places where such meetings shall be held. The Secretary or his or her
                          designee shall be responsible for giving notice of the time and place of
                          such meetings to the other Members.

                          Notice and conduct of all meetings of the IC, both regular and special,
                          shall be held within the City of Detroit and in accordance with
                          applicable law including the Michigan Open Meetings Act (MCL
                          §15.261 et seq.).

                          The IC shall adopt its own rules of procedure and shall keep a record
                          of its proceedings. Five (5) Members shall constitute a quorum at any
                          meeting of the IC, so long as at least three (3) Independent Members
                          are present. Each Member shall be entitled to one vote on each
                          question before the IC and at least four (4) concurring votes shall be
                          necessary for a decision of the committee except as otherwise
                          provided in this Term Sheet.

INVESTMENT COMMITTEE      The IC shall serve in a fiduciary capacity with respect to the
-                         Investment Management of all GRS Plan Assets, determination of the
RESPONSIBILITY            investment return assumption, and Board compliance with benefit plan
                          provisions, as set forth more fully below. The IC shall have all the
                          powers as a fiduciary under the first sentence of MCL §38.1133(5) and
                          (6).

                          All Investment Management decisions approved by the Board shall
                          require a recommendation by an affirmative vote of the IC, in
                          accordance with the provisions of this agreement. All actions and
                          recommendations of the IC shall be forwarded to the Board for
                          consideration and are subject to Board approval. The Board shall take
                          no action with respect to any matter for which the IC has responsibility
                          and authority, including the Investment Management matters
                          described in the next paragraph, unless and until such action has been
                          approved by affirmative vote of the IC. If (a) the Board fails to
                          approve or disapprove an Investment Management decision that has
                          been recommended by an affirmative vote of the IC, and such failure
                          continues for 45 days after the date that the recommendation was made
                          to the Board, or (b) the Board disapproves an Investment Management
                          decision within such 45-day period but fails to provide to the IC within
                          such 45-day period a detailed written response outlining the reasons
                          for such disapproval, then the IC and the Chief Investment Officer are
                          authorized to implement the decision. If the Board disapproves an
                          Investment Management decision within such 45-day period and
                          provides to the IC within such 45-day period a detailed written

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                          response outlining the reasons for such disapproval, then the IC shall
                          have 45 days after the receipt of the Board response to either
                          (a) withdraw the recommended Investment Management decision, or
                          (b) request, in writing, a conference with the Board to be held within
                          ten (10) days, but not less than five (5) business days, of such request
                          by the IC, unless a later date is agreed to in writing by the Board and
                          the IC, to discuss the disapproval by the Board described in the written
                          response. Any such conference shall be conducted with at least three
                          (3) Independent Members present in person or by phone. Within ten
                          (10) days of the commencement of the conference, or twenty (20) days
                          following the IC’s request for a conference if no conference is held,
                          the IC shall either withdraw the recommended Investment
                          Management decision or provide the Board a written explanation of
                          the IC’s decision to proceed with the recommended Investment
                          Management decision. After delivery of such written explanation by
                          the IC, the IC and the Chief Investment Officer are authorized to
                          implement the decision. Any action taken by the Board or the IC in
                          violation of the terms of this agreement shall constitute an ultra vires
                          act and the IC or the Board, whichever is applicable, is granted the
                          express right to seek to preliminarily enjoin such violation of the
                          breaching party without the need to show irreparable harm.

                          “Investment Management” with respect to plan assets shall mean:
                                     1. Developing an Investment Policy Statement with
                                        sound and consistent investment goals, objectives
                                        and performance measurement standards which are
                                        consistent with the needs of the Plan.
                                     2. Within 120 days after the Effective Date of the
                                        POA, all of the plan assets not already under
                                        qualified management, if any, must be managed by
                                        qualified managers selected by the IC.
                                     3. Evaluating, retaining, terminating, and selecting
                                        qualified managers to invest and manage the plan
                                        assets.
                                     4. Reviewing and affirming or rejecting the
                                        correctness of any and all calculations, actuarial
                                        assumptions and/or assessments used by the Plan
                                        Actuary including, but not limited to, (i) those
                                        underlying the restoration of pension benefits,
                                        funding levels and amortization thereof, all in
                                        accordance with the Pension Restoration Program
                                        attached to the City’s Plan of Adjustment, (ii) those
                                        underlying the determination of annual funding
                                        levels and amortization thereof, and (iii) on or after
                                        fiscal year 2024 the recommended annual
                                        contributions to GRS in accordance with applicable
                                        law.
                                     5. In accordance with approved actuarial work as
                                        provided in the immediate preceding paragraph and
                                        based on the annual actuarial valuation reports and
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                                         any other projections or reports as applicable from
                                         the Plan Actuary or other professional advisors, the
                                         determination of the extent of restoration of pension
                                         benefits, including but not limited to the payment of
                                         a portion of the 4.5% reduction in base monthly
                                         pension amounts and the payment of lost COLA
                                         payments, all in conformance to the Pension
                                         Restoration Program between the City and the
                                         Board attached to the Plan of Adjustment.
                                     6. Communicating the investment goals, objectives,
                                         and standards to the investment managers;
                                         including any material changes that may
                                         subsequently occur.
                                     7. Determining and approving the Plan’s investment
                                         and asset allocation guidelines, taking into account
                                         the appropriate liquidity needs of the Plan.
                                     8. Any interpretation of Plan documents, existing law,
                                         the POA or other financial determination that could
                                         affect funding or benefit levels.
                                     9. Taking whatever corrective action is deemed
                                         prudent and appropriate when an investment
                                         manager fails to perform as expected.
                                     10. Complying with the provisions of pertinent federal,
                                         state, and local laws and regulations, specifically
                                         Public Act 314 and Plan Investment Guidelines.
                                     11. Reviewing and approving, prior to final issuance,
                                         the annual audit and all financial reports prepared
                                         on behalf of the GRS and meet and confer with the
                                         Plan’s outside auditor or other professional advisors
                                         as necessary prior to approving the annual audit or
                                         other financial reports.
                                     12. Causing an asset/liability valuation study to be
                                         performed for GRS every three (3) years, or as
                                         requested by the IC or Board.

                          The IC shall give appropriate consideration to and have an
                          understanding of the following prior to the adoption of the
                          investment guidelines and asset allocation policies, the selection of
                          manager(s), and/or the adoption of investment return assumptions:

                                      1. The fiduciary best practices and institutional
                                         standards for the investment of public employee
                                         retirement system plan assets.
                                      2. The objective to obtain investment returns above
                                         the established actuarial investment return
                                         assumption to support the restoration of benefits
                                         under the Pension Restoration Program, to the
                                         extent that is prudent and consistent with the
                                         overall funding, liquidity needs and actuarial
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                                             assumptions governing the Plan.
                                          3. The liquidity needs of the GRS Plan.


CHIEF INVESTMENT             The IC shall evaluate and select the CIO, set and approve any and all
OFFICER (CIO)                compensation for, and terms of employment of, the CIO. With respect
                             to plan assets, the CIO shall report directly to the IC and the Executive
                             Director of the Board. The CIO shall be responsible for assisting the
                             IC and the Board in overseeing the GRS’s investment portfolio.

                             The initial CIO is Ryan Bigelow [subject to State due diligence.]

PLAN ACTUARY                 The current Plan Actuary is Gabriel Roeder Smith & Company. In the
                             event the Board desires to retain a new actuary, the Board and IC shall
                             collectively participate in the evaluation and selection of a qualified
                             Plan Actuary. The Plan Actuary shall be responsible for assisting the
                             Board and IC in performing its actuarial duties and shall comply with
                             all requests for information or modeling requested by the IC, and shall
                             attend meetings of the IC as requested, so as to allow the IC to perform
                             satisfactorily the rights and duties set forth herein. Furthermore, the
                             Board shall not act on any recommendation made by the Plan Actuary
                             based on any calculation, assumption or assessment rejected by the IC.

                             Nothing herein shall be interpreted as limiting the IC’s authority to
                             engage an actuarial consulting firm other than the Plan Actuary to
                             perform actuarial services deemed necessary to fulfill its fiduciary
                             duties to the GRS and other duties to GRS as set forth herein.
CONSISTENCY WITH PLAN        Nothing herein shall be interpreted as permitting the IC or the Board to
OF ADJUSTMENT                alter or depart from the requirements set forth in the confirmed Plan of
                             Adjustment.

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                      EXHIBIT B – PFRS Governance Terms




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               INVESTMENT COMMITTEE GOVERNANCE
              FOR POLICE AND FIRE RETIREMENT SYSTEM

PREAMBLE                  This document was prepared to set forth the pension governance
                          requirements under the State Contribution Agreement (as that term is
                          defined in the City’s Fourth Amended Plan for the Adjustment of
                          Debts of the City of Detroit, as amended from time to time) applicable
                          to the Police and Fire Retirement System of the City of Detroit
                          (PFRS).


SCOPE OF SETTLEMENT       The PFRS is currently administered by a seventeen (17) member
                          Board of Trustees (the “Board”) that is vested with the fiduciary
                          authority for the general administration, management and operation of
                          the Retirement System. The Board currently makes all administrative,
                          actuarial and investment related decisions for the PFRS. Upon the
                          Effective Date under the POA, but subject to consummation of the
                          State Contribution Agreement, there shall be established, by
                          appropriate action and amendments to governing documents, an
                          Investment Committee (“IC”) at PFRS which shall be vested with the
                          authority and responsibilities as outlined herein for a period of twenty
                          (20) years after the Effective Date of the POA. All administrative,
                          managerial, and operational matters not addressed in this Term Sheet
                          shall continue to be addressed by the Board in the ordinary course of
                          its affairs.


INVESTMENT                The IC shall consist of nine (9) voting members consisting of:
COMMITTEE                   i. Five (5) Independent Members;
                            ii. Two (2) Employee Members; and
                            iii. Two (2) Retiree Members.
                          Collectively, or individually, “Members” or “Member.”

                          At least two (2) of the five (5) Independent Members of the committee
                          shall be residents of the State of Michigan. None of the Independent
                          Members shall be a party in interest as defined by MCL 38.1132d (4)
                          to the City or the PFRS.

                          Each Independent Member of the IC shall have expert knowledge or
                          extensive experience with respect to either: (a)economics, finance, or
                          institutional investments; or (b) administration of public or private
                          retirement plans, executive management, benefits administration or
                          actuarial science. At least one (1) of the IC Independent Members
                          shall satisfy the requirements of (a) above and at least one (1) of the IC
                          Independent Members shall satisfy the requirements of (b) above.

                          The five (5) initial IC Independent Members shall be selected by
                          mutual agreement of the appropriate representatives of the State, the
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                          City and the Board, in consultation with the Foundation for Detroit’s
                          Future. The initial Independent Members and their terms of office will
                          be as follows: Rebecca Sorenson (2 years), Joseph Bogdahn (3 years),
                          Robert C. Smith (4 years), McCullough Williams III (5 years) and
                          Woodrow S. Tyler (6 years). Successor Independent Members shall be
                          recommended by a majority of the remaining Independent Members
                          and confirmed by the Board and the State Treasurer in consultation
                          with the Foundation for Detroit’s Future, in accordance with such rules
                          and regulations as may be adopted by the IC, provided such rules and
                          regulations are not inconsistent with the POA and this agreement. In
                          the event the Board and the State Treasurer cannot agree on the
                          successor Independent Member within thirty (30) days of the receipt of
                          the recommendation of the IC, the remaining Independent Members of
                          the IC shall appoint the successor Independent Member.

                          If no mutual agreement is reached as to the selection of one or more of
                          the initial IC Independent Members by the time of confirmation of the
                          City’s Plan of Adjustment, then the Bankruptcy Court shall select the
                          Independent Members necessary to fill the five (5) initial IC
                          Independent Member positions for which no agreement has been
                          reached.

                          In the event the Bankruptcy Court selects the initial Independent
                          Members as described immediately above, successor Independent
                          Members shall be appointed in the same manner as the Independent
                          Member being replaced, as described immediately above, after three
                          (3) weeks’ notice to the Board of the individuals chosen, in accordance
                          with such rules and regulations as may be adopted by the IC, provided
                          such rules and regulations are not inconsistent with the POA and this
                          agreement.

                          The Employee Members shall consist of one active police member and
                          one active fire member from the Board, appointed by the Board. The
                          initial Employee Members will be Mark Diaz and Sean Neary.

                          The Retiree Members shall consist of one retiree-elected police
                          member and one retiree-elected fire member from the Board, each
                          receiving a pension from PFRS and appointed by the Board. The
                          initial elected Retiree Members will be Michael Simon and Louis
                          Sinagra.

                          Each of the four (4) uniformed Members shall have one-half (1/2)
                          vote.

                          The terms of office of the initial IC Independent Members shall be
                          staggered at the time of appointment so that Independent Members
                          shall have varying initial terms of office, with one each having a 2, 3,
                          4, 5 and 6 year term. Each initial Independent Member shall serve
                          until the expiration of his/her initial term. After the initial term of
                          office, the term of office of the IC Independent Members shall be six
                          years. Each successor Independent Member shall be selected in

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                          accordance with the provisions above and shall serve until his or her
                          death, incapacity, resignation or removal in accordance with the
                          paragraph below. Upon expiration of his or her term of office, an
                          Independent Member shall continue to serve until his or her successor
                          is appointed. Nothing herein shall bar an initial Independent Member
                          from becoming a successor Independent Member after his/her initial
                          term.

                          The terms of office of the Employee Members and Retiree Members of
                          the IC shall conform to their respective terms of office on the Board.

                          A Member may be removed by the remaining Members for any of the
                          following reasons: (a) the Member is legally incapacitated from
                          executing his or her duties as a Member of the IC and neglects to
                          perform those duties, (b) the Member has committed a material breach
                          of PFRS provisions, policies or procedures and the removal of the
                          Member is in the interests of the system or its participants or its
                          participants’ beneficiaries, (c) the Member is convicted of a violation
                          of law and the removal shall be accomplished by a vote of the IC in
                          accordance with the voting procedures in this agreement, (d) if the
                          Member holds a license to practice and such license is revoked for
                          misconduct by any State or federal government, or (e) if an IC
                          Member shall fail to attend scheduled meetings of the IC for four (4)
                          consecutive meetings, unless in each case excused for cause by the
                          remaining Members attending such meetings, the Member shall be
                          considered to have resigned from the IC, and the IC shall, by
                          resolution, declare the office of the Member vacated as of the date of
                          adoption of such resolution. In addition, a Member of the IC may have
                          voting privileges temporarily suspended by a 70% or higher vote of the
                          other members if the Member is indicted or sued by a State or federal
                          government for an alleged violation of the law that relates to his or her
                          service on the IC, or for other alleged financial crimes, including fraud.
                          Any vacancy occurring in the office of Member shall be filled within
                          sixty (60) days following the date of the vacancy, for the unexpired
                          portion of the term, in the same manner in which the office was
                          previously filled.

                          All members of the IC shall be reimbursed for the reasonable, actual
                          and necessary expenses incurred in the performance of their duties.
                          All reasonable and proper expenses related to the administration of the
                          IC, including but not limited to the purchase of insurance, shall be
                          payable out of the assets of the PFRS. The IC may retain actuarial,
                          legal counsel, audit or other professional or support personnel to
                          provide advice to the IC as it deems reasonably necessary to perform
                          its functions and such parties or persons may be reasonably
                          compensated from the assets of the Plan; such engagements shall not
                          be subject to the approval of the Board.

                          The IC shall be an investment fiduciary to the PFRS. An IC Member
                          or other fiduciary under the PFRS shall discharge his or her duties with
                          respect to the PFRS in compliance with the provisions of Public Act

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                          314 of 1965, as amended. An IC Member shall discharge his or her
                          duties with the care, skill, and caution under the circumstances then
                          prevailing which a prudent person, acting in a like capacity and
                          familiar with those matters, would use in the conduct of an activity of
                          like character and purpose. Members of the IC shall comply with all
                          Board governance policies and procedures, including the Ethics and
                          Code of Conduct Policies, unless such compliance violates the
                          Member’s fiduciary duties or conflicts with the terms and conditions of
                          this agreement.


IC MEETINGS               The IC shall meet at least once every other month. The Members shall
                          determine the time for the regular meetings of the IC and the place or
                          places where such meetings shall be held. The Secretary or his or her
                          designee shall be responsible for giving notice of the time and place of
                          such meetings to the other Members.

                          Notice and conduct of all meetings of the IC, both regular and special,
                          shall be held within the City of Detroit and in accordance with
                          applicable law including the Michigan Open Meetings Act (MCL
                          §15.261 et seq.).

                          The IC shall adopt its own rules of procedure and shall keep a record
                          of its proceedings. Five (5) Members shall constitute a quorum at any
                          meeting of the IC, so long as at least three (3) Independent Members
                          are present. Each Member shall be entitled to one vote on each
                          question before the IC and at least four (4) concurring votes shall be
                          necessary for a decision of the committee, except as otherwise
                          provided in this Term Sheet.

INVESTMENT COMMITTEE      The IC shall serve in a fiduciary capacity with respect to the
-                         Investment Management of all PFRS Plan Assets, determination of the
RESPONSIBILITY            investment return assumption, and Board compliance with benefit plan
                          provisions, as set forth more fully below. The IC shall have all the
                          powers as a fiduciary under the first sentence of MCL §38.1133(5) and
                          (6).

                          All Investment Management decisions approved by the Board shall
                          require a recommendation by an affirmative vote of the IC, in
                          accordance with the provisions of this agreement. All actions and
                          recommendations of the IC shall be forwarded to the Board for
                          consideration and are subject to Board approval. The Board shall take
                          no action with respect to any matter for which the IC has responsibility
                          and authority, including the Investment Management matters
                          described in the next paragraph, unless and until such action has been
                          approved by affirmative vote of the IC. If (a) the Board fails to
                          approve or disapprove an Investment Management decision that has
                          been recommended by an affirmative vote of the IC, and such failure
                          continues for 45 days after the date that the recommendation was made
                          to the Board, or (b) the Board disapproves an Investment Management
                          decision within such 45-day period but fails to provide to the IC within

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                          such 45-day period a detailed written response outlining the reasons
                          for such disapproval, then the IC and the Chief Investment Officer are
                          authorized to implement the decision. If the Board disapproves an
                          Investment Management decision within such 45-day period and
                          provides to the IC within such 45-day period a detailed written
                          response outlining the reasons for such disapproval, then the IC shall
                          have 45 days after the receipt of the Board response to either
                          (a) withdraw the recommended Investment Management decision, or
                          (b) request, in writing, a conference with the Board to be held within
                          ten (10) days, but not less than five (5) business days, of such request
                          by the IC, unless a later date is agreed to in writing by the Board and
                          the IC, to discuss the disapproval by the Board described in the written
                          response. Any such conference shall be conducted with at least three
                          (3) Independent Members present in person or by phone. Within ten
                          (10) days of the commencement of the conference, or twenty (20) days
                          following the IC’s request for a conference if no conference is held,
                          the IC shall either withdraw the recommended Investment
                          Management decision or provide the Board a written explanation of
                          the IC’s decision to proceed with the recommended Investment
                          Management decision. After delivery of such written explanation by
                          the IC, the IC and the Chief Investment Officer are authorized to
                          implement the decision. Any action taken by the Board or the IC in
                          violation of the terms of this agreement shall constitute an ultra vires
                          act and the IC or the Board is granted the express right to seek to
                          preliminarily enjoin such action without the need to show irreparable
                          harm.

                          “Investment Management” with respect to plan assets shall mean:
                                     1. Developing an Investment Policy Statement with
                                        sound and consistent investment goals, objectives
                                        and performance measurement standards which are
                                        consistent with the needs of the Plan.
                                     2. Within 120 days after the Effective Date of the
                                        POA, all of the plan assets not already under
                                        qualified management, if any, must be managed by
                                        qualified managers selected by the IC.
                                     3. Evaluating, retaining, terminating and selecting
                                        qualified managers to invest and manage the plan
                                        assets.
                                     4. Reviewing and affirming or rejecting the
                                        correctness of any and all calculations, actuarial
                                        assumptions and/or assessments used by the Plan
                                        Actuary including, but not limited to, (i) those
                                        underlying the restoration of pension benefits, funding
                                        levels and amortization thereof, all in accordance with
                                        the Pension Restoration Program attached to the
                                        City’s Plan of Adjustment, (ii) those underlying the
                                        determination of annual funding levels and
                                        amortization thereof, and (iii) on or after fiscal year
                                        2024, the recommended annual contributions to PFRS
                                        in accordance with applicable law.
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                                     5. In accordance with approved actuarial work as
                                        provided in the immediate preceding paragraph and
                                        based on the annual actuarial valuation reports and
                                        any other projections or reports as applicable from
                                        the Plan Actuary or other professional advisors, the
                                        determination of the extent of restoration of pension
                                        benefits, including but not limited to the payment of
                                        lost COLA payments, all in conformance to the
                                        Pension Restoration Program between the City and
                                        the Board attached to the Plan of Adjustment.

                                     6. Communicating the investment goals, objectives,
                                         and standards to the investment managers;
                                         including any material changes that may
                                         subsequently occur.
                                     7. Determining and approving the Plan’s investment
                                         and asset allocation guidelines, taking into account
                                         the appropriate liquidity needs of the Plan.
                                     8. Any interpretation of Plan documents, existing law,
                                         the POA or other financial determination that could
                                         affect funding or benefit levels.
                                     9. Taking whatever corrective action is deemed
                                         prudent and appropriate when an investment
                                         manager fails to perform as expected.
                                     10. Complying with the provisions of pertinent federal,
                                         state, and local laws and regulations, specifically
                                         Public Act 314 and Plan Investment Guidelines.
                                     11. Reviewing and approving, prior to final issuance,
                                         the annual audit and all financial reports prepared
                                         on behalf of the PFRS and meet and confer with the
                                         Plan’s outside auditor or other professional advisors
                                         as necessary prior to approving the annual audit or
                                         other financial reports.
                                     12. Causing an asset/liability valuation study to be
                                         performed for PFRS every three (3) years, or as
                                         requested by the IC or Board.

                          The IC shall give appropriate consideration to and have an
                          understanding of the following prior to the adoption of the
                          investment guidelines and asset allocation policies, the selection of
                          manager(s), and/or the adoption of investment return assumptions:

                                      1. The fiduciary best practices and institutional
                                         standards for the investment of public employee
                                         retirement system plan assets.
                                      2. The objective to obtain investment returns above
                                         the established actuarial investment return
                                         assumption to support the restoration of benefits
                                         under the Pension Restoration Program, to the
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                                            extent that is prudent and consistent with the
                                            overall funding, liquidity needs and actuarial
                                            assumptions governing the Plan.
                                         3. The liquidity needs of the PFRS Plan.


CHIEF INVESTMENT            The IC shall evaluate and select the CIO, set and approve any and all
OFFICER (CIO)               compensation for, and terms of employment of, the CIO. With respect
                            to plan assets, the CIO shall report directly to the IC and the Executive
                            Director of the Board. The CIO shall be responsible for assisting the
                            IC and the Board in overseeing the PFRS’s investment portfolio.

                            The initial CIO is Ryan Bigelow [subject to State due diligence.]

PLAN ACTUARY                The current Plan Actuary is Gabriel Roeder Smith & Company. In the
                            event the Board desires to retain a new actuary, the Board and IC shall
                            collectively participate in the evaluation and selection of a qualified
                            Plan Actuary. The Plan Actuary shall be responsible for assisting the
                            Board and IC in performing its actuarial duties and shall comply with
                            all requests for information or modeling requested by the IC, and shall
                            attend meetings of the IC as requested, so as to allow the IC to perform
                            satisfactorily the rights and duties set forth herein. Furthermore, the
                            Board shall not act on any recommendation made by the Plan Actuary
                            based on any calculation, assumption or assessment rejected by the IC.

                            Nothing herein shall be interpreted as limiting the IC’s authority to
                            engage an actuarial consulting firm other than the Plan Actuary to
                            perform actuarial services deemed necessary to fulfill its fiduciary
                            duties to the PFRS and other duties to PFRS as set forth herein.


CONSISTENCY WITH PLAN       Nothing herein shall be interpreted as permitting the IC or the Board to
OF ADJUSTMENT               alter or depart from the requirements set forth in the confirmed Plan of
                            Adjustment.



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                                      EXHIBIT C

               1. General Retirement System

               2. Police and Fire Retirement System

               3. AFSCME

               4. UAW

               5. Detroit Police Officers Association

               6. Detroit Police Command Officers Association

               7. Detroit Police      Lieutenants       and   Sergeants
                  Association

               8. Detroit Fire Fighters Association

               9. Retired Detroit Police and Fire Fighters Association

               10. Retired Detroit Police Members Association

               11. Detroit Retired City Employees Association

               12. Official Retirees Committee

               13. City of Detroit




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                                         EXHIBIT D

Cases to be dismissed:

1.      GRS et al. v. Emergency Manager of Detroit (Ingham County Circuit Court)
2.      Webster et al. v. State of Michigan, Governor, and State Treasurer (Ingham County
        Circuit Court)
3.      Detroit Library Commission v. Governor, State Treasurer, and Detroit Public Schools
        Emergency Manager (Ingham County)
4.      Flowers et al. v. Governor, State Treasurer, and State of Michigan (Ingham County
        Circuit Court)
5.      DPOA v. City of Detroit (Michigan Court of Appeals)

The settling parties will not attempt to amend to include the City of Detroit or its Emergency
Manager as a defendant, or collaterally or retroactively attack the Detroit bankruptcy or actions
of Detroit or its EM, or otherwise participate, support, fund or appeal in the following cases:


1.      Phillips et al v. Governor and State Treasurer (E.D. Mich.)
2.      Michigan AFSCME Council 25 v. Governor, State Treasurer, et al. (E.D. Mich.)
3.      NAACP v. Governor, State Treasurer, and Secretary of State (E.D. Mich.)
4.      Robert Davis/Citizens United Against Corrupt Government v. Governor, State of
        Michigan, Dept. of Treasury, Dept. of State Police, et al. (Ingham County Circuit Court)
5.      Robert Davis/Citizens United Against Corrupt Government v. Michigan Department of
        Treasury and Carla Robert (Wayne County Circuit Court)
6.      Robert Davis v. Local Emergency Financial Assistance Loan Board (Ingham Court)
7.      Robert Davis v. Weatherspoon, Governor, Attorney General, and State Treasurer (E.D.
        Mich.)
8.      Allen Park Retirees v. EM Parker, City of Allen Park (Wayne Circuit)
9.      Allen Park Retirees v. State (Court of Claims)
10.     Deborah Moore-El v. Snyder (E.D. Mich.)
11.     Faith, et al. v. Snyder (E.D. Mich.)
12.     Sarella Johnson, et al. v. Snyder (E.D. Mich.)
13.     United Retired Government Employees (URGE) et al. v. Governor, et al. (E.D. Mich.)




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                                 EXHIBIT I.A.340

                   FORM OF SYNCORA DEVELOPMENT AGREEMENT




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                              DEVELOPMENT AGREEMENT

                     OPTION TO PURCHASE AND DEVELOP LAND
                                     BY AND BETWEEN
                                     CITY OF DETROIT
                                              AND
                              PIKE POINTE HOLDINGS, LLC


       THIS AGREEMENT (referred to herein as the “Agreement”) is entered into as of the
____ day of September, 2014 (the “Effective Date”), by and between the City of Detroit, a
Michigan public body corporate (the “City”), acting through its Planning & Development
Department (“PDD”), whose address is 2300 Cadillac Tower, Detroit, Michigan 48226, and Pike
Pointe Holdings, LLC, a Delaware limited liability company (“Developer”), whose address is [
_________________________ ]. The City and Developer are sometimes referred to in this
Agreement as a “Party” and, collectively, as the “Parties.”

                                            Recitals:

        A.     In consideration of the Parties’ various contractual arrangements entered into
contemporaneously herewith, including without limitation, extension of the lease of the Windsor
Tunnel between the City and affiliates of Developer, and the mutual desire of the Parties to
promote economic growth in the City (the “Arrangement”), the City has agreed to grant an
option to Developer to acquire various parcels of land located in the City of Detroit as described
in the attached Exhibit A (each a “Property” and, collectively, the “Properties”). Unless
otherwise set forth herein, references in this Agreement to a Property shall apply only to the
applicable Property and not the other Properties.




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       B.      If Developer exercises its option with respect to one or more of parcels of the
Property as set forth herein, Developer shall develop such Property in accordance with the terms
and provisions of this Agreement.

        Accordingly, the Parties agree as follows:

Section 1.       TERMS OF OPTION

        (A)     Grant of Option. The City hereby grants to Developer an option (the “Option”) to,
from time to time, acquire any or all of the Properties from the City upon the terms and
conditions set forth in this Agreement. The Option shall be effective for five (5) years from the
Effective Date, except with respect to that certain Property located at 2200 Franklin for which
the Option shall be effective for seven (7) years from the Effective Date (the “Option Period”).
The Parties agree and acknowledge that the sole and exclusive consideration for the Option and
any subsequent acquisition of any Property hereunder is deemed to be the Arrangement, the
sufficiency of which is hereby acknowledged. The City shall cause to be recorded and
maintained of record against the Properties in the appropriate land records for the duration of the
Option Period the memorandum of option attached hereto as Exhibit B. Notwithstanding the
foregoing, the Option Period may be extended for a period not to exceed two (2) years upon
written consent of the City, which consent shall not be unreasonably withheld, conditioned or
delayed (the “Option Extension”). For purposes of the Option Extension, it shall be
unreasonable for the City to withhold consent thereto to the extent that, (i) on the date of
Developer’s request therefor, development in the immediate vicinity of the Property has
materially decreased or the general economic condition of the City or geographic region in which
the Property is located has deteriorated, in either instance from and after the Effective Date to
such a level that it would not be economically feasible for the Developer to pursue development
of the Property and/or (ii) the Option Extension is reasonable given the complexity of the
development contemplated by the Developer. Any dispute between the Parties with regard to a
request for Option Extension which cannot be resolved by the Parties within sixty (60) days
following the Developer’s request therefor shall be brought in the Bankruptcy Court for so long
as it has jurisdiction, and thereafter in the United States District Court for the Eastern District of
Michigan; provided, that if the United States District Court for the Eastern District of Michigan
does not have jurisdiction, then such legal action, suit or proceeding shall be brought in such
other court of competent jurisdiction located in Wayne County, Michigan; provided, further, by
execution and delivery of this Agreement, each of the Parties irrevocably accepts and submits to
the exclusive jurisdiction of such court, generally and unconditionally, with respect to any such
action, suit or proceeding and specifically consents to the jurisdiction and authority of the
Bankruptcy Court to hear and determine all such actions, suits, and proceedings under 28 U.S.C.
§157(b) or (c), whichever applies.




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        (B)    Diligence Notice. If the Developer desires (in its sole discretion) to undertake
Due Diligence Activities (as hereinafter defined) with respect to one or more of the Properties,
the Developer shall, from time to time, give prior written notice of its intent thereof to the City
not less than sixty (60) days prior to the expiration of the Option Period (each, a “Diligence
Notice”). The Developer shall be entitled to deliver any number of Diligence Notices with
respect to the various Properties during the Option Period; provided, however, that any such
Diligence Notice shall indicate reference to the Property the Developer intends to subject to the
Due Diligence Activities hereunder.

        (C)      Condition of Property.

                (1)     Due Diligence Activities. Subject to the requirements of Section 2 below,
upon delivery of the Diligence Notice to the City with respect to any Property, Developer shall
have a period commencing on the date of the Diligence Notice and continuing through and
including the date that is sixty (60) days prior to the expiration of the Option Period (the “Due
Diligence Period”) to conduct its due diligence activities on any Property that is the subject of a
Diligence Notice. For purposes of this Agreement, “Due Diligence Activities” include but are
not limited to the following:

                        (a)     such physical inspections, surveys, soil borings and bearing tests,
                 possible relocation of utilities, and such environmental due diligence on or for the
                 Property as Developer deems appropriate, all of which shall be completed at
                 Developer’s expense;

                         (b)    investigations, environmental site assessments, including Phase I
                 and Phase II site assessments, sampling and testing of soil, groundwater, surface
                 water, soil vapors, indoor air, and building materials (such as Asbestos and lead-
                 based paint), and/or a Baseline Environmental Assessment, (“BEA”), as defined
                 in Part 201 of the Natural Resources and Environmental Protection Act
                 (“NREPA”), being MCL 324.20101 et seq., and such other investigations and
                 assessments as Developer may deem needed in its sole discretion to determine the
                 condition of the Property and the Property’s compliance with Environmental Law
                 and any other federal, state and local laws, rules, regulations and orders relating in
                 any way to protection of human health, the environment and natural resources, all
                 of which shall be completed at Developer’s expense; and

                         (c)    a review of the title evidence, survey, entitlements, and payment of
                 taxes and assessments, all of which shall be completed at Developer’s expense.

                         (d)     a review of financing sources related to Developer’s proposed
                 development and use of the Property, or any other matter that in Developer’s sole
                 discretion is relevant to Developer’s acquisition of the Property.

                        (e)    a review of all City Information and all publicly-available
                 information with respect to the Property.
                        (f)    a review of available public and private utilities and public
                 accesses necessary for the proposed development of the Property.

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                         (f)    application and procurement of any zoning, site plan, elevation,
                 special land use, environmental, conditional use or other municipal approvals or
                 permits, or variances therefrom, required or appropriate for the proposed
                 development of the Property. The City hereby authorizes the Developer to submit
                 and apply for all such approvals, permits, and variances upon the commencement
                 of the Due Diligence Period.

                (2)     City Information. The City shall use reasonable efforts to make available
to Developer all information in the City’s (or the City’s agencies’ or departments’) possession or
control related to the applicable Property within thirty (30) days following delivery to the City of
a Diligence Notice for the applicable Property, including but not limited to existing leases,
licenses, permits, approvals, contracts, warranties, title searches and policies, surveys, appraisals,
environmental audits, Phase I environmental site assessments, Phase II reports or other testing or
sampling data, asbestos surveys, reports, specifications, from the Planning, Building, Assessing,
Environmental Affairs and Fire Departments, notices of violations of applicable laws,
regulations and ordinances or other documents in the City’s possession or control related to the
applicable Property (collectively, the “City Information”). The City shall cooperate with the
Developer and use reasonable efforts to facilitate the Developer’s Due Diligence Activities, all at
no material incremental cost to the City, including providing information, coordinating with
tenants or other third party users of the Property as applicable, and executing such
documentation as may be reasonable and necessary for Developer’s access to the site and
completion of the Due Diligence Activities including the preparation of a BEA.

               (3)    Insurance. Prior to entering onto any Property for any Due Diligence
Activities, Developer or its contractors shall maintain the insurance coverage and comply with
the insurance requirements specified in the City’s Right-of-Entry, a form of which is attached as
Exhibit C (the “Right-of-Entry”).

               (4)     Indemnity. Developer shall defend, indemnify and hold harmless the City
from and against any loss, liability, cost or expense incurred by the City to the extent resulting
from Developer’s (including its duly authorized employees, agents, engineers or other
representatives) negligence or willful acts occurring in connection with the Due Diligence
Activities; provided, however, that (i) in the event Developer provides an Objection Notice or
otherwise elects not to proceed to Closing, the Developer shall in no circumstance have any
obligation or liability with respect to any conditions pre-existing at the Property including
without limitation any environmental condition, soil or groundwater contamination or other
environmental conditions that may discovered in the course of the Developer’s Due Diligence
Activities and thereafter disclosed to the City as required hereunder, except to the extent such
conditions are materially exacerbated due to the negligence or willful acts of Developer or any of
its duly authorized employees, agents, engineers or other representatives, and (ii) the Developer
shall not be responsible for any loss, liability, cost, or expense resulting from the discovery of
any adverse information or condition regarding the applicable Property or from the City’s (or the
City’s agencies’ or departments’) negligence or misconduct.

              (5)    Results of Due Diligence Activities. If Developer concludes, in
Developer’s sole discretion, that a particular Property is satisfactory, then Developer shall so


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notify the City in writing on or before the last day of the Due Diligence Period, by sending an
“Election Notice,” and the parties shall proceed to closing the applicable Property subject to
other terms and conditions of this Agreement. If Developer concludes, in Developer’s sole
discretion, that, for any reason or for no reason, a particular Property is not satisfactory, then
Developer shall so notify the City in writing on or before the last day of the Due Diligence
Period, by sending a “Rejection Notice,” and the parties shall not proceed to Closing with respect
to the applicable Property at such time. In the event the Developer issues a Rejection Notice
with respect to any Property, Developer may not later elect to re-commence Due Diligence
Activities with respect to the same Property and the Option granted hereunder with respect to
such Property will be thereafter deemed released and of no further force or effect. If Developer
concludes, in Developer’s sole discretion, as a result of the Due Diligence Activities that the
condition of the Property is not satisfactory but Developer wants the City to cure such
unsatisfactory conditions, then Developer shall notify the City in writing on or before the last day
of the Due Diligence Period, by sending an “Objection Notice” setting forth with reasonable
specificity the particular condition of the applicable Property which is unacceptable to Developer
(each such condition referred to as a “Defect”). The City shall have the right, but not the
obligation, within sixty (60) days of the Objection Notice (the “City Cure Period”), to cure such
Defects; provided, however, that the City shall be required to cure any liens or encumbrances
(collectively, a “Mandatory Cure”) (x) in favor of the City or any agency or department of the
City or (y) result from a violation of Section 5(G) of this Agreement. If the City is unable or
unwilling to cause any or all of the Defects (other than Mandatory Cures which the City shall be
obligated to cure) during such City Cure Period, Developer shall have the right to either (i) elect
not to exercise the Option with respect to the applicable Property by sending written notice to
City of such election within two (2) days after the expiration of the City Cure Period, in which
event the Developer may later elect to commence Due Diligence Activities with respect to the
same Property by delivery of a Diligence Notice pursuant to the terms of Section 1(B) above; or
(ii) waive its objection to such Defects and accept the Property subject to those Defects
(Developer being deemed to have elected this option (ii) if it fails to make the election in the
preceding option (i)). If Developer fails to provide an Election Notice or an Objection Notice
within the Due Diligence Period, then Developer shall be deemed to have delivered a Rejection
Notice with respect to the applicable Property. Notwithstanding any provision herein to the
contrary, the City agrees to (1) cooperate with the Developer in clearing title to the Property to
the extent that the title related Defects described in the Objection Notice are within the
reasonable control of the City to address or eliminate and (2) cure all Mandatory Cure Defects.
In the event that the expiration of the City Cure Period for a particular Property occurs (or would
occur) after the expiration of the Option Period, the Option Period shall be extended for such
Property until the date that is fifteen (15) days after the expiration of the applicable City Cure
Period.

               (6)     As Is Condition of Property; City Cooperation. From time to time with
respect to each Property, subject to the earliest to occur of (i) delivery by Developer of an
Election Notice, (ii) written notice to Developer that the City has cured all Defects set forth in an
Objection Notice provided prior to the expiration of the City Cured Period, or (iii) waiver by
Developer of any Defects, each pursuant to Section 1(C)(5) above, closing of the transactions
contemplated hereby with respect to a particular Property (each, a “Closing”) shall be on an “as-
is, where-is” basis and the Developer shall take the applicable Property as it finds it at Closing


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other than a matter resulting from a violation of the covenant set forth in Section 5(G) of this
Agreement. The City makes no implied or express representations or warranties of any kind as
to its condition, including its environmental condition and any other condition that may
adversely affect the development, or its fitness for absolutely any purpose whatsoever. By
proceeding to Closing after completion of its Due Diligence Activities, Developer will
acknowledge that it is satisfied with the condition of the applicable Property, except as otherwise
provided in this Agreement. By accepting title to the applicable Property at Closing, Developer
shall be deemed to have waived any right to object to the status of title or to the condition of the
applicable Property, regardless of the result of any Due Diligence Activities, and shall be deemed
to have declared its full satisfaction with the status of title to and condition of the applicable
Property, except as otherwise provided in this Agreement.

                 (7)   Release of City from Liability. Upon Closing on any particular Property,
Developer shall release the City and its officials, employees, and agents (but not any third party)
from any and all claims or causes of action the Developer may have against the City for any
liability, injury or loss as a result of any physical defects in or physical conditions of the
applicable Property, including but not limited to any surface, subsurface, latent or patent
conditions whether naturally occurring or by action of any party, including but not limited to
environmental condition, other than a matter resulting from a violation of the City’s covenant set
forth in Section 5(G)(ii) of this Agreement.

                (8) Security of Properties. In the event that a Property is vacant or otherwise not
being utilized by the City, without imposing any liability or obligation with respect thereto,
commencing on the commencement of Due Diligence Activities with respect to such Property,
Developer shall have the right, but not the obligation, it is sole and absolute discretion, at
Developer’s cost and expense, to undertake any actions it deems reasonably necessary to secure
the Property and prevent damage or unauthorized access to the applicable Property, including,
without limitation, installing and maintaining fencing and/or signage on the applicable Property.
As a condition to Developer exercising its right hereunder to secure any Property, the Developer
must first obtain a general liability policy of insurance in connection with such activities in form
and amount reasonably satisfactory to the City, with the City named as an additional insured
thereto. In addition, Developer shall not be deemed to be in control of or operating the
applicable Property as a result of Developer’s undertaking of any security measures with respect
to this section. Notwithstanding the foregoing, in exercising its right to secure the Property
provided for herein, Developer shall not be deemed to have warranted to the City the
effectiveness of the security measures so implemented.

        (D)    Manner of Conveyance. At the Closing, the applicable Property shall be conveyed
to Developer (or its designee) by one or more quit claim deeds substantially in the form of the
deed set forth in Exhibit D (the “Deeds”) using legal descriptions approved by Developer and
the City.

       (E)    Brokerage and Finder’s Fees and Commission. Developer will defend and
indemnify the City and hold it harmless with respect to any commissions, fees, judgments, or
expenses of any nature and kind that the City or Developer may become liable to pay by reason
of any claims by or on behalf of brokers, finders or agents claiming by, through or under
Developer incident to this Agreement and the transaction contemplated hereby or any litigation

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or similar proceeding arising therefrom unless the City has a written agreement with a broker,
finder or agent providing for such payment in which case the City shall be responsible for such
broker, finder or agents’ commissions, fees, judgments or expenses. To the maximum extent
permitted by applicable law, the City will defend and indemnify the Developer and hold it
harmless with respect to any commissions, fees, judgments, or expenses of any nature and kind
that the City or Developer may become liable to pay by reason of any claims by or on behalf of
brokers, finders or agents claiming by, through or under the City incident to this Agreement and
the transaction contemplated hereby or any litigation or similar proceeding arising therefrom
unless the Developer has a written agreement with a broker, finder or agent providing for such
payment in which case the Developer shall be responsible for such broker, finder or agents’
commissions, fees, judgments or expenses.

        (F)      Taxes And Assessments.

               (1) Property on Tax Rolls at Closing. All taxes and assessments which (i) have
become a lien upon the Property or part thereof prior to the date of Closing, and (ii) have been
discovered and specifically identified by Developer prior to the applicable Closing, shall be paid
by the City and shall be a Mandatory Cure; provided, however, that all current property taxes
shall be prorated and adjusted to the date of Closing on a due date basis. From and after each
Closing, Developer shall be solely responsible for all taxes, liens, and assessments that become
due and payable for the period after the applicable Closing against the applicable Property it
acquires hereunder or any part thereof, whenever assessed, levied, or due, and shall have no
claim against the City on account thereof.

                 (2) Approval of Requests for Economic Incentives/Entitlements and Land Use
Approvals.
          (i) The City agrees to consider any requests by Developer or its designee for any
        development or economic inducements (including tax abatements, tax credits, tax
        increment financing, grants, loans, cost reimbursements and like development incentives)
        for which any of the Properties are eligible, whether or not such requests are made as part
        of Developer’s Due Diligence Activities or thereafter. The City also agrees to cooperate
        with and support Developer or its designee in any request to procure such development or
        economic inducements from other governmental authorities (whether or not related to or
        controlled by City).
          (ii) The City agrees to consider requests or applications by Developer or its designee
        for approvals relating to zoning, site plans, special use permits, uses, variances or other
        municipal approvals that are necessary or appropriate to develop the Properties, provided
        that if the requests pertain to any of the Properties other than 1300 Beaubien, such
        requests are for uses that are consistent with the SD4 zoning classification as of the
        Effective Date or otherwise are consistent with residential, parking, retail or commercial
        uses permitted within the SD4 zoning classification as currently in effect or other uses
        suitable for the location.
          (iii) The following shall apply to any consideration or cooperation by the City with
        respect to any formal requests made by Developer or its designee to the City, described in
        subsections (i) or (ii) of this Section: (a) the City agrees to process such requests pursuant


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        to its ordinary processes for the applicable requests, (b) the City shall not unreasonably
        withhold, condition or delay approvals of the applicable requests, and shall not
        unreasonably impede or interfere with development activities consistent with this
        Agreement, (c) the City shall not discriminate against Developer or its designee in the
        consideration or approval of such requests on account of the Arrangement, the events
        leading up to the Arrangement or this Agreement, and (d) the City shall use reasonable
        efforts to facilitate such requests, taking into consideration other similar requests for
        approvals or inducements, as applicable, of third parties granted by the City for similarly
        situated developments and uses as those contemplated by Developer for the Property;
        provided, however, the City shall process such requests pursuant to all then applicable
        rules, regulations, statutes and similar requirements.
          (G) Inability to Convey. Subject to the Developer’s rights under Section 6(D) below,
if, for any reason, the City is unable to convey title to a particular Property to the Developer upon
exercise of the Option and Developer’s election to proceed to Closing with respect to the
applicable Property pursuant to the terms of this Agreement, which shall include (i) if the City
(or an agency or department of the City) does not own title to such Property, (ii) there is a Defect
that is not cured or removed as of the Closing and such Defect materially hinders Developer’s
ability to develop the applicable Property in an economically viable manner, (iii) there are any
uncured Mandatory Cure items, or (iv) if Developer determines that the scope or expense of any
environmental remediation necessary to develop the applicable Property would make the
development thereof, as contemplated by the Developer, economically unfeasible, the Developer
and the City shall mutually agree upon alternate consideration commensurate to the
undeveloped, fair-market value of the applicable Property (the “Alternate Consideration”);
provided, however, that such value shall assume that any applicable Defects have been removed;
provided, further, that, with respect to the applicable Property, the reasonable, actual and out-of-
pocket acquisition and development costs incurred by Developer or its designee after the
Effective Date and prior to the date upon which Developer or its designee obtains actual
knowledge of the existence of the particular Defect or condition of such Property giving rise to
Alternate Consideration, including, without limitation, costs associated with Due Diligence
Activities, remediation activities, and architect, engineering, and design activities, shall be
included in the amount of Alternate Consideration to the extent Alternate Consideration is
required pursuant to Section 1(G)(i) or 1(G)(iii) above.

        To the extent the Parties do not agree on the Alternate Consideration within sixty (60)
days of establishing that Alternative Consideration is required, then, within thirty (30) days
thereafter, the Developer and the City shall deliver to each other Developer’s or City’s, as the
case may be, determination of the Alternate Consideration (which shall be in the form of an
alternate parcel of real property or cash payment amount). Within ten (10) days after each Party
delivers to the other party such Party’s determination of the Alternate Consideration, the
Developer and the City shall each appoint one disinterested appraiser having the qualifications
set forth herein. Each such appraiser must be a Member of the Appraisal Institute (MAI) and
have at least ten (10) years of experience appraising commercial or industrial property in the
Detroit metropolitan area as a MAI appraiser. If either the Developer or the City fails to appoint
an appraiser within such ten (10) day period, the appraiser appointed by the Developer or the
City, as the case may be, shall appoint an appraiser having the qualifications set forth herein. As
promptly as possible, but in no event later than thirty (30) days after the appointment of both

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appraisers, the appraisers shall notify the Developer and the City in writing of their
determination of which of the Developer’s or the City’s determination more closely
approximates Alternate Consideration (all as valued as of the determination date). The Alternate
Consideration so selected by the two appraisers will constitute the Alternate Consideration for
purposes of this section, and will be binding upon the Developer and the City. If the two
appraisers are unable to agree as to the Alternate Consideration, then the two appraisers shall
promptly agree upon and appoint a third appraiser having the qualifications set forth herein. The
third appraiser shall, within thirty (30) days of appointment, determine which of the two
determinations of the Developer or the City more closely approximates Alternate Consideration,
and shall notify the Developer and the City thereof. The Alternate Consideration selected by the
third appraiser will constitute the Alternate Consideration for purposes of this section, and will
be binding upon the Developer and the City. To the extent the Alternate Consideration selected
by the appraisers hereunder is real property, (i) such real property shall be reasonably acceptable
to Developer, and (ii) the City may elect in its sole discretion to satisfy such Alternate
Consideration in the form of a cash payment to the Developer in an amount equal to the
appraisers’ determination of the cash value of the Alternate Consideration selected. To the
extent the Alternate Consideration to be given to the Developer hereunder is real property, the
City shall be deemed to be have granted Developer an option with respect to such Alternative
Consideration property pursuant to the same terms as this Agreement; provided, however, that
the time periods with respect to such option, including without limitation, the Option Period,
shall commence upon the date that such new option with respect to the Alternative Consideration
is granted to Developer and not as of the Effective Date.

        (H) Use of the Properties During the Due Diligence Period. Commencing on the
commencement of the Due Diligence Period, Developer shall have the right (but not the
obligation), in its sole discretion, to elect to utilize all or a portion of the Properties identified on
Schedule 1(H) prior to acquiring title of the Use Property for the operations of a surface lot
parking facility and ancillary uses (collectively, the “Parking Use”) by providing thirty (30)
days’ prior written notice thereof to City (a “Use Notice”). The Use Notice shall identify the
Properties that will be used by Developer for the Parking Use (collectively, the “Use Property”).
Developer’s right to utilize the Use Property for the Parking Use shall commence as a license
from the City upon the expiration of thirty (30) days following the delivery of the Use Notice to
the City. Developer shall have the right to enter into an agreement with a third party to operate
the Parking Use on the Use Property. Developer shall pay all costs associated with the Parking
Use of the Use Property (including all federal, state and local taxes and charges as may be
applicable thereto; however, Developer shall not be responsible for ad valorem property taxes
during the Use Period) and shall receive all revenue with respect thereto. In the event that
Developer delivers a Use Notice, Developer shall be required to deliver an Election Notice with
respect to the Use Property; provided however, Developer shall have the right to elect at what
point during the Due Diligence Period such Election Notice is given by providing written notice
of such election prior to the expiration of the Due Diligence Period. The period between a Use
Notice and Closing shall be referred to herein as the “Use Period.” If Developer fails to deliver
such election prior to the expiration of the Due Diligence Period, Developer shall be deemed to
have delivered an Election Notice with respect to the Use Property on the last day of the Due
Diligence Period. Developer shall maintain such commercially reasonable insurance as is
customary for operations similar to the Parking Use on the Use Property and shall defend,


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indemnify and hold harmless the City from and against any loss, liability, cost or expense
incurred by the City to the extent resulting from the Parking Use; provided, however, that the
Developer shall not be responsible for any loss, liability, cost, or expense resulting from the
City’s (or of the City’s agencies’ or departments’) negligence or misconduct. Developer shall at
all times keep the Use Property clean and free of debris and shall not permit any area of the Use
Property to be littered with refuse during the Use Period. The City disclaims all representations
and warranties as to the condition of the Use Property, including, but not limited to, any implied
or express warranty of fitness of the Use Property for the Parking Use. Developer covenants and
agrees that it shall not use the Use Property during the Use Period in any manner which violates
the laws of the United States of America, the laws of the State of Michigan or any ordinances or
other regulations of any governing municipality or other political subdivision. Developer’s use
of the Use Property and any activities or actions of Developer or its designee in connection
therewith shall not be deemed a violation of the City’s covenants under Section 5(G) below.

Section 2.       ENVIRONMENTAL MATTERS

        (A)   Definitions. The following words and expressions shall, wherever they appear in
this document, be construed as follows:

                 (1)    “Asbestos” shall have the meanings provided under the Environmental
                 Laws and shall include, but not be limited to, asbestos fibers and friable asbestos
                 as such terms are defined under the Environmental Laws.

                 (2)     “Environmental Claims” shall mean all claims, demands, suits,
                 proceedings, actions, whether pending or threatened, contingent or non-
                 contingent, known or unknown, including but not limited to investigations and
                 notices by any governmental authority, brought under common law and/or under
                 any of the Environmental Laws which can or do relate to the Property.

                 (3)    “Environmental Laws” shall mean all applicable federal, state, and local
                 laws, rules, regulations, orders, judicial determinations and decisions or
                 determinations by any judicial, legislative or executive body of any governmental
                 or quasi-governmental entity, whether in the past, present or future, with respect
                 to:

                        (i)     the installation, existence, or removal of, or exposure to, Asbestos
                 on the Property;

                        (ii)  the existence on, or discharge from, or removal from the Property
                 of Hazardous Materials; and

                       (iii)  the effects on the environment of the Property or any activity
                 conducted now, previously or hereafter conducted on the Property.

                 Environmental Laws shall include, but are not limited to, the following: (i) the
                 Michigan Natural Resources and Environmental Protection Act, 1994 Public Act
                 451, as amended (“NREPA”); the Comprehensive Environmental Response,

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                 Compensation, and Liability Act, 42 USC Sections 9601, et seq. (“CERCLA”);
                 the Superfund Amendments and Reauthorization Act, Public Law 99-499, 100
                 Stat. 1613; the Resource Conservation and Recovery Act, 42 USC Sections 6901,
                 et seq.; the National Environmental Policy Act, 42 USC Section 4321; the Toxic
                 Substances Control Act, 15 USC Section 2601; the Hazardous Materials
                 Transportation Act, 49 USC Section 1801; the Clean Air Act, 42 USC Sections
                 7401, et seq.; and the regulations promulgated in connection therewith; (ii)
                 Environmental Protection Agency regulations pertaining to Asbestos (including
                 40 CFR Part 61, Subpart M); Occupational Safety and Health Administration
                 Regulations pertaining to Asbestos (including CFR Sections 1901.1001 and
                 1926.58) as each may now or hereafter be amended; and (iii) any Michigan state
                 and local laws and regulations pertaining to any Hazardous Materials.

                 (4)    “Hazardous Materials” shall mean any of the following as defined by the
                 Environmental Laws: Asbestos; hazardous wastes; solid wastes; toxic or
                 hazardous substances, wastes or contaminants (including but not limited to
                 polychlorinated biphenyls (PCBs), paint containing lead and urea formaldehyde
                 foam insulation), and sewage.

        (B)     The City and Developer acknowledge and agree that some of the parcels to be
transferred may be “facilities” pursuant to Part 201 of NREPA, whether or not as yet discovered
to be such, and that given the number of parcels being transferred, the 100-year period over
which the parcels were developed, numerous changes in uses, and the City’s lack of knowledge
about the condition or history of most of the parcels, it may not be practicable or possible to
identify all pre-existing contamination or conditions on the parcels which may strictly violate
Environmental Laws. Further, the City and Developer acknowledge that although the Developer
can give its general undertaking to comply with Environmental Laws with regard to its conduct
of future activities on the parcels, at the time of Closing, neither City nor Developer will be able
to estimate exactly what such compliance may involve with regard to existing contamination and
other existing conditions on the parcels that may violate Environmental Laws. The City
acknowledges that the Developer may conduct a BEA and CERCLA “All Appropriate Inquiry”
assessment activities respecting the Property, the results of which assessments may be reported
to federal and state authorities at such time as Developer issues an Election Notice to proceed to
Closing with respect to such Property, in order to seek the associated protections from liability
with respect to pre-existing environmental conditions at the Property (“Liability Protection”), or
such earlier date as required pursuant to Environmental Laws or in order to preserve Liability
Protection.

        (C) The City shall authorize the Developer, through a fully executed Right-of-Entry (in
the form attached), to enter upon the applicable Property during the Due Diligence Period to,
subject to the conditions set forth herein, undertake environmental remediation activities
approved by the City hereunder, and make soil boring and bearing tests, undertake such
surveying and environmental due diligence activities as Developer deems appropriate, including
without limitation sampling and testing of soil, soil vapor, surface water, groundwater, indoor
air, and the installation of groundwater wells, provided such do not materially and permanently
interfere with demolition or site improvement activities of the City or the rightful use of the


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Property by a tenant in possession or other third party, if any. All such testing and remediation
shall be done at Developer’s expense. Developer shall at all times during the Due Diligence
Period comply with the terms and provisions of the Right-of-Entry, and Developer’s right to
enter upon the applicable Property is subject to execution of such Right-of-Entry. To the extent
any provision of such Right-of-Entry conflicts with the terms set forth herein, the terms of this
Agreement shall govern. Developer shall upon request submit to the City a copy of each final
survey or environmental testing report generated as a result of such activities. Developer shall
give prior written notice to the City to inspect, investigate and/or remediate the condition of the
Property during the Due Diligence Period, including any investigation of the environmental
condition (each such notice referred to herein as an “Investigation Notice”). To the extent the
Investigation Notice includes a request to perform any environmental remediation activities upon
the applicable Property, prior to undertaking such remediation, the Developer shall submit to the
City in writing (i) the scope of remediation activities contemplated by the Developer, (ii)
evidence of commercially reasonable insurance appropriate for the scope of remediation
contemplated by the Developer, and (iii) evidence that the Developer has the financial resources
to complete the scope of remediation contemplated, each of which shall be subject to the prior
written approval of the City, which approval shall not be unreasonably withheld, conditioned or
delayed. Upon written request of Developer, the City shall provide an electronic mail address
for delivery of any Investigation Notice; provided, Developer shall mail a copy of any
Investigation Notice sent via electronic mail to the City pursuant to the provisions of Section 4
below. Developer shall use all commercially reasonable efforts to minimize damage to the
Property in connection with such entry and shall restore the Property to substantially the
condition existing prior to such entry, provided that the City acknowledges that soil borings and
groundwater well sampling may be conducted, and it may not be practicable to fully restore the
Property to the exact same condition. Developer shall indemnify, defend and hold the City
harmless from and against any and all loss, cost, liability and expense, including reasonable
attorney fees and litigation costs, suffered or incurred by the City as a result of the Developer’s
(including any of its duly authorized employees, agents, engineers or other representatives)
negligent acts or omissions or willful misconduct occurring in connection with the activities
conducted in accordance with the Right-of-Entry; provided however that (A) in the event
Developer provides an Objection Notice or otherwise elects not to proceed to Closing, the
Developer shall in no circumstance have any indemnity obligation or other liability with respect
to any environmental conditions pre-existing at the Property including without limitation any soil
or groundwater contamination or other environmental conditions that may discovered in the
course of the Developer’s Due Diligence Activities and thereafter disclosed to the City as
required hereunder, except to the extent such environmental conditions are materially
exacerbated due to the negligence or willful misconduct of Developer or any of its duly
authorized employees, agents, engineers or other representatives, and (B) in no event shall
Developer have any indemnity obligation or other liability with respect to any loss, cost, liability
or expense incurred by the City as the result of the gross negligence or willful misconduct of the
City or its agents.

       (D)     In the event Developer elects to proceed to take title to any Property, upon the
Closing, Developer takes such Property as it finds it, “AS IS”, and the City makes no express or
implied representations or warranties as to its fitness for absolutely any purpose whatsoever,
including but not limited to any warranty that the Property is fit for the Developer’s purpose or


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regarding the presence or absence of Hazardous Materials at, on, in, under, about, or from the
Property and compliance with the Property with Environmental Laws. Developer acknowledges
that neither the City nor any agent or employee of the City has made any representation,
warranty or agreement, either express or implied, and Developer has not relied on any
representation, warranty or agreement of any kind made by the City or any agent or employee of
the City, concerning (a) the physical or environmental condition of the Property, or (b) the
presence or absence of any condition, substance or material, including but not limited to any
waste material, equipment or device at, on, in, under, about, or from the Property. Developer
agrees that the disclosures of the City concerning the Property and its condition are intended to
satisfy any duties the City may have under the law, including but not limited to the statutes,
Environmental Laws, and common law. Developer shall rely solely on its own due diligence
with respect to such inquiries, investigations and assessments. By executing this Agreement,
Developer acknowledges that it is satisfied with the condition of the Property, subject only to its
Due Diligence Activities, including but not limited to inspection of the Property, review of title,
and the results of the tests, investigations and surveys permitted under this Agreement. If, prior
to Closing, Developer fails to undertake such investigations and/or obtain such test results and
surveys, or fails to object to the condition of the Property based on the results of its Due
Diligence Activities, and Developer thereafter elects to proceed to Closing, Developer shall
thereupon be deemed to have waived any right to object to the condition of the Property and
shall be deemed to have declared its full satisfaction therewith.

        (E)    Upon Closing on any particular Property, subject to the City’s covenant set forth
in Section 5(G)(ii) below, Developer, for itself and its successors and assigns, expressly waives
and releases all Environmental Claims (whether for personal injury, property damage or
otherwise) that Developer may have against the City and its officials, employees and agents in
connection with or related to such Property or any aspect thereof except for Environmental
Claims arising out of actions by the City of its employees or agents that caused the release or
threatened release of hazardous substances on the parcels being transferred. Upon Closing on
any particular Property, Developer releases and discharges the City from all Environmental
Claims that Developer may have against the City in connection with or arising out of the present
condition of the Property.

        (F)      Intentionally omitted.

        (G)   Subject to the City’s covenant set forth in Section 5(G)(ii) below, after the
Closing with respect to a Property, the City shall have no obligation or liability to Developer
whatsoever to undertake any cleanup or other remedial action that may be required in connection
with the Property under any Environmental Law, or to comply with any other federal, state or
local requirement to attend to the physical condition of the Property.

        (H)   At its sole cost and expense, with respect to an applicable Property for the period
commencing on the applicable Closing and ending on the applicable Commencement of
Construction, Developer shall: (a) comply with all Environmental Laws; (b) pay when due the
cost of Developer’s compliance with the Environmental Laws resulting directly or indirectly out
of environmental conditions caused or permitted by Developer during its period of ownership,
use, possession or development of the Property; and (c) keep the Property free of any lien


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imposed pursuant to the Environmental Laws resulting out of Developer’s ownership, use,
possession, or development of the Property.

        (I)      During the earliest of the date that Developer (a) receives title to the Property, (b)
receives possession of the Property or (c) performs any removal or remedial activities on the
Property, Developer shall comply with all Environmental Laws and will undertake to complete
any further investigation and remediation of the environmental conditions, if any, necessary to
permit the intended use of the Property in accordance with the Environmental Laws. As between
the City and Developer but not as to third parties, Developer assumes the risk of liability for any
and all Hazardous Materials, whether known or unknown, which may have been or may be
present in, at, on, under about or from the Property except for hazardous materials released by
the City or its agents, employees, or contractors.

       (J)    Notwithstanding anything to the contrary which may be contained in this
Agreement, Developer represents and warrants and covenants to the City for the period after
Developer’s commencement of ownership, use, possession or development of the Property and
terminating upon the Commencement of Construction at an applicable Property, as follows:

                         (i)    Developer shall not directly or indirectly use or allow the use of
                 the Property for the purpose of storing any Hazardous Materials Developer brings
                 into the Property, nor shall Developer directly or indirectly use the Property in a
                 manner which will cause or increase the likelihood of causing the release of such
                 Hazardous Materials onto or from the Property, other than those Hazardous
                 Materials which are necessary and commercially reasonable for the conduct of
                 Developer’s development activities or the business operated on the Property and
                 which Hazardous Materials shall be, handled and disposed of in compliance with
                 all Environmental Laws and industry standards and in a commercially reasonable
                 manner.

                          (ii)    Developer shall promptly notify the City of any claims or
                 litigation against the Developer by any person (including any governmental
                 authority), concerning the presence or possible presence of Hazardous Materials
                 contamination at the Property or concerning any violation or alleged violation of
                 the Environmental Laws by the Developer respecting the Property, and shall
                 furnish the City with a copy of any such communication received by Developer.

                         (iii)   Developer shall notify the City promptly and in reasonable detail
                 in the event that Developer becomes aware of or suspects the presence of
                 Hazardous Materials contamination or a violation of the Environmental Laws at
                 the Property.

                         (iv)   If Developer’s operations at the Property violate the Environmental
                 Laws so as to subject Developer or the City to a formal notice of violation by a
                 governmental agency alleging a violation of the Environmental Laws, Developer
                 shall promptly investigate the underlying circumstances and notify the City within
                 fourteen (14) days of the results of its investigation. If Developer determines that
                 an ongoing violation by Developer is occurring or did occur, Developer shall, to


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                 the extent required by Environmental Laws, cease or cause a cessation of or take
                 other actions to address those aspects of the use or operations causing the
                 violation and shall remedy and cure in compliance with the Environmental Laws
                 any conditions arising therefrom to the extent required by Environmental Laws at
                 its own cost and expense. If Developer disputes that its activities are violating
                 Environmental Laws, it shall expeditiously appeal and prosecute an appeal of the
                 notice of violation or take other commercially reasonable actions to dispute such
                 notice.

Section 3.       CLOSING

        (A)     Time and Place of Closing. The closing with respect to a particular Property shall
take place at the office of the PDD, or such other location designated by the City and acceptable
to Developer. Each Closing will take place within fifteen (15) days following the earliest to
occur of (i) delivery by Developer of a Election Notice with respect to a particular Property, (ii)
written notice to Developer that the City has cured all Defects set forth in an Objection Notice
provided prior to the expiration of the City Cured Period with respect to a particular Property, or
(iii) waiver by Developer of any Defects with respect to a particular Property, each pursuant to
Section 1(C)(5) above. For the avoidance of doubt, no additional consideration shall be due
from the Developer to the City at any Closing.

       (B)    Conditions to Closing. The City’s obligation to proceed with a Closing is
conditioned on the fulfillment by Developer of each of the following conditions precedent:

                       a.     Resolution of Developer’s Authority. Developer shall furnish to
the City a certified copy of a resolution in form and substance as set forth on Exhibit E, duly
authorizing the execution, delivery and performance of this Agreement and all other documents
and actions contemplated hereunder with respect to a particular Property.

                        b.     Intentionally Omitted.

                       c.     Payment of Closing Costs. Developer shall have tendered payment
of the closing costs payable by Developer, which shall include all title charges, escrow, closing
and recording fees associated with any conveyance hereunder. For avoidance of doubt, the City
shall not be responsible for any closing charges or transaction fees in connection with any
Closing hereunder other than the payment of its own legal fees and expenses.

       (C)     Delivery of Deeds and Possession. The City will deliver to Developer at each
Closing the Deeds with respect to the particular Property that is subject of such Closing to and
possession of the applicable Property.

       (D)     Recording. Provided that Developer has complied with all conditions precedent
as specified herein, the Deeds with respect to a particular Property shall be delivered at the
applicable Closing for prompt recordation with the Register of Deeds of Wayne County,
Michigan. Developer shall pay at each Closing all costs for recording the Deeds. Possession of
the applicable Property shall be delivered to Developer at the applicable Closing.

Section 4:       NOTICES

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        A notice, demand or other communication under this Agreement by either Party to the
other shall be sufficiently given if it is dispatched by certified or registered mail, postage prepaid,
return receipt requested, or sent by recognized overnight delivery service, or hand delivered, with
receipt obtained, and addressed as follows:

        If to Developer:       _____________________
                               _____________________
                               _____________________


        If to the City:        Director
                               Planning & Development Department
                               65 Cadillac Square, Suite 2300
                               Detroit, Michigan 48226

                               With a copy to (which copy shall not constitute notice):


                               Corporation Counsel
                               City of Detroit Law Department
                               2 Woodward Avenue
                               Suite 500
                               Detroit, MI 48226

       All notices shall be deemed given on the day of mailing. Either Party to this Agreement
may change its address for the receipt of notices at any time by giving notice thereof to the other
as provided in this section. Any notice given by a Party hereunder must be signed by an
authorized representative of such Party.

Section 5:       COVENANTS

        (A)     Developer covenants for itself and its successors and assigns and every successor
in interest to any Property constituting a part of the Properties, that from and after Closing on
such Property, Developer and its successors and assigns shall develop such Property only to and
in accordance with the uses specified in this Agreement, unless otherwise agreed in writing by
the City. The uses specified in this Agreement are for development and use of such Property into
parking facilities, residential housing, commercial, retail space or any other use suitable for the
location, consistent with the City’s urban planning policies and the City’s comprehensive
development plan in effect as of the date the Developer seeks zoning and land use approval for
such development. Subject to force majeure delays, within fifteen (15) months following
Closing (the “Commencement Deadline”) on any Property, the Developer shall achieve
Commencement of Construction (as defined below) with respect to such Property. Following
Commencement of Construction, the Developer shall diligently prosecute such development on
the Property to substantial completion (which shall mean substantial completion of such
development and all material improvements related thereto, exclusive of landscaping, punch list
items and any tenant work for commercial or other space for which there are no tenants or for
which the work is to be done by a tenant and any onsite or offsite work that is not commercially

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necessary for occupancy) (the date upon which such substantial completion occurs referred to
herein as the “Completion Date”). Subject to force majeure delays, the Completion Date shall
occur within thirty nine (39) months following Closing for the applicable Property, or such
longer period of time as may be reasonably necessary for Developer or its designee to actually
achieve substantial completion of the applicable development or improvements, provided
Developer is diligently pursuing such completion (the “Completion Deadline”). For purposes
hereof, “force majeure delays” shall mean acts of God, terrorism, flooding, strikes, lockouts or
other labor trouble, materially adverse weather conditions, fire or other casualty, governmental
preemption in connection with an emergency, any rule, order or regulation of any governmental
authority or any department or subdivision thereof and any other cause or event beyond the
reasonable control of Developer (other than failure of Developer to secure necessary land use or
zoning approvals from any governmental authority), or inability to secure materials, labor or
access to the Property because of any such emergency, rule, order, regulation, war, civil
disturbance, terrorist act or other emergency, or inability to secure materials, labor or access to
the Property because of any other cause or event beyond the reasonable control of Developer
(other than shortage of funds). In the event that the Developer elects to undertake environmental
remediation of the Property after the Closing, “force majeure delays” also shall include the time
reasonably necessary for the proper completion of all applicable remediation activities. In the
event that Developer ceases, delays, or slows its development activities for a particular Property
as a result of any claim or cause of action filed, threatened or asserted by the City (or any of its
agencies or departments) and, (1) a court of competent jurisdiction dismisses such action or rules
in favor of Developer with respect thereto or (2) the City withdraws its claims or causes of
actions, the delay associated with such reduction or cessation in the development shall be
deemed a “force majeure delay.” The Commencement Deadline and Completion Deadline shall
be extended for a period of time equal to the number of days during which Developer is
prevented from proceeding with the construction of the development at the Property by reason of
force majeure, provided that (i) Developer is otherwise in material compliance with the terms
and provisions of this Agreement, and (ii) Developer notifies the City of the events constituting
such force majeure upon the later of (i) Closing with respect to the applicable Property and (ii)
sixty (60) days after Developer has actual knowledge of their occurrence.

        (B)    For purposes of this Agreement, “Commencement of Construction” on a Property
shall be deemed to have occurred when the Developer shall have commenced foundation or other
equivalent site preparation work on the Property, which site preparation work may include
renovation or demolition of existing buildings located on the Property, as applicable.

        (C)    If the development plan for a Property calls for development of improvements on
the Property in two or more discrete phases, the requirements set forth in this Agreement relative
to the Completion of Construction, as well as the remedies of the City applicable thereto, shall be
satisfied upon Completion of Construction of the initial phase.

        (D)    Developer covenants and agrees that from and after Closing it will: (i) comply
with all zoning requirements, and all other applicable state and federal statutes and regulations
and local laws and ordinances applicable to the ownership, use and/or occupancy of the Property;
and (ii) pay and discharge when due without penalty, and in all events before penalty for
nonpayment attaches thereto, all taxes, assessments and governmental charges, including but not


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limited to real estate taxes or assessments on the Property or any part thereof, except where the
same may be contested in good faith.

        (E)     Certificate of Completion. The Developer shall give the City prompt written
notice of the Completion Date. The City agrees that the PDD shall inspect the Property for
purposes of issuance of the Certificate of Completion promptly following the Completion Date,
and shall provide Developer with notice of any deficiencies in compliance with this Agreement,
and an opportunity for cure and re-inspection. If, as of the Completion Deadline, PDD
determines that Developer is in compliance with all provisions and requirements of this
Agreement, PDD shall issue a “Certificate of Completion.” The Certificate of Completion shall
be a conclusive acknowledgment by PDD of satisfaction by Developer of its obligations under
this Agreement for the applicable Property or portion of the applicable Property addressed by the
Certificate of Completion. The Certificate of Completion shall not, however, constitute evidence
of compliance with or satisfaction of the requirements of any department, agency or entity with
respect to any building, occupancy, or other permits, to the extent such departments are
exercising their regulatory authority. The Certificate of Completion shall be in such form as can
be recorded against the Property, or portion thereof, and shall release the Property, or portion
thereof, from the City’s rights under this Agreement. The cost of recording the Certificate of
Completion shall be the responsibility of Developer.

       (F)      Estate Conveyed. Notwithstanding anything contained in this Agreement to the
contrary, the estate conveyed hereby shall be deemed to be a determinable fee and only upon the
Commencement of Construction on the Property will the possibility of reverter retained by the
City automatically expire as to that part of the applicable Property.

       (G)     City Covenants. During the Option Period and prior to a Closing with respect
each Property, the City shall (i) maintain such Property in at least the same condition and repair
(except for environmental condition and repair thereof, which is addressed in sub-clause (ii)
below) as of the Effective Date, (ii) not, through its own action (or the action of any agency,
department, employee, agent, or contractor), alter the environmental condition of the Property, as
such exists as of the Effective Date, in a material and adverse manner, (iii) not “down zone” the
Property or take zoning or land use action on the Property that would materially and adversely
affect Developer’s ability to develop the Property for the uses otherwise permitted in this
Agreement, and (iv) not execute or grant any lease, contract, agreement, lien, security interest,
encumbrance, easement, or restriction with respect to such Property, or amend, modify, renew,
extend or terminate any of the foregoing, without prior written consent of the Developer, which
consent shall not be unreasonably withheld, conditioned or delayed.

Section 6:       REMEDIES

        (A)    City’s Remedies Prior to Conveyance. Except with respect to assignment to a
Permitted Entity (as defined below), in the event that, prior to the conveyance of the Property,
Developer assigns this Agreement or any right therein or in a Property without the prior written
approval of the City, this Agreement and any rights of Developer in this Agreement, may, at the
option of the City, be terminated by the City after thirty (30) days written notice and opportunity
to cure provided by the City to Developer. Notwithstanding the foregoing, the Developer’s
rights and obligations under this Agreement may be assigned: (i) to a wholly owned subsidiary

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of Developer, or (ii) to a joint venture, limited liability company, partnership, limited partnership
or other entity formed to develop or finance a Property or the Properties, provided that the
Developer retains a direct or indirect interest in such entity (any such assignee being referred to
as a “Permitted Entity”). In any case, the Developer shall provide written notice to the City of
such assignment.

        (B)      City’s Remedies Subsequent to Conveyance.

                 (1) Event of Default. If, prior to the issuance of a Certificate of Completion on a
Property, Developer breaches any covenant set forth in Sections 5(A) or (D) hereof applicable to
such Property and fails to cure such breach within ninety (90) days after written demand by the
City, such an event shall be deemed to constitute an Event of Default, provided, however, that if
the nature of Developer's default is such that more than the cure period provided is reasonably
required for its cure, then Developer shall not be deemed to be in default and an Event of Default
shall not have occurred if Developer commences such cure within said period and thereafter
diligently pursues such cure to completion within two hundred seventy (270) days of City’s
initial written demand hereunder. Notwithstanding the foregoing, Developer shall have the right
to dispute that an Event of Default has occurred or that an Event of Default has not been timely
cured by written notice of dispute sent to the City (“Notice of Dispute”). In the event a Notice of
Dispute is sent, the parties shall meet and in good faith work to resolve their differences. In the
event the City and Developer cannot resolve their differences as to whether an Event of Default
has occurred or has been cured, then the City shall not record a notice of an uncured and
undisputed Event of Default as described in Section 6(B)(2) below without first bringing an
action in a court of competent jurisdiction for a final judicial determination that an Event of
Default occurred and was uncured. To the extent a court of competent jurisdiction deems that an
Event of Default occurred prior to the Commencement of Construction and such cause of action
was filed with the court of competent jurisdiction prior to the Commencement of Construction,
irrespective of the date the court makes such determination, the City shall have all rights and
remedies available to it hereunder as if such Event of Default was undisputed prior to the
Commencement of Construction in the first instance. The City may, in its sole discretion, waive
in writing any Default or Event of Default by Developer. Notwithstanding any provision
contained herein to the contrary, any lender of Developer that has a security interest in a
Property, shall have an additional notice and cure right that should provide such lender with a
reasonable period of time after the expiration of any cure periods available to Developer in
which to cure any Event of Default prior to the City enforcing its remedies hereunder.

                (2)    Right of Reverter. It is expressly understood and agreed between the
Parties hereto that until the Commencement of Construction on a particular Property, the
conveyance of such Property to Developer shall be construed and interpreted as the conveyance
of a fee simple determinable, and that such conveyance shall endure only so long as subsequent
to the conveyance and prior to the Commencement of Construction there has been no uncured or
undisputed Event of Default with respect to such Property and such Event of Default results from
a failure of the Commencement of Construction to have occurred prior to the Commencement
Deadline (a “Reverter Event of Default”). In the event of an uncured and undisputed Reverter
Event of Default and the City's recording of a notice thereof, after a judicial determination as
required by Section 6(B)(1) above and written notice from the City to Developer of the City’s
election to enforce the reverter set forth in this Section, title to the applicable Property (and only

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the applicable Property) shall revest in the City, except for parcels of Property previously
conveyed where Commencement of Construction has already been achieved. Upon such
revesting of title, the City shall have the right to re-enter and take immediate possession of the
applicable Property. Upon an uncured and undisputed Reverter Event of Default as to a Property
occurring prior to the Commencement of Construction and expiration of the cure period, this
Agreement and any rights of Developer arising hereunder with respect to the Property subject to
the reverter, may, at the option of the City, be terminated by the City by the City providing
written notice of such termination to the Developer prior to the cure of such Reverter Event of
Default, and the Developer shall thereafter have no further interest in the reverted Property. In
such case Developer agrees to promptly execute and deliver a quit claim deed for any such
portion of reverted Property to the City. While the right of reversion as to a Property
automatically terminates upon Commencement of Construction on such Property, the City agrees
to provide Developer with a written acknowledgement, in recordable form, that the
Commencement of Construction has occurred and the City’s right of reversion has terminated as
to such Property.

                 (3)   Intentionally Omitted.

        (C)   Rights and Remedies Cumulative. The rights and remedies of the City, whether
provided by law or by this Agreement, shall be cumulative, and the exercise by the City of any
one or more remedies shall not preclude the exercise by it, at the same or different times, of any
other remedy for the same default or breach or any other default or breach by the Developer. No
waiver made by either Party shall apply to obligations beyond those expressly waived in writing.

         (D)     Developer’s Remedies. If the City breaches its obligations under this Agreement
after reasonable notice and opportunity to cure, Developer shall have the right to seek injunctive
relief, specific performance or other equitable remedies for the City’s breach of this Agreement.
In no event shall the Developer be entitled to monetary damages as a result of the City’s breach
of this Agreement, except to the extent such damages arise out of the City’s uncured breach of
the covenant set forth in Section 5(G) above.

        (E)    City’s Representatives Not Individually Liable. No official or employee of the
City shall be personally liable to Developer or any successor in interest, in the event of any
default or breach by the City or for any amount which may become due to Developer or
successor or on any obligations under the terms of this Agreement.




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Section 7:       PROVISIONS NOT MERGED WITH DEEDS

        No provision of this Agreement is intended to or shall be merged into the Deeds
transferring title to each Property from the City to Developer or any successor in interest, and
any such Deeds shall not be deemed to affect or impair the provisions and covenants of this
Agreement.

Section 8:       ENTIRE AGREEMENT; AMENDMENT

       This Agreement (including all exhibits, schedules or other attachments hereto) constitutes
the complete and exclusive statement of the terms of the agreement among the Parties with
respect to the subject matter hereof and supersedes all prior agreements, understandings,
promises, and arrangements, oral or written, between the Parties with respect to the subject
matter hereof. This Agreement may be amended or modified only by an instrument in writing
signed by both of the Parties.

Section 9:       GOVERNING LAW

        This Agreement shall be governed by and construed in accordance with the laws of the
State of Michigan without regard to conflicts-of-law principles that would require the application
of any other law.

Section 10:      COUNTERPARTS

        This Agreement may be executed in several counterparts, each of which shall be deemed
to be an original, but together such counterparts shall constitute one and the same instrument.

Section 11:      AUTHORITY OF CITY.

       Notwithstanding anything in this Agreement, in law or in equity, or otherwise to the
contrary, this Agreement shall be of no force or effect and may not in any way be enforced
against the City unless or until this Agreement and the transaction contemplated hereby
have been: (i) approved in writing by the Emergency Manager for the City of Detroit, in
accordance with Emergency Manager Order No. 5, (ii) either included in the Emergency
Manager’s financial and operating plan or approved in writing by the Governor of the
State of Michigan or his or her designee, in accordance with Section 12(1)(k) of Public
Act 436 of 2012; and (iii) either included in the Emergency Manager’s financial and
operating plan or approved in writing by the State Treasurer, in accordance with
Section 15(1) of Public Act 436 of 2012.

Section 12: CITY AGENCIES AND DEPARTMENTS. Whenever this Agreement requires
an action or creates an obligation on behalf of the City, the City shall also be required, as
applicable, to cause all of its agencies and departments to undertake such obligations.

                                 (signatures on following pages)




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         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the Effective
Date.

WITNESSES:                                        DEVELOPER

                                                  PIKE POINTE HOLDINGS, LLC,              a
                                                  Delaware limited liability company



                                                  By:
Print:                                            Print:
                                                  Its:



STATE OF MICHIGAN           )
                            ) ss.
COUNTY OF WAYNE             )

      The foregoing instrument was acknowledged before me on September __, 2014 by
___________________________________ the _________________________ of Pike Pointe
Holdings, LLC, a Delaware limited liability company, on behalf of said company.




                                                  Notary Public, Wayne County, Michigan
                                                  Acting in Wayne County, Michigan
                                                  My commission expires:


                           [signatures continue on following page]




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WITNESSES:                                     CITY OF DETROIT,
                                               a Michigan public body corporate



                                               By:
Print:                                         Print:
                                               Its:


STATE OF MICHIGAN           )
                            ) ss.
COUNTY OF WAYNE             )

        The foregoing instrument was acknowledged before me on September ___ 20__ by
_______________________________, the _____________________________ of the City of
Detroit, a Michigan public body corporate, on behalf of the City.




                                               Notary Public, Wayne County, Michigan
                                               Acting in Wayne County, Michigan
                                               My commission expires:



Pursuant to § 18-5-12 of the Detroit City Code, Approved by the City Law Department
I hereby certify that proper and fair pursuant to Sec. 7.5-206 of the Charter of the
consideration has been received by the City City of Detroit.
pursuant to this contract.
                                                       Corporation Counsel
       Finance Director
                                                City Council Approval Date:


Drafted by and when recorded return to:

Bruce N. Goldman
Senior Assistant Corporation Counsel
City of Detroit Law Department
2 Woodward Avenue, Suite 500
Detroit, Michigan 48226


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                                           EXHIBIT A

                                    LEGAL DESCRIPTION

1. The contiguous parcels of (2.701 acres):

        1303 E Atwater .908

        1365 E Atwater .220

        1364 Franklin .337

        1310 Franklin .145

        1399 E Atwater .287

        1325 E Atwater .707

        1370 Gloin St .097

2. The contiguous parcels of (3.545):

        2200 Franklin (3.545)

3. The contiguous parcels of (2.108 acres) :

        2290 E Jefferson (1.199)

        [2310 E Jefferson (.730)] SUBJECT TO CITY APPROVAL

        301 Chene (.179)

4. 1300 Beaubein (Former Police HQ)

5. Parcel(s) mutually agreeable to the Parties which parcels shall:

        a. have reasonably equivalent value to the aggregate value of 2263 E Atwater (2.812
        acres) and 281 Chene St (.430 acres);

        b. be consistent with the Developer’s development scheme; and

        c. be identified within forty-eight (48) hours following the September 15, 2014
        bankruptcy court hearing related to the Arrangement.

 [legal descriptions of the above parcels to be attached based on mutual agreement by the parties
                                hereto following the Effective Date]




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                                         EXHIBIT B

                              MEMORANDUM OF OPTION

  [the form of which shall be mutually agreed upon by the parties hereto promptly following the
                                     Effective Date hereof]




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                                         EXHIBIT C

                                     RIGHT OF ENTRY

  [the form of which shall be mutually agreed upon by the parties hereto promptly following the
                                     Effective Date hereof]




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                                           EXHIBIT D

                                      QUIT CLAIM DEED

       The City of Detroit, a Michigan public body corporate whose address is 2 Woodward
Avenue, Detroit, MI 48226 (“Grantor”), quit claims to _______________________, a Michigan
_____________________ (“Grantee”), whose address is __________________________, the
premises located in the City of Detroit, Wayne County, Michigan, described as:

        A/K/A ___________________________                      Ward: _________ Item(s):

(the “Property”), for the sum of ____________________________________________________
($______________), subject to and reserving to the City of Detroit its rights under public
easements and rights of way, easements of record, applicable zoning ordinances, development
plans pursuant to Act 344 of 1945 as amended (if any), and restrictions of record.


       This Deed is given subject to the terms, covenants and conditions of a Development
Agreement - Option to Purchase and Develop Land dated                            , 20    entered into
by the parties hereto and which is incorporated herein by reference and a memorandum of which
was recorded on                       , 20     in the Office of the Register of Deeds for the County
of Wayne in Liber         on Pages           through         inclusive, none of the terms, covenants
and conditions of which shall be deemed merged in this Deed. The covenants therein recited to
be covenants running with the land are hereby declared to be covenants running with the land
enforceable by the City as therein set forth until issuance of a Certificate of Completion.

        The Grantor grants to the Grantee the right to make all divisions under Section 108 of
the land division act, Act No. 288 of the Public Acts of 1967, as amended. This property may be
located within the vicinity of farmland or a farm operation. Generally accepted agricultural and
management practices which may generate noise, dust, odors, and other associated conditions
may be used and are protected by the Michigan right to farm act.

        This deed is dated as of _____________________.

                                                      CITY OF DETROIT,
                                                      a Michigan public body corporate


                                                      By:
                                                      Print:
                                                      Its:


                              [acknowledgement on following page]




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STATE OF MICHIGAN             )
                              ) ss.
COUNTY OF WAYNE               )

        The foregoing instrument was acknowledged before me on _______________________
20__, by _____________________________, the __________________________________ of
the City of Detroit, a Michigan public body corporate, on behalf of the City.



                                                   Print:
                                                   Notary Public, Wayne County, Michigan
                                                   Acting in Wayne County, Michigan
                                                   My commission expires:



Pursuant to § 18-5-12 of the Detroit City Code, Approved by the City Council on.
I hereby certify that proper and fair
consideration has been received by the City JCC pp _________ or Detroit Legal News,
pursuant to this contract.
                                                ________________, on file in my office.
       Finance Director

Approved by the City Law Department
pursuant to Sec. 7.5-206 of the Charter of       Approved by Mayor on
the City of Detroit.

        Corporation Counsel                            City Clerk


This Instrument Drafted by:                        When recorded, return to:


Bruce N. Goldman                                   Grantee
Senior Assistant Corporation Counsel
City of Detroit Law Department
2 Woodward Avenue, Suite 500
Detroit, MI 48226


Exempt from transfer taxes pursuant to MCL § 207.505(h)(i) and MCL § 207.526(h)(i).




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                                           EXHIBIT E

        CERTIFICATE OF AUTHORITY FOR LIMITED LIABILITY COMPANY


       I,        ________________________________,          Manager             of
__________________________________, a __________________ limited liability company
(the “Company”)

      DO HEREBY CERTIFY that the following is a true and correct excerpt from [check
appropriate box]

                 the minutes of a meeting of the Members of the Company duly called and held on

                 a consent in lieu of a meeting, with signed consents received from all of the
                 [Members] of the Company on

and that the same is now in full force and effect:

        “RESOLVED, that any [Manager of the Company], is hereby authorized to
        execute and deliver, in the name and on behalf of the Company, any agreement or
        other instrument or document in connection with any matter or transaction with
        the City of Detroit that shall have been duly approved; the execution and delivery
        of any agreement, document, or other instrument by any of such [Managers] to be
        conclusive evidence of such approval.”

        I FURTHER CERTIFY that the following persons are [Managers]:




        I FURTHER CERTIFY that any of the aforementioned managers of the Company are
authorized to execute or guarantee and commit the Company to the conditions, obligations,
stipulations and undertakings contained in the attached Agreement, and that all necessary
approvals have been obtained in relationship thereto.

        IN WITNESS WHEREOF, I have set my hand this __________ day of ______________,
20__.


                                              Print:
                                              Its: Manager




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                                  Schedule 1(H)



                             1365 E Atwater St, 48207

                             1325 E Atwater St, 48207

                              1399 E Atwater, 48207

                               1370 Gloin St, 48207

                             1310 Franklin St, 48207

                             1364 Franklin St, 48207




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                                 EXHIBIT I.A.344

                    FORM OF SYNCORA SETTLEMENT DOCUMENTS




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                               SETTLEMENT AGREEMENT

        This SETTLEMENT AGREEMENT (this “Agreement”) is entered into as of September
__, 2014, among the City of Detroit, Michigan (the “City”), Syncora Guarantee, Inc. and
Syncora Capital Assurance Inc. (collectively, “Syncora”). The City and Syncora are referred to
herein each individually as a “Party” and collectively as the “Parties”.

        WHEREAS, the Detroit General Retirement System Service Corporation, a Michigan
nonprofit corporation (“DGRS”), and the Detroit Police and Fire Retirement System Service
Corporation, a Michigan nonprofit corporation (“PFRS” and, together with DGRS, each a
“Service Corporation” and collectively the “Service Corporations”) created each of (i) the
Detroit Retirement Systems Funding Trust 2005 (the “2005 Pension Funding Trust”) pursuant to
the Trust Agreement, dated June 2, 2005, among the Service Corporations and U.S. Bank
National Association as trustee and (ii) the Detroit Retirement Systems Funding Trust 2006 (the
“2006 Pension Funding Trust”) pursuant to the Trust Agreement, dated June 12, 2006, among
the Service Corporations and U.S. Bank National Association as trustee;

        WHEREAS, the 2005 Pension Funding Trust issued certain Taxable Certificates of
Participation Series 2005 (the “2005 Pension Funding Securities”) and the 2006 Pension Funding
Trust issued certain Taxable Certificates of Participation Series 2006 (the “2006 Pension
Funding Securities” and collectively with the 2005 Pension Funding Securities, the “Certificates
of Participation”);

     WHEREAS, the Service Corporations are parties to swap transactions under certain
ISDA Master Agreements referred to as the COP Swap Agreements;

        WHEREAS, the City issued $44,020,000 in General Obligation Bonds (Unlimited Tax),
Series 2003-A;

        WHEREAS, Syncora has issued insurance policies in respect of certain of the
Certificates of Participation;

      WHEREAS, Syncora has issued insurance policies in respect of certain of the Swap
Agreements;

       WHEREAS, Syncora has issued insurance policies in respect of certain of the General
Obligation Bonds (Unlimited Tax), Series 2003-A;

      WHEREAS, Syncora beneficially owns or insures Certificates of Participation in the
amounts set forth herein;

        WHEREAS, the Parties and their representatives have engaged in good faith, arm’s
length settlement discussions regarding a consensual resolution of their disputes under or in
respect of the Certificates of Participation and the COP Swap Agreements;



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        NOW, THEREFORE, in consideration of the foregoing and the promises, mutual
covenants, and agreements set forth herein and for other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, the Parties hereby agree as follows:

Section 1         Definitions and Interpretations.

       1.1    Plan Definitions. Capitalized terms used herein, but not otherwise defined, shall
have the meaning ascribed to such terms in the POA.

        1.2    Additional Definitions. The following terms have the respective meanings set
forth below for all purposes of this Agreement.

     “Class 9” means that class of claims associated with COPs as set forth in the Sixth
Amended POA.

      “POA” means that certain Plan for the Adjustment of Debts of the City of Detroit, as
amended in accordance herewith.

       “Sixth Amended POA” shall mean that certain Sixth Amended Plan for the Adjustment
of Debts of the City of Detroit, as filed with the Bankruptcy Court.

        1.3     Other Definitional and Interpretive Provisions. The words “hereof”, “herein”
and “hereunder” and words of like import used in this Agreement shall refer to this Agreement as
a whole and not to any particular provision of this Agreement. References to Sections and
Schedules are to Sections and Schedules of this Agreement unless otherwise specified. Any
singular term in this Agreement shall be deemed to include the plural, and any plural term the
singular. Whenever the words “include”, “includes” or “including” are used in this Agreement,
they shall be deemed to be followed by the words “without limitation”, whether or not they are in
fact followed by those words or words of like import. References to any statute shall be deemed
to refer to such statute as amended from time to time and to any rules or regulations promulgated
thereunder. References from or through any date mean, unless otherwise specified, from and
including or through and including, respectively. References to “law”, “laws” or to a particular
statute or law shall be deemed also to include any and all applicable law.

Section 2         Plan.

        2.1    Proofs of Claim. The Parties agree Section 2, Section 4 and Section 5 hereof
fully resolve, address, satisfy and discharge Proofs of Claim # 1352 and 1354; provided that,
except as expressly provided to the contrary herein, this Agreement shall have no effect
regarding any UTGO Claims asserted in such Proofs of Claim or otherwise held or insured by
Syncora, and any such UTGO Claims shall receive the treatment provided for all UTGO Claims
by the POA and the UTGO Settlement Agreement. The City shall not file or otherwise assert
any objection to such Proofs of Claim.

        2.2   Voting. All votes cast by Syncora to accept or reject the Sixth Amended POA
shall be deemed to have been cast as accepting the POA.



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        2.3    Approval. The City shall (i) use its best efforts to seek approval of this
Agreement in connection with confirmation of the POA, and (ii) seek a Confirmation Order,
which Confirmation Order shall be in form and substance reasonably acceptable to Syncora
(solely with respect to any terms thereof that affect the rights of Syncora or any Related Entity
with respect to Syncora), that approves (A) this Agreement and all transactions contemplated
hereby, (B) the Development Agreement and all transactions contemplated thereby, and (C) the
assumption of the Tunnel Lease, as amended pursuant to the First Amendment to Lease dated as
of ___, 2014 between the City of Detroit and the Detroit Windsor Tunnel LLC.

       2.4    Plan Support.

               (a)     Syncora shall (i) use commercially reasonable efforts to support the City’s
       efforts to seek approval of this Agreement in connection with confirmation of the
       proposed POA, (ii) support confirmation of the POA, and (iii) not object to confirmation
       of the POA and withdraw all objections, oppositions and reservations of rights to
       confirmation of the POA (collectively, the “Syncora Plan Objections”), including those
       objections filed with the Bankruptcy Court at ECF #’s 4679, 5706, 6009, 6651, 7041,
       7150 and its participation in 7103 (A) without prejudice (and subject to Syncora’s
       retaining the right to assert such objections in the event this Agreement is terminated) as
       soon as reasonably practicable after execution of this Agreement and (B) with prejudice
       as soon as reasonably practicable after Bankruptcy Court approval of this Agreement and
       confirmation of the POA.

               (b)     Without limiting the foregoing, Syncora shall withdraw all objections to
       the UTGO Settlement Agreement (including those contained in Syncora's objections to
       the Plan) (i) without prejudice (and subject to Syncora’s retaining the right to assert such
       objections in the event this Agreement is terminated) as soon as reasonably practicable
       after execution of this Agreement and (ii) with prejudice as soon as reasonably
       practicable after Bankruptcy Court approval of this Agreement and confirmation of the
       POA. The City shall not alter or amend the treatment provided to holders of Allowed
       Class 8 Claims in the Plan.

            (c)   Without limiting the foregoing, Syncora shall not object to inclusion of the
       COP Swap Counterparties in the definition of “Exculpated Parties” under the POA.

       2.5     Plan Amendment. The City shall not, without Syncora’s prior written consent, amend
the POA in a manner that (a) would have a materially adverse effect on Class 9 or
(b) adversely affect Syncora.

Section 3         Global Resolution; Litigation Support; Etc.

         3.1     Global Resolution. The Parties agree that this Agreement shall constitute a
global resolution of all matters among the Parties as and to the extent set forth herein, and all
litigation (including appeals) outstanding between the City and Syncora arising out of or related
to the City’s Chapter 9 Case shall be dismissed as and to the extent set forth herein.

      3.2     Withdrawal of Syncora Plan Objections. Syncora shall withdraw the Syncora
Plan Objections as set forth in Section 2.4 hereof.

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        3.3     Stay and Withdrawal or Dismissal of Appeals. As soon as reasonably
practicable after execution of this Agreement, Syncora and the City shall file joint motions with
the applicable courts requesting stays of those certain appeals styled: 2:14-cv-10501-BAF-PJK
(PLA appeal); 2:14-cv-11995-BAF-PJK (PPF appeal); 2:14-cv-12062-BAF-PJK (COP Swap
Settlement appeal); 2:13-cv-14305-BAF-PJK (property of the debtor appeal); and 2:14-cv-
13044-BAF-PJK (Mediation Order Appeal) (collectively, the “Syncora Appeals”). As soon as
reasonably practicable after Bankruptcy Court approval of this Agreement and the occurrence of
the Effective Date with respect to the POA, Syncora will voluntarily dismiss with prejudice the
Syncora Appeals.

      3.4     Litigation Support. Syncora shall provide such reasonable, active support as
may be reasonably requested by the City, the Litigation Trust or any successor plaintiffs in the
COP Litigation.

       3.5    Retention of Counsel. Syncora shall continue to retain Kirkland & Ellis LLP in
connection with satisfying the support obligations set forth in Sections 2.4(a) and 3.2 hereof.

Section 4           Class 9 Treatment.

      4.1     Amendment to Sixth Amended POA. The City shall amend the Sixth Amended
POA as set forth on Schedule 1.

Section 5           Swap Related Claims; Etc.

        5.1     Swap Related Claims. On the Effective Date or as soon thereafter as practical,
the City shall pay the sum of $5 million in full satisfaction of all of Claims filed or asserted
against the City by Syncora relating to the COP Swap Agreements and any agreements related
thereto, including the COP Swap Insurance Policies and the COP Swap Collateral Agreement.

Section 6           Representations and Warranties.

        6.1   Representations and Warranties of the City. The City represents to Syncora
that:

              (a)      It is a municipal corporation of the State of Michigan.

               (b)    It has the power to execute and deliver this Agreement and to perform its
obligations hereunder and it has taken all necessary action to authorize such execution, delivery
and performance.

               (c)    Such execution, delivery and performance do not violate or conflict with
any law applicable to it, any provision of its constitutional documents, any order or judgment of
any court or other agency of government applicable to it or any of its assets.

               (d)     Other than (i) approvals by the City Council, the Emergency Loan Board,
the State Treasurer, the execution of the Emergency Manager Order, and the approvals required
by Section 19 of Act 436, and (ii) the approval of the Bankruptcy Court, all governmental and
Emergency Manager consents and approvals that are required to have been obtained by it as of

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the date of execution of this Agreement with respect to the execution, delivery and performance
of this Agreement have been obtained and are in full force and effect and all conditions of any
such consents and approvals have been complied with.

        6.2    Representations and Warranties of Syncora. Syncora represents to the City
that:

                (a)     It is duly organized and validly existing under the laws of the jurisdiction
of its organization or incorporation and in good standing.

               (b)     It has the power to execute this Agreement, to deliver this Agreement and
to perform its obligations under this Agreement and it has taken all necessary action to authorize
such execution, delivery and performance.

               (c)    Such execution, delivery and performance do not violate or conflict with
any law applicable to it, any provision of its constitutional documents, any order or judgment of
any court or other agency of government applicable to it or any of its assets.

               (d)    All governmental consents that are required to have been obtained by it
with respect to this Agreement have been obtained and are in full force and effect and all
conditions of any such consents have been complied with.

                (e)    Syncora owns or insures COPs in the principal amount of
$299,155,000.00; Syncora paid insured principal claims in an amount not less than
$52,750,000.00; and, as of the Petition Date, Syncora paid insured interest claims in an amount
not less than $1,649,692.00.

              (f)    The Stipulation by and Between the City of Detroit, Michigan and the
COPs Creditors Regarding Certain Facts and the Admission of Certain Exhibits for the
Confirmation Trial remains in effect.

Section 7          No Admission.

        This Agreement is a proposed settlement of claims and disputes among the Parties and is
the product of good faith, arm’s length negotiations among the Parties hereto. If this Agreement
is terminated, this Agreement will not be an admission of any kind. Pursuant to Federal Rule of
Evidence 408 and any applicable state rules of evidence, this Agreement and all negotiations
relating hereto will not be admissible into evidence in any proceeding. However, this Agreement
will be admissible into evidence in any proceeding to obtain court approval of this Agreement or
to enforce or interpret the terms of this Agreement, and, subject to any otherwise applicable rules
in the Federal Rules of Evidence (other than Federal Rule of Evidence 408), this Agreement may
be admitted into evidence in any proceeding arising as a result of or in connection with a Party’s
breach of this Agreement or in which breach of this Agreement is alleged as a relevant fact. The
admissibility of all negotiations related to this Agreement shall be governed by the Mediation
Order [Docket No. 322] entered by the Bankruptcy Court, as the same has been amended and
supplemented. Notwithstanding the foregoing, nothing herein shall limit the scope or effect of
the Mediation Order.


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Section 8          Termination.

        Any Party may terminate this Agreement upon one Business Day’s prior written notice to
the other Party if: (a) the Bankruptcy Court denies approval of this Agreement or the
transactions contemplated hereby, the Development Agreement or the transactions contemplated
thereby, or the assumption of the Tunnel Lease, as amended pursuant to the First Amendment to
Lease dated as of ___, 2014 between the City of Detroit and the Detroit Windsor Tunnel LLC, or
confirmation of the POA; (b) if the Confirmation Order is not in form and substance reasonably
acceptable to Syncora (solely with respect to any terms thereof that affect the rights of Syncora
or any Related Entity with respect to Syncora) or is vacated or reversed on appeal or, after entry,
is modified without the terminating Party’s consent, in any matter considered by the terminating
Party to be adverse to the terminating Party; or (c) the other Party is in material breach of any
provision of this Agreement, and such breach is continuing and has not been cured within 5
Business Days.

        In the event that this Agreement is terminated as set forth herein, then neither this
Agreement, nor any document filed with the Bankruptcy Court with respect to the approval of
this Agreement, will have any res judicata or collateral estoppel effect or be of any force or
effect, and each of the Parties’ respective interests, rights, remedies and defenses will be restored
without prejudice as if this Agreement had never been executed and the Parties will be
automatically relieved of any further obligations under this Agreement. For the avoidance of
doubt, in the event this Agreement is terminated, Syncora shall retain the right to make any
arguments, objections, or other assertions (other than res judicata or collateral estoppel as set
forth in the preceding sentence), pursue any litigation, appeals, or other disputes related to
confirmation of the POA (or any other plan) or any other matter otherwise resolved by this
Agreement.

Section 9          Miscellaneous.

       9.1     Execution of this Agreement. This Agreement may be executed and delivered
(by facsimile, PDF, or otherwise) in any number of counterparts, each of which, when executed
and delivered, will be deemed an original, and all of which together will constitute the same
agreement. Each individual executing this Agreement on behalf of a Party has been duly
authorized and empowered to execute and deliver this Agreement on behalf of said Party.

       9.2    Binding Obligation; Successors and Assigns. This Agreement is a legally valid
and binding obligation of the Parties, enforceable in accordance with its terms, and will inure to
the benefit of the Parties and their respective successors, assigns and transferees. This
Agreement grants no rights to any third party.

        9.3     Complete Agreement; Interpretation. This Agreement and the POA constitute
the complete agreement among the Parties with respect to the subject matter hereof and
supersedes all prior agreements, oral or written, among the Parties with respect thereto. This
Agreement is the product of negotiation by and among the Parties. Any Party enforcing or
interpreting this Agreement will interpret it in a neutral manner. There will be no presumption
concerning whether to interpret this Agreement for or against any Party by reason of that Party



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having drafted this Agreement, or any portion thereof, or caused it or any portion thereof to be
drafted.

       9.4     Costs. Each Party will bear its own costs and expenses (including legal and other
professional fees and expenses) incurred in connection with all matters set forth herein, including
in connection with Sections 2 and 3 of this Agreement. Syncora agrees to pay any Allowed
Claim for COP Agent Fees held by the COP Agent in accordance with and as set forth in the
POA.

        9.5   Amendment, Modification and Waiver. This Agreement may be modified,
altered, amended, or supplemented only by an agreement in writing signed by each Party. No
waiver of any provision of this Agreement will be effective unless made in a writing signed by
the Party making the waiver, nor will the waiver be extend to any other right, claim or remedy.

        9.6    Notices. All notices and other communications required under this Agreement
will be given in writing and delivered, if sent by telecopy, electronic mail, courier, or by
registered or certified mail (return receipt requested) to the following addresses and telecopier
numbers (or at such other addresses or telecopier numbers as will be specified by like notice):

               If to the City:

               City of Detroit, Michigan
               1200 Coleman A. Young Municipal Center
               2 Woodward Avenue
               Detroit, Michigan 48226
               Attention: CFO

               with copies (which shall not constitute notice) to:

               City of Detroit Law Department
               First National Building, Suite 1650
               660 Woodward Avenue
               Detroit, Michigan 48226
               Attention: Corporation Counsel

               and

               Jones Day
               222 East 41st Street
               New York, NY 10017-6702
               Attn: Corinne Ball (cball@JonesDay.com)

               If to Syncora:

               Syncora Guarantee, Inc.
               Syncora Capital Assurance Inc.
               Attn: Claude LeBlanc
               135 West 50th Street, 20th Floor

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               New York, NY 10020
               claude.leblanc@scafg.com

               with copies (which shall not constitute notice) to:

               Kirkland & Ellis LLP
               Attn: Ryan B. Bennett
               300 N. LaSalle
               Chicago, IL 60654
               rbennett@kirkland.com

Any notice given by delivery, mail, or courier will be effective when received. Any notice given
by telecopier will be effective upon oral or machine confirmation of transmission. Any notice
given by electronic mail will be effective upon oral or machine confirmation of receipt.

       9.7     Headings. The headings of all sections of this Agreement are inserted solely for
the convenience of reference and are not a part of and are not intended to govern, limit, or aid in
the construction or interpretation of any term or provision hereof.

        9.8    Governing Law and Jurisdiction.              THIS AGREEMENT WILL BE
GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE
STATE OF MICHIGAN, WITHOUT REGARD TO ANY PRINCIPLES OF CONFLICTS OF
LAW THEREOF THAT WOULD REQUIRE THE APPLICATION OF THE LAW OF
ANOTHER JURISDICTION. By its execution and delivery of this Agreement, each of the
Parties hereby irrevocably and unconditionally agrees that any dispute with respect to this
Agreement will be resolved by the Bankruptcy Court to the extent that the Bankruptcy Court
then has jurisdiction and power to enforce the terms of this Agreement. Each of the Parties
irrevocably consents to service of process by mail at the addresses listed for such Party in
Section 9.6 hereof. Each of the Parties agrees that its submission to jurisdiction and consent to
service of process by mail is made for the sole and express benefit of each of the other Parties to
this Agreement.

     9.9   Waiver of Jury Trial. TO THE EXTENT PERMITTED BY LAW, THE
PARTIES HERETO HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVE TRIAL
BY JURY IN ANY LEGAL ACTION OR PROCEEDING RELATING TO THIS
AGREEMENT.

                                    [Signature Pages Follow]




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                 IN WITNESS WHEREOF, the parties hereto have executed this Agreement as
of the date first above written.




                                           THE CITY OF DETROIT




                                           By: ____________________________________
                                               Name:
                                               Title:




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                                       SYNCORA GUARANTEE, INC.



                                       By: ____________________________________
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                                       SYNCORA CAPITAL ASSURANCE INC.



                                       By: ____________________________________
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                                           Title:




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                              FIRST AMENDMENT TO LEASE

        THIS FIRST AMENDMENT TO LEASE (this “Amendment”) is made and entered into
as of the ___ day of ________________, 2014 (the “Date Hereof”), by and between the City of
Detroit, a Michigan municipal corporation (the “City”), and Detroit Windsor Tunnel LLC, a
Michigan limited liability company (“Tenant”).

                                         RECITALS

        A.      The City, as landlord, and Tenant, as successor-in-interest to Detroit & Canada
Tunnel Corporation (“DCTC”), as tenant, are parties to the Tube Lease, dated March 20, 1978
(the “Tube Lease”), whereby the City leases to Tenant the portion of the Detroit Windsor
Tunnel (the entire such tunnel, the “Tunnel”) located in Detroit, which portion is more
particularly defined in the Tube Lease and referenced herein as the “Tube.”

       B.      The City, as landlord, as successor-in-interest to Ford Motor Properties, Inc. as
sublandlord, and Tenant, as tenant, as successor-in-interest to DCTC as subtenant, are parties to
the Sublease, dated March 20, 1978 (the “Plaza Lease”; together with the Tube Lease, the
“Lease”), whereby the City leases to Tenant certain property defined in the Plaza Lease as the
“New Tunnel Plaza” (such premises, the “Plaza Premises”; together with the Tube, the
“Property”).

        C.     The term of the Lease (the “Term”) expires on November 3, 2020, and the period
commencing on the Effective Date through and including November 3, 2020 shall be referenced
herein as the “Existing Remainder Term”.

       D.      The City desires to enter into a long-term agreement regarding the operation of
the Property to assure that (i) the Tunnel will continue to provide to residents of Detroit and to
other Tunnel passengers a safe and efficient route between Detroit and Windsor; (ii) the Property
will be maintained and enhanced; and (iii), to promote such goals, there is transparency to the
City regarding the operation of the Property.

      E.      In furtherance of the goals of the City, the Tenant desires to enter into a long-term
agreement with the City regarding the leasing and operation of the Property.

       NOW, THEREFORE, in consideration of the foregoing and other good and valuable
consideration, the receipt and legal sufficiency of which are hereby acknowledged, the parties
agree as follows:

       1.      Capitalized Terms; Effective Date. Any capitalized term used herein and not
otherwise defined shall have the meaning ascribed to such term in the Plaza Lease. “Effective
Date” means the first day of the month next succeeding the month in which occurs the Date
Hereof.

       2.     Extension of Term. The term of the Tube Lease is extended for the period
beginning November 4, 2020 and ending on December 31, 2040 (such period, the “Extension
Term”), upon all the terms and conditions as contained in the Tube Lease and applicable during
the Third Renewal Option (as defined in the Plaza Lease), except as amended hereby. The term


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of the Plaza Lease is extended for the Extension Term, upon all the terms and conditions as
contained in the Plaza Lease and applicable during the Third Renewal Option (as defined in the
Plaza Lease), except as amended hereby.

       3.     Existing Term CapEx Credit; CapEx Schedule.

       (a)    For any Capital Expenditures (as defined below) paid by Tenant during the
              Existing Remainder Term (the “Existing Remainder Term Capital
              Expenditures”), Tenant shall receive a credit equal to the amount of such
              Existing Remainder Term Capital Expenditures (a “CapEx Credit”) against the
              aggregate rentals payable by Tenant pursuant to Article IV of the Plaza Lease
              (such amounts, the “Rent”) during the Existing Remainder Term; provided,
              however, that the aggregate CapEx Credit to which Tenant is entitled pursuant to
              this Paragraph 3 shall not exceed the aggregate Rent payable by Tenant during the
              Existing Remainder Term. Tenant shall not claim a CapEx Credit for any Capital
              Expenditures paid in advance of the performance of the related work, other than
              for progress payments customary in the industry (or payments required due to
              emergency) without the City’s prior written approval, which shall not be
              unreasonably withheld, delayed or conditioned. Subject to Paragraph 5, Tenant
              may not take a CapEx Credit during the Extension Term for an Existing
              Remainder Term Capital Expenditure.

       (b)    “Capital Expenditures” means (i) capital expenditures, as determined by
              generally accepted accounting principles consistently applied in the United States
              (“GAAP”), paid for work to or at the Plaza Premises and (ii) (x) while the
              Existing JOA (as defined herein) or any successor agreement between Tenant (or
              its affiliate) and the City of Windsor (or its instrumentality) (any such agreement,
              a “D/W Agreement”) is in effect, 50% of the total capital expenditures,
              determined in accordance with GAAP, paid by Tenant (or its affiliate) and the
              City of Windsor (or its instrumentality) pursuant to a D/W Agreement for work to
              or at all or any portion of the underground tube of the Tunnel (i.e., the tube from
              and including the Detroit portal to and including the Windsor portal; such tube,
              the “Underground Portion”); provided, however, that Capital Expenditures
              made to the Underground Portion while a D/W Agreement is in effect shall be
              made such that the Detroit side of the Underground Portion is in a condition
              commensurate with the condition of the Windsor side of the Underground
              Portion; or (y) if no D/W Agreement is in effect, 100% of the capital
              expenditures, determined in accordance with GAAP, paid by Tenant for work to
              or at all or any portion for the Tube.

       (c)    Within ninety (90) days after the Effective Date, Tenant shall provide the City a
              detailed plan and schedule for the capital improvements planned to be made to the
              Tunnel during the year in which the Effective Date occurs and the approximately
              five (5) years following the Effective Date. On or before each January 31st during
              the Term, Tenant shall deliver to the City an annual update of such plan together
              with a plan for the succeeding five (5) years.



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      4.    Extension Term CapEx Credit.

      (a)   For any Capital Expenditures paid by Tenant during the Extension Term (the
            “Extension Term Capital Expenditures”), Tenant shall receive a CapEx Credit
            against the Rent payable by Tenant during the Extension Term equal to the
            amount of such Extension Term Capital Expenditures; provided, however, the
            aggregate CapEx Credit to which Tenant is entitled during the Extension Term
            pursuant to this Paragraph 4 shall not exceed $8,000,000; and provided, further,
            that the annual CapEx Credit claimed by Tenant under this Paragraph 4 in any
            given calendar year of the Extension Term shall not exceed 75% of the Rent
            payable for such calendar year (but such annual limitation shall not in any way
            reduce the aggregate CapEx Credit to which Tenant is entitled under this
            Paragraph 4). If the Lease (as amended from time to time) terminates prior to
            December 31, 2040, other than due to a default by Tenant, then the City shall pay
            to Tenant, on thirty (30) days’ written notice from Tenant, the amount of CapEx
            Credits that have accrued to Tenant but have not been applied against the Rent.

      (b)   No more than sixty (60) days prior to November 4, 2020, Tenant shall provide the
            City a high-level, strategic plan for the capital improvements that may be made to
            the Tunnel during the Extension Term to the extent such plan is known or is
            customary in the tunnel operations field.

      5.    CapEx Credit Documentation.

      (a)   Tenant may offset the amount of any accrued but uncredited CapEx Credits
            against any monthly payments of Rent, subject to the limitations in Paragraphs 3
            and 4. On or prior to the date of claiming any CapEx Credit (i.e., on or before the
            date of payment of any monthly installment of Rent, or if none is payable, on or
            before the date such monthly installment of Rent would otherwise have been
            payable) or requesting payment pursuant to the last sentence of Paragraph 4(a),
            Tenant shall submit to the City a notice setting forth the amount of the claimed
            CapEx Credit, together with reasonably detailed written documentation of the
            Capital Expenditures (and the work associated therewith) for which Tenant is
            entitled to a CapEx Credit (such notice, a “CapEx Notice”). Within five (5) days
            after receipt of any CapEx Notice, the City shall have the right to ask for
            reasonable additional information to verify such Capital Expenditures were paid
            and to determine the nature of work associated with such Capital Expenditure. If
            the City in good faith believes that a CapEx Credit was claimed for an
            expenditure that does not fall within the definition of “Capital Expenditure,” as
            such term is defined in Paragraph 3(b) above, then the City shall give Tenant
            notice thereof (a “Dispute Notice”) within fifteen (15) days after receipt of the
            applicable CapEx Notice, and the date on which Rent is due shall be extended by
            fifteen (15) days. If the City timely delivers a Dispute Notice, Tenant shall
            receive the portion of the CapEx Credit that is undisputed, if any, and shall pay
            the amount of disputed Rent, subject to the provisions of Article XVIII(2) of the
            Plaza Lease regarding disputed payments.



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       (b)     Notwithstanding anything to the contrary in the Lease, as amended hereby, if the
               City timely provides a Dispute Notice in connection with a CapEx Credit claimed
               for Existing Remainder Term Capital Expenditures, and if and to the extent such
               dispute is resolved in Tenant’s favor, then the City shall promptly pay an amount
               equal to the formerly disputed CapEx Credit to Tenant, or at Tenant’s option,
               Tenant may credit such formerly disputed CapEx Credit against the Rent next
               coming due; provided, however, if (i) the aggregate accrued but unapplied CapEx
               Credit to which Tenant is entitled under Paragraph 3, plus the formerly disputed
               CapEx Credit, exceed the aggregate Rent payable during the portion of the
               Existing Remainder Term commencing at the time the dispute is resolved; or (ii)
               at the time the dispute is resolved, the Existing Remainder Term has ended; then
               in addition to, and without in any way reducing, the CapEx Credits to which
               Tenant is entitled under Paragraph 4, Tenant may take such formerly disputed
               CapEx Credit as a credit against the Rents payable during the Extension Term.
               Notwithstanding the foregoing, in no event shall Tenant be entitled to aggregate
               CapEx Credits for the Existing Remainder Term Capital Expenditures in excess
               of the aggregate Rent payable during the Existing Remainder Term.

       (c)     Notwithstanding anything to the contrary in the Lease, as amended hereby, if the
               City timely delivers a Dispute Notice in connection with a CapEx Credit claimed
               for Extension Term Capital Expenditures, and if and to the extent such dispute is
               resolved in Tenant’s favor, then the City shall promptly pay an amount equal to
               the formerly disputed CapEx Credit to Tenant, or at Tenant’s option, Tenant may
               credit such formerly disputed CapEx Credit against the Rent next coming due (in
               addition to, and not in limitation of, any CapEx Credit due under Paragraph 4).
               Notwithstanding the foregoing, in no event shall Tenant be entitled to aggregate
               CapEx Credits for Extension Term Capital Expenditures in excess of $8,000,000.

       (d)     The provisions of this Paragraph 5 shall survive the expiration or sooner
               termination of the Lease, as amended hereby.

        6.      Repair and Maintenance Standards. Notwithstanding anything to the contrary in
the Lease, but subject to the casualty and condemnation provisions therein, Tenant shall maintain
the Property in a good and safe condition and repair, in compliance with all applicable laws, and
in accordance with the following sections of the Existing JOA (as defined below): Sections
8.1(d), (e) and (f), and the first grammatical paragraph of Section 8.1; Sections 8.3(a), (b) and
(c); Section 8.4; Section 8.6; Section 9; Exhibit 8.1 and Sections 1, 2 and the first paragraph of
Section 3 of Exhibit 9.1, provided that the second sentence of that first paragraph of Section 3 of
Exhibit 9.1 shall be replaced with “The program shall include regular and customary cleaning
and grounds maintenance.” In the event that the Existing JOA is terminated or amended, these
standards shall continue to apply (to the extent applicable).

       7.      Reporting. In addition to its reporting obligations under the Lease, but subject to
Paragraph 10 hereof, Tenant shall deliver, at its sole cost and expense, the following reports and
information to the City:




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      (a)   Within one hundred eighty (180) days following the end of each calendar year
            ending during the term of the Lease: (i) a copy of the audited balance sheets of
            Tenant at the end of each such calendar year and the related audited statements of
            income, calculation of annual rental, changes in equity and cash flows for such
            year, including, in each case, the notes thereto, together with the report thereon of
            the independent certified public accountants of Tenant, in each case in a manner
            and containing information consistent with Tenant’s current practices and
            certified by Tenant’s chief financial officer that such financial statements fairly
            present the financial condition and the results of operations, changes in equity and
            cash flows of Tenant as at the respective dates of and for the periods referred to in
            such financial statements, all in accordance with generally accepted accounting
            principles in the United States consistently applied; (ii) a report, in a format
            reasonably acceptable to the City, certified by the Tenant’s chief financial officer,
            providing reasonably detailed information regarding any work associated with
            Capital Expenditures undertaken by the Tenant with respect to the Property,
            including such information as may be reasonably requested by the City, which
            shall include the type of work associated with such Capital Expenditures, the
            expected cost therefor, the expected completion date, the contractor engaged to
            perform such work associated with such Capital Expenditures, and any expected
            disruption of traffic in the Property as a result of the work associated with such
            Capital Expenditures; and (iii) a report, in a format reasonably acceptable to the
            City, detailing the amount of traffic through the Property on a weekly, monthly
            and quarterly basis, the make-up of that traffic and the Tenant’s projections for
            the traffic in the upcoming calendar year and the Tenant’s basis therefor;

      (b)   Within thirty (30) days after the end of each six-month period, commencing with
            the six-month period ending June 30, 2015, a report, in a format reasonably
            acceptable to the City, detailing all material incidents that occurred in the Tunnel,
            including, but not limited to, vehicular accidents and hazardous material releases,
            but in each case only if such incidents materially impeded the normal operations
            of the Tunnel;

      (c)   promptly after the occurrence thereof, an email report on any incident occurring
            in the Tunnel and causing material damage to property or injury to persons, if
            such incident results in the closure of any portion of the Tunnel for at least an
            hour;

      (d)   within thirty (30) days after receipt by Tenant, a copy of (i) the engineering
            reports required by Sections 8.7 and 8.8 of the Joint Operating Agreement by and
            among the Corporation of the City of Windsor, the Windsor Tunnel Commission
            and Tenant (as successor-in-interest to DCTC and The Detroit and Windsor
            Subway Company, Ltd.) dated November 1, 1997 (the “Existing JOA”); or (ii) if
            the Existing JOA is amended or modified to change the requirements for those
            reports, (x) every year, an engineering report based on visual inspection of the
            Tunnel made by an independent, licensed engineer reasonably acceptable to
            Tenant and (y) every five (5) years a comprehensive engineering report on the
            Tunnel prepared by an independent, licensed engineer reasonably acceptable to


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               the City, which report shall include, but not be limited to, an analysis of the
               structural integrity of the Tunnel, a description of the current state of the Tunnel,
               including its fixtures and mechanical systems, recommended capital expenditures
               for the Tunnel and such other information as the City may reasonably request; and

       (e)     Within thirty (30) days after such request, any information regarding the Property
               reasonably requested by the City, provided that such information is in the
               possession or control of Tenant.

        8.     Right to Inspect. The City shall have the right, upon at least three (3) business
days’ written notice to Tenant, at reasonable times, provided that such inspection does not
unreasonably interfere with the normal operation of the Property (and as to any portion of the
Property subleased as of the date hereof or subsequently subleased to a governmental authority,
does not violate the applicable sublease) and at the City’s sole cost and expense, to have the
Property inspected by an engineer, who is (i) either employed directly by the City or with whom
the City has contracted; and (ii) licensed and has at least ten (10) years’ experience in
engineering matters related to construction, maintenance and repair of infrastructure projects or
tunnels. Inspections made pursuant to this Paragraph 8 may only be performed once in each
calendar year, except such limitation shall not apply when Tenant is in default of its obligations
under Paragraph 6 of this Amendment or any other of its obligations regarding the repair,
maintenance and operation of the Tunnel. Tenant shall make the Property and a senior officer
who is responsible for maintenance and/or operations of the Property reasonably available to
such engineer for the purposes of such inspection and shall provide such engineer any
documentation in Tenant’s possession or control, reasonably requested by such engineer, subject
to Paragraph 10. Without limiting any provision hereof, any such engineering inspections
conducted by or on behalf of the City shall be performed in accordance with all applicable laws
and with all reasonable operating rules and regulations applicable to the Property. The City
shall cause any individual or firm performing an inspection pursuant to this Paragraph 8 to be
bound by the confidentiality obligations of the City pursuant to the provisions of Paragraph 10
hereof.

         9.     Calculation of Net Operating Income. For the avoidance of doubt, in calculating
“net operating income” as defined in Section IV(2)(b) of the Plaza Lease, Tenant shall not
include any expenses that are not attributable to the operation, maintenance and repair of the
Property or to Tenant’s obligations under the Lease; and, to the extent Tenant or Tenant’s
affiliates incur costs that are only partially attributable to the Property, Tenant shall not include
as an expense for Section IV(2)(b) of the Plaza Lease the portion of those costs that are not
attributable to the Property. Allocations will be prepared consistent with GAAP and the specific
methodology and allocation shall be reflected and set forth in the companies’ audited financial
statements.

       10.     Confidentiality.

       (a)     Notwithstanding anything to the contrary in the Lease, no information or
               document provided by Tenant to the City pursuant to or in connection with the
               Lease, as amended hereby, shall be subject to any confidentiality restrictions, and
               the City may publicly disclose such information or disclose such information to


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               third parties as it deems appropriate in its sole discretion; provided, however, that
               Tenant shall have no obligation to deliver to the City (and Tenant may redact
               from information it delivers to the City) any Confidential Information (as defined
               below); and provided, further, that if Tenant delivers to the City any Confidential
               Information (and labels it as such), then the City shall not disclose such
               information to third parties (other than to its professional advisors, employees,
               third-party report providers, affiliates, officers, members, underwriters, agents,
               consultants, lenders, investors and legal counsel and as to those, only on a need-
               to-know basis, as reasonably determined by the City, provided such parties are
               bound by the confidentiality obligations of the City set forth in this Paragraph 10).

       (b)     “Confidential Information” means information that (i) relates to maintaining
               national security and/or to maintaining security at the Tunnel; (ii) is required to be
               kept confidential by applicable law, regulation or order; or (iii) is a trade secret or
               is other information that is proprietary to Tenant (including, without limitation,
               information regarding Tenant’s proprietary toll and revenue collecting and
               accounting system and Tenant’s mobile app for express payments, and other
               technical and business information relating to Tenant’s proprietary ideas,
               patentable ideas, copyrights, and other proprietary systems and software).

       (c)     If Tenant chooses to withhold Confidential Information from the City, Tenant
               shall promptly provide written notice that it has done so. The City, through its
               authorized representative, shall have the right, upon reasonable advance written
               notice to Tenant, to inspect any Confidential Information, which shall not be
               redacted, at the offices of Tenant within the City to verify during customary
               business hours that such information is Confidential Information and to review
               such Confidential Information, provided that the City may not make a copy of
               such Confidential Information.

       (d)     Notwithstanding anything to the contrary in Lease (as amended hereby), in an
               effort to ensure that the City, Tenant and the City of Windsor can effectively and
               efficiently operate the Tunnel in an integrated and seamless manner, the City shall
               have the right to share with Windsor all information regarding the Tunnel it
               receives, and Tenant shall cause it and its affiliates to not restrict the City of
               Windsor, or its affiliates, from providing the City any information related to the
               Tunnel.

       (e)     Nothing contained in this Lease (as amended hereby) shall be construed to limit
               or reduce the rights and powers of the State of Michigan or the United States of
               America.

        11.     Ineligible Parties. It shall be a default under the Lease, as amended hereby, if any
Ineligible Party (as defined below) shall be involved in the operation, financing, construction or
management of the Property or the improvements thereon, or if such Ineligible Party has a direct
or indirect beneficial interest in Tenant. “Ineligible Party” means any individual or entity, or
any entity controlled by, controlling or under common control with any individual or entity,
maintaining a controlling interest in any crossing of the border between the State of Michigan


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